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Counsel for Highland Capital Management, L.P.

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

In re:                                                       §
                                                             §   Chapter 11
                                                             §
HIGHLAND CAPITAL MANAGEMENT, L.P., 1
                                                             §   Case No. 19-34054-sgj11
                                                             §
                                 Debtor.
                                                             §
HIGHLAND CAPITAL MANAGEMENT, L.P.,                           §
                                                             §
                                 Plaintiff,                  §   Adversary Proceeding No.
                                                             §
vs.                                                          §   ______________________
                                                             §
JAMES DONDERO,                                               §
                                                             §
                                 Defendant.                  §
1
  The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.


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                                                                                                                 APP 001
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                      COMPLAINT FOR (I) BREACH OF CONTRACT
             AND (II) TURNOVER OF PROPERTY OF THE DEBTOR’S ESTATE

        Plaintiff, Highland Capital Management, L.P., the above-captioned debtor and debtor-in-

possession (the “Debtor”) in the above-captioned chapter 11 case and the plaintiff in the above-

captioned adversary proceeding (the “Adversary Proceeding”), by its undersigned counsel, as

and for its complaint (the “Complaint”) against defendant, Mr. James Dondero (“Mr. Dondero”

or “Defendant”), alleges upon knowledge of its own actions and upon information and belief as

to other matters as follows:

                                 PRELIMINARY STATEMENT

        1.         The Debtor brings this action against Mr. Dondero as a result of Mr. Dondero’s

defaults under three promissory notes executed by Mr. Dondero in favor of the Debtor in the

aggregate original principal amount of $8,825,000 and payable upon the Debtor’s demand.

Despite due demand, Mr. Dondero has failed to pay amounts due and owing under the notes and

the accrued but unpaid interest thereon.

        2.         Through this Complaint, the Debtor seeks (a) damages from Mr. Dondero in an

amount equal to (i) the aggregate outstanding principal due under the Notes (as defined below),

plus (ii) all accrued and unpaid interest thereon until the date of payment, plus (iii) an amount

equal to the Debtor’s costs of collection (including all court costs and reasonable attorneys’ fees

and expenses, as provided for in the notes) for Mr. Dondero’s breach of his obligations under the

Notes, and (b) turnover by Mr. Dondero to the Debtor of the foregoing amounts.




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                                                                                                      APP 002
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                                  JURISDICTION AND VENUE

        3.         This adversary proceeding arises in and relates to the Debtor’s case pending

before the United States Bankruptcy Court for the Northern District of Texas, Dallas Division

(the “Court”) under chapter 11 of the Bankruptcy Code.

        4.         The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334.

        5.         This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b), and,

pursuant to Rule 7008 of the Bankruptcy Rules, the Debtor consents to the entry of a final order

by the Court in the event that it is later determined that the Court, absent consent of the parties,

cannot enter final orders or judgments consistent with Article III of the United States

Constitution.

        6.         Venue is proper in this District pursuant to 28 U.S.C. §§ 1408 and 1409.

                                          THE PARTIES

        7.         The Debtor is a limited liability partnership formed under the laws of Delaware

with a business address at 300 Crescent Court, Suite 700, Dallas, Texas 75201.

        8.         Upon information and belief, Mr. Dondero is an individual residing in Dallas,

Texas. He is the co-founder of the Debtor and was the Debtor’s President and Chief Executive

Officer until his resignation on January 9, 2020.

                                      CASE BACKGROUND

        9.         On October 16, 2019, the Debtor filed a voluntary petition for relief under

chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the District of

Delaware (the “Delaware Court”), Case No. 19-12239 (CSS) (the “Highland Bankruptcy Case”).

        10.        On October 29, 2019, the U.S. Trustee in the Delaware Court appointed an

Official Committee of Unsecured Creditors (the “Committee”) with the following members: (a)

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Redeemer Committee of Highland Crusader Fund, (b) Meta-e Discovery, (c) UBS Securities

LLC and UBS AG London Branch, and (d) Acis LP and Acis GP.

           11.        On December 4, 2019, the Delaware Court entered an order transferring venue

of the Highland Bankruptcy Case to this Court [Docket No. 186]. 2

           12.        The Debtor has continued in the possession of its property and has continued to

operate and manage its business as a debtor-in-possession pursuant to sections 1107(a) and 1108

of the Bankruptcy Code. No trustee or examiner has been appointed in this chapter 11 case.

                                           STATEMENT OF FACTS

A.         The Dondero Notes

           13.        Mr. Dondero, in his personal capacity, is the maker under a series of promissory

notes in favor of the Debtor.

           14.        Specifically, on February 2, 2018, Mr. Dondero executed a promissory note in

favor of the Debtor, as payee, in the original principal amount of $3,825,000 (“Dondero’s First

Note”). A true and correct copy of Dondero’s First Note is attached hereto as Exhibit 1.

           15.        On August 1, 2018, Mr. Dondero executed a promissory note in favor of the

Debtor, as payee, in the original principal amount of $2,500,000 (“Dondero’s Second Note”). A

true and correct copy of Dondero’s Second Note is attached hereto as Exhibit 2.

           16.        On August 13, 2018, Mr. Dondero executed a promissory note in favor of the

Debtor, as payee, in the original principal amount of $2,500,000 (“Dondero’s Third Note” and

collectively, with Dondero’s First Note and Dondero’s Second Note, the “Notes”). A true and

correct copy of Dondero’s Third Note is attached hereto as Exhibit 3.

           17.        Section 2 of each Note provides: “Payment of Principal and Interest. The

accrued interest and principal of this Note shall be due and payable on demand of the Payee.”

2
    All docket numbers refer to the main docket for the Highland Bankruptcy Case maintained by this Court.

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                                                                                                             APP 004
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        18.        Section 4 of each Note provides:

        Acceleration Upon Default. Failure to pay this Note or any installment
        hereunder as it becomes due shall, at the election of the holder hereof, without
        notice, demand, presentment, notice of intent to accelerate, notice of acceleration,
        or any other notice of any kind which are hereby waived, mature the principal of
        this Note and all interest then accrued, if any, and the same shall at once become
        due and payable and subject to those remedies of the holder hereof. No failure or
        delay on the part of the Payee in exercising any right, power, or privilege
        hereunder shall operate as a waiver hereof.

        19.        Section 6 of each Note provides:

                 Attorneys’ Fees. If this Note is not paid at maturity (whether by
                 acceleration or otherwise) and is placed in the hands of an attorney for
                 collection, or if it is collected through a bankruptcy court or any other
                 court after maturity, the Maker shall pay, in addition to all other amounts
                 owing hereunder, all actual expenses of collection, all court costs and
                 reasonable attorneys’ fees and expenses incurred by the holder hereof.

B.      Mr. Dondero Defaults under Each Note

        20.        By letter dated December 3, 2020, the Debtor made demand on Mr. Dondero for

payment under the Notes by December 11, 2020 (the “Demand Letter”). A true and correct copy

of the Demand Letter is attached hereto as Exhibit 4. The Demand Letter provided:

        By this letter, Payee is demanding payment of the accrued interest and principal
        due and payable on the Notes in the aggregate amount of $9,004,013.07, which
        represents all accrued interest and principal through and including December 11,
        2020.

        Payment is due on December 11, 2020, and failure to make payment in full
        on such date will constitute an event of default under the Notes.

Demand Letter (emphasis in the original).

        21.        Despite the Debtor’s demand, Mr. Dondero did not pay all or any portion of the

amounts demanded by the Debtor on December 11, 2020, or at any time thereafter.

        22.        As of December 11, 2020, there was an outstanding principal amount of

$3,687,269.71 on Dondero’s First Note and accrued but unpaid interest in the amount of

$21,003.70, resulting in a total outstanding amount as of that date of $3,708,273.41.

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                                                                                                    APP 005
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        23.        As of December 11, 2020, there was an outstanding principal balance of

$2,619,929.42 on Dondero’s Second Note and accrued but unpaid interest in the amount of

$27,950.70, resulting in a total outstanding amount as of that date of $2,647,880.12.

        24.        As of December 11, 2020, there was an outstanding principal balance of

$2,622,425.61 on Dondero’s Third Note and accrued but unpaid interest in the amount of

$25,433.94, resulting in a total outstanding amount as of that date of $2,647,859.55.

        25.        Thus, as of December 11, 2020, the total outstanding principal and accrued but

unpaid interest due under the Notes was $9,004,013.07.

        26.        Pursuant to Section 4 of each Note, each Note is in default and is currently due

and payable.

                                  FIRST CLAIM FOR RELIEF
                                    (For Breach of Contract)

        27.        The Debtor repeats and re-alleges the allegations in each of the foregoing

paragraphs as though fully set forth herein.

        28.        Each Note is a binding and enforceable contract.

        29.        Mr. Dondero breached each Note by failing to pay all amounts due to the

Debtor upon the Debtor’s demand.

        30.        Pursuant to each Note, the Debtor is entitled to damages from Mr. Dondero in

an amount equal to (i) the aggregate outstanding principal due under each Note, plus (ii) all

accrued and unpaid interest thereon until the date of payment, plus (iii) an amount equal to the

Debtor’s costs of collection (including all court costs and reasonable attorneys’ fees and

expenses) for Mr. Dondero’s breach of his obligations under each of the Notes.

        31.        As a direct and proximate cause of Mr. Dondero’s breach of each Note, the

Debtor has suffered damages in the total amount of at least $9,004,013.07 as of December 11,


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2020, plus an amount equal to all accrued but unpaid interest from that date plus the Debtor’s

cost of collection.

                                   SECOND CLAIM FOR RELIEF
                       (Turnover by Mr. Dondero Pursuant to 11 U.S.C. § 542(b))

         32.       The Debtor repeats and re-alleges the allegations in each of the foregoing

paragraphs as though fully set forth herein.

         33.       Mr. Dondero owes the Debtor an amount equal to (i) the aggregate outstanding

principal due under each Note, plus (ii) all accrued and unpaid interest thereon until the date of

payment, plus (iii) an amount equal to the Debtor’s costs of collection (including all court costs

and reasonable attorneys’ fees and expenses) for Mr. Dondero’s breach of his obligations under

each of the Notes.

         34.       Each Note is property of the Debtor’s estate, and the amounts due under each

Note are matured and payable upon demand.

         35.       Mr. Dondero has not paid the amounts dues under each Note to the Debtor.

         36.       The Debtor has made demand for the turnover of the amounts due under each

Note.

         37.       As of the date of filing of this Complaint, Mr. Dondero has not turned over to

the Debtor all or any of the amounts due under each of the Notes.

         38.       The Debtor is entitled to the turnover of all amounts due under each of the

Notes.

         WHEREFORE, the Debtor prays for judgment as follows:

                 (i)        On its First Claim for Relief, damages in an amount to be determined at

                 trial, including, among other things, (a) the aggregate outstanding principal due

                 under each Note, plus (b) all accrued and unpaid interest thereon until the date of


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                 payment, plus (c) an amount equal to the Debtor’s costs of collection (including

                 all court costs and reasonable attorneys’ fees and expenses);

                 (ii)       On its Second Claim for Relief, ordering turnover by Mr. Dondero to the

                 Debtor of an amount equal to (a) the aggregate outstanding principal due under

                 each Note, plus (b) all accrued and unpaid interest thereon until the date of

                 payment, plus (c) an amount equal to the Debtor’s costs of collection (including

                 all court costs and reasonable attorneys’ fees and expenses); and

                 (iii)      Such other and further relief as this Court deems just and proper.




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Dated: January 22, 2021.         PACHULSKI STANG ZIEHL & JONES LLP

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                                 John A. Morris (NY Bar No. 2405397)
                                 Gregory V. Demo (NY Bar No. 5371992)
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                                             hwinograd@pszjlaw.com

                                 -and-

                                 HAYWARD PLLC

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                                 Counsel for Highland Capital Management, L.P.




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                   EXHIBIT 1




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                                     PROMISSORY NOTE


$3,825,000                                                                         February 2, 2018


        FOR VALUE RECEIVED, JAMES DONDERO ("Maker") promises to pay to the order
of HIGHLAND CAP IT AL MANAGEMENT LP ("Payee"), in legal and lawful tender of the
United States of America, the principal sum bf THREE MILLION, EIGHT HUNDRED AND
TWENTY-FIVE THOUSAND and 00/100 Dollars ($3,825,000.00), together with interest, on
the tenns set forth below (the "Note"). All sums hereunder are payable to Payee at 300 Crescent
Court, Dallas, TX 75201, or such other address as Payee may specify to Maker in writing from
time to time.

        1.      Interest Rate. The unpaid principal balance of this Note from time to time
outstanding shall bear interest at a rate equal to the long-te1m "applicable federal rate" (2.66%)
in effect on the date hereof for loans of such maturity as determined by Section 1274(d) of the
Internal Revenue Code, per annum from the date hereof until rnatmity, compounded annually on
the anniversary of the date of this Note. Interest shall be calculated at a daily rate equal to
11365th ( 1/366 in a leap year) of the rate per annum, shall be charged and collected on the actual
number of days elapsed, and shall be payable on demand of the Payee.

        2.     Payment of Principal and Interest. The accrued interest and principal of this Note
shall be due and payable on demand of the Payee.

        3.      Prepayment Allowed; Renegotiation Discretionary. Maker may prepay in whole
or in part the unpai,d principal or accrued interest of this Note. Any payments on this Note shall
be applied first to unpaid accrued interest hereon, and then to unpaid principal hereof.

         4,     Tax Loan. This Note is paid to the Maker to help satisfy any current tax
 obligations of a former pru.tner or current partner.

       5.       Acceleration Upon Default. Failure to pay this Note or any installment hereunder
as it becomes due shall, at the election of the holder hereof, without notice, demand,
presentment, notice of intent to accelerate, notice of acceleration, or any other notice of any kind
which ru.·e hereby waived, mature the principal of this Note and all interest then accrued, ifru.1y,
and the same shall at once become due and payable and subject to those remedies of the holder
hereof No failure or delay on the part of Payee in exercising any right, power or privilege
hereunder shall operate as a waiver thereof.

         6.      Waiver. Maker hereby waives grace, demand, presentment for payment, notice of
 nonpayment, protest, notice of protest, notice of intent to accelerate, notice of acceleration and
 all other notices of any kind hereunder.

        7.     Attorneys' Fees. If this Note is not paid at maturity (whether by acceleration or
 otherwise) and is placed in the hands of an attorney for collection, or if it is collected through a
 bankruptcy comi or any other court after maturity, the- Maker shall pay, in addition to all other




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amounts owing hereunder, all actual expenses of collection, all court costs and reasonable
attorneys' fees and expenses incurred by the holder hereof.

        8.      Limitation on Agreements. All agreements between Maker and Payee, whether
now existing or hereafter arising, are hereby limited so that in no event shall the amount paid, or
agreed to be paid to Payee for the use, forbearance, or detention of money or for the payment or
performance of any covenant or obligation contained herein or in any other document
evidencing, securing or pertaining to this Note, exceed the maximum interest rate allowed by
law. The terms and provisions of this paragraph shall control and supersede every other
provision of all agreements between Payee and Maker in conflict herewith.

        9.     Governing Law. This Note and the rights and obligations of the parties hereunder
shall be governed by the laws of the United States of America and by the laws of the State of
Texas, and is performable in Dallas County, Texas.


                                             MAKER:




                                                2


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                   EXHIBIT 2




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                                     PROMISSORY NOTE


$2,500,000                                                                          August 1, 2018


       FOR VALUE RECEIVED, JAMES DONDERO ("Maker") promises to pay to the order
of FirGF!CANb cA!'lTAL MANAGEMENT CP("Payee';); iii legal and lawful tender of the
United States of America, the principal sum of TWO MILLION, FIVE HUNDRED
THOUSAND and 00/100 Dollars ($2,500,000.00), together with interest, on the terms set forth
below (the "Note"). All sums hereunder are payable to Payee at 300 Crescent Court, Dallas, TX
75201, or such other address as Payee may specify to Maker in writing from time to time.

        1.     Interest Rate. The unpaid principal balance of this Note from time to time
outstanding shall bear interest at a rate equal to the long-term "applicable federal rate" (2.95%)
in effect on the date hereof for loans of such maturity as dete1mined by Section 1274(d) of the
Internal Revenue Code, per annum from the date hereof until matmity, compounded annually on
the anniversary of the date of this Note. Interest shall be calculated at a daily rate equal to
11365th (1/366 in a leap year) of the rate per annum, shall be charged and collected on the actual
number of days elapsed, and shall be payable on demand of the Payee.

        2.     Payment of Principal and Interest. The accrued interest and principal of this Note
shall be due and payable on demand of the Payee.

       3.       Prepayment Allowed: Renegotiation Discretionary. Maker may prepay in whole
or in pmt the unpaid principal or accrued interest of this Note. Any payments on this Note shall
be applied first to unpaid accrued interest hereon, and then to unpaid principal hereof.

       4.     Acceleration Upon Default. Failure to pay this Note or any installment hereunder
as it becomes due shall, at the election of the holder hereof, without notice, demand,
presentment, notice of intent to accelerate, notice of acceleration, or any other notice of any kind
which are hereby waived, mature the principal of this Note and all interest then accrued, if any,
and the same shall at once become due and payable and subject to those remedies of the holder
hereof. No failure or delay on the part of Payee- in exercising any right, power or privilege
hereunder shall operate as a waiver thereof.

        5.      Waiver, Maker hereby waives grace, demand, presentment for payment, notice of
nonpayment, protest, notice of protest, notice of intent to accelerate, notice of acceleration and
all other notices of any kind hereunder.

        6.      Attorneys' Fees. If this Note is not paid at maturity (whether by acceleration or
othe1wise) and is placed in the hands of an attorney for collection, or if it is collected through a
bat_1kruptcy court or any other court after maturity, the Maker shall pay, in addition to all other
amounts owing hereunder, all actual expenses of collection, all court costs and reasonable
attorneys' fees and expenses incurred by the holder hereof.




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       7.       Limitation on Agreements. All agreements between Maker and Payee, whether
now existing or hereafter arising, are hereby limited so that in no event shall the amount paid, or
agreed to be paid to Payee for the use, forbearance, or detention of money or for the payment or
performance of any covenant or obligation contained herein or in any other document
evidencing, securing or pertaining to this Note, exceed the maximum interest rate allowed by
law. The terms and provisions of this paragraph shall control and supersede every other
provision of all agreements between Payee and Maker in conflict herewith.

        8.     Governing Law. This Note and the rights and obligations of the parties hereunder
shall be governed by the laws of the United States of America and by the laws of the State of
Texas, and is performable in Dallas County, Texas.


                                              MAKER:




                                              JA




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                   EXHIBIT 3




 EXHIBIT 3

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                                     PROMISSORY NOTE


$2,500,000                                                                         August 13, 2018


       FOR VALUE RECEIVED, JAMES DONDERO ("Maker") promises to pay to the order
of HIGHLAND CAPITAL MANAGEMENT LP ("Payee"), in legal and lawful tender of the
United States of America, the principal sum of TWO MILLION, FIVE HUNDRED
THOUSAND and 00/100 Dollars ($2,500,000.00), togetl1er with interest, on the terms set f011h
below (the '"Note"). All sums hereunder are payable to Payee at 300 Crescent Comt, Dallas, TX
75201, or such other address as Payee may specify to Maker in writing from time to time.

       1.      Interest Rate. The unpaid principal balance of this Note from time to time
outstanding shall bear interest at a rate equal to the long-term "applicable federal rate" (2.95%)
in effect on the date hereof for loans of such maturity as determined by Sectio'n 1274(d) of the
Internal Revenue Code, per annum from the date hereof until maturity, compoW1ded annually on
the anniversary of the date of this Note. Interest shall be calculated at a daily rate equal to
11365th (1/366 in a leap year) of the rate per annum, shall be charged _and collected on the actual
number of days elapsed, and shall be payable on demand ofthe Payee.

        2.     Payment of Principal and Interest. The accrued interest and principal of this Note
shall be due and payable on demand of the Payee.

        3.      Prepayment Allowed; Renegotiation Discretionary. Maker may prepay in whole
or in part the unpaid principal or accrued interest of this Note. Any payments on this Note shall
be applied first to unpaid accrued interest hereon, and then to unpaid principal hereof.

       4.      Acceleration Upon Default. Failure to pay this Note or any installment hereunder
as it becomes due shall, at the election of the holder hereof, without notice, demand,
presentment, notice of intent to accelerate, notice of acceleration, or any other notice of any kind
which are hereby waived, mature the principal of this Note and all interest then accrued, if any,
and the same shall at once become due and payable and subject to those remedies of the holder
hereof. No failure or delay on the part of Payee in exercising any right, power or privilege
hereunder shall operate as a waiver thereof.

        5.      Waiver. Maker hereby waives grace, demand, presentment for payment, notice of
nonpayment, protest, notice of protest, notice of intent to accelerate, notice of acceleration and
all other notices of any kind hereunder.

       6.       Attorneys' Fees. If this Note is not paid at maturity (whether by acceleration or
otherwise) and is placed in the hands of an attorney for collection, or if it is collected through a
bankruptcy court or any other court after maturity, the Maker shall pay, in addition to all other
amounts owing hereunder, all achial expenses of collection, -all court costs and reasonable
attorneys' fees and expenses incurred by the holder hereof.




                                                                                                       APP 017
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       7.       Limitation on Agreements. All agreements between Maker and Payee, whether
now existing or hereafter arising, are hereby limited so that in no event shall the amount paid, or
agreed to be paid to Payee for the use, forbearance, or detention of money or for the payment or
performance of any covenant or obligation contained herein or in any other document
evidencing, securing or pertaining to this Note, exceed the maximum interest rate allowed by
law. The terms and provisions of this paragraph shall control and supersede every other
provision of all agreements between Payee and Maker in conflict herewith.

        8.     Governing Law. This Note and the rights and obligations of the parties hereunder
shall be governed by the laws of the United States of America and by the laws of the State of
Texas, and is performable in Dallas County, Texas.


                                              MAKER:




                                              JA~




                                                 2


                                                                                                      APP 018
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                   EXHIBIT 4




 EXHIBIT 4

                                                                                  APP 019
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                      HIGHLAND CAPITAL MANAGEMENT, L.P.

 December 3, 2020



 James Dondero
 c/o Highland Capital Management, L.P.
 300 Crescent Court, Suite 700
 Dallas, Texas 75201

         Re: Demand on Promissory Notes:

 Dear Mr. Dondero,

 You entered into the following promissory notes (collectively, the “Notes”) in favor of Highland
 Capital Management, L.P. (“Payee”):

Date Issued      Original Principal   Outstanding Principal    Accrued But             Total Amount
                      Amount           Amount (12/11/20)      Unpaid Interest      Outstanding (12/11/20)
                                                                (12/11/20)
   2/2/18            $3,825,000           $3,687,269.71         $21,003.70             $3,708,273.41
   8/1/18            $2,500,000           $2,619,929.42         $27,950.70             $2,647,880.12
  8/13/18            $2,500,000           $2,622,425.61         $25,433.94             $2,647,859.55
  TOTALS            $16,725,000           $8,929,624.74         $74,388.33             $9,004,013.07

 As set forth in Section 2 of each of the Notes, accrued interest and principal is due and payable
 upon the demand of Payee. By this letter, Payee is demanding payment of the accrued interest
 and principal due and payable on the Notes in the aggregate amount of $9,004,013.07, which
 represents all accrued and unpaid interest and principal through and including December 11,
 2020.

 Payment is due on December 11, 2020, and failure to make payment in full on such date
 will constitute an event of default under the Notes.

 Payments on the Notes must be made in immediately available funds. Payee’s wire information
 is attached hereto as Appendix A.

 Nothing contained herein constitutes a waiver of any rights or remedies of Payee under the Notes
 or otherwise and all such rights and remedies, whether at law, equity, contract, or otherwise, are
 expressly reserved. Interest, including default interest if applicable, on the Notes will continue to
 accrue until the Notes are paid in full. Any such interest will remain your obligation.

 Sincerely,

 /s/ James P. Seery, Jr.

 James P. Seery, Jr.
 Highland Capital Management, L.P.
 Chief Executive Officer/Chief Restructuring Officer



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                                                                                                            APP 020
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 cc:     Fred Caruso
         James Romey
         Jeffrey Pomerantz
         Ira Kharasch
         Gregory Demo
         D. Michael Lynn




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                                                                                  APP 021
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                                    Appendix A


                  ABA #:          322070381
                  Bank Name:      East West Bank
                  Account Name:   Highland Capital Management, LP
                  Account #:      5500014686




                                                                                  APP 022
         Case 21-03003-sgj Doc 1-5 Filed 01/22/21 Entered 01/22/21 17:50:01 Desc
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  B1040 (FORM 1040) (12/15)

          ADVERSARY PROCEEDING COVER SHEET                                                     ADVERSARY PROCEEDING NUMBER
                                                                                               (Court Use Only)
                  (Instructions on Reverse)

PLAINTIFFS                                                                      DEFENDANTS
Highland Capital Management, L.P.                                                   James Dondero



ATTORNEYS (Firm Name, Address, and Telephone No.)                               ATTORNEYS (If Known)
Hayward PLLC                                                                    Bonds Ellis Eppich Schafer Jones LLP
10501 N. Central Expressway, Suite 106                                          420 Throckmorton Street, Suite 1000
Dallas, Texas 75231 Tel.: (972) 755-7100                                        Fort Worth, Texas 76102 Tel.: (817) 405-6900
PARTY (Check One Box Only)                         PARTY (Check One Box Only)
□ Debtor    □ U.S. Trustee/Bankruptcy Admin        □ Debtor      □ U.S. Trustee/Bankruptcy Admin
□ Creditor  □ Other                                □ Creditor    □ Other
□ Trustee                                          □ Trustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
Count 1: Breach of contract; Count 2: Turnover of estate property pursuant to 11 U.S.C. 542




                                                                    NATURE OF SUIT
        (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)


□2 11-Recovery of money/property - §542 turnover of property                    □
    FRBP 7001(1) – Recovery of Money/Property                                   FRBP 7001(6) – Dischargeability (continued)

□ 12-Recovery of money/property - §547 preference                               □
                                                                                   61-Dischargeability - §523(a)(5), domestic support

□ 13-Recovery of money/property - §548 fraudulent transfer                      □
                                                                                   68-Dischargeability - §523(a)(6), willful and malicious injury

□ 14-Recovery of money/property - other                                         □
                                                                                   63-Dischargeability - §523(a)(8), student loan
                                                                                   64-Dischargeability - §523(a)(15), divorce or separation obligation

                                                                                □
                                                                                      (other than domestic support)

□ 21-Validity, priority or extent of lien or other interest in property
    FRBP 7001(2) – Validity, Priority or Extent of Lien                            65-Dischargeability - other


                                                                                □
                                                                                FRBP 7001(7) – Injunctive Relief

□
    FRBP 7001(3) – Approval of Sale of Property
                                                                                □
                                                                                   71-Injunctive relief – imposition of stay
    31-Approval of sale of property of estate and of a co-owner - §363(h)          72-Injunctive relief – other


□ 41-Objection / revocation of discharge - §727(c),(d),(e)
    FRBP 7001(4) – Objection/Revocation of Discharge
                                                                                □ 81-Subordination of claim or interest
                                                                                FRBP 7001(8) Subordination of Claim or Interest



□ 51-Revocation of confirmation
    FRBP 7001(5) – Revocation of Confirmation
                                                                                □ 91-Declaratory judgment
                                                                                FRBP 7001(9) Declaratory Judgment



□ 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims
    FRBP 7001(6) – Dischargeability
                                                                              □
                                                                              FRBP 7001(10) Determination of Removed Action

□ 62-Dischargeability - §523(a)(2), false pretenses, false representation,        01-Determination of removed claim or cause


□ 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny □1 SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
      actual fraud                                                            Other


                   (continued next column)                                    □ 02-Other (e.g. other actions that would have been brought in state court
                                                                                        if unrelated to bankruptcy case)
□ Check if this case involves a substantive issue of state law                  □ Check if this is asserted to be a class action under FRCP 23
□ Check if a jury trial is demanded in complaint                                Demand $ 9,004,013.07 plus interest, fees, and expenses
Other Relief Sought




                                                                                                                                                         APP 023
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 B1040 (FORM 1040) (12/15)

                     BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                                        BANKRUPTCY CASE NO.
Highland Capital Management, L.P.                        19-34054-sgj11
DISTRICT IN WHICH CASE IS PENDING                     DIVISION OFFICE     NAME OF JUDGE
 Northern District of Texas                               Dallas          Stacey G. C. Jernigan
                                  RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                   DEFENDANT                     ADVERSARY
                                                                          PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING                                DIVISION OFFICE                   NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF)




DATE                                                                  PRINT NAME OF ATTORNEY (OR PLAINTIFF)

   January 22, 2021                                                           Zachery Z. Annable




                                                         INSTRUCTIONS

           The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
 all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
 jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
 lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
 proceeding.

          A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
 Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
 Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
 completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
 information to process the adversary proceeding and prepare required statistical reports on court activity.

          The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
 or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
 explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
 attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

 Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

 Attorneys. Give the names and addresses of the attorneys, if known.

 Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

 Demand. Enter the dollar amount being demanded in the complaint.

 Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
 plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
 attorney, the plaintiff must sign.




                                                                                                                                      APP 024
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 PACHULSKI STANG ZIEHL & JONES LLP
 Jeffrey N. Pomerantz (CA Bar No.143717) (admitted pro hac vice)
 Ira D. Kharasch (CA Bar No. 109084) (admitted pro hac vice)
 John A. Morris (NY Bar No. 2405397) (admitted pro hac vice)
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 Fax: (972) 755-7110

 Counsel for Highland Capital Management, L.P.

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

 In re:                                                       §
                                                              §   Chapter 11
                                                              §
 HIGHLAND CAPITAL MANAGEMENT, L.P., 1
                                                              §   Case No. 19-34054-sgj11
                                                              §
                                  Debtor.
                                                              §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,                           §
                                                              §
                                  Plaintiff,                  §   Adversary Proceeding No.
                                                              §
 vs.                                                          §   ______________________
                                                              §
 NEXPOINT ADVISORS, L.P.                                      §
                                                              §
                                  Defendant.                  §
 1
   The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
 address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.


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                                                                                                                  APP 025
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                      COMPLAINT FOR (I) BREACH OF CONTRACT
             AND (II) TURNOVER OF PROPERTY OF THE DEBTOR’S ESTATE

        Plaintiff, Highland Capital Management, L.P., the above-captioned debtor and debtor-in-

 possession (the “Debtor”) in the above-captioned chapter 11 case and the plaintiff in the above-

 captioned adversary proceeding (the “Adversary Proceeding”), by its undersigned counsel, as

 and for its complaint (the “Complaint”) against defendant NexPoint Advisors, L.P. (“NPA” or

 “Defendant”), alleges upon knowledge of its own actions and upon information and belief as to

 other matters as follows:

                                 PRELIMINARY STATEMENT

        1.       The Debtor brings this action against NPA arising from NPA’s default under a

 promissory note executed by NPA in favor of the Debtor in the original principal amount of

 $30,746,812.33 and payable in annual installments. NPA has failed to pay amounts when due

 under the note, the note is in default, and the amounts due under the note have been accelerated

 pursuant to the terms of the note.

        2.      Through this Complaint, the Debtor seeks (a) damages from NPA in an amount

 equal to (i) the outstanding principal due under the Note (as defined below), plus (ii) all accrued

 and unpaid interest thereon until the date of payment, plus (iii) an amount equal to the Debtor’s

 costs of collection (including all court costs and reasonable attorneys’ fees and expenses, as

 provided for in the Note) for NPA’s breach of its obligations under the Note, and (b) turnover by

 the NPA to the Debtor of the foregoing amounts.

                                  JURISDICTION AND VENUE

        3.      This adversary proceeding arises in and relates to the Debtor’s case pending

 before the United States Bankruptcy Court for the Northern District of Texas, Dallas Division

 (the “Court”) under chapter 11 of the Bankruptcy Code.


                                                 2


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         4.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

 1334.

         5.      This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b), and,

 pursuant to Rule 7008 of the Bankruptcy Rules, the Debtor consents to the entry of a final order

 by the Court in the event that it is later determined that the Court, absent consent of the parties,

 cannot enter final orders or judgments consistent with Article III of the United States

 Constitution.

         6.      Venue is proper in this District pursuant to 28 U.S.C. §§ 1408 and 1409.

                                          THE PARTIES

         7.      The Debtor is a limited liability partnership formed under the laws of Delaware

 with a business address at 300 Crescent Court, Suite 700, Dallas, Texas 75201.

         8.      Upon information and belief, NPA is a limited partnership with offices located in

 Dallas, Texas and organized under the laws of the state of Delaware.

                                      CASE BACKGROUND

         9.      On October 16, 2019, the Debtor filed a voluntary petition for relief under chapter

 11 of the Bankruptcy Code in the United States Bankruptcy Court for the District of Delaware

 (the “Delaware Court”), Case No. 19-12239 (CSS) (the “Highland Bankruptcy Case”).

         10.     On October 29, 2019, the U.S. Trustee in the Delaware Court appointed an

 Official Committee of Unsecured Creditors (the “Committee”) with the following members: (a)

 Redeemer Committee of Highland Crusader Fund, (b) Meta-e Discovery, (c) UBS Securities

 LLC and UBS AG London Branch, and (d) Acis LP and Acis GP.




                                                  3


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            11.      On December 4, 2019, the Delaware Court entered an order transferring venue of

 the Highland Bankruptcy Case to this Court [Docket No. 186]. 2

            12.      The Debtor has continued in the possession of its property and has continued to

 operate and manage its business as a debtor-in-possession pursuant to sections 1107(a) and 1108

 of the Bankruptcy Code. No trustee or examiner has been appointed in this chapter 11 case.

                                            STATEMENT OF FACTS

 A.         The NPA Note

            13.      NPA is the maker under a promissory note in favor of the Debtor.

            14.      Specifically, on May 31, 2017, NPA executed a promissory note in favor of the

 Debtor, as payee, in the original principal amount of $30,746,812.33 (the “Note”). A true and

 correct copy of the Note is attached hereto as Exhibit 1.

            15.      Section 2 of the Note provides: “Payment of Principal and Interest. Principal

 and interest under this Note shall be due and payable as follows:

            2.1    Annual Payment Dates. During the term of this Note, Borrower shall
            pay the outstanding principal amount of the Note (and all unpaid accrued interest
            through the date of each such payment) in thirty (30) equal annual payments (the
            “Annual Installment”) until the Note is paid in full. Borrower shall pay the
            Annual Installment on the 31st day of December of each calendar year during the
            term of this Note, commencing on the first such date to occur after the date of
            execution of this note.

            2.2    Final Payment Date. The final payment in the aggregate amount of the
            then outstanding and unpaid Note, together with all accrued and unpaid interest
            thereon, shall become immediately due and payable in full on December 31, 2047
            (the “Maturity Date”).

            16.      Section 3 of the Note provides:

            Prepayment Allowed: Renegotiation Discretionary.            Maker may prepay in
            whole or in part the unpaid principal or accrued interest of this Note. Any
            payments on this Note shall be applied first to unpaid accrued interest hereon, and
            then to unpaid principal hereof.

 2
     All docket numbers refer to the main docket for the Debtor’s Case maintained by this Court.

                                                            4


                                                                                                       APP 028
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        17.    Section 4 of the Note provides:

        Acceleration Upon Default. Failure to pay this Note or any installment
        hereunder as it becomes due shall, at the election of the holder hereof, without
        notice, demand, presentment, notice of intent to accelerate, notice of acceleration,
        or any other notice of any kind which are hereby waived, mature the principal of
        this Note and all interest then accrued, if any, and the same shall at once become
        due and payable and subject to those remedies of the holder hereof. No failure or
        delay on the part of the Payee in exercising any right, power, or privilege
        hereunder shall operate as a waiver hereof.

        18.    Section 6 of the Note provides:

        Attorneys’ Fees. If this Note is not paid at maturity (whether by acceleration or
        otherwise) and is placed in the hands of an attorney for collection, or if it is
        collected through a bankruptcy court or any other court after maturity, the Maker
        shall pay, in addition to all other amounts owing hereunder, all actual expenses of
        collection, all court costs and reasonable attorneys’ fees and expenses incurred by
        the holder hereof.

 B.     NPA’s Default under the Note

        19.    NPA failed to make the payment due under the Note on December 31, 2020 in the

 amount of $1,406,111.92.

        20.    By letter dated January 7, 2021, the Debtor made demand on NPA for immediate

 payment under the Note (the “Demand Letter”). A true and correct copy of the Demand Letter is

 attached hereto as Exhibit 2. The Demand Letter provides:

        Because of Maker’s failure to pay, the Note is in default. Pursuant to Section 4 of
        the Note, all principal, interest, and any other amounts due on the Note are
        immediately due and payable. The amount due and payable on the Note as of
        January 8, 2021 is $24,471,804.98; however, interest continues to accrue under
        the Note.

        The Note is in default, and payment is due immediately.

 Demand Letter (emphasis in the original).

        21.    On January 14, 2021, in an apparent attempt to cure its default, NPA paid the

 Debtor the $1,406,111.92 that was due on December 31, 2020 (the “Partial Payment”).



                                                 5


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        22.     The Note does not contain a cure provision. Therefore, the Partial Payment did

 not cure NPA’s default. Accordingly, on January 15, 2021, the Debtor sent NPA a follow-up

 letter to its Demand Letter (the “Second Demand Letter”), a true and correct copy of which is

 attached hereto as Exhibit 3, stating:

        [T]he Partial Payment will be applied as payment against the amounts due under
        the Note in accordance with Section 3 thereof. The Note remains in default,
        and all amounts due thereunder are due immediately.

        After adjusting for the Partial Payment and the continued accrual of interest, the
        amount due under the Note as of January 15, 2021, is $23,071,195.03 (which
        amount does not include expenses incurred to date in collecting the Note).

 Second Demand Letter (emphasis in original).

        23.     Despite the Debtor’s demands, NPA did not pay the amount demanded by the

 Debtor on January 7, 2021, or at any time thereafter.

        24.     As of January 15, 2021, the total outstanding principal and accrued but unpaid

 interest due under the Note was $23,071,195.03

        25.     Pursuant to Section 4 of the Note, the Note is in default and is currently due and

 payable.

                                   FIRST CLAIM FOR RELIEF
                                     (For Breach of Contract)

        26.     The Debtor repeats and re-alleges the allegations in each of the foregoing

 paragraphs as though fully set forth herein.

        27.     The Note is a binding and enforceable contract.

        28.     NPA breached the Note by failing to pay all amounts due to the Debtor upon

 NPA’s default and acceleration.

        29.     Pursuant to the Note, the Debtor is entitled to damages from NPA in an amount

 equal to (i) the aggregate outstanding principal due under each Note, plus (ii) all accrued and


                                                  6


                                                                                                     APP 030
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 unpaid interest thereon until the date of payment, plus (iii) an amount equal to the Debtor’s costs

 of collection (including all court costs and reasonable attorneys’ fees and expenses) for NPA’s

 breach of its obligations under the Note.

        30.     As a direct and proximate cause of NPA’s breach of the Note, the Debtor has

 suffered damages in the amount of at least $23,071,195.03 as of January 15, 2021, plus an

 amount equal to all accrued but unpaid interest from that date, plus the Debtor’s cost of

 collection.

                              SECOND CLAIM FOR RELIEF
                       (Turnover by NPA Pursuant to 11 U.S.C. § 542(b))

        31.     The Debtor repeats and re-alleges the allegations in each of the foregoing

 paragraphs as though fully set forth herein.

        32.     NPA owes the Debtor an amount equal to (i) the aggregate outstanding principal

 due under the Note, plus (ii) all accrued and unpaid interest thereon until the date of payment,

 plus (iii) an amount equal to the Debtor’s costs of collection (including all court costs and

 reasonable attorneys’ fees and expenses) for NPA’s breach of its obligations under the Note.

        33.     The Note is property of the Debtor’s estate that is matured and payable upon

 default and acceleration.

        34.     NPA has not paid the amount due under the Note to the Debtor.

        35.     The Debtor has made demand for the turnover of the amount due under the Note.

        36.     As of the date of filing of this Complaint, NPA has not turned over the amount

 due under the Note.

        37.     The Debtor is entitled to the amount due under the Note.




                                                 7


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       WHEREFORE, the Debtor prays for judgment as follows:

             (i)     On its First Claim for Relief, damages in an amount to be determined at

             trial, including, among other things, (a) the outstanding principal due under the

             Note, plus (b) all accrued and unpaid interest thereon until the date of payment,

             plus (c) an amount equal to the Debtor’s costs of collection (including all court

             costs and reasonable attorneys’ fees and expenses);

             (ii)    On its Second Claim for Relief, ordering turnover by NPA to the Debtor

             of an amount equal to (a) the outstanding principal due under the Note, plus (b) all

             accrued and unpaid interest thereon until the date of payment, plus (c) an amount

             equal to the Debtor’s costs of collection (including all court costs and reasonable

             attorneys’ fees and expenses); and

             (iii)   Such other and further relief as this Court deems just and proper.




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 Dated: January 22, 2021.        PACHULSKI STANG ZIEHL & JONES LLP

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 Counsel for Highland Capital Management, L.P.

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                              §
 In re:
                                                              §    Chapter 11
 HIGHLAND CAPITAL MANAGEMENT, L.P., 1                         §
                                                              §    Case No. 19-34054-sgj11
                                                              §
                                   Debtor.
                                                              §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,                           §
                                                              §
                                   Plaintiff,                 §    Adversary Proceeding No.
                                                              §
 vs.                                                          §    ______________________
                                                              §
 HIGHLAND CAPITAL MANAGEMENT                                  §
 SERVICES, INC,                                               §
                                                              §
                                   Defendant.




 1
   The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
 address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.


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                       COMPLAINT FOR (I) BREACH OF CONTRACT
              AND (II) TURNOVER OF PROPERTY OF THE DEBTOR’S ESTATE

         Plaintiff, Highland Capital Management, L.P., the above-captioned debtor and debtor-in-

 possession (the “Debtor”) in the above-captioned chapter 11 case and the plaintiff in the above-

 captioned adversary proceeding (the “Adversary Proceeding”), by its undersigned counsel, as

 and for its complaint (the “Complaint”) against defendant, Highland Capital Management

 Services, Inc. (“HCMS” or “Defendant”), alleges upon knowledge of its own actions and upon

 information and belief as to other matters as follows:

                                 PRELIMINARY STATEMENT

         1.       The Debtor brings this action against HCMS as a result of HCMS’s defaults under

 (i) four demand notes in the aggregate principal amount of $900,000 and payable upon the

 Debtor’s demand, and (ii) one term note in the aggregate principal amount of $20,247,628.02

 and payable in the event of default, all executed by HCMS in favor of the Debtor. HCMS has

 failed to pay amounts due and owing under the notes and the accrued but unpaid interest thereon.

         2.       Through this Complaint, the Debtor seeks (a) damages from HCMS in an amount

 equal to (i) the aggregate outstanding principal due under the Notes (as defined below), plus (ii)

 all accrued and unpaid interest thereon until the date of payment, plus (iii) an amount equal to the

 Debtor’s costs of collection (including all court costs and reasonable attorneys’ fees and

 expenses, as provided for in the notes) for HCMS’s breach of its obligations under the Notes, and

 (b) turnover by HCMS to the Debtor of the foregoing amounts.

                                  JURISDICTION AND VENUE

         3.       This adversary proceeding arises in and relates to the Debtor’s case pending

 before the United States Bankruptcy Court for the Northern District of Texas, Dallas Division

 (the “Court”) under chapter 11 of the Bankruptcy Code.


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         4.       The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

 1334.

         5.       This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b), and,

 pursuant to Rule 7008 of the Bankruptcy Rules, the Debtor consents to the entry of a final order

 by the Court in the event that it is later determined that the Court, absent consent of the parties,

 cannot enter final orders or judgments consistent with Article III of the United States

 Constitution.

         6.       Venue is proper in this District pursuant to 28 U.S.C. §§ 1408 and 1409.

                                           THE PARTIES

         7.       The Debtor is a limited liability partnership formed under the laws of Delaware

 with a business address at 300 Crescent Court, Suite 700, Dallas, Texas 75201.

         8.       Upon information and belief, HCMS is a company with offices located in Dallas,

 Texas, and is incorporated in the state of Delaware.

                                       CASE BACKGROUND

         9.       On October 16, 2019, the Debtor filed a voluntary petition for relief under chapter

 11 of the Bankruptcy Code in the United States Bankruptcy Court for the District of Delaware

 (the “Delaware Court”), Case No. 19-12239 (CSS) (the “Highland Bankruptcy Case”).

         10.      On October 29, 2019, the U.S. Trustee in the Delaware Court appointed an

 Official Committee of Unsecured Creditors (the “Committee”) with the following members: (a)

 Redeemer Committee of Highland Crusader Fund, (b) Meta-e Discovery, (c) UBS Securities

 LLC and UBS AG London Branch, and (d) Acis LP and Acis GP.




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            11.      On December 4, 2019, the Delaware Court entered an order transferring venue of

 the Highland Bankruptcy Case to this Court [Docket No. 186]. 2

            12.      The Debtor has continued in the possession of its property and has continued to

 operate and manage its business as a debtor-in-possession pursuant to sections 1107(a) and 1108

 of the Bankruptcy Code. No trustee or examiner has been appointed in this chapter 11 case.

                                            STATEMENT OF FACTS

 A.         The HCMS Demand Notes

            13.      HCMS is the maker under a series of demand notes in favor of the Debtor.

            14.      Specifically, on March 28, 2018, HCMS executed a demand note in favor of the

 Debtor, as payee, in the original principal amount of $150,000 (“HCMS’s First Demand Note”).

 A true and correct copy of HCMS’s First Demand Note is attached hereto as Exhibit 1.

            15.      On June 25, 2018, HCMS executed a demand note in favor of the Debtor, as

 payee, in the original principal amount of $200,000 (“HCMS’s Second Demand Note”). A true

 and correct copy of HCMS’s Second Demand Note is attached hereto as Exhibit 2.

            16.      On May 29, 2019, HCMS executed a demand note in favor of the Debtor, as

 payee, in the original principal amount of $400,000 (“HCMS’s Third Demand Note”). A true

 and correct copy of HCMS’s Third Demand Note is attached hereto as Exhibit 3

            17.      On June 26, 2019, HCMS executed a demand note in favor of the Debtor, as

 payee, in the original principal amount of $150,000 (“HCMS’s Fourth Demand Note,” and

 collectively, with HCMS’s First Demand Note, HCMS’s Second Demand Note, and HCMS’s

 Third Demand Note, the “Demand Notes”). A true and correct copy of HCMS’s Fourth Demand

 Note is attached hereto as Exhibit 4.



 2
     All docket numbers refer to the main docket for the Highland Bankruptcy Case maintained by this Court.

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         18.      Section 2 of the Demand Notes provide: “Payment of Principal and Interest.

 The accrued interest and principal of this Note shall be due and payable on demand of the

 Payee.”

         19.      Section 4 of the Demand Notes provides:

         Acceleration Upon Default. Failure to pay this Note or any installment
         hereunder as it becomes due shall, at the election of the holder hereof, without
         notice, demand, presentment, notice of intent to accelerate, notice of acceleration,
         or any other notice of any kind which are hereby waived, mature the principal of
         this Note and all interest then accrued, if any, and the same shall at once become
         due and payable and subject to those remedies of the holder hereof. No failure or
         delay on the part of the Payee in exercising any right, power, or privilege
         hereunder shall operate as a waiver hereof.

         20.      Section 6 of the Demand Notes provides:

         Attorneys’ Fees. If this Note is not paid at maturity (whether by acceleration or
         otherwise) and is placed in the hands of an attorney for collection, or if it is
         collected through a bankruptcy court or any other court after maturity, the Maker
         shall pay, in addition to all other amounts owing hereunder, all actual expenses of
         collection, all court costs and reasonable attorneys’ fees and expenses incurred by
         the holder hereof.

 B.      HCMS’s Defaults under Each Demand Note

         21.      By letter dated December 3, 2020, the Debtor made demand on HCMS for

 payment under the Demand Notes by December 11, 2020 (the “Demand Letter”). A true and

 correct copy of the Demand Letter is attached hereto as Exhibit 5. The Demand Letter provided:

         By this letter, Payee is demanding payment of the accrued interest and principal
         due and payable on the Notes in the aggregate amount of $947,519.43, which
         represents all accrued interest and principal through and including December 11,
         2020.

         Payment is due on December 11, 2020, and failure to make payment in full
         on such date will constitute an event of default under the Notes.

 Demand Letter (emphasis in the original).

         22.      Despite the Debtor’s demand, HCMS did not pay all or any portion of the

 amounts demanded by the Debtor on December 11, 2020.

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         23.      As of December 11, 2020, there was an outstanding principal amount of

 $158,776.59 on HCMS’s First Demand Note and accrued but unpaid interest in the amount of

 $3,257.32, resulting in a total outstanding amount as of that date of $162,033.91.

         24.      As of December 11, 2020, there was an outstanding principal balance of

 $212,403.37 on HCMS’s Second Demand Note and accrued but unpaid interest in the amount of

 $2,999.54, resulting in a total outstanding amount as of that date of $215,402.81.

         25.      As of December 11, 2020, there was an outstanding principal balance of

 $409,586.19 on HCMS’s Third Demand Note and accrued but unpaid interest in the amount of

 $5,256.62, resulting in a total outstanding amount as of that date of $414,842.81.

         26.      As of December 11, 2020, there was an outstanding principal balance of

 $153,564.74 on HCMS’s Fourth Demand Note and accrued but unpaid interest in the amount of

 $1,675.16, resulting in a total outstanding amount as of that date of $155,239.90.

         27.      Thus, as of December 11, 2020, the total outstanding principal and accrued but

 unpaid interest due under the Demand Notes was $947,519.43. Pursuant to Section 4 of each

 Demand Note, each Note is in default and is currently due and payable.

 C.      The HCMS Term Note

         28.      HCMS is the maker under a term note in favor of the Debtor.

         29.      Specifically, on May 31, 2017, HCMS executed a term note in favor of the

 Debtor, as payee, in the original principal amount of $20,247,628.02 (the “Term Note,” and

 together with the Demand Notes, the “Notes”). A true and correct copy of the Term Note is

 attached hereto as Exhibit 6.

         30.      Section 2 of the Term Note provides: “Payment of Principal and Interest.

 Principal and interest under this Note shall be due and payable as follows:



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         2.1    Annual Payment Dates. During the term of this Note, Borrower shall
         pay the outstanding principal amount of the Note (and all unpaid accrued interest
         through the date of each such payment) in thirty (30) equal annual payments (the
         “Annual Installment”) until the Note is paid in full. Borrower shall pay the
         Annual Installment on the 31st day of December of each calendar year during the
         term of this Note, commencing on the first such date to occur after the date of
         execution of this note.

         2.2    Final Payment Date. The final payment in the aggregate amount of the
         then outstanding and unpaid Note, together with all accrued and unpaid interest
         thereon, shall become immediately due and payable in full on December 31, 2047
         (the “Maturity Date”).

         31.      Section 3 of the Term Note provides:

         Prepayment Allowed: Renegotiation Discretionary.            Maker may prepay in
         whole or in part the unpaid principal or accrued interest of this Note. Any
         payments on this Note shall be applied first to unpaid accrued interest hereon, and
         then to unpaid principal hereof.

         32.      Section 4 of the Term Note provides:

         Acceleration Upon Default.           Failure to pay this Note or any installment
         hereunder as it becomes due shall, at the election of the holder hereof, without
         notice, demand, presentment, notice of intent to accelerate, notice of acceleration,
         or any other notice of any kind which are hereby waived, mature the principal of
         this Note and all interest then accrued, if any, and the same shall at once become
         due and payable and subject to those remedies of the holder hereof. No failure or
         delay on the part of the Payee in exercising any right, power, or privilege
         hereunder shall operate as a waiver hereof.

         33.      Section 6 of the Term Note provides:

         Attorneys’ Fees. If this Note is not paid at maturity (whether by acceleration or
         otherwise) and is placed in the hands of an attorney for collection, or if it is
         collected through a bankruptcy court or any other court after maturity, the Maker
         shall pay, in addition to all other amounts owing hereunder, all actual expenses of
         collection, all court costs and reasonable attorneys’ fees and expenses incurred by
         the holder hereof.

 D.      HCMS’s Default under the Term Note

         34.      HCMS failed to make the payment due under the Term Note on December 31,

 2020.



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         35.      By letter dated January 7, 2021, the Debtor made demand on HCMS for

 immediate payment under the Term Note (the “Second Demand Letter”). A true and correct

 copy of the Second Demand Letter is attached hereto as Exhibit 7. The Second Demand Letter

 provides:

         Because of Maker’s failure to pay, the Note is in default. Pursuant to Section 4 of
         the Note, all principal, interest, and any other amounts due on the Note are
         immediately due and payable. The amount due and payable on the Note as of
         January 8, 2021 is $6,757,248.95; however, interest continues to accrue under the
         Note.

         The Note is in default, and payment is due immediately.

 Second Demand Letter (emphasis in the original).

         36.      As of January 8, 2021, the total outstanding principal and accrued but unpaid

 interest under the Term Note was $6,757,248.95.

         37.      Pursuant to Section 4 of the Term Note, the Term Note is in default and is

 currently due and payable.

                                   FIRST CLAIM FOR RELIEF
                                     (For Breach of Contract)

         38.      The Debtor repeats and re-alleges the allegations in each of the foregoing

 paragraphs as though fully set forth herein.

         39.      The Notes are binding and enforceable contracts.

         40.      HCMS breached each Demand Note by failing to pay all amounts due to the

 Debtor upon the Debtor’s demand.

         41.      HCMS breached the Term Note by failing to pay all amounts due to the Debtor

 upon HCMS’s default and acceleration.

         42.      Pursuant to each Note, the Debtor is entitled to damages from HCMS in an

 amount equal to (i) the aggregate outstanding principal due under each Note, plus (ii) all accrued


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 and unpaid interest thereon until the date of payment, plus (iii) an amount equal to the Debtor’s

 costs of collection (including all court costs and reasonable attorneys’ fees and expenses) for

 HCMS’s breach of its obligations under each of the Notes.

         43.      As a direct and proximate cause of HCMS’s breach of each Demand Note, the

 Debtor has suffered damages in the amount of at least $947,519.43 as of December 11, 2020,

 plus an amount equal to all accrued but unpaid interest from that date, plus the Debtor’s cost of

 collection.

         44.      As a direct and proximate cause of HCMS’s breach of the Term Note, the Debtor

 has suffered damages in the amount of at least $6,757,248.95 as of January 8, 2021, plus an

 amount equal to all accrued but unpaid interest from that date, plus the Debtor’s cost of

 collection.

                                 SECOND CLAIM FOR RELIEF
                         (Turnover by HCMS Pursuant to 11 U.S.C. § 542(b))

         45.      The Debtor repeats and re-alleges the allegations in each of the foregoing

 paragraphs as though fully set forth herein.

         46.      HCMS owes the Debtor an amount equal to (i) the aggregate outstanding

 principal due under each of the Notes, plus (ii) all accrued and unpaid interest thereon until the

 date of payment, plus (iii) an amount equal to the Debtor’s costs of collection (including all court

 costs and reasonable attorneys’ fees and expenses) for HCMS’s breach of its obligations under

 each of the Notes.

         47.      Each Demand Note is property of the Debtor’s estate and the amounts due under

 each Demand Note are matured and payable upon demand.

         48.      The Term Note is property of the Debtor’s estate and the amounts due under the

 Term Note are matured and payable upon default and acceleration.


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          49.     The Debtor has made demand for turnover of the amounts due under each of the

 Notes.

          50.     As of the date of filing this Complaint, HCMS has not turned over to the Debtor

 all or any of the amounts due under each of the Notes.

          51.     The Debtor is entitled to the turnover of all amounts due under each of the Notes.

          WHEREFORE, the Debtor prays for judgment as follows:

                  (i)        On its First Claim for Relief, damages in an amount to be determined at

                  trial, including, among other things, (a) the aggregate outstanding principal due

                  under each Note, plus (b) all accrued and unpaid interest thereon until the date of

                  payment, plus (c) an amount equal to the Debtor’s cost of collection (including all

                  court costs and reasonable attorneys’ fees and expenses);

                   (ii)      On its Second Claim for Relief, ordering turnover by HCMS to the Debtor

                  of an amount equal to (a) the aggregate principal due under each Note, plus (b) all

                  accrued and unpaid interest thereon until the date of payment, plus (c) an amount

                  equal to the Debtor’s cost of collection (including all court costs and reasonable

                  attorneys’ fees and expenses); and

                  (iii)      Such other and further relief as this Court deems just and proper.




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 Dated: January 22, 2021.        PACHULSKI STANG ZIEHL & JONES LLP

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                                 Counsel for Highland Capital Management, L.P.




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 Counsel for Highland Capital Management, L.P.

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                              §
 In re:                                                            Chapter 11
                                                              §
 HIGHLAND CAPITAL MANAGEMENT, L.P., 1                         §
                                                              §    Case No. 19-34054-sgj11
                                                              §
                                   Debtor.
                                                              §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,                           §
                                                              §
                                   Plaintiff,                 §    Adversary Proceeding No.
                                                              §
 vs.                                                          §    ______________________
                                                              §
 HCRE PARTNERS, LLC (N/K/A/ NEXPOINT                          §
 REAL ESTATE PARTNERS, LLC,                                   §
                                                              §
                                   Defendant.




 1
   The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
 address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.


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                       COMPLAINT FOR (I) BREACH OF CONTRACT
              AND (II) TURNOVER OF PROPERTY OF THE DEBTOR’S ESTATE

         Plaintiff, Highland Capital Management, L.P., the above-captioned debtor and debtor-in-

 possession (the “Debtor”) in the above-captioned chapter 11 case and the plaintiff in the above-

 captioned adversary proceeding (the “Adversary Proceeding”), by its undersigned counsel, as

 and for its complaint (the “Complaint”) against defendant HCRE Partners, LLC (n/k/a NexPoint

 Real Estate Partners, LLC) (“HCRE” or “Defendant”), alleges upon knowledge of its own

 actions and upon information and belief as to other matters as follows:

                                 PRELIMINARY STATEMENT

         1.       The Debtor brings this action against HCRE as a result of HCRE’s defaults under

 (i) four demand notes in the aggregate principal amount of $4,250,000 and payable upon the

 Debtor’s demand, and (ii) one term note in the aggregate principal amount of $6,059,831.51

 payable in the event of default, all executed by HCRE in favor of the Debtor. HCRE has failed

 to pay amounts due and owing under the notes and the accrued but unpaid interest thereon.

         2.       Through this Complaint, the Debtor seeks (a) damages from HCRE in an amount

 equal to (i) the aggregate outstanding principal due under the Notes (as defined below), plus (ii)

 all accrued and unpaid interest thereon until the date of payment, plus (iii) an amount equal to the

 Debtor’s costs of collection (including all court costs and reasonable attorneys’ fees and

 expenses, as provided for in the notes) for HCRE’s breach of its obligations under the Notes, and

 (b) turnover by HCRE to the Debtor of the foregoing amounts.

                                  JURISDICTION AND VENUE

         3.       This adversary proceeding arises in and relates to the Debtor’s case pending

 before the United States Bankruptcy Court for the Northern District of Texas, Dallas Division

 (the “Court”) under chapter 11 of the Bankruptcy Code.


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         4.       The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

 1334.

         5.       This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b), and,

 pursuant to Rule 7008 of the Bankruptcy Rules, the Debtor consents to the entry of a final order

 by the Court in the event that it is later determined that the Court, absent consent of the parties,

 cannot enter final orders or judgments consistent with Article III of the United States

 Constitution.

         6.       Venue is proper in this District pursuant to 28 U.S.C. §§ 1408 and 1409.

                                           THE PARTIES

         7.       The Debtor is a limited liability partnership formed under the laws of Delaware

 with a business address at 300 Crescent Court, Suite 700, Dallas, Texas 75201.

         8.       Upon information and belief, HCRE is a limited liability company with offices

 located in Dallas, Texas and is organized under the laws of the state of Delaware.

                                       CASE BACKGROUND

         9.       On October 16, 2019, the Debtor filed a voluntary petition for relief under chapter

 11 of the Bankruptcy Code in the United States Bankruptcy Court for the District of Delaware

 (the “Delaware Court”), Case No. 19-12239 (CSS) (the “Highland Bankruptcy Case”).

         10.      On October 29, 2019, the U.S. Trustee in the Delaware Court appointed an

 Official Committee of Unsecured Creditors (the “Committee”) with the following members: (a)

 Redeemer Committee of Highland Crusader Fund, (b) Meta-e Discovery, (c) UBS Securities

 LLC and UBS AG London Branch, and (d) Acis LP and Acis GP.




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            11.      On December 4, 2019, the Delaware Court entered an order transferring venue of

 the Highland Bankruptcy Case to this Court [Docket No. 186]. 2

            12.      The Debtor has continued in the possession of its property and has continued to

 operate and manage its business as a debtor-in-possession pursuant to sections 1107(a) and 1108

 of the Bankruptcy Code. No trustee or examiner has been appointed in this chapter 11 case.

                                            STATEMENT OF FACTS

 A.         The HCRE Demand Notes

            13.      HCRE is the maker under a series of demand notes in favor of the Debtor.

            14.      Specifically, on November 27, 2013, HCRE executed a demand note in favor of

 the Debtor, as payee, in the original principal amount of $100,000 (“HCRE’s First Demand

 Note”). A true and correct copy of HCRE’s First Demand Note is attached hereto as Exhibit 1.

            15.      On October 12, 2017, HCRE executed a demand note in favor of the Debtor, as

 payee, in the original principal amount of $2,500,000 (“HCRE’s Second Demand Note”). A true

 and correct copy of HCRE’s Second Demand Note is attached hereto as Exhibit 2.

            16.      On October 15, 2018, HCRE executed a demand note in favor of the Debtor, as

 payee, in the original principal amount of $750,000 (“HCRE’s Third Demand Note”). A true

 and correct copy of HCRE’s Third Demand Note is attached hereto as Exhibit 3

            17.      On September 25, 2019, HCRE executed a demand note in favor of the Debtor, as

 payee, in the original principal amount of $900,000 (“HCRE’s Fourth Demand Note,” and

 collectively, with HCRE’s First Demand Note, HCRE’s Second Demand Note, and HCRE’s

 Third Demand Note, the “Demand Notes”). A true and correct copy of HCRE’s Fourth Demand

 Note is attached hereto as Exhibit 4.



 2
     All docket numbers refer to the main docket for the Highland Bankruptcy Case maintained by this Court.

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         18.      Section 2 of the Demand Notes provide: “Payment of Principal and Interest.

 The accrued interest and principal of this Note shall be due and payable on demand of the

 Payee.”

         19.      Section 4 of the Demand Notes provides:

         Acceleration Upon Default. Failure to pay this Note or any installment
         hereunder as it becomes due shall, at the election of the holder hereof, without
         notice, demand, presentment, notice of intent to accelerate, notice of acceleration,
         or any other notice of any kind which are hereby waived, mature the principal of
         this Note and all interest then accrued, if any, and the same shall at once become
         due and payable and subject to those remedies of the holder hereof. No failure or
         delay on the part of the Payee in exercising any right, power, or privilege
         hereunder shall operate as a waiver hereof.

         20.      Section 6 of the Demand Notes provides:

         Attorneys’ Fees. If this Note is not paid at maturity (whether by acceleration or
         otherwise) and is placed in the hands of an attorney for collection, or if it is
         collected through a bankruptcy court or any other court after maturity, the Maker
         shall pay, in addition to all other amounts owing hereunder, all actual expenses of
         collection, all court costs and reasonable attorneys’ fees and expenses incurred by
         the holder hereof.

 B.      HCRE’s Defaults under Each Demand Note

         21.      By letter dated December 3, 2020, the Debtor made demand on HCRE for

 payment of the Demand Notes by December 11, 2020 (the “Demand Letter”). A true and correct

 copy of the Demand Letter is attached hereto as Exhibit 5. The Demand Letter provides:

         By this letter, Payee is demanding payment of the accrued interest and principal
         due and payable on the Notes in the aggregate amount of $5,012,260.96, which
         represents all accrued interest and principal through and including December 11,
         2020.

         Payment is due on December 11, 2020, and failure to make payment in full
         on such date will constitute an event of default under the Notes.

 Demand Letter (emphasis in the original).

         22.      Despite the Debtor’s demand, HCRE did not pay all or any portion of the amount

 demanded by the Debtor on December 11, 2020 or at any time thereafter.

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         23.      As of December 11, 2020, there was an outstanding principal amount of $171,542

 on HCRE’s First Demand Note and accrued but unpaid interest in the amount of $526.10,

 resulting in a total outstanding amount as of that date of $172,068.10.

         24.      As of December 11, 2020, there was an outstanding principal balance of

 $3,149,919.12 on HCRE’s Second Demand Note and accrued but unpaid interest in the amount

 of $41,423.60, resulting in a total outstanding amount as of that date of $3,191,342.72.

         25.      As of December 11, 2020, there was an outstanding principal balance of

 $874,977.53 on HCRE’s Third Demand Note and accrued but unpaid interest in the amount of

 $10,931.23, resulting in a total outstanding amount as of that date of $885,908.76.

         26.      As of December 11, 2020, there was an outstanding principal balance of

 $750,279.14 on HCRE’s Fourth Demand Note and accrued but unpaid interest in the amount of

 $12,662.24, resulting in a total outstanding amount as of that date of $762,941.38.

         27.      Thus, as of December 11, 2020, the total outstanding principal and accrued but

 unpaid interest due under the Demand Notes was $5,012,260.96.

         28.      Pursuant to Section 4 of each Note, each Note is in default and is currently due

 and payable.

 C.      The HCRE Term Note

         29.       HCRE is the maker under a term note in favor of the Debtor.

         30.      Specifically, on May 31, 2017, HCRE executed a term note in favor of the

 Debtor, as payee, in the original principal amount of $6,059,831 (the “Term Note,” and together

 with the Demand Notes, the “Notes”). A true and correct copy of the Term Note is attached

 hereto as Exhibit 6.

         31.      Section 2 of the Term Note provides: “Payment of Principal and Interest.

 Principal and interest under this Note shall be due and payable as follows:

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         2.1    Annual Payment Dates. During the term of this Note, Borrower shall
         pay the outstanding principal amount of the Note (and all unpaid accrued interest
         through the date of each such payment) in thirty (30) equal annual payments (the
         “Annual Installment”) until the Note is paid in full. Borrower shall pay the
         Annual Installment on the 31st day of December of each calendar year during the
         term of this Note, commencing on the first such date to occur after the date of
         execution of this note.

         2.2    Final Payment Date. The final payment in the aggregate amount of the
         then outstanding and unpaid Note, together with all accrued and unpaid interest
         thereon, shall become immediately due and payable in full on December 31, 2047
         (the “Maturity Date”).

         32.      Section 3 of the Term Note provides:

         Prepayment Allowed: Renegotiation Discretionary. Maker may prepay in
         whole or in part the unpaid principal or accrued interest of this Note. Any
         payments on this Note shall be applied first to unpaid accrued interest hereon, and
         then to unpaid principal hereof.

         33.      Section 4 of the Term Note provides:

         Acceleration Upon Default. Failure to pay this Note or any installment
         hereunder as it becomes due shall, at the election of the holder hereof, without
         notice, demand, presentment, notice of intent to accelerate, notice of acceleration,
         or any other notice of any kind which are hereby waived, mature the principal of
         this Note and all interest then accrued, if any, and the same shall at once become
         due and payable and subject to those remedies of the holder hereof. No failure or
         delay on the part of the Payee in exercising any right, power, or privilege
         hereunder shall operate as a waiver hereof.

         34.      Section 6 of the Term Note provides:

         Attorneys’ Fees. If this Note is not paid at maturity (whether by acceleration or
         otherwise) and is placed in the hands of an attorney for collection, or if it is
         collected through a bankruptcy court or any other court after maturity, the Maker
         shall pay, in addition to all other amounts owing hereunder, all actual expenses of
         collection, all court costs and reasonable attorneys’ fees and expenses incurred by
         the holder hereof.

 D.      HCRE’s Default under the Term Note

         35.      HCRE failed to make the payment due under the Term Note on December 31,

 2020.



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         36.      By letter dated January 7, 2021, the Debtor made demand on HCRE for

 immediate payment under the Term Note (the “Second Demand Letter”). A true and correct

 copy of the Second Demand Letter is attached hereto as Exhibit 7.             The Demand Letter

 provides:

         Because of Maker’s failure to pay, the Note is in default. Pursuant to Section 4 of
         the Note, all principal, interest, and any other amounts due on the Note are
         immediately due and payable. The amount due and payable on the Note as of
         January 8, 2021 is $6,145,466.84; however, interest continues to accrue under the
         Note.

         The Term Note is in default, and payment is due immediately.

 Second Demand Letter (emphasis in the original).

         37.      Despite the Debtor’s demands, HCRE did not pay the amount demanded by the

 Debtor on January 7, 2021 or at any time thereafter.

         38.      As of January 8, 2021, the total outstanding principal and accrued but unpaid

 interest under the Term Note was $6,145,466.84.

         39.      Pursuant to Section 4 of the Term Note, the Note is in default and is currently due

 and payable.

                                   FIRST CLAIM FOR RELIEF
                                     (For Breach of Contract)

         40.      The Debtor repeats and re-alleges the allegations in each of the foregoing

 paragraphs as though fully set forth herein.

         41.      Each Note is a binding and enforceable contract.

         42.      HCRE breached each Demand Note by failing to pay all amounts due to the

 Debtor upon the Debtor’s demand.

         43.      HCRE breached the Term Note by failing to pay all amounts due to the Debtor

 upon HCRE’s default and acceleration.


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         44.      Pursuant to each Note, the Debtor is entitled to damages from HCRE in an

 amount equal to (i) the aggregate outstanding principal due under each Note, plus (ii) all accrued

 and unpaid interest thereon until the date of payment, plus (iii) an amount equal to the Debtor’s

 costs of collection (including all court costs and reasonable attorneys’ fees and expenses) for

 HCRE’s breach of its obligations under each of the Notes.

         45.      As a direct and proximate cause of HCRE’s breach of each Demand Note, the

 Debtor has suffered damages in the amount of at least $5,012,260.96 as of December 11, 2020,

 plus an amount equal to all accrued but unpaid interest from that date, plus the Debtor’s cost of

 collection.

         46.      As a direct and proximate cause of HCRE’s breach of the Term Note, the Debtor

 has suffered damages in the amount of at least $6,145,466.84 as of January 8, 2021, plus an

 amount equal to all accrued but unpaid interest from that date, plus the Debtor’s cost of

 collection.

                                 SECOND CLAIM FOR RELIEF
                         (Turnover by HCRE Pursuant to 11 U.S.C. § 542(b))

         47.      The Debtor repeats and re-alleges the allegations in each of the foregoing

 paragraphs as though fully set forth herein.

         48.      HCRE owes the Debtor an amount equal to (i) the aggregate outstanding principal

 due under each of the Notes, plus (ii) all accrued and unpaid interest thereon until the date of

 payment, plus (iii) an amount equal to the Debtor’s costs of collection (including all court costs

 and reasonable attorneys’ fees and expenses) for HCRE’s breach of its obligations under each of

 the Notes.

         49.      Each Demand Note is property of the Debtor’s estate and the amounts due under

 each Demand Note are matured and payable upon demand.


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          50.     The Term Note is property of the Debtor’s estate and the amounts due under the

 Term Note are matured and payable upon default and acceleration.

          51.     The Debtor has made demand for turnover of the amounts due under each of the

 Notes.

          52.     As of the date of filing this Complaint, HCRE has not turned over to the Debtor

 all or any of the amounts due under each of the Notes.

          53.     The Debtor is entitled to the turnover of all amounts due under each of the Notes.

          WHEREFORE, the Debtor prays for judgment as follows:

                  (i)        On its First Claim for Relief, damages in an amount to be determined at

                  trial, including, among other things, (a) the aggregate outstanding principal due

                  under each Note, plus (b) all accrued and unpaid interest thereon until the date of

                  payment, plus (c) an amount equal to the Debtor’s cost of collection (including all

                  court costs and reasonable attorneys’ fees and expenses);

                  (ii)       On its Second Claim for Relief, ordering turnover by HCRE to the Debtor

                  of an amount equal to (a) the aggregate principal due under each Note, plus (b) all

                  accrued and unpaid interest thereon until the date of payment, plus (c) an amount

                  equal to the Debtor’s cost of collection (including all court costs and reasonable

                  attorneys’ fees and expenses); and

                  (iii)      Such other and further relief as this Court deems just and proper.




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 Dated: January 22, 2021.        PACHULSKI STANG ZIEHL & JONES LLP

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                                 -and-

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 Counsel for Highland Capital Management, L.P.

                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

                                                                   §
     In re:                                                            Chapter 11
                                                                   §
                                                                   §
     HIGHLAND CAPITAL MANAGEMENT, L.P., 1                              Case No. 19-34054-sgj11
                                                                   §
                                                                   §
                                      Debtor.
                                                                   §
     HIGHLAND CAPITAL MANAGEMENT, L.P.,                            §
                                                                   §
                                      Plaintiff,                   §   Adversary Proceeding No.
                                                                   §
     vs.                                                           §   21-3003
                                                                   §
     JAMES DONDERO, NANCY DONDERO, AND                             §
     THE DUGABOY INVESTMENT TRUST,                                 §
                                                                   §
                                      Defendants.




 1
  The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
 for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.


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               AMENDED COMPLAINT FOR (I) BREACH OF CONTRACT,
       (II) TURNOVER OF PROPERTY, (III) FRAUDULENT TRANSFER, AND (IV)
                         BREACH OF FIDUCIARY DUTY

                  Plaintiff, Highland Capital Management, L.P., the above-captioned debtor and

 debtor-in-possession (the “Debtor”) in the above-captioned chapter 11 case (the “Bankruptcy

 Case”), and the plaintiff (the “Plaintiff”) in the above-captioned adversary proceeding (the

 “Adversary Proceeding”), by its undersigned counsel, as and for its amended complaint (the

 “Complaint”) against defendants James Dondero (“Mr. Dondero”), Nancy Dondero, and The

 Dugaboy Investment Trust (“Dugaboy,” and together with Mr. Dondero and Nancy Dondero,

 “Defendants”), alleges upon knowledge of its own actions and upon information and belief as to

 other matters as follows:

                                     PRELIMINARY STATEMENT

                  1.         The Debtor brings this action against Defendants in connection with Mr.

 Dondero’s defaults under three promissory notes executed by Mr. Dondero in favor of the Debtor

 in the aggregate original principal amount of $8,825,000, and payable upon the Debtor’s demand.

 Despite due demand, Mr. Dondero has failed to pay amounts due and owing under the notes and

 the accrued but unpaid interest thereon.

                  2.         After amending his answer and his sworn responses to interrogatories, Mr.

 Dondero now contends that the Debtor orally agreed to relieve him of his obligations under the

 notes upon fulfillment of “conditions subsequent” (the “Alleged Agreement”). Mr. Dondero

 further contends that he entered into the Alleged Agreement with his sister, Nancy Dondero, as

 trustee of Dugaboy, acting on behalf of the Debtor. At the time Mr. Dondero entered into the

 Alleged Agreement, he controlled the Debtor and was the lifetime beneficiary of Dugaboy.




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                  3.         Based on its books and records, discovery to date, and other facts, the

 Debtor believes that the Alleged Agreement is a fiction created after the commencement of this

 Adversary Proceeding for the purpose of avoiding or at least delaying paying the obligations due

 under the notes.

                  4.         Nevertheless, the Debtor amends its Complaint for the purpose of adding

 certain claims and naming additional parties who would be liable to the Debtor if the Alleged

 Agreement were determined to exist and be enforceable. Specifically, in addition to pursuing

 claims against Mr. Dondero for breach of his obligations under the notes and for turnover, the

 Debtor adds alternative claims (a) against Mr. Dondero for actual fraudulent transfer and aiding

 and abetting Dugaboy in its breach of fiduciary duty, (b) against Dugaboy for declaratory relief

 and for breach of fiduciary duty, and (c) against Nancy Dondero for aiding and abetting Dugaboy

 in the breach of his fiduciary duties.

                  5.         As remedies, the Debtor seeks (a) damages from Mr. Dondero in an amount

 equal to (i) the aggregate outstanding principal due under the Notes (as defined below), plus (ii)

 all accrued and unpaid interest thereon until the date of payment, plus (iii) an amount equal to the

 Debtor’s costs of collection (including all court costs and reasonable attorneys’ fees and expenses,

 as provided for in the notes), for Mr. Dondero’s breach of his obligations under the Notes, (b)

 turnover by Mr. Dondero to the Debtor of the foregoing amounts; (c) avoidance of the Alleged

 Agreement and the transfers thereunder and recovery of the funds transferred from the Plaintiff to,

 or for the benefit of, Mr. Dondero pursuant to the Notes; (d) declaratory relief, and (e) damages

 arising from the Defendants’ breach of fiduciary duties or aiding and abetting thereof.




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                                      JURISDICTION AND VENUE

                  6.         This adversary proceeding arises in and relates to the Debtor’s case pending

 before the United States Bankruptcy Court for the Northern District of Texas, Dallas Division (the

 “Court”) under chapter 11 of the Bankruptcy Code.

                  7.         The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

 and 1334.

                  8.         This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b),

 and, pursuant to Rule 7008 of the Bankruptcy Rules, the Debtor consents to the entry of a final

 order by the Court in the event that it is later determined that the Court, absent consent of the

 parties cannot enter final orders or judgments consistent with Article III of the United States

 Constitution.

                  9.         Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

                                               THE PARTIES

                  10.        The Debtor is a limited liability partnership formed under the laws of

 Delaware with a business address at 300 Crescent Court, Suite 700, Dallas, Texas 75201.

                  11.        Upon information and belief, Mr. Dondero is an individual residing in

 Dallas, Texas. He is the co-founder of the Debtor and was the Debtor’s President and Chief

 Executive Officer until his resignation on January 9, 2020. At all relevant times, Mr. Dondero

 controlled the Debtor.

                  12.        Upon information and belief, Dugaboy is (a) a limited partner of the Debtor,

 and (b) one of Mr. Dondero’s family investment trusts for which is he a lifetime beneficiary.

                  13.        Upon information and belief, Nancy Dondero is Mr. Dondero’s sister, and

 the trustee of Dugaboy.



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                                             CASE BACKGROUND

                     14.     On October 16, 2019, the Debtor filed a voluntary petition for relief under

 chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the District of

 Delaware (the “Delaware Court”), Case No. 19-12239 (CSS) (the “Highland Bankruptcy Case”).

                     15.     On October 29, 2019, the U.S. Trustee in the Delaware Court appointed an

 Official Committee of Unsecured Creditors (the “Committee”) with the following members: (a)

 Redeemer Committee of Highland Crusader Fund (“Redeemer”), (b) Meta-e Discovery, (c) UBS

 Securities LLC and UBS AG London Branch, and (d) Acis Capital Management, L.P. and Acis

 Capital Management GP LLC (collectively, “Acis”).

                     16.     On June 25, 2021, the U.S. Trustee in this Court filed that certain Notice of

 Amended Unsecured Creditors’ Committee [Docket No. 2485] notifying the Court that Acis and

 Redeemer had resigned from the Committee.

                     17.     On December 4, 2019, the Delaware Court entered an order transferring

 venue of the Highland Bankruptcy Case to this Court [Docket No. 186]. 2

                     18.     The Debtor has continued in the possession of its property and has

 continued to operate and manage its business as a debtor-in-possession pursuant to sections

 1107(a) and 1108 of the Bankruptcy Code. No trustee or examiner has been appointed in this

 chapter 11 case.

                                            STATEMENT OF FACTS

 A.         The Dondero Notes

                     19.     Mr. Dondero, in his personal capacity, is the maker under a series of

 promissory notes in favor of the Debtor.



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     All docket numbers refer to the main docket for the Highland Bankruptcy Case maintained by this Court.

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                  20.        Specifically, on February 2, 2018, Mr. Dondero executed a promissory note

 in favor of the Debtor, as payee, in the original principal amount of $3,825,000 (“Dondero’s First

 Note”). A true and correct copy of Dondero’s First Note is attached hereto as Exhibit 1.

                  21.        On August 1, 2018, Mr. Dondero executed a promissory note in favor of the

 Debtor, as payee, in the original principal amount of $2,500,000 (“Dondero’s Second Note”). A

 true and correct copy of Dondero’s Second Note is attached hereto as Exhibit 2.

                  22.        On August 13, 2018, Mr. Dondero executed a promissory note in favor of

 the Debtor, as payee, in the original principal amount of $2,500,000 (“Dondero’s Third Note” and

 collectively, with Dondero’s First Note and Dondero’s Second Note, the “Notes”). A true and

 correct copy of Dondero’s Third Note is attached hereto as Exhibit 3.

                  23.        Section 2 of each Note provides: “Payment of Principal and Interest. The

 accrued interest and principal of this Note shall be due and payable on demand of the Payee.”

                  24.        Section 4 of each Note provides:

                  Acceleration Upon Default. Failure to pay this Note or any installment
                  hereunder as it becomes due shall, at the election of the holder hereof,
                  without notice, demand, presentment, notice of intent to accelerate, notice
                  of acceleration, or any other notice of any kind which are hereby waived,
                  mature the principal of this Note and all interest then accrued, if any, and
                  the same shall at once become due and payable and subject to those
                  remedies of the holder hereof. No failure or delay on the part of the Payee
                  in exercising any right, power, or privilege hereunder shall operate as a
                  waiver hereof.

                  25.        Section 6 of each Note provides:

                  Attorneys’ Fees. If this Note is not paid at maturity (whether by
                  acceleration or otherwise) and is placed in the hands of an attorney for
                  collection, or if it is collected through a bankruptcy court or any other court
                  after maturity, the Maker shall pay, in addition to all other amounts owing
                  hereunder, all actual expenses of collection, all court costs and reasonable
                  attorneys’ fees and expenses incurred by the holder hereof.




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 B.      Mr. Dondero Defaults Under Each Note

                  26.        By letter dated December 3, 2020, the Debtor made demand on Mr.

 Dondero for payment under the Notes by December 11, 2020 (the “Demand Letter”). A true and

 correct copy of the Demand Letter is attached hereto as Exhibit 4. The Demand Letter provided:

                  By this letter, Payee is demanding payment of the accrued interest and
                  principal due and payable on the Notes in the aggregate amount of
                  $9,004,013.07, which represents all accrued interest and principal through
                  and including December 11, 2020.

                  Payment is due on December 11, 2020, and failure to make payment in
                  full on such date will constitute an event of default under the Notes.

 Demand Letter (emphasis in the original).

                  27.        Despite the Debtor’s demand, Mr. Dondero did not pay all or any portion

 of the amounts demanded by the Debtor on December 11, 2020, or at any time thereafter.

                  28.        As of December 11, 2020, there was an outstanding principal amount of

 $3,687,269.71 on Dondero’s First Note and accrued but unpaid interest in the amount of

 $21,003.70, resulting in a total outstanding amount as of that date of $3,708,273.41.

                  29.        As of December 11, 2020, there was an outstanding principal balance of

 $2,619,929.42 on Dondero’s Second Note and accrued but unpaid interest in the amount of

 $27,950.70, resulting in a total outstanding amount as of that date of $2,647,880.12.

                  30.        As of December 11, 2020, there was an outstanding principal balance of

 $2,622,425.61 on Dondero’s Third Note and accrued but unpaid interest in the amount of

 $25,433.94, resulting in a total outstanding amount as of that date of $2,647,859.55.

                  31.        Thus, as of December 11, 2020, the total outstanding principal and accrued

 but unpaid interest due under the Notes was $9,004,013.07.

                  32.        Pursuant to Section 4 of each Note, each Note is in default, and is currently

 due and payable.

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 C.      The Debtor Files the Original Complaint

                  33.        On January 22, 2021, the Debtor filed the Complaint for (I) Breach of

 Contract and (II) Turnover of Property of the Debtor’s Estate [Docket No. 1] (the “Original

 Complaint”). In the Original Complaint, the Debtor brought claims for (i) breach of contract for

 Mr. Dondero’s breach of his obligations under the Notes and (ii) turnover by Mr. Dondero for

 the outstanding amounts under the Notes, plus all accrued and unpaid interest until the date of

 payment plus the Debtor’s costs of collection and reasonable attorney’s fees.

 D.      Mr. Dondero’s Affirmative Defenses

                  34.        On March 16, 2021, Mr. Dondero filed his Original Answer [Docket No. 6]

 (the “Original Answer”). In his Original Answer, Mr. Dondero asserted four affirmative defenses:

 (i) the Debtor’s claims should be barred because it was previously agreed by the Debtor that the

 Debtor would not collect on the Notes, (ii) waiver, (iii) estoppel, and (iv) failure of consideration.

 See id. ¶¶ 40-43.

                  35.        On April 6, 2021, Mr. Dondero filed his Amended Answer [Docket No. 16]

 (the “Amended Answer”), asserting three additional affirmative defenses: (i) the Debtor previously

 agreed that it would not collect on the Notes “upon fulfillment of conditions subsequent” (i.e., the

 Alleged Agreement) id. ¶ 40, (ii) The Debtor’s claims are barred, in whole or in part, due to setoff,

 id. ¶ 41, and (iii) the Notes are “ambiguous,” id. ¶ 45.

                  36.        According to Mr. Dondero, the Alleged Agreement was orally entered into

 in January or February 2019, and was not memorialized in any documentation.

                  37.        According to Mr. Dondero, he entered into the Alleged Agreement with his

 sister, Nancy Dondero, acting in her capacity as the Trustee of Dugaboy, which purportedly held

 the majority of the Debtor’s Class A limited partnership interests.



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                  38.        Mr. Dondero controlled the Debtor at the time he entered into the Alleged

 Agreement.

                  39.        Mr. Dondero did not inform the Debtor’s CFO or outside auditor’s about

 the Alleged Agreement.

                  40.        According to Mr. Dondero, he discussed the Alleged Agreement with

 Nancy Dondero, but (a) no one else participated in the discussions surrounding the execution or

 authorization of the Alleged Agreement, and (b) the Alleged Agreement was not subject to any

 negotiation.

                  41.        Upon information and belief, the Debtor’s books and records do not reflect

 the Alleged Agreement.

 E.      Dugaboy Lacked Authority to Act on Behalf of the Debtor

                  42.        Under section 4.2 of the Fourth Amended and Restated Agreement of

 Limited Partnership of Highland Capital Management, L.P. (the “Limited Partnership

 Agreement”), and attached hereto as Exhibit 5, Dugaboy was not authorized to enter into the

 Alleged Agreement on behalf of the Partnership, or otherwise bind the Partnership (as

 “Partnership” is defined in the Limited Partnership Agreement).

                  43.        Section 4.2(b) of the Limited Partnership Agreement states:

                  Management of Business. No Limited Partner shall take part in the control (within
                  the meaning of the Delaware Act) of the Partnership’s business, transact any
                  business in the Partnership’s name, or have the power to sign documents for or
                  otherwise bind the Partnership other than as specifically set forth in this Agreement.

 Exhibit 5, § 4.2(b).

                  44.        No provision in the Limited Partnership Agreement authorizes any of the

 Partnership’s limited partners to bind the Partnership.




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                  45.        Nancy Dondero also lacked authority to enter into the Alleged Agreement

 or to otherwise bind the Debtor.

                                       FIRST CLAIM FOR RELIEF
                                          (Against Mr. Dondero)
                                           (Breach of Contract)

                  46.        The Debtor repeats and re-alleges the allegations in each of the foregoing

 paragraphs as though fully set forth herein.

                  47.        Each Note is a binding and enforceable contract.

                  48.        Mr. Dondero breached each Note by failing to pay all amounts due to the

 Debtor upon the Debtor’s demand.

                  49.        Pursuant to each Note, the Debtor is entitled to damages from Mr. Dondero

 in an amount equal to (i) the aggregate outstanding principal due under each Note, plus (ii) all

 accrued and unpaid interest thereon until the date of payment, plus (iii) an amount equal to the

 Debtor’s costs of collection (including all court costs and reasonable attorneys’ fees and expenses),

 for Mr. Dondero’s breach of his obligations under each of the Notes.

                  50.        As a direct and proximate cause of Mr. Dondero’s breach of each Note, the

 Debtor has suffered damages in the total amount of at least $9,004,013.07, as of December 11,

 2020, plus an amount equal to all accrued but unpaid interest from that date plus the Debtor’s cost

 of collection.

                                     SECOND CLAIM FOR RELIEF
                                         (Against Mr. Dondero)
                                 (Turnover Pursuant to 11 U.S.C. § 542(b))

                  51.        The Debtor repeats and re-alleges the allegations in each of the foregoing

 paragraphs as though fully set forth herein.

                  52.        Mr. Dondero owes the Debtor an amount equal to (i) the aggregate

 outstanding principal due under each Note, plus (ii) all accrued and unpaid interest thereon until

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 the date of payment, plus (iii) an amount equal to the Debtor’s costs of collection (including all

 court costs and reasonable attorneys’ fees and expenses), for Mr. Dondero’s breach of his

 obligations under each of the Notes.

                  53.        Each Note is property of the Debtor’s estate and the amounts due under each

 Note is matured and payable upon demand.

                  54.        Mr. Dondero has not paid the amounts dues under each Note to the Debtor.

                  55.        The Debtor has made demand for the turnover of the amounts due under

 each Note.

                  56.        As of the date of filing of this Complaint, Mr. Dondero has not turned over

 to the Debtor all or any of the amounts due under each of the Notes.

                  57.        The Debtor is entitled to the turnover of all amounts due under each of the

 Notes.

                             THIRD CLAIM FOR RELIEF
                                 (Against Mr. Dondero)
  (Avoidance and Recovery of Actual Fraudulent Transfer Under 11 U.S.C. §§ 548(a)(1)(A)
                                       and 550)

                  58.        The Debtor repeats and re-alleges the allegations in each of the foregoing

 paragraphs as though fully set forth herein.

                  59.        The Debtor made the transfers in the aggregate amount of $8,825,000 in

 exchange for the Alleged Agreement within two years of the Petition Date.

                  60.        Mr. Dondero entered into the Alleged Agreement with actual intent to

 hinder, delay, or defraud a present or future creditor, demonstrated by, inter alia:

                  (a) The transfers were made to, or for the benefit of, Mr. Dondero, an insider of the

                        Debtor.




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                  (b) Mr. Dondero entered into the Alleged Agreement with his sister, Nancy

                        Dondero.

                  (c) Mr. Dondero did not inform the Debtor’s CFO or outside auditors about the

                        Alleged Agreement.

                  (d) The Debtor’s books and record do not reflect the Alleged Agreement.

                  (e) The Alleged Agreement was not subject to negotiation.

                  (f) The value of the consideration received by the Debtor for the transfers was not

                        reasonably equivalent in value.

                  61.        The pattern of conduct, series of transactions, and general chronology of

 events under inquiry in connection with the debt Mr. Dondero incurred under the Notes

 demonstrates a scheme of fraud.

                  62.        Pursuant to 11 U.S.C. § 550, the Debtor is entitled to recover for the benefit

 of the Debtor’s estates the transfers made in exchange for the Alleged Agreement from Mr.

 Dondero.

                  63.        Accordingly, the Debtor is entitled to a judgement: (i) avoiding Alleged

 Agreement and the transfers thereunder, and (ii) recovering from Mr. Dondero the amount of

 $8,825,000.

                            FOURTH CLAIM FOR RELIEF
                                 (Against Mr. Dondero)
   (Avoidance and Recovery of Actual Fraudulent Transfer Under 11 U.S.C. §§ 544(b) and
                      550, and Tex. Bus. & C. Code § 24.005(a)(1))

                  64.        The Debtor repeats and re-alleges the allegations in each of the foregoing

 paragraphs as though fully set forth herein.




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                  65.        The Debtor made the transfers in the aggregate amount of $8,825,000 in

 exchange for the Alleged Agreement after, or within a reasonable time before, creditors’ claims

 arose.

                  66.        Mr. Dondero entered into the Alleged Agreement with actual intent to

 hinder, delay, or defraud a present or future creditor of the Debtor, demonstrated by, inter alia:

                  (g) The transfers were made to, or for the benefit of, Mr. Dondero, an insider of the

                        Debtor.

                  (h) Mr. Dondero entered into the Alleged Agreement with his sister, Nancy

                        Dondero.

                  (i) Mr. Dondero did not inform the Debtor’s CFO or outside auditor’s about the

                        Alleged Agreement.

                  (j) Upon information and belief, the Debtor’s books and record do not reflect the

                        Alleged Agreement.

                  (k) The Alleged Agreement was not subject to negotiation.

                  (l) The value of the consideration received by the Debtor for the transfers was not

                        reasonably equivalent in value.

                  67.        Pursuant to 11 U.S.C. § 550, the Debtor is entitled to recover for the benefit

 of the Debtor’s estates the transfers made in exchange for the Alleged Agreement from Mr.

 Dondero.

                  68.        Accordingly, the Debtor is entitled to a judgement: (i) avoiding the Alleged

 Agreement and the transfers thereunder, and (ii) recovering from Mr. Dondero the amount of

 $8,825,000.




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                                 FIFTH CLAIM FOR RELIEF
                                        (Against Dugaboy)
            (For Declaratory Relief: -- 11 U.S.C. § 105(a) and Fed. R. Bankr. P. 7001)

                  69.        The Debtor repeats and re-alleges the allegations in each of the foregoing

 paragraphs as though fully set forth herein.

                  70.        A bona fide, actual, present dispute exists between the Debtor and Dugaboy

 concerning whether Dugaboy was authorized to entered into the Alleged Agreement on the

 Debtor’s behalf.

                  71.        A judgment declaring the parties’ respective rights and obligations will

 resolve their dispute..

                  72.        Pursuant to Bankruptcy Rule 7001, the Debtor specifically seeks

 declarations that:

                  •     (a) limited partners, including but not limited to Dugaboy, have no right or

                        authority to take part in the control (within the meaning of the Delaware Act)

                        of the Partnership’s business, transact any business in the Partnership’s name,

                        or have the power to sign documents for or otherwise bind the Partnership other

                        than as specifically provided in the Limited Partnership Agreement,

                  •     (b) Dugaboy was not authorized under the Limited Partnership Agreement to

                        enter into the Alleged Agreement on behalf of the Partnership,

                  •     (c) Dugaboy otherwise had no right or authority to enter into the Alleged

                        Agreement on behalf of the Partnership, and

                  •     (d) the Alleged Agreement is null and void.




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                                       SIXTH CLAIM FOR RELIEF
                                             (Against Dugaboy)
                                         (Breach of Fiduciary Duty)

                  73.        The Debtor repeats and re-alleges the allegations in each of the foregoing

 paragraphs as though fully set forth herein.

                  74.        If Dugaboy, as a limited partner, had the authority to enter into the Alleged

 Agreement on behalf of the Debtor, then Dugaboy would owe the Debtor a fiduciary duty.

                  75.        If Dugaboy had the authority to enter into the Alleged Agreement on behalf

 of the Debtor, then Dugaboy breached its fiduciary duty of care to the Debtor by entering into and

 authorizing the purported Alleged Agreement on behalf of the Debtor.

                  76.        Accordingly, the Debtor is entitled to recover from Dugaboy (a) actual

 damages that the Debtor suffered as a result of its breach of fiduciary duty, and (b) for punitive

 and exemplary damages.

                                    SEVENTH CLAIM FOR RELIEF
                               (Against James Dondero and Nancy Dondero)
                             (Aiding and Abetting a Breach of Fiduciary Duty)

                  77.        The Debtor repeats and re-alleges the allegations in each of the foregoing

 paragraphs as though fully set forth herein.

                  78.        James Dondero and Nancy Dondero (together, the “Donderos”) were aware

 that Dugaboy would have fiduciary duties to the Debtor if it acted to bind the Debtor.

                  79.        The Donderos aided and abetted Dugaboy’s breach of its fiduciary duties to

 the Debtor by knowingly participating in the authorization of the purported Alleged Agreement.

                  80.        The Donderos aided and abetted Dugaboy’s breach of its fiduciary duty to

 the Debtor by knowingly participating in the authorization of the purported Alleged Agreement.




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                  81.        Accordingly, the Donderos are jointly and severally liable (a) for the actual

 damages that the Debtor suffered as a result of aiding and abetting Dondero’s breaches of fiduciary

 duties, and (b) for punitive and exemplary damages.

         WHEREFORE, the Debtor prays for judgment as follows:

                  (i)        On its First Claim for Relief, damages in an amount to be determined at trial

                  but includes (a) the aggregate outstanding principal due under each Note, plus (b)

                  all accrued and unpaid interest thereon until the date of payment, plus (c) an amount

                  equal to the Debtor’s costs of collection (including all court costs and reasonable

                  attorneys’ fees and expenses);

                  (ii)       On its Second Claim for Relief, ordering turnover by Mr. Dondero to the

                  Debtor of an amount equal to (a) the aggregate outstanding principal due under

                  each Note, plus (b) all accrued and unpaid interest thereon until the date of payment,

                  plus (c) an amount equal to the Debtor’s costs of collection (including all court

                  costs and reasonable attorneys’ fees and expenses);

                  (iii)      On its Third Claim for Relief, avoidance of the Alleged Agreement and the

                  transfers thereunder and recovering from Mr. Dondero the amount of $8,825,000

                  pursuant to section 548 of the Bankruptcy Code;

                  (iv)       On its Fourth Claim for Relief, avoidance of the Alleged Agreement and the

                  transfers thereunder and recovering from Mr. Dondero the amount of $8,825,000

                  pursuant to section Tex. Bus. & C. Code § 24.005(a)(1);

                  (v)        On its Fifth Claim for Relief, a declaration that: (a) limited partners,

                  including but not limited to Dugaboy, have no right or authority to take part in the

                  control (within the meaning of the Delaware Act) of the Partnership’s business,



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                  transact any business in the Partnership’s name, or have the power to sign

                  documents for or otherwise bind the Partnership other than as specifically provided

                  in the Limited Partnership Agreement, (b) Dugaboy was not authorized under the

                  Limited Partnership Agreement to enter into the Alleged Agreement on behalf of

                  the Partnership, (c) Dugaboy otherwise had no right or authority to enter into the

                  Alleged Agreement on behalf of the Partnership, and (d) the Alleged Agreement is

                  null and void;

                  (vi)       On its Sixth Claim for Relief, actual damages from Dugaboy, in an amount

                  to be determined at trial, that Debtor suffered as a result of Dugaboy’s breach of

                  fiduciary duty, and for punitive and exemplary damages;

                  (vii)      On its Seventh Claim for Relief, actual damages from the Donderos, jointly

                  and severally, in an amount to be determined at trial, that Debtor suffered as a result

                  of aiding and abetting Dugaboy’s breaches of fiduciary duty, and for punitive and

                  exemplary damages; and

                  Such other and further relief as this Court deems just and proper.




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  Dated: As of July 13, 2021      PACHULSKI STANG ZIEHL & JONES LLP
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                              EXHIBIT 1




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                      HIGHLAND CAPITAL MANAGEMENT, L.P.

 December 3, 2020



 James Dondero
 c/o Highland Capital Management, L.P.
 300 Crescent Court, Suite 700
 Dallas, Texas 75201

         Re: Demand on Promissory Notes:

 Dear Mr. Dondero,

 You entered into the following promissory notes (collectively, the “Notes”) in favor of Highland
 Capital Management, L.P. (“Payee”):

Date Issued      Original Principal   Outstanding Principal    Accrued But             Total Amount
                      Amount           Amount (12/11/20)      Unpaid Interest      Outstanding (12/11/20)
                                                                (12/11/20)
   2/2/18            $3,825,000           $3,687,269.71         $21,003.70             $3,708,273.41
   8/1/18            $2,500,000           $2,619,929.42         $27,950.70             $2,647,880.12
  8/13/18            $2,500,000           $2,622,425.61         $25,433.94             $2,647,859.55
  TOTALS            $16,725,000           $8,929,624.74         $74,388.33             $9,004,013.07

 As set forth in Section 2 of each of the Notes, accrued interest and principal is due and payable
 upon the demand of Payee. By this letter, Payee is demanding payment of the accrued interest
 and principal due and payable on the Notes in the aggregate amount of $9,004,013.07, which
 represents all accrued and unpaid interest and principal through and including December 11,
 2020.

 Payment is due on December 11, 2020, and failure to make payment in full on such date
 will constitute an event of default under the Notes.

 Payments on the Notes must be made in immediately available funds. Payee’s wire information
 is attached hereto as Appendix A.

 Nothing contained herein constitutes a waiver of any rights or remedies of Payee under the Notes
 or otherwise and all such rights and remedies, whether at law, equity, contract, or otherwise, are
 expressly reserved. Interest, including default interest if applicable, on the Notes will continue to
 accrue until the Notes are paid in full. Any such interest will remain your obligation.

 Sincerely,

 /s/ James P. Seery, Jr.

 James P. Seery, Jr.
 Highland Capital Management, L.P.
 Chief Executive Officer/Chief Restructuring Officer



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 cc:     Fred Caruso
         James Romey
         Jeffrey Pomerantz
         Ira Kharasch
         Gregory Demo
         D. Michael Lynn




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                                    Appendix A


                  ABA #:          322070381
                  Bank Name:      East West Bank
                  Account Name:   Highland Capital Management, LP
                  Account #:      5500014686




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                        FOURTH AMENDED AND RESTATED

                     AGREEMENT OF LIMITED PARTNERSHIP

                                       OF

                     HIGHLAND CAPITAL MANAGEMENT, L.P.




THE PARTNERSHIP INTERESTS REPRESENTED BY THIS LIMITED PARTNERSHIP
AGREEMENT HA VE NOT BEEN REGISTERED UNDER THE SECURITIES ACT OP 1933 OR
UNDER ANY STATE SECURITIES ACTS IN RELIANCE UPON EXEMPTIONS UNDER THOSE
ACTS. THE SALE OR OTHER DISPOSITION OF THE PARTNERSHIP INTERESTS IS
PROHIBITED UNLESS THAT SALE OR DISPOSITION IS MADE IN COMPLIANCE WITH ALL
SUCH APPLICABLE ACTS. ADDITIONAL RESTRICTIONS ON TRANSFER OF THE
PARTNERSHIP INTERESTS ARE SET FORTH IN THIS AGREEMENT.




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                                  FOURTH AMENDED AND RESTATED
                                AGREEMENT OF LIMITED PARTNERSHIP
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                                HIGHLAND CAPITAL MANAGEMENT, L.P.

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                             FOURTH AMENDED AND RESTATED
                           AGREEMENT OF LIMITED PARTNERSHIP
                                          OF
                           HIGHLAND CAPITAL MANAGEMENT, L.P.

        THIS FOURTH AMENDED AND RESTATED AGREEMENT OF LIMITED PARTNERSHIP
is entered into on this 24 1h day of December, 2015, to be effective as of December 24, 2015, by and
among Strand Advisors, Inc., a Delaware corporation ("Strand"), as General Partner, the Limited Pat1ners
party hereto, and any Person hereinafter admitted as a Limited Pai1ner.



                                              ARTICLE 1

                                              GENERAL

        1.1.     Continuation. Subject to the provisions of this Agreement, the Pa11ners hereby continue
the Partnership as a limited partnership pursuant to the provisions of the Delaware Act. Except as
expressly provided herein, the rights and obligations of the Partners and the administration and
termination of the Partnership shall be governed by the Delaware Act.

         1.2.    Name. The name of the Partnership shall be, and the business of the Partnership shall be
conducted under the name of Highland Capital Management, L.P. The General Partner, in its sole and
unfettered discretion, may change the name of the Partnership at any time and from time to time and shall
provide Limited Partners with written notice of such name change within twenty (20) days after such
name change.

         1.3.    Purpose. The purpose and business of the Partnership shall be the conduct of any
business or activity that may lawfully be conducted by a limited partnership organized pursuant to the
Delaware Act. Any or all of the foregoing activities may be conducted directly by the Partnership or
indirectly through another partnership, joint venture, or other arrangement.

        1.4.     Term. The Partnership was formed as a limited partnership on July 7, 1997, and shall
continue until terminated pursuant to this Agreement.

        1.5.    Partnership Offices; Addresses of Partners.

                 (a)      Partnership Offices. The registered office of the Partnership in the State of
Delaware shall be IO 13 Centre Road, Wilmington, Delaware 19805-1297, and its registered agent for
service of process on the Partnership at that registered office shall be Corporation Service Company, or
such other registered office or registered agent as the General Partner may from time to time designate.
The principal office of the Partnership shall be 300 Crescent Court, Suite 700, Dallas, Texas 75201, or
sueh other place as the General Partner may from time to time designate. The Pai1nership may maintain
offices at such other place or places as the General Partner deems advisable.

                (b)     Addresses of Partners. The address of the General Partner is 3 00 Crescent Court,
Suite 700, Dallas, Texas 75201. The address of each Limited Partner shall be the address of that Limited
Partner appearing on the books and records of the Partnership. Each Limited Partner agrees to provide
the General Partner with prompt written notice of any change in his/her/its address.




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                                               ARTICLE 2

                                              DEFINITIONS

        2.1.    Definitions. The following definitions shall apply to the terms used in this Agreement,
unless otherwise clearly indicated to the contrary in this Agreement:


Agreement.

                 ·'Adjusted Cllpita/ Account Deficit" means, with respect to any Partner, the deficit
balance, if an), in the Capital Aceount of that Partner as of the end of the relevant Fiscal Year, or other
relevant period, giving effect to all adjustments previously made thereto pursuant to                    and
further adjusted as follows: (i) credit to that Capital Account, any amounts which that Partner is obligated
or deemed obligated to restore pursuant to any provision of this Agreement or pursuant to Treasury
Regulations Section l. 704-1 (b )(2)(ii)(c ); (ii) debit to that Capital Account, the items described in
Treasury Regulations Sections l.704-l(b)(2)(ii)(d)(4), (5) and (6); and (iii) to the extent required under
the Treasury Regulations, credit to that Capital Account (A) that Partner's share of "minimum gain" and
(B) that Partner's share of "paitner nonrecourse debt minimum gain." (Each Partner's share of the
minimum gain and partner nonrecourse debt minimum gain shall be determined under Treasury
Regulations Sections l .704-2(g) and l .704-2(i)(5), respectively.)

                 ··Affiliate" means any Person that directly or indirectly controls, is controlled by, or is
under common control with the Person in question. As used in this definition, the term ·'controf' means
the possession. directly or indirectly, of the power to direct or cause the direction of the management and
policies of a Person, whether through ownership of voting Securities, by contract or otherwise .

                  ..Agreement" means this Fourth Amended and Restated Agreement of Limited
Partnership, as it may be amended, supplemented, or restated from time to time.

                "Business Day" means Monday through Friday of each week, except that a legal holiday
recognized as such by the government of the United States or the State of Texas shall not be regarded as a
Business Day.

                  ·'Capital Account" means the eapital account maintained for a Partner pursuant to
Section 3.7(a).

                "Capital Contribution" means, with respect to any Partner, the amount of money or
property contributed to the Pa1tnership with respect to the interest in the Partnership held by that Person.

               "Certificate of Limited Partnership" means the Ce1tificate of Limited Partnership filed
with the Secretary of State of Delaware by the General Partner, as that Cettificate may be amended,
supplemented or restated from time to time.

                 "Class A Limited Partners" means those Partners holding a Class A Limited Partnership
Interest, as shown on Exhibit A.

                  "Class A Limited Partnership Interest" means a Partnership Interest held by a Partner in
its capacity as a Class A Limited Partner.''




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                 "Class B Limited Partner" means those Partners holding a Class B Limited Partnership
Interest, as shown on ==~~·

                  "Class B Limited Partnership Interest" means a Partnership Interest held by a Partner in
its capacity as a Class B Limited Partner."

                  ''Cfa.t:;s B NA V Ratio Trigger Period" means any period during which the Class B
Limited Partner's aggregate capital contributions, including the original principal balance of the
Contribution Note. and reduced by the                amount of distributions to the Class B Limited Partner,
exceed      percent of the product of the Class B Limited Partner's Percentage Interest multiplied by the
total book value of the Partnership; provided, however, that the General Partner shall only be required to
test for a Class B NA V Ratio Trigger Period annually, as of the last day of each calendar year; provided
further the General Partner must complete the testing within 180 days of the end of each calendar year;
provided further that if the test results in a Class B NA V Ratio Trigger Period, the General Partner may,
at its own election, retest at any time to determine the end date of the Class B NAV Ratio Trigger Period.

                 "Class C Limited Partner" means those Partners holding a Class C Limited Partnership
Interest, as shown on Exhibit A.

                  "Class C Lirnited Partners/tip Interest" means a Partnership Interest held by a Pa11ner in
its capacity as a Class C Limited Partner."

                "Class C NA V Ratio Trigger Period" means any period during which an amount equal to
$93,000,000.00 reduced by the aggregate amount of distributions to the Class C Limited Partner after the
Effective Date exceeds 75 percent of the product of the Class C Limited Partner's Percentage Interest
multiplied by the total book value of the Partnership; provided, however, that the General Partner shall
only be required to test for a Class C NA V Ratio Trigger Period annually, as of the last day of each
calendar year; provided further the General Partner must complete the testing within 180 days of the end
of each calendar year; provided further that if the test results in a Class C NA V Ratio Trigger Period, the
General Partner may, at its own election, retest at any time to determine the end date of the Class C NA V
Ratio Trigger Period.

                "Code'' means the Internal Revenue Code of 1986, as amended and in effect from time to
time.

              ''Contribution Note" means that certain Secured Promissory Note dated December 21,
2015 by and among Hunter Mountain Investment Trust, as maker, and the Partnership as Payee.

                ''Default Loan" has the meaning set forth in Section 3 .1( c)(i).

                "Defaulting Partner" has the meaning set forth in Section 3.1 (c).

                 "Delaware Act" means the Delaware Revised Unifonn Limited Pai1nership Act, Pai1 IV,
Title C, Chapter 17 of the Delaware Corporation Law Annotated, as it may be amended, supplemented or
restated from time to time, and any successor to that Act.

                "Effective Date" means the date first recited above.

                ''Fiscal Year'' has the meaning set forth in Section 3.1 l(b).




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               "Founding Partner Group" means, all partners holding partnership interests m the
Partnership immediately before the Effective Date.

                "General Partner'' means any Person who (i) is referred to as such in the first paragraph
of this Agreement, or has become a General Partner pursuant to the terms of this Agreement; and (ii) has
not ceased to be a General Partner pursuant to the terms of this Agreement.

                "Limited Partner'' means any Person who (i) is referred to as such in the first paragraph
of this Agreement, or has become a Limited Partner pursuant to the terms of this Agreement, and (ii) has
not ceased to be a Limited Partner pursuant to the terms of this Agreement.



                "Losses" means, for each Fiscal Year, the losses and deductions of the Partnership
determined in accordance with accounting principles consistently applied from year to year employed
under the Partnership's method of accounting and as reported, separately or in the aggregate, as
appropriate. on the Partnership's information tax return filed for federal income tax purposes, plus any
expenditures described in Code Section 705(a)(2)(B).

                 ''Majori(v Interest'' means the owners of more than fifty percent ( 50%) of the Percentage
Interests of Class A Limited Partners.

               ''NA V Ratio Trigger Period" means a Class B NA V Ratio Trigger Period or a Class C
NA V Ratio Trigger Period.

                  "Net Increase in Working Capital Accounts" means the excess of (i) Restricted Cash
plus Management and Incentive Fees Receivable plus Other Assets plus Deferred Incentive Fees
Receivable less Accounts Payable less Accrued and Other Liabilities as of the end of the period being
measured over (ii) Restricted Cash plus Management and Incentive Fees Receivable plus Other Assets
plus Deferred Incentive Fees Receivable less Accounts Payable less Accrued and Other Liabilities as of
the beginning of the period being measured; provided, however, that amounts within each of the
aforementioned categories shall be excluded from the calculation to the extent they are specifically
identified as being derived from investing or financing activities. Each of the capitalized terms in this
definition shall have the meaning given them in the books and records of the Partnership and appropriate
adjustments may be made to the extent the Partnership adds new ledger accounts to its books and records
that are current assets or current liabilities.

               ''New Issues" means Securities that are considered to be "new issues," as defined in the
Conduct Rules of the National Association of Securities Dealers, Inc.

                  "Nonrecourse Deduction" has the meaning set fo1th in Treasury Regulations Section
I. 704-2(b )(I), as computed under Treasury Regulations Section 1. 704-2( c ).

                    "No11recour.\·e Liability'' has the meaning set forth in Treasury Regulations Section
l. 704-2(b )(3 ).

                "Operating Cash Flow" means Total Revenue less Total Operating Expenses plus
Depreciation & Amortization less Net Increase in Working Capital Accounts year over year. Each of the
capitalized terms in this definition shall have the meaning given them in the books and records of the
Partnership.



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                  "Parmer'' means a General Partner or a Limited Partner.

                  "Part11er No11recourse Debt" has the meaning set forth in Treasury Regulations Section
l .704-2(b)(4).

                 "Partner Nonrecourse Deductions" has the meaning set forth in Treasury Regulations
Section l .704-2(i)(2).

               "Partner Nonrecourse Debt 11-finimum Gain'' has the meaning set forth m Treasury
Regulations Section 1.704-2(i)(5).

                "'Partners/zip'' means Highland Capital Management, L.P., the Delaware limited
partnership established pursuant to this Agreement.

                "Partnership Capitaf' means, as of any relevant date, the net book value of the
Partnership's assets.

                ''Part11ersltip Interest" means the interest acquired by a Partner in the Partnership
including, without limitation, that Partner's right: (a) to an allocable share of the Profits, Losses,
deductions, and credits of the Partnership; (b) to a distributive share of the assets of the Partnership; (c) if
a Limited Partner, to vote on those matters described in this Agreement; and (d) if the General Partner, to
manage and operate the Pa1inership.

                  "Partners/tip Minimum Gain" has the meaning set fo1ih in Treasury Regulations Section
l. 704-2( d).

                ·'Percentage Interest" means the percentage set forth opposite each Partner's name on
Exhibit A as such Exhibit may be amended from time to time in accordance with this Agreement.

                 "Person" means an individual or a corporation, partnership, trust, estate, unincorporated
organization, association, or other entity.

                  "Priority Distributions" has the meaning set f01ih in Section 3.9(b).

                "Profits'' means, for each Fiscal Year, the income and gains of the Partnership
determined in accordance with accounting principles consistently applied from year to year employed
under the Partnership's method of accounting and as reported, separately or in the aggregate, as
appropriate, on the Partnership's information tax return filed for federal income tax purposes, plus any
income described in Code Section 705(a)( 1)(B).

                 "Profits Interest Partner" means any Person who is issued a Partnership Interest that is
treated as a "profits interest" for federal income tax purposes.

               "Purchase Notes" means those certain Secured Promissory Notes of even date herewith
by and among Hunter Mountain Investment Trust, as maker, and The Dugaboy Investment Trust, The
Mark K. Okada, The Mark and Pamela Okada Family Trust Exempt Trust# 1, and The Mark K. Okada,
The Mark and Pamela Okada Family Trust - Exempt Trust #2, eaeh as Payees of the respective Secured
Promissory Notes.




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                  ·'Record Date'' means the date established by the General Partner for determining the
identity of Limited Partners entitled to vote or give consent to Partnership action or entitled to
rights in respect of any other lawful action of Limited Partners.

               "Second Amended Buy-Sell and Redemption Agreement'' means that certain Second
Amended and Restated Buy-Sell and Redemption Agreement, dated December 21, 2015, to be effective
as of December 21, 2015 by and between the Partnership and its Partners, as may be amended,
supplemented, or restated from time to time.

                   ''Securities·' means the following: (i) securities of any kind (including, without limitation,
·'securities" as that term is defined in Section 2(a)( I) of the Securities Act; (ii) commodities of any kind
(as that term is defined by the U.S. Securities Laws and the rules and regulations promulgated
thereunder): (iii) any contracts for future or forward delivery of any security, commodity or currency; (iv)
any contracts based on any securities or group of securities, commodities or currencies; (v) any options on
any contracts referred to in clauses (iii) or (iv); or (vi) any evidences of indebtedness (including
participations in or assignments of bank loans or trade credit claims). The items set forth in clauses (i)
through (vi) herein include, but are not limited to, capital stock, common stock, preferred stock,
convertible securities, reorganization certificates, subscriptions, warrants, rights, options, puts, calls,
bonds, mutual fund interests. debentures, notes, certificates of deposit, letters of credit, bankers
ai..:ceptances, trust receipts and other securities of any corporation or other entity, whether readily
marketable or not, rights and options, whether granted or written by the Partnership or by others, treasury
bills, bonds and notes, any securities or obligations issued or guaranteed by the United States or any
foreign country or any state or possession of the United States or any foreign country or any political
subdivision or agency or instrumentality of any of the foregoing, and derivatives of any of the foregoing.

                 "Securities Act" means the Securities Act of 1933, as amended, and any successor to
such statute.

                 "Substitute Limited Partner" has the meaning set forth in Section 4.6(a).

                "Transfer" or derivations thereof~ of a Partnership Interest means, as a noun, the transfer,
sale, assignment. exchange, pledge, hypothecation or other disposition of a Partnership Interest, or any
part thereoC directly or indirectly, and as a verb, voluntarily or involuntarily to transfer, sell, assign,
exchange, pledge, hypothecate or otherwise dispose oC

                "Treasury Regulations" means the Department of Treasury Regulations promulgated
under the Code, as amended and in effect (including corresponding provisions of succeeding regulations).

        2.2.   Other Definitions. All terms used in this Agreement that are not defined in this Article 2
have the meanings contained elsewhere in this Agreement.

                                                 ARTICLE 3

                                         FINANCIAL MATTERS

        3.1.     Capital Contributions.

                  (a)      Initial Capital Contributions. The initial Capital Contribution of each Partner
shall be set forth in the books and records of the Partnership.

                 (b)     Additional Capital Contributions.


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                        (i)      The General Partner, in its reasonable discretion and for a bona
business purpose, may request in writing that the Founding Partner Group make additional Capital
Contributions in proportion to their Percentage Interests (each, an ''Additional Capitlll Contribution").

                          (ii)     Any failure by a Partner to make an Additional Capital Contribution
requested under                     on or before the date on which that Additional Capital Contribution was
due shall result in the Partner being in default.

                 (c)                                               In the event a Partner is in default under
=====:c..:~~ (a "Defaulting Partner''), the Defaulting Partner, in its sole and unfettered discretion, may
elect to take either one of the option set forth below.

                           (i)     Default Loans. If the Defaulting Partner so elects, the General Partner
shall make a loan to the Defaulting Partner in an amount equal to that Defaulting Partner's additional
capital contribution (a "Default Loan"). A Default Loan shall be deemed advanced on the date actually
advanced. Default Loans shall earn interest on the outstanding principal amount thereof at a rate equal to
the Applicable Federal Mid-Term Rate (determined by the Internal Revenue Service for the month in
which the loan is deemed made) from the date actually advanced until the same is repaid in full. The term
of any Default Loan shall be six (6) months, unless otherwise extended by the General Pa1iner in its sole
and unfettered discretion. If the General Partner makes a Default Loan, the Defaulting Partner shall not
receive any distributions pursuant to                 or             or any proceeds from the Transfer of all
or any part of its Patinership Interest while the Default Loan remains unpaid. Instead, the Defaulting
Partner's share of distributions or such other proceeds shall (until all Default Loans and interest thereon
shall have been repaid in full) first be paid to the General Partner. Such payments shall be applied first to
the payment of interest on such Default Loans and then to the repayment of the principal amounts thereof,
but shall be considered, for all other purposes of this Agreement, to have been distributed to the
Defaulting Partner. The Defaulting Partner shall be liable for the reasonable fees and expenses incurred
by the General Partner (including, without limitation, reasonable attorneys' fees and disbursements) in
connection with any enforcement or foreclosure upon any Default Loan and such costs shall, to the extent
enforceable under applicable law, be added to the principal amount of the applicable Default Loan. In
addition. at any time during the term of such Default Loan, the Defaulting Partner shall have the right to
repay, in full, the Default Loan (including interest and any other charges). If the General Partner makes a
Default Loan. the Defaulting Partner shall be deemed to have pledged to the General Partner and granted
to the General Pa1iner a continuing first priority security interest in, all of the Defaulting Patiner's
Pa1inership Interest to secure the payment of the principal of, and interest on, such Default Loan in
accordance with the provisions hereof, and for such purpose this Agreement shall constitute a security
agreement. The Defaulting Partner shall promptly execute, acknowledge and deliver such financing
statements, continuation statements or other documents and take such other actions as the General Partner
shall request in writing in order to perfect or continue the perfection of such security interest; and, if the
Defaulting Partner shall fail to do so within seven (7) days after the Defaulting Partner's receipt of a
notice making demand therefor, the General Partner is hereby appointed the attorney-in-fact of, and is
hereby authorized on behalf of, the Defaulting Partner, to execute, acknowledge and deliver all such
documents and take all such other actions as may be required to perfect such security interest. Such
appointment and authorization are coupled with an interest and shall be irrevocable. The General Patiner
shall, prior to exercising any right or remedy (whether at law, in equity or pursuant to the terms hereof)
available to it in connection with such security interest, provide to the Defaulting Partner a notice, in
reasonable detail, of the right or remedy to be exercised and the intended timing of such exercise which
shall not be less than five (5) days following the date of such notice.




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                        ( ii)                                      If the Defaulting Partner does not elect
to obtain a Default Loan pursuant to Section 3.](c)(i), the General Partner shall reduce the Defaulting
Partner's Percentage Interest in accordance with the following formula:

         The Defaulting Partner's new Percentage Interest shall equal the product of (I) the
         Defaulting Partner's current Percentage Interest multiplied by (2) the quotient of (a) the
         current Capital Account of the Defaulting Partner (with such Capital Account determined
         after taking into account a revaluation of the Capital Accounts immediately prior to such
         determination), divided by (b) the sum of (i) the current Capital Account of the
         Defaulting Partner (with such Capital Account determined after taking into account a
         revaluation of the Capital Accounts immediately prior to such determination), plus (ii)
         the amount of the additional capital contribution that such Defaulting Partner failed to
         make when due.

To the extent any downward adjustment is made to the Percentage Interest of a Partner pursuant to this
Section 3. ](c)(ii), any resulting benefit shall accrue to the Partners (other than the Defaulting Partner) in
proportion to their respective Percentage Interests.

         3.2.    Allocations of Profits and Losses.

                (a)      Allocations of Profits. Except as provided in===~-''                   and       Profits
for any Fiscal Year will be allocated to the Partners as follows:

                            (i)      First, to the Partners until cumulative Profits allocated under this Section
3.2(a)(i) for all prior periods equal the cumulative Losses allocated to the Partners under Section
3.2(b)(iii) for all prior periods in the inverse order in which such Losses were allocated; and

                           (ii)            to the Partners until cumulative Profits allocated under this Section
3.2(a)(ii) for all prior periods equal the cumulative Losses allocated to the Partners under Section
3.2(b)(ii) for all prior periods in the inverse order in which such Losses were allocated; and

                          (iii)   Then, to all Patiners in proportion to their respective Percentage
Interests.

                (b)      Allocations of Losses. Except as provided in Sections 3 .4, 3 .5, and 3 .6, Losses
for any Fiscal Year will be will be allocated as follows:

                             (i)      First, to the Partners until cumulative Losses allocated under this Section
3 .2(b )(i) for all prior periods equal the cumulative Profits allocated to the Partners under Section
3 .2(a)(iii) for all prior periods in the inverse order in which such Profits were allocated; and

                          (ii)           to the Partners in proportion to their respective positive Capital
Account balances until the aggregate Capital Account balances of the Pa11ners ( excluding any negative
Capital Account balances) equal zero; provided, however, losses shall first be allocated to reduce amounts
that were last allocated to the Capital Accounts of the Partners; and

                         (iii)    Then, to all Partners in proportion to their respective Percentage
Interests.




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                (c)                                      If any allocation of Losses would cause a
Limited Partner to have an Adjusted Capital Account Deficit, those Losses instead shall be allocated to
the General Partner.

         3.3.    Allocations on Transfers. Taxable items of the Partnership attributable to a Partnership
Interest that has been Transferred (including the simultaneous decrease in the Partnership Interest of
existing Pai1ners resulting from the admission of a new Partner) shall be allocated in accordance with
Section 4.3( d).

         3.4.    Special Allocations. If the requisite stated conditions or facts are present, the following
special allocations shall be made in the following order:

                (a)       Partnership Minimum Gain Chargcback. Notwithstanding any other provision of
this           if there is a net decrease in Partnership Minimum Gain during any taxable year or other
period for which allocations are made, prior to any other allocation under this Agreement, each Partner
shall be specially allocated items of Partnership income and gain for that period (and, if necessary,
subsequent periods) in proportion to, and to the extent oL an amount equal to that Partner's share of the
net decrease in Partnership Minimum Gain during that year determined in accordance with Treasury
Regulations Section 1.704-2(g)(2). The items to be allocated shall be determined in accordance with
Treasury Regulations Section 1.704-2(g). This                  is intended to comply with the partnership
minimum gain chargeback requirements of the Treasury Regulations and shall be subject to all exceptions
provided therein.

                 (b)     Partner Nonrecourse Debt Minimum Gain Chargeback. Notwithstanding any
other provision of this              (other than Section 3.4(a)), if there is a net decrease in Partner
Nonrecourse Debt Minimum Gain with respect to a Partner Nonreeourse Debt during any taxable year or
other period for which allocations are made, any Partner with a share of such Partner Nonrecourse Debt
Minimum Gain as of the beginning of the year shall be specially allocated items of Partnership income
and gain for that period (and, if necessary, subsequent periods in an amount equal to that Partner's share
or the net decrease in the Pa11ner Nonrecourse Debt Minimum Gain during that year determined in
accordance with Treasury Regulations Section l.704-2(g)(2). The items to be so allocated shall be
determined in accordance with Treasury Regulations Section l .704-2(g). This Section 3.4(b) is intended
to comply with the partner nonrecourse debt minimum gain chargeback requirements of the Treasury
Regulations, shall be interpreted consistently with the Treasury Regulations and shall be subject to all
exceptions provided therein.

                 (c)      Qualified Income Offset. If a Partner unexpectedly receives any adjustments,
allocations or distributions described in Treasury Regulations Sections I. 704-1 (b )(2)(ii)( d)( 4 ), (d)(5) or
(d)(6), then items of Partnership income and gain shall be specially allocated to each such Partner in an
amount and manner sufficient to eliminate, to the extent required by the Treasury Regulations, the
Adjusted Capital Account Deficit of the Partner as quickly as possible; provided, however, an allocation
pursuant to this Section 3 .4( c) shall be made if and only to the extent that the Partner would have an
Adjusted Capital Account Deficit after all other allocations provided for in this Article 3 have been
tentatively made without considering this Section 3.4(c).

                  ( d)    Gross Income Allocation. If a Partner has a deficit Capital Account at the end of
any Fiscal Year of the Partnership that exceeds the sum of ( i) the amount the Partner is obligated to
restore, and (ii) the amount the Partner is deemed to be obligated to restore pursuant to the penultimate
sentences of Treasury Regulations Sections I. 704-2(g)(l) and 1. 704-2(i)(5), then each such Partner shall
be specially allocated items of income and gain of the Partnership in the amount of the excess as quickly
as possible; provided, however, an allocation pursuant to this Section 3 .4(d) shall be made if and only to

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 the extent that the Partner would have a deficit Capital Account in excess of that sum after all other
 allocations provided for in this       have been tentatively made without considering               or


                 ( e)                             Nonrecourse Deductions for any taxable year or other
 period for which allocations are made shall he allocated among the Partners in accordance with their
 Percentage interests.

                 (f)                                        Notwithstanding anything to the contrary in
 this Agreement, any Partner Nonreeourse Deductions for any taxable year or other period for which
 allocations are made will be allocated to the Partner who bears the economic risk of loss with respect to
 the Partner Nonrecourse Debt to which the Partner Nonrecourse Deductions are attributable in accordance
 with Treasury Regulations Section l .704-2(i).

                  (g)                                  To the extent an adjustment to the adjusted tax basis
 of any asset of the Partnership under Code Section 734(b) or Code Section 7 43(b) is required, pursuant to
 Treasury Regulations Section l.704-l(b)(2)(iv)(m), to be taken into account in determining Capital
 Accounts, the amount of the adjustment to the Capital Aceounts shall be treated as an item of gain (if the
 adjustment increases the basis of the asset) or loss (if the adjustment decreases the basis of the asset) and
 that gain or loss shall be specially allocated to the Partners in a manner consistent with the manner in
 which their Capital Accounts are required to be adjusted pursuant to that Section of the Treasury
 Regulations.

                  (h)                                    Any allocable items of income, gain, expense,
 deduction or credit required to be made by Section 481 of the Code as the result of the sale, transfer,
 exchange or issuance of a Partnership Interest will be specially allocated to the Partner receiving said
 Partnership Interest whether such items are positive or negative in amount.

         3.5.    Curative Allocations. The ·'Basic Regulatory Allocations" consist of (i) the allocations
pursuant to                 and (ii) the allocations pursuant to               Notwithstanding any other
provision of this Agreement, the Basic Regulatory Allocations shall be taken into account in allocating
items of income, gain, loss and deduction among the Partners so that, to the extent possible, the net
amount of the allocations of other items and the Basic Regulatory Allocations to each Partner shall be
equal to the net amount that would have been allocated to each such Partner if the Basic Regulatory
Allocations had not occurred. For purposes of applying the foregoing sentence, allocations pursuant to
this Section 3.5 shall be made with respect to allocations pursuant to Section 3.4 (g) and (h) only to the
extent that it is reasonably determined that those allocations will otherwise be inconsistent with the
economic agreement among the Partners. To the extent that a special allocation under Section 3.4 is
determined not to comply with applicable Treasury Regulations, then the Partners intend that the items
shall be allocated in accordance with the Pa11ners' varying Percentage Interests throughout each tax year
during which such items are recognized for tax purposes.

         3.6.     Code Section 704(c) Allocations. In accordance with Code Section 704(c) and the
Treasury Regulations thereunder, income, gain, loss and deduction with respect to property contributed to
the capital of the Partnership shall, solely for tax purposes, be allocated among the Partners so as to take
account of any variation at the time of the contribution between the tax basis of the property to the
Partnership and the fair market value of that property. Except as otherwise provided herein, any elections
or other decisions relating to those allocations shall be made by the General Partner in any manner that
reasonably reflects the purpose and intent of this Agreement. Allocations of income, gain, loss and
deduction pursuant to this Section 3 .6 are solely for purposes of federal, state and local taxes and shall not
affect, or in any way be taken into account in computing, the Capital Account of any Partner or the share


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 of Profits,          other tax items or distributions of any Partner pursuant to any provision of this
 Agreement.

         3.7.     Capital Accounts.

                  (a)                                       The Partnership shall establish and maintain a
 separate capital account ('Capital Account') for each Pa1iner in accordance with the rules of Treasury
 Regulations Section l.704-l(b)(2)(iv), subject to and in accordance with the provisions set fotih in this


                          (i)     The Capital Account balanee of each Partner shall be credited (increased)
 by (A) the amount of cash contributed by that Partner to the capital of the Partnership, (B) the fair market
 value of propetiy contributed by that Partner to the capital of the Partnership (net of liabilities secured by
 that contributed property that the Partnership assumes or takes subject to under Code Section 752), and
 (C) that Partner's allocable share of Profits and any items in the nature of income or gain which are
 specially allocated pursuant to             and     · and

                          (ii)     The Capital Account balance of each Partner shall be debited (decreased)
 by (A) the amount of cash distributed to that Partner by the Partnership, (B) the fair market value of
 property distributed to that Partner by the Partnership (net of liabilities secured by that distributed
 property that such Partner assumes or takes subject to under Code Section 752), (C) that Partner's
 allocable share of expenditures of the Partnership described in Code Section 705(a)(2)(B), and (D) that
 Partner's allocable share of Losses and any items in the nature of expenses or losses which are specially
 allocated pursuant to Sections 3 .2,   and

The provisions of this Section 3. 7 and the other provisions of this Agreement relating to the maintenance
of Capital Accounts have been included in this Agreement to comply with Code Section 704(b) and the
Treasury Regulations promulgated thereunder and will be interpreted and applied in a manner consistent
with those provisions. The General Partner may modify the manner in which the Capital Accounts are
maintained under this Section 3. 7 in order to comply with those provisions, as well as upon the
occurrence of events that might otherwise cause this Agreement not to comply with those provisions.

                (b)      Negative Capital Accounts. If any Partner has a deficit balance in its Capital
Account, that Partner shall have no obligation to restore that negative balance or to make any Capital
Contribution by reason thereof, and that negative balance shall not be considered an asset of the
Partnership or of any Partner.

                (c)              No interest shall be paid by the Patinership on Capital Contributions or
on balances in Capital Accounts.

                (d)     No Withdrawal. No Partner shall be entitled to withdraw any part of his/her/its
Capital Contribution or his/her/its Capital Account or to receive any distribution from the Partnership,
except as provided in Section 3.9 and Article 5.

               ( e)     Loans From Partners.        Loans by a Partner to the Partnership shall not be
considered Capital Contributions.

               ( f)     Revaluations. The Capital Accounts of the Partners shall not be "booked-up" or
"'booked-down" to their fair market values under Treasury Regulations Section 1. 704( c )-1 (b )(2)(iv )( f) or
otherwise.



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          3.8.    Distributive Share for Tax Purpose. All items of income, deduction, gain,                  or
 credit that are recognized for federal income tax purposes will be allocated among the Partners in
 accordance v,ith the allocations or Profits and Losses hereunder as determined by the General Partner in
 its sole and unfettered discretion. Notwithstanding the foregoing, the General Partner may (i) as to each
 New Issue. specially allocate to the Partners who were allocated New Issue Profit from that New Issue
 any short-term capital        realized during the Fiscal Year upon the disposition of such New Issue during
 that Fiscal Year, and (ii) specially allocate items of gain ( or loss) to Partners who withdraw capital during
 any Fiscal Year in a manner designed to ensure that each withdrawing Partner is allocated gain (or loss) in
 an amount equal to the difference between that Partner's Capital Account balance (or portion thereof
 being withdrawn) at the time of the withdrawal and the tax basis for his/her/ its Partnership Interest at that
 time (or propo11ionate amount thereof); provided, however, that the General Partner may, without the
 consent of any other Partner, (a) alter the allocation of any item of taxable income, gain, loss, deduction
 or credit in any specific instance where the General Partner, in its sole and unfettered discretion,
 determines such alteration to be necessary or appropriate to avoid a materially inequitable result
 where the allocation would create an inappropriate tax liability); and/or (b) adopt whatever other method
 of allocating tax items as the General Partner detennines is necessary or appropriate in order to be
 consistent with the spirit and intent of the Treasury Regulations under Code Sections 704(b) and 704( c ).

         3. 9.    Distributions.

                  (a)                  The General Partner may make such pro rata or non-pro rata
distributions as it may determine in its sole and unfettered discretion, without being limited to current or
accumulated income or gains, but no such distribution shall be made out of funds required to make
current payments on Partnership indebtedness; provided, however, that the General Partner may not make
non-pro rata distributions under this Section 3.9(a) during an NAV Ratio Trigger Period without the
consent of the Class B Limited Partner (in the case of a Class B NA V Ratio Trigger Period) and/or the
Class C Limited Partner (in the case of a Class C NA V Ratio Trigger Period); provided, further this
provision should not be interpreted to limit in any way the General Partner's ability to make non-pro rata
tax distributions under Section 3.9(c) and Section 3.9(f). The Partnership has entered into one or more
credit facilities with financial institutions that may limit the amount and timing of distributions to the
Partners. Thus. the Partners acknowledge that distributions from the Partnership may be limited. Any
distributions made to the Class B Limited Partner or the Class C Limited Partner pursuant to Section
3 .9(b) shall reduce distributions otherwise allocable to such Partners under this Section 3 .9(a) until such
aggregate reductions are equal to the aggregate distributions made to the Class B Partners and the Class C
Partners under Section 3 .9(b ).

                  (b)     Priority Distributions. Prior to the distribution of any amounts to Pa11ners
 pursuant to Section 3.9(a), and notwithstanding any other provision in this Agreement to the contrary, the
 Par1nership shall make the following distributions ("Priority Distributions") pro-rata among the Class B
 Limited Partner and the Class C Limited Partner in accordance with their relative Percentage Interests:

                       (i)     No later than March 31st of each calendar year, commencing March 31,
2017, an amount equal to $1,600,000.00;

                        (ii)     No later than March 31st of each year, commencing March 31, 2017, an
amount equal to three percent (3%) of the Partnership's investment gain for the prior year, as reflected in
the Partnership's books and records within ledger account number 90100 plus three percent (3%) of the
gross realized investment gains for the prior year of Highland Select Equity Fund, as reflected in its books
and records;




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                         (iii)     No later than March 31st of      year, commencing March 31, 2017, an
 amount equal to ten percent ( l 0%) or the Partnership's Operating Cash Flow for tht: prior year; and

                        (iv)    No later than December 24th of each year, commencing December
 2016, an amount equal to the aggregate annual principal and interest payments on the Purchase Notes for
 the then current year.

                   (c)                         The General Partner may, in its sole discretion, declare and
 make cash distributions pursuant hereto to the Partners to allow the federal and state income tax
 attributable to the Partnership's taxable income that is passed through the Partnership to the Partners to be
 paid by such Patiners (a "Tax Distribution"). The General Partner may, in its discretion, make Tax
 Distributions to the Founding Paiiner Group without also making Tax Distributions to other Pa11ners;
 provided. however, that if the General Partner makes Tax Distributions to the Founding Partner Group,
 Tax Distributions must also be made the Class B Limited Partner to the extent the Class B Limited
 Partlwr provides the Partnership with documentation showing it is subject to an entity-level federal
 income tax obligation. Notwithstanding anything else in this Agreement, the General Partner may declare
 and pay Tax Distributions even if such Tax Distributions cause the Partnership to be unable to make
 Priority Distributions under ==~~~CJ.·

                       ( d)                                                  Any amounts paid pursuant to
===~c..'..J...:O:..,. or 1J.Qu shall not be deemed to be distributions for purposes of this Agreement.
                 (e)      Withheld Amounts. Notwithstanding any other provision of this Section 3.9 to
the contrary, each Partner hereby authorizes the Partnership to withhold and to pay over, or otherwise
pay, any withholding or other taxes payable by the Partnership with respect to that Partner as a result of
that Partner's participation in the Partnership. If and to the extent that the Partnership shall be required to
withhold or pay any such taxes, that Partner shall be deemed for all purposes of this Agreement to have
received a payment from the Partnership as of the time that withholding or tax is paid, which payment
shall be deemed to be a distribution with respect to that Partner's Partnership Interest to the extent that the
Partner (or any successor to that Partner's Pminership Interest) is then entitled to receive a distribution.
To the extent that the aggregate of such payments to a Partner for any period exceeds the distributions to
which that Partner is entitled for that period, the amount of such excess shall be considered a loan from
the Partnership to that Partner. Such loan shall bear interest (which interest shall be treated as an item of
income to the Partnership) at the "Applicable Federal Rate" (as defined in the Code), as determined
hereunder from time to time, until discharged by that Partner by repayment, which may be made in the
sole and unfettered discretion of the General Patiner out of distributions to which that Partner would
otherwist: be subsequently entitled. Any withholdings authorized by this Section 3.9(d) shall be made at
the maximum applicable statutory rate under the applicable tax law unless the General Partner shall have
received an opinion of counsel or other evidence satisfactory to the General Partner to the effect that a
lower rate is applicable, or that no withholding is applicable.

                (f)      Special Tax Distributions. The Partnership shall, upon request of such Founding
Partner, make distributions to the Founding Pm1ners (or loans, at the election of the General Partner) in an
amount necessary for each of them to pay their respective federal income tax obligations incurred through
the effective date of the Third Amended and Restated Agreement of Limited Partnership of Highland
Capital Management, L.P., the predecessor to this Agreement.

                 (g)     Tolling of Prioritv Distributions. In the event of a "Honis Trigger Event,'' as
defined in the Second Amended Buy-Sell and Redemption Agreement, the Partnership shall not make any
distributions, including priority distributions under Section 3.9(b), to the Class B Limited Partner or the
Class C Limited Partner until such time as a replacement trust administrator, manager and general partner,

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 as applicable, acceptable to the Partnership in its sole discretion, as indicated by an affirmative vote of
 consent by a Majority Interest, shall be appointed to the Class B Limited Partner/Class C Limited Partner
 and any of its direct or indirect owners that have governing documents directly affected by a Honis
         Event.

         3.10.   Compensation and Reimbursement of General Partner.

                 (a)     Compensation. The General Partner and any Affiliate of the General Partner
 shall        no compensation from the Partnership for services rendered pursuant to this Agreement or
 any other agreements unless approved by a Majority Interest; provided, however, that no compensation
 above five million dollars per year may be approved, even by a Majority Interest, during a NA V Ratio
         Period.

                  (b)                                     In addition to amounts paid under other Sections
 of this Agreement, the General Partner and its Affiliates shall be reimbursed for all expenses,
 disbursements, and advances incurred or made, and all fees, deposits, and other sums paid in connection
 with the organization and operation of the Pa1tnership, the qualification of the Partnership to do business,
 and all related matters.

         3.11.   Books, Records, Accounting, and Reports.

                 (a)     Records and Accounting. The General Partner shall keep or cause to be kept
appropriate books and records with respect to the Partnership's business, which shall at all times be kept
at the principal office of the Partnership or such other office as the General Partner may designate for
such purpose. The books of the Partnership shall be maintained for financial repo1ting purposes on the
accrual basis or on a cash basis, as the General Partner shall determine in its sole and unfettered
discretion. in accordance with generally accepted accounting principles and applicable law. Upon
reasonable request, the Class B Limited Partner or the Class C Limited Partner may inspect the books and
records of the Partnership.

                (b)    Fiscal Year. The fiscal year of the Partnership shall be the calendar year unless
otherwise determined by the General Partner in its sole and unfettered discretion.

                 ( c)    Other Information. The General Paitner may release information concerning the
operations of the Partnership to any financial institution or other Person that has loaned or may loan funds
to the Partnership or the General Partner or any of its Affiliates, and may release such information to any
other Person for reasons reasonably related to the business and operations of the Partnership or as
required by law or regulation of any regulatory body.

                ( d)     Distribution Reporting to Class B Limited Partner and Class C Limited Partner.
Upon request, the Partnership shall provide the Class B Limited Partner and/or the Class C Limited
Pa1tner information on any non-pro rata distributions made under Section 3.9 to Partners other than the
Partner requesting the information.

         3.12.   Tax Matters.

                  (a)     Tax Returns. The General Partner shall arrange for the preparation and timely
filing of all returns of Partnership income, gain, loss, deduction, credit and other items necessary for
federal. state and local income tax purposes. The General Partner shall deliver to each Pa11ner as copy of
his/her/its IRS Form K-1 as soon as practicable after the end of the Fiscal Y car, but in no event later than
October I. The classification, realization, and recognition of income, gain, loss, deduction, credit and


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 other items shall be on the cash or accrual method of aeeounting for federal income tax purposes, as the
 General Partner shall determine in its sole and unfettered discretion. The General Partner in its sole and
 unfettered discretion may pay state and local income taxes attributable to operations of the Partnership
 and treat such taxes as an expense of the Partnership.

                  (b)                      Except as otherwise provided herein, the General Partner shall, in
 its sole and unfettered discretion, determine whether to make any available tax election.

                  (c)                             Subject to the provisions hereof, the General Partner is
 designated the Tax Matters Partner (as defined in Code Section 6231 ), and is authorized and required to
 represent the Partnership, at the Partnership's expense, in connection with all examinations of the
 Partnership's affairs by tax authorities, including resulting administrative and judicial proceedings, and to
 expend Partnership fonds fix professional services and costs associated therewith. Each Partner agrees to
 cooperate \\ith the General Partner in connection with such proceedings.

                  (d)                                No election shall be made by the Partnership or any
 Partner for the Partnership to be excluded from the application of any of the provisions of Subchapter K,
 Chapter l of Subtitle A of the Code or from any similar provisions of any state tax laws.

                                                ARTICLE 4

                            RIGHTS AND OBLIGATIONS OF PARTNERS

          4.1.    Rights and Obligations of the General Partner. In addition to the rights and
 obligations set forth elsewhere in this Agreement, the General Partner shall have the following rights and
 obligations:

                 (a)      Management. The General Partner shall conduct, direct, and exercise full control
of over all activities of the Partnership. Except as otherwise expressly provided in this Agreement, all
management powers over the business and affairs of the Partnership shall be exclusively vested in the
General Partner, and Limited Partners shall have no right of control over the business and affairs of the
Partnership. In addition to the powers now or hereafter granted to a general partner of a limited
partnership under applicable law or that are granted to the General Partner under any provision of this
Agreement, the General Partner shall have full power and authority to do all things deemed necessary or
desirable by it to conduct the business of the Partnership, including, without limitation: (i) the
determination of the activities in which the Partnership will participate; (ii) the performance of any and all
acts necessary or appropriate to the operation of any business of the Partnership (including, without
limitation. purchasing and selling any asset, any debt instruments, any equity interests, any commercial
paper, any note receivables and any other obligations); (iii) the procuring and maintaining of such
insurance as may be available in such amounts and covering such risks as are deemed appropriate by the
General Partner; (iv) the acquisition, disposition, sale, mortgage, pledge, encumbrance, hyphothecation,
of exchange of any or all of the assets of the Partnership; (v) the execution and delivery on behalf of, and
in the name of the Partnership, deeds, deeds of trust, notes, leases, subleases, mortgages, bills of sale and
any and all other contracts or instruments necessary or incidental to the conduct of the Partnership's
business; (vi) the making of any expenditures, the borrowing of money, the guaranteeing of indebtedness
and other liabilities, the issuance of evidences of indebtedness, and the incurrenee of any obligations it
deems necessary or advisable for the conduct of the activities of the Partnership, including, without
limitation, the payment of compensation and reimbursement to the General Partner and its Affiliates
pursuant to Section 3. l O; (vii) the use of the assets of the Partnership (including, without limitation, cash
on hand) for any Partnership purpose on any terms it sees fit, including, without limitation, the financing
of operations of the Partnership, the lending of funds to other Persons, and the repayment of obligations

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 of the Partnership: (viii) the negotiation, execution. and perf<mnance       any contracts that it considers
 desirable, useful, or necessary to the conduct of the business or operations of the Partnership or the
 implementation of the General Partner's powers under this Agreement; (ix) the distribution of Paiinership
 cash or other            (x) the selection, hiring and dismissal of employees, attorneys, accountants,
 consultants, contractors, agents and representatives and the determination of their compensation and other
 teens of employment or hiring; (xi) the formation of any futiher limited or general partnerships, joint
 ventures, or other relationships that it deems desirable and the contribution to such partnerships, ventures,
 or relationships of assets and properties of the Partnership; and (xii) the control of any matters affecting
 the rights and obligations of the Partnership, including, without limitation, the conduct of any litigation,
 the incurring of legal expenses, and the settlement of claims and suits.

                  (b)                                          The General Partner caused the Cetiificate of
 Limited Partnership of the Partnership to be filed with the Secretary of State of Delaware as required by
 the Delaware Act and shall eause to be filed sueh other certificates or documents (including, without
 limitation, copies, amendments, or restatements of this Agreement) as may be determined by the General
 Partner to be reasonable and necessary or appropriate for the formation, qualification, or registration and
 operation of a limited partnership (or a partnership in whieh Limited Partners have limited liability) in the
 State of Delaware and in any other state where the Partnership may elect to do business.

                  (c)      Reliance by Third Parties.        Notwithstanding any other provision of this
 Agreement to the contrary, no lender or purchaser or other Person, including any purchaser of property
  from the Pa1inership or any other Person dealing with the Partnership, shall be required to verity any
 representation by the General Partner as to its authority to encumber, sell, or otherwise use any assess or
 properties of the Partnership, and any sueh lender, purchaser, or other Person shall be entitled to rely
 exclusively on such representations and shall be entitled to deal with the General Partner as if it were the
 sole party in interest therein, both legally and beneficially. Each Limited Partner hereby waives any and
 all defenses or other remedies that may be available against any sueh lender, purchaser, or other Person to
 contest. negate, or disaffirm any action of the General Partner in connection with any such sale or
 financing. In no event shall any Person dealing with the General Partner or the General Partner's
 representative with respect to any business or property of the Partnership be obligated to asce1iain that the
 terms of this Agreement have been complied with, and each sueh Person shall be entitled to rely on the
 assumptions that the Partnership has been duly formed and is validly in existence. In no event shall any
 such Person be obligated to inquire into the necessity or expedience of any act or action of the General
 Partner or the General Partner's representative, and every contract, agreement, deed, mortgage, security
 agreement, promissory note, or other instrument or document executed by the General Partner or the
 General Partner's representative with respect to any business or property of the Patinership shall be
 conclusive evidence in favor of any and every Person relying thereon or claiming thereunder that (i), at
 the time of the execution and delivery thereof, this Agreement was in full force and effect; (ii) sueh
 instrument or document was duly executed in accordance with the terms and provisions of this Agreement
 and is binding upon the Partnership; and (iii) the General Partner or the General Partner's representative
 was duly authorized and empowered to execute and deliver any and every such instrument or document
 for and on behalf of the Paiinership.

                 (d)     Paiinership Funds. The funds of the Pat1nership shall be deposited in such
account or accounts as are designated by the General Partner. The General Patiner may, in its sole and
unfettered discretion, deposit funds of the Partnership in a central disbursing account maintained by or in
the name of the General Partner, the Partnership, or any other Person into whieh funds of the General
Partner, the Partnership, on other Persons are also deposited; provided, however, at all times books of
account are maintained that show the amount of funds of the Partnership on deposit in such account and
interest accrued with respect to such funds as credited to the Partnership. The General Partner may use
the funds of the Partnership as compensating balances for its benefit; provided, however, such funds do

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 not directly or indirectly secure, and are not otherwise at risk on account ot: any indebtedness or other
 obligation of the General Partner or any director, officer, employee, agent, representative, or Affiliate
 thereof: Nothing in this Section 4. J(cl) shall be deemed to prohibit or limit in any manner the right of the
 Partnership to lend funds to the General Partner or any Affiliate thereof pursuant to                     All
 withdrawals from or charges against such accounts shall be made by the General Partner or by its
 representatives. Funds of the Partnership may be invested as determined by the General Partner in
 accordance with the terms and provisions of this Agreement.

                  (e)

                           (i)      The General Partner or any Affiliate of the General Partner may lend to
 the Partnership funds needed by the Partnership for such periods of time as the General Partner may
 determine: provided, however, the General Partner or its Affiliate may not charge the Partnership interest
 at a rate greater than the rate (including points or other financing charges or fees) that would be charged
 the Partnership (without reference to the General Partner's financial abilities or guaranties) by unrelated
 lenders on comparable loans. The Partnership shall reimburse the General Partner or its Affiliate, as the
 case may be, for any costs incurred by the General Partner or that Affiliate in connection with the
 borrowing of funds obtained by the General Partner or that Affiliate and loaned to the Partnership. The
 Partnership may loan funds to the General Partner and any member of the Founding Partner Group at the
 General Partner's sole and exclusive discretion.

                          (ii)    The General Partner or any of its Affiliates may enter into an agreement
 with the Partnership to render services, including management services, for the Partnership. Any service
 rendered for the Partnership by the General Partner or any Affiliate thereof shall be on terms that are fair
 and reasonable to the Partnership.

                          (iii)   The Partnership may Transfer any assets to JOmt ventures or other
 partnerships in which it is or thereby becomes a participant upon terms and subject to such conditions
 consistent with applicable law as the General Partner deems appropriate; provided, however, that the
 Partnership may not transfer any asset to the General Partner or one of its Affiliates during any NA V
 Ratio Trigger Period for consideration less than such asset's fair market value.

                  (f)      Outside Activities' Conflicts of Interest. The General Partner or any Affiliate
 thereof and any director, officer, employee, agent, or representative of the General Partner or any Affiliate
 thereof shall be entitled to and may have business interests and engage in business activities in addition to
 those relating to the Patinership, including, without limitation, business interests and activities in direct
 competition with the Partnership. Neither the Partnership nor any of the Partners shall have any rights by
 virtue of this Agreement or the patinership relationship created hereby in any business ventures of the
 General Partner, any Affiliate thereof, or any director, officer, employee, agent, or representative of either
 the General Patiner or any Affiliate thereof.

                  (g)     Resolution of Conflicts of Interest. Unless otherwise expressly provided in this
 Agreement or any other agreement contemplated herein, whenever a conflict of interest exists or arises
 between the General Partner or any of its Affiliates, on the one hand, and the Partnership or any Limited
 Partner, on the other hand, any action taken by the General Paiiner, in the absence of bad faith by the
 General Partner, shall not constitute a breach of this Agreement or any other agreement contemplated
 herein or a breach of any standard of care or duty imposed herein or therein or under the Delaware Act or
 any other applicable law, rule, or regulation.

                 (h)     Indemnification. The Pa1inership shall indemnify and hold harmless the General
 Partner and any director, officer, employee, agent, or representative of the General Partner (collectively,


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 the "GP Party"),            all liabilities,     and damages incurred by any of them by reason of any act
 performed or omitted to be performed in the name of or on behalf of the Partnership, or in connection
 with the Partnership's business, including, without limitation, attorneys'       and any amounts expended
 in the settlement of any claims or liabilities,          or damages, to the fullest extent permitted by the
 Delaware Act; provided, however, the Partnership shall have no obligation to indemnify and hold
 harmless a GP Party for any action or inaction that constitutes gross negligence or willful or wanton
 misconduct The Partnership, in the sole and unfettered discretion of the General Partner, may indemnify
 and hold harmless any Limited Partner, employee, agent, or representative of the Partnership, any Person
 who is or was serving at the request of the Partnership acting through the General Partner as a director,
 oflicer, partner. trustee, employee, agent, or representative of another corporation, partnership, joint
 venture, trust, or other enterprise, and any other Person to the extent determined by the General Partner in
 its sole and unfettered discretion, but in no event shall such indemnification exceed the indemnification
 permitted by the Delaware Act. Notwithstanding anything to the contrary in this Section 4.1 (h) or
 elsewhere in this Agreement, no amendment to the Delaware Act after the date of this Agreement shall
 reduce or limit in any manner the indemnification provided for or permitted by this                  unless
 such reduction or limitation is mandated by such amendment for limited partnerships formed prior to the
 enactment of such amendment. In no event shall Limited Partners be subject to personal liability by
 reason of the indemnification provisions of this Agreement.

                 ( i)     Liability of General Partner.

                          (i)      Neither the General Paiiner nor its directors, officers, employees, agents,
 or representatives shall be liable to the Partnership or any Limited Partner for errors in judgment or for
 any acts or omissions that do not constitute gross negligence or willful or wanton misconduct.

                           (ii)   The General Partner may exercise any of the powers granted to it by this
 Agreement and perform any of the duties imposed upon it hereunder either directly or by or through its
 directors, officers, employees, agents, or representatives, and the General Partner shall not be responsible
 for any misconduct or negligence on the part of any agent or representative appointed by the General
 Partner.

                 U)       Reliance by General Partner.

                          (i)     The General Partner may rely and shall be protected in acting or
 refraining from acting upon any resolution, certificate, statement, instrument, opinion, report, notice,
 request, consent, order, bond, debenture, or other paper or document believed by it to be genuine and to
 have been signed or presented by the proper party or parties.

                          (ii)    The General Partner may consult with legal counsel, accountants,
 appraisers, management consultants, investment bankers, and other consultants and advisers selected by
 it, and any opinion of any such Person as to matters which the General Partner believes to be within such
 Person's professional or expe11 competence shall be full and complete authorization and protection in
 respect of any action taken or suffered or omitted by the General Partner hereunder in good faith and in
 accordance with such opinion.

                 (k)     The General Partner may, from time to time, designate one or more Persons to be
officers of the Partnership. No officer need be a Partner. Any officers so designated shall have such
authority and perform such duties as the General Patiner may, from time to time, delegate to them. The
General Partner may assign titles to particular officers, including, without limitation, president, vice
president, secretary, assistant secretary, treasurer and assistant treasurer. Each officer shall hold office
until such Person's successor shall be duly designated and shall qualify or until such Person's death or


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 until such Person shall          or shall have been removed in the manner hereinafter provided. Any
 number of offiees may be held by the same Person. The salaries or other compensation, if any, of the
 officers and agents of the Partnership shall be fixed from time to time by the General Pattner. Any officer
 may be removed as sueh, either with or without cause, by the General Pmtner whenever in the General
 Partner's judgment the best interests of the Partnership will be served thereby. Any vacancy occurring in
 any office of the Partnership may be filled by the General Partner.

          4.2.    Rights and Obligations of Limited Partners. In addition to the rights and obligations
 of Limited Partners set forth elsewhere in this Agreement, Limited Partners shall have the following
 rights and obligations:

               (a)                                 Limited Partners shall have no liability under this
 Agreement except as provided herein or under the Delaware Aet.

                  (b)                               No Limited Partner shall take part in the control
 (within the meaning of the Delaware Act) of the Partnership's business, transact any business in the
 Partnership's name, or have the power to sign documents for or otherwise bind the Partnership other than
 as specifically set forth in this Agreement.

                 (e)       Return of Capital. No Limited Partner shall be entitled to the withdrawal or
 return of its Capital Contribution except to the extent, if any, that distributions made pursuant to this
 Agreement or upon termination of the Partnership may be considered as sueh by law and then only to the
 extent provided for in this Agreement.

               (d)    Seeond Amended Buv-Sell and Redemption Agreement. Each Limited Partner
 shall eomply with the terms and conditions of the Second Amended Buy-Sell and Redemption
 Agreement.

                 ( e)    Default on Priority Distributions. If the Paiinership fails to timely pay Priority
Distributions pursuant to Section 3 .9(b ), and the Partnership does not subsequently make such Priority
Distribution within ninety days of its due date. the Class B Limited Partner or the Class C Limited Partner
may require the Partnership to liquidate publicly traded securities held by the Partnership or Highland
Select Equity Master Fund, L.P., a Delaware limited partnership controlled by the Partnership; provided,
however, that the General Partner may in its sole discretion elect instead to liquidate other non-publicly
traded securities owned by the Pa1tnership in order to satisfy the Partnership's obligations under Section
3.9(b) and this Section 4.2(e). In either case, Affiliates of the General Partner shall have the right of first
offer to purchase any securities liquidated under this Section 4.2(e).

        4.3.     Transfer of Partnership Interests.

                  (a)     Transfer. No Partnership Interest shall be Transferred, in whole or in part, except
in accordance with the terms and conditions set forth in this Section 4.3 and the Second Amended Buy-
Sell and Redemption Agreement. Any Transfer or purported Transfer of any Partnership Interest not
made in accordance with this                and the Second Amended Buy-Sell and Redemption Agreement
shall be null and void. An alleged transferee shall have no right to require any information or account of
the Pa1tnership's transactions or to inspect the Partnership's books. The Partnership shall be entitled to
treat the alleged transferor of a Partnership Interest as the absolute owner thereof in all respects, and shall
incur no liability to any alleged transferee for distributions to the Partner owning that Partnership Interest
of record or for allocations of Profits, Losses, deductions or credits or for transmittal of reports and
notices required to be given to holders of Partnership Interests.



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                  (b)                                      The General Partner may Transfer all, but not
 than alL of its Partnership Interest to any Person only with the approval of a Majority Interest; provided,
 however, that the General Partner may not Transfor its Partnership Interest during any NA V Ratio Trigger
  Period except to the extent such Transfers are for estate planning purposes or resulting from the death of
 the individual owner of the General Partner. Any Tran sfer by the General Partner of its Partnership
  Interest under this                 to an Af111iate of the General Partner or any other Person shall not
 constitute a withdrawal of the General Partner under                                 or any other provision
 of this Agreement. If any such Transfer is deemed to constitute a withdrawal under such provisions or
 otherwise and results in the dissolution of the Partnership under this Agreement or the laws of any
 jurisdiction to which the Partnership of this Agreement is subject, the Partners hereby unanimously
 consent to the reconstitution and continuation of the Partnership immediately following such dissolution,
 pursuant to~~~~~·

                 (c)                                      The Partnership Interest of a Limited Partner may
 not be Transferred without the consent of the General Partner (which consent may be withheld in the sole
 and unfettered discretion of the General Partner), and in accordance with the Second Amended Buy-Sell
 and Redemption Agreement.

                  ( d)     Distributions and Allocations in Respect of Transferred Partnership Interests. If
 any Partnership Interest is Transferred during any Fiscal Year in compliance with the provisions of
 A1iicle 4 and the Second Amended Buy-Sell and Redemption Agreement, Profits, Losses, and all other
 items attributable to the transferred interest for that period shall be divided and allocated between the
 transferor and the transferee by taking into aecount their varying interests during the period in aecordance
 with Code Section 706( d), using any conventions permitted by law and selected by the General Partner;
 provided that no allocations shall be made under this Section 4.3(d) that would affect any special
 allocations made under Section 3 .4. All distributions declared on or before the date of that Transfer shall
 be made to the transferor. Solely for purposes of making such allocations and distributions, the
 Partnership shall recognize that Transfer not later than the end of the calendar month during whieh it is
 given notice of that Transfer; provided, however, if the Partnership does not receive a notice stating the
 date that Partnership Interest was Transferred and such other information as the General Pa1iner may
 reasonably require within thirty (30) days after the end of the Fiscal Year during which the Transfer
 occurs, then all of such items shall be allocated, and all distributions shall be made, to the person who,
 according to the books and reeords or the Partnership, on the last day of the Fiscal Year during which the
 Transfer occurs, was the owner of the Partnership Interest. Neither the Partnership nor any Partner shall
 incur any liability for making alloeations and distributions in accordance with the provisions of this
 Section 4.3(d), whether or not any Partner or the Partnership has knowledge of any Transfer of ownership
 of any Pa1inership Interest.

                 ( e)    Forfeiture of Partnership Interests Pursuant to the Contribution Note. In the
event any Class B Limited Partnership Interests are forfeited in favor of the Partnership as a result of any
default on the Contribution Note, the Capital Aceounts and Pereentage Interests associated with such
Class B Limited Partnership Interests shall be allocated pro rata among the Class A Partners. The Priority
Distributions in Section 3. 9(b) made after the date of such forfeiture shall eaeh be redueed by an amount
equal to the ratio of the Percentage Interest assoeiated with the Class B Limited Partnership Interest
transferred pursuant to this Section 4.3(e) over the aggregate Percentage Interests of all Class B Limited
Partnership Interests and Class C Limited Partnership Interests, calculated immediately prior to any
forfeiture of such Class B Limited Partnership Interest.

                (f)     Transfers of Partnership Interests Pursuant to the Purchase Notes.
Notwithstanding any other provision in this Agreement, the Partnership shall respect, and the General
Patiner hereby provides automatic consent for, any transfers (in whole or transfers of partial interests) of

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 the        C Limited Partnership Interests, or a portion thereof: if such transfer occurs as a result of a
 default on the Purchase Notes. Upon the transfer of any Class C Limited Partnership Interest to any
 member of the Founding Partner Group (or their assigns), such Class C Limited Partnership Interest shall
 automatically convert to a Class A Partnership Interest The Priority Distributions in                shall
 each be reduced by an amount equal to the ratio of the Percentage Interest associated with the transferred
 Class C Limited Partnership Interest over the               Percentage Interests of all Class B Limited
 Partnership Interests and Class C Limited Partnership Interests, calculated immediately prior to any
 transfer of such Class C Limited Partnership Interest.

         4.4.     Issuances of Partnership Interests to New and Existing Partners.

                  (a)                                                                   The General Partner
 may admit one or more additional Persons as Limited Pa11ners ("Additional Limited Partners") to the
 Partnership at such times and upon such terms as it deems appropriate in its sole and unfettered
 discretion; provided, however, that the General Partner may only admit additional Persons as Limited
 Pa11ners in relation to the issuance of equity incentives to key employees of the Partnership; provided,
 further that the General Partner may not issue such equity incentives to the extent they entitle the holders,
 in the aggregate, to a Percentage Interest in excess of twenty percent without the consent of the Class B
 Limited Partner and the Class C Limited Partner. All Class A Limited Partners, the Class B Limited
 Partner and the Class C Limited Par1ner shall be diluted proportionately by the issuance of such limited
 partnership interests. No Person may be admitted to the Partnership as a Limited Partner until he/she/it
 executes an Addendum to this Agreement in the form attached as Exhibit B (which may be modified by
 the General Partner in its sole and unfettered discretion) and an addendum to the Second Amended Buy-
 Sell and Redemption Agreement.

                 (b)     Issuance of an Additional Partnership Interest to an Existing Partner. The
 General Partner may issue an additional Partnership Interest to any existing Partner at such times and
 upon such terms as it deems appropriate in its sole and unfettered discretion. Upon the issuance of an
 additional Pa11nership Interest to an existing Partner, the Percentage Interests of the members of the
 Founding Pm1ner Group shall be diluted proportionately. Any additional Partnership Interest shall be
 subject to all the terms and conditions of this Agreement and the Second Amended Buy-Sell and
 Redemption Agreement.

         4.5.    Withdrawal of General Partner

                 (a)      Option. In the event of the withdrawal of the General Partner from the
Partnership, the departing General Partner (the "Departing Partner") shall, at the option of its successor
(if any) exercisable prior to the effective date of the departure of that Departing Partner, promptly receive
from its successor in exchange for its Partnership Interest as the General Pminer, an amount in cash equal
to its Capital Account balance, determined as of the effective date of its departure.

                 (b)     Conversion. If the successor to a Departing Partner does not exercise the option
described in Section 4.5(a), the Partnership Interest of the Departing Pa11ner as the General Partner of the
Partnership shall be converted into a Pa11nership Interest as a Limited Partner.

         4.6.    Admission of Substitute Limited Partners and Successor General Partner.

                 (a)     Admission of Substitute Limited Partners. A transferee (which may be the heir
or legatee of a Limited Pa11ner) or assignee of a Limited Partner's Partnership Interest shall be entitled to
receive only the distributive share of the Partnership's Profits, Losses, deductions, and credits attributable
to that Pa11nership Interest. To become a substitute Limited Partner (a "Substitute Limited Partner"),


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 that             or          shall ( 1) obtain the consent of the General Pa11ner (which consent may be
 withheld in the sole and unfettered discretion of the General Partner), (ii) comply with all the
 requirements of this Agreement and the Second Amended Buy-Sell and Redemption Agreement with
 respect to the Transfer of the Partnership Interest at issue, and (iii) execute an Addendum to this
 Agreement in the form attached as                (which may be modified by the General Partner in its sole
 and unfettered discretion) and an addendum to the Second Amended Buy-Sell and Redemption
 Agreement. Upon admission of a Substitute Limited Partner, that Limited Partner shall be subject to all
 of the restrictions applicable to, shall assume all of the obligations of, and shall attain the status of a
 Limited Partner under and pursuant to this Agreement with respect to the Partnership Interest held by that
 Limited Partner.

                 (b)                                                   A successor General Partner selected
 pursuant to              or the transferee of or successor to all of the Pai1nership Interest of the General
 Partner pursuant to                 shall be admitted to the Partnership as the General Partner, effective as
 of the date of the withdrawal or removal of the predecessor General Partner or the date of Transfer of that
 predecessor's Partnership Interest.

                 ( c)    Action by General Partner. In connection with the admission of any substitute
 Limited Pa11ner or successor General Partner or any additional Limited Partner, the General Pat1ner shall
 have the authority to take all such actions as it deems necessary or advisable in connection therewith,
 including the amendment of              and the execution and filing with appropriate authorities of any
 necessary documentation.

                                                ARTICLE 5

                                  DISSOLUTION AND WINDING UP

         5.1.    Dissolution. The Partnership shall be dissolved upon:

                 (a)       The withdrawal, bankruptcy, or dissolution of the General Partner, or any other
event that results in its ceasing to be the General Partner (other than by reason of a Transfer pursuant to
Section 4.3(b)):

                (b)      An election to dissolve the Pa11nership by the General Partner that is approved by
the affirmative vote of a Majority Interest; provided, however, the General Partner may dissolve the
Partnership without the approval of the Limited Partners in order to comply with Section 14 of the Second
Amended Buy-Sell and Redemption Agreement; or

                 (c)     Any other event that, under the Delaware Act, would cause its dissolution.

For purposes of th is Section 5. 1, the bankruptcy of the General Partner shall be deemed to have occurred
when the General Partner: (i) makes a general assignment for the benefit of creditors; (ii) files a voluntary
bankruptcy petition; (iii) becomes the subject of an order for relief or is declared insolvent in any federal
or state bankruptcy or insolvency proceeding: (iv) files a petition or answer seeking a reorganization,
arrangement composition, readjustment. liquidation, dissolution, or similar relief under any law; (v) files
an answer or other pleading admitting or failing to contest the material allegations of a petition filed
against the General Partner in a proceeding of the type described in clauses (i) through (iv) of this
paragraph; (vi) seeks, consents to, or acquiesces in the appointment of a trustee, receiver, or liquidator of
the General Partner or of all or any substantial part of the General Partner's properties; or (vii) one
hundred twenty ( 120) days expire after the date of the commencement of a proceeding against the General
Partner seeking reorganization, arrangement, composition, readjustment, liquidation, dissolution, or


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 similar relief under any law if the proceeding has not been previously dismissed, or ninety (90) days
 expire after the date of the appointment, without the General Paiincr's consent or acquiescence, of a
 trustee, receiver. or liquidator of the General Partner or of all or any substantial part of the General
 Partner's properties if the appointment has not previously been vacated or stayed. or ninety (90) days
 expire after the date of expiration of a stay, if the appointment has not previously been vacated.

          5.2.      Continuation of the Partnership. Upon the occurrence of an event described in      ==C!c!
         the Partnership shall be deemed to be dissolved and reconstituted if a Majority Interest elect to
 continue the Patinership within ninety (90) days of that event. If no election to continue the Pa1inership is
 made within ninety (90) days of that event, the Partnership shall conduct only activities necessary to wind
 up its affairs. If an election to continue the Partnership is made upon the occurrence of an event described
 111                 then:

                 (a)       Within that ninety (90)-day period a successor General Partner shall be selected
 by a Majority Interest;

                  (b)    The Partnership shall be deemed to be reconstituted and shall continue until the
 end of the term for which it is formed unless earlier dissolved in accordance with this A1iiclc 5;

                 (c)       The interest of the former General Partner shall be converted to an interest as a
 Limited Pa11ner: and

                 (d)     All necessary steps shall be taken to amend or restate this Agreement and the
 Certificate of Limited Pa1incrship, and the successor General Partner may for this purpose amend this
 Agreement and the Certificate of Limited Partnership, as appropriate, without the consent of any Partner.

         5.3.     Liquidation. Upon dissolution of the Partnership, unless the Partnership is continued
 under               the General Partner or, in the event the General Partner has been dissolved, becomes
 bankrupt (as defined in                  or withdraws from the Partnership, a liquidator or liquidating
committee selected by a Majority Interest, shall be the Liquidator. The Liquidator (if other than the
General Partner) shall be entitled to receive such compensation for its services as may be approved by a
 Majority Interest. The Liquidator shall agree not to resign at any time without fifteen ( 15) days' prior
 written notice and (if other than the General Partner) may be removed at any time, with or without cause,
 by notice of removal approved by a Majority Interest. Upon dissolution, removal, or resignation of the
 Liquidator, a successor and substitute Liquidator (who shall have and succeed to all rights, powers, and
duties of the original Liquidator) shall within thirty (30) days thereafter be selected by a Majority Interest.
The right to appoint a successor or substitute Liquidator in the manner provided herein shall be recurring
and continuing for so long as the functions and services of the Liquidator arc authorized to continue under
the provisions hereof, and every reference herein to the Liquidator shall be deemed to refer also to any
such successor or substitute Liquidator appointed in the manner provided herein. Except as expressly
provided in this              the Liquidator appointed in the manner provided herein shall have and may
exercise. without further authorization or consent of any of the parties hereto, all of the powers conferred
upon the General Patiner under the terms of this Agreement (but subject to all of the applicable
limitations, contractual and otherwise, upon the exercise of such powers) to the extent necessary or
desirable in the good faith judgment of the Liquidator to carry out the duties and functions of the
Liquidator hereunder for and during such period of time as shall be reasonably required in the good faith
judgment of the Liquidator to complete the winding up and liquidation of the Partnership as provided
herein. The Liquidator shall liquidate the assets of the Partnership and apply and distribute the proceeds
of such liquidation in the following order of priority, unless otherwise required by mandatory provisions
of applicable law:



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                  (a)    To the payment of the            of the terminating transactions including, without
 limitation, brokerage commission, legal fees, accounting      and closing costs;

                  (b)    To the payment of creditors of the Partnership, including Partners, in order of
 priority provided by law;

                    (c)     To the Partners and assignees to the extent oC and in proportion to, the positive
 balances in their respective Capital Accounts as provided in Treasury Regulations Section 1.704-
 1(b)(2)(ii)(b )(2); provided, however, the Liquidator may place in escrow a reserve of cash or other assets
 of the Partnership for contingent liabilities in an amount determined by the Liquidator to be appropriate
 for such purposes; and

                 (d)      To the Partners in propo1iion to their respective Percentage Interests.

           5.4.    Distribution in Kind. Notwithstanding the provisions of                    that require the
 liquidation of the assets of the Partnership, but subject to the order of priorities set forth therein, if on
 dissolution of the Partnership the Liquidator determines that an immediate sale of part or all of the
 Partnership's assets would be impractical or would cause undue loss to the Partners and assignees, the
 Liquidator may defer for a reasonable time the liquidation of any assets except those necessary to satisfy
 liabilities of the Partnership (other than those to Partners) and/or may distribute to the Partners and
 assignees, in lieu of cash, as tenants in common and in accordance with the provisions of===-"'-'-"'-'
 undivided interests in such Partnership assets as the Liquidator deems not suitable for liquidation. Any
 such distributions in kind shall be subject to such conditions relating to the disposition and management
 of such properties as the Liquidator deems reasonable and equitable and to any joint operating agreements
 or other agreements governing the operation of such prope1iies at such time. The Liquidator shall
 determine the fair market value of any property distributed in kind using such reasonable method of
 valuation as it may adopt.

          5.5.    Cancellation of Certificate of Limited Partnership. Upon the completion of the
 distribution of Partnership property as provided in                     and       the Partnership shall be
 terminated, and the Liquidator (or the General Partner and Limited Partners if necessary) shall cause the
 cancellation of the Certificate of Limited Partnership in the State of Delaware and of all qualifications and
 registrations of the Partnership as a foreign limited partnership in jurisdictions other than the State of
 Delaware and shall take such other actions as may be necessary to terminate the Partnership.

         5.6.    Return of Capital. The General Pa1iner shall not be personally liable for the return of
 the Capital Contributions of Limited Partners, or any portion thereof, it being expressly understood that
 any such return shall be made solely from Partnership assets.

         5.7.    Waiver of Partition.       Each Partner hereby waives any rights to partition of the
 Partnership property.

                                                ARTICLE 6

                                        GENERAL PROVISIONS

        6.1.     Amendments to Agreement. The General Partner may amend this Agreement without
the consent of any Partner if the General Partner reasonably determines that such amendment is necessary
and appropriate; provided, however, any action taken by the General Partner shall be subject to its
fiduciary duties to the Limited Patiners under the Delaware Act; provided further that any amendments



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 that adversely afl't:ct the    B Limited Partner or the Class C Limited Pai1ner may only be made with
 the consent of such Partner adversely affected.

          6.2.    Addresses and Notices. Any notice, demand, request, or report required or permitted to
 be given or made to a Partner under this Agreement shall be in writing and shall be deemed given or made
 ,\hen delivered in person or when sent by United States registered or ce11ified mail to the Partner at
 his/her/its address as shown on the records of the Pai1nership, regardless of any claim of any Person who
 may have an interest in any Partnership Interest by reason of an assignment or otherwise.

         6.3.    Titles and Captions. All article and section titles and captions in the Agreement are for
 convenience only, shall not be deemed part of this Agreement, and in no way shall define, limit, extend,
 or describe the scope or intent of any provisions hereoC Except as specifically provided otherwise,
 references to "A11icles," "Sections" and "Exhibits" are to "Articles," "Sections" and "Exhibits" of this
 Agreement. All Exhibits hereto are incorporated herein by reference.

         6.4.   Pronouns and Plurals. Whenever the context may require, any pronoun used in this
 Agreement shall include the corresponding masculine, feminine, or neuter forms, and the singular form of
 nouns, pronouns. and verbs shall include the plural and vice versa.

         6.5.      Further Action. The parties shall execute all documents, provide all information, and
 take or refrain from taking all actions as may be necessary or appropriate to achieve the purposes of this
 Agreement.

          6.6.    Binding Effect. This Agreement shall be binding upon and inure to the benefit of the
 pat1ies hereto and their heirs. executors, administrators, successors, legal representatives, and permitted
 assigns.

          6.7.    Integration. This Agreement constitutes the entire agreement among the parties hereto
 pertaining to the subject matter hereof and supersedes all prior agreements and understandings pertaining
 thereto.

         6.8.    Creditors. None of the prov1s1ons of this Agreement shall be for the benefit of or
 enforceable by any creditors of the Partnership.

        6.9.    Waiver. No failure by any party to insist upon the strict performance of any covenant,
duty, agreement, or condition of this Agreement or to exercise any right or remedy consequent upon a
breach thereof shall constitute waiver of any such breach or any other covenant, duty, agreement, or
condition.

        6.10. Counterparts. This agreement may be executed in counterparts, all of which together
shall constitute one agreement binding on all the parties hereto, notwithstanding that all such parties are
not signatories to the original or the same counterpart.

         6.11. Applicable Law. This Agreement shall be construed in accordance with and governed
by the laws of the State of Delaware, without regard to the principles of conflicts of law.

         6.12. Invalidity of Provisions. If any provision of this Agreement is declared or found to be
illegal, unenforceable, or void, in whole or in part, then the parties shall be relieved of all obligations
arising under that provision, but only to the extent that it is illegal, unenforceable, or void, it being the
intent and agreement of the parties that this Agreement shall be deemed amended by modifying that
provision to the extent necessary to make it legal and enforceable while preserving its intent or, if that is


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 not possible, by substituting therefor another provision that is legal and enforceable and achieves the same
 objectives.

           6.13. General Partner Discretion. Whenever the General Partner may use its sole discretion,
 the (ieneral Partner may consider any items it deems relevant, including its mvn interest and that of its
 affiliates.

          6.14. Mandatory Arbitration. In the event there is an unresolved legal dispute between the
 parties and/or any of their respective officers, directors, partners, employees, agents, affiliates or other
 representatives that involves legal rights or remedies arising from this Agreement, the parties agree to
 submit their dispute to binding arbitration under the authority of the Federal Arbitration Act; provided,
~~~~, that the Partnership or such applicable affiliate thereof may pursue a temporary restraining order
 and /or preliminary injunctive relief in connection with any confidentiality covenants or agreements
 binding on the other party, with related expedited discovery for the parties, in a court of law, and
 thereafter, require arbitration of all issues of final relief. The arbitration will be conducted by the
 American Arbitration Association, or another mutually agreeable arbitration service. A panel of three
arbitrators will preside over the arbitration and will together deliberate, decide and issue the final award.
The arbitrators shall be duly licensed to practice law in the state of Texas. The discovery process shall be
 limited to the following: Each side shall be permitted no more than (i) two party depositions of six hours
each, each deposition to be taken pursuant to the Texas Rules of Civil Procedure; (ii) one non-paiiy
deposition of six hours; (iii) twenty-five interrogatories; (iv) twenty-five requests for admissions; (v) ten
 request for production (in response, the producing pa11y shall not be obligated to produce in excess of
 5,000 total pages of documents, including electronic documents); and (vi) one request for disclosure
pursuant to the Texas Rules of Civil Procedure. Any discovery not specifically provided for in this
paragraph, whether to patiies or non-parties, shall not be permitted. The arbitrators shall be required to
state in a written opinion all facts and conclusions of law relied upon to support any decision rendered.
The arbitrators will not have the authority to render a decision that contains an outcome based on error of
state or federal law or to fashion a cause of action or remedy not otherwise provided for under applicable
state or federal law. Any dispute over whether the arbitrators have failed to comply with the foregoing
,,ill be resolved by summary judgment in a comi of law. In all other respects, the arbitration process will
 be conducted in accordance with the American Arbitration Association's dispute resolution rules or other
mutually agreeable arbitration services rules. All proceedings shall be conducted in Dallas, Texas or
another mutually agreeable site. Each party shall bear its own attorneys fees, costs and expenses,
including any costs of experts, witnesses and /or travel, subject to a final arbitration award on who should
bear costs and fees. The duty to arbitrate described above shall survive the termination of this
Agreement. Except as otherwise provided above, the parties hereby waive trial in a court of law or by
jury. All other rights, remedies, statutes of limitation and defenses applicable to claims asserted in a court
of law will apply in the arbitration.




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             IN WITNESS WHEREOF. the           hereto have entered into this      date and
     year first written above.

                                                 GENERAL PART:'IER:




                                                 THE DUGABOY INVESTMENT TRUST




                                                  THE MARK AND PAMELA OK,\DA FAMILY
                                                  TRUST - EXEMPT TRt;ST #1


                                                     By:
                                                     -:-Jame: Lawrence Tonomura
                                                     Its:     Trustee


                                                     THE MARK AND PAMELA OKADA FA.MILY
                                                     TRUST - EXEMPT TRUST #2


                                                     By:
                                                     Name: Lawrence Tonomura
                                                     Its:  Trustee




      Signature Page to Fourth Amended @d Res1a1ed
      Agreement qt' Li111i,ed Parfllership



                                                                                             APP 118
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           IN WITNESS              the       hereto have entered into this    as of the date and
  year first written above.

                                                   GENERAL PARTNER:

                                                   STRAND ADVISORS, INC.,
                                                   a Delaware corporation

                                                   By:
                                                          James D. Dondero,
                                                          President


                                                   LIMITED PARTNERS:

                                                   THE DUGABOY INVESTMENT TRUST


                                                   By:
                                                   Name: Nancy M. Dondero
                                                   Its:  Trustee

                                                   THE MARK AND PAMELA OKADA FAMILY
                                                   TRUST - EXEMPT TRUST #1




                                                   THE MARK AND PAMELA OKADA FAMILY
                                                   TRUST EXEMPT TRUST #2


                                                   By:
                                                   Na
                                                   Its:


                                                   MARK K. OKADA



                                                   Mark K. Okada




   Signature Page to Fourth Amended and Restated
   Agreement of Limited Partnership



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                                                         . INVESTMl(NT TRUST
                                                          .C Administrator


                                                    By




    Signawre Page ro Fourth Amended and !?estated
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                                         EXHIBIT A


                                                                  Percentage Interest
 CLASS A PARTNERS                                               By Class   Effective %

   GENERAL PARTNER:

      Strand Advisors                                             0.5573%       0.2508%

   LIMITED PARTNERS:

      The Dugaboy Investment Trust                               74.4426%       0.1866%

      Mark K. Okada                                              19.4268%       0.0487%

      The Mark and Pamela Okada Family Trust- Exempt Trust #1     3.9013%       0.0098%

      The Mark and Pamela Okada Family Trust Exempt Trust #2      1.6720%       0.0042%

 Total Class A Percentage Interest                              100.0000%        0.500%

 CLASS B LIMITED PARTNERS

      Hunter Mountain Investment Trust                          100.0000%      55.0000%

 CLASS C LIMITED PARTNERS

      Hunter Mountain Investment Trust                          100.0000%       44.500%

 PROFIT AND LOSS AMONG CLASSES

      Class A Partners                                           0.5000%

      Class B Partners                                          55.0000%

      Class C Partners                                          44.5000%




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                                                 EXHIBIT B

                               ADDENDUM
                                TO THE
      FOURTH AMENDED AND RESTATED AGREEMENT OF LIMITED PARTNERSHIP
                                   OF
                   HIGHLAND CAPITAL MANAGEMENT, L.P.

         THIS ADDENDUM (this ·'Addendum") to that certain Fourth Amended and Restated
 Agreement of Limited Partnership of Highland Capital Management, L.P., dated December 24, 2015, to
 be effective as of December 24, 2015, as amended from time to time (the "Agreement"), is made and
 entered into as of the       day of            20_, by and between Strand Advisors, Inc., as the sole
 General Partner (the "General Partner") of Highland Capital Management, L.P. (the "Partnership") and
 - - - - - - ("             ") (except as otherwise provided herein, all capitalized terms used herein shall
 have the meanings set forth in the Agreement).

                                                 RECITALS:

         WHEREAS, the General Partner, in its sole and unfettered discretion, and without the consent of
 any Limited Pa1iner, has the authority under (i) Section 4.4 of the Agreement to admit Additional Limited
 Partners, (ii) Section 4.6 of the Agreement to admit Substitute Limited Partners and (iii) Section 6. J of the
 Agreement to amend the Agreement;

      WHEREAS, the General Partner desires to admit                    as a Class_ Limited Partner holding
 a_% Percentage Interest in the Partnership as of the date hereof;

        WHEREAS, - - - -desires to become a Class                Limited Pminer and be bound by the terms
 and conditions of the Agreement; and

          WHEREAS, the General Partner desires to amend the Agreement to add ______ as a
 party thereto.

                                               AGREEMENT:

        RESOLVED, as a condition to receiving a Partnership Interest in the Partnership, _ _ _ _ __
 acknowledges and agrees that he/she/it (i) has received and read a copy of the Agreement, (ii) shall be
 bound by the terms and conditions of the Agreement; and (iii) shall promptly execute an addendum to the
 Second Amended Buy-Sell and Redemption Agreement; and be it

       FURTHER RESOLVED, the General Partner hereby amends the Agreement to add
               as a Limited Partner, and the General Partner shall attach this Addendum to the
 Agreement and make it a part thereof; and be it

         FURTHER RESOLVED, this Addendum may be executed in any number of counterparts, all of
 which together shall constitute one Addendum binding on all the parties hereto, notwithstanding that all
 such parties are not signatories to the original or the same counterpart.




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        IN WITNESS WHEREOF, the undersigned have executed this Addendum as of the day and year
 above written.

                                                 GENERAL PARTNER:

                                                  STRAND ADVISORS, INC.

                                                 By:
                                                         Name: _ _ _ _ _ _ _ _ _ _ __
                                                         Title:


                                                 NEW LIMITED PARTNER:



 AGREED AND ACCEPTED:

 In consideration of the terms of this Addendum and the Agreement, in consideration of the Partnership's
 allowing the above signed Person to become a Limited Pa1tner of the Partnership, and for other good and
 valuable consideration receipt of which is hereby acknowledged, the undersigned shall be bound by the
 terms and conditions of the Agreement as though a party thereto.



 ___________]




                                                                                                           APP 123
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  B1040 (FORM 1040) (12/15)

          ADVERSARY PROCEEDING COVER SHEET                                                     ADVERSARY PROCEEDING NUMBER
                                                                                               (Court Use Only)
                  (Instructions on Reverse)

PLAINTIFFS                                                                      DEFENDANTS
Highland Capital Management, L.P.                                                James Dondero, Nancy Dondero, and
                                                                                 The Dugaboy Investment Trust

ATTORNEYS (Firm Name, Address, and Telephone No.)                               ATTORNEYS (If Known)
Hayward PLLC                                                                    Stinson LLP (for James Dondero and Nancy
10501 N. Central Expressway, Suite 106                                          Dondero); Heller, Draper & Horn, L.L.C. (for
Dallas, Texas 75231 Tel.: (972) 755-7100                                        The Dugaboy Investment Trust)
PARTY (Check One Box Only)                         PARTY (Check One Box Only)
□ Debtor    □ U.S. Trustee/Bankruptcy Admin        □ Debtor      □ U.S. Trustee/Bankruptcy Admin
□ Creditor  □ Other                                □ Creditor    □ Other
□ Trustee                                          □ Trustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
Breach of Contract; Turnover Pursuant to 11 USC 542(b); Avoidance and Recovery of Actual
Fraudulent Transfer under 11 USC 548(a)(1)(A) and 550; Avoidance and Recovery of Actual
Fraudulent Transfer under 11 USC 544(b) and 550 and Tex. Bus. & C. Code 24.005(a)(1);
Declaratory Relief; Breach of Fiduciary Duty; Aiding & Abetting Breach of Fiduciary Duty
                                                                    NATURE OF SUIT
        (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)


□2 11-Recovery of money/property - §542 turnover of property                    □
    FRBP 7001(1) – Recovery of Money/Property                                   FRBP 7001(6) – Dischargeability (continued)

□ 12-Recovery of money/property - §547 preference                               □
                                                                                   61-Dischargeability - §523(a)(5), domestic support

□3 13-Recovery of money/property - §548 fraudulent transfer                     □
                                                                                   68-Dischargeability - §523(a)(6), willful and malicious injury

□4 14-Recovery of money/property - other                                        □
                                                                                   63-Dischargeability - §523(a)(8), student loan
                                                                                   64-Dischargeability - §523(a)(15), divorce or separation obligation

                                                                                □
                                                                                      (other than domestic support)

□ 21-Validity, priority or extent of lien or other interest in property
    FRBP 7001(2) – Validity, Priority or Extent of Lien                            65-Dischargeability - other


                                                                                □
                                                                                FRBP 7001(7) – Injunctive Relief

□
    FRBP 7001(3) – Approval of Sale of Property
                                                                                □
                                                                                   71-Injunctive relief – imposition of stay
    31-Approval of sale of property of estate and of a co-owner - §363(h)          72-Injunctive relief – other


□ 41-Objection / revocation of discharge - §727(c),(d),(e)
    FRBP 7001(4) – Objection/Revocation of Discharge
                                                                                □ 81-Subordination of claim or interest
                                                                                FRBP 7001(8) Subordination of Claim or Interest



□ 51-Revocation of confirmation
    FRBP 7001(5) – Revocation of Confirmation
                                                                                □5 91-Declaratory judgment
                                                                                FRBP 7001(9) Declaratory Judgment



□ 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims
    FRBP 7001(6) – Dischargeability
                                                                              □
                                                                              FRBP 7001(10) Determination of Removed Action

□ 62-Dischargeability - §523(a)(2), false pretenses, false representation,        01-Determination of removed claim or cause


□ 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny □ SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
      actual fraud                                                            Other


                   (continued next column)                                    □1 02-Other (e.g. other actions that would have been brought in state court
                                                                                         if unrelated to bankruptcy case)
□ Check if this case involves a substantive issue of state law                  □ Check if this is asserted to be a class action under FRCP 23
□ Check if a jury trial is demanded in complaint    Demand $ Damages in an amount to be determined at trial
Other Relief Sought Turnover of amounts due under note, avoidance of transfers to defendants,
                             declaratory relief, punitive and exemplary damages, costs, attorneys' fees




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  B1040 (FORM 1040) (12/15)

              BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                               BANKRUPTCY CASE NO.
Highland Capital Management, L.P.                                      19-34054-sgj11
DISTRICT IN WHICH CASE IS PENDING                                      DIVISION OFFICE                   NAME OF JUDGE
Northern District of Texas                                             Dallas                            Stacey G. C. Jernigan
                                      RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                       DEFENDANT                                                ADVERSARY
                                                                                                         PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING                                 DIVISION OFFICE                   NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF)




DATE                                                                   PRINT NAME OF ATTORNEY (OR PLAINTIFF)
August 27, 2021                                                        Zachery Z. Annable



                                                          INSTRUCTIONS

            The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
  all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
  jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
  lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
  proceeding.

           A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
  Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
  Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
  completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
  information to process the adversary proceeding and prepare required statistical reports on court activity.

           The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
  or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
  explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
  attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

  Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

  Attorneys. Give the names and addresses of the attorneys, if known.

  Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

  Demand. Enter the dollar amount being demanded in the complaint.

  Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
  plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
  attorney, the plaintiff must sign.




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 Counsel for Highland Capital Management, L.P.

                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

                                                                   §
     In re:                                                            Chapter 11
                                                                   §
                                                                   §
     HIGHLAND CAPITAL MANAGEMENT, L.P., 1                              Case No. 19-34054-sgj11
                                                                   §
                                                                   §
                                      Debtor.
                                                                   §
     HIGHLAND CAPITAL MANAGEMENT, L.P.,                            §
                                                                   §
                                      Plaintiff,                   §   Adversary Proceeding No.
                                                                   §
     vs.                                                           §   21-03005
                                                                   §
     NEXPOINT ADVISORS, L.P., JAMES                                §
     DONDERO, NANCY DONDERO, AND THE                               §
     DUGABOY INVESTMENT TRUST,                                     §

                                      Defendants.



 1
  The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
 for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.


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              AMENDED COMPLAINT FOR (I) BREACH OF CONTRACT,
      (II) TURNOVER OF PROPERTY, (III) FRAUDULENT TRANSFER, AND (IV)
                        BREACH OF FIDUCIARY DUTY

                Plaintiff, Highland Capital Management, L.P., the above-captioned debtor and

 debtor-in-possession (the “Debtor”) in the above captioned chapter 11 case (the “Bankruptcy

 Case”), and the plaintiff (the “Plaintiff”) in the above-captioned adversary proceeding (the

 “Adversary Proceeding”) by its undersigned counsel, as and for its amended complaint (the

 “Complaint”) against defendants NexPoint Advisors, L.P. (“NPA”), James Dondero (“Mr.

 Dondero”), Nancy Dondero (“Ms. Dondero”), and The Dugaboy Investment Trust (“Dugaboy”

 and together with NPA, Mr. Dondero, and Ms. Dondero, the “Defendants”), alleges upon

 knowledge of its own actions and upon information and belief as to other matters as follows:

                                 PRELIMINARY STATEMENT

                1.      The Debtor brings this action against Defendants in connection with NPA’s

 default under a promissory note executed by NPA in favor of the Debtor in the original principal

 amount of $30,746,812.33, and payable in annual installments. NPA has failed to pay amounts

 when due under the Note (as defined below), the Note is in default, and the amounts due under the

 Note have been accelerated pursuant to the terms of the Note.

                2.      In paragraph 42 of NPA’s First Amended Answer [Docket No. 34-3], NPA

 contends that the Debtor orally agreed to relieve it of the obligations under the notes upon

 fulfillment of “conditions subsequent” (the “Alleged Agreement”). NPA further contends that the

 Alleged Agreement was entered into between James Dondero, acting on behalf of NPA, and his

 sister, Nancy Dondero, as representative of a majority of the Class A shareholders of the Plaintiff,

 including Dugaboy (the “Representative”), acting on behalf of the Debtor. At the time Mr.




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 Dondero entered into the Alleged Agreement on behalf of NPA, he controlled both NPA and the

 Debtor and was the lifetime beneficiary of Dugaboy.

                3.      Based on its books and records, discovery to date, and other facts, the

 Debtor believes that the Alleged Agreement is a fiction created after the commencement of this

 Adversary Proceeding for the purpose of avoiding or at least delaying paying the obligations due

 under the Note.

                4.      Nevertheless, the Debtor amends its Complaint to add certain claims and

 name additional parties who would be liable to the Debtor if the Alleged Agreement were

 determined to exist and be enforceable. Specifically, in addition to pursuing claims against NPA

 for breach of its obligations under the Note and for turnover, the Debtor adds alternative claims

 (a) against NPA for actual fraudulent transfer and aiding and abetting Dugaboy in its breach of

 fiduciary duty, (b) against Dugaboy for declaratory relief and for breach of fiduciary duty, and (c)

 against Nancy Dondero for aiding and abetting Dugaboy in the breach of his fiduciary duties.

                5.      As remedies, the Debtor seeks (a) damages from NPA in an amount equal

 to (i) the outstanding principal due under the Note (as defined below), plus (ii) all accrued and

 unpaid interest thereon until the date of payment, plus (iii) an amount equal to the Debtor’s costs

 of collection (including all court costs and reasonable attorneys’ fees and expenses, as provided

 for in the Note), for NPA’s breach of its obligations under the Note, (b) turnover by NPA to the

 Debtor of the foregoing amounts; (c) avoidance of the Alleged Agreement and the transfers

 thereunder and recovery of the funds transferred from the Plaintiff to, or for the benefit of, NPA

 pursuant to the Note; (d) declaratory relief, and (e) damages arising from the Defendants’ breach

 of fiduciary duties or aiding and abetting thereof.




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                                 JURISDICTION AND VENUE

                 6.    This adversary proceeding arises in and relates to the Debtor’s case pending

 before the United States Bankruptcy Court for the Northern District of Texas, Dallas Division (the

 “Court”) under chapter 11 of the Bankruptcy Code.

                 7.    The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

 and 1334.

                 8.    This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b),

 and, pursuant to Rule 7008 of the Bankruptcy Rules, the Debtor consents to the entry of a final

 order by the Court in the event that it is later determined that the Court, absent consent of the

 parties, cannot enter final orders or judgments consistent with Article III of the United States

 Constitution.

                 9.    Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

                                         THE PARTIES

                 10.   The Debtor is a limited liability partnership formed under the laws of

 Delaware with a business address at 300 Crescent Court, Suite 700, Dallas, Texas 75201.

                 11.   Upon information and belief, NPA is a limited partnership with offices

 located in Dallas, Texas, and organized under the laws of the state of Delaware.

                 12.   Upon information and belief, Mr. Dondero is an individual residing in

 Dallas, Texas. He is the co-founder of the Debtor and was the Debtor’s President and Chief

 Executive Officer until his resignation on January 9, 2020. At all relevant times, Mr. Dondero

 controlled NPA; Mr. Dondero also controlled the Debtor until January 9, 2020.

                 13.   Upon information and belief, Dugaboy is (a) a limited partner of the Debtor,

 and (b) one of Mr. Dondero’s family investment trusts for which is he a lifetime beneficiary.



                                                 4


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                     14.      Upon information and belief, Nancy Dondero is an individual residing in

 the state of Florida and who is Mr. Dondero’s sister, and a trustee of Dugaboy.

                                              CASE BACKGROUND

                     15.      On October 16, 2019, the Debtor filed a voluntary petition for relief under

 chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the District of

 Delaware (the “Delaware Court”), Case No. 19-12239 (CSS) (the “Highland Bankruptcy Case”).

                     16.      On October 29, 2019, the U.S. Trustee in the Delaware Court appointed an

 Official Committee of Unsecured Creditors (the “Committee”) with the following members: (a)

 Redeemer Committee of Highland Crusader Fund (“Redeemer”), (b) Meta-e Discovery, (c) UBS

 Securities LLC and UBS AG London Branch, and (d) Acis Capital Management, L.P. and Acis

 Capital Management GP LLC (collectively, “Acis”).

                     17.      On June 25, 2021, the U.S. Trustee in this Court filed that certain Notice of

 Amended Unsecured Creditors’ Committee [Docket No. 2485] notifying the Court that Acis and

 Redeemer had resigned from the Committee.

                     18.      On December 4, 2019, the Delaware Court entered an order transferring

 venue of the Highland Bankruptcy Case to this Court [Docket No. 186]. 2

                     19.      The Debtor has continued in the possession of its property and has

 continued to operate and manage its business as a debtor-in-possession pursuant to sections

 1107(a) and 1108 of the Bankruptcy Code. No trustee or examiner has been appointed in this

 chapter 11 case.




 2
     All docket numbers refer to the main docket for the Debtor’s Case maintained by this Court.

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                                    STATEMENT OF FACTS

 A.     The NPA Note

                20.    NPA is the maker under a promissory note in favor of the Debtor.

                21.    Specifically, on May 31, 2017, NPA executed a promissory note in favor

 of the Debtor, as payee, in the original principal amount of $30,746, 812.33 (the “Note”). A true

 and correct copy of the Note is attached hereto as Exhibit 1.

                22.    Section 2 of the Note provides: “Payment of Principal and Interest.

 Principal and interest under this Note shall be due and payable as follows:

                2.1     Annual Payment Dates. During the term of this Note, Borrower shall pay
                the outstanding principal amount of the Note (and all unpaid accrued interest
                through the date of each such payment) in thirty (30) equal annual payments (the
                “Annual Installment”) until the Note is paid in full. Borrower shall pay the Annual
                Installment on the 31st day of December of each calendar year during the term of
                this Note, commencing on the first such date to occur after the date of execution of
                this note.

                2.2    Final Payment Date. The final payment in the aggregate amount of the
                then outstanding and unpaid Note, together with all accrued and unpaid interest
                thereon, shall become immediately due and payable in full on December 31, 2047
                (the “Maturity Date”).

                23.    Section 3 of the Note provides:

                Prepayment Allowed: Renegotiation Discretionary. Maker may prepay in
                whole or in part the unpaid principal or accrued interest of this Note. Any
                payments on this Note shall be applied first to unpaid accrued interest hereon, and
                then to unpaid principal hereof.

                24.    Section 4 of the Note provides:

                Acceleration Upon Default. Failure to pay this Note or any installment
                hereunder as it becomes due shall, at the election of the holder hereof,
                without notice, demand, presentment, notice of intent to accelerate, notice
                of acceleration, or any other notice of any kind which are hereby waived,
                mature the principal of this Note and all interest then accrued, if any, and
                the same shall at once become due and payable and subject to those
                remedies of the holder hereof. No failure or delay on the part of the Payee
                in exercising any right, power, or privilege hereunder shall operate as a
                waiver hereof.

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                25.     Section 6 of the Note provides:

                Attorneys’ Fees. If this Note is not paid at maturity (whether by
                acceleration or otherwise) and is placed in the hands of an attorney for
                collection, or if it is collected through a bankruptcy court or any other court
                after maturity, the Maker shall pay, in addition to all other amounts owing
                hereunder, all actual expenses of collection, all court costs and reasonable
                attorneys’ fees and expenses incurred by the holder hereof.

 B.     NPA’s Default Under the Note

                26.     NPA failed to make the payment due under the Note on December 31,

 2020 in the amount of $1,406,111.92.

                27.     By letter dated January 7, 2021, the Debtor made demand on NPA for

 immediate payment under the Note (the “Demand Letter”). A true and correct copy of the Demand

 Letter is attached hereto as Exhibit 2. The Demand Letter provides:

                Because of Maker’s failure to pay, the Note is in default. Pursuant to
                Section 4 of the Note, all principal, interest, and any other amounts due on
                the Note are immediately due and payable. The amount due and payable on
                the Note as of January 8, 2021 is $24,471,804.98; however, interest
                continues to accrue under the Note.

                The Note is in default, and payment is due immediately.

 Demand Letter (emphasis in the original).

                28.     On January 14, 2021, in an apparent attempt to cure its default, NPA paid

 the Debtor the $1,406,111.92 that was due on December 31, 2020 (the “Partial Payment”).

                29.     The Note does not contain a cure provision. Therefore, the Partial Payment

 did not cure NPA’s default. Accordingly, on January 15, 2021, the Debtor sent NPA a follow-up

 letter to its Demand Letter (the “Second Demand Letter”), a true and correct copy of which is

 attached hereto as Exhibit 3, stating:

                [T]he Partial Payment will be applied as payment against the amounts due under
                the Note in accordance with Section 3 thereof. The Note remains in default, and
                all amounts due thereunder are due immediately.


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                After adjusting for the Partial Payment and the continued accrual of interest, the
                amount due under the Note as of January 15, 2021, is $23,071,195.03 (which
                amount does not include expenses incurred to date in collecting the Note).

 Second Demand Letter (emphasis in original).

                30.    Despite the Debtor’s demands, NPA did not pay the amount demanded by

 the Debtor on January 7, 2021, or at any time thereafter.

                31.    As of January 15, 2021, the total outstanding principal and accrued but

 unpaid interest due under the Note was $23,071,195.03

                32.    Pursuant to Section 4 of the Note, the Note is in default, and is currently due

 and payable.

 C.     The Debtor Files the Original Complaint

                33.    On January 22, 2021, the Debtor filed the Complaint for (I) Breach of

 Contract and (II) Turnover of Property of the Debtor’s Estate [Docket No. 1] (the “Original

 Complaint”). In the Original Complaint, the Debtor brought claims for (i) breach of contract for

 NPA’s breach of its obligations under the Note and (ii) turnover by NPA for the outstanding

 amounts under the Note, plus all accrued and unpaid interest until the date of payment plus the

 Debtor’s costs of collection and reasonable attorney’s fees.

 D.     NPA’s Affirmative Defenses

                34.    On March 1, 2021, NPA filed Defendant’s Original Answer [Docket No. 6]

 (the “Original Answer”). In its Original Answer, NPA asserted three affirmative defenses: (i) the

 claims are barred because the Plaintiff caused NPA to default, (ii) the claims are barred because

 the Plaintiff caused NPA to delay in making payment, and (iii) waiver and estoppel. See id. ¶¶39-

 41.

                35.    On June 9, 2021, NPA filed Defendant’s First Amended Answer [Docket

 No. 35-3] (the “Amended Answer”), that asserted a new affirmative defense; namely, that the

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 Debtor previously agreed that it would not collect on the Notes “upon fulfillment of conditions

 subsequent” (i.e., the Alleged Agreement) id. ¶42.

                36.     According to NPA, the Alleged Agreement was orally entered into

 “sometime between December of the year each note was made and February of the following

 year.”

                37.     According to NPA, Mr. Dondero, acting on its behalf, entered into the

 Alleged Agreement with his sister, Nancy Dondero, acting as the Representative.

                38.     Mr. Dondero controlled both NPA and the Debtor at the time he entered

 into the Alleged Agreement on behalf of NPA.

                39.     Upon information and belief, the Debtor’s books and records do not reflect

 the Alleged Agreement.

 E.       Dugaboy Lacked Authority to Act on Behalf of the Debtor

                40.     Under section 4.2 of the Fourth Amended and Restated Agreement of

 Limited Partnership of Highland Capital Management, L.P. (the “Limited Partnership

 Agreement”), and attached hereto as Exhibit 4, Dugaboy was not authorized to enter into the

 Alleged Agreement on behalf of the Partnership, or otherwise bind the Partnership (as

 “Partnership” is defined in the Limited Partnership Agreement).

                41.     Section 4.2(b) of the Limited Partnership Agreement states:

                Management of Business. No Limited Partner shall take part in the control (within
                the meaning of the Delaware Act) of the Partnership’s business, transact any
                business in the Partnership’s name, or have the power to sign documents for or
                otherwise bind the Partnership other than as specifically set forth in this Agreement.

 Exhibit 4, § 4.2(b).

                42.     No provision in the Limited Partnership Agreement authorizes any of the

 Partnership’s limited partners to bind the Partnership.


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                43.     Nancy Dondero also lacked authority to enter into the Alleged Agreement

 or to otherwise bind the Debtor

                                   FIRST CLAIM FOR RELIEF
                                         (Against NPA)

                                      (For Breach of Contract)

                44.     The Debtor repeats and re-alleges the allegations in each of the foregoing

 paragraphs as though fully set forth herein.

                45.     The Note is a binding and enforceable contract.

                46.     NPA breached the Note by failing to pay all amounts due to the Debtor upon

 NPA’s default and acceleration.

                47.     Pursuant to the Note, the Debtor is entitled to damages from NPA in an

 amount equal to (i) the aggregate outstanding principal due under the Note, plus (ii) all accrued

 and unpaid interest thereon until the date of payment, plus (iii) an amount equal to the Debtor’s

 costs of collection (including all court costs and reasonable attorneys’ fees and expenses), for

 NPA’s breach of its obligations under the Note.

                48.     As a direct and proximate cause of NPA’s breach of the Note, the Debtor

 has suffered damages in the amount of at least $23,071,195.03, as of January 15, 2021, plus an

 amount equal to all accrued buy unpaid interest from that date, plus the Debtor’s cost of collection.

                              SECOND CLAIM FOR RELIEF
                                       (Against NPA)
                       (Turnover by NPA Pursuant to 11 U.S.C. § 542(b))

                49.     The Debtor repeats and re-alleges the allegations in each of the foregoing

 paragraphs as though fully set forth herein.

                50.     NPA owes the Debtor an amount equal to (i) the aggregate outstanding

 principal due under the Note, plus (ii) all accrued and unpaid interest thereon until the date of


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 payment, plus (iii) an amount equal to the Debtor’s costs of collection (including all court costs

 and reasonable attorneys’ fees and expenses), for NPA’s breach of its obligations under the Note.

                51.      The Note is property of the Debtor’s estate that is matured and payable upon

 default and acceleration.

                52.      NPA has not paid the amount due under the Note to the Debtor.

                53.      The Debtor has made demand for the turnover of the amount due under the

 Note.

                54.      As of the date of filing of this Complaint, NPA has not turned over the

 amount due under the Note.

                55.      The Debtor is entitled to the amount due under the Note.

                             THIRD CLAIM FOR RELIEF
                                     (Against NPA)
  (Avoidance and Recovery of Actual Fraudulent Transfer Under 11 U.S.C. §§ 548(a)(1)(A)
                                       and 550)

                56.      The Debtor repeats and re-alleges the allegations in each of the foregoing

 paragraphs as though fully set forth herein.

                57.      The Debtor made the transfer pursuant to the Alleged Agreement within

 two years of the Petition Date.

                58.      Mr. Dondero entered into the Alleged Agreement on behalf of NPA with

 actual intent to hinder, delay, or defraud a present or future creditor, demonstrated by, inter alia:

                (a) The transfer was made to, or for the benefit of, NPA, an insider of the Debtor.

                (b) Mr. Dondero entered into the Alleged Agreement on behalf of NPA with his

                      sister, Nancy Dondero.

                (c) Mr. Dondero did not inform the Debtor’s CFO or outside auditors about the

                      Alleged Agreement.


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                   (d) The Debtor’s books and record do not reflect the Alleged Agreement.

                   (e) The Alleged Agreement was not subject to negotiation.

                   (f) The value of the consideration received by the Debtor for the transfer was not

                         reasonably equivalent in value.

                   59.      The pattern of conduct, series of transactions, and general chronology of

 events under inquiry in connection with the debt NPA incurred under the Note demonstrates a

 scheme of fraud.

                   60.      Pursuant to 11 U.S.C. § 550, the Debtor is entitled to recover for the benefit

 of the Debtor’s estates the transfer made pursuant to the Alleged Agreement from NPA.

                   61.      Accordingly, the Debtor is entitled to a judgement: (i) avoiding the Alleged

 Agreement and the transfer made thereunder, and (ii) recovering from NPA an amount equal to all

 obligations remaining under the Note.

                            FOURTH CLAIM FOR RELIEF
                                     (Against NPA)
   (Avoidance and Recovery of Actual Fraudulent Transfer Under 11 U.S.C. §§ 544(b) and
                      550, and Tex. Bus. & C. Code § 24.005(a)(1))

                   62.      The Debtor repeats and re-alleges the allegations in each of the foregoing

 paragraphs as though fully set forth herein.

                   63.      The Debtor made the transfers pursuant to the Alleged Agreement after, or

 within a reasonable time before, creditors’ claims arose.

                   64.      Mr. Dondero entered into the Alleged Agreement on behalf of NPA with

 actual intent to hinder, delay, or defraud a present or future creditor of the Debtor, demonstrated

 by, inter alia:

                   (g) The transfer was made to, or for the benefit of, NPA, an insider of the Debtor.




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                (h) Mr. Dondero entered into the Alleged Agreement on behalf of NPA with his

                      sister, Nancy Dondero.

                (i) Mr. Dondero did not inform the Debtor’s CFO or outside auditor’s about the

                      Alleged Agreement.

                (j) Upon information and belief, the Debtor’s books and record do not reflect the

                      Alleged Agreement.

                (k) The Alleged Agreement was not subject to negotiation.

                (l) The value of the consideration received by the Debtor for the transfer was not

                      reasonably equivalent in value.

                65.      Pursuant to 11 U.S.C. § 550, the Debtor is entitled to recover for the benefit

 of the Debtor’s estates the transfers made in exchange for the Alleged Agreement from NPA.

                66.      Accordingly, the Debtor is entitled to a judgement: (i) avoiding the Alleged

 Agreement and the transfer made thereunder, and (ii) recovering from NPA an amount equal to all

 obligations remaining under the Notes.


                                FIFTH CLAIM FOR RELIEF
                            (Against Dugaboy and Ms. Dondero)
           (For Declaratory Relief: -- 11 U.S.C. § 105(a) and Fed. R. Bankr. P. 7001)

                67.      The Debtor repeats and re-alleges the allegations in each of the foregoing

 paragraphs as though fully set forth herein.

                68.      A bona fide, actual, present dispute exists between the Debtor, on the one

 hand, and Dugaboy and Ms. Dondero on the other hand, concerning whether Dugaboy and/or Ms.

 Dondero, acting as the Representative, were authorized to enter into the Alleged Agreement on the

 Debtor’s behalf.




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                69.       A judgment declaring the parties’ respective rights and obligations will

 resolve their dispute.

                70.       Pursuant to Bankruptcy Rule 7001, the Debtor specifically seeks

 declarations that:

                •     (a) limited partners, including but not limited to Dugaboy, have no right or

                      authority to take part in the control (within the meaning of the Delaware Act)

                      of the Partnership’s business, transact any business in the Partnership’s name,

                      or have the power to sign documents for or otherwise bind the Partnership other

                      than as specifically provided in the Limited Partnership Agreement,

                •     (b) neither Dugaboy nor Ms. Dondero (whether individually or as

                      Representative) was authorized under the Limited Partnership Agreement to

                      enter into the Alleged Agreement on behalf of the Partnership,

                •     (c) neither Dugaboy nor Ms. Dondero (whether individually or as

                      Representative) otherwise had any right or authority to enter into the Alleged

                      Agreement on behalf of the Partnership, and

                •     (d) the Alleged Agreement is null and void.

                                  SIXTH CLAIM FOR RELIEF
                                (Against Dugaboy and Ms. Dondero)
                                    (Breach of Fiduciary Duty)

                71.       The Debtor repeats and re-alleges the allegations in each of the foregoing

 paragraphs as though fully set forth herein.

                72.       If Dugaboy, as a limited partner, or Ms. Dondero, as Representative, had

 the authority to enter into the Alleged Agreement on behalf of the Debtor, then Dugaboy and/or

 Ms. Dondero would owe the Debtor a fiduciary duty.



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                73.     If Dugaboy or Ms. Dondero (as Representative) had the authority to enter

 into the Alleged Agreement on behalf of the Debtor, then Dugaboy and/or Ms. Dondero breached

 their fiduciary duty of care to the Debtor by entering into and authorizing the purported Alleged

 Agreement on behalf of the Debtor.

                74.     Accordingly, the Debtor is entitled to recover from Dugaboy and Ms.

 Dondero (a) actual damages that the Debtor suffered as a result of their breach of fiduciary duty,

 and (b) for punitive and exemplary damages.

                              SEVENTH CLAIM FOR RELIEF
                         (Against James Dondero and Nancy Dondero)
                       (Aiding and Abetting a Breach of Fiduciary Duty)

                75.     The Debtor repeats and re-alleges the allegations in each of the foregoing

 paragraphs as though fully set forth herein.

                76.     James Dondero and Nancy Dondero (together, the “Donderos”) were aware

 that Dugaboy would have fiduciary duties to the Debtor if it acted to bind the Debtor.

                77.     The Donderos aided and abetted Dugaboy’s breach of its fiduciary duties to

 the Debtor by knowingly participating in the authorization of the purported Alleged Agreement.

                78.     The Donderos aided and abetted Dugaboy’s breach of its fiduciary duty to

 the Debtor by knowingly participating in the authorization of the purported Alleged Agreement.

                79.     Accordingly, the Donderos are jointly and severally liable (a) for the actual

 damages that the Debtor suffered as a result of aiding and abetting Dondero’s breaches of fiduciary

 duties, and (b) for punitive and exemplary damages

        WHEREFORE, the Debtor prays for judgment as follows:

                (i)     On its First Claim for Relief, damages in an amount to be determined at trial

                but includes (a) the outstanding principal due under the Note, plus (b) all accrued

                and unpaid interest thereon until the date of payment, plus (c) an amount equal to

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             the Debtor’s costs of collection (including all court costs and reasonable attorneys’

             fees and expenses);

             (ii)    On its Second Claim for Relief, ordering turnover by NPA to the Debtor of

             an amount equal to (a) the outstanding principal due under the Note, plus (b) all

             accrued and unpaid interest thereon until the date of payment, plus (c) an amount

             equal to the Debtor’s costs of collection (including all court costs and reasonable

             attorneys’ fees and expenses);

             (iii)   On its Third Claim for Relief, avoidance of the Alleged Agreement and the

             transfers thereunder pursuant to the Alleged Agreement arising from actual

             fraudulent transfer under section 548 of the Bankruptcy Code;

             (iv)    On its Fourth Claim for Relief, avoidance of the Alleged Agreement and the

             transfers thereunder pursuant to the Alleged Agreement of funds arising from actual

             fraudulent transfer under Tex. Bus. & C. Code § 24.005(a)(1);

             (v)     On its Fifth Claim for Relief, a declaration that: (a) limited partners,

             including but not limited to Dugaboy, have no right or authority to take part in the

             control (within the meaning of the Delaware Act) of the Partnership’s business,

             transact any business in the Partnership’s name, or have the power to sign

             documents for or otherwise bind the Partnership other than as specifically provided

             in the Limited Partnership Agreement, (b) neither Dugaboy nor Ms. Dondero

             (whether individually or as Representative) was authorized under the Limited

             Partnership Agreement to enter into the Alleged Agreement on behalf of the

             Partnership, (c) neither Dugaboy nor Ms. Dondero (whether individually or as

             Representative) otherwise had any right or authority to enter into the Alleged



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             Agreement on behalf of the Partnership, and (d) the Alleged Agreement is null and

             void;

             (vi)    On its Sixth Claim for Relief, actual damages from Dugaboy and Ms.

             Dondero, in an amount to be determined at trial, that Debtor suffered as a result of

             their breach of fiduciary duty, and for punitive and exemplary damages;

             (vii)   On its Seventh Claim for Relief, actual damages from the Donderos, jointly

             and severally, in an amount to be determined at trial, that Debtor suffered as a result

             of aiding and abetting Dugaboy’s breaches of fiduciary duty, and for punitive and

             exemplary damages and

             (iii)   Such other and further relief as this Court deems just and proper.




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  Dated: As of July 13, 2021      PACHULSKI STANG ZIEHL & JONES LLP
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                                  -and-

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 Counsel for Highland Capital Management, L.P.

                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

                                                                   §
     In re:                                                            Chapter 11
                                                                   §
                                                                   §
     HIGHLAND CAPITAL MANAGEMENT, L.P., 1                              Case No. 19-34054-sgj11
                                                                   §
                                                                   §
                                      Debtor.
                                                                   §
     HIGHLAND CAPITAL MANAGEMENT, L.P.,                            §
                                                                   §
                                      Plaintiff,                   §   Adversary Proceeding No.
                                                                   §
     vs.                                                           §   21-03006
                                                                   §
     HIGHLAND CAPITAL MANAGEMENT                                   §
     SERVICES, INC, JAMES DONDERO, NANCY                           §
     DONDERO, AND THE DUGABOY                                      §
     INVESTMENT TRUST

                                      Defendants.


 1
  The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
 for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.


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               AMENDED COMPLAINT FOR (I) BREACH OF CONTRACT,
       (II) TURNOVER OF PROPERTY, (III) FRAUDULENT TRANSFER, AND (IV)
                         BREACH OF FIDUCIARY DUTY

                  Plaintiff, Highland Capital Management, L.P., the above-captioned debtor and

 debtor-in-possession (the “Debtor”) in the above-captioned chapter 11 case (the “Bankruptcy

 Case”), and the plaintiff (the “Plaintiff”) in the above-captioned adversary proceeding (the

 “Adversary Proceeding”), by its undersigned counsel, as and for its amended complaint (the

 “Complaint”) against defendants Highland Capital Management Services, Inc. (“HCMS”), James

 Dondero (“Mr. Dondero”), Nancy Dondero (“Ms. Dondero”), and The Dugaboy Investment Trust

 (“Dugaboy” and together with HCMS, Mr. Dondero, and Ms. Dondero, the “Defendants”) alleges

 upon knowledge of its own actions and upon information and belief as to other matters as follows:

                                     PRELIMINARY STATEMENT

                  1.         The Debtor brings this action against Defendants in connection with

 HCMS’s defaults under (i) four demand notes, in the aggregate principal amount of $900,000, and

 payable upon the Debtor’s demand, and (ii) one term note, in the aggregate principal amount of

 $20,247,628.02, and payable in the event of default, all executed by HCMS in favor of the Debtor.

 HCMS has failed to pay amounts due and owing under the notes and the accrued but unpaid interest

 thereon.

                  2.         In paragraph 56 of HCMS’s First Amended Answer to Plaintiff’s Complaint

 [Docket No. 34], HCMS contends that the Debtor orally agreed to relieve it of the obligations

 under the Notes (as defined below) upon fulfillment of “conditions subsequent” (the “Alleged

 Agreement”). HCMS further contends that the Alleged Agreement was entered into between

 James Dondero, acting on behalf of HCMS, and his sister, Nancy Dondero, as representative of a

 majority of the Class A shareholders of the Plaintiff, including Dugaboy (the “Representative”),



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 acting on behalf of the Debtor. At the time Mr. Dondero entered into the Alleged Agreement on

 behalf of HCMS, he controlled both HCMS and the Debtor and was the lifetime beneficiary of

 Dugaboy.

                  3.         Based on its books and records, discovery to date, and other facts, the

 Debtor believes that the Alleged Agreement is a fiction created after the commencement of this

 Adversary Proceeding for the purpose of avoiding or at least delaying paying the obligations due

 under the Notes.

                  4.         Nevertheless, the Debtor amends its Complaint to add certain claims and

 name additional parties who would be liable to the Debtor if the Alleged Agreement were

 determined to exist and be enforceable. Specifically, in addition to pursuing claims against HCMS

 for breach of its obligations under the Notes and for turnover, the Debtor adds alternative claims

 (a) against HCMS for actual fraudulent transfer and aiding and abetting Dugaboy in its breach of

 fiduciary duty, (b) against Dugaboy for declaratory relief and for breach of fiduciary duty, and (c)

 against Nancy Dondero for aiding and abetting Dugaboy in the breach of his fiduciary duties.

                  5.         As remedies, the Debtor seeks (a) damages from HCMS in an amount equal

 to (i) the aggregate outstanding principal due under the Notes (as defined below), plus (ii) all

 accrued and unpaid interest thereon until the date of payment, plus (iii) an amount equal to the

 Debtor’s costs of collection (including all court costs and reasonable attorneys’ fees and expenses,

 as provided for in the notes), for HCMS’s breach of its obligations under the Notes, (b) turnover

 by HCMS to the Debtor of the foregoing amounts; (c) avoidance of the Alleged Agreement and

 the transfers thereunder and recovery of the funds transferred from the Plaintiff to, or for the benefit

 of, HCMS pursuant to the Notes; (d) declaratory relief, and (e) damages arising from the

 Defendants’ breach of fiduciary duties or aiding and abetting thereof.



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                                      JURISDICTION AND VENUE

                  6.         This adversary proceeding arises in and relates to the Debtor’s case pending

 before the United States Bankruptcy Court for the Northern District of Texas, Dallas Division (the

 “Court”) under chapter 11 of the Bankruptcy Code.

                  7.         The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

 and 1334.

                  8.         This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b),

 and, pursuant to Rule 7008 of the Bankruptcy Rules, the Debtor consents to the entry of a final

 order by the Court in the event that it is later determined that the Court, absent consent of the

 parties, cannot enter final orders or judgments consistent with Article III of the United States

 Constitution.

                  9.         Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

                                               THE PARTIES

                  10.        The Debtor is a limited liability partnership formed under the laws of

 Delaware with a business address at 300 Crescent Court, Suite 700, Dallas, Texas 75201.

                  11.        Upon information and belief, HCMS is a company with offices located in

 Dallas, Texas, and is incorporated in the state of Delaware.

                  12.        Upon information and belief, Mr. Dondero is an individual residing in

 Dallas, Texas. He is the co-founder of the Debtor and was the Debtor’s President and Chief

 Executive Officer until his resignation on January 9, 2020. At all relevant times, Mr. Dondero

 controlled HCRE; Mr. Dondero also controlled the Debtor until January 9, 2020.

                  13.        Upon information and belief, Dugaboy is (a) a limited partner of the Debtor,

 and (b) one of Mr. Dondero’s family investment trusts for which is he a lifetime beneficiary.



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                     14.     Upon information and belief, Nancy Dondero is an individual residing in

 the state of Florida and who is Mr. Dondero’s sister, and a trustee of Dugaboy.

                                             CASE BACKGROUND

                     15.     On October 16, 2019, the Debtor filed a voluntary petition for relief under

 chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the District of

 Delaware (the “Delaware Court”), Case No. 19-12239 (CSS) (the “Highland Bankruptcy Case”).

                     16.     On October 29, 2019, the U.S. Trustee in the Delaware Court appointed an

 Official Committee of Unsecured Creditors (the “Committee”) with the following members: (a)

 Redeemer Committee of Highland Crusader Fund (“Redeemer”), (b) Meta-e Discovery, (c) UBS

 Securities LLC and UBS AG London Branch, and (d) Acis Capital Management, L.P. and Acis

 Capital Management GP LLC (collectively, “Acis”).

                     17.     On June 25, 2021, the U.S. Trustee in this Court filed that certain Notice of

 Amended Unsecured Creditors’ Committee [Docket No. 2485] notifying the Court that Acis and

 Redeemer had resigned from the Committee.

                     18.     On December 4, 2019, the Delaware Court entered an order transferring

 venue of the Highland Bankruptcy Case to this Court [Docket No. 186]. 2

                     19.     The Debtor has continued in the possession of its property and has

 continued to operate and manage its business as a debtor-in-possession pursuant to sections

 1107(a) and 1108 of the Bankruptcy Code. No trustee or examiner has been appointed in this

 chapter 11 case.




 2
     All docket numbers refer to the main docket for the Highland Bankruptcy Case maintained by this Court.

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                                        STATEMENT OF FACTS

 A.      The HCMS Demand Notes

                  20.        HCMS is the maker under a series of demand notes in favor of the Debtor.

                  21.        Specifically, on March 28, 2018, HCMS executed a demand note in favor

 of the Debtor, as payee, in the original principal amount of $150,000 (“HCMS’s First Demand

 Note”). A true and correct copy of HCMS’s First Demand Note is attached hereto as Exhibit 1.

                  22.        On June 25, 2018, HCMS executed a demand note in favor of the Debtor,

 as payee, in the original principal amount of $200,000 (“HCMS’s Second Demand Note”). A true

 and correct copy of HCMS’s Second Demand Note is attached hereto as Exhibit 2.

                  23.        On May 29, 2019, HCMS executed a demand note in favor of the Debtor,

 as payee, in the original principal amount of $400,000 (“HCMS’s Third Demand Note”). A true

 and correct copy of HCMS’s Third Demand Note is attached hereto as Exhibit 3.

                  24.        On June 26, 2019, HCMS executed a demand note in favor of the Debtor,

 as payee, in the original principal amount of $150,000 (“HCMS’s Fourth Demand Note,” and

 collectively, with HCMS’s First Demand Note, HCMS’s Second Demand Note, and HCMS’s

 Third Demand Note, the “Demand Notes”). A true and correct copy of HCMS’s Fourth Demand

 Note is attached hereto as Exhibit 4.

                  25.        Section 2 of the Demand Notes provide: “Payment of Principal and

 Interest. The accrued interest and principal of this Note shall be due and payable on demand of

 the Payee.”

                  26.        Section 4 of the Demand Notes provide:

                  Acceleration Upon Default. Failure to pay this Note or any installment
                  hereunder as it becomes due shall, at the election of the holder hereof,
                  without notice, demand, presentment, notice of intent to accelerate, notice
                  of acceleration, or any other notice of any kind which are hereby waived,
                  mature the principal of this Note and all interest then accrued, if any, and

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                  the same shall at once become due and payable and subject to those
                  remedies of the holder hereof. No failure or delay on the part of the Payee
                  in exercising any right, power, or privilege hereunder shall operate as a
                  waiver hereof.

                  27.        Section 6 of the Demand Notes provide:

                  Attorneys’ Fees. If this Note is not paid at maturity (whether by
                  acceleration or otherwise) and is placed in the hands of an attorney for
                  collection, or if it is collected through a bankruptcy court or any other court
                  after maturity, the Maker shall pay, in addition to all other amounts owing
                  hereunder, all actual expenses of collection, all court costs and reasonable
                  attorneys’ fees and expenses incurred by the holder hereof.

 B.      HCMS’s Defaults Under Each Demand Note

                  28.        By letter dated December 3, 2020, the Debtor made demand on HCMS for

 payment under the Demand Notes by December 11, 2020 (the “Demand Letter”). A true and

 correct copy of the Demand Letter is attached hereto as Exhibit 5. The Demand Letter provided:

                  By this letter, Payee is demanding payment of the accrued interest and principal
                  due and payable on the Notes in the aggregate amount of $947,519.43, which
                  represents all accrued interest and principal through and including December 11,
                  2020.

                  Payment is due on December 11, 2020, and failure to make payment in full
                  on such date will constitute an event of default under the Notes.

 Demand Letter (emphasis in the original).

                  29.        Despite the Debtor’s demand, HCMS did not pay all or any portion of the

 amounts demanded by the Debtor on December 11, 2020.

                  30.        As of December 11, 2020, there was an outstanding principal amount of

 $158,776.59 on HCMS’s First Demand Note and accrued but unpaid interest in the amount of

 $3,257.32, resulting in a total outstanding amount as of that date of $162,033.91.

                  31.        As of December 11, 2020, there was an outstanding principal balance of

 $212,403.37 on HCMS’s Second Demand Note and accrued but unpaid interest in the amount of

 $2,999.54, resulting in a total outstanding amount as of that date of $215,402.81.

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                  32.        As of December 11, 2020, there was an outstanding principal balance of

 $409,586.19 on HCMS’s Third Demand Note and accrued but unpaid interest in the amount of

 $5,256.62, resulting in a total outstanding amount as of that date of $414,842.81.

                  33.        As of December 11, 2020, there was an outstanding principal balance of

 $153,564.74 on HCMS’s Fourth Demand Note and accrued but unpaid interest in the amount of

 $1,675.16, resulting in a total outstanding amount as of that date of $155,239.90.

                  34.        Thus, as of December 11, 2020, the total outstanding principal and accrued

 but unpaid interest due under the Demand Notes was $947,519.43. Pursuant to Section 4 of each

 Demand Note, each Note is in default, and is currently due and payable.

 C.      The HCMS Term Note

                  35.        HCMS is the maker under a term note in favor of the Debtor.

                  36.        Specifically, on May 31, 2017, HCMS executed a term note in favor of the

 Debtor, as payee, in the original principal amount of $20,247,628.02 (the “Term Note,” and

 together with the Demand Notes, the “Notes”). A true and correct copy of the Term Note is

 attached hereto as Exhibit 6.

                  37.        Section 2 of the Term Note provides: “Payment of Principal and

 Interest. Principal and interest under this Note shall be due and payable as follows:

                  2.1     Annual Payment Dates. During the term of this Note, Borrower shall pay
                  the outstanding principal amount of the Note (and all unpaid accrued interest
                  through the date of each such payment) in thirty (30) equal annual payments (the
                  “Annual Installment”) until the Note is paid in full. Borrower shall pay the Annual
                  Installment on the 31st day of December of each calendar year during the term of
                  this Note, commencing on the first such date to occur after the date of execution of
                  this note.

                  2.2    Final Payment Date. The final payment in the aggregate amount of the
                  then outstanding and unpaid Note, together with all accrued and unpaid interest
                  thereon, shall become immediately due and payable in full on December 31, 2047
                  (the “Maturity Date”).


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                  38.        Section 3 of the Note provides:

                  Prepayment Allowed: Renegotiation Discretionary. Maker may prepay in
                  whole or in part the unpaid principal or accrued interest of this Note. Any
                  payments on this Note shall be applied first to unpaid accrued interest hereon, and
                  then to unpaid principal hereof.

                  39.        Section 4 of the Term Note provides:

                  Acceleration Upon Default. Failure to pay this Note or any installment
                  hereunder as it becomes due shall, at the election of the holder hereof,
                  without notice, demand, presentment, notice of intent to accelerate, notice
                  of acceleration, or any other notice of any kind which are hereby waived,
                  mature the principal of this Note and all interest then accrued, if any, and
                  the same shall at once become due and payable and subject to those
                  remedies of the holder hereof. No failure or delay on the part of the Payee
                  in exercising any right, power, or privilege hereunder shall operate as a
                  waiver hereof.

                  40.        Section 6 of the Term Note provides:

                  Attorneys’ Fees. If this Note is not paid at maturity (whether by
                  acceleration or otherwise) and is placed in the hands of an attorney for
                  collection, or if it is collected through a bankruptcy court or any other court
                  after maturity, the Maker shall pay, in addition to all other amounts owing
                  hereunder, all actual expenses of collection, all court costs and reasonable
                  attorneys’ fees and expenses incurred by the holder hereof.

 D.      HCMS’s Default Under the Term Note

                  41.        HCMS failed to make the payment due under the Term Note on December

 31, 2020.

                  42.        By letter dated January 7, 2021, the Debtor made demand on HCMS for

 immediate payment under the Term Note (the “Second Demand Letter”). A true and correct

 copy of the Second Demand Letter is attached hereto as Exhibit 7. The Second Demand Letter

 provides:

                  Because of Maker’s failure to pay, the Note is in default. Pursuant to Section 4 of
                  the Note, all principal, interest, and any other amounts due on the Note are
                  immediately due and payable. The amount due and payable on the Note as of
                  January 8, 2021 is $6,757,248.95; however, interest continues to accrue under the
                  Note.

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                  The Note is in default, and payment is due immediately.

 Second Demand Letter (emphasis in the original).

                  43.        As of January 8, 2021, the total outstanding principal and accrued but

 unpaid interest under the Term Note was $6,757,248.95.

                  44.        Pursuant to Section 4 of the Term Note, the Note is in default, and is

 currently due and payable.

 E.      The Debtor Files the Original Complaint

                  45.        On January 22, 2021, the Debtor filed the Complaint for (I) Breach of

 Contract and (II) Turnover of Property of the Debtor’s Estate [Docket No. 1] (the “Original

 Complaint”). In the Original Complaint, the Debtor brought claims for (i) breach of contract for

 HCMS’s breach of its obligations under the Notes and (ii) turnover by HCMS for the outstanding

 amounts under the Notes, plus all accrued and unpaid interest until the date of payment plus the

 Debtor’s costs of collection and reasonable attorney’s fees.

 F.      HCMS’s Affirmative Defenses

                  46.        On March 13, 2021, HCMS filed Highland Capital Management Services,

 Inc.’s Answer to Plaintiff’s Complaint [Docket No. 6] (the “Original Answer”). In its Original

 Answer, HCMS asserted four affirmative defenses: (i) the claims are barred in whole or in part

 under the doctrines of justification or repudiation, (ii) waiver, (iii) estoppel, and (iv) offset and/or

 setoff (the “Setoff Defense”). See id. ¶¶ 53-56.

                  47.        On June 11, 2021, HCMS filed its First Amended Answer to Plaintiff’s

 Complaint [Docket No. 34] (the “Amended Answer”), that omitted the Setoff Defense but asserted

 two affirmative defenses: (i) the Debtor previously agreed that it would not collect on the Notes




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 “upon fulfillment of conditions subsequent” (i.e., the Alleged Agreement) id. ¶ 56, and (ii) the

 Notes are “ambiguous,” id. ¶ 57.

                  48.        According to HCMS, the Alleged Agreement was orally entered into

 “sometime between December of the year each note was made and February of the following

 year.”

                  49.        According to HCMS, Mr. Dondero, acting on its behalf, entered into the

 Alleged Agreement with his sister, Nancy Dondero, acting as the Representative.

                  50.        Mr. Dondero controlled the Debtor at the time he entered into the Alleged

 Agreement on behalf of HCMS.

                  51.        Upon information and belief, the Debtor’s books and records do not reflect

 the Alleged Agreement.

 G.       Dugaboy Lacked Authority to Act on Behalf of the Debtor

                  52.        Under section 4.2 of the Fourth Amended and Restated Agreement of

 Limited Partnership of Highland Capital Management, L.P. (the “Limited Partnership

 Agreement”), and attached hereto as Exhibit 8, Dugaboy was not authorized to enter into the

 Alleged Agreement on behalf of the Partnership, or otherwise bind the Partnership (as

 “Partnership” is defined in the Limited Partnership Agreement).

                  53.        Section 4.2(b) of the Limited Partnership Agreement states:

                  Management of Business. No Limited Partner shall take part in the control (within
                  the meaning of the Delaware Act) of the Partnership’s business, transact any
                  business in the Partnership’s name, or have the power to sign documents for or
                  otherwise bind the Partnership other than as specifically set forth in this Agreement.

 Exhibit 8, § 4.2(b).

                  54.        No provision in the Limited Partnership Agreement authorizes any of the

 Partnership’s limited partners to bind the Partnership.


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                  55.        Nancy Dondero also lacked authority to enter into the Alleged Agreement

 or to otherwise bind the Debtor.

                                       FIRST CLAIM FOR RELIEF

                                              (Against HCMS)

                                          (For Breach of Contract)

                  56.        The Debtor repeats and re-alleges the allegations in each of the foregoing

 paragraphs as though fully set forth herein.

                  57.        The Notes are binding and enforceable contracts.

                  58.        HCMS breached each Demand Note by failing to pay all amounts due to

 the Debtor upon the Debtor’s demand.

                  59.        HCMS breached the Term Note by failing to pay all amounts due to the

 Debtor upon HCMS’s default and acceleration.

                  60.        Pursuant to each Note, the Debtor is entitled to damages from HCMS in an

 amount equal to (i) the aggregate outstanding principal due under each Note, plus (ii) all accrued

 and unpaid interest thereon until the date of payment, plus (iii) an amount equal to the Debtor’s

 costs of collection (including all court costs and reasonable attorneys’ fees and expenses), for

 HCMS’s breach of its obligations under each of the Demand Notes.

                  61.        As a direct and proximate cause of HCMS’s breach of each Demand Note,

 the Debtor has suffered damages in the amount of at least $947,519.43, as of December 11, 2020,

 plus an amount equal to all accrued but unpaid interest from that date, plus the Debtor’s cost of

 collection.

                  62.        As a direct and proximate cause of HCMS’s breach of the Term Note, the

 Debtor has suffered damages in the amount of at least $6,757,248.95, as of January 8, 2021, plus



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 an amount equal to all accrued but unpaid interest from that date, plus the Debtor’s cost of

 collection.

                                     SECOND CLAIM FOR RELIEF

                                              (Against HCMS)

                         (Turnover by HCMS Pursuant to 11 U.S.C. § 542(b))

                  63.        The Debtor repeats and re-alleges the allegations in each of the foregoing

 paragraphs as though fully set forth herein.

                  64.        HCMS owes the Debtor an amount equal to (i) the aggregate outstanding

 principal due under each of the Notes, plus (ii) all accrued and unpaid interest thereon until the

 date of payment, plus (iii) an amount equal to the Debtor’s costs of collection (including all court

 costs and reasonable attorneys’ fees and expenses), for HCMS’s breach of its obligations under

 each of the Notes

                  65.        Each Demand Note is property of the Debtor’s estate and the amounts due

 under each Demand Note is matured and payable upon demand.

                  66.        The Term Note is property of the Debtor’s estate and the amounts due

 under the Term Note is matured and payable upon default and acceleration.

                  67.        The Debtor has made demand for turnover of the amounts due under each

 of the Notes

                  68.        As of the date of filing this Complaint, HCMS has not turned over to the

 Debtor all or any of the amounts due under each of the Notes.

                  69.        The Debtor is entitled to the turnover of all amounts due under each of the

 Notes.




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                             THIRD CLAIM FOR RELIEF
                                    (Against HCMS)
  (Avoidance and Recovery of Actual Fraudulent Transfer Under 11 U.S.C. §§ 548(a)(1)(A)
                                       and 550)

                  70.        The Debtor repeats and re-alleges the allegations in each of the foregoing

 paragraphs as though fully set forth herein.

                  71.        The Debtor made the transfers pursuant to the Alleged Agreement within

 two years of the Petition Date.

                  72.        HCMS entered into the Alleged Agreement with actual intent to hinder,

 delay, or defraud a present or future creditor, demonstrated by, inter alia:

                  (a) The transfers were made to, or for the benefit of, HCMS, an insider of the

                        Debtor.

                  (b) Mr. Dondero entered into the Alleged Agreement on behalf of HCMS with his

                        sister, Nancy Dondero.

                  (c) Mr. Dondero did not inform the Debtor’s CFO or outside auditors about the

                        Alleged Agreement.

                  (d) The Debtor’s books and record do not reflect the Alleged Agreement.

                  (e) The Alleged Agreement was not subject to negotiation.

                  (f) The value of the consideration received by the Debtor for the transfers was not

                        reasonably equivalent in value.

                  73.        The pattern of conduct, series of transactions, and general chronology of

 events under inquiry in connection with the debt HCMS incurred under the Notes demonstrates a

 scheme of fraud.

                  74.        Pursuant to 11 U.S.C. § 550, the Debtor is entitled to recover for the benefit

 of the Debtor’s estates the transfers made in exchange for the Alleged Agreement from HCMS.


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                   75.       Accordingly, the Debtor is entitled to a judgement: (i) avoiding the Alleged

 Agreement and the transfers thereunder, and (ii) recovering from HCMS an amount equal to all

 obligations remaining under the Notes.

                            FOURTH CLAIM FOR RELIEF
                                    (Against HCMS)
   (Avoidance and Recovery of Actual Fraudulent Transfer Under 11 U.S.C. §§ 544(b) and
                      550, and Tex. Bus. & C. Code § 24.005(a)(1))

                   76.       The Debtor repeats and re-alleges the allegations in each of the foregoing

 paragraphs as though fully set forth herein.

                   77.       The Debtor made the transfers pursuant to the Alleged Agreement after, or

 within a reasonable time before, creditors’ claims arose.

                   78.       Mr. Dondero entered into the Alleged Agreement on behalf of HCMS with

 actual intent to hinder, delay, or defraud a present or future creditor of the Debtor, demonstrated

 by, inter alia:

                   (g) The transfers were made to, or for the benefit of, HCMS, an insider of the

                         Debtor.

                   (h) Mr. Dondero entered into the Alleged Agreement on behalf of HCMS with his

                         sister, Nancy Dondero.

                   (i) Mr. Dondero did not inform the Debtor’s CFO or outside auditor’s about the

                         Alleged Agreement.

                   (j) Upon information and belief, the Debtor’s books and record do not reflect the

                         Alleged Agreement.

                   (k) The Alleged Agreement was not subject to negotiation.

                   (l) The value of the consideration received by the Debtor for the transfers was not

                         reasonably equivalent in value.


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                  79.        Pursuant to 11 U.S.C. § 550, the Debtor is entitled to recover for the benefit

 of the Debtor’s estates the transfers made in exchange for the Alleged Agreement from HCMS.

                  80.        Accordingly, the Debtor is entitled to a judgement: (i) avoiding the Alleged

 Agreement and the transfers thereunder, and (ii) recovering from HCMS an amount equal to all

 obligations remaining under the Notes.


                                 FIFTH CLAIM FOR RELIEF
                             (Against Dugaboy and Ms. Dondero)
            (For Declaratory Relief: -- 11 U.S.C. § 105(a) and Fed. R. Bankr. P. 7001)

                  81.        The Debtor repeats and re-alleges the allegations in each of the foregoing

 paragraphs as though fully set forth herein.

                  82.        A bona fide, actual, present dispute exists between the Debtor, on the one

 hand, and Dugaboy and Ms. Dondero on the other hand, concerning whether Dugaboy and/or Ms.

 Dondero, acting as the Representative, were authorized to enter into the Alleged Agreement on the

 Debtor’s behalf.

                  83.        A judgment declaring the parties’ respective rights and obligations will

 resolve their dispute.

                  84.        Pursuant to Bankruptcy Rule 7001, the Debtor specifically seeks

 declarations that:

                  •     (a) limited partners, including but not limited to Dugaboy, have no right or

                        authority to take part in the control (within the meaning of the Delaware Act)

                        of the Partnership’s business, transact any business in the Partnership’s name,

                        or have the power to sign documents for or otherwise bind the Partnership other

                        than as specifically provided in the Limited Partnership Agreement,




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                  •     (b) neither Dugaboy nor Ms. Dondero (whether individually or as

                        Representative) was authorized under the Limited Partnership Agreement to

                        enter into the Alleged Agreement on behalf of the Partnership,

                  •     (c) neither Dugaboy nor Ms. Dondero (whether individually or as

                        Representative) otherwise had any right or authority to enter into the Alleged

                        Agreement on behalf of the Partnership, and

                  •     (d) the Alleged Agreement is null and void.

                                     SIXTH CLAIM FOR RELIEF
                                   (Against Dugaboy and Ms. Dondero)
                                       (Breach of Fiduciary Duty)

                  85.        The Debtor repeats and re-alleges the allegations in each of the foregoing

 paragraphs as though fully set forth herein.

                  86.        If Dugaboy, as a limited partner, or Ms. Dondero, as Representative, had

 the authority to enter into the Alleged Agreement on behalf of the Debtor, then Dugaboy and/or

 Ms. Dondero would owe the Debtor a fiduciary duty.

                  87.        If Dugaboy or Ms. Dondero (as Representative) had the authority to enter

 into the Alleged Agreement on behalf of the Debtor, then Dugaboy and/or Ms. Dondero breached

 their fiduciary duty of care to the Debtor by entering into and authorizing the purported Alleged

 Agreement on behalf of the Debtor.

                  88.        Accordingly, the Debtor is entitled to recover from Dugaboy and Ms.

 Dondero (a) actual damages that the Debtor suffered as a result of their breach of fiduciary duty,

 and (b) for punitive and exemplary damages.




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                                    SEVENTH CLAIM FOR RELIEF
                               (Against James Dondero and Nancy Dondero)
                             (Aiding and Abetting a Breach of Fiduciary Duty)

                  89.        The Debtor repeats and re-alleges the allegations in each of the foregoing

 paragraphs as though fully set forth herein.

                  90.        James Dondero and Nancy Dondero (together, the “Donderos”) were aware

 that Dugaboy would have fiduciary duties to the Debtor if it acted to bind the Debtor.

                  91.        The Donderos aided and abetted Dugaboy’s breach of its fiduciary duties to

 the Debtor by knowingly participating in the authorization of the purported Alleged Agreement.

                  92.        The Donderos aided and abetted Dugaboy’s breach of its fiduciary duty to

 the Debtor by knowingly participating in the authorization of the purported Alleged Agreement.

                  93.        Accordingly, the Donderos are jointly and severally liable (a) for the

 actual damages that the Debtor suffered as a result of aiding and abetting Dondero’s breaches of

 fiduciary duties, and (b) for punitive and exemplary damages.

                  WHEREFORE, the Debtor prays for judgment as follows:

                  (i)        On its First Claim for Relief, damages in an amount to be determined at trial

                  but includes (a) the aggregate outstanding principal due under each Note, plus (b)

                  all accrued and unpaid interest thereon until the date of payment, plus (c) an amount

                  equal to the Debtor’s cost of collection (including all court costs and reasonable

                  attorneys’ fees and expenses);

                   (ii)      On its Second Claim for Relief, ordering turnover by HCMS to the Debtor

                  of an amount equal to (a) the aggregate principal due under each Note, plus (b) all

                  accrued and unpaid interest thereon until the date of payment, plus (c) an amount

                  equal to the Debtor’s cost of collection (including all court costs and reasonable

                  attorneys’ fees and expenses);

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                  (iii)      On its Third Claim for Relief, avoidance of the Alleged Agreements and the

                  transfers thereunder pursuant to the Alleged Agreement of funds arising from actual

                  fraudulent transfer under section 548 of the Bankruptcy Code;

                  (iv)       On its Fourth Claim for Relief, avoidance of the Alleged Agreement and the

                  transfers thereunder pursuant to the Alleged Agreement of funds arising from actual

                  fraudulent transfer under Tex. Bus. & C. Code § 24.005(a)(1);

                  (v)        On its Fifth Claim for Relief, a declaration that: (a) limited partners,

                  including but not limited to Dugaboy, have no right or authority to take part in the

                  control (within the meaning of the Delaware Act) of the Partnership’s business,

                  transact any business in the Partnership’s name, or have the power to sign

                  documents for or otherwise bind the Partnership other than as specifically provided

                  in the Limited Partnership Agreement, (b) neither Dugaboy nor Ms. Dondero

                  (whether individually or as Representative) was authorized under the Limited

                  Partnership Agreement to enter into the Alleged Agreement on behalf of the

                  Partnership, (c) neither Dugaboy nor Ms. Dondero (whether individually or as

                  Representative) otherwise had any right or authority to enter into the Alleged

                  Agreement on behalf of the Partnership, and (d) the Alleged Agreement is null and

                  void;

                  (vi)       On its Sixth Claim for Relief, actual damages from Dugaboy and Ms.

                  Dondero, in an amount to be determined at trial, that Debtor suffered as a result of

                  their breach of fiduciary duty, and for punitive and exemplary damages;

                  (vii)      On its Seventh Claim for Relief, actual damages from the Donderos, jointly

                  and severally, in an amount to be determined at trial, that Debtor suffered as a result



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                  of aiding and abetting Dugaboy’s breaches of fiduciary duty, and for punitive and

                  exemplary damages; and

                  (iii)      Such other and further relief as this Court deems just and proper.



  Dated: As of July 13, 2021.                    PACHULSKI STANG ZIEHL & JONES LLP
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                                                 Counsel for Highland Capital Management, L.P.




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 Counsel for Highland Capital Management, L.P.

                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

                                                                   §
     In re:                                                            Chapter 11
                                                                   §
                                                                   §
     HIGHLAND CAPITAL MANAGEMENT, L.P., 1                              Case No. 19-34054-sgj11
                                                                   §
                                                                   §
                                      Debtor.
                                                                   §
     HIGHLAND CAPITAL MANAGEMENT, L.P.,                            §
                                                                   §
                                      Plaintiff,                   §   Adversary Proceeding No.
                                                                   §
     vs.                                                           §   21-03007
                                                                   §
     HCRE PARTERS, LLC (N/K/A/ NEXPOINT                            §
     REAL ESTATE PARTNERS, LLC), JAMES                             §
     DONDERO, NANCY DONDERO, AND THE                               §
     DUGABOY INVESTMENT TRUST

                                      Defendants.


 1
  The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
 for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.


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               AMENDED COMPLAINT FOR (I) BREACH OF CONTRACT,
       (II) TURNOVER OF PROPERTY, (III) FRAUDULENT TRANSFER, AND (IV)
                         BREACH OF FIDUCIARY DUTY

                  Plaintiff, Highland Capital Management, L.P., the above-captioned debtor and

 debtor-in-possession (the “Debtor”) in the above-captioned chapter 11 case (the “Bankruptcy

 Case”), and the plaintiff (the “Plaintiff”) in the above-captioned adversary proceeding (the

 “Adversary Proceeding”), by its undersigned counsel, as and for its amended complaint (the

 “Complaint”) against defendants HCRE Partners, LLC (n/k/a NexPoint Real Estate Partners, LLC)

 (“HCRE”), James Dondero (“Mr. Dondero”), Nancy Dondero (“Ms. Dondero”), and The Dugaboy

 Investment Trust (“Dugaboy” and together with HCRE, Mr. Dondero, and Ms. Dondero, the

 “Defendants”), alleges upon knowledge of its own actions and upon information and belief as to

 other matters as follows:

                                     PRELIMINARY STATEMENT

                  1.         The Debtor brings this action against Defendants in connection with

 HCRE’s defaults under (i) four demand notes, in the aggregate principal amount of $4,250,000,

 and payable upon the Debtor’s demand, and (ii) one term note, in the aggregate principal amount

 of $6,059,831.51, payable in the event of default, all executed by HCRE in favor of the Debtor.

 HCRE has failed to pay amounts due and owing under the notes and the accrued but unpaid interest

 thereon.

                  2.         In paragraph 58 of HCRE’s First Amended Answer to Plaintiff’s Complaint

 [Docket No. 34], HCMS contends that the Debtor orally agreed to relieve it of the obligations

 under the Notes (as defined below) upon fulfillment of “conditions subsequent” (the “Alleged

 Agreement”). HCRE further contends that the Alleged Agreement was entered into between

 James Dondero and his sister, Nancy Dondero, as representative of a majority of the Class A



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 shareholders of the Plaintiff, including Dugaboy (the “Representative”), acting on behalf of the

 Debtor. At the time Mr. Dondero entered into the Alleged Agreement on behalf of HCRE, he

 controlled both HCRE and the Debtor and was the lifetime beneficiary of Dugaboy.

                  3.         Based on its books and records, discovery to date, and other facts, the

 Debtor believes that the Alleged Agreement is a fiction created after the commencement of this

 Adversary Proceeding for the purpose of avoiding or at least delaying paying the obligations due

 under the Notes.

                  4.         Nevertheless, the Debtor amends its Complaint to add certain claims and

 name additional parties who would be liable to the Debtor if the Alleged Agreement were

 determined to exist and be enforceable. Specifically, in addition to pursuing claims against HCMS

 for breach of its obligations under the Notes and for turnover, the Debtor adds alternative claims

 (a) against HCMS for actual fraudulent transfer and aiding and abetting Dugaboy in its breach of

 fiduciary duty, (b) against Dugaboy for declaratory relief and for breach of fiduciary duty, and (c)

 against Nancy Dondero for aiding and abetting Dugaboy in the breach of his fiduciary duties.

                  5.         As remedies, the Debtor seeks (a) damages from HCRE in an amount equal

 to (i) the aggregate outstanding principal due under the Notes (as defined below), plus (ii) all

 accrued and unpaid interest thereon until the date of payment, plus (iii) an amount equal to the

 Debtor’s costs of collection (including all court costs and reasonable attorneys’ fees and expenses,

 as provided for in the notes), for HCRE’s breach of its obligations under the Notes, and (b) turnover

 by HCRE to the Debtor of the foregoing amounts; (c) avoidance of the Alleged Agreement and

 the transfers thereunder and recovery of the funds transferred from the Plaintiff to, or for the benefit

 of, HCRE pursuant to the Notes; (d) declaratory relief, and (e) damages arising from the

 Defendants’ breach of fiduciary duties or aiding and abetting thereof.



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                                      JURISDICTION AND VENUE

                  6.         This adversary proceeding arises in and relates to the Debtor’s case pending

 before the United States Bankruptcy Court for the Northern District of Texas, Dallas Division (the

 “Court”) under chapter 11 of the Bankruptcy Code.

                  7.         The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

 and 1334.

                  8.         This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b),

 and, pursuant to Rule 7008 of the Bankruptcy Rules, the Debtor consents to the entry of a final

 order by the Court in the event that it is later determined that the Court, absent consent of the

 parties, cannot enter final orders or judgments consistent with Article III of the United States

 Constitution.

                  9.         Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

                                               THE PARTIES

                  10.        The Debtor is a limited liability partnership formed under the laws of

 Delaware with a business address at 300 Crescent Court, Suite 700, Dallas, Texas 75201.

                  11.        Upon information and belief, HCRE is a limited liability company with

 offices located in Dallas, Texas, and is organized under the laws of the state of Delaware.

                  12.        Upon information and belief, Mr. Dondero is an individual residing in

 Dallas, Texas. He is the co-founder of the Debtor and was the Debtor’s President and Chief

 Executive Officer until his resignation on January 9, 2020. At all relevant times, Mr. Dondero

 controlled HCRE; Mr. Dondero also controlled the Debtor until January 9, 2020.

                  13.        Upon information and belief, Dugaboy is (a) a limited partner of the Debtor,

 and (b) one of Mr. Dondero’s family investment trusts for which is he a lifetime beneficiary.



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                     14.     Upon information and belief, Nancy Dondero is an individual residing in

 the state of Florida and who is Mr. Dondero’s sister, and a trustee of Dugaboy.

                                             CASE BACKGROUND

                     15.     On October 16, 2019, the Debtor filed a voluntary petition for relief under

 chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the District of

 Delaware (the “Delaware Court”), Case No. 19-12239 (CSS) (the “Highland Bankruptcy Case”).

                     16.     On October 29, 2019, the U.S. Trustee in the Delaware Court appointed an

 Official Committee of Unsecured Creditors (the “Committee”) with the following members: (a)

 Redeemer Committee of Highland Crusader Fund (“Redeemer”), (b) Meta-e Discovery, (c) UBS

 Securities LLC and UBS AG London Branch, and (d) Acis Capital Management, L.P. and Acis

 Capital Management GP LLC (collectively, “Acis”).

                     17.     On June 25, 2021, the U.S. Trustee in this Court filed that certain Notice of

 Amended Unsecured Creditors’ Committee [Docket No. 2485] notifying the Court that Acis and

 Redeemer had resigned from the Committee.

                     18.     On December 4, 2019, the Delaware Court entered an order transferring

 venue of the Highland Bankruptcy Case to this Court [Docket No. 186]. 2

                     19.     The Debtor has continued in the possession of its property and has

 continued to operate and manage its business as a debtor-in-possession pursuant to sections

 1107(a) and 1108 of the Bankruptcy Code. No trustee or examiner has been appointed in this

 chapter 11 case.




 2
     All docket numbers refer to the main docket for the Highland Bankruptcy Case maintained by this Court.

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                                        STATEMENT OF FACTS

 A.      The HCRE Demand Notes

                  20.        HCRE is the maker under a series of demand notes in favor of the Debtor.

                  21.        Specifically, on November 27, 2013, HCRE executed a demand note in

 favor of the Debtor, as payee, in the original principal amount of $100,000 (“HCRE’s First

 Demand Note”). A true and correct copy of HCRE’s First Demand Note is attached hereto as

 Exhibit 1.

                  22.        On October 12, 2017, HCRE executed a demand note in favor of the Debtor,

 as payee, in the original principal amount of $2,500,000 (“HCRE’s Second Demand Note”). A

 true and correct copy of HCRE’s Second Demand Note is attached hereto as Exhibit 2.

                  23.        On October 15, 2018, 2017, HCRE executed a demand note in favor of the

 Debtor, as payee, in the original principal amount of $750,000 (“HCRE’s Third Demand Note”).

 A true and correct copy of HCRE’s Third Demand Note is attached hereto as Exhibit 3

                  24.        On September 25, 2019, HCRE executed a demand note in favor of the

 Debtor, as payee, in the original principal amount of $900,000 (“HCRE’s Fourth Demand Note,”

 and collectively, with HCRE’s First Demand Note, HCRE’s Second Demand Note, and HCRE’s

 Third Demand Note, the “Demand Notes”). A true and correct copy of HCRE’s Fourth Demand

 Note is attached hereto as Exhibit 4.

                  25.        Section 2 of the Demand Notes provide: “Payment of Principal and

 Interest. The accrued interest and principal of this Note shall be due and payable on demand of

 the Payee.”

                  26.        Section 4 of the Demand Notes provide:

                  Acceleration Upon Default. Failure to pay this Note or any installment
                  hereunder as it becomes due shall, at the election of the holder hereof,
                  without notice, demand, presentment, notice of intent to accelerate, notice

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                  of acceleration, or any other notice of any kind which are hereby waived,
                  mature the principal of this Note and all interest then accrued, if any, and
                  the same shall at once become due and payable and subject to those
                  remedies of the holder hereof. No failure or delay on the part of the Payee
                  in exercising any right, power, or privilege hereunder shall operate as a
                  waiver hereof.

                  27.        Section 6 of the Demand Notes provide:

                  Attorneys’ Fees. If this Note is not paid at maturity (whether by
                  acceleration or otherwise) and is placed in the hands of an attorney for
                  collection, or if it is collected through a bankruptcy court or any other court
                  after maturity, the Maker shall pay, in addition to all other amounts owing
                  hereunder, all actual expenses of collection, all court costs and reasonable
                  attorneys’ fees and expenses incurred by the holder hereof.

 B.      HCRE’s Defaults Under Each Demand Note

                  28.        By letter dated December 3, 2020, the Debtor made demand on HCRE for

 payment of the Demand Note Repayment Amount by December 11, 2020 (the “Demand

 Letter”). A true and correct copy of the Demand Letter is attached hereto as Exhibit 5. The

 Demand Letter provides:

                  By this letter, Payee is demanding payment of the accrued interest and principal
                  due and payable on the Notes in the aggregate amount of $5,012,260.96, which
                  represents all accrued interest and principal through and including December 11,
                  2020.

                  Payment is due on December 11, 2020, and failure to make payment in full
                  on such date will constitute an event of default under the Notes.

 Demand Letter (emphasis in the original).

                  29.        Despite the Debtor’s demand, HCRE did not pay all or any portion of the

 amount demanded by the Debtor on December 11, 2020, or at any time thereafter.

                  30.        As of December 11, 2020, there was an outstanding principal amount of

 $171,542 on HCRE’s First Demand Note and accrued but unpaid interest in the amount of $526.10,

 resulting in a total outstanding amount as of that date of $172,068.10.



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                  31.        As of December 11, 2020, there was an outstanding principal balance of

 $3,149,919.12 on HCRE’s Second Demand Note and accrued but unpaid interest in the amount of

 $41,423.60, resulting in a total outstanding amount as of that date of $3,191,342.72.

                  32.        As of December 11, 2020, there was an outstanding principal balance of

 $874,977.53 on HCRE’s Third Demand Note and accrued but unpaid interest in the amount of

 $10,931.23, resulting in a total outstanding amount as of that date of $885,908.76.

                  33.        As of December 11, 2020, there was an outstanding principal balance of

 $750,279.14 on HCRE’s Fourth Demand Note and accrued but unpaid interest in the amount of

 $12,662.24, resulting in a total outstanding amount as of that date of $762,941.38.

                  34.        Thus, as of December 11, 2020, the total outstanding principal and accrued

 but unpaid interest due under the Demand Notes was $5,012,260.96.

                  35.        Pursuant to Section 4 of each Note, each Note is in default, and is currently

 due and payable.

 C.      The HCRE Term Note

                  36.        HCRE is the maker under a term note in favor of the Debtor.

                  37.        Specifically, on May 31, 2017, HCRE executed a term note in favor of the

 Debtor, as payee, in the original principal amount of $6,059,831 (the “Term Note,” and together

 with the Demand Notes, the “Notes”). A true and correct copy of the Term Note is attached hereto

 as Exhibit 6.

                  38.        Section 2 of the Term Note provides: “Payment of Principal and

 Interest. Principal and interest under this Note shall be due and payable as follows:

                  2.1     Annual Payment Dates. During the term of this Note, Borrower shall pay
                  the outstanding principal amount of the Note (and all unpaid accrued interest
                  through the date of each such payment) in thirty (30) equal annual payments (the
                  “Annual Installment”) until the Note is paid in full. Borrower shall pay the Annual
                  Installment on the 31st day of December of each calendar year during the term of

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                  this Note, commencing on the first such date to occur after the date of execution of
                  this note.

                  2.2    Final Payment Date. The final payment in the aggregate amount of the
                  then outstanding and unpaid Note, together with all accrued and unpaid interest
                  thereon, shall become immediately due and payable in full on December 31, 2047
                  (the “Maturity Date”).

                  39.        Section 3 of the Term Note provides:

                  Prepayment Allowed: Renegotiation Discretionary. Maker may prepay in
                  whole or in part the unpaid principal or accrued interest of this Note. Any
                  payments on this Note shall be applied first to unpaid accrued interest hereon, and
                  then to unpaid principal hereof.

                  40.        Section 4 of the Term Note provides:

                  Acceleration Upon Default. Failure to pay this Note or any installment
                  hereunder as it becomes due shall, at the election of the holder hereof,
                  without notice, demand, presentment, notice of intent to accelerate, notice
                  of acceleration, or any other notice of any kind which are hereby waived,
                  mature the principal of this Note and all interest then accrued, if any, and
                  the same shall at once become due and payable and subject to those
                  remedies of the holder hereof. No failure or delay on the part of the Payee
                  in exercising any right, power, or privilege hereunder shall operate as a
                  waiver hereof.

                  41.        Section 6 of the Term Note provides:

                  Attorneys’ Fees. If this Note is not paid at maturity (whether by
                  acceleration or otherwise) and is placed in the hands of an attorney for
                  collection, or if it is collected through a bankruptcy court or any other court
                  after maturity, the Maker shall pay, in addition to all other amounts owing
                  hereunder, all actual expenses of collection, all court costs and reasonable
                  attorneys’ fees and expenses incurred by the holder hereof.

 D.      HCRE’s Default Under the Term Note

                  42.        HCRE failed to make the payment due under the Term Note on December

 31, 2020.

                  43.        By letter dated January 7, 2021, the Debtor made demand on HCRE for

 immediate payment under the Term Note (the “Second Demand Letter”). A true and correct copy

 of the Second Demand Letter is attached hereto as Exhibit 7. The Demand Letter provides:

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                  Because of Maker’s failure to pay, the Note is in default. Pursuant to Section 4 of
                  the Note, all principal, interest, and any other amounts due on the Note are
                  immediately due and payable. The amount due and payable on the Note as of
                  January 8, 2021 is $6,145,466.84; however, interest continues to accrue under the
                  Note.

                  The Term Note is in default, and payment is due immediately.

 Second Demand Letter (emphasis in the original).

                  44.        Despite the Debtor’s demands, HCRE did not pay the amount demanded

 by the debtor on January 7, 2021, or at any time thereafter.

                  45.        As of January 8, 2021, the total outstanding principal and accrued but

 unpaid interest under the Term Note was 6,145,466.84.

                  46.        Pursuant to Section 4 of the Term Note, the Note is in default, and is

 currently due and payable.

 E.      The Debtor Files the Original Complaint

                  47.        On January 22, 2021, the Debtor filed the Complaint for (I) Breach of

 Contract and (II) Turnover of Property of the Debtor’s Estate [Docket No. 1] (the “Original

 Complaint”). In the Original Complaint, the Debtor brought claims for (i) breach of contract for

 HCRE’s breach of its obligations under the Notes and (ii) turnover by HCRE for the outstanding

 amounts under the Notes, plus all accrued and unpaid interest until the date of payment plus the

 Debtor’s costs of collection and reasonable attorney’s fees.

 F.      HCRE’s Affirmative Defenses

                  48.        On March 13, 2021, HCMS filed Highland Capital Management Services,

 Inc.’s Answer to Plaintiff’s Complaint [Docket No. 6] (the “Original Answer”). In its Original

 Answer, HCMS asserted four affirmative defenses: (i) the claims are barred in whole or in part

 under the doctrines of justification or repudiation, (ii) waiver, (iii) estoppel, and (iv) offset and/or

 setoff (the “Setoff Defense”). See id. ¶¶ 55-58.

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                  49.        On June 11, 2021, HCRE filed its First Amended Answer to Plaintiff’s

 Complaint [Docket No. 34] (the “Amended Answer”), that omitted the Setoff Defense but asserted

 two affirmative defenses: (i) the Debtor previously agreed that it would not collect on the Notes

 “upon fulfillment of conditions subsequent” (i.e., the Alleged Agreement) id. ¶ 58, and (ii) the

 Notes are “ambiguous,” id. ¶ 59.

                  50.        According to HCRE, the Alleged Agreement was orally entered into

 “sometime between December of the year each note was made and February of the following

 year.”

                  51.        According to HCRE, Mr. Dondero, acting on its behalf, entered into the

 Alleged Agreement with his sister, Nancy Dondero, acting as the Representative.

                  52.        Mr. Dondero controlled the Debtor at the time he entered into the Alleged

 Agreement on behalf of HCRE.

                  53.        Upon information and belief, the Debtor’s books and records do not reflect

 the Alleged Agreement.

 G.       Dugaboy Lacked Authority to Act on Behalf of the Debtor

                  54.        Under section 4.2 of the Fourth Amended and Restated Agreement of

 Limited Partnership of Highland Capital Management, L.P. (the “Limited Partnership

 Agreement”), and attached hereto as Exhibit 8, Dugaboy was not authorized to enter into the

 Alleged Agreement on behalf of the Partnership, or otherwise bind the Partnership (as

 “Partnership” is defined in the Limited Partnership Agreement).

                  55.        Section 4.2(b) of the Limited Partnership Agreement states:

                  Management of Business. No Limited Partner shall take part in the control (within
                  the meaning of the Delaware Act) of the Partnership’s business, transact any
                  business in the Partnership’s name, or have the power to sign documents for or
                  otherwise bind the Partnership other than as specifically set forth in this Agreement.


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 Exhibit 8, § 4.2(b).

                  56.        No provision in the Limited Partnership Agreement authorizes any of the

 Partnership’s limited partners to bind the Partnership.

                  57.        Nancy Dondero also lacked authority to enter into the Alleged Agreement

 or to otherwise bind the Debtor.

                                       FIRST CLAIM FOR RELIEF
                                            (Against HCRE)

                                          (For Breach of Contract)

                  58.        The Debtor repeats and re-alleges the allegations in each of the foregoing

 paragraphs as though fully set forth herein.

                  59.        Each Note is a binding and enforceable contract.

                  60.        HCRE breached each Demand Note by failing to pay all amounts due to the

 Debtor upon the Debtor’s demand.

                  61.        HCRE breached the Term Note by failing to pay all amounts due to the

 Debtor upon HCRE’s default and acceleration.

                  62.        Pursuant to each Note, the Debtor is entitled to damages from HCRE in an

 amount equal to (i) the aggregate outstanding principal due under each Note, plus (ii) all accrued

 and unpaid interest thereon until the date of payment, plus (iii) an amount equal to the Debtor’s

 costs of collection (including all court costs and reasonable attorneys’ fees and expenses), for

 HCRE’s breach of its obligations under each of the Notes.

                  63.        As a direct and proximate cause of HCRE’s breach of each Demand Note,

 the Debtor has suffered damages in the amount of at least $5,012,260.96, as of December 11,

 2020, plus an amount equal to all accrued but unpaid interest from that date, plus the Debtor’s

 cost of collection.


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                  64.        As a direct and proximate cause of HCRE’s breach of the Term Note, the

 Debtor has suffered damages in the amount of at least $6,145,466.84, as of January 8, 2021, plus

 an amount equal to all accrued but unpaid interest from that date, plus the Debtor’s cost of

 collection.

                                 SECOND CLAIM FOR RELIEF
                                        (Against HCRE)
                         (Turnover by HCRE Pursuant to 11 U.S.C. § 542(b))

                  65.        The Debtor repeats and re-alleges the allegations in each of the foregoing

 paragraphs as though fully set forth herein.

                  66.        HCRE owes the Debtor an amount equal to (i) the aggregate outstanding

 principal due under each of the Notes, plus (ii) all accrued and unpaid interest thereon until the

 date of payment, plus (iii) an amount equal to the Debtor’s costs of collection (including all court

 costs and reasonable attorneys’ fees and expenses), for HCRE’s breach of its obligations under

 each of the Notes

                  67.        Each Demand Note is property of the Debtor’s estate and the amounts due

 under each Demand Note is matured and payable upon demand.

                  68.        The Term Note is property of the Debtor’s estate and the amounts due

 under the Term Note is matured and payable upon default and acceleration.

                  69.        The Debtor has made demand for turnover of the amounts due under each

 of the Notes.

                  70.        As of the date of filing this Complaint, HCRE has not turned over to the

 Debtor all or any of the amounts due under each of the Notes.

                  71.        The Debtor is entitled to the turnover of all amounts due under each of the

 Notes.



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                             THIRD CLAIM FOR RELIEF
                                    (Against HCRE)
  (Avoidance and Recovery of Actual Fraudulent Transfer Under 11 U.S.C. §§ 548(a)(1)(A)
                                       and 550)

                  72.        The Debtor repeats and re-alleges the allegations in each of the foregoing

 paragraphs as though fully set forth herein.

                  73.        The Debtor made the transfers pursuant to the Alleged Agreement within

 two years of the Petition Date.

                  74.        Mr. Dondero entered into the Alleged Agreement on behalf of HCRE with

 actual intent to hinder, delay, or defraud a present or future creditor, demonstrated by, inter alia:

                  (a) The transfers were made to, or for the benefit of, HCRE, an insider of the

                        Debtor.

                  (b) Mr. Dondero entered into the Alleged Agreement on behalf of HCRE with his

                        sister, Nancy Dondero.

                  (c) Mr. Dondero did not inform the Debtor’s CFO or outside auditors about the

                        Alleged Agreement.

                  (d) The Debtor’s books and record do not reflect the Alleged Agreement.

                  (e) The Alleged Agreement was not subject to negotiation.

                  (f) The value of the consideration received by the Debtor for the transfers was not

                        reasonably equivalent in value.

                  75.        The pattern of conduct, series of transactions, and general chronology of

 events under inquiry in connection with the debt HCRE incurred under the Notes demonstrates a

 scheme of fraud.

                  76.        Pursuant to 11 U.S.C. § 550, the Debtor is entitled to recover for the benefit

 of the Debtor’s estates the transfers made in exchange for the Alleged Agreement from HCRE.


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                   77.       Accordingly, the Debtor is entitled to a judgement: (i) avoiding the Alleged

 Agreement and the transfer thereunder, and (ii) recovering from HCRE an amount equal to all

 obligations remaining under the Notes.

                            FOURTH CLAIM FOR RELIEF
                                    (Against HCRE)
   (Avoidance and Recovery of Actual Fraudulent Transfer Under 11 U.S.C. §§ 544(b) and
                      550, and Tex. Bus. & C. Code § 24.005(a)(1))

                   78.       The Debtor repeats and re-alleges the allegations in each of the foregoing

 paragraphs as though fully set forth herein.

                   79.       The Debtor made the transfers pursuant to the Alleged Agreement after, or

 within a reasonable time before, creditors’ claims arose.

                   80.       Mr. Dondero entered into the Alleged Agreement on behalf of HCRE with

 actual intent to hinder, delay, or defraud a present or future creditor of the Debtor, demonstrated

 by, inter alia:

                   (g) The transfers were made to, or for the benefit of, HCRE, an insider of the

                         Debtor.

                   (h) Mr. Dondero entered into the Alleged Agreement on behalf of HCRE with his

                         sister, Nancy Dondero.

                   (i) Mr. Dondero did not inform the Debtor’s CFO or outside auditor’s about the

                         Alleged Agreement.

                   (j) Upon information and belief, the Debtor’s books and record do not reflect the

                         Alleged Agreement.

                   (k) The Alleged Agreement was not subject to negotiation.

                   (l) The value of the consideration received by the Debtor for the transfers was not

                         reasonably equivalent in value.


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                  81.        Pursuant to 11 U.S.C. § 550, the Debtor is entitled to recover for the benefit

 of the Debtor’s estates the transfers made in exchange for the Alleged Agreement from HCRE.

                  82.        Accordingly, the Debtor is entitled to a judgement: (i) avoiding the Alleged

 Agreement and the transfer thereunder, and (ii) recovering from HCRE an amount equal to all

 obligations remaining under the Notes.


                                 FIFTH CLAIM FOR RELIEF
                             (Against Dugaboy and Ms. Dondero)
            (For Declaratory Relief: -- 11 U.S.C. § 105(a) and Fed. R. Bankr. P. 7001)

                  83.        The Debtor repeats and re-alleges the allegations in each of the foregoing

 paragraphs as though fully set forth herein.

                  84.        A bona fide, actual, present dispute exists between the Debtor, on the one

 hand, and Dugaboy and Ms. Dondero on the other hand, concerning whether Dugaboy and/or Ms.

 Dondero, acting as the Representative, were authorized to enter into the Alleged Agreement on the

 Debtor’s behalf.

                  85.        A judgment declaring the parties’ respective rights and obligations will

 resolve their dispute.

                  86.        Pursuant to Bankruptcy Rule 7001, the Debtor specifically seeks

 declarations that:

                  •     (a) limited partners, including but not limited to Dugaboy, have no right or

                        authority to take part in the control (within the meaning of the Delaware Act)

                        of the Partnership’s business, transact any business in the Partnership’s name,

                        or have the power to sign documents for or otherwise bind the Partnership other

                        than as specifically provided in the Limited Partnership Agreement,




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                  •     (b) neither Dugaboy nor Ms. Dondero (whether individually or as

                        Representative) was authorized under the Limited Partnership Agreement to

                        enter into the Alleged Agreement on behalf of the Partnership,

                  •     (c) neither Dugaboy nor Ms. Dondero (whether individually or as

                        Representative) otherwise had any right or authority to enter into the Alleged

                        Agreement on behalf of the Partnership, and

                  •     (d) the Alleged Agreement is null and void.

                                     SIXTH CLAIM FOR RELIEF
                                   (Against Dugaboy and Ms. Dondero)
                                       (Breach of Fiduciary Duty)

                  87.        The Debtor repeats and re-alleges the allegations in each of the foregoing

 paragraphs as though fully set forth herein.

                  88.        If Dugaboy, as a limited partner, or Ms. Dondero, as Representative, had

 the authority to enter into the Alleged Agreement on behalf of the Debtor, then Dugaboy and/or

 Ms. Dondero would owe the Debtor a fiduciary duty.

                  89.        If Dugaboy or Ms. Dondero (as Representative) had the authority to enter

 into the Alleged Agreement on behalf of the Debtor, then Dugaboy and/or Ms. Dondero breached

 their fiduciary duty of care to the Debtor by entering into and authorizing the purported Alleged

 Agreement on behalf of the Debtor.

                  90.        Accordingly, the Debtor is entitled to recover from Dugaboy and Ms.

 Dondero (a) actual damages that the Debtor suffered as a result of their breach of fiduciary duty,

 and (b) for punitive and exemplary damages.




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                                    SEVENTH CLAIM FOR RELIEF
                               (Against James Dondero and Nancy Dondero)
                             (Aiding and Abetting a Breach of Fiduciary Duty)

                  91.        The Debtor repeats and re-alleges the allegations in each of the foregoing

 paragraphs as though fully set forth herein.

                  92.        James Dondero and Nancy Dondero (together, the “Donderos”) were aware

 that Dugaboy would have fiduciary duties to the Debtor if it acted to bind the Debtor.

                  93.        The Donderos aided and abetted Dugaboy’s breach of its fiduciary duties to

 the Debtor by knowingly participating in the authorization of the purported Alleged Agreement.

                  94.        The Donderos aided and abetted Dugaboy’s breach of its fiduciary duty to

 the Debtor by knowingly participating in the authorization of the purported Alleged Agreement.

                  95.        Accordingly, the Donderos are jointly and severally liable (a) for the

 actual damages that the Debtor suffered as a result of aiding and abetting Dondero’s breaches of

 fiduciary duties, and (b) for punitive and exemplary damages.

                  WHEREFORE, the Debtor prays for judgment as follows:

                  (i)        On its First Claim for Relief, damages in an amount to be determined at

                  trial but includes (a) the aggregate outstanding principal due under each Note,

                  plus (b) all accrued and unpaid interest thereon until the date of payment, plus (c)

                  an amount equal to the Debtor’s cost of collection (including all court costs and

                  reasonable attorneys’ fees and expenses);

                  (ii)       On its Second Claim for Relief, ordering turnover by HCRE to the Debtor

                  of an amount equal to (a) the aggregate principal due under each Note, plus (b) all

                  accrued and unpaid interest thereon until the date of payment, plus (c) an amount

                  equal to the Debtor’s cost of collection (including all court costs and reasonable

                  attorneys’ fees and expenses);

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                  (iii)      On its Third Claim for Relief, avoidance of the Alleged Agreement and the

                  transfers thereunder pursuant to the Alleged Agreement arising from actual

                  fraudulent transfer under section 548 of the Bankruptcy Code;

                  (iv)       On its Fourth Claim for Relief, avoidance of the Alleged Agreement and the

                  transfers thereunder pursuant to the Alleged Agreement of funds arising from actual

                  fraudulent transfer under Tex. Bus. & C. Code § 24.005(a)(1);

                  (v)        On its Fifth Claim for Relief, a declaration that: (a) limited partners,

                  including but not limited to Dugaboy, have no right or authority to take part in the

                  control (within the meaning of the Delaware Act) of the Partnership’s business,

                  transact any business in the Partnership’s name, or have the power to sign

                  documents for or otherwise bind the Partnership other than as specifically provided

                  in the Limited Partnership Agreement, (b) neither Dugaboy nor Ms. Dondero

                  (whether individually or as Representative) was authorized under the Limited

                  Partnership Agreement to enter into the Alleged Agreement on behalf of the

                  Partnership, (c) neither Dugaboy nor Ms. Dondero (whether individually or as

                  Representative) otherwise had any right or authority to enter into the Alleged

                  Agreement on behalf of the Partnership, and (d) the Alleged Agreement is null and

                  void;

                  (vi)       On its Sixth Claim for Relief, actual damages from Dugaboy and Ms.

                  Dondero, in an amount to be determined at trial, that Debtor suffered as a result of

                  their breach of fiduciary duty, and for punitive and exemplary damages;

                  (vii)      On its Seventh Claim for Relief, actual damages from the Donderos,

                  jointly and severally, in an amount to be determined at trial, that Debtor suffered



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                  as a result of aiding and abetting Dugaboy’s breaches of fiduciary duty, and for

                  punitive and exemplary damages; and

                  (iii)      Such other and further relief as this Court deems just and proper.



  Dated: As of July 13, 2021.                    PACHULSKI STANG ZIEHL & JONES LLP
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  TRUST

                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

 In re:                             §                       Case No. 19-34054
                                    §
 HIGHLAND CAPITAL MANAGEMENT, L.P. §                        Chapter 11
                                    §
      Debtor.                       §
                                    §
 HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                    §
      Plaintiff.                    §
 v.                                 §                       Adversary No. 21-03003-sgj
                                    §
 JAMES D. DONDERO, NANCY DONDERO, §
 AND THE DUGABOY INVESTMENT TRUST, §
                                    §
      Defendants.                   §




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               MOTION TO COMPEL ARBITRATION AND STAY LITIGATION

         Defendants James D. Dondero, Nancy Dondero, and The Dugaboy Investment Trust

(“Dugaboy”) (the “Defendants”) move this Court for an order to stay this adversary proceeding and

refer the parties to arbitration, and in further support state the following:

                                   I.      STATEMENT OF FACTS

         1.       On December 24, 2015, Mr. Dondero, on behalf of Strand Advisors, Inc., and Nancy

Dondero, on behalf of Dugaboy, executed the Fourth Amended and Restated Agreement (the “LPA”)

of Limited Partnership of Highland Capital Management, L.P. (“HCM”).1 Section 6.14 of the LPA

provides for Mandatory Arbitration in the event of a legal dispute between the parties arising from

the agreement (“Arbitration Provision”). Section 6.14 specifically states:

         6.14. Mandatory Arbitration. In the event there is an unresolved legal dispute
         between the parties and/or any of their respective officers, directors, partners,
         employees, agents, affiliates or other representatives that involves legal rights or
         remedies arising from this Agreement, the parties agree to submit their dispute to
         binding arbitration under the authority of the Federal Arbitration Act; provided,
         however, that the Partnership or such applicable affiliate thereof may pursue a
         temporary restraining order and/or preliminary injunctive relief in connection with any
         confidentiality covenants or agreements binding on the other party, with related
         expedited discovery for the parties, in a court of law, and thereafter, require arbitration
         of all issues of final relief. The arbitration will be conducted by the American
         Arbitration Association, or another mutually agreeable arbitration service. A panel of
         three arbitrators will preside over the arbitration and will together deliberate, decide
         and issue the final award. The arbitrators shall be duly licensed to practice law in the
         state of Texas.

The Arbitration Provision specifically governs the discovery process for arbitration, the authority of

the arbitrators, and the costs of arbitration.2


1
  The Fourth Amended and Restated Agreement of Limited Partnership of Highland Capital Management, L.P.
Declaration of Michael P Aigen dated August 30, 2021 (“Aigen Dec.) at Ex. 1. The signatories to it are: (1)
General Partner, Strand Advisors, Inc., a Delaware corporation by James D. Dondero, President; (2) Limited
Partner, The Dugaboy Investment Trust by Nancy M. Dondero, its Trustee; (3) Limited Partner, The Mark and
Pamela Okada Family Trust- Exempt #1 by Lawrence Tonomura, its Trustee; (4) Limited Partner, The Mark
and Pamela Okada Family Trust- Exempt #2 by Lawrence Tonomura, its Trustee; (5) Limited Partner, Mark
K. Okada; and (6) Limited Partner, Hunter Mountain Investment Trust by John Honis, the President of Beacon
Mountain 1 LC, Administrator.
2
  See LPA Section 6.14, which states:
                                                     1
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         2.       In 2018, Mr. Dondero executed three promissory notes (“Notes”) in favor of the

Debtor. The authority to execute promissory notes in favor of the Debtor arises from Article 4 of the

LPA because a General Partner has full authority to conduct the business, which includes lending and

borrowing money and executing promissory notes. Article 4 states:

              In addition to the powers now or hereafter granted to a general partner of a limited
              partnership under applicable law or that are granted to the General Partner under
              any provision of this Agreement, the General Partner shall have full power and
              authority to do all things deemed necessary or desirable by it to conduct the
              business of the Partnership, including, without limitation:
              ....

              (ii) the performance of any and all acts necessary or appropriate to the operation
              of any business of the Partnership (including, without limitation. purchasing and
              selling any asset, any debt instruments, any equity interests, any commercial paper,
              any note receivables and any other obligations);
              ....

              (vi) the making of any expenditures, the borrowing of money, the guaranteeing of
              indebtedness and other liabilities, the issuance of evidences of indebtedness, and
              the incurrence of any obligations it deems necessary or advisable for the conduct
              of the activities of the Partnership, including, without limitation, the payment of
              compensation and reimbursement to the General Partner and its Affiliates pursuant
              to Section 3.1;
              ....

              (vii) the use of the assets of the Partnership (including, without limitation, cash on
              hand) for any Partnership purpose on any terms it sees fit, including, without
              limitation, the financing of operations of the Partnership, the lending of funds to
              other Persons, and the repayment of obligations.




         The discovery process shall be limited to the following: Each side shall be permitted no more
         than (i) two party depositions of six hours each, each deposition to be taken pursuant to the
         Texas Rules of Civil Procedure; (ii) one non-party deposition of six hours; (iii) twenty-five
         interrogatories; (iv) twenty-five requests for admissions; (v) ten request for production (in
         response, the producing party shall not be obligated to produce in excess of 5,000 total pages
         of documents, including electronic documents); and (vi) one request for disclosure pursuant
         to the Texas Rules of Civil Procedure. Any discovery not specifically provided for in this
         paragraph, whether to parties or non-parties, shall not be permitted. . . . . Each party shall bear
         its own attorney’s fees, costs and expenses, including any costs of experts, witnesses and /or
         travel, subject to a final arbitration award on who should bear costs and fees. The duty to
         arbitrate described above shall survive the termination of this Agreement.
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          3.      In addition, the LPA provides authority for partners to lend money to their Affiliates.

Section 4(e) specifically provides:

               The General Partner or any Affiliate of the General Partner may lend to the
               Partnership funds needed by the Partnership for such periods of time as the General
               Partner may determine: provided, however, the General Partner or its Affiliate may
               not charge the Partnership interest at a rate greater than the rate (including points
               or other financing charges or fees) that would be charged the Partnership (without
               reference to the General Partner’s financial abilities or guaranties) by unrelated
               lenders on comparable loans. The Partnership shall reimburse the General Partner
               or its Affiliate, as the case may be, for any costs incurred by the General Partner
               or that Affiliate in connection with the borrowing of funds obtained by the General
               Partner or that Affiliate and loaned to the Partnership. The Partnership may loan
               funds to the General Partner and any member of the Founding Partner Group at the
               General Partner’s sole and exclusive discretion.

In addition, Section 3.9(f) of the LPA allows for the partnership to make tax loans to the Founding
Partners:

               The Partnership shall, upon request of such Founding Partner, make distributions
               to the Founding Partners (or loans, at the election of the General Partner) in an
               amount necessary for each of them to pay their respective federal income tax
               obligations incurred through the effective date of the Third Amended and Restated
               Agreement of Limited Partnership of Highland Capital Management, L.P., the
               predecessor to this Agreement.

          4.      Debtor demanded payment on the Notes and subsequently filed an adversary

proceedings seeking collection, described further below. One of the affirmative defenses asserted in

the adversary proceedings is that Debtor is not entitled to demand payment because, prior to the

demands for payment, HCM had agreed that it would not collect the Notes, and that they would be

treated as compensation to the Debtor’s founder and then-CEO Jim Dondero, if any of certain

conditions subsequent were met.3 Debtor refers to the agreement as the “Alleged Agreement.” The

condition subsequent was the sale of any of HCM’s interests in certain portfolio companies

(Cornerstone, Trussway and/or MGM) for a greater amount than their cost.4




3
    See Defendant James Dondero’s Amended Answer [Ad. No. 21-0300, Dkt. No. 16 at 6 ¶ 40].
4
    Aigen Dec. Ex. 2, May 28, 2021 Remote Deposition of James Dondero Transcript at 212:18-25; 213:1-17.
                                                       3
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         5.       Under Section 4.1(k) of the LPA, the “salaries or other compensation, if any, of the

officers and agents of the Partnership [were to] be fixed from time to time by the General Partner.”

Additionally, under the LPA, Dugaboy had explicit authorization to approve compensation for Jim

Dondero and entities he was affiliated with, and thus bind the Partnership through, LPA in § 3.10(a),

which provides in pertinent part:

              (a) Compensation. The General Partner and any Affiliate of the General Partner
              shall receive no compensation from the Partnership for services rendered pursuant
              to this Agreement or any other agreements unless approved by a Majority Interest;
              LPA § 3.10(a) (emphasis added).

The LPA defines relevant actors in the Compensation provision as follows:

              “‘Majority Interest’ means the owners of more than fifty percent (50%) of the
              Percentage Interests of Class A Limited Partners.” LPA § 2.1, p.4.

              “‘Class A Limited Partners’ means those Partners holding a Class A Limited
              Partnership Interest, as shown on Exhibit A.” LPA § 2.1, p.2.5

              The Class A shareholders included Strand Advisors, The Dugaboy Investment
              Trust, Mark K. Okada, The Mark and Pamela Okada Family Trust – Exempt Trust
              #1, and The Mark and Pamela Okada Family Trust – Exempt Trust #2.6 Dugaboy
              alone comprised 75% of the Class A shareholders,7

              Nancy Dondero was the Family Trustee of the Dugaboy Trust,8 and had the power
              to act for Dugaboy in this regard.9

After the Notes were entered into, Mr. Dondero asked Dugaboy (via Ms. Dondero) to approve an

agreement that the Notes would be forgiven as compensation to Mr. Dondero upon the favorable sale

of any or all of the portfolio company interests by HCM, and she did.10




5
  Aigen Dec. Ex. 1, LPA at Exhibit A thereof). Exhibit A reflects “The Dugaboy Investment Trust” as a Class
A Limited Partner owning 74.4426% of the Class A Limited Partnership Interests.
6
  Aigen Dec. Ex. 1, LPA at Exhibit A thereof.
7
  See id.
8
   Aigen Dec. Ex. 3, Acceptance of Appointment of Family Trustee, executed by Nancy Marie Dondero on
October 13, 2015.
9
   Aigen Dec. Ex. 4, Trust Agreement Between Dana Scott Breault, Settlor and James D. Dondero and
Commonwealth Trust Company, Trustees The Dugaboy Investment, entered November 15, 2010 at Article 5.2.
10
   Aigen Dec Ex. 2, Remote Deposition of James Dondero Transcript at 176-178.
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          The General Partner entitled to compensation here is Strand Advisors, Inc. The LPA Preamble

states in pertinent part:

          “This [LPA] is entered…by and among Strand Advisors, Inc., a Delaware Corporation
          (“Strand”), as General Partner, the Limited Partners party hereto, and any Person
          hereinafter admitted as a Limited Partner. LPA Preamble, p.1.

The LPA goes on to articulate Affiliates (of Strand):

          “‘Affiliate’ means any Person that directly or indirectly controls, is controlled by, or
          is under common control with the Person in question. As used in this definition, the
          term ‘control’ means the possession, directly or indirectly, of the power to direct or
          cause the direction of the management and policies of a Person, whether through
          ownership of voting securities, by contract or otherwise.” LPA § 2.1, p.2.

          “‘Person’ means an individual or a corporation, partnership, trust, estate,
          unincorporated organization, association, or other entity.” LPA § 2.1, p.5.

It is undisputed that Mr. Dondero was an Affiliate of Strand under the LPA’s definition. Thus, Mr.

Dondero was entitled to compensation approved by Dugaboy pursuant to the LPA.

          6.      On January 22, 2021, Highland Capital Management, L.P. (“Debtor” or “Plaintiff”

when describing post-petition actions and HCM when describing pre-petition actions) commenced

Adversary Proceeding No. 21-03003 against Mr. Dondero, asserting a state law, non-core breach of

contract claim (“Count I”) and an entirely dependent turnover claim under 11 U.S.C. § 542(b) for the

amounts allegedly owed on the Notes (“Count II”).

          7.      Mr. Dondero answered the adversary complaint, asserting, inter alia, that Debtor’s

claims should be barred, because prior to the demand for payment HCM agreed it would not collect

on the Notes upon fulfillment of conditions subsequent,11 based upon what the Debtor refers to as the

“Alleged Agreement.”

          8.      On August 23, 2021, the Court entered an order permitting Debtor to file its Amended

Complaint for (I) Breach of Contract, (II) Turnover of Property, (III) Fraudulent Transfer, and (IV)



11
     Defendant James Dondero’s Amended Answer [Ad. No. 21-03003, Dkt. No. 16].
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Breach of Fiduciary Duty (“Amended Complaint”) asserting additional claims for relief including:

Avoidance and Recovery of Actual Fraudulent Transfer Under 11 U.S.C. §§ 548(a)(1)(A) and 550

against Mr. Dondero (“Count III”); Avoidance and Recovery of Actual Fraudulent Transfer Under

11 U.S.C. § 544(b) and 550, and Tex. Bus. & C. Code § 24.005(a)(1) against Mr. Dondero (“Count

IV”); Declaratory Relief pursuant to 11 U.S.C. § 105(a) and Fed. R. Bankr. P. 7001 against Dugaboy

(“Count V”); Breach of Fiduciary Duty against Dugaboy (“Count VI”); and Aiding and Abetting a

Breach of Fiduciary Duty against Mr. Dondero and Nancy Dondero (“Count VII”). Debtor seeks

avoidance of the Alleged Agreement, declaratory relief, and damages. The Parties agreed that the

Defendants would answer or otherwise move against the Amended Complaints on or before

September 1, 2021.12 The new claims, under Counts V, VI, and VII are non-core contract claims that

arise from the LPA, containing a broad arbitration provision. Further, the Defendants each have

critical affirmative defenses for the claims for declaratory relief, breach of fiduciary, and aiding and

abetting breach of fiduciary duty, that are rooted in non-core state contract law that also arise from

the LPA.

         9.       Although Debtor alleges that it “believes that the Alleged Agreement is a fiction

created after the commencement of this Adversary Proceeding for the purpose of avoiding or at least

delaying paying the obligations due under the notes,”13 there is no doubt that adjudication of the

existence and enforceability of the Alleged Agreement affects all of Debtor’s claims under Counts V,

VI, and VII for declaratory relief, breach of fiduciary duty and breach of fiduciary duty. These claims




12
   See Stipulation and Agreed Order Governing Discovery and Other Pre-Trial Issues attached as Exhibit C to
Debtor’s Unopposed Motion for Leave to Serve and File Amended Complaint [Adv. No. 21-03003, Dkt. No.
73-2 at Exhibit C] stipulating to August 30, 2021 which has been extended to September 1, 2021 by the parties
via email communication.
13
   Amended Complaint [Adv. No. 21-03003, Dkt. No. 79 at ¶ 3].
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pertain to loans made by the Debtor to its Affiliates and compensation for the Debtor’s CEO, all of

which are governed by the LPA.14

          10.     Defendants request the Court order the parties to arbitration on Counts V, VI, and VII,

as provided by the pre-petition LPA entered into by the parties, and stay the adversary proceeding

pending arbitration.

                                    II.     STANDARD OF REVIEW

          11.     When deciding whether to grant a motion to compel arbitration, the Fifth Circuit has

established a two-step analysis for determining whether parties must arbitrate a particular claim or set

of claims under the FAA: (A) there must be an enforceable agreement to arbitrate; and (B) the claims

must be arbitrable. See Sherer v. Green Tree Serv., LLC, 548 F.3d 379, 381 (5th Cir. 2008) (citations

omitted) (stating “First we must ask if the party has agreed to arbitrate the dispute. . . If so, we then

ask if any federal statute or policy renders the claims non-arbitrable.”); Venture Cotton Coop. v.

Freeman, 435 S.W.3d 222, 227 (Tex. 2014) (“A party seeking to compel arbitration must establish

the existence of a valid arbitration agreement and that the claims at issue fall within the scope of that

agreement.”). Once a party seeking to compel arbitration establishes the asserted claims fall within

a valid arbitration agreement, the burden shifts, and the party seeking to avoid arbitration must prove

an affirmative defense to the provision’s enforcement, such as waiver. Venture Cotton Coop., 435

S.W.3d at 227.

          12.     In applying the first portion of the two-step analysis, state contract law determines

whether parties entered into a valid agreement to arbitrate a set of claims. See, e.g., Fleetwood

Enterprises, Inc. v. Gaskamp, 280 F.3d 1069 (5th Cir. 2002) (“This determination is generally made

on the basis of ‘ordinary state-law principles that govern the formation of contracts.’” (citing First

Options of Chicago, Inc. v. Kaplan, 514 U.S. 938, 944 (1995)). The second part of determining


14
     See generally Aigen Dec. Ex. 1, LPA Article 4 and Section 3.10.
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whether the parties have agreed to arbitrate—the question of whether the dispute comes within the

scope of the agreement—”is answered by applying the federal substantive law of arbitrability.”

Graves v. BP Am., Inc., 568 F.3d 221, 222-23 (5th Cir. 2009) (citations omitted).

         13.      Under both Texas and Federal law, “[A]ny doubts concerning the scope of arbitrable

issues should be resolved in favor of arbitration, whether the problem at hand is the construction of

the contract language itself or an allegation of waiver, delay, or a like defense to arbitrability.” Moses

H. Cone Mem’l Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 24–25, (1983); see also Henry v. Cash

Biz, LP, 551 S.W.3d 111, 115 (Tex. 2018) (quoting In re Serv. Corp. Intern., 85 S.W.3d 171, 174

(Tex. 2002). In addition, the Supreme Court has declared that the Federal Arbitration Act, “is a strong

congressional declaration of a liberal policy favoring arbitration.” See, e.g., Elkjer v. Scheef & Stone,

L.L.P., 8 F. Supp. 3d 845, 849 (N.D. Tex. 2014) (collecting cases) (“if a valid agreement to arbitrate

does exist, the court must observe the strong federal policy favoring arbitration and resolve all

ambiguities in favor of arbitration.”).

                                             III.    ARGUMENT

         14.      This Court should compel arbitration as to Counts V, VI, and VII of the Amended

Adversary Complaint because: (1) The claims under Counts V, VI, and VII comprise disputes

involving legal rights or remedies arising from the LPA and are governed by an enforceable, and

broadly worded, arbitration provision; (2) Counts V, VI, and VII assert noncore claims, and in the

Fifth Circuit courts do not have discretion to refuse to compel the arbitration of matters not involving

“core” bankruptcy proceedings and should compel arbitration of even core claims if they are not

integral to the bankruptcy; and (3) federal and state policy strongly favors arbitration.

         15.      The Federal Arbitration Act (“FAA”) requires district courts to direct parties to

arbitrate issues covered by a valid arbitration agreement. 9 U.S.C. §§ 3, 4; see also Dean Witter

Reynolds, Inc. v. Byrd, 470 U.S. 213, 218 (1985). “Federal policy strongly favors enforcing

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arbitration agreements.” Dean Witter Reynolds, 470 U.S. at 217; Moses H. Cone Mem. Hosp, 460

U.S. at 24. When a party moves to compel arbitration, the FAA requires district courts to order

arbitration of arbitrable claims. Sedco, Inc. v. Petroleos Mexicanos Mexican Nat’l Oil Co. (In re

Sedco, Inc.), 767 F.2d 1140, 1147 (5th Cir. 1985). Because of the strong presumption in favor of

arbitration, “a party seeking to invalidate an arbitration agreement bears the burden of establishing its

invalidity.” Vallejo v. Garda CL Sw., Inc., 948 F. Supp. 2d 720, 724–25 (S.D. Tex. 2013), aff’d, 559

F. App’x 417 (5th Cir. 2014) (citing Carter v. Countrywide Credit Indus., Inc., 362 F.3d 294, 297

(5th Cir. 2004)); see also Grant v. Houser, 469 Fed. Appx. 310, 315 (5th Cir. 2012) (noting the strong

presumption in favor of arbitration).

         16.      “[A]ny doubts concerning the scope of arbitrable issues should be resolved in favor of

arbitration, whether the problem at hand is the construction of the contract language itself or an

allegation of waiver, delay, or a like defense to arbitrability.” Moses H. Cone Mem’l Hosp., 460 U.S.

at 24–25; see also Henry, 551 S.W.3d at 115 (quoting In re Serv. Corp. Intern., 85 S.W.3d at 174).

The Fifth Circuit resolves doubts concerning the scope of matter covered by an arbitration provision

in favor of referring arbitration. The court states:

         We emphasize that our sole responsibility is to determine whether this dispute is
         governed by an arbitration clause, not to determine the merits of the dispute. See
         Snap–On Tools Corp., v. Mason, 18 F.3d 1261, 1267 (5th Cir.1994). “We resolve
         doubts concerning the scope of coverage of an arbitration clause in favor of arbitration.
         . . . [A]rbitration should not be denied ‘unless it can be said with positive assurance
         that an arbitration clause is not susceptible of an interpretation which would cover the
         dispute at issue.’” Neal, 918 F.2d at 37 (internal citations omitted). See also AT & T
         Technologies Inc. v. Communications Workers of America, 475 U.S. at 643, 650
         (1986).

Pennzoil Expl. & Prod. Co. v. Ramco Energy Ltd., 139 F.3d 1061, 1067 (5th Cir. 1998).




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         A.       This Dispute is Governed by An Enforceable Arbitration Provision Reaching All
                  Legal Rights Arising From the LPA.

         17.      Debtor’s claims asserted in Counts V, VI, and VII arise under the LPA, which contains

an enforceable and broadly worded arbitration provision. The U.S. Bankruptcy Court for the Northern

District of Texas, Dallas Division, has already interpreted arbitration provisions with identical scope

language (and near-identical scope language) to the Arbitration Provision under the LPA, to be valid

and binding. See In re Acis Cap. Mgmt., L.P., 600 B.R. 541, 549-50 (Bankr. N.D. Tex. 2019).15

Importantly, the court made clear that “it would seem to be beyond peradventure that [the arbitration

clause] was, at one time, enforceable between the parties, with regard to any disputes that arose

regarding the agreements.” Id. at 552 (emphasis added); see also id. at 557 (emphasis added)

(“there were valid arbitration agreements that applied to all disputes arising out of the [agreements

at issue].”). Accordingly, the court concluded that all claims at issue, including claims for declaratory

judgment, fell within the scope of the relevant arbitration clauses. See id. at 558.

         18.      The Arbitration Provision here also covers any “unresolved legal dispute between the

parties and/or any of their respective officers, directors, partners, employees, agents, affiliates or other

representatives that involves legal rights or remedies arising from this Agreement.” LPA, Section

6.14 (emphasis added). Such broad language is sufficient to reach collateral matters, including the

oral agreement between the parties which involves legal rights arising from LPA.16 Buell Door Co.



15
        The Court’s decision provides the relevant arbitration clause language. The arbitration clause at
Section 16(f) of the Sub-Advisory Agreement states:

         [I]n the event there is an unresolved legal dispute between the parties and/or any of their respective
         officers, directors, partners, employees, agents, affiliates or other representatives that involves legal
         rights or remedies arising from this Agreement, the parties agree to submit their dispute to binding
         arbitration under the authority of the Federal Arbitration Act. . . .

In re Acis Cap. Mgmt., L.P., 600 B.R. at 550 (emphasis added).
16
  It is important to note that the particular language “arising from” is significant in determining that the
Arbitration Provision here is broad. The Fifth Circuit and Texas District Courts have specifically determined
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v. Architectural Sys., Inc., No. 3:02-CV-721-AH, 2002 WL 1968223, at *6 (N.D. Tex. Aug. 20, 2002)

(concluding that the phrase “arising out of” and similar language constitute “broad” arbitration

clauses); see also Elkjer, 8 F. Supp. at 855 (concluding that the arbitration clause which uses the

phrase “arising under or in connection with this [Partnership] Agreement,” is “broad [and] capable of

expansive reach” to include statutory claims). “Broad arbitration clauses are not limited to claims

which literally ‘arise under [a] contract,’ but rather embrace all disputes between the parties having

a significant relationship to the contract regardless of their label.” Id. at *4 (citing Nauru Phosphate

Royalties, Inc. v. Drago Daic Interests, Inc., 138 F.3d 160, 164–65 (5th Cir. 1998) (emphasis added)

(internal citations omitted).

         19.      In the Fifth Circuit, a “broadly construed arbitration provision may encompass claims

arising under a separate agreement.” See, e.g., Pers. Sec. & Safety Sys. Inc. v. Motorola Inc., 297 F.3d

388, 393–94 (5th Cir. 2002) (holding that an arbitration provision, which covered “any and all claims.

. . arising out of or relating to” an agreement, applied to claims arising under a separate agreement);

see also Neal v. Hardee’s Food Sys., Inc., 918 F.2d 34, 38 (5th Cir. 1990) (holding that an arbitration

provision encompassing “any and all disputes between [the parties] . . . reach[ed] all aspects of the

parties’ relationship,” including claims arising under a separate agreement); see also I.D.E.A. Corp.

v. WC & R Ints., Inc., 545 F. Supp. 2d 600, 606 (W.D. Tex. 2008) (noting a broad arbitration provision


that only the phrase “arising under” indicates a narrow arbitration clause, rather than broad. This Court has
held:

         upon reviewing the above referenced Fifth Circuit cases, the court concludes that the phrase
         “arising out of” and similar language constitute “broad” arbitration clauses. Accord Morphis
         v. Federal Home Loan Mortgage Corp., No. 3:02–CV–0210–P, 2002 WL 1461930, *3–4
         (N.D.Tex. July 3, 2002) (provision that “any and all disputes between [the parties],” with no
         limiting clause constituted a broad clause). On the other hand, the phrase “arising under”
         indicates a “narrow” arbitration clause. See Mediterranean Enterprises, Inc. v. Ssangyong
         Corp., 708 F.2d 1458, 1464 (9th Cir.1983) (the term “arising under” is relatively narrow)
         (citation omitted).

Buell Door Co., 2002 WL 1968223, at *6. Here, the “arising from” language of the Arbitration Provision is
similar to “arising of out” and is therefore broad.
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may encompass claims arising under a separate agreement). Accordingly, the Arbitration Provision

covers the claims regardless if the arise under the LPA or the separate Notes because the authority to

enter into the Notes arises from the LPA which reaches all aspects of the parties’ relationship.

         20.      Here, the LPA choice of law provision, Section 6.1, provides the “Agreement shall be

construed in accordance with and governed by the laws of the state of Delaware. . . .” As a result,

Delaware state contract law determines whether the LPA includes a valid agreement to arbitrate.

Delaware arbitration law mirrors federal law in that “public policy of Delaware favors arbitration.”

James & Jackson, LLC v. Willie Gary, LLC, 906 A.2d 76, 79 (Del. 2006) (citations omitted). Even

Debtor’s rejection of the LPA does not absolve Debtor of its obligation to arbitrate. It is well

established that the “rejection of a contract, or even breach of it, will not void an arbitration clause. .

. . Any different conclusion would allow a party to avoid arbitration at will simply by breaching [or

rejecting] the contract.” Madison Foods v. Fleming Cos., Inc. (In re Fleming Cos, Inc.), 325 B.R.

687, 693-94 (Bankr. D. Del. 2005) (citations omitted).

         21.      Moreover, any question about the scope of the arbitration agreement, including the

arbitrability of any particular claim, is for the arbitrator. Under the FAA, “parties can agree to

arbitrate ‘gateway’ questions of ‘arbitrability,’ such as whether the parties have agreed to arbitrate or

whether their agreement covers a particular controversy.” Rent-A-Center, West, Inc. v. Jackson, 561

U.S. 63, 68-69 (2010). “Just as the arbitrability of the merits of a dispute depends upon whether the

parties agreed to arbitrate that dispute. . . , so the question ‘who has the primary power to decide

arbitrability’ turns upon what the parties agreed about that matter.” First Options of Chi., Inc. v.

Kaplan, 514 U.S. 938, 943 (1995) (citations omitted). The Fifth Circuit provides an in-depth

explanation of who decides what issues when a contract includes an arbitration provision. See Kubala

v. Supreme Production Services, Inc., 830 F.3d 199 (5th Cir. 2016).




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         22.      Incorporating rules from an arbitration service provider that themselves delegate the

question of arbitrability to the arbitrator clearly and unmistakably expresses the parties’ intent to leave

the question of arbitrability to the arbitrator. Petrofac, Inc. v. DynMcDermott Petroleum Operations

Co., 687 F.3d 671, 675 (5th Cir. 2012). Here, the Arbitration Provision provides that the “arbitration

will be conducted by the American Arbitration Association, or another mutually agreeable arbitration

service. A panel of three arbitrators will preside over the arbitration and will together deliberate,

decide and issue the final award.” The rules of the American Arbitration Association provide that the

arbitrator is to decide questions of arbitrability. AAA Commercial Arbitration Rule 7(a). Because

the parties’ arbitration delegates decision-making to the arbitrators, where the parties entered an

agreement to arbitrate, questions of scope and arbitrability should be left to the arbitrator.

         B.     The Claims Asserted In Counts V, VI, and VII Are Arbitrable Because they Are
                Non-Core and Arise Under the LPA.

         23.      Under the LPA, the Court must compel arbitration on Counts V, VI, and VII of the

Amended Complaint, because all of the claims are non-core claims arising from the rights and

obligations under the LPA. Bankruptcy courts have no discretion to refuse to compel the arbitration

of non-core matters. See, e.g., Elite Precision Fabricators, Inc. v. Gen. Dynamics Land Sys., Inc.,

No. CV H-14-2086, 2015 WL 9302843, at *7 (S.D. Tex. Dec. 18, 2015) (citation omitted) (quoting

“it is generally accepted that a bankruptcy court has no discretion to refuse to compel the arbitration

of matters not involving ‘core’ bankruptcy proceedings”). More specifically, under Fifth Circuit

precedent, a bankruptcy court only has discretion to refuse to compel arbitration of an arbitrable claim

where: (1) “the proceeding derives exclusively from the provisions of the bankruptcy code;” and (2)

“arbitration of the proceeding would conflict with the purposes of [the bankruptcy code].” See Matter

of Nat’l Gypsum Co., 118 F.3d 1056, 1067 (5th Cir. 1997); see also Zimmerli v. Ocwen Loan

Servicing, LLC, 432 B.R. 238, 242 (Bankr. N.D. Tex. 2010). “Importantly, however, ‘a bankruptcy

court has no discretion to refuse to compel the arbitration of matters not involving ‘core’
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bankruptcy proceedings under 28 U.S.C. § 157(b).” In re Cain, 585 B.R. 127, 134–35 (Bankr. S.D.

Miss. 2018) (emphasis added) (citation omitted) (stating “it is generally accepted that a bankruptcy

court has no discretion to refuse to compel the arbitration of matters not involving ‘core’ bankruptcy

proceedings.”); In re Acis Cap. Mgmt., L.P., 600 B.R. at 560 (in the Acis case—unlike here—the

claims at issue were “an integral part of determining . . . proofs of claim,” resulting in the court

denying the motion to compel arbitration).

          24.     For claims that are “derivative of the pre-petition legal or equitable rights possessed

by a debtor” it is beyond dispute that “it is ‘universally accepted’ that such issues are arbitrable.” In

re Cain, 585 B.R. at 137 (citing Nat’l Gypsum Co., 118 F.3d at 1066, 1069). In other words, for non-

core proceedings, a court “must give effect to the terms of any applicable arbitration clauses.” In re

Daisytek, Inc., 323 B.R. 180, 188 (N.D. Tex. 2005).

          1.      The Court Lacks Discretion To Refuse To Compel Arbitration On Count V
                  Because Debtor’s Proposed Declaratory Relief Claim Is A Non-Core Claim
                  Arising From The LPA.

          25.     Debtor’s declaratory relief claim simply seeks declarations concerning the extent of

limited partner (including Dugaboy’s) authority under the LPA, including authority to enter into the

Alleged Agreement on behalf of the Partnership.17 This is a legal dispute arising from LPA, a pre-

petition contract, thus coming within the Arbitration Provision and governed by state contract law.

Courts generally agree that claims for declaratory judgment which could also exist outside of

bankruptcy are non-core proceedings.18 See, e.g., In re OCA, Inc., 410 B.R. 443, 450 (E.D. La.


17
     See Amended Complaint [Adv. No. 21-03003, Dkt. No. 79 at ¶¶ 69–72].
18
   See also In re Temecula Valley Bancorp, Inc., 523 B.R. 210, 222–23 (C.D. Cal. 2014)(“That court found a trustee’s
claim for declaratory relief as to the ownership of similar tax refunds non-core because it was a “dispute between private
parties” and arose out of a pre-bankruptcy tax sharing agreement governed by state contract law); see also In re SFD @
Hollywood, LLC, 414 B.R. 794, 797 (Bankr. S.D. Fla. 2009)(“This proceeding [for declaratory judgment] could also exist
outside of bankruptcy. Accordingly, this is a non-core proceeding in which the Court cannot enter a final order, absent
consent of the district court and the parties.”); see also Sunterra Corp. v. Perini Bldg. Co., No. 204CV00784MCEEFB,
2008 WL 11512082, at *4 (E.D. Cal. June 12, 2008)(“The new causes of action--strict liability, negligence, breach of
contract, professional negligence, and declaratory relief--would also exist independently of bankruptcy laws and are
similarly “non-core” proceedings.”).
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2007)(“That the doctors’ claims are for breach of contract, breach of fiduciary duty and declaratory

relief, and are entirely based on state law, supports a finding that they are noncore claims.”)

         26.      Therefore, the Court lacks discretion to refuse to compel arbitration on Count V

asserting Declaratory Relief pursuant to 11 U.S.C. § 105(a) and Fed. R. Bankr. P. 7001 against

Dugaboy. Webb v. Investacorp, Inc., 89 F.3d 252, 260 (5th Cir. 1996) (district court did not abuse

discretion in refusing to consider plaintiffs’ request for declaratory relief where order granting

defendant’s motion to compel arbitration disposed of same issues raised in declaratory judgment

action); see also Austin Cap. Mgmt., Ltd. v. Bd. of Trustees of Texas Iron Workers’ Pension Fund,

No. A-09-CA-351 LY, 2009 WL 10699390, at *8 (W.D. Tex. July 30, 2009) (finding action seeking

declaratory relief arbitrable); see also Info. Sys. Audit & Control Ass’n, Inc. v. TeleCommunication

Sys., Inc., No. 17 C 2066, 2017 WL 2720433, at *4 (N.D. Ill. June 23, 2017) (stating that permitting

a party to obtain declaratory relief from a court when there is a valid arbitration agreement is

“essentially the same relief as that otherwise reserved for the arbitrator. It would make little sense to

include such an expansive loophole in what is otherwise a sweeping arbitration provision.”).

         2.       The Court Lacks Discretion To Refuse To Compel Arbitration On Count VI And
                  VII Because Debtor’s Proposed Claims Asserting Breach Of Fiduciary Duty And
                  Aiding And Abetting Breach Of Fiduciary Duty Are Non-Core Claims Arising
                  From The LPA.

         27.      Count VI asserting Breach of Fiduciary Duty against Dugaboy and Count VII Aiding

and Abetting a Breach of Fiduciary Duty against Mr. Dondero and Nancy Dondero for entering into

the Alleged Agreement, must be arbitrated because they are non-core claims that arise under the LPA.

It is well established that state law claims, such as breach of fiduciary duty and aiding and abetting

breach of fiduciary duty, are non-core claims. See, e.g., In re Dune Energy, Inc., 575 B.R. 716, 729

(Bankr. W.D. Tex. 2017) (“Courts within the Fifth Circuit have consistently found that post-

confirmation suits by plan trustees based on state law claims are only within the ‘related to’ (and not

‘core’) bankruptcy jurisdiction of a federal court.”); see also Brickley for CryptoMetrics, Inc.
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Creditors’ Tr. v. ScanTech Identification Beams Sys., LLC, 566 B.R. 815, 829–30 (W.D. Tex. 2017)

(stating post-confirmation claims for breach of fiduciary duty and state law claims are “related to”

claims); see also Mirant Corp. v. The S. Co., 337 B.R. 107, 120 (N.D. Tex. 2006).

         28.      The breach of fiduciary duty claims under Count VI and aiding and abetting breach of

fiduciary duty under Count VII are—and by their own terms—premised on Dugaboy’s authority to

bind the Debtor under the LPA.19 The Debtor challenges whether the LPA affords the right to

Dugaboy to approve such compensation, thus, any evaluation of the breach of fiduciary duty-related

claims must first entail an analysis of the LPA, making construction of the LPA – the agreement

containing the arbitration clause, a predicate to the analysis of the breach of fiduciary duty claims.

Thus, Counts VI and VII involve unresolved legal disputes between the parties—including the Debtor

and    Mr.     Dondero,       Nancy   Dondero,   and     Dugaboy,     who    are    all   parties   and/or

officers/directors/partners/employees/agents/affiliates/representatives of a General or Limited

Partner—concerning legal duties to the Partnership that would not exist outside of the LPA.

         29.      The Fifth Circuit makes clear that where, as here, the breach of fiduciary duty (or

aiding and abetting fiduciary duty) claim is interwoven with the partnership agreement containing an

arbitration clause, the fiduciary claims will be subject to arbitration. See Coffman v. Provost *

Umphrey Law Firm, L.L.P., 161 F. Supp. 2d 720, 732 (E.D. Tex. 2001), aff’d sub nom. Coffman v.

Provost Umphrey LLP, 33 Fed. Appx. 705 (5th Cir. 2002) (“Even if it is conceivable that Plaintiff

could maintain a claim for breach of fiduciary duty without the Partnership Agreements, that alone is

not sufficient grounds for concluding that the claim is not within the scope of the arbitration clause .



19
  See Amended Complaint [Adv. No. 21-03003, Dkt. No. 79 at ¶ 75] (“If Dugaboy had the authority to enter
into the Alleged Agreement on behalf of the Debtor, then Dugaboy breached its fiduciary duty of care to the
Debtor by entering into and authorizing the purported Alleged Agreement on behalf of the Debtor.”); id. ¶¶
78–79 (the Donderos “were aware that Dugaboy would have fiduciary duties to the Debtor if it acted to bind
the Debtor,” and the Donderos “aided and abetted Dugaboy’s breach of its fiduciary duties to the Debtor by
knowingly participating in the authorization of the purported Alleged Agreement.”)
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. . the Partnership Agreements will determine whether a fiduciary duty was breached—whether that

duty arises from the common law or from the contract itself. . . . For these reasons, the court finds

Plaintiff’s breach of fiduciary duty claim to be subject to arbitration.”); see also Omni Pinnacle, LLC

v. ECC Operating Services. Inc., 255 F. App’x 24, 25-26 (5th Cir. 2007) (internal quotation marks

omitted) (“A dispute arises out of or relates to a contract if the legal claim underlying the dispute

could not be maintained without reference to the contract.”).

         30.      Because breach of fiduciary duty and aiding and abetting breach of fiduciary duty are

non-core state-law claims that could exist outside of bankruptcy, the reviewing court lacks discretion

to refuse enforcement of an otherwise-applicable arbitration agreement as to these claims. See In re

McCollum, 621 B.R. 655, 659 (Bankr. N.D. Miss. 2020) (finding that breaching its fiduciary duty “is

a state law contract claim which arose prepetition, could exist outside the bankruptcy case, and is

tangential to the bankruptcy case. It does not invoke a substantive right created by bankruptcy law

and is a non-core claim.”); In re Gaughf, 19-50947-KMS, 2020 WL 1271595, at *4 (Bankr. S.D.

Miss. Mar. 12, 2020) (“Aiding and Abetting Count is non-core.”). Additionally, claims for breach of

fiduciary duty and aiding and abetting breach of fiduciary duty do not reference the Bankruptcy Code

or any right conferred by the Code. See In re McCollum, 621 B.R. at 659. Therefore, the Court lacks

discretion to refuse to compel arbitration on Count VI asserting Breach of Fiduciary Duty against

Dugaboy and Count VII Aiding and Abetting a Breach of Fiduciary Duty against Mr. Dondero and

Nancy Dondero.

         31.      That Nancy Dondero is not personally a party to the LPA does not impair her right to

enforce the arbitration agreement it contains. Debtor alleges misconduct by her and a signatory to the

LPA relating to fiduciary duties Debtor alleges arise out of the LPA. There are two circumstances

under which a nonsignatory can compel arbitration: (1) when the signatory to a written agreement

containing an arbitration clause must rely on the terms of the written agreement in asserting its claims

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against the nonsignatory; or (2) when the signatory to the contract containing an arbitration clause

raises allegations of substantially interdependent and concerted misconduct by both the nonsignatory

and one or more of the signatories to the contract. Westmoreland v. Sadoux, 299 F.3d 462, 467 (5th

Cir. 2002). Both circumstances are implicated by Debtor’s allegations against Nancy Dondero.

         32.      First, non-signatories are entitled to invoke an arbitration agreement when the claim

against the non-signatory arises from the contract with an arbitration provision. See, e.g., Bridas

S.A.P.I.C. v. Gov’t of Turkmenistan, 345 F.3d 347, 361 (5th Cir. 2003) (citing Grigson v. Creative

Artists Agency L.L.C., 210 F.3d 524, 528 (5th Cir. 2000))(“[The plaintiff] cannot, on the one hand,

seek to hold the nonsignatory liable pursuant to duties imposed by the agreement, which contains an

arbitration provision, but, on the other hand, deny arbitration’s applicability because the defendant is

a nonsignatory.”); see also Amegy Bank Nat. Ass’n v. Monarch Flight II, LLC, 870 F. Supp. 2d 441,

450–51 (S.D. Tex. 2012) (citing Grigson, 210 F.3d at 527). Because Debtor charges Nancy Dondero

with breaching fiduciary duties (and aiding and abetting breaches of such duties) that arise out of the

LPA, she falls precisely within the ambit of cases like Bridas, and Grigson and Amegy.

         33.      Second, when the signatory to the contract containing an arbitration clause raises

allegations of substantially interdependent and concerted misconduct by both the nonsignatory and

one or more of the signatories to the contract—here the allegations are made against Nancy Dondero

(a non-signatory) and Dugaboy (a signatory) to the LPA—the non-signatory may compel arbitration

on the claims. Hill v. G E Power Sys., Inc., 282 F.3d 343, 349 (5th Cir. 2002) (affirming that

“equitable estoppel applies when the signatory to a written agreement containing an arbitration clause

must rely on the terms of the written agreement in asserting its claims against the nonsignatory.”);

see also Grigson, 210 F.3d at 526 (“a non-signatory-to-an-arbitration-agreement-defendant can

nevertheless compel arbitration against a signatory-plaintiff”).




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C.       The Court Should Stay All Claims Pending Arbitration.

         34.      The claims that the Court refers to arbitration must be stayed pursuant to the Federal

Arbitration Act, 9 U.S.C. § 3. See In re Gandy, 299 F.3d 489, 494–95 (5th Cir. 2002) (citing

Shearson/American Express, Inc. v. McMahon, 482 U.S. 220, 226–27 (1987) (“A court must stay its

proceedings if it is satisfied that an issue before it is arbitrable under the agreement”). Further,

bankruptcy courts generally do not have discretion to decline to stay, pending arbitration, proceedings

involving non-core matters. Id. at 495. Accordingly, the Court should stay each of the Debtor’s

claims against Defendants pending arbitration.

         35.      Should the Court not refer arbitration on every claim, in the alterative, the Court should

stay the entire adversary proceeding pending arbitration. Permitting any claims to continue herein,

while some or all claims are subject to arbitration would be unnecessarily expensive and duplicative.

The Court has the inherent power to grant a discretionary stay of a proceeding pending arbitration

when there are issues common to the arbitration and the court proceeding and those issues may be

decided by the arbitrator. See Landis v. N. Am. Co., 299 U.S. 248, 254, 57 S. Ct. 163, 166 (1936)

(stating that the power to stay proceedings is incidental to power “inherent in every court to control

disposition of causes on its docket with economy of time and effort for itself, for counsel, and for

litigants.”); see also In re Divine Ripe, L.L.C., 538 B.R. 300, 309 (Bankr. S.D. Tex. 2015) (same).

                                          IV.     CONCLUSION

         WHEREFORE, for the reasons above, Defendants respectfully request that this Court compel

arbitration on Counts V, VI, and VII, and order a stay of the proceedings pending arbitration.




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                                 CERTIFICATE OF SERVICE

      The undersigned hereby certifies that, on September 1, 2021, a true and correct copy of this
document was served via the Court’s CM/ECF system on counsel for the Plaintiff.


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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION
 In re:                                  §         Case No. 19-34054-SGJ-11
                                         §
 HIGHLAND CAPITAL MANAGEMENT, L.P., §              Chapter 11
                                         §
        Debtor.                          §
                                         §
 HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                         §
        Plaintiff.                       §
                                         §
 v.                                      §
                                         §        Adversary No.: 21-03005-sgj
 NEXPOINT ADVISORS, L.P., JAMES          §
 DONDERO, NANCY DONDERO, AND THE §
 DUGABOY INVESTMENT TRUST,               §
                                         §
        Defendants.                      §




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               MOTION TO COMPEL ARBITRATION AND STAY LITIGATION

         Defendants James D. Dondero, Nancy Dondero, and The Dugaboy Investment Trust

(“Dugaboy”) (the “Defendants”) move this Court for an order to stay this adversary proceeding and

refer the parties to arbitration, and in further support state the following:

                                   I.      STATEMENT OF FACTS

         1.       On December 24, 2015, Mr. Dondero, on behalf of Strand Advisors, Inc., and Nancy

Dondero, on behalf of Dugaboy, executed the Fourth Amended and Restated Agreement (the “LPA”)

of Limited Partnership of Highland Capital Management, L.P. (“HCM”).1 Section 6.14 of the LPA

provides for Mandatory Arbitration in the event of a legal dispute between the parties arising from

the agreement (“Arbitration Provision”). Section 6.14 specifically states:

         6.14. Mandatory Arbitration. In the event there is an unresolved legal dispute
         between the parties and/or any of their respective officers, directors, partners,
         employees, agents, affiliates or other representatives that involves legal rights or
         remedies arising from this Agreement, the parties agree to submit their dispute to
         binding arbitration under the authority of the Federal Arbitration Act; provided,
         however, that the Partnership or such applicable affiliate thereof may pursue a
         temporary restraining order and/or preliminary injunctive relief in connection with any
         confidentiality covenants or agreements binding on the other party, with related
         expedited discovery for the parties, in a court of law, and thereafter, require arbitration
         of all issues of final relief. The arbitration will be conducted by the American
         Arbitration Association, or another mutually agreeable arbitration service. A panel of
         three arbitrators will preside over the arbitration and will together deliberate, decide
         and issue the final award. The arbitrators shall be duly licensed to practice law in the
         state of Texas.

The Arbitration Provision specifically governs the discovery process for arbitration, the authority of

the arbitrators, and the costs of arbitration.2


1
  The Fourth Amended and Restated Agreement of Limited Partnership of Highland Capital Management, L.P.
Declaration of Michael P Aigen dated August 30, 2021 (“Aigen Dec.) at Ex. 1. The signatories to it are: (1)
General Partner, Strand Advisors, Inc., a Delaware corporation by James D. Dondero, President; (2) Limited
Partner, The Dugaboy Investment Trust by Nancy M. Dondero, its Trustee; (3) Limited Partner, The Mark and
Pamela Okada Family Trust- Exempt #1 by Lawrence Tonomura, its Trustee; (4) Limited Partner, The Mark
and Pamela Okada Family Trust- Exempt #2 by Lawrence Tonomura, its Trustee; (5) Limited Partner, Mark
K. Okada; and (6) Limited Partner, Hunter Mountain Investment Trust by John Honis, the President of Beacon
Mountain 1 LC, Administrator.
2
  See LPA Section 6.14, which states:
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         2.       In May 2017, NexPoint executed a promissory note in favor of the Debtor, as payee,

in the original amount of $30,746,812.33 (the “Note”). The authority to execute promissory note in

favor of the Debtor arises from Article 4 of the LPA because a General Partner has full authority to

conduct the business, which includes lending and borrowing money and executing promissory notes.

Article 4 states:

              In addition to the powers now or hereafter granted to a general partner of a limited
              partnership under applicable law or that are granted to the General Partner under
              any provision of this Agreement, the General Partner shall have full power and
              authority to do all things deemed necessary or desirable by it to conduct the
              business of the Partnership, including, without limitation:
              ....

              (ii) the performance of any and all acts necessary or appropriate to the operation
              of any business of the Partnership (including, without limitation. purchasing and
              selling any asset, any debt instruments, any equity interests, any commercial paper,
              any note receivables and any other obligations);
              ....

              (vi) the making of any expenditures, the borrowing of money, the guaranteeing of
              indebtedness and other liabilities, the issuance of evidences of indebtedness, and
              the incurrence of any obligations it deems necessary or advisable for the conduct
              of the activities of the Partnership, including, without limitation, the payment of
              compensation and reimbursement to the General Partner and its Affiliates pursuant
              to Section 3.1;
              ....

              (vii) the use of the assets of the Partnership (including, without limitation, cash on
              hand) for any Partnership purpose on any terms it sees fit, including, without
              limitation, the financing of operations of the Partnership, the lending of funds to
              other Persons, and the repayment of obligations.



         The discovery process shall be limited to the following: Each side shall be permitted no more
         than (i) two party depositions of six hours each, each deposition to be taken pursuant to the
         Texas Rules of Civil Procedure; (ii) one non-party deposition of six hours; (iii) twenty-five
         interrogatories; (iv) twenty-five requests for admissions; (v) ten request for production (in
         response, the producing party shall not be obligated to produce in excess of 5,000 total pages
         of documents, including electronic documents); and (vi) one request for disclosure pursuant
         to the Texas Rules of Civil Procedure. Any discovery not specifically provided for in this
         paragraph, whether to parties or non-parties, shall not be permitted. . . . . Each party shall bear
         its own attorney’s fees, costs and expenses, including any costs of experts, witnesses and /or
         travel, subject to a final arbitration award on who should bear costs and fees. The duty to
         arbitrate described above shall survive the termination of this Agreement.
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          3.      In addition, the LPA provides authority for partners to lend money to their Affiliates.

Section 4(e) specifically provides:

               The General Partner or any Affiliate of the General Partner may lend to the
               Partnership funds needed by the Partnership for such periods of time as the General
               Partner may determine: provided, however, the General Partner or its Affiliate may
               not charge the Partnership interest at a rate greater than the rate (including points
               or other financing charges or fees) that would be charged the Partnership (without
               reference to the General Partner’s financial abilities or guaranties) by unrelated
               lenders on comparable loans. The Partnership shall reimburse the General Partner
               or its Affiliate, as the case may be, for any costs incurred by the General Partner
               or that Affiliate in connection with the borrowing of funds obtained by the General
               Partner or that Affiliate and loaned to the Partnership. The Partnership may loan
               funds to the General Partner and any member of the Founding Partner Group at the
               General Partner’s sole and exclusive discretion.

In addition, Section 3.9(f) of the LPA allows for the partnership to make tax loans to the Founding
Partners:

               The Partnership shall, upon request of such Founding Partner, make distributions
               to the Founding Partners (or loans, at the election of the General Partner) in an
               amount necessary for each of them to pay their respective federal income tax
               obligations incurred through the effective date of the Third Amended and Restated
               Agreement of Limited Partnership of Highland Capital Management, L.P., the
               predecessor to this Agreement.

          4.      Debtor demanded payment on the Note and subsequently filed an adversary

proceedings seeking collection, described further below. One of the affirmative defenses asserted in

the adversary proceedings is that Debtor is not entitled to demand payment because, prior to the

demands for payment, HCM had agreed that it would not collect the Note, and that they would be

treated as compensation to the Debtor’s founder and then-CEO Jim Dondero, if any of certain

conditions subsequent were met.3 Debtor refers to the agreement as the “Alleged Agreement.” The

condition subsequent was the sale of any of HCM’s interests in certain portfolio companies

(Cornerstone, Trussway and/or MGM) for a greater amount than their cost.4




3
    See Defendant NexPoint’s First Amended Answer [Ad. No. 21-03005, Dkt. No. 50 at 6 ¶ 42].
4
    Aigen Dec. Ex. 2, May 28, 2021 Remote Deposition of James Dondero Transcript at 212:18-25; 213:1-17.
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         5.       Under Section 4.1(k) of the LPA, the “salaries or other compensation, if any, of the

officers and agents of the Partnership [were to] be fixed from time to time by the General Partner.”

Additionally, under the LPA, Dugaboy had explicit authorization to approve compensation for Jim

Dondero and entities he was affiliated with, and thus bind the Partnership through, LPA in § 3.10(a),

which provides in pertinent part:

              (a) Compensation. The General Partner and any Affiliate of the General Partner
              shall receive no compensation from the Partnership for services rendered pursuant
              to this Agreement or any other agreements unless approved by a Majority Interest;
              LPA § 3.10(a) (emphasis added).

The LPA defines relevant actors in the Compensation provision as follows:

              “‘Majority Interest’ means the owners of more than fifty percent (50%) of the
              Percentage Interests of Class A Limited Partners.” LPA § 2.1, p.4.

              “‘Class A Limited Partners’ means those Partners holding a Class A Limited
              Partnership Interest, as shown on Exhibit A.” LPA § 2.1, p.2.5

              The Class A shareholders included Strand Advisors, The Dugaboy Investment
              Trust, Mark K. Okada, The Mark and Pamela Okada Family Trust – Exempt Trust
              #1, and The Mark and Pamela Okada Family Trust – Exempt Trust #2.6 Dugaboy
              alone comprised 75% of the Class A shareholders,7

              Nancy Dondero was the Family Trustee of the Dugaboy Trust,8 and had the power
              to act for Dugaboy in this regard.9

After the Note was entered into, Mr. Dondero asked Dugaboy (via Ms. Dondero) to approve an

agreement that the Note would be forgiven as compensation to Mr. Dondero upon the favorable sale

of any or all of the portfolio company interests by HCM, and she did.10




5
  Aigen Dec. Ex. 1, LPA at Exhibit A thereof). Exhibit A reflects “The Dugaboy Investment Trust” as a Class
A Limited Partner owning 74.4426% of the Class A Limited Partnership Interests.
6
  Aigen Dec. Ex. 1, LPA at Exhibit A thereof.
7
  See id.
8
   Aigen Dec. Ex. 3, Acceptance of Appointment of Family Trustee, executed by Nancy Marie Dondero on
October 13, 2015.
9
   Aigen Dec. Ex. 4, Trust Agreement Between Dana Scott Breault, Settlor and James D. Dondero and
Commonwealth Trust Company, Trustees The Dugaboy Investment, entered November 15, 2010 at Article 5.2.
10
   Aigen Dec Ex. 2, Remote Deposition of James Dondero Transcript at 176-178.
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          The General Partner entitled to compensation here is Strand Advisors, Inc. The LPA Preamble

states in pertinent part:

          “This [LPA] is entered…by and among Strand Advisors, Inc., a Delaware Corporation
          (“Strand”), as General Partner, the Limited Partners party hereto, and any Person
          hereinafter admitted as a Limited Partner. LPA Preamble, p.1.

The LPA goes on to articulate Affiliates (of Strand):

          “‘Affiliate’ means any Person that directly or indirectly controls, is controlled by, or
          is under common control with the Person in question. As used in this definition, the
          term ‘control’ means the possession, directly or indirectly, of the power to direct or
          cause the direction of the management and policies of a Person, whether through
          ownership of voting securities, by contract or otherwise.” LPA § 2.1, p.2.

          “‘Person’ means an individual or a corporation, partnership, trust, estate,
          unincorporated organization, association, or other entity.” LPA § 2.1, p.5.

It is undisputed that Mr. Dondero was an Affiliate of Strand under the LPA’s definition. Thus, Mr.

Dondero was entitled to compensation approved by Dugaboy pursuant to the LPA.

          6.      On January 22, 2021, Highland Capital Management, L.P. (“Debtor” or “Plaintiff”

when describing post-petition actions and HCM when describing pre-petition actions) commenced

Adversary Proceeding No. 21-03005 against NexPoint, asserting a state law, non-core breach of

contract claim (“Count I”) and an entirely dependent turnover claim under 11 U.S.C. § 542(b) for the

amounts allegedly owed on the Note (“Count II”).

          7.      NexPoint answered the adversary complaint, asserting, inter alia, that Debtor’s claims

should be barred, because prior to the demand for payment HCM agreed it would not collect on the

Note upon fulfillment of conditions subsequent,11 based upon what the Debtor refers to as the

“Alleged Agreement.”

          8.      On August 23, 2021, the Court entered an order permitting Debtor to file its Amended

Complaint for (I) Breach of Contract, (II) Turnover of Property, (III) Fraudulent Transfer, and (IV)



11
     Defendant NexPoint’s First Amended Answer [Ad. No. 21-03005, Dkt. No. 50 6 ¶ 42].
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Breach of Fiduciary Duty (“Amended Complaint”) asserting additional claims for relief including:

Avoidance and Recovery of Actual Fraudulent Transfer Under 11 U.S.C. §§ 548(a)(1)(A) and 550

against Mr. Dondero (“Count III”); Avoidance and Recovery of Actual Fraudulent Transfer Under

11 U.S.C. § 544(b) and 550, and Tex. Bus. & C. Code § 24.005(a)(1) against Mr. Dondero (“Count

IV”); Declaratory Relief pursuant to 11 U.S.C. § 105(a) and Fed. R. Bankr. P. 7001 against Dugaboy

(“Count V”); Breach of Fiduciary Duty against Dugaboy (“Count VI”); and Aiding and Abetting a

Breach of Fiduciary Duty against Mr. Dondero and Nancy Dondero (“Count VII”). Debtor seeks

avoidance of the Alleged Agreement, declaratory relief, and damages. The Parties agreed that the

Defendants would answer or otherwise move against the Amended Complaints on or before

September 1, 2021.12 The new claims, under Counts V, VI, and VII are non-core contract claims that

arise from the LPA, containing a broad arbitration provision. Further, Defendants have critical

affirmative defenses for the claims for declaratory relief, breach of fiduciary, and aiding and abetting

breach of fiduciary duty, that are rooted in non-core state contract law that also arise from the LPA.

         9.       Although Debtor alleges that it “believes that the Alleged Agreement is a fiction

created after the commencement of this Adversary Proceeding for the purpose of avoiding or at least

delaying paying the obligations due under the Note,”13 there is no doubt that adjudication of the

existence and enforceability of the Alleged Agreement affects all of Debtor’s claims under Counts V,

VI, and VII for declaratory relief, breach of fiduciary duty and breach of fiduciary duty. These claims

pertain to loans made by the Debtor to its Affiliates and compensation for the Debtor’s CEO, all of

which are governed by the LPA.14



12
   See Stipulation and Agreed Order Governing Discovery and Other Pre-Trial Issues attached as Exhibit C to
Debtor’s Unopposed Motion for Leave to Serve and File Amended Complaint [Adv. No. 21-03005, Dkt. No.
55-2 at Exhibit C] stipulating to August 30, 2021 which has been extended to September 1, 2021 by the parties
via email communication.
13
   Amended Complaint [Adv. No. 21-03005, Dkt. No. 63 at ¶ 3].
14
   See generally Aigen Dec. Ex. 1, LPA Article 4 and Section 3.10.
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         10.      Defendants request the Court order the parties to arbitration on Counts V, VI, and VII,

as provided by the pre-petition LPA entered into by the parties, and stay the adversary proceeding

pending arbitration.

                                   II.    STANDARD OF REVIEW

         11.      When deciding whether to grant a motion to compel arbitration, the Fifth Circuit has

established a two-step analysis for determining whether parties must arbitrate a particular claim or set

of claims under the FAA: (A) there must be an enforceable agreement to arbitrate; and (B) the claims

must be arbitrable. See Sherer v. Green Tree Serv., LLC, 548 F.3d 379, 381 (5th Cir. 2008) (citations

omitted) (stating “First we must ask if the party has agreed to arbitrate the dispute. . . If so, we then

ask if any federal statute or policy renders the claims non-arbitrable.”); Venture Cotton Coop. v.

Freeman, 435 S.W.3d 222, 227 (Tex. 2014) (“A party seeking to compel arbitration must establish

the existence of a valid arbitration agreement and that the claims at issue fall within the scope of that

agreement.”). Once a party seeking to compel arbitration establishes the asserted claims fall within

a valid arbitration agreement, the burden shifts, and the party seeking to avoid arbitration must prove

an affirmative defense to the provision’s enforcement, such as waiver. Venture Cotton Coop., 435

S.W.3d at 227.

         12.      In applying the first portion of the two-step analysis, state contract law determines

whether parties entered into a valid agreement to arbitrate a set of claims. See, e.g., Fleetwood

Enterprises, Inc. v. Gaskamp, 280 F.3d 1069 (5th Cir. 2002) (“This determination is generally made

on the basis of ‘ordinary state-law principles that govern the formation of contracts.’” (citing First

Options of Chicago, Inc. v. Kaplan, 514 U.S. 938, 944 (1995)). The second part of determining

whether the parties have agreed to arbitrate—the question of whether the dispute comes within the

scope of the agreement—”is answered by applying the federal substantive law of arbitrability.”

Graves v. BP Am., Inc., 568 F.3d 221, 222-23 (5th Cir. 2009) (citations omitted).

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         13.      Under both Texas and Federal law, “[A]ny doubts concerning the scope of arbitrable

issues should be resolved in favor of arbitration, whether the problem at hand is the construction of

the contract language itself or an allegation of waiver, delay, or a like defense to arbitrability.” Moses

H. Cone Mem’l Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 24–25, (1983); see also Henry v. Cash

Biz, LP, 551 S.W.3d 111, 115 (Tex. 2018) (quoting In re Serv. Corp. Intern., 85 S.W.3d 171, 174

(Tex. 2002). In addition, the Supreme Court has declared that the Federal Arbitration Act, “is a strong

congressional declaration of a liberal policy favoring arbitration.” See, e.g., Elkjer v. Scheef & Stone,

L.L.P., 8 F. Supp. 3d 845, 849 (N.D. Tex. 2014) (collecting cases) (“if a valid agreement to arbitrate

does exist, the court must observe the strong federal policy favoring arbitration and resolve all

ambiguities in favor of arbitration.”).

                                             III.    ARGUMENT

         14.      This Court should compel arbitration as to Counts V, VI, and VII of the Amended

Adversary Complaint because: (1) The claims under Counts V, VI, and VII comprise disputes

involving legal rights or remedies arising from the LPA and are governed by an enforceable, and

broadly worded, arbitration provision; (2) Counts V, VI, and VII assert noncore claims, and in the

Fifth Circuit courts do not have discretion to refuse to compel the arbitration of matters not involving

“core” bankruptcy proceedings and should compel arbitration of even core claims if they are not

integral to the bankruptcy; and (3) federal and state policy strongly favors arbitration.

         15.      The Federal Arbitration Act (“FAA”) requires district courts to direct parties to

arbitrate issues covered by a valid arbitration agreement. 9 U.S.C. §§ 3, 4; see also Dean Witter

Reynolds, Inc. v. Byrd, 470 U.S. 213, 218 (1985). “Federal policy strongly favors enforcing

arbitration agreements.” Dean Witter Reynolds, 470 U.S. at 217; Moses H. Cone Mem. Hosp, 460

U.S. at 24. When a party moves to compel arbitration, the FAA requires district courts to order

arbitration of arbitrable claims. Sedco, Inc. v. Petroleos Mexicanos Mexican Nat’l Oil Co. (In re

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Sedco, Inc.), 767 F.2d 1140, 1147 (5th Cir. 1985). Because of the strong presumption in favor of

arbitration, “a party seeking to invalidate an arbitration agreement bears the burden of establishing its

invalidity.” Vallejo v. Garda CL Sw., Inc., 948 F. Supp. 2d 720, 724–25 (S.D. Tex. 2013), aff’d, 559

F. App’x 417 (5th Cir. 2014) (citing Carter v. Countrywide Credit Indus., Inc., 362 F.3d 294, 297

(5th Cir. 2004)); see also Grant v. Houser, 469 Fed. Appx. 310, 315 (5th Cir. 2012) (noting the strong

presumption in favor of arbitration).

         16.      “[A]ny doubts concerning the scope of arbitrable issues should be resolved in favor of

arbitration, whether the problem at hand is the construction of the contract language itself or an

allegation of waiver, delay, or a like defense to arbitrability.” Moses H. Cone Mem’l Hosp., 460 U.S.

at 24–25; see also Henry, 551 S.W.3d at 115 (quoting In re Serv. Corp. Intern., 85 S.W.3d at 174).

The Fifth Circuit resolves doubts concerning the scope of matter covered by an arbitration provision

in favor of referring arbitration. The court states:

         We emphasize that our sole responsibility is to determine whether this dispute is
         governed by an arbitration clause, not to determine the merits of the dispute. See
         Snap–On Tools Corp., v. Mason, 18 F.3d 1261, 1267 (5th Cir.1994). “We resolve
         doubts concerning the scope of coverage of an arbitration clause in favor of arbitration.
         . . . [A]rbitration should not be denied ‘unless it can be said with positive assurance
         that an arbitration clause is not susceptible of an interpretation which would cover the
         dispute at issue.’” Neal, 918 F.2d at 37 (internal citations omitted). See also AT & T
         Technologies Inc. v. Communications Workers of America, 475 U.S. at 643, 650
         (1986).

Pennzoil Expl. & Prod. Co. v. Ramco Energy Ltd., 139 F.3d 1061, 1067 (5th Cir. 1998).

         A.       This Dispute is Governed by An Enforceable Arbitration Provision Reaching All
                  Legal Rights Arising From the LPA.

         17.      Debtor’s claims asserted in Counts V, VI, and VII arise under the LPA, which contains

an enforceable and broadly worded arbitration provision. The U.S. Bankruptcy Court for the Northern

District of Texas, Dallas Division, has already interpreted arbitration provisions with identical scope

language (and near-identical scope language) to the Arbitration Provision under the LPA, to be valid


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and binding. See In re Acis Cap. Mgmt., L.P., 600 B.R. 541, 549-50 (Bankr. N.D. Tex. 2019).15

Importantly, the court made clear that “it would seem to be beyond peradventure that [the arbitration

clause] was, at one time, enforceable between the parties, with regard to any disputes that arose

regarding the agreements.” Id. at 552 (emphasis added); see also id. at 557 (emphasis added)

(“there were valid arbitration agreements that applied to all disputes arising out of the [agreements

at issue].”). Accordingly, the court concluded that all claims at issue, including claims for declaratory

judgment, fell within the scope of the relevant arbitration clauses. See id. at 558.

         18.      The Arbitration Provision here also covers any “unresolved legal dispute between the

parties and/or any of their respective officers, directors, partners, employees, agents, affiliates or other

representatives that involves legal rights or remedies arising from this Agreement.” LPA, Section

6.14 (emphasis added). Such broad language is sufficient to reach collateral matters, including the

oral agreement between the parties which involves legal rights arising from LPA. 16 Buell Door Co.



15
        The Court’s decision provides the relevant arbitration clause language. The arbitration clause at
Section 16(f) of the Sub-Advisory Agreement states:

         [I]n the event there is an unresolved legal dispute between the parties and/or any of their respective
         officers, directors, partners, employees, agents, affiliates or other representatives that involves legal
         rights or remedies arising from this Agreement, the parties agree to submit their dispute to binding
         arbitration under the authority of the Federal Arbitration Act. . . .

In re Acis Cap. Mgmt., L.P., 600 B.R. at 550 (emphasis added).
16
   It is important to note that the particular language “arising from” is significant in determining that the
Arbitration Provision here is broad. The Fifth Circuit and Texas District Courts have specifically determined
that only the phrase “arising under” indicates a narrow arbitration clause, rather than broad. This Court has
held:

         upon reviewing the above referenced Fifth Circuit cases, the court concludes that the phrase
         “arising out of” and similar language constitute “broad” arbitration clauses. Accord Morphis
         v. Federal Home Loan Mortgage Corp., No. 3:02–CV–0210–P, 2002 WL 1461930, *3–4
         (N.D.Tex. July 3, 2002) (provision that “any and all disputes between [the parties],” with no
         limiting clause constituted a broad clause). On the other hand, the phrase “arising under”
         indicates a “narrow” arbitration clause. See Mediterranean Enterprises, Inc. v. Ssangyong
         Corp., 708 F.2d 1458, 1464 (9th Cir.1983) (the term “arising under” is relatively narrow)
         (citation omitted).

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v. Architectural Sys., Inc., No. 3:02-CV-721-AH, 2002 WL 1968223, at *6 (N.D. Tex. Aug. 20, 2002)

(concluding that the phrase “arising out of” and similar language constitute “broad” arbitration

clauses); see also Elkjer, 8 F. Supp. at 855 (concluding that the arbitration clause which uses the

phrase “arising under or in connection with this [Partnership] Agreement,” is “broad [and] capable of

expansive reach” to include statutory claims). “Broad arbitration clauses are not limited to claims

which literally ‘arise under [a] contract,’ but rather embrace all disputes between the parties having

a significant relationship to the contract regardless of their label.” Id. at *4 (citing Nauru Phosphate

Royalties, Inc. v. Drago Daic Interests, Inc., 138 F.3d 160, 164–65 (5th Cir. 1998) (emphasis added)

(internal citations omitted).

         19.      In the Fifth Circuit, a “broadly construed arbitration provision may encompass claims

arising under a separate agreement.” See, e.g., Pers. Sec. & Safety Sys. Inc. v. Motorola Inc., 297 F.3d

388, 393–94 (5th Cir. 2002) (holding that an arbitration provision, which covered “any and all claims.

. . arising out of or relating to” an agreement, applied to claims arising under a separate agreement);

see also Neal v. Hardee’s Food Sys., Inc., 918 F.2d 34, 38 (5th Cir. 1990) (holding that an arbitration

provision encompassing “any and all disputes between [the parties] . . . reach[ed] all aspects of the

parties’ relationship,” including claims arising under a separate agreement); see also I.D.E.A. Corp.

v. WC & R Ints., Inc., 545 F. Supp. 2d 600, 606 (W.D. Tex. 2008) (noting a broad arbitration provision

may encompass claims arising under a separate agreement). Accordingly, the Arbitration Provision

covers the claims regardless if the arise under the LPA or the separate Note because the authority to

enter into the Note arises from the LPA which reaches all aspects of the parties’ relationship.

         20.      Here, the LPA choice of law provision, Section 6.1, provides the “Agreement shall be

construed in accordance with and governed by the laws of the state of Delaware. . . .” As a result,



Buell Door Co., 2002 WL 1968223, at *6. Here, the “arising from” language of the Arbitration Provision is
similar to “arising of out” and is therefore broad.
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Delaware state contract law determines whether the LPA includes a valid agreement to arbitrate.

Delaware arbitration law mirrors federal law in that “public policy of Delaware favors arbitration.”

James & Jackson, LLC v. Willie Gary, LLC, 906 A.2d 76, 79 (Del. 2006) (citations omitted). Even

Debtor’s rejection of the LPA does not absolve Debtor of its obligation to arbitrate. It is well

established that the “rejection of a contract, or even breach of it, will not void an arbitration clause. .

. . Any different conclusion would allow a party to avoid arbitration at will simply by breaching [or

rejecting] the contract.” Madison Foods v. Fleming Cos., Inc. (In re Fleming Cos, Inc.), 325 B.R.

687, 693-94 (Bankr. D. Del. 2005) (citations omitted).

         21.      Moreover, any question about the scope of the arbitration agreement, including the

arbitrability of any particular claim, is for the arbitrator. Under the FAA, “parties can agree to

arbitrate ‘gateway’ questions of ‘arbitrability,’ such as whether the parties have agreed to arbitrate or

whether their agreement covers a particular controversy.” Rent-A-Center, West, Inc. v. Jackson, 561

U.S. 63, 68-69 (2010). “Just as the arbitrability of the merits of a dispute depends upon whether the

parties agreed to arbitrate that dispute. . . , so the question ‘who has the primary power to decide

arbitrability’ turns upon what the parties agreed about that matter.” First Options of Chi., Inc. v.

Kaplan, 514 U.S. 938, 943 (1995) (citations omitted). The Fifth Circuit provides an in-depth

explanation of who decides what issues when a contract includes an arbitration provision. See Kubala

v. Supreme Production Services, Inc., 830 F.3d 199 (5th Cir. 2016).

         22.      Incorporating rules from an arbitration service provider that themselves delegate the

question of arbitrability to the arbitrator clearly and unmistakably expresses the parties’ intent to leave

the question of arbitrability to the arbitrator. Petrofac, Inc. v. DynMcDermott Petroleum Operations

Co., 687 F.3d 671, 675 (5th Cir. 2012). Here, the Arbitration Provision provides that the “arbitration

will be conducted by the American Arbitration Association, or another mutually agreeable arbitration

service. A panel of three arbitrators will preside over the arbitration and will together deliberate,

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decide and issue the final award.” The rules of the American Arbitration Association provide that the

arbitrator is to decide questions of arbitrability. AAA Commercial Arbitration Rule 7(a). Because

the parties’ arbitration delegates decision-making to the arbitrators, where the parties entered an

agreement to arbitrate, questions of scope and arbitrability should be left to the arbitrator.

         B.     The Claims Asserted In Counts V, VI, and VII Are Arbitrable Because they Are
                Non-Core and Arise Under the LPA.

         23.      Under the LPA, the Court must compel arbitration on Counts V, VI, and VII of the

Amended Complaint, because all of the claims are non-core claims arising from the rights and

obligations under the LPA. Bankruptcy courts have no discretion to refuse to compel the arbitration

of non-core matters. See, e.g., Elite Precision Fabricators, Inc. v. Gen. Dynamics Land Sys., Inc.,

No. CV H-14-2086, 2015 WL 9302843, at *7 (S.D. Tex. Dec. 18, 2015) (citation omitted) (quoting

“it is generally accepted that a bankruptcy court has no discretion to refuse to compel the arbitration

of matters not involving ‘core’ bankruptcy proceedings”). More specifically, under Fifth Circuit

precedent, a bankruptcy court only has discretion to refuse to compel arbitration of an arbitrable claim

where: (1) “the proceeding derives exclusively from the provisions of the bankruptcy code;” and (2)

“arbitration of the proceeding would conflict with the purposes of [the bankruptcy code].” See Matter

of Nat’l Gypsum Co., 118 F.3d 1056, 1067 (5th Cir. 1997); see also Zimmerli v. Ocwen Loan

Servicing, LLC, 432 B.R. 238, 242 (Bankr. N.D. Tex. 2010). “Importantly, however, ‘a bankruptcy

court has no discretion to refuse to compel the arbitration of matters not involving ‘core’

bankruptcy proceedings under 28 U.S.C. § 157(b).” In re Cain, 585 B.R. 127, 134–35 (Bankr. S.D.

Miss. 2018) (emphasis added) (citation omitted) (stating “it is generally accepted that a bankruptcy

court has no discretion to refuse to compel the arbitration of matters not involving ‘core’ bankruptcy

proceedings.”); In re Acis Cap. Mgmt., L.P., 600 B.R. at 560 (in the Acis case—unlike here—the

claims at issue were “an integral part of determining . . . proofs of claim,” resulting in the court

denying the motion to compel arbitration).
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         24.      For claims that are “derivative of the pre-petition legal or equitable rights possessed

by a debtor” it is beyond dispute that “it is ‘universally accepted’ that such issues are arbitrable.” In

re Cain, 585 B.R. at 137 (citing Nat’l Gypsum Co., 118 F.3d at 1066, 1069). In other words, for non-

core proceedings, a court “must give effect to the terms of any applicable arbitration clauses.” In re

Daisytek, Inc., 323 B.R. 180, 188 (N.D. Tex. 2005).

         1.       The Court Lacks Discretion To Refuse To Compel Arbitration On Count V
                  Because Debtor’s Proposed Declaratory Relief Claim Is A Non-Core Claim
                  Arising From The LPA.

         25.      Debtor’s declaratory relief claim simply seeks declarations concerning the extent of

limited partner (including Dugaboy’s) authority under the LPA, including authority to enter into the

Alleged Agreement on behalf of the Partnership.17 This is a legal dispute arising from LPA, a pre-

petition contract, thus coming within the Arbitration Provision and governed by state contract law.

Courts generally agree that claims for declaratory judgment which could also exist outside of

bankruptcy are non-core proceedings.18 See, e.g., In re OCA, Inc., 410 B.R. 443, 450 (E.D. La.

2007)(“That the doctors’ claims are for breach of contract, breach of fiduciary duty and declaratory

relief, and are entirely based on state law, supports a finding that they are noncore claims.”)

         26.      Therefore, the Court lacks discretion to refuse to compel arbitration on Count V

asserting Declaratory Relief pursuant to 11 U.S.C. § 105(a) and Fed. R. Bankr. P. 7001 against

Dugaboy. Webb v. Investacorp, Inc., 89 F.3d 252, 260 (5th Cir. 1996) (district court did not abuse



17
   See Amended Complaint [Adv. No. 21-03005, Dkt. No. 63 at ¶¶ 67-70].
18
   See also In re Temecula Valley Bancorp, Inc., 523 B.R. 210, 222–23 (C.D. Cal. 2014)(“That court found a
trustee’s claim for declaratory relief as to the ownership of similar tax refunds non-core because it was a
“dispute between private parties” and arose out of a pre-bankruptcy tax sharing agreement governed by state
contract law); see also In re SFD @ Hollywood, LLC, 414 B.R. 794, 797 (Bankr. S.D. Fla. 2009)(“This
proceeding [for declaratory judgment] could also exist outside of bankruptcy. Accordingly, this is a non-core
proceeding in which the Court cannot enter a final order, absent consent of the district court and the parties.”);
see also Sunterra Corp. v. Perini Bldg. Co., No. 204CV00784MCEEFB, 2008 WL 11512082, at *4 (E.D. Cal.
June 12, 2008)(“The new causes of action--strict liability, negligence, breach of contract, professional
negligence, and declaratory relief--would also exist independently of bankruptcy laws and are similarly “non-
core” proceedings.”).
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discretion in refusing to consider plaintiffs’ request for declaratory relief where order granting

defendant’s motion to compel arbitration disposed of same issues raised in declaratory judgment

action); see also Austin Cap. Mgmt., Ltd. v. Bd. of Trustees of Texas Iron Workers’ Pension Fund,

No. A-09-CA-351 LY, 2009 WL 10699390, at *8 (W.D. Tex. July 30, 2009) (finding action seeking

declaratory relief arbitrable); see also Info. Sys. Audit & Control Ass’n, Inc. v. TeleCommunication

Sys., Inc., No. 17 C 2066, 2017 WL 2720433, at *4 (N.D. Ill. June 23, 2017) (stating that permitting

a party to obtain declaratory relief from a court when there is a valid arbitration agreement is

“essentially the same relief as that otherwise reserved for the arbitrator. It would make little sense to

include such an expansive loophole in what is otherwise a sweeping arbitration provision.”).

         2.       The Court Lacks Discretion To Refuse To Compel Arbitration On Count VI And
                  VII Because Debtor’s Proposed Claims Asserting Breach Of Fiduciary Duty And
                  Aiding And Abetting Breach Of Fiduciary Duty Are Non-Core Claims Arising
                  From The LPA.

         27.      Count VI asserting Breach of Fiduciary Duty against Dugaboy and Count VII Aiding

and Abetting a Breach of Fiduciary Duty against Mr. Dondero and Nancy Dondero for entering into

the Alleged Agreement, must be arbitrated because they are non-core claims that arise under the LPA.

It is well established that state law claims, such as breach of fiduciary duty and aiding and abetting

breach of fiduciary duty, are non-core claims. See, e.g., In re Dune Energy, Inc., 575 B.R. 716, 729

(Bankr. W.D. Tex. 2017) (“Courts within the Fifth Circuit have consistently found that post-

confirmation suits by plan trustees based on state law claims are only within the ‘related to’ (and not

‘core’) bankruptcy jurisdiction of a federal court.”); see also Brickley for CryptoMetrics, Inc.

Creditors’ Tr. v. ScanTech Identification Beams Sys., LLC, 566 B.R. 815, 829–30 (W.D. Tex. 2017)

(stating post-confirmation claims for breach of fiduciary duty and state law claims are “related to”

claims); see also Mirant Corp. v. The S. Co., 337 B.R. 107, 120 (N.D. Tex. 2006).

         28.      The breach of fiduciary duty claims under Count VI and aiding and abetting breach of

fiduciary duty under Count VII are—and by their own terms—premised on Dugaboy’s authority to
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bind the Debtor under the LPA.19 The Debtor challenges whether the LPA affords the right to

Dugaboy to approve such compensation, thus, any evaluation of the breach of fiduciary duty-related

claims must first entail an analysis of the LPA, making construction of the LPA – the agreement

containing the arbitration clause, a predicate to the analysis of the breach of fiduciary duty claims.

Thus, Counts VI and VII involve unresolved legal disputes between the parties—including the Debtor

and    Mr.     Dondero,       Nancy   Dondero,   and     Dugaboy,     who    are    all   parties   and/or

officers/directors/partners/employees/agents/affiliates/representatives of a General or Limited

Partner—concerning legal duties to the Partnership that would not exist outside of the LPA.

         29.      The Fifth Circuit makes clear that where, as here, the breach of fiduciary duty (or

aiding and abetting fiduciary duty) claim is interwoven with the partnership agreement containing an

arbitration clause, the fiduciary claims will be subject to arbitration. See Coffman v. Provost *

Umphrey Law Firm, L.L.P., 161 F. Supp. 2d 720, 732 (E.D. Tex. 2001), aff’d sub nom. Coffman v.

Provost Umphrey LLP, 33 Fed. Appx. 705 (5th Cir. 2002) (“Even if it is conceivable that Plaintiff

could maintain a claim for breach of fiduciary duty without the Partnership Agreements, that alone is

not sufficient grounds for concluding that the claim is not within the scope of the arbitration clause .

. . the Partnership Agreements will determine whether a fiduciary duty was breached—whether that

duty arises from the common law or from the contract itself. . . . For these reasons, the court finds

Plaintiff’s breach of fiduciary duty claim to be subject to arbitration.”); see also Omni Pinnacle, LLC

v. ECC Operating Services. Inc., 255 F. App’x 24, 25-26 (5th Cir. 2007) (internal quotation marks




19
  See Amended Complaint [Adv. No. 21-03005, Dkt. No. 63 at ¶ 73] (“If Dugaboy had the authority to enter
into the Alleged Agreement on behalf of the Debtor, then Dugaboy breached its fiduciary duty of care to the
Debtor by entering into and authorizing the purported Alleged Agreement on behalf of the Debtor.”); id. ¶¶
76–77 (the Donderos “were aware that Dugaboy would have fiduciary duties to the Debtor if it acted to bind
the Debtor,” and the Donderos “aided and abetted Dugaboy’s breach of its fiduciary duties to the Debtor by
knowingly participating in the authorization of the purported Alleged Agreement.”)
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omitted) (“A dispute arises out of or relates to a contract if the legal claim underlying the dispute

could not be maintained without reference to the contract.”).

         30.      Because breach of fiduciary duty and aiding and abetting breach of fiduciary duty are

non-core state-law claims that could exist outside of bankruptcy, the reviewing court lacks discretion

to refuse enforcement of an otherwise-applicable arbitration agreement as to these claims. See In re

McCollum, 621 B.R. 655, 659 (Bankr. N.D. Miss. 2020) (finding that breaching its fiduciary duty “is

a state law contract claim which arose prepetition, could exist outside the bankruptcy case, and is

tangential to the bankruptcy case. It does not invoke a substantive right created by bankruptcy law

and is a non-core claim.”); In re Gaughf, 19-50947-KMS, 2020 WL 1271595, at *4 (Bankr. S.D.

Miss. Mar. 12, 2020) (“Aiding and Abetting Count is non-core.”). Additionally, claims for breach of

fiduciary duty and aiding and abetting breach of fiduciary duty do not reference the Bankruptcy Code

or any right conferred by the Code. See In re McCollum, 621 B.R. at 659. Therefore, the Court lacks

discretion to refuse to compel arbitration on Count VI asserting Breach of Fiduciary Duty against

Dugaboy and Count VII Aiding and Abetting a Breach of Fiduciary Duty against Mr. Dondero and

Nancy Dondero.

         31.      That Nancy Dondero is not personally a party to the LPA does not impair her right to

enforce the arbitration agreement it contains. Debtor alleges misconduct by her and a signatory to the

LPA relating to fiduciary duties Debtor alleges arise out of the LPA. There are two circumstances

under which a nonsignatory can compel arbitration: (1) when the signatory to a written agreement

containing an arbitration clause must rely on the terms of the written agreement in asserting its claims

against the nonsignatory; or (2) when the signatory to the contract containing an arbitration clause

raises allegations of substantially interdependent and concerted misconduct by both the nonsignatory

and one or more of the signatories to the contract. Westmoreland v. Sadoux, 299 F.3d 462, 467 (5th

Cir. 2002). Both circumstances are implicated by Debtor’s allegations against Nancy Dondero.

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         32.      First, non-signatories are entitled to invoke an arbitration agreement when the claim

against the non-signatory arises from the contract with an arbitration provision. See, e.g., Bridas

S.A.P.I.C. v. Gov’t of Turkmenistan, 345 F.3d 347, 361 (5th Cir. 2003) (citing Grigson v. Creative

Artists Agency L.L.C., 210 F.3d 524, 528 (5th Cir. 2000))(“[The plaintiff] cannot, on the one hand,

seek to hold the nonsignatory liable pursuant to duties imposed by the agreement, which contains an

arbitration provision, but, on the other hand, deny arbitration’s applicability because the defendant is

a nonsignatory.”); see also Amegy Bank Nat. Ass’n v. Monarch Flight II, LLC, 870 F. Supp. 2d 441,

450–51 (S.D. Tex. 2012) (citing Grigson, 210 F.3d at 527). Because Debtor charges Nancy Dondero

with breaching fiduciary duties (and aiding and abetting breaches of such duties) that arise out of the

LPA, she falls precisely within the ambit of cases like Bridas, and Grigson and Amegy.

         33.      Second, when the signatory to the contract containing an arbitration clause raises

allegations of substantially interdependent and concerted misconduct by both the nonsignatory and

one or more of the signatories to the contract—here the allegations are made against Nancy Dondero

(a non-signatory) and Dugaboy (a signatory) to the LPA—the non-signatory may compel arbitration

on the claims. Hill v. G E Power Sys., Inc., 282 F.3d 343, 349 (5th Cir. 2002) (affirming that

“equitable estoppel applies when the signatory to a written agreement containing an arbitration clause

must rely on the terms of the written agreement in asserting its claims against the nonsignatory.”);

see also Grigson, 210 F.3d at 526 (“a non-signatory-to-an-arbitration-agreement-defendant can

nevertheless compel arbitration against a signatory-plaintiff”).

C.       The Court Should Stay All Claims Pending Arbitration.

         34.      The claims that the Court refers to arbitration must be stayed pursuant to the Federal

Arbitration Act, 9 U.S.C. § 3. See In re Gandy, 299 F.3d 489, 494–95 (5th Cir. 2002) (citing

Shearson/American Express, Inc. v. McMahon, 482 U.S. 220, 226–27 (1987) (“A court must stay its

proceedings if it is satisfied that an issue before it is arbitrable under the agreement”). Further,

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bankruptcy courts generally do not have discretion to decline to stay, pending arbitration, proceedings

involving non-core matters. Id. at 495. Accordingly, the Court should stay each of the Debtor’s

claims against Defendants pending arbitration.

         35.      Should the Court not refer arbitration on every claim, in the alterative, the Court should

stay the entire adversary proceeding pending arbitration. Permitting any claims to continue herein,

while some or all claims are subject to arbitration would be unnecessarily expensive and duplicative.

The Court has the inherent power to grant a discretionary stay of a proceeding pending arbitration

when there are issues common to the arbitration and the court proceeding and those issues may be

decided by the arbitrator. See Landis v. N. Am. Co., 299 U.S. 248, 254, 57 S. Ct. 163, 166 (1936)

(stating that the power to stay proceedings is incidental to power “inherent in every court to control

disposition of causes on its docket with economy of time and effort for itself, for counsel, and for

litigants.”); see also In re Divine Ripe, L.L.C., 538 B.R. 300, 309 (Bankr. S.D. Tex. 2015) (same).

                                          IV.     CONCLUSION

         WHEREFORE, for the reasons above, Defendants respectfully request that this Court compel

arbitration on Counts V, VI, and VII, and order a stay of the proceedings pending arbitration.




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Dated: September 1, 2021           Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

      The undersigned hereby certifies that, on September 1, 2021, a true and correct copy of this
document was served via the Court’s CM/ECF system on counsel for the Plaintiff.


                                                     /s/Deborah Deitsch-Perez
                                                     Deborah Deitsch-Perez




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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION
 In re:                                  §         Case No. 19-34054-SGJ-11
                                         §
 HIGHLAND CAPITAL MANAGEMENT, L.P., §              Chapter 11
                                         §
        Debtor.                          §
                                         §
 HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                         §
        Plaintiff.                       §
                                         §
 v.                                      §
                                         §        Adversary No.: 21-03006-sgj
 HIGHLAND CAPITAL MANAGEMENT             §
 SERVICES, INC., JAMES DONDERO,          §
 NANCY DONDERO, AND THE DUGABOY          §
 INVESTMENT TRUST,                       §
                                         §
        Defendants.                      §




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               MOTION TO COMPEL ARBITRATION AND STAY LITIGATION

         Defendants James D. Dondero, Nancy Dondero, and The Dugaboy Investment Trust

(“Dugaboy”) (the “Defendants”) move this Court for an order to stay this adversary proceeding and

refer the parties to arbitration, and in further support state the following:

                                   I.      STATEMENT OF FACTS

         1.       On December 24, 2015, Mr. Dondero, on behalf of Strand Advisors, Inc., and Nancy

Dondero, on behalf of Dugaboy, executed the Fourth Amended and Restated Agreement (the “LPA”)

of Limited Partnership of Highland Capital Management, L.P. (“HCM”).1 Section 6.14 of the LPA

provides for Mandatory Arbitration in the event of a legal dispute between the parties arising from

the agreement (“Arbitration Provision”). Section 6.14 specifically states:

         6.14. Mandatory Arbitration. In the event there is an unresolved legal dispute
         between the parties and/or any of their respective officers, directors, partners,
         employees, agents, affiliates or other representatives that involves legal rights or
         remedies arising from this Agreement, the parties agree to submit their dispute to
         binding arbitration under the authority of the Federal Arbitration Act; provided,
         however, that the Partnership or such applicable affiliate thereof may pursue a
         temporary restraining order and/or preliminary injunctive relief in connection with any
         confidentiality covenants or agreements binding on the other party, with related
         expedited discovery for the parties, in a court of law, and thereafter, require arbitration
         of all issues of final relief. The arbitration will be conducted by the American
         Arbitration Association, or another mutually agreeable arbitration service. A panel of
         three arbitrators will preside over the arbitration and will together deliberate, decide
         and issue the final award. The arbitrators shall be duly licensed to practice law in the
         state of Texas.

The Arbitration Provision specifically governs the discovery process for arbitration, the authority of

the arbitrators, and the costs of arbitration.2


1
  The Fourth Amended and Restated Agreement of Limited Partnership of Highland Capital Management, L.P.
Declaration of Michael P Aigen dated August 30, 2021 (“Aigen Dec.) at Ex. 1. The signatories to it are: (1)
General Partner, Strand Advisors, Inc., a Delaware corporation by James D. Dondero, President; (2) Limited
Partner, The Dugaboy Investment Trust by Nancy M. Dondero, its Trustee; (3) Limited Partner, The Mark and
Pamela Okada Family Trust- Exempt #1 by Lawrence Tonomura, its Trustee; (4) Limited Partner, The Mark
and Pamela Okada Family Trust- Exempt #2 by Lawrence Tonomura, its Trustee; (5) Limited Partner, Mark
K. Okada; and (6) Limited Partner, Hunter Mountain Investment Trust by John Honis, the President of Beacon
Mountain 1 LC, Administrator.
2
  See LPA Section 6.14, which states:
                                                     1
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         2.       In 2018, HCMS executed a series of demand Notes in favor of the Debtor (the

“Notes”). The authority to execute promissory note in favor of the Debtor arises from Article 4 of

the LPA because a General Partner has full authority to conduct the business, which includes lending

and borrowing money and executing promissory notes. Article 4 states:

              In addition to the powers now or hereafter granted to a general partner of a limited
              partnership under applicable law or that are granted to the General Partner under
              any provision of this Agreement, the General Partner shall have full power and
              authority to do all things deemed necessary or desirable by it to conduct the
              business of the Partnership, including, without limitation:
              ....

              (ii) the performance of any and all acts necessary or appropriate to the operation
              of any business of the Partnership (including, without limitation. purchasing and
              selling any asset, any debt instruments, any equity interests, any commercial paper,
              any note receivables and any other obligations);
              ....

              (vi) the making of any expenditures, the borrowing of money, the guaranteeing of
              indebtedness and other liabilities, the issuance of evidences of indebtedness, and
              the incurrence of any obligations it deems necessary or advisable for the conduct
              of the activities of the Partnership, including, without limitation, the payment of
              compensation and reimbursement to the General Partner and its Affiliates pursuant
              to Section 3.1;
              ....

              (vii) the use of the assets of the Partnership (including, without limitation, cash on
              hand) for any Partnership purpose on any terms it sees fit, including, without
              limitation, the financing of operations of the Partnership, the lending of funds to
              other Persons, and the repayment of obligations.




         The discovery process shall be limited to the following: Each side shall be permitted no more
         than (i) two party depositions of six hours each, each deposition to be taken pursuant to the
         Texas Rules of Civil Procedure; (ii) one non-party deposition of six hours; (iii) twenty-five
         interrogatories; (iv) twenty-five requests for admissions; (v) ten request for production (in
         response, the producing party shall not be obligated to produce in excess of 5,000 total pages
         of documents, including electronic documents); and (vi) one request for disclosure pursuant
         to the Texas Rules of Civil Procedure. Any discovery not specifically provided for in this
         paragraph, whether to parties or non-parties, shall not be permitted. . . . . Each party shall bear
         its own attorney’s fees, costs and expenses, including any costs of experts, witnesses and /or
         travel, subject to a final arbitration award on who should bear costs and fees. The duty to
         arbitrate described above shall survive the termination of this Agreement.
                                                         2
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         3.       In addition, the LPA provides authority for partners to lend money to their Affiliates.

Section 4(e) specifically provides:

              The General Partner or any Affiliate of the General Partner may lend to the
              Partnership funds needed by the Partnership for such periods of time as the General
              Partner may determine: provided, however, the General Partner or its Affiliate may
              not charge the Partnership interest at a rate greater than the rate (including points
              or other financing charges or fees) that would be charged the Partnership (without
              reference to the General Partner’s financial abilities or guaranties) by unrelated
              lenders on comparable loans. The Partnership shall reimburse the General Partner
              or its Affiliate, as the case may be, for any costs incurred by the General Partner
              or that Affiliate in connection with the borrowing of funds obtained by the General
              Partner or that Affiliate and loaned to the Partnership. The Partnership may loan
              funds to the General Partner and any member of the Founding Partner Group at the
              General Partner’s sole and exclusive discretion.

In addition, Section 3.9(f) of the LPA allows for the partnership to make tax loans to the Founding
Partners:

              The Partnership shall, upon request of such Founding Partner, make distributions
              to the Founding Partners (or loans, at the election of the General Partner) in an
              amount necessary for each of them to pay their respective federal income tax
              obligations incurred through the effective date of the Third Amended and Restated
              Agreement of Limited Partnership of Highland Capital Management, L.P., the
              predecessor to this Agreement.

         4.       Debtor demanded payment on the Notes and subsequently filed an adversary

proceedings seeking collection, described further below. One of the affirmative defenses asserted in

the adversary proceedings is that Debtor is not entitled to demand payment because, prior to the

demands for payment, HCM had agreed that it would not collect the Notes, and that they would be

treated as compensation to the Debtor’s founder and then-CEO Jim Dondero, if any of certain

conditions subsequent were met.3 Debtor refers to the agreement as the “Alleged Agreement.” The

condition subsequent was the sale of any of HCM’s interests in certain portfolio companies

(Cornerstone, Trussway and/or MGM) for a greater amount than their cost.4



3
  See Highland Capital Management Services, Inc.’s First Amended Answer to Plaintiff’s Complaint [Ad. No.
21-03006, Dkt. No. 34 at 8 ¶ 56].
4
  Aigen Dec. Ex. 2, May 28, 2021 Remote Deposition of James Dondero Transcript at 212: 18-25; 213: 1-17.
                                                      3
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         5.       Under Section 4.1(k) of the LPA, the “salaries or other compensation, if any, of the

officers and agents of the Partnership [were to] be fixed from time to time by the General Partner.”

Additionally, under the LPA, Dugaboy had explicit authorization to approve compensation for Jim

Dondero and entities he was affiliated with, and thus bind the Partnership through, LPA in § 3.10(a),

which provides in pertinent part:

              (a) Compensation. The General Partner and any Affiliate of the General Partner
              shall receive no compensation from the Partnership for services rendered pursuant
              to this Agreement or any other agreements unless approved by a Majority Interest;
              LPA § 3.10(a) (emphasis added).

The LPA defines relevant actors in the Compensation provision as follows:

              “‘Majority Interest’ means the owners of more than fifty percent (50%) of the
              Percentage Interests of Class A Limited Partners.” LPA § 2.1, p.4.

              “‘Class A Limited Partners’ means those Partners holding a Class A Limited
              Partnership Interest, as shown on Exhibit A.” LPA § 2.1, p.2.5

              The Class A shareholders included Strand Advisors, The Dugaboy Investment
              Trust, Mark K. Okada, The Mark and Pamela Okada Family Trust – Exempt Trust
              #1, and The Mark and Pamela Okada Family Trust – Exempt Trust #2.6 Dugaboy
              alone comprised 75% of the Class A shareholders,7

              Nancy Dondero was the Family Trustee of the Dugaboy Trust,8 and had the power
              to act for Dugaboy in this regard.9

After the Notes were entered into, Mr. Dondero asked Dugaboy (via Ms. Dondero) to approve an

agreement that the Notes would be forgiven as compensation to Mr. Dondero upon the favorable sale

of any or all of the portfolio company interests by HCM, and she did.10




5
  Aigen Dec. Ex. 1, LPA at Exhibit A thereof). Exhibit A reflects “The Dugaboy Investment Trust” as a Class
A Limited Partner owning 74.4426% of the Class A Limited Partnership Interests.
6
  Aigen Dec. Ex. 1, LPA at Exhibit A thereof.
7
  See id.
8
   Aigen Dec. Ex. 3, Acceptance of Appointment of Family Trustee, executed by Nancy Marie Dondero on
October 13, 2015.
9
   Aigen Dec. Ex. 4, Trust Agreement Between Dana Scott Breault, Settlor and James D. Dondero and
Commonwealth Trust Company, Trustees The Dugaboy Investment, entered November 15, 2010 at Article 5.2.
10
   Aigen Dec Ex. 2, Remote Deposition of James Dondero Transcript at 176-178.
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         The General Partner entitled to compensation here is Strand Advisors, Inc. The LPA Preamble

states in pertinent part:

         “This [LPA] is entered…by and among Strand Advisors, Inc., a Delaware Corporation
         (“Strand”), as General Partner, the Limited Partners party hereto, and any Person
         hereinafter admitted as a Limited Partner. LPA Preamble, p.1.

The LPA goes on to articulate Affiliates (of Strand):

         “‘Affiliate’ means any Person that directly or indirectly controls, is controlled by, or
         is under common control with the Person in question. As used in this definition, the
         term ‘control’ means the possession, directly or indirectly, of the power to direct or
         cause the direction of the management and policies of a Person, whether through
         ownership of voting securities, by contract or otherwise.” LPA § 2.1, p.2.

         “‘Person’ means an individual or a corporation, partnership, trust, estate,
         unincorporated organization, association, or other entity.” LPA § 2.1, p.5.

It is undisputed that Mr. Dondero was an Affiliate of Strand under the LPA’s definition. Thus, Mr.

Dondero was entitled to compensation approved by Dugaboy pursuant to the LPA.

         6.       On January 22, 2021, Highland Capital Management, L.P. (“Debtor” or “Plaintiff”

when describing post-petition actions and HCM when describing pre-petition actions) commenced

Adversary Proceeding No. 21-03006 against HCMS, asserting a state law, non-core breach of contract

claim (“Count I”) and an entirely dependent turnover claim under 11 U.S.C. § 542(b) for the amounts

allegedly owed on the Notes (“Count II”).

         7.       HCMS answered the adversary complaint, asserting, inter alia, that Debtor’s claims

should be barred, because prior to the demand for payment HCM agreed it would not collect on the

Notes upon fulfillment of conditions subsequent,11 based upon what the Debtor refers to as the

“Alleged Agreement.”

         8.       On August 23, 2021, the Court entered an order permitting Debtor to file its Amended

Complaint for (I) Breach of Contract, (II) Turnover of Property, (III) Fraudulent Transfer, and (IV)


11
  Highland Capital Management Services, Inc.’s First Amended Answer to Plaintiff’s Complaint [Ad. No. 21-
03006, Dkt. No. 34 at 8 ¶ 56].
                                                    5
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Breach of Fiduciary Duty (“Amended Complaint”) asserting additional claims for relief including:

Avoidance and Recovery of Actual Fraudulent Transfer Under 11 U.S.C. §§ 548(a)(1)(A) and 550

against Mr. Dondero (“Count III”); Avoidance and Recovery of Actual Fraudulent Transfer Under

11 U.S.C. § 544(b) and 550, and Tex. Bus. & C. Code § 24.005(a)(1) against Mr. Dondero (“Count

IV”); Declaratory Relief pursuant to 11 U.S.C. § 105(a) and Fed. R. Bankr. P. 7001 against Dugaboy

(“Count V”); Breach of Fiduciary Duty against Dugaboy (“Count VI”); and Aiding and Abetting a

Breach of Fiduciary Duty against Mr. Dondero and Nancy Dondero (“Count VII”). Debtor seeks

avoidance of the Alleged Agreement, declaratory relief, and damages. The Parties agreed that the

Defendants would answer or otherwise move against the Amended Complaints on or before

September 1, 2021.12 The new claims, under Counts V, VI, and VII are non-core contract claims that

arise from the LPA, containing a broad arbitration provision. Further, the Defendants have critical

affirmative defenses for the claims for declaratory relief, breach of fiduciary, and aiding and abetting

breach of fiduciary duty, that are rooted in non-core state contract law that also arise from the LPA.

         9.       Although Debtor alleges that it “believes that the Alleged Agreement is a fiction

created after the commencement of this Adversary Proceeding for the purpose of avoiding or at least

delaying paying the obligations due under the notes,”13 there is no doubt that adjudication of the

existence and enforceability of the Alleged Agreement affects all of Debtor’s claims under Counts V,

VI, and VII for declaratory relief, breach of fiduciary duty and breach of fiduciary duty. These claims

pertain to loans made by the Debtor to its Affiliates and compensation for the Debtor’s CEO, all of

which are governed by the LPA.14



12
   See Stipulation and Agreed Order Governing Discovery and Other Pre-Trial Issues attached as Exhibit C to
Debtor’s Unopposed Motion for Leave to Serve and File Amended Complaint [Adv. No. 21-03006, Dkt. No.
60-2 at Exhibit C] stipulating to August 30, 2021 which has been extended to September 1, 2021 by the parties
via email communication.
13
   Amended Complaint [Adv. No. 21-03006, Dkt. No. 68 at ¶ 3].
14
   See generally Aigen Dec. Ex. 1, LPA Article 4 and Section 3.10.
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         10.      Defendants request the Court order the parties to arbitration on Counts V, VI, and VII,

as provided by the pre-petition LPA entered into by the parties, and stay the adversary proceeding

pending arbitration.

                                   II.    STANDARD OF REVIEW

         11.      When deciding whether to grant a motion to compel arbitration, the Fifth Circuit has

established a two-step analysis for determining whether parties must arbitrate a particular claim or set

of claims under the FAA: (A) there must be an enforceable agreement to arbitrate; and (B) the claims

must be arbitrable. See Sherer v. Green Tree Serv., LLC, 548 F.3d 379, 381 (5th Cir. 2008) (citations

omitted) (stating “First we must ask if the party has agreed to arbitrate the dispute. . . If so, we then

ask if any federal statute or policy renders the claims non-arbitrable.”); Venture Cotton Coop. v.

Freeman, 435 S.W.3d 222, 227 (Tex. 2014) (“A party seeking to compel arbitration must establish

the existence of a valid arbitration agreement and that the claims at issue fall within the scope of that

agreement.”). Once a party seeking to compel arbitration establishes the asserted claims fall within

a valid arbitration agreement, the burden shifts, and the party seeking to avoid arbitration must prove

an affirmative defense to the provision’s enforcement, such as waiver. Venture Cotton Coop., 435

S.W.3d at 227.

         12.      In applying the first portion of the two-step analysis, state contract law determines

whether parties entered into a valid agreement to arbitrate a set of claims. See, e.g., Fleetwood

Enterprises, Inc. v. Gaskamp, 280 F.3d 1069 (5th Cir. 2002) (“This determination is generally made

on the basis of ‘ordinary state-law principles that govern the formation of contracts.’” (citing First

Options of Chicago, Inc. v. Kaplan, 514 U.S. 938, 944 (1995)). The second part of determining

whether the parties have agreed to arbitrate—the question of whether the dispute comes within the

scope of the agreement—”is answered by applying the federal substantive law of arbitrability.”

Graves v. BP Am., Inc., 568 F.3d 221, 222-23 (5th Cir. 2009) (citations omitted).

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         13.      Under both Texas and Federal law, “[A]ny doubts concerning the scope of arbitrable

issues should be resolved in favor of arbitration, whether the problem at hand is the construction of

the contract language itself or an allegation of waiver, delay, or a like defense to arbitrability.” Moses

H. Cone Mem’l Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 24–25, (1983); see also Henry v. Cash

Biz, LP, 551 S.W.3d 111, 115 (Tex. 2018) (quoting In re Serv. Corp. Intern., 85 S.W.3d 171, 174

(Tex. 2002). In addition, the Supreme Court has declared that the Federal Arbitration Act, “is a strong

congressional declaration of a liberal policy favoring arbitration.” See, e.g., Elkjer v. Scheef & Stone,

L.L.P., 8 F. Supp. 3d 845, 849 (N.D. Tex. 2014) (collecting cases) (“if a valid agreement to arbitrate

does exist, the court must observe the strong federal policy favoring arbitration and resolve all

ambiguities in favor of arbitration.”).

                                             III.    ARGUMENT

         14.      This Court should compel arbitration as to Counts V, VI, and VII of the Amended

Adversary Complaint because: (1) The claims under Counts V, VI, and VII comprise disputes

involving legal rights or remedies arising from the LPA and are governed by an enforceable, and

broadly worded, arbitration provision; (2) Counts V, VI, and VII assert noncore claims, and in the

Fifth Circuit courts do not have discretion to refuse to compel the arbitration of matters not involving

“core” bankruptcy proceedings and should compel arbitration of even core claims if they are not

integral to the bankruptcy; and (3) federal and state policy strongly favors arbitration.

         15.      The Federal Arbitration Act (“FAA”) requires district courts to direct parties to

arbitrate issues covered by a valid arbitration agreement. 9 U.S.C. §§ 3, 4; see also Dean Witter

Reynolds, Inc. v. Byrd, 470 U.S. 213, 218 (1985). “Federal policy strongly favors enforcing

arbitration agreements.” Dean Witter Reynolds, 470 U.S. at 217; Moses H. Cone Mem. Hosp, 460

U.S. at 24. When a party moves to compel arbitration, the FAA requires district courts to order

arbitration of arbitrable claims. Sedco, Inc. v. Petroleos Mexicanos Mexican Nat’l Oil Co. (In re

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Sedco, Inc.), 767 F.2d 1140, 1147 (5th Cir. 1985). Because of the strong presumption in favor of

arbitration, “a party seeking to invalidate an arbitration agreement bears the burden of establishing its

invalidity.” Vallejo v. Garda CL Sw., Inc., 948 F. Supp. 2d 720, 724–25 (S.D. Tex. 2013), aff’d, 559

F. App’x 417 (5th Cir. 2014) (citing Carter v. Countrywide Credit Indus., Inc., 362 F.3d 294, 297

(5th Cir. 2004)); see also Grant v. Houser, 469 Fed. Appx. 310, 315 (5th Cir. 2012) (noting the strong

presumption in favor of arbitration).

         16.      “[A]ny doubts concerning the scope of arbitrable issues should be resolved in favor of

arbitration, whether the problem at hand is the construction of the contract language itself or an

allegation of waiver, delay, or a like defense to arbitrability.” Moses H. Cone Mem’l Hosp., 460 U.S.

at 24–25; see also Henry, 551 S.W.3d at 115 (quoting In re Serv. Corp. Intern., 85 S.W.3d at 174).

The Fifth Circuit resolves doubts concerning the scope of matter covered by an arbitration provision

in favor of referring arbitration. The court states:

         We emphasize that our sole responsibility is to determine whether this dispute is
         governed by an arbitration clause, not to determine the merits of the dispute. See
         Snap–On Tools Corp., v. Mason, 18 F.3d 1261, 1267 (5th Cir.1994). “We resolve
         doubts concerning the scope of coverage of an arbitration clause in favor of arbitration.
         . . . [A]rbitration should not be denied ‘unless it can be said with positive assurance
         that an arbitration clause is not susceptible of an interpretation which would cover the
         dispute at issue.’” Neal, 918 F.2d at 37 (internal citations omitted). See also AT & T
         Technologies Inc. v. Communications Workers of America, 475 U.S. at 643, 650
         (1986).

Pennzoil Expl. & Prod. Co. v. Ramco Energy Ltd., 139 F.3d 1061, 1067 (5th Cir. 1998).

         A.       This Dispute is Governed by An Enforceable Arbitration Provision Reaching All
                  Legal Rights Arising From the LPA.

         17.      Debtor’s claims asserted in Counts V, VI, and VII arise under the LPA, which contains

an enforceable and broadly worded arbitration provision. The U.S. Bankruptcy Court for the Northern

District of Texas, Dallas Division, has already interpreted arbitration provisions with identical scope

language (and near-identical scope language) to the Arbitration Provision under the LPA, to be valid


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and binding. See In re Acis Cap. Mgmt., L.P., 600 B.R. 541, 549-50 (Bankr. N.D. Tex. 2019).15

Importantly, the court made clear that “it would seem to be beyond peradventure that [the arbitration

clause] was, at one time, enforceable between the parties, with regard to any disputes that arose

regarding the agreements.” Id. at 552 (emphasis added); see also id. at 557 (emphasis added)

(“there were valid arbitration agreements that applied to all disputes arising out of the [agreements

at issue].”). Accordingly, the court concluded that all claims at issue, including claims for declaratory

judgment, fell within the scope of the relevant arbitration clauses. See id. at 558.

         18.      The Arbitration Provision here also covers any “unresolved legal dispute between the

parties and/or any of their respective officers, directors, partners, employees, agents, affiliates or other

representatives that involves legal rights or remedies arising from this Agreement.” LPA, Section

6.14 (emphasis added). Such broad language is sufficient to reach collateral matters, including the

oral agreement between the parties which involves legal rights arising from LPA. 16 Buell Door Co.



15
        The Court’s decision provides the relevant arbitration clause language. The arbitration clause at
Section 16(f) of the Sub-Advisory Agreement states:

         [I]n the event there is an unresolved legal dispute between the parties and/or any of their respective
         officers, directors, partners, employees, agents, affiliates or other representatives that involves legal
         rights or remedies arising from this Agreement, the parties agree to submit their dispute to binding
         arbitration under the authority of the Federal Arbitration Act. . . .

In re Acis Cap. Mgmt., L.P., 600 B.R. at 550 (emphasis added).
16
   It is important to note that the particular language “arising from” is significant in determining that the
Arbitration Provision here is broad. The Fifth Circuit and Texas District Courts have specifically determined
that only the phrase “arising under” indicates a narrow arbitration clause, rather than broad. This Court has
held:

         upon reviewing the above referenced Fifth Circuit cases, the court concludes that the phrase
         “arising out of” and similar language constitute “broad” arbitration clauses. Accord Morphis
         v. Federal Home Loan Mortgage Corp., No. 3:02–CV–0210–P, 2002 WL 1461930, *3–4
         (N.D.Tex. July 3, 2002) (provision that “any and all disputes between [the parties],” with no
         limiting clause constituted a broad clause). On the other hand, the phrase “arising under”
         indicates a “narrow” arbitration clause. See Mediterranean Enterprises, Inc. v. Ssangyong
         Corp., 708 F.2d 1458, 1464 (9th Cir.1983) (the term “arising under” is relatively narrow)
         (citation omitted).

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v. Architectural Sys., Inc., No. 3:02-CV-721-AH, 2002 WL 1968223, at *6 (N.D. Tex. Aug. 20, 2002)

(concluding that the phrase “arising out of” and similar language constitute “broad” arbitration

clauses); see also Elkjer, 8 F. Supp. at 855 (concluding that the arbitration clause which uses the

phrase “arising under or in connection with this [Partnership] Agreement,” is “broad [and] capable of

expansive reach” to include statutory claims). “Broad arbitration clauses are not limited to claims

which literally ‘arise under [a] contract,’ but rather embrace all disputes between the parties having

a significant relationship to the contract regardless of their label.” Id. at *4 (citing Nauru Phosphate

Royalties, Inc. v. Drago Daic Interests, Inc., 138 F.3d 160, 164–65 (5th Cir. 1998) (emphasis added)

(internal citations omitted).

         19.      In the Fifth Circuit, a “broadly construed arbitration provision may encompass claims

arising under a separate agreement.” See, e.g., Pers. Sec. & Safety Sys. Inc. v. Motorola Inc., 297 F.3d

388, 393–94 (5th Cir. 2002) (holding that an arbitration provision, which covered “any and all claims.

. . arising out of or relating to” an agreement, applied to claims arising under a separate agreement);

see also Neal v. Hardee’s Food Sys., Inc., 918 F.2d 34, 38 (5th Cir. 1990) (holding that an arbitration

provision encompassing “any and all disputes between [the parties] . . . reach[ed] all aspects of the

parties’ relationship,” including claims arising under a separate agreement); see also I.D.E.A. Corp.

v. WC & R Ints., Inc., 545 F. Supp. 2d 600, 606 (W.D. Tex. 2008) (noting a broad arbitration provision

may encompass claims arising under a separate agreement). Accordingly, the Arbitration Provision

covers all of the claims regardless if the arise under the LPA or the separate Notes because the

authority to enter into the Notes arises from the LPA which reaches all aspects of the parties’

relationship.




Buell Door Co., 2002 WL 1968223, at *6. Here, the “arising from” language of the Arbitration Provision is
similar to “arising of out” and is therefore broad.
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         20.      Here, the LPA choice of law provision, Section 6.1, provides the “Agreement shall be

construed in accordance with and governed by the laws of the state of Delaware. . . .” As a result,

Delaware state contract law determines whether the LPA includes a valid agreement to arbitrate.

Delaware arbitration law mirrors federal law in that “public policy of Delaware favors arbitration.”

James & Jackson, LLC v. Willie Gary, LLC, 906 A.2d 76, 79 (Del. 2006) (citations omitted). Even

Debtor’s rejection of the LPA does not absolve Debtor of its obligation to arbitrate. It is well

established that the “rejection of a contract, or even breach of it, will not void an arbitration clause. .

. . Any different conclusion would allow a party to avoid arbitration at will simply by breaching [or

rejecting] the contract.” Madison Foods v. Fleming Cos., Inc. (In re Fleming Cos, Inc.), 325 B.R.

687, 693-94 (Bankr. D. Del. 2005) (citations omitted).

         21.      Moreover, any question about the scope of the arbitration agreement, including the

arbitrability of any particular claim, is for the arbitrator. Under the FAA, “parties can agree to

arbitrate ‘gateway’ questions of ‘arbitrability,’ such as whether the parties have agreed to arbitrate or

whether their agreement covers a particular controversy.” Rent-A-Center, West, Inc. v. Jackson, 561

U.S. 63, 68-69 (2010). “Just as the arbitrability of the merits of a dispute depends upon whether the

parties agreed to arbitrate that dispute. . . , so the question ‘who has the primary power to decide

arbitrability’ turns upon what the parties agreed about that matter.” First Options of Chi., Inc. v.

Kaplan, 514 U.S. 938, 943 (1995) (citations omitted). The Fifth Circuit provides an in-depth

explanation of who decides what issues when a contract includes an arbitration provision. See Kubala

v. Supreme Production Services, Inc., 830 F.3d 199 (5th Cir. 2016).

         22.      Incorporating rules from an arbitration service provider that themselves delegate the

question of arbitrability to the arbitrator clearly and unmistakably expresses the parties’ intent to leave

the question of arbitrability to the arbitrator. Petrofac, Inc. v. DynMcDermott Petroleum Operations

Co., 687 F.3d 671, 675 (5th Cir. 2012). Here, the Arbitration Provision provides that the “arbitration

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will be conducted by the American Arbitration Association, or another mutually agreeable arbitration

service. A panel of three arbitrators will preside over the arbitration and will together deliberate,

decide and issue the final award.” The rules of the American Arbitration Association provide that the

arbitrator is to decide questions of arbitrability. AAA Commercial Arbitration Rule 7(a). Because

the parties’ arbitration delegates decision-making to the arbitrators, where the parties entered an

agreement to arbitrate, questions of scope and arbitrability should be left to the arbitrator.

         B.     The Claims Asserted In Counts V, VI, and VII Are Arbitrable Because they Are
                Non-Core and Arise Under the LPA.

         23.      Under the LPA, the Court must compel arbitration on Counts V, VI, and VII of the

Amended Complaint, because all of the claims are non-core claims arising from the rights and

obligations under the LPA. Bankruptcy courts have no discretion to refuse to compel the arbitration

of non-core matters. See, e.g., Elite Precision Fabricators, Inc. v. Gen. Dynamics Land Sys., Inc.,

No. CV H-14-2086, 2015 WL 9302843, at *7 (S.D. Tex. Dec. 18, 2015) (citation omitted) (quoting

“it is generally accepted that a bankruptcy court has no discretion to refuse to compel the arbitration

of matters not involving ‘core’ bankruptcy proceedings”). More specifically, under Fifth Circuit

precedent, a bankruptcy court only has discretion to refuse to compel arbitration of an arbitrable claim

where: (1) “the proceeding derives exclusively from the provisions of the bankruptcy code;” and (2)

“arbitration of the proceeding would conflict with the purposes of [the bankruptcy code].” See Matter

of Nat’l Gypsum Co., 118 F.3d 1056, 1067 (5th Cir. 1997); see also Zimmerli v. Ocwen Loan

Servicing, LLC, 432 B.R. 238, 242 (Bankr. N.D. Tex. 2010). “Importantly, however, ‘a bankruptcy

court has no discretion to refuse to compel the arbitration of matters not involving ‘core’

bankruptcy proceedings under 28 U.S.C. § 157(b).” In re Cain, 585 B.R. 127, 134–35 (Bankr. S.D.

Miss. 2018) (emphasis added) (citation omitted) (stating “it is generally accepted that a bankruptcy

court has no discretion to refuse to compel the arbitration of matters not involving ‘core’ bankruptcy

proceedings.”); In re Acis Cap. Mgmt., L.P., 600 B.R. at 560 (in the Acis case—unlike here—the
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claims at issue were “an integral part of determining . . . proofs of claim,” resulting in the court

denying the motion to compel arbitration).

         24.      For claims that are “derivative of the pre-petition legal or equitable rights possessed

by a debtor” it is beyond dispute that “it is ‘universally accepted’ that such issues are arbitrable.” In

re Cain, 585 B.R. at 137 (citing Nat’l Gypsum Co., 118 F.3d at 1066, 1069). In other words, for non-

core proceedings, a court “must give effect to the terms of any applicable arbitration clauses.” In re

Daisytek, Inc., 323 B.R. 180, 188 (N.D. Tex. 2005).

         1.       The Court Lacks Discretion To Refuse To Compel Arbitration On Count V
                  Because Debtor’s Proposed Declaratory Relief Claim Is A Non-Core Claim
                  Arising From The LPA.

         25.      Debtor’s declaratory relief claim simply seeks declarations concerning the extent of

limited partner (including Dugaboy’s) authority under the LPA, including authority to enter into the

Alleged Agreement on behalf of the Partnership.17 This is a legal dispute arising from LPA, a pre-

petition contract, thus coming within the Arbitration Provision and governed by state contract law.

Courts generally agree that claims for declaratory judgment which could also exist outside of

bankruptcy are non-core proceedings.18 See, e.g., In re OCA, Inc., 410 B.R. 443, 450 (E.D. La.

2007)(“That the doctors’ claims are for breach of contract, breach of fiduciary duty and declaratory

relief, and are entirely based on state law, supports a finding that they are noncore claims.”)




17
   See Amended Complaint [Adv. No. 21-03006, Dkt. No. 68 at ¶¶ 81-84].
18
   See also In re Temecula Valley Bancorp, Inc., 523 B.R. 210, 222–23 (C.D. Cal. 2014)(“That court found a
trustee’s claim for declaratory relief as to the ownership of similar tax refunds non-core because it was a
“dispute between private parties” and arose out of a pre-bankruptcy tax sharing agreement governed by state
contract law); see also In re SFD @ Hollywood, LLC, 414 B.R. 794, 797 (Bankr. S.D. Fla. 2009)(“This
proceeding [for declaratory judgment] could also exist outside of bankruptcy. Accordingly, this is a non-core
proceeding in which the Court cannot enter a final order, absent consent of the district court and the parties.”);
see also Sunterra Corp. v. Perini Bldg. Co., No. 204CV00784MCEEFB, 2008 WL 11512082, at *4 (E.D. Cal.
June 12, 2008)(“The new causes of action--strict liability, negligence, breach of contract, professional
negligence, and declaratory relief--would also exist independently of bankruptcy laws and are similarly “non-
core” proceedings.”).
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         26.      Therefore, the Court lacks discretion to refuse to compel arbitration on Count V

asserting Declaratory Relief pursuant to 11 U.S.C. § 105(a) and Fed. R. Bankr. P. 7001 against

Dugaboy. Webb v. Investacorp, Inc., 89 F.3d 252, 260 (5th Cir. 1996) (district court did not abuse

discretion in refusing to consider plaintiffs’ request for declaratory relief where order granting

defendant’s motion to compel arbitration disposed of same issues raised in declaratory judgment

action); see also Austin Cap. Mgmt., Ltd. v. Bd. of Trustees of Texas Iron Workers’ Pension Fund,

No. A-09-CA-351 LY, 2009 WL 10699390, at *8 (W.D. Tex. July 30, 2009) (finding action seeking

declaratory relief arbitrable); see also Info. Sys. Audit & Control Ass’n, Inc. v. TeleCommunication

Sys., Inc., No. 17 C 2066, 2017 WL 2720433, at *4 (N.D. Ill. June 23, 2017) (stating that permitting

a party to obtain declaratory relief from a court when there is a valid arbitration agreement is

“essentially the same relief as that otherwise reserved for the arbitrator. It would make little sense to

include such an expansive loophole in what is otherwise a sweeping arbitration provision.”).

         2.       The Court Lacks Discretion To Refuse To Compel Arbitration On Count VI And
                  VII Because Debtor’s Proposed Claims Asserting Breach Of Fiduciary Duty And
                  Aiding And Abetting Breach Of Fiduciary Duty Are Non-Core Claims Arising
                  From The LPA.

         27.      Count VI asserting Breach of Fiduciary Duty against Dugaboy and Count VII Aiding

and Abetting a Breach of Fiduciary Duty against Mr. Dondero and Nancy Dondero for entering into

the Alleged Agreement, must be arbitrated because they are non-core claims that arise under the LPA.

It is well established that state law claims, such as breach of fiduciary duty and aiding and abetting

breach of fiduciary duty, are non-core claims. See, e.g., In re Dune Energy, Inc., 575 B.R. 716, 729

(Bankr. W.D. Tex. 2017) (“Courts within the Fifth Circuit have consistently found that post-

confirmation suits by plan trustees based on state law claims are only within the ‘related to’ (and not

‘core’) bankruptcy jurisdiction of a federal court.”); see also Brickley for CryptoMetrics, Inc.

Creditors’ Tr. v. ScanTech Identification Beams Sys., LLC, 566 B.R. 815, 829–30 (W.D. Tex. 2017)



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(stating post-confirmation claims for breach of fiduciary duty and state law claims are “related to”

claims); see also Mirant Corp. v. The S. Co., 337 B.R. 107, 120 (N.D. Tex. 2006).

         28.      The breach of fiduciary duty claims under Count VI and aiding and abetting breach of

fiduciary duty under Count VII are—and by their own terms—premised on Dugaboy’s authority to

bind the Debtor under the LPA.19 The Debtor challenges whether the LPA affords the right to

Dugaboy to approve such compensation, thus, any evaluation of the breach of fiduciary duty-related

claims must first entail an analysis of the LPA, making construction of the LPA – the agreement

containing the arbitration clause, a predicate to the analysis of the breach of fiduciary duty claims.

Thus, Counts VI and VII involve unresolved legal disputes between the parties—including the Debtor

and    Mr.     Dondero,       Nancy   Dondero,     and    Dugaboy,      who     are   all   parties   and/or

officers/directors/partners/employees/agents/affiliates/representatives of a General or Limited

Partner—concerning legal duties to the Partnership that would not exist outside of the LPA.

         29.      The Fifth Circuit makes clear that where, as here, the breach of fiduciary duty (or

aiding and abetting fiduciary duty) claim is interwoven with the partnership agreement containing an

arbitration clause, the fiduciary claims will be subject to arbitration. See Coffman v. Provost *

Umphrey Law Firm, L.L.P., 161 F. Supp. 2d 720, 732 (E.D. Tex. 2001), aff’d sub nom. Coffman v.

Provost Umphrey LLP, 33 Fed. Appx. 705 (5th Cir. 2002) (“Even if it is conceivable that Plaintiff

could maintain a claim for breach of fiduciary duty without the Partnership Agreements, that alone is

not sufficient grounds for concluding that the claim is not within the scope of the arbitration clause .

. . the Partnership Agreements will determine whether a fiduciary duty was breached—whether that


19
  See Amended Complaint [Adv. No. 21-03006, Dkt. No. 68 at ¶ 87] (“If Dugaboy or Ms. Dondero (as
Representative) had the authority to enter into the Alleged Agreement on behalf of the Debtor, then Dugaboy
and/or Ms. Dondero breached their fiduciary duty of care to the Debtor by entering into and authorizing the
purported Alleged Agreement on behalf of the Debtor.”); id. ¶¶ 90-91 (the Donderos “were aware that Dugaboy
would have fiduciary duties to the Debtor if it acted to bind the Debtor,” and the Donderos “aided and abetted
Dugaboy’s breach of its fiduciary duties to the Debtor by knowingly participating in the authorization of the
purported Alleged Agreement.”)
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duty arises from the common law or from the contract itself. . . . For these reasons, the court finds

Plaintiff’s breach of fiduciary duty claim to be subject to arbitration.”); see also Omni Pinnacle, LLC

v. ECC Operating Services. Inc., 255 F. App’x 24, 25-26 (5th Cir. 2007) (internal quotation marks

omitted) (“A dispute arises out of or relates to a contract if the legal claim underlying the dispute

could not be maintained without reference to the contract.”).

         30.      Because breach of fiduciary duty and aiding and abetting breach of fiduciary duty are

non-core state-law claims that could exist outside of bankruptcy, the reviewing court lacks discretion

to refuse enforcement of an otherwise-applicable arbitration agreement as to these claims. See In re

McCollum, 621 B.R. 655, 659 (Bankr. N.D. Miss. 2020) (finding that breaching its fiduciary duty “is

a state law contract claim which arose prepetition, could exist outside the bankruptcy case, and is

tangential to the bankruptcy case. It does not invoke a substantive right created by bankruptcy law

and is a non-core claim.”); In re Gaughf, 19-50947-KMS, 2020 WL 1271595, at *4 (Bankr. S.D.

Miss. Mar. 12, 2020) (“Aiding and Abetting Count is non-core.”). Additionally, claims for breach of

fiduciary duty and aiding and abetting breach of fiduciary duty do not reference the Bankruptcy Code

or any right conferred by the Code. See In re McCollum, 621 B.R. at 659. Therefore, the Court lacks

discretion to refuse to compel arbitration on Count VI asserting Breach of Fiduciary Duty against

Dugaboy and Count VII Aiding and Abetting a Breach of Fiduciary Duty against Mr. Dondero and

Nancy Dondero.

         31.      That Nancy Dondero is not personally a party to the LPA does not impair her right to

enforce the arbitration agreement it contains. Debtor alleges misconduct by her and a signatory to the

LPA relating to fiduciary duties Debtor alleges arise out of the LPA. There are two circumstances

under which a nonsignatory can compel arbitration: (1) when the signatory to a written agreement

containing an arbitration clause must rely on the terms of the written agreement in asserting its claims

against the nonsignatory; or (2) when the signatory to the contract containing an arbitration clause

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raises allegations of substantially interdependent and concerted misconduct by both the nonsignatory

and one or more of the signatories to the contract. Westmoreland v. Sadoux, 299 F.3d 462, 467 (5th

Cir. 2002). Both circumstances are implicated by Debtor’s allegations against Nancy Dondero.

         32.      First, non-signatories are entitled to invoke an arbitration agreement when the claim

against the non-signatory arises from the contract with an arbitration provision. See, e.g., Bridas

S.A.P.I.C. v. Gov’t of Turkmenistan, 345 F.3d 347, 361 (5th Cir. 2003) (citing Grigson v. Creative

Artists Agency L.L.C., 210 F.3d 524, 528 (5th Cir. 2000))(“[The plaintiff] cannot, on the one hand,

seek to hold the nonsignatory liable pursuant to duties imposed by the agreement, which contains an

arbitration provision, but, on the other hand, deny arbitration’s applicability because the defendant is

a nonsignatory.”); see also Amegy Bank Nat. Ass’n v. Monarch Flight II, LLC, 870 F. Supp. 2d 441,

450–51 (S.D. Tex. 2012) (citing Grigson, 210 F.3d at 527). Because Debtor charges Nancy Dondero

with breaching fiduciary duties (and aiding and abetting breaches of such duties) that arise out of the

LPA, she falls precisely within the ambit of cases like Bridas, and Grigson and Amegy.

         33.      Second, when the signatory to the contract containing an arbitration clause raises

allegations of substantially interdependent and concerted misconduct by both the nonsignatory and

one or more of the signatories to the contract—here the allegations are made against Nancy Dondero

(a non-signatory) and Dugaboy (a signatory) to the LPA—the non-signatory may compel arbitration

on the claims. Hill v. G E Power Sys., Inc., 282 F.3d 343, 349 (5th Cir. 2002) (affirming that

“equitable estoppel applies when the signatory to a written agreement containing an arbitration clause

must rely on the terms of the written agreement in asserting its claims against the nonsignatory.”);

see also Grigson, 210 F.3d at 526 (“a non-signatory-to-an-arbitration-agreement-defendant can

nevertheless compel arbitration against a signatory-plaintiff”).




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C.       The Court Should Stay All Claims Pending Arbitration.

         34.      The claims that the Court refers to arbitration must be stayed pursuant to the Federal

Arbitration Act, 9 U.S.C. § 3. See In re Gandy, 299 F.3d 489, 494–95 (5th Cir. 2002) (citing

Shearson/American Express, Inc. v. McMahon, 482 U.S. 220, 226–27 (1987) (“A court must stay its

proceedings if it is satisfied that an issue before it is arbitrable under the agreement”). Further,

bankruptcy courts generally do not have discretion to decline to stay, pending arbitration, proceedings

involving non-core matters. Id. at 495. Accordingly, the Court should stay each of the Debtor’s

claims against Defendants pending arbitration.

         35.      Should the Court not refer arbitration on every claim, in the alterative, the Court should

stay the entire adversary proceeding pending arbitration. Permitting any claims to continue herein,

while some or all claims are subject to arbitration would be unnecessarily expensive and duplicative.

The Court has the inherent power to grant a discretionary stay of a proceeding pending arbitration

when there are issues common to the arbitration and the court proceeding and those issues may be

decided by the arbitrator. See Landis v. N. Am. Co., 299 U.S. 248, 254, 57 S. Ct. 163, 166 (1936)

(stating that the power to stay proceedings is incidental to power “inherent in every court to control

disposition of causes on its docket with economy of time and effort for itself, for counsel, and for

litigants.”); see also In re Divine Ripe, L.L.C., 538 B.R. 300, 309 (Bankr. S.D. Tex. 2015) (same).

                                          IV.     CONCLUSION

         WHEREFORE, for the reasons above, Defendants respectfully request that this Court compel

arbitration on Counts V, VI, and VII, and order a stay of the proceedings pending arbitration.




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Dated: September 1, 2021           Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

      The undersigned hereby certifies that, on September 1, 2021, a true and correct copy of this
document was served via the Court’s CM/ECF system on counsel for the Plaintiff.


                                                     /s/Deborah Deitsch-Perez
                                                     Deborah Deitsch-Perez




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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION
 In re:                                  §         Case No. 19-34054-SGJ-11
                                         §
 HIGHLAND CAPITAL MANAGEMENT, L.P., §              Chapter 11
                                         §
        Debtor.                          §
                                         §
 HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                         §
        Plaintiff.                       §
                                         §
 v.                                      §
                                         §        Adversary No.: 21-03007-sgj
 HCRE PARTNERS, LLC (n/k/a NEXPOINT      §
 REAL ESTATE PARTNERS, LLC), JAMES       §
 DONDERO, NANCY DONDERO, AND             §
 DUGABOY INVESTMENT TRUST                §
                                         §
        Defendants.                      §




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               MOTION TO COMPEL ARBITRATION AND STAY LITIGATION

         Defendants James D. Dondero, Nancy Dondero, and The Dugaboy Investment Trust

(“Dugaboy”) (the “Defendants”) move this Court for an order to stay this adversary proceeding and

refer the parties to arbitration, and in further support state the following:

                                   I.      STATEMENT OF FACTS

         1.       On December 24, 2015, Mr. Dondero, on behalf of Strand Advisors, Inc., and Nancy

Dondero, on behalf of Dugaboy, executed the Fourth Amended and Restated Agreement (the “LPA”)

of Limited Partnership of Highland Capital Management, L.P. (“HCM”).1 Section 6.14 of the LPA

provides for Mandatory Arbitration in the event of a legal dispute between the parties arising from

the agreement (“Arbitration Provision”). Section 6.14 specifically states:

         6.14. Mandatory Arbitration. In the event there is an unresolved legal dispute
         between the parties and/or any of their respective officers, directors, partners,
         employees, agents, affiliates or other representatives that involves legal rights or
         remedies arising from this Agreement, the parties agree to submit their dispute to
         binding arbitration under the authority of the Federal Arbitration Act; provided,
         however, that the Partnership or such applicable affiliate thereof may pursue a
         temporary restraining order and/or preliminary injunctive relief in connection with any
         confidentiality covenants or agreements binding on the other party, with related
         expedited discovery for the parties, in a court of law, and thereafter, require arbitration
         of all issues of final relief. The arbitration will be conducted by the American
         Arbitration Association, or another mutually agreeable arbitration service. A panel of
         three arbitrators will preside over the arbitration and will together deliberate, decide
         and issue the final award. The arbitrators shall be duly licensed to practice law in the
         state of Texas.

The Arbitration Provision specifically governs the discovery process for arbitration, the authority of

the arbitrators, and the costs of arbitration.2


1
  The Fourth Amended and Restated Agreement of Limited Partnership of Highland Capital Management, L.P.
Declaration of Michael P Aigen dated August 30, 2021 (“Aigen Dec.) at Ex. 1. The signatories to it are: (1)
General Partner, Strand Advisors, Inc., a Delaware corporation by James D. Dondero, President; (2) Limited
Partner, The Dugaboy Investment Trust by Nancy M. Dondero, its Trustee; (3) Limited Partner, The Mark and
Pamela Okada Family Trust- Exempt #1 by Lawrence Tonomura, its Trustee; (4) Limited Partner, The Mark
and Pamela Okada Family Trust- Exempt #2 by Lawrence Tonomura, its Trustee; (5) Limited Partner, Mark
K. Okada; and (6) Limited Partner, Hunter Mountain Investment Trust by John Honis, the President of Beacon
Mountain 1 LC, Administrator.
2
  See LPA Section 6.14, which states:
                                                     1
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         2.       From 2013 to 2017, HCRE executed a series of demand Notes in favor of the Debtor

(the “Notes”). The authority to execute promissory note in favor of the Debtor arises from Article 4

of the LPA because a General Partner has full authority to conduct the business, which includes

lending and borrowing money and executing promissory notes. Article 4 states:

              In addition to the powers now or hereafter granted to a general partner of a limited
              partnership under applicable law or that are granted to the General Partner under
              any provision of this Agreement, the General Partner shall have full power and
              authority to do all things deemed necessary or desirable by it to conduct the
              business of the Partnership, including, without limitation:
              ....

              (ii) the performance of any and all acts necessary or appropriate to the operation
              of any business of the Partnership (including, without limitation. purchasing and
              selling any asset, any debt instruments, any equity interests, any commercial paper,
              any note receivables and any other obligations);
              ....

              (vi) the making of any expenditures, the borrowing of money, the guaranteeing of
              indebtedness and other liabilities, the issuance of evidences of indebtedness, and
              the incurrence of any obligations it deems necessary or advisable for the conduct
              of the activities of the Partnership, including, without limitation, the payment of
              compensation and reimbursement to the General Partner and its Affiliates pursuant
              to Section 3.1;
              ....

              (vii) the use of the assets of the Partnership (including, without limitation, cash on
              hand) for any Partnership purpose on any terms it sees fit, including, without
              limitation, the financing of operations of the Partnership, the lending of funds to
              other Persons, and the repayment of obligations.




         The discovery process shall be limited to the following: Each side shall be permitted no more
         than (i) two party depositions of six hours each, each deposition to be taken pursuant to the
         Texas Rules of Civil Procedure; (ii) one non-party deposition of six hours; (iii) twenty-five
         interrogatories; (iv) twenty-five requests for admissions; (v) ten request for production (in
         response, the producing party shall not be obligated to produce in excess of 5,000 total pages
         of documents, including electronic documents); and (vi) one request for disclosure pursuant
         to the Texas Rules of Civil Procedure. Any discovery not specifically provided for in this
         paragraph, whether to parties or non-parties, shall not be permitted. . . . . Each party shall bear
         its own attorney’s fees, costs and expenses, including any costs of experts, witnesses and /or
         travel, subject to a final arbitration award on who should bear costs and fees. The duty to
         arbitrate described above shall survive the termination of this Agreement.
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         3.       In addition, the LPA provides authority for partners to lend money to their Affiliates.

Section 4(e) specifically provides:

              The General Partner or any Affiliate of the General Partner may lend to the
              Partnership funds needed by the Partnership for such periods of time as the General
              Partner may determine: provided, however, the General Partner or its Affiliate may
              not charge the Partnership interest at a rate greater than the rate (including points
              or other financing charges or fees) that would be charged the Partnership (without
              reference to the General Partner’s financial abilities or guaranties) by unrelated
              lenders on comparable loans. The Partnership shall reimburse the General Partner
              or its Affiliate, as the case may be, for any costs incurred by the General Partner
              or that Affiliate in connection with the borrowing of funds obtained by the General
              Partner or that Affiliate and loaned to the Partnership. The Partnership may loan
              funds to the General Partner and any member of the Founding Partner Group at the
              General Partner’s sole and exclusive discretion.

In addition, Section 3.9(f) of the LPA allows for the partnership to make tax loans to the Founding
Partners:

              The Partnership shall, upon request of such Founding Partner, make distributions
              to the Founding Partners (or loans, at the election of the General Partner) in an
              amount necessary for each of them to pay their respective federal income tax
              obligations incurred through the effective date of the Third Amended and Restated
              Agreement of Limited Partnership of Highland Capital Management, L.P., the
              predecessor to this Agreement.

         4.       Debtor demanded payment on the Notes and subsequently filed an adversary

proceedings seeking collection, described further below. One of the affirmative defenses asserted in

the adversary proceedings is that Debtor is not entitled to demand payment because, prior to the

demands for payment, HCM had agreed that it would not collect the Notes, and that they would be

treated as compensation to the Debtor’s founder and then-CEO Jim Dondero, if any of certain

conditions subsequent were met.3 Debtor refers to the agreement as the “Alleged Agreement.” The

condition subsequent was the sale of any of HCM’s interests in certain portfolio companies

(Cornerstone, Trussway and/or MGM) for a greater amount than their cost.4



3
  See NexPoint Real Estate Partner, LLC f/k/a HCRE Partners, LLC’s First Amended Answer to Plaintiff’s
Complaint [Ad. No. 21-03007, Dkt. No. 34 at 8 ¶ 58].
4
  Aigen Dec. Ex. 2, May 28, 2021 Remote Deposition of James Dondero Transcript at 212: 18-25; 213: 1-17.
                                                     3
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         5.       Under Section 4.1(k) of the LPA, the “salaries or other compensation, if any, of the

officers and agents of the Partnership [were to] be fixed from time to time by the General Partner.”

Additionally, under the LPA, Dugaboy had explicit authorization to approve compensation for Jim

Dondero and entities he was affiliated with, and thus bind the Partnership through, LPA in § 3.10(a),

which provides in pertinent part:

              (a) Compensation. The General Partner and any Affiliate of the General Partner
              shall receive no compensation from the Partnership for services rendered pursuant
              to this Agreement or any other agreements unless approved by a Majority Interest;
              LPA § 3.10(a) (emphasis added).

The LPA defines relevant actors in the Compensation provision as follows:

              “‘Majority Interest’ means the owners of more than fifty percent (50%) of the
              Percentage Interests of Class A Limited Partners.” LPA § 2.1, p.4.

              “‘Class A Limited Partners’ means those Partners holding a Class A Limited
              Partnership Interest, as shown on Exhibit A.” LPA § 2.1, p.2.5

              The Class A shareholders included Strand Advisors, The Dugaboy Investment
              Trust, Mark K. Okada, The Mark and Pamela Okada Family Trust – Exempt Trust
              #1, and The Mark and Pamela Okada Family Trust – Exempt Trust #2.6 Dugaboy
              alone comprised 75% of the Class A shareholders,7

              Nancy Dondero was the Family Trustee of the Dugaboy Trust,8 and had the power
              to act for Dugaboy in this regard.9

After the Notes were entered into, Mr. Dondero asked Dugaboy (via Ms. Dondero) to approve an

agreement that the Notes would be forgiven as compensation to Mr. Dondero upon the favorable sale

of any or all of the portfolio company interests by HCM, and she did.10




5
  Aigen Dec. Ex. 1, LPA at Exhibit A thereof). Exhibit A reflects “The Dugaboy Investment Trust” as a Class
A Limited Partner owning 74.4426% of the Class A Limited Partnership Interests.
6
  Aigen Dec. Ex. 1, LPA at Exhibit A thereof.
7
  See id.
8
   Aigen Dec. Ex. 3, Acceptance of Appointment of Family Trustee, executed by Nancy Marie Dondero on
October 13, 2015.
9
   Aigen Dec. Ex. 4, Trust Agreement Between Dana Scott Breault, Settlor and James D. Dondero and
Commonwealth Trust Company, Trustees The Dugaboy Investment, entered November 15, 2010 at Article 5.2.
10
   Aigen Dec Ex. 2, Remote Deposition of James Dondero Transcript at 176-178.
                                                    4
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         The General Partner entitled to compensation here is Strand Advisors, Inc. The LPA Preamble

states in pertinent part:

         “This [LPA] is entered…by and among Strand Advisors, Inc., a Delaware Corporation
         (“Strand”), as General Partner, the Limited Partners party hereto, and any Person
         hereinafter admitted as a Limited Partner. LPA Preamble, p.1.

The LPA goes on to articulate Affiliates (of Strand):

         “‘Affiliate’ means any Person that directly or indirectly controls, is controlled by, or
         is under common control with the Person in question. As used in this definition, the
         term ‘control’ means the possession, directly or indirectly, of the power to direct or
         cause the direction of the management and policies of a Person, whether through
         ownership of voting securities, by contract or otherwise.” LPA § 2.1, p.2.

         “‘Person’ means an individual or a corporation, partnership, trust, estate,
         unincorporated organization, association, or other entity.” LPA § 2.1, p.5.

It is undisputed that Mr. Dondero was an Affiliate of Strand under the LPA’s definition. Thus, Mr.

Dondero was entitled to compensation approved by Dugaboy pursuant to the LPA.

         6.       On January 22, 2021, Highland Capital Management, L.P. (“Debtor” or “Plaintiff”

when describing post-petition actions and HCM when describing pre-petition actions) commenced

Adversary Proceeding No. 21-03007 against HCRE, asserting a state law, non-core breach of contract

claim (“Count I”) and an entirely dependent turnover claim under 11 U.S.C. § 542(b) for the amounts

allegedly owed on the Notes (“Count II”).

         7.       HCRE answered the adversary complaint, asserting, inter alia, that Debtor’s claims

should be barred, because prior to the demand for payment HCM agreed it would not collect on the

Notes upon fulfillment of conditions subsequent,11 based upon what the Debtor refers to as the

“Alleged Agreement.”




11
   NexPoint Real Estate Partner, LLC f/k/a HCRE Partners, LLC’s First Amended Answer to Plaintiff’s
Complaint [Ad. No. 21-03007, Dkt. No. 34 at 8 ¶ 58].
11
   Aigen Dec. Ex. 2, May 28, 2021 Remote Deposition
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         8.       On August 23, 2021, the Court entered an order permitting Debtor to file its Amended

Complaint for (I) Breach of Contract, (II) Turnover of Property, (III) Fraudulent Transfer, and (IV)

Breach of Fiduciary Duty (“Amended Complaint”) asserting additional claims for relief including:

Avoidance and Recovery of Actual Fraudulent Transfer Under 11 U.S.C. §§ 548(a)(1)(A) and 550

against Mr. Dondero (“Count III”); Avoidance and Recovery of Actual Fraudulent Transfer Under

11 U.S.C. § 544(b) and 550, and Tex. Bus. & C. Code § 24.005(a)(1) against Mr. Dondero (“Count

IV”); Declaratory Relief pursuant to 11 U.S.C. § 105(a) and Fed. R. Bankr. P. 7001 against Dugaboy

(“Count V”); Breach of Fiduciary Duty against Dugaboy (“Count VI”); and Aiding and Abetting a

Breach of Fiduciary Duty against Mr. Dondero and Nancy Dondero (“Count VII”). Debtor seeks

avoidance of the Alleged Agreement, declaratory relief, and damages. The Parties agreed that the

Defendants would answer or otherwise move against the Amended Complaints on or before

September 1, 2021.12 The new claims, under Counts V, VI, and VII are non-core contract claims that

arise from the LPA, containing a broad arbitration provision. Further, the Defendants have critical

affirmative defenses for the claims for declaratory relief, breach of fiduciary, and aiding and abetting

breach of fiduciary duty, that are rooted in non-core state contract law that also arise from the LPA.

         9.       Although Debtor alleges that it “believes that the Alleged Agreement is a fiction

created after the commencement of this Adversary Proceeding for the purpose of avoiding or at least

delaying paying the obligations due under the notes,”13 there is no doubt that adjudication of the

existence and enforceability of the Alleged Agreement affects all of Debtor’s claims under Counts V,

VI, and VII for declaratory relief, breach of fiduciary duty and breach of fiduciary duty. These claims




12
   See Stipulation and Agreed Order Governing Discovery and Other Pre-Trial Issues attached as Exhibit C to
Debtor’s Unopposed Motion for Leave to Serve and File Amended Complaint [Adv. No. 21-03007, Dkt. No.
55-2 at Exhibit C] stipulating to August 30, 2021 which has been extended to September 1, 2021 by the parties
via email communication.
13
   Amended Complaint [Adv. No. 21-03007, Dkt. No. 63 at ¶ 3].
                                                     6
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pertain to loans made by the Debtor to its Affiliates and compensation for the Debtor’s CEO, all of

which are governed by the LPA.14

          10.     Defendants requests the Court order the parties to arbitration on Counts V, VI, and

VII, as provided by the pre-petition LPA entered into by the parties, and stay the adversary proceeding

pending arbitration.

                                    II.     STANDARD OF REVIEW

          11.     When deciding whether to grant a motion to compel arbitration, the Fifth Circuit has

established a two-step analysis for determining whether parties must arbitrate a particular claim or set

of claims under the FAA: (A) there must be an enforceable agreement to arbitrate; and (B) the claims

must be arbitrable. See Sherer v. Green Tree Serv., LLC, 548 F.3d 379, 381 (5th Cir. 2008) (citations

omitted) (stating “First we must ask if the party has agreed to arbitrate the dispute. . . If so, we then

ask if any federal statute or policy renders the claims non-arbitrable.”); Venture Cotton Coop. v.

Freeman, 435 S.W.3d 222, 227 (Tex. 2014) (“A party seeking to compel arbitration must establish

the existence of a valid arbitration agreement and that the claims at issue fall within the scope of that

agreement.”). Once a party seeking to compel arbitration establishes the asserted claims fall within

a valid arbitration agreement, the burden shifts, and the party seeking to avoid arbitration must prove

an affirmative defense to the provision’s enforcement, such as waiver. Venture Cotton Coop., 435

S.W.3d at 227.

          12.     In applying the first portion of the two-step analysis, state contract law determines

whether parties entered into a valid agreement to arbitrate a set of claims. See, e.g., Fleetwood

Enterprises, Inc. v. Gaskamp, 280 F.3d 1069 (5th Cir. 2002) (“This determination is generally made

on the basis of ‘ordinary state-law principles that govern the formation of contracts.’” (citing First

Options of Chicago, Inc. v. Kaplan, 514 U.S. 938, 944 (1995)). The second part of determining


14
     See generally Aigen Dec. Ex. 1, LPA Article 4 and Section 3.10.
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whether the parties have agreed to arbitrate—the question of whether the dispute comes within the

scope of the agreement—”is answered by applying the federal substantive law of arbitrability.”

Graves v. BP Am., Inc., 568 F.3d 221, 222-23 (5th Cir. 2009) (citations omitted).

         13.      Under both Texas and Federal law, “[A]ny doubts concerning the scope of arbitrable

issues should be resolved in favor of arbitration, whether the problem at hand is the construction of

the contract language itself or an allegation of waiver, delay, or a like defense to arbitrability.” Moses

H. Cone Mem’l Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 24–25, (1983); see also Henry v. Cash

Biz, LP, 551 S.W.3d 111, 115 (Tex. 2018) (quoting In re Serv. Corp. Intern., 85 S.W.3d 171, 174

(Tex. 2002). In addition, the Supreme Court has declared that the Federal Arbitration Act, “is a strong

congressional declaration of a liberal policy favoring arbitration.” See, e.g., Elkjer v. Scheef & Stone,

L.L.P., 8 F. Supp. 3d 845, 849 (N.D. Tex. 2014) (collecting cases) (“if a valid agreement to arbitrate

does exist, the court must observe the strong federal policy favoring arbitration and resolve all

ambiguities in favor of arbitration.”).

                                          III.   ARGUMENT

         14.      This Court should compel arbitration as to Counts V, VI, and VII of the Amended

Adversary Complaint because: (1) The claims under Counts V, VI, and VII comprise disputes

involving legal rights or remedies arising from the LPA and are governed by an enforceable, and

broadly worded, arbitration provision; (2) Counts V, VI, and VII assert noncore claims, and in the

Fifth Circuit courts do not have discretion to refuse to compel the arbitration of matters not involving

“core” bankruptcy proceedings and should compel arbitration of even core claims if they are not

integral to the bankruptcy; and (3) federal and state policy strongly favors arbitration.

         15.      The Federal Arbitration Act (“FAA”) requires district courts to direct parties to

arbitrate issues covered by a valid arbitration agreement. 9 U.S.C. §§ 3, 4; see also Dean Witter

Reynolds, Inc. v. Byrd, 470 U.S. 213, 218 (1985). “Federal policy strongly favors enforcing


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arbitration agreements.” Dean Witter Reynolds, 470 U.S. at 217; Moses H. Cone Mem. Hosp, 460

U.S. at 24. When a party moves to compel arbitration, the FAA requires district courts to order

arbitration of arbitrable claims. Sedco, Inc. v. Petroleos Mexicanos Mexican Nat’l Oil Co. (In re

Sedco, Inc.), 767 F.2d 1140, 1147 (5th Cir.1985). Because of the strong presumption in favor of

arbitration, “a party seeking to invalidate an arbitration agreement bears the burden of establishing its

invalidity.” Vallejo v. Garda CL Sw., Inc., 948 F. Supp. 2d 720, 724–25 (S.D. Tex. 2013), aff’d, 559

F. App’x 417 (5th Cir. 2014) (citing Carter v. Countrywide Credit Indus., Inc., 362 F.3d 294, 297

(5th Cir.2004)); see also Grant v. Houser, 469 Fed. Appx. 310, 315 (5th Cir.2012) (noting the strong

presumption in favor of arbitration).

         16.      “[A]ny doubts concerning the scope of arbitrable issues should be resolved in favor of

arbitration, whether the problem at hand is the construction of the contract language itself or an

allegation of waiver, delay, or a like defense to arbitrability.” Moses H. Cone Mem’l Hosp., 460 U.S.

at 24–25; see also Henry, 551 S.W.3d at 115 (quoting In re Serv. Corp. Intern., 85 S.W.3d at 174).

The Fifth Circuit resolves doubts concerning the scope of matter covered by an arbitration provision

in favor of referring arbitration. The court states:

         We emphasize that our sole responsibility is to determine whether this dispute is
         governed by an arbitration clause, not to determine the merits of the dispute. See
         Snap–On Tools Corp., v. Mason, 18 F.3d 1261, 1267 (5th Cir.1994). “We resolve
         doubts concerning the scope of coverage of an arbitration clause in favor of arbitration.
         . . . [A]rbitration should not be denied ‘unless it can be said with positive assurance
         that an arbitration clause is not susceptible of an interpretation which would cover the
         dispute at issue.’” Neal, 918 F.2d at 37 (internal citations omitted). See also AT & T
         Technologies Inc. v. Communications Workers of America, 475 U.S. at 643, 650
         (1986).

Pennzoil Expl. & Prod. Co. v. Ramco Energy Ltd., 139 F.3d 1061, 1067 (5th Cir. 1998).




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         A.       This Dispute is Governed by An Enforceable Arbitration Provision Reaching All
                  Legal Rights Arising From the LPA.

         17.      Debtor’s claims asserted in Counts V, VI, and VII arise under the LPA, which contains

an enforceable and broadly worded arbitration provision. The U.S. Bankruptcy Court for the Northern

District of Texas, Dallas Division, has already interpreted arbitration provisions with identical scope

language (and near-identical scope language) to the Arbitration Provision under the LPA, to be valid

and binding. See In re Acis Cap. Mgmt., L.P., 600 B.R. 541, 549-50 (Bankr. N.D. Tex. 2019).15

Importantly, the court made clear that “it would seem to be beyond peradventure that [the arbitration

clause] was, at one time, enforceable between the parties, with regard to any disputes that arose

regarding the agreements.” Id. at 552 (emphasis added); see also id. at 557 (emphasis added)

(“there were valid arbitration agreements that applied to all disputes arising out of the [agreements

at issue].”). Accordingly, the court concluded that all claims at issue, including claims for declaratory

judgment, fell within the scope of the relevant arbitration clauses. See id. at 558.

         18.      The Arbitration Provision here also covers any “unresolved legal dispute between the

parties and/or any of their respective officers, directors, partners, employees, agents, affiliates or other

representatives that involves legal rights or remedies arising from this Agreement.” LPA, Section

6.14 (emphasis added). Such broad language is sufficient to reach collateral matters, including the

oral agreement between the parties which involves legal rights arising from LPA.16 Buell Door Co.



15
        The Court’s decision provides the relevant arbitration clause language. The arbitration clause at
Section 16(f) of the Sub-Advisory Agreement states:

         [I]n the event there is an unresolved legal dispute between the parties and/or any of their respective
         officers, directors, partners, employees, agents, affiliates or other representatives that involves legal
         rights or remedies arising from this Agreement, the parties agree to submit their dispute to binding
         arbitration under the authority of the Federal Arbitration Act. . . .

In re Acis Cap. Mgmt., L.P., 600 B.R. at 550 (emphasis added).
16
  It is important to note that the particular language “arising from” is significant in determining that the
Arbitration Provision here is broad. The Fifth Circuit and Texas District Courts have specifically determined
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v. Architectural Sys., Inc., No. 3:02-CV-721-AH, 2002 WL 1968223, at *6 (N.D. Tex. Aug. 20, 2002)

(concluding that the phrase “arising out of” and similar language constitute “broad” arbitration

clauses); see also Elkjer, 8 F. Supp. at 855 (concluding that the arbitration clause which uses the

phrase “arising under or in connection with this [Partnership] Agreement,” is “broad [and] capable of

expansive reach” to include statutory claims). “Broad arbitration clauses are not limited to claims

which literally ‘arise under [a] contract,’ but rather embrace all disputes between the parties having

a significant relationship to the contract regardless of their label.” Id. at *4 (citing Nauru Phosphate

Royalties, Inc. v. Drago Daic Interests, Inc., 138 F.3d 160, 164–65 (5th Cir.1998) (emphasis added)

(internal citations omitted).

         19.      In the Fifth Circuit, a “broadly construed arbitration provision may encompass claims

arising under a separate agreement.” See, e.g., Pers. Sec. & Safety Sys. Inc. v. Motorola Inc., 297 F.3d

388, 393–94 (5th Cir. 2002) (holding that an arbitration provision, which covered “any and all claims.

. . arising out of or relating to” an agreement, applied to claims arising under a separate agreement);

see also Neal v. Hardee’s Food Sys., Inc., 918 F.2d 34, 38 (5th Cir. 1990) (holding that an arbitration

provision encompassing “any and all disputes between [the parties] . . . reach[ed] all aspects of the

parties’ relationship,” including claims arising under a separate agreement); see also I.D.E.A. Corp.

v. WC & R Ints., Inc., 545 F. Supp. 2d 600, 606 (W.D. Tex. 2008) (noting a broad arbitration provision


that only the phrase “arising under” indicates a narrow arbitration clause, rather than broad. This Court has
held:

         upon reviewing the above referenced Fifth Circuit cases, the court concludes that the phrase
         “arising out of” and similar language constitute “broad” arbitration clauses. Accord Morphis
         v. Federal Home Loan Mortgage Corp., No. 3:02–CV–0210–P, 2002 WL 1461930, *3–4
         (N.D.Tex. July 3, 2002) (provision that “any and all disputes between [the parties],” with no
         limiting clause constituted a broad clause). On the other hand, the phrase “arising under”
         indicates a “narrow” arbitration clause. See Mediterranean Enterprises, Inc. v. Ssangyong
         Corp., 708 F.2d 1458, 1464 (9th Cir.1983) (the term “arising under” is relatively narrow)
         (citation omitted).

Buell Door Co., 2002 WL 1968223, at *6. Here, the “arising from” language of the Arbitration Provision is
similar to “arising of out” and is therefore broad.
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may encompass claims arising under a separate agreement). Accordingly, the Arbitration Provision

covers all of the claims regardless if the arise under the LPA or the separate Notes because the

authority to enter into the Notes arises from the LPA which reaches all aspects of the parties’

relationship.

         20.      Here, the LPA choice of law provision, Section 6.1, provides the “Agreement shall be

construed in accordance with and governed by the laws of the state of Delaware. . . .” As a result,

Delaware state contract law determines whether the LPA includes a valid agreement to arbitrate.

Delaware arbitration law mirrors federal law in that “public policy of Delaware favors arbitration.”

James & Jackson, LLC v. Willie Gary, LLC, 906 A.2d 76, 79 (Del. 2006) (citations omitted). Even

Debtor’s rejection of the LPA does not absolve Debtor of its obligation to arbitrate. It is well

established that the “rejection of a contract, or even breach of it, will not void an arbitration clause. .

. . Any different conclusion would allow a party to avoid arbitration at will simply by breaching [or

rejecting] the contract.” Madison Foods v. Fleming Cos., Inc. (In re Fleming Cos, Inc.), 325 B.R.

687, 693-94 (Bankr. D. Del. 2005) (citations omitted).

         21.      Moreover, any question about the scope of the arbitration agreement, including the

arbitrability of any particular claim, is for the arbitrator. Under the FAA, “parties can agree to

arbitrate ‘gateway’ questions of ‘arbitrability,’ such as whether the parties have agreed to arbitrate or

whether their agreement covers a particular controversy.” Rent-A-Center, West, Inc. v. Jackson, 561

U.S. 63, 68-69 (2010). “Just as the arbitrability of the merits of a dispute depends upon whether the

parties agreed to arbitrate that dispute. . . , so the question ‘who has the primary power to decide

arbitrability’ turns upon what the parties agreed about that matter.” First Options of Chi., Inc. v.

Kaplan, 514 U.S. 938, 943 (1995) (citations omitted). The Fifth Circuit provides an in-depth

explanation of who decides what issues when a contract includes an arbitration provision. See Kubala

v. Supreme Production Services, Inc., 830 F.3d 199 (5th Cir. 2016).

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         22.      Incorporating rules from an arbitration service provider that themselves delegate the

question of arbitrability to the arbitrator clearly and unmistakably expresses the parties’ intent to leave

the question of arbitrability to the arbitrator. Petrofac, Inc. v. DynMcDermott Petroleum Operations

Co., 687 F.3d 671, 675 (5th Cir. 2012). Here, the Arbitration Provision provides that the “arbitration

will be conducted by the American Arbitration Association, or another mutually agreeable arbitration

service. A panel of three arbitrators will preside over the arbitration and will together deliberate,

decide and issue the final award.” The rules of the American Arbitration Association provide that the

arbitrator is to decide questions of arbitrability. AAA Commercial Arbitration Rule 7(a). Because

the parties’ arbitration delegates decision-making to the arbitrators, where the parties entered an

agreement to arbitrate, questions of scope and arbitrability should be left to the arbitrator.

         B.     The Claims Asserted In Counts V, VI, and VII Are Arbitrable Because they Are
                Non-Core and Arise Under the LPA.

         23.      Under the LPA, the Court must compel arbitration on Counts V, VI, and VII of the

Amended Complaint, because all of the claims are non-core claims arising from the rights and

obligations under the LPA. Bankruptcy courts have no discretion to refuse to compel the arbitration

of non-core matters. See, e.g., Elite Precision Fabricators, Inc. v. Gen. Dynamics Land Sys., Inc.,

No. CV H-14-2086, 2015 WL 9302843, at *7 (S.D. Tex. Dec. 18, 2015) (citation omitted) (quoting

“it is generally accepted that a bankruptcy court has no discretion to refuse to compel the arbitration

of matters not involving ‘core’ bankruptcy proceedings”). More specifically, under Fifth Circuit

precedent, a bankruptcy court only has discretion to refuse to compel arbitration of an arbitrable claim

where: (1) “the proceeding derives exclusively from the provisions of the bankruptcy code;” and (2)

“arbitration of the proceeding would conflict with the purposes of [the bankruptcy code].” See Matter

of Nat’l Gypsum Co., 118 F.3d 1056, 1067 (5th Cir. 1997); see also Zimmerli v. Ocwen Loan

Servicing, LLC, 432 B.R. 238, 242 (Bankr. N.D. Tex. 2010). “Importantly, however, ‘a bankruptcy

court has no discretion to refuse to compel the arbitration of matters not involving ‘core’
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bankruptcy proceedings under 28 U.S.C. § 157(b).” In re Cain, 585 B.R. 127, 134–35 (Bankr. S.D.

Miss. 2018) (emphasis added) (citation omitted) (stating “it is generally accepted that a bankruptcy

court has no discretion to refuse to compel the arbitration of matters not involving ‘core’ bankruptcy

proceedings.”); In re Acis Cap. Mgmt., L.P., 600 B.R. at 560 (in the Acis case—unlike here—the

claims at issue were “an integral part of determining . . . proofs of claim,” resulting in the court

denying the motion to compel arbitration).

         24.      For claims that are “derivative of the pre-petition legal or equitable rights possessed

by a debtor” it is beyond dispute that “it is ‘universally accepted’ that such issues are arbitrable.” In

re Cain, 585 B.R. at 137 (citing Nat’l Gypsum Co., 118 F.3d at 1066, 1069). In other words, for non-

core proceedings, a court “must give effect to the terms of any applicable arbitration clauses.” In re

Daisytek, Inc., 323 B.R. 180, 188 (N.D. Tex. 2005).

         1.       The Court Lacks Discretion To Refuse To Compel Arbitration On Count V
                  Because Debtor’s Proposed Declaratory Relief Claim Is A Non-Core Claim
                  Arising From The LPA.

         25.      Debtor’s declaratory relief claim simply seeks declarations concerning the extent of

limited partner (including Dugaboy’s) authority under the LPA, including authority to enter into the

Alleged Agreement on behalf of the Partnership.17 This is a legal dispute arising from LPA, a pre-

petition contract, thus coming within the Arbitration Provision and governed by state contract law.

Courts generally agree that claims for declaratory judgment which could also exist outside of

bankruptcy are non-core proceedings.18 See, e.g., In re OCA, Inc., 410 B.R. 443, 450 (E.D. La.



17
   See Amended Complaint [Adv. No. 21-03006, Dkt. No. 63 at ¶¶ 83-86].
18
   See also In re Temecula Valley Bancorp, Inc., 523 B.R. 210, 222–23 (C.D. Cal. 2014)(“That court found a
trustee’s claim for declaratory relief as to the ownership of similar tax refunds non-core because it was a
“dispute between private parties” and arose out of a pre-bankruptcy tax sharing agreement governed by state
contract law); see also In re SFD @ Hollywood, LLC, 414 B.R. 794, 797 (Bankr. S.D. Fla. 2009)(“This
proceeding [for declaratory judgment] could also exist outside of bankruptcy. Accordingly, this is a non-core
proceeding in which the Court cannot enter a final order, absent consent of the district court and the parties.”);
see also Sunterra Corp. v. Perini Bldg. Co., No. 204CV00784MCEEFB, 2008 WL 11512082, at *4 (E.D. Cal.
June 12, 2008)(“The new causes of action--strict liability, negligence, breach of contract, professional
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2007)(“That the doctors’ claims are for breach of contract, breach of fiduciary duty and declaratory

relief, and are entirely based on state law, supports a finding that they are noncore claims.”)

         26.      Therefore, the Court lacks discretion to refuse to compel arbitration on Count V

asserting Declaratory Relief pursuant to 11 U.S.C. § 105(a) and Fed. R. Bankr. P. 7001 against

Dugaboy. Webb v. Investacorp, Inc., 89 F.3d 252, 260 (5th Cir. 1996) (district court did not abuse

discretion in refusing to consider plaintiffs’ request for declaratory relief where order granting

defendant’s motion to compel arbitration disposed of same issues raised in declaratory judgment

action); see also Austin Cap. Mgmt., Ltd. v. Bd. of Trustees of Texas Iron Workers’ Pension Fund,

No. A-09-CA-351 LY, 2009 WL 10699390, at *8 (W.D. Tex. July 30, 2009) (finding action seeking

declaratory relief arbitrable); see also Info. Sys. Audit & Control Ass’n, Inc. v. TeleCommunication

Sys., Inc., No. 17 C 2066, 2017 WL 2720433, at *4 (N.D. Ill. June 23, 2017) (stating that permitting

a party to obtain declaratory relief from a court when there is a valid arbitration agreement is

“essentially the same relief as that otherwise reserved for the arbitrator. It would make little sense to

include such an expansive loophole in what is otherwise a sweeping arbitration provision.”).

         2.       The Court Lacks Discretion To Refuse To Compel Arbitration On Count VI And
                  VII Because Debtor’s Proposed Claims Asserting Breach Of Fiduciary Duty And
                  Aiding And Abetting Breach Of Fiduciary Duty Are Non-Core Claims Arising
                  From The LPA.

         27.      Count VI asserting Breach of Fiduciary Duty against Dugaboy and Count VII Aiding

and Abetting a Breach of Fiduciary Duty against Mr. Dondero and Nancy Dondero for entering into

the Alleged Agreement, must be arbitrated because they are non-core claims that arise under the LPA.

It is well established that state law claims, such as breach of fiduciary duty and aiding and abetting

breach of fiduciary duty, are non-core claims. See, e.g., In re Dune Energy, Inc., 575 B.R. 716, 729

(Bankr. W.D. Tex. 2017) (“Courts within the Fifth Circuit have consistently found that post-


negligence, and declaratory relief--would also exist independently of bankruptcy laws and are similarly “non-
core” proceedings.”).
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confirmation suits by plan trustees based on state law claims are only within the ‘related to’ (and not

‘core’) bankruptcy jurisdiction of a federal court.”); see also Brickley for CryptoMetrics, Inc.

Creditors’ Tr. v. ScanTech Identification Beams Sys., LLC, 566 B.R. 815, 829–30 (W.D. Tex. 2017)

(stating post-confirmation claims for breach of fiduciary duty and state law claims are “related to”

claims); see also Mirant Corp. v. The S. Co., 337 B.R. 107, 120 (N.D. Tex. 2006).

         28.      The breach of fiduciary duty claims under Count VI and aiding and abetting breach of

fiduciary duty under Count VII are—and by their own terms—premised on Dugaboy’s authority to

bind the Debtor under the LPA.19 The Debtor challenges whether the LPA affords the right to

Dugaboy to approve such compensation, thus, any evaluation of the breach of fiduciary duty-related

claims must first entail an analysis of the LPA, making construction of the LPA – the agreement

containing the arbitration clause, a predicate to the analysis of the breach of fiduciary duty claims.

Thus, Counts VI and VII involve unresolved legal disputes between the parties—including the Debtor

and    Mr.     Dondero,       Nancy   Dondero,     and    Dugaboy,      who     are   all   parties   and/or

officers/directors/partners/employees/agents/affiliates/representatives of a General or Limited

Partner—concerning legal duties to the Partnership that would not exist outside of the LPA.

         29.      The Fifth Circuit makes clear that where, as here, the breach of fiduciary duty (or

aiding and abetting fiduciary duty) claim is interwoven with the partnership agreement containing an

arbitration clause, the fiduciary claims will be subject to arbitration. See Coffman v. Provost *

Umphrey Law Firm, L.L.P., 161 F. Supp. 2d 720, 732 (E.D. Tex. 2001), aff’d sub nom. Coffman v.

Provost Umphrey LLP, 33 Fed. Appx. 705 (5th Cir. 2002) (“Even if it is conceivable that Plaintiff


19
  See Amended Complaint [Adv. No. 21-03007, Dkt. No. 63 at ¶ 89] (“If Dugaboy or Ms. Dondero (as
Representative) had the authority to enter into the Alleged Agreement on behalf of the Debtor, then Dugaboy
and/or Ms. Dondero breached their fiduciary duty of care to the Debtor by entering into and authorizing the
purported Alleged Agreement on behalf of the Debtor.”); id. ¶¶ 92-94 (the Donderos “were aware that Dugaboy
would have fiduciary duties to the Debtor if it acted to bind the Debtor,” and the Donderos “aided and abetted
Dugaboy’s breach of its fiduciary duties to the Debtor by knowingly participating in the authorization of the
purported Alleged Agreement.”)
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could maintain a claim for breach of fiduciary duty without the Partnership Agreements, that alone is

not sufficient grounds for concluding that the claim is not within the scope of the arbitration clause .

. . the Partnership Agreements will determine whether a fiduciary duty was breached—whether that

duty arises from the common law or from the contract itself. . . . For these reasons, the court finds

Plaintiff’s breach of fiduciary duty claim to be subject to arbitration.”); see also Omni Pinnacle, LLC

v. ECC Operating Services. Inc., 255 F. App’x 24, 25-26 (5th Cir. 2007) (internal quotation marks

omitted) (“A dispute arises out of or relates to a contract if the legal claim underlying the dispute

could not be maintained without reference to the contract.”).

         30.      Because breach of fiduciary duty and aiding and abetting breach of fiduciary duty are

non-core state-law claims that could exist outside of bankruptcy, the reviewing court lacks discretion

to refuse enforcement of an otherwise-applicable arbitration agreement as to these claims. See In re

McCollum, 621 B.R. 655, 659 (Bankr. N.D. Miss. 2020) (finding that breaching its fiduciary duty “is

a state law contract claim which arose prepetition, could exist outside the bankruptcy case, and is

tangential to the bankruptcy case. It does not invoke a substantive right created by bankruptcy law

and is a non-core claim.”); In re Gaughf, 19-50947-KMS, 2020 WL 1271595, at *4 (Bankr. S.D.

Miss. Mar. 12, 2020) (“Aiding and Abetting Count is non-core.”). Additionally, claims for breach of

fiduciary duty and aiding and abetting breach of fiduciary duty do not reference the Bankruptcy Code

or any right conferred by the Code. See In re McCollum, 621 B.R. at 659. Therefore, the Court lacks

discretion to refuse to compel arbitration on Count VI asserting Breach of Fiduciary Duty against

Dugaboy and Count VII Aiding and Abetting a Breach of Fiduciary Duty against Mr. Dondero and

Nancy Dondero.

         31.      That Nancy Dondero is not personally a party to the LPA does not impair her right to

enforce the arbitration agreement it contains. Debtor alleges misconduct by her and a signatory to the

LPA relating to fiduciary duties Debtor alleges arise out of the LPA. There are two circumstances

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under which a nonsignatory can compel arbitration: (1) when the signatory to a written agreement

containing an arbitration clause must rely on the terms of the written agreement in asserting its claims

against the nonsignatory; or (2) when the signatory to the contract containing an arbitration clause

raises allegations of substantially interdependent and concerted misconduct by both the nonsignatory

and one or more of the signatories to the contract. Westmoreland v. Sadoux, 299 F.3d 462, 467 (5th

Cir. 2002). Both circumstances are implicated by Debtor’s allegations against Nancy Dondero.

         32.      First, non-signatories are entitled to invoke an arbitration agreement when the claim

against the non-signatory arises from the contract with an arbitration provision. See, e.g., Bridas

S.A.P.I.C. v. Gov’t of Turkmenistan, 345 F.3d 347, 361 (5th Cir. 2003) (citing Grigson v. Creative

Artists Agency L.L.C., 210 F.3d 524, 528 (5th Cir. 2000))(“[The plaintiff] cannot, on the one hand,

seek to hold the nonsignatory liable pursuant to duties imposed by the agreement, which contains an

arbitration provision, but, on the other hand, deny arbitration’s applicability because the defendant is

a nonsignatory.”); see also Amegy Bank Nat. Ass’n v. Monarch Flight II, LLC, 870 F. Supp. 2d 441,

450–51 (S.D. Tex. 2012) (citing Grigson, 210 F.3d at 527). Because Debtor charges Nancy Dondero

with breaching fiduciary duties (and aiding and abetting breaches of such duties) that arise out of the

LPA, she falls precisely within the ambit of cases like Bridas, and Grigson and Amegy.

         33.      Second, when the signatory to the contract containing an arbitration clause raises

allegations of substantially interdependent and concerted misconduct by both the nonsignatory and

one or more of the signatories to the contract—here the allegations are made against Nancy Dondero

(a non-signatory) and Dugaboy (a signatory) to the LPA—the non-signatory may compel arbitration

on the claims. Hill v. G E Power Sys., Inc., 282 F.3d 343, 349 (5th Cir. 2002) (affirming that

“equitable estoppel applies when the signatory to a written agreement containing an arbitration clause

must rely on the terms of the written agreement in asserting its claims against the nonsignatory.”);




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see also Grigson, 210 F.3d at 526 (“a non-signatory-to-an-arbitration-agreement-defendant can

nevertheless compel arbitration against a signatory-plaintiff”).

C.       The Court Should Stay All Claims Pending Arbitration.

         34.      The claims that the Court refers to arbitration must be stayed pursuant to the Federal

Arbitration Act, 9 U.S.C. § 3. See In re Gandy, 299 F.3d 489, 494–95 (5th Cir. 2002) (citing

Shearson/American Express, Inc. v. McMahon, 482 U.S. 220, 226–27 (1987) (“A court must stay its

proceedings if it is satisfied that an issue before it is arbitrable under the agreement”). Further,

bankruptcy courts generally do not have discretion to decline to stay, pending arbitration, proceedings

involving non-core matters. Id. at 495. Accordingly, the Court should stay each of the Debtor’s

claims against Defendants pending arbitration.

         35.      Should the Court not refer arbitration on every claim, in the alterative, the Court should

stay the entire adversary proceeding pending arbitration. Permitting any claims to continue herein,

while some or all claims are subject to arbitration would be unnecessarily expensive and duplicative.

The Court has the inherent power to grant a discretionary stay of a proceeding pending arbitration

when there are issues common to the arbitration and the court proceeding and those issues may be

decided by the arbitrator. See Landis v. N. Am. Co., 299 U.S. 248, 254, 57 S. Ct. 163, 166 (1936)

(stating that the power to stay proceedings is incidental to power “inherent in every court to control

disposition of causes on its docket with economy of time and effort for itself, for counsel, and for

litigants.”); see also In re Divine Ripe, L.L.C., 538 B.R. 300, 309 (Bankr. S.D. Tex. 2015) (same).

                                          IV.     CONCLUSION

         WHEREFORE, for the reasons above, Defendants respectfully request that this Court compel

arbitration on Counts V, VI, and VII, and order a stay of the proceedings pending arbitration.




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                                 CERTIFICATE OF SERVICE

      The undersigned hereby certifies that, on September 1, 2021, a true and correct copy of this
document was served via the Court’s CM/ECF system on counsel for the Plaintiff.


                                                     /s/Deborah Deitsch-Perez
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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

 In re:                             §                                             Case No. 19-34054
                                    §
 HIGHLAND CAPITAL MANAGEMENT, L.P. §                                              Chapter 11
                                    §
      Debtor.                       §
                                    §
 HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                    §
      Plaintiff.                    §
 v.                                 §                                             Adversary No. 21-03003-sgj
                                    §
 JAMES D. DONDERO, NANCY DONDERO, §
 AND THE DUGABOY INVESTMENT TRUST, §
                                    §
      Defendants.                   §


               DEFENDANTS’ RULE 12(b)(6) MOTION TO DISMISS PLAINTIFF’S
                   FIFTH, SIXTH, AND SEVENTH CLAIMS FOR RELIEF1




 1
  This Motion to Dismiss is being concurrently filed in Adv. Nos. 21-03003, 21-03007, 21-03006, and 21-03005, Case
 No. 19-34054-sgj11, as Plaintiff’s assertions and Amended Complaints against all Defendants are identical in material
 respects.


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          In the alternative to and contingent upon a denial by the Court of Defendants’ Motion to

 Compel Arbitration (which the Court should not deny), Defendants move to dismiss the Fifth,

 Sixth, and Seventh Claims for Relief in Plaintiff’s Amended Complaint for failure to state claims

 on which this Court could grant relief under Federal Rule of Civil Procedure 12(b)(6), as

 incorporated into this adversary proceeding through Rule 7012 of the Federal Rules of Bankruptcy

 Procedure. In filing this Motion to Dismiss, Defendants do not waive any rights to compel

 arbitration, as set forth in Defendants’ Motion to Compel Arbitration.2 Defendants show in

 support as follows:

 I.       BACKGROUND

          A.       The Bankruptcy and Rejection of Executory Contracts

          1.       Highland Capital Management, L.P. (“Plaintiff”) filed a voluntary Chapter 11

 bankruptcy petition (“Bankruptcy Petition”) on October 16, 2019 (“Petition Date”) in the United

 States Bankruptcy Court for the District of Delaware, and venue was subsequently transferred to

 this Court on December 4, 2019.3 On November 24, 2020, Plaintiff filed its Fifth Amended Plan

 of Reorganization of Highland Capital Management, L.P. (the “Plan”) along with its Disclosure

 Statement, which the Court approved on November 24, 2020.4

          2.       On January 11, 2021, Plaintiff filed its Second Notice of Executory Contracts and

 Unexpired Leases to be Assumed by the Plaintiff [then, Debtor] Pursuant to the Plan (the




 2
   Williams v. Cigna Financial Advisors, Inc., 56 F.3d 656 (5th Cir. 1995) (Defendant did not substantially invoke the
 judicial process and waive its right to arbitration despite removal of action to federal court, filing motion to dismiss,
 filing motion to stay proceedings, answering plaintiff’s complaint, asserting counterclaim, and exchanging discovery);
 Keytrade USA, Inc. v. AIN Temouchent M/V, 404 F.3d 891 (5th Cir. 2005) (Arbitration not waived when defendant
 filed a 100-plus page motion for summary judgment and a concurrent motion to arbitrate); Gulf Guaranty Life Ins.
 Co. v. Conn. Gen. Life Ins. Co., 304 F.3d 476 (5th Cir. 2002) (no waiver of arbitration right when the party seeking
 arbitration did no more than defend itself against the claims made against it).
 3
   Order Transferring Venue, Case 19-12239-Css [Doc. 184].
 4
   Case No. 19-34054-sgj11 [Doc. 1476]

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 “Assumption Notice”).5 The Assumption Notice itemized seventy-one (71) executory contracts

 to be assumed by the Plaintiff, notably including the Fourth Amended and Restated Agreement of

 Limited Partnership of Highland Capital Management, L.P. (the “LPA”). However, on January

 21, 2021, the Debtor entered a Withdrawal Notice, rejecting the LPA along with several other

 executory contracts,6 and confirmed on February 1, 2021, that it had withdrawn the LPA from its

 list of assumed executory contracts.7 On February 22, 2021 (the “Rejection Date”), the Court

 confirmed the Plan, causing the rejection of the LPA.8

          B.       The Limited Partnership Agreement

          3.       James Dondero (“Jim Dondero”) is the co-founder of Highland Capital (Plaintiff in

 this Adversary Proceeding), and served as its President and CEO until January 9, 2020.9 The

 Dugaboy Family Trust (“Dugaboy”) is one of Debtor’s Class A limited partners and holds the

 majority of the Debtor’s Class A limited partnership interests. LPA, Exhibit A. Jim Dondero’s

 sister Nancy Dondero serves as the Dugaboy Family Trustee.10 Jim Dondero is a lifetime

 beneficiary of Dugaboy.11

          4.       Dugaboy’s explicit authorization to approve compensation for Jim Dondero - and

 thus bind the Partnership - comes specifically from the LPA in § 3.10(a), which provides in

 pertinent part:

          (a)    Compensation.       The General Partner and any Affiliate of the General
          Partner shall receive no compensation from the Partnership for services rendered


 5
   Case 19-34054-sgj11 [Doc. 1719].
 6
   Case 19-34054-sgj11 [Doc. 1791, Schedule A].
 7
   Case 19-34054-sgj11 [Doc. 1871].
 8
   Case 19-34054-sgj11 [Doc. 1943].
 9
   Am. Compl. ¶ 11, Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶ 12, Adv. No. 21-03007 [Doc. 63]; Am. Compl. ¶ 12,
 Adv. No. 21-03006 [Doc. 68]; Am. Compl. ¶ 12, Adv. No. 21-03005 [Doc. 63].
 10
    Am. Compl. ¶ 13, Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶ 14, Adv. No. 21-03007 [Doc. 63]; Am. Compl.
 ¶ 14, Adv. No. 21-03006 [Doc. 68]; Am. Compl. ¶ 14, Adv. No. 21-03005 [Doc. 63].
 11
    Am. Compl. ¶ 12, Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶ 13, Adv. No. 21-03007 [Doc. 63]; Am. Compl.
 ¶ 13, Adv. No. 21-03006 [Doc. 68]; Am. Compl. ¶ 13, Adv. No. 21-03005 [Doc. 63].

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          pursuant to this Agreement or any other agreements unless approved by a Majority
          Interest; LPA § 3.10(a) (emphasis added).

 The LPA defines relevant actors in the Compensation provision as follows:

          “‘Majority Interest’ means the owners of more than fifty percent (50%) of the
          Percentage Interests of Class A Limited Partners.” LPA § 2.1, p.4.

          “‘Class A Limited Partners’ means those Partners holding a Class A Limited
          Partnership Interest, as shown on Exhibit A.” LPA § 2.1, p.2.

          Exhibit A reflects “The Dugaboy Investment Trust” as a Class A Limited Partner
          owning 74.4426% of the Class A Limited Partnership Interests. LPA, Exhibit A,
          line 5.12

 Based on the Compensation provision and definitions, Dugaboy clearly had the right to approve

 compensation for the General Partner and its Affiliates.            The General Partner entitled to

 compensation here is Strand Advisors, Inc. The LPA Preamble states in pertinent part:

          “This [LPA] is entered…by and among Strand Advisors, Inc., a Delaware
          Corporation (“Strand”), as General Partner, the Limited Partners party hereto, and
          any Person hereinafter admitted as a Limited Partner. LPA Preamble, p.1.

 The LPA goes on to articulate Affiliates (of Strand):

          “‘Affiliate’ means any Person that directly or indirectly controls, is controlled by,
          or is under common control with the Person in question. As used in this definition,
          the term ‘control’ means the possession, directly or indirectly, of the power to direct
          or cause the direction of the management and policies of a Person, whether through
          ownership of voting securities, by contract or otherwise.” LPA § 2.1, p.2.

          “‘Person’ means an individual or a corporation, partnership, trust, estate,
          unincorporated organization, association, or other entity.” LPA § 2.1, p.5.

 It is undisputed that Jim Dondero was an Affiliate of Strand under the LPA’s definition. It is also

 undisputed that he controlled Highland Capital Real Estate Partners (“HCRE”), Nexpoint

 Advisors, L.P. (“Nexpoint”), and Highland Capital Management Services, Inc. (“HCMS”). 13

 Thus, Jim Dondero was entitled to compensation approved by Dugaboy pursuant to the LPA.


 12
  See attached, LPA Exhibit A.
 13
  Am. Compl. ¶ 2, Adv. No. 21-03007 [Doc. 63]; Am. Compl. ¶ 2, Adv. No. 21-03006 [Doc. 68]; Am. Compl. ¶ 2,
 Adv. No. 21-03005 [Doc. 63].

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          C.       The Promissory Notes

          5.       Over the last several years, multiple promissory notes were executed in favor of the

 Plaintiff to different entities and individuals, which obligations became subject to potential

 forgiveness as compensation for Jim Dondero that, under the LPA, Dugaboy was charged with

 approving:

          Notes to Jim Dondero (the “Dondero Notes”):

                   1.        A note for $3,825,000, executed on February 2, 2018, payable on demand.
                   2.        A note for $2,500,000, executed on August 1, 2018, payable on demand.
                   3.        A note for $2,500,000, executed on August 13, 2018, payable on demand.14

          Notes to HCRE (the “HCRE Notes”):

                   1.        A note for $100,000, executed on November 27, 2013, payable on demand.
                   2.        A note for $2,500,000, executed on October 12, 2017, payable on demand.
                   3.        A note for $750,000, executed on October 15, 2018, payable on demand.
                   4.        A note for $900,000, executed on September 25, 2019, payable on demand.
                   5.        A term note for $6,059,831, executed on May 31, 2017, payable in thirty
                             (30) equal annual installment payments, each due on the 31st day of
                             December each calendar year.15

          Notes to HCMS (the “HCMS Notes”):

                   1.        A note for $150,000, executed on March 28, 2018, payable on demand.
                   2.        A note for $200,000, executed on June 25, 2018, payable on demand.
                   3.        A note for $400,000, executed on May 29, 2019, payable on demand.
                   4.        A note for $150,000, executed on June 26, 2019, payable on demand.16

          Note to Nexpoint (the “Nexpoint Note”):

                   1.        A term note for $30,746,812.33, executed on May 31, 2017, payable in
                             thirty (30) equal annual installment payments, each due on the 31st day of
                             December each calendar year.17

 14
    Am. Compl. ¶¶ 20-22, Adv. No. 21-03003, Case No. 19-34054-sgj11 [Doc. 79].
 15
    Am. Compl. ¶¶ 21-24, Adv. No. 21-03007, Case No. 19-34054-sgj11 [Doc. 63]; According to its Amended
 Complaint, Plaintiff alleges in ¶ 63 that it has suffered damages under the note “in the amount of at least $5,012,260.96,
 as of December 11, 2020,” but in ¶ 64 that it has suffered damages “in the amount of at least $6,145,466.84 as of
 January 8, 2021, plus an amount equal to all accrued but unpaid interest from that date...”
 16
    Am. Compl. ¶¶ 21-24, Adv. No. 21-03006, Case No. 19-34054-sgj11 [Doc. 68].
 17
    Am. Compl. ¶ 21, Adv. No. 21-03005, Case No. 19-34054-sgj11 [Doc. 63]; Plaintiff alleges in ¶ 31 that “as of
 January 15, 2021, the total outstanding principal and accrued but unpaid interest due under the Note was
 $23,071,195.03,” and claims the same amount as damages in ¶ 48.

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          6.       Jim Dondero entered into agreement (the “Subsequent Agreements,” or as Plaintiff

 refers to them, the “Alleged Agreements”) with Nancy Dondero (acting for Dugaboy as its Trustee)

 that Plaintiff would not demand collection of the Notes unless events had occurred that made

 fulfillment of conditions subsequent impossible.18 However, annual term loan payments and

 annual interest payments on the demand notes were to be (and were) made.19

          7.       On December 3, 2020, after the bankruptcy Petition Date, Plaintiff demanded

 payment from Jim Dondero, HCRE, and HCMS on their respective demand notes due by

 December 11, 2020.20 On January 7, 2021, Plaintiff made a demand on the Nexpoint term note,

 claiming that “[t]he amount due and payable on the Note as of January 8, 2021 is $24,471,804.98,”

 and a demand on the HCRE term note, claiming that “[t]he amount due and payable on the Note

 as of January 8, 2021 is $6,145,466.84.”21 Plaintiff has refused to recognize the Subsequent

 Agreement, calling it a “fiction.”22 Other than annual term and interest payments and some

 voluntary prepayments on the term notes, Defendants have not paid the Notes.23




 18
    Am. Answer ¶ 40, Adv. No. 21-03003 [Doc. 16]; Am. Answer ¶ 58, Adv. No. 21-03007 [Doc. 34]; Am. Answer
 ¶ 56, Adv. No. 21-03006 [Doc. 34]; Am. Answer ¶ 42, Adv. No. 21-03005 [Doc. 50].
 19
    E.g., Am. Compl. ¶ 21,27, Adv. No. 21-03005 [Doc. 63], showing the original principal of the note being
 $30,746,812.33, but Plaintiff only demanding $24,471,804.98 in its demand letter; E.g., Am. Compl. ¶ 37,63,64, Adv.
 No. 21-03007 [Doc. 63], showing the original principal of the note being $6,059,831, but Plaintiff alleging it was
 damaged in the amount of at least $5,012,260.96 as of December 11, 2020, but also in the next paragraph inconsistently
 alleging it was damaged in the amount of at least $6,145,466.84.
 20
    Am. Compl. ¶ 26, Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶ 28, Adv. No. 21-03007 [Doc. 63]; Am. Compl.
 ¶ 28, Adv. No. 21-03006 [Doc. 68].
 21
    Am. Compl. ¶ 27, Adv. No. 21-03005 [Doc. 63]; Am. Compl. ¶43, Adv. No. 21-03007 [Doc. 63].
 22
    Am. Compl. ¶ 3, Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶ 3, Adv. No. 21-03007 [Doc. 63]; Am. Compl. ¶ 3,
 Adv. No. 21-03006 [Doc. 68]; Am. Compl. ¶ 3, Adv. No. 21-03005 [Doc. 63].
 23
    With respect to the NexPoint term loans, due to a mistake, the 2020 end-of-year payment was late and the notes
 should be deemed current, Am. Ans. ¶ 40,41, Adv. Pro. 21-03005 [Doc. 50]; Am. Compl. ¶ 28, Adv. No. 21-03005
 [Doc. 55-2], acknowledging payment of $1,406,111.92.

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          D.       The Adversary Proceedings

          8.       On January 22, 2021, Plaintiff initiated Adversary Proceedings against Jim

 Dondero, HCRE, HCMS, and Nexpoint for breach of contract and turnover of property. 24 On

 August 17, 2021, Plaintiff filed Amended Complaints against each Defendant alleging additional

 claims against Jim Dondero and new claims against Dugaboy and Nancy Dondero. Defendants

 each filed Amended Answers asserting several affirmative defenses, including that the Subsequent

 Agreements preclude the respective claims.25

          9.       In the Fifth Claim of each Amended Complaint,26 Plaintiff asks the Court to declare

 (a) that limited partners, including but not limited to Dugaboy, have no right or authority to take

 part in the control (within the meaning of the Delaware Act) of the Partnership’s business, transact

 any business in the Partnership’s name, or have the power to sign documents for or otherwise bind

 the Partnership other than as specifically provided in the LPA, (b) that neither Dugaboy nor Nancy

 Dondero was authorized under the LPA to enter into the Subsequent Agreement on behalf of the

 Partnership, (c) that neither Dugaboy nor Nancy Dondero otherwise had the right or authority to

 enter into the Subsequent Agreement on behalf of the Partnership, and (d) the Subsequent

 Agreement is null and void.27

          10.      In the Sixth Claim of each Amended Complaint,28 Plaintiff alleges that if Dugaboy,

 as a limited partner under the LPA, or Nancy Dondero, as the representative of Dugaboy, had the




 24
    Am. Compl. ¶ 33, Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶ 47, Adv. No. 21-03007 [Doc. 63]; Am. Compl.
 ¶ 45, Adv. No. 21-03006 [Doc. 68]; Am. Compl. ¶ 33, Adv. No. 21-03005 [Doc. 63].
 25
    Am. Answer ¶ 40, Adv. No. 21-03003 [Doc. 16]; Am. Answer ¶ 58, Adv. No. 21-03007 [Doc. 34]; Am. Answer
 ¶ 56, Adv. No. 21-03006 [Doc. 34]; Am. Answer ¶ 42, Adv. No. 21-03005 [Doc. 50].
 26
    Nancy Dondero is a Defendant on Counts V, VI, and VII in Adv. No. 21-03005, Adv. No. 21-3006, and Adv. No.
 21-3007. Nancy Dondero is a Defendant only on Count VII in Adv. No. 21-03003.
 27
    Am. Compl. ¶ 72(a-d), Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶ 86(a-d), Adv. No. 21-03007 [Doc. 63], Plaintiff
 alleges against Dugaboy and Nancy Dondero; Am. Compl. ¶ 84(a-d), Adv. No. 21-03006 [Doc. 68]; Am. Compl.
 ¶ 70(a-d), Adv. No. 21-03005 [Doc. 63].
 28
    See note 26, supra.

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 authority to enter into the Subsequent Agreement on behalf of [Plaintiff], then Dugaboy incurred

 a fiduciary duty of care, and breached said duty by entering into the Subsequent Agreement.29

          11.      In the Seventh Claim of each Amended Complaint, Plaintiff alleges that Jim and

 Nancy Dondero were aware that Dugaboy would have fiduciary duties owed to the Plaintiff if

 acting to bind the Plaintiff per the authorization in the LPA, and aided and abetted Dugaboy’s

 breach of its fiduciary duties by knowingly participating in the authorization of the Subsequent

 Agreement.30

 II.      STANDARD OF REVIEW

          12.      An asserted cause of action must be dismissed when the complaint fails to state a

 claim. Fed. R. Civ. P. 12(b)(6). To survive a motion to dismiss under Rule 12(b)(6), the complaint

 must meet two criteria: (1) it must assert a plausible claim, and (2) it must set forth sufficient

 factual allegations to support the claim. Ashcroft v. Iqbal, 129 S. Ct. 1937, at 1949-50 (citing Bell

 Atlantic Corp v. Twombly, 550 U.S. 544 (2007)). Thus, either a “lack of cognizable legal theory

 or the absence of sufficient facts alleged under a cognizable legal theory” requires dismissal. Id.

 The plaintiff must allege specific facts and not conclusory allegations. Elliott v. Foufas, 867 F.2d

 877, 881 (5th Cir. 1989). A court may not strain to find inferences favorable to the plaintiff or

 accept conclusory allegations, unwarranted deduction, or legal conclusion. R2 Invs. LDC v.

 Phillips, 401 F.3d 638, 642 (5th Cir. 2005).

          13.      To satisfy Twombly and Iqbal, “a complaint must contain sufficient factual matter,

 accepted as true, to ‘state a claim to relief that is plausible on its face.’” Id., Twombly, at 570. A

 claim has facial plausibility when the plaintiff pleads enough factual content that allows the court


 29
    Am. Compl. ¶ 75, Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶ 89, Adv. No. 21-03007 [Doc. 63]; Am. Compl.
 ¶ 87, Adv. No. 21-03006 [Doc. 68]; Am. Compl. ¶ 73, Adv. No. 21-03005 [Doc. 63].
 30
    Am. Compl. ¶ 79, Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶ 93, Adv. No. 21-03007 [Doc. 63]; Am. Compl.
 ¶ 91, Adv. No. 21-03006 [Doc. 68]; Am. Compl. ¶ 77, Adv. No. 21-03005 [Doc. 63].

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 to draw the reasonable inference that the defendant is liable under the alleged claim. Id. at 556.

 Even if a court decides that the factual allegations are entitled to an assumption of truth, however,

 the facts must also “plausibly suggest an entitlement to relief.” Id., Iqbal, at 1951.

 III.     ARGUMENTS AND AUTHORITIES

          A.       Plaintiff’s Fifth Claim for Declaratory Relief Under the LPA Should Be
                   Dismissed for Two Reasons.

                   1.       Plaintiff’s Fifth Claim Fails Because the Terms of the LPA are so Clear
                            on their Face That There is No Actual Controversy between Parties.

          14.      Plaintiff’s claim presents no “actual controversy” because the provisions of the

 LPA clearly allow Dugaboy to bind the Partnership by approving compensation and there is no

 controversy that could require a declaration by this Court.

          15.      Plaintiff argues that Dugaboy was not authorized to enter into the Subsequent

 Agreement regarding Jim Dondero’s compensation, nor was it authorized to bind the Partnership.31

 Plaintiff further attached the LPA as “Exhibit 5” to its Amended Complaints and referenced this

 Court to § 4.2, which states:

          Management of Business.       No Limited Partner shall take part in the control
          (within the meaning of the Delaware Act) of the Partnership’s business, transact
          any business in the Partnership’s name, or have the power to sign documents for or
          otherwise bind the Partnership other than as specifically set forth in this
          Agreement.32 (emphasis added).

          16.      Contrary to Plaintiff’s argument, the LPA explicitly authorizes Dugaboy as the

 Majority Interest to approve compensation for Jim Dondero as previously articulated in this

 Motion. Approving compensation inherently binds the Partnership in that it exchanges money on

 behalf of the Partnership for services rendered. Because it is so expressly provided for in the LPA,




 31
   Id.
 32
    Am. Compl. ¶ 43, Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶ 55, Adv. No. 21-03007 [Doc. 63]; Am. Compl.
 ¶ 53, Adv. No. 21-03006 [Doc. 68]; Am. Compl. ¶ 27, Adv. No. 21-03005 [Doc. 63].

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 Plaintiff’s contention that Dugaboy could not act to bind the Partnership through compensation

 agreements amounts to Plaintiff’s misinterpretation of the LPA as opposed to an “actual

 controversy” in need of declaratory relief. This claim is nothing more than Plaintiff’s attempt at

 an end-around to avoid proving the merits of its breach of fiduciary duty claims and essentially

 asks this Court for an advisory opinion to help Plaintiff do so. Under Twombly, Plaintiff’s claim

 for declaratory relief should be dismissed pursuant to Rule 12(b)(6).

                   2.       Debtor Lacks Standing to Assert a Claim for Declaratory Relief Based
                            Upon an Executory Contract It Rejected.

          17.      There is no authority for “allowing a debtor's estate or a successor-in-interest such

 as the [creditor’s committee or litigation trustee] to pursue claims for post-petition breaches of a

 rejected contract. Because rejection is an affirmative declaration by the debtor that the estate will

 not take on the obligations of a prepetition contract made by the debtor, [Plaintiff-Debtor’s]

 rejection of the [LPA] not only relieved the estate of its post-petition performance obligations, but

 also relieved the estate of its ability to assert claims for post-petition breaches thereof.” Lauter v.

 Citgo Petroleum Corp., CV H-17-2028, 2018 WL 801601, at *15 (S.D. Tex. Feb. 8, 2018). As

 explained below, as a result, not only does this preclude Debtor’s claims for breach of fiduciary

 duty (see sections B.2., C.5. infra), it also precludes Debtor’s attempt to obtain declaratory relief.

          18.      Plaintiff seeks declaratory relief against Dugaboy and Nancy Dondero to determine

 if either of them were authorized to enter into the Subsequent Agreement under the LPA. 33

 Although most causes of action accrue when an injury results from a wrongful act, a cause of

 action for declaratory relief differs in that it does not accrue until there is an actual controversy

 between the parties. In re Estate of Denman, 362 S.W.3d 134, 144 (Tex. App. -- San Antonio



 33
   Am. Compl. ¶ 72(a-d), Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶ 86(a-d), Adv. No. 21-03007 [Doc. 63]; Am.
 Compl. ¶ 84(a-d), Adv. No. 21-03006 [Doc. 68]; Am. Compl. ¶ 70(a-d), Adv. No. 21-03005 [Doc. 63].

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 2011, no pet.); Murphey v. Honeycutt, 199 S.W.2d 298, 299 (holding that declaratory judgment

 action accrued in a will construction case at the time when an heir committed an act indicating she

 was operating against the will, not when the will was executed years prior to the heir’s act);

 Muzquiz v. Para Todos, Inc., 624 S.W.3d 263, 278 (Tex. App. – El Paso 2021, pet. filed) (holding

 that in a lease dispute, the actual controversy did not arise-- and the claim did not accrue- when

 the lease was entered into by the parties, but rather when plaintiff challenged the lease terms at a

 later date).

            19.    Here, Plaintiff’s declaratory relief claim accrued (if at all) when Jim Dondero

 asserted the Subsequent Agreement as an affirmative defense. Plaintiff alleges that the actual

 controversy here is whether or not Dugaboy or Nancy Dondero had authority to enter into the

 Subsequent Agreement under the rejected LPA. Plaintiff specifically pleads that “[a] bona fide,

 actual, present dispute exists between the [Plaintiff] and Dugaboy concerning whether Dugaboy

 was authorized to enter into the Alleged Agreement on the [Plaintiff]’s behalf….[and a] judgment

 declaring the parties’ respective rights and obligations will resolve their dispute.”34 Plaintiff did

 not allege anywhere in its Original Complaint that a dispute regarding Dugaboy’s authority to enter

 the Subsequent Agreement required declaratory relief. Only after Defendants filed their Amended

 Answers did Plaintiff seek such relief in its Amended Complaint.35 Therefore, this cause of action

 for declaratory relief accrued when Plaintiff received Defendant’s Amended Answers after the

 bankruptcy began, as that is when facts came into existence that created an actual controversy

 under the LPA.

            20.    Section 365 of Title 11 of the United States Code (the "Bankruptcy Code") governs

 the inclusion and exclusion of executory contracts in bankruptcy. Section 365 vests the power to


 34
      Id.
 35
      Id.

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 reject or assume any of the Debtor’s executory contracts in the trustee, subject to the court’s

 approval. 11 U.S.C. § 365(a). A debtor’s rejection of an executory contract constitutes a breach

 of such contract immediately before the date of the filing of the [bankruptcy] petition. 11 U.S.C.

 § 365(g)(1). In this case, Plaintiff’s act of rejection resulted in a material breach of the LPA that

 relates back to October 15, 2019 (the “Breach Date”) pursuant to the Bankruptcy Code. See 11

 U.S.C. § 365(g)(1).

          21.      “Rejection is an affirmative declaration that the estate will not take on the

 obligations of a pre-petition contract made by the debtor” and “places the obligation to perform

 outside of the bankruptcy administration.” Lauter, at *13, citing Matter of Austin Dev. Co, 19 F.3d

 1077, 1082-83 (5th Cir. 1994); In re Continental Airlines, 981 F.2d 1450, 1459 (5th Cir. 1993).

 “[R]ejection does not change the substantive rights of the parties to the contract, but merely means

 the bankruptcy estate itself will not become a party to it.” In re Alongi, 272 B.R. 148, 153 (Bankr.

 D. Md. 2001) (citing M. Andrew, Executory Contracts in Bankruptcy: Understanding

 “Rejection”, 59 U.Colo.L.Rev. 845 (1988)). As noted above, rejection not only relieves the estate

 of post-[bankruptcy]petition performance obligations, but also of its ability to assert claims for

 post-petition breaches thereof. Lauter, at *15.

          22.      The court in Lauter looked to the reasoning of Fifth Circuit opinions examining the

 effects of plaintiffs rejecting executory contracts under § 365. In In re Continental, the court

 reasoned in part that, under § 365, “An agreement cannot ‘exist’ for one purpose yet take on a

 ‘nonexistent’ quality which works for the advantage of one party or the other” when a debtor-

 plaintiff sought to avoid paying airline pilots under an executory contract it rejected, attempting to

 treat the contract as terminated. Id. at 1460. Likewise, the court in Matter of Austin reasoned that

 a rejection of a lease under § 365 did not terminate the lease, but moved the rights of the parties



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 affected “outside of the bankruptcy court’s realm because after rejection, the debtor’s estate is no

 longer involved in the leasehold transaction.” Id. at 1083.

          23.      Following the Fifth Circuit’s application of § 365 in cases such as In re Continental

 and Matter of Austin, the court in Lauter addressed the impact of a debtor-plaintiff’s attempt to

 pursue post-petition claims against a defendant whose executory contract had been rejected. The

 court held that just as in any other contract dispute, a prior material breach by a counterparty

 relieved the aggrieved party of the duty to perform and deprived the breaching party of the ability

 to make claims for breach after its own breach. Id. at *12-13, 15. After a thorough discussion of

 § 365, the court ultimately found that the plaintiff lacked standing to pursue claims resulting from

 a post-petition breach of an executory contract, holding that “the court has not found any authority

 allowing a debtor’s estate . . . to pursue claims for post-petition breaches of a rejected contract.”

 Id. at *15.

          24.      Here, Plaintiff asks this Court to interpret and, in effect, determine a breach of the

 same LPA it rejected and breached prior to the bankruptcy petition date. The LPA was rejected

 on February 22, 2021 and thus deemed materially breached on October 15, 2019 under § 365(g)(1).

 Because this cause of action accrued after both rejection and the relation-back breach provision of

 § 365, Plaintiff’s Fifth Claim for declaratory relief amounts to a post-petition claim arising from a

 rejected executory contract, which the court in Lauter held a Debtor lacks standing to assert in a

 bankruptcy proceeding. Therefore, this claim should be dismissed pursuant to Twombly and Rule

 12(b)(6).




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          B.       Plaintiff’s Sixth Claim of Breach of Fiduciary Duty Against Dugaboy and
                   Nancy Dondero Fails for Two Reasons.

                   1.       Dugaboy Owes No Fiduciary Duty to Plaintiff as a Consequence of
                            Exercising Its Right to Approve Compensation.

          25.      Plaintiff alleges that “if Dugaboy, as a limited partner, had the authority to enter

 into the Alleged Agreement…then Dugaboy would owe the [Plaintiff] a fiduciary duty.”36 The

 LPA in this case is governed by the Delaware Revised Uniform Limited Partnership Act (the

 “DRULPA”) except as specifically provided for in the LPA. LPA §§ 1.1,1.2; see also Del. Code

 Ann. Tit. 6, § 17-1102. The DRULPA allows partnership agreements to expand, restrict, or

 eliminate fiduciary and other legal or equitable duties, provided it may not eliminate the implied

 contractual duty of good faith and fair dealing. Del. Code Ann. Tit. 6, § 17-1101(d). The

 DRULPA also specifically permits a partnership agreement to provide the rules for how partners

 may transact with the partnership. Del. Code Ann. Tit. 6, § 17-107.

          26.      In Delaware, a limited partner does not owe a fiduciary duty as a consequence of

 exercising a right of the limited partner under the partnership agreement. Bond Purchase, L.L.C.

 v. Patriot Tax Credit Properties, L.P., 746 A.2d 842, 864 (Del. Ch. 1999); In re Est. of Conaway,

 2012 WL 524190, at *3 (Del. Ch. Feb. 15, 2012), aff’d sub nom. Russell-Conaway v. Frederick-

 Conaway, 2012 WL 4478655, 54 A.3d 257 (Del. 2012) (unpublished).

          27.      In Bond Purchase, a limited partner exercised its right under the limited partnership

 agreement to obtain records of the owners of the partnership for the purpose of making a tender

 offer for additional interests in the partnership. Although the other partners claimed this request

 for records was a breach of a fiduciary duty, the court held that “in the absence of any provision

 in the partnership agreement engrafting duties onto [the limited partner],” “[the limited partner]


 36
    Am. Compl. ¶ 75, Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶ 89, Adv. No. 21-03007 [Doc. 63]; Am. Compl.
 ¶ 87, Adv. No. 21-03006 [Doc. 68]; Am. Compl. ¶ 73, Adv. No. 21-03005 [Doc. 63].

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 owes no fiduciary duties,” and allowed the limited partner access to the records it sought under the

 partnership agreement. Id. at 864.

          28.      In In re Est. of Conaway, a limited partner withheld consent to transfer another

 partner’s interest as he was allowed to under the limited partnership agreement. The receiving

 party alleged a breach of the non-consenting limited partner’s fiduciary duty. The court held that

 where the limited partner “merely exercised his contracted-for rights under the terms of the [limited

 partnership agreement],” the limited partner breached no fiduciary duty, assuming there even was

 one. Id. at *3.

          29.      Just as the limited partners in Bond Purchase and In re Est. of Conaway, Dugaboy

 was merely exercising its right to approve compensation pursuant to the LPA when it entered into

 the Subsequent Agreement. LPA § 3.10(a); § 2.1. Therefore, Dugaboy owes no fiduciary duty to

 the Plaintiff as a consequence of simply exercising its right under the LPA. While a limited partner

 who takes on an active role in the management of the entity may thereby assume fiduciary duties,

 Feeley v. NHAOCG, LLC, 62 A.3d 649, 662 (Del. Ch. 2012) (citing cases); Bond Purchase at 863-

 64, merely engaging in actions delegated to the limited partner in the partnership agreement does

 not constitute participating in the control of a business so as to trigger the assumption of fiduciary

 duties. Del. Code Ann. Tit. 6, § 17-303(b)(8)(o).

          30.      Texas has similarly held that “a limited partner does not participate in the control

 of the business” by taking certain actions listed in the statutes, and such “actions complained of by

 the plaintiff did not amount to the types of control that could give rise to a duty to the other limited

 partners.” Strebel v. Wimberly, 371 S.W.3d 267, 280 (Tex. App. 2012) (summarizing holding of

 AON Properties, Inc. v. Riveraine Corp., 1999 WL 12739, at *23 (Tex. App. Jan. 14, 1999)).




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          31.      Here, Dugaboy did not participate in the control of the business because it was

 taking actions explicitly extended to it in the LPA by approving compensation under § 3.10(a).

 LPA § 3.10(a); § 2.1.           Since the LPA explicitly gives Dugaboy the right to approve such

 compensation, and Dugaboy was not participating in the control of the business, Dugaboy does

 not owe a fiduciary duty to Plaintiff. Dugaboy cannot breach a fiduciary duty it does not owe.

 Further, Nancy Dondero as Trustee owes no fiduciary duty to Plaintiff independently from what

 Dugaboy owes, as Dugaboy is her principal. Like Dugaboy, Nancy Dondero cannot breach a

 fiduciary duty she does not owe. Under Twombly, Plaintiff’s claim for breach of fiduciary duty

 against Dugaboy and Nancy Dondero should be dismissed pursuant to Rule 12(b)(6).

                   2.       Nancy Dondero Owes No Fiduciary Duty to Debtor.

          32.      Under Delaware law, a trustee’s fiduciary duties of care and loyalty flow to the trust

 and the beneficiar(ies) of the trust. Tigani v. Tigani, 2021 Del. Ch. LEXIS 60, *1, 2021 WL

 1197576 (March 30, 2021). A trustee is prohibited from considering her own interests and “all

 consideration of the interests of third persons.” Id. at * 38.

          33.      Plaintiff claims that if Dugaboy had the authority to enter into the Subsequent

 Agreement, then Ms. Dondero would then somehow owe a fiduciary duty directly to Plaintiff. The

 Amended Complaint does not allege any facts as to why or how such a fiduciary duty would

 appear, and there is no legal authority to support such a conclusion. As discussed above, not even

 Dugaboy owed a fiduciary duty to Plaintiff in determining compensation, as Dugaboy was

 expressly authorized to do under § 3.10(a) of the LPA. Nancy Dondero, individually, is even

 further removed from owing any duty to Plaintiff, much less a fiduciary duty. Plaintiff cannot

 create a legal duty simply by claiming one exists, and its breach of fiduciary duty claim against

 Nancy Dondero should be dismissed under Twombly and Rule 12(b)(6).



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                   3.       Debtor Lacks Standing to Assert a Claim for Breach of Fiduciary Duty
                            Based Upon an Executory Contract It Rejected.

          34.      Plaintiff’s Sixth Claim is also barred for the same reasons that discussed in Section

 A.2 supra, and similarly relies on the fact that this cause of action accrued after the LPA was

 breached on October 15, 2019. In this case, Plaintiff suffered no legal injury – and no cause of

 action accrued - until the notes were not paid on demand by December 11, 2020.

          35.      Generally, “a cause of action accrues…when facts come into existence that

 authorize a claimant to seek judicial remedy.” Dunmore v. Chicago Title Ins. Co., 400 S.W.3d

 635, 640 (Tex. App. – Dallas 2013, no pet.) (citing cases). “Breach of fiduciary duty claims

 generally accrue when the claimant knows or in the exercise of ordinary diligence should know of

 the wrongful act and resulting injury.” Dunmore, at 641 (emphasis added). Further, “[t]he general

 rule governing when a claim accrues…is the ‘legal injury rule,’ which provides that a claim accrues

 ‘when a wrongful act causes some legal injury, even if that fact of injury is not discovered until

 later, and even if all damages have not yet occurred.’” Id. (citing Murphy v. Campbell, 964 S.W.2d

 265, 270 (Tex. 1997)). “[A] legal injury [is] an injury giving cause of action by reason of its being

 an invasion of a Plaintiff's right…be the damage however slight.” Murphy, at 270. Although the

 discussion of when a claim accrues in Texas generally involves application of the discovery rule

 (which is not applicable to these facts), the concept of “legal injury” is still the cornerstone of an

 accrual analysis.

          36.      Here, Plaintiff alleges that Dugaboy and Nancy Dondero breached a fiduciary duty

 when it entered into the Subsequent Agreement.37 The alleged wrongful act was the Subsequent

 Agreement itself which Plaintiff alleges breached a fiduciary duty. However, Plaintiff suffered no



 37
    Am. Compl. ¶ 75, Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶ 89, Adv. No. 21-03007 [Doc. 63]; Am. Compl.
 ¶ 87, Adv. No. 21-03006 [Doc. 68]; Am. Compl. ¶ 73, Adv. No. 21-03005 [Doc. 63].

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 legal injury from the Subsequent Agreement until Defendant did not pay the Notes when

 demanded (if it even suffered one at all). The Subsequent Agreement simply made the Notes

 potentially forgivable upon conditions subsequent, which could not have impacted the alleged

 value of the Notes until the conditions occurred. As a result, the cause of action did not accrue

 until December 11, 2020, after the Petition Date. Debtor’s rejection of the LPA, the alleged source

 of the fiduciary duties allegedly breached,38 therefore bars pursuit of the Plaintiff’s Sixth Claim

 for the same reasons set forth in Section A.2 supra.

          C.       Plaintiff’s Seventh Claim of Aiding and Abetting Breach of Fiduciary Duty
                   against Jim and Nancy Dondero Fails for Several Reasons.

                   1.       Neither Jim nor Nancy Dondero could have Aided and Abetted a
                            Breach of Fiduciary Duty because Dugaboy did Not Owe a Fiduciary
                            Duty to Plaintiff.

          37.      Plaintiff claims that Jim and Nancy Dondero aided and abetted Dugaboy’s alleged

 breach of fiduciary duty by entering into the Subsequent Agreement. However, aiding and abetting

 is a fundamentally dependent claim that can only succeed if there is a valid underlying breach of

 fiduciary duty claim. In re Draw Another Circle, 602 B.R. 878, 904 (Bankr. D. Del. 2019) (citing

 Restatement (Second) of Torts § 876 for the proposition “the derivative nature of an aiding and

 abetting claim will exist only with the success of the breach of fiduciary duty claim”); West Fork

 Advisors LLC v. SunGard Consulting Services, LLC, 437 S.W.3d 917, 921 (Tex. App.-Dallas

 2014) (citing Restatement (Second) of Torts § 876(b) (1979)). As previously discussed in Section

 B.1., Dugaboy did not owe any fiduciary duty to Plaintiff that could have been breached.

 Therefore, Plaintiff’s derivative claim of aiding and abetting against both Jim and Nancy Dondero

 is legally impossible and should be dismissed under Twombly and Rule 12(b)(6).



 38
   Am. Compl. ¶ 72(a-d), Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶ 86(a-d), Adv. No. 21-03007 [Doc. 63]; Am.
 Compl. ¶ 84(a-d), Adv. No. 21-03006 [Doc. 68]; Am. Compl. ¶ 70(a-d), Adv. No. 21-03005 [Doc. 63].

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                   2.       Nancy Dondero Cannot Aid and Abet Herself as Dugaboy Trustee
                            Because Aiding and Abetting Requires More Than One Actor.

          38.      Even if Dugaboy owed and breached a fiduciary duty to Plaintiff (which it did not),

 it is legally impossible for Nancy Dondero to have aided and abetted Dugaboy’s alleged breach of

 fiduciary duty by authorizing the Subsequent Agreement as she was acting as Dugaboy in her

 trustee status. Because there are limited cases on point, an analysis under the Restatement

 (Second) of Torts § 876 (1979) is compelling because Delaware courts routinely look to the

 Restatement to fill lacunae in the law. In re Rural Metro Corp., 88 A.3d 54, 98 (Del. Ch. 2014),

 decision clarified on denial of reargument sub nom. In re Rural Metro Corp. Stocholders Litig.

 (Del. Ch. 2014) (applying the Restatement to an aiding and abetting breach of fiduciary duty

 analysis). “The Delaware Supreme Court often relies on the Restatement (Second) of Torts.” Id.

 at 98. Comparison to cases in other jurisdictions construing law similar to Delaware law is also

 instructive.

          39.      The Restatement (Second) § 876 provides: “For harm resulting to a third person

 from the tortious conduct of another, one is subject to liability if he (a) does a tortious act in concert

 with the other or pursuant to a common design with him, or (b) knows that the other’s conduct

 constitutes a breach of duty and gives substantial assistance or encouragement to the other so to

 conduct himself, or (c) gives substantial assistance to the other in accomplishing a tortious result

 and his own conduct, separately considered, constitutes a breach of duty to the third person.”

 Restatement (Second) of Torts § 876 (1979), adopted in Delaware by Patton v. Simone, Civ. A.

 90C-JA-29, 1992 WL 183064 (Del. Super. Ct. June 25, 1992) (emphasis added). Under the

 Restatement (Second), people act “in concert” with each other when they act “in accordance with

 an agreement to cooperate in a particular line of conduct or to accomplish a particular result.”

 Restatement (Second) of Torts § 876, comment A. Under the Restatement (Second), Nancy


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 Dondero could not have conceivably acted “in accordance with an agreement” with herself in her

 Trustee capacity, as she is a singular individual.

          40.      Delaware has not directly addressed the issue of whether one can aid and abet one's

 self, but it has applied the Restatement (Second) when analyzing aiding and abetting a breach of

 fiduciary duty claims, which requires a plaintiff to prove: (1) the existence of a fiduciary

 relationship, (2) breach of the fiduciary’s duty, (3) defendant, who is not a fiduciary, knowingly

 participated in the breach, and (4) damages to the plaintiff as the result of the concerted action of

 the fiduciary and the non-fiduciary. In re USDigital, Inc., 443 B.R. 22, 46 (Bankr. D. Del. 2011)

 (citing elements of aiding and abetting breach of fiduciary duty in Delaware and holding that a

 director defendant cannot have aided and abetted the same fiduciary duty he allegedly breached in

 a previous count); In re Draw, at 904 (applying Restatement (Second) to the knowing participation

 element); Patton, at *8 (applying Restatement (Second) to aiding and abetting analysis); In re

 Oracle Corp. Derivative Litig., 2020 WL 3410745, at *11 (Del. Ch. June 22, 2020) (applying the

 Restatement (Second) to knowing participation in aiding and abetting analysis and acknowledging

 that § 876 has been cited with approval in Delaware in ). Again, because Plaintiff is alleging that

 Nancy Dondero aided and abetted Dugaboy (which was acting through Nancy Dondero), the

 requirement of a second actor is not met because Nancy Dondero cannot act in concert with herself.

          41.      Analogously, officers and agents cannot aid and abet their principal or each other

 in the commission of a tort. Cornell Glasgow, LLC v La Grange Props., LLC, 2012 WL 2106945,

 at *11 (Del. Super. Ct. June 6, 2012); Amaysing Techs. Corp. v. Cyberair Communications, Inc.,

 2005 WL 578972, at *7 (Del. Ch. Mar. 3, 2005) (“It is basic in the law of conspiracy that you must

 have two persons or entities to have a conspiracy. A corporation cannot conspire with itself any

 more than a private individual can, and it is the general rule that the acts of the agent are the acts



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 of the corporation.”). Application of this law to the present circumstances further compels the

 conclusion that Nancy Dondero cannot aid and abet herself. Texas also has looked to the

 Restatement (Second) of Torts § 876 for guidance regarding its aiding and abetting doctrine, which

 states that “[i]t is settled as the law of [the State of Texas] that where a third party knowingly

 participates in the breach of duty of a fiduciary, such third party becomes a joint tortfeasor with

 [that] fiduciary and is liable as such.” In re TOCFHBI, Inc., 413 B.R. 523, 534 (Bankr. N.D. Tex.

 2009) (citing Kinzbach Tool Co. v. Corbett-Wallace Corp., 138 Tex. 565, 574, 160 S.W.2d (1942))

 (emphasis added, citing elements); W. Fork Advisors, LLC v. SunGuard Consulting Services, LLC,

 437 S.W.3d 917, 921 (Tex. App. – Dallas 2014, pet. denied) (looking to Restatement (Second)

 regarding aiding and abetting analysis). Although also having sparse law regarding whether one

 can aid and abet one's own self, Texas law still requires a third party in order to prove aiding and

 abetting a breach of fiduciary duty. For the same reasons mentioned above, Nancy simply cannot

 aid and abet her own actions as Dugaboy Trustee.

          42.      Arizona courts have more directly held that under the Restatement (Second), “when

 [Plaintiffs] fail to allege [agent] took any actions in [their] individual capacity ‘in concert’ with

 the actions giving rise to the breach of fiduciary duty claim against [insurance company],

 [plaintiff’s] aiding and abetting claim against [agent] will be dismissed.” Young v. Liberty Mut.

 Group, Inc., CV-12-2302-PHX-JAT, 2013 WL 840618, at *4 (D. Ariz. Mar. 6, 2013).39 In Young,

 the Court reasoned that “…it does not follow that [agent] must have committed the separate tort

 of aiding and abetting merely because he was the agent through which [insurance company]

 breached its duty.” Id. at *4. The Court dismissed the claim on the agent’s 12(b)(6) motion.


 39
    In Young, Plaintiff sued both Liberty Mutual for breach of fiduciary duty, and her personal insurance agent for
 aiding and abetting said breach. Because Plaintiff failed to allege [agent] took any actions in his individual capacity
 “in concert” with the actions giving rise to Plaintiff’s claim against Liberty Mutual, the aiding and abetting claim was
 dismissed upon 12(b)(6) motion.

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 Further, in Jones v. Colorado Cas. Ins. Co., the same Court dismissed a similar claim upon another

 insurance agent’s 12(b)(6) motion, agreeing with the agent’s assertion that “one cannot aid and

 abet one’s self.” Jones v. Colorado Cas. Ins. Co., CV 12-1968-PHX-JAT, 2013 WL 4759260, at

 *3 (D. Ariz. Sept. 4, 2013) (dismissing a claim against an insurance agent for aiding and abetting

 the insurance company’s breach of fiduciary duty, determining that in order for there to be harm

 to a third person, there must be at least two tortfeasors). Just as the insurance agents could not aid

 and abet themselves as representatives for the insurance companies, Nancy Dondero could not

 have aided and abetted herself in her capacity as Dugaboy Trustee.

          43.      Connecticut takes a similar approach in holding that aiding and abetting means to

 help or compel another to act, and that an alleged tortfeasor cannot aid or abet himself, and doing

 so would yield “circular results.” Bolick v. Alea Group Holdings, Ltd., 278 F. Supp. 2d 278, 282

 (D. Conn. 2003) (dismissing aiding and abetting claim).40 Because Nancy Dondero was acting as

 Dugaboy in the conduct about which Debtor complains, she is not a “third party” to an act. It is

 impossible for Nancy Dondero to aid and abet her own self - as most distinctly stated in Cornell

 Glasgow, LLC and Bolick - because aiding and abetting requires the concerted action and scienter

 of more than one person. Therefore, Plaintiff’s Seventh Claim should be dismissed under Twombly

 and Rule 12(b)(6).

                   3.       Plaintiff does Not Plead the Sufficient Scienter Requirement for Aiding
                            and Abetting in its Amended Complaint for Either Jim or Nancy
                            Dondero.

          44.      In addition to the above infirmities, Plaintiff fails to allege the necessary scienter

 required to show aiding and abetting for both Jim and Nancy Dondero.                               Delaware courts


 40
    Bolick addressed an employment discrimination case where Plaintiff sued her supervisor for both harassment and
 aiding and abetting that same harassment. The Court held that to hold the supervisor liable for his wrongful behavior
 and also aiding and abetting that wrongful behavior is illogical and would yield circular results. Court used dictionary
 to reference “abettor” as someone who encourages an offender.

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 acknowledge that an aiding and abetting analysis largely comes down to what constitutes

 “knowing participation.” In re Draw, at 904. The aider and abettor must act “knowingly,

 intentionally, or with reckless indifference…that is, with an illicit state of mind.” Id. The Plaintiff

 must allege specific facts that show Defendants had “actual knowledge” that their conduct

 intentionally aided and abetted a breach, not simply that they “knew or should have known.” Id.

 (citing Capitaliza-T Sociedad De Responsabilidad Limitada De Capital Variable v. Wachovia

 Bank of Delaware Nat. Ass’n, CIV. 10-520 JBS KMW, 2011 WL 864421, at *5 (D. Del. Mar. 9,

 2011)).

           45.     In In re Draw, a Chapter 11 trustee filed an amended adversary complaint against

 several members of the company’s board of directors, asserting breach of fiduciary duties and

 aiding and abetting breaches of fiduciary duties. On the defendant’s 12(b)(6) motion, the court

 held that plaintiff’s amended complaint failed to allege specific facts showing actual knowledge

 that [Director] was liable for aiding and abetting, and that plaintiff simply alleged [Director] “knew

 or should have known” his conduct aided and abetted the breach. Id. at 904. The court

 subsequently dismissed plaintiff’s aiding and abetting claims against that particular director.

           46.     In Capitaliza-T, defendant moved to dismiss plaintiff’s amended complaint under

 Rule 12(b)(6), citing that it did not contain sufficient factual allegations regarding defendant’s

 knowledge of breach of fiduciary duty. The court applied the Delaware rule that “at a minimum,

 the complaint [must] alleged circumstantial facts suggesting that the defendant had knowledge of

 the specific principal violation.” Id. at *5 (citing Brug v. Enstar Group, Inc., 755 F.Supp. 1247,

 1256 (D. Del. 1991)). The court held that although plaintiff’s amended compliant contained

 circumstantial allegations against defendant for aiding and abetting, it was not enough to allege




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 that defendants “had knowledge of the underlying…breach of fiduciary duty” to survive a 12(b)(6)

 motion. Capitaliza-T, at *7.

          47.      In this case, Plaintiff simply alleges that “[the Donderos] were aware that Dugaboy

 would have fiduciary duties to the Debtor if it acted to bind the Debtor,” and “[t]he Donderos aided

 and abetted Dugaboy’s breach of its fiduciary duties…by knowingly participating in the

 authorization of the…Alleged Agreement.”41 In its Amended Complaint, Plaintiff references only

 factors that could be circumstantial at best when describing it’s Third Claim for relief against Jim

 Dondero, but never clearly articulates the required specific facts that show “actual knowledge”

 that he was overtly acting to substantially assist Dugaboy in breaching a fiduciary duty as required

 by In re Draw and Capitaliza-T.42 Further, Plaintiff makes no specific factual allegations against

 Nancy Dondero, other than she “[was] aware” of Dugaboy’s fiduciary duties, and that she aided

 and abetted the breach. Neither claims against Jim nor Nancy Dondero rise to the standard of

 articulation discussed in In re Draw and Capitaliza-T. Therefore, Plaintiff's Seventh Claim should

 be dismissed under Twombly and Rule 12(b)(6).

                   4.       Neither Jim nor Nancy Dondero are Liable for Aiding and Abetting
                            Because Aiding and Abetting Requires More Than One Single Act.

          48.      As discussed in Section C.3 supra, the test for stating an aiding and abetting claim

 is stringent and focuses of proof of scienter that a party knew it was aiding another party in

 committing tortious conduct. In re Draw, at 904. This would require Plaintiff to show (1) a

 primary act by Dugaboy (via Nancy) that breached a fiduciary duty (which it cannot), and (2) a




 41
  Am. Compl. ¶¶ 78,79, Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶¶ 92,93, Adv. No. 21-03007 [Doc. 63]; Am.
 Compl. ¶¶ 90,91, Adv. No. 21-03006 [Doc. 68]; Am. Compl. ¶¶ 71,72, Adv. No. 21-03005 [Doc. 63].
 42
   Am. Compl. ¶¶ 3,36,38,39,40,41, Adv. No. 21-03003 [Doc. 73-2]; Am. Compl. ¶¶ 3,50,51,52,53, Adv. No. 21-
 03007 [Doc. 55-2]; Am. Compl. ¶¶ 3,48,49,50,51, Adv. No. 21-03006 [Doc. 60-2]; Am. Compl. ¶¶ 3,35,36,37,38,39,
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 secondary act by each of Jim and Nancy Dondero that shows scienter and knowing participation

 in subverting a fiduciary duty.

          49.      Plaintiff cannot show concerted action here on behalf of Jim or Nancy Dondero,

 because the only singular act that occurred was Dugaboy approving the compensation under the

 LPA. Plaintiff alleges no other separate act by Nancy Dondero that would have been “in concert”

 with or “knowingly participating” in anything, as she was acting as the Dugaboy Trustee

 (discussed above in Section C.2.). Further, Plaintiff shows no other separate act or proof of scienter

 that Jim Dondero specifically set out to knowingly aid Dugaboy in tortious conduct under In re

 Draw, since Dugaboy engaged in no such conduct. Therefore, Plaintiff’s Seventh Claim fails

 Twombly and must be dismissed under Rule 12(b)(6).

                   5.       Debtor Lacks Standing to Bring an Aiding and Abetting a Breach of
                            Fiduciary Duty Claim Based on an Executory Contract It Rejected.

          50.      The analysis here is the same as in Argument III.A.2. and B.2, supra. Plaintiff

 argues that Jim and Nancy Dondero aided and abetted Dugaboy’s alleged breach of fiduciary duty

 by authorizing the Subsequent Agreement, which Plaintiff alleges may have violated the LPA.43

 A cause of action for a derivative claim such as aiding and abetting shares accrual and limitations

 periods with the underlying tort of breach of fiduciary duty. Agar Corp., Inc. v. Electro Circuits

 Int’l, LLC, 580 S.W.3d 136, 144 (Tex. 2019), reh’g denied, (Sept. 6, 2019). "Because a civil

 conspiracy claim is derivative of an underlying tort, the claim accrues when the underlying tor

 accrues." Id. at 145. Here, because Plaintiff's aiding and abetting claims derive from the alleged

 breach of fiduciary duty claim, the claims share accrual dates.




 43
   Am. Compl. ¶¶ 78,79, Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶¶ 92,93, Adv. No. 21-03007 [Doc. 63]; Am.
 Compl. ¶¶ 90,91, Adv. No. 21-03006 [Doc. 68]; Am. Compl. ¶¶ 71,72, Adv. No. 21-03005 [Doc. 63].

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          51.      Again, Plaintiff was not injured until Jim Dondero did not pay the Notes. This

 claim did not accrue until December 11, 2020, and is also predicated on allegations that the

 Subsequent Agreement violates fiduciary duties arising out of the rejected LPA. Once again,

 Plaintiff is attempting to bring a post-petition claim under the LPA it rejected. Therefore,

 Plaintiff’s Seventh Claim must be dismissed under Twombly and Rule 12(b)(6).

 IV.      CONCLUSION

          Dugaboy, Jim Dondero, and Nancy Dondero therefore respectfully request this Court

 dismiss Plaintiff’s Fifth, Sixth, and Seventh Amended Claims in its Amended Complaint under

 Federal Rule of Civil Procedure 12(b)(6).

 Dated: September 1, 2021                      Respectfully submitted,
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                                 CERTIFICATE OF SERVICE

          The undersigned hereby certifies that, on September 1, 2021, a true and correct copy of

 this document was served via the Court’s CM/ECF system on counsel for the Plaintiff.

                                              /s/Deborah Deitsch-Perez
                                              Deborah Deitsch-Perez




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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION
 In re:                                  §         Case No. 19-34054-SGJ-11
                                         §
 HIGHLAND CAPITAL MANAGEMENT, L.P., §              Chapter 11
                                         §
        Debtor.                          §
                                         §
 HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                         §
        Plaintiff.                       §
                                         §
 v.                                      §
                                         §        Adversary No.: 21-03005-sgj
 NEXPOINT ADVISORS, L.P., JAMES          §
 DONDERO, NANCY DONDERO, AND THE §
 DUGABOY INVESTMENT TRUST,               §
                                         §
        Defendants.                      §

               DEFENDANTS’ RULE 12(b)(6) MOTION TO DISMISS PLAINTIFF’S
                   FIFTH, SIXTH, AND SEVENTH CLAIMS FOR RELIEF 1




 1
  This Motion to Dismiss is being concurrently filed in Adv. Nos. 21-03003, 21-03007, 21-03006, and 21-03005, Case
 No. 19-34054-sgj11, as Plaintiff’s assertions and Amended Complaints against all Defendants are identical in material
 respects.


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          In the alternative to and contingent upon a denial by the Court of Defendants’ Motion to

 Compel Arbitration (which the Court should not deny), Defendants move to dismiss the Fifth,

 Sixth, and Seventh Claims for Relief in Plaintiff’s Amended Complaint for failure to state claims

 on which this Court could grant relief under Federal Rule of Civil Procedure 12(b)(6), as

 incorporated into this adversary proceeding through Rule 7012 of the Federal Rules of Bankruptcy

 Procedure. In filing this Motion to Dismiss, Defendants do not waive any rights to compel

 arbitration, as set forth in Defendants’ Motion to Compel Arbitration.2 Defendants show in

 support as follows:

 I.       BACKGROUND

          A.       The Bankruptcy and Rejection of Executory Contracts

          1        Highland Capital Management, L.P. (“Plaintiff”) filed a voluntary Chapter 11

 bankruptcy petition (“Bankruptcy Petition”) on October 16, 2019 (“Petition Date”) in the United

 States Bankruptcy Court for the District of Delaware, and venue was subsequently transferred to

 this Court on December 4, 2019.3 On November 24, 2020, Plaintiff filed its Fifth Amended Plan

 of Reorganization of Highland Capital Management, L.P. (the “Plan”) along with its Disclosure

 Statement, which the Court approved on November 24, 2020.4

          2.       On January 11, 2021, Plaintiff filed its Second Notice of Executory Contracts and

 Unexpired Leases to be Assumed by the Plaintiff [then, Debtor] Pursuant to the Plan (the




 2
   Williams v. Cigna Financial Advisors, Inc., 56 F.3d 656 (5th Cir. 1995) (Defendant did not substantially invoke the
 judicial process and waive its right to arbitration despite removal of action to federal court, filing motion to dismiss,
 filing motion to stay proceedings, answering plaintiff’s complaint, asserting counterclaim, and exchanging discovery);
 Keytrade USA, Inc. v. AIN Temouchent M/V, 404 F.3d 891 (5th Cir. 2005) (Arbitration not waived when defendant
 filed a 100-plus page motion for summary judgment and a concurrent motion to arbitrate); Gulf Guaranty Life Ins.
 Co. v. Conn. Gen. Life Ins. Co., 304 F.3d 476 (5th Cir. 2002) (no waiver of arbitration right when the party seeking
 arbitration did no more than defend itself against the claims made against it).
 3
   Order Transferring Venue, Case 19-12239-Css [Doc. 184].
 4
   Case No. 19-34054-sgj11 [Doc. 1476]

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 “Assumption Notice”).5 The Assumption Notice itemized seventy-one (71) executory contracts

 to be assumed by the Plaintiff, notably including the Fourth Amended and Restated Agreement of

 Limited Partnership of Highland Capital Management, L.P. (the “LPA”). However, on January

 21, 2021, the Debtor entered a Withdrawal Notice, rejecting the LPA along with several other

 executory contracts,6 and confirmed on February 1, 2021, that it had withdrawn the LPA from its

 list of assumed executory contracts.7 On February 22, 2021 (the “Rejection Date”), the Court

 confirmed the Plan, causing the rejection of the LPA.8

          B.       The Limited Partnership Agreement

          3.       James Dondero (“Jim Dondero”) is the co-founder of Highland Capital (Plaintiff in

 this Adversary Proceeding), and served as its President and CEO until January 9, 2020. 9 The

 Dugaboy Family Trust (“Dugaboy”) is one of Debtor’s Class A limited partners and holds the

 majority of the Debtor’s Class A limited partnership interests. LPA, Exhibit A. Jim Dondero’s

 sister Nancy Dondero serves as the Dugaboy Family Trustee. 10 Jim Dondero is a lifetime

 beneficiary of Dugaboy.11

          4.       Dugaboy’s explicit authorization to approve compensation for Jim Dondero - and

 thus bind the Partnership - comes specifically from the LPA in § 3.10(a), which provides in

 pertinent part:

          (a)    Compensation.       The General Partner and any Affiliate of the General
          Partner shall receive no compensation from the Partnership for services rendered


 5
   Case 19-34054-sgj11 [Doc. 1719].
 6
   Case 19-34054-sgj11 [Doc. 1791, Schedule A].
 7
   Case 19-34054-sgj11 [Doc. 1871].
 8
   Case 19-34054-sgj11 [Doc. 1943].
 9
   Am. Compl. ¶ 11, Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶ 12, Adv. No. 21-03007 [Doc. 63]; Am. Compl. ¶ 12,
 Adv. No. 21-03006 [Doc. 68]; Am. Compl. ¶ 12, Adv. No. 21-03005 [Doc. 63].
 10
    Am. Compl. ¶ 13, Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶ 14, Adv. No. 21-03007 [Doc. 63]; Am. Compl.
 ¶ 14, Adv. No. 21-03006 [Doc. 68]; Am. Compl. ¶ 14, Adv. No. 21-03005 [Doc. 63].
 11
    Am. Compl. ¶ 12, Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶ 13, Adv. No. 21-03007 [Doc. 63]; Am. Compl.
 ¶ 13, Adv. No. 21-03006 [Doc. 68]; Am. Compl. ¶ 13, Adv. No. 21-03005 [Doc. 63].

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          pursuant to this Agreement or any other agreements unless approved by a Majority
          Interest; LPA § 3.10(a) (emphasis added).

 The LPA defines relevant actors in the Compensation provision as follows:

          “‘Majority Interest’ means the owners of more than fifty percent (50%) of the
          Percentage Interests of Class A Limited Partners.” LPA § 2.1, p.4.

          “‘Class A Limited Partners’ means those Partners holding a Class A Limited
          Partnership Interest, as shown on Exhibit A.” LPA § 2.1, p.2.

          Exhibit A reflects “The Dugaboy Investment Trust” as a Class A Limited Partner
          owning 74.4426% of the Class A Limited Partnership Interests. LPA, Exhibit A,
          line 5.12

 Based on the Compensation provision and definitions, Dugaboy clearly had the right to approve

 compensation for the General Partner and its Affiliates.            The General Partner entitled to

 compensation here is Strand Advisors, Inc. The LPA Preamble states in pertinent part:

          “This [LPA] is entered…by and among Strand Advisors, Inc., a Delaware
          Corporation (“Strand”), as General Partner, the Limited Partners party hereto, and
          any Person hereinafter admitted as a Limited Partner. LPA Preamble, p.1.

 The LPA goes on to articulate Affiliates (of Strand):

          “‘Affiliate’ means any Person that directly or indirectly controls, is controlled by,
          or is under common control with the Person in question. As used in this definition,
          the term ‘control’ means the possession, directly or indirectly, of the power to direct
          or cause the direction of the management and policies of a Person, whether through
          ownership of voting securities, by contract or otherwise.” LPA § 2.1, p.2.

          “‘Person’ means an individual or a corporation, partnership, trust, estate,
          unincorporated organization, association, or other entity.” LPA § 2.1, p.5.

 It is undisputed that Jim Dondero was an Affiliate of Strand under the LPA’s definition. It is also

 undisputed that he controlled Highland Capital Real Estate Partners (“HCRE”), Nexpoint

 Advisors, L.P. (“Nexpoint”), and Highland Capital Management Services, Inc. (“HCMS”).13

 Thus, Jim Dondero was entitled to compensation approved by Dugaboy pursuant to the LPA.


 12
  See attached, LPA Exhibit A.
 13
  Am. Compl. ¶ 2, Adv. No. 21-03007 [Doc. 63]; Am. Compl. ¶ 2, Adv. No. 21-03006 [Doc. 68]; Am. Compl. ¶ 2,
 Adv. No. 21-03005 [Doc. 63].

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          C.       The Promissory Notes

          5.       Over the last several years, multiple promissory notes were executed in favor of the

 Plaintiff to different entities and individuals, which obligations became subject to potential

 forgiveness as compensation for Jim Dondero that, under the LPA, Dugaboy was charged with

 approving:

          Notes to Jim Dondero (the “Dondero Notes”):

                   1.        A note for $3,825,000, executed on February 2, 2018, payable on demand.
                   2.        A note for $2,500,000, executed on August 1, 2018, payable on demand.
                   3.        A note for $2,500,000, executed on August 13, 2018, payable on demand.14

          Notes to HCRE (the “HCRE Notes”):

                   1.        A note for $100,000, executed on November 27, 2013, payable on demand.
                   2.        A note for $2,500,000, executed on October 12, 2017, payable on demand.
                   3.        A note for $750,000, executed on October 15, 2018, payable on demand.
                   4.        A note for $900,000, executed on September 25, 2019, payable on demand.
                   5.        A term note for $6,059,831, executed on May 31, 2017, payable in thirty
                             (30) equal annual installment payments, each due on the 31st day of
                             December each calendar year.15

          Notes to HCMS (the “HCMS Notes”):

                   1.        A note for $150,000, executed on March 28, 2018, payable on demand.
                   2.        A note for $200,000, executed on June 25, 2018, payable on demand.
                   3.        A note for $400,000, executed on May 29, 2019, payable on demand.
                   4.        A note for $150,000, executed on June 26, 2019, payable on demand.16

          Note to Nexpoint (the “Nexpoint Note”):

                   1.        A term note for $30,746,812.33, executed on May 31, 2017, payable in
                             thirty (30) equal annual installment payments, each due on the 31st day of
                             December each calendar year.17

 14
    Am. Compl. ¶¶ 20-22, Adv. No. 21-03003, Case No. 19-34054-sgj11 [Doc. 79].
 15
    Am. Compl. ¶¶ 21-24, Adv. No. 21-03007, Case No. 19-34054-sgj11 [Doc. 63]; According to its Amended
 Complaint, Plaintiff alleges in ¶ 63 that it has suffered damages under the note “in the amount of at least $5,012,260.96,
 as of December 11, 2020,” but in ¶ 64 that it has suffered damages “in the amount of at least $6,145,466.84 as of
 January 8, 2021, plus an amount equal to all accrued but unpaid interest from that date...”
 16
    Am. Compl. ¶¶ 21-24, Adv. No. 21-03006, Case No. 19-34054-sgj11 [Doc. 68].
 17
    Am. Compl. ¶ 21, Adv. No. 21-03005, Case No. 19-34054-sgj11 [Doc. 63]; Plaintiff alleges in ¶ 31 that “as of
 January 15, 2021, the total outstanding principal and accrued but unpaid interest due under the Note was
 $23,071,195.03,” and claims the same amount as damages in ¶ 48.

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          6.       Jim Dondero entered into agreement (the “Subsequent Agreements,” or as Plaintiff

 refers to them, the “Alleged Agreements”) with Nancy Dondero (acting for Dugaboy as its Trustee)

 that Plaintiff would not demand collection of the Notes unless events had occurred that made

 fulfillment of conditions subsequent impossible.18 However, annual term loan payments and

 annual interest payments on the demand notes were to be (and were) made.19

          7.       On December 3, 2020, after the bankruptcy Petition Date, Plaintiff demanded

 payment from Jim Dondero, HCRE, and HCMS on their respective demand notes due by

 December 11, 2020.20 On January 7, 2021, Plaintiff made a demand on the Nexpoint term note,

 claiming that “[t]he amount due and payable on the Note as of January 8, 2021 is $24,471,804.98,”

 and a demand on the HCRE term note, claiming that “[t]he amount due and payable on the Note

 as of January 8, 2021 is $6,145,466.84.”21 Plaintiff has refused to recognize the Subsequent

 Agreement, calling it a “fiction.”22 Other than annual term and interest payments and some

 voluntary prepayments on the term notes, Defendants have not paid the Notes.23




 18
    Am. Answer ¶ 40, Adv. No. 21-03003 [Doc. 16]; Am. Answer ¶ 58, Adv. No. 21-03007 [Doc. 34]; Am. Answer
 ¶ 56, Adv. No. 21-03006 [Doc. 34]; Am. Answer ¶ 42, Adv. No. 21-03005 [Doc. 50].
 19
    E.g., Am. Compl. ¶ 21,27, Adv. No. 21-03005 [Doc. 63], showing the original principal of the note being
 $30,746,812.33, but Plaintiff only demanding $24,471,804.98 in its demand letter; E.g., Am. Compl. ¶ 37,63,64, Adv.
 No. 21-03007 [Doc. 63], showing the original principal of the note being $6,059,831, but Plaintiff alleging it was
 damaged in the amount of at least $5,012,260.96 as of December 11, 2020, but also in the next paragraph inconsistently
 alleging it was damaged in the amount of at least $6,145,466.84.
 20
    Am. Compl. ¶ 26, Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶ 28, Adv. No. 21-03007 [Doc. 63]; Am. Compl.
 ¶ 28, Adv. No. 21-03006 [Doc. 68].
 21
    Am. Compl. ¶ 27, Adv. No. 21-03005 [Doc. 63]; Am. Compl. ¶43, Adv. No. 21-03007 [Doc. 63].
 22
    Am. Compl. ¶ 3, Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶ 3, Adv. No. 21-03007 [Doc. 63]; Am. Compl. ¶ 3,
 Adv. No. 21-03006 [Doc. 68]; Am. Compl. ¶ 3, Adv. No. 21-03005 [Doc. 63].
 23
    With respect to the Nexpoint term loans, due to a mistake, the 2020 end-of-year payment was late and the notes
 should be deemed current, Am. Ans. ¶ 40,41, Adv. Pro. 21-03005 [Doc. 50]; Am. Compl. ¶ 28, Adv. No. 21-03005
 [Doc. 55-2], acknowledging payment of $1,406,111.92.

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          D.       The Adversary Proceedings

          8.       On January 22, 2021, Plaintiff initiated Adversary Proceedings against Jim

 Dondero, HCRE, HCMS, and Nexpoint for breach of contract and turnover of property. 24 On

 August 17, 2021, Plaintiff filed Amended Complaints against each Defendant alleging additional

 claims against Jim Dondero and new claims against Dugaboy and Nancy Dondero. Defendants

 each filed Amended Answers asserting several affirmative defenses, including that the Subsequent

 Agreements preclude the respective claims.25

          9.       In the Fifth Claim of each Amended Complaint,26 Plaintiff asks the Court to declare

 (a) that limited partners, including but not limited to Dugaboy, have no right or authority to take

 part in the control (within the meaning of the Delaware Act) of the Partnership’s business, transact

 any business in the Partnership’s name, or have the power to sign documents for or otherwise bind

 the Partnership other than as specifically provided in the LPA, (b) that neither Dugaboy nor Nancy

 Dondero was authorized under the LPA to enter into the Subsequent Agreement on behalf of the

 Partnership, (c) that neither Dugaboy nor Nancy Dondero otherwise had the right or authority to

 enter into the Subsequent Agreement on behalf of the Partnership, and (d) the Subsequent

 Agreement is null and void.27

          10.      In the Sixth Claim of each Amended Complaint,28 Plaintiff alleges that if Dugaboy,

 as a limited partner under the LPA, or Nancy Dondero, as the representative of Dugaboy, had the




 24
    Am. Compl. ¶ 33, Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶ 47, Adv. No. 21-03007 [Doc. 63]; Am. Compl.
 ¶ 45, Adv. No. 21-03006 [Doc. 68]; Am. Compl. ¶ 33, Adv. No. 21-03005 [Doc. 63].
 25
    Am. Answer ¶ 40, Adv. No. 21-03003 [Doc. 16]; Am. Answer ¶ 58, Adv. No. 21-03007 [Doc. 34]; Am. Answer
 ¶ 56, Adv. No. 21-03006 [Doc. 34]; Am. Answer ¶ 42, Adv. No. 21-03005 [Doc. 50].
 26
    Nancy Dondero is a Defendant on Counts V, VI, and VII in Adv. No. 21-03005, Adv. No. 21-3006, and Adv. No.
 21-3007. Nancy Dondero is a Defendant only on Count VII in Adv. No. 21-03003.
 27
    Am. Compl. ¶ 72(a-d), Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶ 86(a-d), Adv. No. 21-03007 [Doc. 63], Plaintiff
 alleges against Dugaboy and Nancy Dondero; Am. Compl. ¶ 84(a-d), Adv. No. 21-03006 [Doc. 68]; Am. Compl.
 ¶ 70(a-d), Adv. No. 21-03005 [Doc. 63].
 28
    See note 26, supra.

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 authority to enter into the Subsequent Agreement on behalf of [Plaintiff], then Dugaboy incurred

 a fiduciary duty of care, and breached said duty by entering into the Subsequent Agreement.29

          11.      In the Seventh Claim of each Amended Complaint, Plaintiff alleges that Jim and

 Nancy Dondero were aware that Dugaboy would have fiduciary duties owed to the Plaintiff if

 acting to bind the Plaintiff per the authorization in the LPA, and aided and abetted Dugaboy’s

 breach of its fiduciary duties by knowingly participating in the authorization of the Subsequent

 Agreement.30

 II.      STANDARD OF REVIEW

          12.      An asserted cause of action must be dismissed when the complaint fails to state a

 claim. Fed. R. Civ. P. 12(b)(6). To survive a motion to dismiss under Rule 12(b)(6), the complaint

 must meet two criteria: (1) it must assert a plausible claim, and (2) it must set forth sufficient

 factual allegations to support the claim. Ashcroft v. Iqbal, 129 S. Ct. 1937, at 1949-50 (citing Bell

 Atlantic Corp v. Twombly, 550 U.S. 544 (2007)). Thus, either a “lack of cognizable legal theory

 or the absence of sufficient facts alleged under a cognizable legal theory” requires dismissal. Id.

 The plaintiff must allege specific facts and not conclusory allegations. Elliott v. Foufas, 867 F.2d

 877, 881 (5th Cir. 1989). A court may not strain to find inferences favorable to the plaintiff or

 accept conclusory allegations, unwarranted deduction, or legal conclusion. R2 Invs. LDC v.

 Phillips, 401 F.3d 638, 642 (5th Cir. 2005).

          13.      To satisfy Twombly and Iqbal, “a complaint must contain sufficient factual matter,

 accepted as true, to ‘state a claim to relief that is plausible on its face.’” Id., Twombly, at 570. A

 claim has facial plausibility when the plaintiff pleads enough factual content that allows the court


 29
    Am. Compl. ¶ 75, Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶ 89, Adv. No. 21-03007 [Doc. 63]; Am. Compl.
 ¶ 87, Adv. No. 21-03006 [Doc. 68]; Am. Compl. ¶ 73, Adv. No. 21-03005 [Doc. 63].
 30
    Am. Compl. ¶ 79, Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶ 93, Adv. No. 21-03007 [Doc. 63]; Am. Compl.
 ¶ 91, Adv. No. 21-03006 [Doc. 68]; Am. Compl. ¶ 77, Adv. No. 21-03005 [Doc. 63].

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 to draw the reasonable inference that the defendant is liable under the alleged claim. Id. at 556.

 Even if a court decides that the factual allegations are entitled to an assumption of truth, however,

 the facts must also “plausibly suggest an entitlement to relief.” Id., Iqbal, at 1951.

 III.     ARGUMENTS AND AUTHORITIES

          A.       Plaintiff’s Fifth Claim for Declaratory Relief Under the LPA Should Be
                   Dismissed for Two Reasons.

                   1.       Plaintiff’s Fifth Claim Fails Because the Terms of the LPA are so Clear
                            on their Face That There is No Actual Controversy between Parties.

          14.      Plaintiff’s claim presents no “actual controversy” because the provisions of the

 LPA clearly allow Dugaboy to bind the Partnership by approving compensation and there is no

 controversy that could require a declaration by this Court.

          15.      Plaintiff argues that Dugaboy was not authorized to enter into the Subsequent

 Agreement regarding Jim Dondero’s compensation, nor was it authorized to bind the Partnership.31

 Plaintiff further attached the LPA as “Exhibit 5” to its Amended Complaints and referenced this

 Court to § 4.2, which states:

          Management of Business.       No Limited Partner shall take part in the control
          (within the meaning of the Delaware Act) of the Partnership’s business, transact
          any business in the Partnership’s name, or have the power to sign documents for or
          otherwise bind the Partnership other than as specifically set forth in this
          Agreement.32 (emphasis added).

          16.      Contrary to Plaintiff’s argument, the LPA explicitly authorizes Dugaboy as the

 Majority Interest to approve compensation for Jim Dondero as previously articulated in this

 Motion. Approving compensation inherently binds the Partnership in that it exchanges money on

 behalf of the Partnership for services rendered. Because it is so expressly provided for in the LPA,




 31
   Id.
 32
    Am. Compl. ¶ 43, Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶ 55, Adv. No. 21-03007 [Doc. 63]; Am. Compl.
 ¶ 53, Adv. No. 21-03006 [Doc. 68]; Am. Compl. ¶ 27, Adv. No. 21-03005 [Doc. 63].

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 Plaintiff’s contention that Dugaboy could not act to bind the Partnership through compensation

 agreements amounts to Plaintiff’s misinterpretation of the LPA as opposed to an “actual

 controversy” in need of declaratory relief. This claim is nothing more than Plaintiff’s attempt at

 an end-around to avoid proving the merits of its breach of fiduciary duty claims and essentially

 asks this Court for an advisory opinion to help Plaintiff do so. Under Twombly, Plaintiff’s claim

 for declaratory relief should be dismissed pursuant to Rule 12(b)(6).

                   2.       Debtor Lacks Standing to Assert a Claim for Declaratory Relief Based
                            Upon an Executory Contract It Rejected.

          17.      There is no authority for “allowing a debtor's estate or a successor-in-interest such

 as the [creditor’s committee or litigation trustee] to pursue claims for post-petition breaches of a

 rejected contract. Because rejection is an affirmative declaration by the debtor that the estate will

 not take on the obligations of a prepetition contract made by the debtor, [Plaintiff-Debtor’s]

 rejection of the [LPA] not only relieved the estate of its post-petition performance obligations, but

 also relieved the estate of its ability to assert claims for post-petition breaches thereof.” Lauter v.

 Citgo Petroleum Corp., CV H-17-2028, 2018 WL 801601, at *15 (S.D. Tex. Feb. 8, 2018). As

 explained below, as a result, not only does this preclude Debtor’s claims for breach of fiduciary

 duty (see sections B.2., C.5. infra), it also precludes Debtor’s attempt to obtain declaratory relief.

          18.      Plaintiff seeks declaratory relief against Dugaboy and Nancy Dondero to determine

 if either of them were authorized to enter into the Subsequent Agreement under the LPA. 33

 Although most causes of action accrue when an injury results from a wrongful act, a cause of

 action for declaratory relief differs in that it does not accrue until there is an actual controversy

 between the parties. In re Estate of Denman, 362 S.W.3d 134, 144 (Tex. App. -- San Antonio



 33
   Am. Compl. ¶ 72(a-d), Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶ 86(a-d), Adv. No. 21-03007 [Doc. 63]; Am.
 Compl. ¶ 84(a-d), Adv. No. 21-03006 [Doc. 68]; Am. Compl. ¶ 70(a-d), Adv. No. 21-03005 [Doc. 63].

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 2011, no pet.); Murphey v. Honeycutt, 199 S.W.2d 298, 299 (holding that declaratory judgment

 action accrued in a will construction case at the time when an heir committed an act indicating she

 was operating against the will, not when the will was executed years prior to the heir’s act);

 Muzquiz v. Para Todos, Inc., 624 S.W.3d 263, 278 (Tex. App. – El Paso 2021, pet. filed) (holding

 that in a lease dispute, the actual controversy did not arise-- and the claim did not accrue- when

 the lease was entered into by the parties, but rather when plaintiff challenged the lease terms at a

 later date).

            19.    Here, Plaintiff’s declaratory relief claim accrued (if at all) when Jim Dondero

 asserted the Subsequent Agreement as an affirmative defense. Plaintiff alleges that the actual

 controversy here is whether or not Dugaboy or Nancy Dondero had authority to enter into the

 Subsequent Agreement under the rejected LPA. Plaintiff specifically pleads that “[a] bona fide,

 actual, present dispute exists between the [Plaintiff] and Dugaboy concerning whether Dugaboy

 was authorized to enter into the Alleged Agreement on the [Plaintiff]’s behalf….[and a] judgment

 declaring the parties’ respective rights and obligations will resolve their dispute.”34 Plaintiff did

 not allege anywhere in its Original Complaint that a dispute regarding Dugaboy’s authority to enter

 the Subsequent Agreement required declaratory relief. Only after Defendants filed their Amended

 Answers did Plaintiff seek such relief in its Amended Complaint.35 Therefore, this cause of action

 for declaratory relief accrued when Plaintiff received Defendant’s Amended Answers after the

 bankruptcy began, as that is when facts came into existence that created an actual controversy

 under the LPA.

            20.    Section 365 of Title 11 of the United States Code (the "Bankruptcy Code") governs

 the inclusion and exclusion of executory contracts in bankruptcy. Section 365 vests the power to


 34
      Id.
 35
      Id.

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 reject or assume any of the Debtor’s executory contracts in the trustee, subject to the court’s

 approval. 11 U.S.C. § 365(a). A debtor’s rejection of an executory contract constitutes a breach

 of such contract immediately before the date of the filing of the [bankruptcy] petition. 11 U.S.C.

 § 365(g)(1). In this case, Plaintiff’s act of rejection resulted in a material breach of the LPA that

 relates back to October 15, 2019 (the “Breach Date”) pursuant to the Bankruptcy Code. See 11

 U.S.C. § 365(g)(1).

          21.      “Rejection is an affirmative declaration that the estate will not take on the

 obligations of a pre-petition contract made by the debtor” and “places the obligation to perform

 outside of the bankruptcy administration.” Lauter, at *13, citing Matter of Austin Dev. Co, 19 F.3d

 1077, 1082-83 (5th Cir. 1994); In re Continental Airlines, 981 F.2d 1450, 1459 (5th Cir. 1993).

 “[R]ejection does not change the substantive rights of the parties to the contract, but merely means

 the bankruptcy estate itself will not become a party to it.” In re Alongi, 272 B.R. 148, 153 (Bankr.

 D. Md. 2001) (citing M. Andrew, Executory Contracts in Bankruptcy: Understanding

 “Rejection”, 59 U.Colo.L.Rev. 845 (1988)). As noted above, rejection not only relieves the estate

 of post-[bankruptcy]petition performance obligations, but also of its ability to assert claims for

 post-petition breaches thereof. Lauter, at *15.

          22.      The court in Lauter looked to the reasoning of Fifth Circuit opinions examining the

 effects of plaintiffs rejecting executory contracts under § 365. In In re Continental, the court

 reasoned in part that, under § 365, “An agreement cannot ‘exist’ for one purpose yet take on a

 ‘nonexistent’ quality which works for the advantage of one party or the other” when a debtor-

 plaintiff sought to avoid paying airline pilots under an executory contract it rejected, attempting to

 treat the contract as terminated. Id. at 1460. Likewise, the court in Matter of Austin reasoned that

 a rejection of a lease under § 365 did not terminate the lease, but moved the rights of the parties



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 affected “outside of the bankruptcy court’s realm because after rejection, the debtor’s estate is no

 longer involved in the leasehold transaction.” Id. at 1083.

          23.      Following the Fifth Circuit’s application of § 365 in cases such as In re Continental

 and Matter of Austin, the court in Lauter addressed the impact of a debtor-plaintiff’s attempt to

 pursue post-petition claims against a defendant whose executory contract had been rejected. The

 court held that just as in any other contract dispute, a prior material breach by a counterparty

 relieved the aggrieved party of the duty to perform and deprived the breaching party of the ability

 to make claims for breach after its own breach. Id. at *12-13, 15. After a thorough discussion of

 § 365, the court ultimately found that the plaintiff lacked standing to pursue claims resulting from

 a post-petition breach of an executory contract, holding that “the court has not found any authority

 allowing a debtor’s estate . . . to pursue claims for post-petition breaches of a rejected contract.”

 Id. at *15.

          24.      Here, Plaintiff asks this Court to interpret and, in effect, determine a breach of the

 same LPA it rejected and breached prior to the bankruptcy petition date. The LPA was rejected

 on February 22, 2021 and thus deemed materially breached on October 15, 2019 under § 365(g)(1).

 Because this cause of action accrued after both rejection and the relation-back breach provision of

 § 365, Plaintiff’s Fifth Claim for declaratory relief amounts to a post-petition claim arising from a

 rejected executory contract, which the court in Lauter held a Debtor lacks standing to assert in a

 bankruptcy proceeding. Therefore, this claim should be dismissed pursuant to Twombly and Rule

 12(b)(6).




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          B.       Plaintiff’s Sixth Claim of Breach of Fiduciary Duty Against Dugaboy and
                   Nancy Dondero Fails for Two Reasons.

                   1.       Dugaboy Owes No Fiduciary Duty to Plaintiff as a Consequence of
                            Exercising Its Right to Approve Compensation.

          25.      Plaintiff alleges that “if Dugaboy, as a limited partner, had the authority to enter

 into the Alleged Agreement…then Dugaboy would owe the [Plaintiff] a fiduciary duty.”36 The

 LPA in this case is governed by the Delaware Revised Uniform Limited Partnership Act (the

 “DRULPA”) except as specifically provided for in the LPA. LPA §§ 1.1,1.2; see also Del. Code

 Ann. Tit. 6, § 17-1102. The DRULPA allows partnership agreements to expand, restrict, or

 eliminate fiduciary and other legal or equitable duties, provided it may not eliminate the implied

 contractual duty of good faith and fair dealing. Del. Code Ann. Tit. 6, § 17-1101(d). The

 DRULPA also specifically permits a partnership agreement to provide the rules for how partners

 may transact with the partnership. Del. Code Ann. Tit. 6, § 17-107.

          26.      In Delaware, a limited partner does not owe a fiduciary duty as a consequence of

 exercising a right of the limited partner under the partnership agreement. Bond Purchase, L.L.C.

 v. Patriot Tax Credit Properties, L.P., 746 A.2d 842, 864 (Del. Ch. 1999); In re Est. of Conaway,

 2012 WL 524190, at *3 (Del. Ch. Feb. 15, 2012), aff’d sub nom. Russell-Conaway v. Frederick-

 Conaway, 2012 WL 4478655, 54 A.3d 257 (Del. 2012) (unpublished).

          27.      In Bond Purchase, a limited partner exercised its right under the limited partnership

 agreement to obtain records of the owners of the partnership for the purpose of making a tender

 offer for additional interests in the partnership. Although the other partners claimed this request

 for records was a breach of a fiduciary duty, the court held that “in the absence of any provision

 in the partnership agreement engrafting duties onto [the limited partner],” “[the limited partner]


 36
    Am. Compl. ¶ 75, Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶ 89, Adv. No. 21-03007 [Doc. 63]; Am. Compl.
 ¶ 87, Adv. No. 21-03006 [Doc. 68]; Am. Compl. ¶ 73, Adv. No. 21-03005 [Doc. 63].

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 owes no fiduciary duties,” and allowed the limited partner access to the records it sought under the

 partnership agreement. Id. at 864.

          28.      In In re Est. of Conaway, a limited partner withheld consent to transfer another

 partner’s interest as he was allowed to under the limited partnership agreement. The receiving

 party alleged a breach of the non-consenting limited partner’s fiduciary duty. The court held that

 where the limited partner “merely exercised his contracted-for rights under the terms of the [limited

 partnership agreement],” the limited partner breached no fiduciary duty, assuming there even was

 one. Id. at *3.

          29.      Just as the limited partners in Bond Purchase and In re Est. of Conaway, Dugaboy

 was merely exercising its right to approve compensation pursuant to the LPA when it entered into

 the Subsequent Agreement. LPA § 3.10(a); § 2.1. Therefore, Dugaboy owes no fiduciary duty to

 the Plaintiff as a consequence of simply exercising its right under the LPA. While a limited partner

 who takes on an active role in the management of the entity may thereby assume fiduciary duties,

 Feeley v. NHAOCG, LLC, 62 A.3d 649, 662 (Del. Ch. 2012) (citing cases); Bond Purchase at 863-

 64, merely engaging in actions delegated to the limited partner in the partnership agreement does

 not constitute participating in the control of a business so as to trigger the assumption of fiduciary

 duties. Del. Code Ann. Tit. 6, § 17-303(b)(8)(o).

          30.      Texas has similarly held that “a limited partner does not participate in the control

 of the business” by taking certain actions listed in the statutes, and such “actions complained of by

 the plaintiff did not amount to the types of control that could give rise to a duty to the other limited

 partners.” Strebel v. Wimberly, 371 S.W.3d 267, 280 (Tex. App. 2012) (summarizing holding of

 AON Properties, Inc. v. Riveraine Corp., 1999 WL 12739, at *23 (Tex. App. Jan. 14, 1999)).




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          31.      Here, Dugaboy did not participate in the control of the business because it was

 taking actions explicitly extended to it in the LPA by approving compensation under § 3.10(a).

 LPA § 3.10(a); § 2.1.           Since the LPA explicitly gives Dugaboy the right to approve such

 compensation, and Dugaboy was not participating in the control of the business, Dugaboy does

 not owe a fiduciary duty to Plaintiff. Dugaboy cannot breach a fiduciary duty it does not owe.

 Further, Nancy Dondero as Trustee owes no fiduciary duty to Plaintiff independently from what

 Dugaboy owes, as Dugaboy is her principal. Like Dugaboy, Nancy Dondero cannot breach a

 fiduciary duty she does not owe. Under Twombly, Plaintiff’s claim for breach of fiduciary duty

 against Dugaboy and Nancy Dondero should be dismissed pursuant to Rule 12(b)(6).

                   2.       Nancy Dondero Owes No Fiduciary Duty to Debtor.

          32.      Under Delaware law, a trustee’s fiduciary duties of care and loyalty flow to the trust

 and the beneficiar(ies) of the trust. Tigani v. Tigani, 2021 Del. Ch. LEXIS 60, *1, 2021 WL

 1197576 (March 30, 2021). A trustee is prohibited from considering her own interests and “all

 consideration of the interests of third persons.” Id. at * 38.

          33.      Plaintiff claims that if Dugaboy had the authority to enter into the Subsequent

 Agreement, then Ms. Dondero would then somehow owe a fiduciary duty directly to Plaintiff. The

 Amended Complaint does not allege any facts as to why or how such a fiduciary duty would

 appear, and there is no legal authority to support such a conclusion. As discussed above, not even

 Dugaboy owed a fiduciary duty to Plaintiff in determining compensation, as Dugaboy was

 expressly authorized to do under § 3.10(a) of the LPA. Nancy Dondero, individually, is even

 further removed from owing any duty to Plaintiff, much less a fiduciary duty. Plaintiff cannot

 create a legal duty simply by claiming one exists, and its breach of fiduciary duty claim against

 Nancy Dondero should be dismissed under Twombly and Rule 12(b)(6).



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                   3.       Debtor Lacks Standing to Assert a Claim for Breach of Fiduciary Duty
                            Based Upon an Executory Contract It Rejected.

          34.      Plaintiff’s Sixth Claim is also barred for the same reasons that discussed in Section

 A.2 supra, and similarly relies on the fact that this cause of action accrued after the LPA was

 breached on October 15, 2019. In this case, Plaintiff suffered no legal injury – and no cause of

 action accrued - until the notes were not paid on demand by December 11, 2020.

          35.      Generally, “a cause of action accrues…when facts come into existence that

 authorize a claimant to seek judicial remedy.” Dunmore v. Chicago Title Ins. Co., 400 S.W.3d

 635, 640 (Tex. App. – Dallas 2013, no pet.) (citing cases). “Breach of fiduciary duty claims

 generally accrue when the claimant knows or in the exercise of ordinary diligence should know of

 the wrongful act and resulting injury.” Dunmore, at 641 (emphasis added). Further, “[t]he general

 rule governing when a claim accrues…is the ‘legal injury rule,’ which provides that a claim accrues

 ‘when a wrongful act causes some legal injury, even if that fact of injury is not discovered until

 later, and even if all damages have not yet occurred.’” Id. (citing Murphy v. Campbell, 964 S.W.2d

 265, 270 (Tex. 1997)). “[A] legal injury [is] an injury giving cause of action by reason of its being

 an invasion of a Plaintiff's right…be the damage however slight.” Murphy, at 270. Although the

 discussion of when a claim accrues in Texas generally involves application of the discovery rule

 (which is not applicable to these facts), the concept of “legal injury” is still the cornerstone of an

 accrual analysis.

          36.      Here, Plaintiff alleges that Dugaboy and Nancy Dondero breached a fiduciary duty

 when it entered into the Subsequent Agreement.37 The alleged wrongful act was the Subsequent

 Agreement itself which Plaintiff alleges breached a fiduciary duty. However, Plaintiff suffered no



 37
    Am. Compl. ¶ 75, Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶ 89, Adv. No. 21-03007 [Doc. 63]; Am. Compl.
 ¶ 87, Adv. No. 21-03006 [Doc. 68]; Am. Compl. ¶ 73, Adv. No. 21-03005 [Doc. 63].

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 legal injury from the Subsequent Agreement until Defendant did not pay the Notes when

 demanded (if it even suffered one at all). The Subsequent Agreement simply made the Notes

 potentially forgivable upon conditions subsequent, which could not have impacted the alleged

 value of the Notes until the conditions occurred. As a result, the cause of action did not accrue

 until December 11, 2020, after the Petition Date. Debtor’s rejection of the LPA, the alleged source

 of the fiduciary duties allegedly breached,38 therefore bars pursuit of the Plaintiff’s Sixth Claim

 for the same reasons set forth in Section A.2 supra.

          C.       Plaintiff’s Seventh Claim of Aiding and Abetting Breach of Fiduciary Duty
                   against Jim and Nancy Dondero Fails for Several Reasons.

                   1.       Neither Jim nor Nancy Dondero could have Aided and Abetted a
                            Breach of Fiduciary Duty because Dugaboy did Not Owe a Fiduciary
                            Duty to Plaintiff.

          37.      Plaintiff claims that Jim and Nancy Dondero aided and abetted Dugaboy’s alleged

 breach of fiduciary duty by entering into the Subsequent Agreement. However, aiding and abetting

 is a fundamentally dependent claim that can only succeed if there is a valid underlying breach of

 fiduciary duty claim. In re Draw Another Circle, 602 B.R. 878, 904 (Bankr. D. Del. 2019) (citing

 Restatement (Second) of Torts § 876 for the proposition “the derivative nature of an aiding and

 abetting claim will exist only with the success of the breach of fiduciary duty claim”); West Fork

 Advisors LLC v. SunGard Consulting Services, LLC, 437 S.W.3d 917, 921 (Tex. App.-Dallas

 2014) (citing Restatement (Second) of Torts § 876(b) (1979)). As previously discussed in Section

 B.1., Dugaboy did not owe any fiduciary duty to Plaintiff that could have been breached.

 Therefore, Plaintiff’s derivative claim of aiding and abetting against both Jim and Nancy Dondero

 is legally impossible and should be dismissed under Twombly and Rule 12(b)(6).



 38
   Am. Compl. ¶ 72(a-d), Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶ 86(a-d), Adv. No. 21-03007 [Doc. 63]; Am.
 Compl. ¶ 84(a-d), Adv. No. 21-03006 [Doc. 68]; Am. Compl. ¶ 70(a-d), Adv. No. 21-03005 [Doc. 63].

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                   2.       Nancy Dondero Cannot Aid and Abet Herself as Dugaboy Trustee
                            Because Aiding and Abetting Requires More Than One Actor.

          38.      Even if Dugaboy owed and breached a fiduciary duty to Plaintiff (which it did not),

 it is legally impossible for Nancy Dondero to have aided and abetted Dugaboy’s alleged breach of

 fiduciary duty by authorizing the Subsequent Agreement as she was acting as Dugaboy in her

 trustee status. Because there are limited cases on point, an analysis under the Restatement

 (Second) of Torts § 876 (1979) is compelling because Delaware courts routinely look to the

 Restatement to fill lacunae in the law. In re Rural Metro Corp., 88 A.3d 54, 98 (Del. Ch. 2014),

 decision clarified on denial of reargument sub nom. In re Rural Metro Corp. Stocholders Litig.

 (Del. Ch. 2014) (applying the Restatement to an aiding and abetting breach of fiduciary duty

 analysis). “The Delaware Supreme Court often relies on the Restatement (Second) of Torts.” Id.

 at 98. Comparison to cases in other jurisdictions construing law similar to Delaware law is also

 instructive.

          39.      The Restatement (Second) § 876 provides: “For harm resulting to a third person

 from the tortious conduct of another, one is subject to liability if he (a) does a tortious act in concert

 with the other or pursuant to a common design with him, or (b) knows that the other’s conduct

 constitutes a breach of duty and gives substantial assistance or encouragement to the other so to

 conduct himself, or (c) gives substantial assistance to the other in accomplishing a tortious result

 and his own conduct, separately considered, constitutes a breach of duty to the third person.”

 Restatement (Second) of Torts § 876 (1979), adopted in Delaware by Patton v. Simone, Civ. A.

 90C-JA-29, 1992 WL 183064 (Del. Super. Ct. June 25, 1992) (emphasis added). Under the

 Restatement (Second), people act “in concert” with each other when they act “in accordance with

 an agreement to cooperate in a particular line of conduct or to accomplish a particular result.”

 Restatement (Second) of Torts § 876, comment A. Under the Restatement (Second), Nancy


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 Dondero could not have conceivably acted “in accordance with an agreement” with herself in her

 Trustee capacity, as she is a singular individual.

          40.      Delaware has not directly addressed the issue of whether one can aid and abet one's

 self, but it has applied the Restatement (Second) when analyzing aiding and abetting a breach of

 fiduciary duty claims, which requires a plaintiff to prove: (1) the existence of a fiduciary

 relationship, (2) breach of the fiduciary’s duty, (3) defendant, who is not a fiduciary, knowingly

 participated in the breach, and (4) damages to the plaintiff as the result of the concerted action of

 the fiduciary and the non-fiduciary. In re USDigital, Inc., 443 B.R. 22, 46 (Bankr. D. Del. 2011)

 (citing elements of aiding and abetting breach of fiduciary duty in Delaware and holding that a

 director defendant cannot have aided and abetted the same fiduciary duty he allegedly breached in

 a previous count); In re Draw, at 904 (applying Restatement (Second) to the knowing participation

 element); Patton, at *8 (applying Restatement (Second) to aiding and abetting analysis); In re

 Oracle Corp. Derivative Litig., 2020 WL 3410745, at *11 (Del. Ch. June 22, 2020) (applying the

 Restatement (Second) to knowing participation in aiding and abetting analysis and acknowledging

 that § 876 has been cited with approval in Delaware in ). Again, because Plaintiff is alleging that

 Nancy Dondero aided and abetted Dugaboy (which was acting through Nancy Dondero), the

 requirement of a second actor is not met because Nancy Dondero cannot act in concert with herself.

          41.      Analogously, officers and agents cannot aid and abet their principal or each other

 in the commission of a tort. Cornell Glasgow, LLC v La Grange Props., LLC, 2012 WL 2106945,

 at *11 (Del. Super. Ct. June 6, 2012); Amaysing Techs. Corp. v. Cyberair Communications, Inc.,

 2005 WL 578972, at *7 (Del. Ch. Mar. 3, 2005) (“It is basic in the law of conspiracy that you must

 have two persons or entities to have a conspiracy. A corporation cannot conspire with itself any

 more than a private individual can, and it is the general rule that the acts of the agent are the acts



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 of the corporation.”). Application of this law to the present circumstances further compels the

 conclusion that Nancy Dondero cannot aid and abet herself. Texas also has looked to the

 Restatement (Second) of Torts § 876 for guidance regarding its aiding and abetting doctrine, which

 states that “[i]t is settled as the law of [the State of Texas] that where a third party knowingly

 participates in the breach of duty of a fiduciary, such third party becomes a joint tortfeasor with

 [that] fiduciary and is liable as such.” In re TOCFHBI, Inc., 413 B.R. 523, 534 (Bankr. N.D. Tex.

 2009) (citing Kinzbach Tool Co. v. Corbett-Wallace Corp., 138 Tex. 565, 574, 160 S.W.2d (1942))

 (emphasis added, citing elements); W. Fork Advisors, LLC v. SunGuard Consulting Services, LLC,

 437 S.W.3d 917, 921 (Tex. App. – Dallas 2014, pet. denied) (looking to Restatement (Second)

 regarding aiding and abetting analysis). Although also having sparse law regarding whether one

 can aid and abet one's own self, Texas law still requires a third party in order to prove aiding and

 abetting a breach of fiduciary duty. For the same reasons mentioned above, Nancy simply cannot

 aid and abet her own actions as Dugaboy Trustee.

          42.      Arizona courts have more directly held that under the Restatement (Second), “when

 [Plaintiffs] fail to allege [agent] took any actions in [their] individual capacity ‘in concert’ with

 the actions giving rise to the breach of fiduciary duty claim against [insurance company],

 [plaintiff’s] aiding and abetting claim against [agent] will be dismissed.” Young v. Liberty Mut.

 Group, Inc., CV-12-2302-PHX-JAT, 2013 WL 840618, at *4 (D. Ariz. Mar. 6, 2013).39 In Young,

 the Court reasoned that “…it does not follow that [agent] must have committed the separate tort

 of aiding and abetting merely because he was the agent through which [insurance company]

 breached its duty.” Id. at *4. The Court dismissed the claim on the agent’s 12(b)(6) motion.


 39
    In Young, Plaintiff sued both Liberty Mutual for breach of fiduciary duty, and her personal insurance agent for
 aiding and abetting said breach. Because Plaintiff failed to allege [agent] took any actions in his individual capacity
 “in concert” with the actions giving rise to Plaintiff’s claim against Liberty Mutual, the aiding and abetting claim was
 dismissed upon 12(b)(6) motion.

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 Further, in Jones v. Colorado Cas. Ins. Co., the same Court dismissed a similar claim upon another

 insurance agent’s 12(b)(6) motion, agreeing with the agent’s assertion that “one cannot aid and

 abet one’s self.” Jones v. Colorado Cas. Ins. Co., CV 12-1968-PHX-JAT, 2013 WL 4759260, at

 *3 (D. Ariz. Sept. 4, 2013) (dismissing a claim against an insurance agent for aiding and abetting

 the insurance company’s breach of fiduciary duty, determining that in order for there to be harm

 to a third person, there must be at least two tortfeasors). Just as the insurance agents could not aid

 and abet themselves as representatives for the insurance companies, Nancy Dondero could not

 have aided and abetted herself in her capacity as Dugaboy Trustee.

          43.      Connecticut takes a similar approach in holding that aiding and abetting means to

 help or compel another to act, and that an alleged tortfeasor cannot aid or abet himself, and doing

 so would yield “circular results.” Bolick v. Alea Group Holdings, Ltd., 278 F. Supp. 2d 278, 282

 (D. Conn. 2003) (dismissing aiding and abetting claim).40 Because Nancy Dondero was acting as

 Dugaboy in the conduct about which Debtoer complains, she is not a “third party” to an act. It is

 impossible for Nancy Dondero to aid and abet her own self - as most distinctly stated in Cornell

 Glasgow, LLC and Bolick - because aiding and abetting requires the concerted action and scienter

 of more than one person. Therefore, Plaintiff’s Seventh Claim should be dismissed under Twombly

 and Rule 12(b)(6).

                   3.       Plaintiff does Not Plead the Sufficient Scienter Requirement for Aiding
                            and Abetting in its Amended Complaint for Either Jim or Nancy
                            Dondero.

          44.      In addition to the above infirmities, Plaintiff fails to allege the necessary scienter

 required to show aiding and abetting for both Jim and Nancy Dondero.                               Delaware courts


 40
    Bolick addressed an employment discrimination case where Plaintiff sued her supervisor for both harassment and
 aiding and abetting that same harassment. The Court held that to hold the supervisor liable for his wrongful behavior
 and also aiding and abetting that wrongful behavior is illogical and would yield circular results. Court used dictionary
 to reference “abettor” as someone who encourages an offender.

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 acknowledge that an aiding and abetting analysis largely comes down to what constitutes

 “knowing participation.” In re Draw, at 904. The aider and abettor must act “knowingly,

 intentionally, or with reckless indifference…that is, with an illicit state of mind.” Id. The Plaintiff

 must allege specific facts that show Defendants had “actual knowledge” that their conduct

 intentionally aided and abetted a breach, not simply that they “knew or should have known.” Id.

 (citing Capitaliza-T Sociedad De Responsabilidad Limitada De Capital Variable v. Wachovia

 Bank of Delaware Nat. Ass’n, CIV. 10-520 JBS KMW, 2011 WL 864421, at *5 (D. Del. Mar. 9,

 2011)).

           45.     In In re Draw, a Chapter 11 trustee filed an amended adversary complaint against

 several members of the company’s board of directors, asserting breach of fiduciary duties and

 aiding and abetting breaches of fiduciary duties. On the defendant’s 12(b)(6) motion, the court

 held that plaintiff’s amended complaint failed to allege specific facts showing actual knowledge

 that [Director] was liable for aiding and abetting, and that plaintiff simply alleged [Director] “knew

 or should have known” his conduct aided and abetted the breach. Id. at 904. The court

 subsequently dismissed plaintiff’s aiding and abetting claims against that particular director.

           46.     In Capitaliza-T, defendant moved to dismiss plaintiff’s amended complaint under

 Rule 12(b)(6), citing that it did not contain sufficient factual allegations regarding defendant’s

 knowledge of breach of fiduciary duty. The court applied the Delaware rule that “at a minimum,

 the complaint [must] alleged circumstantial facts suggesting that the defendant had knowledge of

 the specific principal violation.” Id. at *5 (citing Brug v. Enstar Group, Inc., 755 F.Supp. 1247,

 1256 (D. Del. 1991)). The court held that although plaintiff’s amended compliant contained

 circumstantial allegations against defendant for aiding and abetting, it was not enough to allege




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 that defendants “had knowledge of the underlying…breach of fiduciary duty” to survive a 12(b)(6)

 motion. Capitaliza-T, at *7.

          47.      In this case, Plaintiff simply alleges that “[the Donderos] were aware that Dugaboy

 would have fiduciary duties to the Debtor if it acted to bind the Debtor,” and “[t]he Donderos aided

 and abetted Dugaboy’s breach of its fiduciary duties…by knowingly participating in the

 authorization of the…Alleged Agreement.”41 In its Amended Complaint, Plaintiff references only

 factors that could be circumstantial at best when describing it’s Third Claim for relief against Jim

 Dondero, but never clearly articulates the required specific facts that show “actual knowledge”

 that he was overtly acting to substantially assist Dugaboy in breaching a fiduciary duty as required

 by In re Draw and Capitaliza-T.42 Further, Plaintiff makes no specific factual allegations against

 Nancy Dondero, other than she “[was] aware” of Dugaboy’s fiduciary duties, and that she aided

 and abetted the breach. Neither claims against Jim nor Nancy Dondero rise to the standard of

 articulation discussed in In re Draw and Capitaliza-T. Therefore, Plaintiff's Seventh Claim should

 be dismissed under Twombly and Rule 12(b)(6).

                   4.       Neither Jim nor Nancy Dondero are Liable for Aiding and Abetting
                            Because Aiding and Abetting Requires More Than One Single Act.

          48.      As discussed in Section C.3 supra, the test for stating an aiding and abetting claim

 is stringent and focuses of proof of scienter that a party knew it was aiding another party in

 committing tortious conduct. In re Draw, at 904. This would require Plaintiff to show (1) a

 primary act by Dugaboy (via Nancy) that breached a fiduciary duty (which it cannot), and (2) a




 41
  Am. Compl. ¶¶ 78,79, Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶¶ 92,93, Adv. No. 21-03007 [Doc. 63]; Am.
 Compl. ¶¶ 90,91, Adv. No. 21-03006 [Doc. 68]; Am. Compl. ¶¶ 71,72, Adv. No. 21-03005 [Doc. 63].
 42
   Am. Compl. ¶¶ 3,36,38,39,40,41, Adv. No. 21-03003 [Doc. 73-2]; Am. Compl. ¶¶ 3,50,51,52,53, Adv. No. 21-
 03007 [Doc. 55-2]; Am. Compl. ¶¶ 3,48,49,50,51, Adv. No. 21-03006 [Doc. 60-2]; Am. Compl. ¶¶ 3,35,36,37,38,39,
 Adv. No. 21-03005 [Doc. 55-2].

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 secondary act by each of Jim and Nancy Dondero that shows scienter and knowing participation

 in subverting a fiduciary duty.

          49.      Plaintiff cannot show concerted action here on behalf of Jim or Nancy Dondero,

 because the only singular act that occurred was Dugaboy approving the compensation under the

 LPA. Plaintiff alleges no other separate act by Nancy Dondero that would have been “in concert”

 with or “knowingly participating” in anything, as she was acting as the Dugaboy Trustee

 (discussed above in Section C.2.). Further, Plaintiff shows no other separate act or proof of scienter

 that Jim Dondero specifically set out to knowingly aid Dugaboy in tortious conduct under In re

 Draw, since Dugaboy engaged in no such conduct. Therefore, Plaintiff’s Seventh Claim fails

 Twombly and must be dismissed under Rule 12(b)(6).

                   5.       Debtor Lacks Standing to Bring an Aiding and Abetting a Breach of
                            Fiduciary Duty Claim Based on an Executory Contract It Rejected.

          50.      The analysis here is the same as in Argument III.A.2. and B.2, supra. Plaintiff

 argues that Jim and Nancy Dondero aided and abetted Dugaboy’s alleged breach of fiduciary duty

 by authorizing the Subsequent Agreement, which Plaintiff alleges may have violated the LPA. 43

 A cause of action for a derivative claim such as aiding and abetting shares accrual and limitations

 periods with the underlying tort of breach of fiduciary duty. Agar Corp., Inc. v. Electro Circuits

 Int’l, LLC, 580 S.W.3d 136, 144 (Tex. 2019), reh’g denied, (Sept. 6, 2019). "Because a civil

 conspiracy claim is derivative of an underlying tort, the claim accrues when the underlying tor

 accrues." Id. at 145. Here, because Plaintiff's aiding and abetting claims derive from the alleged

 breach of fiduciary duty claim, the claims share accrual dates.




 43
   Am. Compl. ¶¶ 78,79, Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶¶ 92,93, Adv. No. 21-03007 [Doc. 63]; Am.
 Compl. ¶¶ 90,91, Adv. No. 21-03006 [Doc. 68]; Am. Compl. ¶¶ 71,72, Adv. No. 21-03005 [Doc. 63].

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          51.      Again, Plaintiff was not injured until Jim Dondero did not pay the Notes. This

 claim did not accrue until December 11, 2020, and is also predicated on allegations that the

 Subsequent Agreement violates fiduciary duties arising out of the rejected LPA. Once again,

 Plaintiff is attempting to bring a post-petition claim under the LPA it rejected. Therefore,

 Plaintiff’s Seventh Claim must be dismissed under Twombly and Rule 12(b)(6).

 IV.      CONCLUSION

          Dugaboy, Jim Dondero, and Nancy Dondero therefore respectfully request this Court

 dismiss Plaintiff’s Fifth, Sixth, and Seventh Amended Claims in its Amended Complaint under

 Federal Rule of Civil Procedure 12(b)(6).

 Dated: September 1, 2021                      Respectfully submitted,
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                          CERTIFICATE OF SERVICE

          The undersigned hereby certifies that, on September 1, 2021, a true and correct copy of

 this document was served via the Court’s CM/ECF system on counsel for the Plaintiff.

                                              /s/Deborah Deitsch-Perez
                                              Deborah Deitsch-Perez




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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

 In re:                             §                                             Case No. 19-34054-SGJ-11
                                    §
 HIGHLAND CAPITAL MANAGEMENT, L.P., §                                            Chapter 11
                                    §
      Debtor.                       §
                                    §
 HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                    §
      Plaintiff.                    §
                                    §
 v.                                 §
                                    §                                            Adversary No.: 21-03006-sgj
 HIGHLAND CAPITAL MANAGEMENT        §
 SERVICES, INC., JAMES DONDERO,     §
 NANCY DONDERO, AND THE DUGABOY     §
 INVESTMENT TRUST,                  §
                                    §
      Defendants.                   §

               DEFENDANTS’ RULE 12(b)(6) MOTION TO DISMISS PLAINTIFF’S
                   FIFTH, SIXTH, AND SEVENTH CLAIMS FOR RELIEF 1




 1
  This Motion to Dismiss is being concurrently filed in Adv. Nos. 21-03003, 21-03007, 21-03006, and 21-03005, Case
 No. 19-34054-sgj11, as Plaintiff’s assertions and Amended Complaints against all Defendants are identical in material
 respects.


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          In the alternative to and contingent upon a denial by the Court of Defendants’ Motion to

 Compel Arbitration (which the Court should not deny), Defendants move to dismiss the Fifth,

 Sixth, and Seventh Claims for Relief in Plaintiff’s Amended Complaint for failure to state claims

 on which this Court could grant relief under Federal Rule of Civil Procedure 12(b)(6), as

 incorporated into this adversary proceeding through Rule 7012 of the Federal Rules of Bankruptcy

 Procedure. In filing this Motion to Dismiss, Defendants do not waive any rights to compel

 arbitration, as set forth in Defendants’ Motion to Compel Arbitration.2 Defendants show in

 support as follows:

 I.       BACKGROUND

          A.       The Bankruptcy and Rejection of Executory Contracts

          1        Highland Capital Management, L.P. (“Plaintiff”) filed a voluntary Chapter 11

 bankruptcy petition (“Bankruptcy Petition”) on October 16, 2019 (“Petition Date”) in the United

 States Bankruptcy Court for the District of Delaware, and venue was subsequently transferred to

 this Court on December 4, 2019.3 On November 24, 2020, Plaintiff filed its Fifth Amended Plan

 of Reorganization of Highland Capital Management, L.P. (the “Plan”) along with its Disclosure

 Statement, which the Court approved on November 24, 2020.4

          2.       On January 11, 2021, Plaintiff filed its Second Notice of Executory Contracts and

 Unexpired Leases to be Assumed by the Plaintiff [then, Debtor] Pursuant to the Plan (the




 2
   Williams v. Cigna Financial Advisors, Inc., 56 F.3d 656 (5th Cir. 1995) (Defendant did not substantially invoke the
 judicial process and waive its right to arbitration despite removal of action to federal court, filing motion to dismiss,
 filing motion to stay proceedings, answering plaintiff’s complaint, asserting counterclaim, and exchanging discovery);
 Keytrade USA, Inc. v. AIN Temouchent M/V, 404 F.3d 891 (5th Cir. 2005) (Arbitration not waived when defendant
 filed a 100-plus page motion for summary judgment and a concurrent motion to arbitrate); Gulf Guaranty Life Ins.
 Co. v. Conn. Gen. Life Ins. Co., 304 F.3d 476 (5th Cir. 2002) (no waiver of arbitration right when the party seeking
 arbitration did no more than defend itself against the claims made against it).
 3
   Order Transferring Venue, Case 19-12239-Css [Doc. 184].
 4
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 “Assumption Notice”).5 The Assumption Notice itemized seventy-one (71) executory contracts

 to be assumed by the Plaintiff, notably including the Fourth Amended and Restated Agreement of

 Limited Partnership of Highland Capital Management, L.P. (the “LPA”). However, on January

 21, 2021, the Debtor entered a Withdrawal Notice, rejecting the LPA along with several other

 executory contracts,6 and confirmed on February 1, 2021, that it had withdrawn the LPA from its

 list of assumed executory contracts.7 On February 22, 2021 (the “Rejection Date”), the Court

 confirmed the Plan, causing the rejection of the LPA.8

          B.       The Limited Partnership Agreement

          3.       James Dondero (“Jim Dondero”) is the co-founder of Highland Capital (Plaintiff in

 this Adversary Proceeding), and served as its President and CEO until January 9, 2020. 9 The

 Dugaboy Family Trust (“Dugaboy”) is one of Debtor’s Class A limited partners and holds the

 majority of the Debtor’s Class A limited partnership interests. LPA, Exhibit A. Jim Dondero’s

 sister Nancy Dondero serves as the Dugaboy Family Trustee. 10 Jim Dondero is a lifetime

 beneficiary of Dugaboy.11

          4.       Dugaboy’s explicit authorization to approve compensation for Jim Dondero - and

 thus bind the Partnership - comes specifically from the LPA in § 3.10(a), which provides in

 pertinent part:

          (a)    Compensation.       The General Partner and any Affiliate of the General
          Partner shall receive no compensation from the Partnership for services rendered


 5
   Case 19-34054-sgj11 [Doc. 1719].
 6
   Case 19-34054-sgj11 [Doc. 1791, Schedule A].
 7
   Case 19-34054-sgj11 [Doc. 1871].
 8
   Case 19-34054-sgj11 [Doc. 1943].
 9
   Am. Compl. ¶ 11, Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶ 12, Adv. No. 21-03007 [Doc. 63]; Am. Compl. ¶ 12,
 Adv. No. 21-03006 [Doc. 68]; Am. Compl. ¶ 12, Adv. No. 21-03005 [Doc. 63].
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    Am. Compl. ¶ 13, Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶ 14, Adv. No. 21-03007 [Doc. 63]; Am. Compl.
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          pursuant to this Agreement or any other agreements unless approved by a Majority
          Interest; LPA § 3.10(a) (emphasis added).

 The LPA defines relevant actors in the Compensation provision as follows:

          “‘Majority Interest’ means the owners of more than fifty percent (50%) of the
          Percentage Interests of Class A Limited Partners.” LPA § 2.1, p.4.

          “‘Class A Limited Partners’ means those Partners holding a Class A Limited
          Partnership Interest, as shown on Exhibit A.” LPA § 2.1, p.2.

          Exhibit A reflects “The Dugaboy Investment Trust” as a Class A Limited Partner
          owning 74.4426% of the Class A Limited Partnership Interests. LPA, Exhibit A,
          line 5.12

 Based on the Compensation provision and definitions, Dugaboy clearly had the right to approve

 compensation for the General Partner and its Affiliates.            The General Partner entitled to

 compensation here is Strand Advisors, Inc. The LPA Preamble states in pertinent part:

          “This [LPA] is entered…by and among Strand Advisors, Inc., a Delaware
          Corporation (“Strand”), as General Partner, the Limited Partners party hereto, and
          any Person hereinafter admitted as a Limited Partner. LPA Preamble, p.1.

 The LPA goes on to articulate Affiliates (of Strand):

          “‘Affiliate’ means any Person that directly or indirectly controls, is controlled by,
          or is under common control with the Person in question. As used in this definition,
          the term ‘control’ means the possession, directly or indirectly, of the power to direct
          or cause the direction of the management and policies of a Person, whether through
          ownership of voting securities, by contract or otherwise.” LPA § 2.1, p.2.

          “‘Person’ means an individual or a corporation, partnership, trust, estate,
          unincorporated organization, association, or other entity.” LPA § 2.1, p.5.

 It is undisputed that Jim Dondero was an Affiliate of Strand under the LPA’s definition. It is also

 undisputed that he controlled Highland Capital Real Estate Partners (“HCRE”), Nexpoint

 Advisors, L.P. (“Nexpoint”), and Highland Capital Management Services, Inc. (“HCMS”).13

 Thus, Jim Dondero was entitled to compensation approved by Dugaboy pursuant to the LPA.


 12
  See attached, LPA Exhibit A.
 13
  Am. Compl. ¶ 2, Adv. No. 21-03007 [Doc. 63]; Am. Compl. ¶ 2, Adv. No. 21-03006 [Doc. 68]; Am. Compl. ¶ 2,
 Adv. No. 21-03005 [Doc. 63].

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          C.       The Promissory Notes

          5.       Over the last several years, multiple promissory notes were executed in favor of the

 Plaintiff to different entities and individuals, which obligations became subject to potential

 forgiveness as compensation for Jim Dondero that, under the LPA, Dugaboy was charged with

 approving:

          Notes to Jim Dondero (the “Dondero Notes”):

                   1.        A note for $3,825,000, executed on February 2, 2018, payable on demand.
                   2.        A note for $2,500,000, executed on August 1, 2018, payable on demand.
                   3.        A note for $2,500,000, executed on August 13, 2018, payable on demand.14

          Notes to HCRE (the “HCRE Notes”):

                   1.        A note for $100,000, executed on November 27, 2013, payable on demand.
                   2.        A note for $2,500,000, executed on October 12, 2017, payable on demand.
                   3.        A note for $750,000, executed on October 15, 2018, payable on demand.
                   4.        A note for $900,000, executed on September 25, 2019, payable on demand.
                   5.        A term note for $6,059,831, executed on May 31, 2017, payable in thirty
                             (30) equal annual installment payments, each due on the 31st day of
                             December each calendar year.15

          Notes to HCMS (the “HCMS Notes”):

                   1.        A note for $150,000, executed on March 28, 2018, payable on demand.
                   2.        A note for $200,000, executed on June 25, 2018, payable on demand.
                   3.        A note for $400,000, executed on May 29, 2019, payable on demand.
                   4.        A note for $150,000, executed on June 26, 2019, payable on demand.16

          Note to Nexpoint (the “Nexpoint Note”):

                   1.        A term note for $30,746,812.33, executed on May 31, 2017, payable in
                             thirty (30) equal annual installment payments, each due on the 31st day of
                             December each calendar year.17

 14
    Am. Compl. ¶¶ 20-22, Adv. No. 21-03003, Case No. 19-34054-sgj11 [Doc. 79].
 15
    Am. Compl. ¶¶ 21-24, Adv. No. 21-03007, Case No. 19-34054-sgj11 [Doc. 63]; According to its Amended
 Complaint, Plaintiff alleges in ¶ 63 that it has suffered damages under the note “in the amount of at least $5,012,260.96,
 as of December 11, 2020,” but in ¶ 64 that it has suffered damages “in the amount of at least $6,145,466.84 as of
 January 8, 2021, plus an amount equal to all accrued but unpaid interest from that date...”
 16
    Am. Compl. ¶¶ 21-24, Adv. No. 21-03006, Case No. 19-34054-sgj11 [Doc. 68].
 17
    Am. Compl. ¶ 21, Adv. No. 21-03005, Case No. 19-34054-sgj11 [Doc. 63]; Plaintiff alleges in ¶ 31 that “as of
 January 15, 2021, the total outstanding principal and accrued but unpaid interest due under the Note was
 $23,071,195.03,” and claims the same amount as damages in ¶ 48.

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          6.       Jim Dondero entered into agreement (the “Subsequent Agreements,” or as Plaintiff

 refers to them, the “Alleged Agreements”) with Nancy Dondero (acting for Dugaboy as its Trustee)

 that Plaintiff would not demand collection of the Notes unless events had occurred that made

 fulfillment of conditions subsequent impossible.18 However, annual term loan payments and

 annual interest payments on the demand notes were to be (and were) made.19

          7.       On December 3, 2020, after the bankruptcy Petition Date, Plaintiff demanded

 payment from Jim Dondero, HCRE, and HCMS on their respective demand notes due by

 December 11, 2020.20 On January 7, 2021, Plaintiff made a demand on the Nexpoint term note,

 claiming that “[t]he amount due and payable on the Note as of January 8, 2021 is $24,471,804.98,”

 and a demand on the HCRE term note, claiming that “[t]he amount due and payable on the Note

 as of January 8, 2021 is $6,145,466.84.”21 Plaintiff has refused to recognize the Subsequent

 Agreement, calling it a “fiction.”22 Other than annual term and interest payments and some

 voluntary prepayments on the term notes, Defendants have not paid the Notes.23




 18
    Am. Answer ¶ 40, Adv. No. 21-03003 [Doc. 16]; Am. Answer ¶ 58, Adv. No. 21-03007 [Doc. 34]; Am. Answer
 ¶ 56, Adv. No. 21-03006 [Doc. 34]; Am. Answer ¶ 42, Adv. No. 21-03005 [Doc. 50].
 19
    E.g., Am. Compl. ¶ 21,27, Adv. No. 21-03005 [Doc. 63], showing the original principal of the note being
 $30,746,812.33, but Plaintiff only demanding $24,471,804.98 in its demand letter; E.g., Am. Compl. ¶ 37,63,64, Adv.
 No. 21-03007 [Doc. 63], showing the original principal of the note being $6,059,831, but Plaintiff alleging it was
 damaged in the amount of at least $5,012,260.96 as of December 11, 2020, but also in the next paragraph inconsistently
 alleging it was damaged in the amount of at least $6,145,466.84.
 20
    Am. Compl. ¶ 26, Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶ 28, Adv. No. 21-03007 [Doc. 63]; Am. Compl.
 ¶ 28, Adv. No. 21-03006 [Doc. 68].
 21
    Am. Compl. ¶ 27, Adv. No. 21-03005 [Doc. 63]; Am. Compl. ¶43, Adv. No. 21-03007 [Doc. 63].
 22
    Am. Compl. ¶ 3, Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶ 3, Adv. No. 21-03007 [Doc. 63]; Am. Compl. ¶ 3,
 Adv. No. 21-03006 [Doc. 68]; Am. Compl. ¶ 3, Adv. No. 21-03005 [Doc. 63].
 23
    With respect to the Nexpoint term loans, due to a mistake, the 2020 end-of-year payment was late and the notes
 should be deemed current, Am. Ans. ¶ 40,41, Adv. Pro. 21-03005 [Doc. 50]; Am. Compl. ¶ 28, Adv. No. 21-03005
 [Doc. 55-2], acknowledging payment of $1,406,111.92.

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          D.       The Adversary Proceedings

          8.       On January 22, 2021, Plaintiff initiated Adversary Proceedings against Jim

 Dondero, HCRE, HCMS, and Nexpoint for breach of contract and turnover of property.24 On

 August 17, 2021, Plaintiff filed Amended Complaints against each Defendant alleging additional

 claims against Jim Dondero and new claims against Dugaboy and Nancy Dondero. Defendants

 each filed Amended Answers asserting several affirmative defenses, including that the Subsequent

 Agreements preclude the respective claims.25

          9.       In the Fifth Claim of each Amended Complaint,26 Plaintiff asks the Court to declare

 (a) that limited partners, including but not limited to Dugaboy, have no right or authority to take

 part in the control (within the meaning of the Delaware Act) of the Partnership’s business, transact

 any business in the Partnership’s name, or have the power to sign documents for or otherwise bind

 the Partnership other than as specifically provided in the LPA, (b) that neither Dugaboy nor Nancy

 Dondero was authorized under the LPA to enter into the Subsequent Agreement on behalf of the

 Partnership, (c) that neither Dugaboy nor Nancy Dondero otherwise had the right or authority to

 enter into the Subsequent Agreement on behalf of the Partnership, and (d) the Subsequent

 Agreement is null and void.27

          10.      In the Sixth Claim of each Amended Complaint,28 Plaintiff alleges that if Dugaboy,

 as a limited partner under the LPA, or Nancy Dondero, as the representative of Dugaboy, had the




 24
    Am. Compl. ¶ 33, Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶ 47, Adv. No. 21-03007 [Doc. 63]; Am. Compl.
 ¶ 45, Adv. No. 21-03006 [Doc. 68]; Am. Compl. ¶ 33, Adv. No. 21-03005 [Doc. 63].
 25
    Am. Answer ¶ 40, Adv. No. 21-03003 [Doc. 16]; Am. Answer ¶ 58, Adv. No. 21-03007 [Doc. 34]; Am. Answer
 ¶ 56, Adv. No. 21-03006 [Doc. 34]; Am. Answer ¶ 42, Adv. No. 21-03005 [Doc. 50].
 26
    Nancy Dondero is a Defendant on Counts V, VI, and VII in Adv. No. 21-03005, Adv. No. 21-3006, and Adv. No.
 21-3007. Nancy Dondero is a Defendant only on Count VII in Adv. No. 21-03003.
 27
    Am. Compl. ¶ 72(a-d), Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶ 86(a-d), Adv. No. 21-03007 [Doc. 63], Plaintiff
 alleges against Dugaboy and Nancy Dondero; Am. Compl. ¶ 84(a-d), Adv. No. 21-03006 [Doc. 68]; Am. Compl.
 ¶ 70(a-d), Adv. No. 21-03005 [Doc. 63].
 28
    See note 26, supra.

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 authority to enter into the Subsequent Agreement on behalf of [Plaintiff], then Dugaboy incurred

 a fiduciary duty of care, and breached said duty by entering into the Subsequent Agreement.29

          11.      In the Seventh Claim of each Amended Complaint, Plaintiff alleges that Jim and

 Nancy Dondero were aware that Dugaboy would have fiduciary duties owed to the Plaintiff if

 acting to bind the Plaintiff per the authorization in the LPA, and aided and abetted Dugaboy’s

 breach of its fiduciary duties by knowingly participating in the authorization of the Subsequent

 Agreement.30

 II.      STANDARD OF REVIEW

          12.      An asserted cause of action must be dismissed when the complaint fails to state a

 claim. Fed. R. Civ. P. 12(b)(6). To survive a motion to dismiss under Rule 12(b)(6), the complaint

 must meet two criteria: (1) it must assert a plausible claim, and (2) it must set forth sufficient

 factual allegations to support the claim. Ashcroft v. Iqbal, 129 S. Ct. 1937, at 1949-50 (citing Bell

 Atlantic Corp v. Twombly, 550 U.S. 544 (2007)). Thus, either a “lack of cognizable legal theory

 or the absence of sufficient facts alleged under a cognizable legal theory” requires dismissal. Id.

 The plaintiff must allege specific facts and not conclusory allegations. Elliott v. Foufas, 867 F.2d

 877, 881 (5th Cir. 1989). A court may not strain to find inferences favorable to the plaintiff or

 accept conclusory allegations, unwarranted deduction, or legal conclusion. R2 Invs. LDC v.

 Phillips, 401 F.3d 638, 642 (5th Cir. 2005).

          13.      To satisfy Twombly and Iqbal, “a complaint must contain sufficient factual matter,

 accepted as true, to ‘state a claim to relief that is plausible on its face.’” Id., Twombly, at 570. A

 claim has facial plausibility when the plaintiff pleads enough factual content that allows the court


 29
    Am. Compl. ¶ 75, Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶ 89, Adv. No. 21-03007 [Doc. 63]; Am. Compl.
 ¶ 87, Adv. No. 21-03006 [Doc. 68]; Am. Compl. ¶ 73, Adv. No. 21-03005 [Doc. 63].
 30
    Am. Compl. ¶ 79, Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶ 93, Adv. No. 21-03007 [Doc. 63]; Am. Compl.
 ¶ 91, Adv. No. 21-03006 [Doc. 68]; Am. Compl. ¶ 77, Adv. No. 21-03005 [Doc. 63].

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 to draw the reasonable inference that the defendant is liable under the alleged claim. Id. at 556.

 Even if a court decides that the factual allegations are entitled to an assumption of truth, however,

 the facts must also “plausibly suggest an entitlement to relief.” Id., Iqbal, at 1951.

 III.     ARGUMENTS AND AUTHORITIES

          A.       Plaintiff’s Fifth Claim for Declaratory Relief Under the LPA Should Be
                   Dismissed for Two Reasons.

                   1.       Plaintiff’s Fifth Claim Fails Because the Terms of the LPA are so Clear
                            on their Face That There is No Actual Controversy between Parties.

          14.      Plaintiff’s claim presents no “actual controversy” because the provisions of the

 LPA clearly allow Dugaboy to bind the Partnership by approving compensation and there is no

 controversy that could require a declaration by this Court.

          15.      Plaintiff argues that Dugaboy was not authorized to enter into the Subsequent

 Agreement regarding Jim Dondero’s compensation, nor was it authorized to bind the Partnership.31

 Plaintiff further attached the LPA as “Exhibit 5” to its Amended Complaints and referenced this

 Court to § 4.2, which states:

          Management of Business.       No Limited Partner shall take part in the control
          (within the meaning of the Delaware Act) of the Partnership’s business, transact
          any business in the Partnership’s name, or have the power to sign documents for or
          otherwise bind the Partnership other than as specifically set forth in this
          Agreement.32 (emphasis added).

          16.      Contrary to Plaintiff’s argument, the LPA explicitly authorizes Dugaboy as the

 Majority Interest to approve compensation for Jim Dondero as previously articulated in this

 Motion. Approving compensation inherently binds the Partnership in that it exchanges money on

 behalf of the Partnership for services rendered. Because it is so expressly provided for in the LPA,




 31
   Id.
 32
    Am. Compl. ¶ 43, Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶ 55, Adv. No. 21-03007 [Doc. 63]; Am. Compl.
 ¶ 53, Adv. No. 21-03006 [Doc. 68]; Am. Compl. ¶ 27, Adv. No. 21-03005 [Doc. 63].

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 Plaintiff’s contention that Dugaboy could not act to bind the Partnership through compensation

 agreements amounts to Plaintiff’s misinterpretation of the LPA as opposed to an “actual

 controversy” in need of declaratory relief. This claim is nothing more than Plaintiff’s attempt at

 an end-around to avoid proving the merits of its breach of fiduciary duty claims and essentially

 asks this Court for an advisory opinion to help Plaintiff do so. Under Twombly, Plaintiff’s claim

 for declaratory relief should be dismissed pursuant to Rule 12(b)(6).

                   2.       Debtor Lacks Standing to Assert a Claim for Declaratory Relief Based
                            Upon an Executory Contract It Rejected.

          17.      There is no authority for “allowing a debtor's estate or a successor-in-interest such

 as the [creditor’s committee or litigation trustee] to pursue claims for post-petition breaches of a

 rejected contract. Because rejection is an affirmative declaration by the debtor that the estate will

 not take on the obligations of a prepetition contract made by the debtor, [Plaintiff-Debtor’s]

 rejection of the [LPA] not only relieved the estate of its post-petition performance obligations, but

 also relieved the estate of its ability to assert claims for post-petition breaches thereof.” Lauter v.

 Citgo Petroleum Corp., CV H-17-2028, 2018 WL 801601, at *15 (S.D. Tex. Feb. 8, 2018). As

 explained below, as a result, not only does this preclude Debtor’s claims for breach of fiduciary

 duty (see sections B.2., C.5. infra), it also precludes Debtor’s attempt to obtain declaratory relief.

          18.      Plaintiff seeks declaratory relief against Dugaboy and Nancy Dondero to determine

 if either of them were authorized to enter into the Subsequent Agreement under the LPA. 33

 Although most causes of action accrue when an injury results from a wrongful act, a cause of

 action for declaratory relief differs in that it does not accrue until there is an actual controversy

 between the parties. In re Estate of Denman, 362 S.W.3d 134, 144 (Tex. App. -- San Antonio



 33
   Am. Compl. ¶ 72(a-d), Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶ 86(a-d), Adv. No. 21-03007 [Doc. 63]; Am.
 Compl. ¶ 84(a-d), Adv. No. 21-03006 [Doc. 68]; Am. Compl. ¶ 70(a-d), Adv. No. 21-03005 [Doc. 63].

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 2011, no pet.); Murphey v. Honeycutt, 199 S.W.2d 298, 299 (holding that declaratory judgment

 action accrued in a will construction case at the time when an heir committed an act indicating she

 was operating against the will, not when the will was executed years prior to the heir’s act);

 Muzquiz v. Para Todos, Inc., 624 S.W.3d 263, 278 (Tex. App. – El Paso 2021, pet. filed) (holding

 that in a lease dispute, the actual controversy did not arise-- and the claim did not accrue- when

 the lease was entered into by the parties, but rather when plaintiff challenged the lease terms at a

 later date).

            19.    Here, Plaintiff’s declaratory relief claim accrued (if at all) when Jim Dondero

 asserted the Subsequent Agreement as an affirmative defense. Plaintiff alleges that the actual

 controversy here is whether or not Dugaboy or Nancy Dondero had authority to enter into the

 Subsequent Agreement under the rejected LPA. Plaintiff specifically pleads that “[a] bona fide,

 actual, present dispute exists between the [Plaintiff] and Dugaboy concerning whether Dugaboy

 was authorized to enter into the Alleged Agreement on the [Plaintiff]’s behalf….[and a] judgment

 declaring the parties’ respective rights and obligations will resolve their dispute.”34 Plaintiff did

 not allege anywhere in its Original Complaint that a dispute regarding Dugaboy’s authority to enter

 the Subsequent Agreement required declaratory relief. Only after Defendants filed their Amended

 Answers did Plaintiff seek such relief in its Amended Complaint.35 Therefore, this cause of action

 for declaratory relief accrued when Plaintiff received Defendant’s Amended Answers after the

 bankruptcy began, as that is when facts came into existence that created an actual controversy

 under the LPA.

            20.    Section 365 of Title 11 of the United States Code (the "Bankruptcy Code") governs

 the inclusion and exclusion of executory contracts in bankruptcy. Section 365 vests the power to


 34
      Id.
 35
      Id.

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 reject or assume any of the Debtor’s executory contracts in the trustee, subject to the court’s

 approval. 11 U.S.C. § 365(a). A debtor’s rejection of an executory contract constitutes a breach

 of such contract immediately before the date of the filing of the [bankruptcy] petition. 11 U.S.C.

 § 365(g)(1). In this case, Plaintiff’s act of rejection resulted in a material breach of the LPA that

 relates back to October 15, 2019 (the “Breach Date”) pursuant to the Bankruptcy Code. See 11

 U.S.C. § 365(g)(1).

          21.      “Rejection is an affirmative declaration that the estate will not take on the

 obligations of a pre-petition contract made by the debtor” and “places the obligation to perform

 outside of the bankruptcy administration.” Lauter, at *13, citing Matter of Austin Dev. Co, 19 F.3d

 1077, 1082-83 (5th Cir. 1994); In re Continental Airlines, 981 F.2d 1450, 1459 (5th Cir. 1993).

 “[R]ejection does not change the substantive rights of the parties to the contract, but merely means

 the bankruptcy estate itself will not become a party to it.” In re Alongi, 272 B.R. 148, 153 (Bankr.

 D. Md. 2001) (citing M. Andrew, Executory Contracts in Bankruptcy: Understanding

 “Rejection”, 59 U.Colo.L.Rev. 845 (1988)). As noted above, rejection not only relieves the estate

 of post-[bankruptcy]petition performance obligations, but also of its ability to assert claims for

 post-petition breaches thereof. Lauter, at *15.

          22.      The court in Lauter looked to the reasoning of Fifth Circuit opinions examining the

 effects of plaintiffs rejecting executory contracts under § 365. In In re Continental, the court

 reasoned in part that, under § 365, “An agreement cannot ‘exist’ for one purpose yet take on a

 ‘nonexistent’ quality which works for the advantage of one party or the other” when a debtor-

 plaintiff sought to avoid paying airline pilots under an executory contract it rejected, attempting to

 treat the contract as terminated. Id. at 1460. Likewise, the court in Matter of Austin reasoned that

 a rejection of a lease under § 365 did not terminate the lease, but moved the rights of the parties



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 affected “outside of the bankruptcy court’s realm because after rejection, the debtor’s estate is no

 longer involved in the leasehold transaction.” Id. at 1083.

          23.      Following the Fifth Circuit’s application of § 365 in cases such as In re Continental

 and Matter of Austin, the court in Lauter addressed the impact of a debtor-plaintiff’s attempt to

 pursue post-petition claims against a defendant whose executory contract had been rejected. The

 court held that just as in any other contract dispute, a prior material breach by a counterparty

 relieved the aggrieved party of the duty to perform and deprived the breaching party of the ability

 to make claims for breach after its own breach. Id. at *12-13, 15. After a thorough discussion of

 § 365, the court ultimately found that the plaintiff lacked standing to pursue claims resulting from

 a post-petition breach of an executory contract, holding that “the court has not found any authority

 allowing a debtor’s estate . . . to pursue claims for post-petition breaches of a rejected contract.”

 Id. at *15.

          24.      Here, Plaintiff asks this Court to interpret and, in effect, determine a breach of the

 same LPA it rejected and breached prior to the bankruptcy petition date. The LPA was rejected

 on February 22, 2021 and thus deemed materially breached on October 15, 2019 under § 365(g)(1).

 Because this cause of action accrued after both rejection and the relation-back breach provision of

 § 365, Plaintiff’s Fifth Claim for declaratory relief amounts to a post-petition claim arising from a

 rejected executory contract, which the court in Lauter held a Debtor lacks standing to assert in a

 bankruptcy proceeding. Therefore, this claim should be dismissed pursuant to Twombly and Rule

 12(b)(6).




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          B.       Plaintiff’s Sixth Claim of Breach of Fiduciary Duty Against Dugaboy and
                   Nancy Dondero Fails for Two Reasons.

                   1.       Dugaboy Owes No Fiduciary Duty to Plaintiff as a Consequence of
                            Exercising Its Right to Approve Compensation.

          25.      Plaintiff alleges that “if Dugaboy, as a limited partner, had the authority to enter

 into the Alleged Agreement…then Dugaboy would owe the [Plaintiff] a fiduciary duty.”36 The

 LPA in this case is governed by the Delaware Revised Uniform Limited Partnership Act (the

 “DRULPA”) except as specifically provided for in the LPA. LPA §§ 1.1,1.2; see also Del. Code

 Ann. Tit. 6, § 17-1102. The DRULPA allows partnership agreements to expand, restrict, or

 eliminate fiduciary and other legal or equitable duties, provided it may not eliminate the implied

 contractual duty of good faith and fair dealing. Del. Code Ann. Tit. 6, § 17-1101(d). The

 DRULPA also specifically permits a partnership agreement to provide the rules for how partners

 may transact with the partnership. Del. Code Ann. Tit. 6, § 17-107.

          26.      In Delaware, a limited partner does not owe a fiduciary duty as a consequence of

 exercising a right of the limited partner under the partnership agreement. Bond Purchase, L.L.C.

 v. Patriot Tax Credit Properties, L.P., 746 A.2d 842, 864 (Del. Ch. 1999); In re Est. of Conaway,

 2012 WL 524190, at *3 (Del. Ch. Feb. 15, 2012), aff’d sub nom. Russell-Conaway v. Frederick-

 Conaway, 2012 WL 4478655, 54 A.3d 257 (Del. 2012) (unpublished).

          27.      In Bond Purchase, a limited partner exercised its right under the limited partnership

 agreement to obtain records of the owners of the partnership for the purpose of making a tender

 offer for additional interests in the partnership. Although the other partners claimed this request

 for records was a breach of a fiduciary duty, the court held that “in the absence of any provision

 in the partnership agreement engrafting duties onto [the limited partner],” “[the limited partner]


 36
    Am. Compl. ¶ 75, Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶ 89, Adv. No. 21-03007 [Doc. 63]; Am. Compl.
 ¶ 87, Adv. No. 21-03006 [Doc. 68]; Am. Compl. ¶ 73, Adv. No. 21-03005 [Doc. 63].

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 owes no fiduciary duties,” and allowed the limited partner access to the records it sought under the

 partnership agreement. Id. at 864.

          28.      In In re Est. of Conaway, a limited partner withheld consent to transfer another

 partner’s interest as he was allowed to under the limited partnership agreement. The receiving

 party alleged a breach of the non-consenting limited partner’s fiduciary duty. The court held that

 where the limited partner “merely exercised his contracted-for rights under the terms of the [limited

 partnership agreement],” the limited partner breached no fiduciary duty, assuming there even was

 one. Id. at *3.

          29.      Just as the limited partners in Bond Purchase and In re Est. of Conaway, Dugaboy

 was merely exercising its right to approve compensation pursuant to the LPA when it entered into

 the Subsequent Agreement. LPA § 3.10(a); § 2.1. Therefore, Dugaboy owes no fiduciary duty to

 the Plaintiff as a consequence of simply exercising its right under the LPA. While a limited partner

 who takes on an active role in the management of the entity may thereby assume fiduciary duties,

 Feeley v. NHAOCG, LLC, 62 A.3d 649, 662 (Del. Ch. 2012) (citing cases); Bond Purchase at 863-

 64, merely engaging in actions delegated to the limited partner in the partnership agreement does

 not constitute participating in the control of a business so as to trigger the assumption of fiduciary

 duties. Del. Code Ann. Tit. 6, § 17-303(b)(8)(o).

          30.      Texas has similarly held that “a limited partner does not participate in the control

 of the business” by taking certain actions listed in the statutes, and such “actions complained of by

 the plaintiff did not amount to the types of control that could give rise to a duty to the other limited

 partners.” Strebel v. Wimberly, 371 S.W.3d 267, 280 (Tex. App. 2012) (summarizing holding of

 AON Properties, Inc. v. Riveraine Corp., 1999 WL 12739, at *23 (Tex. App. Jan. 14, 1999)).




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          31.      Here, Dugaboy did not participate in the control of the business because it was

 taking actions explicitly extended to it in the LPA by approving compensation under § 3.10(a).

 LPA § 3.10(a); § 2.1.           Since the LPA explicitly gives Dugaboy the right to approve such

 compensation, and Dugaboy was not participating in the control of the business, Dugaboy does

 not owe a fiduciary duty to Plaintiff. Dugaboy cannot breach a fiduciary duty it does not owe.

 Further, Nancy Dondero as Trustee owes no fiduciary duty to Plaintiff independently from what

 Dugaboy owes, as Dugaboy is her principal. Like Dugaboy, Nancy Dondero cannot breach a

 fiduciary duty she does not owe. Under Twombly, Plaintiff’s claim for breach of fiduciary duty

 against Dugaboy and Nancy Dondero should be dismissed pursuant to Rule 12(b)(6).

                   2.       Nancy Dondero Owes No Fiduciary Duty to Debtor.

          32.      Under Delaware law, a trustee’s fiduciary duties of care and loyalty flow to the trust

 and the beneficiar(ies) of the trust. Tigani v. Tigani, 2021 Del. Ch. LEXIS 60, *1, 2021 WL

 1197576 (March 30, 2021). A trustee is prohibited from considering her own interests and “all

 consideration of the interests of third persons.” Id. at * 38.

          33.      Plaintiff claims that if Dugaboy had the authority to enter into the Subsequent

 Agreement, then Ms. Dondero would then somehow owe a fiduciary duty directly to Plaintiff. The

 Amended Complaint does not allege any facts as to why or how such a fiduciary duty would

 appear, and there is no legal authority to support such a conclusion. As discussed above, not even

 Dugaboy owed a fiduciary duty to Plaintiff in determining compensation, as Dugaboy was

 expressly authorized to do under § 3.10(a) of the LPA. Nancy Dondero, individually, is even

 further removed from owing any duty to Plaintiff, much less a fiduciary duty. Plaintiff cannot

 create a legal duty simply by claiming one exists, and its breach of fiduciary duty claim against

 Nancy Dondero should be dismissed under Twombly and Rule 12(b)(6).



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                   3.       Debtor Lacks Standing to Assert a Claim for Breach of Fiduciary Duty
                            Based Upon an Executory Contract It Rejected.

          34.      Plaintiff’s Sixth Claim is also barred for the same reasons that discussed in Section

 A.2 supra, and similarly relies on the fact that this cause of action accrued after the LPA was

 breached on October 15, 2019. In this case, Plaintiff suffered no legal injury – and no cause of

 action accrued - until the notes were not paid on demand by December 11, 2020.

          35.      Generally, “a cause of action accrues…when facts come into existence that

 authorize a claimant to seek judicial remedy.” Dunmore v. Chicago Title Ins. Co., 400 S.W.3d

 635, 640 (Tex. App. – Dallas 2013, no pet.) (citing cases). “Breach of fiduciary duty claims

 generally accrue when the claimant knows or in the exercise of ordinary diligence should know of

 the wrongful act and resulting injury.” Dunmore, at 641 (emphasis added). Further, “[t]he general

 rule governing when a claim accrues…is the ‘legal injury rule,’ which provides that a claim accrues

 ‘when a wrongful act causes some legal injury, even if that fact of injury is not discovered until

 later, and even if all damages have not yet occurred.’” Id. (citing Murphy v. Campbell, 964 S.W.2d

 265, 270 (Tex. 1997)). “[A] legal injury [is] an injury giving cause of action by reason of its being

 an invasion of a Plaintiff's right…be the damage however slight.” Murphy, at 270. Although the

 discussion of when a claim accrues in Texas generally involves application of the discovery rule

 (which is not applicable to these facts), the concept of “legal injury” is still the cornerstone of an

 accrual analysis.

          36.      Here, Plaintiff alleges that Dugaboy and Nancy Dondero breached a fiduciary duty

 when it entered into the Subsequent Agreement.37 The alleged wrongful act was the Subsequent

 Agreement itself which Plaintiff alleges breached a fiduciary duty. However, Plaintiff suffered no



 37
    Am. Compl. ¶ 75, Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶ 89, Adv. No. 21-03007 [Doc. 63]; Am. Compl.
 ¶ 87, Adv. No. 21-03006 [Doc. 68]; Am. Compl. ¶ 73, Adv. No. 21-03005 [Doc. 63].

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 legal injury from the Subsequent Agreement until Defendant did not pay the Notes when

 demanded (if it even suffered one at all). The Subsequent Agreement simply made the Notes

 potentially forgivable upon conditions subsequent, which could not have impacted the alleged

 value of the Notes until the conditions occurred. As a result, the cause of action did not accrue

 until December 11, 2020, after the Petition Date. Debtor’s rejection of the LPA, the alleged source

 of the fiduciary duties allegedly breached,38 therefore bars pursuit of the Plaintiff’s Sixth Claim

 for the same reasons set forth in Section A.2 supra.

          C.       Plaintiff’s Seventh Claim of Aiding and Abetting Breach of Fiduciary Duty
                   against Jim and Nancy Dondero Fails for Several Reasons.

                   1.       Neither Jim nor Nancy Dondero could have Aided and Abetted a
                            Breach of Fiduciary Duty because Dugaboy did Not Owe a Fiduciary
                            Duty to Plaintiff.

          37.      Plaintiff claims that Jim and Nancy Dondero aided and abetted Dugaboy’s alleged

 breach of fiduciary duty by entering into the Subsequent Agreement. However, aiding and abetting

 is a fundamentally dependent claim that can only succeed if there is a valid underlying breach of

 fiduciary duty claim. In re Draw Another Circle, 602 B.R. 878, 904 (Bankr. D. Del. 2019) (citing

 Restatement (Second) of Torts § 876 for the proposition “the derivative nature of an aiding and

 abetting claim will exist only with the success of the breach of fiduciary duty claim”); West Fork

 Advisors LLC v. SunGard Consulting Services, LLC, 437 S.W.3d 917, 921 (Tex. App.-Dallas

 2014) (citing Restatement (Second) of Torts § 876(b) (1979)). As previously discussed in Section

 B.1., Dugaboy did not owe any fiduciary duty to Plaintiff that could have been breached.

 Therefore, Plaintiff’s derivative claim of aiding and abetting against both Jim and Nancy Dondero

 is legally impossible and should be dismissed under Twombly and Rule 12(b)(6).



 38
   Am. Compl. ¶ 72(a-d), Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶ 86(a-d), Adv. No. 21-03007 [Doc. 63]; Am.
 Compl. ¶ 84(a-d), Adv. No. 21-03006 [Doc. 68]; Am. Compl. ¶ 70(a-d), Adv. No. 21-03005 [Doc. 63].

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                   2.       Nancy Dondero Cannot Aid and Abet Herself as Dugaboy Trustee
                            Because Aiding and Abetting Requires More Than One Actor.

          38.      Even if Dugaboy owed and breached a fiduciary duty to Plaintiff (which it did not),

 it is legally impossible for Nancy Dondero to have aided and abetted Dugaboy’s alleged breach of

 fiduciary duty by authorizing the Subsequent Agreement as she was acting as Dugaboy in her

 trustee status. Because there are limited cases on point, an analysis under the Restatement

 (Second) of Torts § 876 (1979) is compelling because Delaware courts routinely look to the

 Restatement to fill lacunae in the law. In re Rural Metro Corp., 88 A.3d 54, 98 (Del. Ch. 2014),

 decision clarified on denial of reargument sub nom. In re Rural Metro Corp. Stocholders Litig.

 (Del. Ch. 2014) (applying the Restatement to an aiding and abetting breach of fiduciary duty

 analysis). “The Delaware Supreme Court often relies on the Restatement (Second) of Torts.” Id.

 at 98. Comparison to cases in other jurisdictions construing law similar to Delaware law is also

 instructive.

          39.      The Restatement (Second) § 876 provides: “For harm resulting to a third person

 from the tortious conduct of another, one is subject to liability if he (a) does a tortious act in concert

 with the other or pursuant to a common design with him, or (b) knows that the other’s conduct

 constitutes a breach of duty and gives substantial assistance or encouragement to the other so to

 conduct himself, or (c) gives substantial assistance to the other in accomplishing a tortious result

 and his own conduct, separately considered, constitutes a breach of duty to the third person.”

 Restatement (Second) of Torts § 876 (1979), adopted in Delaware by Patton v. Simone, Civ. A.

 90C-JA-29, 1992 WL 183064 (Del. Super. Ct. June 25, 1992) (emphasis added). Under the

 Restatement (Second), people act “in concert” with each other when they act “in accordance with

 an agreement to cooperate in a particular line of conduct or to accomplish a particular result.”

 Restatement (Second) of Torts § 876, comment A. Under the Restatement (Second), Nancy


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 Dondero could not have conceivably acted “in accordance with an agreement” with herself in her

 Trustee capacity, as she is a singular individual.

          40.      Delaware has not directly addressed the issue of whether one can aid and abet one's

 self, but it has applied the Restatement (Second) when analyzing aiding and abetting a breach of

 fiduciary duty claims, which requires a plaintiff to prove: (1) the existence of a fiduciary

 relationship, (2) breach of the fiduciary’s duty, (3) defendant, who is not a fiduciary, knowingly

 participated in the breach, and (4) damages to the plaintiff as the result of the concerted action of

 the fiduciary and the non-fiduciary. In re USDigital, Inc., 443 B.R. 22, 46 (Bankr. D. Del. 2011)

 (citing elements of aiding and abetting breach of fiduciary duty in Delaware and holding that a

 director defendant cannot have aided and abetted the same fiduciary duty he allegedly breached in

 a previous count); In re Draw, at 904 (applying Restatement (Second) to the knowing participation

 element); Patton, at *8 (applying Restatement (Second) to aiding and abetting analysis); In re

 Oracle Corp. Derivative Litig., 2020 WL 3410745, at *11 (Del. Ch. June 22, 2020) (applying the

 Restatement (Second) to knowing participation in aiding and abetting analysis and acknowledging

 that § 876 has been cited with approval in Delaware in ). Again, because Plaintiff is alleging that

 Nancy Dondero aided and abetted Dugaboy (which was acting through Nancy Dondero), the

 requirement of a second actor is not met because Nancy Dondero cannot act in concert with herself.

          41.      Analogously, officers and agents cannot aid and abet their principal or each other

 in the commission of a tort. Cornell Glasgow, LLC v La Grange Props., LLC, 2012 WL 2106945,

 at *11 (Del. Super. Ct. June 6, 2012); Amaysing Techs. Corp. v. Cyberair Communications, Inc.,

 2005 WL 578972, at *7 (Del. Ch. Mar. 3, 2005) (“It is basic in the law of conspiracy that you must

 have two persons or entities to have a conspiracy. A corporation cannot conspire with itself any

 more than a private individual can, and it is the general rule that the acts of the agent are the acts



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 of the corporation.”). Application of this law to the present circumstances further compels the

 conclusion that Nancy Dondero cannot aid and abet herself. Texas also has looked to the

 Restatement (Second) of Torts § 876 for guidance regarding its aiding and abetting doctrine, which

 states that “[i]t is settled as the law of [the State of Texas] that where a third party knowingly

 participates in the breach of duty of a fiduciary, such third party becomes a joint tortfeasor with

 [that] fiduciary and is liable as such.” In re TOCFHBI, Inc., 413 B.R. 523, 534 (Bankr. N.D. Tex.

 2009) (citing Kinzbach Tool Co. v. Corbett-Wallace Corp., 138 Tex. 565, 574, 160 S.W.2d (1942))

 (emphasis added, citing elements); W. Fork Advisors, LLC v. SunGuard Consulting Services, LLC,

 437 S.W.3d 917, 921 (Tex. App. – Dallas 2014, pet. denied) (looking to Restatement (Second)

 regarding aiding and abetting analysis). Although also having sparse law regarding whether one

 can aid and abet one's own self, Texas law still requires a third party in order to prove aiding and

 abetting a breach of fiduciary duty. For the same reasons mentioned above, Nancy simply cannot

 aid and abet her own actions as Dugaboy Trustee.

          42.      Arizona courts have more directly held that under the Restatement (Second), “when

 [Plaintiffs] fail to allege [agent] took any actions in [their] individual capacity ‘in concert’ with

 the actions giving rise to the breach of fiduciary duty claim against [insurance company],

 [plaintiff’s] aiding and abetting claim against [agent] will be dismissed.” Young v. Liberty Mut.

 Group, Inc., CV-12-2302-PHX-JAT, 2013 WL 840618, at *4 (D. Ariz. Mar. 6, 2013).39 In Young,

 the Court reasoned that “…it does not follow that [agent] must have committed the separate tort

 of aiding and abetting merely because he was the agent through which [insurance company]

 breached its duty.” Id. at *4. The Court dismissed the claim on the agent’s 12(b)(6) motion.


 39
    In Young, Plaintiff sued both Liberty Mutual for breach of fiduciary duty, and her personal insurance agent for
 aiding and abetting said breach. Because Plaintiff failed to allege [agent] took any actions in his individual capacity
 “in concert” with the actions giving rise to Plaintiff’s claim against Liberty Mutual, the aiding and abetting claim was
 dismissed upon 12(b)(6) motion.

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 Further, in Jones v. Colorado Cas. Ins. Co., the same Court dismissed a similar claim upon another

 insurance agent’s 12(b)(6) motion, agreeing with the agent’s assertion that “one cannot aid and

 abet one’s self.” Jones v. Colorado Cas. Ins. Co., CV 12-1968-PHX-JAT, 2013 WL 4759260, at

 *3 (D. Ariz. Sept. 4, 2013) (dismissing a claim against an insurance agent for aiding and abetting

 the insurance company’s breach of fiduciary duty, determining that in order for there to be harm

 to a third person, there must be at least two tortfeasors). Just as the insurance agents could not aid

 and abet themselves as representatives for the insurance companies, Nancy Dondero could not

 have aided and abetted herself in her capacity as Dugaboy Trustee.

          43.      Connecticut takes a similar approach in holding that aiding and abetting means to

 help or compel another to act, and that an alleged tortfeasor cannot aid or abet himself, and doing

 so would yield “circular results.” Bolick v. Alea Group Holdings, Ltd., 278 F. Supp. 2d 278, 282

 (D. Conn. 2003) (dismissing aiding and abetting claim).40 Because Nancy Dondero was acting as

 Dugaboy in the conduct about which Debtoer complains, she is not a “third party” to an act. It is

 impossible for Nancy Dondero to aid and abet her own self - as most distinctly stated in Cornell

 Glasgow, LLC and Bolick - because aiding and abetting requires the concerted action and scienter

 of more than one person. Therefore, Plaintiff’s Seventh Claim should be dismissed under Twombly

 and Rule 12(b)(6).

                   3.       Plaintiff does Not Plead the Sufficient Scienter Requirement for Aiding
                            and Abetting in its Amended Complaint for Either Jim or Nancy
                            Dondero.

          44.      In addition to the above infirmities, Plaintiff fails to allege the necessary scienter

 required to show aiding and abetting for both Jim and Nancy Dondero.                               Delaware courts


 40
    Bolick addressed an employment discrimination case where Plaintiff sued her supervisor for both harassment and
 aiding and abetting that same harassment. The Court held that to hold the supervisor liable for his wrongful behavior
 and also aiding and abetting that wrongful behavior is illogical and would yield circular results. Court used dictionary
 to reference “abettor” as someone who encourages an offender.

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 acknowledge that an aiding and abetting analysis largely comes down to what constitutes

 “knowing participation.” In re Draw, at 904. The aider and abettor must act “knowingly,

 intentionally, or with reckless indifference…that is, with an illicit state of mind.” Id. The Plaintiff

 must allege specific facts that show Defendants had “actual knowledge” that their conduct

 intentionally aided and abetted a breach, not simply that they “knew or should have known.” Id.

 (citing Capitaliza-T Sociedad De Responsabilidad Limitada De Capital Variable v. Wachovia

 Bank of Delaware Nat. Ass’n, CIV. 10-520 JBS KMW, 2011 WL 864421, at *5 (D. Del. Mar. 9,

 2011)).

           45.     In In re Draw, a Chapter 11 trustee filed an amended adversary complaint against

 several members of the company’s board of directors, asserting breach of fiduciary duties and

 aiding and abetting breaches of fiduciary duties. On the defendant’s 12(b)(6) motion, the court

 held that plaintiff’s amended complaint failed to allege specific facts showing actual knowledge

 that [Director] was liable for aiding and abetting, and that plaintiff simply alleged [Director] “knew

 or should have known” his conduct aided and abetted the breach. Id. at 904. The court

 subsequently dismissed plaintiff’s aiding and abetting claims against that particular director.

           46.     In Capitaliza-T, defendant moved to dismiss plaintiff’s amended complaint under

 Rule 12(b)(6), citing that it did not contain sufficient factual allegations regarding defendant’s

 knowledge of breach of fiduciary duty. The court applied the Delaware rule that “at a minimum,

 the complaint [must] alleged circumstantial facts suggesting that the defendant had knowledge of

 the specific principal violation.” Id. at *5 (citing Brug v. Enstar Group, Inc., 755 F.Supp. 1247,

 1256 (D. Del. 1991)). The court held that although plaintiff’s amended compliant contained

 circumstantial allegations against defendant for aiding and abetting, it was not enough to allege




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 that defendants “had knowledge of the underlying…breach of fiduciary duty” to survive a 12(b)(6)

 motion. Capitaliza-T, at *7.

          47.      In this case, Plaintiff simply alleges that “[the Donderos] were aware that Dugaboy

 would have fiduciary duties to the Debtor if it acted to bind the Debtor,” and “[t]he Donderos aided

 and abetted Dugaboy’s breach of its fiduciary duties…by knowingly participating in the

 authorization of the…Alleged Agreement.”41 In its Amended Complaint, Plaintiff references only

 factors that could be circumstantial at best when describing it’s Third Claim for relief against Jim

 Dondero, but never clearly articulates the required specific facts that show “actual knowledge”

 that he was overtly acting to substantially assist Dugaboy in breaching a fiduciary duty as required

 by In re Draw and Capitaliza-T.42 Further, Plaintiff makes no specific factual allegations against

 Nancy Dondero, other than she “[was] aware” of Dugaboy’s fiduciary duties, and that she aided

 and abetted the breach. Neither claims against Jim nor Nancy Dondero rise to the standard of

 articulation discussed in In re Draw and Capitaliza-T. Therefore, Plaintiff's Seventh Claim should

 be dismissed under Twombly and Rule 12(b)(6).

                   4.       Neither Jim nor Nancy Dondero are Liable for Aiding and Abetting
                            Because Aiding and Abetting Requires More Than One Single Act.

          48.      As discussed in Section C.3 supra, the test for stating an aiding and abetting claim

 is stringent and focuses of proof of scienter that a party knew it was aiding another party in

 committing tortious conduct. In re Draw, at 904. This would require Plaintiff to show (1) a

 primary act by Dugaboy (via Nancy) that breached a fiduciary duty (which it cannot), and (2) a




 41
  Am. Compl. ¶¶ 78,79, Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶¶ 92,93, Adv. No. 21-03007 [Doc. 63]; Am.
 Compl. ¶¶ 90,91, Adv. No. 21-03006 [Doc. 68]; Am. Compl. ¶¶ 71,72, Adv. No. 21-03005 [Doc. 63].
 42
   Am. Compl. ¶¶ 3,36,38,39,40,41, Adv. No. 21-03003 [Doc. 73-2]; Am. Compl. ¶¶ 3,50,51,52,53, Adv. No. 21-
 03007 [Doc. 55-2]; Am. Compl. ¶¶ 3,48,49,50,51, Adv. No. 21-03006 [Doc. 60-2]; Am. Compl. ¶¶ 3,35,36,37,38,39,
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 secondary act by each of Jim and Nancy Dondero that shows scienter and knowing participation

 in subverting a fiduciary duty.

          49.      Plaintiff cannot show concerted action here on behalf of Jim or Nancy Dondero,

 because the only singular act that occurred was Dugaboy approving the compensation under the

 LPA. Plaintiff alleges no other separate act by Nancy Dondero that would have been “in concert”

 with or “knowingly participating” in anything, as she was acting as the Dugaboy Trustee

 (discussed above in Section C.2.). Further, Plaintiff shows no other separate act or proof of scienter

 that Jim Dondero specifically set out to knowingly aid Dugaboy in tortious conduct under In re

 Draw, since Dugaboy engaged in no such conduct. Therefore, Plaintiff’s Seventh Claim fails

 Twombly and must be dismissed under Rule 12(b)(6).

                   5.       Debtor Lacks Standing to Bring an Aiding and Abetting a Breach of
                            Fiduciary Duty Claim Based on an Executory Contract It Rejected.

          50.      The analysis here is the same as in Argument III.A.2. and B.2, supra. Plaintiff

 argues that Jim and Nancy Dondero aided and abetted Dugaboy’s alleged breach of fiduciary duty

 by authorizing the Subsequent Agreement, which Plaintiff alleges may have violated the LPA.43

 A cause of action for a derivative claim such as aiding and abetting shares accrual and limitations

 periods with the underlying tort of breach of fiduciary duty. Agar Corp., Inc. v. Electro Circuits

 Int’l, LLC, 580 S.W.3d 136, 144 (Tex. 2019), reh’g denied, (Sept. 6, 2019). "Because a civil

 conspiracy claim is derivative of an underlying tort, the claim accrues when the underlying tor

 accrues." Id. at 145. Here, because Plaintiff's aiding and abetting claims derive from the alleged

 breach of fiduciary duty claim, the claims share accrual dates.




 43
   Am. Compl. ¶¶ 78,79, Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶¶ 92,93, Adv. No. 21-03007 [Doc. 63]; Am.
 Compl. ¶¶ 90,91, Adv. No. 21-03006 [Doc. 68]; Am. Compl. ¶¶ 71,72, Adv. No. 21-03005 [Doc. 63].

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          51.      Again, Plaintiff was not injured until Jim Dondero did not pay the Notes. This

 claim did not accrue until December 11, 2020, and is also predicated on allegations that the

 Subsequent Agreement violates fiduciary duties arising out of the rejected LPA. Once again,

 Plaintiff is attempting to bring a post-petition claim under the LPA it rejected. Therefore,

 Plaintiff’s Seventh Claim must be dismissed under Twombly and Rule 12(b)(6).

 IV.      CONCLUSION

          Dugaboy, Jim Dondero, and Nancy Dondero therefore respectfully request this Court

 dismiss Plaintiff’s Fifth, Sixth, and Seventh Amended Claims in its Amended Complaint under

 Federal Rule of Civil Procedure 12(b)(6).

 Dated: September 1, 2021                      Respectfully submitted,

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                                    TRUST




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                                 CERTIFICATE OF SERVICE

          The undersigned hereby certifies that, on September 1, 2021, a true and correct copy of

 this document was served via the Court’s CM/ECF system on counsel for the Plaintiff.

                                              /s/Deborah Deitsch-Perez
                                              Deborah Deitsch-Perez




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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

 In re:                             §                                             Case No. 19-34054-SGJ-11
                                    §
 HIGHLAND CAPITAL MANAGEMENT, L.P., §                                             Chapter 11
                                    §
      Debtor.                       §
                                    §
 HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                    §
      Plaintiff.                    §
                                    §
 v.                                 §
                                    §                                            Adversary No.: 21-03007-sgj
 HCRE PARTNERS, LLC (n/k/a NEXPOINT §
 REAL ESTATE PARTNERS, LLC), JAMES  §
 DONDERO, NANCY DONDERO, AND        §
 DUGABOY INVESTMENT TRUST           §
                                    §
      Defendants.                   §


               DEFENDANTS’ RULE 12(b)(6) MOTION TO DISMISS PLAINTIFF’S
                   FIFTH, SIXTH, AND SEVENTH CLAIMS FOR RELIEF1



 1
  This Motion to Dismiss is being concurrently filed in Adv. Nos. 21-03003, 21-03007, 21-03006, and 21-03005, Case
 No. 19-34054-sgj11, as Plaintiff’s assertions and Amended Complaints against all Defendants are identical in material
 respects.


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          In the alternative to and contingent upon a denial by the Court of Defendants’ Motion to

 Compel Arbitration (which the Court should not deny), Defendants move to dismiss the Fifth,

 Sixth, and Seventh Claims for Relief in Plaintiff’s Amended Complaint for failure to state claims

 on which this Court could grant relief under Federal Rule of Civil Procedure 12(b)(6), as

 incorporated into this adversary proceeding through Rule 7012 of the Federal Rules of Bankruptcy

 Procedure. In filing this Motion to Dismiss, Defendants do not waive any rights to compel

 arbitration, as set forth in Defendants’ Motion to Compel Arbitration.2 Defendants show in

 support as follows:

 I.       BACKGROUND

          A.       The Bankruptcy and Rejection of Executory Contracts

          1        Highland Capital Management, L.P. (“Plaintiff”) filed a voluntary Chapter 11

 bankruptcy petition (“Bankruptcy Petition”) on October 16, 2019 (“Petition Date”) in the United

 States Bankruptcy Court for the District of Delaware, and venue was subsequently transferred to

 this Court on December 4, 2019.3 On November 24, 2020, Plaintiff filed its Fifth Amended Plan

 of Reorganization of Highland Capital Management, L.P. (the “Plan”) along with its Disclosure

 Statement, which the Court approved on November 24, 2020.4

          2.       On January 11, 2021, Plaintiff filed its Second Notice of Executory Contracts and

 Unexpired Leases to be Assumed by the Plaintiff [then, Debtor] Pursuant to the Plan (the




 2
   Williams v. Cigna Financial Advisors, Inc., 56 F.3d 656 (5th Cir. 1995) (Defendant did not substantially invoke the
 judicial process and waive its right to arbitration despite removal of action to federal court, filing motion to dismiss,
 filing motion to stay proceedings, answering plaintiff’s complaint, asserting counterclaim, and exchanging discovery);
 Keytrade USA, Inc. v. AIN Temouchent M/V, 404 F.3d 891 (5th Cir. 2005) (Arbitration not waived when defendant
 filed a 100-plus page motion for summary judgment and a concurrent motion to arbitrate); Gulf Guaranty Life Ins.
 Co. v. Conn. Gen. Life Ins. Co., 304 F.3d 476 (5th Cir. 2002) (no waiver of arbitration right when the party seeking
 arbitration did no more than defend itself against the claims made against it).
 3
   Order Transferring Venue, Case 19-12239-Css [Doc. 184].
 4
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 “Assumption Notice”).5 The Assumption Notice itemized seventy-one (71) executory contracts

 to be assumed by the Plaintiff, notably including the Fourth Amended and Restated Agreement of

 Limited Partnership of Highland Capital Management, L.P. (the “LPA”). However, on January

 21, 2021, the Debtor entered a Withdrawal Notice, rejecting the LPA along with several other

 executory contracts,6 and confirmed on February 1, 2021, that it had withdrawn the LPA from its

 list of assumed executory contracts.7 On February 22, 2021 (the “Rejection Date”), the Court

 confirmed the Plan, causing the rejection of the LPA.8

          B.       The Limited Partnership Agreement

          3.       James Dondero (“Jim Dondero”) is the co-founder of Highland Capital (Plaintiff in

 this Adversary Proceeding), and served as its President and CEO until January 9, 2020. 9 The

 Dugaboy Family Trust (“Dugaboy”) is one of Debtor’s Class A limited partners and holds the

 majority of the Debtor’s Class A limited partnership interests. LPA, Exhibit A. Jim Dondero’s

 sister Nancy Dondero serves as the Dugaboy Family Trustee. 10 Jim Dondero is a lifetime

 beneficiary of Dugaboy.11

          4.       Dugaboy’s explicit authorization to approve compensation for Jim Dondero - and

 thus bind the Partnership - comes specifically from the LPA in § 3.10(a), which provides in

 pertinent part:

          (a)    Compensation.       The General Partner and any Affiliate of the General
          Partner shall receive no compensation from the Partnership for services rendered


 5
   Case 19-34054-sgj11 [Doc. 1719].
 6
   Case 19-34054-sgj11 [Doc. 1791, Schedule A].
 7
   Case 19-34054-sgj11 [Doc. 1871].
 8
   Case 19-34054-sgj11 [Doc. 1943].
 9
   Am. Compl. ¶ 11, Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶ 12, Adv. No. 21-03007 [Doc. 63]; Am. Compl. ¶ 12,
 Adv. No. 21-03006 [Doc. 68]; Am. Compl. ¶ 12, Adv. No. 21-03005 [Doc. 63].
 10
    Am. Compl. ¶ 13, Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶ 14, Adv. No. 21-03007 [Doc. 63]; Am. Compl.
 ¶ 14, Adv. No. 21-03006 [Doc. 68]; Am. Compl. ¶ 14, Adv. No. 21-03005 [Doc. 63].
 11
    Am. Compl. ¶ 12, Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶ 13, Adv. No. 21-03007 [Doc. 63]; Am. Compl.
 ¶ 13, Adv. No. 21-03006 [Doc. 68]; Am. Compl. ¶ 13, Adv. No. 21-03005 [Doc. 63].



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          pursuant to this Agreement or any other agreements unless approved by a Majority
          Interest; LPA § 3.10(a) (emphasis added).

 The LPA defines relevant actors in the Compensation provision as follows:

          “‘Majority Interest’ means the owners of more than fifty percent (50%) of the
          Percentage Interests of Class A Limited Partners.” LPA § 2.1, p.4.

          “‘Class A Limited Partners’ means those Partners holding a Class A Limited
          Partnership Interest, as shown on Exhibit A.” LPA § 2.1, p.2.

          Exhibit A reflects “The Dugaboy Investment Trust” as a Class A Limited Partner
          owning 74.4426% of the Class A Limited Partnership Interests. LPA, Exhibit A,
          line 5.12

 Based on the Compensation provision and definitions, Dugaboy clearly had the right to approve

 compensation for the General Partner and its Affiliates.            The General Partner entitled to

 compensation here is Strand Advisors, Inc. The LPA Preamble states in pertinent part:

          “This [LPA] is entered…by and among Strand Advisors, Inc., a Delaware
          Corporation (“Strand”), as General Partner, the Limited Partners party hereto, and
          any Person hereinafter admitted as a Limited Partner. LPA Preamble, p.1.

 The LPA goes on to articulate Affiliates (of Strand):

          “‘Affiliate’ means any Person that directly or indirectly controls, is controlled by,
          or is under common control with the Person in question. As used in this definition,
          the term ‘control’ means the possession, directly or indirectly, of the power to direct
          or cause the direction of the management and policies of a Person, whether through
          ownership of voting securities, by contract or otherwise.” LPA § 2.1, p.2.

          “‘Person’ means an individual or a corporation, partnership, trust, estate,
          unincorporated organization, association, or other entity.” LPA § 2.1, p.5.

 It is undisputed that Jim Dondero was an Affiliate of Strand under the LPA’s definition. It is also

 undisputed that he controlled Highland Capital Real Estate Partners (“HCRE”), Nexpoint

 Advisors, L.P. (“Nexpoint”), and Highland Capital Management Services, Inc. (“HCMS”).13

 Thus, Jim Dondero was entitled to compensation approved by Dugaboy pursuant to the LPA.


 12
  See attached, LPA Exhibit A.
 13
  Am. Compl. ¶ 2, Adv. No. 21-03007 [Doc. 63]; Am. Compl. ¶ 2, Adv. No. 21-03006 [Doc. 68]; Am. Compl. ¶ 2,
 Adv. No. 21-03005 [Doc. 63].



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          C.       The Promissory Notes

          5.       Over the last several years, multiple promissory notes were executed in favor of the

 Plaintiff to different entities and individuals, which obligations became subject to potential

 forgiveness as compensation for Jim Dondero that, under the LPA, Dugaboy was charged with

 approving:

          Notes to Jim Dondero (the “Dondero Notes”):

                   1.          A note for $3,825,000, executed on February 2, 2018, payable on demand.
                   2.          A note for $2,500,000, executed on August 1, 2018, payable on demand.
                   3.          A note for $2,500,000, executed on August 13, 2018, payable on demand.14

          Notes to HCRE (the “HCRE Notes”):

                   1.          A note for $100,000, executed on November 27, 2013, payable on demand.
                   2.          A note for $2,500,000, executed on October 12, 2017, payable on demand.
                   3.          A note for $750,000, executed on October 15, 2018, payable on demand.
                   4.          A note for $900,000, executed on September 25, 2019, payable on demand.
                   5.          A term note for $6,059,831, executed on May 31, 2017, payable in thirty
                               (30) equal annual installment payments, each due on the 31st day of
                               December each calendar year.15

          Notes to HCMS (the “HCMS Notes”):

                   1.          A note for $150,000, executed on March 28, 2018, payable on demand.
                   2.          A note for $200,000, executed on June 25, 2018, payable on demand.
                   3.          A note for $400,000, executed on May 29, 2019, payable on demand.
                   4.          A note for $150,000, executed on June 26, 2019, payable on demand.16

          Note to Nexpoint (the “Nexpoint Note”):

                   1.          A term note for $30,746,812.33, executed on May 31, 2017, payable in
                               thirty (30) equal annual installment payments, each due on the 31st day of
                               December each calendar year.17

 14
    Am. Compl. ¶¶ 20-22, Adv. No. 21-03003, Case No. 19-34054-sgj11 [Doc. 79].
 15
    Am. Compl. ¶¶ 21-24, Adv. No. 21-03007, Case No. 19-34054-sgj11 [Doc. 63]; According to its Amended
 Complaint, Plaintiff alleges in ¶ 63 that it has suffered damages under the note “in the amount of at least $5,012,260.96,
 as of December 11, 2020,” but in ¶ 64 that it has suffered damages “in the amount of at least $6,145,466.84 as of
 January 8, 2021, plus an amount equal to all accrued but unpaid interest from that date...”
 16
    Am. Compl. ¶¶ 21-24, Adv. No. 21-03006, Case No. 19-34054-sgj11 [Doc. 68].
 17
    Am. Compl. ¶ 21, Adv. No. 21-03005, Case No. 19-34054-sgj11 [Doc. 63]; Plaintiff alleges in ¶ 31 that “as of
 January 15, 2021, the total outstanding principal and accrued but unpaid interest due under the Note was
 $23,071,195.03,” and claims the same amount as damages in ¶ 48.



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          6.       Jim Dondero entered into agreement (the “Subsequent Agreements,” or as Plaintiff

 refers to them, the “Alleged Agreements”) with Nancy Dondero (acting for Dugaboy as its Trustee)

 that Plaintiff would not demand collection of the Notes unless events had occurred that made

 fulfillment of conditions subsequent impossible.18 However, annual term loan payments and

 annual interest payments on the demand notes were to be (and were) made.19

          7.       On December 3, 2020, after the bankruptcy Petition Date, Plaintiff demanded

 payment from Jim Dondero, HCRE, and HCMS on their respective demand notes due by

 December 11, 2020.20 On January 7, 2021, Plaintiff made a demand on the Nexpoint term note,

 claiming that “[t]he amount due and payable on the Note as of January 8, 2021 is $24,471,804.98,”

 and a demand on the HCRE term note, claiming that “[t]he amount due and payable on the Note

 as of January 8, 2021 is $6,145,466.84.”21 Plaintiff has refused to recognize the Subsequent

 Agreement, calling it a “fiction.”22 Other than annual term and interest payments and some

 voluntary prepayments on the term notes, Defendants have not paid the Notes.23




 18
    Am. Answer ¶ 40, Adv. No. 21-03003 [Doc. 16]; Am. Answer ¶ 58, Adv. No. 21-03007 [Doc. 34]; Am. Answer
 ¶ 56, Adv. No. 21-03006 [Doc. 34]; Am. Answer ¶ 42, Adv. No. 21-03005 [Doc. 50].
 19
    E.g., Am. Compl. ¶ 21,27, Adv. No. 21-03005 [Doc. 63], showing the original principal of the note being
 $30,746,812.33, but Plaintiff only demanding $24,471,804.98 in its demand letter; E.g., Am. Compl. ¶ 37,63,64, Adv.
 No. 21-03007 [Doc. 63], showing the original principal of the note being $6,059,831, but Plaintiff alleging it was
 damaged in the amount of at least $5,012,260.96 as of December 11, 2020, but also in the next paragraph inconsistently
 alleging it was damaged in the amount of at least $6,145,466.84.
 20
    Am. Compl. ¶ 26, Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶ 28, Adv. No. 21-03007 [Doc. 63]; Am. Compl.
 ¶ 28, Adv. No. 21-03006 [Doc. 68].
 21
    Am. Compl. ¶ 27, Adv. No. 21-03005 [Doc. 63]; Am. Compl. ¶43, Adv. No. 21-03007 [Doc. 63].
 22
    Am. Compl. ¶ 3, Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶ 3, Adv. No. 21-03007 [Doc. 63]; Am. Compl. ¶ 3,
 Adv. No. 21-03006 [Doc. 68]; Am. Compl. ¶ 3, Adv. No. 21-03005 [Doc. 63].
 23
    With respect to the Nexpoint term loans, due to a mistake, the 2020 end-of-year payment was late and the notes
 should be deemed current, Am. Ans. ¶ 40,41, Adv. Pro. 21-03005 [Doc. 50]; Am. Compl. ¶ 28, Adv. No. 21-03005
 [Doc. 55-2], acknowledging payment of $1,406,111.92.



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          D.       The Adversary Proceedings

          8.       On January 22, 2021, Plaintiff initiated Adversary Proceedings against Jim

 Dondero, HCRE, HCMS, and Nexpoint for breach of contract and turnover of property. 24 On

 August 17, 2021, Plaintiff filed Amended Complaints against each Defendant alleging additional

 claims against Jim Dondero and new claims against Dugaboy and Nancy Dondero. Defendants

 each filed Amended Answers asserting several affirmative defenses, including that the Subsequent

 Agreements preclude the respective claims.25

          9.       In the Fifth Claim of each Amended Complaint,26 Plaintiff asks the Court to declare

 (a) that limited partners, including but not limited to Dugaboy, have no right or authority to take

 part in the control (within the meaning of the Delaware Act) of the Partnership’s business, transact

 any business in the Partnership’s name, or have the power to sign documents for or otherwise bind

 the Partnership other than as specifically provided in the LPA, (b) that neither Dugaboy nor Nancy

 Dondero was authorized under the LPA to enter into the Subsequent Agreement on behalf of the

 Partnership, (c) that neither Dugaboy nor Nancy Dondero otherwise had the right or authority to

 enter into the Subsequent Agreement on behalf of the Partnership, and (d) the Subsequent

 Agreement is null and void.27

          10.      In the Sixth Claim of each Amended Complaint,28 Plaintiff alleges that if Dugaboy,

 as a limited partner under the LPA, or Nancy Dondero, as the representative of Dugaboy, had the




 24
    Am. Compl. ¶ 33, Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶ 47, Adv. No. 21-03007 [Doc. 63]; Am. Compl.
 ¶ 45, Adv. No. 21-03006 [Doc. 68]; Am. Compl. ¶ 33, Adv. No. 21-03005 [Doc. 63].
 25
    Am. Answer ¶ 40, Adv. No. 21-03003 [Doc. 16]; Am. Answer ¶ 58, Adv. No. 21-03007 [Doc. 34]; Am. Answer
 ¶ 56, Adv. No. 21-03006 [Doc. 34]; Am. Answer ¶ 42, Adv. No. 21-03005 [Doc. 50].
 26
    Nancy Dondero is a Defendant on Counts V, VI, and VII in Adv. No. 21-03005, Adv. No. 21-3006, and Adv. No.
 21-3007. Nancy Dondero is a Defendant only on Count VII in Adv. No. 21-03003.
 27
    Am. Compl. ¶ 72(a-d), Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶ 86(a-d), Adv. No. 21-03007 [Doc. 63], Plaintiff
 alleges against Dugaboy and Nancy Dondero; Am. Compl. ¶ 84(a-d), Adv. No. 21-03006 [Doc. 68]; Am. Compl.
 ¶ 70(a-d), Adv. No. 21-03005 [Doc. 63].
 28
    See note 26, supra.



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 authority to enter into the Subsequent Agreement on behalf of [Plaintiff], then Dugaboy incurred

 a fiduciary duty of care, and breached said duty by entering into the Subsequent Agreement.29

          11.      In the Seventh Claim of each Amended Complaint, Plaintiff alleges that Jim and

 Nancy Dondero were aware that Dugaboy would have fiduciary duties owed to the Plaintiff if

 acting to bind the Plaintiff per the authorization in the LPA, and aided and abetted Dugaboy’s

 breach of its fiduciary duties by knowingly participating in the authorization of the Subsequent

 Agreement.30

 II.      STANDARD OF REVIEW

          12.      An asserted cause of action must be dismissed when the complaint fails to state a

 claim. Fed. R. Civ. P. 12(b)(6). To survive a motion to dismiss under Rule 12(b)(6), the complaint

 must meet two criteria: (1) it must assert a plausible claim, and (2) it must set forth sufficient

 factual allegations to support the claim. Ashcroft v. Iqbal, 129 S. Ct. 1937, at 1949-50 (citing Bell

 Atlantic Corp v. Twombly, 550 U.S. 544 (2007)). Thus, either a “lack of cognizable legal theory

 or the absence of sufficient facts alleged under a cognizable legal theory” requires dismissal. Id.

 The plaintiff must allege specific facts and not conclusory allegations. Elliott v. Foufas, 867 F.2d

 877, 881 (5th Cir. 1989). A court may not strain to find inferences favorable to the plaintiff or

 accept conclusory allegations, unwarranted deduction, or legal conclusion. R2 Invs. LDC v.

 Phillips, 401 F.3d 638, 642 (5th Cir. 2005).

          13.      To satisfy Twombly and Iqbal, “a complaint must contain sufficient factual matter,

 accepted as true, to ‘state a claim to relief that is plausible on its face.’” Id., Twombly, at 570. A

 claim has facial plausibility when the plaintiff pleads enough factual content that allows the court


 29
    Am. Compl. ¶ 75, Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶ 89, Adv. No. 21-03007 [Doc. 63]; Am. Compl.
 ¶ 87, Adv. No. 21-03006 [Doc. 68]; Am. Compl. ¶ 73, Adv. No. 21-03005 [Doc. 63].
 30
    Am. Compl. ¶ 79, Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶ 93, Adv. No. 21-03007 [Doc. 63]; Am. Compl.
 ¶ 91, Adv. No. 21-03006 [Doc. 68]; Am. Compl. ¶ 77, Adv. No. 21-03005 [Doc. 63].



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 to draw the reasonable inference that the defendant is liable under the alleged claim. Id. at 556.

 Even if a court decides that the factual allegations are entitled to an assumption of truth, however,

 the facts must also “plausibly suggest an entitlement to relief.” Id., Iqbal, at 1951.

 III.     ARGUMENTS AND AUTHORITIES

          A.       Plaintiff’s Fifth Claim for Declaratory Relief Under the LPA Should Be
                   Dismissed for Two Reasons.

                   1.          Plaintiff’s Fifth Claim Fails Because the Terms of the LPA are so Clear
                               on their Face That There is No Actual Controversy between Parties.

          14.      Plaintiff’s claim presents no “actual controversy” because the provisions of the

 LPA clearly allow Dugaboy to bind the Partnership by approving compensation and there is no

 controversy that could require a declaration by this Court.

          15.      Plaintiff argues that Dugaboy was not authorized to enter into the Subsequent

 Agreement regarding Jim Dondero’s compensation, nor was it authorized to bind the Partnership.31

 Plaintiff further attached the LPA as “Exhibit 5” to its Amended Complaints and referenced this

 Court to § 4.2, which states:

          Management of Business.       No Limited Partner shall take part in the control
          (within the meaning of the Delaware Act) of the Partnership’s business, transact
          any business in the Partnership’s name, or have the power to sign documents for or
          otherwise bind the Partnership other than as specifically set forth in this
          Agreement.32 (emphasis added).

          16.      Contrary to Plaintiff’s argument, the LPA explicitly authorizes Dugaboy as the

 Majority Interest to approve compensation for Jim Dondero as previously articulated in this

 Motion. Approving compensation inherently binds the Partnership in that it exchanges money on

 behalf of the Partnership for services rendered. Because it is so expressly provided for in the LPA,




 31
   Id.
 32
    Am. Compl. ¶ 43, Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶ 55, Adv. No. 21-03007 [Doc. 63]; Am. Compl.
 ¶ 53, Adv. No. 21-03006 [Doc. 68]; Am. Compl. ¶ 27, Adv. No. 21-03005 [Doc. 63].



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 Plaintiff’s contention that Dugaboy could not act to bind the Partnership through compensation

 agreements amounts to Plaintiff’s misinterpretation of the LPA as opposed to an “actual

 controversy” in need of declaratory relief. This claim is nothing more than Plaintiff’s attempt at

 an end-around to avoid proving the merits of its breach of fiduciary duty claims and essentially

 asks this Court for an advisory opinion to help Plaintiff do so. Under Twombly, Plaintiff’s claim

 for declaratory relief should be dismissed pursuant to Rule 12(b)(6).

                   2.          Debtor Lacks Standing to Assert a Claim for Declaratory Relief Based
                               Upon an Executory Contract It Rejected.

          17.      There is no authority for “allowing a debtor's estate or a successor-in-interest such

 as the [creditor’s committee or litigation trustee] to pursue claims for post-petition breaches of a

 rejected contract. Because rejection is an affirmative declaration by the debtor that the estate will

 not take on the obligations of a prepetition contract made by the debtor, [Plaintiff-Debtor’s]

 rejection of the [LPA] not only relieved the estate of its post-petition performance obligations, but

 also relieved the estate of its ability to assert claims for post-petition breaches thereof.” Lauter v.

 Citgo Petroleum Corp., CV H-17-2028, 2018 WL 801601, at *15 (S.D. Tex. Feb. 8, 2018). As

 explained below, as a result, not only does this preclude Debtor’s claims for breach of fiduciary

 duty (see sections B.2., C.5. infra), it also precludes Debtor’s attempt to obtain declaratory relief.

          18.      Plaintiff seeks declaratory relief against Dugaboy and Nancy Dondero to determine

 if either of them were authorized to enter into the Subsequent Agreement under the LPA. 33

 Although most causes of action accrue when an injury results from a wrongful act, a cause of

 action for declaratory relief differs in that it does not accrue until there is an actual controversy

 between the parties. In re Estate of Denman, 362 S.W.3d 134, 144 (Tex. App. -- San Antonio



 33
   Am. Compl. ¶ 72(a-d), Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶ 86(a-d), Adv. No. 21-03007 [Doc. 63]; Am.
 Compl. ¶ 84(a-d), Adv. No. 21-03006 [Doc. 68]; Am. Compl. ¶ 70(a-d), Adv. No. 21-03005 [Doc. 63].



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 2011, no pet.); Murphey v. Honeycutt, 199 S.W.2d 298, 299 (holding that declaratory judgment

 action accrued in a will construction case at the time when an heir committed an act indicating she

 was operating against the will, not when the will was executed years prior to the heir’s act);

 Muzquiz v. Para Todos, Inc., 624 S.W.3d 263, 278 (Tex. App. – El Paso 2021, pet. filed) (holding

 that in a lease dispute, the actual controversy did not arise-- and the claim did not accrue- when

 the lease was entered into by the parties, but rather when plaintiff challenged the lease terms at a

 later date).

            19.    Here, Plaintiff’s declaratory relief claim accrued (if at all) when Jim Dondero

 asserted the Subsequent Agreement as an affirmative defense. Plaintiff alleges that the actual

 controversy here is whether or not Dugaboy or Nancy Dondero had authority to enter into the

 Subsequent Agreement under the rejected LPA. Plaintiff specifically pleads that “[a] bona fide,

 actual, present dispute exists between the [Plaintiff] and Dugaboy concerning whether Dugaboy

 was authorized to enter into the Alleged Agreement on the [Plaintiff]’s behalf….[and a] judgment

 declaring the parties’ respective rights and obligations will resolve their dispute.”34 Plaintiff did

 not allege anywhere in its Original Complaint that a dispute regarding Dugaboy’s authority to enter

 the Subsequent Agreement required declaratory relief. Only after Defendants filed their Amended

 Answers did Plaintiff seek such relief in its Amended Complaint.35 Therefore, this cause of action

 for declaratory relief accrued when Plaintiff received Defendant’s Amended Answers after the

 bankruptcy began, as that is when facts came into existence that created an actual controversy

 under the LPA.

            20.    Section 365 of Title 11 of the United States Code (the "Bankruptcy Code") governs

 the inclusion and exclusion of executory contracts in bankruptcy. Section 365 vests the power to


 34
      Id.
 35
      Id.



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 reject or assume any of the Debtor’s executory contracts in the trustee, subject to the court’s

 approval. 11 U.S.C. § 365(a). A debtor’s rejection of an executory contract constitutes a breach

 of such contract immediately before the date of the filing of the [bankruptcy] petition. 11 U.S.C.

 § 365(g)(1). In this case, Plaintiff’s act of rejection resulted in a material breach of the LPA that

 relates back to October 15, 2019 (the “Breach Date”) pursuant to the Bankruptcy Code. See 11

 U.S.C. § 365(g)(1).

          21.      “Rejection is an affirmative declaration that the estate will not take on the

 obligations of a pre-petition contract made by the debtor” and “places the obligation to perform

 outside of the bankruptcy administration.” Lauter, at *13, citing Matter of Austin Dev. Co, 19 F.3d

 1077, 1082-83 (5th Cir. 1994); In re Continental Airlines, 981 F.2d 1450, 1459 (5th Cir. 1993).

 “[R]ejection does not change the substantive rights of the parties to the contract, but merely means

 the bankruptcy estate itself will not become a party to it.” In re Alongi, 272 B.R. 148, 153 (Bankr.

 D. Md. 2001) (citing M. Andrew, Executory Contracts in Bankruptcy: Understanding

 “Rejection”, 59 U.Colo.L.Rev. 845 (1988)). As noted above, rejection not only relieves the estate

 of post-[bankruptcy]petition performance obligations, but also of its ability to assert claims for

 post-petition breaches thereof. Lauter, at *15.

          22.      The court in Lauter looked to the reasoning of Fifth Circuit opinions examining the

 effects of plaintiffs rejecting executory contracts under § 365. In In re Continental, the court

 reasoned in part that, under § 365, “An agreement cannot ‘exist’ for one purpose yet take on a

 ‘nonexistent’ quality which works for the advantage of one party or the other” when a debtor-

 plaintiff sought to avoid paying airline pilots under an executory contract it rejected, attempting to

 treat the contract as terminated. Id. at 1460. Likewise, the court in Matter of Austin reasoned that

 a rejection of a lease under § 365 did not terminate the lease, but moved the rights of the parties




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 affected “outside of the bankruptcy court’s realm because after rejection, the debtor’s estate is no

 longer involved in the leasehold transaction.” Id. at 1083.

          23.      Following the Fifth Circuit’s application of § 365 in cases such as In re Continental

 and Matter of Austin, the court in Lauter addressed the impact of a debtor-plaintiff’s attempt to

 pursue post-petition claims against a defendant whose executory contract had been rejected. The

 court held that just as in any other contract dispute, a prior material breach by a counterparty

 relieved the aggrieved party of the duty to perform and deprived the breaching party of the ability

 to make claims for breach after its own breach. Id. at *12-13, 15. After a thorough discussion of

 § 365, the court ultimately found that the plaintiff lacked standing to pursue claims resulting from

 a post-petition breach of an executory contract, holding that “the court has not found any authority

 allowing a debtor’s estate . . . to pursue claims for post-petition breaches of a rejected contract.”

 Id. at *15.

          24.      Here, Plaintiff asks this Court to interpret and, in effect, determine a breach of the

 same LPA it rejected and breached prior to the bankruptcy petition date. The LPA was rejected

 on February 22, 2021 and thus deemed materially breached on October 15, 2019 under § 365(g)(1).

 Because this cause of action accrued after both rejection and the relation-back breach provision of

 § 365, Plaintiff’s Fifth Claim for declaratory relief amounts to a post-petition claim arising from a

 rejected executory contract, which the court in Lauter held a Debtor lacks standing to assert in a

 bankruptcy proceeding. Therefore, this claim should be dismissed pursuant to Twombly and Rule

 12(b)(6).




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          B.       Plaintiff’s Sixth Claim of Breach of Fiduciary Duty Against Dugaboy and
                   Nancy Dondero Fails for Two Reasons.

                   1.          Dugaboy Owes No Fiduciary Duty to Plaintiff as a Consequence of
                               Exercising Its Right to Approve Compensation.

          25.      Plaintiff alleges that “if Dugaboy, as a limited partner, had the authority to enter

 into the Alleged Agreement…then Dugaboy would owe the [Plaintiff] a fiduciary duty.”36 The

 LPA in this case is governed by the Delaware Revised Uniform Limited Partnership Act (the

 “DRULPA”) except as specifically provided for in the LPA. LPA §§ 1.1,1.2; see also Del. Code

 Ann. Tit. 6, § 17-1102. The DRULPA allows partnership agreements to expand, restrict, or

 eliminate fiduciary and other legal or equitable duties, provided it may not eliminate the implied

 contractual duty of good faith and fair dealing. Del. Code Ann. Tit. 6, § 17-1101(d). The

 DRULPA also specifically permits a partnership agreement to provide the rules for how partners

 may transact with the partnership. Del. Code Ann. Tit. 6, § 17-107.

          26.      In Delaware, a limited partner does not owe a fiduciary duty as a consequence of

 exercising a right of the limited partner under the partnership agreement. Bond Purchase, L.L.C.

 v. Patriot Tax Credit Properties, L.P., 746 A.2d 842, 864 (Del. Ch. 1999); In re Est. of Conaway,

 2012 WL 524190, at *3 (Del. Ch. Feb. 15, 2012), aff’d sub nom. Russell-Conaway v. Frederick-

 Conaway, 2012 WL 4478655, 54 A.3d 257 (Del. 2012) (unpublished).

          27.      In Bond Purchase, a limited partner exercised its right under the limited partnership

 agreement to obtain records of the owners of the partnership for the purpose of making a tender

 offer for additional interests in the partnership. Although the other partners claimed this request

 for records was a breach of a fiduciary duty, the court held that “in the absence of any provision

 in the partnership agreement engrafting duties onto [the limited partner],” “[the limited partner]


 36
    Am. Compl. ¶ 75, Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶ 89, Adv. No. 21-03007 [Doc. 63]; Am. Compl.
 ¶ 87, Adv. No. 21-03006 [Doc. 68]; Am. Compl. ¶ 73, Adv. No. 21-03005 [Doc. 63].



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 owes no fiduciary duties,” and allowed the limited partner access to the records it sought under the

 partnership agreement. Id. at 864.

          28.      In In re Est. of Conaway, a limited partner withheld consent to transfer another

 partner’s interest as he was allowed to under the limited partnership agreement. The receiving

 party alleged a breach of the non-consenting limited partner’s fiduciary duty. The court held that

 where the limited partner “merely exercised his contracted-for rights under the terms of the [limited

 partnership agreement],” the limited partner breached no fiduciary duty, assuming there even was

 one. Id. at *3.

          29.      Just as the limited partners in Bond Purchase and In re Est. of Conaway, Dugaboy

 was merely exercising its right to approve compensation pursuant to the LPA when it entered into

 the Subsequent Agreement. LPA § 3.10(a); § 2.1. Therefore, Dugaboy owes no fiduciary duty to

 the Plaintiff as a consequence of simply exercising its right under the LPA. While a limited partner

 who takes on an active role in the management of the entity may thereby assume fiduciary duties,

 Feeley v. NHAOCG, LLC, 62 A.3d 649, 662 (Del. Ch. 2012) (citing cases); Bond Purchase at 863-

 64, merely engaging in actions delegated to the limited partner in the partnership agreement does

 not constitute participating in the control of a business so as to trigger the assumption of fiduciary

 duties. Del. Code Ann. Tit. 6, § 17-303(b)(8)(o).

          30.      Texas has similarly held that “a limited partner does not participate in the control

 of the business” by taking certain actions listed in the statutes, and such “actions complained of by

 the plaintiff did not amount to the types of control that could give rise to a duty to the other limited

 partners.” Strebel v. Wimberly, 371 S.W.3d 267, 280 (Tex. App. 2012) (summarizing holding of

 AON Properties, Inc. v. Riveraine Corp., 1999 WL 12739, at *23 (Tex. App. Jan. 14, 1999)).




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          31.      Here, Dugaboy did not participate in the control of the business because it was

 taking actions explicitly extended to it in the LPA by approving compensation under § 3.10(a).

 LPA § 3.10(a); § 2.1.           Since the LPA explicitly gives Dugaboy the right to approve such

 compensation, and Dugaboy was not participating in the control of the business, Dugaboy does

 not owe a fiduciary duty to Plaintiff. Dugaboy cannot breach a fiduciary duty it does not owe.

 Further, Nancy Dondero as Trustee owes no fiduciary duty to Plaintiff independently from what

 Dugaboy owes, as Dugaboy is her principal. Like Dugaboy, Nancy Dondero cannot breach a

 fiduciary duty she does not owe. Under Twombly, Plaintiff’s claim for breach of fiduciary duty

 against Dugaboy and Nancy Dondero should be dismissed pursuant to Rule 12(b)(6).

                   2.          Nancy Dondero Owes No Fiduciary Duty to Debtor.

          32.      Under Delaware law, a trustee’s fiduciary duties of care and loyalty flow to the trust

 and the beneficiar(ies) of the trust. Tigani v. Tigani, 2021 Del. Ch. LEXIS 60, *1, 2021 WL

 1197576 (March 30, 2021). A trustee is prohibited from considering her own interests and “all

 consideration of the interests of third persons.” Id. at * 38.

          33.      Plaintiff claims that if Dugaboy had the authority to enter into the Subsequent

 Agreement, then Ms. Dondero would then somehow owe a fiduciary duty directly to Plaintiff. The

 Amended Complaint does not allege any facts as to why or how such a fiduciary duty would

 appear, and there is no legal authority to support such a conclusion. As discussed above, not even

 Dugaboy owed a fiduciary duty to Plaintiff in determining compensation, as Dugaboy was

 expressly authorized to do under § 3.10(a) of the LPA. Nancy Dondero, individually, is even

 further removed from owing any duty to Plaintiff, much less a fiduciary duty. Plaintiff cannot

 create a legal duty simply by claiming one exists, and its breach of fiduciary duty claim against

 Nancy Dondero should be dismissed under Twombly and Rule 12(b)(6).




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                   3.          Debtor Lacks Standing to Assert a Claim for Breach of Fiduciary Duty
                               Based Upon an Executory Contract It Rejected.

          34.      Plaintiff’s Sixth Claim is also barred for the same reasons that discussed in Section

 A.2 supra, and similarly relies on the fact that this cause of action accrued after the LPA was

 breached on October 15, 2019. In this case, Plaintiff suffered no legal injury – and no cause of

 action accrued - until the notes were not paid on demand by December 11, 2020.

          35.      Generally, “a cause of action accrues…when facts come into existence that

 authorize a claimant to seek judicial remedy.” Dunmore v. Chicago Title Ins. Co., 400 S.W.3d

 635, 640 (Tex. App. – Dallas 2013, no pet.) (citing cases). “Breach of fiduciary duty claims

 generally accrue when the claimant knows or in the exercise of ordinary diligence should know of

 the wrongful act and resulting injury.” Dunmore, at 641 (emphasis added). Further, “[t]he general

 rule governing when a claim accrues…is the ‘legal injury rule,’ which provides that a claim accrues

 ‘when a wrongful act causes some legal injury, even if that fact of injury is not discovered until

 later, and even if all damages have not yet occurred.’” Id. (citing Murphy v. Campbell, 964 S.W.2d

 265, 270 (Tex. 1997)). “[A] legal injury [is] an injury giving cause of action by reason of its being

 an invasion of a Plaintiff's right…be the damage however slight.” Murphy, at 270. Although the

 discussion of when a claim accrues in Texas generally involves application of the discovery rule

 (which is not applicable to these facts), the concept of “legal injury” is still the cornerstone of an

 accrual analysis.

          36.      Here, Plaintiff alleges that Dugaboy and Nancy Dondero breached a fiduciary duty

 when it entered into the Subsequent Agreement.37 The alleged wrongful act was the Subsequent

 Agreement itself which Plaintiff alleges breached a fiduciary duty. However, Plaintiff suffered no



 37
    Am. Compl. ¶ 75, Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶ 89, Adv. No. 21-03007 [Doc. 63]; Am. Compl.
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 legal injury from the Subsequent Agreement until Defendant did not pay the Notes when

 demanded (if it even suffered one at all). The Subsequent Agreement simply made the Notes

 potentially forgivable upon conditions subsequent, which could not have impacted the alleged

 value of the Notes until the conditions occurred. As a result, the cause of action did not accrue

 until December 11, 2020, after the Petition Date. Debtor’s rejection of the LPA, the alleged source

 of the fiduciary duties allegedly breached,38 therefore bars pursuit of the Plaintiff’s Sixth Claim

 for the same reasons set forth in Section A.2 supra.

          C.       Plaintiff’s Seventh Claim of Aiding and Abetting Breach of Fiduciary Duty
                   against Jim and Nancy Dondero Fails for Several Reasons.

                   1.          Neither Jim nor Nancy Dondero could have Aided and Abetted a
                               Breach of Fiduciary Duty because Dugaboy did Not Owe a Fiduciary
                               Duty to Plaintiff.

          37.      Plaintiff claims that Jim and Nancy Dondero aided and abetted Dugaboy’s alleged

 breach of fiduciary duty by entering into the Subsequent Agreement. However, aiding and abetting

 is a fundamentally dependent claim that can only succeed if there is a valid underlying breach of

 fiduciary duty claim. In re Draw Another Circle, 602 B.R. 878, 904 (Bankr. D. Del. 2019) (citing

 Restatement (Second) of Torts § 876 for the proposition “the derivative nature of an aiding and

 abetting claim will exist only with the success of the breach of fiduciary duty claim”); West Fork

 Advisors LLC v. SunGard Consulting Services, LLC, 437 S.W.3d 917, 921 (Tex. App.-Dallas

 2014) (citing Restatement (Second) of Torts § 876(b) (1979)). As previously discussed in Section

 B.1., Dugaboy did not owe any fiduciary duty to Plaintiff that could have been breached.

 Therefore, Plaintiff’s derivative claim of aiding and abetting against both Jim and Nancy Dondero

 is legally impossible and should be dismissed under Twombly and Rule 12(b)(6).



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   Am. Compl. ¶ 72(a-d), Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶ 86(a-d), Adv. No. 21-03007 [Doc. 63]; Am.
 Compl. ¶ 84(a-d), Adv. No. 21-03006 [Doc. 68]; Am. Compl. ¶ 70(a-d), Adv. No. 21-03005 [Doc. 63].



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                   2.          Nancy Dondero Cannot Aid and Abet Herself as Dugaboy Trustee
                               Because Aiding and Abetting Requires More Than One Actor.

          38.      Even if Dugaboy owed and breached a fiduciary duty to Plaintiff (which it did not),

 it is legally impossible for Nancy Dondero to have aided and abetted Dugaboy’s alleged breach of

 fiduciary duty by authorizing the Subsequent Agreement as she was acting as Dugaboy in her

 trustee status. Because there are limited cases on point, an analysis under the Restatement

 (Second) of Torts § 876 (1979) is compelling because Delaware courts routinely look to the

 Restatement to fill lacunae in the law. In re Rural Metro Corp., 88 A.3d 54, 98 (Del. Ch. 2014),

 decision clarified on denial of reargument sub nom. In re Rural Metro Corp. Stocholders Litig.

 (Del. Ch. 2014) (applying the Restatement to an aiding and abetting breach of fiduciary duty

 analysis). “The Delaware Supreme Court often relies on the Restatement (Second) of Torts.” Id.

 at 98. Comparison to cases in other jurisdictions construing law similar to Delaware law is also

 instructive.

          39.      The Restatement (Second) § 876 provides: “For harm resulting to a third person

 from the tortious conduct of another, one is subject to liability if he (a) does a tortious act in concert

 with the other or pursuant to a common design with him, or (b) knows that the other’s conduct

 constitutes a breach of duty and gives substantial assistance or encouragement to the other so to

 conduct himself, or (c) gives substantial assistance to the other in accomplishing a tortious result

 and his own conduct, separately considered, constitutes a breach of duty to the third person.”

 Restatement (Second) of Torts § 876 (1979), adopted in Delaware by Patton v. Simone, Civ. A.

 90C-JA-29, 1992 WL 183064 (Del. Super. Ct. June 25, 1992) (emphasis added). Under the

 Restatement (Second), people act “in concert” with each other when they act “in accordance with

 an agreement to cooperate in a particular line of conduct or to accomplish a particular result.”

 Restatement (Second) of Torts § 876, comment A. Under the Restatement (Second), Nancy




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 Dondero could not have conceivably acted “in accordance with an agreement” with herself in her

 Trustee capacity, as she is a singular individual.

          40.      Delaware has not directly addressed the issue of whether one can aid and abet one's

 self, but it has applied the Restatement (Second) when analyzing aiding and abetting a breach of

 fiduciary duty claims, which requires a plaintiff to prove: (1) the existence of a fiduciary

 relationship, (2) breach of the fiduciary’s duty, (3) defendant, who is not a fiduciary, knowingly

 participated in the breach, and (4) damages to the plaintiff as the result of the concerted action of

 the fiduciary and the non-fiduciary. In re USDigital, Inc., 443 B.R. 22, 46 (Bankr. D. Del. 2011)

 (citing elements of aiding and abetting breach of fiduciary duty in Delaware and holding that a

 director defendant cannot have aided and abetted the same fiduciary duty he allegedly breached in

 a previous count); In re Draw, at 904 (applying Restatement (Second) to the knowing participation

 element); Patton, at *8 (applying Restatement (Second) to aiding and abetting analysis); In re

 Oracle Corp. Derivative Litig., 2020 WL 3410745, at *11 (Del. Ch. June 22, 2020) (applying the

 Restatement (Second) to knowing participation in aiding and abetting analysis and acknowledging

 that § 876 has been cited with approval in Delaware in ). Again, because Plaintiff is alleging that

 Nancy Dondero aided and abetted Dugaboy (which was acting through Nancy Dondero), the

 requirement of a second actor is not met because Nancy Dondero cannot act in concert with herself.

          41.      Analogously, officers and agents cannot aid and abet their principal or each other

 in the commission of a tort. Cornell Glasgow, LLC v La Grange Props., LLC, 2012 WL 2106945,

 at *11 (Del. Super. Ct. June 6, 2012); Amaysing Techs. Corp. v. Cyberair Communications, Inc.,

 2005 WL 578972, at *7 (Del. Ch. Mar. 3, 2005) (“It is basic in the law of conspiracy that you must

 have two persons or entities to have a conspiracy. A corporation cannot conspire with itself any

 more than a private individual can, and it is the general rule that the acts of the agent are the acts




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 of the corporation.”). Application of this law to the present circumstances further compels the

 conclusion that Nancy Dondero cannot aid and abet herself. Texas also has looked to the

 Restatement (Second) of Torts § 876 for guidance regarding its aiding and abetting doctrine, which

 states that “[i]t is settled as the law of [the State of Texas] that where a third party knowingly

 participates in the breach of duty of a fiduciary, such third party becomes a joint tortfeasor with

 [that] fiduciary and is liable as such.” In re TOCFHBI, Inc., 413 B.R. 523, 534 (Bankr. N.D. Tex.

 2009) (citing Kinzbach Tool Co. v. Corbett-Wallace Corp., 138 Tex. 565, 574, 160 S.W.2d (1942))

 (emphasis added, citing elements); W. Fork Advisors, LLC v. SunGuard Consulting Services, LLC,

 437 S.W.3d 917, 921 (Tex. App. – Dallas 2014, pet. denied) (looking to Restatement (Second)

 regarding aiding and abetting analysis). Although also having sparse law regarding whether one

 can aid and abet one's own self, Texas law still requires a third party in order to prove aiding and

 abetting a breach of fiduciary duty. For the same reasons mentioned above, Nancy simply cannot

 aid and abet her own actions as Dugaboy Trustee.

          42.      Arizona courts have more directly held that under the Restatement (Second), “when

 [Plaintiffs] fail to allege [agent] took any actions in [their] individual capacity ‘in concert’ with

 the actions giving rise to the breach of fiduciary duty claim against [insurance company],

 [plaintiff’s] aiding and abetting claim against [agent] will be dismissed.” Young v. Liberty Mut.

 Group, Inc., CV-12-2302-PHX-JAT, 2013 WL 840618, at *4 (D. Ariz. Mar. 6, 2013).39 In Young,

 the Court reasoned that “…it does not follow that [agent] must have committed the separate tort

 of aiding and abetting merely because he was the agent through which [insurance company]

 breached its duty.” Id. at *4. The Court dismissed the claim on the agent’s 12(b)(6) motion.


 39
    In Young, Plaintiff sued both Liberty Mutual for breach of fiduciary duty, and her personal insurance agent for
 aiding and abetting said breach. Because Plaintiff failed to allege [agent] took any actions in his individual capacity
 “in concert” with the actions giving rise to Plaintiff’s claim against Liberty Mutual, the aiding and abetting claim was
 dismissed upon 12(b)(6) motion.



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 Further, in Jones v. Colorado Cas. Ins. Co., the same Court dismissed a similar claim upon another

 insurance agent’s 12(b)(6) motion, agreeing with the agent’s assertion that “one cannot aid and

 abet one’s self.” Jones v. Colorado Cas. Ins. Co., CV 12-1968-PHX-JAT, 2013 WL 4759260, at

 *3 (D. Ariz. Sept. 4, 2013) (dismissing a claim against an insurance agent for aiding and abetting

 the insurance company’s breach of fiduciary duty, determining that in order for there to be harm

 to a third person, there must be at least two tortfeasors). Just as the insurance agents could not aid

 and abet themselves as representatives for the insurance companies, Nancy Dondero could not

 have aided and abetted herself in her capacity as Dugaboy Trustee.

          43.      Connecticut takes a similar approach in holding that aiding and abetting means to

 help or compel another to act, and that an alleged tortfeasor cannot aid or abet himself, and doing

 so would yield “circular results.” Bolick v. Alea Group Holdings, Ltd., 278 F. Supp. 2d 278, 282

 (D. Conn. 2003) (dismissing aiding and abetting claim).40 Because Nancy Dondero was acting as

 Dugaboy in the conduct about which Debtor complains, she is not a “third party” to an act. It is

 impossible for Nancy Dondero to aid and abet her own self - as most distinctly stated in Cornell

 Glasgow, LLC and Bolick - because aiding and abetting requires the concerted action and scienter

 of more than one person. Therefore, Plaintiff’s Seventh Claim should be dismissed under Twombly

 and Rule 12(b)(6).

                   3.          Plaintiff does Not Plead the Sufficient Scienter Requirement for Aiding
                               and Abetting in its Amended Complaint for Either Jim or Nancy
                               Dondero.

          44.      In addition to the above infirmities, Plaintiff fails to allege the necessary scienter

 required to show aiding and abetting for both Jim and Nancy Dondero.                               Delaware courts


 40
    Bolick addressed an employment discrimination case where Plaintiff sued her supervisor for both harassment and
 aiding and abetting that same harassment. The Court held that to hold the supervisor liable for his wrongful behavior
 and also aiding and abetting that wrongful behavior is illogical and would yield circular results. Court used dictionary
 to reference “abettor” as someone who encourages an offender.



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 acknowledge that an aiding and abetting analysis largely comes down to what constitutes

 “knowing participation.” In re Draw, at 904. The aider and abettor must act “knowingly,

 intentionally, or with reckless indifference…that is, with an illicit state of mind.” Id. The Plaintiff

 must allege specific facts that show Defendants had “actual knowledge” that their conduct

 intentionally aided and abetted a breach, not simply that they “knew or should have known.” Id.

 (citing Capitaliza-T Sociedad De Responsabilidad Limitada De Capital Variable v. Wachovia

 Bank of Delaware Nat. Ass’n, CIV. 10-520 JBS KMW, 2011 WL 864421, at *5 (D. Del. Mar. 9,

 2011)).

           45.     In In re Draw, a Chapter 11 trustee filed an amended adversary complaint against

 several members of the company’s board of directors, asserting breach of fiduciary duties and

 aiding and abetting breaches of fiduciary duties. On the defendant’s 12(b)(6) motion, the court

 held that plaintiff’s amended complaint failed to allege specific facts showing actual knowledge

 that [Director] was liable for aiding and abetting, and that plaintiff simply alleged [Director] “knew

 or should have known” his conduct aided and abetted the breach.              Id. at 904. The court

 subsequently dismissed plaintiff’s aiding and abetting claims against that particular director.

           46.     In Capitaliza-T, defendant moved to dismiss plaintiff’s amended complaint under

 Rule 12(b)(6), citing that it did not contain sufficient factual allegations regarding defendant’s

 knowledge of breach of fiduciary duty. The court applied the Delaware rule that “at a minimum,

 the complaint [must] alleged circumstantial facts suggesting that the defendant had knowledge of

 the specific principal violation.” Id. at *5 (citing Brug v. Enstar Group, Inc., 755 F.Supp. 1247,

 1256 (D. Del. 1991)). The court held that although plaintiff’s amended compliant contained

 circumstantial allegations against defendant for aiding and abetting, it was not enough to allege




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 that defendants “had knowledge of the underlying…breach of fiduciary duty” to survive a 12(b)(6)

 motion. Capitaliza-T, at *7.

          47.      In this case, Plaintiff simply alleges that “[the Donderos] were aware that Dugaboy

 would have fiduciary duties to the Debtor if it acted to bind the Debtor,” and “[t]he Donderos aided

 and abetted Dugaboy’s breach of its fiduciary duties…by knowingly participating in the

 authorization of the…Alleged Agreement.”41 In its Amended Complaint, Plaintiff references only

 factors that could be circumstantial at best when describing it’s Third Claim for relief against Jim

 Dondero, but never clearly articulates the required specific facts that show “actual knowledge”

 that he was overtly acting to substantially assist Dugaboy in breaching a fiduciary duty as required

 by In re Draw and Capitaliza-T.42 Further, Plaintiff makes no specific factual allegations against

 Nancy Dondero, other than she “[was] aware” of Dugaboy’s fiduciary duties, and that she aided

 and abetted the breach. Neither claims against Jim nor Nancy Dondero rise to the standard of

 articulation discussed in In re Draw and Capitaliza-T. Therefore, Plaintiff's Seventh Claim should

 be dismissed under Twombly and Rule 12(b)(6).

                   4.          Neither Jim nor Nancy Dondero are Liable for Aiding and Abetting
                               Because Aiding and Abetting Requires More Than One Single Act.

          48.      As discussed in Section C.3 supra, the test for stating an aiding and abetting claim

 is stringent and focuses of proof of scienter that a party knew it was aiding another party in

 committing tortious conduct. In re Draw, at 904. This would require Plaintiff to show (1) a

 primary act by Dugaboy (via Nancy) that breached a fiduciary duty (which it cannot), and (2) a




 41
  Am. Compl. ¶¶ 78,79, Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶¶ 92,93, Adv. No. 21-03007 [Doc. 63]; Am.
 Compl. ¶¶ 90,91, Adv. No. 21-03006 [Doc. 68]; Am. Compl. ¶¶ 71,72, Adv. No. 21-03005 [Doc. 63].
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   Am. Compl. ¶¶ 3,36,38,39,40,41, Adv. No. 21-03003 [Doc. 73-2]; Am. Compl. ¶¶ 3,50,51,52,53, Adv. No. 21-
 03007 [Doc. 55-2]; Am. Compl. ¶¶ 3,48,49,50,51, Adv. No. 21-03006 [Doc. 60-2]; Am. Compl. ¶¶ 3,35,36,37,38,39,
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 secondary act by each of Jim and Nancy Dondero that shows scienter and knowing participation

 in subverting a fiduciary duty.

          49.      Plaintiff cannot show concerted action here on behalf of Jim or Nancy Dondero,

 because the only singular act that occurred was Dugaboy approving the compensation under the

 LPA. Plaintiff alleges no other separate act by Nancy Dondero that would have been “in concert”

 with or “knowingly participating” in anything, as she was acting as the Dugaboy Trustee

 (discussed above in Section C.2.). Further, Plaintiff shows no other separate act or proof of scienter

 that Jim Dondero specifically set out to knowingly aid Dugaboy in tortious conduct under In re

 Draw, since Dugaboy engaged in no such conduct. Therefore, Plaintiff’s Seventh Claim fails

 Twombly and must be dismissed under Rule 12(b)(6).

                   5.          Debtor Lacks Standing to Bring an Aiding and Abetting a Breach of
                               Fiduciary Duty Claim Based on an Executory Contract It Rejected.

          50.      The analysis here is the same as in Argument III.A.2. and B.2, supra. Plaintiff

 argues that Jim and Nancy Dondero aided and abetted Dugaboy’s alleged breach of fiduciary duty

 by authorizing the Subsequent Agreement, which Plaintiff alleges may have violated the LPA.43

 A cause of action for a derivative claim such as aiding and abetting shares accrual and limitations

 periods with the underlying tort of breach of fiduciary duty. Agar Corp., Inc. v. Electro Circuits

 Int’l, LLC, 580 S.W.3d 136, 144 (Tex. 2019), reh’g denied, (Sept. 6, 2019). "Because a civil

 conspiracy claim is derivative of an underlying tort, the claim accrues when the underlying tor

 accrues." Id. at 145. Here, because Plaintiff's aiding and abetting claims derive from the alleged

 breach of fiduciary duty claim, the claims share accrual dates.




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   Am. Compl. ¶¶ 78,79, Adv. No. 21-03003 [Doc. 79]; Am. Compl. ¶¶ 92,93, Adv. No. 21-03007 [Doc. 63]; Am.
 Compl. ¶¶ 90,91, Adv. No. 21-03006 [Doc. 68]; Am. Compl. ¶¶ 71,72, Adv. No. 21-03005 [Doc. 63].



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          51.      Again, Plaintiff was not injured until Jim Dondero did not pay the Notes. This

 claim did not accrue until December 11, 2020, and is also predicated on allegations that the

 Subsequent Agreement violates fiduciary duties arising out of the rejected LPA. Once again,

 Plaintiff is attempting to bring a post-petition claim under the LPA it rejected. Therefore,

 Plaintiff’s Seventh Claim must be dismissed under Twombly and Rule 12(b)(6).

 IV.      CONCLUSION

          Dugaboy, Jim Dondero, and Nancy Dondero therefore respectfully request this Court

 dismiss Plaintiff’s Fifth, Sixth, and Seventh Amended Claims in its Amended Complaint under

 Federal Rule of Civil Procedure 12(b)(6).


 Dated: September 1, 2021                      Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

          The undersigned hereby certifies that, on September 1, 2021, a true and correct copy of

 this document was served via the Court’s CM/ECF system on counsel for the Plaintiff.


                                              /s/Deborah Deitsch-Perez
                                              Deborah Deitsch-Perez




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The following constitutes the ruling of the court and has the force and effect therein described.




Signed December 3, 2021
______________________________________________________________________




                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                          DALLAS DIVISION

      In re:                                          Case No. 19-34054-sgj11
      HIGHLAND CAPITAL MANAGEMENT, L.P.
      Reorganized Debtor.                             Chapter 11

      HIGHLAND CAPITAL MANAGEMENT, L.P.,
               Plaintiff.
      v.                                              Adversary No. 21-03003-sgj
      JAMES D. DONDERO, NANCY DONDERO, AND
      THE DUGABOY INVESTMENT TRUST,
               Defendants.

      HIGHLAND CAPITAL MANAGEMENT, L.P.,
               Plaintiff.
      v.                                              Adversary No.: 21-03005-sgj
      NEXPOINT ADVISORS, L.P., JAMES DONDERO,
      NANCY DONDERO, AND
      THE DUGABOY INVESTMENT TRUST,
               Defendants.

      HIGHLAND CAPITAL MANAGEMENT, L.P.,
               Plaintiff.




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  v.                                                          Adversary No.: 21-03006-sgj
  HIGHLAND CAPITAL MANAGEMENT
  SERVICES, INC., JAMES DONDERO, NANCY
  DONDERO, AND THE DUGABOY INVESTMENT
  TRUST,
            Defendants.

  HIGHLAND CAPITAL MANAGEMENT, L.P.,
            Plaintiff.
  v.                                                          Adversary No.: 21-03007-sgj
  HCRE PARTNERS, LLC (n/k/a NEXPOINT REAL
  ESTATE PARTNERS, LLC), JAMES DONDERO,
  NANCY DONDERO AND THE DUGABOY
  INVESTMENT TRUST,
            Defendants.



 MEMORANDUM OPINION AND ORDER DENYING ARBITRATION REQUEST AND
                       RELATED RELIEF
       I.      Introduction and Background
         The four above-referenced adversary proceedings, Adversary Proceeding Nos. 21-3003,
 21-3005, 21-3006, and 21-3007, started out as what seemed like simple suits by a Chapter 11
 Debtor to collect on large promissory notes owed to it (collectively, the “Note Adversary
 Proceedings”). The court held a hearing on November 9, 2021 (“Hearing”) on various motions
 filed by certain defendants in the Note Adversary Proceedings. This Memorandum Opinion and
 Order addresses certain motions to compel arbitration and to stay these Note Adversary
 Proceedings while arbitration would be proceeding. 1 For the reasons set forth below, the court will
 not compel arbitration or stay these Note Adversary Proceedings.
       The Note Adversary Proceedings were originally brought many months ago by Plaintiff
 Highland Capital Management L.P., now a reorganized debtor (“Highland” or “Reorganized
 Debtor”), again, as simple suits on notes—that is, alleging breach of contract and seeking turnover
 of amounts owed from the various obligors under the notes (the “Note Obligor Defendants”). Each
 Note Obligor Defendant was closely related to Highland’s former president, James Dondero (“Mr.
 Dondero), 2 and collectively borrowed tens of millions of dollars from Highland prepetition. The



 1 Certain defendants herein earlier filed a motion to withdraw the reference in these Note Adversary Proceedings
 (arguing that the claims were statutory noncore claims or that the bankruptcy court otherwise did not have
 Constitutional authority to enter final orders). The District Court accepted the bankruptcy court’s report and
 recommendation that the reference should be withdrawn when these Note Adversary Proceedings are trial-ready with
 the bankruptcy court acting essentially in the position of a magistrate judge for the District Court prior to trial,
 presiding over all pretrial matters.
 2 In fact, Mr. Dondero personally was an obligor on three notes.




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 indebtedness was memorialized in a series of demand and term notes. The indebtedness
 represented by those notes remains unpaid.
        The Note Adversary Proceedings morphed, so to speak, when the Note Obligor Defendants
 defended the Note Adversary Proceedings by alleging that an oral agreement existed such that the
 underlying notes would be forgiven by Highland as compensation to Highland’s former president,
 Mr. Dondero, if certain conditions subsequent occurred. The oral agreement was allegedly made
 on behalf of Highland, acting through one of its largest limited partners, Dugaboy Investment Trust
 (“Dugaboy”), which is a family trust of Mr. Dondero, on which the trustee is his sister Nancy
 Dondero (“Ms. Dondero”).
         When this “oral agreement” defense was articulated, this court granted Highland’s request
 for leave to amend its original complaints in each of the Note Adversary Proceedings to allege
 alternative theories of liability and add Mr. Dondero, 3 Dugaboy, and Ms. Dondero as additional
 defendants on new counts—the theories being that, if such an oral agreement was made, it may
 have given rise other causes of action on the part of the actors involved. Highland amended its
 complaints in each of the Note Adversary Proceedings, adding new Counts III, IV, V, VI, and VII
 alleging, among other things, fraudulent transfers (Counts III and IV), declaratory judgment as to
 certain provisions of Highland’s limited partnership agreement (Count V), breach of fiduciary duty
 (Count VI), and aiding and abetting breach of fiduciary duty (Count VII) (the “Amended
 Complaints”).
         Presently before the court are a set of virtually identical motions filed by Mr. Dondero,
 Dugaboy, and Ms. Dondero in each of the four Note Adversary Proceedings seeking to compel
 arbitration as to Counts V, VI, and VII of, and stay litigation altogether in, the Note Adversary
 Proceedings, pending the arbitration of Counts V, VI, and VII (the Motion to Compel Arbitration
 and Stay Litigation [Doc. 85, 66, 74, and 65, respectively, in each sequentially-numbered Note
 Adversary Proceeding 4], the “Arbitration Motions”). Highland timely filed objections to the
 motions [Doc. 92, 76, 81, and 77] and replies were filed by Mr. Dondero, Dugaboy and Ms.
 Dondero [Doc. 107, 88, 93, and 88]. 5
         As set forth below, Mr. Dondero, Dugaboy, and Ms. Dondero (hereinafter the
 “Dondero/Dugaboy Defendants”) rely on a mandatory arbitration clause in Highland’s Limited
 Partnership Agreement as the basis for their arbitration request. To be clear, there are no arbitration
 clauses in the underlying promissory notes. And the Note Obligor Defendants are not seeking
 arbitration of the breach of contract claims, turnover claims, or fraudulent transfer claims. It is

 3 Mr. Dondero was actually already a Note Obligor Defendant in Adv. Proc. No. 21-3003, as he as an obligor on three

 notes.
 4 All subsequent “Doc.” references in this Memorandum Opinion and Order follow this convention.

 5 The court considered these replies despite the lateness of their filing, less than two business days before the Hearing.
 At the Hearing, Highland noted its displeasure with these replies being filed 37 days after Highland filed its objections
 but did expressly did not ask the court to strike the replies. The court reminds the parties, as Highland correctly pointed
 out, that the Local Civil Rules for the Northern District of Texas, and not the Local Bankruptcy Rules, apply to these
 adversary proceedings in all respects, since the reference to the Bankruptcy Court was withdrawn and this court is
 conducting all proceedings in the position of a magistrate judge for the District Court. The replies here were required
 to be filed no later than 14 days following the filing of Highland’s objections. See Local Civil Rule 7.1(f).


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 only the Dondero/Dugaboy Defendants seeking arbitration as to Count V (seeking declaratory
 judgment as to provisions of the Highland limited partnership agreement) and Counts VI and VII
 (the fiduciary duty claims). The court denies the Arbitration Motions for the reasons stated below.
     II.       The Agreement Containing the Arbitration Clause
         First, a word about what is and is not in dispute regarding the Arbitration Motions. The
 parties agree that Highland’s Fourth Amended and Restated Agreement of Limited Partnership
 (the “LPA”) 6 contained Section 6.14, a typical mandatory arbitration provision that requires parties
 to the LPA to arbitrate certain disputes under certain circumstances (the “Arbitration Clause”):
           In the event there is an unresolved legal dispute between the parties and/or any of
           their respective officers, directors, partners, employees, agents, affiliates or other
           representatives that involves legal rights or remedies arising from this Agreement,
           the parties agree to submit their dispute to binding arbitration under the authority
           of the Federal Arbitration Act …
 The Arbitration Clause also significantly limited discovery that could occur in arbitration:
           The discovery process shall be limited to the following: Each side shall be permitted
           no more than (i) two party depositions of six hours each, each deposition to be taken
           pursuant to the Texas Rules of Civil Procedure; (ii) one non-party deposition of six
           hours; (iii) twenty-five interrogatories; (iv) twenty-five requests for admissions;
           (v) ten request for production (in response, the producing party shall not be
           obligated to produce in excess of 5,000 total pages of documents, including
           electronic documents); and (vi) one request for disclosure pursuant to the Texas
           Rules of Civil Procedure.
 The parties further agree that the LPA, as an executory contract, was rejected under 11 U.S.C.
 § 365 in connection with the court’s order confirming Highland’s plan of reorganization in
 February 2021.
        The Dondero/Dugaboy Defendants acknowledge that Counts I–IV of the Amended
 Complaints (Breach of Contract; Turnover; Fraudulent Transfers under 11 U.S.C. § 548; and
 Fraudulent Transfers under 11 U.S.C. § 544 and the Texas Uniform Fraudulent Transfer Act) are
 not subject to the Arbitration Clause.
        The Dondero/Dugaboy Defendants argue in the Arbitration Motions, however, that Counts
 V, VI, and VII of the Amended Complaints (seeking a declaratory judgment as to provisions of
 LPA and claiming breach of fiduciary duty and aiding and abetting of breach of fiduciary duty—


 6 The LPA was executed by Highland’s then-general partner, Strand Advisors, Inc., through the individual James
 Dondero, who was also then Highland’s CEO and Highland’s majority limited partner, The Dugaboy Investment
 Trust, James Dondero’s family trust, through its trustee, the individual Nancy Dondero, James Dondero’s sister.
 (Various other limited partners also signed the LPA, but they are not Note Obligor Defendants.) The “oral agreement”
 defense alleges that The Dugaboy Investment Trust, through Nancy Dondero as trustee, as the holder of a Majority
 Interest (as defined in the LPA), entered into oral agreements on behalf of Highland with James Dondero to forgive
 the demand notes at the center of these Note Adversary Proceedings if certain conditions subsequent were met.


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 all counts that, notably, Highland only added after the Note Obligor Defendants articulated their
 “oral agreement” defense) are subject to the Arbitration Clause. Highland counters that: (a) the
 rejection of the LPA excuses Highland from being forced to submit to mandatory arbitration of
 Counts V, VI, and VII; (b) the Dondero/Dugaboy Defendants have waived the Arbitration Clause
 by not invoking it at any earlier point in these Note Adversary Proceedings; and (c) the
 Dondero/Dugaboy Defendants should be judicially estopped from invoking the Arbitration Clause
 now. Highland also argues that arbitration of some but not all the counts of the Amended
 Complaints would be inefficient and wasteful, and that any stay of proceedings in this court would
 do a disservice to the resolution of the admittedly non-arbitrable issues in Counts I–IV.
     III.      The Significance of the Rejection of the Executory Contract (i.e., the LPA) that
               Contained the Arbitration Clause
        The court acknowledges that there is a wealth of federal case law dictating the strong
 federal policy undergirding the Federal Arbitration Act (“FAA”). See, e.g., Moses H. Cone Mem'l
 Hosp. v. Mercury Const. Corp., 460 U.S. 1, 24, 103 S. Ct. 927, 74 L. Ed. 2d 765 (1983) (describing
 the FAA as “a congressional declaration of a liberal federal policy favoring arbitration
 agreements”). The FAA was enacted by Congress in 1925 and became effective in 1926. It is
 codified at Title 9 of the United States Code and is predicated upon Congress’s exercise of the
 Commerce Clause powers granted in the Constitution. The FAA contemplates the judiciary’s
 respect for and enforcement of private parties’ agreements to resolve disputes through arbitration.
 The FAA provides:
            A written provision in … a contract … to settle by arbitration a controversy
            thereafter arising out of such contract … shall be valid, irrevocable, and
            enforceable, save upon such grounds as exist at law or in equity for the revocation
            of any contract.”7

 Thus, arbitration, pursuant to the FAA, is entirely a matter of contract. And, where a contract
 contains a provision in which parties agreed to submit future disputes thereunder to arbitration,
 these provisions should be enforced according to their terms. Section 4 of the FAA specifically
 directs a court to order parties to arbitrate upon a request by a party that is entitled to demand
 arbitration in a written contract. The courts have often stated that the FAA reflects a liberal federal
 policy favoring arbitration and requires arbitration agreements to be rigorously enforced according
 to their terms. 8
         The court also notes that some courts have grappled with whether a bankruptcy court needs
 to treat an arbitration provision in a contract any “less mandatory” than other courts. After all,
 bankruptcy cases are not like other lawsuits; they are multi-faceted, multi-party, and fast-moving.
 It has often been stated that the underlying purposes of the Bankruptcy Code are to: (a) provide
 debtors and creditors with orderly and effective administration of bankruptcy estates; and (b)
 centralize disputes over debtors’ assets and obligations in one forum. But there is no
 “bankruptcy exception” to an arbitration agreement per se—not in any statute and not according

 7 9 U.S.C. § 2.
 8 See AT&T Mobility LLC v. Concepcion, 563 U.S. 333, 339 (2011) (citations omitted).



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 to any court so far. Some courts have opined or suggested that a bankruptcy court, when presiding
 over a proceeding involving “non-core” disputes pursuant to 28 U.S.C. § 157(b)—i.e., disputes
 that are merely related to a bankruptcy case and would have been litigated elsewhere but for the
 broad nexus created by the debtor’s bankruptcy filing—generally must abstain from adjudication
 and direct the parties to arbitration when presented with an applicable arbitration provision. 9 But
 when a bankruptcy court is presented with a “core” dispute—i.e., one which derives from the
 provisions of the Bankruptcy Code—it may be permissible for the bankruptcy court to decline to
 order arbitration; after determining that “core” disputes are involved, courts tend to employ a
 framework for analysis derived from a nonbankruptcy Supreme Court case called Shearson/Am.
 Express, Inc. v. McMahon, 482 U.S. 220 (1987). In a nutshell, the McMahon Court held that a
 party seeking to avoid arbitration pursuant to an otherwise applicable agreement must show that
 Congress—in enacting whatever statute is involved (i.e., the Bankruptcy Code) intended to
 preclude arbitration and that intent must be deducible from: (1) the statute’s text; (2) its legislative
 history; or (3) “an inherent conflict between arbitration and the statute’s underlying purposes.”10
 Thus, courts—after finding “core” disputes are involved—tend to plow down a complicated trail
 of considering whether there is an “inherent conflict” between arbitration and the Bankruptcy Code
 in whatever dispute happens to be before the court.
         The Fifth Circuit has addressed the topic of enforceability of arbitration clauses in
 bankruptcy in the cases of In re Gandy and In re Nat’l Gypsum.11 In those cases, the Fifth Circuit
 instructed that a bankruptcy court may refuse to enforce arbitration clauses and may itself
 adjudicate a dispute when it finds that: (a) a matter is core or derives from rights under the
 Bankruptcy Code; and (b) enforcement of the arbitration provision would irreconcilably conflict
 with the purposes or goals of the Bankruptcy Code.12
         While this is all somewhat enlightening, a slightly different argument is presented to this
 court by Highland in its argument that the bankruptcy court should not compel arbitration.
 Highland does not deny the existence of any of the above case law nor the fact that Counts V, VI,
 and VII involve non-core matters that do not derive from rights under the Bankruptcy Code.
 Rather, Highland argues, these Note Adversary Proceedings present a circumstance that very few
 courts have addressed. The LPA (or at least the Arbitration Clause) was an executory contract
 that Highland rejected in its confirmed Chapter 11 plan. As noted above, no one disputes that
 the LPA was rejected pursuant to Bankruptcy Code section 365. The result, argues Highland, is


 9 At least one court has suggested that there is a “presumption in favor of arbitration [that] usually trumps the lesser
 interest of bankruptcy courts in adjudicating non-core proceedings.” MBNA Am. Bank, N.A. v. Hill, 436 F.3d 104, 108
 (2d Cir. 2006). But see Hays & Co. v. Merrill Lynch, Pierce, Fenner & Smith, Inc., 885 F.2d 1149, 1156-1158 (3d
 Cir. 1989) (determining there is no discretion to deny arbitration in non-core matters). See also Gandy v. Gandy (In
 re Gandy), 299 F.3d 489, 496 (5th Cir. 2002) (“it is generally accepted that a bankruptcy court has no discretion to
 refuse to compel the arbitration of matters not involving ‘core’ bankruptcy proceedings under 28 U.S.C. § 157(b)”);
 Ins. Co. of N. Am. v. NGC Settlement Trust & Asbestos Claims Mgmt. Corp. (In re Nat'l Gypsum Co.), 118 F.3d 1056
 (5th Cir. 1997) (same).
 10 McMahon, 482 U.S. at 227.

 11 Gandy, 299 F.3d at 489; Nat'l Gypsum Co., 118 F.3d at 1056.

 12 In re Nat'l Gypsum Co., 118 F.3d at 1068-69.




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 that Highland is no longer bound by the LPA’s provisions that impose specific performance
 obligations on it—provisions such as the Arbitration Clause. A counterparty to a rejected
 executory contract can merely seek monetary damages, Highland argues, but it cannot force a
 debtor to perform under a rejected executory contract.
        Highland’s argument finds support in a both lengthy and well-reasoned opinion by District
 Judge David Godbey of this District — Janvey v. Alguire, 2014 U.S. Dist. LEXIS 193394 (N.D.
 Tex. Jul. 20, 2014), aff’d on different grounds at 847 F.3d 231 (5 th Cir. 2017), dealing with federal
 receiverships (in which the court made analogies to the bankruptcy process)—as well as in an old
 law review article written by renowned University of Texas Law School Professor Jay Westbrook
 (often considered the modern-day expert on executory contracts in bankruptcy). See Jay
 Westbrook, The Coming Encounter: International Arbitration and Bankruptcy, 67 UNIV. OF MINN.
 LAW SCHOOL 595 (1983).
         The Janvey opinion arose in the context of a federal receivership commenced at the request
 of the Securities and Exchange Commission in response to the massive R. Allen Stanford Ponzi
 scheme. Ralph S. Janvey was the receiver (“Receiver”) who took possession of all receivership
 assets and records. Pursuant to those powers, the Receiver filed suit against former employees
 (the “Employee Defendants”) who previously worked in various capacities for the Stanford
 enterprises (“Stanford Entities”) and received salary, commissions, bonuses, or later forgiven loans
 from the Stanford Entities. The Receiver’s suit alleged that the Employee Defendants received
 fraudulent transfers in violation of the Texas Uniform Fraudulent Transfer Act (TUFTA) or, in the
 alternative, were unjustly enriched at the expense of the creditors of the Receivership Estate. Some
 of the Employee Defendants filed motions to compel arbitration. According to a later Fifth Circuit
 opinion, the arbitration agreements were contained in: (1) promissory notes between the Employee
 Defendants and the company that governed the upfront loan payments that the company awarded
 to the Employee Defendants when they joined Stanford; (2) the broker-dealer forms that the
 company submitted to the Financial Industry Regulation Authority (FINRA) when registering the
 Employee Defendants as brokers; (3) FINRA’s internal rules governing disputes between brokers
 and their employers; and (4) the company’s Performance Appreciation Rights plan. The
 arbitration clauses provided that “any controversy arising out of or relating to this Note, or default
 on this Note, shall be submitted to and settled by arbitration pursuant to the constitution, bylaws,
 rules and regulations of the National Association of Securities Dealers (NASD).” Janvey v.
 Alguire, 847 F.3d 231, 237 (5th Cir. 2017).
        The issue of whether arbitration was required went back and forth between Judge Godbey
 and the Fifth Circuit and, ultimately, the precise issue pending before Judge Godbey was whether
 to deny or grant the motions to compel arbitration based on the question of “whether the Receiver
 is bound by the arbitration clauses if he sues, as he must, on behalf of the Stanford Entities.”
          Judge Godbey declined to order arbitration because the Receiver had not adopted the
 arbitration agreements at issue and because arbitration of the Receiver’s claims would frustrate a
 central purpose of federal equity receiverships. Judge Godbey noted that, before a general
 requirement to arbitrate exists, a party must first be bound to an arbitration agreement — either as
 a signatory or through a principle of law or equity. Judge Godbey stated that discussions of



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 possible exceptions to this general requirement to arbitrate, like McMahon’s contrary
 congressional command, are only necessary after such an initial determination. Judge Godbey
 opined that equity receivers, as non-signatories to an arbitration agreement, can, in fact, be bound
 to the arbitration agreement to the same extent receivership entities would be bound. But there
 remained a significant resultant question: whether the Employee Defendants’ arbitration
 agreements were contracts that the Receiver could reject, “an ability that has deep historical roots
 for both federal equity receivers and bankruptcy trustees and that continues to be an important tool
 for both.”
         Applying Professor Vern Countryman’s material breach test, Judge Godbey concluded that
 arbitration agreements must be analyzed as separate executory contracts, based on the nature of
 the agreement as well as arbitration caselaw regarding severability. Citing Professor Westbrook,
 he noted that, “‘[v]iewed as an independent contractual obligation of the parties, an arbitration
 agreement is a classic executory contract, since neither side has substantially performed the
 arbitration agreement at the time enforcement is sought.’ Westbrook, supra note 26, at 623
 (footnote omitted). Furthermore, the appropriate remedy in this circumstance cannot be for the
 Court to require specific performance by the trustee — i.e., to compel arbitration — because
 ‘injured part[ies] cannot insist on specific performance by the trustee.’ See id. at 619 (collecting
 cases).” Janvey, 2014 U.S. Dist. LEXIS 193394 at *113.
         Judge Godbey went on to opine that the Receiver had rejected the arbitration agreement,
 that the rejection was proper, and that the Receiver was not bound to arbitrate—further noting that
 if the court required the Receiver to adopt the arbitration agreements, it would greatly burden and
 deplete the receivership estate. Such a result, weighed in the balance, would be unjust and
 inequitable.
          The Fifth Circuit ultimately affirmed, 847 F.3d 231 (5th Cir. 2017), but applied a different
 analysis. It determined that the Stanford entity in whose shoes the Receiver had stepped, for
 purposes of bringing the TUFTA claims (i.e., Stanford International Bank), was not a signatory to
 the arbitration agreements and was not otherwise bound by them. The Fifth Circuit also
 determined that, with regard to one Employee Defendant (Giusti) who stood in a unique position
 (in that there was an arbitration agreement that the Receiver’s predecessor was party to and bound),
 that Guisti waived the right to arbitrate by substantially invoking the judicial process (through the
 filing of a motion to dismiss, an answer, serving written discovery and answering discovery—
 which had caused delay and expense). As for Judge Godbey’s “broader policy argument” that the
 federal receivership statutes were at odds with the FAA’s mandate in favor of arbitration, noting
 that these were “important concerns,” the Fifth Circuit stated that “we are wary of endorsing these
 broad policy arguments in the absence of specific direction from the Supreme Court.” Id. at 245.
 But the Fifth Circuit did not otherwise address the arguments.
        While the Janvey case involved a federal receiver, Judge Godbey looked almost entirely to
 bankruptcy law and to Bankruptcy Code section 365 to reach his ruling. This court finds Janvey
 to be persuasive (and possibly binding) on this court. Moreover, just as a federal receiver is
 analogous to a bankruptcy trustee, a debtor-in-possession is, of course, statutorily the same as a
 bankruptcy trustee. See, e.g., 11 U.S.C. § 1107.



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         To be clear, if a bankruptcy trustee rejects an executory contract, the rejection, of course,
 constitutes a breach of the contract and subjects the estate to a claim for money damages on behalf
 of the injured party. 11 U.S.C. § 365(g). Significantly, however, the injured party cannot insist
 on specific performance by the trustee. See Westbrook, The Coming Encounter, at 619 (and
 numerous cases cited therein). Instead, the injured party is treated as having a prepetition claim
 for damages arising as if the breach occurred immediately before the filing of the bankruptcy
 petition. Professor Westbrook notes that the issue then becomes whether such a prepetition claim,
 including a claim arising from rejection, must be liquidated pursuant to the arbitration clause. Most
 jurisprudence in the bankruptcy context dealing with arbitration clauses does not analyze this
 as a traditional executory contract conundrum. And yet, to use Professor Westbrook’s words,
 an arbitration agreement is a classic executory contract, since neither side has substantially
 performed the arbitration agreement at the time enforcement is sought. Id. at 623. And although
 “arbitration survives the contract” as a matter of contract law, “executory obligations may be
 avoided by the trustee as a matter of bankruptcy law through the exercise of the trustee’s power to
 reject executory contracts.” Id. “If specific performance is not available against a trustee, it follows
 that an arbitration agreement is like any other executory contract which the trustee may reject.”
 Id. at 624.
          The Janvey decision is not the only case to have addressed the effect of rejection on the
 viability of an arbitration clause within a rejected executory contract. The Dondero/Dugaboy
 Defendants cite the court to In re Fleming Companies, Inc., 325 B.R. 687 (Bankr. D. Del. 2005),
 a case from another bankruptcy court that predates Janvey by almost a decade, for the proposition
 that rejection of an executory contract does not prevent a party from invoking an arbitration clause
 in that contract. With due respect, the court believes the reasoning in Janvey to be more persuasive
 than the bankruptcy court’s in Fleming Cos. (and Janvey is potentially binding precedent on this
 court). It also bears noting that it was the debtor in Fleming Cos., not the executory contract’s
 counterparty, who was invoking the arbitration clause in the contract the debtor had previously
 rejected. That distinction is not without significance.
         In summary, this court accepts Highland’s argument that the LPA was an executory
 contract duly rejected pursuant to Bankruptcy Code section 365, and that the Arbitration Clause
 should likewise be considered a separate executory agreement that was rejected. Accordingly,
 Highland cannot be forced to specifically perform under the Arbitration Clause or the LPA by
 mandatorily participating in arbitration of Counts V, VI, and VII. The court defers to the
 compelling reasoning of Judge Godbey in Janvey on this point. The court, like Judge Godbey,
 also finds as a matter of fact that requiring arbitration in this case would impose undue and
 unwarranted burdens and expenses on the parties to the detriment of Highland’s creditors.
     IV.     Waiver
        Even if this court is in error in determining that the Arbitration Clause is no longer binding
 on Highland because it was rejected pursuant to Bankruptcy Code section 365, the court finds as
 a matter fact that the Dondero/Dugaboy Defendants have waived any right to invoke the
 Arbitration Clause. The court has taken judicial notice of its own docket, both in these Note
 Adversary Proceedings and in the administrative Chapter 11 case, and has considered the entire



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 record of both proceedings, as well as the Declaration of John A. Morris in Support of Debtor’s
 Objection to Motion to Compel Arbitration and Stay Litigation [Doc. 94, 78, 83, and 78], and the
 exhibits annexed thereto, in making the following findings of fact.
         The Note Adversary Proceedings were filed in January 2021 (after Highland earlier made
 demands on the Note Obligor Defendants or otherwise declared events of default). One of the
 Note Obligor Defendants (Mr. Dondero) timely answered, pleading an affirmative defense that
 Highland agreed not collect on the underlying notes—but that answer contained nothing more
 specific than this, nor any mention of arbitration. Amended Answers were later filed by the Note
 Obligor Defendants, elaborating on and/or adopting the affirmative defense that, through the oral
 agreement, Highland agreed to forgive the obligations under the notes as compensation to Mr.
 Dondero “upon fulfillment of conditions precedent.” Roughly 90 days after the filing of the Note
 Adversary Proceedings, the Note Obligor Defendants filed motions to withdraw the reference,
 which this court spent significant time addressing in making a report and recommendation to the
 District Court in each Note Adversary Proceeding. No mention of arbitration was made to this
 court during those proceedings. During a hearing before the court on June 10, 2021, Highland
 announced its intention to add claims against the Dondero/Dugaboy Defendants for breach of
 fiduciary duty, yet the issue of arbitration was not raised at that point, or a month later when the
 Dondero/Dugaboy Defendants received a draft of the Amended Complaint adding Counts V, VI,
 and VII. Pursuant to the parties’ agreement, Highland filed that Amended Complaint on August
 27, 2021, as the Dondero/Dugaboy Defendants’ “oral agreement” defense became clearer. Only
 on September 1, 2021, did the Dondero/Dugaboy Defendants file their Arbitration Motions and
 raise the issue of arbitration under the Arbitration Clause for the first time in these proceedings,
 more than seven months after the litigation began. At the same time, the Dondero/Dugaboy
 Defendants also pursued extensive discovery, seeking and obtaining responses to interrogatories
 and documents requests in scope and number significantly more than the Arbitration Clause
 permitted, all in accordance with pre-trial stipulations the defendants both negotiated with
 Highland and then asked this court to approve, which the court did.
          Although courts in the Fifth Circuit sometimes apply a presumption against waiver of an
 arbitration right, the right can certainly be waived. 13 “Waiver will be found when the party seeking
 arbitration substantially invokes the judicial process to the detriment or prejudice of the other
 party.” 14 In this context, prejudice “refers to the inherent unfairness—in terms of delay, expense,
 or damage to a party’s legal position—that occurs when the party’s opponent forces it to litigate
 an issue and later seeks to arbitrate that same issue.’” 15 A party waives arbitration when it
 “‘engage[s] in some overt act in court that evinces a desire to resolve the arbitrable dispute through
 litigation rather than arbitration.’” 16


 13 Williams v. Cigna Fin. Advisors, Inc., 56 F.3d 656, 661 (5th Cir. 1995).

 14 Miller Brewing Co. v. Fort Worth Distrib. Co., 781 F.2d 494, 497 (5th Cir. 1986).

 15 Subway Equip. Leasing Corp. v. Forte, 169 F.3d 324, 327 (5th Cir. 1999) (quoting Doctor’s Assocs., Inc. v. Distajo,
 107 F.3d 126, 134 (2d Cir. 1997)).
 16 Keytrade USA v. Ain Temouchent M/V, 404 F.3d 891, 897 (5th Cir. 2005) (quoting Republic Ins. Co. v. PAICO
 Receivables, LLC, 383 F.3d 341, 344 (5th Cir. 2004)). See also Price v. Drexel Burnham Lambert, Inc., 791 F.2d


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          While every situation is unique, here the court finds that the Dondero/Dugaboy Defendants
 waived their right (if any still remained) to demand arbitration, due to their multiple answers, their
 motions to withdraw the reference, extensive discovery that far exceeded what the Arbitration
 Clause permitted, and complete silence about the possibility of arbitration for more than eight
 months. Even though Counts V, VI, and VII were not added by Highland until more than seven
 months after the Note Adversary Proceedings were filed, the Dondero/Dugaboy Defendants had
 reason to know that their “oral agreement” affirmative defense might implicate the LPA and the
 Arbitration Clause, and yet they didn’t raise the subject of arbitration until many months of
 litigation activity in the Note Adversary Proceedings had occurred in this court. 17 The resulting
 delay and expense warrant this court’s applying waiver as permitted by the Fifth Circuit authority
 cited above. This court finds as a matter of fact that the Dondero/Dugaboy Defendants waived the
 relief they seek in the Arbitration Motions.
     V.       Judicial Estoppel, Waste and Inefficiency
         Highland also asked the court: (a) to judicially estop the Dondero/Dugaboy Defendants
 from arguing entitlement to arbitration in light of prior contradictory positions these defendants
 took in earlier pleadings and arguments before this court, and (b) to decline to order arbitration
 because of the waste and inefficiency arbitration would represent for these proceedings. Because
 the court rules that rejection of the Arbitration Clause precludes Highland’s being forced to submit
 to arbitration, and because the court finds that the Dondero/Dugaboy Defendants waived the relief
 they sought in the Arbitration Motions, the court need not and does not address Highland’s
 arguments pertaining to judicial estoppel or the practical implications of ordering arbitration.
     VI.      Stay of Counts I–IV
          Finally, because the court denies the arbitration requested in the Arbitration Motions, there
 is no good cause to stay litigation in the entire Note Adversary Proceedings. Even if the court has
 erred in its ruling on the Arbitration Motions, there still exists no good cause to stay the Note
 Adversary Proceeding as to Counts I-IV. The Dondero/Dugaboy Defendants acknowledge that
 Counts I-IV are non-arbitrable claims and, moreover, in the event Plaintiff were to prevail on them,
 it is likely that Plaintiff would not even pursue Counts V–VII. To clarify, if Plaintiff prevails on
 Counts I and II (i.e., the breach of contract claims and turnover)—which would involve a finding
 that there was no oral agreement for nonpayment—then all other counts would become moot.
 And, if the court were to find that there were such an agreement, Plaintiff could potentially still
 prevail on Counts III and IV (the claims that such an agreement would constitute a fraudulent
 transfer—also non-arbitrabal). It would seem that only if Plaintiff loses on all of these non-
 arbitrable claims would it have any interest in pursuing Counts V-VII (i.e., an interest in arguing
 that the oral agreements amounted to breach of fiduciary duty and aiding and abetting breach of
 fiduciary duty).


 1156, 1162 (5th Cir. 1986) (party waived arbitration because it “initiated extensive discovery, answered twice, filed
 motions to dismiss and for summary judgment, filed and obtained two extensions of pre-trial deadlines, all without
 demanding arbitration”).
 17 The court notes that all Note Obligor Defendants consist of either Mr. Dondero or entities he controls.




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         The requested stay would also be illogical in this context. The “oral agreement” defense
 relies on the existence of an oral contract between Highland (via Dugaboy, through its trustee, Ms.
 Dondero) and Mr. Dondero. The existence of that contract is not an arbitrable issue. The
 implications of that contract’s existence are what would potentially be arbitrable. If litigation on
 Counts I–IV demonstrates that there was no such “oral agreement,” then there would be nothing
 to arbitrate because Counts V–VII would be rendered moot. Staying the litigated determination
 regarding the existence of the “oral agreement” in favor of arbitrating issues that only arise if there
 ever were such an agreement strikes the court as backwards. Arbitration should await that
 determination, not the other way around.
       Accordingly, the Dondero/Dugaboy Defendants’ requests to stay the Note Adversary
 Proceedings have no merit and are denied.
                                               ORDER
 For the reasons stated in the above Memorandum Opinion and Order, the Arbitration Motions and
 Stay Motions related thereto are DENIED.


                                        ### End of Order ###




                                                   12

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The following constitutes the ruling of the court and has the force and effect therein described.




Signed December 7, 2021
______________________________________________________________________




                                    IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE NORTHERN DISTRICT OF TEXAS
                                                DALLAS DIVISION

         In re:                                                  Case No. 19-34054-sgj11
                                                       1
         HIGHLAND CAPITAL MANAGEMENT, L.P.
         Reorganized Debtor.                                     Chapter 11

         HIGHLAND CAPITAL MANAGEMENT, L.P.,
                  Plaintiff.
         v.                                                      Adversary No. 21-03003-sgj
         JAMES D. DONDERO, NANCY DONDERO, AND
         THE DUGABOY INVESTMENT TRUST,
                  Defendants.

         HIGHLAND CAPITAL MANAGEMENT, L.P.,
                  Plaintiff.
         v.                                                      Adversary No.: 21-03005-sgj
         NEXPOINT ADVISORS, L.P., JAMES DONDERO,
         NANCY DONDERO, AND
         THE DUGABOY INVESTMENT TRUST,
                  Defendants.


     1
       The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
     for the above-captioned Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.


     DOCS_NY:44555.1 36027/003



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     HIGHLAND CAPITAL MANAGEMENT, L.P.,
             Plaintiff.
     v.                                                          Adversary No.: 21-03006-sgj
     HIGHLAND CAPITAL MANAGEMENT
     SERVICES, INC., JAMES DONDERO, NANCY
     DONDERO, AND THE DUGABOY INVESTMENT
     TRUST,
             Defendants.

     HIGHLAND CAPITAL MANAGEMENT, L.P.,
             Plaintiff.
     v.                                                          Adversary No.: 21-03007-sgj
     HCRE PARTNERS, LLC (n/k/a NEXPOINT REAL
     ESTATE PARTNERS, LLC), JAMES DONDERO,
     NANCY DONDERO AND THE DUGABOY
     INVESTMENT TRUST,
             Defendants.
                                                        ORDER
         In Adversary Proceeding Nos. 21-3003, 21-3005, 21-3006, and 21-3007 (collectively, the
 “Note Adversary Proceedings”), before the Court are a set of virtually identical motions [Doc.
 82, 68, 72, and 67, respectfully, in each sequentially-numbered Note Adversary Proceeding2] (the
 “Rule 12(b)(6) Motions”) seeking to dismiss Counts V, VI, and VII of the Amended Complaints.
 On November 9, 2021, the Court held a hearing (the “Hearing”) in in connection with the Rule
 12(b)(6) Motions, filed by the certain of the defendants in the Note Adversary Proceedings (the
 “Note Duty Defendants”). Plaintiff Highland Capital Management L.P., now a reorganized
 debtor (“Highland” or “Reorganized Debtor”) timely filed objections to the Rule 12(b)(6)
 Motions [Doc. 90, 74, 79, and 74] and the Note Obligor Defendants filed replies [Doc. 108, 89,
 94, and 89].3
        With regard to the Note Duty Defendants’ Rule 12(b)(6) Motions, the Court must consider
 the motions while accepting every allegation in the Amended Complaints as true. Doing so, the
 Court rules that the Plaintiff has articulated plausible claims and has stated claims on which relief
 could be granted. “The court is not required to state findings or conclusions when ruling on a
 motion under Rule 12 ….” Fed. R. Civ. Proc. 52(a)(3), applicable to the Note Adversary

 2
     All subsequent “Doc.” references in this Order follow this convention.
 3
   The Court considered these replies despite the lateness of their filing, less than two business days before the Hearing.
 At the Hearing, Highland noted its displeasure with the Note Obligor Defendants’ having filed their replies 37 days
 after Highland filed its objections but did expressly did not ask the court to strike the replies. The Court reminds the
 Note Obligor Defendants, as Highland correctly pointed out, that the Local Civil Rules for the Northern District of
 Texas, and not the Local Bankruptcy Rules, apply to these adversary proceedings in all respects, since the reference
 to the Bankruptcy Court was withdrawn and this Court is conducting all proceedings in the position of a magistrate
 judge for the District Court. The replies here were required to be filed no later than 14 days following the filing of
 Highland’s objections. See Local Civil Rule 7.1(f).


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 Proceedings under Fed. R. Bankr. Proc. 7052. Accordingly, the Court makes no findings of fact or
 conclusions of law in denying the Rule 12(b)(6) Motions.
 For the reasons stated above, the Rule 12(b)(6) Motions are DENIED.


                                  * * * END OF ORDER * * *




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The following constitutes the ruling of the court and has the force and effect therein described.




Signed July 6, 2021
______________________________________________________________________




                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION
     IN RE:                                 §
                                            §
     HIGHLAND CAPITAL MANAGEMENT §                          CASE NO. 19-34054-SGJ-11
     L.P.,                                  §               (CHAPTER 11)
           DEBTOR.                          §
     ______________________________________ §
     HIGHLAND CAPITAL MANAGEMENT §
     L.P.,                                  §               ADVERSARY NO. 21-03003
           PLAINTIFF,                       §               (CIV. ACTION #3:21-CV-01010-E)
                                            §
     VS.                                    §
                                            §
     JAMES DONDERO,                         §
           DEFENDANT.                       §

      REPORT AND RECOMMENDATION TO DISTRICT COURT PROPOSING THAT IT:
      (A) GRANT '()(1'$17¶6 MOTION TO WITHDRAW THE REFERENCE AT SUCH
        TIME AS BANKRUPTCY COURT CERTIFIES THAT ACTION IS TRIAL READY;
             AND (B) DEFER PRETRIAL MATTERS TO BANKRUPTCY COURT




                                                    1




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          I.      INTRODUCTION

          The above-referenced adversary proceeding WKH³$GYHUVDU\3URFHHGLQJ´ is related to the

    EDQNUXSWF\FDVH RI+LJKODQG &DSLWDO 0DQDJHPHQW/3 WKH ³Bankruptcy Case´ 1 Highland

    Capital Management, L.P. WKH³'HEWRU´ RU³+LJKODQG´) filed a voluntary Chapter 11 petition on

    October 16, 2019 in the United States Bankruptcy Court of Delaware. That court subsequently

    entered an order transferring venue to the Northern District of Texas, Dallas Division, on

    December 4, 2019. A Chapter 11 plan was confirmed by the bankruptcy court on February 22,

    2021. The chapter 11 plan has been appealed by the Defendant in this action, James D. Dondero

        ³Dondero-'HIHQGDQW´ , and certain parties related to him. The appeal of the plan is now pending

    before the Fifth Circuit, but no stay pending appeal has been granted.

          On January 22, 2021, shortly before its Chapter 11 plan was confirmed, the Debtor, as Plaintiff,

    brought this Adversary Proceeding against Dondero-Defendant, ZKRZDV+LJKODQG¶V co-founder

    and former President and Chief Executive Officer. The Adversary Proceeding pertains to three

    promissory notes (collectively, WKH³1RWHV´ executed by Mr. Dondero in favor of the Debtor in

    2018. Each of the Notes were demand notes. On December 3, 2020, the Debtor sent Dondero-

    Defendant a letter demanding payment by December 11, 2020, as allowed under the terms of the

    notes. Following Dondero-Defendant¶Vfailure to pay on the Notes in response to the demand letter,

    the Debtor brought this action to collect on the Notes. 7KH'HEWRU¶VChapter 11 plan contemplates

    collection on these Notes (as well as several other notes of parties related to Dondero -Defendant)

    as part of its funding to pay creditors.




    1
        Bankruptcy Case No. 19-34054.

                                                       2




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        Under the United States District Court for the Northern District of Texas¶VWDQGLQJRUGHURI

    reference 2, proceedings arising in, or related to, a case under Title 11 are automatically referred to

    the bankruptcy court. Dondero-Defendant submitted a Motion and Memorandum of Law in

    Support to Withdrawal the Reference 3 WKH³0RWLRQ´ VHHNLQJto have the reference withdrawn,

    such that this Adversary Proceeding would be adjudicated in the District Court. The bankruptcy

    court conducted a status conference concerning the Motion, pursuant to Local Bankruptcy Rule

    5011-1, on May 25, 2021.

        The bankruptcy court submits the following report and recommendation to the District Court,

    ultimately recommending that the Motion be granted, but only at such time as the bankruptcy

    court certifies to the District Court that the lawsuit is trial ready. The bankruptcy court further

    recommends that the District Court defer to the bankruptcy court the handling of all pretrial

    matters.

        II.      NATURE OF THE ADVERSARY PROCEEDING

                 a. The Complaint and Procedural History

              The Debtor commenced this Adversary Proceeding by filing its Complaint for (I) Breach

    RI &RQWUDFWDQG ,,  7XUQRYHURI 3URSHUW\RI WKH'HEWRU¶V(VWDWH 4 on January 22, 2021. The

    'HEWRU¶V&RPSODLQWDVVHUWV two causes of action: (1) a breach of contract claim ³&RXQW´ and (2) a

    turnover action under 11 U.S.C. § 542(b) for the amounts owed on the Notes ³&RXQW´ . The principal

    amounts and execution dates for each of the three Notes were: (i) $3,825,000, executed February

    2, 2018, (ii) $2,500,000, executed August 1, 2018, and (iii) $2,500,000, executed August 13, 2018.

    The Debtor now seeks monetary damages totaling $9,004,013.07, inclusive of accrued but unpaid



    2
      Misc. Order No. 33.
    3
      Adversary Case No. 21-03003, Dkt. 21.
    4
      Adversary Case No. 21-03003, Dkt. 1.

                                                      3




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    interest and cost of collection. Because the Debtor alleges the amounts due on the Notes are

    property of its estate, it argues that turnover pursuant to 11 U.S.C. § 542(b) is appropriate.

              After being served with summons on January 28, 2021, Dondero -Defendant filed his

    Original Answer5 on March 16, 2021 before subsequently filing his Amended Answer6 on April 6,

    2021.

              Dondero-Defendant has three pending proofs of claim in the Bankruptcy Case that are

    unliquidated, contingent claims. Two other proofs of claim previously filed by Mr. Dondero were

    withdrawn with prejudice before the commencement of the Adversary Proceeding on December

    4, 2020.7 Proof of Claim No. 188 was Dondero-Defendant¶V proof of claim directly relating to

    the Notes and was one of the two proofs of claim withdrawn with prejudice.

                  b. The Motion to Withdraw the Reference, Response Opposed, and Reply

              On April 15, 2021, Dondero-Defendant filed the Motion. As a result, the above-captioned

    civil action was created in the District Court. On May 6, 2021, the Debtor filed its Response

    2SSRVHGWR'HIHQGDQW¶V0RWLRQWR:LWKGUDZWKH5HIHUHQFH 8 WKH³5HVSRQVH Opposed´  On May

    21, 2021, Dondero-Defendant filed his Reply in Support of the Motion to Withdraw the Reference 9

        WKH³5HSO\´  The bankruptcy court held a status conference, as required by Local Bankruptcy

    Rule 5011-1, on May 25, 2021WRDVVLVWLQWKHEDQNUXSWF\FRXUW¶VSUHSDUDWLRQRIWKLV5HSRUWDQG

    Recommendation.

                         i. The Movant¶s Position




    5
      Adversary Case No. 21-03003, Dkt. 6.
    6
      Adversary Case No. 21-03003, Dkt. 16.
    7
      Order Approving Stipulation and Agreed Order Authorizing Withdrawals of Proofs of Claim 138 and 188 Filed by
    James Dondero, Bankruptcy Case No. 19-34054, Dkt. 1510.
    8
      Adversary Case No. 21-03003, Dkt. 30.
    9
      Adversa ry Case No. 21-03003, Dkt. 44.

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            Dondero-Defendant argues that the withdrawal of the reference is mandatory for the

    'HEWRU¶VEUHDFKRIFRQWUDFWFount and, alternatively, permissive withdrawal of the reference is

    proper for both counts.10

            Dondero-Defendant argues that mandatory withdraw of the reference is required under the

    precedent of this court. 11 Specifically, he argues that the Notes were, in essence, tax loans that

    were forgivable and issued in lieu of compensation. Further, forgivable loans as compensation are

    allegedly used throughout the private equity industry as a tax-efficient form of compensation and

    any decision made by the bankruptcy court will have resounding consequences on the private

    equity industry. Thus, the breach of contract claim will allegedly involve a substantial and material

    consideration of non-Bankruptcy federal law (tax law) that will result in more than a de minimis

    effect on interstate commerce, making withdrawal mandatory. 12

            Alternatively, Dondero-Defendant argues that, if mandatory withdrawal is not required,

    there is cause shown for permissive withdrawal of the reference because: (1) the Texas

    Constitution guarantees a party to a contract a right to a jury trial; (2) the contract claim is a purely

    state law, non-core claim; (3) the turnover claim, under the Bankruptcy Code, is wholly derivative

    of the contract claim, as the amount to be turned over is based on the resolution of the contract

    claim; and (4) efficiency, uniformity and forum shopping factors all favor withdrawal. 13

            Further, Dondero-Defendant contends he has made a demand for a jury trial and has not

    consented, expressly or impliedly, to the equitable jurisdiction of the bankruptcy court to enter



    10
       See Adversary Case No. 21-03003, Dkt. 21 at 5-7.
    11
       6HH,QUH1DW¶O*\SVXP&R, 145 B.R. 539, 541 (N.D. Tex. 1992) (stating ³ZLWKGUDZDOPXVWEHJUDQWHGLILWFDQEH
    established (1) that the proceeding involves a substantial and material question of both Title 11 and non-Bankruptcy
    Code federal law; (2) that the non-Code federal law has more than a de minimis effect on interstate commerce; and
      WKDWWKHPRWLRQIRUZLWKGUDZDOZDVWLPHO\´ ; see also City of ClinWRQ$UNY3LOJULP¶V Pride Corp., No. 4:09-
    CV-386-Y, 2009 WL 10684933, at *1 (N.D. Tex. Aug. 18, 2009).
    12
       Adversary Case No. 21-03003, Dkt. 21 at 5-7.
    13
       Id. at 7-11.

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    final orders in the Adversary Proceeding or hold a jury trial. Dondero-Defendant further argues he

    has withdrawn his only proof of claim relating to the Notes, thus negating any argument he has

    consented to the bankruptcy court having jurisdiction over the litigation of the Notes.

               In summary, Dondero-Defendant views mandatory withdrawal of the reference as

    warranted, because the contract claim will allegedly be substantially based on federal tax law

    issues, and permissive withdrawal as alternatively proper, because the turnover claim is being used

    DVD³7URMDQ+RUVH´WRDWWHPSWWRPDNHDQRQ-core breach of contract claim become core. 14

               As far as timing, Dondero-Defendant requests that the District Court immediately

    withdraw the reference and hear all pre-trial matters until the parties are trial-ready.

                             ii. The Debtor-Plaintiff¶V3RVLWLRQ

               The Debtor argues that no basis exists for mandatory withdrawal of the reference because

    no substantial and material consideration of federal tax law issues will be necessary in this

    Adversary Proceeding. The Debtor argues that Dondero-Defendant has provided no specificity as

    to what tax issues would be in play, and mere speculation about tax issues is not enough to justify

    mandatory withdrawal of the reference. 15 To that point, the Debtor notes that Dondero-Defendant

    has not pointed to any section of the federal tax code to support a basis for his defenses. The Debtor

    characterizes the entirety of the Motion as an attempt to forum shop and avoid another hearing in

    front of the bankruptcy court through assertion of baseless tax defenses.

               The Debtor further argues that there is no cause shown for permissive withdrawal because

    a turnover action under Section 542(b) of the Bankruptcy Code is an inherently core claim. The

    Notes, as argued, are already property of the bankruptcy estate, as matured and payable on




    14
         Id. at 8-9; see In re Soundview Elite Ltd., 543 B.R. 78, 97 (Bankr. S.D.N.Y. 2016).
    15
         See In re White Motor Corp., 42 B.R. 693, 705-06 (N.D. Ohio 1984).

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    December 11, 2020, and the turnover action only concerns federal bankruptcy law.16 The Debtor

    argues that the defenses and disputes raised by Dondero-Defendant GRQRWUHVWULFWWKH'HEWRU¶V

    ability to collect property of the estate under 11 U.S.C. § 542(b).17

            The Debtor additionally argues that Dondero-Defendant¶VDVVHUWLRQWKDWKHKDVUHWDLQHGKLV

    jury trial rights is wrong, as he has consented to the equitable jurisdiction of the bankruptcy court

    through the filing of five proofs of claims and asserting setoffs in his defense to the Adversary

    Proceeding. The Debtor further argues that the filing of Proof of Claim No. 188 (related to the

    Notes), clearly demonstrated Dondero-Defendant¶VFRQVHQWWRWKHMXULVGLFWLRQDQGDXWKRULW\RIWKH

    bankruptcy court to resolve the interconnected claims and setoff defenses he has asserted²thereby

    directly impacting the claims-allowance process and the restructuring of the debtor-creditor

    relations. Further, the Debtor argues, in a supplemental filing, that Dondero-'HIHQGDQWV¶

    withdrawing Proof of Claim No. 188 in December 2020 with prejudice does not allow him to

    withdraw his consent to the jurisdiction of the bankruptcy co urt.18 In essence, the Debtor argues

    that, as soon as Dondero-Defendant filed Proof of Claim No. 188, he had consented to bankruptcy

    court jurisdiction for any proceeding involving the Notes during the Bankruptcy Case and waived

    his jury trial rights.

            As far as timing, the Debtor argues that, if the court finds permissive withdrawal of the

    reference is appropriate, the reference should not be withdrawn until after the parties are trial-

    ready, and all pretrial matters should be handled by the bankruptcy court until such time.


    16
       See Tow v. Park Lake Cmtys., LP, 2018 U.S. Dist. LEXIS 1720, at *3-*5 (S.D. Tex. Jan. 4, 2018); see also Porretto
    v. Nelson (In re Porretto), 2012 Bankr. LEXIS 4919, at *11-*12 (Bankr. S.D. Tex. Oct. 18, 2012); see also Romo v.
    Monetmayor (In re Montemayor), 547 B.R. 684, 692 (Bankr. S.D. Tex. 2016) (bankruptcy court had authority under
    Stern to issue a final order in an action brought pursuant to Section 542(b), because DQDFWLRQ³WRWXUQRYHUDVVHWV
    EHORQJLQJWRWKHEDQNUXSWF\HVWDWH>LV@DPDWWHUZKLFKVROHO\FRQFHUQVIHGHUDOEDQNUXSWF\ODZ´ 
    17
       See Tow, 2018 U.S. Dist. LEXIS 1720, at *3-*5; see also Shaia v. Taylor (In re Connelly), 476 B.R. 223, 230
    (Bankr. E.D. Va. 2012).
    18
       $GGHQGXPWR3ODLQWLII¶V2SSRVLWLRQWR'HIHQGDQW¶V0RWLRQWR:LWKGUDZWKH5HIHUHQFH, Adversary Case No. 21-
    03003, Dkt. 31 at 1.

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         III.    MANDATORY WITHDRAWAL OF THE REFERENCE IS NOT APPLICABLE

         Withdrawal of the reference pursuant to 28 U.S.C. § 157(d) provides for the possibility of

    PDQGDWRU\ZLWKGUDZDORIWKHUHIHUHQFHIURPWKHEDQNUXSWF\FRXUW³7KHGLVWULFWFRXUWVKDOORQ

    timely motion of a party, so withdraw a proceeding if the court determines that resolution of the

    proceeding requires consideration of both title 11 and other laws of the United States regulating

    RUJDQL]DWLRQVRUDFWLYLWLHVDIIHFWLQJLQWHUVWDWHFRPPHUFH´Under the precedent of this District, in

    1DW¶O*\SVXP&R and 3LOJULP¶V3ULGH, mandatory withdrawal of the reference must be granted

    when: (1) the motion was timely filed; (2) a non-Bankruptcy Code federal law at issue has more

    than a de minimis effect on interstate commerce; and (3) the proceeding involves a substantial and

    material question of non-Bankruptcy Code federal law. 19

         It has been well HVWDEOLVKHGWKDW³PDQGDWRU\ZLWKGUDZDOLVWREHDSSOLHGQDUURZO\´DQGWR

    ³SUHYHQW  G  IURP EHFRPLQJ DQ µHVFDSH KDWFK¶´ 20 Unsubstantiated assertions that non-

    bankruptcy federal law issues are substantial and material to an adversary proceeding are

    insufficient to warrant mandatory withdrawal. 21 The bankruptcy court routinely considers tax law

    issues and, here, Dondero-Defendant has provided no meaningful explanation of the alleged

    materiality, complexity, and relevance of federal tax issues to the Advers ary Proceeding. No

    relevant portions of the tax laws that will allegedly be implicated are cited , nor is there any

    explanation of how the issues are beyond the expertise of the bankruptcy court. Thus, Dondero-




    19
       145 B.R. at 541; 2009 WL 10684933 at *1.
    20
       Manila Indus., Inc. v. Ondova Ltd. (In re Ondova Ltd.), 2009 U.S. Dist LEXIS 101134, at *6 (N.D. Tex. Oct. 1,
    2009), adopted in its entirety, 2009 U.S. Dist. LEXIS 102071 (N.D. Tex. Nov. 3, 2009).
    21
       Keach v. World Fuel Servs. Corp, (In re Montreal Me. & Atl. Ry.), 2015 U.S. Dist. LEXIS 74006, at *21-*23 (D.
    Me. June 8, 2015) (insufficient basis for mandatory withdrawal where party failed to demonstrate specifically why a
    FRXUWZRXOGKDYHWR³HQJDJHLQDQ\WKLQJEH\RQGURXWLQHDSSOLFDWLRQRIFXUUHQWODZ´DQGWKHSDUW\³WULHVto kick up
    some dust to make the releYDQWDQDO\VLVVHHPFRPSOLFDWHG´ 

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    Defendant has failed to meet his burden to demonstrate that mandatory withdrawal of the reference

    is appropriate.

         IV.     THE BREACH OF CONTRACT CLAIMS AT THE CENTER OF THE
                 ADVERSARY PROCEEDING ARE NONCORE CLAIMS, AND THE PENDING
                 PROOFS OF CLAIM OF DONDERO-DEFENDANT ARE UNRELATED TO THEM

         Permissive withdrawal of the reference is described in 86& G DVIROORZV³7KH

    district court may withdraw, in whole or in part, any case or proceeding referred under this section,

    on its own motion or on timely motion of any party, for cause shown.´ The Bankruptcy Code does

    QRWGHILQH³FDXVHVKRZQ´EXW the United States Court of Appeal for the Fifth Circuit, interpreting

    the Supreme Court case of Northern Pipeline Const. Co. v. Marathon Pipe Line Co., has identified

    a number of factors for courts to consider in determining whether permissive withdrawal of the

    reference is appropriate: (1) whether the matter is core or noncore; (2) whether the matter involves

    a jury demand; (3) whether withdrawal would further uniformity in bankruptcy administration; (4)

    whether withdrawal would reduce forum-shopping and confusion; (5) whether withdrawal would

    foster HFRQRPLFDOXVHRIGHEWRUV¶DQGFUHGLWRUV¶UHVRXUFHVDQG  ZKHWKHUZLWKGUDZDOZRXOG

    expedite the bankruptcy process. 22 Courts in this District have placed an emphasis on the first two

    factors.23

         As explained by the Supreme Court in Stern v. Marshall, Congress has divided bankruptcy

    proceedings (i.e., adversary proceedings or contested matter within a bankruptcy case)²over

    which there is bankruptcy subject matter jurisdiction²into three different categories: (a) those that

    ³DULV>H@XQGHU´Title 11; (b) WKRVHWKDW³DULV>H@LQ´D7LWOHFDVHDQG(c) WKRVHWKDWDUH³UHODWHG




    22
       Holland Am. Ins. Co. v. Succession of Roy, 777 F.2d 992, 998-99 (5th Cir. 1985); Mirant Corp. v. The Southern
    Co., 337 B.R. 107, 115-23 (N.D. Tex. 2006); 458 U.S. 50 (1982).
    23
       See Mirant, 337 B.R. at 115-122.

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    WR´DFDVHXQGHU7LWOH 24 Further, those that arise under Title 11 or arise in a Title 11 case are

    GHILQHGDV³FRUH´PDWWHUV 25 DQGWKRVHWKDWDUHPHUHO\³UHODWHGWR´D7LWOHFDVHDUHGHILQHGDV

    ³QRQFRUH´PDWWHUV7KHVLJQLILFDQFHRIWKH³FRUH´´QRQFRUH´GLVWLQFWLRQLVWKDWEDQ kruptcy courts

    may statutorily enter final MXGJPHQWV LQ ³FRUH´ SURFHHGLQJVLQ D EDQNUXSWF\FDVHZKLOH LQ

    ³QRQFRUH´SURFHHGLQJVWKHEDQNUXSWF\FRXUWVLQVWHDGPD\RQO\ DEVHQWFRQVHQWIURPDOORIWKH

    parties) submit proposed findings of fact and conclusions of law to the district court, for that court's

    review and issuance of final judgment. This is the statutory framework collectively set forth in 28

    86&DQG86&%XWZKLOHDSURFHHGLQJPD\EH³FRUH´LQQDWXUH , under 28

    U.S.C. § 157(b)(2), and the bankruptcy court, therefore, has the statutory power to enter a final

    judgment on the claim under 28 U.S.C. § 157(b)(1), Stern instructs that any district court, in

    evaluating whether a bankruptcy court has the ability to issue final orders a nd judgments, must

    resolve not only: (a) whether the bankruptcy court has the statutory authority under 28 U.S.C. §

    157(b) to issue a final judgment on a particular claim; but also (b) whether the conferring of that

    authority on an Article I bankruptcy court is constitutional DQGWKLVWXUQVRQZKHWKHU³WKHDFWLRQ

    at issue stems from the bankruptcy itself or would necessarily be resolved in the claims allowance

    SURFHVV´ 26

         With respect to the claims asserted against Dondero-Defendant, it might be argued that both

    counts asserted against him are statutorily core in nature. 27 While Count 1 is a breach of contract

    claim for collection of amounts due under promissory notes²one of the simplest forms of a state

    law lawsuit²it might be argued that Count 1 is statutorily core under the catchall provision of 28



    24
       28 U.S.C. § 1334(b); Stern v. Marshall, 564 U.S. 462, 473-474 (2011).
    25
       Stern, 564 U.S. at 473-474. Core proceedings include, but are not limited to, 16 different types of matters, including
    ³FRXQWHUFODLPVE\>DGHEWRU V@HVWDWHDJDLQVWSHUVRQVILOLQJFODLPVDJDLQVWWKHHVWDWH´86& E  & 
    26
       Stern, 564 U.S. at 499.
    27
       28 U.S.C. § 157(b)(2)(E), (O).

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    U.S.C. § 157(b)(2)(O), as the resolution of the claim would be ³DIIHFWLQJWKHOLTXLGDWLRQRIWKH

    assets of the estate.´However, this position would not pass constitutional muster. The cause of

    action does not stem from the bankruptcy itself (i.e., it stems from defaults on pre-petition notes)

    and would not be resolved through the claims allowance process (since the only related proof of

    claim related to the Notes has been withdrawn). In other words, the resolution of Count 1 is not

    so inextricably intertwined with the resolution of Dondero-Defendant¶Vstill-remaining proofs of

    claim so as to confer constitutional authority on the bankruptcy court to enter a final judgment on

    the breach of contract claims.

         Count 2, the turnover cause of action, is brought pursuant to 11 U.S.C. § 542(b) and is listed

    as statutorily core under 28 U.S.C. § 157(b)(2)(E). If Count 2 were freestanding and the debts due

    under the Notes were undisputed, it is unrefuted by Dondero-Defendant that a turnover action

    under 11 U.S.C. § 542(b) would be both a statutory and constitutional core claim. The issue is

    whether a turnover action to collect on a disputed pre-petition promissory note can be viewed as

    a core claim. There is a split in authority on this issue. The Debtor cites authority that a turnover

    action is a core claim when collecting matured debts, as property of the estate, regardless of

    whether the indebtedness is disputed.28 In contrast, Dondero-Defendant cites authority that the

    scope of turnover claims under the Bankruptcy Code should not be expanded to encompass debts

    in dispute that arose outside of bankruptcy, including authority from this court.29


    28
       Shaia, 476 B.R. at  ³7RSURSHUO\FRQVWLWXWHDFRUHSURFHHGLQJXQGHU E  ( WKHGHEWPXVWEHµmatured,
    payable on demandRUSD\DEOHRQRUGHU¶µ0DWXUHG¶UHIHUVWRµGHEWVWKDWDUHSUHVHQWO\SD\DEOHDVRSSRVHGWRWKRVH
    that are contingent and become payable only XSRQWKHRFFXUUHQFHRIDFHUWDLQDFWRUHYHQW¶«:KLOHWKH'HIHQGDQWV
    assert they are not indebted to the Trustee, it is simply not relevant that the Defendants dispute liability on the
    instrument. The presence of a dispute does not preclude a debt from EHLQJPDWXUHG«$FDXVHRIDFWLRQLVDWXUQRYHU
    proceeding under § 542(b) of the Bankruptcy Code where it seeks collection rather than creation or liquidation of a
    PDWXUHGGHEW´ see also In re Willington Convalescent Home, Inc.)GDWQ ³7he mere fact that
    &RQQHFWLFXWGHQLHVWKDWLWRZHVWKHPDWXUHGGHEWIRU:LOOLQJWRQ¶VVHUYLFHVEHFDXVHRIDUHFRXSPHQWULJKWµGRHVQRW
    WDNHWKHWUXVWHH¶VDFWLRQRXWVLGHWKHVFRSHRIVHFWLRQ E ¶´ 
    29
       In re Se. Materials, Inc., 467 B.R. 337, 354 (Bankr. M.'1& 7KHGLVWLQFWLRQ LVZKHQ³DQDGYHUVDU\
    SURFHHGLQJSUHVHQWVDERQDILGHGLVSXWHDVWROLDELOLW\WKHPDWWHUFDQQRWEHYLHZHGDVDWXUQRYHUSURFHHGLQJ´ In re

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        This court views the turnover claim as derivative of the breach of contract claims. The breach

    of contract claims are clearly non-core, and the bankruptcy court lacks constitutional authority to

    confer jurisdiction over them (absent consent²which does not exist here). A turnover action under

    11 U.S.C. § 542(b) cannot be tacked onto a complaint so as to confer authority in the bankruptcy

    court to adjudicate an otherwise non-core claim. To hold otherwise would run counter to the

    dictates of the Supreme Court in Marathon.

             In summary, this court believes that the turnover claim in the Complaint, to collect on a

    disputed indebtedness under the Notes, ³GR>HV@QRWIDOOZLWKLQWKHVFRSHRIWXUQRYHUDFWLRQVDV

    contemplated by § 542 and § 157(b)(2)(E),´DEVHQWDMXGJPHQWRUVWLSXODWLon resolving the dispute

    as to the indebtedness. 30 Thus, the turnover claim, as brought, is not a core claim that the

    bankruptcy court can finally adjudicate, absent the consent of all parties.

        V.        JURY TRIAL RIGHTS AND DEMAND

        Pursuant to 28 U.S.C. § 157(e), if a litigant has the right to a jury trial under applicable non-

    bankruptcy law, a bankruptcy court may conduct the jury trial only if: (a) the matters to be finally

    adjudicated fall within the scope of bankruptcy subject matter jurisdiction; (b) the district court of

    which the bankruptcy court is a unit authorizes the bankruptcy court to do so; and (c) all of the

    parties consent. 31

        Starting first with whether a right to a jury trial even exists, the Seventh Amendment, of course,

    provides a jury trial right in cases in which the value in controversy exceeds twenty dollars and



    Satelco, Inc., 58 B.R. 781, 789 (Bankr1'7H[  ³>7@KLV&RXUWKROGVWKDWDFWLRQVWRFROOHFWDFFRXQWVUHFHLYDEOH
    based upon state law contract principles do not fall within the scope of turnover actions as contemplated by § 542 and
    § 157(b)(2)(E), absent a final judgment from a court of competent jurisdiction, a stipulation, or some other binding
    GHWHUPLQDWLRQRIOLDELOLW\´ 
    30
       Satelco, 58 B.R. at 789.
    31
       ³,IWKHULJKWWRDMXU\WULDODSSOLHVLQDSURFHHGLQJWKDWPD\EHKHDUGXQGHUWKLVVHFWLRQE\DEDQNUXSWF\MXGJHWKH
    bankruptcy judge may conduct the jury trial if specially designated to exercise such jurisdiction by the district court
    DQGZLWKWKHH[SUHVVFRQVHQWRIDOOWKHSDUWLHV´86& 157(e) (West 2019).

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    the cause of action is to enforce statutory rights that are at least analogous to rights that were tried

    at law in the late 18th century English courts. 32 6XLWV³DWODZ´UHIHUVWR³VXLWVLQZKLFKOHJDO rights

    ZHUHWREHDVFHUWDLQHGDQGGHWHUPLQHG´DVRSSRVHGWR³WKRVHZKHUHHTXLWDEOHULJKWVDORQHZHUH

    recognized aQGHTXLWDEOHUHPHGLHVZHUHDGPLQLVWHUHG´33 This analysis requires two steps: (1) a

    FRPSDULVRQRIWKH³VWDWXWRU\DFWLRQWRWKFHQWXU\DFWLRQVEURXJKWLQWKHFRXUWVRI(QJODQGSULRU

    WRWKHPHUJHURIWKHFRXUWVRIODZDQGHTXLW\´DQG  ZKHWKHUWKHUHPHG \VRXJKWLV ³OHJDORU

    equitable in nature . . . >W@KHVHFRQGVWDJHRIWKLVDQDO\VLV´EHLQJ³PRUHLPSRUWDQWWKDQWKHILUVW´34

         It is well established that the act of filing a proof of claim can operate to deprive a creditor of

    a jury trial right, by subjecting a claim, that would otherwise sound only in law, to the equitable

    claims allowance process.35 Thus, Dondero-Defendant, by having several pending proofs of

    FODLPVKDVFRQVHQWHGWRWKHEDQNUXSWF\FRXUW¶VHTXLWDEOHMXULVGLFWLRQand waived his right to a

    jury trial as to the subject matter of the pending proofs of claim.36 However, as earlier noted, prior

    to the commencement of this Adversary Proceeding on January 22, 2021, Dondero-Defendant

    withdrew two of his proofs of claim on December 4, 2020 with prejudice²including Proof of

    Claim No. 188 which related to the Notes. To be sure, Proof of Claim No. 188, if pending, would

    have made the claims asserted in the Adversary Proceeding so inextricably intertwined with the

    equitable process of claims resolution, so as to constitute consent to the equitable jurisdiction of

    the bankruptcy court. Without a pending proof of claim, the breach of contract claims is precisely

    the kind of action that would sound in law rather than in equity. By withdrawing his proof of claim




    32
       See City of Monterey v. Del Monte Dunes, 526 U.S. 687, 708 (1999).
    33
       Granfinanciera, S.A. v. Nordberg, 492 U.S. 33, 41 (1989).
    34
        See Levine v. M & A Custom Home Builder & Developer, LLC, 400 B.R. 200, 205 (S.D. Tex. 2008) (quoting
    Granfinanciera, 492 U.S. at 42).
    35
       See Langenkamp v. Culp, 498 U.S. 42, 44-45 (1990).
    36
       Id.

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    related to the Notes, Dondero-Defendant withdrew the claim from the claims allowance process

    of the bankruptcy court and preserved his right to a jury trial on the Notes.37

        To reiterate, Dondero-Defendant¶VWKUHH UHPDLQLQJ SURRIVRIFODLPV DUH XQUHODWHGWR WKH

    collection on the Notes, and he has not otherwise consented to the jurisdiction of the bankruptcy

    court for claims related to the Notes. Dondero-Defendant has also withdrawn his affirmative

    defense of setoff in the Adversary Proceeding. Dondero-Defendant has also not consented to the

    bankruptcy court conducting a jury trial pursuant to 11 U.S.C. § 157(e).

        In summary, Dondero-Defendant¶VODFN RI ZDLYHU Rf his jury trial rights, expressly or

    impliedly, is further reason why the bankruptcy court does not believe it can finally adjudicate the

    claims in the Adversary Proceeding.

        VI.       PENDING MATTERS

        On May 25, 2021, the bankruptcy court held a status conference with regard to the Motion. At

    such time, the bankruptcy court approved, in part, -DPHV'RQGHUR¶V0RWLRQWR6WD\3HQGLQJWKH

    0RWLRQWR :LWKGUDZWKH 5HIHUHQFHRI3ODLQWLII¶V &RPSODLQW,38 and thereafter issued the Order

    *UDQWLQJ,Q3DUW-DPHV'RQGHUR¶V0RWLRQWR6WD\3HQGLQJWKH0RWLRQWR:LWKGUDZWKH5HIHUHQFH

    RI3ODLQWLII¶V&RPSODLQW39 (the ³6WD\2UGHU´ RQ-XQH7KH6WD\2UGHUGLFWDWHGWKDWDOO

    response deadlines, pre-trial deadlines, and hearing dates would be stayed until July 28, 2021.

    Discovery under the Amended Scheduling Order 40 was to proceed with two changes: (i) the

    deadline for service of expert disclosures to be changed to May 28, 2021, and (ii) the deadline for


    37
       Smith v. Dowden)G WK&LU  ³>7@KHVXFFHVVIXOZLWKGUDZDORIDFODLPSXUVXDQWWR)HG5
    %DQNU3SULRUWRWKHWUXVWHH¶VLQLWLDWLRQRIDQDGYHUVDULDOSURFHHGLQJrenders the withdrawn claim a legal nullity
    and lea YHVSDUWLHVDVLIWKHFODLPKDGQHYHUEHHQEURXJKW´  ,QUH*ROGEODWW¶V%DUJDLQ6WRUHV,QF., No. 05 C 03840,
    2005 WL 8179250, at *5 (N.D. Ill. Dec. 6, 2005) (claims withdrawn before adversary proceeding are as if never filed);
    see generally, In re Manchester, Inc., No. 08-30703-11-BJH, 2008 WL 5273289, at *3-6 (Bankr. N.D. Tex. Dec. 19,
    2008) (permissible to withdraw a claim to preserve jury trial right).
    38
       Adversary Case No. 21-03003, Dkt. 22.
    39
       Adversary Case No. 21-03003, Dkt. 64.
    40
       Adversary Case No. 21-03003, Dkt. 18.

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    completion of expert discovery to be changed to June 14, 2021. At this point, the parties are not

    trial-ready.

        VII. RECOMMENDATION
        In light of: (a) the noncore, related-to claims in the Complaint; (b) the withdrawal of Proof of

    Claim No. 188, relating to the Notes, by Dondero-Defendant on December 4, 2020, which was the

    only proof of claim inextricably intertwined with the causes of action in the Adversary Proceeding;

    and (c) the lack of any other consent by Dondero-Defendant to the equitable jurisdiction of the

    bankruptcy court related to the Notes, the bankruptcy court recommends the District Court: refer

    all pre-trial matters to the bankruptcy court, and grant the Motion upon certification by the

    bankruptcy court that the parties are trial-ready.

        With regard to such pretrial matters, the bankruptcy court further recommends that, to the

    extent a dispositive motion is brought that the bankruptcy court determines should be granted and

    would finally dispose of claims in this Adversary Proceeding, the bankruptcy court should submit

    a report and recommendation to the District Court for the District Court to adopt or reject.

                       ***END OF REPORT AND RECOMMENDATION***




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                                                               United States Bankruptcy Court
                                                                 Northern District of Texas
Highland Capital Management, L.P.,
      Plaintiff                                                                                                         Adv. Proc. No. 21-03003-sgj
Dondero,
      Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 0539-3                                                   User: mmathews                                                              Page 1 of 2
Date Rcvd: Jul 07, 2021                                                Form ID: pdf012                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                 Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                  regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jul 09, 2021:
Recip ID                 Recipient Name and Address
clmagt                 + Kurtzman Carson Consultants LLC, Attn: Drake Foster, 222 N. Pacific Coast Highway, Ste. 300, El Segundo, CA 90245-5614

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jul 09, 2021                                            Signature:            /s/Joseph Speetjens




                                   CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on July 7, 2021 at the address(es) listed below:
Name                               Email Address
Bryan C. Assink
                                   on behalf of Defendant James Dondero bryan.assink@bondsellis.com

Clay M. Taylor
                                   on behalf of Defendant James Dondero clay.taylor@bondsellis.com krista.hillman@bondsellis.com

Deborah Rose Deitsch-Perez
                                   on behalf of Defendant James Dondero deborah.deitschperez@stinson.com
                                   patricia.tomasky@stinson.com;kinga.mccoy@stinson.com

Juliana Hoffman
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                                   txefilingnotice@sidley.com;julianna-hoffman-8287@ecf.pacerpro.com

Matthew A. Clemente
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Date Rcvd: Jul 07, 2021                                   Form ID: pdf012                                                   Total Noticed: 1
                          ey@sidley.com

Melissa S. Hayward
                          on behalf of Plaintiff Highland Capital Management L.P. MHayward@HaywardFirm.com, mholmes@HaywardFirm.com

Michael P. Aigen
                          on behalf of Defendant James Dondero michael.aigen@stinson.com stephanie.gratt@stinson.com

Paige Holden Montgomery
                          on behalf of Creditor Committee Official Committee of Unsecured Creditors pmontgomery@sidley.com
                          txefilingnotice@sidley.com;paige-montgomery-7756@ecf.pacerpro.com;crognes@sidley.com;ebromagen@sidley.com;efilingnoti
                          ce@sidley.com

Zachery Z. Annable
                          on behalf of Plaintiff Highland Capital Management L.P. zannable@haywardfirm.com


TOTAL: 9




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                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

 HIGHLAND CAPITAL MANAGEMENT,                    §
                                                 §
 L.P.,
                                                 §
                                                 §     Civil Action No. 3:21-CV-0881-X
          Plaintiff,
                                                 §
                                                 §     Consolidated with:
 v.
                                                 §                    3:21-CV-0880-X
                                                 §                    3:21-CV-1010-X
 NEXPOINT ASSET MANAGEMENT,
                                                 §                    3:21-CV-1378-X
 L.P., (F/K/A HIGHLAND CAPITAL
                                                 §                    3:21-CV-1379-X
 MANAGEMENT FUND ADVISORS,
                                                 §                    3:21-CV-3160-X
 L.P.), et al.,
                                                 §                    3:21-CV-3162-X
                                                 §                    3:21-CV-3179-X
          Defendants.
                                                 §                    3:21-CV-3207-X
                                                 §                    3:22-CV-0789-X

            ORDER ADOPTING REPORT AND RECOMMENDATION
                       AND FINAL JUDGMENT

        Before the Court is the Bankruptcy Court’s Report and Recommendation on

 Plaintiff Highland Capital Management, L.P.’s (“Highland”) motion for partial

 summary judgment. [Doc. 50]. Having carefully considered (1) Highland’s motion

 and all arguments and evidence admitted into the record in support of the motion,

 (2) all responses and objections to the motion and all arguments and evidence

 admitted into the record in support of such responses and objections, and the

 arguments presented by counsel during the hearing held on April 20, 2022, on the

 motion, and for the reasons set forth in the Report and Recommendation (the “R&R”)

 filed by the Bankruptcy Court on July 19, 2022, and the Supplement to the R&R filed

 December 5, 2022, the Court ACCEPTS the report and recommendation. The Court




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 OVERRULES the objections to the report and recommendation and OVERRULES

 the objection to the supplement to the report and recommendation. [Docs. 63, 87].

         In accordance with the report and recommendation, the Court GRANTS

 partial summary judgment for Highland and ENTERS FINAL JUDGMENT as

 follows.

         IT IS ORDERED, ADJUDGED, AND DECREED that Highland recover the

 following from James Dondero:

         1. Dondero will owe Highland $3,873,613.93 in accrued but unpaid principal

 and interest due under Dondero’s First Note1 (issued on February 2, 2018) as of

 August 8, 2022, after application of all payments to outstanding principal and

 interest. As of August 9, 2022, interest will continue to accrue on the First Dondero

 Note at the rate of $278.50 per day and will increase to $285.91 per day on February

 2, 2023.

         2. Dondero will owe Highland $2,778,356.23 in accrued but unpaid principal

 and interest due under Dondero’s Second Note (issued on August 1, 2018) as of

 August 8, 2022, after application of all payments to outstanding principal and

 interest. As of August 9, 2022, interest will continue to accrue on Dondero’s Second

 Note at the rate of $224.43 per day and will increase to $231.05 per day on August 1,

 2023.

         3. Dondero will owe Highland $2,778,339.88 in accrued but unpaid principal

 and interest due under Dondero’s Third Note (issued on August 13, 2018) as of August



         1 Capitalized terms not defined herein shall have the meanings ascribed to them in the R&R.




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 8, 2022, after application of all payments to outstanding principal and interest. As of

 August 9, 2022, interest will continue to accrue on Dondero’s Third Note at the rate

 of $218.20 per day and will increase to $224.64 per day on August 13, 2022.

       4. In addition to the forgoing, and pursuant to the terms of each applicable

 Note, Dondero shall pay to Highland the amount of $443,074.35, which is his pro rata

 allocation (based on the ratio of the outstanding principal and interest owed by

 Dondero to Highland as of August 8, 2022, to the total principal and interest owed by

 all Note Maker Defendants to Highland as of August 8, 2022) of the total allocable

 and actual expenses of collection, including attorneys’ fees and costs, incurred by

 Highland.

       IT IS ORDERED, ADJUDGED, AND DECREED that Highland recover the

 following from NexPoint Asset Management, L.P. (f/k/a Highland Capital

 Management Fund Advisors, L.P.) (“NexPoint Asset Management”):

       1. NexPoint Asset Management will owe Highland $2,552,628.61 in accrued

 but unpaid principal and interest due under NexPoint’s First Note (issued on May 2,

 2019), as of August 8, 2022, after application of all payments to outstanding principal

 and interest. As of August 9, 2022, interest will continue to accrue on NexPoint’s

 First Note at the rate of $166.08 per day and will increase to $170.05 per day on May

 2, 2023.

       2. NexPoint Asset Management will owe Highland $5,317,989.86 in accrued

 but unpaid principal and interest due under NexPoint’s Second Note (issued on May

 3, 2019), as of August 8, 2022, after application of all payments to outstanding




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 principal and interest. As of August 9, 2022, interest will continue to accrue on

 NexPoint’s Second Note at the rate of $346.02 per day and will increase to $354.29

 per day on May 3, 2023.

       3. In addition to the forgoing, and pursuant to the terms of each applicable

 Note, NexPoint Asset Management shall pay to Highland the amount of $369,793.69,

 which is its pro rata allocation (based on the ratio of the outstanding principal and

 interest owed by NexPoint Asset Management to Highland as of August 8, 2022, to

 the total principal and interest owed by all Note Maker Defendants to Highland as of

 August 8, 2022) of the total allocable and actual expenses of collection, including

 attorneys’ fees and costs, incurred by Highland.

       IT IS ORDERED, ADJUDGED, AND DECREED that Highland recover the

 following from NexPoint Advisors, L.P. (“NexPoint Advisors”):

       1. NexPoint Advisors will owe Highland $23,389,882.79 in accrued but unpaid

 principal and interest due under the NexPoint Term Note (issued on May 31, 2017),

 as of August 8, 2022, after application of all payments to outstanding principal and

 interest. As of August 9, 2022, interest will continue to accrue on the NexPoint Term

 Note at the rate of $3,801.79 per day and will increase to $4,029.90 per day on May

 31, 2023.

       2. In addition to the forgoing, and pursuant to the terms of each the Note,

 NexPoint Advisors shall pay to Highland the amount of $1,098,951.89, which is its

 pro rata allocation (based on the ratio of the outstanding principal and interest owed

 by NexPoint Advisors to Highland as of August 8, 2022, to the total principal and




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 interest owed by all Note Maker Defendants to Highland as of August 8, 2022) of the

 total allocable and actual expenses of collection, including attorneys’ fees and costs,

 incurred by Highland.

       IT IS ORDERED, ADJUDGED, AND DECREED that Highland recover the

 following from Highland Capital Management Services, Inc. (“HCMS”):

       1. HCMS will owe Highland $166,196.60 in accrued but unpaid principal and

 interest due under HCMS’s First Demand Note1 (issued on March 28, 2018), as of

 August 8, 2022, after application of all payments to outstanding principal and

 interest. As of August 9, 2022, interest will continue to accrue on HCMS’s First

 Demand Note at the rate of $12.98 per day and will increase to $13.35 per day on

 March 26, 2023.

       2. HCMS will owe Highland $222,917.23 in accrued but unpaid principal and

 interest due under HCMS’s Second Demand Note (issued on June 25, 2018), as of

 August 8, 2022, after application of all payments to outstanding principal and

 interest. As of August 9, 2022, interest will continue to accrue on HCMS’s Second

 Demand Note at the rate of $18.56 per day and will increase to $19.13 per day on

 June 25, 2023.

       3. HCMS will owe Highland $425,435.63 in accrued but unpaid principal and

 interest due under HCMS’s Third Demand Note (issued on May 29, 2019), as of

 August 8, 2022, after application of all payments to outstanding principal and

 interest. As of August 9, 2022, interest will continue to accrue under HCMS’s Third




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 Demand Note at the rate of $27.73 per day and will increase to $28.39 per day on

 May 29, 2023.

       4. HCMS will owe Highland $159,454.92 in accrued but unpaid principal and

 interest due under HCMS’s Fourth Demand Note (issued on June 26, 2019), as of

 August 8, 2022, after application of all payments to outstanding principal and

 interest. As of August 9, 2022, interest will continue to accrue on HCMS’s Fourth

 Demand Note at the rate of $10.32 per day and will increase to $10.57 per day on

 June 26, 2023.

       5. HCMS will owe Highland $6,071,718.32 in accrued but unpaid principal and

 interest due under the HCMS Term Note (issued on May 31, 2017), as of August 8,

 2022, after application of all payments to outstanding principal and interest. As of

 August 9, 2022, interest will continue to accrue on the HCMS Term Note at the rate

 of $455.09 per day and will increase to $467.61 per day on May 31, 2023.

       6. In addition to the forgoing, and pursuant to the terms of each applicable

 Note, HCMS shall pay to Highland the amount of $331,036.73, which is its pro rata

 allocation (based on the ratio of the outstanding principal and interest owed by HCMS

 to Highland as of August 8, 2022, to the total principal and interest owed by all Note

 Maker Defendants to Highland as of August 8, 2022) of the total allocable and actual

 expenses of collection, including attorneys’ fees and costs, incurred by Highland.

       IT IS ORDERED, ADJUDGED, AND DECREED that Highland recover the

 following from NexPoint Real Estate Partners, LLC (f/k/a HCRE Partners, LLC)

 (“NexPoint Real Estate”):




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       1. NexPoint Real Estate will owe Highland $195,476.70 in accrued but unpaid

 principal and interest due under HCRE’s First Demand Note (issued on November

 27, 2013), as of August 8, 2022, after application of all payments to outstanding

 principal and interest. As of August 9, 2022, interest will continue to accrue on

 HCRE’s First Demand Note at the rate of $40.58 per day and will increase to $43.83

 per day on November 27, 2022.

       2. NexPoint Real Estate will owe Highland $3,551,285.37 in accrued but

 unpaid principal and interest due under HCRE’s Second Demand Note (issued on

 October 12, 2017), as of August 8, 2022, after application of all payments to

 outstanding principal and interest. As of August 9, 2022, interest will continue to

 accrue on HCRE’s Second Demand Note at the rate of $730.34 per day and will

 increase to $788.77 per day on October 12, 2022.

       3. NexPoint Real Estate will owe Highland $986,472.32 in accrued but unpaid

 principal and interest due under HCRE’s Third Demand Note (issued on October 15,

 2018), as of August 8, 2022, after application of all payments to outstanding principal

 and interest. As of August 9, 2022, interest will continue to accrue on HCRE’s Third

 Demand Note at the rate of $203.00 per day and will increase to $219.24 per day on

 October 15, 2022.

       4. NexPoint Real Estate will owe Highland $866,600.77 in accrued but unpaid

 principal and interest due under HCRE’s Fourth Demand Note (issued on September

 25, 2019), as of August 8, 2022, after application of all payments to outstanding

 principal and interest. As of August 9, 2022, interest will continue to accrue under




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 HCRE’s Fourth Demand Note at the rate of $177.60 per day and will increase to

 $191.81 per day on September 25, 2022.

       5. NexPoint Real Estate will owe Highland $6,196,688.51 in accrued but

 unpaid principal and interest due under the HCRE Term Note (issued on May 31,

 2017), as of August 8, 2022, after application of all payments to outstanding principal

 and interest. As of August 9, 2022, interest will continue to accrue on the HCRE

 Term Note at the rate of $1,337.94 per day and will increase to $1,444.98 per day on

 May 31, 2023.

       6. In addition to the forgoing, and pursuant to the terms of each applicable

 Note, NexPoint Real Estate shall pay to Highland the amount of $554,248.69, which

 is its pro rata allocation (based on the ratio of the outstanding principal and interest

 owed by NexPoint Real Estate to Highland as of August 8, 2022, to the total principal

 and interest owed by all Note Maker Defendants to Highland as of August 8, 2022) of

 the total allocable and actual expenses of collection, including attorneys’ fees and

 costs, incurred by Highland.

                                        *****

       The amounts set forth to be paid in this Final Judgment shall bear interest,

 pursuant to 28 U.S.C. § 1961, from the date of the entry of this Final Judgment, at a

 rate of 5.35%. Interest shall be computed daily to the date of payment, except as

 provided in 28 U.S.C. § 2516(b) and 31 U.S.C. § 1304(b), and shall be compounded

 annually.




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       IT IS SO ORDERED, this 6th day of July, 2023.



                                             ____________________________________
                                             BRANTLEY STARR
                                             UNITED STATES DISTRICT JUDGE




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                                IN THE UNITED STATES DISTRICT COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                          DALLAS DIVISION

      In re                                               §
                                                          §   Civ. Act. No. 3:21-cv-0881-x
      HIGHLAND CAPITAL MANAGEMENT,                        §
      L.P.                                                §   Consolidated with:
                                                          §   3:21-cv-0880-x
                Reorganized Debtor/Plaintiff,             §   3:21-cv-1010-x
                                                          §   3:21-cv-1378-x
      v.                                                  §   3:21-cv-1379-x
                                                          §   3:21-cv-3160-x
      NEXPOINT ASSET MANAGEMENT,                          §   3:21-cv-3162-x
      L.P. (f/k/a HIGHLAND CAPITAL                        §   3:21-cv-3179-x
      MANAGEMENT FUND ADVISORS,                           §   3:21-cv-3207-x
      L.P.), et al.,                                          3:22-cv-0789-x

                Defendants.

                NOTICE OF APPEAL TO UNITED STATES COURT OF APPEALS
                               FOR THE FIFTH CIRCUIT

              Highland Capital Management Services, Inc. (“HCMS”), defendant in Civ. Act. No.

     3:22-cv-0881-x (consolidated with the above-captioned matters) and the adversary proceeding

     styled Highland Capital Management, L.P. vs. Highland Capital Management Services, Inc.,

     et al., Adversary Proceeding No. 21-03006-sgj, appeals to the United States Court of Appeals

     for the Fifth Circuit from the following orders of the District Court for the Northern District

     of Texas: (1) the AMENDED FINAL JUDGMENT AGAINST HIGHLAND CAPITAL

     MANAGEMENT SERVICES, INC. entered in this consolidated case as Dkt. 147 on August

     3, 2023, and (2) Electronic Orders Dkt. 129 and Dkt. 131 (clarified by Electronic Order Dkt.

     135, entered on July 6, 2023) which denied as moot the Motion for Ruling on Pending

     Objections (addressing, inter alia, an Objection to Order Denying Motions to Extend Expert

     Disclosure and Discovery Deadlines).




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              The parties to the judgment appealed from and the names and addresses of their

     respective attorneys are as follows:

     Plaintiff Highland Capital Management, L.P.

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     Dated: September 1, 2023

                                  Respectfully submitted,

                                  /s/ Deborah Deitsch-Perez
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                                  Attorneys for Defendant Highland Capital Management
                                  Services, Inc.

                                  CERTIFICATE OF SERVICE

             The undersigned hereby certifies that, on September 1, 2023, a true and correct copy
     of the foregoing document was served via the Court’s CM/ECF system on all parties registered
     to receive electronic notices in this case.

                                          /s/ Deborah Deitsch-Perez
                                          Deborah Deitsch-Perez




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                                IN THE UNITED STATES DISTRICT COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                          DALLAS DIVISION

      In re                                              §
                                                         §   Civ. Act. No. 3:21-cv-0881-x
      HIGHLAND CAPITAL MANAGEMENT,                       §
      L.P.                                               §   Consolidated with:
                                                         §   3:21-cv-0880-x
                Reorganized Debtor/Plaintiff,            §   3:21-cv-1010-x
                                                         §   3:21-cv-1378-x
      v.                                                 §   3:21-cv-1379-x
                                                         §   3:21-cv-3160-x
      NEXPOINT ASSET MANAGEMENT,                         §   3:21-cv-3162-x
      L.P. (f/k/a HIGHLAND CAPITAL                       §   3:21-cv-3179-x
      MANAGEMENT FUND ADVISORS,                          §   3:21-cv-3207-x
      L.P.), et al.,                                         3:22-cv-0789-x

                Defendants.

                NOTICE OF APPEAL TO UNITED STATES COURT OF APPEALS
                               FOR THE FIFTH CIRCUIT

              James Dondero (“Dondero”), defendant in Civ. Act. No. 3:22-cv-0881-x (consolidated

     with the above-captioned matters) and the adversary proceeding styled Highland Capital

     Management, L.P. vs. James Dondero, et al., Adversary Proceeding No. 21-03003-sgj,

     appeals to the United States Court of Appeals for the Fifth Circuit from the following orders

     of the District Court for the Northern District of Texas: (1) the AMENDED FINAL

     JUDGMENT AGAINST JAMES DONDERO entered in this consolidated case as Dkt. 148

     on August 3, 2023, and (2) Electronic Orders Dkt. 129 and Dkt. 131 (clarified by Electronic

     Order Dkt. 135, entered on July 6, 2023) which denied as moot the Motion for Ruling on

     Pending Objections (addressing, inter alia, an Objection to Order Denying Motions to Extend

     Expert Disclosure and Discovery Deadlines).

              The parties to the judgment appealed from and the names and addresses of their

     respective attorneys are as follows:


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     Plaintiff Highland Capital Management, L.P.

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     Defendant James Dondero

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     Dated: September 1, 2023

                                  Respectfully submitted,

                                  /s/ Deborah Deitsch-Perez
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                                  Dallas, Texas 75201
                                  (214) 560-2201 telephone
                                  (214) 560-2203 facsimile

                                  Attorneys for Defendant James Dondero


                                  CERTIFICATE OF SERVICE

             The undersigned hereby certifies that, on September 1, 2023, a true and correct copy
     of the foregoing document was served via the Court’s CM/ECF system on all parties registered
     to receive electronic notices in this case.

                                          /s/ Deborah Deitsch-Perez
                                          Deborah Deitsch-Perez




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                                IN THE UNITED STATES DISTRICT COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                          DALLAS DIVISION

      In re                                             §
                                                        §   Civ. Act. No. 3:21-cv-0881-x
      HIGHLAND CAPITAL MANAGEMENT,                      §
      L.P.                                              §   Consolidated with:
                                                        §   3:21-cv-0880-x
                Reorganized Debtor/Plaintiff,           §   3:21-cv-1010-x
                                                        §   3:21-cv-1378-x
      v.                                                §   3:21-cv-1379-x
                                                        §   3:21-cv-3160-x
      NEXPOINT ASSET MANAGEMENT,                        §   3:21-cv-3162-x
      L.P. (f/k/a HIGHLAND CAPITAL                      §   3:21-cv-3179-x
      MANAGEMENT FUND ADVISORS,                         §   3:21-cv-3207-x
      L.P.), et al.,                                        3:22-cv-0789-x

                Defendants.

                NOTICE OF APPEAL TO UNITED STATES COURT OF APPEALS
                               FOR THE FIFTH CIRCUIT

              NexPoint Real Estate Partners, LLC (f/k/a HCRE Partners, LLC) (“HCRE”),

     defendant in Civ. Act. No. 3:22-cv-0881-x (consolidated with the above-captioned matters)

     and the adversary proceeding styled Highland Capital Management, L.P. vs. HCRE Partners,

     LLC (n/k/a NexPoint Real Estate Partners, LLC, et al., Adversary Proceeding No. 21-03007-

     sgj, appeals to the United States Court of Appeals for the Fifth Circuit from the following

     orders of the District Court for the Northern District of Texas: (1) the AMENDED FINAL

     JUDGMENT AGAINST NEXPOINT REAL ESTATE PARTNERS, LLC (f/k/a HCRE

     PARTNERS, LLC) entered in this consolidated case as Dkt. 146 on August 3, 2023, and (2)

     Electronic Orders Dkt. 129 and Dkt. 131 (clarified by Electronic Order Dkt. 135, entered on

     July 6, 2023) which denied as moot the Motion for Ruling on Pending Objections (addressing,

     inter alia, an Objection to Order Denying Motions to Extend Expert Disclosure and Discovery

     Deadlines).


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              The parties to the judgment appealed from and the names and addresses of their

     respective attorneys are as follows:

     Plaintiff Highland Capital Management, L.P.

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     Defendant NexPoint Real Estate Partners, LLC (f/k/a HCRE Partners, LLC)

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     Dated: September 1, 2023

                                  Respectfully submitted,

                                  /s/ Deborah Deitsch-Perez
                                  Deborah Deitsch-Perez
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                                  (214) 560-2201 telephone
                                  (214) 560-2203 facsimile

                                  Attorneys for Defendant NexPoint Real Estate Partners, LLC
                                  (f/k/a HCRE Partners, LLC)


                                  CERTIFICATE OF SERVICE

             The undersigned hereby certifies that, on September 1, 2023, a true and correct copy
     of the foregoing document was served via the Court’s CM/ECF system on all parties registered
     to receive electronic notices in this case.

                                          /s/ Deborah Deitsch-Perez
                                          Deborah Deitsch-Perez




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                                IN THE UNITED STATES DISTRICT COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                          DALLAS DIVISION

      In re                                              §
                                                         §   Civ. Act. No. 3:21-cv-0881-x
      HIGHLAND CAPITAL MANAGEMENT,                       §
      L.P.                                               §   Consolidated with:
                                                         §   3:21-cv-0880-x
                Reorganized Debtor/Plaintiff,            §   3:21-cv-1010-x
                                                         §   3:21-cv-1378-x
      v.                                                 §   3:21-cv-1379-x
                                                         §   3:21-cv-3160-x
      NEXPOINT ASSET MANAGEMENT,                         §   3:21-cv-3162-x
      L.P. (f/k/a HIGHLAND CAPITAL                       §   3:21-cv-3179-x
      MANAGEMENT FUND ADVISORS,                          §   3:21-cv-3207-x
      L.P.), et al.,                                         3:22-cv-0789-x

                Defendants.

                NOTICE OF APPEAL TO UNITED STATES COURT OF APPEALS
                               FOR THE FIFTH CIRCUIT

              NexPoint Advisors L.P. (“NPA”), defendant in Civ. Act. No. 3:22-cv-0881-x

     (consolidated with the above-captioned matters) and the adversary proceeding styled

     Highland Capital Management, L.P. vs. NexPoint Advisors, L.P., et al., Adversary Proceeding

     No. 21-03005-sgj, appeals to the United States Court of Appeals for the Fifth Circuit from the

     following orders of the District Court for the Northern District of Texas: (1) the AMENDED

     FINAL JUDGMENT AGAINST NEXPOINT ADVISORS L.P. entered in this consolidated

     case as Dkt. 145 on August 3, 2023, and (2) Electronic Orders Dkt. 129 and Dkt. 131 (clarified

     by Electronic Order Dkt. 135, entered on July 6, 2023) which denied as moot the Motion for

     Ruling on Pending Objections (addressing, inter alia, an Objection to Order Denying Motions

     to Extend Expert Disclosure and Discovery Deadlines).

              The parties to the judgment appealed from and the names and addresses of their

     respective attorneys are as follows:


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     Defendant NexPoint Advisors, L.P.

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     Dated:

     September 1, 2023

                                  Respectfully submitted,

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                                  Attorneys for Defendant NexPoint Advisors, L.P.

                                  /s/ Davor Rukavina
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                                  (214) 978-4375 facsimile
                                  Email: drukavina@munsch.com

                                  Attorneys for Defendant NexPoint Advisors, L.P.



                                  CERTIFICATE OF SERVICE

             The undersigned hereby certifies that, on September 1, 2023, a true and correct copy
     of the foregoing document was served via the Court’s CM/ECF system on all parties registered
     to receive electronic notices in this case.

                                          /s/ Deborah Deitsch-Perez
                                          Deborah Deitsch-Perez




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The following constitutes the ruling of the court and has the force and effect therein described.




Signed February 22, 2021
______________________________________________________________________




                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

                                                                       )
         In re:                                                        )   Chapter 11
                                                                       )
         HIGHLAND CAPITAL MANAGEMENT, L.P., 1                          )   Case No. 19-34054-sgj11
                                                                       )
                                          Debtor.                      )

                    ORDER (I) CONFIRMING THE FIFTH AMENDED
                  PLAN OF REORGANIZATION OF HIGHLAND CAPITAL
           MANAGEMENT, L.P. (AS MODIFIED) AND (II) GRANTING RELATED RELIEF


                  The Bankruptcy Court 2 having:
                  a.    entered, on November 24, 2020, the Order (A) Approving the Adequacy of the
                        Disclosure Statement, (B) Scheduling A Hearing to Confirm the Fifth Amended
                        Plan of Reorganization (C) Establishing Deadline for Filing Objections to
                        Confirmation of Plan, (D) Approving Form of Ballots, Voting Deadline and
                        Solicitation Procedures, and (E) Approving Form and Manner of Notice [Docket
                        No. 1476] (the “Disclosure Statement Order”), pursuant to which the Bankruptcy
                        Court approved the adequacy of the Disclosure Statement Relating to the Fifth

     1
      The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
     for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
     2
      Capitalized terms used but not otherwise defined herein have the meanings given to them in the Plan (as defined
     below). The rules of interpretation set forth in Article I of the Plan apply to this Confirmation Order.



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                   Amended Plan of Reorganization of Highland Capital Management, L.P. [Docket
                   No. 1473] (the “Disclosure Statement”) under section 1125 of the Bankruptcy Code
                   and authorized solicitation of the Disclosure Statement;

          b.       set January 5, 2021, at 5:00 p.m. prevailing Central Time (the “Objection
                   Deadline”), as the deadline for filing objections to confirmation of the Fifth
                   Amended Plan of Reorganization of Highland Capital Management, L.P. (As
                   Modified) [Docket No. 1808] (as amended, supplemented or modified, the “Plan”);

          c.       set January 5, 2021, at 5:00 p.m. prevailing Central Time, as the deadline for voting
                   on the Plan (the “Voting Deadline”) in accordance with the Disclosure Statement
                   Order;

          d.       initially set January 13, 2021, at 9:30 a.m. prevailing Central Time, as the date and
                   time to commence the hearing to consider confirmation of the Plan pursuant to
                   Bankruptcy Rules 3017 and 3018, sections 1126, 1128, and 1129 of the Bankruptcy
                   Code, and the Disclosure Statement Order, which hearing was continued to January
                   26, 2021, at 9:30 a.m. prevailing Central Time and further continued to February 2,
                   2021;

          e.       reviewed: (i) the Plan; (ii) the Disclosure Statement; and (iii) Notice of (I) Entry of
                   Order Approving Disclosure Statement; (II) Hearing to Confirm; and (III) Related
                   Important Dates (the “Confirmation Hearing Notice”), the form of which is
                   attached as Exhibit 1-B to the Disclosure Statement Order;

          f.       reviewed: (i) the Debtor’s Notice of Filing of Plan Supplement for the Third
                   Amended Plan of Reorganization of Highland Capital Management, L.P. [Docket
                   No. 1389] filed November 13, 2020; (ii) Debtor’s Notice of Filing of Plan
                   Supplement for the Fifth Amended Plan of Reorganization of Highland Capital
                   Management, L.P. [Docket No. 1606] filed on December 18, 2020; (iii) the
                   Debtor’s Notice of Filing of Plan Supplement for the Fifth Amended Plan of
                   Reorganization of Highland Capital Management, L.P. [Docket No. 1656] filed on
                   January 4, 2021; (iv) Notice of Filing Plan Supplement to the Fifth Amended Plan
                   of Reorganization of Highland Capital Management, L.P. (with Technical
                   Modifications)t dated January 22, 2021 [Docket No. 1811]; and (v) Debtor’s Notice
                   of Filing of Plan Supplement to the Fifth Amended Plan of Reorganization of
                   Highland of Highland Capital Management, L.P. (As Modified) on February 1,
                   2021 [Docket No. 1875]; (collectively, the documents listed in (i) through (v) of
                   this paragraph, the “Plan Supplements”);

          g.       reviewed: (i) the Notice of (I) Executory Contracts and Unexpired Leases to be
                   Assumed by the Debtor Pursuant to the Fifth Amended Plan, (II) Cure Amounts, if
                   Any, and (III) Related Procedures in Connection Therewith filed on December 30,
                   2020 [Docket No. 1648]; (ii) the Second Notice of (I) Executory Contracts and

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                   Unexpired Leases to be Assumed by the Debtor Pursuant to the Fifth Amended
                   Plan, (II) Cure Amounts, if Any, and (III) Related Procedures in Connection
                   Therewith filed on January 11, 2021 [Docket No.1719]; (iii) the Third Notice of
                   (I) Executory Contracts and Unexpired Leases to be Assumed by the Debtor
                   Pursuant to the Fifth Amended Plan, (II) Cure Amounts, if Any, and (III) Related
                   Procedures in Connection Therewith filed on January 15, 2021 [Docket No. 1749];
                   (iv) the Notice of Withdrawal of Certain Executory Contracts and Unexpired
                   Leases from List of Executory Contracts and Unexpired Leases to be Assumed by
                   the Debtor Pursuant to the Fifth Amended Plan [Docket No. 1791]; (v) the Fourth
                   Notice of (I) Executory Contracts and Unexpired Leases to be Assumed by the
                   Debtor Pursuant to the Fifth Amended Plan (II) Cure Amounts, if Any, and (III)
                   Released Procedures in Connection Therewith filed on January 27, 2021 [Docket
                   No. 1847]; (vi) the Notice of Hearing on Agreed Motion to (I) Assume
                   Nonresidential Real Property Lease with Crescent TC Investors, L.P. Upon
                   Confirmation of Plan and (II) Extend Assumption Deadline filed on January 28,
                   2021 [Docket No. 1857]; and (vii) the Fifth Notice of (I) Executory Contracts and
                   Unexpired Leases to be Assumed by the Debtor Pursuant to the Fifth Amended Plan
                   (II) Cure Amounts, if Any, and (III) Released Procedures in Connection Therewith
                   filed on February 1, 2021 [Docket No. 1873] (collectively, the documents referred
                   to in (i) to (vii) are referred to as “List of Assumed Contracts”);

          h.       reviewed: (i) the Debtor’s Memorandum of Law in Support of Confirmation of the
                   Fifth Amended Plan of Reorganization of Highland Capital Management, L.P.
                   [Docket No. 1814] (the “Confirmation Brief”); (ii) the Debtor’s Omnibus Reply to
                   Objections to Confirmation of the Fifth Amended Chapter 11 Plan of
                   Reorganization of Highland Capital Management; [Docket No. 1807]; and (iii) the
                   Certification of Patrick M. Leathem With Respect to the Tabulation of Votes on the
                   Fifth Amended Plan of Reorganization of Highland Capital Management, L.P.
                   [Docket No. 1772] and Supplemental Certification of Patrick M. Leathem With
                   Respect to the Tabulation of Votes on the Fifth Amended Plan of Reorganization of
                   Highland Capital Management, L.P. [Docket No. 1887] filed on February 3, 2021
                   (together, the “Voting Certifications”).

          i.       reviewed: (i) the Notice of Affidavit of Publication dated December 3, 2020 [Docket
                   No. 1505]; (ii) the Certificate of Service dated December 23, 2020 [Docket No.
                   1630]; (iii) the Supplemental Certificate of Service dated December 24, 2020
                   [Docket No. 1637]; (iv) the Second Supplemental Certificate of Service dated
                   December 31, 2020 [Docket No. 1653]; (v) the Certificate of Service dated
                   December 23, 2020 [Docket No. 1627]; (vi) the Certificate of Service dated January
                   6, 2021 [Docket No. 1696]; (vii) the Certificate of Service dated January 7, 2021
                   [Docket No. 1699]; (viii) the Certificate of Service dated January 7, 2021 [Docket
                   No 1700]; (ix) the Certificate of Service dated January 15, 2021 [Docket No. 1761];
                   (x) the Certificate of Service dated January 19, 2021 [Docket No. 1775]; (xi) the


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                   Certificate of Service dated January 20, 2021 [Docket No. 1787]; (xii) the
                   Certificate of Service dated January 26, 2021[Docket No. 1844]; (xiii) the
                   Certificate of Service dated January 27, 2021 [Docket No. 1854]; (xiv) the
                   Certificate of Service dated February 1, 2021 [Docket No. 1879]; (xv) the
                   Certificates of Service dated February 3, 2021 [Docket No. 1891 and 1893]; and
                   (xvi) the Certificates of Service dated February 5, 2021 [Docket Nos. 1906, 1907,
                   1908 and 1909] (collectively, the “Affidavits of Service and Publication”);

          j.       reviewed all filed 3 pleadings, exhibits, statements, and comments regarding
                   approval of the Disclosure Statement and confirmation of the Plan, including all
                   objections, statements, and reservations of rights;

          k.       conducted a hearing to consider confirmation of the Plan, which commenced on
                   February 2, 2021, at 9:30 a.m. prevailing Central Time and concluded on February
                   3, 2021, and issued its oral ruling on February 8, 2021 (collectively, the
                   “Confirmation Hearing);

          l.       heard the statements and arguments made by counsel in respect of confirmation of
                   the Plan and having considered the record of this Chapter 11 Case and taken judicial
                   notice of all papers and pleadings filed in this Chapter 11 Case; and

          m.       considered all oral representations, testimony, documents, filings, and other
                   evidence regarding confirmation of the Plan, including (a) all of the exhibits
                   admitted into evidence; 4 (b) the sworn testimony of (i) James P. Seery, Jr., the
                   Debtor’s Chief Executive Officer and Chief Restructuring Officer and a member of
                   the Board of Directors of Strand Advisors, Inc. (“Strand”), the Debtor’s general
                   partner; (ii) John S. Dubel, a member of the Board of Strand; (iii) Marc Tauber, a
                   Vice President at Aon Financial Services; and (iv) Robert Jason Post, the Chief
                   Compliance Officer of NexPoint Advisors, LP (collectively, the “Witnesses”); (c)
                   the credibility of the Witnesses; and (d) the Voting Certifications.

          NOW, THEREFORE, after due deliberation thereon and good cause appearing therefor,

 the Bankruptcy Court hereby makes and issues the following findings of fact and conclusions of

 law:



 3
  Unless otherwise indicated, use of the term “filed” herein refers also to the service of the applicable document filed
 on the docket in this Chapter 11 Case, as applicable.
 4
   The Court admitted the following exhibits into evidence: (a) all of the Debtor’s exhibits lodged at Docket No. 1822
 (except TTTTT, which was withdrawn by the Debtor); (b) all of the Debtor’s exhibits lodged at Docket No. 1866; (c)
 all of the Debtor’s exhibits lodged at Docket No. 1877; (d) all of the Debtor’s exhibits lodged at Docket No. 1895;
 and (e) Exhibits 6-12 and 15-17 offered by Mr. James Dondero and lodged at Docket No. 1874.


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                        FINDINGS OF FACT AND CONCLUSIONS OF LAW

                   1.          Findings of Fact and Conclusions of Law. The findings and conclusions

 set forth herein, together with the findings of fact and conclusions of law set forth in the record

 during the Confirmation Hearing, constitute the Bankruptcy Court’s findings of fact and

 conclusions of law pursuant to Federal Rule of Civil Procedure 52, made applicable to this

 proceeding pursuant to Bankruptcy Rules 7052 and 9014. To the extent any of the following

 findings of fact constitute conclusions of law, they are adopted as such. To the extent that any of

 the following conclusions of law constitute findings of fact, they are adopted as such.

                   2.          Introduction and Summary of the Plan. Prior to addressing the specific

 requirements under the Bankruptcy Code and Bankruptcy Rules with respect to the confirmation

 of the Plan, the Bankruptcy Court believes it would be useful to first provide the following

 background of the Debtor’s Chapter 11 Case, the parties involved therewith, and some of the major

 events that have transpired culminating in the filing and solicitation of the Plan of this very unusual

 case. Before the Bankruptcy Court is the Debtor’s Fifth Amended Plan of Reorganization of

 Highland Capital Management, L.P., filed on November 24, 2020, as modified on January 22,

 2021 and again on February 1, 2021. The parties have repeatedly referred to the Plan as an “asset

 monetization plan” because it involves the orderly wind-down of the Debtor’s estate, including the

 sale of assets and certain of its funds over time, with the Reorganized Debtor continuing to manage

 certain other funds, subject to the oversight of the Claimant Trust Oversight Board. The Plan

 provides for a Claimant Trust to, among other things, manage and monetize the Claimant Trust

 Assets for the benefit of the Debtor’s economic stakeholders. The Claimant Trustee is responsible



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 for this process, among other duties specified in the Plan’s Claimant Trust Agreement. There is

 also anticipated to be a Litigation Sub-trust established for the purpose of pursuing certain

 avoidance or other causes of action for the benefit of the Debtor’s economic constituents.

                   3.          Confirmation Requirements Satisfied. The Plan is supported by the

 Committee and all claimants with Convenience Claims (i.e., general unsecured claims under $1

 million) who voted in Class 7. Claimants with Class 8 General Unsecured Claims, however, voted

 to reject the Plan because, although the Plan was accepted by 99.8% of the amount of Claims in

 that class, only 17 claimants voted to accept the Plan while 27 claimants voted to reject the Plan.

 As a result of such votes, and because Mr. Dondero and the Dondero Related Entities (as defined

 below) objected to the Plan on a variety of grounds primarily relating to the Plan’s release,

 exculpation and injunction provisions, the Bankruptcy Court heard two full days of evidence on

 February 2 and 3, 2021, and considered testimony from five witnesses and thousands of pages of

 documentary evidence in determining whether the Plan satisfies the confirmation standards

 required under the Bankruptcy Code. The Bankruptcy Court finds and concludes that the Plan

 meets all of the relevant requirements of sections 1123, 1124, and 1129, and other applicable

 provisions of the Bankruptcy Code, as more fully set forth below with respect to each of the

 applicable confirmation requirements.

                   4.          Not Your Garden Variety Debtor. The Debtor’s case is not a garden

 variety chapter 11 case. The Debtor is a multibillion-dollar global investment adviser registered

 with the SEC, pursuant to the Investment Advisers Act of 1940. It was founded in 1993 by James

 Dondero and Mark Okada. Mark Okada resigned from his role with Highland prior to the



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 bankruptcy case being filed on October 16, 2019 (the “Petition Date”). Mr. Dondero controlled

 the Debtor as of the Petition Date but agreed to relinquish control of it on or about January 9, 2020,

 pursuant to an agreement reached with the Committee, as described below. Although Mr. Dondero

 remained with the Debtor as an unpaid employee/portfolio manager after January 9, 2020, his

 employment with the Debtor terminated on October 9, 2020. Mr. Dondero continues to work for

 and/or control numerous non-debtor entities in the complex Highland enterprise.

                   5.          The Debtor. The Debtor is headquartered in Dallas, Texas. As of the

 Petition Date, the Debtor employed approximately 76 employees. The Debtor is privately-owned:

 (a) 99.5% by the Hunter Mountain Investment Trust; (b) 0.1866% by The Dugaboy Investment

 Trust, a trust created to manage the assets of Mr. Dondero and his family; (c) 0.0627% by Mark

 Okada, personally and through family trusts; and (d) 0.25% by Strand, the Debtor’s general

 partner.

                   6.          The Highland Enterprise. Pursuant to various contractual arrangements,

 the Debtor provides money management and advisory services for billions of dollars of assets,

 including collateralized loan obligation vehicles (“CLOs”), and other investments. Some of these

 assets are managed by the Debtor pursuant to shared services agreements with certain affiliated

 entities, including other affiliated registered investment advisors. In fact, there are approximately

 2,000 entities in the byzantine complex of entities under the Highland umbrella. None of these

 affiliated entities filed for chapter 11 protection. Most, but not all, of these entities are not

 subsidiaries (direct or indirect) of the Debtor. Many of the Debtor’s affiliated companies are




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 offshore entities, organized in jurisdictions such as the Cayman Islands and Guernsey. See

 Disclosure Statement, at 17-18.

                   7.          Debtor’s Operational History. The Debtor’s primary means of generating

 revenue has historically been from fees collected for the management and advisory services

 provided to funds that it manages, plus fees generated for services provided to its affiliates. For

 additional liquidity, the Debtor, prior to the Petition Date, would sell liquid securities in the

 ordinary course, primarily through a brokerage account at Jefferies, LLC. The Debtor would also,

 from time to time, sell assets at non-Debtor subsidiaries and cause those proceeds to be distributed

 to the Debtor in the ordinary course of business. The Debtor’s current Chief Executive Officer,

 James P. Seery, Jr., credibly testified at the Confirmation Hearing that the Debtor was “run at a

 deficit for a long time and then would sell assets or defer employee compensation to cover its

 deficits.” The Bankruptcy Court cannot help but wonder if that was necessitated because of

 enormous litigation fees and expenses incurred by the Debtor due to its culture of litigation—as

 further addressed below.

                   8.          Not Your Garden Variety Creditor’s Committee. The Debtor and this

 chapter 11 case are not garden variety for so many reasons. One of the most obvious standouts in

 this case is the creditor constituency. The Debtor did not file for bankruptcy because of any of the

 typical reasons that large companies file chapter 11. For example, the Debtor did not have a large,

 asset-based secured lender with whom it was in default; it only had relatively insignificant secured

 indebtedness owing to Jeffries, with whom it had a brokerage account, and one other entity,

 Frontier State Bank. The Debtor also did not have problems with its trade vendors or landlords.



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 The Debtor also did not suffer any type of catastrophic business calamity. In fact, the Debtor filed

 for Chapter 11 protection six months before the onset of the COVID-19 pandemic. Rather, the

 Debtor filed for Chapter 11 protection due to a myriad of massive, unrelated, business litigation

 claims that it faced—many of which had finally become liquidated (or were about to become

 liquidated) after a decade or more of contentious litigation in multiple forums all over the world.

 The Committee in this case has referred to the Debtor—under its former chief executive, Mr.

 Dondero—as a “serial litigator.” The Bankruptcy Court agrees with that description. By way of

 example, the members of the Committee (and their history of litigation with the Debtor and others

 in the Highland complex) are as follows:

          a.       The Redeemer Committee of the Highland Crusader Fund (the “Redeemer
                   Committee”). This Committee member obtained an arbitration award against the
                   Debtor in the amount of $190,824,557, inclusive of interest, approximately five
                   months before the Petition Date, from a panel of the American Arbitration
                   Association. It was on the verge of having that award confirmed by the Delaware
                   Chancery Court immediately prior to the Petition Date, after years of disputes that
                   started in late 2008 (and included legal proceedings in Bermuda). This creditor’s
                   claim was settled during this Chapter 11 Case in the amount of approximately
                   $137,696,610 (subject to other adjustments and details not relevant for this
                   purpose).

          b.       Acis Capital Management, L.P., and Acis Capital Management GP, LLC
                   (“Acis”). Acis was formerly in the Highland complex of companies, but was not
                   affiliated with Highland as of the Petition Date. This Committee member and its
                   now-owner, Joshua Terry, were involved in litigation with the Debtor dating back
                   to 2016. Acis was forced by Mr. Terry (who was a former Highland portfolio
                   manager) into an involuntary chapter 11 bankruptcy in the Bankruptcy Court for
                   the Northern District of Texas, Dallas Division before the Bankruptcy Court in
                   2018, after Mr. Terry obtained an approximately $8 million arbitration award and
                   judgment against Acis. Mr. Terry ultimately was awarded the equity ownership of
                   Acis by the Bankruptcy Court in the Acis bankruptcy case. Acis subsequently
                   asserted a multi-million dollar claim against Highland in the Bankruptcy Court for
                   Highland’s alleged denuding of Acis to defraud its creditors—primarily Mr. Terry.
                   The litigation involving Acis and Mr. Terry dates back to mid-2016 and has


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                   continued on with numerous appeals of Bankruptcy Court orders, including one
                   appeal still pending at the Fifth Circuit Court of Appeals. There was also litigation
                   involving Mr. Terry and Acis in the Royal Court of the Island of Guernsey and in
                   a state court in New York. The Acis claim was settled during this Chapter 11 Case,
                   in Bankruptcy Court-ordered mediation, for approximately $23 million (subject to
                   other details not relevant for this purpose), and is the subject of an appeal being
                   pursued by Mr. Dondero.

          c.       UBS Securities LLC and UBS AG London Branch (“UBS”). UBS is a
                   Committee member that filed a proof of claim in the amount of $1,039,957,799.40
                   in this Chapter 11 Case. The UBS Claim was based on a judgment that UBS
                   received from a New York state court in 2020. The underlying decision was issued
                   in November 2019, after a multi-week bench trial (which had occurred many
                   months earlier) on a breach of contract claim against non-Debtor entities in the
                   Highland complex. The UBS litigation related to activities that occurred in 2008
                   and 2009. The litigation involving UBS and Highland and affiliates was pending
                   for more than a decade (there having been numerous interlocutory appeals during
                   its history). The Debtor and UBS recently announced an agreement in principle for
                   a settlement of the UBS claim (which came a few months after Bankruptcy Court-
                   ordered mediation) which will be subject to a 9019 motion to be filed with the
                   Bankruptcy Court on a future date.

          d.       Meta-E Discovery (“Meta-E”). Meta-E is a Committee member that is a vendor
                   who happened to supply litigation and discovery-related services to the Debtor over
                   the years. It had unpaid invoices on the Petition Date of more than $779,000.

 It is fair to say that the members of the Committee in this case all have wills of steel. They fought

 hard before and during this Chapter 11 Case. The members of the Committee, all of whom have

 volunteered to serve on the Claimant Trust Oversight Board post-confirmation, are highly

 sophisticated and have had highly sophisticated professionals representing them. They have

 represented their constituency in this case as fiduciaries extremely well.

                   9.          Other Key Creditor Constituents. In addition to the Committee members

 who were all embroiled in years of litigation with Debtor and its affiliates in various ways, the

 Debtor has been in litigation with Patrick Daugherty, a former limited partner and employee of the

 Debtor, for many years in both Delaware and Texas state courts. Mr. Daugherty filed an amended


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 proof of claim in this Chapter 11 Case for $40,710,819.42 relating to alleged breaches of

 employment-related agreements and for defamation arising from a 2017 press release posted by

 the Debtor. The Debtor and Mr. Daugherty recently announced a settlement of Mr. Daugherty’s

 claim pursuant to which he will receive $750,000 in cash on the Effective Date of the Plan, an

 $8.25 million general unsecured claim, and a $2.75 million subordinated claim (subject to other

 details not relevant for this purpose). Additionally, entities collectively known as “HarbourVest”

 invested more than $70 million with an entity in the Highland complex and asserted a $300 million

 proof of claim against the Debtor in this case, alleging, among other things, fraud and RICO

 violations. HarbourVest’s claim was settled during the bankruptcy case for a $45 million general

 unsecured claim and a $35 million subordinated claim, and that settlement is also being appealed

 by a Dondero Entity.

                   10.         Other Claims Asserted. Other than the Claims just described, most of the

 other Claims in this Chapter 11 Case are Claims asserted against the Debtor by: (a) entities in the

 Highland complex—most of which entities the Bankruptcy Court finds to be controlled by Mr.

 Dondero; (b) employees who contend that are entitled to large bonuses or other types of deferred

 compensation; and (c) numerous law firms that worked for the Debtor prior to the Petition Date

 and had outstanding amounts due for their prepetition services.

                   11.         Not Your Garden Variety Post-Petition Corporate Governance

 Structure. Yet another reason this is not your garden variety chapter 11 case is its post-petition

 corporate governance structure. Immediately from its appointment, the Committee’s relationship

 with the Debtor was contentious at best. First, the Committee moved for a change of venue from



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 Delaware to Dallas. Second, the Committee (and later, the United States Trustee) expressed its

 then-desire for the appointment of a chapter 11 trustee due to its concerns over and distrust of Mr.

 Dondero, his numerous conflicts of interest, and his history of alleged mismanagement (and

 perhaps worse).

                   12.         Post-Petition Corporate Governance Settlement with Committee. After

 spending many weeks under the threat of the potential appointment of a trustee, the Debtor and

 Committee engaged in substantial and lengthy negotiations resulting in a corporate governance

 settlement approved by the Bankruptcy Court on January 9, 2020. 5 As a result of this settlement,

 among other things, Mr. Dondero relinquished control of the Debtor and resigned his positions as

 an officer or director of the Debtor and its general partner, Strand. As noted above, Mr. Dondero

 agreed to this settlement pursuant a stipulation he executed, 6 and he also agreed not to cause any

 Related Entity (as defined in the Settlement Motion) to terminate any agreements with the Debtor.

 The January 9 Order also (a) required that the Bankruptcy Court serve as “gatekeeper” prior to the

 commencement of any litigation against the three independent board members appointed to

 oversee and lead the Debtor’s restructuring in lieu of Mr. Dondero and (b) provided for the

 exculpation of those board members by limiting claims subject to the “gatekeeper” provision to

 those alleging willful misconduct and gross negligence.



 5
  This order is hereinafter referred to as the “January 9 Order” and was entered by the Court on January 9, 2020
 [Docket No. 339] pursuant to the Motion of the Debtor to Approve Settlement with Official Committee of Unsecured
 Creditors Regarding the Governance of the Debtor and Procedures for Operation in the Ordinary Course [Docket
 No. 281] (the “Settlement Motion”).
 6
   See Stipulation in Support of Motion of the Debtor for Approval of Settlement With the Official Committee of
 Unsecured Creditors Regarding Governance of the Debtor and Procedures for Operations in Ordinary Course
 [Docket No. 338] (the “Stipulation”).


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                   13.         Appointment of Independent Directors. As part of the Bankruptcy

 Court-approved settlement, three eminently qualified independent directors were chosen to lead

 Highland through its Chapter 11 Case. They are: James P. Seery, Jr., John S. Dubel (each chosen

 by the Committee), and Retired Bankruptcy Judge Russell Nelms. These three individuals are

 each technically independent directors of Strand (Mr. Dondero had previously been the sole

 director of Strand and, thus, the sole person in ultimate control of the Debtor). The three

 independent board members’ resumes are in evidence. The Bankruptcy Court later approved Mr.

 Seery’s appointment as the Debtor’s Chief Executive Officer, Chief Restructuring Officer, and

 Foreign Representative.          Suffice it to say that this settlement and the appointment of the

 independent directors changed the entire trajectory of the case and saved the Debtor from the

 appointment of a trustee. The Bankruptcy Court and the Committee each trusted the independent

 directors. They were the right solution at the right time. Because of the unique character of the

 Debtor’s business, the Bankruptcy Court believed the appointment of three qualified independent

 directors was a far better outcome for creditors than the appointment of a conventional chapter 11

 trustee. Each of the independent directors brought unique qualities to the table. Mr. Seery, in

 particular, knew and had vast experience at prominent firms with high-yield and distressed

 investing similar to the Debtor’s business. Mr. Dubel had 40 years of experience restructuring

 large complex businesses and serving on boards in this context. And Retired Judge Nelms had not

 only vast bankruptcy experience but seemed particularly well-suited to help the Debtor maneuver

 through conflicts and ethical quandaries. By way of comparison, in the chapter 11 case of Acis,

 the former affiliate of Highland that the Bankruptcy Court presided over and which company was



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 much smaller in size and scope than Highland (managing only 5-6 CLOs), the creditors elected a

 chapter 11 trustee who was not on the normal trustee rotation panel in this district but, rather, was

 a nationally known bankruptcy attorney with more than 45 years of large chapter 11 experience.

 While the Acis chapter 11 trustee performed valiantly, he was sued by entities in the Highland

 complex shortly after he was appointed (which the Bankruptcy Court had to address). The Acis

 trustee was also unable to persuade the Debtor and its affiliates to agree to any actions taken in the

 case, and he finally obtained confirmation of Acis’ chapter 11 plan over the objections of the

 Debtor and its affiliates on his fourth attempt (which confirmation was promptly appealed).

                   14.         Conditions Required by Independent Directors. Given the experiences

 in Acis and the Debtor’s culture of constant litigation, it was not as easy to get such highly qualified

 persons to serve as independent board members and, later, as the Debtor’s Chief Executive Officer,

 as it would be in an ordinary chapter 11 case. The independent board members were stepping into

 a morass of problems. Naturally, they were worried about getting sued no matter how defensible

 their efforts—given the litigation culture that enveloped Highland historically. Based on the

 record of this Case and the proceedings in the Acis chapter 11 case, it seemed as though everything

 always ended in litigation at Highland. The Bankruptcy Court heard credible testimony that none

 of the independent directors would have taken on the role of independent director without (1) an

 adequate directors and officers’ (“D&O”) insurance policy protecting them; (2) indemnification

 from Strand that would be guaranteed by the Debtor; (3) exculpation for mere negligence claims;

 and (4) a gatekeeper provision prohibiting the commencement of litigation against the independent

 directors without the Bankruptcy Court’s prior authority. This gatekeeper provision was also



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 included in the Bankruptcy Court’s order authorizing the appointment of Mr. Seery as the Debtor’s

 Chief Executive Officer, Chief Restructuring Officer, and Foreign Representative entered on

 July 16, 2020. 7 The gatekeeper provisions in both the January 9 Order and July 16 Order are

 precisely analogous to what bankruptcy trustees have pursuant to the so-called “Barton Doctrine”

 (first articulated in an old Supreme Court case captioned Barton v. Barbour, 104 U.S. 126 (1881)).

 The Bankruptcy Court approved all of these protections in the January 9 Order and the July 16

 Order, and no one appealed either of those orders. As noted above, Mr. Dondero signed the

 Stipulation that led to the settlement that was approved by the January 9 Order. The Bankruptcy

 Court finds that, like the Committee, the independent board members have been resilient and

 unwavering in their efforts to get the enormous problems in this case solved. They seem to have

 at all times negotiated hard and in good faith, which culminated in the proposal of the Plan

 currently before the Bankruptcy Court. As noted previously, they completely changed the

 trajectory of this case.

                   15.         Not Your Garden Variety Mediators. And still another reason why this

 was not your garden variety case was the mediation effort. In the summer of 2020, roughly nine

 months into the chapter 11 case, the Bankruptcy Court ordered mediation among the Debtor, Acis,

 UBS, the Redeemer Committee, and Mr. Dondero. The Bankruptcy Court selected co-mediators

 because mediation among these parties seemed like such a Herculean task—especially during

 COVID-19 where people could not all be in the same room. Those co-mediators were: Retired



 7
  See Order Approving the Debtor’s Motion Under Bankruptcy Code Sections 105(a) and 363(b) Authorizing
 Retention of James P. Seery, Jr., as Chief Executive Officer, Chief Restructuring Officer, and Foreign Representative
 Nunc Pro Tunc to March 15, 2020 [Docket No. 854] entered on July 16, 2020 (the “July 16 Order”)


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 Bankruptcy Judge Alan Gropper from the Southern District of New York, who had a distinguished

 career presiding over complex chapter 11 cases, and Ms. Sylvia Mayer, who likewise has had a

 distinguished career, first as a partner at a preeminent law firm working on complex chapter 11

 cases, and subsequently as a mediator and arbitrator in Houston, Texas. As noted earlier, the

 Redeemer Committee and Acis claims were settled during the mediation—which seemed nothing

 short of a miracle to the Bankruptcy Court—and the UBS claim was settled several months later

 and the Bankruptcy Court believes the ground work for that ultimate settlement was laid, or at

 least helped, through the mediation. And, as earlier noted, other significant claims have been

 settled during this case, including those of HarbourVest (who asserted a $300 million claim) and

 Patrick Daugherty (who asserted a $40 million claim). The Bankruptcy Court cannot stress

 strongly enough that the resolution of these enormous claims—and the acceptance by all of these

 creditors of the Plan that is now before the Bankruptcy Court—seems nothing short of a miracle.

 It was more than a year in the making.

                   16.         Not Your Garden Variety Plan Objectors (That Is, Those That

 Remain). Finally, a word about the current, remaining objectors to the Plan before the Bankruptcy

 Court. Once again, the Bankruptcy Court will use the phrase “not your garden variety”, which

 phrase applies to this case for many reasons. Originally, there were over a dozen objections filed

 to the Plan. The Debtor then made certain amendments or modifications to the Plan to address

 some of these objections, none of which require further solicitation of the Plan for reasons set forth

 in more detail below. The only objectors to the Plan left at the time of the Confirmation Hearing




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 were Mr. Dondero [Docket No. 1661] and entities that the Bankruptcy Court finds are owned

 and/or controlled by him and that filed the following objections:

          a.       Objection to Confirmation of the Debtor’s Fifth Amended Plan of Reorganization
                   (filed by Get Good Trust and The Dugaboy Investment Trust) [Docket No. 1667];

          b.       Objection to Confirmation of Fifth Amended Plan of Reorganization of Highland
                   Capital Management, L.P. (filed by Highland Capital Management Fund Advisors,
                   L.P., Highland Fixed Income Fund, Highland Funds I and its series, Highland
                   Funds II and its series, Highland Global Allocation Fund, Highland Healthcare
                   Opportunities Fund, Highland Income Fund, Highland Merger Arbitrate Fund,
                   Highland Opportunistic Credit Fund, Highland Small-Cap Equity Fund, Highland
                   Socially Responsible Equity Fund, Highland Total Return Fund, Highland/iBoxx
                   Senior Loan ETF, NexPoint Advisors, L.P., NexPoint Capital, Inc., NexPoint Real
                   Estate Strategies Fund, NexPoint Strategic Opportunities Fund) [Docket No.
                   1670];

          c.       A Joinder to the Objection filed at 1670 by: NexPoint Real Estate Finance Inc.,
                   NexPoint Real Estate Capital, LLC, NexPoint Residential Trust, Inc., NexPoint
                   Hospitality Trust, NexPoint Real Estate Partners, LLC, NexPoint Multifamily
                   Capital Trust, Inc., VineBrook Homes Trust, Inc., NexPoint Real Estate Advisors,
                   L.P., NexPoint Real Estate Advisors II, L.P., NexPoint Real Estate Advisors III,
                   L.P., NexPoint Real Estate Advisors IV, L.P., NexPoint Real Estate Advisors V,
                   L.P., NexPoint Real Estate Advisors VI, L.P., NexPoint Real Estate Advisors VII,
                   L.P., NexPoint Real Estate Advisors VIII, L.P., and any funds advised by the
                   foregoing [Docket No. 1677];

          d.       NexPoint Real Estate Partners LLC’s Objection to Debtor’s Fifth Amended Plan
                   of Reorganization (filed by NexPoint Real Estate Partners LLC f/k/a HCRE
                   Partners LLC) [Docket No. 1673]; and

          e.       NexBank’s Objection to Debtor’s Fifth Amended Plan of Reorganization (filed by
                   NexBank Title, Inc., NexBank Securities, Inc., NexBank Capital, Inc., and
                   NexBank) [Docket No. 1676]. The entities referred to in (i) through (v) of this
                   paragraph are hereinafter referred to as the “Dondero Related Entities”).

                   17.         Questionability of Good Faith as to Outstanding Confirmation

 Objections. Mr. Dondero and the Dondero Related Entities technically have standing to object to

 the Plan, but the remoteness of their economic interests is noteworthy, and the Bankruptcy Court



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 questions the good faith of Mr. Dondero’s and the Dondero Related Entities’ objections. In fact,

 the Bankruptcy Court has good reason to believe that these parties are not objecting to protect

 economic interests they have in the Debtor but to be disruptors. Mr. Dondero wants his company

 back. This is understandable, but it is not a good faith basis to lob objections to the Plan. As

 detailed below, the Bankruptcy Court has slowed down plan confirmation multiple times and urged

 the parties to talk to Mr. Dondero in an attempt to arrive at what the parties have repeatedly referred

 to as a “grand bargain,” the ultimate goal to resolve the Debtor’s restructuring. The Debtor and

 the Committee represent that they have communicated with Mr. Dondero regarding a grand

 bargain settlement, and the Bankruptcy Court believes that they have.

                   18.         Remote Interest of Outstanding Confirmation Objectors. To be specific

 about the remoteness of Mr. Dondero’s and the Dondero Related Entities’ interests, the Bankruptcy

 Court will address them each separately. First, Mr. Dondero has a pending objection to the Plan.

 Mr. Dondero’s only economic interest with regard to the Debtor is an unliquidated indemnification

 claim (and, based on everything the Bankruptcy Court has heard, his indemnification claims would

 be highly questionable at this juncture). Mr. Dondero owns no equity in the Debtor directly. Mr.

 Dondero owns the Debtor’s general partner, Strand, which in turn owns a quarter percent of the

 total equity in the Debtor. Second, a joint objection has been filed by The Dugaboy Trust

 (“Dugaboy”) and the Get Good Trust (“Get Good”). The Dugaboy Trust was created to manage

 the assets of Mr. Dondero and his family and owns a 0.1866% limited partnership interest in the

 Debtor. See Disclosure Statement at 7, n.3. The Bankruptcy Court is not clear what economic

 interest the Get Good Trust has, but it likewise seems to be related to Mr. Dondero. Get Good



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 filed three proofs of claim relating to a pending federal tax audit of the Debtor’s 2008 return, which

 the Debtor believes arise from Get Good’s equity security interests and are subject to subordination

 as set forth in its Confirmation Brief. Dugaboy filed three claims against the Debtor: (a) an

 administrative claim relating to the Debtor’s alleged postpetition management of Multi-Strat

 Credit Fund, L.P., (b) a prepetition claim against a subsidiary of the Debtor for which it seeks to

 pierce the corporate veil, each of which the Debtor maintains are frivolous in the Confirmation

 Brief, and (c) a claim arising from its equity security interest in the Debtor, which the Debtor

 asserts should be subordinated. Another group of objectors that has joined together in one

 objection is what the Bankruptcy Court will refer to as the “Highland Advisors and Funds.” See

 Docket No. 1863. The Bankruptcy Court understands they assert disputed administrative expense

 claims against the estate that were filed shortly before the Confirmation Hearing on January 23,

 2021 [Docket No. 1826], and during the Confirmation Hearing on February 3, 2021 [Docket No.

 1888]. At the Confirmation Hearing, Mr. Post testified on behalf of the Highland Advisors and

 Funds that the Funds have independent board members that run the Funds, but the Bankruptcy

 Court was not convinced of their independence from Mr. Dondero because none of the so-called

 independent board members have ever testified before the Bankruptcy Court and all have been

 engaged with the Highland complex for many years. Notably, the Court questions Mr. Post’s

 credibility because, after more than 12 years of service, he abruptly resigned from the Debtor in

 October 2020 at the exact same time that Mr. Dondero resigned at the Board of Directors’ request,

 and he is currently employed by Mr. Dondero. Moreover, Dustin Norris, a witness in a prior

 proceeding (whose testimony was made part of the record at the Confirmation Hearing), recently



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 testified on behalf of the Highland Advisors and Funds in another proceeding that Mr. Dondero

 owned and/or controlled these entities. Finally, various NexBank entities objected to the Plan.

 The Bankruptcy Court does not believe they have liquidated claims against the Debtor. Mr.

 Dondero appears to be in control of these entities as well.

                   19.         Background Regarding Dondero Objecting Parties. To be clear, the

 Bankruptcy Court has allowed all these objectors to fully present arguments and evidence in

 opposition to confirmation, even though their economic interests in the Debtor appear to be

 extremely remote and the Bankruptcy Court questions their good faith.              Specifically, the

 Bankruptcy Court considers them all to be marching pursuant to the orders of Mr. Dondero. In

 the recent past, Mr. Dondero has been subject to a temporary restraining order and preliminary

 injunction by the Bankruptcy Court for interfering with Mr. Seery’s management of the Debtor in

 specific ways that were supported by evidence. Around the time that this all came to light and the

 Bankruptcy Court began setting hearings on the alleged interference, Mr. Dondero’s company

 phone, which he had been asked to turn in to Highland, mysteriously went missing. The

 Bankruptcy Court merely mentions this in this context as one of many reasons that the Bankruptcy

 Court has to question the good faith of Mr. Dondero and his affiliates in raising objections to

 confirmation of the Plan.

                   20.         Other Confirmation Objections. Other than the objections filed by Mr.

 Dondero and the Dondero Related Entities, the only other pending objection to the Plan is the

 United States Trustee’s Limited Objection to Confirmation of Debtor’s Fifth Amended Plan of

 Reorganization [Docket No. 1671], which objected to the Plan’s exculpation, injunction, and



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 Debtor release provisions. In juxtaposition, to these pending objections, the Bankruptcy Court

 notes that the Debtor resolved the following objections to the Plan:

          a.       CLO Holdco, Ltd.’s Joinder to Objection to Confirmation of Fifth Amended Plan
                   of Reorganization of Highland Capital Management, L.P. and Supplemental
                   Objections to Plan Confirmation [Docket No. 1675]. This Objection has been
                   resolved pursuant to mutually agreed language by the parties set forth in paragraph
                   VV of the Confirmation Order;

          b.       Objection of Dallas County, City of Allen, Allen ISD, City of Richardson, and
                   Kaufman County to Confirmation of the Fifth Amended Plan of Reorganization of
                   Highland Capital Management, L.P. [Docket No. 1662]. This Objection has been
                   resolved pursuant to mutually agreed language by the parties set forth in paragraph
                   QQ of the Confirmation Order;

          c.       Senior Employees’ Limited Objection to Debtor’s Fifth Amended Plan of
                   Reorganization (filed by Scott Ellington, Thomas Surgent, Frank Waterhouse,
                   Isaac Leventon) [Docket No. 1669]. This Objection has been resolved pursuant to
                   mutually agreed language by the parties set forth in paragraph 82 and paragraphs
                   RR and SS of the Confirmation Order;

          d.       Limited Objection of Jack Yang and Brad Borud to Fifth Amended Plan of
                   Reorganization of Highland Capital Management, L.P. [Docket No. 1666] and the
                   amended joinder filed by Davis Deadman, Paul Kauffman and Todd Travers
                   [Docket No. 1679]. This Objection and the amended joinder were resolved by
                   agreement of the parties pursuant to modifications to the Plan filed by the Debtor;

          e.       United States’ (IRS) Limited Objection to Debtor’s Fifth Amended Plan of
                   Reorganization [Docket No. 1668]. This Objection has been resolved pursuant to
                   mutually agreed language by the parties set forth in paragraphs TT and UU of the
                   Confirmation Order; and

          f.       Patrick Hagaman Daugherty’s Objection to Confirmation of Fifth Amended Plan
                   of Reorganization [Docket No. 1678]. This objection was resolved by the parties
                   pursuant to the settlement of Mr. Daugherty’s claim announced on the record of the
                   Confirmation Hearing.

                   21.         Capitalized Terms. Capitalized terms used herein, but not defined herein,

 shall have the respective meanings attributed to such terms in the Plan and the Disclosure

 Statement, as applicable.


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                   22.         Jurisdiction and Venue. The Bankruptcy Court has jurisdiction over the

 Debtor’s Chapter 11 Case pursuant to 28 U.S.C. §§ 157 and 1334. This is a core proceeding

 pursuant to 28 U.S.C. § 157(b)(2). Venue of this proceeding and this Chapter 11 Case is proper

 in this district and in the Bankruptcy Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                   23.         Chapter 11 Petition. On the Petition Date, the Debtor commenced a

 voluntary case under chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court

 for the District of Delaware, which case was transferred to the Bankruptcy Court on December 19,

 2019. The Debtor continues to operate its business and manage its property as debtor in possession

 pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No trustee or examiner has been

 appointed in this Chapter 11 Case. The Office of the United States Trustee appointed the

 Committee on October 29, 2019.

                   24.         Judicial Notice. The Bankruptcy Court takes judicial notice of the docket

 in this Chapter 11 Case maintained by the clerk of the Bankruptcy Court and the court-appointed

 claims agent, Kurtzman Carson Consultants LLC (“KCC”), including, without limitation, all

 pleadings, notices, and other documents filed, all orders entered, and all evidence and arguments

 made, proffered or adduced at the hearings held before the Bankruptcy Court during this Chapter

 11 Case, including, without limitation, the hearing to consider the adequacy of the Disclosure

 Statement and the Confirmation Hearing, as well as all pleadings, notices, and other documents

 filed, all orders entered, and all evidence and arguments made, proffered, or adduced at hearings

 held before the Bankruptcy Court or the District Court for the Northern District of Texas in




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 connection with an adversary proceeding or appellate proceeding, respectively, related to this

 Chapter 11 Case.

                   25.         Plan Supplement Documents. Prior to the Confirmation Hearing, the

 Debtor filed each of the Plan Supplements.           The Plan Supplements contain, among other

 documents, the Retained Causes of Action, the Claimant Trust Agreement, the Litigation Sub-

 Trust Agreement, the Senior Employee Stipulation, the Related Entity List, the Schedule of

 Employees, the Reorganized Limited Partnership Agreement, supplements to the Liquidation

 Analysis/Financial Projections, the Schedule of Contracts and Leases to be Assumed, and the other

 Plan Documents set forth therein (collectively, the “Plan Supplement Documents”).

                   26.         Retained Causes of Action Adequately Preserved. The Bankruptcy

 Court finds that the list of Retained Causes of Action included in the Plan Supplements sufficiently

 describes all potential Retained Causes of Action, provides all persons with adequate notice of any

 Causes of Action regardless of whether any specific claim to be brought in the future is listed

 therein or whether any specific potential defendant or other party is listed therein, and satisfies

 applicable law in all respects to preserve all of the Retained Causes of Action. The definition of

 the Causes of Action and Schedule of Retained Causes of Action, and their inclusion in the Plan,

 specifically and unequivocally preserve the Causes of Action for the benefit of the Reorganized

 Debtor, the Claimant Trust, or the Litigation Sub-Trust, as applicable.

                   27.         Plan Modifications Are Non-Material.        In addition to the Plan

 Supplements, the Debtor made certain non-material modifications to the Plan, which are reflected

 in (i) the Redline of Fifth Amended Plan of Reorganization of Highland Capital Management, L.P.



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 (as Modified) filed on January 22, 2021 [Docket No. 1809], and (ii) Exhibit B to the Debtor’s

 Notice of Filing of Plan Supplement to Fifth Amended Plan of Reorganization of Highland Capital

 Management, L.P. (as Modified) filed on February 1, 2021 [Docket No. 1875] (collectively, the

 “Plan Modifications”). Section 1127(a) of the Bankruptcy Code provides that a plan proponent

 may modify its plan at any time before confirmation so long as such modified plan meets the

 requirements of sections 1122 and 1123 of the Bankruptcy Code. None of the modifications set

 forth in the Plan Supplements or the Plan Modifications require any further solicitation pursuant

 to sections 1125, 1126, or 1127 of the Bankruptcy Code and Bankruptcy Rule 3019, because,

 among other things, they do not materially adversely change the treatment of the claims of any

 creditors or interest holders who have not accepted, in writing, such supplements and

 modifications. Among other things, there were changes to the projections that the Debtor filed

 shortly before the Confirmation Hearing (which included projected distributions to creditors and

 a comparison of projected distributions under the Plan to potential distributions under a

 hypothetical chapter 7 liquidation). The Plan Supplements and Plan Modifications did not mislead

 or prejudice any creditors or interest holders nor do they require that Holders of Claims or Equity

 Interests be afforded an opportunity to change previously cast votes to accept or reject the Plan.

 Specifically, the Amended Liquidation Analysis/Financial Projections filed on February 1, 2021

 [Docket No. 1875] do not constitute any material adverse change to the treatment of any creditors

 or interest holders but, rather, simply update the estimated distributions based on Claims that were

 settled in the interim and provide updated financial data. The filing and notice of the Plan

 Supplements and Plan Modifications were appropriate and complied with the requirements of



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 section 1127(a) of the Bankruptcy Code and the Bankruptcy Rules, and no other solicitation or

 disclosure or further notice is or shall be required. The Plan Supplements and Plan Modifications

 each became part of the Plan pursuant section 1127(a) of the Bankruptcy Code. The Debtor or

 Reorganized Debtor, as applicable, is authorized to modify the Plan or Plan Supplement

 Documents following entry of this Confirmation Order in a manner consistent with section 1127(b)

 of the Bankruptcy Code, the Plan, and, if applicable, the terms of the applicable Plan Supplement

 Document.

                   28.         Notice of Transmittal, Mailing and Publication of Materials. As is

 evidenced by the Voting Certifications and the Affidavits of Service and Publication, the

 transmittal and service of the Plan, the Disclosure Statement, Ballots, and Confirmation Hearing

 Notice were adequate and sufficient under the circumstances, and all parties required to be given

 notice of the Confirmation Hearing (including the deadline for filing and serving objections to the

 confirmation of the Plan) have been given due, proper, timely, and adequate notice in accordance

 with the Disclosure Statement Order and in compliance with the Bankruptcy Code, the Bankruptcy

 Rules, the Local Rules, and applicable non-bankruptcy law, and such parties have had an

 opportunity to appear and be heard with respect thereto. No other or further notice is required.

 The publication of the Confirmation Hearing Notice, as set forth in the Notice of Affidavit of

 Publication dated December 3, 2020 [Docket No. 1505], complied with the Disclosure Statement

 Order.

                   29.         Voting. The Bankruptcy Court has reviewed and considered the Voting

 Certifications. The procedures by which the Ballots for acceptance or rejection of the Plan were



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 distributed and tabulated, including the tabulation as subsequently amended to reflect the

 settlement of certain Claims to be Allowed in Class 7, were fairly and properly conducted and

 complied with the Disclosure Statement Order, the Bankruptcy Code, the Bankruptcy Rules, and

 the Local Rules.

                   30.         Bankruptcy Rule 3016(a). In accordance with Bankruptcy Rule 3016(a),

 the Plan is dated and identifies the Debtor as the proponent of the Plan.

                   31.         Plan Compliance with Bankruptcy Code (11 U.S.C. § 1129(a)(1)). As

 set forth below, the Plan complies with all of the applicable provisions of the Bankruptcy Code,

 thereby satisfying section 1129(a)(1) of the Bankruptcy Code.

                   32.         Proper Classification (11 U.S.C. §§ 1122, 1123(a)(1)). Section 1122 of

 the Bankruptcy Code provides that a plan may place a claim or interest in a particular class only if

 such claim or interest is substantially similar to the other claims or interest of such class. The

 Claims and Equity Interests placed in each Class are substantially similar to other Claims and

 Equity Interests, as the case may be, in each such Class. Valid business, factual, and legal reasons

 exist for separately classifying the various Classes of Claims and Equity Interests created under

 the Plan, and such Classes do not unfairly discriminate between Holders of Claims and Equity

 Interests.

                   33.         Classification of Secured Claims. Class 1 (Jefferies Secured Claim) and

 Class 2 (Frontier Secured Claim) each constitute separate secured claims held by Jefferies LLC

 and Frontier State Bank, respectively, and it is proper and consistent with section 1122 of the

 Bankruptcy Code to separately classify the claims of these secured creditors. Class 3 (Other



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 Secured Claims) consists of other secured claims (to the extent any exist) against the Debtor, are

 not substantially similar to the Secured Claims in Class 1 or Class 2, and are also properly

 separately classified.

                   34.         Classification of Priority Claims. Class 4 (Priority Non-Tax Claims)

 consists of Claims entitled to priority under section 507(a), other than Priority Tax Claims, and are

 properly separately classified from non-priority unsecured claims. Class 5 (Retained Employee

 Claims) consists of the potential claims of employees who may be retained by the Debtor on the

 Effective Date, which claims will be Reinstated under the Plan, are not substantially similar to

 other Claims against the Debtor, and are properly classified.

                   35.         Classification of Unsecured Claims. Class 6 (PTO Claims) consists solely

 of the claims of the Debtor’s employees for unpaid paid time off in excess of the $13,650 statutory

 cap amount under sections 507(a)(4) and (a)(5) of the Bankruptcy Code and are dissimilar from

 other unsecured claims in Class 7 and Class 8. Class 7 (Convenience Claims) allows holders of

 eligible and liquidated Claims (below a certain threshold dollar amount) to receive a cash payout

 of the lesser of 85% of the Allowed amount of the creditor’s Claim or such holder’s pro rata share

 of the Convenience Claims Cash Pool. Class 7 (Convenience Claims) are provided for

 administrative convenience purposes in order to allow creditors, most of whom are either trade

 creditors or holders of professional claims, to receive treatment provided under Class 7 in lieu of

 the treatment of Class 8 (General Unsecured Claims). The Plan also provides for reciprocal “opt

 out” mechanisms to allow holders of Class 7 Claims to elect to receive the treatment for Class 8

 Claims. Class 8 creditors primarily constitute the litigation claims of the Debtor. Class 8 Creditors



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 will receive Claimant Trust Interests which will be satisfied pursuant to the terms of the Plan.

 Class 8 also contains an “opt out” mechanism to allow holders of liquidated Class 8 Claims at or

 below a $1 million threshold to elect to receive the treatment of Class 7 Convenience Claims. The

 Claims in Class 7 (primarily trade and professional Claims against the Debtor) are not substantially

 similar to the Claims in Class 8 (primarily the litigation Claims against the Debtor), and are

 appropriately separately classified. Valid business reasons also exist to classify creditors in Class

 7 separately from creditors in Class 8. Class 7 creditors largely consist of liquidated trade or

 service providers to the Debtor. In addition, the Claims of Class 7 creditors are small relative to

 the large litigation claims in Class 8. Furthermore, the Class 8 Claims were overwhelmingly

 unliquidated when the Plan was filed. The nature of the Class 7 Claims as being largely liquidated

 created an expectation of expedited payment relative to the largely unliquidated Claims in Class

 8, which consists in large part of parties who have been engaged in years, and in some cases over

 a decade of litigation with the Debtor. Separate classification of Class 7 and Class 8 creditors was

 the subject of substantial arm’s-length negotiations between the Debtor and the Committee to

 appropriately reflect these relative differences.

                   36.         Classification of Equity Interests. The Plan properly separately classifies

 the Equity Interests in Class 10 (Class B/C Limited Partnership Interests) from the Equity Interests

 in Class 11 (Class A Limited Partnership Interests) because they represent different types of equity

 security interests in the Debtor and different payment priorities.

                   37.         Elimination of Vacant Classes. Section III.C of the Plan provides for the

 elimination of Classes that do not have at least one holder of a Claim or Equity Interest that is



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 Allowed in an amount greater than zero for purposes of voting to accept or reject the Plan, and are

 disregarded for purposes of determining whether the Plan satisfies section 1129(a)(8) of the

 Bankruptcy Code with respect to such Class. The purpose of this provision is to provide that a

 Class that does not have voting members shall not be included in the tabulation of whether that

 Class has accepted or rejected the Plan. Pursuant to the Voting Certifications, the only voting

 Class of Claims or Equity Interests that did not have any members is Class 5 (Retained

 Employees). As noted above, Class 5 does not have any voting members because any potential

 Claims in Class 5 would not arise, except on account of any current employees of the Debtor who

 may be employed as of the Effective Date, which is currently unknown. Thus, the elimination of

 vacant Classes provided in Article III.C of the Plan does not violate section 1122 of the Bankruptcy

 Code. Class 5 is properly disregarded for purposes of determining whether or not the Plan has

 been accepted under Bankruptcy Code section 1129(a)(8) because there are no members in that

 Class. However, the Plan properly provides for the treatment of any Claims that may potentially

 become members of Class 5 as of the Effective Date in accordance with the terms of the Plan. The

 Plan therefore satisfies section 1122 of the Bankruptcy Code.

                   38.         Classification of Claims and Designation of Non-Classified Claims (11

 U.S.C. §§ 1122, 1123(a)(1)). Section 1123(a)(1) of the Bankruptcy Code requires that the Plan

 specify the classification of claims and equity security interests pursuant to section 1122 of the

 Bankruptcy Code, other than claims specified in sections 507(a)(2), 507(a)(3), or 507(a)(8) of the

 Bankruptcy Code. In addition to Administrative Claims, Professional Fee Claims, and Priority

 Tax Claims, each of which need not be classified pursuant to section 1123(a)(1) of the Bankruptcy



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 Code, the Plan designates eleven (11) Classes of Claims and Equity Interests. The Plan satisfies

 sections 1122 and 1123(a)(1) of the Bankruptcy Code.

                   39.         Specification of Unimpaired Classes (11 U.S.C. § 1123(a)(2)). Article III

 of the Plan specifies that each of Class 1 (Jefferies Secured Claim), Class 3 (Other Secured

 Claims), Class 4 (Priority Non-Tax Claims), Class 5 (Retained Employee Claims), and Class 6

 (PTO Claims) are Unimpaired under the Plan. Thus, the requirement of section 1123(a)(2) of the

 Bankruptcy Code is satisfied.

                   40.         Specification of Treatment of Impaired Classes (11 U.S.C. §

 1123(a)(3)). Article III of the Plan designates each of Class 2 (Frontier Secured Claim), Class 7

 (Convenience Claims), Class 8 (General Unsecured Claims), Class 9 (Subordinated Claims), Class

 10 (Class B/C Limited Partnership Interests), and Class 11 (Class A Limited Partnership Interests)

 as Impaired and specifies the treatment of Claims and Equity Interests in such Classes. Thus, the

 requirement of section 1123(a)(3) of the Bankruptcy Code is satisfied.

                   41.         No Discrimination (11 U.S.C. § 1123(a)(4)). The Plan provides for the

 same treatment by the Plan proponent for each Claim or Equity Interest in each respective Class

 unless the Holder of a particular Claim or Equity Interest has agreed to a less favorable treatment

 of such Claim or Equity Interest. The Plan satisfies this requirement because Holders of Allowed

 Claims or Equity Interests in each Class will receive the same rights and treatment as other Holders

 of Allowed Claims or Equity Interests within such holder’s respective class, subject only to the

 voluntary “opt out” options afforded to members of Class 7 and Class 8 in accordance with the

 terms of the Plan. Thus, the requirement of section 1123(a)(4) of the Bankruptcy Code is satisfied.



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                   42.         Implementation of the Plan (11 U.S.C. § 1123(a)(5)). Article IV of the

 Plan sets forth the means for implementation of the Plan which includes, but is not limited to, the

 establishment of: (i) the Claimant Trust; (ii) the Litigation Sub-Trust; (iii) the Reorganized Debtor;

 and (iv) New GP LLC, in the manner set forth in the Plan Documents, the forms of which are

 included in the Plan Supplements.

          a.       The Claimant Trust. The Claimant Trust Agreement provides for the
                   management of the Claimant Trust, as well as the Reorganized Debtor with the
                   Claimant Trust serving as the managing member of New GP LLC (a wholly-owned
                   subsidiary of the Claimant Trust that will manage the Reorganized Debtor as its
                   general partner). The Claimant Trust, the Claimant Trustee, the management and
                   monetization of the Claimant Trust Assets, and the management of the Reorganized
                   Debtor (through the Claimant Trust’s role as managing member of New GP LLC)
                   and the Litigation Sub-Trust will all be managed and overseen by the Claimant
                   Trust Oversight Committee. Additionally, the Plan provides for the transfer to the
                   Claimant Trust of all of the Debtor’s rights, title, and interest in and to all of the
                   Claimant Trust Assets in accordance with section 1141 of the Bankruptcy Code and
                   for the Claimant Trust Assets to automatically vest in the Claimant Trust free and
                   clear of all Claims, Liens, encumbrances, or interests subject only to the Claimant
                   Trust Interests and the Claimant Trust Expenses, as provided for in the Claimant
                   Trust Agreement. The Claimant Trust will administer the Claimant Trust Assets as
                   provided under the Plan and the Claimant Trust Agreement contained in the Plan
                   Supplements.

          b.       The Litigation Sub-Trust. The Plan and the Litigation Sub-Trust Agreement
                   provide for the transfer to the Litigation Sub-Trust all of the Claimant Trust’s rights,
                   title, and interest in and to all of the Estate Claims (as transferred to the Claimant
                   Trust by the Debtor) in accordance with section 1141 of the Bankruptcy Code and
                   for the Estate Claims to automatically vest in the Litigation Sub-Trust free and clear
                   of all Claims, Liens, encumbrances, or interests subject only to the Litigation Sub-
                   Trust Interests and the Litigation Sub-Trust Expenses, as provided for in the
                   Litigation Sub-Trust Agreement. The Litigation Trustee is charged with
                   investigating, pursuing, and otherwise resolving any Estate Claims (including those
                   with respect to which the Committee has standing to pursue prior to the Effective
                   Date pursuant to the January 9 Order) pursuant to the terms of the Litigation Sub-
                   Trust Agreement and the Plan, regardless of whether any litigation with respect to
                   any Estate Claim was commenced by the Debtor or the Committee prior to the
                   Effective Date.


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          c.       The Reorganized Debtor. The Reorganized Debtor will administer the
                   Reorganized Debtor Assets, which includes managing the wind down of the
                   Managed Funds.

 The precise terms governing the execution of these restructuring transactions are set forth in greater

 detail in the applicable definitive documents included in the Plan Supplements, including the

 Claimant Trust Agreement, the Litigation Sub-Trust Agreement, and the Schedule of Retained

 Causes of Action. The Plan, together with the documents and forms of agreement included in the

 Plan Supplements, provides a detailed blueprint for the transactions contemplated by the Plan. The

 Plan’s various mechanisms provide for the Debtor’s continued management of its business as it

 seeks to liquidate the Debtor’s assets, wind down its affairs, and pay the Claims of the Debtor’s

 creditors. Upon full payment of Allowed Claims, plus interest as provided in the Plan, any residual

 value would then flow to the holders of Class 10 (Class B/C Limited Partnership Interests), and

 Class 11 (Class A Limited Partnership Interests). Finally, Mr. Seery testified that the Debtor

 engaged in substantial and arm’s length negotiations with the Committee regarding the Debtor’s

 post-Effective Date corporate governance, as reflected in the Plan. Mr. Seery testified that he

 believes the selection of the Claimant Trustee, Litigation Trustee, and members of the Claimant

 Trust Oversight Board are in the best interests of the Debtor’s economic constituents. Thus, the

 requirements of section 1123(a)(5) of the Bankruptcy Code are satisfied.

                   43.         Non-Voting Equity Securities (11 U.S.C. § 1123(a)(6)). The Debtor is

 not a corporation and the charter documents filed in the Plan Supplements otherwise comply with

 section 1123(a)(6) of the Bankruptcy Code. Therefore, the requirement of section 1123(a)(6) of

 the Bankruptcy Code is satisfied.




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                   44.         Selection of Officers and Directors (11 U.S.C. § 1123(a)(7)). Article IV

 of the Plan provides for the Claimant Trust to be governed and administered by the Claimant

 Trustee. The Claimant Trust, the management of the Reorganized Debtor, and the management

 and monetization of the Claimant Trust Assets and the Litigation Sub-Trust will be managed by

 the Claimant Trust Oversight Board. The Claimant Trust Oversight Board will consist of: (1) Eric

 Felton, as representative of the Redeemer Committee; (2) Joshua Terry, as representative of Acis;

 (3) Elizabeth Kozlowski, as representative of UBS; (4) Paul McVoy, as representative of Meta-E

 Discovery; and (5) David Pauker.             Four of the members of the Claimant Trust Oversight

 Committee are the holders of several of the largest Claims against the Debtor and/or are current

 members of the Committee. Each of these creditors has actively participated in the Debtor’s case,

 both through their fiduciary roles as Committee members and in their individual capacities as

 creditors. They are therefore intimately familiar with the Debtor, its business, and assets. The

 fifth member of the Claimant Trustee Oversight Board, David Pauker, is a disinterested

 restructuring advisor and turnaround manager with more than 25 years of experience advising

 public and private companies and their investors, and he has substantial experience overseeing,

 advising or investigating troubled companies in the financial services industry and has advised or

 managed such companies on behalf of boards or directors, court-appointed trustees, examiners and

 special masters, government agencies, and private investor parties. The members of the Claimant

 Trust Oversight Board will serve without compensation, except for Mr. Pauker, who will receive

 payment of $250,000 for his first year of service, and $150,000 for subsequent years.




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                   45.         Selection of Trustees. The Plan Supplements disclose that Mr. Seery will

 serve as the Claimant Trustee and Marc Kirschner will serve as the Litigation Trustee. As noted

 above, Mr. Seery has served as an Independent Board member since January 2020, and as the

 Chief Executive Officer and Chief Restructuring Officer since July 2020, and he has extensive

 management and restructuring experience, as evidenced from his curriculum vitae which is part of

 the record.      The evidence shows that Mr. Seery is intimately familiar with the Debtor’s

 organizational structure, business, and assets, as well as how Claims will be treated under the Plan.

 Accordingly, it is reasonable and in the Estate’s best interests to continue Mr. Seery’s employment

 post-emergence as the Claimant Trustee. Mr. Seery, upon consultation with the Committee,

 testified that he intends to employ approximately 10 of the Debtor’s employees to enable him to

 manage the Debtor’s business until the Claimant Trust effectively monetizes its remaining assets,

 instead of hiring a sub-servicer to accomplish those tasks. Mr. Seery testified that he believes that

 the Debtor’s post-confirmation business can most efficiently and cost-effectively be supported by

 a sub-set of the Debtor’s current employees, who will be managed internally. Mr. Seery shall

 initially be paid $150,000 per month for services rendered after the Effective Date as Claimant

 Trustee; however, Mr. Seery’s long-term salary as Claimant Trustee and the terms of any bonuses

 and severance are subject to further negotiation by Mr. Seery and the Claimant Trust Oversight

 Board within forty-five (45) days after the Effective Date. The Bankruptcy Court has also

 reviewed Mr. Kirschner’s curriculum vitae. Mr. Kirschner has been practicing law since 1967 and

 has substantial experience in bankruptcy litigation matters, particularly with respect to his prior

 experience as a litigation trustee for several litigation trusts, as set forth on the record of the



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 Confirmation Hearing and in the Confirmation Brief. Mr. Kirschner shall be paid $40,000 per

 month for the first three months and $20,000 per month thereafter, plus a success fee related to

 litigation recoveries. The Committee and the Debtor had arm’s lengths negotiations regarding the

 post-Effective Date corporate governance structure of the Reorganized Debtor and believe that the

 selection of the Claimant Trustee, the Litigation Trustee, and the Claimant Trust Oversight

 Committee are in the best interests of the Debtor’s economic stakeholders. Section 1123(a)(7) of

 the Bankruptcy Code is satisfied.

                   46.         Debtor’s Compliance with Bankruptcy Code (11 U.S.C. § 1129(a)(2)).

 Pursuant to section 1129(a)(2) of the Bankruptcy Code, the Debtor has complied with the

 applicable provisions of the Bankruptcy Code, including sections 1122, 1123, 1124, 1125, and

 1126 of the Bankruptcy Code, the Bankruptcy Rules, and the Disclosure Statement Order

 governing notice, disclosure, and solicitation in connection with the Plan, the Disclosure

 Statement, the Plan Supplements, and all other matters considered by the Bankruptcy Court in

 connection with this Chapter 11 Case.

                   47.         Debtor’s Solicitation Complied with Bankruptcy Code and Disclosure

 Statement Order. Before the Debtor solicited votes on the Plan, the Bankruptcy Court entered

 the Disclosure Statement Order. In accordance with the Disclosure Statement Order and evidenced

 by the Affidavits of Service and Publication, the Debtor appropriately served (i) the Solicitation

 Packages (as defined in the Disclosure Statement Order) on the Holders of Claims in Classes 2, 7,

 8 and 9 and Holders of Equity Interests in Classes 10 and 11 who were entitled to vote on the Plan;

 and (ii) the Notice of Nonvoting Status (as defined in the Disclosure Statement Order) and the



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 Confirmation Hearing Notice to the Holders of Claims in Classes 1, 3, 4, 5 and 6, who were not

 entitled to vote on the Plan pursuant to the Disclosure Statement Order. The Disclosure Statement

 Order approved the contents of the Solicitation Packages provided to Holders of Claims and Equity

 Interests entitled to vote on the Plan, the notices provided to parties not entitled to vote on the Plan,

 and the deadlines for voting on and objecting to the Plan. The Debtor and KCC each complied

 with the content and delivery requirements of the Disclosure Statement Order, thereby satisfying

 sections 1125(a) and (b) of the Bankruptcy Code, as evidenced by the Affidavits of Service and

 Publication. The Debtor also satisfied section 1125(c) of the Bankruptcy Code, which provides

 that the same disclosure statement must be transmitted to each holder of a claim or interest in a

 particular class. The Debtor caused the same Disclosure Statement to be transmitted to all holders

 of Claims and Equity Interests entitled to vote on the Plan. The Debtor has complied in all respects

 with the solicitation requirements of section 1125 of the Bankruptcy Code and the Disclosure

 Statement Order. The Bankruptcy Court rejects the arguments of the Mr. Dondero and certain

 Dondero Related Entities that the changes made to certain assumptions and projections from the

 Liquidation Analysis annexed as Exhibit C to the Disclosure Statement (the “Liquidation

 Analysis”) to the Amended Liquidation Analysis/Financial Projections require resolicitation of the

 Plan. The Bankruptcy Court heard credible testimony from Mr. Seery regarding the changes to

 the Liquidation Analysis as reflected in the Amended Liquidation Analysis/Financial Projections.

 Based on the record, including the testimony of Mr. Seery, the Bankruptcy Court finds that the

 changes between the Liquidation Analysis and the Amended Liquidation Analysis/Financial

 Projections do not constitute materially adverse change to the treatment of Claims or Equity



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 Interests. Instead, the changes served to update the projected distributions based on Claims that

 were settled after the approval of the Disclosure Statement and to otherwise incorporate more

 recent financial data.          Such changes were entirely foreseeable given the large amount of

 unliquidated Claims at the time the Disclosure Statement was approved and the nature of the

 Debtor’s assets. The Bankruptcy Court therefore finds that holders of Claims and Equity Interests

 were not misled or prejudiced by the Amended Liquidation Analysis/Financial Projections and the

 Plan does not need to be resolicited.

                   48.         Plan Proposed in Good Faith and Not by Means Forbidden by Law (11

 U.S.C. § 1129(a)(3)). The Debtor has proposed the Plan in good faith and not by any means

 forbidden by law, thereby satisfying section 1129(a)(3) of the Bankruptcy Code. In determining

 that the Plan has been proposed in good faith, the Bankruptcy Court has examined the totality of

 the circumstances surrounding the filing of this Chapter 11 Case, the Plan itself, and the extensive,

 unrebutted testimony of Mr. Seery in which he described the process leading to Plan’s formulation.

 Based on the totality of the circumstances and Mr. Seery’s testimony, the Bankruptcy Court finds

 that the Plan is the result of extensive arm’s-length negotiations among the Debtor, the Committee,

 and key stakeholders, and promotes the objectives and purposes of the Bankruptcy Code.

 Specifically, the Debtor’s good faith in proposing the Plan is supported by the following facts

 adduced by Mr. Seery:

          a.       The Independent Board determined that it should consider all potential
                   restructuring alternatives, including pursuit of a traditional restructuring and the
                   continuation of the Debtor’s business, a potential sale of the Debtor’s assets in one
                   or more transactions, an asset monetization plan similar to that described in the
                   Plan, and a so-called “grand bargain” plan that would involve Mr. Dondero’s
                   sponsorship of a plan with a substantial equity infusion.

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          b.       The Debtor subsequently engaged in arm’s-length, good faith negotiations with the
                   Committee over an asset monetization Plan commencing in June 2020, which
                   negotiations occurred over the next several months.

          c.       Negotiations between the Debtor and the Committee were often contentious over
                   disputes, including, but not limited to, the post-confirmation corporate governance
                   structure and the scope of releases contemplated by the Plan.

          d.       While negotiations with the Committee progressed, the Independent Board engaged
                   in discussions with Mr. Dondero regarding a potential “grand bargain” plan which
                   contemplated a significant equity infusion by Mr. Dondero, and which Mr. Seery
                   personally spent hundreds of hours pursuing over many months.

          e.       On August 3, 2020, the Bankruptcy Court entered the Order Directing Mediation
                   [Docket No. 912] pursuant to which the Bankruptcy Court ordered the Debtor, the
                   Committee, UBS, Acis, the Redeemer Committee, and Mr. Dondero into
                   mediation. As a result of this mediation, the Debtor negotiated the settlement of
                   the claims of Acis and Mr. Terry, which the Bankruptcy Court approved on October
                   28, 2020 [Docket No. 1302].

          f.       On August 12, 2020, the Debtor filed its Chapter 11 Plan of Reorganization of
                   Highland Capital Management, L.P. [Docket No. 944] (the “Initial Plan”) and
                   related disclosure statement (the “Initial Disclosure Statement”) which were not
                   supported by either the Committee or Mr. Dondero. The Independent Board filed
                   the Initial Plan and Initial Disclosure Statement in order to act as a catalyst for
                   continued discussions with the Committee while it simultaneously worked with Mr.
                   Dondero on the “grand bargain” plan.

          g.       The Bankruptcy Court conducted a contested hearing on the Initial Disclosure
                   Statement on October 27, 2020. The Committee and other parties objected to
                   approval of the Disclosure Statement at the Initial Disclosure Statement hearing,
                   which was eventually continued to November 23, 2020.

          h.       Following the Initial Disclosure Statement hearing, the Debtor continued to
                   negotiate with the Committee and ultimately resolved the remaining material
                   disputes and led to the Bankruptcy Court’s approval of the Disclosure Statement on
                   November 23, 2020.

          i.       Even after obtaining the Bankruptcy Court’s approval of the Disclosure Statement,
                   the Debtor and the Committee continued to negotiate with Mr. Dondero and the
                   Committee over a potential “pot plan” as an alternative to the Plan on file with the
                   Bankruptcy Court, but such efforts were unsuccessful. This history conclusively
                   demonstrates that the Plan is being proposed in good faith within the meaning of
                   section 1129(a)(3).


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                   49.         Payments for Services or Costs and Expenses (11 U.S.C. § 1129(a)(4)).

 Article II.B of the Plan provides that Professionals will file all final requests for payment of

 Professional Fee Claims no later than 60 days after the Effective Date, thereby providing an

 adequate period of time for interested parties to review such claims. The procedures set forth in

 the Plan for the Bankruptcy Court’s approval of the fees, costs, and expenses to be paid in

 connection with this chapter 11 Case, or in connection with the Plan and incident to this Chapter

 11 Case, satisfy the objectives of and are in compliance with section 1129(a)(4) of the Bankruptcy

 Code.

                   50.         Directors, Officers, and Insiders (11 U.S.C. § 1129(a)(5)). Article IV.B

 of the Plan provides for the appointment of the Claimant Trustee, Litigation Trustee, and the

 Claimant Trust Oversight Committee and the members thereto. For the reasons more fully

 explained in paragraphs 44-45 of this Confirmation Order with respect to the requirement of

 section 1123(a)(7) of the Bankruptcy Code, the Debtor has disclosed the nature of compensation

 of any insider to be employed or retained by the Reorganized Debtor, if applicable, and

 compensation for any such insider. The appointment of such individuals is consistent with the

 interests of Claims and Equity Interests and with public policy. Thus, the Plan satisfies section

 1129(a)(5) of the Bankruptcy Code.

                   51.         No Rate Changes (11 U.S.C. § 1129(a)(6)). The Plan does not provide for

 any rate change that requires regulatory approval. Section 1129(a)(6) of the Bankruptcy Code is

 thus not applicable.




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                   52.         Best Interests of Creditors (11 U.S.C. § 1129(a)(7)). The “best interests”

 test is satisfied as to all Impaired Classes under the Plan, as each Holder of a Claim or Equity

 Interest in such Impaired Classes will receive or retain property of a value, as of the Effective Date

 of the Plan, that is not less than the amount that such Holder would so receive or retain if the

 Debtor were liquidated under chapter 7 of the Bankruptcy Code. On October 15, 2020, the Debtor

 filed the Liquidation Analysis [Docket 1173], as prepared by the Debtor with the assistance of its

 advisors and which was attached as Exhibit C to the Disclosure Statement. On January 29, 2021,

 in advance of Mr. Seery’s deposition in connection with confirmation of the Plan, the Debtor

 provided an updated version of the Liquidation Analysis to the then-objectors of the Plan,

 including Mr. Dondero and the Dondero Related Entities. On February 1, 2021, the Debtor filed

 the Amended Liquidation Analysis/Financial Projections.                   The Amended Liquidation

 Analysis/Financial Projections included updates to the Debtor’s projected asset values, revenues,

 and expenses to reflect: (1) the acquisition of an interest in an entity known as “HCLOF” that the

 Debtor will acquire as part of its court-approved settlement with HarbourVest and that was valued

 at $22.5 million; (2) an increase in the value of certain of the Debtor’s assets due to changes in

 market conditions and other factors; (3) expected revenues and expenses arising in connection with

 the Debtor’s continued management of the CLOs pursuant to management agreements that the

 Debtor decided to retain; (4) increases in projected expenses for headcount (in addition to adding

 two or three employees to assist in the management of the CLOs, the Debtor also increased

 modestly the projected headcount as a result of its decision not to engage a Sub-Servicer) and

 professional fees; and (5) an increase in projected recoveries on notes resulting from the



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 acceleration of term notes owed to the Debtor by the following Dondero Related Entities:

 NexPoint Advisors, L.P.; Highland Capital Management Services, Inc.; and HCRE Partners, LLC

 (n/k/a NexPoint Real Estate Partners, LLC). Under the Plan, as of the Confirmation Date, (a) Class

 7 General Unsecured Creditors are projected to receive 85% on account of their claims; and (b)

 Class 8 General Unsecured Creditors are projected to receive at least approximately 71% on

 account of their Claims. Under a hypothetical chapter 7 liquidation, all general unsecured creditors

 are projected to receive approximately 55% on account of their Claims. The Bankruptcy Court

 finds that the distributions that Class 7 and 8 General Unsecured Creditors are projected to receive

 under the Plan substantially exceeds that which they would receive under a chapter 7 liquidation

 based on Mr. Seery’s testimony, including the following credible reasons he posited, among

 others:

           a.      The nature of the Debtor’s assets is complex. Certain assets relate to complicated
                   real estate structures and private equity investments in operating businesses. Mr.
                   Seery’s extensive experience with the Debtor during the thirteen months since his
                   appointment as an Independent Director and later Chief Executive Officer and
                   Chief Restructuring Officer, provides him with a substantial learning curve in
                   connection with the disposition of the Debtor’s assets and are reasonably expected
                   to result in him being able to realize tens of millions of dollars more value than
                   would a chapter 7 trustee.

           b.      Assuming that a hypothetical chapter 7 trustee could even operate the Debtor’s
                   business under chapter 7 of the Bankruptcy Code and hire the necessary personnel
                   with the relevant knowledge and experience to assist him or her in selling the
                   Debtor’s assets, a chapter 7 trustee would likely seek to dispose of the Debtor’s
                   assets in a forced sale liquidation which would generate substantially less value for
                   the Debtor’s creditors than the asset monetization plan contemplated by the Plan.

           c.      A chapter 7 trustee would be unlikely to retain the Debtor’s existing professionals
                   to assist in its efforts to monetize assets, resulting in delays, increased expenses,
                   and reduced asset yields for the chapter 7 estate.



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          d.       The chapter 7 estate would be unlikely to maximize value as compared to the asset
                   monetization process contemplated by the Plan because potential buyers are likely
                   to perceive a chapter 7 trustee as engaging in a quick, forced “fire sale” of assets;
                   and

          e.       The Debtor’s employees, who are vital to its efforts to maximum value and
                   recoveries for stakeholders, may be unwilling to provide services to a chapter 7
                   trustee.

 Finally, there is no evidence to support the objectors’ argument that the Claimant Trust

 Agreement’s disclaimed liability for ordinary negligence by the Claimant Trustee compared to a

 chapter 7 trustee’s liability has any relevance to creditor recoveries in a hypothetical chapter 7

 liquidation. Thus, section 1129(a)(7) of the Bankruptcy Code is satisfied.

                   53.         Acceptance by Certain Classes (11 U.S.C. § 1129(a)(8)). Classes 1, 3, 4,

 5 and 6 are Unimpaired under the Plan. Class 2 (Frontier Secured Claim), Class 7 (Convenience

 Claims), and Class 9 (Subordinated Claims) have each voted to accept the Plan in accordance with

 the Bankruptcy Code, thereby satisfying section 1129(a)(8) as to those Classes. However, Class

 8 (General Unsecured Claims), Class 10 (Class B/C Limited Partnership Interests), and Class 11

 (Class A Limited Partnership Interests) have not accepted the Plan.              Accordingly, section

 1129(a)(8) of the Bankruptcy Code has not been satisfied. The Plan, however, is still confirmable

 because it satisfies the nonconsensual confirmation provisions of section 1129(b), as set forth

 below.

                   54.         Treatment of Administrative, Priority, Priority Tax Claims, and

 Professional Fee Claims (11 U.S.C. § 1129(a)(9)). The treatment of Administrative Claims,

 Priority Claims, and Professional Fee Claims pursuant to Article III of the Plan, and as set forth

 below with respect to the resolution of the objections filed by the Internal Revenue Service and



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 certain Texas taxing authorities satisfies the requirements of sections 1129(a)(9) of the Bankruptcy

 Code.

                   55.         Acceptance by Impaired Class (11 U.S.C. § 1129(a)(10)).           Class 2

 (Frontier Secured Claims) and Class 7 (Convenience Claims) are each Impaired Classes of Claims

 that voted to accept the Plan, determined without including any acceptance of the Plan by any

 insider. Therefore, the requirement of section 1129(a)(10) of the Bankruptcy Code is satisfied.

                   56.         Feasibility (11 U.S.C. § 1129(a)(11)). Article IV of the Plan provides for

 the implementation of the Plan through the Claimant Trust, the Litigation Sub-Trust, and the

 Reorganized Debtor. The Plan provides that the Claimant Trust, among other things, will monetize

 and distribute the Debtor’s remaining assets. The Disclosure Statement, the Amended Liquidation

 Analysis/Financial Projections, and the other evidence presented at the Confirmation Hearing

 provide a reasonable probability of success that the Debtor will be able to effectuate the provisions

 of the Plan. The Plan contemplates the establishment of the Claimant Trust upon the Effective

 Date, which will monetize the Estate’s assets for the benefit of creditors. Mr. Seery testified that

 the Class 2 Frontier Secured Claim will be paid over time pursuant to the terms of the New Frontier

 Note and the Reorganized Debtor will have sufficient assets to satisfy its obligations under this

 note. The Claims of the Holders of Class 7 Claims (as well as those Class 8 creditors who validly

 opted to receive the treatment of Class 7 Claims) are expected to be satisfied shortly after the

 Effective Date. Holders of Class 8 Claims (including any holders of Class 7 Claims who opted to

 receive the treatment provided to Class 8 Claims) are not guaranteed any recovery and will




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 periodically receive pro rata distributions as assets are monetized pursuant to the Plan and the

 Claimant Trust Agreement. Thus, section 1129(a)(11) of the Bankruptcy Code is satisfied.

                   57.         Payment of Fees (11 U.S.C. § 1129(a)(12)). All fees payable under 28

 U.S.C. § 1930 have been paid or will be paid on or before the Effective Date pursuant to Article

 XII.A of the Plan, thus satisfying the requirement of section 1129(a)(12) of the Bankruptcy Code.

 The Debtor has agreed that the Reorganized Debtor, the Claimant Trust, and the Litigation Sub-

 Trust shall be jointly and severally liable for payment of quarterly fees to the Office of the United

 States Trustee pursuant to 28 U.S.C. § 1930 through the entry of the Final Decree for the Debtor

 or the dismissal or conversion of the Chapter 11 Case.

                   58.         Retiree Benefits. The Plan provides for the assumption of the Pension Plan

 (to the extent such Pension Plan provides “retiree benefits” and is governed by section 1114 of the

 Bankruptcy Code). Thus, the Plan complies with section 1129(a)(13) of the Bankruptcy Code, to

 the extent applicable.

                   59.         Miscellaneous Provisions (11 U.S.C. §§ 1129(a)(14)-(16)).        Sections

 1129(a)(14)-(16) of the Bankruptcy Code are inapplicable as the Debtor (i) has no domestic

 support obligations (section 1129(a)(14)), (ii) is not an individual (section 1129(a)(15)), and (iii)

 is not a nonprofit corporation (section 1129(a)(16)).

                   60.         No Unfair Discrimination; Fair and Equitable Treatment (11 U.S.C. §

 1129(b)). The classification and treatment of Claims and Equity Interests in Classes 8, 10 and 11,

 which have not accepted the Plan, is proper pursuant to section 1122 of the Bankruptcy Code, does




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 not discriminate unfairly, and is fair and equitable pursuant to section 1129(b)(1) of the Bankruptcy

 Code.

           a.      Class 8. The Plan is fair and equitable with respect to Class 8 General Unsecured
                   Claims. While Equity Interests in Class 10 and Class 11 will receive a contingent
                   interest in the Claimant Trust under the Plan (the “Contingent Interests”), the
                   Contingent Interests will not vest unless and until holders of Class 8 General
                   Unsecured Claims and Class 9 Subordinated Claims receive distributions equal to
                   100% of the amount of their Allowed Claims plus interest as provided under the
                   Plan and Claimant Trust Agreement. Accordingly, as the holders of Equity
                   Interests that are junior to the Claims in Class 8 and Class 9 will not receive or
                   retain under the Plan on account of such junior claim interest any property unless
                   and until the Claims in Class 8 and Class 9 are paid in full plus applicable interest,
                   the Plan is fair and equitable with respect to holders of Class 8 General Unsecured
                   Claims pursuant to section 1129(b)(2)(B) of the Bankruptcy Code and the reasoning
                   of In re Introgen Therapuetics 429 B.R 570 (Bankr. W.D. Tex. 2010).

           b.      Class 10 and Class 11. There are no Claims or Equity Interests junior to the Equity
                   Interests in Class 10 and Class 11. Equity Interests in Class 10 and 11 will neither
                   receive nor retain any property under the Plan unless Allowed Claims in Class 8
                   and Class 9 are paid in full plus applicable interest pursuant to the terms of the Plan
                   and Claimant Trust Agreement. Thus, the Plan does not violate the absolute priority
                   rule with respect to Classes 10 and 11 pursuant to Bankruptcy Code section
                   1129(b)(2)(C). The Plan does not discriminate unfairly as to Equity Interests. As
                   noted above, separate classification of the Class B/C Partnership Interests from the
                   Class A Partnerships Interests is appropriate because they constitute different
                   classes of equity security interests in the Debtor, and each are appropriately
                   separately classified and treated.


 Accordingly, the Plan does not violate the absolute priority rule, does not discriminate unfairly,

 and is fair and equitable with respect to each Class that has rejected the Plan. Thus, the Plan

 satisfies the requirements of section 1129(b) of the Bankruptcy Code with respect to Classes 8, 10,

 and 11.




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                   61.         Only One Plan (11 U.S.C. § 1129(c)). The Plan is the only chapter 11 plan

 confirmed in this Chapter 11 Case, and the requirements of section 1129(c) of the Bankruptcy

 Code are therefore satisfied.

                   62.         Principal Purpose (11 U.S.C. § 1129(d)). Mr. Seery testified that the

 principal purpose of the Plan is neither the avoidance of taxes nor the avoidance of the application

 of section 5 of the Securities Act of 1933, and no governmental unit has objected to the

 confirmation of the Plan on any such grounds. Accordingly, section 1129(d) of the Bankruptcy

 Code is inapplicable.

                   63.         Satisfaction of Confirmation Requirements. Based upon the foregoing,

 the Plan satisfies the requirements for confirmation set forth in section 1129 of the Bankruptcy

 Code and should be confirmed.

                   64.         Good Faith Solicitation (11 U.S.C. § 1125(e)).         The Debtor, the

 Independent Directors, and the Debtor’s employees, advisors, Professionals, and agents have acted

 in good faith within the meaning of section 1125(e) of the Bankruptcy Code and in compliance

 with the applicable provisions of the Bankruptcy Code and Bankruptcy Rules in connection with

 all of their respective activities relating to the solicitation of acceptances of the Plan and their

 participation in the activities described in section 1125 of the Bankruptcy Code, and they are

 entitled to the protections afforded by section 1125(e) of the Bankruptcy Code.

                   65.         Discharge (11 U.S.C. § 1141(d)(3)). The Debtor is entitled to a discharge

 of debts pursuant to section 1141(d)(3)(B) of the Bankruptcy Code. Under the Plan, the Claimant

 Trust or Reorganized Debtor, as applicable, will continue to manage funds and conduct business



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 in the same manner as the Debtor did prior to Plan confirmation, which includes the management

 of the CLOs, Multi-Strat, Restoration Capital, the Select Fund and the Korea Fund. Although the

 Plan projects that it will take approximately two years to monetize the Debtor’s assets for fair

 value, Mr. Seery testified that while the Reorganized Debtor and Claimant Trust will be

 monetizing their assets, there is no specified time frame by which this process must conclude. Mr.

 Seery’s credible testimony demonstrates that the Debtor will continue to engage in business after

 consummation of the Plan, within the meaning of Section 1141(d)(3)(b) and that the Debtor is

 entitled to a discharge pursuant to section 1141(d)(1) of the Bankruptcy Code.

                   66.         Retention of Jurisdiction. The Bankruptcy Court may properly retain

 jurisdiction over the matters set forth in Article XI of the Plan and/or section 1142 of the

 Bankruptcy Code to the maximum extent under applicable law.

                   67.         Additional Plan Provisions (11 U.S.C. § 1123(b)). The Plan’s provisions

 are appropriate, in the best interests of the Debtor and its Estate, and consistent with the applicable

 provisions of the Bankruptcy Code, Bankruptcy Rules, and Local Rules.

                   68.         Executory Contracts and Unexpired Leases (11 U.S.C. § 1123(b)(2)).

 The Debtor has exercised reasonable business judgment with respect to the rejection of the

 Executory Contracts and Unexpired Leases pursuant the terms of the Plan and this Confirmation

 Order, and such rejections are justified and appropriate in this Chapter 11 Case. The Debtor also

 filed the List of Assumed Contracts, which contain notices to the applicable counterparties to the

 contracts set forth on Exhibit “FF” to Plan Supplement filed on February 1, 2021 [Docket No.

 1875] and which exhibit sets forth the list of executory contracts and unexpired leases to be



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 assumed by the Debtor pursuant to the Plan (collectively, the “Assumed Contracts”). With respect

 to the Assumed Contracts, only one party objected to the assumption of any of the Assumed

 Contracts, but that objection was withdrawn. 8 Any modifications, amendments, supplements, and

 restatements to the Assumed Contracts that may have been executed by the Debtor during the

 Chapter 11 Case shall not be deemed to alter the prepetition nature of the Assumed Contracts or

 the validity, priority, or amount of any Claims that may arise in connection therewith. Assumption

 of any Assumed Contract pursuant to the Plan and full payment of any applicable Cure pursuant

 to the Plan shall result in the full release and satisfaction of any Cures, Claims, or defaults, whether

 monetary or nonmonetary, including defaults of provisions restricting the change in control or

 ownership interest composition or other bankruptcy-related defaults, arising under any assumed

 Executory Contract or Unexpired Lease at any time prior to the effective date of assumption.

                   69.         Compromises and Settlements Under and in Connection with the Plan

 (11 U.S.C. § 1123(b)(3)). All of the settlements and compromises pursuant to and in connection

 with the Plan, comply with the requirements of section 1123(b)(3) of the Bankruptcy Code and

 Bankruptcy Rule 9019.

                   70.         Debtor Release, Exculpation and Injunctions (11 U.S.C. § 1123(b)). The

 Debtor Release, Exculpation, and Injunction provisions provided in the Plan (i) are within the

 jurisdiction of the Bankruptcy Court under 28 U.S.C. § 1334; (ii) are integral elements of the

 transactions incorporated into the Plan, and inextricably bound with the other provisions of the

 Plan; (iii) confer material benefit on, and are in the best interests of, the Debtor, its Estate, and its

 8
   See Notice of Withdrawal of James Dondero’s Objection Debtor’s Proposed Assumption of Contracts and Cure
 Amounts Proposed in Connection Therewith [Docket No. 1876]


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 creditors; (iv) are fair, equitable, and reasonable; (v) are given and made after due notice and

 opportunity for hearing; (vi) satisfy the requirements of Bankruptcy Rule 9019; and (vii) are

 consistent with the Bankruptcy Code and other applicable law, and as set forth below.

                   71.         Debtor Release. Section IX.D of the Plan provides for the Debtor’s release

 of the Debtor’s and Estate’s claims against the Released Parties. Releases by a debtor are

 discretionary and can be provided by a debtor to persons who have provided consideration to the

 Debtor and its estate pursuant to section 1123(b)(3)(A) of the Bankruptcy Code. Contrary to the

 objections raised by Mr. Dondero and certain of the Dondero Related Entities, the Debtor Release

 is appropriately limited to release claims held by the Debtor and does not purport to release the

 claims held by the Claimant Trust, Litigation Sub-Trust, or other third parties. The Plan does not

 purport to release any claims held by third parties and the Bankruptcy Court finds that the Debtor

 Release is not a “disguised” release of any third party claims as asserted by certain objecting

 parties. The limited scope of the Debtor Release in the Plan was extensively negotiated with the

 Committee, particularly with the respect to the Debtor’s conditional release of claims against

 employees, as identified in the Plan, and the Plan’s conditions and terms of such releases. The

 Plan does not release (i) any obligations of any party under the Plan or any document, instrument,

 or agreement executed to implement the Plan, (ii) the rights or obligations of any current employee

 of the Debtor under any employment agreement or plan, (iii) the rights of the Debtor with respect

 to any confidentiality provisions or covenants restricting competition in favor of the Debtor under

 any employment agreement with a current or former employee of the Debtor, (iv) any Avoidance

 Actions, or (v) any Causes of Action arising from willful misconduct, criminal misconduct, actual



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 fraud, or gross negligence of such applicable Released Party as determined by Final Order of the

 Bankruptcy Court or any other court of competent jurisdiction. The Debtor Release also contains

 conditions to such releases as set forth in Article X.D of the Plan with respect to employees (the

 “Release Conditions”). Until the an employee satisfies the Release Conditions or the Release

 Conditions otherwise terminate, any claims against such employee will be tolled so that if the

 Release Conditions are not met the Litigation Trustee may pursue claims against an employee at a

 later date. The evidence before the Bankruptcy Court, including, but not limited to Mr. Seery’s

 testimony, demonstrates that the Debtor is not aware of any claims against any of the Released

 Parties, that the Released Parties have been instrumental in assisting the Debtor’s efforts toward

 confirmation of the Plan and that, therefore, the releases are a quid pro quo for the Released

 Parties’ significant contributions to a highly complex and contentious restructuring.           The

 Committee, whose members hold approximately $200 million in claims against the Estate, is

 highly sophisticated and is represented by highly sophisticated professionals, and has actively and

 vigorously negotiated the terms of the Debtor Release, which was the subject of significant

 controversy at the Initial Disclosure Statement hearing held by the Bankruptcy Court on October

 27, 2020.

                   72.         Exculpation. Section IX.C of the Plan provides for the exculpation of

 certain Exculpated Parties to the extent provided therein (the “Exculpation Provision”). As

 explained below, the Exculpation Provision is appropriate under the unique circumstances of this

 litigious Chapter 11 Case and consistent with applicable Fifth Circuit precedent. First, with respect

 to the Independent Directors, their agents, and their advisors, including any employees acting at



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 their direction, the Bankruptcy Court finds and concludes that it has already exculpated these

 parties for acts other than willful misconduct and gross negligence pursuant to the January 9 Order.

 The January 9 Order was specifically agreed to by Mr. Dondero, who was in control of the Debtor

 up until entry of the January 9 Order. The January 9 Order was not appealed. In addition to the

 appointment of the Independent Directors in an already contentious and litigious case, the January

 9 Order set the standard of care for the Independent Directors and specifically exculpated them for

 negligence. Mr. Seery and Mr. Dubel each testified that they had input into the contents of the

 January 9 Order and would not have agreed to their appointment as Independent Directors if the

 January 9 Order did not include the protections set forth in paragraph 10 of the January 9 Order.

 Paragraph 10 of the January 9 Order (1) requires that parties wishing to sue the Independent

 Directors or their agents and advisors must first seek approval from the Bankruptcy Court before

 doing so; (2) sets the standard of care for the Independent Directors during the Chapter 11 Case

 and exculpated the Independent Directors for acts other than willful misconduct or gross

 negligence; (3) only permits suits against the Independent Directors to proceed for colorable claims

 of willful misconduct and gross negligence upon order of the Bankruptcy Court; and (4) does not

 expire by its terms.

                   73.         Existing Exculpation of Independent Directors. The Bankruptcy Court

 also finds and concludes that it has already exculpated Mr. Seery acting in the capacity as Chief

 Executive Officer and Chief Restructuring Officer pursuant to the July 16 Order. The Bankruptcy

 Court concludes its previous approval of the exculpation of the Independent Directors, their agents,

 advisors and employees working at their direction pursuant to the January 9 Order, and the Chief



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 Executive Officer and Chief Restructuring Officer pursuant to the July 16 Order constitutes the

 law of this case and are res judicata pursuant to In re Republic Supply Co. v. Shoaf, 815 F.2d 1046

 (5th Cir.1987). The January 9 Order and July 16 Order cannot be collaterally attacked based on

 the objectors’ objection to the exculpation of the Independent Directors, their agents, and advisors,

 including any employees acting at their direction, as well as the Chief Executive Officer and Chief

 Restructuring Officer, that the Bankruptcy Court already approved pursuant to the January 9 Order

 and the July 16 Order.

                   74.         The Exculpation Provision Complies with Applicable Law. Separate

 and apart from the res judicata effect of the January 9 Order and the July 16 Order, the Bankruptcy

 Court also finds and concludes that the Exculpation Provision is consistent with applicable law,

 including In re Pacific Lumber Co., 584 F.3d 229 (5th Cir. 2009), for several reasons:

          a.       First, the statutory basis for Pacific Lumber’s denial of exculpation for certain
                   parties other than a creditors’ committee and its members is that section 524(e) of
                   the Bankruptcy Code “only releases the debtor, not co-liable third parties.” Pacific
                   Lumber, 253 F.3d. at 253. However, Pacific Lumber does not prohibit all
                   exculpations under the Bankruptcy Code and the court in such case specifically
                   approved the exculpations of a creditors’ committee and its members on the
                   grounds that “11 U.S.C. § 1103(c), which lists the creditors’ committee’s powers,
                   implies committee members have qualified immunity for actions within the scope
                   of their duties…. [I]f members of the committee can be sued by persons unhappy
                   with the committee’s performance during the case or unhappy with the outcome of
                   the case, it will be extremely difficult to find members to serve on an official
                   committee.” Pacific Lumber, 253 F.3d at 253 (quoting Lawrence P. King, et al,
                   Collier on Bankruptcy, ¶ 1103.05[4][b] (15th Ed. 2008]). Pacific Lumber’s
                   rationale for permitted exculpation of creditors’ committees and their members
                   (which was clearly policy-based and based on a creditors’ committee qualified
                   immunity flowing from their duties under section 1103(c) of the Bankruptcy Code
                   and their disinterestedness and importance in chapter 11 cases) does not preclude
                   exculpation to other parties in a particular chapter 11 case that perform similar roles
                   to a creditors’ committee and its members. The Independent Directors, and by
                   extension the Chief Executive Officer and Chief Restructuring Officer, were not

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                   part of the Debtor’s enterprise prior to their appointment by the Bankruptcy Court
                   under the January 9 Order. The Bankruptcy Court appointed the Independent
                   Directors in lieu of a chapter 11 trustee to address what the Bankruptcy Court
                   perceived as serious conflicts of interest and fiduciary duty concerns with the then-
                   existing management prior to January 9, 2020, as identified by the Committee. In
                   addition, the Bankruptcy Court finds that the Independent Directors expected to be
                   exculpated from claims of negligence, and would likely have been unwilling to
                   serve in contentious cases absent exculpation. The uncontroverted testimony of
                   Mr. Seery and Mr. Dubel demonstrates that the Independent Directors would not
                   have agreed to accept their roles without the exculpation and gatekeeper provision
                   in the January 9 Order. Mr. Dubel also testified as to the increasing important role
                   that independent directors are playing in complex chapter 11 restructurings and that
                   unless independent directors could be assured of exculpation for simple negligence
                   in contentious bankruptcy cases they would be reluctant to accept appointment in
                   chapter 11 cases which would adversely affect the chapter 11 restructuring process.
                   The Bankruptcy Court concludes that the Independent Directors were appointed
                   under the January 9 Order in order to avoid the appointment of a chapter 11 trustee
                   and are analogous to a creditors’ committee rather than an incumbent board of
                   directors. The Bankruptcy Court also concludes that if independent directors
                   cannot be assured of exculpation for simple negligence in contentious bankruptcy
                   cases, they may not be willing to serve in that capacity. Based upon the foregoing,
                   the Bankruptcy Court concludes that Pacific Lumber’s policy of exculpating
                   creditors’ committees and their members from “being sued by persons unhappy
                   with the committee’s performance during the case or unhappy with the outcome of
                   the case” is applicable to the Independent Directors in this Chapter 11 Case. 9

          b.       Second, the Bankruptcy Court also concludes that Pacific Lumber does not
                   preclude the exculpation of parties if there is a showing that “costs [that] the
                   released parties might incur defending against such suits alleging such negligence
                   are likely to swamp either the Exculpated Parties or the reorganization.” Pacific
                   Lumber, 584 F.3d at 252. If ever there was a risk of that happening in a chapter 11
                   reorganization, it is this one. Mr. Seery credibly testified that Mr. Dondero stated
                   outside the courtroom that if Mr. Dondero’s pot plan does not get approved, that
                   Mr. Dondero will “burn the place down.” The Bankruptcy Court can easily expect
                   that the proposed Exculpated Parties might expect to incur costs that could swamp
                   them and the reorganization based on the prior litigious conduct of Mr. Dondero
                   and his controlled entities that justify their inclusion in the Exculpation Provision.




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   The same reasoning applies to the inclusion of Strand in the Exculpation Provision because Strand is the general
 partner of the Debtor through which each of the Independent Board members act.


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                   75.         Injunction. Section IX.D of the Plan provides for a Plan inunction to

 implement and enforce the Plan’s release, discharge and release provisions (the “Injunction

 Provision”). The Injunction Provision is necessary to implement the provisions in the Plan. Mr.

 Seery testified that the Claimant Trustee will monetize the Debtor’s assets in order to maximize

 their value. In order to accomplish this goal, the Claimant Trustee needs to be able to pursue this

 objective without the interference and harassment of Mr. Dondero and his related entities,

 including the Dondero Related Entities. Mr. Seery also testified that if the Claimant Trust was

 subject to interference by Mr. Dondero, it would take additional time to monetize the Debtor’s

 assets and those assets could be monetized for less money to the detriment of the Debtor’s

 creditors. The Bankruptcy Court finds and concludes that the Injunction Provision is consistent

 with and permissible under Bankruptcy Code sections 1123(a), 1123(a)(6), 1141(a) and (c), and

 1142. The Bankruptcy Court rejects assertions by certain objecting parties that the Injunction

 Provision constitutes a “third-party release.” The Injunction Provision is appropriate under the

 circumstances of this Chapter 11 Case and complies with applicable bankruptcy law. The

 Bankruptcy Court also concludes that the terms “implementation” and “consummation” are neither

 vague nor ambiguous

                   76.         Gatekeeper Provision. Section IX.F of the Plan contains a provision

 contained in paragraph AA of this Confirmation Order and which the Debtor has referred to as a

 gatekeeper provision (the “Gatekeeper Provision”). The Gatekeeper Provision requires that

 Enjoined Parties first seek approval of the Bankruptcy Court before they may commence an action

 against Protected Parties. Thereafter, if the Bankruptcy Court determines that the action is



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 colorable, the Bankruptcy Court may, if it has jurisdiction, adjudicate the action. The Bankruptcy

 Court finds that the inclusion of the Gatekeeper Provision is critical to the effective and efficient

 administration, implementation, and consummation of the Plan. The Bankruptcy Court also

 concludes that the Bankruptcy Court has the statutory authority as set forth below to approve the

 Gatekeeper Provision.

                   77.         Factual Support for Gatekeeper Provision. The facts supporting the need

 for the Gatekeeper Provision are as follows. As discussed earlier in this Confirmation Order, prior

 to the commencement of the Debtor’s bankruptcy case, and while under the direction of Mr.

 Dondero, the Debtor had been involved in a myriad of litigation, some of which had gone on for

 years and, in some cases, over a decade. Substantially all of the creditors in this case are either

 parties who were engaged in litigation with the Debtor, parties who represented the Debtor in

 connection with such litigation and had not been paid, or trade creditors who provided litigation-

 related services to the Debtor. During the last several months, Mr. Dondero and the Dondero

 Related Entities have harassed the Debtor, which has resulted in further substantial, costly, and

 time-consuming litigation for the Debtor. Such litigation includes: (i) entry of a temporary

 restraining order and preliminary injunction against Mr. Dondero [Adv. Proc. No. 20-03190

 Docket No. 10 and 59] because of, among other things, his harassment of Mr. Seery and employees

 and interference with the Debtor’s business operations; (ii) a contempt motion against Mr.

 Dondero for violation of the temporary restraining order, which motion is still pending before the

 Bankruptcy Court [Adv. Proc. No. 20-03190 Docket No. 48]; (iii) a motion by Mr. Dondero’s

 controlled investors in certain CLOs managed by the Debtor that the Bankruptcy Court referred to



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 as frivolous and a waste of the Bankruptcy Court’s time [Docket No. 1528] which was denied by

 the Court [Docket No. 1605]; (iv) multiple plan confirmation objections focused on ensuring the

 Dondero Related Entities be able to continue their litigation against the Debtor and its successors

 post-confirmation [Docket Nos. 1661, 1667, 1670, 1673, 1676, 1677 and 1868]; (v) objections to

 the approval of the Debtor’s settlements with Acis and HarbourVest and subsequent appeals of the

 Bankruptcy Court’s order approving each of those settlements [Docket Nos. 1347 and 1870]; and

 (vi) a complaint and injunction sought against Mr. Dondero’s affiliated entities to prevent them

 from violating the January 9 Order and entry of a restraining order against those entities [Adv Proc.

 No. 21-03000 Docket No 1] (collectively, the “Dondero Post-Petition Litigation”).

                   78.         Findings Regarding Dondero Post-Petition Litigation. The Bankruptcy

 Court finds that the Dondero Post-Petition Litigation was a result of Mr. Dondero failing to obtain

 creditor support for his plan proposal and consistent with his comments, as set forth in Mr. Seery’s

 credible testimony, that if Mr. Dondero’s plan proposal was not accepted, he would “burn down

 the place.” The Bankruptcy Court concludes that without appropriate protections in place, in the

 form of the Gatekeeper Provision, Mr. Dondero and his related entities will likely commence

 litigation against the Protected Parties after the Effective Date and do so in jurisdictions other than

 the Bankruptcy Court in an effort to obtain a forum which Mr. Dondero perceives will be more

 hospitable to his claims. The Bankruptcy Court also finds, based upon Mr. Seery’s testimony, that

 the threat of continued litigation by Mr, Dondero and his related entities after the Effective Date

 will impede efforts by the Claimant Trust to monetize assets for the benefit of creditors and result




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 in lower distributions to creditors because of costs and distraction such litigation or the threats of

 such litigation would cause.

                   79.         Necessity of Gatekeeper Provision. The Bankruptcy Court further finds

 that unless the Bankruptcy Court approves the Gatekeeper Provision, the Claimant Trustee and the

 Claimant Trust Oversight Board will not be able to obtain D&O insurance, the absence of which

 will present unacceptable risks to parties currently willing to serve in such roles. The Bankruptcy

 Court heard testimony from Mark Tauber, a Vice President with AON Financial Services, the

 Debtor’s insurance broker (“AON”), regarding his efforts to obtain D&O insurance. Mr. Tauber

 credibly testified that of all the insurance carriers that AON approached to provide D&O insurance

 coverage after the Effective Date, the only one willing to do so without an exclusion for claims

 asserted by Mr. Dondero and his affiliates otherwise requires that this Order approve the

 Gatekeeper Provision. Based on the foregoing, the Bankruptcy Court finds that the Gatekeeper

 Provision is necessary and appropriate in light of the history of the continued litigiousness of Mr.

 Dondero and his related entities in this Chapter 11 Case and necessary to the effective and efficient

 administration, implementation and consummation of the Plan and is appropriate pursuant to

 Carroll v. Abide (In re Carroll) 850 F.3d 811 (5th Cir. 2017). Approval of the Gatekeeper

 Provision will prevent baseless litigation designed merely to harass the post-confirmation entities

 charged with monetizing the Debtor’s assets for the benefit of its economic constituents, will avoid

 abuse of the court system and preempt the use of judicial time that properly could be used to

 consider the meritorious claims of other litigants. Any suit against a Protected Party would

 effectively be a suit against the Debtor, and the Debtor may be required to indemnify the Protected



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 Parties under the Limited Partnership Agreement, which will remain in effect through the Effective

 Date, or those certain Indemnification and Guaranty Agreements, dated January 9, 2020, between

 Strand, the Debtor, and each Independent Director, following the Confirmation Date as each such

 agreement will be assumed pursuant to 11 U.S.C. § 365 pursuant to the Plan.

                   80.         Statutory Authority to Approve Gatekeeper Provision.               The

 Bankruptcy Court finds it has the statutory authority to approve the Gatekeeper Provision under

 sections 1123(a)(5), 1123(b)(6), 1141, 1142(b), and 105(a). The Gatekeeper Provision is also

 within the spirit of the Supreme Court’s “Barton Doctrine.” Barton v. Barbour, 104 U.S. 126

 (1881). The Gatekeeper Provision is also consistent with the notion of a prefiling injunction to

 deter vexatious litigants, that has been approved by the Fifth Circuit in such cases as Baum v. Blue

 Moon Ventures, LLC, 513 F.3d 181, 189 (5th Cir. 2008), and In re Carroll, 850 F.3d 811 (5th Cir.

 2017).

                   81.         Jurisdiction to Implement Gatekeeper Provision. The Bankruptcy Court

 finds that it will have jurisdiction after the Effective Date to implement the Gatekeeper Provision

 as post-confirmation bankruptcy court jurisdiction has been interpreted by the Fifth Circuit under

 United States Brass Corp. v. Travelers Ins. Group, Inc. (In re United States Brass Corp.), 301 F.3d

 296 (5th Cir. 2002) and EOP-Colonnade of Dallas Ltd. P’Ship v. Faulkner (In re Stonebridge

 Techs., Inc.), 430 F.3d 260 (5th Cir. 2005). Based upon the rationale of the Fifth Circuit in Villegas

 v. Schmidt, 788 F.3d 156, 158-59 (5th Cir. 2015), the Bankruptcy Court’s jurisdiction to act as a

 gatekeeper does not violate Stern v. Marshall. The Bankruptcy Court’s determination of whether




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 a claim is colorable, which the Bankruptcy Court has jurisdiction to determine, is distinct from

 whether the Bankruptcy Court would have jurisdiction to adjudicate any claim it finds colorable.

                   82.         Resolution of Objections of Scott Ellington and Isaac Leventon. Each

 of Scott Ellington (“Mr. Ellington”) and Isaac Leventon (“Mr. Leventon”) (each, a “Senior

 Employee Claimant”) has asserted certain claims for liquidated but unpaid bonus amounts for the

 following periods: 2016, 2017, and 2018, as set forth in Exhibit A to that certain Senior Employees’

 Limited Objection to Debtor’s Fifth Amended Plan of Reorganization [Docket No. 1669] (the

 “Senior Employees’ Objection”) (for each of Mr. Ellington and Mr. Leventon, the “Liquidated

 Bonus Claims”).

          a.       Mr. Ellington has asserted Liquidated Bonus Claims in the aggregate amount of
                   $1,367,197.00, and Mr. Leventon has asserted Liquidated Bonus Claims in the
                   aggregate amount of $598,198.00. Mr. Ellington received two Ballots 10 – a Ballot
                   for Class 7 of the Plan and a Ballot for Class 8 of the Plan. Mr. Ellington completed
                   and timely returned both of such Ballots, voted to reject the Plan, and elected to
                   have his Class 8 Liquidated Bonus Claims treated under Class 7 of the Plan, subject
                   to the objections and reservations of rights set forth in the Senior Employees’
                   Objection. If Mr. Ellington is permitted to elect Class 7 treatment for his Liquidated
                   Bonus Claims, then the maximum amount of his Liquidated Bonus Claims will be
                   $1,000,000.

          b.       Mr. Leventon received two Ballots—a Ballot for Class 7 of the Plan and a Ballot
                   for Class 8 of the Plan. Mr. Leventon completed and timely returned both of such
                   Ballots and voted each such Ballots to rejected the Plan.

          c.       The Senior Employees’ Objection, among other things, objects to the Plan on the
                   grounds that the Debtor improperly disputes the right of Mr. Ellington to elect Class
                   7 treatment for his Liquidated Bonus Claims and Mr. Leventon’s entitlement to
                   receive Class 7 Convenience Class treatment for his Liquidated Bonus Claims. The
                   Debtor contended that neither Mr. Ellington or Mr. Leventon were entitled to elect
                   to receive Class 7 Convenience Class treatment on account of their Liquidated


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   As defined in the Plan, “Ballot” means the forms(s) distributed to holders of Impaired Claims or Equity Interests
 entitled to vote on the Plan on which to indicate their acceptance or rejection of the Plan.


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                   Bonus Claims under the terms of the Plan, the Disclosure Statement Order or
                   applicable law.

          d.       The Debtor and Mr. Ellington and Mr. Leventon negotiated at arms’ length in an
                   effort to resolve all issues raised in the Senior Employee’s Objection, including
                   whether or not Mr. Ellington and Mr. Leventon were entitled to Class 7
                   Convenience Class treatment of their Liquidated Bonus Claims. As a result of such
                   negotiation, the Debtor, Mr. Ellington, and Mr. Leventon have agreed to the
                   settlement described in paragraphs 82(e) through 82(k) below and approved and
                   effectuated pursuant to decretal paragraphs RR through SS (the “Senior Employees'
                   Settlement”).

          e.       Under the terms of the Senior Employees' Settlement, the Debtor has the right to
                   elect one of two treatments of the Liquidated Bonus Claims for a Senior Employee
                   Claimant. Under the first treatment option (“Option A”), the Liquidated Bonus
                   Claims will be entitled to be treated in Class 7 of the Plan, and the Liquidated Bonus
                   Claims will be entitled to receive payment in an amount equal to 70.125% of the
                   Class 7 amount of the Liquidated Bonus Claims, subject to the Liquidated Bonus
                   Claims becoming Allowed Claims under the terms of the Plan. Under this
                   calculation, Mr. Ellington would be entitled to receive $701,250.00 on account of
                   his Class 7 Convenience Class Claim when and as Allowed under the Plan, and Mr.
                   Leventon would be entitled to receive $413,175.10 on account of his Class 7
                   Convenience Class Claim when and as Allowed under the Plan. If, however, any
                   party in interest objects to the allowance of the Senior Employee Claimant's
                   Liquidated Bonus Claims and does not prevail in such objection, then such Senior
                   Employee Claimant will be entitled to a payment in an amount equal to 85% of his
                   Allowed Liquidated Bonus Claims (subject, in the case of Mr. Ellington, to the cap
                   imposed on Class 7 Claims). In addition, under Option A, each of Mr. Ellington
                   and Mr. Leventon would retain their respective rights to assert that the Liquidated
                   Bonus Claims are entitled to be treated as Administrative Expense Claims, as
                   defined in Article I.B.2. of the Plan, in which case the holder of such Liquidated
                   Bonus Claims would be entitled to payment in full of the Allowed Liquidated
                   Bonus Claims. Under Option A, parties in interest would retain the right to object
                   to any motion seeking payment of the Liquidated Bonus Amounts as
                   Administrative Expenses.

          f.       Under the second treatment option (“Option B”), the Debtor would agree that the
                   Senior Employee Claimant has Allowed Liquidated Bonus Claims, no longer
                   subject to objection by any party in interest, in the amounts of the Liquidated Bonus
                   Claims (subject, in the case of Mr. Ellington, to the cap imposed by Class 7). If the
                   Debtor elects Option B as to a Senior Employee Claimant, then such Senior
                   Employee Claimant would be entitled to a payment on account of his Allowed
                   Liquidated Bonus Claims in an amount equal to 60% of the amount of the


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                   Liquidated Bonus Claims (which, in Mr. Ellington’s case, would be $600,000 and
                   in Mr. Leventon’s case, would be $358,918.80), and such payment would be the
                   sole recovery on account of such Allowed Liquidated Bonus Claims.

          g.       The Debtor may, with the consent of the Committee, elect Option B with respect to
                   a Senior Employee Claimant at any time prior to the occurrence of the Effective
                   Date. If the Debtor does not make an election, then Option A will apply.

          h.       Under either Option A or Option B, Mr. Ellington and Mr. Leventon will retain all
                   their rights with respect to all Claims other than the Liquidated Bonus Amounts,
                   including, but not limited to, their Class 6 PTO Claims, other claims asserted as
                   Class 8 General Unsecured Claims, the Senior Employees’ claims for
                   indemnification against the Debtor, and any other claims that they may assert
                   constitute Administrative Expense Claims, and any other such Claims are subject
                   to the rights of any party in interest to object to such Claims, and the Debtor reserves
                   any all of its rights and defenses in connection therewith.

          i.       Subject to entry of this Confirmation Order and as set forth and announced on the
                   record at the hearing on confirmation of the Plan and no party objecting thereto,
                   Mr. Ellington and Mr. Leventon agreed to change the votes in their respective
                   Ballots from rejection to acceptance of the Plan and to withdraw the Senior
                   Employees’ Objection.

          j.       The Senior Employees’ Settlement represents a valid exercise of the Debtor’s
                   business judgment and satisfies the requirements for a compromise under
                   Bankruptcy Rule 9019(a).

          k.       For the avoidance of doubt, neither Mr. Leventon nor Mr. Ellington shall be a
                   Released Party under the Plan regardless of how the Senior Employee Claimants’
                   Claims are to be treated hereunder.

          Based upon the foregoing findings, and upon the record made before the Bankruptcy Court

 at the Confirmation Hearing, and good and sufficient cause appearing therefor, it is hereby

 ORDERED, ADJUDGED AND DECREED THAT:

                   A.          Confirmation of the Plan. The Plan is approved in its entirety and

 CONFIRMED under section 1129 of the Bankruptcy Code. The terms of the Plan, including the




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 Plan Supplements and Plan Modifications, are incorporated by reference into and are an integral

 part of this Confirmation Order. 11

                     B.        Findings of Fact and Conclusions of Law. The findings of fact and the

 conclusions of law set forth in this Confirmation Order and on the record of the Confirmation

 Hearing constitute findings of fact and conclusions of law in accordance with Bankruptcy Rule

 7052, made applicable to this proceeding by Bankruptcy Rule 9014. All findings of fact and

 conclusion of law announced by the Bankruptcy Court at the Confirmation Hearing in relation to

 confirmation of the Plan are hereby incorporated into this Confirmation Order. To the extent that

 any of the following constitutes findings of fact or conclusions of law, they are adopted as such.

 To the extent any findings of fact or conclusions of law set forth in this Confirmation Order

 (including any findings of fact or conclusions of law announced by the Bankruptcy Court at the

 Confirmation Hearing and incorporated herein) constitutes an order of the Bankruptcy Court, and

 is adopted as such.

                     C.        Objections. Any resolution or disposition of objections to confirmation of

 the Plan or otherwise ruled upon by the Bankruptcy Court on the record of the Confirmation

 Hearing is hereby incorporated by reference.               All objections and all reservations of rights

 pertaining to confirmation of the Plan that have not been withdrawn, waived or settled are

 overruled on the merits, except as otherwise specifically provided in this Confirmation Order.

                     D.        Plan Supplements and Plan Modifications.             The filing with the

 Bankruptcy Court of the Plan Supplements and the Plan Modifications constitutes due and


 11
      The Plan is attached hereto as Exhibit A.


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 sufficient notice thereof. Accordingly, pursuant to section 1127(a) of the Bankruptcy Code and

 Bankruptcy Rule 3019, the Plan Modifications and the Plan Supplements do not require additional

 disclosure under section 1125 of the Bankruptcy Code or resolicitation of votes under section 1126

 of the Bankruptcy Code, nor do they require that Holders of Claims or Equity Interests be afforded

 an opportunity to change previously cast acceptances or rejections of the Plan.         The Plan

 Modifications and the Plan Supplements constitute the Plan pursuant to section 1127(a) of the

 Bankruptcy Code. Accordingly, the Plan, as modified, is properly before the Bankruptcy Court

 and all votes cast with respect to the Plan prior to such modification shall be binding and shall

 apply with respect to the Plan.

                   E.          Deemed Acceptance of Plan. In accordance with section 1127 of the

 Bankruptcy Code and Bankruptcy Rule 3019, all Holders of Claims and Equity Interests who voted

 to accept the Plan (or whom are conclusively presumed to accept the Plan) are deemed to have

 accepted the Plan as modified by the Plan Modifications. No holder of a Claim shall be permitted

 to change its vote as a consequence of the Plan Modifications.

                   F.          Vesting of Assets in the Reorganized Debtor.   Except as otherwise

 provided in the Plan or this Confirmation Order, on or after the Effective Date, all Reorganized

 Debtor Assets will vest in the Reorganized Debtor, free and clear of all Liens, Claims, charges or

 other encumbrances pursuant to section 1141(c) of the Bankruptcy Code, except with respect to

 such Liens, Claims, charges, and other encumbrances that are specifically preserved under the Plan

 upon the Effective Date. The Reorganized Debtor shall be the exclusive trustee of the Reorganized

 Debtor Assets for purposes of 31 U.S.C. § 3713(b) and 26 U.S.C. § 6012(b)(3), as well as the



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 representative of the Estate appointed pursuant to section 1123(b)(3)(B) of the Bankruptcy Code

 with respect to the Reorganized Debtor Assets.

                   G.          Effectiveness of All Actions.   All actions contemplated by the Plan,

 including all actions in connection with the Claimant Trust Agreement, the Senior Employee

 Stipulation, the New GP LLC Documents, the New Frontier Note, the Reorganized Limited

 Partnership Agreement, the Litigation Sub-Trust Agreement, and the other Plan Documents, are

 authorized to be taken on, prior to, or after the Effective Date, as applicable, under this

 Confirmation Order, without further application to or order of the Bankruptcy Court, or further

 action by the directors, managers, officers or partners of the Debtor or the Reorganized Debtor and

 with the effect that such actions had been taken by unanimous action of such parties.

                   H.          Restructuring Transactions.     The Debtor or Reorganized Debtor, as

 applicable, are authorized to enter into and effectuate the Restructuring provided under the Plan,

 including, without limitation, the entry into and consummation of the transactions contemplated

 by the Claimant Trust Agreement, the Senior Employee Stipulation, the New GP LLC Documents,

 the New Frontier Note, the Reorganized Limited Partnership Agreement, the Litigation Sub-Trust

 Agreement, and the other Plan Documents, and may take any actions as may be necessary or

 appropriate to effect a corporate restructuring of its business or a corporate restructuring of the

 overall corporate structure of the Reorganized Debtor, as and to the extent provided in the Plan.

 Any transfers of assets or equity interests effected or any obligations incurred through the

 Restructuring pursuant to the Plan are hereby approved and shall not constitute fraudulent

 conveyances or fraudulent transfers or otherwise be subject to avoidance.



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                   I.          Preservation of Causes of Action. Unless a Cause of Action against a

 Holder of a Claim or an Equity Interest or other Entity is expressly waived, relinquished, released,

 compromised or settled in the Plan or any Final Order (including, without limitation, this

 Confirmation Order), such Cause of Action is expressly reserved for later adjudication by the

 Reorganized Debtor, the Litigation Sub-Trust, or the Claimant Trust, as applicable (including,

 without limitation, Causes of Action not specifically identified or of which the Debtor may

 presently be unaware or that may arise or exist by reason of additional facts or circumstances

 unknown to the Debtor at this time or facts or circumstances that may change or be different from

 those the Debtor now believes to exist) and, therefore, no preclusion doctrine, including, without

 limitation, the doctrines of res judicata, collateral estoppel, issue preclusion, claim preclusion,

 waiver, estoppel (judicial, equitable or otherwise) or laches will apply to such Causes of Action as

 a consequence of the confirmation, effectiveness, or consummation of the Plan based on the

 Disclosure Statement, the Plan, or this Confirmation Order, except where such Causes of Action

 have been expressly released in the Plan or any other Final Order (including, without limitation,

 this Confirmation Order). In addition, the right of the Reorganized Debtor, the Claimant Trust, or

 the Litigation Sub-Trust to pursue or adopt any claims alleged in any lawsuit in which the Debtor

 is a plaintiff, defendant or an interested party, against any Entity, including, without limitation, the

 plaintiffs or co-defendants in such lawsuits, is expressly reserved.

                   J.          Independent Board of Directors of Strand. The terms of the current

 Independent Directors shall expire on the Effective Date without the need for any further or other

 action by any of the Independent Directors. For avoidance of doubt, the Assumed Contracts



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 include the Indemnification and Guaranty Agreement between Highland Capital Management,

 Strand Advisors, Inc. and James Seery; the Indemnification and Guaranty Agreement between

 Highland Capital Management, Strand Advisors, Inc. and John Dubel and Indemnification and

 Guaranty Agreement between Highland Capital Management, Strand Advisors, Inc. and Russell

 Nelms and shall each remain in full force and effect notwithstanding the expiration of the terms of

 any Independent Directors.

                   K.          Cancellation of Equity Interests and Issuance of New Partnership

 Interests. On the Effective Date, all Class A Limited Partnership Interests, including the Class A

 Limited Partnership Interests held by Strand, as general partner, and Class B/C Limited

 Partnerships in the Debtor will be deemed cancelled, and all obligations or debts owed by, or

 Claims against, the Debtor on account of, or based upon, such Class A Limited Partnership

 Interests and Class B/C Limited Partnership Interests shall be deemed as cancelled, released, and

 discharged, including all obligations or duties by the Debtor relating to the Equity Interests in any

 of the Debtor’s formation documents, including the Limited Partnership Agreement. As of the

 Effective Date and pursuant to the Plan, new Class A Limited Partnership Interests in the

 Reorganized Debtor will be issued to the Claimant Trust and New GP LLC. The Claimant Trust,

 as limited partner, will ratify New GP LLC’s appointment as general partner of the Reorganized

 Debtor, and on and following the Effective Date, the Claimant Trust will be the Reorganized

 Debtor’s limited partner and New GP LLC will be its general partner. The Claimant Trust, as

 limited partner, and New GP LLC, as general partner, will execute the Reorganized Limited

 Partnership Agreement, which will amend and restate, in all respects, the Debtor’s current Limited



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 Partnership Agreement. Following the Effective Date, the Reorganized Debtor will be managed

 consistent with the terms of the Reorganized Limited Partnership Agreement by New GP LLC.

 The sole managing member of New GP LLC will be the Claimant Trust, and the Claimant Trustee

 will be the sole officer of New GP LLC on the Effective Date.

                   L.          Transfer of Assets to Claimant Trust. On or prior to the Effective Date,

 the Debtor shall irrevocably transfer and shall be deemed to have irrevocably transferred to the

 Claimant Trust all of its rights, title, and interest in and to all of the Claimant Trust Assets, and in

 accordance with section 1141 of the Bankruptcy Code, the Claimant Trust Assets shall

 automatically vest in the Claimant Trust free and clear of all Claims, Liens, encumbrances, or

 interests subject only to the Claimant Trust Interests and the Claimant Trust Expenses, as provided

 for in the Claimant Trust Agreement, and such transfer shall be exempt from any stamp, real estate

 transfer, mortgage from any stamp, transfer, reporting, sales, use, or other similar tax. Following

 the Effective Date, the Claimant Trust will administer the Claimant Trust Assets pursuant to the

 Plan and the Claimant Trust Agreement.

                   M.          Transfer of Estate Claims to Litigation Sub-Trust. On or prior to the

 Effective Date, the Claimant Trust shall irrevocably transfer and shall be deemed to have

 irrevocably transferred to the Litigation Sub-Trust all of the Claimant Trust’s rights, title, and

 interest in and to all of the Estate Claims as successor in interest to the Debtor, and in accordance

 with section 1141 of the Bankruptcy Code, the Estate Claims shall automatically vest in the

 Litigation Sub-Trust free and clear of all Claims, Liens, encumbrances, or interests subject only to

 the Litigation Sub-Trust Interests and Litigation Sub-Trust Expenses. The Litigation Trustee will



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 be authorized to investigate, pursue, and otherwise resolve the Estate Claims pursuant to the terms

 of the Litigation Sub-Trust Agreement and the Plan, including as successor in interest to the Debtor

 or Committee, as applicable, in any litigation commenced prior to the Effective Date in which

 Estate Claims are asserted.

                   N.          Compromise of Controversies. In consideration for the distributions and

 other benefits, including releases, provided under the Plan, the provisions of the Plan constitute a

 good faith compromise and settlement of all Claims, Equity Interests, and controversies resolved

 under the Plan and the entry of this Confirmation Order constitutes approval of such compromise

 and settlement under Bankruptcy Rule 9019.

                   O.          Objections to Claims. The Claims Objection Deadline shall be the date

 that is 180 days after the Effective Date, provided, however, that the Claims Objection Deadline

 may be extended by the Bankruptcy Court upon a motion by the Claimant Trustee and as otherwise

 provided under the Plan.

                   P.          Assumption of Contracts and Leases. Effective as of the date of this

 Confirmation Order, each of the Assumed Contacts shall be assumed by the Debtor without the

 need for any further notice to or action, order, or approval of the Bankruptcy Court, under section

 365 of the Bankruptcy Code and the payment of Cures, if any, shall be paid in accordance with the

 Plan.    Each Assumed Contract shall include all modifications, amendments, supplements,

 restatements, or other agreements related thereto, and all rights related thereto, if any, including

 all easements, licenses, permits, rights, privileges, immunities, options, rights of first refusal, and

 any other interests. Modifications, amendments, supplements, and restatements to any of the



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 Assumed Contracts that have been executed by the Debtor during the Chapter 11 Case shall not

 be deemed to alter the prepetition nature of such Assumed Contracts or the validity, priority, or

 amount of any Claims that may arise in connection therewith. Assumption of the Assumed

 Contracts pursuant to Article V.A of the Plan and full payment of any applicable Cure pursuant to

 the Plan shall result in the full release and satisfaction of any Cures, Claims, or defaults, whether

 monetary or nonmonetary, including defaults of provisions restricting the change in control or

 ownership interest composition, or other bankruptcy-related defaults, arising under any Assumed

 Contracts.

                   Q.          Rejection of Contracts and Leases. Unless previously assumed during the

 pendency of the Chapter 11 Case or pursuant to the Plan, all other Executory Contracts and

 Unexpired Leases are rejected as of the date of the entry of this Confirmation Order and pursuant

 to the terms of the Plan. To the extent that any party asserts any damages resulting from the

 rejection of any Executory Contract or Unexpired Lease, such claim must be filed within thirty

 (30) days following entry of this Confirmation Order, or such claim will be forever barred and

 disallowed against the Reorganized Debtor.

                   R.          Assumption of Issuer Executory Contracts. On the Confirmation Date,

 the Debtor will assume the agreements set forth on Exhibit B hereto (collectively, the “Issuer

 Executory Contracts”) pursuant to section 365 of the Bankruptcy Code and Article V of the Plan.

 In full and complete satisfaction of its obligation to cure outstanding defaults under section

 365(b)(1) of the Bankruptcy Code, the Debtor or, as applicable, any successor manager under the




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 Issuer Executory Contracts (collectively, the “Portfolio Manager”) will pay to the Issuers 12 a

 cumulative amount of $525,000 (the “Cure Amount”) as follows:

          a.       $200,000 in cash on the date that is five business days from the Effective Date, with
                   such payment paid directly to Schulte Roth & Zabel LLP (“SRZ”) in the amount of
                   $85,714.29, Jones Walker LLP (“JW”) in the amount of $72,380.95, and Maples
                   Group (“Maples” and collectively with SRZ and JW, the “Issuers’ Counsel”) in the
                   amount of $41,904.76 as reimbursement for the attorney’s fees and other legal
                   expenses incurred by the Issuers in connection with the Debtor’s bankruptcy case;
                   and

          b.       $325,000 in four equal quarterly payments of $81,250.00 (each, a “Payment”),
                   which amounts shall be paid to SRZ in the amount of $34,821.43, JW in the amount
                   of $29,404.76, and Maples in the amount of $17,023.81 as additional
                   reimbursement for the attorney’s fees and other legal expenses incurred by the
                   Issuers in connection with the Debtor’s bankruptcy case (i) from any management
                   fees actually paid to the Portfolio Manager under the Issuer Executory Contracts
                   (the “Management Fees”), and (ii) on the date(s) Management Fees are required to
                   be paid under the Issuer Executory Contracts (the “Payment Dates”), and such
                   obligation shall be considered an irrevocable direction from the Debtor and the
                   Bankruptcy Court to the relevant CLO Trustee to pay, on each Payment Date, the
                   Payment to Issuers’ Counsel, allocated in the proportion set forth in such
                   agreement; provided, however, that (x) if the Management Fees are insufficient to
                   make any Payment in full on a Payment Date, such shortfall, in addition to any
                   other amounts due hereunder, shall be paid out of the Management Fees owed on
                   the following Payment Date, and (y) nothing herein shall limit either Debtor’s
                   liability to pay the amounts set forth herein, nor the recourse of the Issuers or
                   Issuers’ Counsel to the Debtor, in the event of any failure to make any Payment.

                   S.          Release of Issuer Claims. Effective as of the Confirmation Date, and to

 the maximum extent permitted by law, each Issuer on behalf of itself and each of its current and

 former advisors, trustees, directors, officers, managers, members, partners, employees,

 beneficiaries, shareholders, agents, participants, subsidiaries, parents, successors, designees, and

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   The “Issuers” are: Brentwood CLO, Ltd., Gleneagles CLO, Ltd., Greenbriar CLO, Ltd., Highland CLO 2018-1,
 Ltd., Highland Legacy Limited, Highland Loan Funding V Ltd., Highland Park CDO I, Ltd., Pam Capital Funding
 LP, Rockwall CDO II Ltd., Rockwall CDO Ltd., Southfork CLO Ltd., Stratford CLO Ltd., Westchester CLO, Ltd.,
 Aberdeen Loan Funding, Ltd., Eastland CLO, Ltd., Grayson CLO, Ltd., Highland Credit Opportunities CDO Ltd.,
 Jasper CLO, Ltd., Liberty Cayman Holdings, Ltd., Liberty CLO, Ltd., Red River CLO, Ltd., Valhalla CLO, Ltd.


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 assigns hereby forever, finally, fully, unconditionally, and completely releases, relieves, acquits,

 remises, and exonerates, and covenants never to sue, (i) the Debtor and (ii) the Professionals

 retained by the Debtor and the Committee in the Chapter 11 Case, the Independent Directors, the

 CEO/CRO, and with respect to the Persons listed in this subsection (ii), such Person’s Related

 Persons (collectively, the “Debtor Released Parties”), for and from any and all claims, debts,

 liabilities, demands, obligations, promises, acts, agreements, liens, losses, costs and expenses

 (including, without limitation, attorney’s fees and related costs), damages, injuries, suits, actions,

 and causes of action of whatever kind or nature, whether known or unknown, suspected or

 unsuspected, matured or unmatured, liquidated or unliquidated, contingent or fixed, at law or in

 equity, statutory or otherwise, including, without limitation, any claims, defenses, and affirmative

 defenses, whether known or unknown, including, without limitation, those which were or could

 have been asserted in, in connection with, or with respect to the Bankruptcy Case (collectively, the

 “Issuer Released Claims”).

                   T.          Release of Debtor Claims against Issuer Released Parties. Upon entry

 of this Order, and to the maximum extent permitted by law, the Debtor hereby forever, finally,

 fully, unconditionally, and completely releases, relieves, acquits, remises, and exonerates, and

 covenants never to sue [(i) each Issuer and (ii) Wendy Ebanks, (iii) Yun Zheng, (iv) Laura

 Chisholm, (v) Mora Goddard, (vi) Stacy Bodden, (vii) Suzan Merren (viii) Scott Dakers, (ix) Samit

 Ghosh, (x) Inderjit Singh, (xi) Ellen Christian, (xii) Andrew Dean, (xiii) Betsy Mortel, (xiv) David

 Hogan, (xv) Cleveland Stewart, (xvi) Rachael Rankin, (xvii) Otelia Scott, (xviii) Martin Couch,

 (xx) Ferona Bartley-Davis, (xxi) Charlotte Cloete, (xxii) Christina McLean, (xxiii) Karen Ellerbe,



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 (xxiv) Gennie Kay Bigord, (xxv) Evert Brunekreef, (xxvii) Evan Charles Burtton (collectively,

 the “Issuer Released Parties”),] for and from any and all claims, debts, liabilities, demands,

 obligations, promises, acts, agreements, liens, losses, costs and expenses (including, without

 limitation, attorney’s fees and related costs), damages, injuries, suits, actions, and causes of action

 of whatever kind or nature, whether known or unknown, suspected or unsuspected, matured or

 unmatured, liquidated or unliquidated, contingent or fixed, at law or in equity, statutory or

 otherwise, including, without limitation, any claims, defenses, and affirmative defenses, whether

 known or unknown, which were or could have been asserted in, in connection with, or with respect

 to the Bankruptcy Case (collectively, the “Debtor Released Claims”); provided, however, that

 notwithstanding anything herein to the contrary, the release contained herein will apply to the

 Issuer Released Parties set forth in subsection (ii) above only with respect to Debtor Released

 Claims arising from or relating to the Issuer Executory Contracts. Notwithstanding anything in

 this Order to the contrary, the releases set forth in paragraphs S and T hereof will not apply with

 respect to the duties, rights, or obligations of the Debtor or any Issuer hereunder.

                   U.          Authorization to Consummate. The Debtor is authorized to consummate

 the Plan after the entry of this Confirmation Order subject to satisfaction or waiver of the

 conditions precedent to the Effective Date of the Plan set forth in Article VIII.A of the Plan. The

 Plan shall not become effective unless and until the conditions set forth in Article VIII.A of the

 Plan have been satisfied, or otherwise waived pursuant to Article VIII.B of the Plan.

                   V.          Professional Compensation. All requests for payment of Professional Fee

 Claims for services rendered and reimbursement of expenses incurred prior to the Effective Date



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 must be filed no later than sixty (60) days after the Effective Date. The Bankruptcy Court shall

 determine the Allowed amounts of such Professional Fee Claims after notice and an opportunity

 for hearing in accordance with the procedures established by the Bankruptcy Code and the

 Bankruptcy Court. The Debtor shall fund the Professional Fee Reserve as provided under the Plan.

 The Reorganized Debtor shall pay Professional Fee Claims in Cash in the amounts the Bankruptcy

 Court allows. The Debtor is authorized to pay the pre-Effective Date fees and expenses of all

 ordinary course professionals in the ordinary course of business without the need for further

 Bankruptcy Court order or approval. From and after the Effective Date, any requirement that

 Professionals comply with sections 327 through 331 and 1103 (if applicable) of the Bankruptcy

 Code in seeking retention or compensation for services rendered after such date shall terminate,

 and the Reorganized Debtor or Claimant Trustee, as applicable, may employ and pay any

 Professional or Entity employed in the ordinary course of the Debtor’s business without any further

 notice to or action, order, or approval of the Bankruptcy Court.

                   W.          Release, Exculpation, Discharge, and Injunction Provisions.        The

 following release, exculpation, discharge, and injunction provisions set forth in the Plan are

 approved and authorized in their entirety, and such provisions are effective and binding on

 all parties and Entities to the extent provided therein.

                   X.          Discharge of Claims and Termination of Interests. To the fullest extent

 provided under section 1141(d)(1)(A) and other applicable provisions of the Bankruptcy Code,

 except as otherwise expressly provided by the Plan or this Confirmation Order, all consideration

 distributed under the Plan will be in exchange for, and in complete satisfaction, settlement,



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 discharge, and release of, all Claims and Equity Interests of any kind or nature whatsoever against

 the Debtor or any of its Assets or properties, and regardless of whether any property will have been

 distributed or retained pursuant to the Plan on account of such Claims or Equity Interests. Except

 as otherwise expressly provided by the Plan or this Confirmation Order, upon the Effective Date,

 the Debtor and its Estate will be deemed discharged and released under and to the fullest extent

 provided under section 1141(d)(1)(A) and other applicable provisions of the Bankruptcy Code

 from any and all Claims and Equity Interests of any kind or nature whatsoever, including, but not

 limited to, demands and liabilities that arose before the Confirmation Date, and all debts of the

 kind specified in section 502(g), 502(h), or 502(i) of the Bankruptcy Code.

                   Y.          Exculpation. Subject in all respects to Article XII.D of the Plan, to the

 maximum extent permitted by applicable law, no Exculpated Party will have or incur, and each

 Exculpated Party is hereby exculpated from, any claim, obligation, suit, judgment, damage,

 demand, debt, right, Cause of Action, remedy, loss, and liability for conduct occurring on or after

 the Petition Date in connection with or arising out of (i) the filing and administration of the Chapter

 11 Case; (ii) the negotiation and pursuit of the Disclosure Statement, the Plan, or the solicitation

 of votes for, or confirmation of, the Plan; (iii) the funding or consummation of the Plan (including

 the Plan Supplement) or any related agreements, instruments, or other documents, the solicitation

 of votes on the Plan, the offer, issuance, and Plan Distribution of any securities issued or to be

 issued pursuant to the Plan, including the Claimant Trust Interests, whether or not such Plan

 Distributions occur following the Effective Date; (iv) the implementation of the Plan; and (v) any

 negotiations, transactions, and documentation in connection with the foregoing clauses (i)-(v);



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 provided, however, the foregoing will not apply to (a) any acts or omissions of an Exculpated Party

 arising out of or related to acts or omissions that constitute bad faith, fraud, gross negligence,

 criminal misconduct, or willful misconduct or (b) Strand or any Employee other than with respect

 to actions taken by such Entities from the date of appointment of the Independent Directors through

 the Effective Date. The Plan’s exculpation shall be in addition to, and not in limitation of, all other

 releases, indemnities, exculpations, any other applicable law or rules, or any other provisions of

 the Plan, including Article IV.C.2 of the Plan, protecting such Exculpated Parties from liability.

                   Z.          Releases by the Debtor. On and after the Effective Date, each Released

 Party is deemed to be, hereby conclusively, absolutely, unconditionally, irrevocably, and forever

 released and discharged by the Debtor and the Estate, in each case on behalf of themselves and

 their respective successors, assigns, and representatives, including, but not limited to, the Claimant

 Trust and the Litigation Sub-Trust from any and all Causes of Action, including any derivative

 claims, asserted on behalf of the Debtor, whether known or unknown, foreseen or unforeseen,

 matured or unmatured, existing or hereafter arising, in law, equity, contract, tort or otherwise, that

 the Debtor or the Estate would have been legally entitled to assert in their own right (whether

 individually or collectively) or on behalf of the holder of any Claim against, or Interest in, a Debtor

 or other Person. Notwithstanding anything contained herein to the contrary, the foregoing release

 does not release: (i) any obligations of any party under the Plan or any document, instrument, or

 agreement executed to implement the Plan, (ii) the rights or obligations of any current employee

 of the Debtor under any employment agreement or plan, (iii) the rights of the Debtor with respect

 to any confidentiality provisions or covenants restricting competition in favor of the Debtor under



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 any employment agreement with a current or former employee of the Debtor, (iv) any Avoidance

 Actions, or (v) any Causes of Action arising from willful misconduct, criminal misconduct, actual

 fraud, or gross negligence of such applicable Released Party as determined by Final Order of the

 Bankruptcy Court or any other court of competent jurisdiction.

                   AA.         Injunction.   Upon entry of this Confirmation Order, all Enjoined

 Parties are and shall be permanently enjoined, on and after the Effective Date, from taking

 any actions to interfere with the implementation or consummation of the Plan. Except as

 expressly provided in the Plan, this Confirmation Order, or a separate order of the

 Bankruptcy Court, all Enjoined Parties are and shall be permanently enjoined, on and after

 the Effective Date, with respect to any Claims and Equity Interests, from directly or

 indirectly (i) commencing, conducting, or continuing in any manner, any suit, action, or

 other proceeding of any kind (including any proceeding in a judicial, arbitral, administrative

 or other forum) against or affecting the Debtor or the property of the Debtor, (ii) enforcing,

 levying, attaching (including any prejudgment attachment), collecting, or otherwise

 recovering, enforcing, or attempting to recover or enforce, by any manner or means, any

 judgment, award, decree, or order against the Debtor or the property of the Debtor, (iii)

 creating, perfecting, or otherwise enforcing in any manner, any security interest, lien or

 encumbrance of any kind against the Debtor or the property of the Debtor, (iv) asserting any

 right of setoff, directly or indirectly, against any obligation due to the Debtor or against

 property or interests in property of the Debtor, except to the limited extent permitted under

 Sections 553 and 1141 of the Bankruptcy Code, and (v) acting or proceeding in any manner,



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 in any place whatsoever, that does not conform to or comply with the provisions of the Plan.

 The injunctions set forth in the Plan and this Confirmation Order shall extend to, and apply

 to any act of the type set forth in any of clauses (i)-(v) of the immediately preceding

 paragraph against any successors of the Debtor, including, but not limited to, the

 Reorganized Debtor, the Litigation Sub-Trust, and the Claimant Trust and their respective

 property and interests in property. Subject in all respects to Article XII.D of the Plan, no

 Enjoined Party may commence or pursue a claim or cause of action of any kind against any

 Protected Party that arose or arises from or is related to the Chapter 11 Case, the negotiation

 of the Plan, the administration of the Plan or property to be distributed under the Plan, the

 wind down of the business of the Debtor or Reorganized Debtor, the administration of the

 Claimant Trust or the Litigation Sub-Trust, or the transactions in furtherance of the

 foregoing without the Bankruptcy Court (i) first determining, after notice and a hearing,

 that such claim or cause of action represents a colorable claim of any kind, including, but

 not limited to, negligence, bad faith, criminal misconduct, willful misconduct, fraud, or gross

 negligence against a Protected Party and (ii) specifically authorizing such Enjoined Party to

 bring such claim or cause of action against any such Protected Party; provided, however, the

 foregoing will not apply to a claim or cause of action against Strand or against any Employee

 other than with respect to actions taken, respectively, by Strand or by such Employee from

 the date of appointment of the Independent Directors through the Effective Date. The

 Bankruptcy Court will have sole and exclusive jurisdiction to determine whether a claim or

 cause of action is colorable and, only to the extent legally permissible and as provided for in



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 Article XI of the Plan, shall have jurisdiction to adjudicate the underlying colorable claim or

 cause of action.

                   BB.         Duration of Injunction and Stays. Unless otherwise provided in the

 Plan, in this Confirmation Order, or in a Final Order of the Bankruptcy Court, (i) all

 injunctions and stays entered during the Chapter 11 Case and in existence on the

 Confirmation Date, shall remain in full force and effect in accordance with their terms; and

 (ii) the automatic stay arising under section 362 of the Bankruptcy Code shall remain in full

 force and effect subject to Section 362(c) of the Bankruptcy Code, and to the extent necessary

 if the Debtor does not receive a discharge, the Bankruptcy Court will enter an equivalent

 order under Section 105.

                   CC.         Continuance of January 9 Order and July 16 Order. Unless otherwise

 provided in the Plan, in this Confirmation Order, or in a Final Order of the Bankruptcy Court, each

 of the Order Approving Settlement with Official Committee of Unsecured Creditors Regarding

 Governance of the Debtor and Procedures for Operations in the Ordinary Course, entered by the

 Bankruptcy Court on January 9, 2020 [Docket No. 339] and Order Approving the Debtor’s Motion

 Under Bankruptcy Code Sections 105(a) and 363(b) Authorizing Retention of James P. Seery, Jr.,

 as Chief Executive Officer, Chief Restructuring Officer, and Foreign Representative Nunc Pro

 Tunc to March 15, 2020 [Docket No. 854] entered on July 16, 2020 shall remain in full force and

 effect from the Confirmation Date and following the Effective Date.

                   DD.         No Governmental Releases. Nothing in this Confirmation Order or the

 Plan shall effect a release of any claim by the United States Government or any of its agencies or



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 any state and local authority whatsoever, including without limitation any claim arising under the

 Internal Revenue Code, the environmental laws or any criminal laws of the United States or any

 state and local authority against any party or person, nor shall anything in this Confirmation Order

 or the Plan enjoin the United States or any state or local authority from bringing any claim, suit,

 action, or other proceedings against any party or person for any liability of such persons whatever,

 including without limitation any claim, suit, or action arising under the Internal Revenue Code,

 the environmental laws or any criminal laws of the United States or any state and local authority

 against such persons, nor shall anything in this Confirmation Order or the Plan exculpate any party

 or person from any liability to the United States Government or any of its agencies or any state

 and local authority whatsoever, including any liabilities arising under the Internal Revenue Code,

 the environmental laws, or any criminal laws of the United States or any state and local authority

 against any party or person.

                   EE.         Exemption from Transfer Taxes. Pursuant to section 1146(a) of the

 Bankruptcy Code, any transfers (whether from the Debtor to the Reorganized Debtor or to any

 other Person) of property under the Plan or pursuant to: (a) the issuance, distribution, transfer, or

 exchange of any debt, equity security, or other interest in the Debtor or the Reorganized Debtor;

 (b) the Restructuring transactions pursuant to the Plan; (c) the creation, modification,

 consolidation, termination, refinancing, and/or recording of any mortgage, deed of trust, or other

 security interest, or the securing of additional indebtedness by such or other means; (d) the making,

 assignment, or recording of any lease or sublease; or (e) the making, delivery, or recording of any

 deed or other instrument of transfer under, in furtherance of, or in connection with, the Plan,



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 including any deeds, bills of sale, assignments, or other instrument of transfer executed in

 connection with any transaction arising out of, contemplated by, or in any way related to the Plan,

 shall not be subject to any document recording tax, stamp tax, conveyance fee, intangibles or

 similar tax, mortgage tax, real estate transfer tax, mortgage recording tax, Uniform Commercial

 Code filing or recording fee, regulatory filing or recording fee, or other similar tax or governmental

 assessment to the fullest extent contemplated by section 1146(a) of the Bankruptcy Code, and upon

 entry of this Confirmation Order, the appropriate state or local governmental officials or agents

 shall forego the collection of any such tax or governmental assessment and accept for filing and

 recordation of any of the foregoing instruments or other documents without the payment of any

 such tax, recordation fee, or governmental assessment.

                   FF.         Cancellation of Notes, Certificates and Instruments. Except for the

 purpose of evidencing a right to a distribution under the Plan and except as otherwise set forth in

 the Plan or as otherwise provided in this Confirmation Order, on the Effective Date, all agreements,

 instruments, Securities and other documents evidencing any prepetition Claim or Equity Interest

 and any rights of any Holder in respect thereof shall be deemed cancelled, discharged, and of no

 force or effect. The holders of or parties to such cancelled instruments, Securities, and other

 documentation will have no rights arising from or related to such instruments, Securities, or other

 documentation or the cancellation thereof, except the rights provided for pursuant to the Plan, and

 the obligations of the Debtor thereunder or in any way related thereto will be fully released,

 terminated, extinguished and discharged, in each case without further notice to or order of the




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 Bankruptcy Court, act or action under applicable law, regulation, order, or rule or any requirement

 of further action, vote or other approval or authorization by any Person.

                   GG.         Documents, Mortgages, and Instruments.            Each federal, state,

 commonwealth, local, foreign, or other governmental agency is authorized to accept any and all

 documents, mortgages, and instruments necessary or appropriate to effectuate, implement, or

 consummate the Plan, including the Restructuring transactions contemplated under the Plan, and

 this Confirmation Order.

                   HH.         Post-Confirmation Modifications.     Subject section 1127(b) of the

 Bankruptcy Code and the Plan, the Debtor and the Reorganized Debtor expressly reserve their

 rights to revoke or withdraw, or to alter, amend, or modify materially the Plan, one or more times

 after Confirmation and, to the extent necessary, may initiate proceedings in the Bankruptcy Court

 to so alter, amend, or modify the Plan, or remedy any defect or omission, or reconcile any

 inconsistencies in the Plan or this Confirmation Order, in such manner as may be necessary to

 carry out the purposes and intent of the Plan. Any such modification or supplement shall be

 considered a modification of the Plan and shall be made in accordance with Article XII.B of the

 Plan.

                   II.         Applicable Nonbankruptcy Law. The provisions of this Confirmation

 Order, the Plan and related documents, or any amendments or modifications thereto, shall apply

 and be enforceable notwithstanding any otherwise applicable nonbankruptcy law.

                   JJ.         Governmental Approvals Not Required. This Confirmation Order shall

 constitute all approvals and consents required, if any, by the laws, rules, or regulations of any state,



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 federal, or other governmental authority with respect to the dissemination, implementation, or

 consummation of the Plan and the Disclosure Statement, any certifications, documents,

 instruments or agreements, and any amendments or modifications thereto, and any other acts

 referred to in, or contemplated by, the Plan and the Disclosure Statement.

                   KK.         Notice of Effective Date. As soon as reasonably practicable after the

 Effective Date, the Reorganized Debtor shall file notice of the Effective Date and shall serve a

 copy of the same on all Holders of Claims and Equity Interests, and all parties who have filed with

 the Bankruptcy Court requests to receive notices in accordance with Bankruptcy Rules 2002 and

 3020(c). Notwithstanding the above, no notice of Confirmation or Consummation or service of

 any kind shall be required to be mailed or made upon any Entity to whom the Debtor mailed notice

 of the Confirmation Hearing, but received such notice returned marked “undeliverable as

 addressed,” “moved, left no forwarding address” or “forwarding order expired,” or similar reason,

 unless the Debtor has been informed in writing by such Entity, or is otherwise aware, of that

 Entity’s new address. The above-referenced notices are adequate under the particular

 circumstances of this Chapter 11 Case and no other or further notice is necessary.

                   LL.         Substantial Consummation. On the Effective Date, the Plan shall be

 deemed to be substantially consummated under sections 1101 and 1127 of the Bankruptcy Code.

                   MM. Waiver of Stay. For good cause shown, the stay of this Confirmation Order

 provided by any Bankruptcy Rule is waived, and this Confirmation Order shall be effective and

 enforceable immediately upon its entry by the Bankruptcy Court.




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                   NN.         References to and Omissions of Plan Provisions. References to articles,

 sections, and provisions of the Plan are inserted for convenience of reference only and are not

 intended to be a part of or to affect the interpretation of the Plan. The failure to specifically include

 or to refer to any particular article, section, or provision of the Plan in this Confirmation Order

 shall not diminish or impair the effectiveness of such article, section, or provision, it being the

 intent of the Bankruptcy Court that the Plan be confirmed in its entirety, except as expressly

 modified herein, and incorporated herein by this reference.

                   OO.         Headings. Headings utilized herein are for convenience and reference only,

 and do not constitute a part of the Plan or this Confirmation Order for any other purpose.

                   PP.         Effect of Conflict. This Confirmation Order supersedes any Bankruptcy

 Court order issued prior to the Confirmation Date that may be inconsistent with this Confirmation

 Order.    If there is any inconsistency between the terms of the Plan and the terms of this

 Confirmation Order, the terms of this Confirmation Order govern and control. If there is any

 inconsistency between the terms of this Confirmation Order and the terms of a final, executed Plan

 Supplement Document, the terms of the final, executed Plan Supplement Document will govern

 and control.

                   QQ.         Resolution of Objection of Texas Taxing Authorities. Dallas County,

 Kaufman County, City of Allen, Allen ISD and City of Richardson (collectively, the “Tax

 Authorities”) assert that they are the holders of prepetition and administrative expense claims for

 2019, 2020 and 2021 ad valorem real and business personal property taxes. The ad valorem

 property taxes for tax year 2020 shall be paid in accordance with and to the extent required under



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 applicable nonbankruptcy law. In the event the 2020 taxes are paid after February 1, 2021, the

 Tax Authorities may assert any rights and amounts they claim are owed with respect to penalties

 and interest that have accrued through the date of payment and the Debtor and Reorganized Debtor

 reserve any all rights and defenses in connection therewith.

          a.       The Debtor/Reorganized Debtor shall pay all amounts owed to the Tax Authorities
                   for tax year 2021 in accordance with and to the extent required under applicable
                   nonbankruptcy law. The Tax Authorities shall not be required to file and serve an
                   administrative expense claim and request for payment as a condition of allowance
                   of their administrative expense claims pursuant to 11 U.S.C. Section 503(b)(1)(D).
                   With regard to year 2019 ad valorem property taxes, the Tax Authorities will
                   receive payment of their prepetition claims within 30 days of the Effective Date of
                   the Plan. The payment will include interest from the Petition Date through the
                   Effective Date and from the Effective Date through payment in full at the state
                   statutory rate pursuant to 11 U.S.C. Sections 506(b), 511, and 1129, if applicable,
                   subject to all of the Debtor’s and Reorganized Debtor’s rights and defenses in
                   connection therewith. Notwithstanding any other provision in the Plan, the Tax
                   Authorities shall (i) retain the liens that secure all prepetition and postpetition
                   amounts ultimately owed to them, if any, as well as (ii) the state law priority of
                   those liens until the claims are paid in full.

          b.       The Tax Authorities’ prepetition claims and their administrative expense claims
                   shall not be discharged until such time as the amounts owed are paid in full. In the
                   event of a default asserted by the Taxing Authorities, the Tax Authorities shall
                   provide notice Debtor or Reorganized Debtor, as applicable, and may demand cure
                   of any such asserted default. Subject to all of its rights and defenses, the Debtor or
                   Reorganized Debtor shall have fifteen (15) days from the date of the notice to cure
                   the default. If the alleged default is not cured, the Tax Authorities may exercise
                   any of their respective rights under applicable law and pursue collection of all
                   amounts owed pursuant to state law outside of the Bankruptcy Court, subject in all
                   respects to the Debtor’s and Reorganized Debtor’s applicable rights and defenses.
                   The Debtor/Reorganized Debtor shall be entitled to any notices of default required
                   under applicable nonbankruptcy law and each of the Taxing Authorities, the Debtor
                   and the Reorganized Debtor reserve any and all of their respective rights and
                   defenses in connection therewith. The Debtor’s and Reorganized Debtor’s rights
                   and defenses under Texas Law and the Bankruptcy Code with respect to this
                   provision of the Confirmation Order, including their right to dispute or object to the
                   Tax Authorities’ Claims and liens, are fully preserved.



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                   RR.         Resolution of Objections of Scott Ellington and Isaac Leventon.

 Pursuant to Bankruptcy Rule 9019(a), the Senior Employees’ Settlement is approved in all

 respects. The Debtor may, only with the consent of the Committee, elect Option B for a Senior

 Employee Claimant by written notice to such Senior Employee Claimant on or before the

 occurrence of the Effective Date. If the Debtor does not elect Option B, then Option A will govern

 the treatment of the Liquidated Bonus Claims.

          a.       Notwithstanding any language in the Plan, the Disclosure Statement, or this
                   Confirmation Order to the contrary, if Option A applies to the Liquidated Bonus
                   Claims of a Senior Employee Claimant, then the Liquidated Bonus Claims of such
                   Senior Employee Claimant will receive the treatment described in paragraph 82(e)
                   hereof, and if the Debtor timely elects Option B with respect to the Liquidated
                   Bonus Claims of a Senior Employee Claimant, then the Liquidated Bonus Claims
                   of such Senior Employee will receive the treatment described in paragraph 82(f)
                   hereof.

          b.       The Senior Employees’ Settlement is hereby approved, without prejudice to the
                   respective rights of Mr. Ellington and Mr. Leventon to assert all their remaining
                   Claims against the Debtor’s estate, including, but not limited to, their Class 6 PTO
                   Claims, their remaining Class 8 General Unsecured Claims, any indemnification
                   claims, and any Administrative Expense Claims that they may assert and is without
                   prejudice to the rights of any party in interest to object to any such Claims.

          c.       Pursuant to Bankruptcy Rule 3018(a), Mr. Ellington and Mr. Leventon were
                   permitted to change their votes on the Plan. Accordingly, Mr. Ellington’s votes on
                   his Ballots in Class 7 and Class 8 of the Plan were changed from a rejection of the
                   Plan to acceptance of the Plan, and Mr. Leventon’s votes on his Ballots in Class 7
                   and Class 8 of the Plan were, changed from rejections of the Plan to acceptances of
                   the Plan.

          d.       The Senior Employees’ Objection is deemed withdrawn.

                   SS.         No Release of Claims Against Senior Employee Claimants. For the

 avoidance of doubt, the Senior Employees’ Settlement, as approved herein, shall not, and shall not

 be deemed to, release any Claims or Causes of Action held by the Debtor against either Senior


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 Employee Claimant nor shall either Senior Employee Claimant be, or be deemed to be, a “Released

 Party” under the Plan.

                   TT.         Resolution of Objection of Internal Revenue Service. Notwithstanding

 any other provision or term of the Plan or Confirmation Order, the following Default Provision

 shall control as to the United States of America, Internal Revenue Service (“IRS”) and all of its

 claims, including any administrative claim (the “IRS Claim”):

          (a) Notwithstanding any other provision in the Plan, if the Debtor, the Reorganized Debtor,
          or any successor in interest fails to pay when due any payment required to be made on
          federal taxes, the IRS Claim, or other payment required to be made to the IRS under the
          terms and provisions of this Plan, the Confirmation Order, or the Internal Revenue Code
          (26 U.S.C.), or fails to timely file any required federal tax return, or if any other event of
          default as set forth in the Plan occurs, the IRS shall be entitled to give the Debtor, the
          Reorganized Debtor and/or any successor in interest and their counsel of record, by United
          States Certified Mail, written notice of the failure and/or default with demand that it be
          cured, and if the failure and/or default is not cured within 14 days of the date of said notice
          and demand, then the following shall apply to the IRS:

                       (1) The administrative collection powers and the rights of the IRS shall
                   be reinstated as they existed prior to the filing of the bankruptcy petition,
                   including, but not limited to, the assessment of taxes, the filing of a notice
                   of Federal tax lien and the powers of levy, seizure, and collection as
                   provided under the Internal Revenue Code;

                       (2) The automatic stay of 11 U.S.C. § 362 and any injunction of the
                   Plan or in the Confirmation Order shall, with regard to the IRS only, lift or
                   terminate without further notice or hearing by the Bankruptcy Court, and
                   the entire prepetition liability owed to the IRS, together with any unpaid
                   postpetition tax liabilities, may become due and payable immediately; and

                       (3) The IRS shall have the right to proceed to collect from the Debtor,
                   the Reorganized Debtor or any successor in interest any of the prepetition
                   tax liabilities and related penalties and interest through administrative or
                   judicial collection procedures available under the United States Code as if
                   no bankruptcy petition had been filed and as if no plan had been confirmed.

          (b) If the IRS declares the Debtor, the Reorganized Debtor, or any successor-in-interest to
          be in default of the Debtor’s, the Reorganized Debtor’s and/ or any successor- in-interest’s
          obligations under the Plan, then entire prepetition liability of an IRS’ Allowed Claim,
          together with any unpaid postpetition tax liabilities shall become due and payable

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          immediately upon written demand to the Debtor, Reorganized Debtor and/or any
          successor-in-interest. Failure of the IRS to declare a failure and/or default does not
          constitute a waiver by the United States or its agency the IRS of the right to declare that
          the Debtor, Reorganized Debtor, and/or any successor in interest is in default.

          (c) The IRS shall only be required to send two notices of failure and/or default, and upon
          the third event of a failure and/or default, the IRS shall be entitled to proceed as set out in
          paragraphs (1), (2), and/or (3) herein above without further notice to the Debtor, the
          Reorganized Debtor, or any successor in interest, or its counsel. The collection statute
          expiration date for all unpaid federal tax liabilities shall be extended pursuant to non-
          bankruptcy law.

          (d) The Internal Revenue Service shall not be bound by any release provisions in the Plan
          that would release any liability of the responsible persons of the Debtor, the Reorganized
          Debtor, and/or any successor in interest to the IRS. The Internal Revenue Service may
          take such actions as it deems necessary to assess any liability that may be due and owing
          by the responsible persons of the Debtor, the Reorganized Debtor and/or any successor in
          interest to the Internal Revenue Service.

          (e) Nothing contained in the Plan or the Confirmation Order shall be deemed to be a waiver
          or relinquishment of any rights, claims, causes of action, rights of setoff or recoupment,
          rights to appeal tax assessments, or other legal or equitable defenses that the Debtor or
          Reorganized Debtor have under non-bankruptcy law in connection with any claim, liability
          or cause of action of the United States and its agency the Internal Revenue Service.

          (f) The term “any payment required to be made on federal taxes,” as used herein above, is
          defined as: any payment or deposit required by the Internal Revenue Code to be made by
          the Debtor from and after the Confirmation Date, or the Reorganized Debtor and/or any
          successor in interest from and after the Effective Date, to the date the IRS Claim is together
          with interest paid in full. The term “any required tax return,” as used herein above, is
          defined as: any tax return or report required by the Internal Revenue Code to be made by
          the Debtor from and after the Confirmation Date, or the Reorganized Debtor and/or any
          successor in interest from and after the Effective Date, to the date the IRS Claim is together
          with interest paid in full.

                   UU.         IRS Proof of Claim. Notwithstanding anything in the Plan or in this

 Confirmation Order, until all required tax returns are filed with and processed by the IRS, the IRS’s

 proof of claim will not be deemed fixed for purposes of Section 502 of the Bankruptcy Code and

 may be amended in order to reflect the IRS’ assessment of the Debtor’s unpaid priority and general

 unsecured taxes, penalties and interest.




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                   VV.         CLO Holdco, Ltd. Settlement        Notwithstanding anything contained

 herein to the contrary, nothing in this Order is or is intended to supersede the rights and obligations

 of either the Debtor or CLO Holdco contained in that certain Settlement Agreement between CLO

 Holdco, Ltd., and Highland Capital Management, L.P., dated January 25,2021 [Docket No. 1838-

 1] (the “CLOH Settlement Agreement”). In the event of any conflict between the terms of this

 Order and the terms of the CLOH Settlement Agreement, the terms of the CLOH Settlement

 Agreement will govern.

                   WW. Retention of Jurisdiction. The Bankruptcy Court may properly, and upon

 the Effective Date shall, to the maximum extent permitted under applicable law, retain jurisdiction

 over all matters arising out of, and related to, this Chapter 11 Case, including the matters set forth

 in Article XI of the Plan and section 1142 of the Bankruptcy Code.

                   XX.         Payment of Statutory Fees; Filing of Quarterly Reports.         All fees

 payable pursuant to 28 U.S.C. § 1930 shall be paid on or before the Effective Date. The

 Reorganized Debtor, the Claimant Trust, and the Litigation Sub-Trust shall be jointly and severally

 liable for payment of quarterly fees to the Office of the United States Trustee pursuant to 28 U.S.C.

 § 1930 through the entry of the Final Decree for the Debtor or the dismissal or conversion of the

 Chapter 11 Case. Notwithstanding anything to the contrary in the Plan, the U.S. Trustee shall not

 be required to file any proofs of claim with respect to quarterly fees payable pursuant to 28 U.S.C.

 § 1930.

                   YY.         Dissolution of the Committee. On the Effective Date, the Committee will

 dissolve, and the members of the Committee and the Committee’s Professionals will cease to have



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 any role arising from or relating to the Chapter 11 Case, except in connection with final fee

 applications of Professionals for services rendered prior to the Effective Date (including the right

 to object thereto). Notwithstanding the foregoing, any Committee member or Professional may

 serve following the Effective Date with respect to the Claimant Trust Oversight Board or Litigation

 Sub-Trust. The Professionals retained by the Committee and the members thereof will not be

 entitled to assert any fee claims for any services rendered to the Committee or expenses incurred

 in the service of the Committee after the Effective Date, except for reasonable fees for services

 rendered, and actual and necessary costs incurred, in connection with any applications for

 allowance of Professional Fees pending on the Effective Date or filed and served after the Effective

 Date pursuant to the Plan. Nothing in the Plan shall prohibit or limit the ability of the Debtor’s or

 Committee’s Professionals to represent either of the Trustees or to be compensated or reimbursed

 per the Plan, the Claimant Trust Agreement, and/or Litigation Sub-Trust in connection with such

 representation.

                   ZZ.         Miscellaneous.   After the Effective Date, the Debtor or Reorganized

 Debtor, as applicable, shall have no obligation to file with the Bankruptcy Court or serve on any

 parties reports that the Debtor or Reorganized Debtor, as applicable, were obligated to file under

 the Bankruptcy Code or a court order, including monthly operating reports (even for those periods

 for which a monthly operating report was not filed before the Effective Date), ordinary course

 professional reports, reports to any parties otherwise required under the “first” and “second” day

 orders entered in this Chapter 11 Case (including any cash collateral financing orders entered in

 this Chapter 11 Case) and monthly or quarterly reports for Professionals; provided, however, that



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 the Debtor or Reorganized Debtor, as applicable, will comply with the U.S. Trustee’s post

 confirmation reporting requirements.

                                  ###END OF ORDER###




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                                          Exhibit A

                               Fifth Amended Plan (as Modified)




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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

                                                                    )
     In re:                                                         )   Chapter 11
                                                                    )
     HIGHLAND CAPITAL MANAGEMENT, L.P., 1                           )   Case No. 19-34054-sgj11
                                                                    )
                                      Debtor.                       )
                                                                    )

              FIFTH AMENDED PLAN OF REORGANIZATION OF HIGHLAND
                     CAPITAL MANAGEMENT, L.P. (AS MODIFIED)

 PACHULSKI STANG ZIEHL & JONES LLP                              HAYWARD & ASSOCIATES PLLC
 Jeffrey N. Pomerantz (CA Bar No.143717)                        Melissa S. Hayward (TX Bar No. 24044908)
 Ira D. Kharasch (CA Bar No. 109084)                            Zachery Z. Annable (TX Bar No. 24053075)
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 Facsimile: (310) 201-0760                                      Email: MHayward@HaywardFirm.com
 Email: jpomerantz@pszjlaw.com                                          ZAnnable@HaywardFirm.com:
         ikharasch@pszjlaw.com
         gdemo@pszjlaw.com

                              Counsel for the Debtor and Debtor-in-Possession




 1
   The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
 for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.




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                 DEBTOR’S CHAPTER 11 PLAN OF REORGANIZATION


         HIGHLAND CAPITAL MANAGEMENT, L.P., as debtor and debtor-in-possession in the
 above-captioned case (the “Debtor”), proposes the following chapter 11 plan of reorganization (the
 “Plan”) for, among other things, the resolution of the outstanding Claims against, and Equity
 Interests in, the Debtor. Unless otherwise noted, capitalized terms used in this Plan have the
 meanings set forth in Article I of this Plan. The Debtor is the proponent of this Plan within the
 meaning of section 1129 of the Bankruptcy Code.

         Reference is made to the Disclosure Statement (as such term is defined herein and
 distributed contemporaneously herewith) for a discussion of the Debtor’s history, business, results
 of operations, historical financial information, projections and assets, and for a summary and
 analysis of this Plan and the treatment provided for herein. There also are other agreements and
 documents that may be Filed with the Bankruptcy Court that are referenced in this Plan or the
 Disclosure Statement as Exhibits and Plan Documents. All such Exhibits and Plan Documents are
 incorporated into and are a part of this Plan as if set forth in full herein. Subject to the other
 provisions of this Plan, and in accordance with the requirements set forth in section 1127 of the
 Bankruptcy Code and Bankruptcy Rule 3019, the Debtor reserves the right to alter, amend, modify,
 revoke, or withdraw this Plan prior to the Effective Date.

         If this Plan cannot be confirmed, for any reason, then subject to the terms set forth herein,
 this Plan may be revoked.

                                  ARTICLE I.
                 RULES OF INTERPRETATION, COMPUTATION OF TIME,
                       GOVERNING LAW AND DEFINED TERMS

 A.     Rules of Interpretation, Computation of Time and Governing Law

          For purposes hereof: (a) in the appropriate context, each term, whether stated in the
 singular or the plural, shall include both the singular and the plural, and pronouns stated in the
 masculine, feminine or neuter gender shall include the masculine, feminine and the neuter gender;
 (b) any reference herein to a contract, lease, instrument, release, indenture or other agreement or
 document being in a particular form or on particular terms and conditions means that the referenced
 document, as previously amended, modified or supplemented, if applicable, shall be substantially
 in that form or substantially on those terms and conditions; (c) any reference herein to an existing
 document or exhibit having been Filed or to be Filed shall mean that document or exhibit, as it
 may thereafter be amended, modified or supplemented in accordance with its terms; (d) unless
 otherwise specified, all references herein to “Articles,” “Sections,” “Exhibits” and “Plan
 Documents” are references to Articles, Sections, Exhibits and Plan Documents hereof or hereto;
 (e) unless otherwise stated, the words “herein,” “hereof,” “hereunder” and “hereto” refer to this
 Plan in its entirety rather than to a particular portion of this Plan; (f) captions and headings to
 Articles and Sections are inserted for convenience of reference only and are not intended to be a
 part of or to affect the interpretation hereof; (g) any reference to an Entity as a Holder of a Claim
 or Equity Interest includes such Entity’s successors and assigns; (h) the rules of construction set




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 forth in section 102 of the Bankruptcy Code shall apply; (i) any term used in capitalized form
 herein that is not otherwise defined but that is used in the Bankruptcy Code or the Bankruptcy
 Rules shall have the meaning assigned to that term in the Bankruptcy Code or the Bankruptcy
 Rules, as the case may be; and (j) “$” or “dollars” means Dollars in lawful currency of the United
 States of America. The provisions of Bankruptcy Rule 9006(a) shall apply in computing any
 period of time prescribed or allowed herein.

 B.     Defined Terms

       Unless the context otherwise requires, the following terms shall have the following
 meanings when used in capitalized form herein:

             1.    “Acis” means collectively Acis Capital Management, L.P. and Acis Capital
 Management GP, LLP.

                2.      “Administrative Expense Claim” means any Claim for costs and expenses
 of administration of the Chapter 11 Case that is Allowed pursuant to sections 503(b), 507(a)(2),
 507(b) or 1114(2) of the Bankruptcy Code, including, without limitation, (a) the actual and
 necessary costs and expenses incurred after the Petition Date and through the Effective Date of
 preserving the Estate and operating the business of the Debtor; and (b) all fees and charges assessed
 against the Estate pursuant to sections 1911 through 1930 of chapter 123 of title 28 of the United
 States Code, and that have not already been paid by the Debtor during the Chapter 11 Case and a
 Professional Fee Claim.

                3.      “Administrative Expense Claims Bar Date” means, with respect to any
 Administrative Expense Claim (other than a Professional Fee Claim) becoming due on or prior to
 the Effective Date, 5:00 p.m. (prevailing Central Time) on such date that is forty-five days after
 the Effective Date.

               4.      “Administrative Expense Claims Objection Deadline” means, with respect
 to any Administrative Expense Claim, the later of (a) ninety (90) days after the Effective Date and
 (b) sixty (60) days after the timely Filing of the applicable request for payment of such
 Administrative Expense Claim; provided, however, that the Administrative Expense Claims
 Objection Deadline may be extended by the Bankruptcy Court upon a motion by the Claimant
 Trustee.

                  5.     “Affiliate” of any Person means any Entity that, with respect to such Person,
 either (i) is an “affiliate” as defined in section 101(2) of the Bankruptcy Code, or (ii) is an
 “affiliate” as defined in Rule 405 of the Securities Act of 1933, or (iii) directly or indirectly,
 through one or more intermediaries, controls, is controlled by, or is under common control with,
 such Person. For the purposes of this definition, the term “control” (including, without limitation,
 the terms “controlled by” and “under common control with”) means the possession, directly or
 indirectly, of the power to direct or cause the direction in any respect of the management or policies
 of a Person, whether through the ownership of voting securities, by contract, or otherwise.

                 6.     “Allowed” means, with respect to any Claim, except as otherwise provided
 in the Plan: (a) any Claim that is evidenced by a Proof of Claim that has been timely Filed by the
 Bar Date, or that is not required to be evidenced by a Filed Proof of Claim under the Bankruptcy


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 Code or a Final Order; (b) a Claim that is listed in the Schedules as not contingent, not unliquidated,
 and not disputed and for which no Proof of Claim has been timely filed; (c) a Claim Allowed
 pursuant to the Plan or an order of the Bankruptcy Court that is not stayed pending appeal; or (d)
 a Claim that is not Disputed (including for which a Proof of Claim has been timely filed in a
 liquidated and noncontingent amount that has not been objected to by the Claims Objection
 Deadline or as to which any such objection has been overruled by Final Order); provided, however,
 that with respect to a Claim described in clauses (a) and (b) above, such Claim shall be considered
 Allowed only if and to the extent that, with respect to such Claim, no objection to the allowance
 thereof has been interposed within the applicable period of time fixed by the Plan, the Bankruptcy
 Code, the Bankruptcy Rules, or the Bankruptcy Court, or such an objection is so interposed and
 the Claim shall have been Allowed as set forth above.

                 7.     “Allowed Claim or Equity Interest” means a Claim or an Equity Interest of
 the type that has been Allowed.

               8.      “Assets” means all of the rights, titles, and interest of the Debtor,
 Reorganized Debtor, or Claimant Trust, in and to property of whatever type or nature, including,
 without limitation, real, personal, mixed, intellectual, tangible, and intangible property, the
 Debtor’s books and records, and the Causes of Action.

                 9.     “Available Cash” means any Cash in excess of the amount needed for the
 Claimant Trust and Reorganized Debtor to maintain business operations as determined in the sole
 discretion of the Claimant Trustee.

                 10.     “Avoidance Actions” means any and all avoidance, recovery, subordination
 or other actions or remedies that may be brought by and on behalf of the Debtor or its Estate under
 the Bankruptcy Code or applicable nonbankruptcy law, including, without limitation, actions or
 remedies arising under sections 502, 510, 544, 545, and 547-553 of the Bankruptcy Code or under
 similar state or federal statutes and common law, including fraudulent transfer laws

                11.      “Ballot” means the form(s) distributed to holders of Impaired Claims or
 Equity Interests entitled to vote on the Plan on which to indicate their acceptance or rejection of
 the Plan.

               12.   “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C.
 §§ 101-1532, as amended from time to time and as applicable to the Chapter 11 Case.

               13.    “Bankruptcy Court” means the United States Bankruptcy Court for the
 Northern District of Texas, Dallas Division, or any other court having jurisdiction over the
 Chapter 11 Case.

                 14.    “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure and
 the Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for
 the Northern District of Texas, Dallas Division, in each case as amended from time to time and as
 applicable to the Chapter 11 Case.




                                                   3

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                 15.     “Bar Date” means the applicable deadlines set by the Bankruptcy Court for
 the filing of Proofs of Claim against the Debtor as set forth in the Bar Date Order, which deadlines
 may be or have been extended for certain Claimants by order of the Bankruptcy Court.

               16.     “Bar Date Order” means the Order (I) Establishing Bar Dates for Filing
 Proofs of Claim and (II) Approving the Form and Manner of Notice Thereof [D.I. 488].

                17.     “Business Day” means any day, other than a Saturday, Sunday or “legal
 holiday” (as defined in Bankruptcy Rule 9006(a)).

                18.     “Cash” means the legal tender of the United States of America or the
 equivalent thereof.

                 19.      “Causes of Action” means any action, claim, cross-claim, third-party claim,
 cause of action, controversy, demand, right, Lien, indemnity, contribution, guaranty, suit,
 obligation, liability, debt, damage, judgment, account, defense, remedy, offset, power, privilege,
 license and franchise of any kind or character whatsoever, in each case whether known, unknown,
 contingent or non-contingent, matured or unmatured, suspected or unsuspected, liquidated or
 unliquidated, disputed or undisputed, foreseen or unforeseen, direct or indirect, choate or inchoate,
 secured or unsecured, assertable directly or derivatively (including, without limitation, under alter
 ego theories), whether arising before, on, or after the Petition Date, in contract or in tort, in law or
 in equity or pursuant to any other theory of law. For the avoidance of doubt, Cause of Action
 includes, without limitation,: (a) any right of setoff, counterclaim or recoupment and any claim for
 breach of contract or for breach of duties imposed by law or in equity; (b) the right to object to
 Claims or Equity Interests; (c) any claim pursuant to section 362 or chapter 5 of the Bankruptcy
 Code; (d) any claim or defense including fraud, mistake, duress and usury, and any other defenses
 set forth in section 558 of the Bankruptcy Code; (e) any claims under any state or foreign law,
 including, without limitation, any fraudulent transfer or similar claims; (f) the Avoidance Actions,
 and (g) the Estate Claims. The Causes of Action include, without limitation, the Causes of Action
 belonging to the Debtor’s Estate listed on the schedule of Causes of Action to be filed with the
 Plan Supplement.

                 20.    “CEO/CRO” means James P. Seery, Jr., the Debtor’s chief executive officer
 and chief restructuring officer.

                21.    “Chapter 11 Case” means the Debtor’s case under chapter 11 of the
 Bankruptcy Code commenced on the Petition Date in the Delaware Bankruptcy Court and
 transferred to the Bankruptcy Court on December 4, 2019, and styled In re Highland Capital
 Management, L.P., Case No. 19-34054-sgj-11.

               22.    “Claim” means any “claim” against the Debtor as defined in section 101(5)
 of the Bankruptcy Code.

              23.     “Claims Objection Deadline” means the date that is 180 days after the
 Confirmation Date; provided, however, the Claims Objection Deadline may be extended by the
 Bankruptcy Court upon a motion by the Claimant Trustee.




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               24.    “Claimant Trust” means the trust established for the benefit of the Claimant
 Trust Beneficiaries on the Effective Date in accordance with the terms of this Plan and the
 Claimant Trust Agreement.

              25.      “Claimant Trust Agreement” means the agreement Filed in the Plan
 Supplement establishing and delineating the terms and conditions of the Claimant Trust.

                 26.     “Claimant Trust Assets” means (i) other than the Reorganized Debtor
 Assets (which are expressly excluded from this definition), all other Assets of the Estate, including,
 but not limited to, all Causes of Action, Available Cash, any proceeds realized or received from
 such Assets, all rights of setoff, recoupment, and other defenses with respect, relating to, or arising
 from such Assets, (ii) any Assets transferred by the Reorganized Debtor to the Claimant Trust on
 or after the Effective Date, (iii) the limited partnership interests in the Reorganized Debtor, and
 (iv) the ownership interests in New GP LLC. For the avoidance of doubt, any Causes of Action
 that, for any reason, are not capable of being transferred to the Claimant Trust shall constitute
 Reorganized Debtor Assets.

                 27.    “Claimant Trust Beneficiaries” means the Holders of Allowed General
 Unsecured Claims, Holders of Allowed Subordinated Claims, including, upon Allowance,
 Disputed General Unsecured Claims and Disputed Subordinated Claims that become Allowed
 following the Effective Date, and, only upon certification by the Claimant Trustee that the Holders
 of such Claims have been paid indefeasibly in full plus, to the extent all Allowed unsecured Claims,
 excluding Subordinated Claims, have been paid in full, post-petition interest from the Petition Date
 at the Federal Judgment Rate in accordance with the terms and conditions set forth in the Claimant
 Trust Agreement and all Disputed Claims in Class 8 and Class 9 have been resolved, Holders of
 Allowed Class B/C Limited Partnership Interests, and Holders of Allowed Class A Limited
 Partnership Interests.

                  28.    “Claimant Trustee” means James P. Seery, Jr., the Debtor’s chief executive
 officer and chief restructuring officer, or such other Person identified in the Plan Supplement who
 will act as the trustee of the Claimant Trust in accordance with the Plan, the Confirmation Order,
 and Claimant Trust Agreement or any replacement trustee pursuant to (and in accordance with)
 the Claimant Trust Agreement. The Claimant Trustee shall be responsible for, among other things,
 monetizing the Estate’s investment assets, resolving Claims (other than those Claims assigned to
 the Litigation Sub-Trust for resolution), and, as the sole officer of New GP LLC, winding down
 the Reorganized Debtor’s business operations.

                29.     “Claimant Trust Expenses” means all reasonable legal and other reasonable
 professional fees, costs, and expenses incurred by the Trustees on account of administration of the
 Claimant Trust, including any reasonable administrative fees and expenses, reasonable attorneys’
 fees and expenses, reasonable insurance costs, taxes, reasonable escrow expenses, and other
 expenses.

               30.     “Claimant Trust Interests” means the non-transferable interests in the
 Claimant Trust that are issued to the Claimant Trust Beneficiaries pursuant to this Plan; provided,
 however, Holders of Class A Limited Partnership Interests, Class B Limited Partnership Interests,
 and Class C Limited Partnership Interests will not be deemed to hold Claimant Trust Interests



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 unless and until the Contingent Claimant Trust Interests distributed to such Holders vest in
 accordance with the terms of this Plan and the Claimant Trust Agreement.

               31.      “Claimant Trust Oversight Committee” means the committee of five
 Persons established pursuant to ARTICLE IV of this Plan to oversee the Claimant Trustee’s
 performance of its duties and otherwise serve the functions described in this Plan and the Claimant
 Trust Agreement.

               32.    “Class” means a category of Holders of Claims or Equity Interests as set
 forth in ARTICLE III hereof pursuant to section 1122(a) of the Bankruptcy Code.

                33.    “Class A Limited Partnership Interest” means the Class A Limited
 Partnership Interests as defined in the Limited Partnership Agreement held by The Dugaboy
 Investment Trust, Mark and Pamela Okada Family Trust – Exempt Trust 2, Mark and Pamela
 Okada – Exempt Descendants’ Trust, and Mark Kiyoshi Okada, and the General Partner Interest.

                34.     “Class B Limited Partnership Interest” means the Class B Limited
 Partnership Interests as defined in the Limited Partnership Agreement held by Hunter Mountain
 Investment Trust.

               35.     “Class B/C Limited Partnership Interests” means, collectively, the Class B
 Limited Partnership and Class C Limited Partnership Interests.

                36.     “Class C Limited Partnership Interest” means the Class C Limited
 Partnership Interests as defined in the Limited Partnership Agreement held by Hunter Mountain
 Investment Trust.

                37.      “Committee” means the Official Committee of Unsecured Creditors
 appointed by the U.S. Trustee pursuant to 11 U.S.C. § 1102(a)(1) on October 29, 2019 [D.I. 65],
 consisting of (i) the Redeemer Committee of Highland Crusader Fund, (ii) Meta-e Discovery,
 (iii) UBS, and (iv) Acis.

                38.    “Confirmation Date” means the date on which the clerk of the Bankruptcy
 Court enters the Confirmation Order on the docket of the Bankruptcy Court.

                39.    “Confirmation Hearing” means the hearing held by the Bankruptcy Court
 pursuant to section 1128 of the Bankruptcy Code to consider confirmation of this Plan, as such
 hearing may be adjourned or continued from time to time.

                40.     “Confirmation Order” means the order of the Bankruptcy Court confirming
 this Plan pursuant to section 1129 of the Bankruptcy Code.

               41.     “Convenience Claim” means any prepetition, liquidated, and unsecured
 Claim against the Debtor that as of the Confirmation Date is less than or equal to $1,000,000 or
 any General Unsecured Claim that makes the Convenience Class Election. For the avoidance of
 doubt, the Reduced Employee Claims will be Convenience Claims.




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                 42.     “Convenience Claim Pool” means the $13,150,000 in Cash that shall be
 available upon the Effective Date for distribution to Holders of Convenience Claims under the
 Plan as set forth herein. Any Cash remaining in the Convenience Claim Pool after all distributions
 on account of Convenience Claims have been made will be transferred to the Claimant Trust and
 administered as a Claimant Trust Asset.

                 43.    “Convenience Class Election” means the option provided to each Holder of
 a General Unsecured Claim that is a liquidated Claim as of the Confirmation Date on their Ballot
 to elect to reduce their claim to $1,000,000 and receive the treatment provided to Convenience
 Claims.

                 44.      “Contingent Claimant Trust Interests” means the contingent Claimant Trust
 Interests to be distributed to Holders of Class A Limited Partnership Interests, Holders of Class B
 Limited Partnership Interests, and Holders of Class C Limited Partnership Interests in accordance
 with this Plan, the rights of which shall not vest, and consequently convert to Claimant Trust
 Interests, unless and until the Claimant Trustee Files a certification that all holders of Allowed
 General Unsecured Claims have been paid indefeasibly in full, plus, to the extent all Allowed
 unsecured Claims, excluding Subordinated Claims, have been paid in full, all accrued and unpaid
 post-petition interest from the Petition Date at the Federal Judgment Rate and all Disputed Claims
 in Class 8 and Class 9 have been resolved. As set forth in the Claimant Trust Agreement, the
 Contingent Claimant Trust Interests distributed to the Holders of Class A Limited Partnership
 Interests will be subordinated to the Contingent Claimant Trust Interests distributed to the Holders
 of Class B/C Limited Partnership Interests.

               45.     “Debtor” means Highland Capital Management, L.P. in its capacity as
 debtor and debtor in possession in the Chapter 11 Case.

                 46.     “Delaware Bankruptcy Court” means the United States Bankruptcy Court
 for the District of Delaware.

                47.      “Disclosure Statement” means that certain Disclosure Statement for
 Debtor’s Fifth Amended Chapter 11 Plan of Reorganization, as amended, supplemented, or
 modified from time to time, which describes this Plan, including all exhibits and schedules thereto
 and references therein that relate to this Plan.

                48.      “Disputed” means with respect to any Claim or Equity Interest, any Claim
 or Equity Interest that is not yet Allowed.

                49.    “Disputed Claims Reserve” means the appropriate reserve(s) or account(s)
 to be established on the Initial Distribution Date and maintained by the Claimant Trustee for
 distributions on account of Disputed Claims that may subsequently become an Allowed Claim.

               50.     “Disputed Claims Reserve Amount” means, for purposes of determining the
 Disputed Claims Reserve, the Cash that would have otherwise been distributed to a Holder of a
 Disputed Claim at the time any distributions of Cash are made to the Holders of Allowed Claims.
 The amount of the Disputed Claim upon which the Disputed Claims Reserve is calculated shall
 be: (a) the amount set forth on either the Schedules or the filed Proof of Claim, as applicable; (b)
 the amount agreed to by the Holder of the Disputed Claim and the Claimant Trustee or Reorganized


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 Debtor, as applicable; (c) the amount ordered by the Bankruptcy Court if it enters an order
 disallowing, in whole or in part, a Disputed Claim; or (d) as otherwise ordered by the Bankruptcy
 Court, including an order estimating the Disputed Claim.

               51.     “Distribution Agent” means the Claimant Trustee, or any party designated
 by the Claimant Trustee to serve as distribution agent under this Plan.

                 52.     “Distribution Date” means the date or dates determined by the Reorganized
 Debtor or the Claimant Trustee, as applicable, on or after the Initial Distribution Date upon which
 the Distribution Agent shall make distributions to holders of Allowed Claims and Interests entitled
 to receive distributions under the Plan.

                53.     “Distribution Record Date” means the date for determining which Holders
 of Claims and Equity Interests are eligible to receive distributions hereunder, which date shall be
 the Effective Date or such later date determined by the Bankruptcy Court.

                54.   “Effective Date” means the Business Day that this Plan becomes effective
 as provided in ARTICLE VIII hereof.

                55.     “Employees” means the employees of the Debtor set forth in the Plan
 Supplement.

                 56.     “Enjoined Parties” means (i) all Entities who have held, hold, or may hold
 Claims against or Equity Interests in the Debtor (whether or not proof of such Claims or Equity
 Interests has been filed and whether or not such Entities vote in favor of, against or abstain from
 voting on the Plan or are presumed to have accepted or deemed to have rejected the Plan), (ii)
 James Dondero (“Dondero”), (iii) any Entity that has appeared and/or filed any motion, objection,
 or other pleading in this Chapter 11 Case regardless of the capacity in which such Entity appeared
 and any other party in interest, (iv) any Related Entity, and (v) the Related Persons of each of the
 foregoing.

               57.    “Entity” means any “entity” as defined in section 101(15) of the Bankruptcy
 Code and also includes any Person or any other entity.

                 58.     “Equity Interest” means any Equity Security in the Debtor, including,
 without limitation, all issued, unissued, authorized or outstanding partnership interests, shares, of
 stock or limited company interests, the Class A Limited Partnership Interests, the Class B Limited
 Partnership Interests, and the Class C Limited Partnership Interests.

               59.    “Equity Security” means an “equity security” as defined in section 101(16)
 of the Bankruptcy Code.

                60.    “Estate” means the bankruptcy estate of the Debtor created by virtue of
 section 541 of the Bankruptcy Code upon the commencement of the Chapter 11 Case.

               61.     “Estate Claims” has the meaning given to it in Exhibit A to the Notice of
 Final Term Sheet [D.I. 354].




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                 62.     “Exculpated Parties” means, collectively, (i) the Debtor and its successors
 and assigns, (ii) the Employees, (iii) Strand, (iv) the Independent Directors, (v) the Committee,
 (vi) the members of the Committee (in their official capacities), (vii) the Professionals retained by
 the Debtor and the Committee in the Chapter 11 Case, (viii) the CEO/CRO; and (ix) the Related
 Persons of each of the parties listed in (iv) through (viii); provided, however, that, for the avoidance
 of doubt, none of James Dondero, Mark Okada, NexPoint Advisors, L.P. (and any of its
 subsidiaries and managed entities), the Charitable Donor Advised Fund, L.P. (and any of its
 subsidiaries, including CLO Holdco, Ltd., and managed entities), Highland CLO Funding, Ltd.
 (and any of its subsidiaries, members, and managed entities), Highland Capital Management Fund
 Advisors, L.P. (and any of its subsidiaries and managed entities), NexBank, SSB (and any of its
 subsidiaries), the Hunter Mountain Investment Trust (or any trustee acting for the trust), the
 Dugaboy Investment Trust (or any trustee acting for the trust), or Grant Scott is included in the
 term “Exculpated Party.”

                 63.    “Executory Contract” means a contract to which the Debtor is a party that
 is subject to assumption or rejection under sections 365 or 1123 of the Bankruptcy Code.

                64.     “Exhibit” means an exhibit annexed hereto or to the Disclosure Statement
 (as such exhibits are amended, modified or otherwise supplemented from time to time), which are
 incorporated by reference herein.

               65.     “Federal Judgment Rate” means the post-judgment interest rate set forth in
 28 U.S.C. § 1961 as of the Effective Date.

                 66.    “File” or “Filed” or “Filing” means file, filed or filing with the Bankruptcy
 Court or its authorized designee in the Chapter 11 Case.

                  67.     “Final Order” means an order or judgment of the Bankruptcy Court, which
 is in full force and effect, and as to which the time to appeal, petition for certiorari, or move for a
 new trial, reargument or rehearing has expired and as to which no appeal, petition for certiorari,
 or other proceedings for a new trial, reargument or rehearing shall then be pending or as to which
 any right to appeal, petition for certiorari, new trial, reargument, or rehearing shall have been
 waived in writing in form and substance satisfactory to the Debtor, the Reorganized Debtor, or the
 Claimant Trustee, as applicable, or, in the event that an appeal, writ of certiorari, new trial,
 reargument, or rehearing thereof has been sought, such order of the Bankruptcy Court shall have
 been determined by the highest court to which such order was appealed, or certiorari, new trial,
 reargument or rehearing shall have been denied and the time to take any further appeal, petition
 for certiorari, or move for a new trial, reargument or rehearing shall have expired; provided,
 however, that the possibility that a motion under Rule 60 of the Federal Rules of Civil Procedure,
 or any analogous rule under the Bankruptcy Rules, may be Filed with respect to such order shall
 not preclude such order from being a Final Order.

                68.     “Frontier Secured Claim” means the loan from Frontier State Bank to the
 Debtor in the principal amount of $7,879,688.00 made pursuant to that certain First Amended and
 Restated Loan Agreement, dated March 29, 2018.




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                69.     “General Partner Interest” means the Class A Limited Partnership Interest
 held by Strand, as the Debtor’s general partner.

                 70.    “General Unsecured Claim” means any prepetition Claim against the
 Debtor that is not Secured and is not a/an: (a) Administrative Expense Claim; (b) Professional Fee
 Claim; (c) Priority Tax Claim; (d) Priority Non-Tax Claim; or (e) Convenience Claim.

               71.      “Governmental Unit” means a “governmental unit” as defined in
 section 101(27) of the Bankruptcy Code.

              72.    “GUC Election” means the option provided to each Holder of a
 Convenience Claim on their Ballot to elect to receive the treatment provided to General Unsecured
 Claims.

                73.    “Holder” means an Entity holding a Claim against, or Equity Interest in, the
 Debtor.

               74.    “Impaired” means, when used in reference to a Claim or Equity Interest, a
 Claim or Equity Interest that is impaired within the meaning of section 1124 of the Bankruptcy
 Code.

                75.    “Independent Directors” means John S. Dubel, James P. Seery, Jr., and
 Russell Nelms, the independent directors of Strand appointed on January 9, 2020, and any
 additional or replacement directors of Strand appointed after January 9, 2020, but prior to the
 Effective Date.

               76.     “Initial Distribution Date” means, subject to the “Treatment” sections in
 ARTICLE III hereof, the date that is on or as soon as reasonably practicable after the Effective
 Date, when distributions under this Plan shall commence to Holders of Allowed Claims and Equity
 Interests.

                 77.    “Insurance Policies” means all insurance policies maintained by the Debtor
 as of the Petition Date.

                78.     “Jefferies Secured Claim” means any Claim in favor of Jefferies, LLC,
 arising under that certain Prime Brokerage Customer Agreement, dated May 24, 2013, between
 the Debtor and Jefferies, LLC, that is secured by the assets, if any, maintained in the prime
 brokerage account created by such Prime Brokerage Customer Agreement.

                 79.     “Lien” means a “lien” as defined in section 101(37) of the Bankruptcy Code
 and, with respect to any asset, includes, without limitation, any mortgage, lien, pledge, charge,
 security interest or other encumbrance of any kind, or any other type of preferential arrangement
 that has the practical effect of creating a security interest, in respect of such asset.

              80.     “Limited Partnership Agreement” means that certain Fourth Amended and
 Restated Agreement of Limited Partnership of Highland Capital Management, L.P., dated
 December 24, 2015, as amended.




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                81.     “Litigation Sub-Trust” means the sub-trust established within the Claimant
 Trust or as a wholly –owned subsidiary of the Claimant Trust on the Effective Date in each case
 in accordance with the terms and conditions set forth in the Litigation Sub-Trust Agreement and
 Claimant Trust Agreement. As set forth in the Litigation Sub-Trust Agreement, the Litigation
 Sub-Trust shall hold the Claimant Trust Assets that are Estate Claims.

              82.     “Litigation Sub-Trust Agreement” means the agreement filed in the Plan
 Supplement establishing and delineating the terms and conditions of the Litigation Sub-Trust.

                 83.     “Litigation Trustee” means the trustee appointed by the Committee and
 reasonably acceptable to the Debtor who shall be responsible for investigating, litigating, and
 settling the Estate Claims for the benefit of the Claimant Trust in accordance with the terms and
 conditions set forth in the Litigation Sub-Trust Agreement.

               84.     “Managed Funds” means Highland Multi-Strategy Credit Fund, L.P.,
 Highland Restoration Capital Partners, L.P., and any other investment vehicle managed by the
 Debtor pursuant to an Executory Contract assumed pursuant to this Plan.

               85.     “New Frontier Note” means that promissory note to be provided to the
 Allowed Holders of Class 2 Claims under this Plan and any other documents or security
 agreements securing the obligations thereunder.

              86.    “New GP LLC” means a limited liability company incorporated in the State
 of Delaware pursuant to the New GP LLC Documents to serve as the general partner of the
 Reorganized Debtor on the Effective Date.

                87.    “New GP LLC Documents” means the charter, operating agreement, and
 other formational documents of New GP LLC.

                88.    “Ordinary Course Professionals Order” means that certain Order Pursuant
 to Sections 105(a), 327, 328, and 330 of the Bankruptcy Code Authorizing the Debtor to Retain,
 Employ, and Compensate Certain Professionals Utilized by the Debtor in the Ordinary Course
 [D.I. 176].

                89.     “Other Unsecured Claim” means any Secured Claim other than the
 Jefferies Secured Claim and the Frontier Secured Claim.

                 90.    “Person” means a “person” as defined in section 101(41) of the Bankruptcy
 Code and also includes any natural person, individual, corporation, company, general or limited
 partnership, limited liability company, unincorporated organization firm, trust, estate, business
 trust, association, joint stock company, joint venture, government, governmental agency,
 Governmental Unit or any subdivision thereof, the United States Trustee, or any other entity,
 whether acting in an individual, fiduciary or other capacity.

               91.      “Petition Date” means October 16, 2019.

               92.     “Plan” means this Debtor’s Fifth Amended Chapter 11 Plan of
 Reorganization, including the Exhibits and the Plan Documents and all supplements, appendices,


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 and schedules thereto, either in its present form or as the same may be altered, amended, modified
 or otherwise supplemented from time to time.

               93.    “Plan Distribution” means the payment or distribution of consideration to
 Holders of Allowed Claims and Allowed Equity Interests under this Plan.

                94.    “Plan Documents” means any of the documents, other than this Plan, but
 including, without limitation, the documents to be filed with the Plan Supplement, to be executed,
 delivered, assumed, or performed in connection with the occurrence of the Effective Date, and as
 may be modified consistent with the terms hereof with the consent of the Committee.

                 95.    “Plan Supplement” means the ancillary documents necessary for the
 implementation and effectuation of the Plan, including, without limitation, (i) the form of Claimant
 Trust Agreement, (ii) the forms of New GP LLC Documents, (iii) the form of Reorganized Limited
 Partnership Agreement, (iv) the Sub-Servicer Agreement (if applicable), (v) the identity of the
 initial members of the Claimant Trust Oversight Committee, (vi) the form of Litigation Sub-Trust
 Agreement; (vii) the schedule of retained Causes of Action; (viii) the New Frontier Note, (ix) the
 schedule of Employees; (x) the form of Senior Employee Stipulation,; and (xi) the schedule of
 Executory Contracts and Unexpired Leases to be assumed pursuant to this Plan, which, in each
 case, will be in form and substance reasonably acceptable to the Debtor and the Committee.

                96.     “Priority Non-Tax Claim” means a Claim entitled to priority pursuant to
 section 507(a) of the Bankruptcy Code, including any Claims for paid time-off entitled to priority
 under section 507(a)(4) of the Bankruptcy Code, other than a Priority Tax Claim or an
 Administrative Claim.

                97.     “Pro Rata” means the proportion that (a) the Allowed amount of a Claim or
 Equity Interest in a particular Class bears to (b) the aggregate Allowed amount of all Claims or
 Equity Interests in such Class.

                98.     “Professional” means (a) any Entity employed in the Chapter 11 Case
 pursuant to section 327, 328 363 or 1103 of the Bankruptcy Code or otherwise and (b) any Entity
 seeking compensation or reimbursement of expenses in connection with the Chapter 11 Case
 pursuant to sections 327, 328, 330, 331, 363, 503(b), 503(b)(4) and 1103 of the Bankruptcy Code.

                  99.    “Professional Fee Claim” means a Claim under sections 328, 330(a), 331,
 363, 503 or 1103 of the Bankruptcy Code, with respect to a particular Professional, for
 compensation for services rendered or reimbursement of costs, expenses or other charges incurred
 after the Petition Date and prior to and including the Effective Date.

               100. “Professional Fee Claims Bar Date” means with respect to Professional Fee
 Claims, the Business Day which is sixty (60) days after the Effective Date or such other date as
 approved by order of the Bankruptcy Court.

               101. “Professional Fee Claims Objection Deadline” means, with respect to any
 Professional Fee Claim, thirty (30) days after the timely Filing of the applicable request for
 payment of such Professional Fee Claim.



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                102. “Professional Fee Reserve” means the reserve established and funded by
 the Claimant Trustee pursuant this Plan to provide sufficient funds to satisfy in full unpaid Allowed
 Professional Fee Claims.

                103. “Proof of Claim” means a written proof of Claim or Equity Interest Filed
 against the Debtor in the Chapter 11 Case.

                 104. “Priority Tax Claim” means any Claim of a Governmental Unit of the kind
 specified in section 507(a)(8) of the Bankruptcy Code.

                 105. “Protected Parties” means, collectively, (i) the Debtor and its successors
 and assigns, direct and indirect majority-owned subsidiaries, and the Managed Funds, (ii) the
 Employees, (iii) Strand, (iv) the Reorganized Debtor, (v) the Independent Directors, (vi) the
 Committee, (vii) the members of the Committee (in their official capacities), (viii) the Claimant
 Trust, (ix) the Claimant Trustee, (x) the Litigation Sub-Trust, (xi) the Litigation Trustee, (xii) the
 members of the Claimant Trust Oversight Committee (in their official capacities), (xiii) New GP
 LLC, (xiv) the Professionals retained by the Debtor and the Committee in the Chapter 11 Case,
 (xv) the CEO/CRO; and (xvi) the Related Persons of each of the parties listed in (iv) through (xv);
 provided, however, that, for the avoidance of doubt, none of James Dondero, Mark Okada,
 NexPoint Advisors, L.P. (and any of its subsidiaries and managed entities), the Charitable Donor
 Advised Fund, L.P. (and any of its subsidiaries, including CLO Holdco, Ltd., and managed
 entities), Highland CLO Funding, Ltd. (and any of its subsidiaries, members, and managed
 entities), NexBank, SSB (and any of its subsidiaries), Highland Capital Management Fund
 Advisors, L.P. (and any of its subsidiaries and managed entities), the Hunter Mountain Investment
 Trust (or any trustee acting for the trust), the Dugaboy Investment Trust (or any trustee acting for
 the trust), or Grant Scott is included in the term “Protected Party.”

                106. “PTO Claims” means any Claim for paid time off in favor of any Debtor
 employee in excess of the amount that would qualify as a Priority Non-Tax Claim under section
 507(a)(4) of the Bankruptcy Code.

                107.    “Reduced Employee Claims” has the meaning set forth in ARTICLE IX.D.

                  108. “Reinstated” means, with respect to any Claim or Equity Interest, (a)
 leaving unaltered the legal, equitable, and contractual rights to which a Claim entitles the Holder
 of such Claim or Equity Interest in accordance with section 1124 of the Bankruptcy Code or (b)
 notwithstanding any contractual provision or applicable law that entitles the Holder of such Claim
 or Equity Interest to demand or receive accelerated payment of such Claim or Equity Interest after
 the occurrence of a default: (i) curing any such default that occurred before or after the Petition
 Date, other than a default of a kind specified in section 365(b)(2) of the Bankruptcy Code or of a
 kind that section 365(b)(2) of the Bankruptcy Code expressly does not require to be cured; (ii)
 reinstating the maturity of such Claim or Equity Interest as such maturity existed before such
 default; (iii) compensating the Holder of such Claim or Equity Interest for any damages incurred
 as a result of any reasonable reliance by such Holder on such contractual provision or such
 applicable law; (iv) if such Claim or Equity Interest arises from any failure to perform a
 nonmonetary obligation, other than a default arising from failure to operate a non-residential real
 property lease subject to section 365(b)(1)(A) of the Bankruptcy Code, compensating the Holder



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 of such Claim or Equity Interest (other than any Debtor or an insider of any Debtor) for any actual
 pecuniary loss incurred by such Holder as a result of such failure; and (v) not otherwise altering
 the legal, equitable, or contractual rights to which such Claim entitles the Holder of such Claim.

                 109. “Rejection Claim” means any Claim for monetary damages as a result of
 the rejection of an executory contract or unexpired lease pursuant to the Confirmation Order.

                  110. “Related Entity” means, without duplication, (a) Dondero, (b) Mark Okada
 (“Okada”), (c) Grant Scott (“Scott”), (d) Hunter Covitz (“Covitz”), (e) any entity or person that
 was an insider of the Debtor on or before the Petition Date under Section 101(31) of the
 Bankruptcy Code, including, without limitation, any entity or person that was a non-statutory
 insider, (f) any entity that, after the Effective Date, is an insider or Affiliate of one or more of
 Dondero, Okada, Scott, Covitz, or any of their respective insiders or Affiliates, including, without
 limitation, The Dugaboy Investment Trust, (g) the Hunter Mountain Investment Trust and any of
 its direct or indirect parents, (h) the Charitable Donor Advised Fund, L.P., and any of its direct or
 indirect subsidiaries, and (i) Affiliates of the Debtor and any other Entities listed on the Related
 Entity List.

                111.    “Related Entity List” means that list of Entities filed with the Plan
 Supplement.

                112. “Related Persons” means, with respect to any Person, such Person’s
 predecessors, successors, assigns (whether by operation of law or otherwise), and each of their
 respective present, future, or former officers, directors, employees, managers, managing members,
 members, financial advisors, attorneys, accountants, investment bankers, consultants,
 professionals, advisors, shareholders, principals, partners, subsidiaries, divisions, management
 companies, heirs, agents, and other representatives, in each case solely in their capacity as such.

                  113. “Released Parties” means, collectively, (i) the Independent Directors; (ii)
 Strand (solely from the date of the appointment of the Independent Directors through the Effective
 Date); (iii) the CEO/CRO; (iv) the Committee; (v) the members of the Committee (in their official
 capacities), (vi) the Professionals retained by the Debtor and the Committee in the Chapter 11
 Case; and (vii) the Employees.

                114. “Reorganized Debtor” means the Debtor, as reorganized pursuant to this
 Plan on and after the Effective Date.

                 115. “Reorganized Debtor Assets” means any limited and general partnership
 interests held by the Debtor, the management of the Managed Funds and those Causes of Action
 (including, without limitation, claims for breach of fiduciary duty), that, for any reason, are not
 capable of being transferred to the Claimant Trust. For the avoidance of doubt, “Reorganized
 Debtor Assets” includes any partnership interests or shares of Managed Funds held by the Debtor
 but does not include the underlying portfolio assets held by the Managed Funds.

                116. “Reorganized Limited Partnership Agreement” means that certain Fifth
 Amended and Restated Agreement of Limited Partnership of Highland Capital Management, L.P.,
 by and among the Claimant Trust, as limited partner, and New GP LLC, as general partner, Filed
 with the Plan Supplement.


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                117. “Restructuring” means the restructuring of the Debtor, the principal terms
 of which are set forth in this Plan and the Disclosure Statement.

                118. “Retained Employee Claim” means any Claim filed by a current employee
 of the Debtor who will be employed by the Reorganized Debtor upon the Effective Date.

                119. “Schedules” means the schedules of Assets and liabilities, statements of
 financial affairs, lists of Holders of Claims and Equity Interests and all amendments or
 supplements thereto Filed by the Debtor with the Bankruptcy Court [D.I. 247].

                  120. “Secured” means, when referring to a Claim: (a) secured by a Lien on
 property in which the Debtor’s Estate has an interest, which Lien is valid, perfected, and
 enforceable pursuant to applicable law or by reason of a Bankruptcy Court order, or that is subject
 to setoff pursuant to section 553 of the Bankruptcy Code, to the extent of the value of the creditor’s
 interest in the interest of the Debtor’s Estate in such property or to the extent of the amount subject
 to setoff, as applicable, as determined pursuant to section 506(a) of the Bankruptcy Code or (b)
 Allowed pursuant to the Plan as a Secured Claim.

               121. “Security” or “security” means any security as such term is defined in
 section 101(49) of the Bankruptcy Code.

              122.      “Senior Employees” means the senior employees of the Debtor Filed in the
 Plan Supplement.

              123. “Senior Employee Stipulation” means the agreements filed in the Plan
 Supplement between each Senior Employee and the Debtor.

                 124. “Stamp or Similar Tax” means any stamp tax, recording tax, personal
 property tax, conveyance fee, intangibles or similar tax, real estate transfer tax, sales tax, use tax,
 transaction privilege tax (including, without limitation, such taxes on prime contracting and owner-
 builder sales), privilege taxes (including, without limitation, privilege taxes on construction
 contracting with regard to speculative builders and owner builders), and other similar taxes
 imposed or assessed by any Governmental Unit.

                125.    “Statutory Fees” means fees payable pursuant to 28 U.S.C. § 1930.

                126.    “Strand” means Strand Advisors, Inc., the Debtor’s general partner.

                127. “Sub-Servicer” means a third-party selected by the Claimant Trustee to
 service or sub-service the Reorganized Debtor Assets.

                128. “Sub-Servicer Agreement” means the agreement that may be entered into
 providing for the servicing of the Reorganized Debtor Assets by the Sub-Servicer.

                129. “Subordinated Claim” means any Claim that is subordinated to the
 Convenience Claims and General Unsecured Claims pursuant to an order entered by the
 Bankruptcy Court (including any other court having jurisdiction over the Chapter 11 Case) after
 notice and a hearing.



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                 130. “Subordinated Claimant Trust Interests” means the Claimant Trust Interests
 to be distributed to Holders of Allowed Subordinated Claims under the Plan, which such interests
 shall be subordinated in right and priority to the Claimant Trust Interests distributed to Holders of
 Allowed General Unsecured Claims as provided in the Claimant Trust Agreement.

               131. “Trust Distribution” means the transfer of Cash or other property by the
 Claimant Trustee to the Claimant Trust Beneficiaries.

                132.    “Trustees” means, collectively, the Claimant Trustee and Litigation
 Trustee.

                133.    “UBS” means, collectively, UBS Securities LLC and UBS AG London
 Branch.

                134. “Unexpired Lease” means a lease to which the Debtor is a party that is
 subject to assumption or rejection under section 365 of the Bankruptcy Code.

                 135. “Unimpaired” means, with respect to a Class of Claims or Equity Interests
 that is not impaired within the meaning of section 1124 of the Bankruptcy Code.

                136. “Voting Deadline” means the date and time by which all Ballots to accept
 or reject the Plan must be received in order to be counted under the under the Order of the
 Bankruptcy Court approving the Disclosure Statement as containing adequate information
 pursuant to section 1125(a) of the Bankruptcy Code and authorizing the Debtor to solicit
 acceptances of the Plan.

                137.    “Voting Record Date” means November 23, 2020.

                                 ARTICLE II.
                ADMINISTRATIVE EXPENSES AND PRIORITY TAX CLAIMS

 A.     Administrative Expense Claims

         On the later of the Effective Date or the date on which an Administrative Expense Claim
 becomes an Allowed Administrative Expense Claim, or, in each such case, as soon as practicable
 thereafter, each Holder of an Allowed Administrative Expense Claim (other than Professional Fee
 Claims) will receive, in full satisfaction, settlement, discharge and release of, and in exchange for,
 such Allowed Administrative Expense Claim either (i) payment in full in Available Cash for the
 unpaid portion of such Allowed Administrative Expense Claim; or (ii) such other less favorable
 treatment as agreed to in writing by the Debtor or the Reorganized Debtor, as applicable, and such
 Holder; provided, however, that Administrative Expense Claims incurred by the Debtor in the
 ordinary course of business may be paid in the ordinary course of business in the discretion of the
 Debtor in accordance with such applicable terms and conditions relating thereto without further
 notice to or order of the Bankruptcy Court. All statutory fees payable under 28 U.S.C. § 1930(a)
 shall be paid as such fees become due.

        If an Administrative Expense Claim (other than a Professional Fee Claim) is not paid by
 the Debtor in the ordinary course, the Holder of such Administrative Expense Claim must File, on


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 or before the applicable Administrative Expense Claims Bar Date, and serve on the Debtor or
 Reorganized Debtor, as applicable, and such other Entities who are designated by the Bankruptcy
 Rules, the Confirmation Order or other order of the Bankruptcy Court, an application for allowance
 and payment of such Administrative Expense Claim.

         Objections to any Administrative Expense Claim (other than a Professional Fee Claim)
 must be Filed and served on the Debtor or the Reorganized Debtor, as applicable, and the party
 asserting such Administrative Expense Claim by the Administrative Expense Claims Objection
 Deadline.

 B.     Professional Fee Claims

         Professionals or other Entities asserting a Professional Fee Claim for services rendered
 through the Effective Date must submit fee applications under sections 327, 328, 329,330, 331,
 503(b) or 1103 of the Bankruptcy Code and, upon entry of an order of the Bankruptcy Court
 granting such fee applications, such Professional Fee Claim shall promptly be paid in Cash in full
 to the extent provided in such order.

         Professionals or other Entities asserting a Professional Fee Claim for services rendered on
 or prior to the Effective Date must File, on or before the Professional Fee Claims Bar Date, and
 serve on the Debtor or Reorganized Debtor, as applicable, and such other Entities who are
 designated as requiring such notice by the Bankruptcy Rules, the Confirmation Order or other
 order of the Bankruptcy Court, an application for final allowance of such Professional Fee Claim.

         Objections to any Professional Fee Claim must be Filed and served on the Debtor or
 Reorganized Debtor, as applicable, and the party asserting the Professional Fee Claim by the
 Professional Fee Claim Objection Deadline. Each Holder of an Allowed Professional Fee Claim
 will be paid by the Debtor or the Claimant Trust, as applicable, in Cash within ten (10) Business
 Days of entry of the order approving such Allowed Professional Fee Claim.

         On the Effective Date, the Claimant Trustee shall establish the Professional Fee Reserve.
 The Professional Fee Reserve shall vest in the Claimant Trust and shall be maintained by the
 Claimant Trustee in accordance with the Plan and Claimant Trust Agreement. The Claimant Trust
 shall fund the Professional Fee Reserve on the Effective Date in an estimated amount determined
 by the Debtor in good faith prior to the Confirmation Date and that approximates the total projected
 amount of unpaid Professional Fee Claims on the Effective Date. Following the payment of all
 Allowed Professional Fee Claims, any excess funds in the Professional Fee Reserve shall be
 released to the Claimant Trust to be used for other purposes consistent with the Plan and the
 Claimant Trust Agreement.

 C.     Priority Tax Claims

         On or as soon as reasonably practicable after the later of (i) the Initial Distribution Date if
 such Priority Tax Claim is an Allowed Priority Tax Claim as of the Effective Date or (ii) the date
 on which such Priority Tax Claim becomes an Allowed Priority Tax Claim, each Holder of an
 Allowed Priority Tax Claim will receive in full satisfaction, settlement, discharge and release of,
 and in exchange for, such Allowed Priority Tax Claim, at the election of the Debtor: (a) Cash in
 an amount of a total value as of the Effective Date of the Plan equal to the amount of such Allowed


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 Priority Tax Claim in accordance with section 1129(a)(9)(C) of the Bankruptcy Code, or (b) if
 paid over time, payment of such Allowed Priority Tax Claim in accordance with section
 1129(a)(9)(C) of the Bankruptcy Code; or (c) such other less favorable treatment as agreed to in
 writing by the Debtor and such Holder. Payment of statutory fees due pursuant to 28 U.S.C. §
 1930(a)(6) will be made at all appropriate times until the entry of a final decree; provided, however,
 that the Debtor may prepay any or all such Claims at any time, without premium or penalty.

                                     ARTICLE III.
                          CLASSIFICATION AND TREATMENT OF
                        CLASSIFIED CLAIMS AND EQUITY INTERESTS

 A.       Summary

         All Claims and Equity Interests, except Administrative Expense Claims and Priority Tax
 Claims, are classified in the Classes set forth below. In accordance with section 1123(a)(1) of the
 Bankruptcy Code, Administrative Expense Claims, and Priority Tax Claims have not been
 classified.

         The categories of Claims and Equity Interests listed below classify Claims and Equity
 Interests for all purposes including, without limitation, confirmation and distribution pursuant to
 the Plan and pursuant to sections 1122 and 1123(a)(1) of the Bankruptcy Code. The Plan deems
 a Claim or Equity Interest to be classified in a particular Class only to the extent that the Claim or
 Equity Interest qualifies within the description of that Class and will be deemed classified in a
 different Class to the extent that any remainder of such Claim or Equity Interest qualifies within
 the description of such different Class. A Claim or Equity Interest is in a particular Class only to
 the extent that any such Claim or Equity Interest is Allowed in that Class and has not been paid,
 released or otherwise settled (in each case, by the Debtor or any other Entity) prior to the Effective
 Date.

 B.       Summary of Classification and Treatment of Classified Claims and Equity Interests

  Class     Claim                                             Status          Voting Rights
  1         Jefferies Secured Claim                           Unimpaired      Deemed to Accept
  2         Frontier Secured Claim                            Impaired        Entitled to Vote
  3         Other Secured Claims                              Unimpaired      Deemed to Accept
  4         Priority Non-Tax Claim                            Unimpaired      Deemed to Accept
  5         Retained Employee Claim                           Unimpaired      Deemed to Accept
  6         PTO Claims                                        Unimpaired      Deemed to Accept
  7         Convenience Claims                                Impaired        Entitled to Vote
  8         General Unsecured Claims                          Impaired        Entitled to Vote
  9         Subordinated Claims                               Impaired        Entitled to Vote
  10        Class B/C Limited Partnership Interests           Impaired        Entitled to Vote
  11        Class A Limited Partnership Interests             Impaired        Entitled to Vote




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 C.     Elimination of Vacant Classes

         Any Class that, as of the commencement of the Confirmation Hearing, does not have at
 least one Holder of a Claim or Equity Interest that is Allowed in an amount greater than zero for
 voting purposes shall be considered vacant, deemed eliminated from the Plan for purposes of
 voting to accept or reject the Plan, and disregarded for purposes of determining whether the Plan
 satisfies section 1129(a)(8) of the Bankruptcy Code with respect to such Class.

 D.     Impaired/Voting Classes

        Claims and Equity Interests in Class 2 and Class 7 through Class 11 are Impaired by the
 Plan, and only the Holders of Claims or Equity Interests in those Classes are entitled to vote to
 accept or reject the Plan.

 E.     Unimpaired/Non-Voting Classes

        Claims in Class 1 and Class 3 through Class 6 are Unimpaired by the Plan, and such
 Holders are deemed to have accepted the Plan and are therefore not entitled to vote on the Plan.

 F.     Impaired/Non-Voting Classes

        There are no Classes under the Plan that will not receive or retain any property and no
 Classes are deemed to reject the Plan.

 G.     Cramdown

         If any Class of Claims or Equity Interests is deemed to reject this Plan or does not vote to
 accept this Plan, the Debtor may (i) seek confirmation of this Plan under section 1129(b) of the
 Bankruptcy Code or (ii) amend or modify this Plan in accordance with the terms hereof and the
 Bankruptcy Code. If a controversy arises as to whether any Claims or Equity Interests, or any
 class of Claims or Equity Interests, are Impaired, the Bankruptcy Court shall, after notice and a
 hearing, determine such controversy on or before the Confirmation Date.

 H.     Classification and Treatment of Claims and Equity Interests

        1.      Class 1 – Jefferies Secured Claim

                •       Classification: Class 1 consists of the Jefferies Secured Claim.

                •       Treatment: On or as soon as reasonably practicable after the Effective Date,
                        each Holder of an Allowed Class 1 Claim will receive in full satisfaction,
                        settlement, discharge and release of, and in exchange for, such Allowed
                        Class 1 Claim, at the election of the Debtor: (A) Cash equal to the amount
                        of such Allowed Class 1 Claim; (B) such other less favorable treatment as
                        to which the Debtor and the Holder of such Allowed Class 1 Claim will
                        have agreed upon in writing; or (C) such other treatment rendering such
                        Claim Unimpaired. Each Holder of an Allowed Class 1 Claim will retain
                        the Liens securing its Allowed Class 1 Claim as of the Effective Date until



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                    full and final payment of such Allowed Class 1 Claim is made as provided
                    herein.

             •      Impairment and Voting: Class 1 is Unimpaired, and the Holders of Class 1
                    Claims are conclusively deemed to have accepted this Plan pursuant to
                    section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 1
                    Claims are not entitled to vote to accept or reject this Plan and will not be
                    solicited.

       2.    Class 2 – Frontier Secured Claim

             •      Classification: Class 2 consists of the Frontier Secured Claim.

             •      Treatment: On or as soon as reasonably practicable after the Effective Date,
                    each Holder of an Allowed Class 2 Claim will receive in full satisfaction,
                    settlement, discharge and release of, and in exchange for, such Allowed
                    Class 2 Claim: (A) Cash in an amount equal to all accrued but unpaid
                    interest on the Frontier Claim through and including the Effective Date and
                    (B) the New Frontier Note. The Holder of an Allowed Class 2 Claim will
                    retain the Liens securing its Allowed Class 2 Claim as of the Effective Date
                    until full and final payment of such Allowed Class 2 Claim is made as
                    provided herein.

             •      Impairment and Voting: Class 2 is Impaired, and the Holders of Class 2
                    Claims are entitled to vote to accept or reject this Plan.

       3.    Class 3 – Other Secured Claims

             •      Classification: Class 3 consists of the Other Secured Claims.

             •      Allowance and Treatment: On or as soon as reasonably practicable after the
                    later of (i) the Initial Distribution Date if such Class 3 Claim is Allowed on
                    the Effective Date or (ii) the date on which such Class 3 Claim becomes an
                    Allowed Class 3 Claim, each Holder of an Allowed Class 3 Claim will
                    receive in full satisfaction, settlement, discharge and release of, and in
                    exchange for, its Allowed Claim 3 Claim, at the option of the Debtor, or
                    following the Effective Date, the Reorganized Debtor or Claimant Trustee,
                    as applicable, (i) Cash equal to such Allowed Other Secured Claim, (ii) the
                    collateral securing its Allowed Other Secured Claim, plus postpetition
                    interest to the extent required under Bankruptcy Code Section 506(b), or
                    (iii) such other treatment rendering such Claim Unimpaired.

             •      Impairment and Voting: Class 3 is Unimpaired, and the Holders of Class 3
                    Claims are conclusively deemed to have accepted this Plan pursuant to
                    section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 3
                    Claims are not entitled to vote to accept or reject this Plan and will not be
                    solicited.



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       4.    Class 4 – Priority Non-Tax Claims

             •      Classification: Class 4 consists of the Priority Non-Tax Claims.

             •      Allowance and Treatment: On or as soon as reasonably practicable after the
                    later of (i) the Initial Distribution Date if such Class 4 Claim is Allowed on
                    the Effective Date or (ii) the date on which such Class 4 Claim becomes an
                    Allowed Class 4 Claim, each Holder of an Allowed Class 4 Claim will
                    receive in full satisfaction, settlement, discharge and release of, and in
                    exchange for, its Allowed Claim 4 Claim Cash equal to the amount of such
                    Allowed Class 4 Claim.

             •      Impairment and Voting: Class 4 is Unimpaired, and the Holders of Class 4
                    Claims are conclusively deemed to have accepted this Plan pursuant to
                    section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 4
                    Claims are not entitled to vote to accept or reject this Plan and will not be
                    solicited.

       5.    Class 5 – Retained Employee Claims

             •      Classification: Class 5 consists of the Retained Employee Claims.

             •      Allowance and Treatment: On or as soon as reasonably practicable after the
                    Effective Date, each Allowed Class 5 Claim will be Reinstated.

             •      Impairment and Voting: Class 5 is Unimpaired, and the Holders of Class 5
                    Claims are conclusively deemed to have accepted this Plan pursuant to
                    section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 5
                    Claims are not entitled to vote to accept or reject this Plan and will not be
                    solicited.

       6.    Class 6 – PTO Claims

             •      Classification: Class 6 consists of the PTO Claims.

             •      Allowance and Treatment: On or as soon as reasonably practicable after the
                    later of (i) the Initial Distribution Date if such Class 6 Claim is Allowed on
                    the Effective Date or (ii) the date on which such Class 6 Claim becomes an
                    Allowed Class 6 Claim, each Holder of an Allowed Class 6 Claim will
                    receive in full satisfaction, settlement, discharge and release of, and in
                    exchange for, its Allowed Claim 6 Claim Cash equal to the amount of such
                    Allowed Class 6 Claim.

             •      Impairment and Voting: Class 6 is Unimpaired, and the Holders of Class 6
                    Claims are conclusively deemed to have accepted this Plan pursuant to
                    section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 6




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                   Claims are not entitled to vote to accept or reject this Plan and will not be
                   solicited.

       7.    Class 7 – Convenience Claims

             •     Classification: Class 7 consists of the Convenience Claims.

             •     Allowance and Treatment: On or as soon as reasonably practicable after the
                   later of (i) the Initial Distribution Date if such Class 7 Claim is Allowed on
                   the Effective Date or (ii) the date on which such Class 7 Claim becomes an
                   Allowed Class 7 Claim, each Holder of an Allowed Class 7 Claim will
                   receive in full satisfaction, settlement, discharge and release of, and in
                   exchange for, its Allowed Class 7 Claim (1) the treatment provided to
                   Allowed Holders of Class 8 General Unsecured Claims if the Holder of such
                   Class 7 Claim makes the GUC Election or (2) an amount in Cash equal to
                   the lesser of (a) 85% of the Allowed amount of such Holder’s Class 7 Claim
                   or (b) such Holder’s Pro Rata share of the Convenience Claims Cash Pool.

             •     Impairment and Voting: Class 7 is Impaired, and the Holders of Class 7
                   Claims are entitled to vote to accept or reject this Plan.

       8.    Class 8 – General Unsecured Claims

             •     Classification: Class 8 consists of the General Unsecured Claims.

             •     Treatment: On or as soon as reasonably practicable after the Effective Date,
                   each Holder of an Allowed Class 8 Claim, in full satisfaction, settlement,
                   discharge and release of, and in exchange for, such Claim shall receive (i)
                   its Pro Rata share of the Claimant Trust Interests, (ii) such other less
                   favorable treatment as to which such Holder and the Claimant Trustee shall
                   have agreed upon in writing, or (iii) the treatment provided to Allowed
                   Holders of Class 7 Convenience Claims if the Holder of such Class 8
                   General Unsecured Claim is eligible and makes a valid Convenience Class
                   Election.

                   Notwithstanding anything to the contrary herein, after the Effective Date
                   and subject to the other provisions of this Plan, the Debtor, the Reorganized
                   Debtor, and the Claimant Trust, as applicable, will have and will retain any
                   and all rights and defenses under bankruptcy or nonbankruptcy law that the
                   Debtor had with respect to any General Unsecured Claim, except with
                   respect to any General Unsecured Claim Allowed by Final Order of the
                   Bankruptcy Court.

             •     Impairment and Voting: Class 8 is Impaired, and the Holders of Class 8
                   Claims are entitled to vote to accept or reject this Plan.




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       9.    Class 9 – Subordinated Claims

             •      Classification: Class 9 consists of the Subordinated Claims.

                    Treatment: On the Effective Date, Holders of Subordinated Claims shall
                    receive either (i) their Pro Rata share of the Subordinated Claimant Trust
                    Interests or, (ii) such other less favorable treatment as to which such Holder
                    and the Claimant Trustee may agree upon in writing.


                    Notwithstanding anything to the contrary herein, after the Effective Date
                    and subject to the other provisions of this Plan, the Debtor, the Reorganized
                    Debtor, and the Claimant Trust, as applicable, will have and will retain any
                    and all rights and defenses under bankruptcy or nonbankruptcy law that the
                    Debtor had with respect to any Subordinated Claim, except with respect to
                    any Subordinated Claim Allowed by Final Order of the Bankruptcy Court.

             •      Impairment and Voting: Class 9 is Impaired, and the Holders of Class 9
                    Claims are entitled to vote to accept or reject this Plan.

       10.   Class 10 – Class B/C Limited Partnership Interests

             •      Classification: Class 10 consists of the Class B/C Limited Partnership
                    Interests.

             •      Treatment: On or as soon as reasonably practicable after the Effective Date,
                    each Holder of an Allowed Class 10 Claim, in full satisfaction, settlement,
                    discharge and release of, and in exchange for, such Claim shall receive (i)
                    its Pro Rata share of the Contingent Claimant Trust Interests or (ii) such
                    other less favorable treatment as to which such Holder and the Claimant
                    Trustee shall have agreed upon in writing.

                    Notwithstanding anything to the contrary herein, after the Effective Date
                    and subject to the other provisions of this Plan, the Debtor, the Reorganized
                    Debtor, and the Claimant Trust, as applicable, will have and will retain any
                    and all rights and defenses under bankruptcy or nonbankruptcy law that the
                    Debtor had with respect to any Class B/C Limited Partnership Interest
                    Claim, except with respect to any Class B/C Limited Partnership Interest
                    Claim Allowed by Final Order of the Bankruptcy Court.

             •      Impairment and Voting: Class 10 is Impaired, and the Holders of Class 10
                    Claims are entitled to vote to accept or reject this Plan.

       11.   Class 11 – Class A Limited Partnership Interests

             •      Classification:   Class 11 consists of the Class A Limited Partnership
                    Interests.



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                •      Treatment: On or as soon as reasonably practicable after the Effective Date,
                       each Holder of an Allowed Class 11 Claim, in full satisfaction, settlement,
                       discharge and release of, and in exchange for, such Claim shall receive (i)
                       its Pro Rata share of the Contingent Claimant Trust Interests or (ii) such
                       other less favorable treatment as to which such Holder and the Claimant
                       Trustee shall have agreed upon in writing.

                       Notwithstanding anything to the contrary herein, after the Effective Date
                       and subject to the other provisions of this Plan, the Debtor, the Reorganized
                       Debtor, and the Claimant Trust, as applicable, will have and will retain any
                       and all rights and defenses under bankruptcy or nonbankruptcy law that the
                       Debtor had with respect to any Class A Limited Partnership Interest, except
                       with respect to any Class A Limited Partnership Interest Allowed by Final
                       Order of the Bankruptcy Court.

                •      Impairment and Voting: Class 11 is Impaired, and the Holders of Class 11
                       Claims are entitled to vote to accept or reject this Plan.

 I.     Special Provision Governing Unimpaired Claims

         Except as otherwise provided in the Plan, nothing under the Plan will affect the Debtor’s
 rights in respect of any Unimpaired Claims, including, without limitation, all rights in respect of
 legal and equitable defenses to or setoffs or recoupments against any such Unimpaired Claims.

 J.     Subordinated Claims

        The allowance, classification, and treatment of all Claims under the Plan shall take into
 account and conform to the contractual, legal, and equitable subordination rights relating thereto,
 whether arising under general principles of equitable subordination, section 510(b) of the
 Bankruptcy Code, or otherwise. Upon written notice and hearing, the Debtor the Reorganized
 Debtor, and the Claimant Trustee reserve the right to seek entry of an order by the Bankruptcy
 Court to re-classify or to subordinate any Claim in accordance with any contractual, legal, or
 equitable subordination relating thereto, and the treatment afforded any Claim under the Plan that
 becomes a subordinated Claim at any time shall be modified to reflect such subordination.

                                   ARTICLE IV.
                       MEANS FOR IMPLEMENTATION OF THIS PLAN

 A.     Summary

       As discussed in the Disclosure Statement, the Plan will be implemented through (i) the
 Claimant Trust, (ii) the Litigation Sub-Trust, and (iii) the Reorganized Debtor.

         On the Effective Date, all Class A Limited Partnership Interests, including the Class A
 Limited Partnership Interests held by Strand, as general partner, and Class B/C Limited
 Partnerships in the Debtor will be cancelled, and new Class A Limited Partnership Interests in the
 Reorganized Debtor will be issued to the Claimant Trust and New GP LLC – a newly-chartered
 limited liability company wholly-owned by the Claimant Trust. The Claimant Trust, as limited


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 partner, will ratify New GP LLC’s appointment as general partner of the Reorganized Debtor, and
 on and following the Effective Date, the Claimant Trust will be the Reorganized Debtor’s limited
 partner and New GP LLC will be its general partner. The Claimant Trust, as limited partner, and
 New GP LLC, as general partner, will execute the Reorganized Limited Partnership Agreement,
 which will amend and restate, in all respects, the Debtor’s current Limited Partnership Agreement.
 Following the Effective Date, the Reorganized Debtor will be managed consistent with the terms
 of the Reorganized Limited Partnership Agreement by New GP LLC. The sole managing member
 of New GP LLC will be the Claimant Trust, and the Claimant Trustee will be the sole officer of
 New GP LLC on the Effective Date.

          Following the Effective Date, the Claimant Trust will administer the Claimant Trust Assets
 pursuant to this Plan and the Claimant Trust Agreement, and the Litigation Trustee will pursue, if
 applicable, the Estate Claims pursuant to the terms of the Litigation Sub-Trust Agreement and the
 Plan. The Reorganized Debtor will administer the Reorganized Debtor Assets and, if needed, with
 the utilization of a Sub-Servicer, which administration will include, among other things, managing
 the wind down of the Managed Funds.

         Although the Reorganized Debtor will manage the wind down of the Managed Funds, it is
 currently anticipated that neither the Reorganized Debtor nor the Claimant Trust will assume or
 assume and assign the contracts between the Debtor and certain Related Entities pursuant to which
 the Debtor provides shared services and sub-advisory services to those Related Entities. The
 Debtor believes that the continued provision of the services under such contracts will not be cost
 effective.

         The Reorganized Debtor will distribute all proceeds from the wind down to the Claimant
 Trust, as its limited partner, and New GP LLC, as its general partner, in each case in accordance
 with the Reorganized Limited Partnership Agreement. Such proceeds, along with the proceeds of
 the Claimant Trust Assets, will ultimately be distributed to the Claimant Trust Beneficiaries as set
 forth in this Plan and the Claimant Trust Agreement.

 B.      The Claimant Trust 2

         1.       Creation and Governance of the Claimant Trust and Litigation Sub-Trust.

          On or prior to the Effective Date, the Debtor and the Claimant Trustee shall execute the
 Claimant Trust Agreement and shall take all steps necessary to establish the Claimant Trust and
 the Litigation Sub-Trust in accordance with the Plan in each case for the benefit of the Claimant
 Trust Beneficiaries. Additionally, on or prior to the Effective Date, the Debtor shall irrevocably
 transfer and shall be deemed to have irrevocably transferred to the Claimant Trust all of its rights,
 title, and interest in and to all of the Claimant Trust Assets, and in accordance with section 1141
 of the Bankruptcy Code, the Claimant Trust Assets shall automatically vest in the Claimant Trust
 free and clear of all Claims, Liens, encumbrances, or interests subject only to the Claimant Trust
 Interests and the Claimant Trust Expenses, as provided for in the Claimant Trust Agreement, and


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  In the event of a conflict between the terms of this summary and the terms of the Claimant Trust Agreement and the
 Litigation Sub-Trust Agreement, the terms of the Claimant Trust Agreement or the Litigation Sub-Trust Agreement,
 as applicable, shall control.



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 such transfer shall be exempt from any stamp, real estate transfer, mortgage from any stamp,
 transfer, reporting, sales, use, or other similar tax.

         The Claimant Trustee shall be the exclusive trustee of the Claimant Trust Assets, excluding
 the Estate Claims and the Litigation Trustee shall be the exclusive trustee with respect to the Estate
 Claims in each case for purposes of 31 U.S.C. § 3713(b) and 26 U.S.C. § 6012(b)(3), as well as
 the representative of the Estate appointed pursuant to section 1123(b)(3)(B) of the Bankruptcy
 Code with respect to the Claimant Trust Assets. The Claimant Trustee shall also be responsible
 for resolving all Claims and Equity Interests in Class 8 through Class 11, under the supervision of
 the Claimant Trust Oversight Committee.

         On the Effective Date, the Claimant Trustee and Litigation Trustee shall execute the
 Litigation Sub-Trust Agreement and shall take all steps necessary to establish the Litigation Sub-
 Trust. Upon the creation of the Litigation Sub-Trust, the Claimant Trust shall irrevocably transfer
 and assign to the Litigation Sub-Trust the Estate Claims. The Claimant Trust shall be governed
 by the Claimant Trust Agreement and administered by the Claimant Trustee. The powers, rights,
 and responsibilities of the Claimant Trustee shall be specified in the Claimant Trust Agreement
 and shall include the authority and responsibility to, among other things, take the actions set forth
 in this ARTICLE IV, subject to any required reporting to the Claimant Trust Oversight Committee
 as may be set forth in the Claimant Trust Agreement. The Claimant Trust shall hold and distribute
 the Claimant Trust Assets (including the proceeds from the Estate Claims, if any) in accordance
 with the provisions of the Plan and the Claimant Trust Agreement; provided that the Claimant
 Trust Oversight Committee may direct the Claimant Trust to reserve Cash from distributions as
 necessary to fund the Claimant Trust and Litigation Sub-Trust. Other rights and duties of the
 Claimant Trustee and the Claimant Trust Beneficiaries shall be as set forth in the Claimant Trust
 Agreement. After the Effective Date, neither the Debtor nor the Reorganized Debtor shall have
 any interest in the Claimant Trust Assets.

         The Litigation Sub-Trust shall be governed by the Litigation Sub-Trust Agreement and
 administered by the Litigation Trustee. The powers, rights, and responsibilities of the Litigation
 Trustee shall be specified in the Litigation Sub-Trust Agreement and shall include the authority
 and responsibility to, among other things, take the actions set forth in this ARTICLE IV, subject
 to any required reporting as may be set forth in the Litigation Sub-Trust Agreement. The Litigation
 Sub-Trust shall investigate, prosecute, settle, or otherwise resolve the Estate Claims in accordance
 with the provisions of the Plan and the Litigation Sub-Trust Agreement and shall distribute the
 proceeds therefrom to the Claimant Trust for distribution. Other rights and duties of the Litigation
 Trustee shall be as set forth in the Litigation Sub-Trust Agreement.

        2.      Claimant Trust Oversight Committee

         The Claimant Trust, the Claimant Trustee, the management and monetization of the
 Claimant Trust Assets, and the management of the Reorganized Debtor (through the Claimant
 Trust’s role as managing member of New GP LLC) and the Litigation Sub-Trust will be overseen
 by the Claimant Trust Oversight Committee, subject to the terms of the Claimant Trust Agreement
 and the Litigation Sub-Trust Agreement, as applicable.




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         The Claimant Trust Oversight Committee will initially consist of five members. Four of
 the five members will be representatives of the members of the Committee: (i) the Redeemer
 Committee of Highland Crusader Fund, (ii) UBS, (iii) Acis, and (iv) Meta-e Discovery. The fifth
 member will be an independent, natural Person chosen by the Committee and reasonably
 acceptable to the Debtor. The members of the Claimant Trust Oversight Committee may be
 replaced as set forth in the Claimant Trust Agreement. The identity of the members of the Claimant
 Trust Oversight Committee will be disclosed in the Plan Supplement.

        As set forth in the Claimant Trust Agreement, in no event will any member of the Claimant
 Trust Oversight Committee with a Claim against the Estate be entitled to vote, opine, or otherwise
 be involved in any matters related to such member’s Claim.

         The independent member(s) of the Claimant Trust Oversight Committee may be entitled
 to compensation for their services as set forth in the Claimant Trust Agreement. Any member of
 the Claimant Trust Oversight Committee may be removed, and successor chosen, in the manner
 set forth in the Claimant Trust Agreement.

        3.      Purpose of the Claimant Trust.

         The Claimant Trust shall be established for the purpose of (i) managing and monetizing
 the Claimant Trust Assets, subject to the terms of the Claimant Trust Agreement and the oversight
 of the Claimant Trust Oversight Committee, (ii) serving as the limited partner of, and holding the
 limited partnership interests in, the Reorganized Debtor, (iii) serving as the sole member and
 manager of New GP LLC, the Reorganized Debtor’s general partner, (iv) in its capacity as the sole
 member and manager of New GP LLC, overseeing the management and monetization of the
 Reorganized Debtor Assets pursuant to the terms of the Reorganized Limited Partnership
 Agreement; and (v) administering the Disputed Claims Reserve and serving as Distribution Agent
 with respect to Disputed Claims in Class 7 or Class 8.

         In its management of the Claimant Trust Assets, the Claimant Trust will also reconcile and
 object to the General Unsecured Claims, Subordinated Claims, Class B/C Limited Partnership
 Interests, and Class A Limited Partnership Interests, as provided for in this Plan and the Claimant
 Trust Agreement, and make Trust Distributions to the Claimant Trust Beneficiaries in accordance
 with Treasury Regulation section 301.7701-4(d), with no objective to continue or engage in the
 conduct of a trade or business.

        The purpose of the Reorganized Debtor is discussed at greater length in ARTICLE IV.C.

        4.      Purpose of the Litigation Sub-Trust.

         The Litigation Sub-Trust shall be established for the purpose of investigating, prosecuting,
 settling, or otherwise resolving the Estate Claims. Any proceeds therefrom shall be distributed by
 the Litigation Sub-Trust to the Claimant Trust for distribution to the Claimant Trust Beneficiaries
 pursuant to the terms of the Claimant Trust Agreement.

        5.      Claimant Trust Agreement and Litigation Sub-Trust Agreement.

        The Claimant Trust Agreement generally will provide for, among other things:


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            (i)     the payment of the Claimant Trust Expenses;

            (ii)    the payment of other reasonable expenses of the Claimant Trust;

            (iii)    the retention of employees, counsel, accountants, financial advisors, or other
 professionals and the payment of their reasonable compensation;

            (iv)    the investment of Cash by the Claimant Trustee within certain limitations,
 including those specified in the Plan;

            (v)     the orderly monetization of the Claimant Trust Assets;

            (vi)    litigation of any Causes of Action, which may include the prosecution,
 settlement, abandonment, or dismissal of any such Causes of Action, subject to reporting and
 oversight by the Claimant Trust Oversight Committee;

             (vii) the resolution of Claims and Equity Interests in Class 8 through Class 11,
 subject to reporting and oversight by the Claimant Trust Oversight Committee;

            (viii) the administration of the Disputed Claims Reserve and distributions to be made
 therefrom; and

            (ix)    the management of the Reorganized Debtor, including the utilization of a Sub-
 Servicer, with the Claimant Trust serving as the managing member of New GP LLC.

         Except as otherwise ordered by the Bankruptcy Court, the Claimant Trust Expenses shall
 be paid from the Claimant Trust Assets in accordance with the Plan and Claimant Trust Agreement.
 The Claimant Trustee may establish a reserve for the payment of Claimant Trust Expense
 (including, without limitation, any reserve for potential indemnification claims as authorized and
 provided under the Claimant Trust Agreement), and shall periodically replenish such reserve, as
 necessary.

         In furtherance of, and consistent with the purpose of, the Claimant Trust and the Plan, the
 Trustees, for the benefit of the Claimant Trust, shall, subject to reporting and oversight by the
 Claimant Trust Oversight Committee as set forth in the Claimant Trust Agreement: (i) hold the
 Claimant Trust Assets for the benefit of the Claimant Trust Beneficiaries, (ii) make Distributions
 to the Claimant Trust Beneficiaries as provided herein and in the Claimant Trust Agreement, and
 (iii) have the sole power and authority to prosecute and resolve any Causes of Action and
 objections to Claims and Equity Interests (other than those assigned to the Litigation Sub-Trust),
 without approval of the Bankruptcy Court. Except as otherwise provided in the Claimant Trust
 Agreement, the Claimant Trustee shall be responsible for all decisions and duties with respect to
 the Claimant Trust and the Claimant Trust Assets; provided, however, that the prosecution and
 resolution of any Estate Claims included in the Claimant Trust Assets shall be the responsibility
 of the Litigation Trustee. The Litigation Sub-Trust Agreement generally will provide for, among
 other things:

            (i)     the payment of other reasonable expenses of the Litigation Sub-Trust;




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            (ii)    the retention of employees, counsel, accountants, financial advisors, or other
 professionals and the payment of their reasonable compensation; and

            (iii) the investigation and prosecution of Estate Claims, which may include the
 prosecution, settlement, abandonment, or dismissal of any such Estate Claims, subject to reporting
 and oversight as set forth in the Litigation Sub-Trust Agreement.

         The Trustees, on behalf of the Claimant Trust and Litigation Sub-Trust, as applicable, may
 each employ, without further order of the Bankruptcy Court, employees and other professionals
 (including those previously retained by the Debtor and the Committee) to assist in carrying out the
 Trustees’ duties hereunder and may compensate and reimburse the reasonable expenses of these
 professionals without further Order of the Bankruptcy Court from the Claimant Trust Assets in
 accordance with the Plan and the Claimant Trust Agreement.

         The Claimant Trust Agreement and Litigation Sub-Trust Agreement may include
 reasonable and customary provisions that allow for indemnification by the Claimant Trust in favor
 of the Claimant Trustee, Litigation Trustee, and the Claimant Trust Oversight Committee. Any
 such indemnification shall be the sole responsibility of the Claimant Trust and payable solely from
 the Claimant Trust Assets.

        6.      Compensation and Duties of Trustees.

       The salient terms of each Trustee’s employment, including such Trustee’s duties and
 compensation shall be set forth in the Claimant Trust Agreement and the Litigation Sub-Trust
 Agreement, as appropriate. The Trustees shall each be entitled to reasonable compensation in an
 amount consistent with that of similar functionaries in similar types of bankruptcy cases.

        7.      Cooperation of Debtor and Reorganized Debtor.

          To effectively investigate, prosecute, compromise and/or settle the Claims and/or Causes
 of Action that constitute Claimant Trust Assets (including Estate Claims), the Claimant Trustee,
 Litigation Trustee, and each of their professionals may require reasonable access to the Debtor’s
 and Reorganized Debtor’s documents, information, and work product relating to the Claimant
 Trust Assets. Accordingly, the Debtor and the Reorganized Debtor, as applicable, shall reasonably
 cooperate with the Claimant Trustee and Litigation Trustee, as applicable, in their prosecution of
 Causes of Action and in providing the Claimant Trustee and Litigation Trustee with copies of
 documents and information in the Debtor’s possession, custody, or control on the Effective Date
 that either Trustee indicates relates to the Estate Claims or other Causes of Action.

          The Debtor and Reorganized Debtor shall preserve all records, documents or work product
 (including all electronic records, documents, or work product) related to the Claims and Causes of
 Action, including Estate Claims, until the earlier of (a) the dissolution of the Reorganized Debtor
 or (b) termination of the Claimant Trust and Litigation Sub-Trust.

        8.      United States Federal Income Tax Treatment of the Claimant Trust.

         Unless the IRS requires otherwise, for all United States federal income tax purposes, the
 parties shall treat the transfer of the Claimant Trust Assets to the Claimant Trust as: (a) a transfer


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 of the Claimant Trust Assets (other than the amounts set aside in the Disputed Claims Reserve, if
 the Claimant Trustee makes the election described in Section 7 below) directly to the applicable
 Claimant Trust Beneficiaries followed by (b) the transfer by the such Claimant Trust Beneficiaries
 to the Claimant Trust of such Claimant Trust Assets in exchange for the Claimant Trust Interests.
 Accordingly, the applicable Claimant Trust Beneficiaries shall be treated for United States federal
 income tax purposes as the grantors and owners of their respective share of the Claimant Trust
 Assets. The foregoing treatment shall also apply, to the extent permitted by applicable law, for
 state and local income tax purposes.

        9.      Tax Reporting.

         (a) The Claimant Trustee shall file tax returns for the Claimant Trust treating the Claimant
 Trust as a grantor trust pursuant to Treasury Regulation section 1.671-4(a). The Claimant Trustee
 may file an election pursuant to Treasury Regulation 1.468B-9(c) to treat the Disputed Claims
 Reserve as a disputed ownership fund, in which case the Claimant Trustee will file federal income
 tax returns and pay taxes for the Disputed Claims Reserve as a separate taxable entity.

         (b) The Claimant Trustee shall be responsible for payment, out of the Claimant Trust
 Assets, of any taxes imposed on the Claimant Trust or its assets.

         (c) The Claimant Trustee shall determine the fair market value of the Claimant Trust Assets
 as of the Effective Date and notify the applicable Claimant Trust Beneficiaries of such valuation,
 and such valuation shall be used consistently for all federal income tax purposes.

        (d) The Claimant Trustee shall distribute such tax information to the applicable Claimant
 Trust Beneficiaries as the Claimant Trustee determines is required by applicable law.

        10.     Claimant Trust Assets.

         The Claimant Trustee shall have the exclusive right, on behalf of the Claimant Trust, to
 institute, file, prosecute, enforce, abandon, settle, compromise, release, or withdraw any and all
 Causes of Action included in the Claimant Trust Assets (except for the Estate Claims) without any
 further order of the Bankruptcy Court, and the Claimant Trustee shall have the exclusive right, on
 behalf of the Claimant Trust, to sell, liquidate, or otherwise monetize all Claimant Trust Assets,
 except as otherwise provided in this Plan or in the Claimant Trust Agreement, without any further
 order of the Bankruptcy Court. Notwithstanding anything herein to the contrary, the Litigation
 Trustee shall have the exclusive right to institute, file, prosecute, enforce, abandon, settle,
 compromise, release, or withdraw any and all Estate Claims included in the Claimant Trust Assets
 without any further order of the Bankruptcy Court.

         From and after the Effective Date, the Trustees, in accordance with section 1123(b)(3) and
 (4) of the Bankruptcy Code, and on behalf of the Claimant Trust, shall each serve as a
 representative of the Estate with respect to any and all Claimant Trust Assets, including the Causes
 of Action and Estate Claims, as appropriate, and shall retain and possess the right to (a) commence,
 pursue, settle, compromise, or abandon, as appropriate, any and all Causes of Action in any court
 or other tribunal and (b) sell, liquidate, or otherwise monetize all Claimant Trust Assets.




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        11.     Claimant Trust Expenses.

        From and after the Effective Date, the Claimant Trust shall, in the ordinary course of
 business and without the necessity of any approval by the Bankruptcy Court, pay the reasonable
 professional fees and expenses incurred by the Claimant Trust, the Litigation Sub-Trust, and any
 professionals retained by such parties and entities from the Claimant Trust Assets, except as
 otherwise provided in the Claimant Trust Agreement.

        12.     Trust Distributions to Claimant Trust Beneficiaries.

        The Claimant Trustee, in its discretion, may make Trust Distributions to the Claimant Trust
 Beneficiaries at any time and/or use the Claimant Trust Assets or proceeds thereof, provided that
 such Trust Distributions or use is otherwise permitted under the terms of the Plan, the Claimant
 Trust Agreement, and applicable law.

        13.     Cash Investments.

         With the consent of the Claimant Trust Oversight Committee, the Claimant Trustee may
 invest Cash (including any earnings thereon or proceeds therefrom) in a manner consistent with
 the terms of the Claimant Trust Agreement; provided, however, that such investments are
 investments permitted to be made by a “liquidating trust” within the meaning of Treasury
 Regulation section 301.7701-4(d), as reflected therein, or under applicable IRS guidelines, rulings
 or other controlling authorities.

        14.     Dissolution of the Claimant Trust and Litigation Sub-Trust.

         The Trustees and the Claimant Trust and Litigation Sub-Trust shall be discharged or
 dissolved, as the case may be, at such time as: (a) the Litigation Trustee determines that the pursuit
 of Estate Claims is not likely to yield sufficient additional proceeds to justify further pursuit of
 such Estate Claims, (b) the Claimant Trustee determines that the pursuit of Causes of Action (other
 than Estate Claims) is not likely to yield sufficient additional proceeds to justify further pursuit of
 such Causes of Action, (c) the Clamant Trustee determines that the pursuit of sales of other
 Claimant Trust Assets is not likely to yield sufficient additional proceeds to justify further pursuit
 of such sales of Claimant Trust Assets, (d) all objections to Disputed Claims and Equity Interests
 are fully resolved, (e) the Reorganized Debtor is dissolved, and (f) all Distributions required to be
 made by the Claimant Trustee to the Claimant Trust Beneficiaries under the Plan have been made,
 but in no event shall the Claimant Trust be dissolved later than three years from the Effective Date
 unless the Bankruptcy Court, upon motion made within the six-month period before such third
 anniversary (and, in the event of further extension, by order of the Bankruptcy Court, upon motion
 made at least six months before the end of the preceding extension), determines that a fixed period
 extension (not to exceed two years, together with any prior extensions, without a favorable letter
 ruling from the Internal Revenue Service or an opinion of counsel that any further extension would
 not adversely affect the status of the Claimant Trust as a liquidating trust for federal income tax
 purposes) is necessary to facilitate or complete the recovery on, and liquidation of, the Claimant
 Trust Assets; provided, however, that each extension must be approved, upon a finding that the
 extension is necessary to facilitate or complete the recovery on, and liquidation of the Claimant
 Trust Assets, by the Bankruptcy Court within 6 months of the beginning of the extended term and



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 no extension, together with any prior extensions, shall exceed three years without a favorable letter
 ruling from the Internal Revenue Service or an opinion of counsel that any further extension would
 not adversely affect the status of the Claimant Trust as a liquidating trust for federal income tax
 purposes.

         Upon dissolution of the Claimant Trust, and pursuant to the Claimant Trust Agreement,
 any remaining Claimant Trust Assets that exceed the amounts required to be paid under the Plan
 will be transferred (in the sole discretion of the Claimant Trustee) in Cash or in-kind to the Holders
 of the Claimant Trust Interests as provided in the Claimant Trust Agreement.

 C.     The Reorganized Debtor

        1.      Corporate Existence

        The Debtor will continue to exist after the Effective Date, with all of the powers of
 partnerships pursuant to the law of the State of Delaware and as set forth in the Reorganized
 Limited Partnership Agreement.

        2.      Cancellation of Equity Interests and Release

         On the Effective Date, (i) all prepetition Equity Interests, including the Class A Limited
 Partnership Interests and the Class B/C Limited Partnership Interests, in the Debtor shall be
 canceled, and (ii) all obligations or debts owed by, or Claims against, the Debtor on account of, or
 based upon, the Interests shall be deemed as cancelled, released, and discharged, including all
 obligations or duties by the Debtor relating to the Equity Interests in any of the Debtor’s formation
 documents, including the Limited Partnership Agreement.

        3.      Issuance of New Partnership Interests

        On the Effective Date, the Debtor or the Reorganized Debtor, as applicable, will issue new
 Class A Limited Partnership Interests to (i) the Claimant Trust, as limited partner, and (ii) New
 GP LLC, as general partner, and will admit (a) the Claimant Trust as the limited partner of the
 Reorganized Debtor, and (b) New GP LLC as the general partner of the Reorganized Debtor. The
 Claimant Trust, as limited partner, will ratify New GP LLC’s appointment as general partner of
 the Reorganized Debtor. Also, on the Effective Date, the Claimant Trust, as limited partner, and
 New GP LLC, as general partner, will execute the Reorganized Limited Partnership Agreement
 and receive partnership interests in the Reorganized Debtor consistent with the terms of the
 Reorganized Limited Partnership Agreement.

         The Reorganized Limited Partnership Agreement does not provide for, and specifically
 disclaims, the indemnification obligations under the Limited Partnership Agreement, including
 any such indemnification obligations that accrued or arose or could have been brought prior to the
 Effective Date. Any indemnification Claims under the Limited Partnership Agreement that
 accrued, arose, or could have been filed prior to the Effective Date will be resolved through the
 Claims resolution process provided that a Claim is properly filed in accordance with the
 Bankruptcy Code, the Plan, or the Bar Date Order. Each of the Debtor, the Reorganized Debtor,
 the Claimant Trust, and the Litigation Sub-Trust reserve all rights with respect to any such
 indemnification Claims.


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        4.      Management of the Reorganized Debtor

          Subject to and consistent with the terms of the Reorganized Limited Partnership
 Agreement, the Reorganized Debtor shall be managed by its general partner, New GP LLC. The
 initial officers and employees of the Reorganized Debtor shall be selected by the Claimant Trustee.
 The Reorganized Debtor may, in its discretion, also utilize a Sub-Servicer in addition to or in lieu
 of the retention of officers and employees.

         As set forth in the Reorganized Limited Partnership Agreement, New GP LLC will receive
 a fee for managing the Reorganized Debtor. Although New GP LLC will be a limited liability
 company, it will elect to be treated as a C-Corporation for tax purposes. Therefore, New GP LLC
 (and any taxable income attributable to it) will be subject to corporate income taxation on a
 standalone basis, which may reduce the return to Claimants.

        5.      Vesting of Assets in the Reorganized Debtor

         Except as otherwise provided in this Plan or the Confirmation Order, on or after the
 Effective Date, all Reorganized Debtor Assets will vest in the Reorganized Debtor, free and clear
 of all Liens, Claims, charges or other encumbrances pursuant to section 1141(c) of the Bankruptcy
 Code except with respect to such Liens, Claims, charges and other encumbrances that are
 specifically preserved under this Plan upon the Effective Date.

         The Reorganized Debtor shall be the exclusive trustee of the Reorganized Debtor Assets
 for purposes of 31 U.S.C. § 3713(b) and 26 U.S.C. § 6012(b)(3), as well as the representative of
 the Estate appointed pursuant to section 1123(b)(3)(B) of the Bankruptcy Code with respect to the
 Reorganized Debtor Assets.

        6.      Purpose of the Reorganized Debtor

         Except as may be otherwise provided in this Plan or the Confirmation Order, the
 Reorganized Debtor will continue to manage the Reorganized Debtor Assets (which shall include,
 for the avoidance of doubt, serving as the investment manager of the Managed Funds) and may
 use, acquire or dispose of the Reorganized Debtor Assets and compromise or settle any Claims
 with respect to the Reorganized Debtor Assets without supervision or approval by the Bankruptcy
 Court and free of any restrictions of the Bankruptcy Code or Bankruptcy Rules. The Reorganized
 Debtor shall oversee the resolution of Claims in Class 1 through Class 7.

         Without limiting the foregoing, the Reorganized Debtor will pay the charges that it incurs
 after the Effective Date for Professionals’ fees, disbursements, expenses or related support services
 (including reasonable fees relating to the preparation of Professional fee applications) in the
 ordinary course of business and without application or notice to, or order of, the Bankruptcy Court.

        7.      Distribution of Proceeds from the Reorganized Debtor Assets; Transfer of
                Reorganized Debtor Assets

         Any proceeds received by the Reorganized Debtor will be distributed to the Claimant Trust,
 as limited partner, and New GP LLC, as general partner, in the manner set forth in the Reorganized
 Limited Partnership Agreement. As set forth in the Reorganized Limited Partnership Agreement,


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 the Reorganized Debtor may, from time to time distribute Reorganized Debtor Assets to the
 Claimant Trust either in Cash or in-kind, including to institute the wind-down and dissolution of
 the Reorganized Debtor. Any assets distributed to the Claimant Trust will be (i) deemed
 transferred in all respects as forth in ARTICLE IV.B.1, (ii) deemed Claimant Trust Assets, and
 (iii) administered as Claimant Trust Assets.

 D.      Company Action

         Each of the Debtor, the Reorganized Debtor, and the Trustees, as applicable, may take any
 and all actions to execute, deliver, File or record such contracts, instruments, releases and other
 agreements or documents and take such actions as may be necessary or appropriate to effectuate
 and implement the provisions of this Plan, the Claimant Trust Agreement, the Reorganized Limited
 Partnership Agreement, or the New GP LLC Documents, as applicable, in the name of and on
 behalf of the Debtor, the Reorganized Debtor, or the Trustees, as applicable, and in each case
 without further notice to or order of the Bankruptcy Court, act or action under applicable law,
 regulation, order, or rule or any requirement of further action, vote or other approval or
 authorization by the security holders, officers, or directors of the Debtor or the Reorganized
 Debtor, as applicable, or by any other Person.

         Prior to, on or after the Effective Date (as appropriate), all matters provided for pursuant
 to this Plan that would otherwise require approval of the stockholders, partners, directors,
 managers, or members of the Debtor, any Related Entity, or any Affiliate thereof (as of prior to
 the Effective Date) will be deemed to have been so approved and will be in effect prior to, on or
 after the Effective Date (as appropriate) pursuant to applicable law and without any requirement
 of further action by the stockholders, partners, directors, managers or members of such Persons,
 or the need for any approvals, authorizations, actions or consents of any Person.

         All matters provided for in this Plan involving the legal or corporate structure of the Debtor,
 the Reorganized Debtor, or the Claimant Trust, as applicable, and any legal or corporate action
 required by the Debtor, the Reorganized Debtor, or the Claimant Trust, as applicable, in connection
 with this Plan, will be deemed to have occurred and will be in full force and effect in all respects,
 in each case without further notice to or order of the Bankruptcy Court, act or action under
 applicable law, regulation, order, or rule or any requirement of further action, vote or other
 approval or authorization by the security holders, partners, directors, managers, or members of the
 Debtor, the Reorganized Debtor, or the Claimant Trust, as applicable, or by any other Person. On
 the Effective Date, the appropriate officers of the Debtor and the Reorganized Debtor, as
 applicable, as well as the Trustees, are authorized to issue, execute, deliver, and consummate the
 transactions contemplated by, the contracts, agreements, documents, guarantees, pledges,
 consents, securities, certificates, resolutions and instruments contemplated by or described in this
 Plan in the name of and on behalf of the Debtor and the Reorganized Debtor, as well as the
 Trustees, in each case without further notice to or order of the Bankruptcy Court, act or action
 under applicable law, regulation, order, or rule or any requirement of further action, vote or other
 approval or authorization by any Person. The appropriate officer of the Debtor, the Reorganized
 Debtor, as well as the Trustees, will be authorized to certify or attest to any of the foregoing actions.




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 E.     Release of Liens, Claims and Equity Interests

         Except as otherwise provided in the Plan or in any contract, instrument, release or other
 agreement or document entered into or delivered in connection with the Plan, from and after the
 Effective Date and concurrently with the applicable distributions made pursuant to the Plan, all
 Liens, Claims, Equity Interests, mortgages, deeds of trust, or other security interests against the
 property of the Estate will be fully released, terminated, extinguished and discharged, in each case
 without further notice to or order of the Bankruptcy Court, act or action under applicable law,
 regulation, order, or rule or the vote, consent, authorization or approval of any Entity. Any Entity
 holding such Liens or Equity Interests extinguished pursuant to the prior sentence will, pursuant
 to section 1142 of the Bankruptcy Code, promptly execute and deliver to the Debtor, the
 Reorganized Debtor, or the Claimant Trustee, as applicable, such instruments of termination,
 release, satisfaction and/or assignment (in recordable form) as may be reasonably requested by the
 Debtor, the Reorganized Debtor, or the Claimant Trustee, as applicable. For the avoidance of
 doubt, this section is in addition to, and shall not be read to limit in any respects, ARTICLE IV.C.2.

 F.     Cancellation of Notes, Certificates and Instruments

         Except for the purpose of evidencing a right to a distribution under this Plan and except as
 otherwise set forth in this Plan, on the Effective Date, all agreements, instruments, Securities and
 other documents evidencing any prepetition Claim or Equity Interest and any rights of any Holder
 in respect thereof shall be deemed cancelled, discharged, and of no force or effect. The holders of
 or parties to such cancelled instruments, Securities, and other documentation will have no rights
 arising from or related to such instruments, Securities, or other documentation or the cancellation
 thereof, except the rights provided for pursuant to this Plan, and the obligations of the Debtor
 thereunder or in any way related thereto will be fully released, terminated, extinguished and
 discharged, in each case without further notice to or order of the Bankruptcy Court, act or action
 under applicable law, regulation, order, or rule or any requirement of further action, vote or other
 approval or authorization by any Person. For the avoidance of doubt, this section is in addition to,
 and shall not be read to limit in any respects, ARTICLE IV.C.2.

 G.     Cancellation of Existing Instruments Governing Security Interests

         Upon payment or other satisfaction of an Allowed Class 1 or Allowed Class 2 Claim, or
 promptly thereafter, the Holder of such Allowed Class 1 or Allowed Class 2 Claim shall deliver to
 the Debtor, the Reorganized Debtor, or the Claimant Trustee, as applicable, any collateral or other
 property of the Debtor held by such Holder, together with any termination statements, instruments
 of satisfaction, or releases of all security interests with respect to its Allowed Class 1 or Allowed
 Class 2 Claim that may be reasonably required to terminate any related financing statements,
 mortgages, mechanics’ or other statutory Liens, or lis pendens, or similar interests or documents.

 H.     Control Provisions

         To the extent that there is any inconsistency between this Plan as it relates to the Claimant
 Trust, the Claimant Trust Agreement, the Reorganized Debtor, or the Reorganized Limited
 Partnership Agreement, this Plan shall control.




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 I.     Treatment of Vacant Classes

        Any Claim or Equity Interest in a Class considered vacant under ARTICLE III.C of this
 Plan shall receive no Plan Distributions.

 J.     Plan Documents

         The documents, if any, to be Filed as part of the Plan Documents, including any documents
 filed with the Plan Supplement, and any amendments, restatements, supplements, or other
 modifications to such documents, and any consents, waivers, or other deviations under or from
 any such documents, shall be incorporated herein by this reference (including to the applicable
 definitions in ARTICLE I hereof) and fully enforceable as if stated in full herein.

         The Debtor and the Committee are currently working to finalize the forms of certain of the
 Plan Documents to be filed with the Plan Supplement. To the extent that the Debtor and the
 Committee cannot agree as to the form and content of such Plan Documents, they intend to submit
 the issue to non-binding mediation pursuant to the Order Directing Mediation entered on August
 3, 2020 [D.I. 912].

 K.     Highland Capital Management, L.P. Retirement Plan and Trust

         The Highland Capital Management, L.P. Retirement Plan And Trust (“Pension Plan”) is a
 single-employer defined benefit pension plan covered by Title IV of the Employee Retirement
 Income Security Act of 1974, as amended (“ERISA”). 29 U.S.C. §§ 1301-1461. The Debtor is
 the contributing sponsor and, as such, the PBGC asserts that the Debtor is liable along with any
 members of the contributing sponsor’s controlled-group within the meaning of 29 U.S.C. §§
 1301(a)(13), (14) with respect to the Pension Plan.

        Upon the Effective Date, the Reorganized Debtor shall be deemed to have assumed the
 Pension Plan and shall comply with all applicable statutory provisions of ERISA and the Internal
 Revenue Code (the “IRC”), including, but not limited to, satisfying the minimum funding
 standards pursuant to 26 U.S.C. §§ 412, 430, and 29 U.S.C. §§ 1082, 1083; paying the PBGC
 premiums in accordance with 29 U.S.C. §§ 1306 and 1307; and administering the Pension Plan in
 accordance with its terms and the provisions of ERISA and the IRC. In the event that the Pension
 Plan terminates after the Plan of Reorganization Effective Date, the PBGC asserts that the
 Reorganized Debtor and each of its controlled group members will be responsible for the liabilities
 imposed by Title IV of ERISA.

         Notwithstanding any provision of the Plan, the Confirmation Order, or the Bankruptcy
 Code (including section 1141 thereof) to the contrary, neither the Plan, the Confirmation Order, or
 the Bankruptcy Code shall be construed as discharging, releasing, exculpating or relieving the
 Debtor, the Reorganized Debtor, or any person or entity in any capacity, from any liability or
 responsibility, if any, with respect to the Pension Plan under any law, governmental policy, or
 regulatory provision. PBGC and the Pension Plan shall not be enjoined or precluded from
 enforcing such liability or responsibility against any person or entity as a result of any of the
 provisions of the Plan, the Confirmation Order, or the Bankruptcy Code. The Debtor reserves the
 right to contest any such liability or responsibility.



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                             ARTICLE V.
         TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

 A.     Assumption, Assignment, or Rejection of Executory Contracts and Unexpired Leases

         Unless an Executory Contract or Unexpired Lease: (i) was previously assumed or rejected
 by the Debtor pursuant to this Plan on or prior to the Confirmation Date; (ii) previously expired or
 terminated pursuant to its own terms or by agreement of the parties thereto; (iii) is the subject of a
 motion to assume filed by the Debtor on or before the Confirmation Date; (iv) contains a change
 of control or similar provision that would be triggered by the Chapter 11 Case (unless such
 provision has been irrevocably waived); or (v) is specifically designated as a contract or lease to
 be assumed in the Plan or the Plan Supplement, on the Confirmation Date, each Executory Contract
 and Unexpired Lease shall be deemed rejected pursuant to section 365 of the Bankruptcy Code,
 without the need for any further notice to or action, order, or approval of the Bankruptcy Court,
 unless such Executory Contract or Unexpired Lease is listed in the Plan Supplement.

          At any time on or prior to the Confirmation Date, the Debtor may (i) amend the Plan
 Supplement in order to add or remove a contract or lease from the list of contracts to be assumed
 or (ii) assign (subject to applicable law) any Executory Contract or Unexpired Lease, as determined
 by the Debtor in consultation with the Committee, or the Reorganized Debtor, as applicable.

         The Confirmation Order will constitute an order of the Bankruptcy Court approving the
 above-described assumptions, rejections, and assumptions and assignments. Except as otherwise
 provided herein or agreed to by the Debtor and the applicable counterparty, each assumed
 Executory Contract or Unexpired Lease shall include all modifications, amendments, supplements,
 restatements, or other agreements related thereto, and all rights related thereto. Modifications,
 amendments, supplements, and restatements to prepetition Executory Contracts and Unexpired
 Leases that have been executed by the Debtor during the Chapter 11 Case shall not be deemed to
 alter the prepetition nature of the Executory Contract or Unexpired Lease or the validity, priority,
 or amount of any Claims that may arise in connection therewith. To the extent applicable, no
 change of control (or similar provision) will be deemed to occur under any such Executory
 Contract or Unexpired Lease.

         If certain, but not all, of a contract counterparty’s Executory Contracts and/or Unexpired
 Leases are rejected pursuant to the Plan, the Confirmation Order shall be a determination that such
 counterparty’s Executory Contracts and/or Unexpired Leases that are being assumed pursuant to
 the Plan are severable agreements that are not integrated with those Executory Contracts and/or
 Unexpired Leases that are being rejected pursuant to the Plan. Parties seeking to contest this
 finding with respect to their Executory Contracts and/or Unexpired Leases must file a timely
 objection to the Plan on the grounds that their agreements are integrated and not severable, and
 any such dispute shall be resolved by the Bankruptcy Court at the Confirmation Hearing (to the
 extent not resolved by the parties prior to the Confirmation Hearing).

         Notwithstanding anything herein to the contrary, the Debtor shall assume or reject that
 certain real property lease with Crescent TC Investors L.P. (“Landlord”) for the Debtor’s
 headquarters located at 200/300 Crescent Ct., Suite #700, Dallas, Texas 75201 (the “Lease”) in
 accordance with the notice to Landlord, procedures and timing required by 11 U.S.C. §365(d)(4),



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 as modified by that certain Agreed Order Granting Motion to Extend Time to Assume or Reject
 Unexpired Nonresidential Real Property Lease [Docket No. 1122].

 B.     Claims Based on Rejection of Executory Contracts or Unexpired Leases

         Any Executory Contract or Unexpired Lease not assumed or rejected on or before the
 Confirmation Date shall be deemed rejected, pursuant to the Confirmation Order. Any Person
 asserting a Rejection Claim shall File a proof of claim within thirty days of the Confirmation Date.
 Any Rejection Claims that are not timely Filed pursuant to this Plan shall be forever disallowed
 and barred. If one or more Rejection Claims are timely Filed, the Claimant Trustee may File an
 objection to any Rejection Claim.

        Rejection Claims shall be classified as General Unsecured Claims and shall be treated in
 accordance with ARTICLE III of this Plan.

 C.     Cure of Defaults for Assumed or Assigned Executory Contracts and Unexpired
        Leases

        Any monetary amounts by which any Executory Contract or Unexpired Lease to be
 assumed or assigned hereunder is in default shall be satisfied, under section 365(b)(1) of the
 Bankruptcy Code, by the Debtor upon assumption or assignment thereof, by payment of the default
 amount in Cash as and when due in the ordinary course or on such other terms as the parties to
 such Executory Contracts may otherwise agree. The Debtor may serve a notice on the Committee
 and parties to Executory Contracts or Unexpired Leases to be assumed or assigned reflecting the
 Debtor’s or Reorganized Debtor’s intention to assume or assign the Executory Contract or
 Unexpired Lease in connection with this Plan and setting forth the proposed cure amount (if any).

        If a dispute regarding (1) the amount of any payments to cure a default, (2) the ability of
 the Debtor, the Reorganized Debtor, or any assignee to provide “adequate assurance of future
 performance” (within the meaning of section 365 of the Bankruptcy Code) under the Executory
 Contract or Unexpired Lease to be assumed or assigned or (3) any other matter pertaining to
 assumption or assignment, the cure payments required by section 365(b)(1) of the Bankruptcy
 Code will be made following the entry of a Final Order or orders resolving the dispute and
 approving the assumption or assignment.

         Assumption or assignment of any Executory Contract or Unexpired Lease pursuant to the
 Plan or otherwise and full payment of any applicable cure amounts pursuant to this ARTICLE V.C
 shall result in the full release and satisfaction of any cure amounts, Claims, or defaults, whether
 monetary or nonmonetary, including defaults of provisions restricting the change in control or
 ownership interest composition or other bankruptcy-related defaults, arising under any assumed or
 assigned Executory Contract or Unexpired Lease at any time prior to the effective date of
 assumption or assignment. Any and all Proofs of Claim based upon Executory Contracts or
 Unexpired Leases that have been assumed or assigned in the Chapter 11 Case, including pursuant
 to the Confirmation Order, and for which any cure amounts have been fully paid pursuant to this
 ARTICLE V.C, shall be deemed disallowed and expunged as of the Confirmation Date without
 the need for any objection thereto or any further notice to or action, order, or approval of the
 Bankruptcy Court.



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                                     ARTICLE VI.
                          PROVISIONS GOVERNING DISTRIBUTIONS

 A.     Dates of Distributions

          Except as otherwise provided in this Plan, on the Effective Date or as soon as reasonably
 practicable thereafter (or if a Claim is not an Allowed Claim or Equity Interest on the Effective
 Date, on the date that such Claim or Equity Interest becomes an Allowed Claim or Equity Interest,
 or as soon as reasonably practicable thereafter), each Holder of an Allowed Claim or Equity
 Interest against the Debtor shall receive the full amount of the distributions that this Plan provides
 for Allowed Claims or Allowed Equity Interests in the applicable Class and in the manner provided
 herein. If any payment or act under this Plan is required to be made or performed on a date that is
 not on a Business Day, then the making of such payment or the performance of such act may be
 completed on the next succeeding Business Day, but shall be deemed to have been completed as
 of the required date. If and to the extent there are Disputed Claims or Equity Interests, distributions
 on account of any such Disputed Claims or Equity Interests shall be made pursuant to the
 provisions provided in this Plan. Except as otherwise provided in this Plan, Holders of Claims and
 Equity Interests shall not be entitled to interest, dividends or accruals on the distributions provided
 for therein, regardless of whether distributions are delivered on or at any time after the Effective
 Date.

         Upon the Effective Date, all Claims and Equity Interests against the Debtor shall be deemed
 fixed and adjusted pursuant to this Plan and none of the Debtor, the Reorganized Debtor, or the
 Claimant Trust will have liability on account of any Claims or Equity Interests except as set forth
 in this Plan and in the Confirmation Order. All payments and all distributions made by the
 Distribution Agent under this Plan shall be in full and final satisfaction, settlement and release of
 all Claims and Equity Interests against the Debtor and the Reorganized Debtor.

         At the close of business on the Distribution Record Date, the transfer ledgers for the Claims
 against the Debtor and the Equity Interests in the Debtor shall be closed, and there shall be no
 further changes in the record holders of such Claims and Equity Interests. The Debtor, the
 Reorganized Debtor, the Trustees, and the Distribution Agent, and each of their respective agents,
 successors, and assigns shall have no obligation to recognize the transfer of any Claims against the
 Debtor or Equity Interests in the Debtor occurring after the Distribution Record Date and shall be
 entitled instead to recognize and deal for all purposes hereunder with only those record holders
 stated on the transfer ledgers as of the close of business on the Distribution Record Date
 irrespective of the number of distributions to be made under this Plan to such Persons or the date
 of such distributions.

 B.     Distribution Agent

        Except as provided herein, all distributions under this Plan shall be made by the Claimant
 Trustee, as Distribution Agent, or by such other Entity designated by the Claimant Trustee, as a
 Distribution Agent on the Effective Date or thereafter. The Reorganized Debtor will be the
 Distribution Agent with respect to Claims in Class 1 through Class 7.




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        The Claimant Trustee, or such other Entity designated by the Claimant Trustee to be the
 Distribution Agent, shall not be required to give any bond or surety or other security for the
 performance of such Distribution Agent’s duties unless otherwise ordered by the Bankruptcy
 Court.

        The Distribution Agent shall be empowered to (a) effect all actions and execute all
 agreements, instruments, and other documents necessary to perform its duties under this Plan;
 (b) make all distributions contemplated hereby; (c) employ professionals to represent it with
 respect to its responsibilities; and (d) exercise such other powers as may be vested in the
 Distribution Agent by order of the Bankruptcy Court, pursuant to this Plan, or as deemed by the
 Distribution Agent to be necessary and proper to implement the provisions hereof.

         The Distribution Agent shall not have any obligation to make a particular distribution to a
 specific Holder of an Allowed Claim if such Holder is also the Holder of a Disputed Claim.

 C.     Cash Distributions

        Distributions of Cash may be made by wire transfer from a domestic bank, except that Cash
 payments made to foreign creditors may be made in such funds and by such means as the
 Distribution Agent determines are necessary or customary in a particular foreign jurisdiction.

 D.     Disputed Claims Reserve

        On or prior to the Initial Distribution Date, the Claimant Trustee shall establish, fund and
 maintain the Disputed Claims Reserve(s) in the appropriate Disputed Claims Reserve Amounts on
 account of any Disputed Claims.

 E.     Distributions from the Disputed Claims Reserve

         The Disputed Claims Reserve shall at all times hold Cash in an amount no less than the
 Disputed Claims Reserve Amount. To the extent a Disputed Claim becomes an Allowed Claim
 pursuant to the terms of this Plan, within 30 days of the date on which such Disputed Claim
 becomes an Allowed Claim pursuant to the terms of this Plan, the Claimant Trustee shall distribute
 from the Disputed Claims Reserve to the Holder thereof any prior distributions, in Cash, that would
 have been made to such Allowed Claim if it had been Allowed as of the Effective Date. For the
 avoidance of doubt, each Holder of a Disputed Claim that subsequently becomes an Allowed
 Claim will also receive its Pro Rata share of the Claimant Trust Interests. If, upon the resolution
 of all Disputed Claims any Cash remains in the Disputed Claims Reserve, such Cash shall be
 transferred to the Claimant Trust and be deemed a Claimant Trust Asset.

 F.     Rounding of Payments

         Whenever this Plan would otherwise call for, with respect to a particular Person, payment
 of a fraction of a dollar, the actual payment or distribution shall reflect a rounding of such fraction
 to the nearest whole dollar (up or down), with half dollars being rounded down. To the extent that
 Cash to be distributed under this Plan remains undistributed as a result of the aforementioned
 rounding, such Cash or stock shall be treated as “Unclaimed Property” under this Plan.



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 G.     De Minimis Distribution

         Except as to any Allowed Claim that is Unimpaired under this Plan, none of the Debtor,
 the Reorganized Debtor, or the Distribution Agent shall have any obligation to make any Plan
 Distributions with a value of less than $100, unless a written request therefor is received by the
 Distribution Agent from the relevant recipient at the addresses set forth in ARTICLE VI.J hereof
 within 120 days after the later of the (i) Effective Date and (ii) the date such Claim becomes an
 Allowed Claim. De minimis distributions for which no such request is timely received shall revert
 to the Claimant Trust. Upon such reversion, the relevant Allowed Claim (and any Claim on
 account of missed distributions) shall be automatically deemed satisfied, discharged and forever
 barred, notwithstanding any federal or state escheat laws to the contrary.

 H.     Distributions on Account of Allowed Claims

          Except as otherwise agreed by the Holder of a particular Claim or as provided in this Plan,
 all distributions shall be made pursuant to the terms of this Plan and the Confirmation Order.
 Except as otherwise provided in this Plan, distributions to any Holder of an Allowed Claim shall,
 to the extent applicable, be allocated first to the principal amount of any such Allowed Claim, as
 determined for U.S. federal income tax purposes and then, to the extent the consideration exceeds
 such amount, to the remainder of such Claim comprising accrued but unpaid interest, if any (but
 solely to the extent that interest is an allowable portion of such Allowed Claim).

 I.     General Distribution Procedures

         The Distribution Agent shall make all distributions of Cash or other property required
 under this Plan, unless this Plan specifically provides otherwise. All Cash and other property held
 by the Debtor, the Reorganized Debtor, or the Claimant Trust, as applicable, for ultimate
 distribution under this Plan shall not be subject to any claim by any Person.

 J.     Address for Delivery of Distributions

         Distributions to Holders of Allowed Claims, to the extent provided for under this Plan,
 shall be made (1) at the addresses set forth in any written notices of address change delivered to
 the Debtor and the Distribution Agent; (2) at the address set forth on any Proofs of Claim Filed by
 such Holders (to the extent such Proofs of Claim are Filed in the Chapter 11 Case), (2), or (3) at
 the addresses in the Debtor’s books and records.

         If there is any conflict or discrepancy between the addresses set forth in (1) through (3) in
 the foregoing sentence, then (i) the address in Section (2) shall control; (ii) if (2) does not apply,
 the address in (1) shall control, and (iii) if (1) does not apply, the address in (3) shall control.

 K.     Undeliverable Distributions and Unclaimed Property

         If the distribution to the Holder of any Allowed Claim is returned to the Reorganized
 Debtor or the Claimant Trust as undeliverable, no further distribution shall be made to such Holder,
 and Distribution Agent shall not have any obligation to make any further distribution to the Holder,
 unless and until the Distribution Agent is notified in writing of such Holder’s then current address.



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         Any Entity that fails to claim any Cash within six months from the date upon which a
 distribution is first made to such Entity shall forfeit all rights to any distribution under this Plan
 and such Cash shall thereafter be deemed an Claimant Trust Asset in all respects and for all
 purposes. Entities that fail to claim Cash shall forfeit their rights thereto and shall have no claim
 whatsoever against the Debtor’s Estate, the Reorganized Debtor, the Claimant Trust, or against
 any Holder of an Allowed Claim to whom distributions are made by the Distribution Agent.

 L.     Withholding Taxes

         In connection with this Plan, to the extent applicable, the Distribution Agent shall comply
 with all tax withholding and reporting requirements imposed on them by any Governmental Unit,
 and all distributions made pursuant to this Plan shall be subject to such withholding and reporting
 requirements. The Distribution Agent shall be entitled to deduct any U.S. federal, state or local
 withholding taxes from any Cash payments made with respect to Allowed Claims, as appropriate.
 As a condition to receiving any distribution under this Plan, the Distribution Agent may require
 that the Holder of an Allowed Claim entitled to receive a distribution pursuant to this Plan provide
 such Holder’s taxpayer identification number and such other information and certification as may
 be deemed necessary for the Distribution Agent to comply with applicable tax reporting and
 withholding laws. If a Holder fails to comply with such a request within one year, such distribution
 shall be deemed an unclaimed distribution. Any amounts withheld pursuant hereto shall be deemed
 to have been distributed to and received by the applicable recipient for all purposes of this Plan.

 M.     Setoffs

         The Distribution Agent may, to the extent permitted under applicable law, set off against
 any Allowed Claim and any distributions to be made pursuant to this Plan on account of such
 Allowed Claim, the claims, rights and causes of action of any nature that the Debtor, the
 Reorganized Debtor, or the Distribution Agent may hold against the Holder of such Allowed Claim
 that are not otherwise waived, released or compromised in accordance with this Plan; provided,
 however, that neither such a setoff nor the allowance of any Claim hereunder shall constitute a
 waiver or release by the Debtor, the Reorganized Debtor, or the Claimant Trustee of any such
 claims, rights and causes of action that the Debtor, the Reorganized Debtor, or Claimant Trustee
 possesses against such Holder. Any Holder of an Allowed Claim subject to such setoff reserves
 the right to challenge any such setoff in the Bankruptcy Court or any other court with jurisdiction
 with respect to such challenge.

 N.     Surrender of Cancelled Instruments or Securities

        As a condition precedent to receiving any distribution pursuant to this Plan on account of
 an Allowed Claim evidenced by negotiable instruments, securities, or notes canceled pursuant to
 ARTICLE IV of this Plan, the Holder of such Claim will tender the applicable negotiable
 instruments, securities, or notes evidencing such Claim (or a sworn affidavit identifying the
 negotiable instruments, securities, or notes formerly held by such Holder and certifying that they
 have been lost), to the Distribution Agent unless waived in writing by the Distribution Agent.




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 O.     Lost, Stolen, Mutilated or Destroyed Securities

         In addition to any requirements under any applicable agreement and applicable law, any
 Holder of a Claim or Equity Interest evidenced by a security or note that has been lost, stolen,
 mutilated, or destroyed will, in lieu of surrendering such security or note to the extent required by
 this Plan, deliver to the Distribution Agent: (i) evidence reasonably satisfactory to the Distribution
 Agent of such loss, theft, mutilation, or destruction; and (ii) such security or indemnity as may be
 required by the Distribution Agent to hold such party harmless from any damages, liabilities, or
 costs incurred in treating such individual as a Holder of an Allowed Claim or Equity Interest.
 Upon compliance with ARTICLE VI.O of this Plan as determined by the Distribution Agent, by a
 Holder of a Claim evidenced by a security or note, such Holder will, for all purposes under this
 Plan, be deemed to have surrendered such security or note to the Distribution Agent.

                                   ARTICLE VII.
                        PROCEDURES FOR RESOLVING CONTINGENT,
                          UNLIQUIDATED AND DISPUTED CLAIMS

 A.     Filing of Proofs of Claim

        Unless such Claim appeared in the Schedules and is not listed as disputed, contingent, or
 unliquidated, or such Claim has otherwise been Allowed or paid, each Holder of a Claim was
 required to file a Proof of Claim on or prior to the Bar Date.

 B.     Disputed Claims

         Following the Effective Date, each of the Reorganized Debtor or the Claimant Trustee, as
 applicable, may File with the Bankruptcy Court an objection to the allowance of any Disputed
 Claim or Disputed Equity Interest, request the Bankruptcy Court subordinate any Claims to
 Subordinated Claims, or any other appropriate motion or adversary proceeding with respect to the
 foregoing by the Claims Objection Deadline or, at the discretion of the Reorganized Debtor or
 Claimant Trustee, as applicable, compromised, settled, withdrew or resolved without further order
 of the Bankruptcy Court, and (ii) unless otherwise provided in the Confirmation Order, the
 Reorganized Debtor or the Claimant Trust, as applicable, are authorized to settle, or withdraw any
 objections to, any Disputed Claim or Disputed Equity Interests following the Effective Date
 without further notice to creditors (other than the Entity holding such Disputed Claim or Disputed
 Equity Interest) or authorization of the Bankruptcy Court, in which event such Claim or Equity
 Interest shall be deemed to be an Allowed Claim or Equity Interest in the amount compromised
 for purposes of this Plan.

 C.     Procedures Regarding Disputed Claims or Disputed Equity Interests

         No payment or other distribution or treatment shall be made on account of a Disputed
 Claim or Disputed Equity Interest unless and until such Disputed Claim or Disputed Equity Interest
 becomes an Allowed Claim or Equity Interests and the amount of such Allowed Claim or Equity
 Interest, as applicable, is determined by order of the Bankruptcy Court or by stipulation between
 the Reorganized Debtor or Claimant Trust, as applicable, and the Holder of the Claim or Equity
 Interest.



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 D.     Allowance of Claims and Equity Interests

         Following the date on which a Disputed Claim or Disputed Equity Interest becomes an
 Allowed Claim or Equity Interest after the Distribution Date, the Distribution Agent shall make a
 distribution to the Holder of such Allowed Claim or Equity Interest in accordance with the Plan.

        1.      Allowance of Claims

         After the Effective Date and subject to the other provisions of this Plan, the Reorganized
 Debtor or the Claimant Trust, as applicable, will have and will retain any and all rights and
 defenses under bankruptcy or nonbankruptcy law that the Debtor had with respect to any Claim.
 Except as expressly provided in this Plan or in any order entered in the Chapter 11 Case prior to
 the Effective Date (including, without limitation, the Confirmation Order), no Claim or Equity
 Interest will become an Allowed Claim or Equity Interest unless and until such Claim or Equity
 Interest is deemed Allowed under this Plan or the Bankruptcy Code or the Bankruptcy Court has
 entered an order, including, without limitation, the Confirmation Order, in the Chapter 11 Case
 allowing such Claim or Equity Interest.

        2.      Estimation

          Subject to the other provisions of this Plan, the Debtor, prior to the Effective Date, and the
 Reorganized Debtor or the Claimant Trustee, as applicable, after the Effective Date, may, at any
 time, request that the Bankruptcy Court estimate (a) any Disputed Claim or Disputed Equity
 Interest pursuant to applicable law and in accordance with this Plan and (b) any contingent or
 unliquidated Claim pursuant to applicable law, including, without limitation, section 502(c) of the
 Bankruptcy Code, and the Bankruptcy Court will retain jurisdiction under 28 U.S.C. §§ 157 and
 1334 to estimate any Disputed Claim or Disputed Equity Interest, contingent Claim or unliquidated
 Claim, including during the litigation concerning any objection to any Claim or Equity Interest or
 during the pendency of any appeal relating to any such objection. All of the aforementioned
 objection, estimation and resolution procedures are cumulative and not exclusive of one another.
 Claims or Equity Interests may be estimated and subsequently compromised, settled, withdrawn
 or resolved by any mechanism approved by the Bankruptcy Court. The rights and objections of
 all parties are reserved in connection with any such estimation proceeding.

        3.      Disallowance of Claims

         Any Claims or Equity Interests held by Entities from which property is recoverable under
 sections 542, 543, 550, or 553 of the Bankruptcy Code, or that are a transferee of a transfer
 avoidable under sections 522(f), 522(h), 544, 545, 547, 548, 549, or 724(a) of the Bankruptcy
 Code, shall be deemed disallowed pursuant to section 502(d) of the Bankruptcy Code, and holders
 of such Claims or Interests may not receive any distributions on account of such Claims or Interests
 until such time as such Causes of Action against that Entity have been settled or a Bankruptcy
 Court Order with respect thereto has been entered and all sums due, if any, to the Reorganized
 Debtor or the Claimant Trust, as applicable, by that Entity have been turned over or paid to the
 Reorganized Debtor or the Claimant Trust, as applicable.

     EXCEPT AS OTHERWISE PROVIDED HEREIN OR AS AGREED TO BY THE
 DEBTOR, REORGANIZED DEBTOR, OR CLAIMANT TRUSTEE, AS APPLICABLE,


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 ANY AND ALL PROOFS OF CLAIM FILED AFTER THE BAR DATE SHALL BE
 DEEMED DISALLOWED AND EXPUNGED AS OF THE EFFECTIVE DATE
 WITHOUT ANY FURTHER NOTICE TO OR ACTION, ORDER, OR APPROVAL OF
 THE BANKRUPTCY COURT, AND HOLDERS OF SUCH CLAIMS MAY NOT
 RECEIVE ANY DISTRIBUTIONS ON ACCOUNT OF SUCH CLAIMS, UNLESS SUCH
 LATE PROOF OF CLAIM HAS BEEN DEEMED TIMELY FILED BY A FINAL ORDER.

                                     ARTICLE VIII.
                                EFFECTIVENESS OF THIS PLAN

 A.     Conditions Precedent to the Effective Date

        The Effective Date of this Plan will be conditioned upon the satisfaction or waiver by the
 Debtor (and, to the extent such condition requires the consent of the Committee, the consent of the
 Committee with such consent not to be unreasonably withheld), pursuant to the provisions of
 ARTICLE VIII.B of this Plan of the following:

        •   This Plan and the Plan Documents, including the Claimant Trust Agreement and the
            Reorganized Limited Partnership Agreement, and all schedules, documents,
            supplements and exhibits to this Plan shall have been Filed in form and substance
            reasonably acceptable to the Debtor and the Committee.

        •   The Confirmation Order shall have become a Final Order and shall be in form and
            substance reasonably acceptable to the Debtor and the Committee. The Confirmation
            Order shall provide that, among other things, (i) the Debtor, the Reorganized Debtor,
            the Claimant Trustee, or the Litigation Trustee are authorized to take all actions
            necessary or appropriate to effectuate and consummate this Plan, including, without
            limitation, (a) entering into, implementing, effectuating, and consummating the
            contracts, instruments, releases, and other agreements or documents created in
            connection with or described in this Plan, (b) assuming the Executory Contracts and
            Unexpired Leases set forth in the Plan Supplement, (c) making all distributions and
            issuances as required under this Plan; and (d) entering into any transactions as set forth
            in the Plan Documents; (ii) the provisions of the Confirmation Order and this Plan are
            nonseverable and mutually dependent; (iii) the implementation of this Plan in
            accordance with its terms is authorized; (iv) pursuant to section 1146 of the Bankruptcy
            Code, the delivery of any deed or other instrument or transfer order, in furtherance of,
            or in connection with this Plan, including any deeds, bills of sale, or assignments
            executed in connection with any disposition or transfer of Assets contemplated under
            this Plan, shall not be subject to any Stamp or Similar Tax; and (v) the vesting of the
            Claimant Trust Assets in the Claimant Trust and the Reorganized Debtor Assets in the
            Reorganized Debtor, in each case as of the Effective Date free and clear of liens and
            claims to the fullest extent permissible under applicable law pursuant to section 1141(c)
            of the Bankruptcy Code except with respect to such Liens, Claims, charges and other
            encumbrances that are specifically preserved under this Plan upon the Effective Date.

        •   All documents and agreements necessary to implement this Plan, including without
            limitation, the Reorganized Limited Partnership Agreement, the Claimant Trust



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            Agreement, and the New GP LLC Documents, in each case in form and substance
            reasonably acceptable to the Debtor and the Committee, shall have (a) been tendered
            for delivery, and (b) been effected by, executed by, or otherwise deemed binding upon,
            all Entities party thereto and shall be in full force and effect. All conditions precedent
            to such documents and agreements shall have been satisfied or waived pursuant to the
            terms of such documents or agreements.

        •   All authorizations, consents, actions, documents, approvals (including any
            governmental approvals), certificates and agreements necessary to implement this Plan,
            including, without limitation, the Reorganized Limited Partnership Agreement, the
            Claimant Trust Agreement, and the New GP LLC Documents, shall have been
            obtained, effected or executed and delivered to the required parties and, to the extent
            required, filed with the applicable governmental units in accordance with applicable
            laws and any applicable waiting periods shall have expired without any action being
            taken or threatened by any competent authority that would restrain or prevent
            effectiveness or consummation of the Restructuring.

        •   The Debtor shall have obtained applicable directors’ and officers’ insurance coverage
            that is acceptable to each of the Debtor, the Committee, the Claimant Trust Oversight
            Committee, the Claimant Trustee and the Litigation Trustee.

        •   The Professional Fee Reserve shall be funded pursuant to this Plan in an amount
            determined by the Debtor in good faith.

 B.     Waiver of Conditions

         The conditions to effectiveness of this Plan set forth in this ARTICLE VIII (other than that
 the Confirmation Order shall have been entered) may be waived in whole or in part by the Debtor
 (and, to the extent such condition requires the consent of the Committee, the consent of the
 Committee), without notice, leave or order of the Bankruptcy Court or any formal action other
 than proceeding to confirm or effectuate this Plan. The failure to satisfy or waive a condition to
 the Effective Date may be asserted by the Debtor regardless of the circumstances giving rise to the
 failure of such condition to be satisfied. The failure of the Debtor to exercise any of the foregoing
 rights will not be deemed a waiver of any other rights, and each right will be deemed an ongoing
 right that may be asserted at any time by the Debtor, the Reorganized Debtor, or the Claimant
 Trust, as applicable.

 C.     Dissolution of the Committee

         On the Effective Date, the Committee will dissolve, and the members of the Committee
 and the Committee’s Professionals will cease to have any role arising from or relating to the
 Chapter 11 Case, except in connection with final fee applications of Professionals for services
 rendered prior to the Effective Date (including the right to object thereto). The Professionals
 retained by the Committee and the members thereof will not be entitled to assert any fee claims
 for any services rendered to the Committee or expenses incurred in the service of the Committee
 after the Effective Date, except for reasonable fees for services rendered, and actual and necessary
 costs incurred, in connection with any applications for allowance of Professional Fees pending on



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 the Effective Date or filed and served after the Effective Date pursuant to the Plan. Nothing in the
 Plan shall prohibit or limit the ability of the Debtor’s or Committee’s Professionals to represent
 either of the Trustees or to be compensated or reimbursed per the Plan and the Claimant Trust
 Agreement in connection with such representation.

                                  ARTICLE IX.
                 EXCULPATION, INJUNCTION AND RELATED PROVISIONS

 A.     General

         Notwithstanding anything contained in the Plan to the contrary, the allowance,
 classification and treatment of all Allowed Claims and Equity Interests and their respective
 distributions and treatments under the Plan shall take into account the relative priority and rights
 of the Claims and the Equity Interests in each Class in connection with any contractual, legal and
 equitable subordination rights relating thereto whether arising under general principles of equitable
 subordination, section 510 of the Bankruptcy Code, or otherwise.

 B.     Discharge of Claims

         To the fullest extent provided under section 1141(d)(1)(A) and other applicable provisions
 of the Bankruptcy Code, except as otherwise expressly provided by this Plan or the Confirmation
 Order, all consideration distributed under this Plan will be in exchange for, and in complete
 satisfaction, settlement, discharge, and release of, all Claims and Equity Interests of any kind or
 nature whatsoever against the Debtor or any of its Assets or properties, and regardless of whether
 any property will have been distributed or retained pursuant to this Plan on account of such Claims
 or Equity Interests. Except as otherwise expressly provided by this Plan or the Confirmation
 Order, upon the Effective Date, the Debtor and its Estate will be deemed discharged and released
 under and to the fullest extent provided under section 1141(d)(1)(A) and other applicable
 provisions of the Bankruptcy Code from any and all Claims and Equity Interests of any kind or
 nature whatsoever, including, but not limited to, demands and liabilities that arose before the
 Confirmation Date, and all debts of the kind specified in section 502(g), 502(h), or 502(i) of the
 Bankruptcy Code.

 C.     Exculpation

         Subject in all respects to ARTICLE XII.D of this Plan, to the maximum extent permitted
 by applicable law, no Exculpated Party will have or incur, and each Exculpated Party is hereby
 exculpated from, any claim, obligation, suit, judgment, damage, demand, debt, right, Cause of
 Action, remedy, loss, and liability for conduct occurring on or after the Petition Date in connection
 with or arising out of (i) the filing and administration of the Chapter 11 Case; (ii) the negotiation
 and pursuit of the Disclosure Statement, the Plan, or the solicitation of votes for, or confirmation
 of, the Plan; (iii) the funding or consummation of the Plan (including the Plan Supplement) or any
 related agreements, instruments, or other documents, the solicitation of votes on the Plan, the offer,
 issuance, and Plan Distribution of any securities issued or to be issued pursuant to the Plan,
 including the Claimant Trust Interests, whether or not such Plan Distributions occur following the
 Effective Date; (iv) the implementation of the Plan; and (v) any negotiations, transactions, and
 documentation in connection with the foregoing clauses (i)-(iv); provided, however, the foregoing



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 will not apply to (a) any acts or omissions of an Exculpated Party arising out of or related to acts
 or omissions that constitute bad faith, fraud, gross negligence, criminal misconduct, or willful
 misconduct or (b) Strand or any Employee other than with respect to actions taken by such Entities
 from the date of appointment of the Independent Directors through the Effective Date. This
 exculpation shall be in addition to, and not in limitation of, all other releases, indemnities,
 exculpations, any other applicable law or rules, or any other provisions of this Plan, including
 ARTICLE IV.C.2, protecting such Exculpated Parties from liability.

 D.     Releases by the Debtor

         On and after the Effective Date, each Released Party is deemed to be, hereby conclusively,
 absolutely, unconditionally, irrevocably, and forever released and discharged by the Debtor and
 the Estate, in each case on behalf of themselves and their respective successors, assigns, and
 representatives, including, but not limited to, the Claimant Trust and the Litigation Sub-Trust from
 any and all Causes of Action, including any derivative claims, asserted on behalf of the Debtor,
 whether known or unknown, foreseen or unforeseen, matured or unmatured, existing or hereafter
 arising, in law, equity, contract, tort or otherwise, that the Debtor or the Estate would have been
 legally entitled to assert in their own right (whether individually or collectively) or on behalf of
 the holder of any Claim against, or Interest in, a Debtor or other Person.

         Notwithstanding anything contained herein to the contrary, the foregoing release does not
 release: (i) any obligations of any party under the Plan or any document, instrument, or agreement
 executed to implement the Plan, (ii) the rights or obligations of any current employee of the Debtor
 under any employment agreement or plan, (iii) the rights of the Debtor with respect to any
 confidentiality provisions or covenants restricting competition in favor of the Debtor under any
 employment agreement with a current or former employee of the Debtor, (iv) any Avoidance
 Actions, or (v) any Causes of Action arising from willful misconduct, criminal misconduct, actual
 fraud, or gross negligence of such applicable Released Party as determined by Final Order of the
 Bankruptcy Court or any other court of competent jurisdiction.

          Notwithstanding anything herein to the contrary, any release provided pursuant to this
 ARTICLE IX.D (i) with respect to a Senior Employee, is conditioned in all respects on (a) such
 Senior Employee executing a Senior Employee Stipulation on or prior to the Effective Date and
 (b) the reduction of such Senior Employee’s Allowed Claim as set forth in the Senior Employee
 Stipulation (such amount, the “Reduced Employee Claim”), and (ii) with respect to any Employee,
 including a Senior Employee, shall be deemed null and void and of no force and effect (1) if there
 is more than one member of the Claimant Trust Oversight Committee who does not represent
 entities holding a Disputed or Allowed Claim (the “Independent Members”), the Claimant Trustee
 and the Independent Members by majority vote determine or (2) if there is only one Independent
 Member, the Independent Member after discussion with the Claimant Trustee, determines (in each
 case after discussing with the full Claimant Trust Oversight Committee) that such Employee
 (regardless of whether the Employee is then currently employed by the Debtor, the Reorganized
 Debtor, or the Claimant Trustee):

        •   sues, attempts to sue, or threatens or works with or assists any entity or person to sue,
            attempt to sue, or threaten the Reorganized Debtor, the Claimant Trust, the Litigation




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             Sub-Trust, or any of their respective employees or agents, or any Released Party on or
             in connection with any claim or cause of action arising prior to the Effective Date,

        •    has taken any action that, impairs or harms the value of the Claimant Trust Assets or
             the Reorganized Debtor Assets, or

        •    (x) upon the request of the Claimant Trustee, has failed to provide reasonable assistance
             in good faith to the Claimant Trustee or the Reorganized Debtor with respect to (1) the
             monetization of the Claimant Trust Assets or Reorganized Debtor Assets, as applicable,
             or (2) the resolution of Claims, or (y) has taken any action that impedes or frustrates
             the Claimant Trustee or the Reorganized Debtor with respect to any of the foregoing.

 Provided, however, that the release provided pursuant to this ARTICLE IX.D will vest and the
 Employee will be indefeasibly released pursuant to this ARTICLE IX.D if such Employee’s
 release has not been deemed null and void and of no force and effect on or prior to the date that is
 the date of dissolution of the Claimant Trust pursuant to the Claimant Trust Agreement.

       By executing the Senior Employee Stipulation embodying this release, each Senior
 Employee acknowledges and agrees, without limitation, to the terms of this release and the tolling
 agreement contained in the Senior Employee Stipulation.

        The provisions of this release and the execution of a Senior Employee Stipulation will not
 in any way prevent or limit any Employee from (i) prosecuting its Claims, if any, against the
 Debtor’s Estate, (ii) defending him or herself against any claims or causes of action brought against
 the Employee by a third party, or (iii) assisting other persons in defending themselves from any
 Estate Claims brought by the Litigation Trustee (but only with respect to Estate Claims brought
 by the Litigation Trustee and not collection or other actions brought by the Claimant Trustee).

 E.     Preservation of Rights of Action

        1.      Maintenance of Causes of Action

         Except as otherwise provided in this Plan, after the Effective Date, the Reorganized Debtor
 or the Claimant Trust will retain all rights to commence, pursue, litigate or settle, as appropriate,
 any and all Causes of Action included in the Reorganized Debtor Assets or Claimant Trust Assets,
 as applicable, whether existing as of the Petition Date or thereafter arising, in any court or other
 tribunal including, without limitation, in an adversary proceeding Filed in the Chapter 11 Case
 and, as the successors in interest to the Debtor and the Estate, may, and will have the exclusive
 right to, enforce, sue on, settle, compromise, transfer or assign (or decline to do any of the
 foregoing) any or all of the Causes of Action without notice to or approval from the Bankruptcy
 Court.

        2.      Preservation of All Causes of Action Not Expressly Settled or Released

         Unless a Cause of Action against a Holder of a Claim or an Equity Interest or other Entity
 is expressly waived, relinquished, released, compromised or settled in this Plan or any Final Order
 (including, without limitation, the Confirmation Order), such Cause of Action is expressly reserved
 for later adjudication by the Reorganized Debtor or Claimant Trust, as applicable (including,


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 without limitation, Causes of Action not specifically identified or of which the Debtor may
 presently be unaware or that may arise or exist by reason of additional facts or circumstances
 unknown to the Debtor at this time or facts or circumstances that may change or be different from
 those the Debtor now believes to exist) and, therefore, no preclusion doctrine, including, without
 limitation, the doctrines of res judicata, collateral estoppel, issue preclusion, claim preclusion,
 waiver, estoppel (judicial, equitable or otherwise) or laches will apply to such Causes of Action as
 a consequence of the confirmation, effectiveness, or consummation of this Plan based on the
 Disclosure Statement, this Plan or the Confirmation Order, except where such Causes of Action
 have been expressly released in this Plan or any other Final Order (including, without limitation,
 the Confirmation Order). In addition, the right of the Reorganized Debtor or the Claimant Trust
 to pursue or adopt any claims alleged in any lawsuit in which the Debtor is a plaintiff, defendant
 or an interested party, against any Entity, including, without limitation, the plaintiffs or co-
 defendants in such lawsuits, is expressly reserved.

 F.     Injunction

        Upon entry of the Confirmation Order, all Enjoined Parties are and shall be
 permanently enjoined, on and after the Effective Date, from taking any actions to interfere
 with the implementation or consummation of the Plan.

         Except as expressly provided in the Plan, the Confirmation Order, or a separate order
 of the Bankruptcy Court, all Enjoined Parties are and shall be permanently enjoined, on and
 after the Effective Date, with respect to any Claims and Equity Interests, from directly or
 indirectly (i) commencing, conducting, or continuing in any manner any suit, action, or other
 proceeding of any kind (including any proceeding in a judicial, arbitral, administrative or
 other forum) against or affecting the Debtor or the property of the Debtor, (ii) enforcing,
 levying, attaching (including any prejudgment attachment), collecting, or otherwise
 recovering, enforcing, or attempting to recover or enforce, by any manner or means, any
 judgment, award, decree, or order against the Debtor or the property of the Debtor, (iii)
 creating, perfecting, or otherwise enforcing in any manner, any security interest, lien or
 encumbrance of any kind against the Debtor or the property of the Debtor, (iv) asserting any
 right of setoff, directly or indirectly, against any obligation due to the Debtor or against
 property or interests in property of the Debtor, except to the limited extent permitted under
 Sections 553 and 1141 of the Bankruptcy Code, and (v) acting or proceeding in any manner,
 in any place whatsoever, that does not conform to or comply with the provisions of the Plan.

         The injunctions set forth herein shall extend to, and apply to any act of the type set
 forth in any of clauses (i)-(v) of the immediately preceding paragraph against any successors
 of the Debtor, including, but not limited to, the Reorganized Debtor, the Litigation Sub-
 Trust, and the Claimant Trust and their respective property and interests in property.

        Subject in all respects to ARTICLE XII.D, no Enjoined Party may commence or
 pursue a claim or cause of action of any kind against any Protected Party that arose or arises
 from or is related to the Chapter 11 Case, the negotiation of the Plan, the administration of
 the Plan or property to be distributed under the Plan, the wind down of the business of the
 Debtor or Reorganized Debtor, the administration of the Claimant Trust or the Litigation
 Sub-Trust, or the transactions in furtherance of the foregoing without the Bankruptcy Court



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 (i) first determining, after notice and a hearing, that such claim or cause of action represents
 a colorable claim of any kind, including, but not limited to, negligence, bad faith, criminal
 misconduct, willful misconduct, fraud, or gross negligence against a Protected Party and (ii)
 specifically authorizing such Enjoined Party to bring such claim or cause of action against
 any such Protected Party; provided, however, the foregoing will not apply to a claim or cause
 of action against Strand or against any Employee other than with respect to actions taken,
 respectively, by Strand or by such Employee from the date of appointment of the
 Independent Directors through the Effective Date. The Bankruptcy Court will have sole and
 exclusive jurisdiction to determine whether a claim or cause of action is colorable and, only
 to the extent legally permissible and as provided for in ARTICLE XI, shall have jurisdiction
 to adjudicate the underlying colorable claim or cause of action.

 G.     Duration of Injunctions and Stays

         ARTICLE II. Unless otherwise provided in this Plan, in the Confirmation Order, or
 in a Final Order of the Bankruptcy Court, (i) all injunctions and stays entered during the
 Chapter 11 Case and in existence on the Confirmation Date shall remain in full force and
 effect in accordance with their terms; and (ii) the automatic stay arising under section 362
 of the Bankruptcy Code shall remain in full force and effect subject to Section 362(c) of the
 Bankruptcy Code, and to the extent necessary if the Debtor does not receive a discharge, the
 Court will enter an equivalent order under Section 105.

 H.     Continuance of January 9 Order

        Unless otherwise provided in this Plan, in the Confirmation Order, or in a Final Order of
 the Bankruptcy Court, the restrictions set forth in paragraphs 9 and 10 of the Order Approving
 Settlement with Official Committee of Unsecured Creditors Regarding Governance of the Debtor
 and Procedures for Operations in the Ordinary Course, entered by the Bankruptcy Court on
 January 9, 2020 [D.I. 339] shall remain in full force and effect following the Effective Date.



                                        ARTICLE X.
                                   BINDING NATURE OF PLAN

         On the Effective Date, and effective as of the Effective Date, the Plan, including, without
 limitation, the provisions in ARTICLE IX, will bind, and will be deemed binding upon, all Holders
 of Claims against and Equity Interests in the Debtor and such Holder’s respective successors and
 assigns, to the maximum extent permitted by applicable law, notwithstanding whether or not such
 Holder will receive or retain any property or interest in property under the Plan. All Claims and
 Debts shall be fixed and adjusted pursuant to this Plan. The Plan shall also bind any taxing
 authority, recorder of deeds, or similar official for any county, state, Governmental Unit or parish
 in which any instrument related to the Plan or related to any transaction contemplated thereby is
 to be recorded with respect to nay taxes of the kind specified in Bankruptcy Code section 1146(a).




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                                      ARTICLE XI.
                                 RETENTION OF JURISDICTION

         Pursuant to sections 105 and 1142 of the Bankruptcy Code and notwithstanding the entry
 of the Confirmation Order and the occurrence of the Effective Date, the Bankruptcy Court shall,
 after the Effective Date, retain such jurisdiction over the Chapter 11 Case and all Entities with
 respect to all matters related to the Chapter 11 Case, the Reorganized Debtor, the Claimant Trust,
 and this Plan to the maximum extent legally permissible, including, without limitation, jurisdiction
 to:

        •   allow, disallow, determine, liquidate, classify, estimate or establish the priority,
            secured, unsecured, or subordinated status of any Claim or Equity Interest, including,
            without limitation, the resolution of any request for payment of any Administrative
            Expense Claim and the resolution of any and all objections to the allowance or priority
            of any Claim or Equity Interest;

        •   grant or deny any applications for allowance of compensation or reimbursement of
            expenses authorized pursuant to the Bankruptcy Code or this Plan, for periods ending
            on or before the Effective Date; provided, however, that, from and after the Effective
            Date, the Reorganized Debtor shall pay Professionals in the ordinary course of business
            for any work performed after the Effective Date subject to the terms of this Plan and
            the Confirmation Order, and such payment shall not be subject to the approval of the
            Bankruptcy Court;

        •   resolve any matters related to the assumption, assignment or rejection of any Executory
            Contract or Unexpired Lease to which the Debtor is party or with respect to which the
            Debtor, Reorganized Debtor, or Claimant Trust may be liable and to adjudicate and, if
            necessary, liquidate, any Claims arising therefrom, including, without limitation, any
            dispute regarding whether a contract or lease is or was executory or expired;

        •   make any determination with respect to a claim or cause of action against a Protected
            Party as set forth in ARTICLE IX;

        •   resolve any claim or cause of action against an Exculpated Party or Protected Party
            arising from or related to the Chapter 11 Case, the negotiation of this Plan, the
            administration of the Plan or property to be distributed under the Plan, the wind down
            of the business of the Debtor or Reorganized Debtor, or the transactions in furtherance
            of the foregoing;

        •   if requested by the Reorganized Debtor or the Claimant Trustee, authorize, approve,
            and allow any sale, disposition, assignment or other transfer of the Reorganized Debtor
            Assets or Claimant Trust Assets, including any break-up compensation or expense
            reimbursement that may be requested by a purchaser thereof; provided, however, that
            neither the Reorganized Debtor nor the Claimant Trustee shall be required to seek such
            authority or approval from the Bankruptcy Court unless otherwise specifically required
            by this Plan or the Confirmation Order;




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       •   if requested by the Reorganized Debtor or the Claimant Trustee, authorize, approve,
           and allow any borrowing or the incurrence of indebtedness, whether secured or
           unsecured by the Reorganized Debtor or Claimant Trust; provided, however, that
           neither the Reorganized Debtor nor the Claimant Trustee shall be required to seek such
           authority or approval from the Bankruptcy Court unless otherwise specifically required
           by this Plan or the Confirmation Order;

       •   resolve any issues related to any matters adjudicated in the Chapter 11 Case;

       •   ensure that distributions to Holders of Allowed Claims and Allowed Equity Interests
           are accomplished pursuant to the provisions of this Plan;

       •   decide or resolve any motions, adversary proceedings, contested or litigated matters
           and any other Causes of Action (including Estate Claims) that are pending as of the
           Effective Date or that may be commenced in the future, including approval of any
           settlements, compromises, or other resolutions as may be requested by the Debtor, the
           Reorganized Debtor, the Claimant Trustee, or the Litigation Trustee whether under
           Bankruptcy Rule 9019 or otherwise, and grant or deny any applications involving the
           Debtor that may be pending on the Effective Date or instituted by the Reorganized
           Debtor, the Claimant Trustee, or Litigation Trustee after the Effective Date, provided
           that the Reorganized Debtor, the Claimant Trustee, and the Litigation Trustee shall
           reserve the right to commence actions in all appropriate forums and jurisdictions;

       •   enter such orders as may be necessary or appropriate to implement, effectuate, or
           consummate the provisions of this Plan, the Plan Documents, and all other contracts,
           instruments, releases, and other agreements or documents adopted in connection with
           this Plan, the Plan Documents, or the Disclosure Statement;

       •   resolve any cases, controversies, suits or disputes that may arise in connection with the
           implementation, effectiveness, consummation, interpretation, or enforcement of this
           Plan or any Entity’s obligations incurred in connection with this Plan;

       •   issue injunctions and enforce them, enter and implement other orders or take such other
           actions as may be necessary or appropriate to restrain interference by any Entity with
           implementation, effectiveness, consummation, or enforcement of this Plan, except as
           otherwise provided in this Plan;

       •   enforce the terms and conditions of this Plan and the Confirmation Order;

       •   resolve any cases, controversies, suits or disputes with respect to the release,
           exculpation, indemnification, and other provisions contained herein and enter such
           orders or take such others actions as may be necessary or appropriate to implement or
           enforce all such releases, injunctions and other provisions;

       •   enter and implement such orders or take such others actions as may be necessary or
           appropriate if the Confirmation Order is modified, stayed, reversed, revoked or
           vacated;



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        •   resolve any other matters that may arise in connection with or relate to this Plan, the
            Disclosure Statement, the Confirmation Order, the Plan Documents, or any contract,
            instrument, release, indenture or other agreement or document adopted in connection
            with this Plan or the Disclosure Statement; and

        •   enter an order concluding or closing the Chapter 11 Case after the Effective Date.

                                      ARTICLE XII.
                                 MISCELLANEOUS PROVISIONS

 A.     Payment of Statutory Fees and Filing of Reports

         All outstanding Statutory Fees shall be paid on the Effective Date. All such fees payable,
 and all such fees that become due and payable, after the Effective Date shall be paid by the
 Reorganized Debtor when due or as soon thereafter as practicable until the Chapter 11 Case is
 closed, converted, or dismissed. The Claimant Trustee shall File all quarterly reports due prior to
 the Effective Date when they become due, in a form reasonably acceptable to the U.S. Trustee.
 After the Effective Date, the Claimant Trustee shall File with the Bankruptcy Court quarterly
 reports when they become due, in a form reasonably acceptable to the U.S. Trustee. The
 Reorganized Debtor shall remain obligated to pay Statutory Fees to the Office of the U.S. Trustee
 until the earliest of the Debtor’s case being closed, dismissed, or converted to a case under chapter
 7 of the Bankruptcy Code.

 B.     Modification of Plan

         Effective as of the date hereof and subject to the limitations and rights contained in this
 Plan: (a) the Debtor reserves the right, in accordance with the Bankruptcy Code and the
 Bankruptcy Rules, to amend or modify this Plan prior to the entry of the Confirmation Order with
 the consent of the Committee, such consent not to be unreasonably withheld; and (b) after the entry
 of the Confirmation Order, the Debtor may, after notice and hearing and entry of an order of the
 Bankruptcy Court, amend or modify this Plan, in accordance with section 1127(b) of the
 Bankruptcy Code or remedy any defect or omission or reconcile any inconsistency in this Plan in
 such manner as may be necessary to carry out the purpose and intent of this Plan.

 C.     Revocation of Plan

         The Debtor reserves the right to revoke or withdraw this Plan prior to the Confirmation
 Date and to File a subsequent chapter 11 plan with the consent of the Committee. If the Debtor
 revokes or withdraws this Plan prior to the Confirmation Date, then: (i) this Plan shall be null and
 void in all respects; (ii) any settlement or compromise embodied in this Plan, assumption of
 Executory Contracts or Unexpired Leases effected by this Plan and any document or agreement
 executed pursuant hereto shall be deemed null and void except as may be set forth in a separate
 order entered by the Bankruptcy Court; and (iii) nothing contained in this Plan shall: (a) constitute
 a waiver or release of any Claims by or against, or any Equity Interests in, the Debtor or any other
 Entity; (b) prejudice in any manner the rights of the Debtor or any other Entity; or (c) constitute
 an admission, acknowledgement, offer or undertaking of any sort by the Debtor or any other Entity.




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 D.     Obligations Not Changed

         Notwithstanding anything in this Plan to the contrary, nothing herein will affect or
 otherwise limit or release any non-Debtor Entity’s (including any Exculpated Party’s) duties or
 obligations, including any contractual and indemnification obligations, to the Debtor, the
 Reorganized Debtor, or any other Entity whether arising under contract, statute, or otherwise.

 E.     Entire Agreement

        Except as otherwise described herein, this Plan supersedes all previous and
 contemporaneous negotiations, promises, covenants, agreements, understandings, and
 representations on such subjects, all of which have become merged and integrated into this Plan.

 F.     Closing of Chapter 11 Case

        The Claimant Trustee shall, after the Effective Date and promptly after the full
 administration of the Chapter 11 Case, File with the Bankruptcy Court all documents required by
 Bankruptcy Rule 3022 and any applicable order of the Bankruptcy Court to close the Chapter 11
 Case.

 G.     Successors and Assigns

         This Plan shall be binding upon and inure to the benefit of the Debtor and its successors
 and assigns, including, without limitation, the Reorganized Debtor and the Claimant Trustee. The
 rights, benefits, and obligations of any Person or Entity named or referred to in this Plan shall be
 binding on, and shall inure to the benefit of, any heir, executor, administrator, successor, or assign
 of such Person or Entity.

 H.     Reservation of Rights

         Except as expressly set forth herein, this Plan shall have no force or effect unless and until
 the Bankruptcy Court enters the Confirmation Order and the Effective Date occurs. Neither the
 filing of this Plan, any statement or provision contained herein, nor the taking of any action by the
 Debtor, the Reorganized Debtor, the Claimant Trustee, or any other Entity with respect to this Plan
 shall be or shall be deemed to be an admission or waiver of any rights of: (1) the Debtor, the
 Reorganized Debtor, or the Claimant Trustee with respect to the Holders of Claims or Equity
 Interests or other Entity; or (2) any Holder of a Claim or an Equity Interest or other Entity prior to
 the Effective Date.

         Neither the exclusion or inclusion by the Debtor of any contract or lease on any exhibit,
 schedule, or other annex to this Plan or in the Plan Documents, nor anything contained in this Plan,
 will constitute an admission by the Debtor that any such contract or lease is or is not an executory
 contract or lease or that the Debtor, the Reorganized Debtor, the Claimant Trustee, or their
 respective Affiliates has any liability thereunder.

        Except as explicitly provided in this Plan, nothing herein shall waive, excuse, limit,
 diminish, or otherwise alter any of the defenses, claims, Causes of Action, or other rights of the




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 Debtor, the Reorganized Debtor, or the Claimant Trustee under any executory or non-executory
 contract.

        Nothing in this Plan will increase, augment, or add to any of the duties, obligations,
 responsibilities, or liabilities of the Debtor, the Reorganized Debtor, or the Claimant Trustee, as
 applicable, under any executory or non-executory contract or lease.

         If there is a dispute regarding whether a contract or lease is or was executory at the time of
 its assumption under this Plan, the Debtor, the Reorganized Debtor, or the Claimant Trustee, as
 applicable, shall have thirty (30) days following entry of a Final Order resolving such dispute to
 alter their treatment of such contract.

 I.     Further Assurances

         The Debtor, the Reorganized Debtor, or the Claimant Trustee, as applicable, all Holders of
 Claims and Equity Interests receiving distributions hereunder, and all other Entities shall, from
 time to time, prepare, execute and deliver any agreements or documents and take any other actions
 as may be necessary or advisable to effectuate the provisions and intent of this Plan or the
 Confirmation Order. On or before the Effective Date, the Debtor shall File with the Bankruptcy
 Court all agreements and other documents that may be necessary or appropriate to effectuate and
 further evidence the terms and conditions hereof.

 J.     Severability

          If, prior to the Confirmation Date, any term or provision of this Plan is determined by the
 Bankruptcy Court to be invalid, void, or unenforceable, the Bankruptcy Court will have the power
 to alter and interpret such term or provision to make it valid or enforceable to the maximum extent
 practicable, consistent with the original purpose of the term or provision held to be invalid, void,
 or unenforceable, and such term or provision will then be applicable as altered or interpreted.
 Notwithstanding any such holding, alteration or interpretation, the remainder of the terms and
 provisions of this Plan will remain in full force and effect and will in no way be affected, impaired,
 or invalidated by such holding, alteration, or interpretation. The Confirmation Order will
 constitute a judicial determination and will provide that each term and provision of this Plan, as it
 may have been altered or interpreted in accordance with the foregoing, is valid and enforceable
 pursuant to its terms.

 K.     Service of Documents

         All notices, requests, and demands to or upon the Debtor, the Reorganized Debtor, or the
 Claimant Trustee to be effective shall be in writing and, unless otherwise expressly provided
 herein, shall be deemed to have been duly given or made when actually delivered addressed as
 follows:

                If to the Claimant Trust:

                Highland Claimant Trust
                c/o Highland Capital Management, L.P.
                300 Crescent Court, Suite 700


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                Dallas, Texas 75201
                Attention: James P. Seery, Jr.

                If to the Debtor:

                Highland Capital Management, L.P.
                300 Crescent Court, Suite 700
                Dallas, Texas 75201
                Attention: James P. Seery, Jr.

                with copies to:

                Pachulski Stang Ziehl & Jones LLP
                10100 Santa Monica Blvd., 13th Floor
                Los Angeles, CA 90067
                Telephone: (310) 277-6910
                Facsimile: (310) 201-0760
                Attn: Jeffrey N. Pomerantz, Esq.
                       Ira D. Kharasch, Esq.
                       Gregory V. Demo, Esq.

                If to the Reorganized Debtor:

                Highland Capital Management, L.P.
                300 Crescent Court, Suite 700
                Dallas, Texas 75201
                Attention: James P. Seery, Jr.
                with copies to:

                Pachulski Stang Ziehl & Jones LLP
                10100 Santa Monica Blvd., 13th Floor
                Los Angeles, CA 90067
                Attn: Jeffrey N. Pomerantz, Esq.
                       Ira D. Kharasch, Esq.
                       Gregory V. Demo, Esq.

 L.     Exemption from Certain Transfer Taxes Pursuant to Section 1146(a) of the
        Bankruptcy Code

         To the extent permitted by applicable law, pursuant to section 1146(a) of the Bankruptcy
 Code, any transfers of property pursuant hereto shall not be subject to any Stamp or Similar Tax
 or governmental assessment in the United States, and the Confirmation Order shall direct the
 appropriate federal, state or local governmental officials or agents or taxing authority to forego the
 collection of any such Stamp or Similar Tax or governmental assessment and to accept for filing
 and recordation instruments or other documents pursuant to such transfers of property without the
 payment of any such Stamp or Similar Tax or governmental assessment. Such exemption
 specifically applies, without limitation, to (i) all actions, agreements and documents necessary to



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 evidence and implement the provisions of and the distributions to be made under this Plan; (ii) the
 maintenance or creation of security or any Lien as contemplated by this Plan; and (iii) assignments,
 sales, or transfers executed in connection with any transaction occurring under this Plan.

 M.     Governing Law

          Except to the extent that the Bankruptcy Code, the Bankruptcy Rules or other federal
  law is applicable, or to the extent that an exhibit or schedule to this Plan provides otherwise, the
  rights and obligations arising under this Plan shall be governed by, and construed and enforced
  in accordance with, the laws of Texas, without giving effect to the principles of conflicts of law
  of such jurisdiction; provided, however, that corporate governance matters relating to the
  Debtor, the Reorganized Debtor, New GP LLC, or the Claimant Trust, as applicable, shall be
  governed by the laws of the state of organization of the Debtor, the Reorganized Debtor, New
  GP LLC, or the Claimant Trustee, as applicable.

 N.     Tax Reporting and Compliance

         The Debtor is hereby authorized to request an expedited determination under
 section 505(b) of the Bankruptcy Code of the tax liability of the Debtor is for all taxable periods
 ending after the Petition Date through, and including, the Effective Date.

 O.     Exhibits and Schedules

      All exhibits and schedules to this Plan, if any, including the Exhibits and the Plan
 Documents, are incorporated and are a part of this Plan as if set forth in full herein.

 P.     Controlling Document

         In the event of an inconsistency between this Plan and any other instrument or document
 created or executed pursuant to this Plan, or between this Plan and the Disclosure Statement, this
 Plan shall control. The provisions of this Plan, the Disclosure Statement, and any Plan Document,
 on the one hand, and of the Confirmation Order, on the other hand, shall be construed in a manner
 consistent with each other so as to effectuate the purposes of each; provided, however, that if there
 is determined to be any inconsistency between any provision of this Plan, the Disclosure
 Statement, and any Plan Document, on the one hand, and any provision of the Confirmation Order,
 on the other hand, that cannot be so reconciled, then, solely to the extent of such inconsistency,
 the provisions of the Confirmation Order shall govern, and any such provisions of the
 Confirmation Order shall be deemed a modification of this Plan, the Disclosure Statement, and the
 Plan Documents, as applicable.

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                                     Exhibit B
     Schedule of CLO Management Agreements and Related Contracts to Be Assumed




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           Schedule of CLO Management Agreements and Related Contracts to Be Assumed

 1.      Servicing Agreement, dated December 20, 2007, by and among Greenbriar CLO, Ltd.,
         and Highland Capital Management, L.P.
 2.      Investment Management Agreement, dated November 1, 2007, by and between Longhorn
         Credit Funding, LLC, and Highland Capital Management, L.P. (as amended)
 3.      Reference Portfolio Management Agreement, dated August 1, 2016, by and between
         Highland Capital Management, L.P., and Valhalla CLO, Ltd.
 4.      Collateral Servicing Agreement, dated December 20, 2006, by and among Highland Park
         CDO I, Ltd., and Highland Capital Management, L.P.
 5.      Portfolio Management Agreement, dated March 15, 2005, by and among Southfork CLO
         Ltd., and Highland Capital Management, L.P.
 6.      Amended and Restated Portfolio Management Agreement, dated November 30, 2005, by
         and among Jaspar CLO Ltd., and Highland Capital Management, L.P.
 7.      Servicing Agreement, dated May 31, 2007, by and among Westchester CLO, Ltd., and
         Highland Capital Management, L.P.
 8.      Servicing Agreement, dated May 10, 2006, by and among Rockwall CDO Ltd. and
         Highland Capital Management, L.P. (as amended)
 9.      Portfolio Management Agreement, dated December 8, 2005, by and between Liberty
         CLO, Ltd., and Highland Capital Management, L.P.
 10.     Servicing Agreement, dated March 27, 2008, by and among Aberdeen Loan Funding,
         Ltd., and Highland Capital Management, L.P.
 11.     Servicing Agreement, dated May 9, 2007, by and among Rockwall CDO II Ltd. and
         Highland Capital Management, L.P.
 12.     Collateral Management Agreement, by and between, Highland Loan Funding V Ltd. and
         Highland Capital Management, L.P., dated August 1, 2001.
 13.     Collateral Management Agreement, dated August 18, 1999, by and between Highland
         Legacy Limited and Highland Capital Management, L.P.
 14.     Servicing Agreement, dated November 30, 2006, by and among Grayson CLO Ltd., and
         Highland Capital Management, L.P. (as amended)
 15.     Servicing Agreement, dated October 25, 2007, by and among Stratford CLO Ltd., and
         Highland Capital Management, L.P.
 16.     Servicing Agreement, dated August 3, 2006, by and among Red River CLO Ltd., and
         Highland Capital Management, L.P. (as amended)
 17.     Servicing Agreement, dated December 21, 2006, by and among Brentwood CLO, Ltd.,
         and Highland Capital Management, L.P.
 18.     Servicing Agreement, dated March 13, 2007, by and among Eastland CLO Ltd., and
         Highland Capital Management, L.P.



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 19.     Portfolio Management, Agreement, dated October 13, 2005, by and among Gleneagles
         CLO, Ltd., and Highland Capital Management, L.P.
 20.     Members’ Agreement and Amendment, dated November 15, 2017, by and between
         Highland CLO Funding, Ltd. and Highland Capital Management, L.P.
 21.     Collateral Management Agreement, dated May 19, 1998, by and between Pam Capital
         Funding LP, Ranger Asset Mgt LP and Highland Capital Management, L.P.
 22.     Collateral Management Agreement, dated August 6, 1997, by and between Pamco
         Cayman Ltd., Ranger Asset Mgt LP and Highland Capital Management, L.P.
 23.     Amendment No. 1 to Servicing Agreement, October 2, 2007, between Highland Capital
         Management, L.P. and Red River CLO Ltd. et al
 24.     Interim Collateral Management Agreement, June 15, 2005, between Highland Capital
         Management, L.P. and Rockwall CDO Ltd
 25.     Amendment No. 1 to Servicing Agreement, October 2, 2007, between Highland Capital
         Management, L.P. and Rockwall CDO Ltd
 26.     Collateral Servicing Agreement dated December 20, 2006, between Highland Capital
         Management, L.P. and Highland Park CDO I, Ltd.; The Bank of New York Trust
         Company, National Association
 27.     Representations and Warranties Agreement, dated December 20, 2006, between Highland
         Capital Management, L.P. and Highland Park CDO I, Ltd.
 28.     Collateral Administration Agreement, dated March 27, 2008, between Highland Capital
         Management, L.P. and Aberdeen Loan Funding, Ltd.; State Street Bank and Trust
         Company
 29.     Collateral Administration Agreement, dated December 20, 2007, between Highland
         Capital Management, L.P. and Greenbriar CLO, Ltd.; State Street Bank and Trust
         Company
 30.     Collateral Acquisition Agreement, dated March 13, 2007, between Highland Capital
         Management, L.P. and Eastland CLO, Ltd
 31.     Collateral Administration Agreement, dated March 13, 2007, between Highland Capital
         Management, L.P. and Eastland CLO, Ltd. and Investors Bank and Trust Company
 32.     Collateral Administration Agreement, dated October 13, 2005, between Highland Capital
         Management, L.P. and Gleneagles CLO, Ltd.; JPMorgan Chase Bank, National
         Association
 33.     Collateral Acquisition Agreement, dated November 30, 2006, between Highland Capital
         Management, L.P. and Grayson CLO, Ltd.
 34.     Collateral Administration Agreement, dated November 30, 2006, between Highland
         Capital Management, L.P. and Grayson CLO, Ltd.; Investors Bank & Trust Company
 35.     Collateral Acquisition Agreement, dated August 3, 2006, between Highland Capital
         Management, L.P. and Red River CLO, Ltd.



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 36.     Collateral Administration Agreement, dated August 3, 2006, between Highland Capital
         Management, L.P. and Red River CLO, Ltd.; U.S. Bank National Association
 37.     Master Warehousing and Participation Agreement, dated April 19, 2006, between
         Highland Capital Management, L.P. and Red River CLO Ltd.; Highland Special
         Opportunities Holding Company
 38.     Master Warehousing and Participation Agreement, dated February 2, 2006, between
         Highland Capital Management, L.P. and Red River CLO Ltd.; MMP-5 Funding, LLC;
         IXIS Financial Products Inc.
 39.     Master Warehousing and Participation Agreement (Amendment No. 2), dated May 5,
         2006, between Highland Capital Management, L.P. and Red River CLO Ltd.; MMP-5
         Funding, LLC; IXIS Financial Products Inc.
 40.     Master Warehousing and Participation Agreement (Amendment No. 1), dated April 12,
         2006, between Highland Capital Management, L.P. and Red River CLO Ltd.; MMP-5
         Funding, LLC; IXIS Financial Products Inc.
 41.     Master Warehousing and Participation Agreement (Amendment No. 3), dated June 22,
         2006, between Highland Capital Management, L.P. and Red River CLO Ltd.; MMP-5
         Funding, LLC; IXIS Financial Products Inc.
 42.     Master Warehousing and Participation Agreement (Amendment No. 4), dated July 17,
         2006, between Highland Capital Management, L.P. and Red River CLO Ltd.; MMP-5
         Funding, LLC; IXIS Financial Products Inc.
 43.     Collateral Administration Agreement, dated February 2, 2006, between Highland Capital
         Management, L.P. and Red River CLO Ltd.; U.S. Bank National Association; IXIS
         Financial Products Inc.
 44.     Collateral Administration Agreement, dated April 18, 2006, between Highland Capital
         Management, L.P. and Red River CLO Ltd.; Highland Special Opportunities Holding
         Company; U.S. Bank National Association
 45.     Master Participation Agreement, dated June 5, 2006, between Highland Capital
         Management, L.P. and Red River CLO Ltd.; Grand Central Asset Trust
 46.     A&R Asset Acquisition Agreement, dated July 18, 2001, between Highland Capital
         Management, L.P. and Salomon Smith Barney Inc.; Highland Loan Funding V Ltd.
 47.     A&R Master Participation Agreement, dated July 18, 2001, between Highland Capital
         Management, L.P. and Salomon Brothers Holding Company; Highland Loan Funding V
         Ltd.
 48.     Collateral Acquisition Agreement, dated June 29, 2005, between Highland Capital
         Management, L.P. and Jasper CLO Ltd.
 49.     Collateral Administration Agreement, dated June 29, 2005, between Highland Capital
         Management, L.P. and Jasper CLO Ltd.; JPMorgan Chase Bank, National Association
 50.     Master Warehousing and Participation Agreement, dated March 24, 2005, between
         Highland Capital Management, L.P. and Jasper CLO Ltd; MMP-5 Funding, LLC; and
         IXIS Financial Products Inc.


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 51.     Master Warehousing and Participation Agreement (Amendment No. 1), dated May 16,
         2005, between Highland Capital Management, L.P. and Jasper CLO Ltd; MMP-5
         Funding, LLC; and IXIS Financial Products Inc.
 52.     Collateral Administration Agreement, dated December 8, 2005, between Highland
         Capital Management, L.P. and Liberty CLO Ltd.
 53.     Collateral Administration Agreement, dated May 10, 2006, between Highland Capital
         Management, L.P. and Rockwall CDO Ltd; JPMorgan Chase Bank, National Association
 54.     Collateral Administration Agreement, dated May 9, 2007, between Highland Capital
         Management, L.P. and Rockwall CDO II, Ltd.; Investors Bank & Trust Company
 55.     Collateral Administration Agreement, dated March 15, 2005, between Highland Capital
         Management, L.P. and Southfork CLO Ltd.; JPMorgan Chase Bank, National
         Association
 56.     Collateral Administration Agreement, dated October 25, 2007, between Highland Capital
         Management, L.P. and Stratford CLO Ltd.; State Street
 57.     Collateral Administration Agreement, dated August 18, 2004, between Highland Capital
         Management, L.P. and Valhalla CLO, Ltd.; JPMorgan Chase Bank
 58.     Collateral Acquisition Agreement, dated May 31, 2007, between Highland Capital
         Management, L.P. and Westchester CLO, Ltd.
 59.     Collateral Administration Agreement, dated May 31, 2007, between Highland Capital
         Management, L.P. and Westchester CLO, Ltd.; Investors Bank & Trust Company
 60.     Collateral Administration Agreement, dated December 21, 2006, between Highland
         Capital Management, L.P. and Brentwood CLO, Ltd.; Investors Bank & Trust Company




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 Counsel for The Dugaboy Investment Trust
 and the Hunter Mountain Investment Trust



                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION


                                                         §
 In re:                                                  § Chapter 11
                                                         §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,                      § Case No. 19-34054-sgj11
                                                         §
                                   Reorganized Debtor.   §
                                                         §




                                 MOTION FOR LEAVE TO FILE PROCEEDING




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                           MOTION FOR LEAVE TO FILE PROCEEDING

          Movants The Dugaboy Investment Trust (“Dugaboy”) and Hunter Mountain Investment

 Trust (“Hunter Mountain” and collectively with Dugaboy, “Movants”) file this Motion for Leave

 to File Proceeding.

                                 SUMMARY AND STATEMENT OF FACTS1

          1.       Movants file this Motion for Leave to File Proceeding (the “Motion for Leave”) out

 of an abundance of caution in light of the gatekeeper injunction (the “Gatekeeper Provision”)

 contained in the Fifth Amended Plan of Reorganization of Highland Capital Management, L.P. (as

 Modified) (“Plan”) confirmed by order of this Court on February 22, 2021, § AA & Ex. A, Article

 IX.F [Dkt. No.1950]. Specifically, Movants seek an order from the Court finding that the

 Gatekeeper Provision is inapplicable to the proposed proceeding (the “Valuation Proceeding”) to

 be commenced by Movants in this Court, or that the requisite standard is met.

          2.       The Valuation Proceeding largely seeks the same relief previously sought by

 Movants through motion practice. In particular, the Valuation Proceeding seeks information

 regarding the value of the estate, including the assets and liabilities of the Highland Claimant Trust

 (the “Claimant Trust”) and related determinations by the Court. On December 6, 2022, the Court

 ordered Movants to seek the relief previously sought by motion practice through an adversary

 proceeding [Dkt. No. 3645]. As a result, Movants are required to name Highland Capital

 Management, L.P. (“HCMLP” or "Debtor") and the Highland Claimant Trust (the “Claimant

 Trust”) as defendants in the Valuation Proceeding, notwithstanding that what Movants are really




 1
  Movants incorporate the facts alleged in their proposed Complaint To (I) Compel Disclosures About The Assets Of
 The Highland Claimant Trust And (II) Determine (A) Relative Value Of Those Assets, And (B) Nature Of Plaintiffs'
 Interests In The Claimant Tru[st ("Proposed Complaint" or "Valuation Complaint"), annexed hereto as Exhibit A.

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 seeking is information from HCMLP and the Claimant Trust. Under the circumstances, Movants

 believe their Valuation Proceeding should fall outside of the Gatekeeper Provision.

          3.       However, if the Court determines that the Gatekeeper Provision applies to the

 Valuation Proceeding, Movants seek an order determining that the Valuation Proceeding presents

 a “colorable claim” within the meaning of the Gatekeeper Provision and should be allowed.

          4.       As holders of Contingent Claimant Trust Interests2 that vest into Claimant Trust

 Interests once all creditors are paid in full, and as defendants in litigation pursued by Marc S.

 Kirschner (“Kirschner”) as Trustee of the Litigation Sub-Trust (which seeks to recover damages

 on behalf of the Claimant Trust), Movants need to file the Valuation Proceeding in an effort to

 obtain information about the assets and liabilities of the Claimant Trust established to liquidate the

 assets of the HCMLP bankruptcy estate.

          5.       HCMLP’s October 21, 2022 and January 24, 2023 post-confirmation reports show

 that, even with inflated claims and below market sales of assets, cash available is likely more than

 enough to pay class 8 and class 9 creditors 100 cents on the dollar. Accordingly, Movants and the

 entire estate would benefit from a close evaluation of current assets and liabilities. Such evaluation

 will also show whether assets were marked below appraised value during the pandemic and

 unreasonably held on the books at those values, along with overstated liabilities, to justify

 continued litigation. That litigation serves to enable James P. Seery (“Mr. Seery”) and other estate

 professionals to carefully extract nearly every last dollar out of the estate with (along with incentive

 fees), leaving little or nothing for the owners that built the company.

          6.       While grave harm has already been done, valuation now would at least enable the

 Court to put an end to this already long-running case and salvage some value for equity. As this


 2
   Capitalized terms not defined have the meanings set forth herein. If no meaning is set forth herein, the terms have
 the meaning set forth in the Fifth Amended Plan of Reorganization (as Modified) [Dkt. No. 1808].

                                                          2
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 Court observed in the In re ADPT DFW Holdings case, where there is significant uncertainty about

 insolvency, protections must be put in place so that the conduct of the case itself does not deplete

 the equity. In some cases, the protection is in the form of an equity committee; here, a prompt

 valuation of the estate would serve the same purpose and is needed.

          7.       As set forth in greater detail in the annexed complaint (“Valuation Complaint”),

 upon information and belief, during the pendency of HCMLP’s bankruptcy proceedings, creditor

 claims and estate assets have been sold in a manner that fails to maximize the potential return to

 the estate, including Movants. Rather, Mr. Seery, first acting as Chief Executive Officer and Chief

 Restructuring Officer of the Debtor and then as the Claimant Trustee, facilitated the sale of creditor

 claims to entities with undisclosed business relationships with Mr. Seery who would then be

 inclined to approve inflated compensation when the hidden but true value of the estate’s assets was

 realized. Because Mr. Seery and the Debtor have failed to operate the estate in the required

 transparent manner, they have been able to justify pursuit of unnecessary avoidance actions (for

 the benefit of the professionals involved), even though the assets of the estate, if managed in good

 faith, should be sufficient to pay all creditors.

          8.       Further, by understating the value of the estate and preventing open and robust

 scrutiny of sales of the estate’s assets, Mr. Seery and the Debtor have been able to justify actions

 to further marginalize equity holders that otherwise would be in the money, such as including plan

 and trust provisions that disenfranchise equity holders by preventing them from having any input

 or information unless the Claimant Trustee certifies that all other interest holders have been paid

 in full. Because of the lack of transparency to date, unless Movants are allowed to proceed, there

 will be no checks and balances to prevent a wrongful failure to certify, much less any process to




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 ensure that the estate has been managed in good faith so as to enable all interest holders, including

 the much-maligned equity holders, to receive their due.

            9.       On the petition date, the estate had over $550 million in assets, with far less in in

 non-disputed non-contingent liabilities.

            10.      By June 30, 2022, the estate had $550 million in cash and approximately $120

 million of other assets despite paying what appears in reports to be over $60 million in professional

 fees and selling assets non-competitively, on information and belief, at least $75 million below

 market price.3

            11.      On information and belief, the value of the assets in the estate as of June 1, 2022,

 was as follows:

                  Highland Capital Assets                                            Value in Millions

                                                                                   Low                   High
        Cash as of Feb 1. 2022                                                       $125.00              $125.00
        Recently Liquidated                                      $246.30
           Highland Select Equity                                 $55.00
           Highland MultiStrat Credit Fund                        $51.44
           MGM Shares                                             $26.00
           Portion of HCLOF                                       $37.50
        Total of Recent Liquidations                             $416.24              $416.24              $416.24
     Current Cash Balance                                                             $541.24              $541.24

        Remaining Assets
             Highland CLO Funding, LTD                                                 $37.50               $37.50
             Korea Fund                                                                $18.00               $18.00
             SE Multifamily                                                            $11.98               $12.10
             Affiliate Notes4                                                          $50.00               $60.00
             Other (Misc. and legal)                                                    $5.00               $20.00
     Total (Current Cash + Remaining                                                  $663.72              $688.84
     Assets)




 3
     Additional detail in the Valuation Complaint and its exhibits.
 4
     Some of the Affiliate Notes should have been forgiven as of the MGM sale, but litigation continues over that also.

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          12.      By June 2022, Mr. Seery had also engineered settlements making the inflated face

 amount of the major claims against the estate $365 million, but which traded for significantly less.

    Creditor              Class 8          Class 9       Beneficiary               Purchase Price
    Redeemer              $137.0           $0.0          Claim buyer 1             $65 million
    ACIS                  $23.0            $0.0          Claim buyer 2             $8.0
    HarbourVest           $45.0            $35.0         Claim buyer 2             $27.0
    UBS                   $65.0            $60.0         Claim buyers 1 & 2        $50.0
    TOTAL                 $270.0           $95.0                                   $150.0 million

          13.      On information and belied, Mr. Seery made no efforts to buy the claims into the

 estate or resolve the estate efficiently. Mr. Seery never made a proposal to the residual holders or

 Mr. Dondero and never responded with a reorganization plan to the many settlement offers from

 Mr. Dondero, even though many of Mr. Dondero’s offers were in excess of the amounts paid by

 the claims buyers.

          14.      Instead, it appears that Mr. Seery brokered transactions enabling colleagues with

 long-standing but undisclosed business relationships to buy the claims without the knowledge or

 approval of the Court. Because the claims sellers were on the creditors committee, Mr. Seery and

 those creditors had been notified that “Creditors wishing to serve as fiduciaries on any official

 committee are advised that they may not purchase, sell or otherwise trade in or transfer claims

 against the Debtor while they are committee members absent an order of the Court.” Making the

 transactions particularly suspect is the fact that the claims buyers paid amounts equivalent to the

 value the Plan estimated would be paid three years’ hence. Sophisticated buyers would not pay

 what appeared to be full price unless they had material non-public information that the claims

 could and would be monetized for much more than the public estimates made at the time of Plan

 confirmation – as indeed they have been.

          15.      On information and belief, Mr. Seery provided such information to claims buyers

 rather than buying the claims in to the estate for the roughly $150 million for which they were sold.

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 By May 2021, when the claims transfers were announced to the Court, the estate had over 100 million

 in cash and access to additional liquidity to retire the claims for the sale amounts, leaving an operating

 business in the hands of its equity owners.

          16.      Specifically, Mr. Seery could and should have investigated seeking sufficient funds

 from equity to pay all claims and return the estate to the equity holders. This was an obvious path

 because the estate had assets sufficient to support a line of credit for $59 million, as Mr. Seery

 eventually obtained. If funds had been raised to pay creditors in the amounts for which claims were

 sold, much of the massive administrative costs run up by the estate would never have been

 incurred. One such avoided cost would be the post effective date litigation now pursued by Marc

 S. Kirschner, as Litigation Trustee for the Litigation Sub-Trust, whose professionals likely charge

 over $2000 an hour for senior lawyers and over $800 an hour for first year associates (data obtained

 from other cases because, of course, there has been no disclosure in the HCMLP bankruptcy of the

 cost of the Kirschner litigation). But buying in the claims to resolve the bankruptcy and enabling

 equity to resume operations would not have had the critical benefit to Mr. Seery that his scheme

 contained: placing the decision on his incentive bonus, perhaps as much as $30 million, in the

 hands of grateful business colleagues who received outsized rewards for the claims they were

 steered into buying. The parameters of Mr. Seery’s incentive compensation is yet another item

 cloaked in secrecy, contrary to the general rule that the hallmark of the bankruptcy process is

 transparency.

          17.      But worse still, even with all of the manipulation that appears to have occurred,

 Movants believe that the combination of cash and other assets held by the Claimant Trust in its

 own name and held in various funds, reserve accounts, and subsidiaries, if not depleted by




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 unnecessary litigation would be sufficient to pay all Claimant Trust Beneficiaries in full, with

 interest, now.

          18.      In short, it appears that the professionals representing HCMLP, the Claimant Trust,

 and the Litigation Sub-Trust are litigating claims against Movants and others, even though the only

 beneficiaries of any recovery from such litigation would be Movants in this adversary proceeding

 (and of course the professionals pressing the claims). It is only the cost of the pursuit of those

 claims that threatens to depress the value of the Claimant Trust sufficiently to justify continued

 pursuit of the claims, creating a vicious cycle geared only to enrich the professionals, including

 Mr. Seery, and to strip equity of any meaningful recovery.

          19.      Based upon the restrictions imposed on Movants including the unprecedented

 inability for Plaintiffs, as holders of Contingent Claimant Trust Interests, to access virtually any

 financial information related to the Claimant Trust, Movants have little to no insight into the value

 of the Claimant Trust assets versus the Claimant Trust’s obligations and no method to

 independently ascertain those amounts until Movants become Claimant Trust Beneficiaries.

 Because Mr. Seery and the professionals benefiting from Mr. Seery’s actions have ensured that

 Movants are in the dark regarding the estate’s assets and liabilities, as well as the estate’s

 professional and incentive fees that are rapidly depleting the estate, there is a compelling need for

 the relief sought herein.

          20.      Movants are seeking transparency about the assets currently held in the Claimant

 Trust and their value—information that would ultimately benefit all creditors and parties-in-

 interest by moving forward the administration of the Bankruptcy Case.




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                                             ARGUMENT

 A.       The Gatekeeper Provision.

          21.      The Debtor’s Plan includes a Gatekeeper Provision, limiting how claims can be

 asserted against Protected Parties (Plan, § AA & Ex. A, Article IX.F), such as the reorganized

 Debtor and the Claimant Trust. Plan Ex. A, Article I.B, ¶ 105.

          22.      Under the Debtor’s Plan confirmed by this Court, an “Enjoined Party” may not:

          [C]ommence or pursue a claim or cause of action of any kind against any Protected Party
 that arises from or is related to the Chapter 11 Case, the negotiation of the Plan, the administration
 of the Plan or property to be distributed under the Plan, the wind down of the business of the
 Debtor or Reorganized Debtor, the administration of the Claimant Trust or the Litigation Sub-
 Trust, or the transactions in furtherance of the foregoing without the Bankruptcy Court (i) first
 determining, after notice and a hearing, that such claim or cause of action represents a colorable
 claim of any kind . . . against a Protected Party and (ii) specifically authorizing such Enjoined
 Party to bring such claim or cause of action against any such Protected Party.

          Plan, § AA & Ex. A, Article IX.F.

          23.      The Plan defines the term “Enjoined Party” to include “all Entities who have held,

 hold, or may hold Claims against or Equity Interests in the Debtor”, “any Entity that has appeared

 and/or filed any motion, objection, or other pleading in this Chapter 11 Case regardless of the

 capacity in which such Entity appeared”, and any “Related Entity.” Plan Ex. A, Article I.B, ¶ 56.

 The Plan expressly defines “Related Entity” to include Dugaboy and Hunter Mountain. Id., § B,

 ¶ 110. Accordingly, each of Movants is an “Enjoined Party.” The question thus arises whether

 Movants must seek Court permission prior to instituting the annexed Valuation Proceeding.

 B.        The Gatekeeper Provision Is Satisfied Because Movants Were Directed to Raise
           Valuation Issues through an Adversary Proceeding

          24.      Movants previously sought by way of contested matter to obtain the relief sought

 in the Valuation Proceeding [Dkt. Nos. 3382, 3467, and 3533]. Debtor objected, asserting both

 that that the relief asserted was unwarranted and that it could only be obtained in an adversary

 proceeding [Dkt No. 3465]. The Court ruled that Movants must pursue an adversary proceeding.

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 Given that the Court has already ordered Movants to proceed in this fashion, the Court has already

 served its gatekeeper function and this motion is unnecessary [Dkt. No. 3645].

          25.      However, Movants conferenced the issue with Debtor, and Debtor was only willing

 to stipulate that no gatekeeper motion was needed if Movants sought exactly the same relief as had

 been sought in the motion. Because the relief sought is better defined now, and to avoid further

 delay, in an excess of caution, Movants bring this motion. After filing, Movants will attempt to

 negotiate a resolution of this motion so that the Court can proceed directly to the merits.

 C.       The Valuation Proceeding Sets Forth a Colorable Claim.

          26.      Movants present colorable claims that should be authorized to proceed.

          27.      The Plan does not define what constitutes a “colorable claim of any kind.” Nor

 does the Bankruptcy Code define the term.               The case law construing the requirement for

 “colorable” claims clearly provides that the requisite showing is a relatively low threshold to

 satisfy, requiring Movants to prove “there is a possibility of success.” See Spring Svc. Tex., Inc.

 v. McConnell (In re McConnell), 122 B.R. 41, 44 (Bankr. S.D. Tex. 1989).

          28.      The Fifth Circuit has stated that “the colorable claim standard is met if the [movant]

 has asserted claims for relief that on appropriate proof would allow a recovery. Courts have

 determined that a court need not conduct an evidentiary hearing, but must ensure that the claims

 do not lack any merit whatsoever.” Louisiana World Exposition v. Fed. Ins. Co., 858 F.2d 233,

 248 (5th Cir. 1988). The Court therefore need not be satisfied that there is an evidentiary basis for

 the claims to be asserted but instead should allow the claims if they appear to have some merit.

          29.      Other federal circuit courts have reached similar conclusions regarding the standard

 to be applied. For example, the Eighth Circuit held that “creditors’ claims are colorable if they

 would survive a motion to dismiss.” In re Racing Services, Inc., 540 F.3d 892, 900 (8th Cir. 2008);

 accord In Re Foster, 516 B.R. 537, 542 (B.A.P. 8th Cir. 2014), aff’d 602 Fed. Appx. 356 (8th Cir.

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 2015) (per curiam). The Sixth Circuit has adopted a similar test requiring that the court look only

 to the face of the complaint to determine if claims are colorable. In re The Gibson Group, Inc., 66

 F.3d 1436, 1446 (6th Cir. 1995).

          30.      Other federal courts have adopted roughly the same standard—i.e., a claim is

 colorable if it is merely “plausible” and thus could survive a motion to dismiss. See In re America’s

 Hobby Center, Inc., 223 B.R. 275, 282 (S.D.N.Y 1998); see also, e.g., In re GI Holdings, 313 B.R.

 at 631 (court must decide whether the committee has asserted “claims for relief that on appropriate

 proof would support a recovery”); Official Comm. v. Austin Fin. Serv. (In re KDI Holdings), 277

 B.R. 493, 508 (Bankr. S.D.N.Y. 1999) (observing that the inquiry into whether a claim is colorable

 is similar to that undertaken on a motion to dismiss for failure to state a claim); In re iPCS, Inc.,

 297 B.R. 283, 291-92 (Bankr. N.D. Ga. 2003) (same).

          31.      In addition, in the non-bankruptcy context, the District Court for this district has

 explained that “[t]he requirement of a ‘colorable claim’ means only that the plaintiff must have an

 ‘arguable claim’ and not that the plaintiff must be able to succeed on that claim.” Gonzales v.

 Columbia Hosp. at Med. City Dallas Subsidiary, L.P., 207 F. Supp. 2d 570, 577 (N.D. Tex. 2002).

          32.      This Court’s analysis of whether the Valuation Proceeding sets forth a colorable

 claim is not a determination of whether the Court finds there is enough evidence presented. Rather,

 if on the face of the Valuation Complaint, there appears a plausible claim, then the Valuation

 Proceeding presents a colorable claim, and this Motion must be granted to allow Movants to file

 their Valuation Complaint.

          33.      In the First Claim for Relief of the Valuation Complaint, Movants seek disclosures

 of Claimant Trust Assets and request an accounting. An equitable accounting is proper “when the

 facts and accounts presented are so complex that adequate relief may not be obtained at law.”



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 Gooden v. Mackie, No. 4:19-CV-02948, 2020 WL 714291 (S.D. Tex. Jan. 23 2020) (quoting

 McLaughlin v. Wells Fargo Bank, N.A., No. 4:12-CV-02658, 2013 WL 5231486, at *6 (S.D. Tex.

 Sep. 13, 2013); Bates Energy Oil & Gas v. Complete Oilfeld Servs., 361 F. Supp. 3d 633, 663

 (W.D. Tex. 2019) (finding an equitable accounting claim was sufficiently stated when was a party

 was less than forthcoming in providing information and the available information was insufficient

 to determine what was done with a party's money); Phillips v. Estate of Poulin, No. 03-05-00099-

 CV, 2007 WL 2980179, at *3 (Tex. App.-Austin, Oct. 12, 2007, no pet.) (finding that an

 accounting order was appropriate where the facts are complex and when the plaintiff could not

 obtain adequate relief through standard discovery); Southwest Livestock & Trucking Co. v. Dooley,

 884 S.W.2d 805, 809 (Tex. App.-San Antonio 1994, writ denied) (finding that an accounting was

 necessary in order to determine the identity of the property or the amount of money owed to a

 party).

           34.     The requested disclosures and accounting are necessary due to the lack of

 transparency surrounding the assets and liabilities of the Claimant Trust. The Court has retained

 jurisdiction to ensure that distributions to Holders of Allowed Equity Interests are accomplished

 pursuant to the provisions of the Plan. See Plan, Article XI. As set forth above and in the Valuation

 Complaint, Movants have concerns that those provisions are not being appropriately followed, and

 efforts to obtain the information necessary to confirm otherwise has been unavailable through

 discovery. As a result of the restrictions imposed on Movants, including Movants’ inability, as

 holders of Contingent Claimant Trust Interests, to access virtually any financial information related

 to the Claimant Trust, Movants have little to no insight into the value of the Claimant Trust assets

 versus the Claimant Trust’s obligations and no method to independently ascertain those amounts

 until Movants become Claimant Trust Beneficiaries. Because Movants are in the dark regarding



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 the estate’s assets and liabilities, as well as the estate’s professional and incentive fees that are

 rapidly depleting the estate, there is a compelling need for the relief sought. Movants are unable

 to protect their own interests without an equitable accounting. Therefore, the First Claim for Relief

 sets forth a colorable claim.

          35.      The Second Claim for Relief of the Valuation Complaint sets forth Movants’

 request for a declaratory judgment regarding the value of Claimant Trust Assets compared to the

 bankruptcy estate obligations. When considering whether a valid declaratory judgment claim

 exists, a court must engage in a three-step inquiry. Orix Credit All., Inc. v. Wolfe, 212 F.3d 891,

 895 (5th Cir. 2000). The court must ask (1) whether an actual controversy exists between the

 parties, (2) whether the court has the authority to grant such declaratory relief; and (3) whether the

 court should exercise its “discretion to decide or dismiss a declaratory judgment action.” Id; see

 also In re Fieldwood Energy LLC, No. 20-33948, 2021 WL 4839321, at *4 (Bankr. S.D. Tex. Oct.

 15 2021) (seeking declaratory judgment regarding interpretation of a Plan and whether certain

 claims were discharged); In re Think3, Inc., 529 B.R. 147, 206-07 (Bankr. W.D. Tex. 2015)

 (sufficient actual controversy to bring a declaratory judgment action to assist with an early and

 prompt adjudication of claims and to promote judicial and party economy).

          36.      In this case, there can be no serious doubt that an actual controversy exists between

 the parties with respect to the relief sought, as the Debtor has already opposed the relief sought in

 the Valuation Complaint. Additionally, there is no dispute that the Court has the inherent power

 to grant the relief sought in the Proposed Complaint. Further, the third element is satisfied because

 this determination is important to the implementation of the Plan and distributions to Holders of

 Allowed Claims and Allowed Equity Interests. If the value of the Claimant Trust assets exceeds

 the obligations of the estate, then several currently pending adversary proceedings aimed at



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 recovering value for HCMLP’s estate are not necessary to pay creditors in full. As such, the

 pending adversary proceedings could be brought to a swift close, allowing creditors to be paid and

 the Bankruptcy Case to be brought to a close. In addition, such a determination by the Court could

 allow for a settlement that would cover the spread between current assets and obligations before

 that gap is further widened by the professional fees incurred by the Claimant Trust. Therefore, the

 Second Claim for Relief pleads a colorable claim.

          37.      Finally, in the Third Claim for Relief of the Valuation Complaint, Movants request

 a declaratory judgment and determination regarding the nature of their interests. As with the

 Second Claim for Relief, there is no serious dispute that an actual controversy exists between the

 parties and that the Court has the power to grant the relief requested. Additionally, the third

 element is satisfied because, in particular, in the event that the Court determines that the Claimant

 Trust assets exceed the obligations of the bankruptcy estate in an amount sufficient to pay all

 Allowable Claims indefeasibly, Movants seek a declaration and a determination that the conditions

 are such that their Contingent Claimant Trust Interests are likely to vest into Claimant Trust

 Interests, making them Claimant Trust Beneficiaries. To be clear, Plaintiffs do not ask the Court

 to determine that they are Claimant Trust Beneficiaries or otherwise to convert their contingent

 interests into non-contingent interests. All of that must be done according to the terms of the Plan

 and the Claimant Trust Agreement. However, the requested determination would further assist

 parties in interest, such as Movants, to ascertain whether the estate is capable of paying all creditors

 in full and also paying some amount to residual interest holders, as contemplated by the Plan and

 the Claimant Trust Agreement. Therefore, the Third Claim for Relief pleads a colorable claim.

          38.      The equitable relief sought in the Valuation Proceeding certainly meets any

 iteration of the standard for what constitutes “a colorable claim of any kind.” Instead of using the



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 information governing provisions of the Claimant Trust as a shield, HCMLP and the Claimant

 Trust are using them as a sword to enable continued litigation that ultimately provides no benefit

 to Claimant Trust Beneficiaries or Movants as holders of Contingent Claimant Trust Interests.

          39.      As set forth above, the Valuation Complaint seeks disclosure of information and an

 accounting that are related to the administration of the Plan and property to be distributed under

 the Plan, but not otherwise available to Movants.         The Valuation Complaint also requests

 declaratory judgments within the Court’s jurisdiction and relevant to the furtherance of the

 Bankruptcy Case. These claims are colorable, and this Motion for Leave should be granted.

          WHEREFORE, Movants request the entry of an order i) granting this Motion for Leave;

 ii) determining that the Gatekeeping Provision is satisfied as applied to the Valuation Proceeding;

 and iii) authorizing Movants to file the Valuation Complaint.

                                                Respectfully submitted,


                                                STINSON LLP

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                                                Hunter Mountain Investment Trust




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                                 CERTIFICATE OF CONFERENCE

         The undersigned hereby certifies that on February 5, 2023, Louis M. Phillips conferenced
 with counsel for Defendants, John Morris, regarding this motion. Counsel for Defendants was
 willing to stipulate that no gatekeeper motion was needed if Movants sought exactly the same
 relief as had been sought in their prior motion addressing these issues. Because the relief sought
 is better defined now, and to avoid further delay, in an excess of caution, Movants bring this
 motion. After filing, Movants will attempt to negotiate a resolution of this motion so that the Court
 can proceed directly to the merits.

                                                       /s/Deborah Deitsch-Perez
                                                       Deborah Deitsch-Perez




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                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on February 6, 2023, a true and correct copy of this
 document was served electronically via the Court’s CM/ECF system to the parties registered or
 otherwise entitled to receive electronic notices in this case.


                                                     /s/Deborah Deitsch-Perez
                                                     Deborah Deitsch-Perez




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         EXHIBIT A




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 Counsel for Plaintiffs the Dugaboy Investment Trust and the
 Hunter Mountain Investment Trust


                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION


                                                           §
 In re:                                                    § Chapter 11
                                                           §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,                        § Case No. 19-34054-sgj11
                                                           §
                                  Reorganized Debtor.      §
                                                           §
                                                           §
 DUGABOY INVESTMENT TRUST and                              §
 HUNTER MOUNTAIN INVESTMENT TRUST,                         §
                                                           §
                                  Plaintiffs,              § Adversary Proceeding No.
                                                           §
 vs.                                                       §
                                                           §
 HIGHLAND CAPITAL MANAGEMENT, L.P. and                     §
 HIGHLAND CLAIMANT TRUST,                                  §
                                                           §
                                  Defendants.              §
                                                           §

                      COMPLAINT TO (I) COMPEL DISCLOSURES
            ABOUT THE ASSETS OF THE HIGHLAND CLAIMANT TRUST AND
             (II) DETERMINE (A) RELATIVE VALUE OF THOSE ASSETS, AND
          (B) NATURE OF PLAINTIFFS’ INTERESTS IN THE CLAIMANT TRUST




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          Plaintiffs The Dugaboy Investment Trust (“Dugaboy”) and Hunter Mountain Investment

 Trust (“Hunter Mountain” and collectively with Dugaboy, the “Plaintiffs”) file this adversary

 complaint (the “Complaint”) against defendants Highland Capital Management, L.P. (“HCMLP”

 or the “Debtor”) and the Highland Claimant Trust (the “Claimant Trust,” and collectively with

 HCMLP, the “Defendants”), seeking: (1) disclosures about and an accounting of the assets and

 liabilities currently held in the Claimant Trust; (2) a determination of the value of those assets; and

 (3) declaratory relief setting forth the nature of Plaintiffs’ interests in the Claimant Trust.

                                      PRELIMINARY STATEMENT

          1.       As holders of Contingent Claimant Trust Interests1 that vest into Claimant Trust

 Interests once all creditors are paid in full, and as defendants in litigation pursued by Marc S.

 Kirschner (“Kirschner”) as Trustee of the Litigation Sub-Trust (which seeks to recover damages

 on behalf of the Claimant Trust), Plaintiffs file this Complaint to obtain information about the

 assets and liabilities of the Claimant Trust, which was established to monetize and liquidate the

 assets of the HCMLP bankruptcy estate.

          2.       HCMLP’s October 21, 2022 and January 24, 2023 post-confirmation reports show

 that even with inflated claims and below market sales of assets, cash available is more than enough

 to pay class 8 and class 9 creditors in full. Accordingly, Plaintiffs and the entire estate would

 benefit from a close evaluation of current assets and liabilities. Such evaluation will also show

 whether assets were marked below appraised value during the pandemic and unreasonably held on

 the books at those values, along with overstated liabilities, to justify continued litigation. That

 litigation serves to enable James P. Seery (“Mr. Seery”) and other estate professionals to carefully

 extract nearly every last dollar out of the estate with (along with incentive fees), leaving little or


 1
   Capitalized terms not defined have the meanings set forth herein. If no meaning is set forth herein, the terms have
 the meaning set forth in the Fifth Amended Plan of Reorganization (as Modified) [Docket No. 1808].

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 nothing for the owners that built the company. While grave harm has already been done, valuation

 now would at least enable the Court to put an end to this already long-running case and salvage

 some value for equity. As this Court observed in the In re ADPT DFW Holdings case, where there

 is significant uncertainty about insolvency, protections must be put in place so that the conduct of

 the case itself does not deplete the equity. In some cases, the protection is in the form of an equity

 committee; here a prompt valuation of the estate is needed.

          3.       Upon information and belief, during the pendency of HCMLP’s bankruptcy

 proceedings, creditor claims and estate assets have been sold in a manner that fails to maximize

 the potential return to the estate, including Plaintiffs. Rather, Mr. Seery, first acting as Chief

 Executive Officer and Chief Restructuring Officer of the Debtor and then as the Claimant Trustee,

 facilitated the sale of creditor claims to entities with undisclosed business relationships with Mr.

 Seery, who he knew would approve his inflated compensation when the hidden but true value of

 the estate’s assets were realized. Because Mr. Seery and the Debtor have failed to operate the

 estate in the required transparent manner, they have been able to justify pursuit of unnecessary

 avoidance actions (for the benefit of the professionals involved), even though the assets of the

 estate, if managed in good faith, should be sufficient to pay all creditors.

          4.       Further, by understating the value of the estate and preventing open and robust

 scrutiny of sales of the estate’s assets, Mr. Seery and the Debtor have been able to justify actions

 to further marginalize equity holders that otherwise would be in the money, such as including plan

 and trust provisions that disenfranchise equity holders by preventing them from having any input

 or information unless the Claimant Trustee certifies that all other interest holders have been paid

 in full. Because of the lack of transparency to date, unless the relief sought herein is granted, there

 will be no checks and balances to prevent a wrongful failure to certify, much less any process to



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 ensure that the estate has been managed in good faith so as to enable all interest holders, including

 the much-maligned equity holders, to receive their due.

           5.       By demonizing the estate equity holders, withholding information, and

 manipulating the sales of claims and assets, Mr. Seery and the Claimant Trust have maximized the

 potential for a grave miscarriage of justice. The estate had over $550 million in assets on the

 petition date, with far less in non-disputed non-contingent liabilities.

           6.       By June 30, 2022, the estate had $550 million in cash and approximately $120

 million of other assets despite paying what appears in reports to be over $60 million in professional

 fees and selling assets non-competitively, on information and belief, at least $75 million below

 market price.2

           7.       On information and belief, the value of the assets in the estate as of 6/1/22 was:

                 Highland Capital Assets                                            Value in Millions

                                                                                Low                   High
        Cash as of Feb 1. 2022                                                     $125.00               $125.00
        Recently Liquidated                                   $246.30
           Highland Select Equity                              $55.00
           Highland MultiStrat Credit Fund                     $51.44
           MGM Shares                                          $26.00
           Portion of HCLOF                                    $37.50
        Total of Recent Liquidations                          $416.24                $416.24             $416.24
     Current Cash Balance                                                            $541.24             $541.24

        Remaining Assets
            Highland CLO Funding, LTD                                                 $37.50              $37.50
            Korea Fund                                                                $18.00              $18.00
            SE Multifamily                                                            $11.98              $12.10
            Affiliate Notes3                                                          $50.00              $60.00
            Other (Misc. and legal)                                                    $5.00              $20.00
     Total (Current Cash + Remaining Assets)                                         $663.72             $688.84




 2
   Examples of non-competitive sales are set forth in letters to the United States Trustee dated October 5, 2021,
 November 3, 2021 and May 11, 2022, annexed hereto as Exhibits 1, 2, and 3, as is further detail about claims buyers.
 3
   Some of the Affiliate Notes should have been forgiven as of the MGM sale, but litigation continues over that also.

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          8.       By June 2022, Mr. Seery had also engineered settlements making the inflated face

 amount of the major claims against the estate $365 million, but which traded for significantly less.

    Creditor              Class 8          Class 9       Beneficiary               Purchase Price
    Redeemer              $137.0           $0.0          Claim buyer 1             $65 million
    ACIS                  $23.0            $0.0          Claim buyer 2             $8.0
    HarbourVest           $45.0            $35.0         Claim buyer 2             $27.0
    UBS                   $65.0            $60.0         Claim buyers 1 & 2        $50.0
    TOTAL                 $270.0           $95.0                                   $150.0 million

          9.       Mr. Seery made no efforts to buy the claims into the estate or resolve the estate

 efficiently. Mr. Seery never made a proposal to the residual holders or Mr. Dondero and never

 responded to the over the many settlement offers from Mr. Dondero with a reorganization (as

 opposed to liquidation) plan, even though many of Mr. Dondero's offers were in excess of the

 amounts paid by the claims buyers.

          10.      Instead, Mr. Seery brokered transactions enabling colleagues with long-standing

 but undisclosed business relationships to buy the claims without the knowledge or approval of the

 Court. Because the claims sellers were on the creditors committee, Mr. Seery and those creditors

 had been notified that “Creditors wishing to serve as fiduciaries on any official committee are

 advised that they may not purchase, sell or otherwise trade in or transfer claims against the Debtor

 while they are committee members absent an order of the Court.”              These transactions are

 particularly suspect because the claims buyers paid amounts equivalent to the value the Plan

 estimated would be paid three years later. Sophisticated buyers would not pay what appeared to

 be full price unless they had material non-public information that the claims could and would be

 monetized for much more than the public estimates made at the time of Plan confirmation – as

 indeed they have been.

          11.      On information and belief, Mr. Seery provided that information to claims buyers

 rather than buying the claims in to the estate for the roughly $150 million for which they were sold.



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 By May 2021, when the claims transfers were announced to the Court, the estate had over 100 million

 in cash and access to additional liquidity to retire the claims for the sale amounts, leaving an operating

 business in the hands of its equity owners.

          12.      Specifically, Mr. Seery could and should have investigated seeking sufficient funds

 from equity to pay all claims and return the estate to the equity holders. This was an obvious path

 because the estate had assets sufficient to support a $59 million line of credit, as Mr. Seery

 eventually obtained. If funds had been raised to pay creditors in the amounts for which claims were

 sold, much of the massive administrative costs run up by the estate would never have been

 incurred. One such avoided cost would be the post-effective date litigation now pursued by Mr.

 Kirschner, as Litigation Trustee for the Litigation Sub-Trust, whose professionals likely charge

 over $2000 an hour for senior lawyers and over $800 an hour for first year associates (data obtained

 from other cases because, of course, there has been no disclosure in the HCMLP bankruptcy of the

 cost of the Kirschner litigation).    But buying the claims to resolve the bankruptcy and enabling

 equity to resume operations would not have had the critical benefit to Mr. Seery that his scheme

 contained: placing the decision on his incentive bonus, perhaps as much as $30 million, in the

 hands of grateful business colleagues who received outsized rewards for the claims they were

 steered into buying. The parameters of Mr. Seery’s incentive compensation is yet another item

 cloaked in secrecy, contrary to the general rule that the hallmark of the bankruptcy process is

 transparency.

          13.      But worse still, even with all of the manipulation that appears to have occurred,

 Plaintiffs believe that the combination of cash and other assets held by the Claimant Trust in its

 own name and held in various funds, reserve accounts, and subsidiaries, if not depleted by




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 unnecessary litigation, would be sufficient to pay all Claimant Trust Beneficiaries in full, with

 interest now.

          14.      In short, it appears that the professionals representing HCMLP, the Claimant Trust,

 and the Litigation Sub-Trust are litigating claims against Plaintiffs and others, even though the

 only beneficiaries of any recovery from such litigation would be Plaintiffs in this adversary

 proceeding (and of course the professionals pressing the claims). It is only the cost of the pursuit

 of those claims that threatens to depress the value of the Claimant Trust sufficiently to justify

 continued pursuit of the claims, creating a vicious cycle geared only to enrich the professionals,

 including Mr. Seery, and to strip equity holders of any meaningful recovery.

          15.      Based upon the restrictions imposed on Plaintiffs, including the unprecedented

 inability for Plaintiffs, as holders of Contingent Claimant Trust Interests, to access virtually any

 financial information related to the Claimant Trust, Plaintiffs have little to no insight into the value

 of the Claimant Trust assets versus the Claimant Trust’s obligations and no method to

 independently ascertain those amounts until Plaintiffs become Claimant Trust Beneficiaries.

 Because Mr. Seery and the professionals benefiting from Mr. Seery’s actions have ensured that

 Plaintiffs are in the dark regarding the estate’s assets and liabilities, as well as the estate’s

 professional and incentive fees that are rapidly depleting the estate, there is a compelling need for

 the relief sought herein.

          16.      In bringing this Complaint, Plaintiffs are seeking transparency about the assets

 currently held in the Claimant Trust and their value—information that would ultimately benefit all

 creditors and parties-in-interest by moving forward the administration of the Bankruptcy Case.




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                                     JURISDICTION AND VENUE

          17.      This adversary proceeding arises under and relates to the above-captioned Chapter

 11 bankruptcy case (the “Bankruptcy Case”) pending before the United States Bankruptcy Court

 for the Northern District of Texas (the “Court”).

          18.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.

          19.      This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(A) and

 (O).

          20.      In the event that it is determined that the Court, absent consent of the parties, cannot

 enter final order or judgments over this matter, Plaintiffs do not consent to the entry of a final order

 by the Court.

                                              THE PARTIES

          21.      Dugaboy is a trust formed under the laws of Delaware.

          22.      Hunter Mountain is a trust formed under the laws of Delaware.

          23.      HCMLP is a limited partnership formed under the laws of Delaware with a business

 address of 100 Crescent Court, Suite 1850, Dallas, Texas 75201.

          24.      The Claimant Trust is a statutory trust formed under the laws of Delaware with a

 business address of 100 Crescent Court, Suite 1850, Dallas, Texas 75201.

                                         CASE BACKGROUND

          25.      On October 16, 2019 (the “Petition Date”), HCMLP, a 25-year Delaware limited

 partnership in good standing, filed for Chapter 11 restructuring in the United States Bankruptcy

 Court for the District of Delaware.

          26.      At the time of its chapter 11 filing, HCMLP had approximately $550 million in

 assets and had only insignificant debt owing to Jeffries, with whom it had a brokerage account,

 and one other entity, Frontier State Bank. [Dkt. No. 1943, ¶ 8]. HCMLP’s reason for seeking

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 bankruptcy protection was to restructure judgment debt stemming from an adverse arbitration

 award of approximately $190 million issued in favor of the Redeemer Committee of the Crusader

 Funds, which, after offsets and adjustments, would have been resolved for about $110 million.

 Indeed, the Redeemer Committee sold its claim for about $65 million, well below the expected

 $110 million,4 and indeed, even below amounts for which Dondero offered to buy the claim.

            27.    At the urging of the newly-appointed Unsecured Creditors Committee (the

 “Committee”), and over the objection of HCMLP and its management, the Delaware Bankruptcy

 Court transferred the bankruptcy case to this Court on December 4, 2019. It seems likely that the

 creditors sought this transfer to take advantage of antipathy the Court had exhibited to HCMLP

 and its management in the ACIS bankruptcy.5 Shortly after the transfer, and likewise influenced

 by the adverse characterizations of HCMLP management in the ACIS bankruptcy, the U.S.

 Trustee, notwithstanding the Debtor’s apparent solvency, sought appointment of a chapter 11

 trustee.

            28.    To avoid the appointment of a chapter 11 trustee and the potential liquidation of a

 potentially solvent estate, the Committee and the Debtor agreed that Strand Advisors, Inc.,

 HCMLP’s general partner, would appoint a three-member independent board (the “Independent

 Board”) to manage HCMLP during its bankruptcy. The three board members were:



 4
   Reports that Redeemer Committee was paid $78 million note that in addition to the claim, the Committee sold other
 assets as well, which on information and belief, amounted to about $13 million.
 5
   For example, at a hearing in Delaware Bankruptcy Court on the Motion to Transfer Venue to this Court, Mr.
 Pomerantz, counsel for Debtor stated, “The debtor filed the case in this district because it wanted a judge to preside
 over this case that would look at what's going on with this debtor, with this debtor's management, this debtor's post-
 petition conduct, without the baggage of what happened in a previous case, which contrary to what Acis and the
 committee says, has very little do with this debtor.” [December 2, 2019 Hearing Transcript at 79, Case No. 19012239
 (CSS), Docket No. 181]. The taint of the ACIS case can be seen in that, without having read or even seen the
 supposedly offending complaint, during the ACIS case Judge Jernigan called Mr. Dondero not just vexatious, but
 “transparently vexatious,” for allegedly having sued Moody’s for failing to downgrade certain CLOs that ACIS had
 been manipulating in violation of its indentures and even though the Plaintiff in the supposedly offending case was
 not Mr. Dondero or any company he controlled [September 23, 2020 Hearing Transcript at 51-52, In re Acis Capital
 Management, L.P. and Acis Capital Management GP, LLC, Case No. 18-30264-SGJ-11, Docket No. 1186].

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                a. James P. Seery, Jr. – (who was selected by arbitration awardee and Committee
                   member, the Redeemer Committee);
                b. John Dubel – (who was selected by Committee member UBS); and
                c. Former Judge Russell Nelms – (who was selected by the Debtor).

          29.      The Bankruptcy Court almost immediately let the Debtor’s professionals know that

 its feelings about Mr. Dondero and other equity holders had not changed – a disclosure that led

 inexorably to the many acts that now threaten to wipe out entirely the value of the equity. For

 example, at one of the earliest hearings, the Court rejected recommendations by Judge Nelms,

 suggesting he was bamboozled because he was under management’s spell. Specifically, Judge

 Jernigan admitted that normally “Bankruptcy Courts should defer heavily to the reasonable

 exercise of business judgment by a board… But I’m concerned that Dondero or certain in-house

 counsel has -- you know, they’re smart, they're persuasive… they have exercised their powers of

 persuasion or whatever to make the Board and the professionals think that there is some valid

 prospect of benefit to Highland with these [actions], when it’s really all about . . . Mr. Dondero.”

 [February 19, 2020 Hearing Transcript at 177.]

          30.      At around the same time that the Court telegraphed animus towards Mr. Dondero,

 it also squelched oversight by responsible professionals who could and would have ensured

 transparency. When the Committee and the Debtor reported to the Court that they had agreed to

 use Judge Jones and Judge Isgur in Houston as mediators to potentially resolve the bankruptcy

 case, Judge Jernigan stated that she was “surprised that Judge Jones’ or Judge Isgur’s staff

 expressed that they had availability.” Debtor’s counsel then asked if he could independently

 follow up with staff for Judges Jones and Isgur regarding their availabilities, and Judge Jernigan

 said, “I’ll take it from here.” Six days later, Judge Jernigan simply said, “my continued thought

 on that [mediation by Judges Jones and Isgur] is that they just don’t have meaningful time.” [July

 14, 2020 Hearing Transcript at 121] In retrospect, this avoided scrutiny of the case by professionals


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 who would recognize and potentially curtail the Court’s unprecedented, immediately biased

 conduct of the case. This sent a powerful message to Mr. Seery and the other professionals who

 developed strategies to enrich themselves to the detriment of any possibility of a quick

 reorganization with equity regaining control.

          31.      Meanwhile, not realizing the turn the bankruptcy was about to take, Mr. Dondero had

 agreed to step down as CEO of the Debtor and to the appointment of an Independent Board only

 because he was assured that new, independent management would expedite an exit from bankruptcy,

 preserve the Debtor’s business as a going concern, and retain and compensate key employees whose

 work was critical to ensuring a successful reorganization.

          32.      None of that happened. Almost immediately, Mr. Seery emerged as the de facto

 leader of the Independent Board. On July 14, 2020, the Court retroactively appointed Mr. Seery

 Chief Executive Officer and Chief Restructuring Officer, vesting him with the fiduciary

 responsibilities of a registered advisor to investors and fiduciary responsibilities to the estate. [Dkt.

 No. 854]. And although Mr. Seery publicly represented that he intended to restructure and preserve

 HCMLP’s business, privately he was engineering a much different plan.

          33.      Indeed, Mr. Seery’s public-facing statements stand in stark contrast to what actually

 happened under his direction and control. For example, initially Mr. Seery reported consistently

 positive reviews of the Debtor’s employees, describing the Debtor’s staff as a “lean” and “really

 good team.” He also testified: “My experience with our employees has been excellent. The

 response when we want to get something done, when I want to get something done, has been first-

 rate. The skill level is extremely high.”

          34.      Yet despite these glowing reviews, Mr. Seery failed to put a key employee retention

 program into place, and although key employees supported Mr. Seery and the Debtor through the



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 plan process, ultimately Mr. Seery fired most of those employees. It was clear that Mr. Seery was

 firing anyone with perceived loyalty to Mr. Dondero, no doubt leaving remaining staff fearful of

 challenging Mr. Seery, lest they too be fired.

          35.      From the start, and before there was much litigation to speak of, the Court regularly

 referred to Mr. Dondero and related parties as “vexatious litigants,” emboldening the Debtor to do

 the same, even while admitting it had not presented evidence that Mr. Dondero was a vexatious

 litigant. This was plainly a carryover from the ACIS case where the Court labelled Mr. Dondero

 a “transparently” vexatious litigant based pleadings she had only heard about from parties

 opposing Dondero and admittedly had not read herself. Ironically, the first time Mr. Dondero was

 labeled “vexatious” by the Court in the HCM case, he was defending himself from three lawsuits

 initiated by the Debtor and had commented in proposed settlements in the case, but had not himself

 initiated any actions in the case. Thereafter, though, the Debtor and its professionals repeated the

 mantra that Dondero and his companies were vexatious litigants to successfully oppose sharing

 information about the estate with them.

          36.      In addition to the Debtor’s mistreatment of employees, under the control of the

 Independent Board, most of the ordinary checks and balances that the hallmark of bankruptcy were

 ignored. Despite providing regular and robust financial information to the Committee, the Debtor

 inexplicably failed and refused to file quarterly 2015.3 reports, leaving stakeholders, including

 Plaintiffs, in the dark about the value of the estate and the mix of assets it held.   Amplifying the

 lack of transparency, Mr. Seery further engineered transactions to hide the real value of the estate.

          37.      For example, he authorized the Debtor to settle the claims of HabourVest (which

 claims had initially been valued at $0) for $80 million, in order to acquire HarborVest’s interest in

 Highland CLO Funding, Ltd. (“HCLOF”), gain HarborVest’s vote in favor of its Plan, and hide



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 the value of Debtor’s interest in HCLOF by placing it into a non-reporting subsidiary. This created

 another pocket of non-public information because the pleadings supporting the 9019 settlement

 valued the HCLOF interest at $22 million, when, on information and belief, it was worth $40

 million at the time and over $60 million 90 days later when the MGM sale was announced.

          38.      At the same time, Mr. Seery and the Independent Board deliberately shut out equity

 holders from any discussion surrounding the plan of reorganization or HCMLP’s efforts to emerge

 from bankruptcy as a going concern. Indeed, as noted above, Mr. Seery failed to meaningfully

 respond to the many proposals made by residual equity holders to resolve the estate and never

 encouraged any dialogue between creditors and equity holders. These failures only contributed to

 the difficulty of getting stakeholders’ buy-in for a reorganization plan and significantly

 undermined an efficient exit from bankruptcy.

          39.      Worse still, while knowing that HCMLP had sufficient resources to emerge from

 bankruptcy as a going concern (and, on information and belief, while knowing that the estate was

 solvent), Mr. Seery and the Independent Board failed to propose any plan of reorganization that

 contemplated HCMLP’s continued post-confirmation existence. Instead, and inexplicably, the

 very first plan proposed contemplated liquidation of the company, as did all subsequent plans.

          40.      While secretly engineering the total destruction of HCMLP, Mr. Seery also

 privately settled multiple proofs of claim against the estate at inflated levels that were unreasonable

 multiples of the Debtor’s original estimates. He did this notwithstanding the Debtor’s early and

 vehement objection to many of the claims as baseless. But instead of litigating those objections in

 a manner that would have exposed the true value of the claims, on information and belief, Mr.

 Seery settled the claims as a means of brokering sales of the claims at 50-60% of their face values.

 That is, the inflated values softened up claims sellers to be willing to sell. Had the Debtor instead



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 fought the inflated proofs of claim in open court, it could have settled the claims for closer to true

 value and ensured that the estate had sufficient resources to pay them.

          41.      It is also no coincidence that virtually all original proofs of claim were sold to

 buyers that had prior business relationships with Mr. Seery and/or affiliates of Grosvenor

 (company with which Mr. Seery has a long personal history)—buyers that ultimately would be

 positioned to approve a favorable compensation and bonus structure for Mr. Seery.

          42.      That the claims sales happened at all is curious in light of the scant publicly-

 available information about the value of the estate. It would have been impossible, for example,

 for any of the claims buyers to conduct even modest due diligence to ascertain whether the

 purchases made economic sense. In fact, the publicly-available information purported to show a

 net decrease in the estate’s asset value by approximately $200 million in a matter of months during

 the global pandemic. Given the sophistication of the claims-buyers, their purchases of claims at

 prices that exceeded published expected recoveries (according to the schedules then available to

 the public) would only make sense if they obtained inside information regarding the transactions

 undertaken by Debtor management that would justify the transfer pricing.

          43.      And indeed, the claims could and would be monetized for much more than the

 publicly-available information suggested (as only one with inside information would know). In

 October 2022, $250 million was paid to Class 8 holders. That is about 85% of the inflated proofs

 of claim and $90 million more than plan projections. On information and belief, claims buyers

 have thus had an over 170% annualized return thus far, with more to come. On information and

 belief, Mr. Seery will use this “success” to justify an incentive bonus estimated in the range of $30

 million.




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          44.      At the same time, the Claimant Trust has made no distributions to Contingent

 Claimant Trust Interest holders and has argued in various proceedings that no such distributions

 are likely. No wonder. The cost of holding open the estate, including unnecessary litigation costs,

 appears to have exceeded $140 million post-confirmation, and seems geared to ensure that no such

 distributions can occur, even though it can now be projected that the litigation is not needed to pay

 creditors. See Docket No. 3410-1.

          45.      It is worth noting that it appears that virtually all of the claims trades brokered on

 behalf of Committee members seem to have occurred while those entities remained on the

 Committee. Yet at the outset of their service, Committee members were instructed by the United

 States Trustee that “Creditors wishing to serve as fiduciaries on any official committee are advised

 that they may not purchase, sell or otherwise trade in or transfer claims against the Debtor while

 they are committee members absent an order of the Court.” Thus, the claims trades violated

 Committee members’ fiduciary duty to the estate while lining the pockets of Mr. Seery and other

 Debtor professionals, to the detriment of creditors and residual equity holders.

          46.      The sales of claims were not the only transactions shrouded in secrecy. As further

 detailed in other litigation, assets were sold with insufficient disclosures, no competitive bidding,

 no data room, and without inviting equity (which may have at one time had the knowledge to make

 the highest bid) to participate in the sales process. Indeed, on occasion assets were sold for

 amounts less that Mr. Dondero’s written offers. This exacerbated the harms caused by the lack of

 transparency characterized by the Court’s indifference to the Debtor’s complete failure to abide its

 Rule 2015 disclosure obligations.

          47.      In short, the lack of transparency combined with at least the appearance of bias, if

 not actual bias of the Bankruptcy Court, emboldened and enabled an opportunistic CRO to



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 manipulate the bankruptcy to enrich himself, his long-time business associates, and the

 professionals continuing to litigate to collect fees to pay claims that could have been resolved with

 money left over for equity but for that manipulation.

                                      STATEMENT OF FACTS

 A.       Plaintiffs Hold Contingent Claimant Trust Interests

          48.      As of the Petition Date, HCMLP had three classes of limited partnership interests

 (Class A, Class B, and Class C). See Disclosure Statement [Docket No. 1473], ¶ F(4).

          49.      The Class A interests were held by Dugaboy, Mark Okada (“Okada”), personally and

 through family trusts, and Strand Advisors, Inc. (“Strand”), HCMLP’s general partner. The Class B

 and C interests were held by Hunter Mountain. Id.

          50.      In the aggregate, HCMLP’s limited partnership interests were held: (a) 99.5% by

 Hunter Mountain; (b) 0.1866% by Dugaboy, (c) 0.0627% by Okada, and (d) 0.25% by Strand.

          51.      On February 22, 2021, the Court entered the Order (i) Confirming the Fifth Amended

 Plan of Reorganization (as Modified) and (ii) Granting Related Relief [Docket No. 1943] (the

 “Confirmation Order”) [Docket No. 1808] (the “Plan”).

          52.      In the Plan, General Unsecured Claims are Class 8 and Subordinated Claims are Class

 9. See Plan, Article III, ¶ H(8) and (9).

          53.      In the Plan, HCMLP classified Hunter Mountain’s Class B Limited Partnership

 Interest and Class C Limited Partnership Interest (together, Class B/C Limited Partnership Interests)

 as Class 10, separately from that of the holders of Class A Limited Partnership Interests, which are

 Class 11 and include Dugaboy’s Limited Partnership Interest. See Plan, Article III, ¶ H(10) and (11).




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          54.      According to the Plan, Contingent Claimant Trust Interests distributed to the Holders

 of Class A Limited Partnership Interests are subordinate to the Contingent Claimant Trust Interests

 distributed to the Holders of Class B/C Limited Partnership Interests. See Plan, Article I, ¶44.

          55.      In the Confirmation Order, the Court found that the Plan properly separately classified

 those equity interests because they represent different types of equity security interests in HCMLP

 and different payment priorities pursuant to that certain Fourth Amended and Restated Agreement of

 Limited Partnership of Highland Capital Management, L.P., dated December 24, 2015, as amended

 (the “Limited Partnership Agreement”). Confirmation Order, ¶36; Limited Partnership Agreement,

 §3.9 (Liquidation Preference).

          56.      The Court overruled objections to the Plan lodged by entities it deemed related to Mr.

 Dondero, including Dugaboy. In doing so, the Court acknowledged that Dugaboy has a residual

 ownership interest in HCMLP and therefore “technically” had standing to object to the Plan. See

 Confirmation Order, ¶¶ 17-18.

          57.      Based on the Debtor’s financial projections at the time of confirmation, however, the

 Court found that the plan objectors’ “economic interests in the Debtor appear to be extremely remote.”

 Id., ¶ 19; see also id., ¶ 17 (“the remoteness of their economic interests is noteworthy”).

          58.      The Plan went Effective (as defined in the Plan) on August 11, 2021, and HCMLP

 became the Reorganized Debtor (as defined in the Plan) on the Effective Date. See Notice of

 Occurrence of the Effective Date of Confirmed Fifth Amended Plan of Reorganization of Highland

 Capital Management, L.P. [Docket No. 2700].

          59.      The Plan created the Claimant Trust, which was established for the benefit of

 Claimant Trust Beneficiaries, which is defined to mean:

          the Holders of Allowed General Unsecured Claims, Holders of Allowed Subordinated
          Claims, including, upon Allowance, Disputed General Unsecured Claims and Disputed


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          Subordinated Claims that become Allowed following the Effective Date, and, only upon
          certification by the Claimant Trustee that the Holders of such Claims have been paid
          indefeasibly in full plus, to the extent all Allowed unsecured Claims, excluding
          Subordinated Claims, have been paid in full post-petition interest from the Petition Date at
          the Federal Judgment Rate in accordance with the terms and conditions set forth in the
          Claimant Trust Agreement and all Disputed Claims in Class 8 and Class 9 have been
          resolved, Holders of Allowed Class B/C Limited Partnership Interests, and Holders of
          Allowed Class A Limited Partnership Interests

 See Plan, Article I, ¶27; see also Claimant Trust Agreement, Article I, 1.1(h).

          60.      Plaintiffs hold Contingent Claimant Trust Interests, which will vest into Claimant

 Trust Interests upon indefeasible payment of Allowed Claims.

          61.      Depending on the realization of asset value less debts, Plaintiffs may become

 Claimant Trust Beneficiaries.

          62.      In its Post Confirmation Quarterly Report for the Third Quarter of 2022 [Docket

 No. 3582], Debtor stated that it distributed $255,201,228 to holders of general unsecured claims,

 which is 64% of the total allowed general unsecured claims of $387,485,568. This amount is far

 greater than was anticipated at the time of confirmation of the Plan.

 B.       Debtor Has Failed To Disclose Claimant Trust Assets

          63.      Upon information and belief, the value of the estate as held in the Claimant Trust

 has changed markedly since Plan confirmation. Not only have many of the assets held by the

 estate fluctuated in value based on market conditions, with some increasingly in value

 dramatically, but Plaintiffs are aware that many of the major assets of the estate have been

 liquidated or sold since Plan confirmation, locking in increased value to the estate.

          64.      The estate is solvent and has always been solvent. Nonetheless, Mr. Seery has

 remained committed to maximizing professional fees and incentive fees by increasing the total

 claims amount to justify litigation to satisfy those inflated claims.




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          65.      As noted above, by June of 2022, starting with $125 million in cash, the estate

 liquidated other assets of over $416 million, building a cash war chest of over $541 million. Thus,

 with the remaining less-liquid assets, the total value of the estate’s assets as of June 2022 was over

 $688 million.

          66.      Contrasting those assets with the claims against the estate demonstrates that further

 collection of assets was (and is) unnecessary.

          67.      As set forth above, while the inflated face amount of the claims was $365 million,

 those claims were sold for about $150 million. The estate therefore easily had the resources to retire

 the claims for the sale amounts, leaving an operating business in the hands of its equity owners.


          68.      Instead, Mr. Seery liquidated estate assets at less-than-optimal prices, without

 competitive process, without including residual equity holders, and in all cases required strict non-

 disclosure agreements from the buyers to prevent any information flowing to the public, the

 residual equity, or the Court. This uncharacteristic secrecy enabled Mr. Seery and the professionals

 to maintain the delicate balance of keeping just enough assets to pay professionals and incentive

 fees but still maintain the pretense that further litigation was needed.

          69.      Each effort by Plaintiffs, Mr. Dondero and related companies to obtain information

 to attempt to stop the continued looting has been vigorously opposed, and ultimately rejected by

 an apparently biased Court. Plaintiffs were unable to force the Debtor to provide the most basic

 of reports, including Rule 2015 statements, and Plaintiffs’ efforts to obtain even the most basic

 details regarding asset sales and professional fees have all been denied. Rather, such details are in

 the hands of a select few, such as the Oversight Board of the Claimant Trust.

          70.      The Plan requires the Claimant Trustee to determine the fair market value of the

 Claimant Trust Assets as of the Effective Date and to notify the applicable Claimant Trust

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 Beneficiaries of such a valuation, as well as distribute tax information to Claimant Trust

 Beneficiaries as appropriate. See Plan, ¶Art. IV(B)(9).

          71.      But no like information regarding valuation of the Claimant Trust Assets is

 available to Plaintiffs as holders of Contingent Claimant Trust Interests, even though Plaintiffs, as

 contingent beneficiaries of a Delaware statutory trust, are entitled to financial information relating

 to the trust.

 C.       Plaintiffs Are Kirschner Adversary Proceeding Defendants

          72.      On October 15, 2021, Marc S. Kirschner, as Litigation Trustee of the Litigation

 Sub-Trust, commenced the Kirschner Adversary Proceeding against twenty-three defendants,

 including Plaintiffs, alleging various causes of action. See Marc S. Kirschner, as Litigation

 Trustee of the Litigation Sub-Trust vs. James Dondero, et al., Adv. Pro. No. 21-03076-sgj, Adv.

 Proc. No. 21-03076, Docket No. 1 (as amended by Docket No. 158).

          73.      The Litigation Sub-Trust was established within the Claimant Trust as a wholly

 owned subsidiary of the Claimant Trust for the purpose of investigating, prosecuting, settling, or

 otherwise resolving the Estate Claims, with any proceeds therefrom to be distributed by the

 Litigation Sub-Trust to the Claimant Trust for distribution to the Claimant Trust Beneficiaries. See

 Plan, Article IV, ¶ (B)(4).

          74.      Any recovery from the Kirschner Adversary Proceeding will be distributed to

 Claimant Trust Beneficiaries.

          75.      Depending on the realization of asset value less debts, Plaintiffs may become

 Claimant Trust Beneficiaries.

          76.      The Litigation Sub-Trust is pursuing claims against Plaintiffs in the Kirschner

 Adversary Proceeding, which, if they become Claimant Trust Beneficiaries, would be the



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 recipients of distributions of such recovery (less the cost of litigation). Therefore, Plaintiffs need

 the requested information in order to properly analyze and evaluate the claims asserted against

 them in the Kirschner Adversary Proceeding and to determine whether those claims have any

 validity.

                                   FIRST CLAIM FOR RELIEF
                (Disclosures of Claimant Trust Assets and Request for Accounting)

          77.      Plaintiffs repeat and re-allege the allegations in each of the foregoing paragraphs as

 though fully set forth herein.

          78.      Due to the lack of transparency into the assets of the Claimant Trust, Plaintiffs are

 unable to determine whether their Contingent Claimant Trust Interests may vest into Claimant Trust

 Interests.

          79.      Certain information about the Claimant Trust Assets has already been provided to

 others, including Claimant Trust Beneficiaries and the Oversight Board for the Claimant Trust.

          80.      Information about the Claimant Trust Assets would help Plaintiffs evaluate whether

 settlement of the Kirschner Adversary Proceeding is feasible, which would further the administration

 of the bankruptcy estate, benefitting all parties in interest.

          81.      This Court specifically retained jurisdiction to ensure that distributions to Holders

 of Allowed Equity Interests are accomplished pursuant to the provisions of the Plan. See Plan,

 Article XI.

          82.      The Plan provides that distributions to Allowed Equity Interests will be

 accomplished through the Claimant Trust and Contingent Claimant Trust Interests. See Plan

 Article III, (H)(10) and (11).

          83.      The Defendants should be compelled to provide information regarding the Claimant

 Trust assets, including the amount of cash and the remaining non-cash assets, and its liabilities.


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                                SECOND CLAIM FOR RELIEF
                (Declaratory Judgment Regarding Value of Claimant Trust Assets)

          84.      Plaintiffs repeat and re-allege the allegations in each of the foregoing paragraphs as

 though fully set forth herein.

          85.      Once Defendants are compelled to provide information about the Claimant Trust

 assets, Plaintiffs seek a determination from the Court of the relative value of the Claimant Trust

 assets compared to the bankruptcy estate obligations.

          86.      If the value of the Claimant Trust assets exceeds the obligations of the estate, then

 several currently pending adversary proceedings aimed at recovering value for HCMLP’s estate

 are not necessary to pay creditors in full. As such, the pending adversary proceedings could be

 brought to a swift close, allowing creditors to be paid and the Bankruptcy Case to be brought to a

 close.

          87.      In addition, professionals associated with the estate—including but not limited to

 Mr. Seery, Pachulski, Development Specialists, Inc., Kurtzman Carson Consultants, Quinn

 Emanuel, Mr. Kirschner, and Hayward & Associates—are continuing to incur millions of dollars

 a month in professional fees, thereby further eroding an estate that is either solvent or could be

 bridged by a settlement that would pay the spread between current assets and current allowed

 creditor claims. Fees for Pachulski range from $460 an hour for associates to $1,265 per hour for

 partners, and fees for Quinn Emanuel lawyers range from $830 an hour for first year associate to

 over $2100 per hour for senior partners. At these rates, depletion of the estate will occur rapidly.

                             THIRD CLAIM FOR RELIEF
     (Declaratory Judgment and Determination Regarding Nature of Plaintiff’s Interests)

          88.      Plaintiffs repeat and re-allege the allegations in each of the foregoing paragraphs as

 though fully set forth herein.



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          89.      In the event that the Court determines that the Claimant Trust assets exceed the

 obligations of the bankruptcy estate in an amount sufficient so that all Allowable Claims may be

 indefeasibly paid, Plaintiffs seek a declaration and a determination that the conditions are such that

 their Contingent Claimant Trust Interests are likely to vest into Claimant Trust Interests, making

 them Claimant Trust Beneficiaries.6

          90.      Such a declaration and a determination by the Court would further assist parties in

 interest, such as Plaintiffs, to ascertain whether the estate is capable of paying all creditors in full

 and also paying some amount to residual interest holders, as contemplated by the Plan and the

 Claimant Trust Agreement.

          WHEREFORE, Plaintiffs pray for judgment as follows:

          (i)      On the First Claim for Relief, Plaintiffs seek an order compelling Defendants to

                   disclose the assets currently held in the Claimant Trust; and

          (ii)     On the Second Claim for Relief, Plaintiffs seek a determination of the relative value

                   of those assets in comparison to the claims of the Claimant Trust Beneficiaries; and

          (iii)    On the Third Claim for Relief, Plaintiffs seek a determination that the conditions

                   are such that all current Claimant Trust Beneficiaries could be paid in full, with

                   such payment causing Plaintiffs’ Contingent Claimant Trust Interests to vest into

                   Claimant Trust Interests; and




 6
  To be clear, Plaintiffs do not ask the Court to determine that they are Claimant Trust Beneficiaries or otherwise to
 convert their contingent interests into non-contingent interests. All of that must be done according to the terms of the
 Plan and the Claimant Trust Agreement.

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          (iv)     Such other and further relief as this Court deems just and proper.

 Dated: February __, 2023

                                                 Respectfully submitted,


                                                 STINSON LLP

                                                 Draft
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                                                 and the Hunter Mountain Investment Trust




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    EXHIBIT A-1




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Douglas S. Draper
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                                                                                                                     (1926-2013)




                                                              October 5, 2021


           Mrs. Nan R. Eitel
           Office of the General Counsel
           Executive Office for U.S. Trustees
           20 Massachusetts Avenue, NW
           8th Floor
           Washington, DC 20530
                       Re:         Highland Capital Management, L.P. – USBC Case No. 19-34054sgj11
           Dear Nan,
                    The purpose of this letter is to request that your office investigate the circumstances
           surrounding the sale of claims by members of the Official Committee of Unsecured Creditors
           (“Creditors’ Committee”) in the bankruptcy of Highland Capital Management, L.P. (“Highland”
           or “Debtor”). As described in detail below, there is sufficient evidence to warrant an immediate
           investigation into whether non-public inside information was furnished to claims purchasers.
           Further, there is reason to suspect that selling Creditors’ Committee members may have violated
           their fiduciary duties to the estate by tying themselves to claims sales at a time when they should
           have been considering meaningful offers to resolve the bankruptcy. Indeed, three of four
           Committee members sold their claims without advance disclosure, in violation of applicable
           guidelines from the U.S. Trustee’s Office. This letter contains a description of information and
           evidence we have been able to gather, and which we hope your office will take seriously.
                    By way of background, Highland, an SEC-registered investment adviser, filed for
           Chapter 11 bankruptcy protection in the United States Bankruptcy Court for the District of
           Delaware on October 16, 2019, listing over $550 million in assets and net $110 million in
           liabilities. The case eventually was transferred to the Northern District of Texas, to Judge Stacey
           G.C. Jernigan. Highland’s decision to seek bankruptcy protection primarily was driven by an
           expected net $110 million arbitration award in favor of the “Redeemer Committee.”1 After
           nearly 30 years of successful operations, Highland and its co-founder, James Dondero, were
           advised by Debtor’s counsel that a court-approved restructuring of the award in Delaware was in
           Highland’s best interest.

           1
             The “Redeemer Committee” was a group of investors in a Debtor-managed fund called the “Crusader Fund” that
           sought to redeem their interests during the global financial crisis. To avoid a run on the fund at low-watermark
           prices, the fund manager temporarily suspended redemptions, which resulted in a dispute between the investors and
           the fund manager. The ultimate resolution involved the formation of the “Redeemer Committee” and an orderly
           liquidation of the fund, which resulted in the investors receiving their investment plus a return versus the 20 cents on
           the dollar they would have received had the fund been liquidated when the redemption requests were made.




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        I became involved in Highland’s bankruptcy through my representation of The Dugaboy
 Investment Trust (“Dugaboy”), an irrevocable trust of which Mr. Dondero is the primary
 beneficiary. Although there were many issues raised by Dugaboy and others in the case where
 we disagreed with the Court’s rulings, we will address those issues through the appeals process.
        From the outset of the case, the Creditors’ Committee and the U.S. Trustee’s Office in
 Dallas pushed to replace the existing management of the Debtor. To avoid a protracted dispute
 and to facilitate the restructuring, on January 9, 2020, Mr. Dondero reached an agreement with
 the Creditors’ Committee to resign as the sole director of the Debtor’s general partner, on the
 condition that he would be replaced by three independent directors who would act as fiduciaries
 of the estate and work to restructure Highland’s business so it could continue operating and
 emerge from bankruptcy as a going concern. The agreement approved by the Bankruptcy Court
 allowed Mr. Dondero, UBS (which held one of the largest claims against the estate), and the
 Redeemer Committee each to choose one director and also established protocols for operations
 going forward. Mr. Dondero chose The Honorable Former Judge Russell F. Nelms, UBS chose
 John Dubel, and the Redeemer Committee chose James Seery.2 It was expected that the new,
 independent management would not only preserve Highland’s business but would also preserve
 jobs and enable continued collaboration with charitable causes supported by Highland and Mr.
 Dondero.
         Judge Jernigan confirmed Highland’s Fifth Amended Plan of Reorganization on February
 22, 2021 (the “Plan”). We have appealed certain aspects of the Plan and will rely upon the Fifth
 Circuit Court of Appeals to determine whether our arguments have merit. I write instead to call
 to your attention the possible disclosure of non-public information by Committee members and
 other insiders and to seek review of actions by Committee members that may have breached their
 fiduciary duties—both serious abuses of process.
            1.      The Bankruptcy Proceedings Lacked The Required Transparency, Due In
                    Part To the Debtor’s Failure To File Rule 2015.3 Reports
         Congress, when it drafted the Bankruptcy Code and created the Office of the United
 States Trustee, intended to ensure that an impartial party oversaw the enforcement of all rules
 and guidelines in bankruptcy. Since that time, the Executive Office for United States Trustees
 (the “EOUST”) has issued guidance and published rules designed to effectuate that purpose. To
 that end, EOUST recently published a final rule entitled “Procedures for Completing Uniform
 Periodic Reports in Non-Small Business Cases Filed Under Chapter 11 of Title 11” (the
 “Periodic Reporting Requirements”). The Periodic Reporting Requirements reaffirmed the
 EOUST’s commitment to maintaining “uniformity and transparency regarding a debtor’s
 financial condition and business activities” and “to inform creditors and other interested parties
 of the debtor’s financial affairs.” 85 Fed. Reg. 82906. The goal of the Periodic Reporting
 Requirements is to “assist the court and parties in interest in ascertaining, [among other things],
 the following: (1) Whether there is a substantial or continuing loss to or diminution of the
 bankruptcy estate; . . . (3) whether there exists gross mismanagement of the bankruptcy estate; . .
 . [and] (6) whether the debtor is engaging in the unauthorized disposition of assets through sales
 or otherwise . . . .” Id.
         Transparency has long been an important feature of federal bankruptcy proceedings. The
 EOUST instructs that “Debtors-in-possession and trustees must account for the receipt,
 administration, and disposition of all property; provide information concerning the estate and the
 estate’s administration as parties in interest request; and file periodic reports and summaries of a
 debtor’s business, including a statement of receipts and disbursements, and such other
 2
     See Appendix, pp. A-3 - A-14.



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 information as the United States Trustee or the United States Bankruptcy Court requires.” See
 http://justice.gov/ust/chapter-11-information (citing 11 U.S.C. § 1106(a)(1), 1107(a)). And
 Federal Rule of Bankruptcy Procedure 2015.3(a) states that “the trustee or debtor in possession
 shall file periodic financial reports of the value, operations, and profitability of each entity that is
 not a publicly traded corporation or a debtor in a case under title 11, and in which the estate
 holds a substantial or controlling interest.” This rule requires the trustee or a debtor in
 possession to file a report for each non-debtor affiliate prior to the first meeting of creditors and
 every six months thereafter until the effective date of a plan of reorganization. Fed R. Bankr. P.
 2015.3(b). Importantly, the rule does not absolve a debtor from filing reports due prior to the
 effective date merely because a plan has become effective.3 Notably, the U.S. Trustee has the
 duty to ensure that debtors in possession properly and timely file all required reports. 28 U.S.C.
 § 1112(b)(4)(F), (H).
         The entire purpose of these guidelines and rules is to ensure that external stakeholders
 can fairly evaluate the progress of bankruptcy proceedings, including compliance with legal
 requirements. In fact, 11 U.S.C. § 1102(b)(3) requires a creditors’ committee to share
 information it receives with those who “hold claims of the kind represented by the committee”
 but who are not appointed to the committee. In the case of the Highland bankruptcy, the
 transparency that the EOUST mandates and that creditors’ committees are supposed to facilitate
 has been conspicuously absent. I have been involved in a number of bankruptcy cases
 representing publicly-traded debtors with affiliated non-debtor entities, much akin to Highland’s
 structure here. In those cases, when asked by third parties (shareholders or potential claims
 purchasers) for information, I directed them to the schedules, monthly reports, and Rule 2015.3
 reports. In this case, however, no Rule 2015.3 reports were filed, and financial information that
 might otherwise be gleaned from the Bankruptcy Court record is unavailable because a large
 number of documents were filed under seal or heavily redacted. As a result, the only means to
 make an informed decision as to whether to purchase creditor claims and what to pay for those
 claims had to be obtained from non-public sources.
         It bears repeating that the Debtor and its related and affiliated entities failed to file any of
 the reports required under Bankruptcy Rule 2015.3. There should have been at least four such
 reports filed on behalf of the Debtor and its affiliates during the bankruptcy proceedings. The
 U.S. Trustee’s Office in Dallas did nothing to compel compliance with the rule.
         The Debtor’s failure to file the required Rule 2015.3 reports was brought to the attention
 of the Debtor, the Bankruptcy Court, and the U.S. Trustee’s Office. During the hearing on Plan
 confirmation, the Debtor was questioned about the failure to file the reports. The sole excuse
 offered by the Debtor’s Chief Restructuring Officer and Chief Executive Officer, Mr. Seery, was
 that the task “fell through the cracks.”4 This excuse makes no sense in light of the years of
 bankruptcy experience of the Debtor’s counsel and financial advisors. Nor did the Debtor or its
 counsel ever attempt to show “cause” to gain exemption from the reporting requirement. That is
 because there was no good reason for the Debtor’s failure to file the required reports. In fact,
 although the Debtor and the Creditors’ Committee often refer to the Debtor’s structure as a
 “byzantine empire,” the assets of the estate fall into a handful of discrete investments, most of
 which have audited financials and/or are required to make monthly or quarterly net-asset-value
 or fair-value determinations.5 Rather than disclose financial information that was readily
 3
   After notice and a hearing, the bankruptcy court may grant relief from the Rule 2015.3 disclosure requirement “for
 cause,” including that “the trustee or debtor in possession is not able, after a good faith effort, to comply with th[e]
 reporting requirements, or that the information required by subdivision (a) is publicly available.” Fed. R. Bankr.
 2015.3(d).
 4
   See Doc. 1905 (Feb. 3, 2021 Hr’g Tr. at 49:5-21).
 5
   During a deposition, the Debtor’s Chief Restructuring Officer, Mr. Seery, identified most of the Debtor’s assets
 “[o]ff the top of [his] head” and acknowledged that he had a subsidiary ledger that detailed the assets held by entities



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 available, the Debtor appears to have taken deliberate and strategic steps to avoid transparency,
 and the U.S. Trustee’s Office did nothing to rectify the problem.
          By contrast, the Debtor provided the Creditors’ Committee with robust weekly
 information regarding (i) transactions involving assets held directly on the Debtor’s balance
 sheet or the balance sheet of the Debtor’s wholly owned subsidiaries, (ii) transactions involving
 entities managed by the Debtor and in which the Debtor holds a direct or indirect interest, (iii)
 transactions involving entities managed by the Debtor but in which the Debtor does not hold a
 direct or indirect interest, (iv) transactions involving entities not managed by the Debtor but in
 which the Debtor holds a direct or indirect interest, (v) transactions involving entities not
 managed by the Debtor and in which the Debtor does not hold a direct or indirect interest, (vi)
 transactions involving non-discretionary accounts, and (vii) weekly budget-to-actuals reports
 referencing non-Debtor affiliates’ 13-week cash flow budget. In other words, the Committee had
 real-time, actual information with respect to the financial affairs of non-debtor affiliates, and this
 is precisely the type of information that should have been disclosed to the public pursuant to
 Rule 2015.3.
         After the claims at issue were sold, I filed a Motion to Compel compliance with the
 reporting requirement. Judge Jernigan held a hearing on the motion on June 10, 2021.
 Astoundingly, the U.S. Trustee’s Office took no position on the Motion and did not even bother
 to attend the hearing. Ultimately, on September 7, 2021, the Court denied the Motion as “moot”
 because the Plan had by then gone effective. I have appealed that ruling because, again, the Plan
 becoming effective does not alleviate the Debtor’s burden of filing the requisite reports.
         The U.S. Trustee’s Office also failed to object to the Court’s order confirming the
 Debtor’s Plan, in which the Court appears to have released the Debtor from its obligation to file
 any reports after the effective date of the Plan that were due for any period prior to the effective
 date, an order that likewise defeats any effort to demand transparency from the Debtor. The U.S.
 Trustee’s failure to object to this portion of the Court’s order is directly at odds with the spirit
 and mandate of the Periodic Reporting Requirements, which recognize the U.S. Trustee’s duty to
 ensure that debtors timely file all required reports.
         2.      There Was No Transparency Regarding The Financial Affairs Of Non-
                 Debtor Affiliates Or Transactions Between The Debtor And Its Affiliates
         The Debtor’s failure to file Rule 2015.3 reports for affiliate entities created additional
 transparency problems for interested parties and creditors wishing to evaluate assets held in non-
 Debtor subsidiaries. In making an investment decision, it would be important to know if the
 assets of a subsidiary consisted of cash, marketable securities, other liquid assets, or operating
 businesses/other illiquid assets. The Debtor’s failure to file Rule 2015.3 reports hid from public
 view the composition of the assets and the corresponding liabilities at the subsidiary level.
 During the course of proceedings, the Debtor sold $172 million in assets, which altered the asset
 mix and liabilities of the Debtor’s affiliates and controlled entities. Although Judge Jernigan
 held that such sales did not require Court approval, a Rule 2015.3 report would have revealed the
 mix of assets and the corresponding reduction in liabilities of the affiliated or controlled entity.
 In the Appendix, I have included a schedule of such sales.
        Of particular note, the Court authorized the Debtor to place assets that it acquired with
 “allowed claim dollars” from HarbourVest (a creditor with a contested claim against the estate)
 into a specially-created non-debtor entity (“SPE”).6 The Debtor’s motion to settle the

 below the Debtor. See Appendix, p. A-19 (Jan. 29, 2021 Dep. Tr. at 22:4-10; 23:1-29:10).
 6
   Prior to Highland’s bankruptcy, HarbourVest had invested $80 million into a Highland fund called Acis Loan
 Funding, later rebranded as Highland CLO Funding, Ltd. (“HCLOF”). A dispute later arose between HarbourVest



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 HarbourVest claim valued the asset acquired (HarbourVest’s interest in HCLOF) at $22 million.
 In reality, that asset had a value of $40 million, and had the asset been placed in the Debtor
 entity, its true value would have been reflected in the Debtor’s subsequent reporting. By instead
 placing the asset into an SPE, the Debtor hid from public view the true value of the asset as well
 as information relating to its disposition; all the public saw was the filed valuation of the asset.
 The U.S. Trustee did not object to the Debtor’s placement of the HarbourVest assets into an SPE
 and apparently just deferred to the judgment of the Creditors’ Committee about whether this was
 appropriate.7 Again, when the U.S. Trustee’s Office does not require transparency, lack of
 transparency significantly increases the need for non-public information. Because the
 HarbourVest assets were placed in a non-reporting entity, no potential claims buyer without
 insider information could possibly ascertain how the acquisition would impact the estate.
         3.       The Plan’s Improper Releases And Exculpation Provisions Destroyed Third-
                  Party Rights
         In addition, the Debtor’s Plan contains sweeping release, exculpation provisions, and a
 channeling injunction requiring that any permitted causes of action to be vetted and resolved by
 the Bankruptcy Court. On their face, these provisions violate Pacific Lumber, in with the United
 States Court of Appeals for the Fifth Circuit rejected similarly broad exculpation clauses. The
 U.S. Trustee’s Office in Dallas has, in all cases but this one, vigorously protected the rights of
 third parties against such exculpation clauses. In this case, the U.S. Trustee’s Office objected to
 the Plan, but it did not pursue that objection at the confirmation hearing (nor even bother to
 attend the first day of the hearing),8 nor did it appeal the order of the Bankruptcy Court
 approving the Plan and its exculpation clauses.
         As a result of this failure, third-party investors in entities managed by the Debtor are now
 barred from asserting or channeled into the Bankruptcy Court to assert any claim against the
 Debtor or its management for transactions that occurred at the non-debtor affiliate level. Those
 investors’ claims are barred notwithstanding that they were not notified of the releases and have
 never been given any information with which to evaluate their potential claims, nor given the
 opportunity to “opt out.” Conversely, the releases insulate claims purchasers from the risk of
 potential actions by investors in funds managed by the Debtor (for breach of fiduciary duty,
 diminution in value, or otherwise). These releases are directly at odds with investors’
 expectations when they invest in managed funds—i.e., that fund managers will act in a fiduciary
 capacity to maximize investors’ returns and that investors will have recourse for any failure to do
 so. While the agreements executed by investors may limit the exposure of fund managers,
 typically those provisions require the fund manager to obtain a third-party fairness opinion where
 there is a conflict between the manager’s duty to the estate and his duty to fund investors.
        As an example, the Court approved the settlement of UBS’s claim against the Debtor and
 two funds managed by the Debtor (collectively referred to as “MultiStrat”). Pursuant to that
 settlement, MultiStrat agreed to pay UBS $18.5 million and represented that it was advised by
 “independent legal counsel” in the negotiation of the settlement.9 That representation is untrue;

 and Highland, and HarbourVest filed claims in the Highland bankruptcy approximating $300 million in relation to
 damages allegedly due to HarbourVest as a result of that dispute. Although the Debtor initially placed no value on
 HarbourVest’s claim (the Debtor’s monthly operating report for December 2020 indicated that HarbourVest’s
 allowed claims would be $0), eventually the Debtor entered into a settlement with HarbourVest—approved by the
 Bankruptcy Court—which entitled HarbourVest to $80 million in claims. In return, HarbourVest agreed to convey
 its interest in HCLOF to the SPE designated by the Debtor and to vote in favor of the Debtor’s Plan.
 7
   Dugaboy has appealed the Bankruptcy Court’s ruling approving the placement of the HarbourVest assets into a
 non-reporting SPE.
 8
   See Doc. 1894 (Feb. 2, 2021 Hr’g Tr. at 10:7-14).
 9
   See Doc. 2389 (Order Approving Debtor’s Settlement With UBS Securities LLC and UBS AG London Branch) at



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 MultiStrat did not have separate legal counsel and instead was represented only by the Debtor’s
 counsel.10 If that representation and/or the terms of the UBS/MultiStrat settlement in some way
 unfairly impacted MultiStrat’s investors, they now have no recourse against the Debtor. The
 release and exculpation provisions in Highland’s Plan do not afford third parties any meaningful
 recourse to third parties, even when they are negatively impacted by misrepresentations of the
 type contained in the UBS/MultiStrat settlement or when their interests are impaired by fund
 managers’ failure to obtain fairness opinions to resolve conflicts of interest.
         The U.S. Trustee’s Office recently has argued in the context of the bankruptcy of Purdue
 Pharmaceuticals that release and exculpations clauses akin to those contained in Highland’s Plan
 violate both the Bankruptcy Code and the Due Process Clause of the United States
 Constitution.11 It has been the U.S. Trustee’s position that where, as here, third parties whose
 claims are being released did not receive notice of the releases and had no way of knowing,
 based on the Plan’s language, what claims were extinguished, third-party releases are contrary to
 law.12 This position comports with Fifth Circuit case law, which makes clear that releases must
 be consensual, and that the released party must make a substantial contribution in exchange for
 any release.      Highland’s Plan does not provide for consent by third parties (or an opt-out
 provision), nor does it require that released parties provide value for their releases. Under these
 circumstances, it is difficult to understand why the U.S. Trustee’s Office in Dallas did not lodge
 an objection to the Plan’s release and exculpation provisions. Several parties have appealed this
 issue to the Fifth Circuit.
         4.       The Lack Of Transparency Facilitated Potential Insider Trading
          The biggest problem with the lack of transparency at every step is that it created a need
 for access to non-public confidential information. The Debtor (as well as its advisors and
 professionals) and the Creditors’ Committee (and its counsel) were the only parties with access
 to critical information upon which any reasonable investor would rely. But the public did not.
         In the context of this non-transparency, it is notable that three of the four members of the
 Creditors’ Committee and one non-committee member sold their claims to two buyers, Muck
 Holdings LLC (“Muck”) and Jessup Holdings LLC (“Jessup”). The four claims that were sold
 comprise the largest four claims in the Highland bankruptcy by a substantial margin,13
 collectively totaling almost $270 million in Class 8 claims and $95 million in Class 9 claims14:
   Claimant                         Class 8 Claim             Class 9 Claims             Date Claim Settled
   Redeemer Committee               $136,696,610              N/A                        October 28, 2020
   Acis Capital                     $23,000,000               N/A                        October 28, 2020
   HarbourVest                      $45,000,000               $35,000,000                January 21, 2021
   UBS                              $65,000,000               $60,000,000                May 27, 2021
   TOTAL:                           $269,6969,610             $95,000,000
        Muck is owned and controlled by Farallon Capital Management (“Farallon”), and we
 have reason to believe that Jessup is owned and controlled by Stonehill Capital Management
 (“Stonehill”). As the purchasers of the four largest claims in the bankruptcy, Muck (Farallon)

 Ex. 1, §§ 1(b), 11; see Appendix, p. A-57.
 10
    The Court’s order approving the UBS settlement is under appeal in part based on MultiStrat’s lack of independent
 legal counsel.
 11
    See Memorandum of Law in Support of United States Trustee’s Expedited Motion for Stay of Confirmation
 Order, In re Purdue Pharma, L.P., Case No. 19-23649 (RDD) (Bankr. S.D.N.Y.), Doc. 3778 at 17-25.
 12
    See id. at 22.
 13
    See Appendix, p. A-25.
 14
    Class 8 consists of general unsecured claims; Class 9 consists of subordinated claims.



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 and Jessup (Stonehill) will oversee the liquidation of the Reorganized Debtor and the payment
 over time to creditors who have not sold their claims.
         This is concerning because there is substantial evidence that Farallon and Stonehill may
 have been provided material, non-public information to induce their purchase of these claims.15
 In particular, there are three primary reasons we believe that non-public information was made
 available to facilitate these claims purchases:
                  The scant publicly-available information regarding the Debtor’s estate ordinarily
                   would have dissuaded sizeable investment in purchases of creditors’ claims;
                  The information that actually was publicly available ordinarily would have
                   compelled a prudent investor to conduct robust due diligence prior to purchasing
                   the claims;

                  Yet these claims purchasers spent in excess of $100 million (and likely closer to
                   $150 million) on claims, ostensibly without any idea of what they were
                   purchasing.
          We believe the claims purchases of Stonehill and Farallon can be summarized as follows:
      Creditor             Class 8         Class 9        Purchaser                       Purchase Price
      Redeemer            $137.0          $0.0            Stonehill                      $78.016
      ACIS                $23.0           $0.0            Farallon                       $8.0
      HarbourVest         $45.0           $35.0           Farallon                       $27.0
      UBS                 $65.0           $60.0           Stonehill and Farallon         $50.017


       To elaborate on our reasons for suspicion, an analysis of publicly-available information
 would have revealed to any potential investor that:
                  There was a $200 million dissipation in the estate’s asset value, which started at a
                   scheduled amount of $556 million on October 16, 2019, then plummeted to $328
                   million as of September 30, 2020, and then increased only slightly to $364 million
                   as of January 31, 2021.18

 15
    A timeline of relevant events can be found at Appendix, p. A-26.
 16
    See Appendix, pp. A-70 – A-71. Because the transaction included “the majority of the remaining investments held
 by the Crusader Funds,” the net amount paid by Stonehill for the Claims was approximately $65 million.
 17
    Based on the publicly-available information at the time Stonehill and Farallon purchased the UBS claim, the
 purchase made no economic sense. At the time, the publicly-disclosed Plan Analysis estimated that there would be
 a 71.32% distribution to Class 8 creditors and a 0.00% distribution to Class 9 creditors, which would mean that
 Stonehill and Farallon paid $50 million for claims worth only $46.4 million. See Appendix, p. A-28. If, however,
 Stonehill and Farallon had access to information that only came to light later—i.e., that the estate was actually worth
 much, much more (between $472-600 million as opposed to $364 million)—then it makes sense that they would pay
 what they did to buy the UBS claim.
 18
    Compare Jan. 31, 2021 Monthly Operating Report [Doc. 2030], with Disclosure Statement (approved on Nov. 24,
 2020) [Doc. 1473]. The increase in value between September 2020 and January 2021 is attributable to the Debtor’s
 settlement with HarbourVest, which granted HarbourVest a Class 8 claim of $45 million and a Class 9 Claim of $35
 million, and in exchange the Debtor received HarbourVest’s interest in HCLOF, which we believe was worth
 approximately $44.3 million as of January 31, 2021. See Appendix, p. A-25. It is also notable that the January 2021



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                  The total amount of allowed claims against the estate increased by $236 million;
                   indeed, just between the time the Debtor’s disclosure statement was approved on
                   November 24, 2020, and the time the Debtor’s exhibits were introduced at the
                   confirmation hearing, the amount of allowed claims increased by $100 million.

                  Due to the decrease in the value of the Debtor’s assets and the increase in the
                   allowed claims amount, the ultimate projected recovery for creditors in
                   bankruptcy went from 87.44% to 62.99% in just a matter of months.19
 No prudent investor or hedge fund investing third-party money would purchase substantial
 claims out of the Highland estate based on this publicly-available information without
 conducting thorough due diligence to be satisfied that the assets of the estate would not continue
 to deteriorate or that the allowed claims against the estate would not continue to grow.
         There are other good reasons to investigate whether Muck and Jessup (through Farallon
 and Stonehill) had access to material, non-public information that influenced their claims
 purchasing. In particular, there are close relationships between the claims purchasers, on the one
 hand, and the selling Creditors’ Committee members and the Debtor’s management, on the other
 hand. What follows is our understanding of those relationships:
                  Farallon and Stonehill have long-standing, material, undisclosed relationships
                   with the members of the Creditors’ Committee and Mr. Seery. 20 Mr. Seery
                   formerly was the Global Head of Fixed Income Loans at Lehman Bros. until its
                   collapse in 2009. While at Lehman, Mr. Seery did a substantial amount of
                   business with Farallon. After the Lehman collapse, Mr. Seery joined Sidley &
                   Austin as co-head of the corporate restructuring and bankruptcy group, where he
                   worked with Matt Clemente, counsel to the Creditors’ Committee in these
                   bankruptcy proceedings.

                  In addition, Grovesnor, one of the lead investors in the Crusader Fund from the
                   Redeemer Committee (which appointed Seery as its independent director) both
                   played a substantial role on the Creditors’ Committee and is a large investor in
                   Farallon and Stonehill.
                  According to Farallon principals Raj Patel and Michael Linn, while at Sidley, Mr.
                   Seery represented Farallon in its acquisition of claims in the Lehman estate.

                  Also while at Sidley, Mr. Seery represented the Steering Committee in the
                   Blockbuster Video bankruptcy; Stonehill (through its Managing Member, John
                   Motulsky) was one of the five members of the Steering Committee.

                  Mr. Seery left Sidley in 2013 to become the President and Senior Investment
                   Partner of River Birch Capital, a hedge fund founded by his former Lehman
                   colleagues. He left River Birch in October 2017 just before the fund imploded.
                   In 2017, River Birch and Stonehill Capital were two of the biggest note holders in
                   the Toys R Us bankruptcy and were members of the Toys R Us creditors’

 monthly financial report values Class 8 claims at $267 million, an exponential increase over their estimated value of
 $74 million in December 2020.
 19 See Appendix, pp. A-25, A-28.
 20
    See Appendix, pp. A-2; A-62 – A-69.



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                    committee.

 It does not seem a coincidence that two firms with such significant ties to Mr. Seery have
 purchased $365 million in claims. The nature of the relationships and the absence of public data
 warrants an investigation into whether the claims purchasers may have had access to non-public
 information.
          Other transactions occurring during the Highland bankruptcy also reinforce the suspicion
 that insider trading occurred. In particular, it appears that one of the claims buyers, Stonehill,
 used non-public information obtained incident to the bankruptcy to purchase stock in NexPoint
 Strategic Opportunities Fund (NYSE: NHF), a publicly traded, closed-end ’40 Act fund with
 many holdings in common with assets held in the Highland estate outlined above. Stonehill is a
 registered investment adviser with $3 billion under management that has historically owned very
 few equity interests, particularly equity interests in a closed-end fund. As disclosed in SEC
 filings, Stonehill acquired enough stock in NHF during the second quarter of 2021 to make it
 Stonehill’s eighth largest equity position.
         The timing of the acquisitions of claims by Farallon and Stonehill also warrants
 investigation. In particular, although notices of the transfer of the claims were filed immediately
 after the confirmation of the Debtor’s Plan and prior to the effective date of the Plan, it seems
 likely that negotiations began much earlier. Transactions of this magnitude do not take place
 overnight and typically require robust due diligence. We know, for example, that Muck was
 formed on March 9, 2021, more than a month before it filed notice that it was purchasing the
 Acis claim. If the negotiation or execution of a definitive agreement for the purchase began
 before or contemporaneously with Muck’s formation, then there is every reason to investigate
 whether selling Creditors’ Committee members and/or Debtor management provided Farallon
 with critical non-public information well before the Creditors’ Committee members sold their
 claims and withdrew from the Committee. Indeed, Mr. Patel and Mr. Linn have stated to others
 that they purchased the Acis and HarbourVest claims in late January or early February. We
 believe an investigation will reveal whether negotiations of the sale and the purchase of claims
 from Creditors’ Committee members preceded the confirmation of the Debtor’s Plan and the
 resignation of those members from the Committee.
         Likewise, correspondence from the fund adviser to the Crusader Fund indicates that the
 Crusader Fund and the Redeemer Committee had “consummated” the sale of the Redeemer
 Committee’s claims and other assets on April 30, 2021, “for $78 million in cash, which was paid
 in full to the Crusader Funds at closing.”21 We also know that there was a written agreement
 among Stonehill, the Crusader Fund, and the Redeemer Committee that potentially dates back to
 the fourth quarter of 2020. Presumably such an agreement, if it existed, would impose
 affirmative and negative covenants upon the seller and grant the purchaser discretionary approval
 rights during the pendency of the sale. An investigation by your office is necessary to determine
 whether there were any such agreement, which would necessarily conflict with the Creditors’
 Committee members’ fiduciary obligations.
        The sale of the claims by the members of the Creditors’ Committee also violates the
 guidelines provided to committee members that require a selling committee member to obtain
 approval from the Bankruptcy Court prior to any sale of such member’s claim. The instructions
 provided by the U.S. Trustee’s Office (in this instance the Delaware Office) state:




 21
      See Appendix, pp. A-70 – A-71.



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          In the event you are appointed to an officiaJ committee of creditors, the nited States Trustee may require
  periodic certifications of your claims while the bankruptcy case is pending. Creditors wishing to serve as
  fiduciaries on any official committee are advised that they may not purchase, sell or otherwise trade in or transfer
  claims against the Debtor while they are committee members absent an order of the Court. By submitting the
  enclosed Questionnaire and accel!ting membership on an official committee of creditors ou agree to this
    rohibition. The nited States Trustee reserves the right to take appropriate action, including removing a
  creditor from any committee if the information provided in the Questionnaire is inaccurate, if the foregoing
  prohibition is violated, or for any other reason the nited States Trustee believes is proper in the exercise of her
  discretion. You are hereby notified that the United tates Trustee may share this information with the Semrities
  and Exchange Commission if deemed appropriate.
 In this case, no Court approval was ever sought or obtained, and the Dallas U.S. Trustee’s Office
 took no action to enforce this guideline. The Creditors’ Committee members were sophisticated
 entities, and they were privy to inside information that was not available to other unsecured
 creditors. For example, valuations of assets placed into a specially-created affiliated entities,
 such as the assets acquired in the HarbourVest settlement, and valuations of assets held by other
 entities owned or controlled by the Debtor, were available to the selling Creditors’ Committee
 members, but not other creditors or parties-in-interest.
        While claims trading itself is not necessarily prohibited, the circumstances surrounding
 claims trading often times prompt investigation due to the potential for abuse. This case
 warrants such an investigation due to the following:
           a)      The selling parties were three of the four Creditors’ Committee members, and
                   each one had access to information they received in a fiduciary capacity;
           b)      Some of the information they received would have been available to other parties-
                   in-interest if Rule 2015.3 had been enforced;
           c)      The sales allegedly occurred after the Plan was confirmed, and certain other
                   matters immediately thereafter came to light, such as the Debtor’s need for an exit
                   loan (although the Debtor testified at the confirmation hearing that no loan was
                   needed) and the inability of the Debtor to obtain Directors and Officer insurance;
           d)      The Debtor settled a dispute with UBS and obligated itself (using estate assets) to
                   pursue claims and transfers and to transfer certain recoveries to UBS, as opposed
                   to distributing those recoveries to creditors, and the Debtor used third-party assets
                   as consideration for the settlement22;
           e)      The projected recovery to creditors changed significantly between the approval of
                   the Disclosure Statement and the confirmation of the Debtor’s Plan; and

           f)      There was a suspicious purchase of stock by Stonehill in NHF, a closed-end fund
                   that is publicly traded on the New York stock exchange. The Debtor’s assets and
                   the positions held by the closed-end fund are similar.
         Further, there is reason to believe that insider claims-trading negatively impacted the
 estate’s ultimate recovery. Immediately prior to the Plan confirmation hearing, Judge Jernigan
 suggested that the Creditors’ Committee and Mr. Dondero attempt to reach a settlement. Mr.
 Dondero, through counsel, made numerous offers of settlement that would have maximized the
 estate’s recovery, even going so far as to file a proposed Plan of Reorganization. The Creditors’
 Committee did not timely respond to these efforts. It was not until The Honorable Former Judge
 D. Michael Lynn, counsel for Mr. Dondero, reminded the Creditors’ Committee counsel that its




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 members had a fiduciary duty to respond that a response was forthcoming. Mr. Dondero’s
 proposed plan offered a greater recovery than what the Debtor had reported would be the
 expected Plan recovery. The Creditors’ Committee’s failure to timely respond to that offer
 suggests that some members may have been contractually constrained from doing so, which
 itself warrants investigation.
         We encourage the EOUST to question and explore whether, at the time that Mr.
 Dondero’s proposed plan was filed, the Creditors’ Committee members already had committed
 to sell their claims and therefore were contractually restricted from accepting Mr. Dondero’s
 materially better offer. If that were the case, the contractual tie-up would have been a violation
 of the Committee members’ fiduciary duties. The reason for the U.S. Trustee’s guideline
 concerning the sale of claims by Committee members was to allow a public hearing on whether
 Committee members were acting within the bounds of their fiduciary duties to the estate incident
 to the sale of any claim. The failure to enforce this guideline has left open questions about sale
 of Committee members’ claims that should have been disclosed and vetted in open court.
        In summary, the failure of the U.S. Trustee’s Office to demand appropriate reporting and
 transparency created an environment where parties needed to obtain and use non-public
 information to facilitate claims trading and potential violations of the fiduciary duties owed by
 Creditors’ Committee members. At the very least, there is enough credible evidence to warrant
 an investigation. It is up to the bankruptcy bar to alert your office to any perceived abuses to
 ensure that the system is fair and transparent. The Bankruptcy Code is not written for those who
 hold the largest claims but, rather, it is designed to protect all stakeholders. A second Neiman
 Marcus should not be allowed to occur.
        We would appreciate a meeting with your office at your earliest possible convenience to
 discuss the contents of this letter and to provide additional information and color that we believe
 will be valuable in making a determination about whether and what to investigate. In the
 interim, if you need any additional information or copies of any particular pleading, we would be
 happy to provide those at your request.

                                                      Very truly yours,

                                                      /s/Douglas S. Draper

                                                      Douglas S. Draper

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    EXHIBIT A-2




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                                           November 3, 2021

Via E-Mail and Federal Express
Ms. Nan R. Eitel
Office of the General Counsel
Executive Office for U.S. Trustees
20 Massachusetts Avenue, NW
8th Floor
Washington, DC 20530
Nan.r.Eitel@usdoj.gov

       Re:      Highland Capital Management, L.P. Bankruptcy Case
                Case No. 19-34054 (SGJ) Bankr. N.D. Tex.

Dear Ms. Eitel:

        I am a senior bankruptcy practitioner who has worked closely with Douglas Draper (representing
separate, albeit aligned, clients) in the above-referenced Chapter 11 case. I have represented debtors-
in-possession on multiple occasions, have served as an adjunct professor of law teaching advanced
corporate restructuring, and consider myself not only a bankruptcy expert, but an expert on the
practicalities and realities of how estates and cases are administered and, therefore, how they could be
manipulated for personal interests. I write to follow up on the letter that Douglas sent to your offices on
October 4, 2021, on account of additional information my clients have learned in this matter. So that
you understand, my clients in the case are NexPoint Advisors, L.P. and Highland Capital Management
Fund Advisors, LP., both of whom are affiliated with and controlled by James Dondero, and I write this
letter on their behalf and based on information they have obtained.

        I share Douglas' view that serious abuses of the bankruptcy process occurred during the
bankruptcy of Texas-headquartered Highland Capital Management, LP. ("Highland" or the "Debtor'')
which, left uninvestigated and unaddressed, may represent a systemic issue that I believe would be of
concern to your office and within your office's sphere of authority. Those abuses include potential insider
trading and breaches of fiduciary duty by those charged with protecting creditors, understated
estimations of estate value seemingly designed to benefit insiders and management, gross mistreatment
of employees who were key to the bankruptcy process, and ultimately a plan aimed at liquidating an
otherwise viable estate, to the detriment of third-party investors in Debtor-managed funds. To be clear,
I recognize that the Bankruptcy Court has ruled the way that it has and I am not criticizing the Bankruptcy
Court or seeking to attack any of its orders. Rather, as has been and will be shown, the Bankruptcy
Court acted on misinformation presented to it, intentional lack of transparency, and manipulation of the
facts and circumstances by the fiduciaries of the estate. I therefore wish to add my voice to Douglas'
aforementioned letter, provide additional information, encourage your investigation, and offer whatever
information or assistance I can.

       The abuses here are akin to the type of systemic abuse of process that took place in the
bankruptcy of Neiman Marcus (in which a core member of the creditors' committee admittedly attempted
to perpetrate a massive fraud on creditors), and which is something that lawmakers should be concerned




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about, particularly to the extent that debtor management and creditors' committee members are using
the federal bankruptcy process to shield themselves from liability for otherwise harmful, illegal, or
fraudulent acts.

                                               BACKGROUND

Highland Capital Management and its Founder, James Dondero

        Highland Capital Management, L.P. is an SEC-registered investment advisor co-founded by
James Dondero in 1993. A graduate of the University of Virginia with highest honors, Mr. Dondero has
over thirty years of experience successfully overseeing investment and business activities across a
range of investment platforms. Of note, Mr. Dondero is chiefly responsible for ensuring that Highland
weathered the global financial crisis, evolving the firm's focus from high-yield credit to other areas,
including real estate, private equity, and alternative investments. Prior to its bankruptcy, Highland served
as advisor to a suite of registered funds, including open-end mutual funds, closed-end funds, and an
exchange-traded fund.

       In addition to managing Highland, Mr. Dondero is a dedicated philanthropist who has actively
supported initiatives in education, veterans' affairs, and public policy. He currently serves as a member
of the Executive Board of the Southern Methodist University Cox School of Business and sits on the
Executive Advisory Council of the George W. Bush Presidential Center.

Circumstances Precipitating Bankruptcy

         Notwithstanding Highland's historical success with Mr. Dondero at the helm, Highland's funds-
like many other investment platforms-suffered losses during the financial crisis, leading to myriad
lawsuits by investors. One of the most contentious disputes involved a group of investors who had
invested in Highland-managed funds collectively termed the "Crusader Funds." During the financial
crisis, to avoid a run on the Crusader Funds at low-watermark prices, the funds' manager temporarily
suspended redemptions, leading investors to sue. That dispute resolved with the formation of an investor
committee self-named the "Redeemer Committee" and the orderly liquidation of the Crusader Funds,
which resulted in investors' receiving a return of their investments plus a return, as opposed to the 20
cents on the dollar they would have received had their redemption requests been honored when made.

         Despite this successful liquidation, the Redeemer Committee sued Highland again several years
later, claiming that Highland had improperly delayed the liquidation and paid itself fees not authorized
under the parties' earlier settlement agreement. The dispute went to arbitration, ultimately resulting in
an arbitration award against Highland of $189 million (of which Highland expected to make a net
payment of $11 O million once the award was confirmed).

        Believing that a restructuring of its judgment liabilities was in Highland's best interest, on October
16, 2019, Highland-a Delaware limited partnership-filed a voluntary petition for relief under Chapter
11 of the Bankruptcy Code in the Bankruptcy Court for the District of Delaware.1

       On October 29, 2019, the Bankruptcy Court appointed the Official Committee of Unsecured
Creditors ("Creditors' Committee"). The Creditors' Committee Members (and the contact individuals for
those members) are: (1) The Redeemer Committee of the Highland Crusader Fund (Eric Felton), (2)
Meta e-Discovery (Paul McVoy), (3) UBS Securities LLC and UBS AG London Branch (Elizabeth

1 In re Highland Capital Mgmt., L.P., Case No. 19-12239-CSS (Bankr. D. Del.) ("Del. Case"), Dkt. 1.




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Kozlowski), and (4) Acis Capital Management, LP. and Acis Capital Management GP, LLP (Joshua
Terry).2 At the time of their appointment, creditors agreeing to serve on the Creditors' Committee were
given an Instruction Sheet by the Office of the United States Trustee, instructing as follows:

        Creditors wishing to serve as fiduciaries on any official committee are advised that
        they may not purchase, sell or otherwise trade in or transfer claims against the
        Debtor while they are committee members absent an order of the Court.                       By
        submitting the enclosed Questionnaire and accepting membership on an official
        committee of creditors, you agree to this prohibition. The United States Trustee
        reserves the right to take appropriate action, including removing the creditor from
        any committee, if the information provided in the Questionnaire is inaccurate, if the
        foregoing prohibition is violated, or for any other reason the United States Trustee
        believes is proper in the exercise of her discretion.

See Instruction Sheet, Ex. A (emphasis in original).

      In response to a motion by the Creditors' Committee, on December 4, 2019, the Delaware
Bankruptcy Court unexpectedly transferred the bankruptcy case to the Northern District of Texas, to
Judge Stacey G.C. Jernigan's court.3

         SYSTEMIC PROBLEMS OCCURRING IN THE CONTEXT OF HIGHLAND'S COURT-
                           ADMINISTERED BANKRUPTCY

Mr. Dondero Gets Pushed Out of Management and New Debtor Management Announces Plans
to Liquidate the Estate

        From the outset of the case, the Creditors' Committee and the U.S. Trustee's Office in Dallas
pushed to replace Mr. Dondero as the sole director of the Debtor's general partner, Strand Advisors,
Inc. ("Strand"). To avoid a protracted dispute and to facilitate the restructuring, on January 9, 2020, Mr.
Dondero agreed to resign as the sole director, on the condition that he would be replaced by three
independent directors who would act as fiduciaries of the estate and work to restructure Highland's
business so it could continue operating and emerge from bankruptcy as a going concern. As Mr. Draper
previously has explained, the agreement approved by the Bankruptcy Court allowed Mr. Dondero, UBS
(which held one of the largest claims against the estate), and the Redeemer Committee each to choose
one director, and also established protocols for operations going forward. Mr. Dondero chose The
Honorable Former Judge Russell F. Nelms, UBS chose John Dubel, and the Redeemer Committee
chose James Seery. 4

         In brokering the agreement, Mr. Dondero made clear his expectations that new, independent
management would not only preserve Highland's business by expediting an exit from bankruptcy in three
to six months, but would also preserve jobs and enable continued collaboration with charitable causes
supported by Highland and Mr. Dondero. Unfortunately, those expectations did not materialize. Rather,
it quickly became clear that Strand's and Highland's management was being dominated by one of the

2 Del. Case, Dkt. 65.
3
  See In re Highland Capital Mgmt., L.P., Case No. 19-34054 (Bankr. N.D. Tex.), Dkt. 186. All subsequent docket
references are to the docket of the Bankruptcy Court for the Northern District of Texas.
4 See Stipulation in Support of Motion of the Debtor for Approval of Settlement with the Official Committee of

Unsecured Creditors Regarding Governance of the Debtor and Procedures for Operations in the Ordinary Course,
Dkt. 338; Order Approving Settlement with Official Committee of Unsecured Creditors Regarding Governance of
the Debtor and Procedures for Operations in the Ordinary Course, Dkt. 339.




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independent directors, Mr. Seery (as will be seen, for his self-gain). Shortly after his placement on the
Board, on March 15, 2020, Mr. Seery became de facto Chief Executive Officer, after which he
immediately took steps to freeze Mr. Dondero out of operations completely, to the detriment of
Highland's business and its employees. The Bankruptcy Court formally approved Mr. Seery's
appointment as CEO and Chief Restructuring Officer on July 14, 2020.5 Although Mr. Seery publicly
represented that his goal was to restructure the Debtor's business and enable it to emerge as a going
concern, privately he was engineering a much different plan. Less than two months after Mr. Seery's
appointment as CEO/CRO, the Debtor filed its initial plan of reorganization, disclosing for the first time
its intention to terminate substantially all employees by the end of 2020 and to liquidate Highland's assets
by 2022. 6

       Over objections by Mr. Dondero and numerous other stakeholders, the Bankruptcy Court
confirmed Highland's Fifth Amended Plan of Reorganization on February 22, 2021 (the "Plan").7 There
are appeals of that Plan, as well as many of the other rulings made by the Bankruptcy Court, currently
pending before the United States District Court and the Court of Appeals for the Fifth Circuit.

Transparency Problems Pervade the Bankruptcy Proceedings

        The Regulatory Framework

         As you are aware, one of the most important features of federal bankruptcy proceedings is
transparency. The EOUST instructs that "Debtors-in-possession and trustees must account for the
receipt, administration, and disposition of all property; provide information concerning the estate and the
estate's administration as parties in interest request; and file periodic reports and summaries of a
debtor's business, including a statement of receipts and disbursements, and such other information as
the United States Trustee or the United States Bankruptcy Court requires." See
http://justice.gov/ust/chapter-11-information (citing 11 U.S.C. § 1106(a)(1), 1107(a)). And Federal Rule
of Bankruptcy Procedure 2015.3(a) states that "the trustee or debtor in possession shall file periodic
financial reports of the value, operations, and profitability of each entity that is not a publicly traded
corporation or a debtor in a case under title 11, and in which the estate holds a substantial or controlling
interest.· This rule requires the trustee or a debtor in possession to file a report for each non-debtor
affiliate prior to the first meeting of creditors and every six months thereafter until the effective date of a
plan of reorganization. Fed R. Bankr. P. 2015.3(b). Importantly, the rule does not absolve a debtor from
filing reports due prior to the effective date merely because a plan has become effective. 8 Notably, the
U.S. Trustee has the duty to ensure that debtors in possession properly and timely file all required
reports. 28 U.S.C. § 1112(b)(4)(F), (H).

        The entire purpose of these guidelines and rules is to ensure that external stakeholders can fairly
evaluate the progress of bankruptcy proceedings, including compliance with legal requirements.
Particularly in large bankruptcies, creditors and investors alike should expect that debtors, their

5 See Order Approving Debtor's Motion Under Bankruptcy Code Sections 105(a) and 363(b) Authorizing Retention

of James P. Seery, Jr. as Chief Executive Officer, Chief Restructuring Officer, and Foreign Representative Nunc
Pro Tune to March 15, 2020, Dkt. 854.
6 See Plan of Reorganization of Highland Capital Management, L.P. dated August 12, 2020, Dkt. 944.
7 See Order (I) Confirming the Fifth Amended Plan of Reorganization of Highland Capital Management, L.P. (As

Modified); and (II) Granting Related Relief, Dkt. 1943.
8 After notice and a hearing, the bankruptcy court may grant relief from the Rule 2015.3 disclosure requirement "for

cause," including that "the trustee or debtor in possession is not able, after a good faith effort, to comply with th[e]
reporting requirements, or that the information required by subdivision (a) is publicly available.· Fed. R. Bankr.
2015.3(d).




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management, and representatives on creditors' committees abide by their reporting obligations and all
other legal requirements. Bankruptcy is not meant to be a safe haven for lawlessness, nor is it designed
to obfuscate the operations of the debtor. Instead, transparency is mandatory so that the debtor is
accountable to stakeholders and so that stakeholders can ensure that all insiders are operating for the
benefit of the estate.

       In Highland's Bankruptcy, the Regulatory Framework Is Ignored

       Against this regulatory backdrop, and on the heels of high-profile bankruptcy abuses like those
that occurred in the context of the Neiman Marcus bankruptcy, the Highland bankruptcy offered almost
no transparency to stakeholders. Traditional reporting requirements were ignored. This opened the door
to numerous abuses of process and potential violations of federal law, as detailed below.

        As Mr. Draper already has highlighted, one significant problem in Highland's bankruptcy was the
Debtor's failure to file any of the reports required under Bankruptcy Rule 2015.3, either on behalf of itself
or its affiliated entities. Typically, such reports would include information like asset value, income from
financial operations, profits, and losses for each non-publicly traded entity in which the estate has a
substantial or controlling interest. This was very important here, where the Debtor held the bulk of its
value-hundreds of millions of dollars-in non-debtor subsidiaries. The Debtor's failure to file the
required Rule 2015.3 reports was brought to the attention of the Debtor, the Bankruptcy Court, and the
U.S. Trustee's Office. During the hearing on Plan confirmation, the Debtor was questioned about the
failure to file the reports. The sole excuse offered by the Debtor's Chief Restructuring Officer and Chief
Executive Officer, Mr. Seery, was that the task "fell through the cracks. "9 Nor did the Debtor or its counsel
ever attempt to show "cause" to gain exemption from the reporting requirement. That is because there
was no good reason for the Debtor's failure to file the required reports. In fact, although the Debtor and
the Creditors' Committee often refer to the Debtor's structure as a "byzantine empire," the assets of the
estate fall into a handful of discrete investments, most of which have audited financials and/or are
required to make monthly or quarterly net-asset-value or fair-value determinations. 10 Rather than
disclose financial information that was readily available, the Debtor appears to have taken deliberate
and strategic steps to avoid transparency.

       In stark contrast to its non-existent public disclosures, the Debtor provided the Creditors'
Committee with robust weekly information regarding transactions involving assets held by the Debtor or
its wholly-owned subsidiaries, transactions involving managed entities and non-managed entities in
which the Debtor held an interest, transactions involving non-discretionary accounts, and weekly budget-
to-actuals reports referencing non-Debtor affiliates' 13-week cash flow budget. In other words, the
Committee member had real-time financial information with respect to the affairs of non-debtor affiliates,
which is precisely the type of information that should have been disclosed to the public pursuant to Rule
2015.3. Yet, the fact that the Committee members alone had this information enabled some of them to
trade on it, for their personal benefit.

       The Debtor's management failed and refused to make other critical disclosures as well. As
explained in detail below, during the bankruptcy proceedings, the Debtor sold off sizeable assets without
any notice and without seeking Bankruptcy Court approval. The Debtor characterized these transactions
as the "ordinary course of business" (allowing it to avoid the Bankruptcy Court approval process), but

9 See Dkt. 1905 {Feb. 3, 2021 Hr'g Tr. at 49:5-21).
10 During a deposition, Mr. Seery identified most of the Debtor's assets "[o]ff the top of [his] head" and
acknowledged that he had a subsidiary ledger that detailed the assets held by entities below the Debtor. See Exh.
A {Jan. 29, 2021 Dep. Tr. at 22:4-10; 23:1-29:10).




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they were anything but ordinary. In addition, the Debtor settled the claims of at least one creditor-
former Highland employee Patrick Daugherty-without seeking court approval of the settlement
pursuant to Federal Rule of Bankruptcy Procedure 9019. We understand that the Debtor paid Mr.
Daugherty $750,000 in cash as part of that settlement, done as a "settlement" to obtain Mr. Daugherty's
withdrawal of his objection to the Debtor's plan.

         Despite all of these transparency problems, the Debtor's confirmed Plan contains provisions that
effectively release the Debtor from its obligation to file any of the reports due for any period prior to the
effective date-thereby sanctioning the Debtor's failure and refusal to follow the rules. The U.S. Trustee
also failed to object to this portion of the Court's order of confirmation, which is directly at odds with the
spirit and mandate of the Periodic Reporting Requirements recently adopted by the EOUST and
historical rules mandating transparency. 11

       As will become apparent, because neither the federal Bankruptcy Court nor the U.S. Trustee
advocated or demanded compliance with the rules, the Debtor, its newly-appointed management, and
the Creditors' Committee charged with protecting the interests of all creditors were able to manipulate
the estate for the benefit of a handful of insiders, seemingly in contravention of law.

Debtor And Debtor-Affiliate Assets Were Deliberately Hidden and Mischaracterized

        Largely because of the Debtor's failure to file Rule 2015.3 reports for affiliate entities, interested
parties and creditors wishing to evaluate the worth and mix of assets held in non-Debtor affiliates could
not do so. This is particularly problematic, because during proceedings, the Debtor sold $172 million in
assets, which altered the mix of assets and liabilities of the Debtor's affiliates and controlled entities. In
addition, the estate's asset value decreased by approximately $200 million in a matter of months. Absent
financial reporting, it was impossible for stakeholders to determine whether the $200 impairment in asset
value reflected actual realized losses or merely temporary mark-downs precipitated by problems
experienced by certain assets during the pandemic (including labor shortages, supply-chain issues,
travel interruptions, and the like). Although the Bankruptcy Court held that such sales did not require
Court approval, a Rule 2015.3 report would have revealed the mix of assets and the corresponding
reduction in liabilities of the affiliated or controlled entity-information that was critical in evaluating the
worth of claims against the estate or future investments into it.

        One transaction that was particularly problematic involved alleged creditor HarbourVest, a
private equity fund with approximately $75 billion under management. Prior to Highland's bankruptcy,
HarbourVest had invested $80 million into (and obtained 49.98% of the outstanding shares of) a
Highland fund called Acis Loan Funding, later rebranded as Highland CLO Funding, Ltd. ("HCLOF"). A
charitable fund called Charitable OAF Fund, LP. ("OAF") held 49.02% member interests in HCLOF, and
the remaining □2.00% was held by Highland and certain of its employees. Prior to Highland's bankruptcy
proceedings, a dispute arose between HarbourVest and Highland, in which HarbourVest claimed it was
duped into making the investment because Highland allegedly failed to disclose key facts relating to the
investment (namely, that Highland was engaged in ongoing litigation with former employee, Josh Terry,




11
  See "Procedures for Completing Uniform Periodic Reports in Non-Small Business Cases Filed Under Chapter
11 of Title 11" (the uPeriodic Reporting Requirements"). The Periodic Reporting Requirements reaffirmed the
EOUST's commitment to maintaining "uniformity and transparency regarding a debtor's financial condition and
business activities" and "to inform creditors and other interested parties of the debtor's financial affairs." 85 Fed.
Reg. 82906.




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which would result in HCLOF's incurring legal fees and costs). HarbourVest alleged that, as a result of
the Terry lawsuit, HCLOF incurred approximately $15 million in legal fees and costs. 12

         In the context of Highland's bankruptcy, however, HarbourVest filed a proof of claim alleging that
it was due over $300 million in damages in the dispute, a claim that bore no relationship to economic
reality. As a result, Debtor management initially valued HarbourVest's claims at $0, a value consistently
reflected in the Debtor's publicly-filed financial statements, up through and including its December 2020
Monthly Operating Report. 13 Eventually, however, the Debtor announced a settlement with HarbourVest
which entitled HarbourVest to $45 million in Class 8 claims and $35 million in Class 9 claims. 14 At the
time, the Debtor's public disclosures reflected that Class 8 creditors could expect to receive
approximately 70% payout on their claims, and Class 9 creditors could expect 0.00%. In other words,
HarbourVest's total $80 million in allowed claims would allow HarbourVest to realize a $31.5 million
retum. 15

         As consideration for this potential payout, HarbourVest agreed to convey its interest in HCLOF
to a special-purpose entity ("SPE") designated by the Debtor (a transaction that involved a trade of
securities) and to vote in favor of the Debtor's Plan. In its pleadings and testimony in support of the
settlement, the Debtor represented that the value of HarbourVest's interest in HCLOF was $22.5 million.
It later came to light, however, that the actual value of that asset was at least $44 million.

         There are numerous problems with this transaction which may not have occurred with the
requisite transparency. As a registered investment advisor, the Debtor had a fiduciary obligation to
disclose the true value of HarbourVest's interest in HCLOF to investors in that fund. The Debtor also
had a fiduciary obligation to offer the investment opportunity to the other investors prior to purchasing
HarbourVest's interest for itself. Mr. Seery has acknowledged that his fiduciary duties to the Debtor's
managed funds and investors supersedes any fiduciary duties owed to the Debtor and its creditors in
bankruptcy. Nevertheless, the Debtor and its management appear to have misrepresented the value of
the HarbourVest asset, brokered a purchase of the asset without disclosure to investors, and thereafter
placed the HarbourVest interest into a non-reporting SPE. 16 This meant that no outside stakeholder had
any ability to assess the value of that interest, nor could any outsider possibly ascertain how the
acquisition of that interest impacted the bankruptcy estate. In the absence of Rule 2015.3 reports or
listing of the HCLOF interest on the Debtor's balance sheet, it was impossible to determine at the time
of the HarbourVest settlement (or thereafter) whether the Debtor properly accounted for the asset on its
balance sheet.

        Highland engaged in several other asset sales in bankruptcy without disclosing those sales in
advance to outside stakeholders or investors, and without offering investors in funds impacted by the
sales the opportunity to purchase the assets. For example:



12 Assuming that HarbourVest were entitled to fraud damages as it claimed, the true amount of its damages was

less than $7.5 million (because HarbourVest only would have borne 49.98% of the $15 million in legal fees).
13 See Monthly Operating Report for Highland Capital Management for the Month Ending December 2020, Dkt.

1949.
14 Class 8 consists of general unsecured claims; Class 9 consists of subordinated claims.
15 We have reason to believe that HarbourVest's Class 8 and Class 9 claims were contemporaneously sold to

Farallon Capital Management-an SEC-registered investment advisor-for approximately $28 million.
16 Even former Highland employee Patrick Daugherty recognized the problematic nature of asset dispositions like

the one involving HarbourVest, commenting that such transactions "have left {Mr. Seery) and Highland vulnerable
to a counter-attack under the [Investment) Advisors Act." See Ex. B.




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       •       The Debtor sold approximately $25 million of NexPoint Residential Trust shares that
               today are valued at over $70 million; the Debtor likewise sold $6 million of PTLA shares
               that were taken over less than 60 days later for $18 million.

       •       The Debtor divested interests worth $145 million held in certain life settlements (which
               paid on the death of the individuals covered, whose average age was 90) for $35 million
               rather than continuing to pay premiums on the policies, and did so without obtaining
               updated estimates of the life settlements' value, to the detriment of the fund and investors
               (today two of the covered individuals have a life expectancy of less than one year);

       •       The Debtor sold interests in OmniMax without informing the Bankruptcy Court, without
               engaging in a competitive bidding process, and without cooperating with other funds
               managed by Mr. Dondero, resulting in what we believe is substantially lesser value to
               investors;

       •       The Debtor sold interests in Structural Steel Products (worth $50 million) and Targa
               (worth $37 million), again without any process or notice to the Bankruptcy Court or outside
               stakeholders, resulting in what we believe is diminished value for the estate and
               investors.

Because the Bankruptcy Code does not define what constitutes a transaction in the "ordinary course of
business," the Debtor's management was able to characterize these massive sales as ordinary course
transactions when they were anything but ordinary, resulting in diminution in value to the estate and its
creditors.

       In summary, the consistent lack of transparency throughout bankruptcy proceedings facilitated
sales and deal-making that failed to maximize value for the estate and precluded outside stakeholders
from evaluating or participating in asset purchases or claims trading that might have benefitted the estate
and outside investors in Debtor-managed funds.

The Debtor Reneged on Its Promise to Pay Key Employees, Contrary to Sworn Testimony

        Highland's bankruptcy also diverges from the norm in its treatment of key employees, who
usually can expect to be fairly compensated for pre-petition work and post-petition work done for the
benefit of the estate. That did not happen here, despite the Debtor's representation to the Bankruptcy
Court that it would.

        By way of background, prior to its bankruptcy, Highland offered employees two bonus plans: an
Annual Bonus Plan and a Deferred Bonus Plan. Under the Annual Bonus Plan, all of Highland's
employees were eligible for a yearly bonus payable in up to four equal installments, at six-month
intervals, on the last business day of each February and August. Under the Deferred Bonus Plan,
Highland's employees were awarded shares of a designated publicly traded stock, the right to which
vested 39 months later. Under both bonus plans, the only condition to payment was that the employee
be employed by Highland at the time the award (or any portion of it) vested.

       At the outset of the bankruptcy proceedings, the Debtor promised that pre-petition bonus plans
would be honored. Specifically, in its Motion For Entry of an Order Authorizing the Debtor to Pay and
Honor Ordinary Course Obligations Under Employee Bonus Plans and Granting Related Relief, the
Debtor informed the Court that employee bonuses "continue[d] to be earned on a post-petition basis,"
and that "employee compensation under the Bonus Plans [was] critical to the Debtor's ongoing




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operations and that any threat of nonpayment under such plans would have a potentially catastrophic
impact on the Debtor's reorganization efforts." 17 Significantly, the Debtor explained to the Court that its
operations were leanly staffed, such that all employees were critical to ongoing operations and such that
it expected to compensate all employees. As a result of these representations, key employees continued
to work for the Debtor, some of whom invested significant hours at work ensuring that the Debtor's new
management had access to critical information for purposes of reorganizing the estate.

         Having induced Highland's employees to continue their employment, the Debtor abruptly
changed course, refusing to pay key employees awards earned pre-petition under the Annual Bonus
Plan and bonuses earned pre-petition under the Deferred Bonus Plan that vested post-petition. In fact,
Mr. Seery chose to terminate four key employees just before the vesting date in an effort to avoid
payment, despite his repeated assurances to the employees that they would be "made whole." Worse
still, notwithstanding the Debtor's failure and refusal to pay bonuses earned and promised to these
terminated employees, in Monthly Operating Reports signed by Mr. Seery under penalty of perjury, the
Debtor continued to treat the amounts owed to the employees as post-petition obligations, which the
Debtor continued to accrue as post-petition liabilities even after termination of their employment.

        The Debtor's misrepresentations to the Bankruptcy Court and to the employees themselves fly
in the face of usual bankruptcy procedure. As the Fifth Circuit has explained, administrative expenses
like key employee salaries are an '"actual and necessary cost"' that provides a "benefit to the state and
its creditors."18 It is undisputed that these employees continued to work for the Debtor, providing an
unquestionable benefit to the estate post-petition, but were not provided the promised compensation,
for reasons known only to the Debtor.

        Again, this is not business as usual in bankruptcy proceedings, and if we are to ensure the
continued success of debtors in reorganization proceedings, it is important that key employees be paid
in the ordinary course for their efforts in assisting debtors and that debtor management be made to live
up to promises made under penalty of perjury to the bankruptcy courts.

There Is Substantial Evidence that Insider Trading Occurred

         Perhaps one of the biggest problems with the lack of transparency at every step is that it
facilitated potential insider trading . The Debtor (as well as its advisors and professionals) and the
Creditors' Committee (and its counsel) had access to critical information upon which any reasonable
investor would rely. But because of the lack of reporting, the public did not.

       Mr. Draper's October 4, 2021 letter sets forth in detail the reasons for suspecting that insider
trading occurred, but his explanation bears repeating here. In the context of a non-transparent
bankruptcy proceeding, three of the four members of the Creditors' Committee and one non-committee
member sold their claims to two buyers, Muck Holdings LLC ("Muck") and Jessup Holdings LLC
("Jessupn). The four claims sold comprise the largest four claims in the Highland bankruptcy by a
substantial margin, 19 collectively totaling almost $270 million in Class 8 claims and $95 million in Class
9 claims:




17
   See 0kt. 177, ,r 25 (emphasis added).
18
   Texas v. Lowe (In re HLS. Energy Co.), 151 F.3d 434,437 (5th Cir. 1998) (quoting Transamerican Natural
Gas Corp., 978 F.2d 1409, 1416 (5th Cir. 1992)).
19 See Ex. C.




                                                                                                              APP 702
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     Claimant                       Class 8 Claim      Class 9 Claims         Date Claim Settled
     Redeemer Committee             $136,696,610       N/A                    October 28, 2020
     Acis Capital                   $23,000,000        N/A                    October 28, 2020
     HarbourVest                    $45,000,000        $35,000,000            January 21, 2021
     UBS                            $65,000,000        $60,000.000            May 27, 2021
     TOTAL:                         $269,6969,610      $95,000,000

        Muck is owned and controlled by Farallon Capital Management ("Farallon"), and we believe
Jessup is owned and controlled by Stonehill Capital Management ("Stonehill"). As the purchasers of the
four largest claims in the bankruptcy, Muck (Farallon) and Jessup (Stonehill) will oversee the liquidation
of the reorganized Debtor and the payment over time to creditors who have not sold their claims. These
two hedge funds also will determine the performance bonus due to Mr. Seery for liquidating the estate.
As set forth in the attached balance sheet dated August 31, 2021, we estimate that the estate today is
worth nearly $600 million, 20 which could result in Mr. Seery's receipt of a performance bonus
approximating $50 million.

        This is concerning because there is substantial evidence that Farallon and Stonehill may have
been provided material, non-public information to induce their purchase of these claims. We agree with
Mr. Draper that there are three primary reasons to believe that non-public information was made
available to facilitate these claims purchases:

         •         The scant publicly-available information regarding the Debtor's estate ordinarily would
                   have dissuaded sizeable investment in purchases of creditors' claims;

         •         The information that actually was publicly available ordinarily would have compelled a
                   prudent investor to conduct robust due diligence prior to purchasing the claims;

         •         Yet these claims purchasers spent in excess of $100 million (and likely closer to $150
                   million) on claims, ostensibly without any idea of what they were purchasing.

     Credible information indicates that the claims purchases of Stonehill and Farallon can be
summarized as follows:

        Creditor             Class 8       Class 9    Purchaser                 Purchase Price
        Redeemer            $137.0        $0.0       Stonehill                 $78.021
        ACIS                $23.0         $0.0       Farallon                  $8.0
        HarbourVest         $45.0         $35.0      Farallon                  $27.0
        UBS                 $65.0         $60.0      Stonehill and Farallon    $50.0




20 See Ex. D.
21
  See Ex. E. Because the transaction included "the majority of the remaining investments held by the Crusader
Funds," the net amount paid by Stonehill for the Claims was approximately $65 million.




                                                                                                                APP 703
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        An analysis of publicly-available information would have revealed to any potential investor that:

        •       The estate's asset value had decreased by $200 million, from $556 million on October
                16, 2019, to $328 million as of September 30, 2020 (increasing only slightly to $364
                million as of January 31 , 2021). 22

        •       Allowed claims against the estate increased by a total amount of $236 million.

        •       Due to the decrease in the value of the Debtor's assets and the increase in the allowed
                claims amount, the ultimate projected recovery for creditors in bankruptcy decreased
                from 87.44% to 62.99% in just a matter of months. 23

No prudent investor or hedge fund investing third-party money would purchase substantial claims out of
the Highland estate based on this publicly-available information absent robust due diligence
demonstrating that the investment was sound.

       As discussed by Mr. Draper, the very close relationships between the claims purchasers, on the
one hand, and the selling Creditors' Committee members and the Debtor's management, on the other
hand also raise red flags. In particular:

        •       Farallon and Stonehill have long-standing, material relationships with the members of the
                Creditors' Committee and Mr. Seery. Mr. Seery formerly was the Global Head of Fixed
                Income Loans at Lehman Bros. until its collapse in 2009. While Mr. Seery was Global
                Head, Lehman Bros. did substantial business with Farallon. After Lehman's collapse, Mr.
                Seery joined Sidley & Austin as co-head of the corporate restructuring and bankruptcy
                group, where he worked with Matt Clemente, counsel to the Creditors' Committee in
                Highland's bankruptcy proceedings.

        •       In addition, Grovesnor, one of the lead investors in the Crusader Funds from the
                Redeemer Committee (which appointed Seery as its independent director) both played a
                substantial role on the Creditors' Committee and is a large investor in Farallon and
                Stonehill. It is unclear whether Grovesnor, a registered investment advisor, notified
                minority investors in the Crusader Funds or Farallon and Stonehill of these facts.

        •       According to Farallon principals Raj Patel and Michael Linn, while at Sidley, Mr. Seery
                assisted Farallon in its acquisition of claims in the Lehman estate, and Farallon realized
                more than $100 million in claims on those trades.




22 Compare    Jan. 31, 2021 Monthly Operating Report [Dkt. 2030], with Disclosure Statement (approved on Nov.
24, 2020) {Dkt. 1473]. The increase in value between September 2020 and January 2021 is attributable to the
Debtor's settlement with HarbourVest, which granted HarbourVest a Class 8 claim of $45 million and a Class 9
Claim of $35 million, and in exchange the Debtor received HarbourVest's interest in HCLOF, which in reality was
worth approximately $44.3 million as of January 31, 2021 . See Ex. C. It is also notable that the January 2021
monthly financial report values Class 8 claims at $267 million, an exponential increase over their estimated value
of $74 million in December 2020.
23
   See Ex. F.




                                                                                                                     APP 704
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        •       Also while at Sidley, Mr. Seery represented the Steering Committee in the Blockbuster
                Video bankruptcy; Stonehill (through its Managing Member, John Motulsky) was one of
                the five members of the Steering Committee.

        •       Mr. Seery left Sidley in 2013 to become the President and Senior Investment Partner of
                River Birch Capital, a hedge fund founded by his former Lehman colleagues. He left River
                Birch in October 2017 just before the fund imploded. In 2017, River Birch and Stonehill
                Capital were two of the biggest note holders in the Toys R Us bankruptcy and were
                members of the Toys R Us creditors' committee.

I strongly agree with Mr. Draper that it is suspicious that two firms with such significant ties to Mr. Seery
have purchased $365 million in claims. The aggregate $150 million purchase price paid by Farallon and
Stonehill is 56% of all Class 8 claims, virtually the full plan value expected to be realized after two years.
We believe it is worth investigating whether these claims buyers had access to material, non-public
information regarding the actual value of the estate.

        Other transactions occurring during the Highland bankruptcy also reinforce the suspicion that
insider trading occurred. In particular, it appears that one of the claims buyers, Stonehill, used non-public
information obtained incident to the bankruptcy to purchase stock in NexPoint Strategic Opportunities
Fund (NYSE: NHF), a publicly traded, closed-end '40 Act fund with many holdings in common with
assets held in the Highland estate outlined above. Stonehill is a registered investment adviser with $3
billion under management that has historically owned very few equity interests, particularly equity
interests in a closed-end fund. As disclosed in SEC filings, Stonehill acquired enough stock in NHF
during the second quarter of 2021 to make it Stonehill's eighth largest equity position.

         The timing of the acquisitions of claims by Farallon and Stonehill also raises suspicion. For
example, although notices of the transfer of the claims were filed immediately after the confirmation of
the Debtor's Plan and prior to the effective date of the Plan, it seems likely that negotiations began much
earlier. Transactions of this magnitude do not take place overnight and typically require robust due
diligence. Muck was formed on March 9, 2021, more than a month before it filed notice that it was
purchasing the Acis claim. If the negotiation or execution of a definitive agreement for the purchase
began before or contemporaneously with Muck's formation , then there is every reason to believe that
selling Creditors' Committee members and/or Debtor management provided Farallon with critical non-
public information well before the Creditors' Committee members sold their claims and withdrew from
the Committee. Indeed, Mr. Patel and Mr. Linn have stated to others that they purchased the Acis and
HarbourVest claims in late January or early February. This is strong evidence that negotiation and/or
agreements relating to the purchase of claims from Creditors' Committee members preceded the
confirmation of the Debtor's Plan and the resignation of those members from the Committee.

       Likewise, correspondence from the fund adviser to the Crusader Funds indicates that the
Crusader Funds and the Redeemer Committee had "consummated" the sale of the Redeemer
Committee's claims and other assets on April 30, 2021, "for $78 million in cash, which was paid in full to
the Crusader Funds at closing."24 In addition, that there was a written agreement among Stonehill, the
Crusader Funds, and the Redeemer Committee that sources indicate dates back to the fourth quarter
of 2020. That agreement presumably imposed affirmative and negative covenants upon the seller and
granted the purchaser discretionary approval rights during the pendency of the sale. Such an agreement
would necessarily conflict with the Creditors' Committee members' fiduciary obligations.


24 See Ex. E.




                                                                                                                 APP 705
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        The sale of the claims by the members of the Creditors' Committee also violates the instructions
provided to committee members by the U.S. Trustee that required a selling committee member to obtain
approval from the Bankruptcy Court prior to any sale of such member's claim. No such Court approval
was ever sought or obtained, and the Dallas U.S. Trustee's Office took no action to enforce this
guideline. The Creditors' Committee members were sophisticated entities, and they were privy to inside
information that was not available to other unsecured creditors. For example, valuations of assets placed
into a specially-created affiliated entities, such as the assets acquired in the HarbourVest settlement,
and valuations of assets held by other entities owned or controlled by the Debtor, were available to the
selling Creditors' Committee members, but not to other creditors or parties-in-interest.

       While claims trading itself is not prohibited, there is reason to believe that the claims trading that
occurred in the Highland bankruptcy violated federal law:

            a)     The selling parties were three of the four Creditors' Committee members, and each one
                   had access to information they received in a fiduciary capacity;

            b)     Some of the information they received would have been available to other parties-in-
                   interest if Rule 2015.3 had been enforced;

            c)     The projected recovery to creditors decreased significantly between the approval of the
                   Disclosure Statement and the confirmation of the Debtor's Plan; and

            d)     There was a suspicious purchase of stock by Stonehill in NHF, a closed-end fund
                   previously affiliated with Highland (and now managed by NexPoint Advisors, L.P.) that is
                   publicly traded on the New York stock exchange.The Debtor's assets and the positions
                   held by the closed-end fund are similar.

Mr. Seery's Compensation Structure Encouraged Misrepresentations Regarding the Value of the
Estate and Assets of the Estate

        An additional problem in Highland's bankruptcy is that Mr. Seery, as an Independent Director
as well as the Debtor's CEO and CRO, received financial incentives that encouraged claims trading and
dealing in insider information.

       Mr. Seery received sizeable compensation for his heavy-handed role in Highland's bankruptcy.
Upon his appointment as an Independent Director in January 2020, Mr. Seery received compensation
from the Debtor of $60,000 per month for the first three months, $50,000 per month for the following
three months, and $30,000 per month for remaining months, subject to adjustment by agreement with
the Debtor.25 When Mr. Seery subsequently was appointed the Debtor's CEO and CRO in July 2020, he
received additional compensation, including base compensation of $150,000 per month retroactive to
March 2020 and for so long as he served in those roles, as well as a "Restructuring Fee."26 Mr. Seery's
employment agreement contemplated that the Restructuring Fee could be calculated in one of two ways:

          (1)      If Mr. Seery were able to resolve a material amount of outstanding claims against the
                   estate, he would be entitled to $1 million on confirmation of what the Debtor termed a




25 See 0kt. 339,   ,r 3.
26
     See 0kt. 854, Ex. 1.




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               "Case Resolution Plan," $500,000 at the effective date of the Case Resolution Plan, and
               $750,000 upon completion of distributions to creditors under the plan.

       (2)     If, by contrast, Mr. Seery were not able to resolve the estate and instead achieved a
               "Monetization Vehicle Plan," he would be entitled to $500,000 on confirmation of the
               Monetization Vehicle Plan, $250,000 at the effective date of that plan, and-most
               importantly-a to-be-determined "contingent restructuring fee" based on "performance
               under the plan after all material distributions" were made.

The Restructuring Fee owed for a Case Resolution Plan was materially higher than that payable under
the Monetization Vehicle Plan and provided a powerful economic incentive for Mr. Seery to resolve
creditor claims in any way possible. Notably, at the time of Mr. Seery's formal appointment as CEO/CR0,
he had already negotiated settlements in principle with Acis and the Redeemer Committee, leaving only
the HarbourVest and UBS claims to resolve.

        Further, after the Plan's effective date, as appointed Claimant Trustee, Mr. Seery was promised
compensation of $150,000 per month (termed his "Base Salary"), subject to the negotiation of additional
"go-forward" compensation, including a "success fee" and severance pay.27 Mr. Seery's success fee
presumably will be based on whether the Plan outperforms what was disclosed in the Plan Analysis. In
other words, Mr. Seery had a financial incentive to grossly understate the value of the estate in public
disclosures, not only to facilitate claims trading and resolution of the biggest claims in bankruptcy (for
purposes of obtaining the larger Case Resolution Fee) but also to ensure that he eventually receives a
large "success fee." Again, we estimate that, based on the estate's nearly $600 million value today, Mr.
Seery's success fee could approximate $50 million.

         One excellent example of the way in which Mr. Seery facilitated claims trading and thereby lined
his own pockets is the sale of UBS's claim. Based on the publicly-available information at the time
Stonehill and Farallon purchased the UBS claim, the purchase made no economic sense. At the time,
the publicly-disclosed Plan Analysis estimated that there would be a 71.32% distribution to Class 8
creditors and a 0.00% distribution to Class 9 creditors, which would mean believe is that, at the time of
their claims purchase, the estate actually was worth much, much more (between $472-$600 million). If,
prior to their claims purchases, Mr. Seery (or others in the Debtor's management) apprised Stonehill
and Farallon of the true estate value (which was material, non-public information at the time), then the
value they paid for the UBS claim made sense, because they would have known they were likely to
recover close to 100% on Class 8 and Class 9 claims.

        But perhaps the most important evidence of mismanagement of this bankruptcy proceeding and
misalignment of financial incentives is the Debtor's repeated refusal to resolve the estate in full despite
dozens of opportunities to do so. Immediately prior to the Plan confirmation hearing, Judge Jernigan
suggested that the Creditors' Committee and Mr. Dondero attempt to reach a settlement. Mr. Dondero,
through counsel, already had made 35 offers of settlement that would have maximized the estate's
recovery, even going so far as to file a proposed plan of reorganization . Some of these offers were
valued between $150 and $232 million. And we now believe that as of August 1, 2020, the Debtor's
estate had an actual value of at least $460 million, including $105 million in cash and a $50 million
revolving credit facility. With Mr. Dondero's offer, the Debtor's cash and the credit facility could have
resolved the estate, which would have enabled the Debtor to pay all proofs of claim, leave a residual
estate intact for equity holders, and allow the company to continue to operate as a going concern.


27 See Plan Supplement, Dkt. 1875, § 3.13(a)(i).




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        Nonetheless, neither the Debtor nor the Creditors' Committee responded to Mr. Dondero's offers.
It was not until The Honorable Former Judge D. Michael Lynn, counsel for Mr. Dondero, reminded the
Creditors' Committee counsel that its members had a fiduciary duty to respond that a response was
forthcoming. We believe Mr. Dondero's proposed plan offered a materially greater recovery than what
the Debtor had reported would be the expected Plan recovery. The Creditors' Committee's failure to
timely respond to that offer suggests that Debtor management, the Creditors' Committee, or both were
financially disincentivized from accepting a case resolution offer and that some members of the
Creditors' Committee were contractually constrained from doing so.

        What happened instead was that the Debtor, its management, and the Creditors' Committee
brokered deals that allowed grossly inflated claims and sales of those claims to a small group of investors
with significant ties to Debtor management. In a transparent bankruptcy proceeding, we question
whether any of this could have happened. What we do know is that the Debtor's non-transparent
bankruptcy has ensured there will be nothing left for residual stakeholders, while enriching a handful of
intimately connected individuals and investors.

The Debtor's Management and Advisors Are Almost Totally Insulated From Liability

        Despite the mismanagement of bankruptcy proceedings, the Bankruptcy Court has issued a
series of orders ensuring that the Debtor and its management cannot not be held liable for their actions
in bankruptcy.

       In particular, the Court issued a series of orders protecting Mr. Seery from potential liability for
any act undertaken in the management of the Debtor or the disposition of its assets:

        •           In its order approving the settlement between the Creditors' Committee and Mr. Dondero,
                    the Court barred any Debtor entity "from commenc[ing] or pursu[ing] a claim or cause of
                    action of any kind against any Independent Director, any Independent Director's agents,
                    or any Independent Director's advisors relating in any way to the Independent Director's
                    role as an independent director" unless the Court first (1) determined the claim was a
                    "colorable" claim for willful misconduct or gross negligence, and (2) authorized an entity
                    to bring the claim. The Court also retained "sole jurisdiction" over any such claim. 28

        •           In its order approving the Debtor's retention of Mr. Seery as its Chief Executive Officer
                    and Chief Restructuring Officer, the Court issued an identical injunction barring any
                    claims against Mr. Seery in his capacity as CEO/CRO without prior court approval. 29 The
                    same order authorized the Debtor to indemnify Mr. Seery for any claims or losses arising
                    out of his engagement as CEO/CR0. 30

       Worse still, the Plan approved by the Bankruptcy Court contains sweeping release and
exculpation provisions that make it virtually impossible for third parties, including investors in the
Debtor's managed funds, to file claims against the Debtor, its related entities, or their management. The
Plan's exculpation provisions contain also contain a requirement that any potential claims be vetted and
approved by the Bankruptcy Court. As Mr. Draper already explained, these provisions violate the holding

28 Dkt. 339,   ,r 10.
29 Order Approving Debtor's Motion Under Bankruptcy Code Sections 105{a) and 363{b) Authorizing Retention of

James P. Seery, Jr. as Chief Executive Office, Chief Restructuring Officer, and Foreign Representative Nunc Pro
Tune to March 15, 2020, 0kt. 854, ,r 5.
30
   Dkt. 854, 1f 4 & Exh. 1.




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of In re Pacific Lumber Co., in which the United States Court of Appeals for the Fifth Circuit rejected
similarly broad exculpation clauses. 31

         The fundamental problem with the Plan's broad exculpation and release provisions has been
brought into sharp focus in recent days, with the filing of a lawsuit by the Litigation Trustee against Mr.
Dondero, other individuals formerly affiliated with Highland, and several trusts and entities affiliated with
Mr. Dondero.32 Among other false accusations, that lawsuit alleges that the aggregate amount of allowed
claims in bankruptcy was high because the Debtor and its management were forced to settle with various
purported judgment creditors who had engaged in pre-petition litigation with Mr. Dondero and Highland.
But it was Mr. Seery and Debtor's management, not Mr. Dondero and the other defendants, who
negotiated those settlements with creditors in bankruptcy and who decided what value to assign to their
claims. Ordinarily, Mr. Dondero and the other defendants could and would file compulsory counterclaims
against the Debtor and its management for their role in brokering and settling claims in bankruptcy. But
the Bankruptcy Court has effectively precluded such counterclaims (absent the defendants obtaining
the Court's advance permission to assert them) by releasing the Debtor and its management from
virtually all liability in relation to their roles in the bankruptcy case. That is a violation of due process.

        Notably, the U.S. Trustee's Office recently has argued in the context of the bankruptcy of Purdue
Pharma that release and exculpations clauses akin to those contained in Highland's Plan violate both
the Bankruptcy Code and the Due Process Clause of the United States Constitution. 33 In addition, the
U.S. Trustee explained that the bankruptcy courts lack constitutional authority to release state-law
causes of action against debtor management and non-debtor entities.34 Indeed, it has been the U.S.
Trustee's position that where, as here, third parties whose claims are being released did not receive
notice of the releases and had no way of knowing, based on the applicable plan's language, what claims
were extinguished, third-party releases are contrary to law. 35 This position comports with Fifth Circuit
case law, which makes clear that releases must be consensual, and that the released party must make
a substantial contribution in exchange for any release.

         As a result of the release and exculpation provisions of the Plan, employees and third-party
investors in entities managed by the Debtor who are harmed by actions taken by the Debtor and its
management in bankruptcy are barred from asserting their claims without prior Bankruptcy Court
approval. Those third parties' claims are barred notwithstanding that they were not notified of the
releases and have never been given any information with which to evaluate their potential claims (as
mentioned, the Debtor has not disclosed several major assets sales, nor does the Plan require the
Debtor to disclose post-confirmation asset sales). Conversely, the releases insulate claims purchasers
from the risk of potential actions by investors in funds managed by the Debtor (for breach of fiduciary
duty, diminution in value, or otherwise). These releases are directly at odds with investors' expectations
and the written documents delivered to and approved by investors when they invest in managed funds-
i.e., that fund managers will act in a fiduciary capacity to maximize investors' returns and that investors
will have recourse for any failure to do so.




31 584 F.3d 229 (5th Cir. 2009).
32 The Plan created a Litigation Sub-Trust to be managed by a Litigation Trustee, whose sole mandate is to file

lawsuits in an effort to realize additional value for the estate.
33 See Memorandum of Law in Support of United States Trustee's Expedited Motion for Stay of Confirmation Order,
In re Purdue Pharma, L.P., Case No. 19-23649 (ROD) (Bankr. S.D.N.Y.), Doc. 3778 at 17-25.
34   Id. at 26-28.
35 See id. at 22.




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         As an example, the Court approved the settlement of UBS's claim against the Debtor and two
funds managed by the Debtor (collectively referred to as "MultiStrat"). Pursuant to that settlement,
MultiStrat agreed to pay UBS $18.5 million. But the settlement made no sense for several reasons. First,
Highland owns approximately 48% of MultiStrat, so causing MultiStrat to make such a substantial
payment to settle a claim in Highland's bankruptcy necessarily negatively impacted its other non-Debtor
investors. Second, in its lawsuit, UBS alleged that MultiStrat wrongfully received a $6 million payment,
but MultiStrat paid more than three times this amount to settle allegations against it-a deal that made
little economic sense. Finally, as part of the settlement, MultiStrat represented that it was advised by
"independent legal counsel" in the negotiation of the settlement, a representation that was patently
untrue. 36 In reality, the only legal counsel advising MultiStrat was the Debtor's counsel, who had
economic incentives to broker the deal in a manner that benefited the Debtor rather than MultiStrat and
its investors.37 If (as it seems) that representation and/or the terms of the UBS/MultiStrat settlement
unfairly impacted MultiStrat's investors, they now have no recourse against the Debtor. The release and
exculpation provisions in Highland's Plan do not afford third parties any meaningful recourse, even when
they are negatively impacted by misrepresentations of the type contained in the UBS/MultiStrat
settlement or when their interests are impaired by fund managers' failure to obtain fairness opinions to
resolve conflicts of interest.

Bankruptcy Proceedings Are Used As an End-Run Around Applicable Legal Duties

        The UBS deal is but one example of how Highland's bankruptcy proceedings, including the
settlement of claims and claims trading that occurred, seemingly provided a safe harbor for violations of
multiple state and federal laws. For example, the Investment Advisors Act of 1940 requires registered
investment advisors like the Debtor to act as fiduciaries of the funds that they manage. Indeed, the Act
imposes an "affirmative duty of 'utmost good faith' and full and fair disclosure of material facts" as part
of advisors' duties of loyalty and care to investors. See 17 C.F.R. Part 275. Adherence to these duties
means that investment advisors cannot buy securities for their account prior to buying them for a client,
cannot make trades that may result in higher commissions for the advisor or their investment firm, and
cannot trade using material, non-public information. In addition, investment advisors must ensure that
they provide investors with full and accurate information regarding the assets managed.

        State blue sky laws similarly prohibit firms holding themselves out as investment advisors from
breaching these core fiduciary duties to investors. For example, the Texas Securities Act prohibits any
registered investment advisor from trading on material, non-public information. The Act also conveys a
private right of action to investors harmed by breaches of an investment advisor's fiduciary duties.

       As explained above, Highland executed numerous transactions during its bankruptcy that may
have violated the Investment Advisors Act and state blue sky laws. Among other things:

         •      Highland facilitated the purchase of HarbourVest's interest in HCLOF (placing that
                interest in an SPE designated by the Debtor) without disclosing the true value of the
                interest and without first offering it to other investors in the fund;




36 See Doc. 2389 (Order Approving Debtor's Settlement With UBS Securities LLC and UBS AG London Branch)
at Ex. 1, §§ 1(b), 11 ; see Appendix, p. A-57.
37 The Court's order approving the UBS settlement is under appeal in part based on MultiStrat's lack of independent

legal counsel.




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       •       Highland concealed the estate's true value from investors in its managed funds, making
               it impossible for those investors to fairly evaluate the estate or its assets during
               bankruptcy;

       •       Highland facilitated the settlement of UBS's claim by causing MultiStrat, a non-Debtor
               managed entity, to pay $18.5 million to the Debtor, to the detriment of MultiStrat's
               investors; and

       •       Highland and its CEO/CRO, Mr. Seery, brokered deals between three of four Creditors'
               Committee members and Farallon and Stonehill-deals that made no sense unless
               Farallon and Stonehill were supplied material, non-public information regarding the true
               value of the estate.

In short, Mr. Seery effectuated trades that seemingly lined his own pockets, in transactions that we
believe detrimentally impacted investors in the Debtor's managed funds.

                                            CONCLUSION

        The Highland bankruptcy is an example of the abuses that can occur if the Bankruptcy Code and
Bankruptcy Rules are not enforced and are allowed to be manipulated, and if federal law enforcement
and federal lawmakers abdicate their responsibilities. Bankruptcy should not be a safe haven for perjury,
breaches of fiduciary duty, and insider trading, with a plan containing third-party releases and sweeping
exculpation sweeping everything under the rug. Nor should it be an avenue for opportunistic venturers
to prey upon companies, their investors, and their creditors to the detriment of third-party stakeholders
and the bankruptcy estate. My clients and I join Mr. Draper in encouraging your office to investigate,
fight, and ultimately eliminate this type of abuse, now and in the future.

                                                    Best regards,

                                                                        KOPF & HARR, P.C.




                                                    By: _ _ _ _ _ _ _ _ _ _ __
                                                           Davor Rukavina, Esq.

DR:pdm




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                                                                                                      Relationships Among Debtor’s CEO/CRO, the UCC, and Claims Purchasers
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                                                                                                                                                                                                                                          Longtime General
                                                                                Farallon                                      Jim Seery                                  Stonehill                                                            Counsel
                                                                                  Cap.                                         Debtor’s                                    Cap.
                                                                                 Mgmt.                                         CEO and                                    Mgmt.
                                                                                                                                 CRO
                                                                                                                                                                                                                                               Grosvenor
                                                                                                                                                                                                                                                 Cap.
                                                                                                                       Partner and Head of                                                                                                      Mgmt.
                                                                                                                          NY BK Section
                                                                                                                                                                                                                 Redeemer
                                                                                                                           [2009 – 2013]                                                                         Committe
                                                                                                                                                                                                                  e of the
                                                                                                                                                                                                                 Crusader

                                                                                Blockbuste                                                                                HCMLP
                                                                                   r BK                                       Sidley &                                   Creditors
                                                                                                        Counsel to             Austin           Counsel to UCC
                                                                                                                                                                         Committe
                                                                                 Steering                                                      (Matt Clemente)              e                        Committee
                                                                                Committee           Steering Committee
                                                                                                                                                                                                      Member
                                                                                                        (Jim Seery)


                                                                                                                                                                                                           UBS

                                                                                                                                          Acquired Acis Claim
                                                                                                                                                                -- .     Acis Cap.
                                                                                                                                                                          Mgmt.
                                                                                                                                                                                                                        *Is there an affiliate relationship
                                                                                                                                                                                                                        between Stonehill, Grosvenor, and
                                                                                                                                                                                                                        Farallon? Has it been adequately

                                                                                                                               ot ussaClaims
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                               Debtor Protocols [Doc. 466-1]

        I.    Definitions
              A.     "Court" means the United States Bankruptcy Court for the Northern District of
                     Texas.
              B.     "NAV" means (A) with respect to an entity that is not a CLO, the value of such
                     entity's assets less the value of its liabilities calculated as of the month end prior
                     to any Transaction; and (B) with respect to a CLO, the CLO's gross assets less
                     expenses calculated as of the quarter end prior to any Transaction.
              C.     "Non-Discretionary Account" means an account that is managed by the Debtor
                     pursuant to the terms of an agreement providing, among other things, that the
                     ultimate investment discretion does not rest with the Debtor but with the entity
                     whose assets are being managed through the account.
              D.     "Related Entity" means collectively (A)(i) any non-publicly traded third party in
                     which Mr. Dondero, Mr. Okada, or Mr. Grant Scott, or Mr. John Honis (with
                     respect to Messrs. Okada, Scott and Houis, only to the extent known by the
                     Debtor) has any direct or indirect economic or ownership interest, including as a
                     beneficiary of a trust; (ii) any entity controlled directly or indirectly by Mr.
                     Dondero, Mr. Okada, Mr. Grant Scott, or Mr. John Houis (with respect to Messrs.
                     Okada, Scott and Hanis, only to the extent known by the Debtor); (iii) MGM
                     Holdings, Inc.; (iv) any publicly traded company with respect to which the Debtor
                     or any Related Entity has filed a Form 13D or Form 13G; (v) any relative (as
                     defined in Section 101 of the Bankruptcy Code) of Mr. Dondero or Mr. Okada
                     each solely to the extent reasonably knowable by the Debtor; (vi) the Hunter
                     Mountain Investment Trust and Dugaboy Investment Trust; (vii) any entity or
                     person that is an insider of the Debtor under Section 101(31) tbe Bankruptcy
                     Code, including any "non-statutory" insider; and (viii) to the extent not included
                     in (A)(i)-(vii), any entity included in the listing of related entities in Schedule B
                     hereto (the "Related Entities Listing"); and (B) the following Transactions,
                     (x) any intercompany Transactions with certain affiliates referred to in paragraphs
                     16.a through 16.e of the Debtor's cash management motion [Del. Docket o. 7];
                     and (y) any Transactions with Charitable DAF Fund, L.P. (provided, however,
                     that additional parties may be added to this subclause (y) with the mutual consent
                     of the Debtor and the Committee, such consent not to be unreasonably withheld).
              E.     "Stage 1" means the time period from the date of execution of a term sheet
                     incorporating the protocols contained below the ("Tenn Sheet") by all applicable
                     parties until approval of the Term Sheet by the Court.
              F.     "Stage 2" means the date from the appointment of a Board of Independent
                     Directors at Strand Advisors, Inc. until 45 days after such appointment, such
                     appointment being effective upon Court approval.
              G.     "Stage 3" means any date after Stage 2 while there is a Board of Independent
                     Directors at Strand Advisors, Inc.
              H.     ''Transaction" means (i) any purchase, sale, or exchange of ass ts, (ii) any lending
                     or borrowing of money, including the direct payment of any obligations of
                     another entity, (iii) the satisfaction of any capital call or other contractual



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                     requirement to pay money, including the satisfaction of any redemption requests,
                     (iv) funding of affiliates and (v) the creation of any lien or encumbrance.
              I.     "Ordinary Course Transaction" means any transaction with any third party which
                     is not a Related Entity and that would otherwise constitute an "ordinary course
                     transaction" under section 363(c) of the Bankruptcy Code.
              J.     "Notice" means notification or communication in a written format and shall
                     include supporting documents necessary to evaluate the propriety of the proposed
                     transaction.
              K.     "Specified Entity" means any of the following entities: ACIS CLO 2017-7 Ltd.,
                     Brentwood CLO, Ltd., Gleneagles CLO, Ltd., Greenbriar CLO, Ltd., Highland
                     CLO 20 18- 1, Ltd., Highland Legacy Limited, Highland Loan Funding V Ltd.,
                     Highland Park CDO I, Ltd., Pam Capital Funding LP, PamCo Cayman Ltd.,
                     Rockwall CDO II Ltd., Rockwall CDO Ltd., Southfork CLO Ltd., Stratford CLO
                     Ltd., Westchester CLO, Ltd., Aberdeen Loan Funding, Ltd., Bristol Bay Funding
                     Ltd. Eastland CLO, Ltd., Grayson CLO, Ltd., Highland Credit Opportunities
                     CDO Ltd., Jasper CLO, Ltd., Liberty Cayman Holdings, Ltd., Liberty CLO, Ltd.,
                     Red River CLO, Ltd., Valhalla CLO, Ltd.
         U.   Transactions involving the (i) assets held directly on the Debtor's balance sheet or
              the balance sheet of the Debtor's wholly-owned subsidiaries, including Jefferies
              Prime Account, and (ii) the Highland Select Equity Fund, L.P., Highland Multi
              Strategy Credit Fund, L.P., and Highland Restoration Capital Partners
              A.     Covered Entities: NIA (See entities above).
              B.     Operating Requirements
                     1.     Ordinary Course Transactions do not require Court approval (All Stages).
                            a)     Stage l and Stage 2: ordinary course determined by the CRO.
                            b)     Stage 3: ordinary course determined by the Debtor.
                     2.     Related Entity Transactions
                            a)     Stage 1 and Stage 2: Transactions with Related Entities require
                                   prior approval of CRO and five business days advance notice to
                                   the Committee and if the Committee objects, the burden is on the
                                   Debtor to seek Court approval, which the Committee agrees may
                                   be sought on an expedited basis.
                            b)     Stage 3:
                                   (1)    Transactions with Related Entities greater than $1,000,000
                                          (either individually or in the aggregate basis on a rolling 30
                                          day period) require five business days advance notice to the
                                          Committee and if the Committee objects, the burden is on
                                          the Debtor to seek Court approval, which the Committee
                                          agrees may be sought on an expedited basis.




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                                                                                                       APP 715
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                                            (2)      Transactions with Related Entities greater than $2,000,000
                                                     ( either individually or in the aggregate basis on a rolling 30
                                                     day period) require Court approval, which the Committee
                                                     agrees may be sought on an expedited basis.
                           3.       Third Party Transactions (All Stages)
                                    a)      Except as set forth in (b) and (c) below, Transactions in excess of
                                            $2,000,000 (either individually or in the aggregate basis on a
                                            rolling 30 day period) require three business days advance notice
                                            to Committee and if the Committee objects, the burden is on the
                                            Debtor to seek Court approval, which the Committee agrees may
                                            be sought on an expedited basis.
                                    b)      The Debtor may satisfy any redemption requests from entities that
                                            are not Related Entities without advance notice so long as the
                                            Debtor provides notice of such Transactions to the Committee as
                                            soon as reasonably practicable. The Debtor will provide the
                                            Committee with five business days advance notice of any
                                            redemption requests made by and payable to a Related Entity, and
                                            if the Committee objects, the burden is on tlhe Debtor to seek Court
                                            approval, which the Committee agrees may be sought on an
                                            expedited basis.
                                    c)      The Debtor may satisfy margin calls and short covers without
                                            providing the Committee advance notice if the exigencies do not
                                            allow advance notice so long as the Debtor provides notice of such
                                            Transactions to the Committee as soon as reasonably practicable.
                  C.       W eekly Reporting: The Debtor will provide the Committee with weekly reports
                           s howing all Transactions under this category.
          m.      Transactions involving entities the Debtor manages and in which the Debtor holds a
                  direct or indirect interest (other than the entities discussed in Section I above)
                  A.       Covered Entities: See Schedule A hereto. Schedule A includes or will include
                           all entities the Debtor manages and in which the Debtor holds a direct or indirect
                           interest (other than the entities discussed in Section I above). 1
                  B.       Operating Requirements
                           I.       Ordinary Course Transactions do not require Court approval (All Stages).
                                    a)      Stage l and Stage 2: ordinary course determined by the CRO.
                                    b)      Stage 3: ordinary course determined by the D ebtor.
                           2.       Related Entity Transactions



          1 The Debtor is continuing to review the Related Entities List and to determine whether any additional parties or

          entities should be included on Schedule A. The Debtor will update Schedule A as soon as reasonably practicable to
          the extent necessary.




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                                                                                                                              APP 716
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                     a)     Stage 1 and Stage 2: Transactions with Related Entities require
                            prior approval of CRO and five business days advance notice to
                            the Committee and if the Committee objects, the burden is on the
                            Debtor to seek Court approval, which the Committee agrees may
                            be sought on an expedited basis.
                     b)     Stage 3:
                            (1)    Transactions with Related Entities greater than $1,000,000
                                   ( either individually or in the aggregate basis on a rolling 30
                                   day period) require five business days advance notice to the
                                   Committee and if the Committee objects, the burden is on
                                   the Debtor to seek Court approval, which the Committee
                                   agrees may be sought on an expedited basis.
                            (2)    Transactions with Related Entities greater than $2,000,000
                                   ( either individually or in the aggregate basis on a rolling 30
                                   day period) require Court approval, which the Committee
                                   agrees may be sought on an expedited basis.
               3.    Third Party Transactions (All Stages)
                     a)     Except as set forth in (b) and (c) below, Transactions in excess of
                            $2,000,000 (either individually or in the aggregate basis on a
                            rolling 30 day period) require three business days advance notice
                            to Committee and if the Committee objects, the burden is on the
                            Debtor to seek Court approval, which the Committee agrees may
                            be sought on an expedited basis.
                     b)     The Debtor may satisfy any redemption requests from entities that
                            are not Related Entities without advance notice so long as the
                            Debtor provides notice of such Transactions to the Committee as
                            soon as reasonably practicable. The Debtor will provide the
                            Committee with five business days advance notice of any
                            redemption requests made by and payable to a Related Entity, and
                            if the Committee objects, the burden is on the Debtor to seek Court
                            approval, which the Committee agrees may be sought on an
                            expedited basis.
                     c)     The Debtor may satisfy margin calls and short covers without
                            providing the Committee advance notice if the exigencies do not
                            allow advance notice so long as the Debtor provides notice of such
                            Transactions to the Committee as soon as reasonably practicable.
          C.   Weekly Reporting: The Debtor will provide the Committee with weekly reports
               showing all Transactions under this category.




                                                                                     Page A-6


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    IV.     Transactions involving entities that the Debtor manages but in which the Debtor
            does not hold a direct or indirect interest
            A.       Covered Entities: See Schedule A hereto. Schedule A includes or will include
                     all entities that the Debtor manages but in which the Debtor does not hold a direct
                     or indirect interest. 2
            B.       Operating Requirements
                     l.       Ordinary Course Transactions do not require Court approval (All Stages).
                              a)      Stage 1 and Stage 2: ordinary course determined by the CRO.
                              b)      Stage 3: ordinary course determined by the Debtor.
                     2.       Related Entity Transactions
                              a)      Stage 1 and Stage 2: Transactions with Related Entities require
                                      prior approval of CRO and five business days advance notice to
                                      the Committee and if the Committee objects, the burden is on the
                                      Debtor to seek Court approval, which the Committee agrees may
                                      be sought on an expedited basis.
                              b)      Stage 3:
                                      (1)      Transactions with Related Entities greater than $1,000,000
                                               (either individually or in the aggregate basis on a rolling 30
                                               day period) require five business days advance notice to the
                                               Committee and if the Committee obj ects, the burden is on
                                               the Debtor to seek Court approval, which the Committee
                                               agrees may be sought on an expedited basis.
                                      (2)      Transactions with Related Entities greater than $2,000,000
                                               (either individually or in the aggregate basis on a rolling 30
                                               day period) require Court approval, which the Committee
                                               agrees may be sought on an expedited basis.
                     3.       Third Party Transactions (All Stages):
                              a)      Except (x) as set forth in (b) and (c) below and (y) for any
                                      Transaction involving a Specified Entity and the sale or purchase
                                      by such Specified Entity of an asset that is not an obligation or
                                      security issued or guaranteed by any of the Debtor, a Related
                                      Entity or a fund, account, portfolio company owned, controlled or
                                      managed by the Debtor or a Related Entity, where such
                                      Transaction is effected in compliance with the collateral
                                      management agreement to which such Specified Entity is party,
                                      any Transaction that decreases the NAV of an entity managed by
                                      the Debtor in excess of the greater of (i) 10% of NAV or (ii)
                                      $3,000,000 requires five business days advance notice to

    2 The Debtor is continuing to review the Related Entities List and to determine whether any additional parties or
    entities should be included on Schedule A. The Debtor will update Schedule A as soon as reasonably practicable to
    the extent necessary.




                                                                                                             Page A-7


                                                                                                                        APP 718
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                                       Committee and if the Committee objects, the burden is on the
                                       Debtor to seek Court approval, which the Committee agrees may
                                       be sought on an expedited basis.
                               b)      The Debtor may satisfy any redemption requests from entities that
                                       are not Related Entities without advance notice so long as the
                                       Debtor provides notice of such Transactions to the Committee as
                                       soon as reasonably practicable. The Debtor will provide the
                                       Committee with five business days advance notice of any
                                       redemption requests made by and payable to a Related Entity, and
                                       if the Committee objects, the burden is on the Debtor to seek Court
                                       approval, which the Committee agrees may be sought on an
                                       expedited basis.
                               c)      The Debtor may take such steps as may be reasonably necessary to
                                       winddown any managed entity and make distributions as may be
                                       required in connection with such winddown to any required
                                       parties. The Debtor will provide the Committee with five business
                                       days advance notice of any distributions to be made to a Related
                                       Entity, and if the Committee objects, the burden is on the Debtor to
                                       seek Court approval, which the Committee agrees may be sought
                                       on an expedited basis.
             C.       Weekly Reporting: The Debtor will provide the Committee with weekly reports
                      showing all Transactions under this category. Such reports will include
                      Transactions involving a Specified Entity unless the Debtor is prohibited from
                      doing so under applicable law or regulation or any agreement governing the
                      Debtor's relationship with such Specified Entity.
     V.      Transactions involving entities that the Debtor does not manage but in which the
             Debtor holds a direct or indirect interest
             A.       Covered Entities: See Schedule A hereto. Schedule A includes or will include all
                      entities that the Debtor does not manage but in which the Debtor holds a direct or
                      indirect interest. 3
             B.       Ordinary Course Transactions (AU Stages): NIA
             C.       Operating Requirements: NI A
             D.       Weekly Reporting: Debtor will provide weekly reports of all cross-held asset
                      Transactions, i.e. Transactions in which the Debtor or a Related Entity also holds
                      a direct or indirect interest.




     3 The Debtor is continuing to review the Related Entities List and to determine whether any additional parties or

     entities should be included on Schedule A. The Debtor will update Schedule A as soon as reasonably practicable to
     the extent necessary.




                                                                                                                Page A-8


                                                                                                                           APP 719
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   VI.     Transactions involving entities that the Debtor does not manage and in which the
           Debtor does not hold a direct or indirect interest
           A.       Covered Entities: See Schedule A hereto. Schedule A includes or will include all
                    entities that the Debtor does not manage and in which the Debtor does not hold a
                    direct or indirect interest. 4
           B.       Ordinary Course Transactions (All Stages): NIA
           C.       Operating Requirements: NI A
           D.       Weekly Reporting: Debtor will provide weekly reports of all cross-held asset
                    Transactions, i.e. Transactions in which the Debtor or a Related Entity also holds
                    a direct or indirect interest.
   VII.    Transactions involving Non-Discretionary Accounts
           A.       Covered Entities: See Schedule A hereto. Schedule A includes or will include all
                    non-discretionary accounts.5
           B.       Ordinary Course Transactions (All Stages): NIA
           C.       Operating Requirements: NIA
           D.       Weekly Reporting: Debtor will provide weekly reports of all cross-held asset
                    Transactions, i.e. Transactions in which the Debtor or a Related Entity also holds
                    a direct or indirect interest.
   VIII. Additional Reporting Requirements - All Stages (to the extent applicable)
           A.       DSI will provide detailed lists and descriptions of internal financial and
                    operational controls being applied on a daily basis for a full understanding by the
                    Committee and its professional advisors three (3) business days in advance of the
                    hearing on the approval of the Term Sheet and details of proposed amendments to
                    said financial and operational controls no later than seven (7) days prior to their
                    implementation.
           B.       The Debtor will continue to provide weekly budget to actuals reports referencing
                    their 13-week cash flow budget, such reports to be inclusive of all Transactions
                    with Related Entities.
   IX.     Shared Services
           A.       The Debtor shall not modify any shared services agreement without approval of
                    the CRO and Independent Directors and seven business days' advance notice to
                    counsel for the Committee.
           B.       The Debtor may otherwise continue satisfying its obligations under the shared
                    services agreements.
   4
     The Debtor is continuing to review the Related Entities List and to determine whether any additional parties or
   entities should be included on Schedule A. The Debtor will update Schedule A as soon as reasonably practicable to
   the extent necessary.
   5 The Debtor is continuing to review the Related Entities List and to determine whether any additional parties or
   entities should be included on Schedule A. The Debtor will update Schedule A as soon as reasonably practicable to
   the extent necessary.




                                                                                                              Page A-9


                                                                                                                         APP 720
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  x.   Representations and Warranties
       A.    The Debtor represents that the Related Entities Listing included as Schedule B
             attached hereto lists all known persons and entities other than natural persons
             included in the definitions of Related Entities covered by Section I.D parts A(i)-
             (vii) above at the time of the execution of the Term Sheet.
       B.    The Debtor represents that the list included as Schedule C attached hereto lists all
             known natural persons included in the definitions of Related Entities covered by
             Section I.D parts A(i)-(vii) above at the time of the execution of the Term Sheet.
       C.    The Debtor represents that, if at any time the Debtor becomes aware of any
             person or entity, including natural persons, meeting the definition of Related
             Entities covered by Section I.D parts A(l)-(vii) above that is not included in the
             Related Entities Listing or Schedule C, the Debtor shall update the Related
             Entities Listing or Schedule C, as appropriate, to include such entity or person and
             shall give notice to the Committee thereof.




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                                                                                                    APP 721
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                                                   Schedule A~
   Entities the Debtor manages and in which the Debtor holds a direct or indirect interest
              l. Highland CLO Funding, Ltd. (0.63% Ownership Interest)
              2. Dynamic Income Fund (0.26% Ownership Interest)
   Entities that the Debtor manages but in which the Debtor does not hold a direct or indirect
   interest
              l.   Highland Prometheus Master Fund L.P.
              2.   NexAnnuity Life Insurance Company
              3.   PensionDanmark
              4.   Highland Argentina Regional Opportunity Fund
              5.   LonghomA
              6.   LonghomB
              7.   Collateralized Loan Obligations
                   a) Rockwall II CDO Ltd.
                   b) Grayson CLO Ltd.
                   c) Eastland CLO Ltd.
                   d) Westchester CLO, Ltd.
                   e) Brentwood CLO Ltd.
                   t) Greenbriar CLO Ltd.
                   g) Highland Park CDO Ltd.
                   h) Liberty CLO Ltd.
                   i) Gleneagles CLO Ltd.
                   j) Stratford CLO Ltd.
                   k) Jasper CLO Ltd.
                   I) Rockwall DCO Ltd.
                   m) Red River CLO Ltd.
                   n) Hi V CLO Ltd.
                   o) ValhaJla CLO Ltd.
                   p) Aberdeen CLO Ltd.
                   q) South Fork CLO Ltd.
                   r) Legacy CLO Ltd.
                   s) Pam Capital
                   t) Pamco Cayman
   Entities that the Debtor does not manage but in which the Debtor holds a direct or indirect
   interest
              1.   Highland Opportunistic Credit Fund
              2.   Highland Healthcare Opportunities Fund f/k/a Highland Long/Short Healthcare Fund
              3.   NexPoint Real Estate Strategies Fund
              4.   Highland Merger Arbitrage Fund
              5.   NexPoint Strategic Opportunities Fund
              6.   Highland Small Cap Equity Fund
              7.   Highland Global Allocation Fund

   6 NTD:   Schedu[e A is work in process and may be supplemented or amended.




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          8. Highland Socially Responsible Equity Fund
          9. Highland Income Fund
          10. Stonebridge-Highland Healthcare Private Equity Fund ("Korean Fund")
          11. SE Multifamily, LLC
   Entities that the Debtor does not manage and in which the Debtor does not hold a direct or
   indirect interest
          1. The Dugaboy Investment Trust
          2. NexPoint Capital LLC
          3. NexPoint Capital, Inc.
          4. Highland !Boxx Senior Loan ETF
          5. Highland Long/Short Equity Fund
          6. Highland Energy MLP Fund
          7. Highland Fixed Income Fund
          8. Highland Total Return Fund
          9. NexPoint Advisors, L.P.
          I0. Highland Capital Management Services, Inc.
          11. Highland Capital Management Fund Advisors L.P.
          12. ACIS CLO Management LLC
          13. Governance RE Ltd
          14. PCMG Trading Partners XXIJI LP
          15. NexPoint Real Estate Partners, LLC f/k/a HCRE Partners LLC
          16. NexPoint Real Estate Advisors II LP
          17. NexPoint Healthcare Opportunities Fund
          18. NexPoint Securities
          19. Highland Diversified Credit Fund
          20. BB Votorantim Highland Infrastructure LLC
          21. ACIS CLO 2017 Ltd.
   Transactions involving Non-Discretionary Accounts
          1. NexBank SSB Account
          2. Charitable DAF Fund LP




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                                        Schedule B

                   Related Entities Listing (other than natural persons),




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                                                                                        APP 724
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                                      Schedule C

         I . James Dondero
         2. Mark Okada
         3. Grant Scott
         4. John Honis
         5. Nancy Dondero
         6. Pamela Okada
         7. Thomas Surgent
         8. Scott Ellington
         9. Frank Waterhouse
         10. Lee (Trey) Parker




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                             Seery Jan. 29, 2021 Testimony
                                                                       Page 1
    1    IN THE UNITED STATES BANKRUPTCY COURT

    2    FOR THE NORTHERN DISTRICT OF TEXAS

    3    DALLAS DIVISION

    4    ------------------------------ )

    5    In Re :                      Chapter 11

    6    HIGHLAND CAPITAL             Case No .

    7    MANAGEMENT , LP ,            19-34054-SGJ 11

    8

    9              Debtor

   10

   11

   12

   13     REMOTE DEPOSI T ION OF JAMES P . SEERY ,           J R.

   14                  January 29 ,     2021

   15                   10 : 11 a . m. EST

   16

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   18

   19

   20

   21

   22

   23
         Reported by :
   24    Debra Stevens , RPR-CRR
         JOB NO . 189212
   25




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                                              Page 2                                                                 Page 3
   l                January 29 , 2021                   1   REMOTE APPEARANCES :

   2                9:00 a.m. EST                       2

   3                                                    3   Heller, Draper, Hayden, Pat rick,          &   Horn
   4          Remote Deposition of JAMES P.             4   Attorneys for The Dugaboy Investment
   5   SEERY, JR . , held via Zoom                      5   Trust. and The Get. Good Trust
   6   conference, before Debra Stevens ,               6                 650 Poydras Street
   7   RPR/CRR and a Notary Public of the               7                 New Orlean$ , LOui$iana 70130
   8   State of New York .                              8

   9                                                    9

  10                                                   10   BY :          DOUGLAS DRAPER, ESQ
  11                                                   11
  12                                                   12
  13                                                   13   PACHULSKI STANG ZIEHL & JONES

  14                                                   14   For the Debtor and the Witness Herein
  15                                                   15                 780 Th i rd Avenue

  16                                                   16                 New York~   New York 10017
  17                                                   17   BY :          JOHN MORRIS , ESQ .
  18                                                   18                 JEFFREY POKERANTZ, ESQ .

  19                                                   19                 GREGORY DEMO, ESQ .

  20                                                   20                 IRA KHARASCH, ESQ .
  21                                                   21

  22                                                   22
  23                                                   23

  24                                                   24                               <Continued>
  25                                                   25


                                              Page 4                                                                 Page 5
   l   REMOTE APPEARANCES :    {Cont inued)             1   REMOTE APPEARANCES :         (Continued)
   2                                                    2   KING & SPALDING

   3   LATHAM & NATKINS                                 3   Attornoys for Highland CLO Funding, Ltd .
   4   Attorneys for UBS                                4                 500 West 2nd Street
   5            885 Third Avenue                        5                 Austin , Texas 78701
   6            New York , New York 10022               6   BY :          REBECCA MATSUMURA, ESQ.

   7   BY :     SHANNON McLAUGHLIN, ESQ .               7

   8                                                    8   K&L GATES

   9   JENNER & BLOCK                                   9   Attorneys fo r Highland Capital Management
  10   Attorneys for Redeemer Commit tee of            10   FU.n d Advisors , L . P . , et al . :
  11   Highland Crusader Fund                          11                 43 50 Lassiter at North Hills
  12            919 Third Avenue                       12                  Avenue
  13            New York, Ne w York 10022              13                 Ralo igh , Nor-th Carolina 27609

  14   BY:      MARC B . HANKIN, ESQ .                 14   BY :          EMILY MATHER, ESQ.
  15                                                   15
  16   S IO LEY AUSTIN                                 16   MUNSCH HARDT KOPF         & HARR
  17   Attorneys for Creditors ' Committee             17   Attorneys for Defendants Highland Capital
  18            2021 McKinney Avenue                   18   Management Fund Advisors , LP ; NexPoint
  19            Dallas , Texas 75201                   19   Advisors, LP; Highland I ncome Fund;
  20   BY :     PENNY REID, ESQ .                      20   NexPoint Strategic Opportunities Fund and
  21            MATTHEli CLEMENTE, ESQ .               21   Hex.Point Capital, Inc . :
  22            PAIGE MONTGOMERY, ESQ .                22                 500 N. Akard Street
  23                                                   23                 Da llas , Texas 75201-6659
  24                          {Continued)              24          BY :   DAVOR RUKAVINA, ESQ.

  25                                                   25                                  (Continued}




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                                                        Page 6                                                                 Page 7
    l   RE.MOTE APPEARANCES (Continued)                           1   REMOTE APPEARANCES : (Continued)

    2                                                             2
    3   BONDS ELLIS EPPICH SCHAFER JONES                          3   WICK PH ILLIPS

    4   Attorneys for James Dondero,                              4   Attorneys f or NexPoint Real Estate
    5   Party-in-Interest                                         5   Par-t.ners , NexPoint Real £state Entities
    6             420 Throckmorton Street                         6   and NexBank
    7                                                             7               100 Throckmorton Street
    8             Fort liorth, Texas 76102                        8                Fo r t Worth, Texas 76102
    9   BY :      CLAY TAYLOR, ESQ.                               9   BY :        LAUREN DRAWHORN , ESQ .

   10             JOHN BONDS , ESQ .                             10

   ll             BRYAN ASSINK, ESQ .                            11   ROSS & SMITH
   12                                                            12   Attorne ys f or s e nior Employees , Scott

   13                                                            13   Ellington , Isaac Leventon, Thomas Surgent,
   14   BAKER McKENZIE                                           14   Frank Waterhouse
   15   Attorneys for Senior Empl oyees                          15               700 N. Pear l Street
   16             1900 North Pearl Street                        16               Dallas, Texas 75201
   17                                                            17   BY :        FRANCES SMITH , ESQ ,

   18             Dallas , Texas 75201                           18

   19   BY :      MICHELLE HARTMANN, ESQ.                        19
   20             DEBRA DANDZREAU, ESQ .                         20

   21                                                            21

   22                                                            22
   23                                                            23

   24                           (Cont i nuod)                    24
   25                                                            25


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    1                                                             1
    2             EX AM I NATIONS
                                                                  2                 COURT REPORTER:       My name is
    3   NITNESS                                  PAGE
    4   JAMES SEERY                                               3           Debra Stevens , court report.er for TSG
    5     By Mr . Draper                            9             4           Report ing and notary public of the
    6     By Mr . Taylor                           75
                                                                  5           State of New York .   Due to the
    7     By Mr . Rukavina                        165
    8     By Mr . Draper                          217             6           severity of the COVID- 19 pandemic and
    9                                                             7           follow ing t he practice of social
                          EX ff I B I T S
   10   SEERY DYD                                                 8           distancing, I will not bo in the same
        EXHIBIT        DESCRIPTION              PAGE              9           r oom wit h t he witness but will report
   ll
                                                                 10           this deposition remotely and will
        Exhibit l      January 2021 Material       11
   12                                                            11           swear the witness in remotely .      If any
        Exhibit 2      Disclosure Statement        14            12           party has any objection, please so
   13
        Exhibit 3      Notice of Deposition        74            13           state before we proceed .
   14                                                            14                 Whereupon,
   15
                                                                 15                   J A HE S      S E E R Y,
          INFORMATION/PRODUCTION REQUESTS
   16   DESCRIPTION                             PAGE             16          having been f irst duly sworn/affirmed,
   17   Subsidiary ledger showing note             22            17          was e xamined and testified as follows :
        component versus hard asset
   18   component                                                18   EXAMINATION BY
   19   Amount of D&O coverage for                131            19   HR. DRAPER:
        t rustees
                                                                 20          Q.     Hr . Seery , my name is Douglas
   20
        Line item for D&O insurance               133            21   Draper, representing the Dugaboy Trust .           I
   21                                                            22   have series of questions today in
   22                MARKED FOR RULING
                        PAGE   LINE                              23   connect ion wit h t he 30 Cb> Notice that we
   23                     85     20                              24   filed .     The f irst question I have for you,
   24
                                                                 25   have you seen the Notice of Oeposition
   25




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                                                 Page 14                                                 Page 1 5
    1                      J . SEERY                        1                            J. SEERY
    2          the screen, please?                          2        A.     It says the percent distribution
     3         A.    Page what?                             3   to general unsecured creditors is
     4         Q.    I think i t is page 174 .              4   62. 14 percent .
     5         A.    Of the PDF or of the document?         5        Q.     Have ou communicated the
     6         Q.    Of the disclosure statement that       6   reduced recover_y to af!Ybod_y e.i;:_ior to the
     7   was filed . It is up on the screen right           7   da•e -- to yesterday?
     8   now .                                                              MR. MORRIS : Objectlon to tne
     9               COURT REPORTER: Do you i ntend                  •orm of the question .
   10          this as another exhibit f or today ' s                A.     r believe generally, yes .
   11          deposition?                                      don'• know if we have., specific number,
    12               MR. DRAPER: We ' l l mark this        12   bt• gener<!ll:,
    13         Exhibit 2.                                  13        Q.     And wou;o Lhat be members of
   14                 (So marked for identificati on as    14   Crecli.tors' CorMllttee who you gave thal
   15          Seery Exhibit 2 .)                          15   information to?
   16          Q.    If you look to the recovery to        16        A.     Yes .
    17   Class 8 creditor s in the November 2020           17               DJ rl Y.()ll
    18   disclosure s t atement was a recovery of          18   than membe 1s of
    19   87 . 44 percent?                                  19       A.     Yes .
    20         A.    That actually says the pe rcent       20       Q.    Wl!o?
    21   distribution to general unsecured                 21      A.     HarbourVes t.
    22   creditors was 87 . 44 percent . Yes .             2~             And wnen was tnat~
                                                                                             '-'-----.
    23         Q.    And in the new document t hat was     23             Wlt:.hin the lasl Lwo montl.s .
    24   filed, given to us yesterday, the recovery        24             You did no L reel the need to
    25   is 62.5 percent?                                  25   communicate the change _Jt recovery to
                                                 Page l6                                                 Page l 7
     l                     J. SEERY                         l                      J . SEERY
     2   anybody else?                                      2   not accurate?
     3       A.    T said Mr. Dohen:                        3       A.     Yes . We secretly disclosed i t
     4       Q.    In looking a t t he two elements,        4   to the Bankruptcy Court in open court
     5   and what I have asked you to look ar, i s          5   hearings .
     6   the claims pool . I f you look a t the             6       Q.     But you never d i d bother to
     7   November disclosure statement, if you look         7   calculate the reduced r ecovery; you just
     8   down Class 8, unsecured claims?                    8   increased - -
    9         A.    Yes.                                    9               (Reporter i nterruption . )
   10         Q.    You have 176, 000 roughly?             10        Q.    You just advised as to the
    11        A.    Milli on .                             11   incr eased cl aims pool . Correct?
   12         Q.    176 million . I am sorry. And          12              MR . MORRIS : Objection to the
   13    the number in the new document is 313             13        form of the question .
   14    million?                                          14        A.    I don ' t understand your
   15         A.    Correct .                              15   question .
   16         Q.    What accounts for the                  16        Q.    What I am trying to get at is,
   17    difference?                                       17   as you i ncrease the claims pool , the
    18        A.    An increase in claims .                18   recovery reduces . Correct?
   19         Q.    When did those increases occur?        19        A.    No. That i s not how a fraction
   20    Were they yesterday? A month ago? Two             20   works.
   21    months ago?                                       21        Q.    Well, i f the denomi nator
   22         A.    Ove r the l ast couple mont hs .       22   increases, doesn ' t the r ecovery ultimately
   23         Q.    So in fact over the l ast couple       23   decrease if -
   24    mont hs you knew in fact t hat the recovery       24        A.    No.
   25    in the November disclosure statement was          25        Q.    -   if the numerator stays the




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                                                       Page 26                                                     Page 21
    1                          J . SEERY                             1                       J . SEERY
    2   were amended without consideration a few                     2        A.   NexPoint , I said . They
    3   years ago . So, for our purposes we didn ' t                 3   defaulted on the note and we accelerated
    4   make the assumption, which I am sure will                    4   it .
    5   happen , a fraudulent conveyance claim on                    5       Q.     So there is no need to file a
    6   those notes , that a fraudulent conveyance                   6   fraudulent conveyance suit with respect to
    7   action would be brought . We just assumed                    7   that note . Correct , Mr . Seery?
    8   that we ' d have to discount the notes                       8             MR . MORRIS : Objection to the
    9   heavily to sell them because nobody would                    9       form of the question .
   10   respect the ability of the counterparties                10          A.    Disagree . Since it was likely
   11   to fairly pay .                                          11      intentional fraud, there may be other
   12       Q.    And the same discount was                      12      recoveries on it . But to collect on the
   13   applied in the liquidation analysis to                   13      note, no .
   14   those notes?                                             14          Q.      My question was with respect to
   15       A.    Yes .                                          15      that note .   Since you have accelerated it,
   16       Q.    Now --                                         16      you don ' t need to deal with the issue of
   17           A.      The difference -   there would be        17      when it ' s due?
   18   a difference, though, because they would                 18                MR . MORRIS : Objection to the
   19   pay for a while because they wouldn ' t want             19          form of the question .
   20   to accelerate them . So there would be                   20          A.    That wasn ' t your question . But
   21   some collections on the notes for P and I .              21      to that question, yes, I don ' t need to
   22       Q.    But in fact as of January you                  22      deal with when it ' s due .
   23   have accelerated those notes?                            23          Q.       Let me go over certain assets .
   24           A.      Just one of them, I believe .            24      I am not going to ask you for the
   25           Q.      Which note was that?                     25      valuation of them but I am going to ask

                                                       Page 28                                                     Pa ge 2l;I
    1                    J . SEERY                                   1                     J . SEERY
    2   you whether they are included in the asset                   2   includes any~ her securities and all the
    3   portion of your $257 million number , all                    3   tyalue that would flow from Cornerstone .
    4   right? Mr . Morris didn't want me to go                  l   4   It includes HCLOF and all the value that
    5   into specific asset value, and I don ' t                     5   ~ould flow up from HCLOr . It includes
                                                                 :
    6   intend to do that .                                      _6      Korea and all the value that would flow IJP
    7              The first question I have for                     7   from Korea .
    8   you is , the equity in Trustway Highland                     8             There may be others off the top
    9   Holdings , is that included in the                           9   of my head . I don ' t recall them . I don ' t
   10   $257 million number?                                     10      have a list in front of me .
   11           A.       There is no such entity .               11          Q.     Now, with respect to those
   12           Q.       Then I will do it in a different        12      assets , have you started the sale process
   13   way .        In connection with the sale of the          13      of those assets?
   14   hard assets, what assets are included in                 14          A.     No . Well , each asset is
   15   there specifically?                                      15      different . So , the answer is, with
   16       A.    Off the too of my head -  it is                16      respect to any securities, we do seek to
   17   all of the ass~        , but it includes                 17      sell those regularly and we do seek to
   18   Trustw.AY...!:lP ldin~   nd all the value that           18      monetize those assets where we can
   19   flows up from Trustway Holdings . It                     19      depending on whether there is a
   20   includes Targa and all the value that                    20      restriction or not and whether there is
   21   flows up from Targa. It includes CCS                     21      l iquidity in the market .
   22   Medical and all the value that would flow                22                With respect to the PE assets or
   23   to the Debtor from ccs Medical . It                      23      the companies I described - Targa, ccs,
   24   includes Cornerstone and all the value                   24      Cornerstone , JHT -- we have not --
   25   that would flow from Cornerstone.         It             25      Trustway .   We have not sought to sell




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                                                                                                            Page ~9
     1                         J. SEERY                      1                      J . SEERY
     2         A.      I don 't recall the specific          2    differ-ent analysis that wi:,'11 undertake
     3    lilT\itati on on the trust. But i f t here was     3    with bankruptcy counsel to determine what
     4    a reason to hold on to the asset, if there         4    we would need dEWending on when it 1s
     5    is a limitation, we can seek an extension.         5   ,goin to happen and what the restrict.ions
     6        Q.    Let me ask a question .    With          6   ei.the:r unde:: t.he code ;ire or uncter t.he
     7    respect to these businesses, the Debtor            I   plan .
     8    merely owns an equity interest in them .           8          Q,    ls ther~ anytlnng that would
     9    Correct?                                           9   st.QP you from selling these businesses 1r
   10         A.    Which business?                         10   the Chapter 11 went on for a year or two
   11         Q.    The ones you have identifi ed as        L     ears?
   12     operating businesses earlier?                     12                MR . MORRIS : Objection to form
   13         A.    It depends on the business.             13          of the question.
   14         Q.    Well, let me -- again, let 's try       14          A.    Is there an_ything that would
   15     to be specific . With respecL to SSP, .L          15   slc!'.' me? We ' d have to follow the
   l;;    was your position that you did not need co        16   strict•Jres of the code and c.he protocols ,
   17     qet court approval for the sale. Correct?         17   but there would be no prohibition -- let
   18         A.    That ' s correct .                      18   me finish , please .___________
   1 <1       Q.    Which one of the o racing               19                There would oe no rohibition
   :.:i   businesses thal are here, c.hat you have          20   that I am aware cf .
   21     identified, do you need court: authority          21          Q.    Now, i n connection with your
   2~     for a sale?                                       22   differential between the liquidation of
   23               MR. MORRIS : Objecti on to the          23   what I wi ll call the operating businesses
   24         form of the question .                        24   under the liquidation analysis and the
   25         A.    Each :=! t!1e bus.nesses w1 l be a      25   plan analys i s, who a rrived at the discount
                                                  Page 40                                                   Page 41
     1                       J. SEERY                        1                       J . SEERY
     2    or determined the discount that has been           2   is different.
     3    placed between t he two, plan analysis             3        Q.    Is the discount a function of
     4    versus liquidation analysis?                       4   capability of a trustee versus your
     5               MR. MORRIS : Objection to form          5   capability, or is t he discount a function
     6        of the question.                               6   of timing?
     7        A.     To which document are you               7              MR. MORRIS: Objection to form.
     8    referring?                                         8        A.    It could be a combination .
     9        Q.     Both t he June - the January and        9        Q.    So, let ' s -- let me walk through
   10     the November analysis has a different             10   t his . Your pl an analysis has an
   11     estimated p r oceeds for monetization for         11   assumption that everything is sold by
   12     the plan anal ysis versus the liquidation         12   December 2022. Correct?
   13     analysis . Do you see that?                       13        A.    Correct .
   14         A.     Yes.                                   14        Q.    And the valuations that you have
   15         Q.     And there i s a note under there.      15   used here for the monetizati on assume a
   16     "Assumes Chapter 7 trustee will not be            16   sal e between -- a sal e prior to December
   17     able to achieve the same sales proceeds as        17   of 2022. Correct?
   18     Claimant trustee . "                              18        A.    Sorry . I don't quite understand
   19         A.     I see that, yes .                      19   your quescion .
   20         Q.     Do you see that note?                  20        Q.    The 257 number, and then let ' s
   21         A.     Yes .                                  21   take out the notes .    Let's use the 210
   22         Q.    Who arrived at that discount ?          22   number .
   23         A.    I did .                                 23             MR . MORRIS : Can we put the
   24         Q.    What percent age did you use?           24       document back on the screen, please?
   25         A.    Depended on t he asset . Each one       25       Sorry, Douglas, to interrupt, but it




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                                                 Page 4 2.                                                      Pa ge 43
   1                      J . SEERY                           1                        J . SEERY
   2       would be helpful .                                 2    applied?
   3             MR . DRAPER :    That is fine, John.         3        A.      Each of the assets is different.
   4             (Pause . )                                   4        Q.      Is there a general discount that
   5              MR . MORRIS : Thank you very                5    you used?
   6       much .                                             6        A.    Not a general discount, no. We
   7       Q.     Mr . Seery, cb you see the 257?             7    looked at each individual asset and went
   8       A.     ln Che one from yesterday·!                 8    chrough and made an assessment .
   9       Q,     Yes .                                       9        Q.    Did you apply a discount for
  10       A.     Second line, 257,941 . Yes .               10    your capability versus the capability of a
  11       Q.    That assumes a monetization of              11    trustee?
  12   all assets by December of 2022?                       12        A.      No .
  13       A.     Correct .                                  13        Q.    So a trustee would be as capable
  14       Q.     And so everything has been sold            14    as you are in monetizing these assets?
  15   by that time ; correct?                               15              MR . MORRIS : Objection to the
  16       A.     Yes .                                      16        form of the question .
  17       Q.     So, what I am trying to get at             17        Q.      Excuse me?      The answer is?
  18   is, there is both the capability between              18        A.      The answer is maybe .
  19   you and a trustee, and then the second                19        Q.      Couldn ' t a trustee hire somebody
  20   issue is timing . So , what discount was              20    as capable as you are?
  21   put on for timing, Mr . Seery, between when           21                MR . MORRIS :   Objection to the
  22   a trustee would sell it versus when you               22        form of the question .
  23   would sell it?                                        23        A.     Perhaps .
  24             MK . MUKKl~ : Ubjection .                   24        ~-     ~ir, that is a yes or no
  25       Q.    What is the percentage you                  25    question . Could the trustee hire somebody

                                                 P3.ge 44                                                       Page 45
   1                    J . SEERY                             1                        J . SEERY
   2   as capable as you are?                                 2        Q.      Again , the discounts are applied
   3              MR . MORRIS :   Objection to the            3    for timing and capabilicy?
   4       form of the question .                             4        A.      Yes .
   5       A.    I don ' t know .                             5        Q.      Now, in looking at the November
   6       Q.     Is there anybody as capable as              6    plan analysis number of $190 million and
   7   you are?                                               7    the January number of $257 million, what
   8              MR . MORRIS :   Objection to the            8    accounts for the increase between the two
   9       form of the question .                             9    dates?   What assets specifically?
  10       A.    Certainly.                                  10        A.    There are a number of assets .
  11       Q.    And they could be hired .                   11    Firscly, the HCLOF assets are added .
  12   Correct?                                              12              How much are those?
  13       A.     Perhaps .   I don ' t know .               =13       A.                  22 and a half
  14       Q.    And if you go back to the                   14    million dollars .
  15   November 2020 liquidation analysis versus             15        Q.    Okay .
  16   plan analysis , it is also che same note              16        A.      Secondly, there is a signifi~
  17   about that a trustee would bring less, and            17    increase in che value of certain of the
  18   there is the same sort of discount between            18    assets over this tlllle _oeriod .
  19   the estimated proceeds under the plan and             19        Q.    Which assets , Mr . Seery?
  20   under the liquidation analysis .                      20        A.    There are a number. They
  21             MR . MORRIS : If chat is a                  21    include MGM scock , th~    clude Trust         y_,
  22       question , I object .                             22    c ~ include T~ a .
  23       Q.    Is that correct, Mr . Seery,                23       Q.    And what is the percentage
  24   looking at the document?                              24    increase from November to January ,
  25       A.    There are discounts, yes .                  25    November of 2020 to January of 2021?




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                                                      Page 46                                                      Page 47
   1                        J . SEERY                            1                        J . SEERY
    2       A.    Do you mean what is the                        2   markets ; correct?
    3   percentage increa.se from 190 to 257?                    3       A.     No .
    4       Q.    No . You just identified three                 4       Q.     Those are operating businesses?
    5   assets . MGM stock , we can go look at the               5      A.      Correct .
    6   exchange and figure out what the price                   6       Q.   Who provided the valuation for
    7   increase is ; correct?                                   7   the November 2020 liguidation analysis?
    8      A.     No .                                           8       A.   We use a combination of the
    9      Q.     Why not?      Is the MGM stock                 9   value that w~ et from Houlihan Lokey...f_or
   10   publicly traded?                                        10   mark u.n:,gses and then we ad~ust it for
   11           A.   Yes . It doesn ' t trade on -              11   plan purposes .
   12           Q.   Excuse me?                                 12       Q.    And the adj ustment was up or
   13       A.    It doesn ' t trade on an exchange .           13   down?
   14       Q.    Is there a public market for the              14       A.     When?
   15   MGM stock that we could cal culate the                  15       Q.     For both
   16   increase?                                               16   You got a number from
   17           A.   There is a semipublic market ;             i7   adjusted it . Did you adjust it up or did
  18    yes .                                                   18    ou adjust i t down?
  19        Q.    So it is a number that is                     19             MR . MORRIS : Objection to form
  20    readily available between the two dates?                20       of the question .
  21        A.    It ' s available .                            21       A.    I believe that for November we
  22        Q.     Now, you identified Targa and                22   adjusted it down, and for January we
  23    Trustway . Correct?                                     23   agjusted it down .     I don ' t    recal l off the
  24            A.   Yes .                                      24   to of m head buc I believe both of them
  25            Q.   Those are not readily available            25   were adjusted down .

                                                      Page 48                                                      Page 49
   1                        J . SEERY                            1                    J . SEERY
    2        Q.      And if I understand what-YQ_u               2   of 2021 , the magnitude beil}g ro~hl          60
    3   j ust said , it is that the Houlihan Lok_gy              3   some odd million dollars . Correct?
    4   valuation for chose two businesses showed                4       A.    Correct .
    5   a s~nificant increase between November of                5       Q.    We can account for $22 million
    6   2020 and Jan ua.f.Y o f 2021?                            6   of ic easjj,y, ri ht?
    7             MR . MORRIS : Objection to form                7             MR . MORRIS :     Objection to f o rm .
    8       of the question .                                    8       A.    Correct .
    9       A.    I didn ' t say that .                          9        Q.    That is the HarbourVesc
  10            Q.   I am trying to account for the             10   settlement , so that leaves roughJ.y
   11   increase between the two daces , anc!...Y.Qg,           11   $40 million unaccounted for?
   12   identified three assets . You identified                12             MR . MORRIS : Objection to the
   13   MGM stock, which has      I can   uess , as     ou      13       form of the question if that is a
   14   have said, a readily ascertainable value .              14        question . It is accounted for .
  15    Then you identified two others chat the                 15        Q.    What makes up thac difference ,
  16    valuation is based u122n somethin Houl ihan             16   Mr . Seer?
   17   Lo~     ovide    ou . Correct?                          17       A.    A ch5ID9e in th          ~ n value of
   18           A. I g~    ou three e ~       .   I             18   the assets .
  19    never said " readily ." That is ,.your word,            19       Q.    Okay . Which assets? Let ' s sort
  20    not mine . And I didn ' t say that Hou l ihan           20   of go back to where we were .
  21    had a significant change in their                       21       A.    There are numerous assets in the
  22    valuation .                                             22   gJ,gp formu l ation .   I gav you three
  23        Q.      So let ' s now o back co the                23   exam.P,les of the,,.,9pexpt ill9 businesses . The
  24    ~   tion . There is an increase in va l ue              24   securities , I beli ~ , have increased in
  25    from November 24th of 2020 to January 28th              25   value since the plan , so those would qo up




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                                                   Page 50                                                    Page 5 1
   1                        J . SEERY                         1                     J . SEERY
    2   for one .    On the og§_rat ing businesses_, we       2   HarbourVest settlement , right?
    3   looked at each of them and made an                    3       A.    I believe that ' s correct .
    4   assessment based upon where the market is             4       Q.    Is that fair, Mr . Seery?
    5   and what we believe the values are, and we            5       A.    I believe that is correct, yes .
    6   have moved those valuations .                         6       Q.    And part of that differential
    7       Q.    Let me look at some numbers                 7   are publicly traded or ascertainable
    8   again . In the liquidation analysis in                8   securities . Correcc?
    9   November of 2020, the liquidation value is            9      A.     Yes .
  10    $149 million . Correct?                              10      Q.     And basically you can get , or
   11        A.   Yes .                                      11   under the plan analysis or trustee
  12        Q.    And in the liquidation analysis            12   analysis , if it is a marketable security
  13    in January of 2021 , you have $191 million?          13   or where there is a market ,     the
  14        A.    Yes .                                      14   liquidation number should be the same for
  15        Q.    You see that number . So there             15   both . Is that fair?
   16   is $51 million there, right?                         16        A.      No .
   17       A.    No .                                       17        Q.      And why not?
  18         Q.   What is the difference between             18       A.    We might have a different price
  19    191 and - sorry. My math may be a little             19   target for a particular security than the
  20    off . What is the difference between the             20   current trading value .
  21    two numbers , Mr . Seery?                            21       Q.    I understand that , but I mean
  22         A.      Your math is off .                      22   that is based upon the capability of the
  23         Q.      Sorry . It is 41 million?               23   person making the decision as to when to
  24        A.       Correct .                               24   sell .    Correct?
  25         Q.      $22 million of that is the              25               MR . MORRIS :   Objection to form

                                                   Page 52                                                    Page 5.3
   1                      J . SEERY                           1                        J . SEERY
    2        of the question .                                2   $18 million .     How much of that is publicly
    3        Q.      Mr . Seery, yes or no?                   3   traded or ascertainable assets versus
    4        A.      I said no .                              4   operating businesses?
    5        Q.      What is that based on , then?            5       A.    I don ' t know off the top of my
    6        A.      The person ' s ability to assess         6   head the percentages .
    7   the market and timing .                               7       Q.      All right . The same question
    8       Q.    Okay . And again , couldn ' t a             8   for the p l an analysis where you have the
    9   trustee hire somebody as capable as you to            9   differential between the November number
  10    both, A, assess the market and, B, make a            10   and the January number . How much of it is
  11    determination as to when to sel l?                   11   marketable securities versus an operating
  12              MR . MORRIS : Objection to form            12   business?
  13        of the question .                                13       A.    I don ' t recall off the top of my
  14         A.      I suppose a trustee could .             14   head .
  15        Q.    And there are better peopl e or            15             MR . DRAPER :     Let me take a
  16    people equally or better than you at                 16        few-minute break .     Can we take a
   17   assessing a market .     Correct?                    17        ten-minute break here?
   18       A.    Yes .                                      18              THE WITNESS : Sure.
  19               MR . MORRIS : Objection to form           19                (Recess . )
  20         of the question .                               20   BY MR . DRAPER:
  21         Q.    So, again , let ' s go back to            21        Q.      Mr . Seery, what I am going to
  22    that .    We have accounted for , out of             22   show you and what I would ask you to look
  23    $41 million where the l iquidation analysis          23   at is in the note E, in the statement of
  24    increases between the two dates ,                    24   assumptions for the November 2020
  25    $22 million of it .     That leaves                  25   disclosure statement .      It discusses fixed




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                                                                                                                         APP 734
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                              Sale of Assets of Affiliates or Controlled Entities

     Asset                                                   Sales Price
     Structural Steel Products                               $50 million
     Life Settlements                                        $35 million
     OmniMax                                                 $50 million
     Targa                                                   $37 million


        •   These assets were sold over the contemporaneous objections of James Dondero, who was the
            Portfolio Manager and key-man on the funds.
        •   Mr. Seery admitted 1 that he must comply with the Bankruptcy Code, the Federal Rules of
            Bankruptcy Procedure, and the Protocols for the sale of major assets of the estate. We believe
            that a competitive bid process and court approval should have been required for the sale of each
            of these assets (as was done for the sale of the building at 2817 Maple Ave. [a $9 million asset]
            and the sale of the interest in PetroCap [a $3 million asset]).




 1
     See Mr. Seery’s Jan. 29, 2021 deposition testimony, Appendix p. A-20.


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                                20 Largest Unsecured Creditors

  Name of Claimant                    Allowed Class 8   Allowed Class 9
  Redeemer Committee of the
  Highland Crusader Fund              $136,696,610.00
  UBS AG, London Branch and UBS
  Securities LLC
                                      $65,000,000.00    $60,000,000
  HarbourVest entities                $45,000,000.00    $35,000,000
  Acis Capital Management, L.P. and
  Acis Capital Management GP, LLC     $23,000,000.00
  CLO Holdco Ltd                      $11,340,751.26
  Patrick Daugherty
                                                        $2,750,000 (+$750,000 cash payment
                                      $8,250,000.00     on Effective Date of Plan)
  Todd Travers (Claim based on
  unpaid bonus due for Feb 2009)      $2,618,480.48
  McKool Smith PC                     $2,163,976.00
  Davis Deadman (Claim based on
  unpaid bonus due for Feb 2009)      $1,749,836.44
  Jack Yang (Claim based on unpaid
  bonus due for Feb 2009)             $1,731,813.00
  Paul Kauffman (Claim based on
  unpaid bonus due for Feb 2009)      $1,715,369.73
  Kurtis Plumer (Claim based on
  unpaid bonus due for Feb 2009)      $1,470,219.80
  Foley Gardere                       $1,446,136.66
  DLA Piper                           $1,318,730.36
  Brad Borud (Claim based on unpaid
  bonus due for Feb 2009)             $1,252,250.00
  Stinson LLP (successor to Lackey
  Hershman LLP)                       $895,714.90
  Meta-E Discovery LLC                $779,969.87
  Andrews Kurth LLP                   $677,075.65
  Markit WSO Corp                     $572,874.53
  Duff & Phelps, LLC                  $449,285.00
  Lynn Pinker Cox Hurst               $436,538.06
  Joshua and Jennifer Terry
                                      $425,000.00
  Joshua Terry
                                      $355,000.00
  CPCM LLC (bought claims of
  certain former HCMLP employees)     Several million
  TOTAL:                              $309,345,631.74   $95,000,000




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                                    Timeline of Relevant Events

  Date          Description
  10/29/2019    UCC appointed; members agree to fiduciary duties and not sell claims.
  9/23/2020     Acis 9019 filed
  9/23/2020     Redeemer 9019 filed
  10/28/2020    Redeemer settlement approved
  10/28/2020    Acis settlement approved
  12/24/2020    HarbourVest 9019 filed
  1/14/2021     Motion to appoint examiner filed
  1/21/2021     HarbourVest settlement approved; transferred its interest in HCLOF to HCMLP
                assignee, valued at $22 million per Seery
  1/28/2021     Debtor discloses that it has reached an agreement in principle with UBS
  2/3/2021      Failure to comply with Rule 2015.3 raised
  2/24/2021     Plan confirmed
  3/9/2021      Farallon Cap. Mgmt. forms “Muck Holdings LLC” in Delaware
  3/15/2021     Debtor files Jan. ‘21 monthly operating report indicating assets of $364 million,
                liabilities of $335 million (inclusive of $267,607,000 in Class 8 claims, but exclusive
                of any Class 9 claims), the last publicly filed summary of the Debtor's assets. The
                MOR states that no Class 9 distributions are anticipated at this time and Class 9
                recoveries are not expected.
  3/31/2021     UBS files friendly suit against HCMLP under seal
  4/8/2021      Stonehill Cap. Mgmt. forms “Jessup Holdings LLC” in Delaware
  4/15/2021     UBS 9019 filed
  4/16/2021     Notice of Transfer of Claim - Acis to Muck (Farallon Capital)
  4/29/2021     Motion to Compel Compliance with Rule 2015.3 Filed
  4/30/2021     Notice of Transfer of Claim - Redeemer to Jessup (Stonehill Capital)
  4/30/2021     Notice of Transfer of Claim - HarbourVest to Muck (Farallon Capital)
  4/30/2021     Sale of Redeemer claim to Jessup (Stonehill Capital) "consummated"
  5/27/2021     UBS settlement approved; included $18.5 million in cash from Multi-Strat
  6/14/2021     UBS dismisses appeal of Redeemer award
  8/9/2021      Notice of Transfer of Claim - UBS to Jessup (Stonehill Capital)
  8/9/2021      Notice of Transfer of Claim - UBS to Muck (Farallon Capital)

 Critical unknown dates and information:

    •   The date on which Muck entered into agreements with HarbourVest and Acis to acquire their
        claims and what negative and affirmative covenants those agreements contained.
    •   The date on which Jessup entered into an agreement with the Redeemer Committee and the
        Crusader Fund to acquire their claim and what negative and affirmative covenants the agreement
        contained.
    •   The date on which the sales actually closed versus the date on which notice of the transfer was
        filed (i.e., did UCC members continue to serve on the committee after they had sold their claims).



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                  Debtor’s October 15, 2020 Liquidation Analysis [Doc. 1173-1]

                                                                  Plan Analysis     Liquidation
                                                                                    Analysis
  Estimated cash on hand at 12/31/2020                            $26,496           $26,496
  Estimated proceeds from monetization of assets [1][2]           198,662           154,618
  Estimated expenses through final distribution [1][3]            (29,864)          (33,804)
  Total estimated $ available for distribution                    195,294           147,309

  Less: Claims paid in full
  Administrative claims [4]                                       (10,533)          (10,533)
  Priority Tax/Settled Amount [10]                                (1,237)           (1,237)
  Class 1 – Jefferies Secured Claim                               -                 -
  Class 2 – Frontier Secured Claim [5]                            (5,560)           (5,560)
  Class 3 – Priority non-tax claims [10]                          (16)              (16)
  Class 4 – Retained employee claims                              -                 -
  Class 5 – Convenience claims [6][10]                            (13,455)          -
  Class 6 – Unpaid employee claims [7]                            (2,955)           -
  Subtotal                                                        (33,756)          (17,346)
  Estimated amount remaining for distribution to general          161,538           129,962
  unsecured claims
  Class 5 – Convenience claims [8]                                -                 17,940
  Class 6 – Unpaid employee claims                                -                 3,940
  Class 7 – General unsecured claims [9]                          174,609           174,609
  Subtotal                                                        174,609           196,489
  % Distribution to general unsecured claims                      92.51%            66.14%
  Estimated amount remaining for distribution                     -                 -
  Class 8 – Subordinated claims                                   no distribution   no distribution
  Class 9 – Class B/C limited partnership interests               no distribution   no distribution
  Class 10 – Class A limited partnership interests                no distribution   no distribution


 Notable notations/disclosures in the Oct. 15, 2020 liquidation analysis include:

     •   Note [9]: General unsecured claims estimated using $0 allowed claims for HarbourVest and
         UBS. Ultimately, those two creditors were awarded $105 million of general unsecured claims
         and $95 million of subordinated claims.




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                               Updated Liquidation Analysis (Feb. 1, 2021) 2
                                                                    Plan Analysis      Liquidation
                                                                                       Analysis
     Estimated cash on hand at 1/31/2020 [sic]                      $24,290            $24,290
     Estimated proceeds from monetization of assets [1][2]          257,941            191,946
     Estimated expenses through final distribution [1][3]           (59,573)           (41,488)
     Total estimated $ available for distribution                   222,658            174,178

     Less: Claims paid in full
     Unclassified [4]                                               (1,080)            (1,080)
     Administrative claims [5]                                      (10,574)           (10,574)
     Class 1 – Jefferies Secured Claim                              -                  -
     Class 2 – Frontier Secured Claim [6]                           (5,781)            (5,781)
     Class 3 – Other Secured Claims                                 (62)               (62)
     Class 4 – Priority non-tax claims                              (16)               (16)
     Class 5 – Retained employee claims                             -                  -
     Class 6 – PTO Claims [5]                                       -                  -
     Class 7 – Convenience claims [7][8]                            (10,280)           -
     Subtotal                                                       (27,793)           (17,514)
     Estimated amount remaining for distribution to general         194,865            157,235
     unsecured claims
     % Distribution to Class 7 (Class 7 claims including in Class   85.00%             0.00%
     8 in Liquidation scenario)
     Class 8 – General unsecured claims [8] [10]                    273,219            286,100
     Subtotal                                                       273,219            286,100
     % Distribution to general unsecured claims                     71.32%             54.96%
     Estimated amount remaining for distribution                    -                  -
     Class 9 – Subordinated claims                                  no distribution    no distribution
     Class 10 – Class B/C limited partnership interests             no distribution    no distribution
     Class 11 – Class A limited partnership interests               no distribution    no distribution


 Notable notations/disclosures in the Feb. 1, 2021 liquidation analysis include:

       •    claim amounts in Class 8 assume $0 for IFA and HM, $50.0 million for UBS and $45 million
            HV.
       •    Assumes RCP claims will offset against HCMLP's interest in fund and will not be paid from
            Debtor assets




 2
     Doc. 1895.


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                  Summary of Debtor’s January 31, 2021 Monthly Operating Report 3


                                                  10/15/2019           12/31/2020            1/31/2021
     Assets
     Cash and cash equivalents                      $2,529,000           $12,651,000           $10,651,000
     Investments, at fair value                   $232,620,000         $109,211,000          $142,976,000
     Equity method investees                      $161,819,000         $103,174,000          $105,293,000
     mgmt and incentive fee receivable              $2,579,000            $2,461,000            $2,857,000
     fixed assets, net                              $3,754,000            $2,594,000            $2,518,000
     due from affiliates                          $151,901,000         $152,449,000          $152,538,000
     reserve against notices receivable                                ($61,039,000)         ($61,167,000)
     other assets                                   $11,311,000           $8,258,000            $8,651,000
                              Total Assets        $566,513,000          $329,759,000         $364,317,000

     Liabilities and Partners' Capital
     pre-petition accounts payable                   $1,176,000            $1,077,000           $1,077,000
     post-petition accounts payable                                         $900,000            $3,010,000
     Secured debt
                                    Frontier         $5,195,000           $5,195,000           $5,195,000
                                   Jefferies        $30,328,000                   $0                   $0
     Accrued expenses and other liabilities         $59,203,000          $60,446,000          $49,445,000
     Accrued re-organization related fees                                 $5,795,000           $8,944,000
     Class 8 general unsecured claims              $73,997,000           $73,997,000         $267,607,000
     Partners' Capital                            $396,614,000          $182,347,000          $29,039,000
            Total liabilities and partners'
                                     capital      $566,513,000          $329,757,000         $364,317,000


 Notable notations/disclosures in the Jan. 31, 2021 MOR include:

       •    Class 8 claims totaled $267 million, a jump from $74 million in the prior month’s MOR
       •    The MOR stated that no Class 9 recovery was expected, which was based on the then existing
            $267 million in Class 8 Claims.
       •    Currently, there are roughly $310 million of Allowed Class 8 Claims.




 3
  [Doc. 2030] Filed on March 15, 2021, the last publicly disclosed information regarding the value of assets in the
 estate.


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                                      Value of HarbourVest Claim


                                HarbourVest Interest NAV by Month
   9/29/2020                                                  $22.2

  10/31/2020                                                  $24.2

  11/30/2020                                                  $34.1

  12/31/2020                                                  $39.3

   1/14/2021                                                  $41.6

   1/31/2021

   2/28/2021                                                  $49.7

   3/31/2021                                                  $50.3

   4/30/2021                                                  $53.9

   5/31/2021                                                  $55.9




                              HarbourVest NAV Value v. Purchase Price
   $60.0



   $50.0



   $40.0



   $30.0



   $20.0



   $10.0



     $-                           T                 r        T                T                   T

     9/29/2020   10/29/2020   11/29/2020   12/29/2020     1/29/2021   2/28/2021   3/31/2021   4/30/2021   5/31/202

                                           ......   NAV      Purchase Price




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                                 Estate Value as of August 1, 2021 (in millions) 4
     Asset                                                              Low                        High
     Cash as of 6/30/2021                                               $17.9                      $17.9
                                                       Targa Sale       $37.0                      $37.0
                                                 8/1 CLO Flows          $10.0                      $10.0
                                                 Uchi Bldg. Sale        $9.0                       $9.0
                                                       Siepe Sale       $3.5                       $3.5
                                                   PetroCap Sale        $3.2                       $3.2
                                         HarbourVest trapped cash       $25.0                      $25.0
     Total Cash                                                         $105.6                     $105.6
     Trussway                                                           $180.0                     $180.0
     Cornerstone (125mm; 16%)                                           $18.0                      $18.0
     HarbourVest CLOs                                                   $40.0                      $40.0
     CCS Medical (in CLOs and Highland Restoration)                     $20.0                      $20.0
     MGM (direct ownership)                                             $32.0                      $32.0
     Multi-Strat (45% of 100mm; MGM; CCS)                               $45.0                      $45.0
     Korea Fund                                                         $18.0                      $18.0
     Celtic (in Credit-Strat)                                           $12.0                      $40.0
     SE Multifamily                                                     $0.0                       $20.0
     Affiliate Notes                                                    $0.0                       $70.0
     Other                                                              $2.0                       $10.0
     TOTAL                                                              $472.6                     $598.6



                                                 Assets and Claims
     $700.0
     $600.0
     $500.0   • • ,...._____ •
     $400.0
     $300.0
                                   '\. • • • • • • • •
     $200.0
     $100.0
        $-
              •• • • • • • • • • • • • • • •
                                                                                                                 ..
                  Total Assets          Class 8 Claims       Class 9 Claims        Unsecured Creditors' Claims




 4
   Values are based upon historical knowledge of the Debtor’s assets (including cross-holdings) and publicly filed
 information.


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                       HarbourVest Motion to Approve Settlement [Doc. 1625]
    P ACHULSKI ST ANG ZIEHL & JONES LLP
    Jeffrey . Pomerantz (CA Bar No. 1437 17) (admitted pro hac 1 ice)
    Ira D. Kharascb (CA Bar No. 109084) (admitted pro hac vice)
    John A. MrnTis (NY Bar No. 266326) (admitted pro hac vi e)
    Gregory V. Demo (NY Bar No. 5371992) (admitted pro hac vice)
    HayleyR. Wi nograd (NY Bar o. 5612569) (admitted pro hac vice)
    10 I 00 Santa Monica B lvd., 13th Floor
    Los Angeles, CA 90067
    Telephone: (3 10) 277-6910
    Facsimile: (310) 201-0760

    HAYWARD & ASSOCIATES PLLC
    Melissa S. Hayward (TX Bar No. 24044908)
    MHayward HaywardFirm.com
    Zachery Z. Annable (TX Bar No. 24053075)
    ZAnna.ble@HaywardF irrn.com
    10501 . Centra l Expy Ste. 106
    Dallas, TX 75231
    Telephone: (972) 755-7100
    Facsimile: (972) 755 -7 11 0

    Counsel for the Debtor and Debtor-in-Possession


                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE ORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISIO

                                                                    §
    In re:                                                          § Chapter 11
                                                                    §
    HIGHLAND CAP IT AL MANAGEMENT, L.P. 1                           §   Case No. 19-34054-sgj] 1
                                                                    §
                                       Debtor.                      §
   ------------------

             DEBTOR'S MOTIO FOR ENTRY OF AN ORDER APPROVING
       SETTLEME T WITH HARBOURVEST (CLAIM OS. 143, l47, 149, 150, 153, 154)
              AND AUTHORIZIN G ACTIONS CON I TENT THEREWITH


    TO THE HONORABLE STACEY G. C. JERNIGAN,
    UNlT ED ST A TES BANKRUPTCY JUDGE:



    1 The last four digits of the Debtor's taxpayer identification number are 6725. The headquarters and service address

    for the Debtor is 300 Crescent Court, Suite 700, Dallas, TX 7520 1.




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                                                                                                                              APP 743
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               Highland Capital Management, L.P., the above-captioned debtor and debtor-in-

       possession ("Highland" or the "Debtor"), files this motion (the " Motion") for entry of no order,

       substantially in the form attached hereto as Exhibit A, pursuant to Rule 9019 of the Federal

       Rules of Bankn1ptcy Procedure (the "Bankruptcy Rules"), approving a settlement agreement (the

       "Settlement Agreement"), 2 a copy of which is attached as Exhibit I to the Declaration ofJohn A.

      Morris in Support of the Debtor ·s Motion for Entry of an Order Approving Settlement with

      HarbourVest (Claim Nos. 143, 147, 149. 150, 153. 154) and Authorizing Actions Consistent

       Therewith being filed simultaneously with this Motion ("Morris Dec."), that, among other things,

       fully and finally resolves the proofs of claim fi led by HarbourYest 2017 Global Fund LP.,

       HarbourYest 2017 Global AIF LP., HarbourYest Dover Street IX Investment LP., HY

       International YID Secondary LP., HarbourYest Skew Base AIF L.P., and HarbourYest Partners

       L.P. (collectively, "HarbourVest"). In support of this Motion, the Debtor represents as follows:

                                                  JURISDICTION

                       l.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

       and 1334. This matter is a core proceediJJg within the meaning of 28 U.S.C. § I57(b)(2). Venue

       in this District is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                       2.      The statutory predicates for the relief sought herein are sections lOS(a)

       and 363 of title 11 of the United States Code (the " Bankruptcy Code"), and Rule 90 19 of the

      Bankruptcy Rules.




       2
        Al l capitalized terms used but not defined herein shall have the meanings given to them in the Settlement
       Agreement.

                                                           2


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                                            RELEVANT BACKGROUND

   A.         Procedural Background
                       3.       On October 16, 20 19 (the "Petition Date"), the Debtor fi led a voluntary

   petition for relief under chapter 11 of the Bankruptcy Code in the Bankruptcy Court for the

   District of Delaware, Case No. 19-12239 (CSS) (the "Delaware Court").

                       4.       On October 29, 2019, the official committee of unsecured creditors (the

   "Committee") was appointed by the U.S. Trustee in the Delaware Court.

                       5.       On December 4, 2019, the Delaware Court entered an order tra11Sferring

   venue of the Debtor's case to this Court [Docket No. 186]. 3

                       6.       On December 27, 2019, the Debtor fi led that certain Motion of the Debtor

  for Approval of Settlement with the Official Committee of Unsecured Creditors Regarding

   Governance of the Debtor and Procedures for Operations in the Ordinary Course [Docket No.

   281] (the "Settlement Motion"). This Court approved the Settlement Motion on January 9, 2020

   [Docket No. 339] (the "Settlement Order'').

                       7.       In connection with the Settlement Order, an independent board of

   directors was constituted at the Debtor's general partner, Strand Advisors, Inc., and certain

   operating protocols were instituted.

                       8.       On July 16, 2020, this Court entered an order appointing James P. Seery,

   Jr., as the Debtor's chief executive officer and chief restructuring officer [Docket No. 854].

                       9.       The Debtor bas continued in the possession of its property and bas

   continued to operate and manage its business as a debtor-in-possession pursuant to sections

   1107(a) and 1108 of the Bankruptcy Code. No trustee or examiner has been appointed in this

   chapter 11 case.


   3
       All docket numbers refer to the docket maintained by this Court.

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  B.       Overview ofHarbourVest's Claims

                    10.      HarbourVest's claims against the Debtor's estate arise from its $80 million

  investment in Highland CLO Funding, f/k/a Acis Loan Funding, Ltd. ("HCLOF"), pursuant to

  which HarbourVest obtained a 49 percent interest in HCLOF (the "Investment").

                    11.      In brief, HarbourVest contends that it was fraudulently induced into

  entering into the Investment based on the Debtor's misrepresentations and omissions concerning

  certain material facts, including that the Debtor: (1) failed to disclose that it never intended to

  pay an arbitration award obtained by a former portfolio manager, (2) failed to disclose that it

  engaged in a series of fraudulent transfers for the purpose of preventing the former portfolio

  manager from collecting on his arbitration award and misrepresented the reasons changing the

  portfolio manager for HCLOF immediately prior to the Investment, (3) indicated that the dispute

  with the former portfolio manager would not impact investment activities, and (4) expressed

  confidence in the ability of HCLOF to reset or redeem the collateralized loan obligations

  ("CLOs") under its control.

                    12.      HarbourVest seeks to rescind its Investment and claims damages in excess

  of $300 million based on theories of fraud, fraudulent inducement, fraudulent concealment,

  fraudulent misrepresentation, negligent misrepresentation, and breach of fiduciary duty (under

  Guernsey law), and on alleged violations of state securities laws and the Racketeer l nfluenced

  Corrupt Organization Act ("RICO").

                    13 .     HarbourVest's allegations are summarized below. 4




  4
    Solely for purposes of this Motion, and not for any other reason, the facts set forth herein are adopted largely from
  the HarbourVes/ Response to Debtor's First Omnibus Objection to Certain (A) Duplicate Claims: (B) Overstated
  Claims: (C) Late-Filed Claims; (D) Satisfied Claims; (E) No-Liabiliiy Claims: and (F) lnsujficient-Documemalion
  Claims [Docke t No. I057] (the "Response").



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  C.      Summary of HarbourVest's Factual AJlegations

                 14.     At the time HarbourVest made its Investment, the Debtor was embroiled

  m an arbitration against Joshua Terry ("Mr. Terry"), a former employee of the Debtor and

  limited partner of Acis Capital Management, L.P. ("Acis LP"). Through Acis LP, Mr. Terry

  managed Highland's CLO business, including CLO-related inve.stments held by Acis Loan

  Funding, Ltd. ("Acis Funding" ).

                 15.     The litigation between Mr. Terry and the Debtor began in 2016, after the

  Debtor terminated Mr. Terry and commenced an action against him in Texas state court. Mr.

  Terry asserted counterclaims for wrongful termination and for the wrongful taking of his

  ownership interest in Acis LP and subsequently had certain claims referred to arbitration where

  he obtained an award of approximately $8 million (the "Arbitration Award" ) on October 20,

  2017.

                 16.     HarbourVest alleges that the Debtor responded to the Arbitration Award

  by engaging in a series of fraudu lent transfers and corporate restructurings, the true purpose.s of

  which were fraudu lently concealed from HarbourVest.

                 17.     For example, according to HarbourVest, the Debtor changed the name of

  the target fund from Acis Funding to " Highland CLO Funding, Ltd." (" HCLOF") and "swapped

  out" Acis LP for Highland HCF Advisor, Ltd. as portfolio manager (the " Structural Changes").

  The Debtor allegedly told HarbourVest that it made these changes because of the "reputational

  harm" to Acis LP resulting from the Arbitration Award. The Debtor further told HarbourVest

  that in lieu of redemptions, resetting the CLOs was necessary, and that it would be easier to reset

  them under the "Highland" CLO brand instead of the Acis CLO brand.

                 18.     In addition, HarbourVest also alleges that the Debtor had no intention of

  allowing Mr. Terry to collect on his Arbitration Award, and orchestrated a scheme to "denude"


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   Acis of assets by fraudu lently transferring virtually all of its assets and attempting to transfer its

   profitable portfolio management contracts to non-Acis, Debtor-related entities.

                   19.    Unaware of the fraudulent transfers or the true purposes of the Structural

   Changes, and in reliance on representations made by the Debtor, HarbourYest closed on its

   Investment in HCLOF on November 15, 20 17.

                   20.    After discovering the transfers that occurred between Highland and Acis

   between October and December 2017 following the Arbitration Award (the "Transfers"), on

   January 24, 2018, Terry moved for a temporary restraining order (the "TRO") from the Texas

   state court on the grounds that the Transfers were pmsued for the purpose of rendering Acis LP

   judgment-proof. The state court granted the TRO, enjoining the Debtor from transferring any

   CLO management contracts or other assets away from Acis LP.

                   21.    On January 30, 2018, Mr. Terry filed involuntary bankruptcy petitions

   aga inst Acis LP and its general partner, Acis Capital Management GP, LLC. See In re Acis

   Capital Management, L.P.. Case No. 18-30264-sgjl l (Bankr. N.D. Tex. 2018) and In re Acis

   Capital Management GP, LLC, Case No. 18-30265-sgjl 1 (Bankr. N.D. Tex. 2018) (collectively,

   the "Acis Bankruptcy Case"). The Bankruptcy Court overruled the Debtor's objection, granted

   the involuntary petitions, and appointed a chapter 11 trustee (the "Acis Trustee").            A long

   sequence of events subsequently transpired, all of which relate to HarbourYest's claims,

   including:

           •    On May 31 , 2018, the Court issued a sua sponte TRO preventing any actions m
                furtherance of the optional redemptions or other liquidation of the Acis CLOs.

           •    On June 14, 20 18, HCLOF withdrew optional redemption notices.

           •    The TRO expired on June 15, 20 18, and HCLOF noticed the Acis Trustee that it was
                requesting an optional redemption.




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           •   HCLOF's request was withdrawn on July 6, 20L8, and on June 21 , 2018, the Acis
               Trustee sought an injunction preventing Highland/HCLOF from seeking further
               redemptions (the "Preliminary In junction").

           •   The Court granted the Preliminary Injunction on July I 0, 20 18, pending the Acis
               Trustee's attempts to confirm a p lan or resolve the Acis Bankruptcy.

           •   On August 30, 2018, the Court denied confirmation of the First Amended Joint Plan
               for Acis, and held that the Preliminary Injunction must stay in place on the ground
               that the "evidence thus far bas been compelling that numerous transfers after the Josh
               Terry judgment denuded Acis of value."

           •   After tJ1e Debtor made various statements implicating HarbourVest in the Transfers,
               the Acis Trustee investigated HarbourVest's involvement in sucb Transfers, including
               exteDsive discovery and taking a 30(b)(6) deposition of HarbourVest's managing
               director, Michael Pugatch, on November 17, 2018.

           •   On March 20, 2019, HCLOF sent a letter to Acis LP stating tJ1at it was not interested
               in pursuing, or able to pursue, a CLO reset transaction.

    D.     The Parties' Pleadings and Positions Concerning HarbourVest's
           Proofs of Claim

                   22.     On April 8, 2020, HarbourVest filed proofs of claim against Highland that

    were subsequently denoted by the Debtor's claims agents as claim numbers 143, 147, 149, 150,

    153, and 154, respectively (collectively, the "Proofs of Claim"). Morris Dec. Exhibits 2-7.

                   23 .    The Proofs of Claim assert, among other things, that HarbourVest suffered

    significant barrn due to conduct undertaken by the Debtor and the Debtor's employees, including

    "financial barm resulting from (i) court orders in ilie Acis Bankruptcy that prevented certain

    CLOs in which HCLOF was invested from being refinanced or reset and court orders that

    othe1wise relegated the activity of HCLOF [i.e., the Preliminary Injunction]; aDd (ii) significant

    fees and expenses related to the Acis Bankruptcy that were charged to HCLOF." See, e.g. ,

    Morris Dec. Exhibit 2 iJ3.

                   24.     HarbourVest also asserted "ally and all of its right to payment, remedies,

    and other claims (including contingent or unliquidated claims) against the Debtor in connection

    witb and relating to the forgoing barm, including for any amounts due or owed under the various

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   agreements with the Debtor in connection with relating to" the Operative Documents "and any

   and all legal and equitable claims or causes of action relating to the forgoing harm." See, e.g.,

   Morris Dec. Exhi bit 2 iJ4.

                  25.     Highland subsequently objected to HarbourVesl's Proofs of Claim on the

   grounds that they were no-liabil ity claims. [Docket No. 906] (the "Claim Objection").

                  26.     On September 11 , 2020, HarbourVest filed its Response. The Response

   articulated specified claims under U.S. federal and state and Guernsey law. including claims for

   fraud, fraudu lent concealment, fraudulent inducement, fraudulent misrepresentation, negligent

   misrepresentation (collectively, the "Fraud Claims"), U.S. State and Federal Securities Law

   Claims (the "Securities Claims"), violations of the Federal Racketeer Influenced and Corrupt

   Organizations Act ("RICO"), breach of fiduciary dluty and misuse of fund assets, and an unfair

   prejudice claim under Guernsey law (collectively, with the Proofs of Claim. the "HarbourVest

   Claims").

                  27.     On October 18, 2020, Harbow·Vest filed its Motion of HarbourVest

   Pursuant to Rule 3018 of the Federal Rules of Bankruptcy Procedure for Tempora,y Allowance

   of Claims for Pwposes of Voting to Accept or Reject the Plan [Docket No. 1207] (the "30 18

   Motion"). lo its 3018 Motion, HarbourVest sought for its Claims to be temporari ly allowed for

   votillg purposes in the amount of more than $300 million (based largely on a theory of treble

   damages).

   E.     Settlement Discussions
                  28.     ill October, tbe parties discussed the possibi lity of resolving the Rule 30 I 8

   Motion.

                  29.     To November, the parties broadened the discussions in an attempt to reach

   a global resolution of the HarbourVest Claims.        ill the pursuit thereof, the parties and their


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    counsel participated in several conference calls where they engaged in a spirited exchange of

    perspective,s concerning the facts and the law.

                     30.     During follow up meetings, the parties' interests became more defined.

    Specifically, HarbourVest sought to maximize its recovery whi le fully extracting itself from the

    Investment, while the Debtor sought to minjmize the HarbourVest Claims consistent with its

    perceptions oftbe facts and law.

                     3 l.     After the pa11ies' interests became more defined. the principals engaged in

    a series of direct, arm's-length, telephoruc negotiations that ultimately lead to the settlement,

   whose terms are summarized below.

    F.        Summary of Settlement Terms

                      32.     The Settlement Agreement contains the followi.ng material te1ms, among

    others:

              •   HarbourVest shall transfer its entire interest in HCLOF to an entity to be designated
                  by the Debtor; 5

              •   HarbourVest shall receive an allowed, general unsecured, non-priority claim in the
                  amount of $45 million and shall vote its Class 8 claim in that amount to support the
                  Plan;

              •   HarbourVest shall receive a subordinated, allowed, general unsecured, non-priority
                  claim in the amount of $35 rrullion and shall vote its Class 9 claim in that amount to
                  support the Plan;

              •   HarbourVest will support confirmation of the Debtor's Plan, including, but not
                  lirruted to, voting its claims in support of the Plan;

              •   The HarbourVest Claims shall be allowed in the aggregate amount of$45 million for
                  voting purposes;

              •   HarbourVest will support the Debtor's pursuit of its pending Plan of Reorganization;
                  and

              •   Tbe parties shall exchange mutual releases.

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     The NAY for HarbourVest's 49.98% interest in HCLOF was estimated to be a   roximate!Y $22 million as of
    December I. 2020.

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   See generally Morris Dec. Exhibit l.

                                   BASIS FOR RELIEF REQUESTED
                  33.     Bankruptcy Rule 9019 governs the procedural prerequisites to approval of

   a settlement, providing that:

            On motion by the trustee a11d after notice and a bearing, the court may
            approve a compromise or settlement. Notice shall be given to creditors, the
            United States trustee, the debtor, and indenture trustees as provided in Rule
            2002 and to any other entity as the court may direct.

   FED. R. BANKR. P. 9019(a).

                  34.     Settlements in bankruptcy ru·e favored as a means of minimizing litigation,

   expediting the administration of the bankruptcy estate, and providing for tbe efficient resolution

   of bankruptcy cases. See Myers v. Martin (In re Martin), 9 1 F.3d 389, 393 (3d C ir. 1996);

   Rivercity v. He,pel (In re Jackson Brewing Co.), 624 F.2d 599, 602 (5th Cir. 1980). Pursuant to

   Bankruptcy Rule 90J9(a), a bankruptcy court may approve a compromise or settlement as long

   as the proposed settlement is fa ir, reasonable, and in the best interest of the estate. See In re Age

   Ref Inc., 801 F.3d 530, 540 (5th C ir. 2015). Ultimately, "approval of a compromise is within

   the sound discretion of the bankruptcy court." See United Stares v. AWECO, Inc. (In re A WECO,

   Inc.). 725 F.2d 293, 297 (5th Cir. 1984); Jackson Brewing. 624 F.2d at 602-03.

                  35.     1n making this determination, the United States Court of Appeals for the

   Fifth Circuit applies a three-part test, "with a focus on comparing 'the tem1s of the compromise

   with the rewards of litigation."' Official Comm. of Unsecured Creditors v. Cajun Elec. Power

   Coop. (In re Cajun Elec. Power Coop.), 119 F.3d 349, 356 (5th Cir. 1997) (citing Jackson

   Brewing, 624 F.2d at 602). The Fifth Circuit bas instructed courts to consider the following

   factors: "(l) The probability of success in the litigation, with due consideration for the

   uncertainty of law and fact, (2) The complexity and likely duration of the litigation and any



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   attendant expense, inconvenience and delay, and (3) All oth,~r factors bearing on the wisdom of

   the compromise." Id. Under the rnbric of the third factor referenced above, the Fifth Circuit bas

   specified two additional factors that bear on the decision to approve a proposed settlement. First,

   the court should consider "the paramount interest of creditors with proper deference to their

   reasonable views." Id.; Conn. Gen. Life Ins. Co. v. United Cos. Fin. Co,p. (In re Foster

   Mortgage Co,p.), 68 F.3d 9 14, 917 (5th Cir. 1995). Second, the court shou ld consider the

   "extent to which the settlement is truly the product of anns-le:ngth bargaining, and not of fraud or

   collusion." Age Ref Inc., 801 F.3d at 540; Foster Mortgage Cotp., 68 F.3d at 9 18 (citations

   omitted).

                    36.    There is ample basis to approve the proposed Settlement Agreement based

   on the Ru le 90 19 factors set forth by the Fifth Circuit.

                    37.    First, although the Debtor believes that it has valid defenses to the

   HarbourVest Claims, there is no guarantee that the Debtor would succeed in its litigation with

   HarbourVest. Indeed, to establish its defenses, the Debtor would be required to rely, at least in

   part, on the credibility of witnesses whose veracity bas already been called into question by this

   Court.      Moreover, it will be difficult to dispute that tbe Transfers precipitated the Acis

   Bankniptcy, and, u ltimately, the imposition of the Bankruptcy Court's TRO that restricted

   HCLOF's ability to reset or redeem the CLOs and tbat is at the core of tbe HarbourVest Claims.

                    38.    The second factor- the complexity, duration, and costs of litigation-also

   weighs heavi ly in favor of approving tbe Settlement Agreement. As trus Court is aware, the

   events formi ng the basis of the HarbourYest Claims-incluiding the Terry Litigation and Acis

   Bankruptcy-proceeded for years in this Court and in mulltiple other forums, and has already

   cost the Debtor's estate millions of dollars in legal fees.   lf the Settlement Agreement is not

   approved, then the parties will expend significant resources litigating a host of fact-intensive


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   fraudulent statements and omissions and whether HarbourVest reasonably relied on those

   statements and omissions.

                           39.         Third, approval of the Settlement Agreement is justified by the paramount

   interest of creditors. Specifically, the settlement will enable the Debtor to: (a) avoid incurring

   substantial litigation costs; (b) avoid the litigation risk associated with HarbourVest's $300

   million claim; a11d (c) through the plan support provisions, increase the likelihood that tbe

   Debtor's pending plan of reorganization will be confirmed.

                           40.         Finally, the Settlement Agreement was unquestionably negotiated at

   arm' s-length. The terms of the settlement are the result of numerous, ongoing discussions and

   negotiations between the pa11ies and their counsel and represent neither party's "best case

   scenario." lndeed, the Settlement Agreement should be approved as a rational exercise of the

   Debtor's business judgment made after due deliberation of the facts and circumstances

   concerning HarbourVest's Claims.

                                                          NO PRIOR REQUEST

                           41.         No previous request for tbe relief sought herein has been made to tbis, or

   any other, CoUJt.

                                                                     NOTICE


                           42.         Notice of tbis Motion sball be given to the following parties or, in lieu

   thereof, to tbeir counsel, if kuown: (a) counsel for HarbourVest; (b) the Office of the United

   States Trustee; (c) the Office of the United States Attorney for the Northern District of Texas; (d)

   the Debtor's principal secured parties; (e) counsel to the Committee; and (t) parties requesting

   notice pursuant to Bankruptcy Rule 2002. The Debtor submits that, in light of tbe nature of the

   relief requested, no other or further notice need be given.

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           WHEREFORE, the Debtor respectfully requests entry of an order, substantially in the

   form attached hereto as Exhibit A, (a) granting the relief requested herein, and (b) granting such

   other relief as is just and proper.



   Dated: December 23, 2020.                 PACHULSKI STANG ZlEHL & JONES LLP

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                                UBS Settlement [Doc. 2200-1]
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                                       Exhibit 1
                             Settlement Agreement




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                                     SETTLEMENT AGREEMENT

            This Settlement Agreement (the "Agreement") is entered into as of March 30, 2021, by
    and among (i) Highland Capital Management, L.P. ("HCMLP" or the "Debtor"), (ii) Highland
    Credit Opportunities CDO, L.P. (n/k/a Highland Multi Strategy Credit Fund, L.P.) ("Multi-
    Strat," and together with its general partner and its direct and indirect wholly-owned subsidiaries,
    the "MSCF Parties"), (iii) Strand Advisors, Inc. ("Strand"), and (iv) UBS Securities LLC and
    UBS AG London Branch (collectively, "UBS").

            Each of HCMLP, the MSCF Parties, Strand, and UBS are sometimes referred to herein
    collectively as the "Parties" and individually as a "Party."

                                             RE C I TA L S

           WHEREAS, in 2007, UBS entered into certain contracts with HCMLP and two funds
    managed by HCMLP- Highland CDO Opportunity Master Fund, L.P. ("CDO Fund") and
    Highland Special Opportunities Holding Company ("SOHC," and together with CDO Fund, the
    "Funds") related to a securitization transaction (the "Knox Agreement");

          WHEREAS, in 2008, the parties to the Knox Agreement restructured the Knox
    Agreement;

            WHEREAS, UBS terminated the Knox Agreement and, on February 24, 2009, UBS
    filed a complaint in the Supreme Court of the State of New York, County of New York (the
    "State Court") against HCMLP and the Funds seeking to recover damages related to the Knox
    Agreement, in an action captioned UBS Securities LLC, et al. v. Highland Capital Management,
    L.P., et al. , Index No. 650097/2009 (N.Y. Sup. Ct.) (the "2009 Action");

           WHEREAS, UBS's lone claim against HCMLP in the 2009 Action for indemnification
    was dismissed in early 20 l 0, and thereafter UBS amended its complaint in the 2009 Action to
    add five new defendants, Highland Financial Partners, L.P. ("HFP"), Highland Credit Strategies
    Master Funds, L.P. ("Credit-Strat"), Highland Crusader Offshore Partners, L.P. ("Crusader"),
    Multi-Strat, and Strand, and to add new claims for fraudulent inducement, fraudulent
    conveyance, tortious interference with contract, alter ego, and general partner liability;

           WHEREAS, UBS filed a new, separate action against HCMLP on June 28, 2010, for,
    inter alia, fraudulent conveyance and breach of the implied covenant of good faith and fair
    dealing, captioned UBS Securities LLC, et al. v. Highland Capital Management, L.P. , Index No.
    650752/2010 (N.Y. Sup. Ct.) (the "2010 Action'');

           WHEREAS, in November 2010, the State Court consolidated the 2009 Action and the
    20 IO Action (hereafter referred to as the "State Court Action"), and on May 11, 2011 , UBS filed
    a Second Amended Complaint in the 2009 Action;

            WHEREAS, in 2015, UBS entered into settlement agreements with Crusader and Credit-
    Strat, and thereafter UBS filed notices with the State Court in the State Court Action dismissing
    its claims against Crusader and Credit-Strat;




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                                                                          EXECUTION VERSION

            WHEREAS, the State Court bifurcated claims asserted in the State Court Action for
     purposes of trial, with the Phase I bench trial deciding UBS's breach of contract claims against
     the Funds and HCMLP's counterclaims against UBS;

            WHEREAS, on August 7, 2017, the Funds, along with Highland CDO Opportunity
     Fund, Ltd., Highland CDO Holding Company, Highland Financial Corp., and HFP, purportedly
     sold assets with a purported collective fair market value of $105,647,679 (the "Transferred
     Assets") and purported face value of over $300,000,000 to Sentinel Reinsurance, Ltd.
     ("Sentinel") pursuant to a purported asset purchase agreement (the "Purchase Agreement");

           WHEREAS, Sentinel treated the Transferred Assets as payment for a $25,000,000
     premium on a document entitled "Legal Liability Insurance Policy" (the "Insurance Policy");

            WHEREAS, the Insurance Policy purports to provide coverage to the Funds for up to
     $100,000,000 for any legal liability resulting from the State Court Action (the "Insurance
     Proceeds");

            WHEREAS, one of the Transferred Assets CDO Fund transferred to Sentinel was CDO
     Fund's limited partnership interests in Multi-Strat (the "CDOF Interests");

             WHEREAS, Sentinel had also received from HCMLP limited partnership interests in
     Multi-Strat for certain cash consideration (together with the CDOF Interests, the "MSCF
     Interests");

            WHEREAS, the existence of the Purchase Agreement and Insurance Policy were
     unknown to Strand's independent directors and the Debtor's bankruptcy advisors prior to late
     January 2021;

           WHEREAS, in early February 2021, the Debtor disclosed the existence of the Purchase
     Agreement and Insurance Policy to UBS;

            WHEREAS, prior to such disclosure, the Purchase Agreement and Insurance Policy
     were unknown to UBS;

             WHEREAS, on November 14, 2019, following the Phase I trial, the State Court issued
     its decision determining that the Funds breached the Knox Agreement on December 5, 2008 and
     dismissing HCMLP's counterclaims;

            WHEREAS, Sentinel purportedly redeemed the MSCF Interests in November 2019 and
     the redeemed MSCF Interests are currently valued at approximately $32,823,423.50 (the
     "Sentinel Redemption");

            WHEREAS, on February 10, 2020, the State Court entered a Phase I trial judgment
     against the Funds in the amount of $1,039,957,799.44 as of January 22, 2020 (the "Phase I
     Judgment");

            WHEREAS, Phase II of the trial of the State Court Action, includes, inter alia, UBS's
     claim for breach of implied covenant of good faith and fair dealing against HCMLP, UBS's



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     fraudulent transfer claims against HCMLP, HFP, and Multi-Strat, and UBS's general partner
     claim against Strand;

            WHEREAS, on October 16, 2019, HCMLP filed a voluntary petition for relief under
     chapter 11 of title 11 of the United States Code (the "Bankruptcy Code") in the United States
     Bankruptcy Court for the District of Delaware (the "Bankruptcy Case"). The Bankruptcy Case
     was transferred to the United States Bankruptcy Court for the Northern District of Texas (the
     "Bankruptcy Court") on De-cember 4, 2019;

         WHEREAS, Phase II of the trial of the State Court Action was automatically stayed as to
     HCMLP by HCMLP's bankruptcy filing;

            WHEREAS, on May 11, 2020, UBS, Multi-Strat, Highland Credit Opportunities CDO,
     Ltd., and Highland Credit Opportunities CDO Asset Holdings, L.P. (collectively, the "May
     Settlement Parties"), entered into a Settlement Agreement (the "May Settlement") pursuant to
     which the May Settlement Parties agreed to the allocation of the proceeds o f certain sales of
     assets held by Multi-Strat, including escrowing a portion of such funds, and restrictions on
     Multi-Strat's actions;

             WHEREAS, on June 26, 2020, UBS timely filed two substantively identical claims in
     the Bankruptcy Case: (i) Claim No. 190 filed by UBS Securities LLC; and (ii) Claim No. 191
     filed by UBS AG London Branch (hereinafter collectively referred to as the "UBS Claim"). The
     UBS Claim asserts a general unsecured claim against HCMLP for $1 ,039,957,799.40;

             WHEREAS, on August 3, 2020, the Bankruptcy Court entered an Order J)irecting
     Mediation [Docket No. 912] pursuant to which HCMLP, UBS, and several other parties were
     directed to mediate their Bankruptcy Case disputes before two experienced third-party mediators,
     Retired Judge Allan Gropper and Sylvia Mayer (together, the "Mediators"). HCMLP and UBS
     formally met with the Mediators together and separately on numerous occasions, including on
     August 27, September 2, 3, and 4, and December 17, 2020, and had numerous other informal
     discussions outside of the presence of the Mediators, in an attempt to resolve the UBS Claim;

           WHEREAS, on August 7, 2020, HCMLP filed an objection to the UBS Claim [Docket
     No. 928]. Also on August 7, 2020, the Redeemer Committee of the Highland Crusader Fund,
     and Crusader, Highland Crusader Fund, L.P., Highland Crusader Fund, Ltd., and Highland
     Crusader Fund II, Ltd. (collectively, the " Redeemer Committee"), objected to the UBS Claim
     [Docket No. 933]. On September 25, 2020, UBS filed its response to these objections [Docket
     No. 1105];

             WHEREAS, on October 16, 2020, HCMLP and the Redeemer Committee each moved
     for partial summary judgment on the UBS Claim [Docket Nos. 1180 and 1183, respectively], and
     on November 6, 2020, UBS opposed these motions [Docket No. 1337];

             WHEREAS, by Order dated December 9, 2020, the Bankruptcy Court granted, as set
     forth therein, the motions for partial summary judgment filed by HCMLP and the Redeemer
     Committee and denied UBS's request for leave to file an amended proof of claim [Docket No.
     1526];




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            WHEREAS, on November 6, 2020, UBS filed UBS 's Motion for Temporary Allowance
     of Claims for Voting Purposes Pursuant to Federal Rule of Bankruptcy Procedure 3018 [Docket
     No. 1338] (the "3018 Motion"), and on November 16, 2020, HCMLP and the Redeemer
     Committee each opposed the 3018 Motion [Doclket Nos. 1404 and 1409, respectively];

           WHEREAS, by Order dated December 8, 2020, the Bankruptcy Court granted the 3018
     Motion and allowed the UBS Claim, on a temporary basis and for voting purposes only, in the
     amount of$94,761,076 [Docket No. 1518];

           WHEREAS, on January 22, 2021, the Debtor filed the Fifth Amended Plan of
     Reorganization for Highland Capital Management, L.P. (As Modified) [Docket No. 1808] (as
     amended, and as may be further amended, supplemented, or otherwise modified, the "Plan");

            WHEREAS, on March 29, 2021, the Debtor caused CDO Fund to make a claim on the
     Insurance Policy to collect the Insurance Proceeds pursuant to the Phase I Judgment;

             WHEREAS, on March 29, 2021, UBS filed an adversary proceeding seeking injunctive
     relief and a motion for a temporary restraining order and preliminary injunction to, among other
     things, enjoin the Debtor from allowing Multi-Strat to distribute the Sentinel Redemption to
     Sentinel or any transferee of Sentinel (the "Multi-Strat Proceeding"), which relief the Debtor, in
     its capacity as Multi-Strat's investment manager and general partner, does not oppose;

            WHEREAS, the Parties wish to enter into this Agreement to settle all claims and
     disputes between and among them, to the extent and on the terms and conditions set forth herein,
     and to exchange the mutual releases set forth herein, without any admission of fault, liability, or
     wrongdoing on the part of any Party; and

            WHEREAS, this Agreement will be presented to the Bankruptcy Court for approval
     pursuant to Federal Rule of Bankruptcy Procedure 9019 ("Rule 9019") and section 363 of the
     Bankruptcy Code;

            NOW THEREFORE, in consideration of the above recitals, the covenants, conditions,
     and promises made herein, and other good and valuable consideration, the receipt of which is
     hereby acknowledged, the Parties agree as follows:

                                                   AGREEMENT

            1.      Settlement of Claims. In full and complete satisfaction of the UBS Released
     Claims (as defined below):

                  (a)    The UBS Claim will be allowed as (i) a single, general unsecured claim in
     the amount of $65,000,000 against HCMLP, which shall be treated as a Class 8 General
     Unsecured Claim under the Plan; 1 and (ii) a single, subordinated unsecured claim in the amount
     of $60,000,000 against HCMLP, which shall be treated as a Class 9 Subordinated General
     Unsecured Claim under the Plan.



     1 Capitalized terms used but not defined herein shall have the meanings attributed to them in the Plan.




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                      (b)    Multi-Strat will pay UBS the sum of $18,500,000 (the "Multi-Strat
      Payment") as follows: (i) within two (2) business days after the Order Date, the May Settlement
      Parties will submit a Joint Release Instruction (as defined in the May Settlement) for the release
      of the amounts held in the Escrow Account (as defined in the May Settlement) to be paid to UBS
      in partial satisfaction of the Multi-Strat Payment on the date that is ten (10) business days
      following the Order Date; and (ii) Multi-Strat will pay UBS the remainder of the Multi-Strat
      Payment in immediately available funds on the date that is ten (10) business days following the
      Order Date, provided that, for the avoidance of doubt, the amounts held in the Escrow Account
      will not be paid to UBS until and unless the remainder of the Multi-Strat Payment is made.

                      (c)     Subject to applicable law, HCMLP will use reasonable efforts to (i) cause
      CDO Fund to pay the Insurance Proceeds in full to UBS as soon as practicable, but no later than
      within 5 business days of CDO Fund actually receiving the Insurance Proceeds from or on behalf
      of Sentinel; (ii) if Sentinel refuses to pay the Insurance Proceeds, take legal action reasonably
      designed to recover the Insurance Proceeds or the MSCF Interests or to return the Transferred
      Assets to the Funds to satisfy the Phase I Judgment and in addition shall provide reasonable
      assistance to UBS in connection with any legal action UBS takes to recover the Insurance
      Proceeds or to return the Transferred Assets to the Funds to satisfy the Phase I Judgment or
      obtain rights to the MSCF interests, including but not limited to the redemption payments in
      connection with the MSCF Interests; (iii) cooperate with UBS and participate (as applicable) in
      the investigation or prosecution of claims or requests for injunctive relief against the Funds,
      Multi-Strat, Sentinel, James Dondero, Isaac Leventon, Scott Ellington, Andrew Dean,
      Christopher Walter, Jean Paul Sevilla, Matthew DiOrio, Katie Irving, and/or any other current or
      former employee or director of the Funds or Sentinel and/or any other former employee or
      former director of any of the HCMLP Parties that is believed to be involved with the Purchase
      Agreement, Insurance Policy, Transferred Assets, the transfer of the MSCF Interests, or any
      potentially fraudulent transfer of assets from the Funds to Sentinel, excluding the individuals
      listed on the schedule provided to UBS on March 25, 2021 (the " HCMLP Excluded
      Employees"); (iv) as soon as reasonably practicable, provide UBS with all business and trustee
      contacts at the Funds, HFP, Greenbriar CLO Ltd., Greenbriar CLO Corp., Aberdeen Loan
      Funding Ltd, Eastland CLO Lt~ Grayson CLO Ltd, Valhalla CLO Ltd, and Governance Re Ltd,
      if any, that are actually known by the Debtor after reasonable inquiry; (v) as soon as reasonably
      practicable, provide UBS with a copy of the governing documents, prospectuses, and indenture
      agreements for the Funds, HFP, Greenbriar CLO Ltd., Greenbriar CLO Corp., Aberdeen Loan
      Funding Ltd, Eastland CLO Lt~ Grayson CLO Ltd, Valhalla CLO Ltd, and Governance Re Ltd,
      as applicable, that are in the Debtor's actual possession, custody, or control, (vi) as soon as
      reasonably practicable, provide, to the extent possible, any CUSIP numbers of the securities of
      the Funds, HFP, Greenbriar CLO Ltd., Greenbriar CLO Corp., Aberdeen Loan Funding Ltd,
      Eastland CLO Lt~ Grayson CLO Ltd, Valhalla CLO Ltd, and Governance Re Ltd., as
      applicable, including information regarding the location and amount of any cash related to those
      entities' holdings, in each case only to the extent actually known by the Debtor after reasonable
      inquiry; (vii) cooperate with UBS to assign or convey any such assets described in Section
      l(c)(vi) or any other assets owned or controlled by the Funds and/or HFP, including for
      avoidance of doubt any additional assets currently unknown to the Debtor that the Debtor
      discovers in the future after the Agreement Effective Date; (viii) respond as promptly as
      reasonably possible to requests by UBS for access to relevant documents and approve as
      promptly as reasonably possible requests for access to relevant documents from third parties as
      needed with respect to the Transferred Assets, the Purchase Agreement, the Insurance Policy, the


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     MSCF Interests and any other assets currently or formerly held by the Funds or HFP, including
     without limitation the requests listed in Appendix A (provided, however, that the provision of
     any such documents or access will be subject to the common interest privilege and will not
     constitute a waiver of any attorney-client or other privilege in favor of HCMLP) that are in the
     Debtor's actual possession, custody, or control; (ix) preserve all documents in HCMLP's
     possession, custody, or control regarding or relating to the Purchase Agreement, the Insurance
     Policy, the MSCF Interests, or any transfer of assets from the Funds to Sentinel, including but
     not limited to the documents requested in Appendix A, from 2016 to present, and issue a
     litigation hold to all individuals deemed reasonably necessary regarding the same; and (x)
     otherwise use reasonable efforts to assist UBS to collect its Phase I Judgment against the Funds
     and HFP and assets the Funds and/or HFP may own, or have a claim to under applicable law
     ahead of all other creditors of the Funds and HFP; provided, however, that, from and after the
     date hereof, HCMLP shall not be required to incur any out-of-pocket fees or expenses, including,
     but not limited to, those fees and expenses for outside consultants and professionals (the
     "Reimbursable Expenses"), in connection with any provision of this Section 1(c) in excess of
     $3,000,000 (the "Expense Cap"), and provided further that, for every dollar UBS recovers from
     the Funds (other than the assets related to Greenbriar CLO Ltd. or Greenbriar CLO Corp.),
     Sentinel, Multi-Strat (other than the amounts set forth in Section l (b) hereof), or any other
     person or entity described in Section l (c)(iii) in connection with any claims UBS has that arise
     out of or relate to the Phase I Judgment, the Purchase Agreement, the Insurance Policy, the
     Transferred Assets, the MSCF Interests, or the Insurance Proceeds (the "UBS Recovery"), UBS
     will reimburse HCMLP ten percent of the UBS Recovery for the Reimbursable Expenses
     incurred by HCMLP, subject to: (I) the occurrence of the Agreement Effective Date and (2)
     UBS's receipt and review of invoices and time records (which may be redacted as reasonably
     necessary) for outside consultants and professionals in connection with such efforts described in
     this Section l(c), up to but not exceeding the Expense Cap after any disputes regarding the
     Reimbursable Expenses have been resolved pursuant to procedures to be agreed upon, or absent
     an agreement, in a manner directed by the Bankruptcy Court; and provided further that in any
     proceeding over the reasonableness of the Reimbursable Expenses, the losing party shall be
     obligated to pay the reasonable fees and expenses of the prevailing party; and provided further
     that any litigation in which HCMLP is a co-plaintiff with UBS or a plaintiff pursuing claims on
     behalf of or for UBS's benefit pursuant to this Section l(c) shall be conducted in consultation
     with UBS, including but not limited to the s-election of necessary outside consultants and
     professionals to assist in such litigation; and provided further that UBS shall have the right to
     approve HCMLP's selection of outside consultants and professionals to assist in any litigation in
     which HCMLP is a co-plaintiff with UBS or a plaintiff pursuing claims on behalf of or for
     UBS's benefit pursuant to this Section l(c).

                   (d)     Redeemer Appeal.

                           (i)   On the Agreement Effective Date, provided that neither the
     Redeemer Committee nor any entities acting on its behalf or with any assistance from or
     coordination with the Redeemer Committee have objected to this Agreement or the 9019 Motion
     (as defined below), UBS shall withdraw with prejudice its appeal of the Order Approving
     Debtor's Settlement with (A) the Redeemer Committee of the Highland Crusader Fund (Claim
     No. 72) and (BJ the Highland Crusader Funds (Claim No. 81), and Authorizing Actions
     Consistent Therewith [Docket No. 1273] (the "Redeemer Appeal"); and



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                             (ii)    The Parties have stipulated to extend the deadline for the filing of
     any briefs in the Redeemer Appeal to June 30, 2021 and will agree to such further extensions as
     necessary to facilitate this Settlement Agreement.

                    (e)     As of the Agreement Effective Date, the restrictions and obligations set
     forth in the May Settlement, other than those in Section 7 thereof, shall be extinguished in their
     entirety and be of no further force or effect.

                    (f)    On the Agreement Effective Date, the Debtor shall instruct the claims
     agent in the Bankruptcy Case to adjust the claims register in accordance with this Agreement.

                    (g)     On the Agreement Effective Date, any claim the Debtor may have against
     Sentinel or any other party, and any recovery related thereto, with respect to the MSCF Interests
     shall be automatically transferred to UBS, without any further action required by the Debtor. For
     the avoidance of doubt, the Debtor shall retain any and all other claims it may have against
     Sentinel or any other party, and the recovery related thereto, unrelated to the MSCF Interests.

            2.      Definitions.

                    (a)   "Agreement Effective Date" shall mean the date the full amount of the
     Multi-Strat Payment defined in Section l (b) above, including without limitation the amounts
     held in the Escrow Account (as defined in the May Settlement), is actually paid to UBS.

                (b)    "HCMLP Parties" shall mean (a) HCMLP, in its individual capacity; (b)
     HCMLP, as manager of Multi-Strat; and (c) Strand.

                   (c)    "Order Date" shall mean the date of an order entered by the Bankruptcy
     Court approving this Agreement pursuant to a motion filed under Rule 9019 and section 363 of
     the Bankruptcy Code.

                    (d)     "UBS Parties" shall mean UBS Securities LLC and UBS AG London
     Branch.

            3.      Releases.

                     (a)     UBS Releases. Upon the occurrence of the Agreement Effective Date,
     and to the maximum extent pennitted by law, each of the UBS Parties hereby forever, finally,
     fully, unconditionally, irrevocably, and completely releases, relieves, acquits, remises,
     exonerates, forever discharges, and covenants never to sue (A) the HCMLP Parties and each of
     their current and former advisors, attorneys, trustees, directors, officers, managers, members,
     partners, employees, beneficiaries, shareholders, agents, participants, subsidiaries, parents,
     affiliates, successors, designees, and assigns (each in their capacities as such), except as
     expressly set forth below, and (B) the MSCF Parties and each of their current and fonner
     advisors, attorneys, trustees, directors, officers, managers, members, partners, employees,
     beneficiaries, shareholders, agents, participants, subsidiaries, parents, affiliates, successors,
     designees, and assigns (each in their capacities as such), except as expressly set forth below, for
     and from any and all claims, debts, liabilities, demands, obligations, promises, acts, agreements,
     liens, losses, costs and expenses (including, without limitation, attorneys' fees and related costs),
     damages, injuries, suits, actions, and causes of action of whatever kind or nature, whether known


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      or unknown, suspected or unsuspected, matured or unmarured, liquidated or unliquidated,
      contingent or fixed, at law or in equity, or statutory or otherwise, including, without limitation,
      any claims, defenses, and affirmative defenses, whether known or unknown, including, without
      limitation, those that have been or could have been alleged or asserted in the State Court Action
      or the Bankruptcy Case (collectively, the "UBS Released Claims"), provided, however, that
      notwithstanding anything to the contrary herein, such releases shall not apply to (1) the
      obligations of the HCMLP Parties and MSCF Parties under this Agreement, including without
      limitation the allowance of or distributions on account of the UBS Claim or the settlement terms
      described in Sections l(a)-(g) above; (2) the Funds or HFP, including for any liability with
      respect to the prosecution, enforcement, collection, or defense of the Phase I Judgment, Purchase
      Agreement, and/or Insurance Policy, or such prosecution, enforcement, collection, or defense of
      the Phase I Judgment, Purchase Agreement, and/or Insurance Policy by UBS; (3) James Dondero
      or Mark Okada, or any entities, including without limitation Hunter Mountain Investment Trust,
      Dugaboy Investment Trust, and NexBank, SSB, owned or controlled by either of them, other
      than the HCMLP Parties and MSCF Parties (but for the avoidance of doubt, such releases of the
      HCMLP Parties and MSCF Parties shall be solely with respect to such entities and shall not
      extend in any way to James Dondero or Mark Okada in their individual capacity or in any other
      capacity, including but not limited to as an investor, officer, trustee, or director in the HCMLP
      Parties or MSCF Parties); (4) Sentinel or its subsidiaries, parents, affiliates, successors,
      designees, assigns, employees, or directors, including James Dondero, Isaac Leventon, Scott
      Ellington, Andrew Dean, Christopher Walter, Jean Paul Sevilla, Matthew DiOrio, Katie Irving,
      and/or any other current or former employee or director of the Funds or Sentinel and/or any other
      former employee or former director of any of the HCMLP Parties that is believed to be involved
      with the Purchase Agreement, Insurance Policy, MSCF Interests, or Transferred Assets,
      including for any liability with respect to the prosecution, enforcement, collection, or defense of
      the Phase I Judgment, Purchase Agreement, the MSCF Interests, any potentially fraudulent
      transfer of assets from the Funds to Sentinel and/or Insurance Policy, excluding the HCMLP
      Excluded Employees; (5) the economic rights or interests of UBS in its capacity as an investor,
      directly or indirectly (including in its capacity as an investment manager and/or investment
      advisor), in any HCMLP-affiliated entity, including without limitation in the Redeemer
      Commjttee and Credit Strat, and/or in such entities' past, present or future subsidiaries and
      feeders funds (the "UBS Unrelated Investments"); and (6) any actions taken by UBS against any
      person or entity, including any HCMLP Party or MSCF Party, to enjoin a distribution on the
      Sentinel Redemption or the transfer of any assets currently held by or within the control of CDO
      Fund to Sentinel or a subsequent transferee or to seek to compel any action that only such person
      or entity bas standing to pursue or authorize in order to permit UBS to recover the Insurance
      Proceeds, Transferred Assets, the Phase I Judgment or any recovery against HFP; provided,
      however, that, from and after the date hereof, any out-of-pocket fees or expenses incurred by
      HCMLP in connection with this Section 3(a)(6) will be considered Reimbursable Expenses and
      shall be subject to, and applied against, the Expense Cap as if they were incurred by HCMLP
      pursuant to Section l (c) subject to the occurrence of the Agreement Effective Date and after any
      disputes regarding such Reimbursable Expenses have been resolved in the manner described in
      Section l(c).

                     (b)    HCMLP Release. Upon the occurrence of the Agreement Effective Date,
      and to the maximum extent permitted by law, each of the HCMLP Parties hereby forever, finally,
      fully, unconditionally, irrevocably, and completely releases, relieves, acquits, remises,
      exonerates, forever discharges, and covenants never to sue any of the UBS Parties and each of


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     their current and former advisors, attorneys, trustees, directors, officers, managers, members,
     partners, employees, beneficiaries, shareholders, agents, participants, subsidiaries, parents,
     affiliates, successors, designees, and assigns (each in their capacities as such), for and from any
     and all claims, debts, liabilities, demands, obligations, promises, acts, agreements, liens, losses,
     costs and expenses (including, without limitation, attorneys' fees and related costs), damages,
     injuries, suits, actions, and causes of action of whatever kind or nature, whether known or
     unknown, suspected or unsuspected, matured or unrnatured, liquidated or unliquidated,
     contingent or fixed, at law or in equity, or statutory or otherwise, including, without limitation,
     any claims, defenses, and affirmative defenses, whether known or unknown, including, without
     limitation, those that have been or could have been alleged or asserted in the State Court Action
     or the Bankruptcy Case (collectively, the "HCMLP Released Claims"), provided, however, that
     notwithstanding anything to the contrary herein, such releases shall not apply to the obligations
     of the UBS Parties under this Agreement or Section 7 of the May Settlement; and (b) the
     obligations of the UBS Parties in connection with the UBS Unrelated Investments.

                     (c)     Multi-Strat Release. Upon the occurrence of the Agreement Effective
     Date, and to the maximum extent permitted by law, each of the MSCF Parties hereby forever,
     finally, fully, unconditionally, irrevocably, and completely releases, relieves, acquits, remises,
     exonerates, forever discharges, and covenants never to sue any of the UBS Parties and each of
     their current and former advisors, attorneys, trustees, directors, officers, managers, members,
     partners, employees, beneficiaries, shareholders, agents, participants, subsidiaries, parents,
     affiliates, successors, designees, and assigns (each in their capacities as such), for and from any
     and all claims, debts, liabilities, demands, obligations, promises, acts, agreements, liens, losses,
     costs and expenses (including, without limitation, attorneys' fees and related costs), damages,
     injuries, suits, actions, and causes of action of whatever kind or nature, whether known or
     unknown, suspected or unsuspected, matured or unrnatured, liquidated or unliquidated,
     contingent or fixed, at law or in equity, or statutory or otherwise, including, without limitation,
     any claims, defenses, and affirmative defenses, whether known or unknown, including, without
     limitation, those that have been or could have been alleged or asserted in the State Court Action
     or the Bankruptcy Case (collectively, the "Multi-Strat Released Claims"), provided, however,
     that notwithstanding anything to the contrary herein, such releases shall not apply to the
     obligations of the UBS Parties under this Agreement or Section 7 of the May Settlement.

           4.    No Third Party Beneficiaries. Except for the parties released by this
     Agreement, no other person or entity shall be deemed a third-party beneficiary of this
     Agreement.

             5.      UBS Covenant Not to Sue. Subject to the occurrence of the Agreement
     Effective date, if UBS ever controls any HCMLP-affiliated defendant in the State Court Action
     by virtue of the prosecution, enforcement, or coUection of the Phase I Judgment (collectively, the
     "Controlled State Court Defendants"), UBS covenants on behalf of itself and the Controlled
     State Court Defendants, if any, that neither UBS nor the Controlled State Court Defendants will
     assert or pursue any claims that any Controlled State Court Defendant has or may have against
     any of the HCMLP Parties; provided, however, that nothing shall prohibit UBS or a Controlled
     State Court Defendant from taking any of the actions set forth in Section 3(a)(l)-(6); provided
     further, however, if and to the extent UBS receives any distribution from any Controlled State
     Court Defendant that is derived from a claim by a Controlled State Court Defendant against the
     Debtor, subject to the exceptions set forth in Section 3(a), which distribution is directly


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                                                                                                                APP 765
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     attributable to any property the Controlled State Court Defendant receives from the Debtor and
     separate and distinct from property owned or controlled by CDO Fund, SOHC, or Multi-Strat,
     then such recovery shall be credited against all amounts due from the Debtor's estate on account
     of the UBS Claim allowed pursuant to Section l(a) of this Agreement, or if such claim has been
     paid in full, shall be promptly turned over to the Debtor or its successors or assigns.

            6.      Agreement Subject to Bankruptcy Court Approval.

                     (a)    The force and effect of this Agreement and the Parties' obligations
     hereunder are conditioned in all respects on the approval of this Agreement and the releases
     herein by the Bankruptcy Court. The Parties agree to use reasonable efforts to have this
     Agreement expeditiously approved by the Bankruptcy Court by cooperating in the preparation
     and prosecution of a mutually agreeable motion and proposed order (the "9019 Motion") to be
     filed by the Debtor no later than five business days after execution of this Agreement by all
     Parties unless an extension is agreed to by both parties.

            7.      Representations and Warranties.

                     (a)   Each UBS Party represents and warrants that (i) it has full authority to
     enter into this Agreement and to release the UBS Released Claims and has not sold, transferred,
     or assigned any UBS Released Claim to any other person or entity, and (ii) no person or entity
     other than such UBS Party has been, is, or will be authorized to bring, pursue, or enforce any
     UBS Released Claim on behalf of, for the benefit of, or in the name of (whether directly or
     derivatively) such UBS Party.

                     (b)    Each HCMLP Party represents and warrants that (i) it bas full authority to
     enter into this Agreement and to release the HCMLP Released Claims and bas not sold,
     transferred, or assigned any HCMLP Released Claim to any other person or entity, and (ii) no
     person or entity other than such HCMLP Party has been, is, or will be authorized to bring,
     pursue, or enforce any HCMLP Released Claim on behalf of, for the benefit of, or in the name of
     (whether directly or derivatively) such HCMLP Party.

                     (c)    Each MSCF Party represents and warrants that (i) it bas full authority to
     enter into this Agreement and to release the Multi-Strat Released Claims and bas not sold,
     transferred, or assigned any Multi-Strat Released Claim to any other person or entity, and (ii) no
     person or entity other than such MSCF Party has been, is, or will be authorized to bring, pursue,
     or enforce any Multi-Strat Released Claim on behalf of, for the benefit of, or in the name of
     (whether directly or derivatively) such MSCF Party.




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              8.      No Admission of Liability. The Parties acknowledge that there is a bona fide
      dispute with respect to the UBS Claim. Nothing in this Agreement shall be construed, expressly
      or by implication, as an admission of liability, fault, or wrongdoing by HCMLP, the MSCF
      Parties, Strand, UBS, or any other person, and the execution of this Agreement does not
      constitute an admission of liability, fault, or wrongdoing on the part of HCMLP, the MSCF
      Parties, Strand, UBS, or any other person.

             9.       Successors-in-Interest. This Agreement shall be binding upon and shall inure to
      the benefit of each of the Parties and their representatives, successors, and assigns.

              10.     Notice. Each notice and other communication hereunder shall be in writing and
      will, unless otherwise subsequently directed in writing, be delivered by email and overnight
      delivery, as set forth below, and will be deemed to have been given on the date following such
      mailing.

             HCMLP Parties or the MSCF Parties

             Highland Capital Management, L.P.
             300 Crescent Court, Suite 700
             Dallas, Texas 75201
             Attention: General Counsel
             Telephone No.: 972-628-4100
             E-mail: notices@HighlandCapital.com

             with a copy (which shall not constitute notice) to:

             Pachulski Stang Ziehl & Jones LLP
             Attention: Jeffrey Pomerantz, Esq.
             10100 Santa Monica Blvd., 13th Floor
             Los Angeles, CA 90067
             Telephone No.: 310-277-6910
             E-mail: jpomerantz@pszjlaw.com

             UBS

             UBS Securities LLC
             UBS AG London Branch
             Attention: Elizabeth Kozlowski, Executive Director and Counsel
             1285 Avenue of the Americas
             New York, NY 10019
             Telephone No.: 212-713-9007
             E-mail: elizabeth.kozlowski@ubs.com

             UBS Securities LLC
             UBS AG London Branch
             Attention: John Lantz, Executive Director
             1285 Avenue of the Americas
             New York, NY 10019



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                                                                            EXECUTION VERSION

             Telephone No.: 212-713-1371
             E-mail: john.lantz@ubs.com

             with a copy (which shall not constitute notice) to:

             Latham & Watkins LLP
             Attention: Andrew Clubok
                        Sarah Tornkowiak
             555 Eleventh Street, NW, Suite 1000
             Washington, D.C. 20004-1304
             Telephone No.: 202-637-3323
             Email: andrew.clubok@lw.com
                    sarah.tornkowiak@lw.com

             11.      Advice of Counsel. Each of the Parties represents that such Party has: (a) been
      adequately represented by independent legal counsel of its own choice, throughout all of the
      negotiations that preceded the execution of this Agreement; (b) executed this Agreement upon
      the advice of such counsel; (c) read this Agreement, and understands and assents to all the terms
      and conditions contained herein without any reservations; and (d) had the opportunity to have
      this Agreement and all the terms and conditions contained herein explained by independent
      counsel, who has answered any and all questions asked of such counsel, or which could have
      been asked of such counsel, including, but not limited to, with regard to the meaning and effect
      of any of the provisions of this Agreement.

              12.     Entire Agreement. This Agreement contains the entire agreement and
      understanding concerning the subject matter of this Agreement, and supersedes and replaces all
      prior negotiations and agreements, written or oral and executed or unexecuted, concerning such
      subject matter. Each of the Parties acknowledges that no other Party, nor any agent of or
      attorney for any such Party, has made any promise, representation, or warranty, express or
      implied, written or oral, not otherwise contained in this Agreement to induce any Party to
      execute this Agreement. The Parties further acknowledge that they are not executing this
      Agreement in reliance on any promise, representation, or warranty not contained in this
      Agreement, and that any such reliance would be unreasonable. This Agreement will not be
      waived or modified except by an agreement in writing signed by each Party or duly authorized
      representative of each Party.

              13.    No Party Deemed Drafter. The Parties acknowledge that the tenns of this
      Agreement are contractual and are the result of ann's-length negotiations between the Parties
      and their chosen counsel. Each Party and its counsel cooperated in the drafting and preparation
      of this Agreement. In any construction to be made of this Agreement, the Agreement will not be
      construed against any Party.

            14.    Future Cooperation. The Parties agree to cooperate and execute such further
      documentation as is reasonably necessary to effectuate the intent of this Agreement.

              15.    Counterparts. This Agreement may be executed in counterparts with the same
      force and effect as if executed in one complete document. Each Party's signature hereto will
      signify acceptance of, and agreement to, the terms and provisions contained in this Agreement.


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     Photographic, electronic, and facsimile copies of signed counterparts may be used in lieu of the
     originals of this Agreement for any purpose.

             16.     Governing Law; Venue; Attorneys' Fees and Costs. The Parties agree that this
     Agreement will be governed by and will be construed according to the laws of the State of New
     York without regard to conflict-of-law principles. Each of the Parties hereby submits to the
     exclusive jurisdiction of the Bankruptcy Court during the pendency of the Bankruptcy Case and
     thereafter to the exclusive jurisdiction of the state and federal courts located in the Borough of
     Manhattan, New York, with respect to any disputes arising from or out of this Agreement. In
     any action to enforce this Agreement, the prevailing party shall be entitled to recover its
     reasonable and necessary attorneys' fees and costs (including experts).

                                 [Remainder ofPage Intentionally Blank}




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    IT IS HEREBY AGREED.

                                    HIGHLAND CAPITAL MANAGEMENT, L.P.


                                    By:
                                    Name: --+---=--<'--'-'-"'-"--"--'--'-=...,_,,_"'--'--,~ - - -
                                    Its:


                                    HIGHLAND MULTI STRATEGY CREDIT
                                    FUND,     L.P.   (f/k/a  Highland Credit
                                    Opportunities CDO, L.P.)


                                    By:
                                    Name:_---=-----=-==-="""'-....!....!....-""='--4-1--"-'-~--
                                    lts:


                                    HIGHLAND CREDIT OPPORTUNITIES CDO,
                                    Ltd.




                                    HIGHLAND CREDIT OPPORTUNITIES CDO
                                    ASSET HOLDINGS, L.P.


                                    By:
                                    Name:
                                    Its:
                                                    ~~~1
                                    STRAND ADVISORS, INC.


                                    By:
                                    Name: -     -   ~   ....,.....:'--n'....::.::;__-=~_..;.;..-   ----,.-
                                    lts:




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                                    UBS SECURITIES LLC

                                    By:         ~~~
                                    Name: clmlatz
                                    Its:  Authorized Signatory

                                    By:         G. /'-It /"$xi J __
                                    Name: Elizab'eth Kozlowski "
                                    Its:  Autho1ized Signatory

                                    UBS AG LONDON BRANCH


                                    By:         ~~~l
                                    Name: William Chandler
                                    Its:  Authorized Signatory
                                                  .,                   ,f   I

                                    By:         (t.· ~·LI,~ ,"•~ 1o4-:L
                                    Name: '. liza eth Kozlowski
                                    Its:        Authorized Signatory




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                                                                      EXECUTION VERSION

                                        APPENDIX A
    •   The search parameters (custodians, date ranges, search terms) used to locate the
        documents produced to UBS on February 27, 2021 (and any additional parameters used
        for the previous requests from UBS);
    •    Identity of counsel to, and trustees of, CDO Fund or SOHC;
    •   Current or last effective investment manager agreements for CDO Fund and SOHC,
        including any management fee schedule, and any documentation regarding the
        termination of those agreements;
    •   The tax returns for the CDO Fund and SOHC from 2017-present;
    •    Communications between any employees of Sentinel (or its afftliates) and any
         employees of the HCMLP Parties, CDO Fund, SOHC, or any of Dondero, Leventon, or
         Ellington from 2017-present;
    •    Documents or communications regarding or relating to the Purchase Agreement,
         Insurance Policy, or June 30, 2018 Memorandum entitled ''Tax Consequences of
         Sentinel Acquisition of HFP/CDO Opportunity Assets" (the "Tax Memo"), including
         without limitation (i) amendments to these documents, (ii) transfer of assets pursuant to
         these documents, (iii) board minutes or resolutions regarding or relating to these
         documents, (iv) claims made on the Insurance Policy; (v) communications with the IRS
         regarding the asset transfer pursuant to these documents; and (vi) any similar asset
         purchase agreements, capital transfer agreements, or similar agreements;
    •    Documents or communications regarding or relating to the value of any assets
         transferred pursuant to the Insurance Policy or Purchase Agreement, including without
         limitation those assets listed in Schedule A to the Purchase Agreement, from 2017 to
         present, including documentation supporting the $105,647,679 value of those assets as
         listed in the Tax Memo;
    •    Documents showing the organizational structure of Sentinel and its affiliated entities,
         including information on Dondero's relationship to Sentinel;
    •    Any factual information provided by current or former employees of the HCMLP
         Parties, CDO Fund, SOHC, or Sentinel regarding or relating to the Purchase
         Agreement, Insurance Policy, Tax Memo, and/or transfer of assets pursuant to those
         documents;
    •    Debtor's settlement agreements with Ellington and Leventon;
    •    Copies of all prior and future Monthly Reports and Valuation Reports (as defined in the
         Indenture, dated as of December 20, 2007, among Greenbriar CLO Ltd., Greenbriar
         CLO Corp., and State Street Bank and Trust Company); and
    •    Identity of any creditors of CDO Fund, SOHC, or HFP and amount of debts owed to
         those creditors by CDO Fund, SOHC, or HFP, including without limitation any debts
         owed to the Debtor.




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                                    Hellman & Friedman Seeded Farallon Capital Management
  OUR FOUNDER


       gET\JIIN TO ABOUT c/ABOUT/)




  Warren Hellman: One of the good guys

  Warren Hellman was a devoted family man, highly successful businessman, active philanthropist, dedicated musician, arts pat ron,
  endurance ath lete and all-around good guy. Born In New York City i n 1934, he grew up In the Bay Area, graduating from the University of
  California at Berke ley. After serving in the U.S. Army and attending Harvard Business School, Warren began his finance career at Lehman
  Brothers, becoming t he youngest partner in the firm's history at age 26 and subsequently serving as President . After a distinguished
  career on Wa ll Street, Warren moved back west and co-founded Hellman & Fr1edman, build ing it into one of the ·industry's leading private
  equity fi rms.



  Warren deeply believed in the power of people to accomplish incredible things and used his success to improve and enrich the lives of
  countless people. Throughout his career, Warren helped found or seed rnany successful businesses including Matri1< Partners, Jordan
  Management Company, Farallon Capital Management and Hall Capital Partners.



  Within the community, Warren and his family were generous supporters of dozens of organizations and causes in the arts, public
  education, ciVic life, and public health, including creating and running the San Francisco Free Clinic. Later in life, Warren became an
  accomplished 5-string banjo player and found great joy in sharing the love of music with others. In true form, he made something larger of
  this avocation to benefit others by founding the Hardly Strictly Bluegrass Festiva l, an annual three-day, free music festival that draws
  hund reds of thousands of people toget her from around t he Bay Area.



  An accomplished endurance athlete, Warren regularly completed 100-mile runs, horseback rides and combinations of the two. He also
  was an avid skier and national caliber master ski racer and served as president of the U.S. Ski Team in the late 1970s, and is credited with
  helpi ng revitalize the Sugar Bowl ski resort in the Californ ia Sierras.



  In short, War ren Hellman embodied the ideal of IIVing life to the fu llest. He had an active mind and body, and a huge heart. We are lu cky
  to call him our founder. Read more about Warren. (https://hf.com/wp-content/uploads/2015/09/Warren-Hellman-News-Release.pdf)




  5:FChfonicle/5FGaten.lz Kafalla                          RtlbertHolmgren                                    no caption


  htlps:1/hf.corn/Warren--hellman/                                                                                                                    112




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                          Hellman & Friedman Owned a Portion of Grosvenor until 2020

                                                    Grosvenor Capital Management
                GRO         ENOR




                                             In 2007, H&F invested in Grosvenor, one of the world's largest ancl most diversifiecl independent
                                             alternative asset management firms. The Company offers comprehensive public and private markets
                                             solutions and a broad suite of investment and advisory choices that span hedge fund s. private equity,
                                             and various credit and specialty strategies. Grosvenor specia lizes in deve loping customized
                                             investment programs tailored to each client's specific investment goals.



                                             SECTOR

                                             Fina ncial Services



                                             STATUS

                                             Past



                                             www.gcmlp.com (http://www.gcmlp.com)




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                                     CORNER OFFICE



                  0
                Julie Segal
                                     GCM Grosvenor to Go Public
                                     The $57 billion alternatives manager w!ll become a public company after merging with a SPAC backed by
                                     Cantor Fitzgerald.

                                     August 03, 2020




                                                                                                                       Chicago, IL (Tim Boyle/Bloomberg)




                                     In a sign of the times, GCM Grosvenor will become a public company through a SPAC.


                                     The Chicago-based alternative investments firm is planning to go public by merging with a
                                     special purpose acquisition company in a deal valued at $2 billion. The SO-year-old firm has
                                     $57 billion in assets in private equity, infrastructure, real estate, credit, and absolute return
                                     investments.


                                     "We have long valued having external shareholders and we wanted to preserve the
                                     accountability and focus that comes with that," Michael Sacks, GCM Grosvenor's chairman
                                     and CEO, said in a statement.


                                     GCM Grosvenor will com bine with CF Finance Special Acquisition Corp, a SPAC backed by
                                     Cantor Fitzgerald, according to an announcement from both companies on Monday. After
                                     the company goes public, Sacks will continue to lead GCM Grosvenor, which is owned by
                                     management and Hellman & Friedman, a private equity firm. Hellman & Friedman, which
                                     has owned a minority stake of the Chicago asset manager since 2007, will sell its equity as
  https:/lwww.lnst:1tut1ona11nvestor.com/artlcle/b1ms8f4rt98f1g/GCM-Grosvenor-to-Go-Publie                                                                    113




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                                   Farallon was a Significant Borrower for Lehman


  Case Study - Large Loan Origination
  Debt origination for an affiliate of Simon Property Group Inc. and FaraHon Capital Management
                                                                                    'I ransaction 0Hn ie\\
    Date                               June 2007
           -------------- ♦                             In June 2007, Lehman Brothers co-originated a loan in the aggregate amount of $32 1
    Asset Class                            Retail       million (Lehman portion: $121 million) with JP Morgan to a special purpose affiliate of
    Asset Size                  1,808,506 Sq. Ft.       a joint venture between Simon Property Grou Inc (" Simon") and Farallon Capital
                                                        Management "farallon " secured by the shopping center known as Gurnee Mills Mall
    Sponsor         Simon Property Group Inc./          (the " Property") located in Gurnee, IL .
                   Farallon Capital Management
                                                    ♦   The Property consists of a one-story, 200 store discount mega-mall comprised of
    Transaction                       Refinance
    Type                                                1,808,506 square feet anchored by Burlington Coat Factory, Marshalls, Bed Bath &
                                                        Beyond and Kohls among other national retailers. Built in 199 1, the Property underwent
    Total Debt    Lehman Brothers: $12 1 million        a $5 million interior renovation in addition to a $71 mi llion redevelopment between 2004
    Amount              JP Morgan: $200 million         and 2005. As of March 2007, the Property had a in-line occupancy of 99.S%.


                                                                                    Lehman Brothers Role
                                                    ♦   Simon and Farallon comprised the sponsorship which eventually merged with The Mills
                                                        Corporation in early 2007 for $25.25 per common share in cash. The total value of the
                                                        transaction was approximately $1.64 billion for all of the outstanding common stock and
                                                        a_Qproximately $7.9 billion includin g assumed debt and preferred e<J!lill'.
                                                    ♦   Lehman and JP Morgan subsequently co-originated $321 mi llion loan at 79.2% LTV
                                                        based on an appraisal completed in March by Cushman & Wakefield. The Loan was
                                                        used to refinance the indebtedness secured by the Property.

                                                                                    Sponsorship O, en ie\\
                                                    ♦   The Mills Corporation, based in Chevy Chase MD is a developer owner and manager of
                                                        a diversified portfolio of retail destinations including regional shopping malls and
                                                        entertainment centers. They currently own 38 properties in the United States totaling 47
                                                        million square feel.



   LEHMAN B ROTHERS                                                      32




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                             Mr. Seery Represented Stonehill While at Sidley


  James P. Seery. Jr.
  John G. Hutchinson
  John J. Lavelle
  Martin B. Jackson
  Sidley Austin LLP
  787 Seventh A venue
    ew York, ew York 10019
  (212) 39-5300 (tel)
   212 839-5599 (fax)

  Attorneys for the Steering Group

  UNITED STATES BANKRUPTCY CO RT
  SOUTHERN DLSTRICT OF EW YORK
  --------------------------------------------------------------- X

  In re:                                                               Chapter 11

  BLO KB STER INC., et al.,                                            Case   o. 10-14997 BRL

                                     Debtors.                          (Jointly Administered)

  ------------------X

    THE BACKSTOP LKNDERS OBJECTION TO THE MOTION OF LYME REGI TO
   ABANDON CERTAI CAUSES OF ACTIO OR, IN THE ALTERNATIVE, TO GRANT
    ST DING TO LYME REGIS TO PURSUE CLAIMS ON BEHALF OF THE ESTATE

           I.      The Steering Group of Senior Secured               oteholders who are Backstop Lenders --

  lcahn Capital LP, Monarch Alternative Capital LP, Owl Creek Asset Management, L.P.,

  Stonehill Ca ital Management LLC. ru1d Yarde Partners, lnc. (collectively, the "Backstop

  Lenders') -- hereby file this objection (tbe 'Objectjon") to the Motion of Lyme Regis Partners.

  LLC ("Lyme Regis') to Abandon Certain Causes of Action or, in the Alternative, to Grant

  Standing to Lyme Regis to Pursue Claims on Behalf of the Estate (the' Motion") [Docket No.

  593 ].




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  Stonehill Founder (Motulsky) and Grosvenor’s G.C. (Nesler) Were Law School Classmates




                   Over 25 years earl ier, here is a group at a
                       party. From the left Bob Zinn, Dave
                     Lowentha l, Rory little, Joe Nesler Jon
                    Polansky (in front of Joe) John Motulsky
                      and Mark Windfeld-Hansen ('behind
                   bottle!) Motulsky c1irculated this photo at
                            the reun ion. Thanks John1




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                  Joseph H. Nesler (He/Him)
                                                                                           ( More ) ( 6 Message )
                  General Counsel




                        Joseph H. Nesler (He/Him).                              Yale Law School

                        3rd
                        General Counsel
                        Winnetka, Illinois, United States -
                        Contact info

                        500+ connections

                        ( 6 Message ) ( More )


                           Open to work
                           Chief Compliance Officer and General Counsel roles
                           See all details




                        About
                        I have over 38 years of experience representing participants in the investment
                        management industry with respect to a wide range of legal and regulatory matters,
                        including SEC, DOL, FINRA, and NFA regu lations and examinations.          ... see more




                        Activity
                        522 followers

                        Posts Joseph H. created, shared, or commented on in the last 90 days are displayed
                        here.
 https://www.linkedin.com/in/josephnesl er/




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          Joseph H. Nesler (He/ Him)
          General Counsel
                                                                                  ( M ore ) (   6 Message )
               -~ ....... -. ·-· ·--
                                General Counsel
                                Dalpha Capital Management , LLC
                                Aug 2020 - Jul 2021 • 1 yr




              II                Of Counsel
                                Win ston & Strawn LLP
                                Sep 2018 - Jul 2020 • 1 yr 11 mos
                                Greater Chicago Area



                                Principal
                                The Law Offices of Joseph H. Nesler, LLC
                                Feb 2016 - Aug 2018 • 2 yrs 7 mos



                                Grosvenor Capital Management, LP.
                                 11 yrs 9 mos


                                Independent Consultant to Grosvenor Capital Management,
                                L.P.
                                May 2015 - Dec 2015 • 8 mos
                                Chicago, Illinois


                                General Counsel
                                Apr 2004 - Apr 2015 • 11 yrs. 1 mo
                                Chicago, Illinois

                                Managing Director, General Counsel and Chief Com liance
                                Officer (April 2004 - Apri l 20 15)




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              Investor Communication to Highland Crusader Funds Stakeholders
                                                                                     A lvarez & Marsal
                                                                               Management, LLC 2 0 29 Ce1
                                                                                        Park Ea st S ui te 206(
                                                                                              Ange l es , CA 9




       July 6, 2021


       R e: Update & Notice of Distribution


       Dear Highland Crusader Funds Stakeholder,

               As you know, in October 2020, the Bankruptcy Court approved a settlement of the
       Redeemer Committee' s and the Crusader Funds' claims against Highland Capital Management
       LP. (" HCM' ), as a result of which the Redeemer Committee was allowed a general unsecured
       claim of $137,696,610 against HCM and the Crusader Funds were allowed a general unsecured
       claim of $50,000 against HCM (collectively, the "Claims"). In addition, as part of the settlement,
       various interests in the Crusader Funds held by HCM and certain of its affi liates are to be
       extinguished (the' Extinguished Interests"). and the Redeemer ommittee and the Crusader Funds
       received a general release from HCM and a waiver by HCM of any claim to distributions or fees
       that it might othe1wise receive from the Crusader Funds (the ''Released Claims' and, collectively
       witl1 the Extinguished Interests, the ' Retained Rights" ).

              A timely appeal oftbe settlement was taken by UBS (the 'UBS Appea l) in the United States
       District Court for the Northern District of Texas, Dallas Division. Howe er, the Bankruptcy Court
       subsequently approved a settlement betv,reen HCM and UBS, resulting in dismissal of the UBS
       Appeal with prejudice on June 14, 2021 .

              On April 30, 2021 , the Cmsader Funds and the Redeemer Committee consummated the sale
       of the Claims against HCM and the majority of the remaining investments held by the Crusader
       Funds to Jessup Holdings LLC "Jessup") for 78 million in cash. which was aid in full to the
       Cmsader Funds at closin . The sale specifically excluded the Crusader Funds investment in
       Cornerstone Healthcare Group Holding Inc. and excluded certain specified provisions of the
       settlement agreement with HCM (the "Settlement Agreement"), including, but not limited to, the
       Retained Rights. The sale of the Claims and iJ1vestments was made with no holdbacks or escrows.

              The sale to Jessup resulted from a solicitation of offers to purchase the Claims commenced
       by Alvarez & Marsal CRF anagement LLC ("A&M CRF"), as Investment Manager of the
       Crusader Funds. in consultation with the Redeemer Committee. Ultimately. the Crusader Funds
       and the Redeemer Committee entered exclusive negotiations with Jessu , culminating in the sale
       to Jessup.

              A& CRF, pursuant to the Plan and Scheme and with the approval of House Hanover, the
       Redeemer Committee and the Board of the Master Fund, now intends to distribute the proceeds
       from the Jessup transaction ($78 million , net of any applicable tax withholdings and with no
       reserves for the Extinguished Claims or the Released Claims. lJ1 addition the distribution will
       include approximately $9.4 million in proceeds that have been redistributed due to the cancellation


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             and extinguishment of the interests and shares in the Crusader Funds held by HCM. Charitable
             OAF and Eames i.n connection with the Settlement Agreement, resulting in a total gross
             distribution of $87.4 million. Distributions will be based on net asset value as of June 30, 202 l.

                    Please note that A&M CRF intends to make the distributions by wire transfer no later than
             July 31 , 2021. Please confirm your wire instructions on or before July 20, 2021. lf there are any
             revisions to your wire information, please use the attached template to provide SEI and A&M CRF
             your updated information on investor letterhead. This information should be sent on or before JuJy
             20, 2021 to Alvarez & Marsal CRF and SEI at CRFlnvestor@alvarezandmarsal.com and A[FS-
             IS Cnisader@seic.com. respectively.

                   The wire payments will be made to the investor bank account on file with an effective and record
            date of July I , 2021. Should you have any questions, please contact SE] or A&M CRF at the e-mail
            addresses listed above.



    Sincerely,


    Alvarez & Marsal CRF Management, LLC


    By: _ ~- - -
        Steven Varner
        Managing Director




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    EXHIBIT A-3




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                                                                                                        Ross Tower
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                                                                                         Dallas. Texas 75201-6659

HARDT /                                                                                        Main 214.855.7500
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DALLAS/ HOUSTON / AUSTIN
                                                                                             Direct Dial 214.855.7587
                                                                                             Direct Fax 214 978.5359
                                                                                             drukavina@munsch.com




                                              May 11, 2022

Ms. Nan R. Eitel
Office of the General Counsel
Executive Office for U.S . Trustees
20 Massachusetts A venue, NW
8th Floor
Washington, DC 20530

Dear Ms. Eitel:

        By way of follow-up to the letter Douglas Draper sent to your offices on October 4, 2021 and my
letter dated November 3, 202 l , I write to provide additional information regarding the systemic abuses
of bankruptcy process occasioned during the bankruptcy of Texas-headquartered Highland Capital
Management, L.P. ("Highland" or the ''Debtor"). Those abuses, as detailed in our prior letters, include
potential insider trading and breaches of fiduciary duty by those charged with protecting creditors,
understated estimations of estate value seemingly designed to line the pockets of Debtor management,
gross mistreatment of employees who were key to the bankruptcy process, and ultimately a plan aimed
at liquidating an otherwise viable estate, to the detriment of stakeholders and third-pa1ty investors in
Debtor-managed funds and in violation of investors' due process rights and various fiduciary duties and
duties of candor to the Bankruptcy Court and all constituents. In particular, I write this letter to further
detail:

        1.      Actions and omissions by the Debtor that have but a single apparent purpose: to spend the
assets of the Highland estate to emich those currently managing the estate at the expense of the business
owners (the equity). Currently, the Highland estate has more than enough assets to pay 100% of the
allowed creditors' claims. But doing so would dep1ive the current steward, Jim Seery, as well as his
professional cohorts, the opportunity to reap tens, if not hundreds of millions of dollars, in fees. This
motivation explains the acts and omissions described below-all designed to prop up a fa9ade that the
post-confirmation bankruptcy machinations are necessary, and to avoid any scrutiny of that fas:ade, and
to foreclose any investigation into a contrary thesis.

        2.     The Debtor's intentional understatement of the value of the estate for personal gain, the
gain of professionals, and the gain of affiliated or related secondary c laims-buyers.

        3.      The failure to adhere to fiduciary duties to maximize the value of estate assets and failure
to contest baseless proofs of claim to enable Highland to emerge from bankruptcy as a going concern and
to preserve value for all stakeholders.

       4.      The gross misuse of estate assets by the Debtor and Debtor professionals in pursuing
baseless and stale claims against former insiders of the Debtor when the current value of the estate (over



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                                                                                                                        APP 784
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$650 million with the recent completion of the MGM sale, which includes over $200 million in cash)
greatly exceeds the estate's general unsecured claims ($410 million).

        5.      The failure of the Debtor's CRO and CEO, Jim Seery, to adhere to his fiduciary duty to
maximize the value of the estate. As evidenced by the chart below, all general unsecured claims could
have been resolved using $163 million of debtor cash and other liquidity. Instead, proofs of claim were
inflated and sold to Stonehill Capital Management ("Stonehill") and Farallon Capital Management
("Farallon"), which are both affiliates of Grosvenor (the largest investor in the Crusader Funds, which
became the largest creditor in the bankruptcy). Mr. Seery has a long-standing relationship with
Grosvenor and was appointed to the Independent Board (the board charged with managing the Debtor's
estate) by the Redeemer Committee of the Crusader Funds, on which Grosvenor held five of nine seats.


          Creditor                  Class 8    Class 9   Purchaser                 Purchase Price
          Redeemer                 $137.0     $0.0       Stonehill                $78.0 ($65.0 net of
                                                                                  other assets)
          ACIS                     $23.0      $0.0       Farallon                 $8.0
          Harbour Vest             $45.0      $35.0      Farallon                 $27.0
          UBS                      $65.0      $60.0      Stonehill and Farallon   $50.0
          TOTAL                    $270.0     $95.0                               $150.0 to $163.0

        As highlighted in the prior letters to your office and as fmiher detailed herein, this is the type of
systemic abuse of process that is something lawmakers and the Executive Office of the U.S. Trustee (the
"EOUST") should be concerned about. Accordingly, we urge the EOUST to exercise its "broad
administrative, regulatory, and litigation/enforcement authorities . . . to promote the integrity and
efficiency of the bankruptcy system for the benefit of all stakeholders-debtors, creditors, and the public." 1
Specifically, we believe it would be appropriate for the EOUST to undertake an investigation to confirm
the current value of the estate and to ensure that the claims currently being pursued by the Debtor are
intended to benefit creditors of the estate, and not just to further enrich Debtor professionals and Debtor
management.

                                                   BACKGROUND

The Players

James Dondero - co-founder of Highland in 1993. Mr. Dondero is chiefly responsible for ensuring that
Highland weathered the global financial crisis, evolving the firm's focus from high-yield credit to other
areas, including real estate, private equity, and alternative investments. Mr. Dondero is a dedicated
philanthropist who has actively supported initiatives in education, veterans' affairs, and public policy.
He currently serves as a member of the Executive Board of the Southern Methodist University Cox
School of Business and sits on the Executive Advisory Council of the George W. Bush Presidential
Center.


1
    https://www.justice.gov/ust.


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Highland-Highland Capital Management, L.P., the Debtor. Highland is an SEC-registered investment
advisor co-founded by James Dondero in 1993. Prior to its bankruptcy, Highland served as adviser to a
suite of registered funds, including open-end mutual funds, closed-end funds, and an exchange-traded
fund.

Strand - Strand Advisors, Inc., a Delaware corporation. The general partner of Highland.

The Independent Board - the managing board installed after Highland's bankruptcy filing. To avoid a
protracted dispute, and to facilitate the restructuring, on January 9, 2020, Mr. Dondero agreed to resign
as the sole director of Strand, on the condition that he would be replaced by three independent directors
of Strand, who would act as fiduciaries of the estate and work to restructure Highland's business so it
could continue operating and emerge from bankruptcy as a going concern. Pursuant to an agreement with
the Creditors' Committee that was approved by the Bankruptcy Court, Mr. Dondero, UBS, and the
Redeemer Committee each were permitted to choose one director. Mr. Dondero chose The Honorable
Former Judge Russell F. Nelms, UBS chose John Dubel, and the Redeemer Committee chose James P.
Seery, Jr. 2

Creditors' Committee - On October 29, 2019, the bankruptcy court appointed the Official Committee of
Unsecured Creditors, which consisted of: (1) The Redeemer Committee of the Highland Crusader Fund
(Eric Felton), (2) Meta e-Discovery (Paul McVoy), (3) UBS Securities LLC and UBS AG London Branch
(Elizabeth Kozlowski), and (4) Acis Capital Management, L.P. and Acis Capital Management GP, LLP
(Joshua Terry).

James P. Seery, Jr. - a member of the Independent Board, and the Chief Executive Officer, and Chief
Restructuring Officer of the Debtor. Beginning in March 2020, Mr. Seery ran day-to-day operations and
negotiations with the Creditors' Committee, investors, and employees in return for compensation of
$150,000 per month and generous incentives and stands to earn millions more for administering the
Debtor's post-confirmation liquidation. Judge Nelms and John Dubel remained on the Independent
Board, receiving weekly updates and modest compensation.

Acis - Acis Capital Management, L.P., a former affiliate of Highland. Acis is currently owned and
controlled by Josh Teny, a former employee of Highland. Acis (Joshua Terry) was a member of
Highland's Creditors' Committee.

UBS - UBS Securities LLC and UBS AG London Branch, collectively. UBS asserted claims against
Highland arising out of a default on a 2008 warehouse lending facility (to which Highland was neither a
party nor a guarantor). Highland had paid UBS twice for full releases of claims UBS asserted against
Highland - approximately $110 million in 2008 and an additional $70.5 million via settlement with
Barclays, the Crusader Funds, and Credit Strategies in June 2015. UBS was a member of the Creditors'
Committee and appointed John Dubel to the Independent Board.


2 See Stipulation in Support of Motion of the Debtor for Approval of Settlement with the Official Committee of Unsecured

Creditors Regarding Governance of the Debtor and Procedures for Operations in the Ordinary Course, Dkt. 338; Order
Approving Settlement with Official Committee of Unsecured Creditors Regarding Governance of the Debtor and Procedures
for Operations in the Ordinary Course, Dkt. 339.


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HarbourVest-HarbourVest Partners, LLC. HarbourVest is a private equity fund of funds and one of the
largest private equity investment managers globally. Harbour Vest has approximately $75 billion in assets
under management. HabourVest has deep ties with Grosvenor and has jointly with Grosvenor sponsored
59 LBO transactions in the last two years.

The Crusader Funds - a group of Highland-managed funds formed between 2000 and 2002. During the
financial crisis, to avoid a run on the Crusader Funds at low-watermark prices, the funds' manager
temporarily suspended redemptions, leading investors to sue. That dispute resolved with the formation
of an investor committee self-named the "Redeemer Committee" and the orderly liquidation of the
Crusader Funds, which resulted in investors' receiving a return of their full investment plus a return, as
opposed to the 20 cents on the dollar they would have received had their redemption requests been paid
when made. Subsequently, when disputes regarding management of the Crusader Funds' liquidation
arose, the Redeemer Committee instituted an arbitration against Highland, resulting in an arbitration
award against Highland of approximately $190 million. Nonetheless, due to offsets and double-counting,
the Debtor initially estimated the value of the Redeemer arbitration award at $105 million to $110 million.
In a 9019 settlement with the Debtor, the Crusader Funds ultimately received allowed claims of $137
million, plus $17 million of sundry claims and retention of an interest in Cornerstone Healthcare Group,
Inc., an acute-health-care company, valued at over $50 million. Notably, UBS objected to the Crusader
Funds' 9019 settlement, arguing that the Redeemer arbitration award was actually worth much less-
between $74 and $128 million. The Crusader Funds sold their allowed claims to Stonehill, in which
Grosvenor is the largest investor. This sale to an affiliated fund without approval of other investors in
the fund is a violation of the Investment Advisers Act of 1940.

The Redeemer Committee - The Redeemer Committee of the Highland Crusader Funds was a group of
investors in the Crusader Funds that oversaw the liquidation of the funds. The Redeemer Committee was
comprised of nine members. Grosvenor held five seats. Concord held one seat.

Grosvenor - GCM Grosvenor is a global alternative asset management firm with over $59 billion in
assets under management. Grosvenor has one of the largest operations in the Cayman Islands, with more
than half of their assets under management originating through its Cayman operations. Unlike most firms
operating in the Cayman Islands, Grosvenor has its own corporate and fiduciary services firm. This
structure provides an additional layer of opacity to anonymous corporations from the British Virgin
Islands (which includes significant Russian assets), Hong Kong (which includes significant Chinese
assets), and Panama (which includes significant South American assets). As a registered investment
adviser, Grosvenor must adhere to know-your-customer regulations, must report suspicious activities,
and must not facilitate non-compliance or opacity. In 2020, Michael Saks and other insiders distributed
all of Grosvenor's assets to shareholders and sold the firm to a SPAC originated by Cantor Fitzgerald. 3
In 2020, the equity market valued asset managers and financial-services firms at decade-high valuations.
It makes little sense that Grosvenor would use the highly dilutive SPAC process (as opposed to engaging


3  See https://www.wsj.com/articles/gcm-grosvenor-to-merge-with-cantor-fitzgerald-spac-11596456900. The Securities and
Exchange Commission recently released a rule proposal that is focused on enhancing disclosure requirements around special
purpose acquisition companies, including additional disclosures about SP AC sponsors, conflicts of interest and sources of
dilution, business combination transactions between SPACs and private operating companies, and fairness of these
transactions. See https ://www.pionline.com/re gulation/sec-proposes-enhanced-spac-discl osure-rule.


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in a traditional IPO or other strategic-sale alternatives) unless such a structure was employed to avoid the
diligence and management-liability tail inherent in more traditional processes.

Farallon - Farallon Capital Management, L.L.C. Farallon is a hedge fund that manages capital on behalf
of institutions and individuals and was previously the largest hedge fund in the world. Farallon has
approximately $27 billion in assets under management. Grosvenor is a significant investor in Farallon.
Grosvenor and Farallon are fmiher linked by Hellman & Friedman, LLC, an American private equity
firm. Hellman & Friedman owned a stake in Grosvenor from 2007 until it went public in 2020 and seeded
Farallon's initial capital.

Muck - Muck Holdings, LLC. Muck is owned and controlled by Farallon. Together with Jessup
Holdings, LLC (described below)), Muck acquired 90.28% of the general unsecured claims (inclusive of
Class 8 and Class 9) in the Highland bankruptcy.

Stonehill - Stonehill Capital Management, LLC. Stonehill provides portfolio management for pooled
investment vehicles. It has approximately $3 billion in assets under management, which we have reason
to believe includes approximately $1 billion from Grosvenor.

Jessup - Jessup Holdings, LLC. Jessup is ovmed and controlled by Stonehill. Together with Muck
(Farallon), Stonehill acquired 90.28% of the general unsecured claims (inclusive of Class 8 and Class 9)
in the Highland bankruptcy.

Marc Kirschner/Teneo - The Debtor retained Marc Kirschner to pursue over $1 billion in claims against
former insiders and affiliates of the Debtor despite the significant solvency of the estate ($650 million in
assets versus $410 million in claims). Kirschner' s bankruptcy restructuring firm was purchased by Teneo
(which also purchased the restructuring practice ofKPMG). Teneo is sponsored by LetterOne, a London-
based private equity firm owned by Mikhail Fridman, a Russian oligarch. Fridman is also the primary
investor in Concord Management, LLC ("Concord"), which held a position on the Redeemer Committee.
During the resolution of a 2018 arbitration involving a Debtor-managed fund, the Highland Credit
Strategies Fund, evidence emerged demonstrating that Concord was operating as an unregistered
investment adviser of Russian money from Alfa-Bank, Russia's largest privately held bank and a key
part of Fridman's Alfa Group Consortium. -That money that was funneled into BVI-domiciled shell
companies into the Cayman Islands, then into various hedge funds and private equity funds in the U.S.
Evidence of these activities was presented by the Debtor to Grosvenor, and the Debtor asked to have
Concord removed from the Redeemer Committee. Concord was never removed. Concord is a large
investor in Grosvenor. Grosvenor, in turn, is a large investor in Stonehill and Farallon.

Circumstances Precipitating Bankruptcy

       Notwithstanding Highland's historical success with Mr. Dondero at the helm, Highland's funds-
like many other investment platforms-suffered losses during the financial crisis, leading to myriad
lawsuits by investors. One of the most contentious disputes involved investors in the Crusader Funds. As
explained above, a group of Crusader Funds investors sued after the funds' manager temporarily
suspended redemptions during the financial crisis. That dispute resolved with the formation of the
"Redeemer Committee" and the orderly liquidation of the Crusader Funds, which resulted in investors'



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receiving a return of their investments plus a profit, as opposed to the 20 cents on the dollar they would
have received had their redemption requests been honored when made.

       Despite the successful liquidation of the Crusader Funds, the Redeemer Committee sued Highland
again several years later, claiming that Highland had improperly delayed the liquidation and paid itself
fees not authorized under the parties' earlier settlement agreement. The dispute went to arbitration,
ultimately resulting in an arbitration award against Highland of $189 million (of which Highland
expected to make a net payment of $110 million once the award was confirmed).

         In view of the expected arbitration award and believing that a restructuring of its judgment
liabilities was in Highland's best interest, on October 16, 2019, Highland-a Delaware limited
partnership-filed a voluntary petition for relief under Chapter 11 of the Bankruptcy Code in the
Bankruptcy Comi for the District of Delaware. 4

        On October 29, 2019, the Bankruptcy Court appointed the Creditors' Committee. At the time of
their appointment, creditors agreeing to serve on the Creditors' Committee were given an Instruction
Sheet by the Office of the United States Trustee, instructing as follows:

          Creditors wishing to serve as fiduciaries on any official committee are advised that
          they may not purchase, sell or otherwise trade in or transfer claims against the
          Debtor while they are committee members absent an order of the Court. By
          submitting the enclosed Questionnaire and accepting membership on an official
          committee of creditors, you agree to this prohibition. The United States Trustee
          reserves the right to take appropriate action, including removing the creditor from
          any committee, if the information provided in the Questionnaire is inaccurate, if the
          foregoing prohibition is violated, or for any other reason the United States Trustee
          believes is proper in the exercise of her discretion.

See Instruction Sheet, Ex. A (emphasis in original).

       In response to a motion by the Creditors' Committee, on December 4, 2019, the Delaware
Bankruptcy Court transfen-ed the bankruptcy case to the Northern District of Texas, to Judge Stacey G.C.
Jernigan's court. 5

    SYSTEMIC PROBLEMS OCCURRING IN THE CONTEXT OF HIGHLAND'S COURT-
                       ADMINISTERED BANKRUPTCY

Mr. Dondero Gets Pushed Out of Management and New Debtor Management Announces Plans
to Liquidate the Estate

      From the outset of the case, the Creditors' Committee and the U.S. Trustee's Office in Dallas
pushed to replace Mr. Dondero as the sole director of Strand. To avoid a protracted dispute and to


4In re Highland Capital Mgmt., L.P., Case No. 19-12239-CSS (Bankr. D. Del.) ("Del. Case"), Dkt. 1.
5
 See In re Highland Capital Mgmt., L.P., Case No. 19-34054 (Bankr. N.D. Tex.), Dkt. 186. All subsequent docket references
are to the docket of the Bankruptcy Court for the N01them District of Texas.


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facilitate the restructuring, on January 9, 2020, Mr. Dondero agreed to resign as the sole director of
Strand, on the condition that he would be replaced by the Independent Board. 6

        In brokering the agreement, Mr. Dondero made clear his expectations that new, independent
management would not only preserve Highland's business by expediting an exit from bankruptcy in three
to six months but would also preserve jobs and enable continued collaboration with charitable causes
supported by Highland and Mr. Dondero. Unfo1tunately, those expectations did not materialize. Rather,
it quickly became clear that Strand's and Highland's management was being dominated by one of the
independent directors, Mr. Seery. Shortly after his placement on the Board, on March 15, 2020, Mr. Seery
became de facto Chief Executive Officer, after which he immediately took steps to freeze Mr. Dondero
out of operations completely, to the detriment of Highland's business and its employees. The Bankruptcy
Court formally approved Mr. Seery's appointment as CEO and Chief Restructuring Officer on July 14,
2020. 7 Although Mr. Seery publicly represented that his goal was to restructure the Debtor's business
and enable it to emerge as a going concern, privately he was engineering a much different plan. Less
than two months after Mr. Seery's appointment as CEO/CRO, the Debtor filed its initial plan of
reorganization, disclosing for the first time its intention to terminate substantially all employees by the
end of 2020 and to liquidate Highland's assets by 2022. 8

       Over objections by Mr. Dondero and numerous other stakeholders, the Bankruptcy Court
confirmed Highland's Fifth Amended Plan of Reorganization on February 22, 2021 (the "Plan"). 9 There
are appeals of that Plan, as well as many of the other rulings made by the Bankruptcy Court, currently
pending before the United States District Comt and the Comt of Appeals for the Fifth Circuit.

Transparency Problems Pervade the Bankruptcy Proceedings

         The Regulatory Framework

        As you are aware, one of the most impmiant features of federal bankruptcy proceedings is
transparency. The EOUST instructs that "Debtors-in-possession and trustees must account for the
receipt, administration, and disposition of all prope1iy; provide information concerning the estate and the
estate's administration as paities in interest request; and file periodic reports and summaries of a debtor's
business, including a statement of receipts and disbursements, and such other information as the United
States Trustee or the United States Bankruptcy Court requires." See http://justice.gov/ust/chapter-l l-
info1mation (citing 11 U.S.C. § 1106(a)(l), 1107(a)). And Federal Rule of Bankruptcy Procedure
2015 .3( a) states that "the trustee or debtor in possession shall file periodic financial reports of the value,
operations, and profitability of each entity that is not a publicly traded corporation or a debtor in a case
under title 11, and in which the estate holds a substantial or controlling interest." This rule requires the
trustee or a debtor in possession to file a report for each non-debtor affiliate prior to the first meeting of

6
  Frank Waterhouse and Scott Ellington, Highland employees, remained as officers of Strand, Chief Financial Officer and
General Counsel, respectively.
7
  See Order Approving Debtor's Motion Under Bankruptcy Code Sections 105(a) and 363(b) Authorizing Retention of James
P. Seery, Jr. as Chief Executive Officer, Chief Restrncturing Officer, and Foreign Representative Nunc Pro Tune to March
15, 2020, Dkt. 854.
8
  See Plan of Reorganization of Highland Capital Management, L.P. dated August 12, 2020, Dkt. 944.
9
  See Order (I) Confirming the Fifth Amended Plan of Reorganization of Highland Capital Management, L.P. (As Modified);
and (II) Granting Related Relief, Dkt. 1943.


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creditors and every six months thereafter until the effective date of a plan of reorganization. Fed R.
Bankr. P. 2015.3(b). Importantly, the rule does not absolve a debtor from filing reports due prior to the
effective date merely because a plan has become effective. 10 Notably, the U.S. Trustee has the duty to
ensure that debtors in possession properly and timely file all required reports. 28 U.S.C. § l 112(b)(4)(F),
(H).

        The entire purpose of these guidelines and rules is to ensure that external stakeholders can fairly
evaluate the progress of bankruptcy proceedings, including compliance with legal requirements.
Particularly in large bankruptcies, creditors and investors alike should expect that debtors, their
management, and representatives on creditors' committees abide by their reporting obligations and all
other legal requirements. Bankruptcy is not meant to be a safe haven for lawlessness, nor is it designed
to obfuscate the operations of the debtor. Instead, transparency is mandatory so that the debtor is
accountable to stakeholders and so that stakeholders can ensure that all insiders are operating for the
benefit of the estate. This becomes all the more important when a debtor or an estate holds substantial
assets through non-debtor subsidiaries or vehicles, as is the case here; hence, the purpose of Rule 2015.3.

          In Highland's Bankruptcy, the Regulato,y Framework Is Ignored

       Against this regulatory backdrop, the Highland bankruptcy offered almost no transparency to
stakeholders. Traditional reporting requirements were ignored, and neither the Bankruptcy Court nor the
U.S. Trustee's Office did anything to ensure compliance. This opened the door to numerous abuses of
process and potential violations of federal law, as detailed below. Additionally, the lack of proper and
accurate information and intentional hiding of material information led creditors to vote for the Debtor's
plan and the Bankruptcy Court to confirm that plan which, we believe, would not have happened had the
Debtor complied with its fiduciary and reporting duties.

        As Mr. Draper and I have already highlighted, one significant problem in Highland's bankruptcy
was the Debtor's failure to file any of the reports required under Bankruptcy Rule 2015.3, either on behalf
of itself or its affiliated entities. Typically, such reports would include information like asset value,
income from financial operations, profits, and losses for each non-publicly traded entity in which the
estate has a substantial or controlling interest.

        The Debtor's failure to file the required Rule 2015 .3 reports was brought to the attention of the
Debtor, the Bankruptcy Court, and the U.S. Trustee's Office. During the hearing on Plan confirmation,
the Debtor was questioned about the failure to file the reports. The sole excuse offered by the Debtor's
Chief Restructuring Officer and Chief Executive Officer, Mr. Seery, was that the task "fell through the
cracks." 11 Nor did the Debtor or its counsel ever attempt to show "cause" to gain exemption from the
reporting requirement. That is because there was no good reason for the Debtor's failure to file the
required reports. In fact, although the Debtor and the Creditors' Committee often refer to the Debtor's
structure as a "byzantine empire," the assets of the estate fall into a handful of discrete investments, most
of which have audited financials and/or are required to make monthly or quarterly net-asset-value or fair-

10 After notice and a hearing, the bankruptcy comt may grant relief from the Rule 2015.3 disclosure requirement "for cause,"
including that "the trustee or debtor in possession is not able, after a good faith effo1t, to comply with th[e] rep01ting
requirements, or that the information required by subdivision (a) is publicly available." Fed. R. Bankr. 2015.3(d).
11 See Dkt. 1905 (Feb. 3, 2021 Hr'g Tr. at 49:5-21 ).




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value determinations. 12 Rather than disclose financial information that was readily available, the Debtor
appears to have taken deliberate and strategic steps to avoid transparency.

        Despite these transparency problems, the Debtor's confirmed Plan contains prov1s10ns that
effectively release the Debtor from its obligation to file any of the repo1is due for any period prior to the
effective date-thereby sanctioning the Debtor's failure and refusal to follow the rules. The U.S. Trustee
also failed to object to this portion of the Court's order of confirmation, which is directly at odds with
the spirit and mandate of the Periodic Repo1iing Requirements adopted by the EOUST and historical
rules mandating transparency. 13

       Because neither the federal Bankruptcy Comi nor the U.S. Trustee advocated or demanded
compliance with the rules, the Debtor, its newly appointed management, and the Creditors' Committee
charged with protecting the interests of all creditors were able to manipulate the estate for the benefit of
a handful of insiders, seemingly in contravention of law.

The Lack of Transparency Permitted the Debtor to Quietly Sell Assets Without Observing Best
Practices

        Highland engaged in several other asset sales in bankruptcy without disclosing those sales in
advance to outside stakeholders or investors, and without offering investors in funds impacted by the
sales the opp01iunity to purchase the assets. For example:

         •         The Debtor sold approximately $25 million of NexPoint Residential Trust shares that
                   today are valued at over $70 million; the Debtor likewise sold $6 million of Portola
                   Pharma shares that were taken over less than 60 days later for $18 million.

         •         The Debtor divested interests w01ih $145 million held in ce1iain life settlements (which
                   paid on the death of the individuals covered, whose average age was 90) for $35 million
                   rather than continuing to pay premiums on the policies and did so without obtaining
                   updated estimates of the life settlements' value, to the detriment of the fund and investors
                   (today two of the covered individuals have a life expectancy of less than one year).

         •         The Debtor sold interests in OmniMax without informing the Bankruptcy Comi, without
                   engaging in a competitive bidding process, and without cooperating with other funds
                   managed by Mr. Dondero, resulting in what we believe is substantially lesser value to the
                   debtor (20% less than Mr. Dondero received in funds he managed).

         •         The Debtor sold interests in Structural Steel Products (worth $50 million) and Targa
                   (worth $37 million), again without any process or notice to the Bankruptcy Court or

12
   During a deposition, Mr. Seery identified most of the Debtor's assets "[o]ffthe top of [his] head" and acknowledged that
he had a subsidiary ledger that detailed the assets held by entities below the Debtor. See Exh. A (Jan. 29, 2021 Dep. Tr. at
22:4-10; 23:1-29:10).
13
   See "Procedures for Completing Uniform Periodic Reports in Non-Small Business Cases Filed Under Chapter 11 of Title
11" (the "Periodic Reporting Requirements"). The Periodic Reporting Requirements reaffirmed the EOUST's commitment to
maintaining "uniformity and transparency regarding a debtor's financial condition and business activities" and "to inform
creditors and other interested pmties of the debtor's financial affairs." 85 Fed. Reg. 82906.


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                   outside stakeholders, resulting in a loss to the estate of over $10 million versus cost and
                   $20 million versus fair market value.

         •         The Debtor "sold" interests in certain investments commonly refen-ed to as PetroCap
                   without engaging in a public sale process and without exploring any other method of
                   liquidating the asset.

Because the Bankruptcy Code does not define what constitutes a transaction in the "ordinary course of
business," the Debtor's management was able to characterize these massive sales as ordinary course
transactions when they were anything but ordinary, resulting in diminution in value to the estate and its
creditors. Equally as troubling, for certain similar sale transactions the Debtor did seek Bankruptcy Court
approval, thus acknowledging that such approval was necessary or, at a minimum, that disclosures
regarding non-estate asset sales are required.

The Lack of Transparency Permitted the "Inner Circle" to Manipulate the Estate for Personal
Gain

         Largely because of the Debtor's failure to file Rule 2015 .3 repo1is for affiliate entities, interested
parties and creditors wishing to evaluate the w01ih and mix of assets held in non-Debtor affiliates could
not do so. This is particularly problematic because the Debtor sold $172 million in assets, which altered
the mix of assets and liabilities of the Debtor's affiliates and controlled entities. In addition, the estate's
asset value decreased by approximately $200 million in a matter of months in the wake of the global
pandemic. Absent financial reporting, it was impossible for stakeholders to dete1mine whether the $200
million impairment in asset value reflected actual realized losses or merely temporary mark-downs
precipitated by problems experienced by certain assets during the pandemic (including labor sho1iages,
supply-chain issues, travel inteITuptions, and the like). A Rule 2015.3 repo1i would have revealed the
mix of assets and the corresponding reduction in liabilities of the affiliated or controlled entity-
information that was critical in evaluating the w01ih of claims against the estate or future investments
into it.

        In stark contrast to its non-existent public disclosures, the Debtor provided the Creditors'
Committee with robust weekly information regarding transactions involving assets held by the Debtor or
its wholly owned subsidiaries, transactions involving managed entities and non-managed entities in
which the Debtor held an interest, transactions involving non-discretionary accounts, and weekly budget-
to-actuals reports referencing non-Debtor affiliates' 13-week cash flow budget. In other words, the
Committee had real-time financial information with respect to the affairs of non-Debtor affiliates, which
is precisely the type of information that should have been disclosed to the public pursuant to Rule 2015 .3.
The Debtor's "inner circle" - the Debtor (as well as its advisors and professionals) and the Creditors'
Committee (and its counsel) - had access to critical information upon which any reasonable investor
would rely. But because of the lack ofreporting, the public did not.

         Mr. Seery's Compensation Structure Encouraged Misrepresentations Regarding the Value of
         the Estate and Assets of the Estate

       Mr. Seery's compensation package encouraged, and the lack of transparency permitted,
manipulation of the estate and settlement of creditors' claims at inflated amounts.


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        Upon his initial appointment as an Independent Director in January 2020, Mr. Seery received
compensation from the Debtor of $60,000 per month for the first three months, $50,000 per month for
the following three months, and $30,000 per month for remaining months, subject to adjustment by
agreement with the Debtor. 14

        When Mr. Seery subsequently was appointed the Debtor's CEO and CRO in July 2020, he his
compensation package was handsomely improved. His base salary, which was on the verge of dropping
to $30,000 per month, was increased retroactively back to March 15, 2020, to $150,000 per month.
Additionally, his employment agreement contemplated a discretionary "Restructuring Fee" 15 that would
be calculated in one of two ways:

          (1)       If Mr. Seery were able to resolve a material amount of outstanding claims against the
                    estate, he would be entitled to $1 million on confirmation of what the Debtor termed a
                    "Case Resolution Plan," $500,000 at the effective date of the Case Resolution Plan, and
                    $750,000 upon completion of distributions to creditors under the plan.

          (2)       If, by contrast, Mr. Seery were not able to resolve the estate and instead achieved a
                    "Monetization Vehicle Plan," he would be entitled to $500,000 on confirmation of the
                    Monetization Vehicle Plan, $250,000 at the effective date of that plan, and-most
                    importantly-a to-be-determined "contingent restructuring fee" based on "performance
                    under the plan after all material distributions" were made.

The Restructuring Fee owed for a Case Resolution Plan was materially higher than that payable under
the Monetization Vehicle Plan and was intended to provide a powerful economic incentive for Mr. Seery
to steer Highland through the Chapter 11 case and emerge from bankruptcy as a going concern.

        Despite the structure of his compensation package, Mr. Seery saw greater value in aligning
himself with creditors and the Creditors' Committee. To that end, he publicly alienated and maligned
Mr. Dondero, and he found willing allies in the Creditors' Committee. The posturing also paved the way
for Mr. Seery to bestow upon the hold-out creditors exorbitant settlements at the expense of equity and
earn his Restructuring Fee. In fact, at the time of Mr. Seery's formal appointment as CEO/CRO, he had
already negotiated settlements in principle with Acis and the Redeemer Committee (both members of the
Creditors' Committee), 16 leaving only the HarbourVest and UBS (also a member of the Creditors'
Committee) claims to resolve. In other words, Mr. Seery had curried favor with two of the four members
of the Creditors' Committee who would ultimately approve his Restructuring Fee and future
compensation following plan consummation.

       Ultimately, the confirmed Plan appointed Mr. Seery as the Claimant Trustee, which continued his
compensation of $150,000 per month (termed his "Base Salary") and provided that the Oversight Board
and Mr. Seery would negotiate additional "go-forward" compensation, including a "success fee" and
severance pay. 17 Mr. Seery's success fee presumably is (or will be) based on whether his liquidation of

14
   See Dkt. 339, ,r 3.
15
   See Dkt. 854, Ex. 1.
16
   See Dkt. 864, p. 8, I. 24 - p. 9, I. 8.
17
   See Plan Supplement, Dkt. 1875, § 3.13(a)(i).


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the estate outperforms what was disclosed in the Plan Analysis. In other words, Mr. Seery had a financial
incentive to grossly understate the value of the estate in public disclosures, not only to facilitate claims
trading and resolution of the biggest claims in bankruptcy but also to ensure that he eventually receives
a large "success fee" and severance payment. In fact, during a deposition taken on October 21, 2021,
Mr. Seery testified that he expected to make "a few million dollars a year" for each year during the years
that he will take to liquidate the Debtor, although we estimate that, based on the estate's nearly $650
million value today, Mr. Seery's success fee could approximate $50 million.

           Mr. Seery Enters into Inflated Settlements

        Even before his appointment as CEO and CRO of the Debtor, Mr. Seery had effectively seized
control of the Debtor as its de facto chief executive officer. 18 Thus, while he was in the process of
negotiating his compensation agreement, he was simultaneously negotiating settlements with the
remaining creditors to ensure he earned his Restructuring Fee, even ifhe did so at inflated amounts. One
transaction that highlights this is the settlement with the Crusader Funds and the Redeemer Committee.

        In connection with Mr. Seery's appointment as CEO and CRO, the Debtor announced that it had
reached an agreement in principle with the Crusader Funds and the Redeemer Committee. Even UBS,
one of the members of the Creditors' Committee, thought the settlement was inflated. In its objection to
the Debtor's 9019 motion, UBS stated: 19

                    The Redeemer Claim is based on an Arbitration Award that required the Debtor,
           inter alia, to pay $118,929,666 (including prejudgment interest and attorneys' fees) in
           damages and to pay Redeemer $71,894,891 (including prejudgment interest) in exchange
           for all of Crusader's shares in Cornerstone. Pursuant to that same Arbitration Award, the
           Debtor also retained the right to receive $32,313,000 in Defe1Ted Fees upon Crusader's
           liquidation. As shown below, after accounting for those reciprocal obligations to the
           Debtor and depending on the true value of the Cornerstone shares to be tendered (which
           is disputed), the actual value of the Arbitration Award to Redeemer is between
           $74,911,557 and $128,011,557. 3

                   Under the Proposed Settlement, however, Redeemer stands to gain far more
           because the Debtor has inexplicably agreed to release its rights to Crusader's Cornerstone
           shares and the Deferred Fees (with a combined value that could be as much as
           $115,913,000)-providing a substantial windfall to Redeemer. The Debtor has failed to
           provide sufficient information to permit this Court to meaningfully evaluate the true value
           of the Proposed Settlement, including the fair value of the Cornerstone shares, which it
           must do in order for this Com1 to have the information it needs to approve the Proposed
           Settlement. Depending on the valuation of the Cornerstone shares, the value of the
           Proposed Settlement to Redeemer may be as much as $253,609,610-which substantially
           exceeds the face amount of the Redeemer Claim.



18 See Dkt. 864, p. 6, I. 18 -     22.
19
     See Dkt. 1190, p. 6- 7.


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                  In the meantime, other general unsecured creditors of the Debtor will receive a
          much lower percentage recovery than they would if those assets were instead transfened
          to the Debtor's estate, as required by the Arbitration Award, and evenly distributed among
          the Debtor's creditors. The Proposed Settlement is only in the best interests of Redeemer
          and, as such, it should be rejected.


                    3
                                                          ******
                      The potential range of value attributable to the Cornerstone shares is
                    significant because, according to the Debtor's liquidation analysis, the
                    Debtor expects to have only $195 million total in value to distribute, and
                    only $161 million to distribute to general unsecured creditors under its
                    proposed plan. See Liquidation Analysis [Dkt. No. 1173-1]; First
                    Amended Plan of Reorganization of Highland Capital Management, L.P.
                    [Dkt. No. 1079].

       UBS was right. Mr. Seery agreed to a settlement that substantially overpaid the Redeemer
Committee, and UBS only agreed to withdraw its objection and appeal of the Redeemer Committee's
settlement when the Debtor bestowed upon UBS its own lavish settlement. 20

        It is worth noting that the Redeemer Committee ultimately sold its bankruptcy claim for $78
million in cash, but the sale excluded, and the Crusader Funds retained, its investment in Cornerstone
Healthcare Group Holding Inc. and certain non-cash consideration. 21 At the end of the day, the Crusader
Funds and the Redeemer Committee cashed out of their bankruptcy claims for total consideration at the
very least of $13 5 million, meaning they received 105% of the highest estimate (according to UBS) of
the net amount of their arbitration award. 22

          The Inner Circle Doesn't Object to Inflated Settlements

       Following the Bankruptcy Court's approval of settlements with Acis/Josh Teny and the Crusader
Funds/the Redeemer Committee, Mr. Seery turned his attention to the two remaining critical holdouts:
HarbourVest and UBS. HarbourVest, a private equity fund-of-funds with approximately $75 billion
under management, had invested pre-bankruptcy $80 million into (and obtained 49.98% of the
outstanding shares of) a Highland fund called Acis Loan Funding, later rebranded as Highland CLO

20 See Dkt 2199. Under the te1ms of the UBS Settlement, UBS received a Class 8 claim in the amount of $65 million, a Class
9 claim in the amount of$60 million, a payment in cash of$18.5 million from a non-Debtor fund managed by the Debtor, and
the Debtor's agreement to assist UBS in pursuing other claims against former Debtor affiliates related to a default on a credit
facility during the Global Financial Crisis. Importantly, over the course of the preceding 11 years, UBS had already received
payments totaling $180 million in connection with this dispute, and just prior to bankruptcy, UBS and the Debtor had reached
a settlement in principle in which the Debtor would pay UBS just $7 million and $10 million in future business.
21
   See Exh. B.
22 The estimation of a total recovery of $135 million includes attributing $48 million to the retained Cornerstone investment.

The $48 million valuation equated to a -45% interest in Cornerstone, which was valued pre-pandemic at approximately $107
million. Following COVID, Cornerstone's long-term acute care facilities flourished. Additionally, Cornerstone held a direct
investment of over 800,000 shares in MGM, which was held on its books at approximately $72 per share. The per-share
closing price on the sale of MGM to Amazon exceeded $164, which would have increased the company's valuation
(irrespective of the post-COVID growth) by more than $70 million, bring Crusader Funds' windfall to more than $205 million.


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Funding, Ltd. ("HCLOF"). A charitable fund called the Charitable DAF Fund, L.P. ("DAF") held
49.02% member interests in HCLOF, and the remaining ~2.00% was held by Highland and ce1iain of its
employees.

         Before Highland filed bankruptcy, a dispute arose between HarbourVest and Highland in which
HarbourVest claimed it was duped into making the investment into HCLOF because Highland allegedly
failed to disclose facts relating to the investment (namely, that Highland was engaged in ongoing
litigation with former employee, Josh Teffy, which would result in HCLOF's incuning legal fees and
costs). HarbourVest alleged that, as a result of the Teny lawsuit, HCLOF incurred approximately $15
million in legal fees and costs. In Highland's bankruptcy, however, HarbourVest filed a proof of claim
alleging that it was due over $300 million in damages in the dispute, a claim that the Debtor and Debtor's
counsel initially argued was absurd. Indeed, Debtor management valued HarbourVest's claims at $0,
which was consistently reflected in the Debtor's publicly-filed financial statements up through and
including its December 2020 Monthly Operating Report. 23 Nevertheless, as one of the final creditor
claims to be resolved, Mr. Seery ultimately agreed to give HabourVest a $45 million Class 8 claim and a
$35 million Class 9 claim. 24 At that time, the Debtor's public disclosures reflected that Class 8 creditors
could expect to receive 71.32% payout on their claims, and Class 9 creditors could expect 0.00%. Thus,
HarbourVest's total $80 million in allowed claims would result in HarbourVest receiving $32 million in
cash. 25 The cash consideration was offset by HarbourVest's agreement to convey its interest in HCLOF
to the Debtor (or its designee) and to vote in favor of the Debtor's Plan. In its pleadings and testimony in
support of the settlement, the Debtor represented that the value of HarbourVest's interest in HCLOF was
$22.5 million. In other words, from the outside looking in, the Debtor agreed to pay $9.5 million for a
spurious claim.

        Oddly enough, no creditors (other than former insiders) objected. What the inner circle
presumably knew was that the settlement was actually a windfall for the Debtor. As we have previously
detailed, the $22.5 million valuation of HCLOF that the Debtor utilized in seeking approval of the
settlement was based upon September 2020 figures when the economy was still reeling from the
pandemic. The value of that investment rebounded rapidly, particularly because of the pending MGM
sale to Amazon that was disclosed to the Debtor but not the public (i.e., material non-public information).
We have subsequently learned that the actual value of the HCLOF at the time the Bankruptcy Court
approved the HarbourVest settlement was at least $44 million-a value that Mr. Seery would have known
but that was not disclosed to the Court or the public.

        Likewise, there were no objections to the UBS settlement, which is puzzling. As detailed in the
Debtor's 64-page objection to the UBS proof of claim and the Redeemer Committee's 431-page objection
to the UBS proof of claim, UBS' s claims against the Debtor were razor thin and largely foreclosed by res
judicata and a settlement and release executed in connection with the June 2015 settlement. Moreover,
the publicly available information indicated that:

              •    The estate's asset value had decreased by $200 million, from $556 million on October 16,

23 See Monthly Operating Report for Highland Capital Management for the Month Ending December 2020, Dkt. 1949.
24 Class 8 consists of general unsecured claims; Class 9 consists of subordinated claims.
25 We have reason to believe that HarbourVest's Class 8 and Class 9 claims were contemporaneously sold to Farallon Capital

Management-an SEC-registered investment advisor-for approximately $27 million.


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                      2019, to $328 million as of September 30, 2020 (increasing only slightly to $364 million
                      as of January 31, 2021 ); 26

                •     Allowed claims against the estate increased by $236 million from December 2020 to
                      January 2021, with Class 8 claims ballooning $74 million in December to $267 million in
                      January;

                •     Due to the decrease in the value of the Debtor's assets and the increase in the allowed
                      claims amount, the ultimate projected recovery for Class 8 Claims decreased from 87.44%
                      to 71.32% in just a matter of months.

The Liquidation Analysis estimated total assets remaining for distribution to general unsecured claims to
be $195 million, with general unsecured claims totaling $273 million. By the time the UBS settlement
was presented to the court for approval, the allowed Class 8 Claims had increased to $309,345,000,
reducing the distribution to Class 8 creditors to 62.99%. Surely significant creditors like the Redeemer
Committee-whose projected distribution dropped from $119,527,515 when it voted for the Plan to
$86,105,194 with the HarbourVest and UBS claims included-should have taken notice.

Mr. Seery Stacks the Oversight Board

         As previously disclosed, we believe Mr. Seery facilitated the sale of the four largest claims in the
estate to Farallon and Stonehill. Based upon conversations with representatives of Farallon, Mr. Seery
contacted them directly to encourage their acquisition of claims in the bankruptcy estate. 27 We believe
Mr. Seery did so by disclosing the true value of the estate versus what was publicly disclosed in comi
filings, demonstrating that there was substantial upside to the claims as compared to what was included
in the Plan Analysis. For example, publicly available information at the time Farallon and Stonehill
acquired the UBS claim indicated the purchase would have made no economic sense: the publicly
disclosed Plan Analysis estimated that there would be a 71.32% distribution to Class 8 creditors and a
0.00% distribution to Class 9 creditors, which would mean that Farallon and Stonehill would have lost
money on the claim acquisition. We can only conclude Mr. Seery (or others in the Debtor's management)
apprised Stonehill and Farallon of the true estate value (which was material, non-public information at
the time), which based upon accurately disclosed financial statements would indicate they were likely to
recover close to 100% on both Class 8 and Class 9 claims.

       As set forth in the previous letters, three of the four members of the Creditors' Committee and
one non-committee member sold their claims to two buyers Farallon, through Muck, and Stonehill,
through Jessup. The four claims purchased by Farallon and Stonehill comprise the largest four claims in
the Highland bankruptcy by a substantial margin, collectively totaling almost $270 million in Class 8
claims and $95 million in Class 9 claims:



26 Compare Jan. 31, 2021   Monthly Operating Report [Dkt. 2030], with Disclosure Statement (approved on Nov. 24, 2020)
[Dkt. 1473].
27
   We believe Mr. Seery made similar calls to representatives of Stonehill. We are informed and believe that Mr. Seery has
long-standing relationships with both Farallon and Stonehill.


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  Claimant                            Class 8 Claim          Class 9 Claims            Date Claim Settled
  Redeemer Committee                  $136,696,610           NIA                       October 28, 2020
  Acis Capital                        $23,000,000            NIA                       October 28, 2020
  HarbourVest                         $45,000,000            $35,000,000               January 21, 2021
  UBS                                 $65,000,000            $60,000,000               May 27, 2021
  TOTAL:                              $269,696,610           $95,000,000

        From the information we have been able to gather, it appears that Stonehill and Farallon purchased
these claims for the following amounts:

         Creditor                 Class 8    Class 9       Purchaser                      Purchase Price
         Redeemer                 $137.0    $0.0           Stonehill                     $78.0 28
         ACIS                     $23.0     $0.0           Farallon                      $8.0
         HarbourVest              $45.0     $35.0          Farallon                      $27.0
         UBS                      $65.0     $60.0          Stonehill and Farallon        $50.0
         TOTAL                    $270.0    $95.0                                        $150.0 - $165.0


        As the purchasers of the four largest claims in the bankruptcy, Muck (Farallon) and Jessup
(Stonehill) are overseeing the liquidation of the reorganized Debtor. These two hedge funds also will
dete1mine the performance bonus due to Mr. Seery for liquidating the estate. As set forth below, we
estimate that the estate today is worth nearly $650 million and has approximately $200 million in cash,
which could result in Mr. Seery's receipt of a performance bonus approximating $50 million. Thus, it is
a warranted and logical deduction that Farallon and Stonehill may have been provided material, non-
public inf01mation to induce their purchase of these claims. As set fo11h in previous letters, there are three
primary reasons to believe this:

               •   The scant publicly available information regarding the Debtor's estate ordinarily would
                   have dissuaded sizeable investment in purchases of creditors' claims;

               •    The information that was actually publicly available ordinarily would have compelled a
                    prudent investor to conduct robust due diligence prior to purchasing the claims; and

               •    Yet these claims purchasers spent in excess of $ 100 million (and likely closer to $ 150
                    million) on claims, ostensibly without any idea of what they were purchasing.

For example, consider the sale of the Crusader Funds' claims, which we know was sold for $78 million.
Based upon the publicly available information at the time of the acquisition, the expected distribution
would have been $86 million. Surely a sophisticated hedge fund would not invest $78 million in a
pmiicularly contentious bankruptcy if it believed its maximum return was $86 million years later.




28 Because the transaction included "the majority of the remaining investments held by the Crusader Funds," the net amount

paid by Stonehill for the Claims was approximately $65 million.


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        Ultimately, the Plan, Mr. Seery' s compensation package, and the lack of transparency to everyone
other than the Debtor, its management, and the Creditors' Committee permitted Debtor management and
the Creditors' Committee to support grossly inflated claims (at the expense ofresidual stakeholders) in a
grossly understated estate, which facilitated the sales of those claims to a small group of investors with
significant ties to Debtor management. In doing so, Mr. Seery installed on the Reorganized Debtor's
Oversight Board friendly faces who stand to make $370 million on ~$150 million investment. And Mr.
Seery's plan has already worked. Notably, while the confirmed Plan was characterized by the Debtor as
a monetization plan, 29 the newly installed Oversight Board supported, and the Court approved, paying
Mr. Seery the much more lucrative Case Resolution Fee, netting Mr. Seery $1.5 million more than he
was entitled to receive under his employment agreement.

        In a transparent bankruptcy proceeding, we question whether any of this could have happened.
What we do know is that the Debtor's non-transparent bankruptcy has ensured there will be nothing left
for residual stakeholders, while emiching a handful of intimately connected individuals and investors.

                                                    Value as of Aug. 2021     March 2022 High
                                                                              Estimate updated
                                                                              for MGM closing
     Asset                                         Low         High
     Cash as of 4/25/22                            $17.9       $17.9
                                      Targa Sale   $37.0       $37.0
                                 8/1 CLO Flows     $10.0       $10.0
                                Uchi Bldg. Sale    $9.0        $9.0
                                      Siepe Sale   $3.5        $3.5
                                  PetroCap Sale    $3.2        $3.2
                                 Park West Sale    $3.5        $3.5
                             HCLOF trapped cash    $25.0       $25.0
     Total Cash                                    $105.6      $105.6       $200
     Trussway                                      $180.0      $180.0       $180.0
     Cornerstone (125mm; 16%)                      $18.0       $18.0        $25.0
     HCLOF                                         $40.0       $40.0        $20.0

     CCS Medical (in CLOs and Highland             $20.0       $20.0        $30.0
     Restoration)
     MGM (direct ownership)                        $32.0       $32.0        $0.0
     Multi-Strat (45% of 100mm; MGM;               $45.0       $45.0        $30.0
     CCS)
     Korea Fund                                    $18.0       $18.0        $20.0
     Celtic (in Credit-Strat)                      $12.0       $40.0        $40.0
     SE Multifamily                                $0.0        $20.0        $20.0
     Affiliate Notes                               $0.0        $70.0        $70.0
     Other                                         $2.0        $10.0        $10.0

29
     See Dkt. 194., p.5.


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   Highland Restoration Capital Partners
   TOTAL                                              $472.6            $598.6          $645.0


The Bankruptcy Professionals are Draining the Estate

               Yet another troubling aspect of the Highland bankruptcy has been the rate at which Debtor
professionals have drained the Estate, largely through invented, unnecessary, and greatly overstaffed and
overworked offensive litigation. The sums expended between case filing and the effective date of the
Plan (the "Effective Date") are staggering:

 Professional                                                  Fees                          Ex[!enses
 Hunton Andrews Kurth                                          $1,147,059.42                 $2,747.84
 FTI Consulting, Inc.                                          $6,176,551.20                 $39,122.91
 Teneo Capital, LLC                                            $1,221,468.75                 $6,257.07
 Marc Kirschner                                                $137,096.77
 Sidley Austin LLP                                             $13,134,805.20               $211,841.25
 Pachulski Stang Ziehl & Jones                                 $23,978,627.25               $334,232.95
 Mercer (US) Inc.                                              $202,317.65                  $2,449.37
 Deloitte Tax LLP                                              $553,412.60
 Development Specialists, Inc.                                 $5,562,531.12                 $206,609.54
 James Seery30                                                 $5,100,000.00
 Quinn Emanuel Urquhart & Sullivan, LLP
 Wilmer Cutler Pickering Hale & Dorr LLP                       $2,645,729.72                $5,207.53
 Kurtzman Carson Consultants LLC                               $2,054,716.00
 Foley & Lardner LLP                                           $629,088.00
 Casey Olsen Cayman Limited                                    $280,264.00
 ASW Law Limited                                               $4,976.00
 Houlihan Lokey Financial Advisors, Inc.                       $766,397.00
 Berger Hanis, LLP
 Hayward PLLC                                                  $825,629.50                  $46,482.92
                                                               $64,420,670.18               $854,951.38

 Total Fees and Expenses                                                                    $65,275,621.56


"The [bankruptcy] estate is not a cash cow to be milked to death by professionals seeking compensation
for services rendered to the estate which have not produced a benefit commensurate with the fees sought."
In re Chas. A. Stevens & Co., 105 B.R. 866, 872 (Bankr. N.D. Ill. 1989).




30 This amount includes Mr. Seery's success fee, which was paid a month following the Effective Date.




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        The rate at which Debtor professionals have drained the estate is in stark contrast to the treatment
of the employees who stayed with the Debtor (without a key employee retention plan or key employee
incentive program) on the promise they would be made whole for prepetition deferred compensation that
had not yet vested, only to be stiffed and summarily terminated. Even worse, some of these employees
have been targeted by the litigation sub-trust for acts they took in the course and scope of their
employment.

        Following the Effective Date, siphoning of estate assets continues. Mr. Seery still receives base
compensation of $150,000 per month, and he expects to receive compensation of at least "a few million
dollars a year" according to his own deposition testimony. In addition, his retention was conditioned
upon receiving a to-be-negotiated success fee and severance payment (notably, none of which is disclosed
publicly).

        Likewise, Teneo Capital, LLC was retained as the litigation adviser. For its services post-
Effective Date, it is compensated $20,000 per month for Mr. Kirschner as trustee for the Litigation
Subtrust, plus the regularly hourly fees of any additional Teneo personnel, plus a "Litigation Recovery
Fee." The Litigation Recovery Fee is equal to 1.5% of Net Litigation Proceeds up to $100 million and
2.0% of Net Litigation Proceeds above. Interestingly, although "Net Litigation Proceeds" is defined as
gross litigation proceeds less certain fees incuned in pursing the litigation, net proceeds are not reduced
by Mr. Kirschner's monthly fee, contingency fees charged by any other professionals, or litigation
funding financing. Moreover, Teneo is given credit for any litigation recoveries regardless of whether
those recoveries stem from actions commenced by the litigation trustee. The Debtor has not disclosed,
and is not required to disclose, the terms upon which any professionals have been engaged following the
Effective Date, including Quinn Emanuel Urquhaii & Sullivan, LLP, counsel for the Litigation Subtrust.
Based upon pre-Effective Date monthly expenses, the number of lawyers that attend various matters on
behalf of the Debtor,31 and the addition of Quinn Emanuel Urquhart & Sullivan, LLP and Teneo, we
believe the Debtor could be spending as much as $5-$7 million per month.

        The Reorganized Debtor and the Highland Claimant Trust recently filed heavily redacted,
quarterly post-confirmation reports. 32 Of note, the Reorganized Debtor disclosed that it has disbursed
$81,983,611 since the Effective Date but disclosed that it has only paid $47,793 in priority claims and
$6,918,473 in general unsecured claims, while still estimating a total recovery to general unsecured
claims of $205,144,544. The Highland Claimant Trust disclosed that it has disbursed an additional
$7,152,331 since the Effective Date.

                                                   CONCLUSION

        The Highland bankruptcy is an extreme example of the abuses that can occur if the federal bench,
federal government appointees, and federal lawmakers do not police federal bankruptcy proceedings by

31 In connection with a recent two-day trial on an administrative claim, the Debtor was represented by John Mon-is ($1,245.00
per hour), Greg Demo ($950 per hour), and Hayley Winograd ($695 per hour), and was assisted by paralegal La Asia Canty
($460 per hour). The Debtor's local counsel, Zachery Annable ($300 per hour), was also present, and Jeffrey Pomerantz
($1,295 per hour) observed the trial via WebEx. Despite the army of lawyers, Mr. M01Tis handled virtually the entire
proceeding, with Ms. Winograd examining only two small witnesses. Messrs. Pomerantz, Demo, and Annable played no
active role in the proceedings.
32
   Dkt 3325 and 3326.


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permitting debtors-in-possession to hide material information, violate duties of transparency and candor,
and manipulate information and transactions to benefit disclosed and undisclosed insiders or "friends" of
insiders. Bankruptcy should not be an avenue for opportunistic venturers to prey upon companies to the
detriment of third-party stakeholders and the bankruptcy estate. We therefore encourage your office to
investigate the problems inherent in the Highland bankruptcy. At a minimum, we ask that the EOUST
seek orders from the Bankruptcy Court compelling the Debtor to undertake the following actions:

               1. turn over all financial repo1ts that should have been disclosed during the pendency of the
                  bankruptcy, including 2015.3 reports;

               2. provide a detailed disclosure of the assets Reorganized Debtor;

               3. provide a copy of the executed Claimant Trust Agreement, which should already have
                  been disclosed;

               4. disclose all solvency analyses p repared by the Debtor; and

               5. provide copies of all agreements for the engagement of Debtor professionals post-
                  confirmation, including the terms of Mr. Seery's success fee and severance agreement,
                  compensation agreements for personnel of the Reorganized Debtor, and the fee
                  arrangement w ith Quinn Emanuel Urquhart & Sullivan, LLP.

                                                       Sincerely,




DR:




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                  EXHIBIT A




                                                                                         APP 804
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           Counsel for Plaintiffs the Dugaboy Investment Trust and the
           Hunter Mountain Investment Trust


                                   IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE NORTHERN DISTRICT OF TEXAS
                                               DALLAS DIVISION


                                                                     §
           In re:                                                    § Chapter 11
                                                                     §
           HIGHLAND CAPITAL MANAGEMENT, L.P.,                        § Case No. 19-34054-sgj11
                                                                     §
                                            Reorganized Debtor.      §
                                                                     §
                                                                     §
           DUGABOY INVESTMENT TRUST and                              §
           HUNTER MOUNTAIN INVESTMENT TRUST,                         §
                                                                     §
                                            Plaintiffs,              § Adversary Proceeding No.
                                                                     §
           vs.                                                       §
                                                                     §
           HIGHLAND CAPITAL MANAGEMENT, L.P. and                     §
           HIGHLAND CLAIMANT TRUST,                                  §
                                                                     §
                                            Defendants.              §
                                                                     §

                                COMPLAINT TO (I) COMPEL DISCLOSURES
                      ABOUT THE ASSETS OF THE HIGHLAND CLAIMANT TRUST AND
                       (II) DETERMINE (A) RELATIVE VALUE OF THOSE ASSETS, AND
                    (B) NATURE OF PLAINTIFFS’ INTERESTS IN THE CLAIMANT TRUST




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                    Plaintiffs The Dugaboy Investment Trust (“Dugaboy”) and Hunter Mountain Investment

           Trust (“Hunter Mountain” and collectively with Dugaboy, the “Plaintiffs”) file this adversary

           complaint (the “Complaint”) against defendants Highland Capital Management, L.P. (“HCMLP”

           or the “Debtor”) and the Highland Claimant Trust (the “Claimant Trust,” and collectively with

           HCMLP, the “Defendants”), seeking: (1) disclosures about and an accounting of the assets and

           liabilities currently held in the Claimant Trust; (2) a determination of the value of those assets; and

           (3) declaratory relief setting forth the nature of Plaintiffs’ interests in the Claimant Trust.

                                                PRELIMINARY STATEMENT

                    1.       As holders of Contingent Claimant Trust Interests1 that vest into Claimant Trust

           Interests once all creditors are paid in full, and as defendants in litigation pursued by Marc S.

           Kirschner (“Kirschner”) as Trustee of the Litigation Sub-Trust (which seeks to recover damages

           on behalf of the Claimant Trust), Plaintiffs file this Complaint to obtain information about the

           assets and liabilities of the Claimant Trust, which was established to monetize and liquidate the

           assets of the HCMLP bankruptcy estate.

                    2.       HCMLP’s October 21, 2022 and January 24, 2023 post-confirmation reports show

           that even with inflated claims and below market sales of assets, cash available is more than enough

           to pay class 8 and class 9 creditors in full. Accordingly, Plaintiffs and the entire estate would

           benefit from a close evaluation of current assets and liabilities. Such evaluation will also show

           whether assets were marked below appraised value during the pandemic and unreasonably held on

           the books at those values, along with overstated liabilities, to justify continued litigation. That

           litigation serves to enable James P. Seery (“Mr. Seery”) and other estate professionals to carefully

           extract nearly every last dollar out of the estate with (along with incentive fees), leaving little or


           1
             Capitalized terms not defined have the meanings set forth herein. If no meaning is set forth herein, the terms have
           the meaning set forth in the Fifth Amended Plan of Reorganization (as Modified) [Docket No. 1808].

                                                                    2
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           nothing for the owners that built the company. While grave harm has already been done, valuation

           now would at least enable the Court to put an end to this already long-running case and salvage

           some value for equity. As this Court observed in the In re ADPT DFW Holdings case, where there

           is significant uncertainty about insolvency, protections must be put in place so that the conduct of

           the case itself does not deplete the equity. In some cases, the protection is in the form of an equity

           committee; here a prompt valuation of the estate is needed.

                    3.       Upon information and belief, during the pendency of HCMLP’s bankruptcy

           proceedings, creditor claims and estate assets have been sold in a manner that fails to maximize

           the potential return to the estate, including Plaintiffs. Rather, Mr. Seery, first acting as Chief

           Executive Officer and Chief Restructuring Officer of the Debtor and then as the Claimant Trustee,

           facilitated the sale of creditor claims to entities with undisclosed business relationships with Mr.

           Seery, who he knew would approve his inflated compensation when the hidden but true value of

           the estate’s assets were realized. Because Mr. Seery and the Debtor have failed to operate the

           estate in the required transparent manner, they have been able to justify pursuit of unnecessary

           avoidance actions (for the benefit of the professionals involved), even though the assets of the

           estate, if managed in good faith, should be sufficient to pay all creditors.

                    4.       Further, by understating the value of the estate and preventing open and robust

           scrutiny of sales of the estate’s assets, Mr. Seery and the Debtor have been able to justify actions

           to further marginalize equity holders that otherwise would be in the money, such as including plan

           and trust provisions that disenfranchise equity holders by preventing them from having any input

           or information unless the Claimant Trustee certifies that all other interest holders have been paid

           in full. Because of the lack of transparency to date, unless the relief sought herein is granted, there

           will be no checks and balances to prevent a wrongful failure to certify, much less any process to



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           ensure that the estate has been managed in good faith so as to enable all interest holders, including

           the much-maligned equity holders, to receive their due.

                     5.       By demonizing the estate equity holders, withholding information, and

           manipulating the sales of claims and assets, Mr. Seery and the Claimant Trust have maximized the

           potential for a grave miscarriage of justice. The estate had over $550 million in assets on the

           petition date, with far less in non-disputed non-contingent liabilities.

                     6.       By June 30, 2022, the estate had $550 million in cash and approximately $120

           million of other assets despite paying what appears in reports to be over $60 million in professional

           fees and selling assets non-competitively, on information and belief, at least $75 million below

           market price.2

                     7.       On information and belief, the value of the assets in the estate as of 6/1/22 was:

                           Highland Capital Assets                                            Value in Millions

                                                                                          Low                   High
                  Cash as of Feb 1. 2022                                                     $125.00               $125.00
                  Recently Liquidated                                   $246.30
                     Highland Select Equity                              $55.00
                     Highland MultiStrat Credit Fund                     $51.44
                     MGM Shares                                          $26.00
                     Portion of HCLOF                                    $37.50
                  Total of Recent Liquidations                          $416.24                $416.24             $416.24
               Current Cash Balance                                                            $541.24             $541.24

                  Remaining Assets
                      Highland CLO Funding, LTD                                                 $37.50              $37.50
                      Korea Fund                                                                $18.00              $18.00
                      SE Multifamily                                                            $11.98              $12.10
                      Affiliate Notes3                                                          $50.00              $60.00
                      Other (Misc. and legal)                                                    $5.00              $20.00
               Total (Current Cash + Remaining Assets)                                         $663.72             $688.84




           2
             Examples of non-competitive sales are set forth in letters to the United States Trustee dated October 5, 2021,
           November 3, 2021 and May 11, 2022, annexed hereto as Exhibits 1, 2, and 3, as is further detail about claims buyers.
           3
             Some of the Affiliate Notes should have been forgiven as of the MGM sale, but litigation continues over that also.

                                                                    4
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                    8.       By June 2022, Mr. Seery had also engineered settlements making the inflated face

           amount of the major claims against the estate $365 million, but which traded for significantly less.

              Creditor              Class 8          Class 9       Beneficiary               Purchase Price
              Redeemer              $137.0           $0.0          Claim buyer 1             $65 million
              ACIS                  $23.0            $0.0          Claim buyer 2             $8.0
              HarbourVest           $45.0            $35.0         Claim buyer 2             $27.0
              UBS                   $65.0            $60.0         Claim buyers 1 & 2        $50.0
              TOTAL                 $270.0           $95.0                                   $150.0 million

                    9.       Mr. Seery made no efforts to buy the claims into the estate or resolve the estate

           efficiently. Mr. Seery never made a proposal to the residual holders or Mr. Dondero and never

           responded to the over the many settlement offers from Mr. Dondero with a reorganization (as

           opposed to liquidation) plan, even though many of Mr. Dondero's offers were in excess of the

           amounts paid by the claims buyers.

                    10.      Instead, Mr. Seery brokered transactions enabling colleagues with long-standing

           but undisclosed business relationships to buy the claims without the knowledge or approval of the

           Court. Because the claims sellers were on the creditors committee, Mr. Seery and those creditors

           had been notified that “Creditors wishing to serve as fiduciaries on any official committee are

           advised that they may not purchase, sell or otherwise trade in or transfer claims against the Debtor

           while they are committee members absent an order of the Court.”              These transactions are

           particularly suspect because the claims buyers paid amounts equivalent to the value the Plan

           estimated would be paid three years later. Sophisticated buyers would not pay what appeared to

           be full price unless they had material non-public information that the claims could and would be

           monetized for much more than the public estimates made at the time of Plan confirmation – as

           indeed they have been.

                    11.      On information and belief, Mr. Seery provided that information to claims buyers

           rather than buying the claims in to the estate for the roughly $150 million for which they were sold.



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           By May 2021, when the claims transfers were announced to the Court, the estate had over 100 million

           in cash and access to additional liquidity to retire the claims for the sale amounts, leaving an operating

           business in the hands of its equity owners.

                    12.      Specifically, Mr. Seery could and should have investigated seeking sufficient funds

           from equity to pay all claims and return the estate to the equity holders. This was an obvious path

           because the estate had assets sufficient to support a $59 million line of credit, as Mr. Seery

           eventually obtained. If funds had been raised to pay creditors in the amounts for which claims were

           sold, much of the massive administrative costs run up by the estate would never have been

           incurred. One such avoided cost would be the post-effective date litigation now pursued by Mr.

           Kirschner, as Litigation Trustee for the Litigation Sub-Trust, whose professionals likely charge

           over $2000 an hour for senior lawyers and over $800 an hour for first year associates (data obtained

           from other cases because, of course, there has been no disclosure in the HCMLP bankruptcy of the

           cost of the Kirschner litigation).    But buying the claims to resolve the bankruptcy and enabling

           equity to resume operations would not have had the critical benefit to Mr. Seery that his scheme

           contained: placing the decision on his incentive bonus, perhaps as much as $30 million, in the

           hands of grateful business colleagues who received outsized rewards for the claims they were

           steered into buying. The parameters of Mr. Seery’s incentive compensation is yet another item

           cloaked in secrecy, contrary to the general rule that the hallmark of the bankruptcy process is

           transparency.

                    13.      But worse still, even with all of the manipulation that appears to have occurred,

           Plaintiffs believe that the combination of cash and other assets held by the Claimant Trust in its

           own name and held in various funds, reserve accounts, and subsidiaries, if not depleted by




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           unnecessary litigation, would be sufficient to pay all Claimant Trust Beneficiaries in full, with

           interest now.

                    14.      In short, it appears that the professionals representing HCMLP, the Claimant Trust,

           and the Litigation Sub-Trust are litigating claims against Plaintiffs and others, even though the

           only beneficiaries of any recovery from such litigation would be Plaintiffs in this adversary

           proceeding (and of course the professionals pressing the claims). It is only the cost of the pursuit

           of those claims that threatens to depress the value of the Claimant Trust sufficiently to justify

           continued pursuit of the claims, creating a vicious cycle geared only to enrich the professionals,

           including Mr. Seery, and to strip equity holders of any meaningful recovery.

                    15.      Based upon the restrictions imposed on Plaintiffs, including the unprecedented

           inability for Plaintiffs, as holders of Contingent Claimant Trust Interests, to access virtually any

           financial information related to the Claimant Trust, Plaintiffs have little to no insight into the value

           of the Claimant Trust assets versus the Claimant Trust’s obligations and no method to

           independently ascertain those amounts until Plaintiffs become Claimant Trust Beneficiaries.

           Because Mr. Seery and the professionals benefiting from Mr. Seery’s actions have ensured that

           Plaintiffs are in the dark regarding the estate’s assets and liabilities, as well as the estate’s

           professional and incentive fees that are rapidly depleting the estate, there is a compelling need for

           the relief sought herein.

                    16.      In bringing this Complaint, Plaintiffs are seeking transparency about the assets

           currently held in the Claimant Trust and their value—information that would ultimately benefit all

           creditors and parties-in-interest by moving forward the administration of the Bankruptcy Case.




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                                               JURISDICTION AND VENUE

                    17.      This adversary proceeding arises under and relates to the above-captioned Chapter

           11 bankruptcy case (the “Bankruptcy Case”) pending before the United States Bankruptcy Court

           for the Northern District of Texas (the “Court”).

                    18.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.

                    19.      This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(A) and

           (O).

                    20.      In the event that it is determined that the Court, absent consent of the parties, cannot

           enter final order or judgments over this matter, Plaintiffs do not consent to the entry of a final order

           by the Court.

                                                        THE PARTIES

                    21.      Dugaboy is a trust formed under the laws of Delaware.

                    22.      Hunter Mountain is a trust formed under the laws of Delaware.

                    23.      HCMLP is a limited partnership formed under the laws of Delaware with a business

           address of 100 Crescent Court, Suite 1850, Dallas, Texas 75201.

                    24.      The Claimant Trust is a statutory trust formed under the laws of Delaware with a

           business address of 100 Crescent Court, Suite 1850, Dallas, Texas 75201.

                                                   CASE BACKGROUND

                    25.      On October 16, 2019 (the “Petition Date”), HCMLP, a 25-year Delaware limited

           partnership in good standing, filed for Chapter 11 restructuring in the United States Bankruptcy

           Court for the District of Delaware.

                    26.      At the time of its chapter 11 filing, HCMLP had approximately $550 million in

           assets and had only insignificant debt owing to Jeffries, with whom it had a brokerage account,

           and one other entity, Frontier State Bank. [Dkt. No. 1943, ¶ 8]. HCMLP’s reason for seeking

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            bankruptcy protection was to restructure judgment debt stemming from an adverse arbitration

            award of approximately $190 million issued in favor of the Redeemer Committee of the Crusader

            Funds, which, after offsets and adjustments, would have been resolved for about $110 million.

            Indeed, the Redeemer Committee sold its claim for about $65 million, well below the expected

            $110 million,4 and indeed, even below amounts for which Dondero offered to buy the claim.

                       27.    At the urging of the newly-appointed Unsecured Creditors Committee (the

            “Committee”), and over the objection of HCMLP and its management, the Delaware Bankruptcy

            Court transferred the bankruptcy case to this Court on December 4, 2019. It seems likely that the

            creditors sought this transfer to take advantage of antipathy the Court had exhibited to HCMLP

            and its management in the ACIS bankruptcy.5 Shortly after the transfer, and likewise influenced

            by the adverse characterizations of HCMLP management in the ACIS bankruptcy, the U.S.

            Trustee, notwithstanding the Debtor’s apparent solvency, sought appointment of a chapter 11

            trustee.

                       28.    To avoid the appointment of a chapter 11 trustee and the potential liquidation of a

            potentially solvent estate, the Committee and the Debtor agreed that Strand Advisors, Inc.,

            HCMLP’s general partner, would appoint a three-member independent board (the “Independent

            Board”) to manage HCMLP during its bankruptcy. The three board members were:



            4
              Reports that Redeemer Committee was paid $78 million note that in addition to the claim, the Committee sold other
            assets as well, which on information and belief, amounted to about $13 million.
            5
              For example, at a hearing in Delaware Bankruptcy Court on the Motion to Transfer Venue to this Court, Mr.
            Pomerantz, counsel for Debtor stated, “The debtor filed the case in this district because it wanted a judge to preside
            over this case that would look at what's going on with this debtor, with this debtor's management, this debtor's post-
            petition conduct, without the baggage of what happened in a previous case, which contrary to what Acis and the
            committee says, has very little do with this debtor.” [December 2, 2019 Hearing Transcript at 79, Case No. 19012239
            (CSS), Docket No. 181]. The taint of the ACIS case can be seen in that, without having read or even seen the
            supposedly offending complaint, during the ACIS case Judge Jernigan called Mr. Dondero not just vexatious, but
            “transparently vexatious,” for allegedly having sued Moody’s for failing to downgrade certain CLOs that ACIS had
            been manipulating in violation of its indentures and even though the Plaintiff in the supposedly offending case was
            not Mr. Dondero or any company he controlled [September 23, 2020 Hearing Transcript at 51-52, In re Acis Capital
            Management, L.P. and Acis Capital Management GP, LLC, Case No. 18-30264-SGJ-11, Docket No. 1186].

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                           a. James P. Seery, Jr. – (who was selected by arbitration awardee and Committee
                              member, the Redeemer Committee);
                           b. John Dubel – (who was selected by Committee member UBS); and
                           c. Former Judge Russell Nelms – (who was selected by the Debtor).

                     29.      The Bankruptcy Court almost immediately let the Debtor’s professionals know that

            its feelings about Mr. Dondero and other equity holders had not changed – a disclosure that led

            inexorably to the many acts that now threaten to wipe out entirely the value of the equity. For

            example, at one of the earliest hearings, the Court rejected recommendations by Judge Nelms,

            suggesting he was bamboozled because he was under management’s spell. Specifically, Judge

            Jernigan admitted that normally “Bankruptcy Courts should defer heavily to the reasonable

            exercise of business judgment by a board… But I’m concerned that Dondero or certain in-house

            counsel has -- you know, they’re smart, they're persuasive… they have exercised their powers of

            persuasion or whatever to make the Board and the professionals think that there is some valid

            prospect of benefit to Highland with these [actions], when it’s really all about . . . Mr. Dondero.”

            [February 19, 2020 Hearing Transcript at 177.]

                     30.      At around the same time that the Court telegraphed animus towards Mr. Dondero,

            it also squelched oversight by responsible professionals who could and would have ensured

            transparency. When the Committee and the Debtor reported to the Court that they had agreed to

            use Judge Jones and Judge Isgur in Houston as mediators to potentially resolve the bankruptcy

            case, Judge Jernigan stated that she was “surprised that Judge Jones’ or Judge Isgur’s staff

            expressed that they had availability.” Debtor’s counsel then asked if he could independently

            follow up with staff for Judges Jones and Isgur regarding their availabilities, and Judge Jernigan

            said, “I’ll take it from here.” Six days later, Judge Jernigan simply said, “my continued thought

            on that [mediation by Judges Jones and Isgur] is that they just don’t have meaningful time.” [July

            14, 2020 Hearing Transcript at 121] In retrospect, this avoided scrutiny of the case by professionals


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            who would recognize and potentially curtail the Court’s unprecedented, immediately biased

            conduct of the case. This sent a powerful message to Mr. Seery and the other professionals who

            developed strategies to enrich themselves to the detriment of any possibility of a quick

            reorganization with equity regaining control.

                     31.      Meanwhile, not realizing the turn the bankruptcy was about to take, Mr. Dondero had

            agreed to step down as CEO of the Debtor and to the appointment of an Independent Board only

            because he was assured that new, independent management would expedite an exit from bankruptcy,

            preserve the Debtor’s business as a going concern, and retain and compensate key employees whose

            work was critical to ensuring a successful reorganization.

                     32.      None of that happened. Almost immediately, Mr. Seery emerged as the de facto

            leader of the Independent Board. On July 14, 2020, the Court retroactively appointed Mr. Seery

            Chief Executive Officer and Chief Restructuring Officer, vesting him with the fiduciary

            responsibilities of a registered advisor to investors and fiduciary responsibilities to the estate. [Dkt.

            No. 854]. And although Mr. Seery publicly represented that he intended to restructure and preserve

            HCMLP’s business, privately he was engineering a much different plan.

                     33.      Indeed, Mr. Seery’s public-facing statements stand in stark contrast to what actually

            happened under his direction and control. For example, initially Mr. Seery reported consistently

            positive reviews of the Debtor’s employees, describing the Debtor’s staff as a “lean” and “really

            good team.” He also testified: “My experience with our employees has been excellent. The

            response when we want to get something done, when I want to get something done, has been first-

            rate. The skill level is extremely high.”

                     34.      Yet despite these glowing reviews, Mr. Seery failed to put a key employee retention

            program into place, and although key employees supported Mr. Seery and the Debtor through the



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            plan process, ultimately Mr. Seery fired most of those employees. It was clear that Mr. Seery was

            firing anyone with perceived loyalty to Mr. Dondero, no doubt leaving remaining staff fearful of

            challenging Mr. Seery, lest they too be fired.

                     35.      From the start, and before there was much litigation to speak of, the Court regularly

            referred to Mr. Dondero and related parties as “vexatious litigants,” emboldening the Debtor to do

            the same, even while admitting it had not presented evidence that Mr. Dondero was a vexatious

            litigant. This was plainly a carryover from the ACIS case where the Court labelled Mr. Dondero

            a “transparently” vexatious litigant based pleadings she had only heard about from parties

            opposing Dondero and admittedly had not read herself. Ironically, the first time Mr. Dondero was

            labeled “vexatious” by the Court in the HCM case, he was defending himself from three lawsuits

            initiated by the Debtor and had commented in proposed settlements in the case, but had not himself

            initiated any actions in the case. Thereafter, though, the Debtor and its professionals repeated the

            mantra that Dondero and his companies were vexatious litigants to successfully oppose sharing

            information about the estate with them.

                     36.      In addition to the Debtor’s mistreatment of employees, under the control of the

            Independent Board, most of the ordinary checks and balances that the hallmark of bankruptcy were

            ignored. Despite providing regular and robust financial information to the Committee, the Debtor

            inexplicably failed and refused to file quarterly 2015.3 reports, leaving stakeholders, including

            Plaintiffs, in the dark about the value of the estate and the mix of assets it held.   Amplifying the

            lack of transparency, Mr. Seery further engineered transactions to hide the real value of the estate.

                     37.      For example, he authorized the Debtor to settle the claims of HabourVest (which

            claims had initially been valued at $0) for $80 million, in order to acquire HarborVest’s interest in

            Highland CLO Funding, Ltd. (“HCLOF”), gain HarborVest’s vote in favor of its Plan, and hide



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            the value of Debtor’s interest in HCLOF by placing it into a non-reporting subsidiary. This created

            another pocket of non-public information because the pleadings supporting the 9019 settlement

            valued the HCLOF interest at $22 million, when, on information and belief, it was worth $40

            million at the time and over $60 million 90 days later when the MGM sale was announced.

                     38.      At the same time, Mr. Seery and the Independent Board deliberately shut out equity

            holders from any discussion surrounding the plan of reorganization or HCMLP’s efforts to emerge

            from bankruptcy as a going concern. Indeed, as noted above, Mr. Seery failed to meaningfully

            respond to the many proposals made by residual equity holders to resolve the estate and never

            encouraged any dialogue between creditors and equity holders. These failures only contributed to

            the difficulty of getting stakeholders’ buy-in for a reorganization plan and significantly

            undermined an efficient exit from bankruptcy.

                     39.      Worse still, while knowing that HCMLP had sufficient resources to emerge from

            bankruptcy as a going concern (and, on information and belief, while knowing that the estate was

            solvent), Mr. Seery and the Independent Board failed to propose any plan of reorganization that

            contemplated HCMLP’s continued post-confirmation existence. Instead, and inexplicably, the

            very first plan proposed contemplated liquidation of the company, as did all subsequent plans.

                     40.      While secretly engineering the total destruction of HCMLP, Mr. Seery also

            privately settled multiple proofs of claim against the estate at inflated levels that were unreasonable

            multiples of the Debtor’s original estimates. He did this notwithstanding the Debtor’s early and

            vehement objection to many of the claims as baseless. But instead of litigating those objections in

            a manner that would have exposed the true value of the claims, on information and belief, Mr.

            Seery settled the claims as a means of brokering sales of the claims at 50-60% of their face values.

            That is, the inflated values softened up claims sellers to be willing to sell. Had the Debtor instead



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            fought the inflated proofs of claim in open court, it could have settled the claims for closer to true

            value and ensured that the estate had sufficient resources to pay them.

                     41.      It is also no coincidence that virtually all original proofs of claim were sold to

            buyers that had prior business relationships with Mr. Seery and/or affiliates of Grosvenor

            (company with which Mr. Seery has a long personal history)—buyers that ultimately would be

            positioned to approve a favorable compensation and bonus structure for Mr. Seery.

                     42.      That the claims sales happened at all is curious in light of the scant publicly-

            available information about the value of the estate. It would have been impossible, for example,

            for any of the claims buyers to conduct even modest due diligence to ascertain whether the

            purchases made economic sense. In fact, the publicly-available information purported to show a

            net decrease in the estate’s asset value by approximately $200 million in a matter of months during

            the global pandemic. Given the sophistication of the claims-buyers, their purchases of claims at

            prices that exceeded published expected recoveries (according to the schedules then available to

            the public) would only make sense if they obtained inside information regarding the transactions

            undertaken by Debtor management that would justify the transfer pricing.

                     43.      And indeed, the claims could and would be monetized for much more than the

            publicly-available information suggested (as only one with inside information would know). In

            October 2022, $250 million was paid to Class 8 holders. That is about 85% of the inflated proofs

            of claim and $90 million more than plan projections. On information and belief, claims buyers

            have thus had an over 170% annualized return thus far, with more to come. On information and

            belief, Mr. Seery will use this “success” to justify an incentive bonus estimated in the range of $30

            million.




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                     44.      At the same time, the Claimant Trust has made no distributions to Contingent

            Claimant Trust Interest holders and has argued in various proceedings that no such distributions

            are likely. No wonder. The cost of holding open the estate, including unnecessary litigation costs,

            appears to have exceeded $140 million post-confirmation, and seems geared to ensure that no such

            distributions can occur, even though it can now be projected that the litigation is not needed to pay

            creditors. See Docket No. 3410-1.

                     45.      It is worth noting that it appears that virtually all of the claims trades brokered on

            behalf of Committee members seem to have occurred while those entities remained on the

            Committee. Yet at the outset of their service, Committee members were instructed by the United

            States Trustee that “Creditors wishing to serve as fiduciaries on any official committee are advised

            that they may not purchase, sell or otherwise trade in or transfer claims against the Debtor while

            they are committee members absent an order of the Court.” Thus, the claims trades violated

            Committee members’ fiduciary duty to the estate while lining the pockets of Mr. Seery and other

            Debtor professionals, to the detriment of creditors and residual equity holders.

                     46.      The sales of claims were not the only transactions shrouded in secrecy. As further

            detailed in other litigation, assets were sold with insufficient disclosures, no competitive bidding,

            no data room, and without inviting equity (which may have at one time had the knowledge to make

            the highest bid) to participate in the sales process. Indeed, on occasion assets were sold for

            amounts less that Mr. Dondero’s written offers. This exacerbated the harms caused by the lack of

            transparency characterized by the Court’s indifference to the Debtor’s complete failure to abide its

            Rule 2015 disclosure obligations.

                     47.      In short, the lack of transparency combined with at least the appearance of bias, if

            not actual bias of the Bankruptcy Court, emboldened and enabled an opportunistic CRO to



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            manipulate the bankruptcy to enrich himself, his long-time business associates, and the

            professionals continuing to litigate to collect fees to pay claims that could have been resolved with

            money left over for equity but for that manipulation.

                                                 STATEMENT OF FACTS

            A.       Plaintiffs Hold Contingent Claimant Trust Interests

                     48.      As of the Petition Date, HCMLP had three classes of limited partnership interests

            (Class A, Class B, and Class C). See Disclosure Statement [Docket No. 1473], ¶ F(4).

                     49.      The Class A interests were held by Dugaboy, Mark Okada (“Okada”), personally and

            through family trusts, and Strand Advisors, Inc. (“Strand”), HCMLP’s general partner. The Class B

            and C interests were held by Hunter Mountain. Id.

                     50.      In the aggregate, HCMLP’s limited partnership interests were held: (a) 99.5% by

            Hunter Mountain; (b) 0.1866% by Dugaboy, (c) 0.0627% by Okada, and (d) 0.25% by Strand.

                     51.      On February 22, 2021, the Court entered the Order (i) Confirming the Fifth Amended

            Plan of Reorganization (as Modified) and (ii) Granting Related Relief [Docket No. 1943] (the

            “Confirmation Order”) [Docket No. 1808] (the “Plan”).

                     52.      In the Plan, General Unsecured Claims are Class 8 and Subordinated Claims are Class

            9. See Plan, Article III, ¶ H(8) and (9).

                     53.      In the Plan, HCMLP classified Hunter Mountain’s Class B Limited Partnership

            Interest and Class C Limited Partnership Interest (together, Class B/C Limited Partnership Interests)

            as Class 10, separately from that of the holders of Class A Limited Partnership Interests, which are

            Class 11 and include Dugaboy’s Limited Partnership Interest. See Plan, Article III, ¶ H(10) and (11).




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                     54.      According to the Plan, Contingent Claimant Trust Interests distributed to the Holders

            of Class A Limited Partnership Interests are subordinate to the Contingent Claimant Trust Interests

            distributed to the Holders of Class B/C Limited Partnership Interests. See Plan, Article I, ¶44.

                     55.      In the Confirmation Order, the Court found that the Plan properly separately classified

            those equity interests because they represent different types of equity security interests in HCMLP

            and different payment priorities pursuant to that certain Fourth Amended and Restated Agreement of

            Limited Partnership of Highland Capital Management, L.P., dated December 24, 2015, as amended

            (the “Limited Partnership Agreement”). Confirmation Order, ¶36; Limited Partnership Agreement,

            §3.9 (Liquidation Preference).

                     56.      The Court overruled objections to the Plan lodged by entities it deemed related to Mr.

            Dondero, including Dugaboy. In doing so, the Court acknowledged that Dugaboy has a residual

            ownership interest in HCMLP and therefore “technically” had standing to object to the Plan. See

            Confirmation Order, ¶¶ 17-18.

                     57.      Based on the Debtor’s financial projections at the time of confirmation, however, the

            Court found that the plan objectors’ “economic interests in the Debtor appear to be extremely remote.”

            Id., ¶ 19; see also id., ¶ 17 (“the remoteness of their economic interests is noteworthy”).

                     58.      The Plan went Effective (as defined in the Plan) on August 11, 2021, and HCMLP

            became the Reorganized Debtor (as defined in the Plan) on the Effective Date. See Notice of

            Occurrence of the Effective Date of Confirmed Fifth Amended Plan of Reorganization of Highland

            Capital Management, L.P. [Docket No. 2700].

                     59.      The Plan created the Claimant Trust, which was established for the benefit of

            Claimant Trust Beneficiaries, which is defined to mean:

                     the Holders of Allowed General Unsecured Claims, Holders of Allowed Subordinated
                     Claims, including, upon Allowance, Disputed General Unsecured Claims and Disputed


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                     Subordinated Claims that become Allowed following the Effective Date, and, only upon
                     certification by the Claimant Trustee that the Holders of such Claims have been paid
                     indefeasibly in full plus, to the extent all Allowed unsecured Claims, excluding
                     Subordinated Claims, have been paid in full post-petition interest from the Petition Date at
                     the Federal Judgment Rate in accordance with the terms and conditions set forth in the
                     Claimant Trust Agreement and all Disputed Claims in Class 8 and Class 9 have been
                     resolved, Holders of Allowed Class B/C Limited Partnership Interests, and Holders of
                     Allowed Class A Limited Partnership Interests

            See Plan, Article I, ¶27; see also Claimant Trust Agreement, Article I, 1.1(h).

                     60.      Plaintiffs hold Contingent Claimant Trust Interests, which will vest into Claimant

            Trust Interests upon indefeasible payment of Allowed Claims.

                     61.      Depending on the realization of asset value less debts, Plaintiffs may become

            Claimant Trust Beneficiaries.

                     62.      In its Post Confirmation Quarterly Report for the Third Quarter of 2022 [Docket

            No. 3582], Debtor stated that it distributed $255,201,228 to holders of general unsecured claims,

            which is 64% of the total allowed general unsecured claims of $387,485,568. This amount is far

            greater than was anticipated at the time of confirmation of the Plan.

            B.       Debtor Has Failed To Disclose Claimant Trust Assets

                     63.      Upon information and belief, the value of the estate as held in the Claimant Trust

            has changed markedly since Plan confirmation. Not only have many of the assets held by the

            estate fluctuated in value based on market conditions, with some increasingly in value

            dramatically, but Plaintiffs are aware that many of the major assets of the estate have been

            liquidated or sold since Plan confirmation, locking in increased value to the estate.

                     64.      The estate is solvent and has always been solvent. Nonetheless, Mr. Seery has

            remained committed to maximizing professional fees and incentive fees by increasing the total

            claims amount to justify litigation to satisfy those inflated claims.




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                     65.      As noted above, by June of 2022, starting with $125 million in cash, the estate

            liquidated other assets of over $416 million, building a cash war chest of over $541 million. Thus,

            with the remaining less-liquid assets, the total value of the estate’s assets as of June 2022 was over

            $688 million.

                     66.      Contrasting those assets with the claims against the estate demonstrates that further

            collection of assets was (and is) unnecessary.

                     67.      As set forth above, while the inflated face amount of the claims was $365 million,

            those claims were sold for about $150 million. The estate therefore easily had the resources to retire

            the claims for the sale amounts, leaving an operating business in the hands of its equity owners.


                     68.      Instead, Mr. Seery liquidated estate assets at less-than-optimal prices, without

            competitive process, without including residual equity holders, and in all cases required strict non-

            disclosure agreements from the buyers to prevent any information flowing to the public, the

            residual equity, or the Court. This uncharacteristic secrecy enabled Mr. Seery and the professionals

            to maintain the delicate balance of keeping just enough assets to pay professionals and incentive

            fees but still maintain the pretense that further litigation was needed.

                     69.      Each effort by Plaintiffs, Mr. Dondero and related companies to obtain information

            to attempt to stop the continued looting has been vigorously opposed, and ultimately rejected by

            an apparently biased Court. Plaintiffs were unable to force the Debtor to provide the most basic

            of reports, including Rule 2015 statements, and Plaintiffs’ efforts to obtain even the most basic

            details regarding asset sales and professional fees have all been denied. Rather, such details are in

            the hands of a select few, such as the Oversight Board of the Claimant Trust.

                     70.      The Plan requires the Claimant Trustee to determine the fair market value of the

            Claimant Trust Assets as of the Effective Date and to notify the applicable Claimant Trust

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            Beneficiaries of such a valuation, as well as distribute tax information to Claimant Trust

            Beneficiaries as appropriate. See Plan, ¶Art. IV(B)(9).

                     71.      But no like information regarding valuation of the Claimant Trust Assets is

            available to Plaintiffs as holders of Contingent Claimant Trust Interests, even though Plaintiffs, as

            contingent beneficiaries of a Delaware statutory trust, are entitled to financial information relating

            to the trust.

            C.       Plaintiffs Are Kirschner Adversary Proceeding Defendants

                     72.      On October 15, 2021, Marc S. Kirschner, as Litigation Trustee of the Litigation

            Sub-Trust, commenced the Kirschner Adversary Proceeding against twenty-three defendants,

            including Plaintiffs, alleging various causes of action. See Marc S. Kirschner, as Litigation

            Trustee of the Litigation Sub-Trust vs. James Dondero, et al., Adv. Pro. No. 21-03076-sgj, Adv.

            Proc. No. 21-03076, Docket No. 1 (as amended by Docket No. 158).

                     73.      The Litigation Sub-Trust was established within the Claimant Trust as a wholly

            owned subsidiary of the Claimant Trust for the purpose of investigating, prosecuting, settling, or

            otherwise resolving the Estate Claims, with any proceeds therefrom to be distributed by the

            Litigation Sub-Trust to the Claimant Trust for distribution to the Claimant Trust Beneficiaries. See

            Plan, Article IV, ¶ (B)(4).

                     74.      Any recovery from the Kirschner Adversary Proceeding will be distributed to

            Claimant Trust Beneficiaries.

                     75.      Depending on the realization of asset value less debts, Plaintiffs may become

            Claimant Trust Beneficiaries.

                     76.      The Litigation Sub-Trust is pursuing claims against Plaintiffs in the Kirschner

            Adversary Proceeding, which, if they become Claimant Trust Beneficiaries, would be the



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            recipients of distributions of such recovery (less the cost of litigation). Therefore, Plaintiffs need

            the requested information in order to properly analyze and evaluate the claims asserted against

            them in the Kirschner Adversary Proceeding and to determine whether those claims have any

            validity.

                                              FIRST CLAIM FOR RELIEF
                           (Disclosures of Claimant Trust Assets and Request for Accounting)

                     77.      Plaintiffs repeat and re-allege the allegations in each of the foregoing paragraphs as

            though fully set forth herein.

                     78.      Due to the lack of transparency into the assets of the Claimant Trust, Plaintiffs are

            unable to determine whether their Contingent Claimant Trust Interests may vest into Claimant Trust

            Interests.

                     79.      Certain information about the Claimant Trust Assets has already been provided to

            others, including Claimant Trust Beneficiaries and the Oversight Board for the Claimant Trust.

                     80.      Information about the Claimant Trust Assets would help Plaintiffs evaluate whether

            settlement of the Kirschner Adversary Proceeding is feasible, which would further the administration

            of the bankruptcy estate, benefitting all parties in interest.

                     81.      This Court specifically retained jurisdiction to ensure that distributions to Holders

            of Allowed Equity Interests are accomplished pursuant to the provisions of the Plan. See Plan,

            Article XI.

                     82.      The Plan provides that distributions to Allowed Equity Interests will be

            accomplished through the Claimant Trust and Contingent Claimant Trust Interests. See Plan

            Article III, (H)(10) and (11).

                     83.      The Defendants should be compelled to provide information regarding the Claimant

            Trust assets, including the amount of cash and the remaining non-cash assets, and its liabilities.


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                                           SECOND CLAIM FOR RELIEF
                           (Declaratory Judgment Regarding Value of Claimant Trust Assets)

                     84.      Plaintiffs repeat and re-allege the allegations in each of the foregoing paragraphs as

            though fully set forth herein.

                     85.      Once Defendants are compelled to provide information about the Claimant Trust

            assets, Plaintiffs seek a determination from the Court of the relative value of the Claimant Trust

            assets compared to the bankruptcy estate obligations.

                     86.      If the value of the Claimant Trust assets exceeds the obligations of the estate, then

            several currently pending adversary proceedings aimed at recovering value for HCMLP’s estate

            are not necessary to pay creditors in full. As such, the pending adversary proceedings could be

            brought to a swift close, allowing creditors to be paid and the Bankruptcy Case to be brought to a

            close.

                     87.      In addition, professionals associated with the estate—including but not limited to

            Mr. Seery, Pachulski, Development Specialists, Inc., Kurtzman Carson Consultants, Quinn

            Emanuel, Mr. Kirschner, and Hayward & Associates—are continuing to incur millions of dollars

            a month in professional fees, thereby further eroding an estate that is either solvent or could be

            bridged by a settlement that would pay the spread between current assets and current allowed

            creditor claims. Fees for Pachulski range from $460 an hour for associates to $1,265 per hour for

            partners, and fees for Quinn Emanuel lawyers range from $830 an hour for first year associate to

            over $2100 per hour for senior partners. At these rates, depletion of the estate will occur rapidly.

                                        THIRD CLAIM FOR RELIEF
                (Declaratory Judgment and Determination Regarding Nature of Plaintiff’s Interests)

                     88.      Plaintiffs repeat and re-allege the allegations in each of the foregoing paragraphs as

            though fully set forth herein.



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                     89.      In the event that the Court determines that the Claimant Trust assets exceed the

            obligations of the bankruptcy estate in an amount sufficient so that all Allowable Claims may be

            indefeasibly paid, Plaintiffs seek a declaration and a determination that the conditions are such that

            their Contingent Claimant Trust Interests are likely to vest into Claimant Trust Interests, making

            them Claimant Trust Beneficiaries.6

                     90.      Such a declaration and a determination by the Court would further assist parties in

            interest, such as Plaintiffs, to ascertain whether the estate is capable of paying all creditors in full

            and also paying some amount to residual interest holders, as contemplated by the Plan and the

            Claimant Trust Agreement.

                     WHEREFORE, Plaintiffs pray for judgment as follows:

                     (i)      On the First Claim for Relief, Plaintiffs seek an order compelling Defendants to

                              disclose the assets currently held in the Claimant Trust; and

                     (ii)     On the Second Claim for Relief, Plaintiffs seek a determination of the relative value

                              of those assets in comparison to the claims of the Claimant Trust Beneficiaries; and

                     (iii)    On the Third Claim for Relief, Plaintiffs seek a determination that the conditions

                              are such that all current Claimant Trust Beneficiaries could be paid in full, with

                              such payment causing Plaintiffs’ Contingent Claimant Trust Interests to vest into

                              Claimant Trust Interests; and




            6
             To be clear, Plaintiffs do not ask the Court to determine that they are Claimant Trust Beneficiaries or otherwise to
            convert their contingent interests into non-contingent interests. All of that must be done according to the terms of the
            Plan and the Claimant Trust Agreement.

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                     (iv)     Such other and further relief as this Court deems just and proper.

            Dated: February __, 2023

                                                            Respectfully submitted,


                                                            STINSON LLP

                                                            Draft
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                                                            Counsel for the Dugaboy Investment Trust
                                                            and the Hunter Mountain Investment Trust




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      Douglas S. Draper
      Direct Dial: (504) 299-3333
      E-mail: ddraper@hellerdraper.com                                                                                EDWARD M. HELLER
                                                                                                                           (1926-2013)




                                                                    October 5, 2021


                 Mrs. Nan R. Eitel
                 Office of the General Counsel
                 Executive Office for U.S. Trustees
                 20 Massachusetts Avenue, NW
                 8th Floor
                 Washington, DC 20530
                             Re:         Highland Capital Management, L.P. – USBC Case No. 19-34054sgj11
                 Dear Nan,
                          The purpose of this letter is to request that your office investigate the circumstances
                 surrounding the sale of claims by members of the Official Committee of Unsecured Creditors
                 (“Creditors’ Committee”) in the bankruptcy of Highland Capital Management, L.P. (“Highland”
                 or “Debtor”). As described in detail below, there is sufficient evidence to warrant an immediate
                 investigation into whether non-public inside information was furnished to claims purchasers.
                 Further, there is reason to suspect that selling Creditors’ Committee members may have violated
                 their fiduciary duties to the estate by tying themselves to claims sales at a time when they should
                 have been considering meaningful offers to resolve the bankruptcy. Indeed, three of four
                 Committee members sold their claims without advance disclosure, in violation of applicable
                 guidelines from the U.S. Trustee’s Office. This letter contains a description of information and
                 evidence we have been able to gather, and which we hope your office will take seriously.
                          By way of background, Highland, an SEC-registered investment adviser, filed for
                 Chapter 11 bankruptcy protection in the United States Bankruptcy Court for the District of
                 Delaware on October 16, 2019, listing over $550 million in assets and net $110 million in
                 liabilities. The case eventually was transferred to the Northern District of Texas, to Judge Stacey
                 G.C. Jernigan. Highland’s decision to seek bankruptcy protection primarily was driven by an
                 expected net $110 million arbitration award in favor of the “Redeemer Committee.”1 After
                 nearly 30 years of successful operations, Highland and its co-founder, James Dondero, were
                 advised by Debtor’s counsel that a court-approved restructuring of the award in Delaware was in
                 Highland’s best interest.

                 1
                   The “Redeemer Committee” was a group of investors in a Debtor-managed fund called the “Crusader Fund” that
                 sought to redeem their interests during the global financial crisis. To avoid a run on the fund at low-watermark
                 prices, the fund manager temporarily suspended redemptions, which resulted in a dispute between the investors and
                 the fund manager. The ultimate resolution involved the formation of the “Redeemer Committee” and an orderly
                 liquidation of the fund, which resulted in the investors receiving their investment plus a return versus the 20 cents on
                 the dollar they would have received had the fund been liquidated when the redemption requests were made.




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                   I became involved in Highland’s bankruptcy through my representation of The Dugaboy
            Investment Trust (“Dugaboy”), an irrevocable trust of which Mr. Dondero is the primary
            beneficiary. Although there were many issues raised by Dugaboy and others in the case where
            we disagreed with the Court’s rulings, we will address those issues through the appeals process.
                   From the outset of the case, the Creditors’ Committee and the U.S. Trustee’s Office in
            Dallas pushed to replace the existing management of the Debtor. To avoid a protracted dispute
            and to facilitate the restructuring, on January 9, 2020, Mr. Dondero reached an agreement with
            the Creditors’ Committee to resign as the sole director of the Debtor’s general partner, on the
            condition that he would be replaced by three independent directors who would act as fiduciaries
            of the estate and work to restructure Highland’s business so it could continue operating and
            emerge from bankruptcy as a going concern. The agreement approved by the Bankruptcy Court
            allowed Mr. Dondero, UBS (which held one of the largest claims against the estate), and the
            Redeemer Committee each to choose one director and also established protocols for operations
            going forward. Mr. Dondero chose The Honorable Former Judge Russell F. Nelms, UBS chose
            John Dubel, and the Redeemer Committee chose James Seery.2 It was expected that the new,
            independent management would not only preserve Highland’s business but would also preserve
            jobs and enable continued collaboration with charitable causes supported by Highland and Mr.
            Dondero.
                    Judge Jernigan confirmed Highland’s Fifth Amended Plan of Reorganization on February
            22, 2021 (the “Plan”). We have appealed certain aspects of the Plan and will rely upon the Fifth
            Circuit Court of Appeals to determine whether our arguments have merit. I write instead to call
            to your attention the possible disclosure of non-public information by Committee members and
            other insiders and to seek review of actions by Committee members that may have breached their
            fiduciary duties—both serious abuses of process.
                       1.      The Bankruptcy Proceedings Lacked The Required Transparency, Due In
                               Part To the Debtor’s Failure To File Rule 2015.3 Reports
                    Congress, when it drafted the Bankruptcy Code and created the Office of the United
            States Trustee, intended to ensure that an impartial party oversaw the enforcement of all rules
            and guidelines in bankruptcy. Since that time, the Executive Office for United States Trustees
            (the “EOUST”) has issued guidance and published rules designed to effectuate that purpose. To
            that end, EOUST recently published a final rule entitled “Procedures for Completing Uniform
            Periodic Reports in Non-Small Business Cases Filed Under Chapter 11 of Title 11” (the
            “Periodic Reporting Requirements”). The Periodic Reporting Requirements reaffirmed the
            EOUST’s commitment to maintaining “uniformity and transparency regarding a debtor’s
            financial condition and business activities” and “to inform creditors and other interested parties
            of the debtor’s financial affairs.” 85 Fed. Reg. 82906. The goal of the Periodic Reporting
            Requirements is to “assist the court and parties in interest in ascertaining, [among other things],
            the following: (1) Whether there is a substantial or continuing loss to or diminution of the
            bankruptcy estate; . . . (3) whether there exists gross mismanagement of the bankruptcy estate; . .
            . [and] (6) whether the debtor is engaging in the unauthorized disposition of assets through sales
            or otherwise . . . .” Id.
                    Transparency has long been an important feature of federal bankruptcy proceedings. The
            EOUST instructs that “Debtors-in-possession and trustees must account for the receipt,
            administration, and disposition of all property; provide information concerning the estate and the
            estate’s administration as parties in interest request; and file periodic reports and summaries of a
            debtor’s business, including a statement of receipts and disbursements, and such other
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                See Appendix, pp. A-3 - A-14.



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            information as the United States Trustee or the United States Bankruptcy Court requires.” See
            http://justice.gov/ust/chapter-11-information (citing 11 U.S.C. § 1106(a)(1), 1107(a)). And
            Federal Rule of Bankruptcy Procedure 2015.3(a) states that “the trustee or debtor in possession
            shall file periodic financial reports of the value, operations, and profitability of each entity that is
            not a publicly traded corporation or a debtor in a case under title 11, and in which the estate
            holds a substantial or controlling interest.” This rule requires the trustee or a debtor in
            possession to file a report for each non-debtor affiliate prior to the first meeting of creditors and
            every six months thereafter until the effective date of a plan of reorganization. Fed R. Bankr. P.
            2015.3(b). Importantly, the rule does not absolve a debtor from filing reports due prior to the
            effective date merely because a plan has become effective.3 Notably, the U.S. Trustee has the
            duty to ensure that debtors in possession properly and timely file all required reports. 28 U.S.C.
            § 1112(b)(4)(F), (H).
                    The entire purpose of these guidelines and rules is to ensure that external stakeholders
            can fairly evaluate the progress of bankruptcy proceedings, including compliance with legal
            requirements. In fact, 11 U.S.C. § 1102(b)(3) requires a creditors’ committee to share
            information it receives with those who “hold claims of the kind represented by the committee”
            but who are not appointed to the committee. In the case of the Highland bankruptcy, the
            transparency that the EOUST mandates and that creditors’ committees are supposed to facilitate
            has been conspicuously absent. I have been involved in a number of bankruptcy cases
            representing publicly-traded debtors with affiliated non-debtor entities, much akin to Highland’s
            structure here. In those cases, when asked by third parties (shareholders or potential claims
            purchasers) for information, I directed them to the schedules, monthly reports, and Rule 2015.3
            reports. In this case, however, no Rule 2015.3 reports were filed, and financial information that
            might otherwise be gleaned from the Bankruptcy Court record is unavailable because a large
            number of documents were filed under seal or heavily redacted. As a result, the only means to
            make an informed decision as to whether to purchase creditor claims and what to pay for those
            claims had to be obtained from non-public sources.
                    It bears repeating that the Debtor and its related and affiliated entities failed to file any of
            the reports required under Bankruptcy Rule 2015.3. There should have been at least four such
            reports filed on behalf of the Debtor and its affiliates during the bankruptcy proceedings. The
            U.S. Trustee’s Office in Dallas did nothing to compel compliance with the rule.
                    The Debtor’s failure to file the required Rule 2015.3 reports was brought to the attention
            of the Debtor, the Bankruptcy Court, and the U.S. Trustee’s Office. During the hearing on Plan
            confirmation, the Debtor was questioned about the failure to file the reports. The sole excuse
            offered by the Debtor’s Chief Restructuring Officer and Chief Executive Officer, Mr. Seery, was
            that the task “fell through the cracks.”4 This excuse makes no sense in light of the years of
            bankruptcy experience of the Debtor’s counsel and financial advisors. Nor did the Debtor or its
            counsel ever attempt to show “cause” to gain exemption from the reporting requirement. That is
            because there was no good reason for the Debtor’s failure to file the required reports. In fact,
            although the Debtor and the Creditors’ Committee often refer to the Debtor’s structure as a
            “byzantine empire,” the assets of the estate fall into a handful of discrete investments, most of
            which have audited financials and/or are required to make monthly or quarterly net-asset-value
            or fair-value determinations.5 Rather than disclose financial information that was readily
            3
              After notice and a hearing, the bankruptcy court may grant relief from the Rule 2015.3 disclosure requirement “for
            cause,” including that “the trustee or debtor in possession is not able, after a good faith effort, to comply with th[e]
            reporting requirements, or that the information required by subdivision (a) is publicly available.” Fed. R. Bankr.
            2015.3(d).
            4
              See Doc. 1905 (Feb. 3, 2021 Hr’g Tr. at 49:5-21).
            5
              During a deposition, the Debtor’s Chief Restructuring Officer, Mr. Seery, identified most of the Debtor’s assets
            “[o]ff the top of [his] head” and acknowledged that he had a subsidiary ledger that detailed the assets held by entities



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            available, the Debtor appears to have taken deliberate and strategic steps to avoid transparency,
            and the U.S. Trustee’s Office did nothing to rectify the problem.
                     By contrast, the Debtor provided the Creditors’ Committee with robust weekly
            information regarding (i) transactions involving assets held directly on the Debtor’s balance
            sheet or the balance sheet of the Debtor’s wholly owned subsidiaries, (ii) transactions involving
            entities managed by the Debtor and in which the Debtor holds a direct or indirect interest, (iii)
            transactions involving entities managed by the Debtor but in which the Debtor does not hold a
            direct or indirect interest, (iv) transactions involving entities not managed by the Debtor but in
            which the Debtor holds a direct or indirect interest, (v) transactions involving entities not
            managed by the Debtor and in which the Debtor does not hold a direct or indirect interest, (vi)
            transactions involving non-discretionary accounts, and (vii) weekly budget-to-actuals reports
            referencing non-Debtor affiliates’ 13-week cash flow budget. In other words, the Committee had
            real-time, actual information with respect to the financial affairs of non-debtor affiliates, and this
            is precisely the type of information that should have been disclosed to the public pursuant to
            Rule 2015.3.
                    After the claims at issue were sold, I filed a Motion to Compel compliance with the
            reporting requirement. Judge Jernigan held a hearing on the motion on June 10, 2021.
            Astoundingly, the U.S. Trustee’s Office took no position on the Motion and did not even bother
            to attend the hearing. Ultimately, on September 7, 2021, the Court denied the Motion as “moot”
            because the Plan had by then gone effective. I have appealed that ruling because, again, the Plan
            becoming effective does not alleviate the Debtor’s burden of filing the requisite reports.
                    The U.S. Trustee’s Office also failed to object to the Court’s order confirming the
            Debtor’s Plan, in which the Court appears to have released the Debtor from its obligation to file
            any reports after the effective date of the Plan that were due for any period prior to the effective
            date, an order that likewise defeats any effort to demand transparency from the Debtor. The U.S.
            Trustee’s failure to object to this portion of the Court’s order is directly at odds with the spirit
            and mandate of the Periodic Reporting Requirements, which recognize the U.S. Trustee’s duty to
            ensure that debtors timely file all required reports.
                    2.      There Was No Transparency Regarding The Financial Affairs Of Non-
                            Debtor Affiliates Or Transactions Between The Debtor And Its Affiliates
                    The Debtor’s failure to file Rule 2015.3 reports for affiliate entities created additional
            transparency problems for interested parties and creditors wishing to evaluate assets held in non-
            Debtor subsidiaries. In making an investment decision, it would be important to know if the
            assets of a subsidiary consisted of cash, marketable securities, other liquid assets, or operating
            businesses/other illiquid assets. The Debtor’s failure to file Rule 2015.3 reports hid from public
            view the composition of the assets and the corresponding liabilities at the subsidiary level.
            During the course of proceedings, the Debtor sold $172 million in assets, which altered the asset
            mix and liabilities of the Debtor’s affiliates and controlled entities. Although Judge Jernigan
            held that such sales did not require Court approval, a Rule 2015.3 report would have revealed the
            mix of assets and the corresponding reduction in liabilities of the affiliated or controlled entity.
            In the Appendix, I have included a schedule of such sales.
                   Of particular note, the Court authorized the Debtor to place assets that it acquired with
            “allowed claim dollars” from HarbourVest (a creditor with a contested claim against the estate)
            into a specially-created non-debtor entity (“SPE”).6 The Debtor’s motion to settle the

            below the Debtor. See Appendix, p. A-19 (Jan. 29, 2021 Dep. Tr. at 22:4-10; 23:1-29:10).
            6
              Prior to Highland’s bankruptcy, HarbourVest had invested $80 million into a Highland fund called Acis Loan
            Funding, later rebranded as Highland CLO Funding, Ltd. (“HCLOF”). A dispute later arose between HarbourVest



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            HarbourVest claim valued the asset acquired (HarbourVest’s interest in HCLOF) at $22 million.
            In reality, that asset had a value of $40 million, and had the asset been placed in the Debtor
            entity, its true value would have been reflected in the Debtor’s subsequent reporting. By instead
            placing the asset into an SPE, the Debtor hid from public view the true value of the asset as well
            as information relating to its disposition; all the public saw was the filed valuation of the asset.
            The U.S. Trustee did not object to the Debtor’s placement of the HarbourVest assets into an SPE
            and apparently just deferred to the judgment of the Creditors’ Committee about whether this was
            appropriate.7 Again, when the U.S. Trustee’s Office does not require transparency, lack of
            transparency significantly increases the need for non-public information. Because the
            HarbourVest assets were placed in a non-reporting entity, no potential claims buyer without
            insider information could possibly ascertain how the acquisition would impact the estate.
                    3.       The Plan’s Improper Releases And Exculpation Provisions Destroyed Third-
                             Party Rights
                    In addition, the Debtor’s Plan contains sweeping release, exculpation provisions, and a
            channeling injunction requiring that any permitted causes of action to be vetted and resolved by
            the Bankruptcy Court. On their face, these provisions violate Pacific Lumber, in with the United
            States Court of Appeals for the Fifth Circuit rejected similarly broad exculpation clauses. The
            U.S. Trustee’s Office in Dallas has, in all cases but this one, vigorously protected the rights of
            third parties against such exculpation clauses. In this case, the U.S. Trustee’s Office objected to
            the Plan, but it did not pursue that objection at the confirmation hearing (nor even bother to
            attend the first day of the hearing),8 nor did it appeal the order of the Bankruptcy Court
            approving the Plan and its exculpation clauses.
                    As a result of this failure, third-party investors in entities managed by the Debtor are now
            barred from asserting or channeled into the Bankruptcy Court to assert any claim against the
            Debtor or its management for transactions that occurred at the non-debtor affiliate level. Those
            investors’ claims are barred notwithstanding that they were not notified of the releases and have
            never been given any information with which to evaluate their potential claims, nor given the
            opportunity to “opt out.” Conversely, the releases insulate claims purchasers from the risk of
            potential actions by investors in funds managed by the Debtor (for breach of fiduciary duty,
            diminution in value, or otherwise). These releases are directly at odds with investors’
            expectations when they invest in managed funds—i.e., that fund managers will act in a fiduciary
            capacity to maximize investors’ returns and that investors will have recourse for any failure to do
            so. While the agreements executed by investors may limit the exposure of fund managers,
            typically those provisions require the fund manager to obtain a third-party fairness opinion where
            there is a conflict between the manager’s duty to the estate and his duty to fund investors.
                   As an example, the Court approved the settlement of UBS’s claim against the Debtor and
            two funds managed by the Debtor (collectively referred to as “MultiStrat”). Pursuant to that
            settlement, MultiStrat agreed to pay UBS $18.5 million and represented that it was advised by
            “independent legal counsel” in the negotiation of the settlement.9 That representation is untrue;

            and Highland, and HarbourVest filed claims in the Highland bankruptcy approximating $300 million in relation to
            damages allegedly due to HarbourVest as a result of that dispute. Although the Debtor initially placed no value on
            HarbourVest’s claim (the Debtor’s monthly operating report for December 2020 indicated that HarbourVest’s
            allowed claims would be $0), eventually the Debtor entered into a settlement with HarbourVest—approved by the
            Bankruptcy Court—which entitled HarbourVest to $80 million in claims. In return, HarbourVest agreed to convey
            its interest in HCLOF to the SPE designated by the Debtor and to vote in favor of the Debtor’s Plan.
            7
              Dugaboy has appealed the Bankruptcy Court’s ruling approving the placement of the HarbourVest assets into a
            non-reporting SPE.
            8
              See Doc. 1894 (Feb. 2, 2021 Hr’g Tr. at 10:7-14).
            9
              See Doc. 2389 (Order Approving Debtor’s Settlement With UBS Securities LLC and UBS AG London Branch) at



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            MultiStrat did not have separate legal counsel and instead was represented only by the Debtor’s
            counsel.10 If that representation and/or the terms of the UBS/MultiStrat settlement in some way
            unfairly impacted MultiStrat’s investors, they now have no recourse against the Debtor. The
            release and exculpation provisions in Highland’s Plan do not afford third parties any meaningful
            recourse to third parties, even when they are negatively impacted by misrepresentations of the
            type contained in the UBS/MultiStrat settlement or when their interests are impaired by fund
            managers’ failure to obtain fairness opinions to resolve conflicts of interest.
                    The U.S. Trustee’s Office recently has argued in the context of the bankruptcy of Purdue
            Pharmaceuticals that release and exculpations clauses akin to those contained in Highland’s Plan
            violate both the Bankruptcy Code and the Due Process Clause of the United States
            Constitution.11 It has been the U.S. Trustee’s position that where, as here, third parties whose
            claims are being released did not receive notice of the releases and had no way of knowing,
            based on the Plan’s language, what claims were extinguished, third-party releases are contrary to
            law.12 This position comports with Fifth Circuit case law, which makes clear that releases must
            be consensual, and that the released party must make a substantial contribution in exchange for
            any release.      Highland’s Plan does not provide for consent by third parties (or an opt-out
            provision), nor does it require that released parties provide value for their releases. Under these
            circumstances, it is difficult to understand why the U.S. Trustee’s Office in Dallas did not lodge
            an objection to the Plan’s release and exculpation provisions. Several parties have appealed this
            issue to the Fifth Circuit.
                    4.       The Lack Of Transparency Facilitated Potential Insider Trading
                     The biggest problem with the lack of transparency at every step is that it created a need
            for access to non-public confidential information. The Debtor (as well as its advisors and
            professionals) and the Creditors’ Committee (and its counsel) were the only parties with access
            to critical information upon which any reasonable investor would rely. But the public did not.
                    In the context of this non-transparency, it is notable that three of the four members of the
            Creditors’ Committee and one non-committee member sold their claims to two buyers, Muck
            Holdings LLC (“Muck”) and Jessup Holdings LLC (“Jessup”). The four claims that were sold
            comprise the largest four claims in the Highland bankruptcy by a substantial margin,13
            collectively totaling almost $270 million in Class 8 claims and $95 million in Class 9 claims14:
              Claimant                         Class 8 Claim             Class 9 Claims             Date Claim Settled
              Redeemer Committee               $136,696,610              N/A                        October 28, 2020
              Acis Capital                     $23,000,000               N/A                        October 28, 2020
              HarbourVest                      $45,000,000               $35,000,000                January 21, 2021
              UBS                              $65,000,000               $60,000,000                May 27, 2021
              TOTAL:                           $269,6969,610             $95,000,000
                   Muck is owned and controlled by Farallon Capital Management (“Farallon”), and we
            have reason to believe that Jessup is owned and controlled by Stonehill Capital Management
            (“Stonehill”). As the purchasers of the four largest claims in the bankruptcy, Muck (Farallon)

            Ex. 1, §§ 1(b), 11; see Appendix, p. A-57.
            10
               The Court’s order approving the UBS settlement is under appeal in part based on MultiStrat’s lack of independent
            legal counsel.
            11
               See Memorandum of Law in Support of United States Trustee’s Expedited Motion for Stay of Confirmation
            Order, In re Purdue Pharma, L.P., Case No. 19-23649 (RDD) (Bankr. S.D.N.Y.), Doc. 3778 at 17-25.
            12
               See id. at 22.
            13
               See Appendix, p. A-25.
            14
               Class 8 consists of general unsecured claims; Class 9 consists of subordinated claims.



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            and Jessup (Stonehill) will oversee the liquidation of the Reorganized Debtor and the payment
            over time to creditors who have not sold their claims.
                    This is concerning because there is substantial evidence that Farallon and Stonehill may
            have been provided material, non-public information to induce their purchase of these claims.15
            In particular, there are three primary reasons we believe that non-public information was made
            available to facilitate these claims purchases:
                             The scant publicly-available information regarding the Debtor’s estate ordinarily
                              would have dissuaded sizeable investment in purchases of creditors’ claims;
                             The information that actually was publicly available ordinarily would have
                              compelled a prudent investor to conduct robust due diligence prior to purchasing
                              the claims;

                             Yet these claims purchasers spent in excess of $100 million (and likely closer to
                              $150 million) on claims, ostensibly without any idea of what they were
                              purchasing.
                     We believe the claims purchases of Stonehill and Farallon can be summarized as follows:
                 Creditor             Class 8         Class 9        Purchaser                       Purchase Price
                 Redeemer            $137.0          $0.0            Stonehill                      $78.016
                 ACIS                $23.0           $0.0            Farallon                       $8.0
                 HarbourVest         $45.0           $35.0           Farallon                       $27.0
                 UBS                 $65.0           $60.0           Stonehill and Farallon         $50.017


                  To elaborate on our reasons for suspicion, an analysis of publicly-available information
            would have revealed to any potential investor that:
                             There was a $200 million dissipation in the estate’s asset value, which started at a
                              scheduled amount of $556 million on October 16, 2019, then plummeted to $328
                              million as of September 30, 2020, and then increased only slightly to $364 million
                              as of January 31, 2021.18

            15
               A timeline of relevant events can be found at Appendix, p. A-26.
            16
               See Appendix, pp. A-70 – A-71. Because the transaction included “the majority of the remaining investments held
            by the Crusader Funds,” the net amount paid by Stonehill for the Claims was approximately $65 million.
            17
               Based on the publicly-available information at the time Stonehill and Farallon purchased the UBS claim, the
            purchase made no economic sense. At the time, the publicly-disclosed Plan Analysis estimated that there would be
            a 71.32% distribution to Class 8 creditors and a 0.00% distribution to Class 9 creditors, which would mean that
            Stonehill and Farallon paid $50 million for claims worth only $46.4 million. See Appendix, p. A-28. If, however,
            Stonehill and Farallon had access to information that only came to light later—i.e., that the estate was actually worth
            much, much more (between $472-600 million as opposed to $364 million)—then it makes sense that they would pay
            what they did to buy the UBS claim.
            18
               Compare Jan. 31, 2021 Monthly Operating Report [Doc. 2030], with Disclosure Statement (approved on Nov. 24,
            2020) [Doc. 1473]. The increase in value between September 2020 and January 2021 is attributable to the Debtor’s
            settlement with HarbourVest, which granted HarbourVest a Class 8 claim of $45 million and a Class 9 Claim of $35
            million, and in exchange the Debtor received HarbourVest’s interest in HCLOF, which we believe was worth
            approximately $44.3 million as of January 31, 2021. See Appendix, p. A-25. It is also notable that the January 2021



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                             The total amount of allowed claims against the estate increased by $236 million;
                              indeed, just between the time the Debtor’s disclosure statement was approved on
                              November 24, 2020, and the time the Debtor’s exhibits were introduced at the
                              confirmation hearing, the amount of allowed claims increased by $100 million.

                             Due to the decrease in the value of the Debtor’s assets and the increase in the
                              allowed claims amount, the ultimate projected recovery for creditors in
                              bankruptcy went from 87.44% to 62.99% in just a matter of months.19
            No prudent investor or hedge fund investing third-party money would purchase substantial
            claims out of the Highland estate based on this publicly-available information without
            conducting thorough due diligence to be satisfied that the assets of the estate would not continue
            to deteriorate or that the allowed claims against the estate would not continue to grow.
                    There are other good reasons to investigate whether Muck and Jessup (through Farallon
            and Stonehill) had access to material, non-public information that influenced their claims
            purchasing. In particular, there are close relationships between the claims purchasers, on the one
            hand, and the selling Creditors’ Committee members and the Debtor’s management, on the other
            hand. What follows is our understanding of those relationships:
                             Farallon and Stonehill have long-standing, material, undisclosed relationships
                              with the members of the Creditors’ Committee and Mr. Seery. 20 Mr. Seery
                              formerly was the Global Head of Fixed Income Loans at Lehman Bros. until its
                              collapse in 2009. While at Lehman, Mr. Seery did a substantial amount of
                              business with Farallon. After the Lehman collapse, Mr. Seery joined Sidley &
                              Austin as co-head of the corporate restructuring and bankruptcy group, where he
                              worked with Matt Clemente, counsel to the Creditors’ Committee in these
                              bankruptcy proceedings.

                             In addition, Grovesnor, one of the lead investors in the Crusader Fund from the
                              Redeemer Committee (which appointed Seery as its independent director) both
                              played a substantial role on the Creditors’ Committee and is a large investor in
                              Farallon and Stonehill.
                             According to Farallon principals Raj Patel and Michael Linn, while at Sidley, Mr.
                              Seery represented Farallon in its acquisition of claims in the Lehman estate.

                             Also while at Sidley, Mr. Seery represented the Steering Committee in the
                              Blockbuster Video bankruptcy; Stonehill (through its Managing Member, John
                              Motulsky) was one of the five members of the Steering Committee.

                             Mr. Seery left Sidley in 2013 to become the President and Senior Investment
                              Partner of River Birch Capital, a hedge fund founded by his former Lehman
                              colleagues. He left River Birch in October 2017 just before the fund imploded.
                              In 2017, River Birch and Stonehill Capital were two of the biggest note holders in
                              the Toys R Us bankruptcy and were members of the Toys R Us creditors’

            monthly financial report values Class 8 claims at $267 million, an exponential increase over their estimated value of
            $74 million in December 2020.
            19 See Appendix, pp. A-25, A-28.
            20
               See Appendix, pp. A-2; A-62 – A-69.



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                               committee.

            It does not seem a coincidence that two firms with such significant ties to Mr. Seery have
            purchased $365 million in claims. The nature of the relationships and the absence of public data
            warrants an investigation into whether the claims purchasers may have had access to non-public
            information.
                     Other transactions occurring during the Highland bankruptcy also reinforce the suspicion
            that insider trading occurred. In particular, it appears that one of the claims buyers, Stonehill,
            used non-public information obtained incident to the bankruptcy to purchase stock in NexPoint
            Strategic Opportunities Fund (NYSE: NHF), a publicly traded, closed-end ’40 Act fund with
            many holdings in common with assets held in the Highland estate outlined above. Stonehill is a
            registered investment adviser with $3 billion under management that has historically owned very
            few equity interests, particularly equity interests in a closed-end fund. As disclosed in SEC
            filings, Stonehill acquired enough stock in NHF during the second quarter of 2021 to make it
            Stonehill’s eighth largest equity position.
                    The timing of the acquisitions of claims by Farallon and Stonehill also warrants
            investigation. In particular, although notices of the transfer of the claims were filed immediately
            after the confirmation of the Debtor’s Plan and prior to the effective date of the Plan, it seems
            likely that negotiations began much earlier. Transactions of this magnitude do not take place
            overnight and typically require robust due diligence. We know, for example, that Muck was
            formed on March 9, 2021, more than a month before it filed notice that it was purchasing the
            Acis claim. If the negotiation or execution of a definitive agreement for the purchase began
            before or contemporaneously with Muck’s formation, then there is every reason to investigate
            whether selling Creditors’ Committee members and/or Debtor management provided Farallon
            with critical non-public information well before the Creditors’ Committee members sold their
            claims and withdrew from the Committee. Indeed, Mr. Patel and Mr. Linn have stated to others
            that they purchased the Acis and HarbourVest claims in late January or early February. We
            believe an investigation will reveal whether negotiations of the sale and the purchase of claims
            from Creditors’ Committee members preceded the confirmation of the Debtor’s Plan and the
            resignation of those members from the Committee.
                    Likewise, correspondence from the fund adviser to the Crusader Fund indicates that the
            Crusader Fund and the Redeemer Committee had “consummated” the sale of the Redeemer
            Committee’s claims and other assets on April 30, 2021, “for $78 million in cash, which was paid
            in full to the Crusader Funds at closing.”21 We also know that there was a written agreement
            among Stonehill, the Crusader Fund, and the Redeemer Committee that potentially dates back to
            the fourth quarter of 2020. Presumably such an agreement, if it existed, would impose
            affirmative and negative covenants upon the seller and grant the purchaser discretionary approval
            rights during the pendency of the sale. An investigation by your office is necessary to determine
            whether there were any such agreement, which would necessarily conflict with the Creditors’
            Committee members’ fiduciary obligations.
                   The sale of the claims by the members of the Creditors’ Committee also violates the
            guidelines provided to committee members that require a selling committee member to obtain
            approval from the Bankruptcy Court prior to any sale of such member’s claim. The instructions
            provided by the U.S. Trustee’s Office (in this instance the Delaware Office) state:




            21
                 See Appendix, pp. A-70 – A-71.



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                     In the event you are appointed to an officiaJ committee of creditors, the nited States Trustee may require
             periodic certifications of your claims while the bankruptcy case is pending. Creditors wishing to serve as
             fiduciaries on any official committee are advised that they may not purchase, sell or otherwise trade in or transfer
             claims against the Debtor while they are committee members absent an order of the Court. By submitting the
             enclosed Questionnaire and accel!ting membership on an official committee of creditors ou agree to this
               rohibition. The nited States Trustee reserves the right to take appropriate action, including removing a
             creditor from any committee if the information provided in the Questionnaire is inaccurate, if the foregoing
             prohibition is violated, or for any other reason the nited States Trustee believes is proper in the exercise of her
             discretion. You are hereby notified that the United tates Trustee may share this information with the Semrities
             and Exchange Commission if deemed appropriate.
            In this case, no Court approval was ever sought or obtained, and the Dallas U.S. Trustee’s Office
            took no action to enforce this guideline. The Creditors’ Committee members were sophisticated
            entities, and they were privy to inside information that was not available to other unsecured
            creditors. For example, valuations of assets placed into a specially-created affiliated entities,
            such as the assets acquired in the HarbourVest settlement, and valuations of assets held by other
            entities owned or controlled by the Debtor, were available to the selling Creditors’ Committee
            members, but not other creditors or parties-in-interest.
                   While claims trading itself is not necessarily prohibited, the circumstances surrounding
            claims trading often times prompt investigation due to the potential for abuse. This case
            warrants such an investigation due to the following:
                      a)      The selling parties were three of the four Creditors’ Committee members, and
                              each one had access to information they received in a fiduciary capacity;
                      b)      Some of the information they received would have been available to other parties-
                              in-interest if Rule 2015.3 had been enforced;
                      c)      The sales allegedly occurred after the Plan was confirmed, and certain other
                              matters immediately thereafter came to light, such as the Debtor’s need for an exit
                              loan (although the Debtor testified at the confirmation hearing that no loan was
                              needed) and the inability of the Debtor to obtain Directors and Officer insurance;
                      d)      The Debtor settled a dispute with UBS and obligated itself (using estate assets) to
                              pursue claims and transfers and to transfer certain recoveries to UBS, as opposed
                              to distributing those recoveries to creditors, and the Debtor used third-party assets
                              as consideration for the settlement22;
                      e)      The projected recovery to creditors changed significantly between the approval of
                              the Disclosure Statement and the confirmation of the Debtor’s Plan; and

                      f)      There was a suspicious purchase of stock by Stonehill in NHF, a closed-end fund
                              that is publicly traded on the New York stock exchange. The Debtor’s assets and
                              the positions held by the closed-end fund are similar.
                    Further, there is reason to believe that insider claims-trading negatively impacted the
            estate’s ultimate recovery. Immediately prior to the Plan confirmation hearing, Judge Jernigan
            suggested that the Creditors’ Committee and Mr. Dondero attempt to reach a settlement. Mr.
            Dondero, through counsel, made numerous offers of settlement that would have maximized the
            estate’s recovery, even going so far as to file a proposed Plan of Reorganization. The Creditors’
            Committee did not timely respond to these efforts. It was not until The Honorable Former Judge
            D. Michael Lynn, counsel for Mr. Dondero, reminded the Creditors’ Committee counsel that its




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            members had a fiduciary duty to respond that a response was forthcoming. Mr. Dondero’s
            proposed plan offered a greater recovery than what the Debtor had reported would be the
            expected Plan recovery. The Creditors’ Committee’s failure to timely respond to that offer
            suggests that some members may have been contractually constrained from doing so, which
            itself warrants investigation.
                    We encourage the EOUST to question and explore whether, at the time that Mr.
            Dondero’s proposed plan was filed, the Creditors’ Committee members already had committed
            to sell their claims and therefore were contractually restricted from accepting Mr. Dondero’s
            materially better offer. If that were the case, the contractual tie-up would have been a violation
            of the Committee members’ fiduciary duties. The reason for the U.S. Trustee’s guideline
            concerning the sale of claims by Committee members was to allow a public hearing on whether
            Committee members were acting within the bounds of their fiduciary duties to the estate incident
            to the sale of any claim. The failure to enforce this guideline has left open questions about sale
            of Committee members’ claims that should have been disclosed and vetted in open court.
                   In summary, the failure of the U.S. Trustee’s Office to demand appropriate reporting and
            transparency created an environment where parties needed to obtain and use non-public
            information to facilitate claims trading and potential violations of the fiduciary duties owed by
            Creditors’ Committee members. At the very least, there is enough credible evidence to warrant
            an investigation. It is up to the bankruptcy bar to alert your office to any perceived abuses to
            ensure that the system is fair and transparent. The Bankruptcy Code is not written for those who
            hold the largest claims but, rather, it is designed to protect all stakeholders. A second Neiman
            Marcus should not be allowed to occur.
                   We would appreciate a meeting with your office at your earliest possible convenience to
            discuss the contents of this letter and to provide additional information and color that we believe
            will be valuable in making a determination about whether and what to investigate. In the
            interim, if you need any additional information or copies of any particular pleading, we would be
            happy to provide those at your request.

                                                                 Very truly yours,

                                                                 /s/Douglas S. Draper

                                                                 Douglas S. Draper

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              EXHIBIT A-2




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                                                    November 3, 2021

         Via E-Mail and Federal Express
         Ms. Nan R. Eitel
         Office of the General Counsel
         Executive Office for U.S. Trustees
         20 Massachusetts Avenue, NW
         8th Floor
         Washington, DC 20530
         Nan.r.Eitel@usdoj.gov

                Re:      Highland Capital Management, L.P. Bankruptcy Case
                         Case No. 19-34054 (SGJ) Bankr. N.D. Tex.

         Dear Ms. Eitel:

                 I am a senior bankruptcy practitioner who has worked closely with Douglas Draper (representing
         separate, albeit aligned, clients) in the above-referenced Chapter 11 case. I have represented debtors-
         in-possession on multiple occasions, have served as an adjunct professor of law teaching advanced
         corporate restructuring, and consider myself not only a bankruptcy expert, but an expert on the
         practicalities and realities of how estates and cases are administered and, therefore, how they could be
         manipulated for personal interests. I write to follow up on the letter that Douglas sent to your offices on
         October 4, 2021, on account of additional information my clients have learned in this matter. So that
         you understand, my clients in the case are NexPoint Advisors, L.P. and Highland Capital Management
         Fund Advisors, LP., both of whom are affiliated with and controlled by James Dondero, and I write this
         letter on their behalf and based on information they have obtained.

                 I share Douglas' view that serious abuses of the bankruptcy process occurred during the
         bankruptcy of Texas-headquartered Highland Capital Management, LP. ("Highland" or the "Debtor'')
         which, left uninvestigated and unaddressed, may represent a systemic issue that I believe would be of
         concern to your office and within your office's sphere of authority. Those abuses include potential insider
         trading and breaches of fiduciary duty by those charged with protecting creditors, understated
         estimations of estate value seemingly designed to benefit insiders and management, gross mistreatment
         of employees who were key to the bankruptcy process, and ultimately a plan aimed at liquidating an
         otherwise viable estate, to the detriment of third-party investors in Debtor-managed funds. To be clear,
         I recognize that the Bankruptcy Court has ruled the way that it has and I am not criticizing the Bankruptcy
         Court or seeking to attack any of its orders. Rather, as has been and will be shown, the Bankruptcy
         Court acted on misinformation presented to it, intentional lack of transparency, and manipulation of the
         facts and circumstances by the fiduciaries of the estate. I therefore wish to add my voice to Douglas'
         aforementioned letter, provide additional information, encourage your investigation, and offer whatever
         information or assistance I can.

                The abuses here are akin to the type of systemic abuse of process that took place in the
         bankruptcy of Neiman Marcus (in which a core member of the creditors' committee admittedly attempted
         to perpetrate a massive fraud on creditors), and which is something that lawmakers should be concerned




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         about, particularly to the extent that debtor management and creditors' committee members are using
         the federal bankruptcy process to shield themselves from liability for otherwise harmful, illegal, or
         fraudulent acts.

                                                        BACKGROUND

         Highland Capital Management and its Founder, James Dondero

                 Highland Capital Management, L.P. is an SEC-registered investment advisor co-founded by
         James Dondero in 1993. A graduate of the University of Virginia with highest honors, Mr. Dondero has
         over thirty years of experience successfully overseeing investment and business activities across a
         range of investment platforms. Of note, Mr. Dondero is chiefly responsible for ensuring that Highland
         weathered the global financial crisis, evolving the firm's focus from high-yield credit to other areas,
         including real estate, private equity, and alternative investments. Prior to its bankruptcy, Highland served
         as advisor to a suite of registered funds, including open-end mutual funds, closed-end funds, and an
         exchange-traded fund.

                In addition to managing Highland, Mr. Dondero is a dedicated philanthropist who has actively
         supported initiatives in education, veterans' affairs, and public policy. He currently serves as a member
         of the Executive Board of the Southern Methodist University Cox School of Business and sits on the
         Executive Advisory Council of the George W. Bush Presidential Center.

         Circumstances Precipitating Bankruptcy

                  Notwithstanding Highland's historical success with Mr. Dondero at the helm, Highland's funds-
         like many other investment platforms-suffered losses during the financial crisis, leading to myriad
         lawsuits by investors. One of the most contentious disputes involved a group of investors who had
         invested in Highland-managed funds collectively termed the "Crusader Funds." During the financial
         crisis, to avoid a run on the Crusader Funds at low-watermark prices, the funds' manager temporarily
         suspended redemptions, leading investors to sue. That dispute resolved with the formation of an investor
         committee self-named the "Redeemer Committee" and the orderly liquidation of the Crusader Funds,
         which resulted in investors' receiving a return of their investments plus a return, as opposed to the 20
         cents on the dollar they would have received had their redemption requests been honored when made.

                  Despite this successful liquidation, the Redeemer Committee sued Highland again several years
         later, claiming that Highland had improperly delayed the liquidation and paid itself fees not authorized
         under the parties' earlier settlement agreement. The dispute went to arbitration, ultimately resulting in
         an arbitration award against Highland of $189 million (of which Highland expected to make a net
         payment of $11 O million once the award was confirmed).

                 Believing that a restructuring of its judgment liabilities was in Highland's best interest, on October
         16, 2019, Highland-a Delaware limited partnership-filed a voluntary petition for relief under Chapter
         11 of the Bankruptcy Code in the Bankruptcy Court for the District of Delaware.1

               On October 29, 2019, the Bankruptcy Court appointed the Official Committee of Unsecured
        Creditors ("Creditors' Committee"). The Creditors' Committee Members (and the contact individuals for
        those members) are: (1) The Redeemer Committee of the Highland Crusader Fund (Eric Felton), (2)
        Meta e-Discovery (Paul McVoy), (3) UBS Securities LLC and UBS AG London Branch (Elizabeth

         1 In re Highland Capital Mgmt., L.P., Case No. 19-12239-CSS (Bankr. D. Del.) ("Del. Case"), Dkt. 1.




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         Kozlowski), and (4) Acis Capital Management, LP. and Acis Capital Management GP, LLP (Joshua
         Terry).2 At the time of their appointment, creditors agreeing to serve on the Creditors' Committee were
         given an Instruction Sheet by the Office of the United States Trustee, instructing as follows:

                 Creditors wishing to serve as fiduciaries on any official committee are advised that
                 they may not purchase, sell or otherwise trade in or transfer claims against the
                 Debtor while they are committee members absent an order of the Court.                       By
                 submitting the enclosed Questionnaire and accepting membership on an official
                 committee of creditors, you agree to this prohibition. The United States Trustee
                 reserves the right to take appropriate action, including removing the creditor from
                 any committee, if the information provided in the Questionnaire is inaccurate, if the
                 foregoing prohibition is violated, or for any other reason the United States Trustee
                 believes is proper in the exercise of her discretion.

         See Instruction Sheet, Ex. A (emphasis in original).

               In response to a motion by the Creditors' Committee, on December 4, 2019, the Delaware
         Bankruptcy Court unexpectedly transferred the bankruptcy case to the Northern District of Texas, to
         Judge Stacey G.C. Jernigan's court.3

                  SYSTEMIC PROBLEMS OCCURRING IN THE CONTEXT OF HIGHLAND'S COURT-
                                    ADMINISTERED BANKRUPTCY

         Mr. Dondero Gets Pushed Out of Management and New Debtor Management Announces Plans
         to Liquidate the Estate

                 From the outset of the case, the Creditors' Committee and the U.S. Trustee's Office in Dallas
         pushed to replace Mr. Dondero as the sole director of the Debtor's general partner, Strand Advisors,
         Inc. ("Strand"). To avoid a protracted dispute and to facilitate the restructuring, on January 9, 2020, Mr.
         Dondero agreed to resign as the sole director, on the condition that he would be replaced by three
         independent directors who would act as fiduciaries of the estate and work to restructure Highland's
         business so it could continue operating and emerge from bankruptcy as a going concern. As Mr. Draper
         previously has explained, the agreement approved by the Bankruptcy Court allowed Mr. Dondero, UBS
         (which held one of the largest claims against the estate), and the Redeemer Committee each to choose
         one director, and also established protocols for operations going forward. Mr. Dondero chose The
         Honorable Former Judge Russell F. Nelms, UBS chose John Dubel, and the Redeemer Committee
         chose James Seery. 4

                  In brokering the agreement, Mr. Dondero made clear his expectations that new, independent
         management would not only preserve Highland's business by expediting an exit from bankruptcy in three
         to six months, but would also preserve jobs and enable continued collaboration with charitable causes
         supported by Highland and Mr. Dondero. Unfortunately, those expectations did not materialize. Rather,
         it quickly became clear that Strand's and Highland's management was being dominated by one of the

         2 Del. Case, Dkt. 65.
         3
           See In re Highland Capital Mgmt., L.P., Case No. 19-34054 (Bankr. N.D. Tex.), Dkt. 186. All subsequent docket
         references are to the docket of the Bankruptcy Court for the Northern District of Texas.
         4 See Stipulation in Support of Motion of the Debtor for Approval of Settlement with the Official Committee of

         Unsecured Creditors Regarding Governance of the Debtor and Procedures for Operations in the Ordinary Course,
         Dkt. 338; Order Approving Settlement with Official Committee of Unsecured Creditors Regarding Governance of
         the Debtor and Procedures for Operations in the Ordinary Course, Dkt. 339.




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         independent directors, Mr. Seery (as will be seen, for his self-gain). Shortly after his placement on the
         Board, on March 15, 2020, Mr. Seery became de facto Chief Executive Officer, after which he
         immediately took steps to freeze Mr. Dondero out of operations completely, to the detriment of
         Highland's business and its employees. The Bankruptcy Court formally approved Mr. Seery's
         appointment as CEO and Chief Restructuring Officer on July 14, 2020.5 Although Mr. Seery publicly
         represented that his goal was to restructure the Debtor's business and enable it to emerge as a going
         concern, privately he was engineering a much different plan. Less than two months after Mr. Seery's
         appointment as CEO/CRO, the Debtor filed its initial plan of reorganization, disclosing for the first time
         its intention to terminate substantially all employees by the end of 2020 and to liquidate Highland's assets
         by 2022. 6

                Over objections by Mr. Dondero and numerous other stakeholders, the Bankruptcy Court
         confirmed Highland's Fifth Amended Plan of Reorganization on February 22, 2021 (the "Plan").7 There
         are appeals of that Plan, as well as many of the other rulings made by the Bankruptcy Court, currently
         pending before the United States District Court and the Court of Appeals for the Fifth Circuit.

         Transparency Problems Pervade the Bankruptcy Proceedings

                The Regulatory Framework

                 As you are aware, one of the most important features of federal bankruptcy proceedings is
        transparency. The EOUST instructs that "Debtors-in-possession and trustees must account for the
        receipt, administration, and disposition of all property; provide information concerning the estate and the
        estate's administration as parties in interest request; and file periodic reports and summaries of a
        debtor's business, including a statement of receipts and disbursements, and such other information as
        the United States Trustee or the United States Bankruptcy Court requires." See
        http://justice.gov/ust/chapter-11-information (citing 11 U.S.C. § 1106(a)(1), 1107(a)). And Federal Rule
        of Bankruptcy Procedure 2015.3(a) states that "the trustee or debtor in possession shall file periodic
        financial reports of the value, operations, and profitability of each entity that is not a publicly traded
        corporation or a debtor in a case under title 11, and in which the estate holds a substantial or controlling
        interest.· This rule requires the trustee or a debtor in possession to file a report for each non-debtor
        affiliate prior to the first meeting of creditors and every six months thereafter until the effective date of a
        plan of reorganization. Fed R. Bankr. P. 2015.3(b). Importantly, the rule does not absolve a debtor from
        filing reports due prior to the effective date merely because a plan has become effective. 8 Notably, the
        U.S. Trustee has the duty to ensure that debtors in possession properly and timely file all required
        reports. 28 U.S.C. § 1112(b)(4)(F), (H).

                 The entire purpose of these guidelines and rules is to ensure that external stakeholders can fairly
         evaluate the progress of bankruptcy proceedings, including compliance with legal requirements.
         Particularly in large bankruptcies, creditors and investors alike should expect that debtors, their

        5 See Order Approving Debtor's Motion Under Bankruptcy Code Sections 105(a) and 363(b) Authorizing Retention

        of James P. Seery, Jr. as Chief Executive Officer, Chief Restructuring Officer, and Foreign Representative Nunc
        Pro Tune to March 15, 2020, Dkt. 854.
        6 See Plan of Reorganization of Highland Capital Management, L.P. dated August 12, 2020, Dkt. 944.
        7 See Order (I) Confirming the Fifth Amended Plan of Reorganization of Highland Capital Management, L.P. (As

        Modified); and (II) Granting Related Relief, Dkt. 1943.
        8 After notice and a hearing, the bankruptcy court may grant relief from the Rule 2015.3 disclosure requirement "for

        cause," including that "the trustee or debtor in possession is not able, after a good faith effort, to comply with th[e]
        reporting requirements, or that the information required by subdivision (a) is publicly available.· Fed. R. Bankr.
        2015.3(d).




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        management, and representatives on creditors' committees abide by their reporting obligations and all
        other legal requirements. Bankruptcy is not meant to be a safe haven for lawlessness, nor is it designed
        to obfuscate the operations of the debtor. Instead, transparency is mandatory so that the debtor is
        accountable to stakeholders and so that stakeholders can ensure that all insiders are operating for the
        benefit of the estate.

               In Highland's Bankruptcy, the Regulatory Framework Is Ignored

               Against this regulatory backdrop, and on the heels of high-profile bankruptcy abuses like those
        that occurred in the context of the Neiman Marcus bankruptcy, the Highland bankruptcy offered almost
        no transparency to stakeholders. Traditional reporting requirements were ignored. This opened the door
        to numerous abuses of process and potential violations of federal law, as detailed below.

                As Mr. Draper already has highlighted, one significant problem in Highland's bankruptcy was the
        Debtor's failure to file any of the reports required under Bankruptcy Rule 2015.3, either on behalf of itself
        or its affiliated entities. Typically, such reports would include information like asset value, income from
        financial operations, profits, and losses for each non-publicly traded entity in which the estate has a
        substantial or controlling interest. This was very important here, where the Debtor held the bulk of its
        value-hundreds of millions of dollars-in non-debtor subsidiaries. The Debtor's failure to file the
        required Rule 2015.3 reports was brought to the attention of the Debtor, the Bankruptcy Court, and the
        U.S. Trustee's Office. During the hearing on Plan confirmation, the Debtor was questioned about the
        failure to file the reports. The sole excuse offered by the Debtor's Chief Restructuring Officer and Chief
        Executive Officer, Mr. Seery, was that the task "fell through the cracks. "9 Nor did the Debtor or its counsel
        ever attempt to show "cause" to gain exemption from the reporting requirement. That is because there
        was no good reason for the Debtor's failure to file the required reports. In fact, although the Debtor and
        the Creditors' Committee often refer to the Debtor's structure as a "byzantine empire," the assets of the
        estate fall into a handful of discrete investments, most of which have audited financials and/or are
        required to make monthly or quarterly net-asset-value or fair-value determinations. 10 Rather than
        disclose financial information that was readily available, the Debtor appears to have taken deliberate
        and strategic steps to avoid transparency.

               In stark contrast to its non-existent public disclosures, the Debtor provided the Creditors'
        Committee with robust weekly information regarding transactions involving assets held by the Debtor or
        its wholly-owned subsidiaries, transactions involving managed entities and non-managed entities in
        which the Debtor held an interest, transactions involving non-discretionary accounts, and weekly budget-
        to-actuals reports referencing non-Debtor affiliates' 13-week cash flow budget. In other words, the
        Committee member had real-time financial information with respect to the affairs of non-debtor affiliates,
        which is precisely the type of information that should have been disclosed to the public pursuant to Rule
        2015.3. Yet, the fact that the Committee members alone had this information enabled some of them to
        trade on it, for their personal benefit.

               The Debtor's management failed and refused to make other critical disclosures as well. As
        explained in detail below, during the bankruptcy proceedings, the Debtor sold off sizeable assets without
        any notice and without seeking Bankruptcy Court approval. The Debtor characterized these transactions
        as the "ordinary course of business" (allowing it to avoid the Bankruptcy Court approval process), but

        9 See Dkt. 1905 {Feb. 3, 2021 Hr'g Tr. at 49:5-21).
         10During a deposition, Mr. Seery identified most of the Debtor's assets "[o]ff the top of [his] head" and
        acknowledged that he had a subsidiary ledger that detailed the assets held by entities below the Debtor. See Exh.
        A {Jan. 29, 2021 Dep. Tr. at 22:4-10; 23:1-29:10).




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         they were anything but ordinary. In addition, the Debtor settled the claims of at least one creditor-
         former Highland employee Patrick Daugherty-without seeking court approval of the settlement
         pursuant to Federal Rule of Bankruptcy Procedure 9019. We understand that the Debtor paid Mr.
         Daugherty $750,000 in cash as part of that settlement, done as a "settlement" to obtain Mr. Daugherty's
         withdrawal of his objection to the Debtor's plan.

                  Despite all of these transparency problems, the Debtor's confirmed Plan contains provisions that
         effectively release the Debtor from its obligation to file any of the reports due for any period prior to the
         effective date-thereby sanctioning the Debtor's failure and refusal to follow the rules. The U.S. Trustee
         also failed to object to this portion of the Court's order of confirmation, which is directly at odds with the
         spirit and mandate of the Periodic Reporting Requirements recently adopted by the EOUST and
         historical rules mandating transparency. 11

                As will become apparent, because neither the federal Bankruptcy Court nor the U.S. Trustee
         advocated or demanded compliance with the rules, the Debtor, its newly-appointed management, and
         the Creditors' Committee charged with protecting the interests of all creditors were able to manipulate
         the estate for the benefit of a handful of insiders, seemingly in contravention of law.

         Debtor And Debtor-Affiliate Assets Were Deliberately Hidden and Mischaracterized

                 Largely because of the Debtor's failure to file Rule 2015.3 reports for affiliate entities, interested
         parties and creditors wishing to evaluate the worth and mix of assets held in non-Debtor affiliates could
         not do so. This is particularly problematic, because during proceedings, the Debtor sold $172 million in
         assets, which altered the mix of assets and liabilities of the Debtor's affiliates and controlled entities. In
         addition, the estate's asset value decreased by approximately $200 million in a matter of months. Absent
         financial reporting, it was impossible for stakeholders to determine whether the $200 impairment in asset
         value reflected actual realized losses or merely temporary mark-downs precipitated by problems
         experienced by certain assets during the pandemic (including labor shortages, supply-chain issues,
         travel interruptions, and the like). Although the Bankruptcy Court held that such sales did not require
         Court approval, a Rule 2015.3 report would have revealed the mix of assets and the corresponding
         reduction in liabilities of the affiliated or controlled entity-information that was critical in evaluating the
         worth of claims against the estate or future investments into it.

                One transaction that was particularly problematic involved alleged creditor HarbourVest, a
        private equity fund with approximately $75 billion under management. Prior to Highland's bankruptcy,
        HarbourVest had invested $80 million into (and obtained 49.98% of the outstanding shares of) a
        Highland fund called Acis Loan Funding, later rebranded as Highland CLO Funding, Ltd. ("HCLOF"). A
        charitable fund called Charitable OAF Fund, LP. ("OAF") held 49.02% member interests in HCLOF, and
        the remaining □2.00% was held by Highland and certain of its employees. Prior to Highland's bankruptcy
        proceedings, a dispute arose between HarbourVest and Highland, in which HarbourVest claimed it was
        duped into making the investment because Highland allegedly failed to disclose key facts relating to the
        investment (namely, that Highland was engaged in ongoing litigation with former employee, Josh Terry,




         11
           See "Procedures for Completing Uniform Periodic Reports in Non-Small Business Cases Filed Under Chapter
         11 of Title 11" (the uPeriodic Reporting Requirements"). The Periodic Reporting Requirements reaffirmed the
         EOUST's commitment to maintaining "uniformity and transparency regarding a debtor's financial condition and
         business activities" and "to inform creditors and other interested parties of the debtor's financial affairs." 85 Fed.
         Reg. 82906.




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         which would result in HCLOF's incurring legal fees and costs). HarbourVest alleged that, as a result of
         the Terry lawsuit, HCLOF incurred approximately $15 million in legal fees and costs. 12

                  In the context of Highland's bankruptcy, however, HarbourVest filed a proof of claim alleging that
         it was due over $300 million in damages in the dispute, a claim that bore no relationship to economic
         reality. As a result, Debtor management initially valued HarbourVest's claims at $0, a value consistently
         reflected in the Debtor's publicly-filed financial statements, up through and including its December 2020
         Monthly Operating Report. 13 Eventually, however, the Debtor announced a settlement with HarbourVest
         which entitled HarbourVest to $45 million in Class 8 claims and $35 million in Class 9 claims. 14 At the
         time, the Debtor's public disclosures reflected that Class 8 creditors could expect to receive
         approximately 70% payout on their claims, and Class 9 creditors could expect 0.00%. In other words,
         HarbourVest's total $80 million in allowed claims would allow HarbourVest to realize a $31.5 million
         retum. 15

                  As consideration for this potential payout, HarbourVest agreed to convey its interest in HCLOF
         to a special-purpose entity ("SPE") designated by the Debtor (a transaction that involved a trade of
         securities) and to vote in favor of the Debtor's Plan. In its pleadings and testimony in support of the
         settlement, the Debtor represented that the value of HarbourVest's interest in HCLOF was $22.5 million.
         It later came to light, however, that the actual value of that asset was at least $44 million.

                  There are numerous problems with this transaction which may not have occurred with the
         requisite transparency. As a registered investment advisor, the Debtor had a fiduciary obligation to
         disclose the true value of HarbourVest's interest in HCLOF to investors in that fund. The Debtor also
         had a fiduciary obligation to offer the investment opportunity to the other investors prior to purchasing
         HarbourVest's interest for itself. Mr. Seery has acknowledged that his fiduciary duties to the Debtor's
         managed funds and investors supersedes any fiduciary duties owed to the Debtor and its creditors in
         bankruptcy. Nevertheless, the Debtor and its management appear to have misrepresented the value of
         the HarbourVest asset, brokered a purchase of the asset without disclosure to investors, and thereafter
         placed the HarbourVest interest into a non-reporting SPE. 16 This meant that no outside stakeholder had
         any ability to assess the value of that interest, nor could any outsider possibly ascertain how the
         acquisition of that interest impacted the bankruptcy estate. In the absence of Rule 2015.3 reports or
         listing of the HCLOF interest on the Debtor's balance sheet, it was impossible to determine at the time
         of the HarbourVest settlement (or thereafter) whether the Debtor properly accounted for the asset on its
         balance sheet.

                 Highland engaged in several other asset sales in bankruptcy without disclosing those sales in
         advance to outside stakeholders or investors, and without offering investors in funds impacted by the
         sales the opportunity to purchase the assets. For example:



         12 Assuming that HarbourVest were entitled to fraud damages as it claimed, the true amount of its damages was

         less than $7.5 million (because HarbourVest only would have borne 49.98% of the $15 million in legal fees).
         13 See Monthly Operating Report for Highland Capital Management for the Month Ending December 2020, Dkt.

         1949.
         14 Class 8 consists of general unsecured claims; Class 9 consists of subordinated claims.
         15 We have reason to believe that HarbourVest's Class 8 and Class 9 claims were contemporaneously sold to

         Farallon Capital Management-an SEC-registered investment advisor-for approximately $28 million.
         16 Even former Highland employee Patrick Daugherty recognized the problematic nature of asset dispositions like

         the one involving HarbourVest, commenting that such transactions "have left {Mr. Seery) and Highland vulnerable
         to a counter-attack under the [Investment) Advisors Act." See Ex. B.




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                •      The Debtor sold approximately $25 million of NexPoint Residential Trust shares that
                       today are valued at over $70 million; the Debtor likewise sold $6 million of PTLA shares
                       that were taken over less than 60 days later for $18 million.

                •      The Debtor divested interests worth $145 million held in certain life settlements (which
                       paid on the death of the individuals covered, whose average age was 90) for $35 million
                       rather than continuing to pay premiums on the policies, and did so without obtaining
                       updated estimates of the life settlements' value, to the detriment of the fund and investors
                       (today two of the covered individuals have a life expectancy of less than one year);

                •      The Debtor sold interests in OmniMax without informing the Bankruptcy Court, without
                       engaging in a competitive bidding process, and without cooperating with other funds
                       managed by Mr. Dondero, resulting in what we believe is substantially lesser value to
                       investors;

                •      The Debtor sold interests in Structural Steel Products (worth $50 million) and Targa
                       (worth $37 million), again without any process or notice to the Bankruptcy Court or outside
                       stakeholders, resulting in what we believe is diminished value for the estate and
                       investors.

        Because the Bankruptcy Code does not define what constitutes a transaction in the "ordinary course of
        business," the Debtor's management was able to characterize these massive sales as ordinary course
        transactions when they were anything but ordinary, resulting in diminution in value to the estate and its
        creditors.

               In summary, the consistent lack of transparency throughout bankruptcy proceedings facilitated
        sales and deal-making that failed to maximize value for the estate and precluded outside stakeholders
        from evaluating or participating in asset purchases or claims trading that might have benefitted the estate
        and outside investors in Debtor-managed funds.

        The Debtor Reneged on Its Promise to Pay Key Employees, Contrary to Sworn Testimony

                 Highland's bankruptcy also diverges from the norm in its treatment of key employees, who
         usually can expect to be fairly compensated for pre-petition work and post-petition work done for the
         benefit of the estate. That did not happen here, despite the Debtor's representation to the Bankruptcy
         Court that it would.

                By way of background, prior to its bankruptcy, Highland offered employees two bonus plans: an
        Annual Bonus Plan and a Deferred Bonus Plan. Under the Annual Bonus Plan, all of Highland's
        employees were eligible for a yearly bonus payable in up to four equal installments, at six-month
        intervals, on the last business day of each February and August. Under the Deferred Bonus Plan,
        Highland's employees were awarded shares of a designated publicly traded stock, the right to which
        vested 39 months later. Under both bonus plans, the only condition to payment was that the employee
        be employed by Highland at the time the award (or any portion of it) vested.

               At the outset of the bankruptcy proceedings, the Debtor promised that pre-petition bonus plans
        would be honored. Specifically, in its Motion For Entry of an Order Authorizing the Debtor to Pay and
        Honor Ordinary Course Obligations Under Employee Bonus Plans and Granting Related Relief, the
        Debtor informed the Court that employee bonuses "continue[d] to be earned on a post-petition basis,"
        and that "employee compensation under the Bonus Plans [was] critical to the Debtor's ongoing




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         operations and that any threat of nonpayment under such plans would have a potentially catastrophic
         impact on the Debtor's reorganization efforts." 17 Significantly, the Debtor explained to the Court that its
         operations were leanly staffed, such that all employees were critical to ongoing operations and such that
         it expected to compensate all employees. As a result of these representations, key employees continued
         to work for the Debtor, some of whom invested significant hours at work ensuring that the Debtor's new
         management had access to critical information for purposes of reorganizing the estate.

                  Having induced Highland's employees to continue their employment, the Debtor abruptly
         changed course, refusing to pay key employees awards earned pre-petition under the Annual Bonus
         Plan and bonuses earned pre-petition under the Deferred Bonus Plan that vested post-petition. In fact,
         Mr. Seery chose to terminate four key employees just before the vesting date in an effort to avoid
         payment, despite his repeated assurances to the employees that they would be "made whole." Worse
         still, notwithstanding the Debtor's failure and refusal to pay bonuses earned and promised to these
         terminated employees, in Monthly Operating Reports signed by Mr. Seery under penalty of perjury, the
         Debtor continued to treat the amounts owed to the employees as post-petition obligations, which the
         Debtor continued to accrue as post-petition liabilities even after termination of their employment.

                 The Debtor's misrepresentations to the Bankruptcy Court and to the employees themselves fly
         in the face of usual bankruptcy procedure. As the Fifth Circuit has explained, administrative expenses
         like key employee salaries are an '"actual and necessary cost"' that provides a "benefit to the state and
         its creditors."18 It is undisputed that these employees continued to work for the Debtor, providing an
         unquestionable benefit to the estate post-petition, but were not provided the promised compensation,
         for reasons known only to the Debtor.

                 Again, this is not business as usual in bankruptcy proceedings, and if we are to ensure the
         continued success of debtors in reorganization proceedings, it is important that key employees be paid
         in the ordinary course for their efforts in assisting debtors and that debtor management be made to live
         up to promises made under penalty of perjury to the bankruptcy courts.

         There Is Substantial Evidence that Insider Trading Occurred

                  Perhaps one of the biggest problems with the lack of transparency at every step is that it
         facilitated potential insider trading . The Debtor (as well as its advisors and professionals) and the
         Creditors' Committee (and its counsel) had access to critical information upon which any reasonable
         investor would rely. But because of the lack of reporting, the public did not.

                Mr. Draper's October 4, 2021 letter sets forth in detail the reasons for suspecting that insider
         trading occurred, but his explanation bears repeating here. In the context of a non-transparent
         bankruptcy proceeding, three of the four members of the Creditors' Committee and one non-committee
         member sold their claims to two buyers, Muck Holdings LLC ("Muck") and Jessup Holdings LLC
         ("Jessupn). The four claims sold comprise the largest four claims in the Highland bankruptcy by a
         substantial margin, 19 collectively totaling almost $270 million in Class 8 claims and $95 million in Class
         9 claims:




         17
            See 0kt. 177, ,r 25 (emphasis added).
         18
            Texas v. Lowe (In re HLS. Energy Co.), 151 F.3d 434,437 (5th Cir. 1998) (quoting Transamerican Natural
         Gas Corp., 978 F.2d 1409, 1416 (5th Cir. 1992)).
         19 See Ex. C.




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             Claimant                       Class 8 Claim      Class 9 Claims         Date Claim Settled
             Redeemer Committee             $136,696,610       N/A                    October 28, 2020
             Acis Capital                   $23,000,000        N/A                    October 28, 2020
             HarbourVest                    $45,000,000        $35,000,000            January 21, 2021
             UBS                            $65,000,000        $60,000.000            May 27, 2021
             TOTAL:                         $269,6969,610      $95,000,000

                Muck is owned and controlled by Farallon Capital Management ("Farallon"), and we believe
        Jessup is owned and controlled by Stonehill Capital Management ("Stonehill"). As the purchasers of the
        four largest claims in the bankruptcy, Muck (Farallon) and Jessup (Stonehill) will oversee the liquidation
        of the reorganized Debtor and the payment over time to creditors who have not sold their claims. These
        two hedge funds also will determine the performance bonus due to Mr. Seery for liquidating the estate.
        As set forth in the attached balance sheet dated August 31, 2021, we estimate that the estate today is
        worth nearly $600 million, 20 which could result in Mr. Seery's receipt of a performance bonus
        approximating $50 million.

                 This is concerning because there is substantial evidence that Farallon and Stonehill may have
         been provided material, non-public information to induce their purchase of these claims. We agree with
         Mr. Draper that there are three primary reasons to believe that non-public information was made
         available to facilitate these claims purchases:

                 •         The scant publicly-available information regarding the Debtor's estate ordinarily would
                           have dissuaded sizeable investment in purchases of creditors' claims;

                 •         The information that actually was publicly available ordinarily would have compelled a
                           prudent investor to conduct robust due diligence prior to purchasing the claims;

                 •         Yet these claims purchasers spent in excess of $100 million (and likely closer to $150
                           million) on claims, ostensibly without any idea of what they were purchasing.

             Credible information indicates that the claims purchases of Stonehill and Farallon can be
        summarized as follows:

                Creditor             Class 8       Class 9    Purchaser                 Purchase Price
                Redeemer            $137.0        $0.0       Stonehill                 $78.021
                ACIS                $23.0         $0.0       Farallon                  $8.0
                HarbourVest         $45.0         $35.0      Farallon                  $27.0
                UBS                 $65.0         $60.0      Stonehill and Farallon    $50.0




        20 See Ex. D.
        21
          See Ex. E. Because the transaction included "the majority of the remaining investments held by the Crusader
        Funds," the net amount paid by Stonehill for the Claims was approximately $65 million.




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                An analysis of publicly-available information would have revealed to any potential investor that:

                •       The estate's asset value had decreased by $200 million, from $556 million on October
                        16, 2019, to $328 million as of September 30, 2020 (increasing only slightly to $364
                        million as of January 31 , 2021). 22

                •       Allowed claims against the estate increased by a total amount of $236 million.

                •       Due to the decrease in the value of the Debtor's assets and the increase in the allowed
                        claims amount, the ultimate projected recovery for creditors in bankruptcy decreased
                        from 87.44% to 62.99% in just a matter of months. 23

        No prudent investor or hedge fund investing third-party money would purchase substantial claims out of
        the Highland estate based on this publicly-available information absent robust due diligence
        demonstrating that the investment was sound.

               As discussed by Mr. Draper, the very close relationships between the claims purchasers, on the
        one hand, and the selling Creditors' Committee members and the Debtor's management, on the other
        hand also raise red flags. In particular:

                •       Farallon and Stonehill have long-standing, material relationships with the members of the
                        Creditors' Committee and Mr. Seery. Mr. Seery formerly was the Global Head of Fixed
                        Income Loans at Lehman Bros. until its collapse in 2009. While Mr. Seery was Global
                        Head, Lehman Bros. did substantial business with Farallon. After Lehman's collapse, Mr.
                        Seery joined Sidley & Austin as co-head of the corporate restructuring and bankruptcy
                        group, where he worked with Matt Clemente, counsel to the Creditors' Committee in
                        Highland's bankruptcy proceedings.

                •       In addition, Grovesnor, one of the lead investors in the Crusader Funds from the
                        Redeemer Committee (which appointed Seery as its independent director) both played a
                        substantial role on the Creditors' Committee and is a large investor in Farallon and
                        Stonehill. It is unclear whether Grovesnor, a registered investment advisor, notified
                        minority investors in the Crusader Funds or Farallon and Stonehill of these facts.

                •       According to Farallon principals Raj Patel and Michael Linn, while at Sidley, Mr. Seery
                        assisted Farallon in its acquisition of claims in the Lehman estate, and Farallon realized
                        more than $100 million in claims on those trades.




        22 Compare    Jan. 31, 2021 Monthly Operating Report [Dkt. 2030], with Disclosure Statement (approved on Nov.
        24, 2020) {Dkt. 1473]. The increase in value between September 2020 and January 2021 is attributable to the
        Debtor's settlement with HarbourVest, which granted HarbourVest a Class 8 claim of $45 million and a Class 9
        Claim of $35 million, and in exchange the Debtor received HarbourVest's interest in HCLOF, which in reality was
        worth approximately $44.3 million as of January 31, 2021 . See Ex. C. It is also notable that the January 2021
        monthly financial report values Class 8 claims at $267 million, an exponential increase over their estimated value
        of $74 million in December 2020.
        23
           See Ex. F.




                                                                                                                             APP 852
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                •       Also while at Sidley, Mr. Seery represented the Steering Committee in the Blockbuster
                        Video bankruptcy; Stonehill (through its Managing Member, John Motulsky) was one of
                        the five members of the Steering Committee.

                •       Mr. Seery left Sidley in 2013 to become the President and Senior Investment Partner of
                        River Birch Capital, a hedge fund founded by his former Lehman colleagues. He left River
                        Birch in October 2017 just before the fund imploded. In 2017, River Birch and Stonehill
                        Capital were two of the biggest note holders in the Toys R Us bankruptcy and were
                        members of the Toys R Us creditors' committee.

        I strongly agree with Mr. Draper that it is suspicious that two firms with such significant ties to Mr. Seery
        have purchased $365 million in claims. The aggregate $150 million purchase price paid by Farallon and
        Stonehill is 56% of all Class 8 claims, virtually the full plan value expected to be realized after two years.
        We believe it is worth investigating whether these claims buyers had access to material, non-public
        information regarding the actual value of the estate.

                Other transactions occurring during the Highland bankruptcy also reinforce the suspicion that
        insider trading occurred. In particular, it appears that one of the claims buyers, Stonehill, used non-public
        information obtained incident to the bankruptcy to purchase stock in NexPoint Strategic Opportunities
        Fund (NYSE: NHF), a publicly traded, closed-end '40 Act fund with many holdings in common with
        assets held in the Highland estate outlined above. Stonehill is a registered investment adviser with $3
        billion under management that has historically owned very few equity interests, particularly equity
        interests in a closed-end fund. As disclosed in SEC filings, Stonehill acquired enough stock in NHF
        during the second quarter of 2021 to make it Stonehill's eighth largest equity position.

                 The timing of the acquisitions of claims by Farallon and Stonehill also raises suspicion. For
        example, although notices of the transfer of the claims were filed immediately after the confirmation of
        the Debtor's Plan and prior to the effective date of the Plan, it seems likely that negotiations began much
        earlier. Transactions of this magnitude do not take place overnight and typically require robust due
        diligence. Muck was formed on March 9, 2021, more than a month before it filed notice that it was
        purchasing the Acis claim. If the negotiation or execution of a definitive agreement for the purchase
        began before or contemporaneously with Muck's formation , then there is every reason to believe that
        selling Creditors' Committee members and/or Debtor management provided Farallon with critical non-
        public information well before the Creditors' Committee members sold their claims and withdrew from
        the Committee. Indeed, Mr. Patel and Mr. Linn have stated to others that they purchased the Acis and
        HarbourVest claims in late January or early February. This is strong evidence that negotiation and/or
        agreements relating to the purchase of claims from Creditors' Committee members preceded the
        confirmation of the Debtor's Plan and the resignation of those members from the Committee.

               Likewise, correspondence from the fund adviser to the Crusader Funds indicates that the
        Crusader Funds and the Redeemer Committee had "consummated" the sale of the Redeemer
        Committee's claims and other assets on April 30, 2021, "for $78 million in cash, which was paid in full to
        the Crusader Funds at closing."24 In addition, that there was a written agreement among Stonehill, the
        Crusader Funds, and the Redeemer Committee that sources indicate dates back to the fourth quarter
        of 2020. That agreement presumably imposed affirmative and negative covenants upon the seller and
        granted the purchaser discretionary approval rights during the pendency of the sale. Such an agreement
        would necessarily conflict with the Creditors' Committee members' fiduciary obligations.


        24 See Ex. E.




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                 The sale of the claims by the members of the Creditors' Committee also violates the instructions
         provided to committee members by the U.S. Trustee that required a selling committee member to obtain
         approval from the Bankruptcy Court prior to any sale of such member's claim. No such Court approval
         was ever sought or obtained, and the Dallas U.S. Trustee's Office took no action to enforce this
         guideline. The Creditors' Committee members were sophisticated entities, and they were privy to inside
         information that was not available to other unsecured creditors. For example, valuations of assets placed
         into a specially-created affiliated entities, such as the assets acquired in the HarbourVest settlement,
         and valuations of assets held by other entities owned or controlled by the Debtor, were available to the
         selling Creditors' Committee members, but not to other creditors or parties-in-interest.

                While claims trading itself is not prohibited, there is reason to believe that the claims trading that
         occurred in the Highland bankruptcy violated federal law:

                     a)     The selling parties were three of the four Creditors' Committee members, and each one
                            had access to information they received in a fiduciary capacity;

                     b)     Some of the information they received would have been available to other parties-in-
                            interest if Rule 2015.3 had been enforced;

                     c)     The projected recovery to creditors decreased significantly between the approval of the
                            Disclosure Statement and the confirmation of the Debtor's Plan; and

                     d)     There was a suspicious purchase of stock by Stonehill in NHF, a closed-end fund
                            previously affiliated with Highland (and now managed by NexPoint Advisors, L.P.) that is
                            publicly traded on the New York stock exchange.The Debtor's assets and the positions
                            held by the closed-end fund are similar.

         Mr. Seery's Compensation Structure Encouraged Misrepresentations Regarding the Value of the
         Estate and Assets of the Estate

                 An additional problem in Highland's bankruptcy is that Mr. Seery, as an Independent Director
         as well as the Debtor's CEO and CRO, received financial incentives that encouraged claims trading and
         dealing in insider information.

                Mr. Seery received sizeable compensation for his heavy-handed role in Highland's bankruptcy.
         Upon his appointment as an Independent Director in January 2020, Mr. Seery received compensation
         from the Debtor of $60,000 per month for the first three months, $50,000 per month for the following
         three months, and $30,000 per month for remaining months, subject to adjustment by agreement with
         the Debtor.25 When Mr. Seery subsequently was appointed the Debtor's CEO and CRO in July 2020, he
         received additional compensation, including base compensation of $150,000 per month retroactive to
         March 2020 and for so long as he served in those roles, as well as a "Restructuring Fee."26 Mr. Seery's
         employment agreement contemplated that the Restructuring Fee could be calculated in one of two ways:

                   (1)      If Mr. Seery were able to resolve a material amount of outstanding claims against the
                            estate, he would be entitled to $1 million on confirmation of what the Debtor termed a




         25 See 0kt. 339,   ,r 3.
         26
              See 0kt. 854, Ex. 1.




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                        "Case Resolution Plan," $500,000 at the effective date of the Case Resolution Plan, and
                        $750,000 upon completion of distributions to creditors under the plan.

                (2)     If, by contrast, Mr. Seery were not able to resolve the estate and instead achieved a
                        "Monetization Vehicle Plan," he would be entitled to $500,000 on confirmation of the
                        Monetization Vehicle Plan, $250,000 at the effective date of that plan, and-most
                        importantly-a to-be-determined "contingent restructuring fee" based on "performance
                        under the plan after all material distributions" were made.

        The Restructuring Fee owed for a Case Resolution Plan was materially higher than that payable under
        the Monetization Vehicle Plan and provided a powerful economic incentive for Mr. Seery to resolve
        creditor claims in any way possible. Notably, at the time of Mr. Seery's formal appointment as CEO/CR0,
        he had already negotiated settlements in principle with Acis and the Redeemer Committee, leaving only
        the HarbourVest and UBS claims to resolve.

                Further, after the Plan's effective date, as appointed Claimant Trustee, Mr. Seery was promised
        compensation of $150,000 per month (termed his "Base Salary"), subject to the negotiation of additional
        "go-forward" compensation, including a "success fee" and severance pay.27 Mr. Seery's success fee
        presumably will be based on whether the Plan outperforms what was disclosed in the Plan Analysis. In
        other words, Mr. Seery had a financial incentive to grossly understate the value of the estate in public
        disclosures, not only to facilitate claims trading and resolution of the biggest claims in bankruptcy (for
        purposes of obtaining the larger Case Resolution Fee) but also to ensure that he eventually receives a
        large "success fee." Again, we estimate that, based on the estate's nearly $600 million value today, Mr.
        Seery's success fee could approximate $50 million.

                 One excellent example of the way in which Mr. Seery facilitated claims trading and thereby lined
        his own pockets is the sale of UBS's claim. Based on the publicly-available information at the time
        Stonehill and Farallon purchased the UBS claim, the purchase made no economic sense. At the time,
        the publicly-disclosed Plan Analysis estimated that there would be a 71.32% distribution to Class 8
        creditors and a 0.00% distribution to Class 9 creditors, which would mean believe is that, at the time of
        their claims purchase, the estate actually was worth much, much more (between $472-$600 million). If,
        prior to their claims purchases, Mr. Seery (or others in the Debtor's management) apprised Stonehill
        and Farallon of the true estate value (which was material, non-public information at the time), then the
        value they paid for the UBS claim made sense, because they would have known they were likely to
        recover close to 100% on Class 8 and Class 9 claims.

                But perhaps the most important evidence of mismanagement of this bankruptcy proceeding and
        misalignment of financial incentives is the Debtor's repeated refusal to resolve the estate in full despite
        dozens of opportunities to do so. Immediately prior to the Plan confirmation hearing, Judge Jernigan
        suggested that the Creditors' Committee and Mr. Dondero attempt to reach a settlement. Mr. Dondero,
        through counsel, already had made 35 offers of settlement that would have maximized the estate's
        recovery, even going so far as to file a proposed plan of reorganization . Some of these offers were
        valued between $150 and $232 million. And we now believe that as of August 1, 2020, the Debtor's
        estate had an actual value of at least $460 million, including $105 million in cash and a $50 million
        revolving credit facility. With Mr. Dondero's offer, the Debtor's cash and the credit facility could have
        resolved the estate, which would have enabled the Debtor to pay all proofs of claim, leave a residual
        estate intact for equity holders, and allow the company to continue to operate as a going concern.


         27 See Plan Supplement, Dkt. 1875, § 3.13(a)(i).




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                 Nonetheless, neither the Debtor nor the Creditors' Committee responded to Mr. Dondero's offers.
         It was not until The Honorable Former Judge D. Michael Lynn, counsel for Mr. Dondero, reminded the
         Creditors' Committee counsel that its members had a fiduciary duty to respond that a response was
         forthcoming. We believe Mr. Dondero's proposed plan offered a materially greater recovery than what
         the Debtor had reported would be the expected Plan recovery. The Creditors' Committee's failure to
         timely respond to that offer suggests that Debtor management, the Creditors' Committee, or both were
         financially disincentivized from accepting a case resolution offer and that some members of the
         Creditors' Committee were contractually constrained from doing so.

                 What happened instead was that the Debtor, its management, and the Creditors' Committee
         brokered deals that allowed grossly inflated claims and sales of those claims to a small group of investors
         with significant ties to Debtor management. In a transparent bankruptcy proceeding, we question
         whether any of this could have happened. What we do know is that the Debtor's non-transparent
         bankruptcy has ensured there will be nothing left for residual stakeholders, while enriching a handful of
         intimately connected individuals and investors.

         The Debtor's Management and Advisors Are Almost Totally Insulated From Liability

                 Despite the mismanagement of bankruptcy proceedings, the Bankruptcy Court has issued a
         series of orders ensuring that the Debtor and its management cannot not be held liable for their actions
         in bankruptcy.

                In particular, the Court issued a series of orders protecting Mr. Seery from potential liability for
         any act undertaken in the management of the Debtor or the disposition of its assets:

                 •           In its order approving the settlement between the Creditors' Committee and Mr. Dondero,
                             the Court barred any Debtor entity "from commenc[ing] or pursu[ing] a claim or cause of
                             action of any kind against any Independent Director, any Independent Director's agents,
                             or any Independent Director's advisors relating in any way to the Independent Director's
                             role as an independent director" unless the Court first (1) determined the claim was a
                             "colorable" claim for willful misconduct or gross negligence, and (2) authorized an entity
                             to bring the claim. The Court also retained "sole jurisdiction" over any such claim. 28

                 •           In its order approving the Debtor's retention of Mr. Seery as its Chief Executive Officer
                             and Chief Restructuring Officer, the Court issued an identical injunction barring any
                             claims against Mr. Seery in his capacity as CEO/CRO without prior court approval. 29 The
                             same order authorized the Debtor to indemnify Mr. Seery for any claims or losses arising
                             out of his engagement as CEO/CR0. 30

                Worse still, the Plan approved by the Bankruptcy Court contains sweeping release and
         exculpation provisions that make it virtually impossible for third parties, including investors in the
         Debtor's managed funds, to file claims against the Debtor, its related entities, or their management. The
         Plan's exculpation provisions contain also contain a requirement that any potential claims be vetted and
         approved by the Bankruptcy Court. As Mr. Draper already explained, these provisions violate the holding

         28 Dkt. 339,   ,r 10.
         29 Order Approving Debtor's Motion Under Bankruptcy Code Sections 105{a) and 363{b) Authorizing Retention of

         James P. Seery, Jr. as Chief Executive Office, Chief Restructuring Officer, and Foreign Representative Nunc Pro
         Tune to March 15, 2020, 0kt. 854, ,r 5.
         30
            Dkt. 854, 1f 4 & Exh. 1.




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        of In re Pacific Lumber Co., in which the United States Court of Appeals for the Fifth Circuit rejected
        similarly broad exculpation clauses. 31

                 The fundamental problem with the Plan's broad exculpation and release provisions has been
        brought into sharp focus in recent days, with the filing of a lawsuit by the Litigation Trustee against Mr.
        Dondero, other individuals formerly affiliated with Highland, and several trusts and entities affiliated with
        Mr. Dondero.32 Among other false accusations, that lawsuit alleges that the aggregate amount of allowed
        claims in bankruptcy was high because the Debtor and its management were forced to settle with various
        purported judgment creditors who had engaged in pre-petition litigation with Mr. Dondero and Highland.
        But it was Mr. Seery and Debtor's management, not Mr. Dondero and the other defendants, who
        negotiated those settlements with creditors in bankruptcy and who decided what value to assign to their
        claims. Ordinarily, Mr. Dondero and the other defendants could and would file compulsory counterclaims
        against the Debtor and its management for their role in brokering and settling claims in bankruptcy. But
        the Bankruptcy Court has effectively precluded such counterclaims (absent the defendants obtaining
        the Court's advance permission to assert them) by releasing the Debtor and its management from
        virtually all liability in relation to their roles in the bankruptcy case. That is a violation of due process.

                Notably, the U.S. Trustee's Office recently has argued in the context of the bankruptcy of Purdue
        Pharma that release and exculpations clauses akin to those contained in Highland's Plan violate both
        the Bankruptcy Code and the Due Process Clause of the United States Constitution. 33 In addition, the
        U.S. Trustee explained that the bankruptcy courts lack constitutional authority to release state-law
        causes of action against debtor management and non-debtor entities.34 Indeed, it has been the U.S.
        Trustee's position that where, as here, third parties whose claims are being released did not receive
        notice of the releases and had no way of knowing, based on the applicable plan's language, what claims
        were extinguished, third-party releases are contrary to law. 35 This position comports with Fifth Circuit
        case law, which makes clear that releases must be consensual, and that the released party must make
        a substantial contribution in exchange for any release.

                 As a result of the release and exculpation provisions of the Plan, employees and third-party
        investors in entities managed by the Debtor who are harmed by actions taken by the Debtor and its
        management in bankruptcy are barred from asserting their claims without prior Bankruptcy Court
        approval. Those third parties' claims are barred notwithstanding that they were not notified of the
        releases and have never been given any information with which to evaluate their potential claims (as
        mentioned, the Debtor has not disclosed several major assets sales, nor does the Plan require the
        Debtor to disclose post-confirmation asset sales). Conversely, the releases insulate claims purchasers
        from the risk of potential actions by investors in funds managed by the Debtor (for breach of fiduciary
        duty, diminution in value, or otherwise). These releases are directly at odds with investors' expectations
        and the written documents delivered to and approved by investors when they invest in managed funds-
        i.e., that fund managers will act in a fiduciary capacity to maximize investors' returns and that investors
        will have recourse for any failure to do so.




        31 584 F.3d 229 (5th Cir. 2009).
        32 The Plan created a Litigation Sub-Trust to be managed by a Litigation Trustee, whose sole mandate is to file

        lawsuits in an effort to realize additional value for the estate.
        33 See Memorandum of Law in Support of United States Trustee's Expedited Motion for Stay of Confirmation Order,
        In re Purdue Pharma, L.P., Case No. 19-23649 (ROD) (Bankr. S.D.N.Y.), Doc. 3778 at 17-25.
        34   Id. at 26-28.
        35 See id. at 22.




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                 As an example, the Court approved the settlement of UBS's claim against the Debtor and two
        funds managed by the Debtor (collectively referred to as "MultiStrat"). Pursuant to that settlement,
        MultiStrat agreed to pay UBS $18.5 million. But the settlement made no sense for several reasons. First,
        Highland owns approximately 48% of MultiStrat, so causing MultiStrat to make such a substantial
        payment to settle a claim in Highland's bankruptcy necessarily negatively impacted its other non-Debtor
        investors. Second, in its lawsuit, UBS alleged that MultiStrat wrongfully received a $6 million payment,
        but MultiStrat paid more than three times this amount to settle allegations against it-a deal that made
        little economic sense. Finally, as part of the settlement, MultiStrat represented that it was advised by
        "independent legal counsel" in the negotiation of the settlement, a representation that was patently
        untrue. 36 In reality, the only legal counsel advising MultiStrat was the Debtor's counsel, who had
        economic incentives to broker the deal in a manner that benefited the Debtor rather than MultiStrat and
        its investors.37 If (as it seems) that representation and/or the terms of the UBS/MultiStrat settlement
        unfairly impacted MultiStrat's investors, they now have no recourse against the Debtor. The release and
        exculpation provisions in Highland's Plan do not afford third parties any meaningful recourse, even when
        they are negatively impacted by misrepresentations of the type contained in the UBS/MultiStrat
        settlement or when their interests are impaired by fund managers' failure to obtain fairness opinions to
        resolve conflicts of interest.

         Bankruptcy Proceedings Are Used As an End-Run Around Applicable Legal Duties

                The UBS deal is but one example of how Highland's bankruptcy proceedings, including the
        settlement of claims and claims trading that occurred, seemingly provided a safe harbor for violations of
        multiple state and federal laws. For example, the Investment Advisors Act of 1940 requires registered
        investment advisors like the Debtor to act as fiduciaries of the funds that they manage. Indeed, the Act
        imposes an "affirmative duty of 'utmost good faith' and full and fair disclosure of material facts" as part
        of advisors' duties of loyalty and care to investors. See 17 C.F.R. Part 275. Adherence to these duties
        means that investment advisors cannot buy securities for their account prior to buying them for a client,
        cannot make trades that may result in higher commissions for the advisor or their investment firm, and
        cannot trade using material, non-public information. In addition, investment advisors must ensure that
        they provide investors with full and accurate information regarding the assets managed.

                 State blue sky laws similarly prohibit firms holding themselves out as investment advisors from
         breaching these core fiduciary duties to investors. For example, the Texas Securities Act prohibits any
         registered investment advisor from trading on material, non-public information. The Act also conveys a
         private right of action to investors harmed by breaches of an investment advisor's fiduciary duties.

               As explained above, Highland executed numerous transactions during its bankruptcy that may
        have violated the Investment Advisors Act and state blue sky laws. Among other things:

                 •      Highland facilitated the purchase of HarbourVest's interest in HCLOF (placing that
                        interest in an SPE designated by the Debtor) without disclosing the true value of the
                        interest and without first offering it to other investors in the fund;




        36 See Doc. 2389 (Order Approving Debtor's Settlement With UBS Securities LLC and UBS AG London Branch)
        at Ex. 1, §§ 1(b), 11 ; see Appendix, p. A-57.
        37 The Court's order approving the UBS settlement is under appeal in part based on MultiStrat's lack of independent

        legal counsel.




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                •       Highland concealed the estate's true value from investors in its managed funds, making
                        it impossible for those investors to fairly evaluate the estate or its assets during
                        bankruptcy;

                •       Highland facilitated the settlement of UBS's claim by causing MultiStrat, a non-Debtor
                        managed entity, to pay $18.5 million to the Debtor, to the detriment of MultiStrat's
                        investors; and

                •       Highland and its CEO/CRO, Mr. Seery, brokered deals between three of four Creditors'
                        Committee members and Farallon and Stonehill-deals that made no sense unless
                        Farallon and Stonehill were supplied material, non-public information regarding the true
                        value of the estate.

         In short, Mr. Seery effectuated trades that seemingly lined his own pockets, in transactions that we
         believe detrimentally impacted investors in the Debtor's managed funds.

                                                     CONCLUSION

                 The Highland bankruptcy is an example of the abuses that can occur if the Bankruptcy Code and
         Bankruptcy Rules are not enforced and are allowed to be manipulated, and if federal law enforcement
         and federal lawmakers abdicate their responsibilities. Bankruptcy should not be a safe haven for perjury,
         breaches of fiduciary duty, and insider trading, with a plan containing third-party releases and sweeping
         exculpation sweeping everything under the rug. Nor should it be an avenue for opportunistic venturers
         to prey upon companies, their investors, and their creditors to the detriment of third-party stakeholders
         and the bankruptcy estate. My clients and I join Mr. Draper in encouraging your office to investigate,
         fight, and ultimately eliminate this type of abuse, now and in the future.

                                                             Best regards,

                                                                                 KOPF & HARR, P.C.




                                                             By: _ _ _ _ _ _ _ _ _ _ __
                                                                    Davor Rukavina, Esq.

         DR:pdm




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                                                                                                        Relationships Among Debtor’s CEO/CRO, the UCC, and Claims Purchasers
                                                                                                          Provided initial
                                              --------- -------                                            seed capital
                              ,,-
                                                                                                                                                                                                             Hellman
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                                                                                  Lehman                                                                                   Toys ‘R                              &
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                                                                                             I                                                                                                               Motulsky          classmates        Nesler
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                                                                                                                                                                                                                                            Longtime General
                                                                                  Farallon                                      Jim Seery                                  Stonehill                                                            Counsel
                                                                                    Cap.                                         Debtor’s                                    Cap.
                                                                                   Mgmt.                                         CEO and                                    Mgmt.
                                                                                                                                   CRO
                                                                                                                                                                                                                                                 Grosvenor
                                                                                                                                                                                                                                                   Cap.
                                                                                                                         Partner and Head of                                                                                                      Mgmt.
                                                                                                                            NY BK Section
                                                                                                                                                                                                                   Redeemer
                                                                                                                             [2009 – 2013]                                                                         Committe
                                                                                                                                                                                                                    e of the
                                                                                                                                                                                                                   Crusader

                                                                                  Blockbuste                                                                                HCMLP
                                                                                     r BK                                       Sidley &                                   Creditors
                                                                                                          Counsel to             Austin           Counsel to UCC
                                                                                                                                                                           Committe
                                                                                   Steering                                                      (Matt Clemente)              e                        Committee
                                                                                  Committee           Steering Committee
                                                                                                                                                                                                        Member
                                                                                                          (Jim Seery)


                                                                                                                                                                                                             UBS

                                                                                                                                            Acquired Acis Claim
                                                                                                                                                                  -- .     Acis Cap.
                                                                                                                                                                            Mgmt.
                                                                                                                                                                                                                          *Is there an affiliate relationship
                                                                                                                                                                                                                          between Stonehill, Grosvenor, and
                                                                                                                                                                                                                          Farallon? Has it been adequately

                                                                                                                                 ot ussaClaims
                                                                                                 ----------------------------- Ac9uired  2ortion ___                   ►                                                  disclosed to the Court and investors?
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                                         Debtor Protocols [Doc. 466-1]

                   I.   Definitions
                        A.     "Court" means the United States Bankruptcy Court for the Northern District of
                               Texas.
                        B.     "NAV" means (A) with respect to an entity that is not a CLO, the value of such
                               entity's assets less the value of its liabilities calculated as of the month end prior
                               to any Transaction; and (B) with respect to a CLO, the CLO's gross assets less
                               expenses calculated as of the quarter end prior to any Transaction.
                        C.     "Non-Discretionary Account" means an account that is managed by the Debtor
                               pursuant to the terms of an agreement providing, among other things, that the
                               ultimate investment discretion does not rest with the Debtor but with the entity
                               whose assets are being managed through the account.
                        D.     "Related Entity" means collectively (A)(i) any non-publicly traded third party in
                               which Mr. Dondero, Mr. Okada, or Mr. Grant Scott, or Mr. John Honis (with
                               respect to Messrs. Okada, Scott and Houis, only to the extent known by the
                               Debtor) has any direct or indirect economic or ownership interest, including as a
                               beneficiary of a trust; (ii) any entity controlled directly or indirectly by Mr.
                               Dondero, Mr. Okada, Mr. Grant Scott, or Mr. John Houis (with respect to Messrs.
                               Okada, Scott and Hanis, only to the extent known by the Debtor); (iii) MGM
                               Holdings, Inc.; (iv) any publicly traded company with respect to which the Debtor
                               or any Related Entity has filed a Form 13D or Form 13G; (v) any relative (as
                               defined in Section 101 of the Bankruptcy Code) of Mr. Dondero or Mr. Okada
                               each solely to the extent reasonably knowable by the Debtor; (vi) the Hunter
                               Mountain Investment Trust and Dugaboy Investment Trust; (vii) any entity or
                               person that is an insider of the Debtor under Section 101(31) tbe Bankruptcy
                               Code, including any "non-statutory" insider; and (viii) to the extent not included
                               in (A)(i)-(vii), any entity included in the listing of related entities in Schedule B
                               hereto (the "Related Entities Listing"); and (B) the following Transactions,
                               (x) any intercompany Transactions with certain affiliates referred to in paragraphs
                               16.a through 16.e of the Debtor's cash management motion [Del. Docket o. 7];
                               and (y) any Transactions with Charitable DAF Fund, L.P. (provided, however,
                               that additional parties may be added to this subclause (y) with the mutual consent
                               of the Debtor and the Committee, such consent not to be unreasonably withheld).
                        E.     "Stage 1" means the time period from the date of execution of a term sheet
                               incorporating the protocols contained below the ("Tenn Sheet") by all applicable
                               parties until approval of the Term Sheet by the Court.
                        F.     "Stage 2" means the date from the appointment of a Board of Independent
                               Directors at Strand Advisors, Inc. until 45 days after such appointment, such
                               appointment being effective upon Court approval.
                        G.     "Stage 3" means any date after Stage 2 while there is a Board of Independent
                               Directors at Strand Advisors, Inc.
                        H.     ''Transaction" means (i) any purchase, sale, or exchange of ass ts, (ii) any lending
                               or borrowing of money, including the direct payment of any obligations of
                               another entity, (iii) the satisfaction of any capital call or other contractual



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                                requirement to pay money, including the satisfaction of any redemption requests,
                                (iv) funding of affiliates and (v) the creation of any lien or encumbrance.
                         I.     "Ordinary Course Transaction" means any transaction with any third party which
                                is not a Related Entity and that would otherwise constitute an "ordinary course
                                transaction" under section 363(c) of the Bankruptcy Code.
                         J.     "Notice" means notification or communication in a written format and shall
                                include supporting documents necessary to evaluate the propriety of the proposed
                                transaction.
                         K.     "Specified Entity" means any of the following entities: ACIS CLO 2017-7 Ltd.,
                                Brentwood CLO, Ltd., Gleneagles CLO, Ltd., Greenbriar CLO, Ltd., Highland
                                CLO 20 18- 1, Ltd., Highland Legacy Limited, Highland Loan Funding V Ltd.,
                                Highland Park CDO I, Ltd., Pam Capital Funding LP, PamCo Cayman Ltd.,
                                Rockwall CDO II Ltd., Rockwall CDO Ltd., Southfork CLO Ltd., Stratford CLO
                                Ltd., Westchester CLO, Ltd., Aberdeen Loan Funding, Ltd., Bristol Bay Funding
                                Ltd. Eastland CLO, Ltd., Grayson CLO, Ltd., Highland Credit Opportunities
                                CDO Ltd., Jasper CLO, Ltd., Liberty Cayman Holdings, Ltd., Liberty CLO, Ltd.,
                                Red River CLO, Ltd., Valhalla CLO, Ltd.
                   U.    Transactions involving the (i) assets held directly on the Debtor's balance sheet or
                         the balance sheet of the Debtor's wholly-owned subsidiaries, including Jefferies
                         Prime Account, and (ii) the Highland Select Equity Fund, L.P., Highland Multi
                         Strategy Credit Fund, L.P., and Highland Restoration Capital Partners
                         A.     Covered Entities: NIA (See entities above).
                         B.     Operating Requirements
                                1.     Ordinary Course Transactions do not require Court approval (All Stages).
                                       a)     Stage l and Stage 2: ordinary course determined by the CRO.
                                       b)     Stage 3: ordinary course determined by the Debtor.
                                2.     Related Entity Transactions
                                       a)     Stage 1 and Stage 2: Transactions with Related Entities require
                                              prior approval of CRO and five business days advance notice to
                                              the Committee and if the Committee objects, the burden is on the
                                              Debtor to seek Court approval, which the Committee agrees may
                                              be sought on an expedited basis.
                                       b)     Stage 3:
                                              (1)    Transactions with Related Entities greater than $1,000,000
                                                     (either individually or in the aggregate basis on a rolling 30
                                                     day period) require five business days advance notice to the
                                                     Committee and if the Committee objects, the burden is on
                                                     the Debtor to seek Court approval, which the Committee
                                                     agrees may be sought on an expedited basis.




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                                                       (2)      Transactions with Related Entities greater than $2,000,000
                                                                ( either individually or in the aggregate basis on a rolling 30
                                                                day period) require Court approval, which the Committee
                                                                agrees may be sought on an expedited basis.
                                      3.       Third Party Transactions (All Stages)
                                               a)      Except as set forth in (b) and (c) below, Transactions in excess of
                                                       $2,000,000 (either individually or in the aggregate basis on a
                                                       rolling 30 day period) require three business days advance notice
                                                       to Committee and if the Committee objects, the burden is on the
                                                       Debtor to seek Court approval, which the Committee agrees may
                                                       be sought on an expedited basis.
                                               b)      The Debtor may satisfy any redemption requests from entities that
                                                       are not Related Entities without advance notice so long as the
                                                       Debtor provides notice of such Transactions to the Committee as
                                                       soon as reasonably practicable. The Debtor will provide the
                                                       Committee with five business days advance notice of any
                                                       redemption requests made by and payable to a Related Entity, and
                                                       if the Committee objects, the burden is on tlhe Debtor to seek Court
                                                       approval, which the Committee agrees may be sought on an
                                                       expedited basis.
                                               c)      The Debtor may satisfy margin calls and short covers without
                                                       providing the Committee advance notice if the exigencies do not
                                                       allow advance notice so long as the Debtor provides notice of such
                                                       Transactions to the Committee as soon as reasonably practicable.
                             C.       W eekly Reporting: The Debtor will provide the Committee with weekly reports
                                      s howing all Transactions under this category.
                     m.      Transactions involving entities the Debtor manages and in which the Debtor holds a
                             direct or indirect interest (other than the entities discussed in Section I above)
                             A.       Covered Entities: See Schedule A hereto. Schedule A includes or will include
                                      all entities the Debtor manages and in which the Debtor holds a direct or indirect
                                      interest (other than the entities discussed in Section I above). 1
                             B.       Operating Requirements
                                      I.       Ordinary Course Transactions do not require Court approval (All Stages).
                                               a)      Stage l and Stage 2: ordinary course determined by the CRO.
                                               b)      Stage 3: ordinary course determined by the D ebtor.
                                      2.       Related Entity Transactions



                     1 The Debtor is continuing to review the Related Entities List and to determine whether any additional parties or

                     entities should be included on Schedule A. The Debtor will update Schedule A as soon as reasonably practicable to
                     the extent necessary.




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                                                                                                                                         APP 864
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                                a)     Stage 1 and Stage 2: Transactions with Related Entities require
                                       prior approval of CRO and five business days advance notice to
                                       the Committee and if the Committee objects, the burden is on the
                                       Debtor to seek Court approval, which the Committee agrees may
                                       be sought on an expedited basis.
                                b)     Stage 3:
                                       (1)    Transactions with Related Entities greater than $1,000,000
                                              ( either individually or in the aggregate basis on a rolling 30
                                              day period) require five business days advance notice to the
                                              Committee and if the Committee objects, the burden is on
                                              the Debtor to seek Court approval, which the Committee
                                              agrees may be sought on an expedited basis.
                                       (2)    Transactions with Related Entities greater than $2,000,000
                                              ( either individually or in the aggregate basis on a rolling 30
                                              day period) require Court approval, which the Committee
                                              agrees may be sought on an expedited basis.
                          3.    Third Party Transactions (All Stages)
                                a)     Except as set forth in (b) and (c) below, Transactions in excess of
                                       $2,000,000 (either individually or in the aggregate basis on a
                                       rolling 30 day period) require three business days advance notice
                                       to Committee and if the Committee objects, the burden is on the
                                       Debtor to seek Court approval, which the Committee agrees may
                                       be sought on an expedited basis.
                                b)     The Debtor may satisfy any redemption requests from entities that
                                       are not Related Entities without advance notice so long as the
                                       Debtor provides notice of such Transactions to the Committee as
                                       soon as reasonably practicable. The Debtor will provide the
                                       Committee with five business days advance notice of any
                                       redemption requests made by and payable to a Related Entity, and
                                       if the Committee objects, the burden is on the Debtor to seek Court
                                       approval, which the Committee agrees may be sought on an
                                       expedited basis.
                                c)     The Debtor may satisfy margin calls and short covers without
                                       providing the Committee advance notice if the exigencies do not
                                       allow advance notice so long as the Debtor provides notice of such
                                       Transactions to the Committee as soon as reasonably practicable.
                    C.    Weekly Reporting: The Debtor will provide the Committee with weekly reports
                          showing all Transactions under this category.




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               IV.     Transactions involving entities that the Debtor manages but in which the Debtor
                       does not hold a direct or indirect interest
                       A.       Covered Entities: See Schedule A hereto. Schedule A includes or will include
                                all entities that the Debtor manages but in which the Debtor does not hold a direct
                                or indirect interest. 2
                       B.       Operating Requirements
                                l.       Ordinary Course Transactions do not require Court approval (All Stages).
                                         a)      Stage 1 and Stage 2: ordinary course determined by the CRO.
                                         b)      Stage 3: ordinary course determined by the Debtor.
                                2.       Related Entity Transactions
                                         a)      Stage 1 and Stage 2: Transactions with Related Entities require
                                                 prior approval of CRO and five business days advance notice to
                                                 the Committee and if the Committee objects, the burden is on the
                                                 Debtor to seek Court approval, which the Committee agrees may
                                                 be sought on an expedited basis.
                                         b)      Stage 3:
                                                 (1)      Transactions with Related Entities greater than $1,000,000
                                                          (either individually or in the aggregate basis on a rolling 30
                                                          day period) require five business days advance notice to the
                                                          Committee and if the Committee obj ects, the burden is on
                                                          the Debtor to seek Court approval, which the Committee
                                                          agrees may be sought on an expedited basis.
                                                 (2)      Transactions with Related Entities greater than $2,000,000
                                                          (either individually or in the aggregate basis on a rolling 30
                                                          day period) require Court approval, which the Committee
                                                          agrees may be sought on an expedited basis.
                                3.       Third Party Transactions (All Stages):
                                         a)      Except (x) as set forth in (b) and (c) below and (y) for any
                                                 Transaction involving a Specified Entity and the sale or purchase
                                                 by such Specified Entity of an asset that is not an obligation or
                                                 security issued or guaranteed by any of the Debtor, a Related
                                                 Entity or a fund, account, portfolio company owned, controlled or
                                                 managed by the Debtor or a Related Entity, where such
                                                 Transaction is effected in compliance with the collateral
                                                 management agreement to which such Specified Entity is party,
                                                 any Transaction that decreases the NAV of an entity managed by
                                                 the Debtor in excess of the greater of (i) 10% of NAV or (ii)
                                                 $3,000,000 requires five business days advance notice to

               2 The Debtor is continuing to review the Related Entities List and to determine whether any additional parties or
               entities should be included on Schedule A. The Debtor will update Schedule A as soon as reasonably practicable to
               the extent necessary.




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                                                                                                                                   APP 866
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                                                 Committee and if the Committee objects, the burden is on the
                                                 Debtor to seek Court approval, which the Committee agrees may
                                                 be sought on an expedited basis.
                                         b)      The Debtor may satisfy any redemption requests from entities that
                                                 are not Related Entities without advance notice so long as the
                                                 Debtor provides notice of such Transactions to the Committee as
                                                 soon as reasonably practicable. The Debtor will provide the
                                                 Committee with five business days advance notice of any
                                                 redemption requests made by and payable to a Related Entity, and
                                                 if the Committee objects, the burden is on the Debtor to seek Court
                                                 approval, which the Committee agrees may be sought on an
                                                 expedited basis.
                                         c)      The Debtor may take such steps as may be reasonably necessary to
                                                 winddown any managed entity and make distributions as may be
                                                 required in connection with such winddown to any required
                                                 parties. The Debtor will provide the Committee with five business
                                                 days advance notice of any distributions to be made to a Related
                                                 Entity, and if the Committee objects, the burden is on the Debtor to
                                                 seek Court approval, which the Committee agrees may be sought
                                                 on an expedited basis.
                       C.       Weekly Reporting: The Debtor will provide the Committee with weekly reports
                                showing all Transactions under this category. Such reports will include
                                Transactions involving a Specified Entity unless the Debtor is prohibited from
                                doing so under applicable law or regulation or any agreement governing the
                                Debtor's relationship with such Specified Entity.
               V.      Transactions involving entities that the Debtor does not manage but in which the
                       Debtor holds a direct or indirect interest
                       A.       Covered Entities: See Schedule A hereto. Schedule A includes or will include all
                                entities that the Debtor does not manage but in which the Debtor holds a direct or
                                indirect interest. 3
                       B.       Ordinary Course Transactions (AU Stages): NIA
                       C.       Operating Requirements: NI A
                       D.       Weekly Reporting: Debtor will provide weekly reports of all cross-held asset
                                Transactions, i.e. Transactions in which the Debtor or a Related Entity also holds
                                a direct or indirect interest.




               3 The Debtor is continuing to review the Related Entities List and to determine whether any additional parties or

               entities should be included on Schedule A. The Debtor will update Schedule A as soon as reasonably practicable to
               the extent necessary.




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              VI.     Transactions involving entities that the Debtor does not manage and in which the
                      Debtor does not hold a direct or indirect interest
                      A.       Covered Entities: See Schedule A hereto. Schedule A includes or will include all
                               entities that the Debtor does not manage and in which the Debtor does not hold a
                               direct or indirect interest. 4
                      B.       Ordinary Course Transactions (All Stages): NIA
                      C.       Operating Requirements: NI A
                      D.       Weekly Reporting: Debtor will provide weekly reports of all cross-held asset
                               Transactions, i.e. Transactions in which the Debtor or a Related Entity also holds
                               a direct or indirect interest.
              VII.    Transactions involving Non-Discretionary Accounts
                      A.       Covered Entities: See Schedule A hereto. Schedule A includes or will include all
                               non-discretionary accounts.5
                      B.       Ordinary Course Transactions (All Stages): NIA
                      C.       Operating Requirements: NIA
                      D.       Weekly Reporting: Debtor will provide weekly reports of all cross-held asset
                               Transactions, i.e. Transactions in which the Debtor or a Related Entity also holds
                               a direct or indirect interest.
              VIII. Additional Reporting Requirements - All Stages (to the extent applicable)
                      A.       DSI will provide detailed lists and descriptions of internal financial and
                               operational controls being applied on a daily basis for a full understanding by the
                               Committee and its professional advisors three (3) business days in advance of the
                               hearing on the approval of the Term Sheet and details of proposed amendments to
                               said financial and operational controls no later than seven (7) days prior to their
                               implementation.
                      B.       The Debtor will continue to provide weekly budget to actuals reports referencing
                               their 13-week cash flow budget, such reports to be inclusive of all Transactions
                               with Related Entities.
              IX.     Shared Services
                      A.       The Debtor shall not modify any shared services agreement without approval of
                               the CRO and Independent Directors and seven business days' advance notice to
                               counsel for the Committee.
                      B.       The Debtor may otherwise continue satisfying its obligations under the shared
                               services agreements.
              4
                The Debtor is continuing to review the Related Entities List and to determine whether any additional parties or
              entities should be included on Schedule A. The Debtor will update Schedule A as soon as reasonably practicable to
              the extent necessary.
              5 The Debtor is continuing to review the Related Entities List and to determine whether any additional parties or
              entities should be included on Schedule A. The Debtor will update Schedule A as soon as reasonably practicable to
              the extent necessary.




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            x.    Representations and Warranties
                  A.    The Debtor represents that the Related Entities Listing included as Schedule B
                        attached hereto lists all known persons and entities other than natural persons
                        included in the definitions of Related Entities covered by Section I.D parts A(i)-
                        (vii) above at the time of the execution of the Term Sheet.
                  B.    The Debtor represents that the list included as Schedule C attached hereto lists all
                        known natural persons included in the definitions of Related Entities covered by
                        Section I.D parts A(i)-(vii) above at the time of the execution of the Term Sheet.
                  C.    The Debtor represents that, if at any time the Debtor becomes aware of any
                        person or entity, including natural persons, meeting the definition of Related
                        Entities covered by Section I.D parts A(l)-(vii) above that is not included in the
                        Related Entities Listing or Schedule C, the Debtor shall update the Related
                        Entities Listing or Schedule C, as appropriate, to include such entity or person and
                        shall give notice to the Committee thereof.




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                                                              Schedule A~
              Entities the Debtor manages and in which the Debtor holds a direct or indirect interest
                         l. Highland CLO Funding, Ltd. (0.63% Ownership Interest)
                         2. Dynamic Income Fund (0.26% Ownership Interest)
              Entities that the Debtor manages but in which the Debtor does not hold a direct or indirect
              interest
                         l.   Highland Prometheus Master Fund L.P.
                         2.   NexAnnuity Life Insurance Company
                         3.   PensionDanmark
                         4.   Highland Argentina Regional Opportunity Fund
                         5.   LonghomA
                         6.   LonghomB
                         7.   Collateralized Loan Obligations
                              a) Rockwall II CDO Ltd.
                              b) Grayson CLO Ltd.
                              c) Eastland CLO Ltd.
                              d) Westchester CLO, Ltd.
                              e) Brentwood CLO Ltd.
                              t) Greenbriar CLO Ltd.
                              g) Highland Park CDO Ltd.
                              h) Liberty CLO Ltd.
                              i) Gleneagles CLO Ltd.
                              j) Stratford CLO Ltd.
                              k) Jasper CLO Ltd.
                              I) Rockwall DCO Ltd.
                              m) Red River CLO Ltd.
                              n) Hi V CLO Ltd.
                              o) ValhaJla CLO Ltd.
                              p) Aberdeen CLO Ltd.
                              q) South Fork CLO Ltd.
                              r) Legacy CLO Ltd.
                              s) Pam Capital
                              t) Pamco Cayman
              Entities that the Debtor does not manage but in which the Debtor holds a direct or indirect
              interest
                         1.   Highland Opportunistic Credit Fund
                         2.   Highland Healthcare Opportunities Fund f/k/a Highland Long/Short Healthcare Fund
                         3.   NexPoint Real Estate Strategies Fund
                         4.   Highland Merger Arbitrage Fund
                         5.   NexPoint Strategic Opportunities Fund
                         6.   Highland Small Cap Equity Fund
                         7.   Highland Global Allocation Fund

              6 NTD:   Schedu[e A is work in process and may be supplemented or amended.




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                     8. Highland Socially Responsible Equity Fund
                     9. Highland Income Fund
                     10. Stonebridge-Highland Healthcare Private Equity Fund ("Korean Fund")
                     11. SE Multifamily, LLC
              Entities that the Debtor does not manage and in which the Debtor does not hold a direct or
              indirect interest
                     1. The Dugaboy Investment Trust
                     2. NexPoint Capital LLC
                     3. NexPoint Capital, Inc.
                     4. Highland !Boxx Senior Loan ETF
                     5. Highland Long/Short Equity Fund
                     6. Highland Energy MLP Fund
                     7. Highland Fixed Income Fund
                     8. Highland Total Return Fund
                     9. NexPoint Advisors, L.P.
                     I0. Highland Capital Management Services, Inc.
                     11. Highland Capital Management Fund Advisors L.P.
                     12. ACIS CLO Management LLC
                     13. Governance RE Ltd
                     14. PCMG Trading Partners XXIJI LP
                     15. NexPoint Real Estate Partners, LLC f/k/a HCRE Partners LLC
                     16. NexPoint Real Estate Advisors II LP
                     17. NexPoint Healthcare Opportunities Fund
                     18. NexPoint Securities
                     19. Highland Diversified Credit Fund
                     20. BB Votorantim Highland Infrastructure LLC
                     21. ACIS CLO 2017 Ltd.
              Transactions involving Non-Discretionary Accounts
                     1. NexBank SSB Account
                     2. Charitable DAF Fund LP




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                                                   Schedule B

                              Related Entities Listing (other than natural persons),




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                                                 Schedule C

                   I . James Dondero
                   2. Mark Okada
                   3. Grant Scott
                   4. John Honis
                   5. Nancy Dondero
                   6. Pamela Okada
                   7. Thomas Surgent
                   8. Scott Ellington
                   9. Frank Waterhouse
                   10. Lee (Trey) Parker




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                                       Seery Jan. 29, 2021 Testimony
                                                                                 Page 1
               1    IN THE UNITED STATES BANKRUPTCY COURT

               2    FOR THE NORTHERN DISTRICT OF TEXAS

               3    DALLAS DIVISION

               4    ------------------------------ )

               5    In Re :                      Chapter 11

               6    HIGHLAND CAPITAL             Case No .

               7   MANAGEMENT , LP ,             19-34054-SGJ 11

               8

               9              Debtor

              10

              11

              12

              13     REMOTE DEPOSI T ION OF JAMES P . SEERY ,          J R.

              14                  January 29 ,    2021

              15                   10 : 11 a . m. EST

              16

              17

              18

              19

              20

              21

              22

              23
                    Reported by :
              24    Debra Stevens , RPR-CRR
                    JOB NO . 189212
              25




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                                                         Page 2                                                                 Page 3
              l                January 29 , 2021                   1   REMOTE APPEARANCES :

              2                9:00 a.m. EST                       2

              3                                                    3   Heller, Draper, Hayden, Pat rick,          &   Horn
              4          Remote Deposition of JAMES P.             4   Attorneys for The Dugaboy Investment
              5   SEERY, JR . , held via Zoom                      5   Trust. and The Get. Good Trust
              6   conference, before Debra Stevens ,               6                 650 Poydras Street
              7   RPR/CRR and a Notary Public of the               7                 New Orlean$ , LOui$iana 70130
              8   State of New York .                              8

              9                                                    9

             10                                                   10   BY :          DOUGLAS DRAPER, ESQ
             11                                                   11
             12                                                   12
             13                                                   13   PACHULSKI STANG ZIEHL & JONES

             14                                                   14   For the Debtor and the Witness Herein
             15                                                   15                 780 Th i rd Avenue

             16                                                   16                 New York~   New York 10017
             17                                                   17   BY :          JOHN MORRIS , ESQ .
             18                                                   18                 JEFFREY POKERANTZ, ESQ .

             19                                                   19                 GREGORY DEMO, ESQ .

             20                                                   20                 IRA KHARASCH, ESQ .
             21                                                   21

             22                                                   22
             23                                                   23

             24                                                   24                               <Continued>
             25                                                   25


                                                         Page 4                                                                 Page 5
              l   REMOTE APPEARANCES :    {Cont inued)             1   REMOTE APPEARANCES :         (Continued)
              2                                                    2   KING & SPALDING

              3   LATHAM & NATKINS                                 3   Attornoys for Highland CLO Funding, Ltd .
              4   Attorneys for UBS                                4                 500 West 2nd Street
              5            885 Third Avenue                        5                 Austin , Texas 78701
              6            New York , New York 10022               6   BY :          REBECCA MATSUMURA, ESQ.

              7   BY :     SHANNON McLAUGHLIN, ESQ .               7

              8                                                    8   K&L GATES

              9   JENNER & BLOCK                                   9   Attorneys fo r Highland Capital Management
             10   Attorneys for Redeemer Commit tee of            10   FU.n d Advisors , L . P . , et al . :
             11   Highland Crusader Fund                          11                 43 50 Lassiter at North Hills
             12            919 Third Avenue                       12                  Avenue
             13            New York, Ne w York 10022              13                 Ralo igh , Nor-th Carolina 27609

             14   BY:      MARC B . HANKIN, ESQ .                 14   BY :          EMILY MATHER, ESQ.
             15                                                   15
             16   S IO LEY AUSTIN                                 16   MUNSCH HARDT KOPF         & HARR
             17   Attorneys for Creditors ' Committee             17   Attorneys for Defendants Highland Capital
             18            2021 McKinney Avenue                   18   Management Fund Advisors , LP ; NexPoint
             19            Dallas , Texas 75201                   19   Advisors, LP; Highland I ncome Fund;
             20   BY :     PENNY REID, ESQ .                      20   NexPoint Strategic Opportunities Fund and
             21            MATTHEli CLEMENTE, ESQ .               21   Hex.Point Capital, Inc . :
             22            PAIGE MONTGOMERY, ESQ .                22                 500 N. Akard Street
             23                                                   23                 Da llas , Texas 75201-6659
             24                          {Continued)              24          BY :   DAVOR RUKAVINA, ESQ.

             25                                                   25                                  (Continued}




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               l   RE.MOTE APPEARANCES (Continued)                           1   REMOTE APPEARANCES : (Continued)

               2                                                             2
               3   BONDS ELLIS EPPICH SCHAFER JONES                          3   WICK PH ILLIPS

               4   Attorneys for James Dondero,                              4   Attorneys f or NexPoint Real Estate
               5   Party-in-Interest                                         5   Par-t.ners , NexPoint Real £state Entities
               6             420 Throckmorton Street                         6   and NexBank
               7                                                             7               100 Throckmorton Street
               8             Fort liorth, Texas 76102                        8                Fo r t Worth, Texas 76102
               9   BY :      CLAY TAYLOR, ESQ.                               9   BY :        LAUREN DRAWHORN , ESQ .

              10             JOHN BONDS , ESQ .                             10

              ll             BRYAN ASSINK, ESQ .                            11   ROSS & SMITH
              12                                                            12   Attorne ys f or s e nior Employees , Scott

              13                                                            13   Ellington , Isaac Leventon, Thomas Surgent,
              14   BAKER McKENZIE                                           14   Frank Waterhouse
              15   Attorneys for Senior Empl oyees                          15               700 N. Pear l Street
              16             1900 North Pearl Street                        16               Dallas, Texas 75201
              17                                                            17   BY :        FRANCES SMITH , ESQ ,

              18             Dallas , Texas 75201                           18

              19   BY :      MICHELLE HARTMANN, ESQ.                        19
              20             DEBRA DANDZREAU, ESQ .                         20

              21                                                            21

              22                                                            22
              23                                                            23

              24                           (Cont i nuod)                    24
              25                                                            25


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               1                                                             1
               2             EX AM I NATIONS
                                                                             2                 COURT REPORTER:       My name is
               3   NITNESS                                  PAGE
               4   JAMES SEERY                                               3           Debra Stevens , court report.er for TSG
               5     By Mr . Draper                            9             4           Report ing and notary public of the
               6     By Mr . Taylor                           75
                                                                             5           State of New York .   Due to the
               7     By Mr . Rukavina                        165
               8     By Mr . Draper                          217             6           severity of the COVID- 19 pandemic and
               9                                                             7           follow ing t he practice of social
                                     EX ff I B I T S
              10   SEERY DYD                                                 8           distancing, I will not bo in the same
                   EXHIBIT        DESCRIPTION              PAGE              9           r oom wit h t he witness but will report
              ll
                                                                            10           this deposition remotely and will
                   Exhibit l      January 2021 Material       11
              12                                                            11           swear the witness in remotely .      If any
                   Exhibit 2      Disclosure Statement        14            12           party has any objection, please so
              13
                   Exhibit 3      Notice of Deposition        74            13           state before we proceed .
              14                                                            14                 Whereupon,
              15
                                                                            15                   J A HE S      S E E R Y,
                     INFORMATION/PRODUCTION REQUESTS
              16   DESCRIPTION                             PAGE             16          having been f irst duly sworn/affirmed,
              17   Subsidiary ledger showing note             22            17          was e xamined and testified as follows :
                   component versus hard asset
              18   component                                                18   EXAMINATION BY
              19   Amount of D&O coverage for                131            19   HR. DRAPER:
                   t rustees
                                                                            20          Q.     Hr . Seery , my name is Douglas
              20
                   Line item for D&O insurance               133            21   Draper, representing the Dugaboy Trust .           I
              21                                                            22   have series of questions today in
              22                MARKED FOR RULING
                                   PAGE   LINE                              23   connect ion wit h t he 30 Cb> Notice that we
              23                     85     20                              24   filed .     The f irst question I have for you,
              24
                                                                            25   have you seen the Notice of Oeposition
              25




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               1                     J . SEERY                        1                            J. SEERY
               2         the screen, please?                          2        A.     It says the percent distribution
               3         A.    Page what?                             3   to general unsecured creditors is
               4         Q.    I think i t is page 174 .              4   62. 14 percent .
               5         A.    Of the PDF or of the document?         5        Q.     Have ou communicated the
               6         Q.    Of the disclosure statement that       6   reduced recover_y to af!Ybod_y e.i;:_ior to the
               7   was filed . It is up on the screen right           7   da•e -- to yesterday?
               8   now .                                                              MR. MORRIS : Objectlon to tne
               9               COURT REPORTER: Do you i ntend                  •orm of the question .
              10         this as another exhibit f or today ' s                A.     r believe generally, yes .
              11         deposition?                                      don'• know if we have., specific number,
              12               MR. DRAPER: We ' l l mark this        12   bt• gener<!ll:,
              13         Exhibit 2.                                  13        Q.     And wou;o Lhat be members of
              14                (So marked for identificati on as    14   Crecli.tors' CorMllttee who you gave thal
              15         Seery Exhibit 2 .)                          15   information to?
              16         Q.    If you look to the recovery to        16        A.     Yes .
              17   Class 8 creditor s in the November 2020           17               DJ rl Y.()ll
              18   disclosure s t atement was a recovery of          18   than membe 1s of
              19   87 . 44 percent?                                  19       A.     Yes .
              20         A.    That actually says the pe rcent       20       Q.    Wl!o?
              21   distribution to general unsecured                 21      A.     HarbourVes t.
              22   creditors was 87 . 44 percent . Yes .             2~             And wnen was tnat~
                                                                                                       '-'-----.
              23         Q.    And in the new document t hat was     23             Wlt:.hin the lasl Lwo montl.s .
              24   filed, given to us yesterday, the recovery        24             You did no L reel the need to
              25   is 62.5 percent?                                  25   communicate the change _Jt recovery to
                                                           Page l6                                                 Page l 7
               l                     J. SEERY                         l                      J . SEERY
               2   anybody else?                                      2   not accurate?
               3       A.    T said Mr. Dohen:                        3       A.     Yes . We secretly disclosed i t
               4       Q.    In looking a t t he two elements,        4   to the Bankruptcy Court in open court
               5   and what I have asked you to look ar, i s          5   hearings .
               6   the claims pool . I f you look a t the             6       Q.     But you never d i d bother to
               7   November disclosure statement, if you look         7   calculate the reduced r ecovery; you just
               8   down Class 8, unsecured claims?                    8   increased - -
               9        A.    Yes.                                    9               (Reporter i nterruption . )
              10        Q.    You have 176, 000 roughly?             10        Q.    You just advised as to the
              11        A.    Milli on .                             11   incr eased cl aims pool . Correct?
              12        Q.    176 million . I am sorry. And          12              MR . MORRIS : Objection to the
              13   the number in the new document is 313             13        form of the question .
              14   million?                                          14        A.    I don ' t understand your
              15        A.    Correct .                              15   question .
              16        Q.    What accounts for the                  16        Q.    What I am trying to get at is,
              17   difference?                                       17   as you i ncrease the claims pool , the
              18        A.    An increase in claims .                18   recovery reduces . Correct?
              19        Q.    When did those increases occur?        19        A.    No. That i s not how a fraction
              20   Were they yesterday? A month ago? Two             20   works.
              21   months ago?                                       21        Q.    Well, i f the denomi nator
              22        A.    Ove r the l ast couple mont hs .       22   increases, doesn ' t the r ecovery ultimately
              23        Q.    So in fact over the l ast couple       23   decrease if -
              24   mont hs you knew in fact t hat the recovery       24        A.    No.
              25   in the November disclosure statement was          25        Q.    -   if the numerator stays the




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              1                          J . SEERY                             1                       J . SEERY
              2   were amended without consideration a few                     2        A.   NexPoint , I said . They
              3   years ago . So, for our purposes we didn ' t                 3   defaulted on the note and we accelerated
              4   make the assumption, which I am sure will                    4   it .
              5   happen , a fraudulent conveyance claim on                    5       Q.     So there is no need to file a
              6   those notes , that a fraudulent conveyance                   6   fraudulent conveyance suit with respect to
              7   action would be brought . We just assumed                    7   that note . Correct , Mr . Seery?
              8   that we ' d have to discount the notes                       8             MR . MORRIS : Objection to the
              9   heavily to sell them because nobody would                    9       form of the question .
             10   respect the ability of the counterparties                10          A.    Disagree . Since it was likely
             11   to fairly pay .                                          11      intentional fraud, there may be other
             12       Q.    And the same discount was                      12      recoveries on it . But to collect on the
             13   applied in the liquidation analysis to                   13      note, no .
             14   those notes?                                             14          Q.      My question was with respect to
             15       A.    Yes .                                          15      that note .   Since you have accelerated it,
             16       Q.    Now --                                         16      you don ' t need to deal with the issue of
             17           A.      The difference -   there would be        17      when it ' s due?
             18   a difference, though, because they would                 18                MR . MORRIS : Objection to the
             19   pay for a while because they wouldn ' t want             19          form of the question .
             20   to accelerate them . So there would be                   20          A.    That wasn ' t your question . But
             21   some collections on the notes for P and I .              21      to that question, yes, I don ' t need to
             22       Q.    But in fact as of January you                  22      deal with when it ' s due .
             23   have accelerated those notes?                            23          Q.       Let me go over certain assets .
             24           A.      Just one of them, I believe .            24      I am not going to ask you for the
             25           Q.      Which note was that?                     25      valuation of them but I am going to ask

                                                                 Page 28                                                     Pa ge 2l;I
              1                    J . SEERY                                   1                     J . SEERY
              2   you whether they are included in the asset                   2   includes any~ her securities and all the
              3   portion of your $257 million number , all                    3   tyalue that would flow from Cornerstone .
              4   right? Mr . Morris didn't want me to go                  l   4   It includes HCLOF and all the value that
              5   into specific asset value, and I don ' t                     5   ~ould flow up from HCLOr . It includes
                                                                           :
              6   intend to do that .                                      _6      Korea and all the value that would flow IJP
              7              The first question I have for                     7   from Korea .
              8   you is , the equity in Trustway Highland                     8             There may be others off the top
              9   Holdings , is that included in the                           9   of my head . I don ' t recall them . I don ' t
             10   $257 million number?                                     10      have a list in front of me .
             11           A.       There is no such entity .               11          Q.     Now, with respect to those
             12           Q.       Then I will do it in a different        12      assets , have you started the sale process
             13   way .        In connection with the sale of the          13      of those assets?
             14   hard assets, what assets are included in                 14          A.     No . Well , each asset is
             15   there specifically?                                      15      different . So , the answer is, with
             16       A.    Off the too of my head -  it is                16      respect to any securities, we do seek to
             17   all of the ass~        , but it includes                 17      sell those regularly and we do seek to
             18   Trustw.AY...!:lP ldin~   nd all the value that           18      monetize those assets where we can
             19   flows up from Trustway Holdings . It                     19      depending on whether there is a
             20   includes Targa and all the value that                    20      restriction or not and whether there is
             21   flows up from Targa. It includes CCS                     21      l iquidity in the market .
             22   Medical and all the value that would flow                22                With respect to the PE assets or
             23   to the Debtor from ccs Medical . It                      23      the companies I described - Targa, ccs,
             24   includes Cornerstone and all the value                   24      Cornerstone , JHT -- we have not --
             25   that would flow from Cornerstone.         It             25      Trustway .   We have not sought to sell




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               1                         J. SEERY                      1                      J . SEERY
               2         A.      I don 't recall the specific          2    differ-ent analysis that wi:,'11 undertake
               3    lilT\itati on on the trust. But i f t here was     3    with bankruptcy counsel to determine what
               4    a reason to hold on to the asset, if there         4    we would need dEWending on when it 1s
               5    is a limitation, we can seek an extension.         5   ,goin to happen and what the restrict.ions
               6        Q.    Let me ask a question .    With          6   ei.the:r unde:: t.he code ;ire or uncter t.he
               7    respect to these businesses, the Debtor            I   plan .
               8    merely owns an equity interest in them .           8          Q,    ls ther~ anytlnng that would
               9    Correct?                                           9   st.QP you from selling these businesses 1r
             10         A.    Which business?                         10   the Chapter 11 went on for a year or two
             11         Q.    The ones you have identifi ed as        L     ears?
             12     operating businesses earlier?                     12                MR . MORRIS : Objection to form
             13         A.    It depends on the business.             13          of the question.
             14         Q.    Well, let me -- again, let 's try       14          A.    Is there an_ything that would
             15     to be specific . With respecL to SSP, .L          15   slc!'.' me? We ' d have to follow the
             l;;    was your position that you did not need co        16   strict•Jres of the code and c.he protocols ,
             17     qet court approval for the sale. Correct?         17   but there would be no prohibition -- let
             18         A.    That ' s correct .                      18   me finish , please .___________
             1 <1       Q.    Which one of the o racing               19                There would oe no rohibition
             :.:i   businesses thal are here, c.hat you have          20   that I am aware cf .
             21     identified, do you need court: authority          21          Q.    Now, i n connection with your
             2~     for a sale?                                       22   differential between the liquidation of
             23               MR. MORRIS : Objecti on to the          23   what I wi ll call the operating businesses
             24         form of the question .                        24   under the liquidation analysis and the
             25         A.    Each :=! t!1e bus.nesses w1 l be a      25   plan analys i s, who a rrived at the discount
                                                            Page 40                                                   Page 41
               1                       J. SEERY                        1                       J . SEERY
               2    or determined the discount that has been           2   is different.
               3    placed between t he two, plan analysis             3        Q.    Is the discount a function of
               4    versus liquidation analysis?                       4   capability of a trustee versus your
               5               MR. MORRIS : Objection to form          5   capability, or is t he discount a function
               6        of the question.                               6   of timing?
               7        A.     To which document are you               7              MR. MORRIS: Objection to form.
               8    referring?                                         8        A.    It could be a combination .
               9        Q.     Both t he June - the January and        9        Q.    So, let ' s -- let me walk through
             10     the November analysis has a different             10   t his . Your pl an analysis has an
             11     estimated p r oceeds for monetization for         11   assumption that everything is sold by
             12     the plan anal ysis versus the liquidation         12   December 2022. Correct?
             13     analysis . Do you see that?                       13        A.    Correct .
             14         A.     Yes.                                   14        Q.    And the valuations that you have
             15         Q.     And there i s a note under there.      15   used here for the monetizati on assume a
             16     "Assumes Chapter 7 trustee will not be            16   sal e between -- a sal e prior to December
             17     able to achieve the same sales proceeds as        17   of 2022. Correct?
             18     Claimant trustee . "                              18        A.    Sorry . I don't quite understand
             19         A.     I see that, yes .                      19   your quescion .
             20         Q.     Do you see that note?                  20        Q.    The 257 number, and then let ' s
             21         A.     Yes .                                  21   take out the notes .    Let's use the 210
             22         Q.    Who arrived at that discount ?          22   number .
             23         A.    I did .                                 23             MR . MORRIS : Can we put the
             24         Q.    What percent age did you use?           24       document back on the screen, please?
             25         A.    Depended on t he asset . Each one       25       Sorry, Douglas, to interrupt, but it




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                                                           Page 4 2.                                                      Pa ge 43
             1                      J . SEERY                           1                        J . SEERY
             2       would be helpful .                                 2    applied?
             3             MR . DRAPER :    That is fine, John.         3        A.      Each of the assets is different.
             4             (Pause . )                                   4        Q.      Is there a general discount that
             5              MR . MORRIS : Thank you very                5    you used?
             6       much .                                             6        A.    Not a general discount, no. We
             7       Q.     Mr . Seery, cb you see the 257?             7    looked at each individual asset and went
             8       A.     ln Che one from yesterday·!                 8    chrough and made an assessment .
             9       Q,     Yes .                                       9        Q.    Did you apply a discount for
            10       A.     Second line, 257,941 . Yes .               10    your capability versus the capability of a
            11       Q.    That assumes a monetization of              11    trustee?
            12   all assets by December of 2022?                       12        A.      No .
            13       A.     Correct .                                  13        Q.    So a trustee would be as capable
            14       Q.     And so everything has been sold            14    as you are in monetizing these assets?
            15   by that time ; correct?                               15              MR . MORRIS : Objection to the
            16       A.     Yes .                                      16        form of the question .
            17       Q.     So, what I am trying to get at             17        Q.      Excuse me?      The answer is?
            18   is, there is both the capability between              18        A.      The answer is maybe .
            19   you and a trustee, and then the second                19        Q.      Couldn ' t a trustee hire somebody
            20   issue is timing . So , what discount was              20    as capable as you are?
            21   put on for timing, Mr . Seery, between when           21                MR . MORRIS :   Objection to the
            22   a trustee would sell it versus when you               22        form of the question .
            23   would sell it?                                        23        A.     Perhaps .
            24             MK . MUKKl~ : Ubjection .                   24        ~-     ~ir, that is a yes or no
            25       Q.    What is the percentage you                  25    question . Could the trustee hire somebody

                                                           P3.ge 44                                                       Page 45
             1                    J . SEERY                             1                        J . SEERY
             2   as capable as you are?                                 2        Q.      Again , the discounts are applied
             3              MR . MORRIS :   Objection to the            3    for timing and capabilicy?
             4       form of the question .                             4        A.      Yes .
             5       A.    I don ' t know .                             5        Q.      Now, in looking at the November
             6       Q.     Is there anybody as capable as              6    plan analysis number of $190 million and
             7   you are?                                               7    the January number of $257 million, what
             8              MR . MORRIS :   Objection to the            8    accounts for the increase between the two
             9       form of the question .                             9    dates?   What assets specifically?
            10       A.    Certainly.                                  10        A.    There are a number of assets .
            11       Q.    And they could be hired .                   11    Firscly, the HCLOF assets are added .
            12   Correct?                                              12              How much are those?
            13       A.     Perhaps .   I don ' t know .               =13       A.                  22 and a half
            14       Q.    And if you go back to the                   14    million dollars .
            15   November 2020 liquidation analysis versus             15        Q.    Okay .
            16   plan analysis , it is also che same note              16        A.      Secondly, there is a signifi~
            17   about that a trustee would bring less, and            17    increase in che value of certain of the
            18   there is the same sort of discount between            18    assets over this tlllle _oeriod .
            19   the estimated proceeds under the plan and             19        Q.    Which assets , Mr . Seery?
            20   under the liquidation analysis .                      20        A.    There are a number. They
            21             MR . MORRIS : If chat is a                  21    include MGM scock , th~    clude Trust         y_,
            22       question , I object .                             22    c ~ include T~ a .
            23       Q.    Is that correct, Mr . Seery,                23       Q.    And what is the percentage
            24   looking at the document?                              24    increase from November to January ,
            25       A.    There are discounts, yes .                  25    November of 2020 to January of 2021?




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              1                       J . SEERY                            1                        J . SEERY
              2       A.    Do you mean what is the                        2   markets ; correct?
              3   percentage increa.se from 190 to 257?                    3       A.     No .
              4       Q.    No . You just identified three                 4       Q.     Those are operating businesses?
              5   assets . MGM stock , we can go look at the               5      A.      Correct .
              6   exchange and figure out what the price                   6       Q.   Who provided the valuation for
              7   increase is ; correct?                                   7   the November 2020 liguidation analysis?
              8      A.     No .                                           8       A.   We use a combination of the
              9      Q.     Why not?      Is the MGM stock                 9   value that w~ et from Houlihan Lokey...f_or
             10   publicly traded?                                        10   mark u.n:,gses and then we ad~ust it for
             11           A.   Yes . It doesn ' t trade on -              11   plan purposes .
             12           Q.   Excuse me?                                 12       Q.    And the adj ustment was up or
             13       A.    It doesn ' t trade on an exchange .           13   down?
             14       Q.    Is there a public market for the              14       A.     When?
             15   MGM stock that we could cal culate the                  15       Q.     For both
             16   increase?                                               16   You got a number from
             17           A.   There is a semipublic market ;             i7   adjusted it . Did you adjust it up or did
             18   yes .                                                   18    ou adjust i t down?
             19       Q.    So it is a number that is                     19             MR . MORRIS : Objection to form
             20   readily available between the two dates?                20       of the question .
             21       A.    It ' s available .                            21       A.    I believe that for November we
             22       Q.     Now, you identified Targa and                22   adjusted it down, and for January we
             23   Trustway . Correct?                                     23   agjusted it down .     I don ' t    recal l off the
             24           A.   Yes .                                      24   to of m head buc I believe both of them
             25           Q.   Those are not readily available            25   were adjusted down .

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              1                       J . SEERY                            1                    J . SEERY
              2        Q.      And if I understand what-YQ_u               2   of 2021 , the magnitude beil}g ro~hl          60
              3   j ust said , it is that the Houlihan Lok_gy              3   some odd million dollars . Correct?
              4   valuation for chose two businesses showed                4       A.    Correct .
              5   a s~nificant increase between November of                5       Q.    We can account for $22 million
              6   2020 and Jan ua.f.Y o f 2021?                            6   of ic easjj,y, ri ht?
              7             MR . MORRIS : Objection to form                7             MR . MORRIS :     Objection to f o rm .
              8       of the question .                                    8       A.    Correct .
              9       A.    I didn ' t say that .                          9        Q.    That is the HarbourVesc
             10           Q.   I am trying to account for the             10   settlement , so that leaves roughJ.y
             11   increase between the two daces , anc!...Y.Qg,           11   $40 million unaccounted for?
             12   identified three assets . You identified                12             MR . MORRIS : Objection to the
             13   MGM stock, which has      I can   uess , as     ou      13       form of the question if that is a
             14   have said, a readily ascertainable value .              14        question . It is accounted for .
             15   Then you identified two others chat the                 15        Q.    What makes up thac difference ,
             16   valuation is based u122n somethin Houl ihan             16   Mr . Seer?
             17   Lo~     ovide    ou . Correct?                          17       A.    A ch5ID9e in th          ~ n value of
             18           A. I g~    ou three e ~       .   I             18   the assets .
             19   never said " readily ." That is ,.your word,            19       Q.    Okay . Which assets? Let ' s sort
             20   not mine . And I didn ' t say that Hou l ihan           20   of go back to where we were .
             21   had a significant change in their                       21       A.    There are numerous assets in the
             22   valuation .                                             22   gJ,gp formu l ation .   I gav you three
             23       Q.      So let ' s now o back co the                23   exam.P,les of the,,.,9pexpt ill9 businesses . The
             24   ~   tion . There is an increase in va l ue              24   securities , I beli ~ , have increased in
             25   from November 24th of 2020 to January 28th              25   value since the plan , so those would qo up




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              1                       J . SEERY                         1                     J . SEERY
              2   for one .    On the og§_rat ing businesses_, we       2   HarbourVest settlement , right?
              3   looked at each of them and made an                    3       A.    I believe that ' s correct .
              4   assessment based upon where the market is             4       Q.    Is that fair, Mr . Seery?
              5   and what we believe the values are, and we            5       A.    I believe that is correct, yes .
              6   have moved those valuations .                         6       Q.    And part of that differential
              7       Q.    Let me look at some numbers                 7   are publicly traded or ascertainable
              8   again . In the liquidation analysis in                8   securities . Correcc?
              9   November of 2020, the liquidation value is            9      A.     Yes .
             10   $149 million . Correct?                              10      Q.     And basically you can get , or
             11        A.   Yes .                                      11   under the plan analysis or trustee
             12       Q.    And in the liquidation analysis            12   analysis , if it is a marketable security
             13   in January of 2021 , you have $191 million?          13   or where there is a market ,     the
             14       A.    Yes .                                      14   liquidation number should be the same for
             15       Q.    You see that number . So there             15   both . Is that fair?
             16   is $51 million there, right?                         16        A.      No .
             17       A.    No .                                       17        Q.      And why not?
             18        Q.   What is the difference between             18       A.    We might have a different price
             19   191 and - sorry. My math may be a little             19   target for a particular security than the
             20   off . What is the difference between the             20   current trading value .
             21   two numbers , Mr . Seery?                            21       Q.    I understand that , but I mean
             22        A.      Your math is off .                      22   that is based upon the capability of the
             23        Q.      Sorry . It is 41 million?               23   person making the decision as to when to
             24       A.       Correct .                               24   sell .    Correct?
             25        Q.      $22 million of that is the              25               MR . MORRIS :   Objection to form

                                                             Page 52                                                    Page 5.3
              1                     J . SEERY                           1                        J . SEERY
              2        of the question .                                2   $18 million .     How much of that is publicly
              3        Q.      Mr . Seery, yes or no?                   3   traded or ascertainable assets versus
              4        A.      I said no .                              4   operating businesses?
              5        Q.      What is that based on , then?            5       A.    I don ' t know off the top of my
              6        A.      The person ' s ability to assess         6   head the percentages .
              7   the market and timing .                               7       Q.      All right . The same question
              8       Q.    Okay . And again , couldn ' t a             8   for the p l an analysis where you have the
              9   trustee hire somebody as capable as you to            9   differential between the November number
             10   both, A, assess the market and, B, make a            10   and the January number . How much of it is
             11   determination as to when to sel l?                   11   marketable securities versus an operating
             12             MR . MORRIS : Objection to form            12   business?
             13       of the question .                                13       A.    I don ' t recall off the top of my
             14        A.      I suppose a trustee could .             14   head .
             15       Q.    And there are better peopl e or            15             MR . DRAPER :     Let me take a
             16   people equally or better than you at                 16        few-minute break .     Can we take a
             17   assessing a market .     Correct?                    17        ten-minute break here?
             18       A.    Yes .                                      18              THE WITNESS : Sure.
             19              MR . MORRIS : Objection to form           19                (Recess . )
             20        of the question .                               20   BY MR . DRAPER:
             21        Q.    So, again , let ' s go back to            21        Q.      Mr . Seery, what I am going to
             22   that .    We have accounted for , out of             22   show you and what I would ask you to look
             23   $41 million where the l iquidation analysis          23   at is in the note E, in the statement of
             24   increases between the two dates ,                    24   assumptions for the November 2020
             25   $22 million of it .     That leaves                  25   disclosure statement .      It discusses fixed




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                                                                                                                                   APP 882
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                                         Sale of Assets of Affiliates or Controlled Entities

                Asset                                                   Sales Price
                Structural Steel Products                               $50 million
                Life Settlements                                        $35 million
                OmniMax                                                 $50 million
                Targa                                                   $37 million


                   •   These assets were sold over the contemporaneous objections of James Dondero, who was the
                       Portfolio Manager and key-man on the funds.
                   •   Mr. Seery admitted 1 that he must comply with the Bankruptcy Code, the Federal Rules of
                       Bankruptcy Procedure, and the Protocols for the sale of major assets of the estate. We believe
                       that a competitive bid process and court approval should have been required for the sale of each
                       of these assets (as was done for the sale of the building at 2817 Maple Ave. [a $9 million asset]
                       and the sale of the interest in PetroCap [a $3 million asset]).




            1
                See Mr. Seery’s Jan. 29, 2021 deposition testimony, Appendix p. A-20.


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                                           20 Largest Unsecured Creditors

             Name of Claimant                    Allowed Class 8   Allowed Class 9
             Redeemer Committee of the
             Highland Crusader Fund              $136,696,610.00
             UBS AG, London Branch and UBS
             Securities LLC
                                                 $65,000,000.00    $60,000,000
             HarbourVest entities                $45,000,000.00    $35,000,000
             Acis Capital Management, L.P. and
             Acis Capital Management GP, LLC     $23,000,000.00
             CLO Holdco Ltd                      $11,340,751.26
             Patrick Daugherty
                                                                   $2,750,000 (+$750,000 cash payment
                                                 $8,250,000.00     on Effective Date of Plan)
             Todd Travers (Claim based on
             unpaid bonus due for Feb 2009)      $2,618,480.48
             McKool Smith PC                     $2,163,976.00
             Davis Deadman (Claim based on
             unpaid bonus due for Feb 2009)      $1,749,836.44
             Jack Yang (Claim based on unpaid
             bonus due for Feb 2009)             $1,731,813.00
             Paul Kauffman (Claim based on
             unpaid bonus due for Feb 2009)      $1,715,369.73
             Kurtis Plumer (Claim based on
             unpaid bonus due for Feb 2009)      $1,470,219.80
             Foley Gardere                       $1,446,136.66
             DLA Piper                           $1,318,730.36
             Brad Borud (Claim based on unpaid
             bonus due for Feb 2009)             $1,252,250.00
             Stinson LLP (successor to Lackey
             Hershman LLP)                       $895,714.90
             Meta-E Discovery LLC                $779,969.87
             Andrews Kurth LLP                   $677,075.65
             Markit WSO Corp                     $572,874.53
             Duff & Phelps, LLC                  $449,285.00
             Lynn Pinker Cox Hurst               $436,538.06
             Joshua and Jennifer Terry
                                                 $425,000.00
             Joshua Terry
                                                 $355,000.00
             CPCM LLC (bought claims of
             certain former HCMLP employees)     Several million
             TOTAL:                              $309,345,631.74   $95,000,000




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                                               Timeline of Relevant Events

             Date          Description
             10/29/2019    UCC appointed; members agree to fiduciary duties and not sell claims.
             9/23/2020     Acis 9019 filed
             9/23/2020     Redeemer 9019 filed
             10/28/2020    Redeemer settlement approved
             10/28/2020    Acis settlement approved
             12/24/2020    HarbourVest 9019 filed
             1/14/2021     Motion to appoint examiner filed
             1/21/2021     HarbourVest settlement approved; transferred its interest in HCLOF to HCMLP
                           assignee, valued at $22 million per Seery
             1/28/2021     Debtor discloses that it has reached an agreement in principle with UBS
             2/3/2021      Failure to comply with Rule 2015.3 raised
             2/24/2021     Plan confirmed
             3/9/2021      Farallon Cap. Mgmt. forms “Muck Holdings LLC” in Delaware
             3/15/2021     Debtor files Jan. ‘21 monthly operating report indicating assets of $364 million,
                           liabilities of $335 million (inclusive of $267,607,000 in Class 8 claims, but exclusive
                           of any Class 9 claims), the last publicly filed summary of the Debtor's assets. The
                           MOR states that no Class 9 distributions are anticipated at this time and Class 9
                           recoveries are not expected.
             3/31/2021     UBS files friendly suit against HCMLP under seal
             4/8/2021      Stonehill Cap. Mgmt. forms “Jessup Holdings LLC” in Delaware
             4/15/2021     UBS 9019 filed
             4/16/2021     Notice of Transfer of Claim - Acis to Muck (Farallon Capital)
             4/29/2021     Motion to Compel Compliance with Rule 2015.3 Filed
             4/30/2021     Notice of Transfer of Claim - Redeemer to Jessup (Stonehill Capital)
             4/30/2021     Notice of Transfer of Claim - HarbourVest to Muck (Farallon Capital)
             4/30/2021     Sale of Redeemer claim to Jessup (Stonehill Capital) "consummated"
             5/27/2021     UBS settlement approved; included $18.5 million in cash from Multi-Strat
             6/14/2021     UBS dismisses appeal of Redeemer award
             8/9/2021      Notice of Transfer of Claim - UBS to Jessup (Stonehill Capital)
             8/9/2021      Notice of Transfer of Claim - UBS to Muck (Farallon Capital)

            Critical unknown dates and information:

               •   The date on which Muck entered into agreements with HarbourVest and Acis to acquire their
                   claims and what negative and affirmative covenants those agreements contained.
               •   The date on which Jessup entered into an agreement with the Redeemer Committee and the
                   Crusader Fund to acquire their claim and what negative and affirmative covenants the agreement
                   contained.
               •   The date on which the sales actually closed versus the date on which notice of the transfer was
                   filed (i.e., did UCC members continue to serve on the committee after they had sold their claims).



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                             Debtor’s October 15, 2020 Liquidation Analysis [Doc. 1173-1]

                                                                             Plan Analysis     Liquidation
                                                                                               Analysis
             Estimated cash on hand at 12/31/2020                            $26,496           $26,496
             Estimated proceeds from monetization of assets [1][2]           198,662           154,618
             Estimated expenses through final distribution [1][3]            (29,864)          (33,804)
             Total estimated $ available for distribution                    195,294           147,309

             Less: Claims paid in full
             Administrative claims [4]                                       (10,533)          (10,533)
             Priority Tax/Settled Amount [10]                                (1,237)           (1,237)
             Class 1 – Jefferies Secured Claim                               -                 -
             Class 2 – Frontier Secured Claim [5]                            (5,560)           (5,560)
             Class 3 – Priority non-tax claims [10]                          (16)              (16)
             Class 4 – Retained employee claims                              -                 -
             Class 5 – Convenience claims [6][10]                            (13,455)          -
             Class 6 – Unpaid employee claims [7]                            (2,955)           -
             Subtotal                                                        (33,756)          (17,346)
             Estimated amount remaining for distribution to general          161,538           129,962
             unsecured claims
             Class 5 – Convenience claims [8]                                -                 17,940
             Class 6 – Unpaid employee claims                                -                 3,940
             Class 7 – General unsecured claims [9]                          174,609           174,609
             Subtotal                                                        174,609           196,489
             % Distribution to general unsecured claims                      92.51%            66.14%
             Estimated amount remaining for distribution                     -                 -
             Class 8 – Subordinated claims                                   no distribution   no distribution
             Class 9 – Class B/C limited partnership interests               no distribution   no distribution
             Class 10 – Class A limited partnership interests                no distribution   no distribution


            Notable notations/disclosures in the Oct. 15, 2020 liquidation analysis include:

                •   Note [9]: General unsecured claims estimated using $0 allowed claims for HarbourVest and
                    UBS. Ultimately, those two creditors were awarded $105 million of general unsecured claims
                    and $95 million of subordinated claims.




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                                          Updated Liquidation Analysis (Feb. 1, 2021) 2
                                                                               Plan Analysis      Liquidation
                                                                                                  Analysis
                Estimated cash on hand at 1/31/2020 [sic]                      $24,290            $24,290
                Estimated proceeds from monetization of assets [1][2]          257,941            191,946
                Estimated expenses through final distribution [1][3]           (59,573)           (41,488)
                Total estimated $ available for distribution                   222,658            174,178

                Less: Claims paid in full
                Unclassified [4]                                               (1,080)            (1,080)
                Administrative claims [5]                                      (10,574)           (10,574)
                Class 1 – Jefferies Secured Claim                              -                  -
                Class 2 – Frontier Secured Claim [6]                           (5,781)            (5,781)
                Class 3 – Other Secured Claims                                 (62)               (62)
                Class 4 – Priority non-tax claims                              (16)               (16)
                Class 5 – Retained employee claims                             -                  -
                Class 6 – PTO Claims [5]                                       -                  -
                Class 7 – Convenience claims [7][8]                            (10,280)           -
                Subtotal                                                       (27,793)           (17,514)
                Estimated amount remaining for distribution to general         194,865            157,235
                unsecured claims
                % Distribution to Class 7 (Class 7 claims including in Class   85.00%             0.00%
                8 in Liquidation scenario)
                Class 8 – General unsecured claims [8] [10]                    273,219            286,100
                Subtotal                                                       273,219            286,100
                % Distribution to general unsecured claims                     71.32%             54.96%
                Estimated amount remaining for distribution                    -                  -
                Class 9 – Subordinated claims                                  no distribution    no distribution
                Class 10 – Class B/C limited partnership interests             no distribution    no distribution
                Class 11 – Class A limited partnership interests               no distribution    no distribution


            Notable notations/disclosures in the Feb. 1, 2021 liquidation analysis include:

                  •    claim amounts in Class 8 assume $0 for IFA and HM, $50.0 million for UBS and $45 million
                       HV.
                  •    Assumes RCP claims will offset against HCMLP's interest in fund and will not be paid from
                       Debtor assets




            2
                Doc. 1895.


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                             Summary of Debtor’s January 31, 2021 Monthly Operating Report 3


                                                             10/15/2019           12/31/2020            1/31/2021
                Assets
                Cash and cash equivalents                      $2,529,000           $12,651,000           $10,651,000
                Investments, at fair value                   $232,620,000         $109,211,000          $142,976,000
                Equity method investees                      $161,819,000         $103,174,000          $105,293,000
                mgmt and incentive fee receivable              $2,579,000            $2,461,000            $2,857,000
                fixed assets, net                              $3,754,000            $2,594,000            $2,518,000
                due from affiliates                          $151,901,000         $152,449,000          $152,538,000
                reserve against notices receivable                                ($61,039,000)         ($61,167,000)
                other assets                                   $11,311,000           $8,258,000            $8,651,000
                                         Total Assets        $566,513,000          $329,759,000         $364,317,000

                Liabilities and Partners' Capital
                pre-petition accounts payable                   $1,176,000            $1,077,000           $1,077,000
                post-petition accounts payable                                         $900,000            $3,010,000
                Secured debt
                                               Frontier         $5,195,000           $5,195,000           $5,195,000
                                              Jefferies        $30,328,000                   $0                   $0
                Accrued expenses and other liabilities         $59,203,000          $60,446,000          $49,445,000
                Accrued re-organization related fees                                 $5,795,000           $8,944,000
                Class 8 general unsecured claims              $73,997,000           $73,997,000         $267,607,000
                Partners' Capital                            $396,614,000          $182,347,000          $29,039,000
                       Total liabilities and partners'
                                                capital      $566,513,000          $329,757,000         $364,317,000


            Notable notations/disclosures in the Jan. 31, 2021 MOR include:

                  •    Class 8 claims totaled $267 million, a jump from $74 million in the prior month’s MOR
                  •    The MOR stated that no Class 9 recovery was expected, which was based on the then existing
                       $267 million in Class 8 Claims.
                  •    Currently, there are roughly $310 million of Allowed Class 8 Claims.




            3
             [Doc. 2030] Filed on March 15, 2021, the last publicly disclosed information regarding the value of assets in the
            estate.


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                                                 Value of HarbourVest Claim


                                           HarbourVest Interest NAV by Month
              9/29/2020                                                  $22.2

             10/31/2020                                                  $24.2

             11/30/2020                                                  $34.1

             12/31/2020                                                  $39.3

              1/14/2021                                                  $41.6

              1/31/2021

              2/28/2021                                                  $49.7

              3/31/2021                                                  $50.3

              4/30/2021                                                  $53.9

              5/31/2021                                                  $55.9




                                         HarbourVest NAV Value v. Purchase Price
             $60.0



             $50.0



             $40.0



             $30.0



             $20.0



             $10.0



                $-                           T                 r        T                T                   T

                9/29/2020   10/29/2020   11/29/2020   12/29/2020     1/29/2021   2/28/2021   3/31/2021   4/30/2021   5/31/202

                                                      ......   NAV      Purchase Price




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                                            Estate Value as of August 1, 2021 (in millions) 4
                Asset                                                              Low                        High
                Cash as of 6/30/2021                                               $17.9                      $17.9
                                                                  Targa Sale       $37.0                      $37.0
                                                            8/1 CLO Flows          $10.0                      $10.0
                                                            Uchi Bldg. Sale        $9.0                       $9.0
                                                                  Siepe Sale       $3.5                       $3.5
                                                              PetroCap Sale        $3.2                       $3.2
                                                    HarbourVest trapped cash       $25.0                      $25.0
                Total Cash                                                         $105.6                     $105.6
                Trussway                                                           $180.0                     $180.0
                Cornerstone (125mm; 16%)                                           $18.0                      $18.0
                HarbourVest CLOs                                                   $40.0                      $40.0
                CCS Medical (in CLOs and Highland Restoration)                     $20.0                      $20.0
                MGM (direct ownership)                                             $32.0                      $32.0
                Multi-Strat (45% of 100mm; MGM; CCS)                               $45.0                      $45.0
                Korea Fund                                                         $18.0                      $18.0
                Celtic (in Credit-Strat)                                           $12.0                      $40.0
                SE Multifamily                                                     $0.0                       $20.0
                Affiliate Notes                                                    $0.0                       $70.0
                Other                                                              $2.0                       $10.0
                TOTAL                                                              $472.6                     $598.6



                                                            Assets and Claims
                $700.0
                $600.0
                $500.0   • • ,...._____ •
                $400.0
                $300.0
                                              '\. • • • • • • • •
                $200.0
                $100.0
                   $-
                         •• • • • • • • • • • • • • • •
                                                                                                                            ..
                             Total Assets          Class 8 Claims       Class 9 Claims        Unsecured Creditors' Claims




            4
              Values are based upon historical knowledge of the Debtor’s assets (including cross-holdings) and publicly filed
            information.


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                                  HarbourVest Motion to Approve Settlement [Doc. 1625]
               P ACHULSKI ST ANG ZIEHL & JONES LLP
               Jeffrey . Pomerantz (CA Bar No. 1437 17) (admitted pro hac 1 ice)
               Ira D. Kharascb (CA Bar No. 109084) (admitted pro hac vice)
               John A. MrnTis (NY Bar No. 266326) (admitted pro hac vi e)
               Gregory V. Demo (NY Bar No. 5371992) (admitted pro hac vice)
               HayleyR. Wi nograd (NY Bar o. 5612569) (admitted pro hac vice)
               10 I 00 Santa Monica B lvd., 13th Floor
               Los Angeles, CA 90067
               Telephone: (3 10) 277-6910
               Facsimile: (310) 201-0760

               HAYWARD & ASSOCIATES PLLC
               Melissa S. Hayward (TX Bar No. 24044908)
               MHayward HaywardFirm.com
               Zachery Z. Annable (TX Bar No. 24053075)
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               10501 . Centra l Expy Ste. 106
               Dallas, TX 75231
               Telephone: (972) 755-7100
               Facsimile: (972) 755 -7 11 0

               Counsel for the Debtor and Debtor-in-Possession


                                      IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE ORTHERN DISTRICT OF TEXAS
                                                  DALLAS DIVISIO

                                                                               §
               In re:                                                          § Chapter 11
                                                                               §
               HIGHLAND CAP IT AL MANAGEMENT, L.P. 1                           §   Case No. 19-34054-sgj] 1
                                                                               §
                                                  Debtor.                      §
              ------------------

                        DEBTOR'S MOTIO FOR ENTRY OF AN ORDER APPROVING
                  SETTLEME T WITH HARBOURVEST (CLAIM OS. 143, l47, 149, 150, 153, 154)
                         AND AUTHORIZIN G ACTIONS CON I TENT THEREWITH


               TO THE HONORABLE STACEY G. C. JERNIGAN,
               UNlT ED ST A TES BANKRUPTCY JUDGE:



               1 The last four digits of the Debtor's taxpayer identification number are 6725. The headquarters and service address

               for the Debtor is 300 Crescent Court, Suite 700, Dallas, TX 7520 1.




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                         Highland Capital Management, L.P., the above-captioned debtor and debtor-in-

                 possession ("Highland" or the "Debtor"), files this motion (the " Motion") for entry of no order,

                 substantially in the form attached hereto as Exhibit A, pursuant to Rule 9019 of the Federal

                 Rules of Bankn1ptcy Procedure (the "Bankruptcy Rules"), approving a settlement agreement (the

                 "Settlement Agreement"), 2 a copy of which is attached as Exhibit I to the Declaration ofJohn A.

                 Morris in Support of the Debtor ·s Motion for Entry of an Order Approving Settlement with

                 HarbourVest (Claim Nos. 143, 147, 149. 150, 153. 154) and Authorizing Actions Consistent

                 Therewith being filed simultaneously with this Motion ("Morris Dec."), that, among other things,

                 fully and finally resolves the proofs of claim fi led by HarbourYest 2017 Global Fund LP.,

                 HarbourYest 2017 Global AIF LP., HarbourYest Dover Street IX Investment LP., HY

                 International YID Secondary LP., HarbourYest Skew Base AIF L.P., and HarbourYest Partners

                 L.P. (collectively, "HarbourVest"). In support of this Motion, the Debtor represents as follows:

                                                            JURISDICTION

                                 l.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

                 and 1334. This matter is a core proceediJJg within the meaning of 28 U.S.C. § I57(b)(2). Venue

                 in this District is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                                 2.      The statutory predicates for the relief sought herein are sections lOS(a)

                 and 363 of title 11 of the United States Code (the " Bankruptcy Code"), and Rule 90 19 of the

                 Bankruptcy Rules.




                 2
                  Al l capitalized terms used but not defined herein shall have the meanings given to them in the Settlement
                 Agreement.

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                                                      RELEVANT BACKGROUND

             A.         Procedural Background
                                 3.       On October 16, 20 19 (the "Petition Date"), the Debtor fi led a voluntary

             petition for relief under chapter 11 of the Bankruptcy Code in the Bankruptcy Court for the

             District of Delaware, Case No. 19-12239 (CSS) (the "Delaware Court").

                                 4.       On October 29, 2019, the official committee of unsecured creditors (the

             "Committee") was appointed by the U.S. Trustee in the Delaware Court.

                                 5.       On December 4, 2019, the Delaware Court entered an order tra11Sferring

             venue of the Debtor's case to this Court [Docket No. 186]. 3

                                 6.       On December 27, 2019, the Debtor fi led that certain Motion of the Debtor

             for Approval of Settlement with the Official Committee of Unsecured Creditors Regarding

             Governance of the Debtor and Procedures for Operations in the Ordinary Course [Docket No.

             281] (the "Settlement Motion"). This Court approved the Settlement Motion on January 9, 2020

             [Docket No. 339] (the "Settlement Order'').

                                 7.       In connection with the Settlement Order, an independent board of

             directors was constituted at the Debtor's general partner, Strand Advisors, Inc., and certain

             operating protocols were instituted.

                                 8.       On July 16, 2020, this Court entered an order appointing James P. Seery,

             Jr., as the Debtor's chief executive officer and chief restructuring officer [Docket No. 854].

                                 9.       The Debtor bas continued in the possession of its property and bas

             continued to operate and manage its business as a debtor-in-possession pursuant to sections

              1107(a) and 1108 of the Bankruptcy Code. No trustee or examiner has been appointed in this

             chapter 11 case.


             3
                 All docket numbers refer to the docket maintained by this Court.

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             B.       Overview ofHarbourVest's Claims

                               10.      HarbourVest's claims against the Debtor's estate arise from its $80 million

             investment in Highland CLO Funding, f/k/a Acis Loan Funding, Ltd. ("HCLOF"), pursuant to

             which HarbourVest obtained a 49 percent interest in HCLOF (the "Investment").

                               11.      In brief, HarbourVest contends that it was fraudulently induced into

             entering into the Investment based on the Debtor's misrepresentations and omissions concerning

             certain material facts, including that the Debtor: (1) failed to disclose that it never intended to

             pay an arbitration award obtained by a former portfolio manager, (2) failed to disclose that it

             engaged in a series of fraudulent transfers for the purpose of preventing the former portfolio

             manager from collecting on his arbitration award and misrepresented the reasons changing the

             portfolio manager for HCLOF immediately prior to the Investment, (3) indicated that the dispute

             with the former portfolio manager would not impact investment activities, and (4) expressed

             confidence in the ability of HCLOF to reset or redeem the collateralized loan obligations

             ("CLOs") under its control.

                               12.      HarbourVest seeks to rescind its Investment and claims damages in excess

             of $300 million based on theories of fraud, fraudulent inducement, fraudulent concealment,

             fraudulent misrepresentation, negligent misrepresentation, and breach of fiduciary duty (under

             Guernsey law), and on alleged violations of state securities laws and the Racketeer l nfluenced

             Corrupt Organization Act ("RICO").

                               13 .     HarbourVest's allegations are summarized below. 4




             4
               Solely for purposes of this Motion, and not for any other reason, the facts set forth herein are adopted largely from
             the HarbourVes/ Response to Debtor's First Omnibus Objection to Certain (A) Duplicate Claims: (B) Overstated
             Claims: (C) Late-Filed Claims; (D) Satisfied Claims; (E) No-Liabiliiy Claims: and (F) lnsujficient-Documemalion
             Claims [Docke t No. I057] (the "Response").



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            C.      Summary of HarbourVest's Factual AJlegations

                            14.    At the time HarbourVest made its Investment, the Debtor was embroiled

             m an arbitration against Joshua Terry ("Mr. Terry"), a former employee of the Debtor and

             limited partner of Acis Capital Management, L.P. ("Acis LP"). Through Acis LP, Mr. Terry

             managed Highland's CLO business, including CLO-related inve.stments held by Acis Loan

             Funding, Ltd. ("Acis Funding" ).

                            15.    The litigation between Mr. Terry and the Debtor began in 2016, after the

             Debtor terminated Mr. Terry and commenced an action against him in Texas state court. Mr.

            Terry asserted counterclaims for wrongful termination and for the wrongful taking of his

            ownership interest in Acis LP and subsequently had certain claims referred to arbitration where

            he obtained an award of approximately $8 million (the "Arbitration Award" ) on October 20,

            2017.

                            16.    HarbourVest alleges that the Debtor responded to the Arbitration Award

            by engaging in a series of fraudu lent transfers and corporate restructurings, the true purpose.s of

            which were fraudu lently concealed from HarbourVest.

                            17.    For example, according to HarbourVest, the Debtor changed the name of

            the target fund from Acis Funding to " Highland CLO Funding, Ltd." (" HCLOF") and "swapped

            out" Acis LP for Highland HCF Advisor, Ltd. as portfolio manager (the " Structural Changes").

            The Debtor allegedly told HarbourVest that it made these changes because of the "reputational

             harm" to Acis LP resulting from the Arbitration Award. The Debtor further told HarbourVest

            that in lieu of redemptions, resetting the CLOs was necessary, and that it would be easier to reset

            them under the "Highland" CLO brand instead of the Acis CLO brand.

                            18.    In addition, HarbourVest also alleges that the Debtor had no intention of

            allowing Mr. Terry to collect on his Arbitration Award, and orchestrated a scheme to "denude"


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             Acis of assets by fraudu lently transferring virtually all of its assets and attempting to transfer its

             profitable portfolio management contracts to non-Acis, Debtor-related entities.

                             19.    Unaware of the fraudulent transfers or the true purposes of the Structural

             Changes, and in reliance on representations made by the Debtor, HarbourYest closed on its

             Investment in HCLOF on November 15, 20 17.

                             20.    After discovering the transfers that occurred between Highland and Acis

             between October and December 2017 following the Arbitration Award (the "Transfers"), on

             January 24, 2018, Terry moved for a temporary restraining order (the "TRO") from the Texas

             state court on the grounds that the Transfers were pmsued for the purpose of rendering Acis LP

             judgment-proof. The state court granted the TRO, enjoining the Debtor from transferring any

             CLO management contracts or other assets away from Acis LP.

                             21.    On January 30, 2018, Mr. Terry filed involuntary bankruptcy petitions

             aga inst Acis LP and its general partner, Acis Capital Management GP, LLC. See In re Acis

             Capital Management, L.P.. Case No. 18-30264-sgjl l (Bankr. N.D. Tex. 2018) and In re Acis

             Capital Management GP, LLC, Case No. 18-30265-sgjl 1 (Bankr. N.D. Tex. 2018) (collectively,

             the "Acis Bankruptcy Case"). The Bankruptcy Court overruled the Debtor's objection, granted

             the involuntary petitions, and appointed a chapter 11 trustee (the "Acis Trustee").            A long

             sequence of events subsequently transpired, all of which relate to HarbourYest's claims,

             including:

                     •    On May 31 , 2018, the Court issued a sua sponte TRO preventing any actions m
                          furtherance of the optional redemptions or other liquidation of the Acis CLOs.

                     •    On June 14, 20 18, HCLOF withdrew optional redemption notices.

                     •    The TRO expired on June 15, 20 18, and HCLOF noticed the Acis Trustee that it was
                          requesting an optional redemption.




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                      •   HCLOF's request was withdrawn on July 6, 20L8, and on June 21 , 2018, the Acis
                          Trustee sought an injunction preventing Highland/HCLOF from seeking further
                          redemptions (the "Preliminary In junction").

                      •   The Court granted the Preliminary Injunction on July I 0, 20 18, pending the Acis
                          Trustee's attempts to confirm a p lan or resolve the Acis Bankruptcy.

                      •   On August 30, 2018, the Court denied confirmation of the First Amended Joint Plan
                          for Acis, and held that the Preliminary Injunction must stay in place on the ground
                          that the "evidence thus far bas been compelling that numerous transfers after the Josh
                          Terry judgment denuded Acis of value."

                      •   After tJ1e Debtor made various statements implicating HarbourVest in the Transfers,
                          the Acis Trustee investigated HarbourVest's involvement in sucb Transfers, including
                          exteDsive discovery and taking a 30(b)(6) deposition of HarbourVest's managing
                          director, Michael Pugatch, on November 17, 2018.

                      •   On March 20, 2019, HCLOF sent a letter to Acis LP stating tJ1at it was not interested
                          in pursuing, or able to pursue, a CLO reset transaction.

               D.     The Parties' Pleadings and Positions Concerning HarbourVest's
                      Proofs of Claim

                              22.     On April 8, 2020, HarbourVest filed proofs of claim against Highland that

               were subsequently denoted by the Debtor's claims agents as claim numbers 143, 147, 149, 150,

               153, and 154, respectively (collectively, the "Proofs of Claim"). Morris Dec. Exhibits 2-7.

                              23 .    The Proofs of Claim assert, among other things, that HarbourVest suffered

               significant barrn due to conduct undertaken by the Debtor and the Debtor's employees, including

               "financial barm resulting from (i) court orders in ilie Acis Bankruptcy that prevented certain

               CLOs in which HCLOF was invested from being refinanced or reset and court orders that

               othe1wise relegated the activity of HCLOF [i.e., the Preliminary Injunction]; aDd (ii) significant

               fees and expenses related to the Acis Bankruptcy that were charged to HCLOF." See, e.g. ,

               Morris Dec. Exhibit 2 iJ3.

                              24.     HarbourVest also asserted "ally and all of its right to payment, remedies,

               and other claims (including contingent or unliquidated claims) against the Debtor in connection

               witb and relating to the forgoing barm, including for any amounts due or owed under the various

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             agreements with the Debtor in connection with relating to" the Operative Documents "and any

             and all legal and equitable claims or causes of action relating to the forgoing harm." See, e.g.,

             Morris Dec. Exhi bit 2 iJ4.

                            25.     Highland subsequently objected to HarbourVesl's Proofs of Claim on the

             grounds that they were no-liabil ity claims. [Docket No. 906] (the "Claim Objection").

                            26.     On September 11 , 2020, HarbourVest filed its Response. The Response

             articulated specified claims under U.S. federal and state and Guernsey law. including claims for

             fraud, fraudu lent concealment, fraudulent inducement, fraudulent misrepresentation, negligent

             misrepresentation (collectively, the "Fraud Claims"), U.S. State and Federal Securities Law

             Claims (the "Securities Claims"), violations of the Federal Racketeer Influenced and Corrupt

             Organizations Act ("RICO"), breach of fiduciary dluty and misuse of fund assets, and an unfair

             prejudice claim under Guernsey law (collectively, with the Proofs of Claim. the "HarbourVest

             Claims").

                            27.     On October 18, 2020, Harbow·Vest filed its Motion of HarbourVest

             Pursuant to Rule 3018 of the Federal Rules of Bankruptcy Procedure for Tempora,y Allowance

             of Claims for Pwposes of Voting to Accept or Reject the Plan [Docket No. 1207] (the "30 18

             Motion"). lo its 3018 Motion, HarbourVest sought for its Claims to be temporari ly allowed for

             votillg purposes in the amount of more than $300 million (based largely on a theory of treble

             damages).

             E.     Settlement Discussions
                            28.     ill October, tbe parties discussed the possibi lity of resolving the Rule 30 I 8

              Motion.

                            29.     To November, the parties broadened the discussions in an attempt to reach

             a global resolution of the HarbourVest Claims.        ill the pursuit thereof, the parties and their


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              counsel participated in several conference calls where they engaged in a spirited exchange of

              perspective,s concerning the facts and the law.

                               30.     During follow up meetings, the parties' interests became more defined.

              Specifically, HarbourVest sought to maximize its recovery whi le fully extracting itself from the

              Investment, while the Debtor sought to minjmize the HarbourVest Claims consistent with its

              perceptions oftbe facts and law.

                               3 l.     After the pa11ies' interests became more defined. the principals engaged in

              a series of direct, arm's-length, telephoruc negotiations that ultimately lead to the settlement,

              whose terms are summarized below.

              F.        Summary of Settlement Terms

                                32.     The Settlement Agreement contains the followi.ng material te1ms, among

              others:

                        •   HarbourVest shall transfer its entire interest in HCLOF to an entity to be designated
                            by the Debtor; 5

                        •   HarbourVest shall receive an allowed, general unsecured, non-priority claim in the
                            amount of $45 million and shall vote its Class 8 claim in that amount to support the
                            Plan;

                        •   HarbourVest shall receive a subordinated, allowed, general unsecured, non-priority
                            claim in the amount of $35 rrullion and shall vote its Class 9 claim in that amount to
                            support the Plan;

                        •   HarbourVest will support confirmation of the Debtor's Plan, including, but not
                            lirruted to, voting its claims in support of the Plan;

                        •   The HarbourVest Claims shall be allowed in the aggregate amount of$45 million for
                            voting purposes;

                        •   HarbourVest will support the Debtor's pursuit of its pending Plan of Reorganization;
                            and

                        •   Tbe parties shall exchange mutual releases.

              5
               The NAY for HarbourVest's 49.98% interest in HCLOF was estimated to be a   roximate!Y $22 million as of
              December I. 2020.

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             See generally Morris Dec. Exhibit l.

                                             BASIS FOR RELIEF REQUESTED
                            33.     Bankruptcy Rule 9019 governs the procedural prerequisites to approval of

             a settlement, providing that:

                      On motion by the trustee a11d after notice and a bearing, the court may
                      approve a compromise or settlement. Notice shall be given to creditors, the
                      United States trustee, the debtor, and indenture trustees as provided in Rule
                      2002 and to any other entity as the court may direct.

             FED. R. BANKR. P. 9019(a).

                            34.     Settlements in bankruptcy ru·e favored as a means of minimizing litigation,

             expediting the administration of the bankruptcy estate, and providing for tbe efficient resolution

             of bankruptcy cases. See Myers v. Martin (In re Martin), 9 1 F.3d 389, 393 (3d C ir. 1996);

             Rivercity v. He,pel (In re Jackson Brewing Co.), 624 F.2d 599, 602 (5th Cir. 1980). Pursuant to

             Bankruptcy Rule 90J9(a), a bankruptcy court may approve a compromise or settlement as long

             as the proposed settlement is fa ir, reasonable, and in the best interest of the estate. See In re Age

             Ref Inc., 801 F.3d 530, 540 (5th C ir. 2015). Ultimately, "approval of a compromise is within

             the sound discretion of the bankruptcy court." See United Stares v. AWECO, Inc. (In re A WECO,

             Inc.). 725 F.2d 293, 297 (5th Cir. 1984); Jackson Brewing. 624 F.2d at 602-03.

                            35.     1n making this determination, the United States Court of Appeals for the

             Fifth Circuit applies a three-part test, "with a focus on comparing 'the tem1s of the compromise

             with the rewards of litigation."' Official Comm. of Unsecured Creditors v. Cajun Elec. Power

             Coop. (In re Cajun Elec. Power Coop.), 119 F.3d 349, 356 (5th Cir. 1997) (citing Jackson

             Brewing, 624 F.2d at 602). The Fifth Circuit bas instructed courts to consider the following

             factors: "(l) The probability of success in the litigation, with due consideration for the

             uncertainty of law and fact, (2) The complexity and likely duration of the litigation and any



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              attendant expense, inconvenience and delay, and (3) All oth,~r factors bearing on the wisdom of

              the compromise." Id. Under the rnbric of the third factor referenced above, the Fifth Circuit bas

              specified two additional factors that bear on the decision to approve a proposed settlement. First,

              the court should consider "the paramount interest of creditors with proper deference to their

              reasonable views." Id.; Conn. Gen. Life Ins. Co. v. United Cos. Fin. Co,p. (In re Foster

              Mortgage Co,p.), 68 F.3d 9 14, 917 (5th Cir. 1995). Second, the court shou ld consider the

              "extent to which the settlement is truly the product of anns-le:ngth bargaining, and not of fraud or

              collusion." Age Ref Inc., 801 F.3d at 540; Foster Mortgage Cotp., 68 F.3d at 9 18 (citations

              omitted).

                               36.    There is ample basis to approve the proposed Settlement Agreement based

              on the Ru le 90 19 factors set forth by the Fifth Circuit.

                               37.    First, although the Debtor believes that it has valid defenses to the

              HarbourVest Claims, there is no guarantee that the Debtor would succeed in its litigation with

              HarbourVest. Indeed, to establish its defenses, the Debtor would be required to rely, at least in

              part, on the credibility of witnesses whose veracity bas already been called into question by this

              Court.      Moreover, it will be difficult to dispute that tbe Transfers precipitated the Acis

              Bankniptcy, and, u ltimately, the imposition of the Bankruptcy Court's TRO that restricted

              HCLOF's ability to reset or redeem the CLOs and tbat is at the core of tbe HarbourVest Claims.

                               38.    The second factor- the complexity, duration, and costs of litigation-also

              weighs heavi ly in favor of approving tbe Settlement Agreement. As trus Court is aware, the

              events formi ng the basis of the HarbourYest Claims-incluiding the Terry Litigation and Acis

              Bankruptcy-proceeded for years in this Court and in mulltiple other forums, and has already

              cost the Debtor's estate millions of dollars in legal fees.   lf the Settlement Agreement is not

              approved, then the parties will expend significant resources litigating a host of fact-intensive


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              fraudulent statements and omissions and whether HarbourVest reasonably relied on those

              statements and omissions.

                                      39.         Third, approval of the Settlement Agreement is justified by the paramount

              interest of creditors. Specifically, the settlement will enable the Debtor to: (a) avoid incurring

              substantial litigation costs; (b) avoid the litigation risk associated with HarbourVest's $300

              million claim; a11d (c) through the plan support provisions, increase the likelihood that tbe

              Debtor's pending plan of reorganization will be confirmed.

                                      40.         Finally, the Settlement Agreement was unquestionably negotiated at

              arm' s-length. The terms of the settlement are the result of numerous, ongoing discussions and

              negotiations between the pa11ies and their counsel and represent neither party's "best case

              scenario." lndeed, the Settlement Agreement should be approved as a rational exercise of the

              Debtor's business judgment made after due deliberation of the facts and circumstances

              concerning HarbourVest's Claims.

                                                                     NO PRIOR REQUEST

                                      41.         No previous request for tbe relief sought herein has been made to tbis, or

              any other, CoUJt.

                                                                                NOTICE


                                      42.         Notice of tbis Motion sball be given to the following parties or, in lieu

              thereof, to tbeir counsel, if kuown: (a) counsel for HarbourVest; (b) the Office of the United

              States Trustee; (c) the Office of the United States Attorney for the Northern District of Texas; (d)

              the Debtor's principal secured parties; (e) counsel to the Committee; and (t) parties requesting

              notice pursuant to Bankruptcy Rule 2002. The Debtor submits that, in light of tbe nature of the

              relief requested, no other or further notice need be given.

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                      WHEREFORE, the Debtor respectfully requests entry of an order, substantially in the

              form attached hereto as Exhibit A, (a) granting the relief requested herein, and (b) granting such

              other relief as is just and proper.



              Dated: December 23, 2020.                 PACHULSKI STANG ZlEHL & JONES LLP

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                                                  Exhibit 1
                                        Settlement Agreement




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                                                SETTLEMENT AGREEMENT

                       This Settlement Agreement (the "Agreement") is entered into as of March 30, 2021, by
               and among (i) Highland Capital Management, L.P. ("HCMLP" or the "Debtor"), (ii) Highland
               Credit Opportunities CDO, L.P. (n/k/a Highland Multi Strategy Credit Fund, L.P.) ("Multi-
               Strat," and together with its general partner and its direct and indirect wholly-owned subsidiaries,
               the "MSCF Parties"), (iii) Strand Advisors, Inc. ("Strand"), and (iv) UBS Securities LLC and
               UBS AG London Branch (collectively, "UBS").

                       Each of HCMLP, the MSCF Parties, Strand, and UBS are sometimes referred to herein
               collectively as the "Parties" and individually as a "Party."

                                                        RE C I TA L S

                      WHEREAS, in 2007, UBS entered into certain contracts with HCMLP and two funds
               managed by HCMLP- Highland CDO Opportunity Master Fund, L.P. ("CDO Fund") and
               Highland Special Opportunities Holding Company ("SOHC," and together with CDO Fund, the
               "Funds") related to a securitization transaction (the "Knox Agreement");

                     WHEREAS, in 2008, the parties to the Knox Agreement restructured the Knox
               Agreement;

                      WHEREAS, UBS terminated the Knox Agreement and, on February 24, 2009, UBS
              filed a complaint in the Supreme Court of the State of New York, County of New York (the
              "State Court") against HCMLP and the Funds seeking to recover damages related to the Knox
              Agreement, in an action captioned UBS Securities LLC, et al. v. Highland Capital Management,
              L.P., et al. , Index No. 650097/2009 (N.Y. Sup. Ct.) (the "2009 Action");

                      WHEREAS, UBS's lone claim against HCMLP in the 2009 Action for indemnification
               was dismissed in early 20 l 0, and thereafter UBS amended its complaint in the 2009 Action to
               add five new defendants, Highland Financial Partners, L.P. ("HFP"), Highland Credit Strategies
               Master Funds, L.P. ("Credit-Strat"), Highland Crusader Offshore Partners, L.P. ("Crusader"),
               Multi-Strat, and Strand, and to add new claims for fraudulent inducement, fraudulent
               conveyance, tortious interference with contract, alter ego, and general partner liability;

                      WHEREAS, UBS filed a new, separate action against HCMLP on June 28, 2010, for,
               inter alia, fraudulent conveyance and breach of the implied covenant of good faith and fair
               dealing, captioned UBS Securities LLC, et al. v. Highland Capital Management, L.P. , Index No.
               650752/2010 (N.Y. Sup. Ct.) (the "2010 Action'');

                      WHEREAS, in November 2010, the State Court consolidated the 2009 Action and the
               20 IO Action (hereafter referred to as the "State Court Action"), and on May 11, 2011 , UBS filed
               a Second Amended Complaint in the 2009 Action;

                       WHEREAS, in 2015, UBS entered into settlement agreements with Crusader and Credit-
               Strat, and thereafter UBS filed notices with the State Court in the State Court Action dismissing
               its claims against Crusader and Credit-Strat;




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                       WHEREAS, the State Court bifurcated claims asserted in the State Court Action for
                purposes of trial, with the Phase I bench trial deciding UBS's breach of contract claims against
                the Funds and HCMLP's counterclaims against UBS;

                       WHEREAS, on August 7, 2017, the Funds, along with Highland CDO Opportunity
                Fund, Ltd., Highland CDO Holding Company, Highland Financial Corp., and HFP, purportedly
                sold assets with a purported collective fair market value of $105,647,679 (the "Transferred
                Assets") and purported face value of over $300,000,000 to Sentinel Reinsurance, Ltd.
                ("Sentinel") pursuant to a purported asset purchase agreement (the "Purchase Agreement");

                      WHEREAS, Sentinel treated the Transferred Assets as payment for a $25,000,000
                premium on a document entitled "Legal Liability Insurance Policy" (the "Insurance Policy");

                       WHEREAS, the Insurance Policy purports to provide coverage to the Funds for up to
                $100,000,000 for any legal liability resulting from the State Court Action (the "Insurance
                Proceeds");

                       WHEREAS, one of the Transferred Assets CDO Fund transferred to Sentinel was CDO
                Fund's limited partnership interests in Multi-Strat (the "CDOF Interests");

                        WHEREAS, Sentinel had also received from HCMLP limited partnership interests in
                Multi-Strat for certain cash consideration (together with the CDOF Interests, the "MSCF
                Interests");

                       WHEREAS, the existence of the Purchase Agreement and Insurance Policy were
                unknown to Strand's independent directors and the Debtor's bankruptcy advisors prior to late
                January 2021;

                      WHEREAS, in early February 2021, the Debtor disclosed the existence of the Purchase
                Agreement and Insurance Policy to UBS;

                       WHEREAS, prior to such disclosure, the Purchase Agreement and Insurance Policy
                were unknown to UBS;

                        WHEREAS, on November 14, 2019, following the Phase I trial, the State Court issued
                its decision determining that the Funds breached the Knox Agreement on December 5, 2008 and
                dismissing HCMLP's counterclaims;

                       WHEREAS, Sentinel purportedly redeemed the MSCF Interests in November 2019 and
                the redeemed MSCF Interests are currently valued at approximately $32,823,423.50 (the
                "Sentinel Redemption");

                       WHEREAS, on February 10, 2020, the State Court entered a Phase I trial judgment
                against the Funds in the amount of $1,039,957,799.44 as of January 22, 2020 (the "Phase I
                Judgment");

                       WHEREAS, Phase II of the trial of the State Court Action, includes, inter alia, UBS's
                claim for breach of implied covenant of good faith and fair dealing against HCMLP, UBS's



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                fraudulent transfer claims against HCMLP, HFP, and Multi-Strat, and UBS's general partner
                claim against Strand;

                       WHEREAS, on October 16, 2019, HCMLP filed a voluntary petition for relief under
                chapter 11 of title 11 of the United States Code (the "Bankruptcy Code") in the United States
                Bankruptcy Court for the District of Delaware (the "Bankruptcy Case"). The Bankruptcy Case
                was transferred to the United States Bankruptcy Court for the Northern District of Texas (the
                "Bankruptcy Court") on De-cember 4, 2019;

                    WHEREAS, Phase II of the trial of the State Court Action was automatically stayed as to
                HCMLP by HCMLP's bankruptcy filing;

                       WHEREAS, on May 11, 2020, UBS, Multi-Strat, Highland Credit Opportunities CDO,
                Ltd., and Highland Credit Opportunities CDO Asset Holdings, L.P. (collectively, the "May
                Settlement Parties"), entered into a Settlement Agreement (the "May Settlement") pursuant to
                which the May Settlement Parties agreed to the allocation of the proceeds o f certain sales of
                assets held by Multi-Strat, including escrowing a portion of such funds, and restrictions on
                Multi-Strat's actions;

                        WHEREAS, on June 26, 2020, UBS timely filed two substantively identical claims in
                the Bankruptcy Case: (i) Claim No. 190 filed by UBS Securities LLC; and (ii) Claim No. 191
                filed by UBS AG London Branch (hereinafter collectively referred to as the "UBS Claim"). The
                UBS Claim asserts a general unsecured claim against HCMLP for $1 ,039,957,799.40;

                        WHEREAS, on August 3, 2020, the Bankruptcy Court entered an Order J)irecting
                Mediation [Docket No. 912] pursuant to which HCMLP, UBS, and several other parties were
                directed to mediate their Bankruptcy Case disputes before two experienced third-party mediators,
                Retired Judge Allan Gropper and Sylvia Mayer (together, the "Mediators"). HCMLP and UBS
                formally met with the Mediators together and separately on numerous occasions, including on
                August 27, September 2, 3, and 4, and December 17, 2020, and had numerous other informal
                discussions outside of the presence of the Mediators, in an attempt to resolve the UBS Claim;

                      WHEREAS, on August 7, 2020, HCMLP filed an objection to the UBS Claim [Docket
                No. 928]. Also on August 7, 2020, the Redeemer Committee of the Highland Crusader Fund,
                and Crusader, Highland Crusader Fund, L.P., Highland Crusader Fund, Ltd., and Highland
                Crusader Fund II, Ltd. (collectively, the " Redeemer Committee"), objected to the UBS Claim
                [Docket No. 933]. On September 25, 2020, UBS filed its response to these objections [Docket
                No. 1105];

                        WHEREAS, on October 16, 2020, HCMLP and the Redeemer Committee each moved
                for partial summary judgment on the UBS Claim [Docket Nos. 1180 and 1183, respectively], and
                on November 6, 2020, UBS opposed these motions [Docket No. 1337];

                        WHEREAS, by Order dated December 9, 2020, the Bankruptcy Court granted, as set
                forth therein, the motions for partial summary judgment filed by HCMLP and the Redeemer
                Committee and denied UBS's request for leave to file an amended proof of claim [Docket No.
                1526];




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                       WHEREAS, on November 6, 2020, UBS filed UBS 's Motion for Temporary Allowance
                of Claims for Voting Purposes Pursuant to Federal Rule of Bankruptcy Procedure 3018 [Docket
                No. 1338] (the "3018 Motion"), and on November 16, 2020, HCMLP and the Redeemer
                Committee each opposed the 3018 Motion [Doclket Nos. 1404 and 1409, respectively];

                      WHEREAS, by Order dated December 8, 2020, the Bankruptcy Court granted the 3018
                Motion and allowed the UBS Claim, on a temporary basis and for voting purposes only, in the
                amount of$94,761,076 [Docket No. 1518];

                      WHEREAS, on January 22, 2021, the Debtor filed the Fifth Amended Plan of
                Reorganization for Highland Capital Management, L.P. (As Modified) [Docket No. 1808] (as
                amended, and as may be further amended, supplemented, or otherwise modified, the "Plan");

                       WHEREAS, on March 29, 2021, the Debtor caused CDO Fund to make a claim on the
                Insurance Policy to collect the Insurance Proceeds pursuant to the Phase I Judgment;

                        WHEREAS, on March 29, 2021, UBS filed an adversary proceeding seeking injunctive
                relief and a motion for a temporary restraining order and preliminary injunction to, among other
                things, enjoin the Debtor from allowing Multi-Strat to distribute the Sentinel Redemption to
                Sentinel or any transferee of Sentinel (the "Multi-Strat Proceeding"), which relief the Debtor, in
                its capacity as Multi-Strat's investment manager and general partner, does not oppose;

                       WHEREAS, the Parties wish to enter into this Agreement to settle all claims and
                disputes between and among them, to the extent and on the terms and conditions set forth herein,
                and to exchange the mutual releases set forth herein, without any admission of fault, liability, or
                wrongdoing on the part of any Party; and

                       WHEREAS, this Agreement will be presented to the Bankruptcy Court for approval
                pursuant to Federal Rule of Bankruptcy Procedure 9019 ("Rule 9019") and section 363 of the
                Bankruptcy Code;

                       NOW THEREFORE, in consideration of the above recitals, the covenants, conditions,
                and promises made herein, and other good and valuable consideration, the receipt of which is
                hereby acknowledged, the Parties agree as follows:

                                                              AGREEMENT

                       1.      Settlement of Claims. In full and complete satisfaction of the UBS Released
                Claims (as defined below):

                             (a)    The UBS Claim will be allowed as (i) a single, general unsecured claim in
                the amount of $65,000,000 against HCMLP, which shall be treated as a Class 8 General
                Unsecured Claim under the Plan; 1 and (ii) a single, subordinated unsecured claim in the amount
                of $60,000,000 against HCMLP, which shall be treated as a Class 9 Subordinated General
                Unsecured Claim under the Plan.



                1 Capitalized terms used but not defined herein shall have the meanings attributed to them in the Plan.




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                                 (b)    Multi-Strat will pay UBS the sum of $18,500,000 (the "Multi-Strat
                 Payment") as follows: (i) within two (2) business days after the Order Date, the May Settlement
                 Parties will submit a Joint Release Instruction (as defined in the May Settlement) for the release
                 of the amounts held in the Escrow Account (as defined in the May Settlement) to be paid to UBS
                 in partial satisfaction of the Multi-Strat Payment on the date that is ten (10) business days
                 following the Order Date; and (ii) Multi-Strat will pay UBS the remainder of the Multi-Strat
                 Payment in immediately available funds on the date that is ten (10) business days following the
                 Order Date, provided that, for the avoidance of doubt, the amounts held in the Escrow Account
                 will not be paid to UBS until and unless the remainder of the Multi-Strat Payment is made.

                                 (c)     Subject to applicable law, HCMLP will use reasonable efforts to (i) cause
                 CDO Fund to pay the Insurance Proceeds in full to UBS as soon as practicable, but no later than
                 within 5 business days of CDO Fund actually receiving the Insurance Proceeds from or on behalf
                 of Sentinel; (ii) if Sentinel refuses to pay the Insurance Proceeds, take legal action reasonably
                 designed to recover the Insurance Proceeds or the MSCF Interests or to return the Transferred
                 Assets to the Funds to satisfy the Phase I Judgment and in addition shall provide reasonable
                 assistance to UBS in connection with any legal action UBS takes to recover the Insurance
                 Proceeds or to return the Transferred Assets to the Funds to satisfy the Phase I Judgment or
                 obtain rights to the MSCF interests, including but not limited to the redemption payments in
                 connection with the MSCF Interests; (iii) cooperate with UBS and participate (as applicable) in
                 the investigation or prosecution of claims or requests for injunctive relief against the Funds,
                 Multi-Strat, Sentinel, James Dondero, Isaac Leventon, Scott Ellington, Andrew Dean,
                 Christopher Walter, Jean Paul Sevilla, Matthew DiOrio, Katie Irving, and/or any other current or
                 former employee or director of the Funds or Sentinel and/or any other former employee or
                 former director of any of the HCMLP Parties that is believed to be involved with the Purchase
                 Agreement, Insurance Policy, Transferred Assets, the transfer of the MSCF Interests, or any
                 potentially fraudulent transfer of assets from the Funds to Sentinel, excluding the individuals
                 listed on the schedule provided to UBS on March 25, 2021 (the " HCMLP Excluded
                 Employees"); (iv) as soon as reasonably practicable, provide UBS with all business and trustee
                 contacts at the Funds, HFP, Greenbriar CLO Ltd., Greenbriar CLO Corp., Aberdeen Loan
                 Funding Ltd, Eastland CLO Lt~ Grayson CLO Ltd, Valhalla CLO Ltd, and Governance Re Ltd,
                 if any, that are actually known by the Debtor after reasonable inquiry; (v) as soon as reasonably
                 practicable, provide UBS with a copy of the governing documents, prospectuses, and indenture
                 agreements for the Funds, HFP, Greenbriar CLO Ltd., Greenbriar CLO Corp., Aberdeen Loan
                 Funding Ltd, Eastland CLO Lt~ Grayson CLO Ltd, Valhalla CLO Ltd, and Governance Re Ltd,
                 as applicable, that are in the Debtor's actual possession, custody, or control, (vi) as soon as
                 reasonably practicable, provide, to the extent possible, any CUSIP numbers of the securities of
                 the Funds, HFP, Greenbriar CLO Ltd., Greenbriar CLO Corp., Aberdeen Loan Funding Ltd,
                 Eastland CLO Lt~ Grayson CLO Ltd, Valhalla CLO Ltd, and Governance Re Ltd., as
                 applicable, including information regarding the location and amount of any cash related to those
                 entities' holdings, in each case only to the extent actually known by the Debtor after reasonable
                 inquiry; (vii) cooperate with UBS to assign or convey any such assets described in Section
                 l(c)(vi) or any other assets owned or controlled by the Funds and/or HFP, including for
                 avoidance of doubt any additional assets currently unknown to the Debtor that the Debtor
                 discovers in the future after the Agreement Effective Date; (viii) respond as promptly as
                 reasonably possible to requests by UBS for access to relevant documents and approve as
                 promptly as reasonably possible requests for access to relevant documents from third parties as
                 needed with respect to the Transferred Assets, the Purchase Agreement, the Insurance Policy, the


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                MSCF Interests and any other assets currently or formerly held by the Funds or HFP, including
                without limitation the requests listed in Appendix A (provided, however, that the provision of
                any such documents or access will be subject to the common interest privilege and will not
                constitute a waiver of any attorney-client or other privilege in favor of HCMLP) that are in the
                Debtor's actual possession, custody, or control; (ix) preserve all documents in HCMLP's
                possession, custody, or control regarding or relating to the Purchase Agreement, the Insurance
                Policy, the MSCF Interests, or any transfer of assets from the Funds to Sentinel, including but
                not limited to the documents requested in Appendix A, from 2016 to present, and issue a
                litigation hold to all individuals deemed reasonably necessary regarding the same; and (x)
                otherwise use reasonable efforts to assist UBS to collect its Phase I Judgment against the Funds
                and HFP and assets the Funds and/or HFP may own, or have a claim to under applicable law
                ahead of all other creditors of the Funds and HFP; provided, however, that, from and after the
                date hereof, HCMLP shall not be required to incur any out-of-pocket fees or expenses, including,
                but not limited to, those fees and expenses for outside consultants and professionals (the
                "Reimbursable Expenses"), in connection with any provision of this Section 1(c) in excess of
                $3,000,000 (the "Expense Cap"), and provided further that, for every dollar UBS recovers from
                the Funds (other than the assets related to Greenbriar CLO Ltd. or Greenbriar CLO Corp.),
                Sentinel, Multi-Strat (other than the amounts set forth in Section l (b) hereof), or any other
                person or entity described in Section l (c)(iii) in connection with any claims UBS has that arise
                out of or relate to the Phase I Judgment, the Purchase Agreement, the Insurance Policy, the
                Transferred Assets, the MSCF Interests, or the Insurance Proceeds (the "UBS Recovery"), UBS
                will reimburse HCMLP ten percent of the UBS Recovery for the Reimbursable Expenses
                incurred by HCMLP, subject to: (I) the occurrence of the Agreement Effective Date and (2)
                UBS's receipt and review of invoices and time records (which may be redacted as reasonably
                necessary) for outside consultants and professionals in connection with such efforts described in
                this Section l(c), up to but not exceeding the Expense Cap after any disputes regarding the
                Reimbursable Expenses have been resolved pursuant to procedures to be agreed upon, or absent
                an agreement, in a manner directed by the Bankruptcy Court; and provided further that in any
                proceeding over the reasonableness of the Reimbursable Expenses, the losing party shall be
                obligated to pay the reasonable fees and expenses of the prevailing party; and provided further
                that any litigation in which HCMLP is a co-plaintiff with UBS or a plaintiff pursuing claims on
                behalf of or for UBS's benefit pursuant to this Section l(c) shall be conducted in consultation
                with UBS, including but not limited to the s-election of necessary outside consultants and
                professionals to assist in such litigation; and provided further that UBS shall have the right to
                approve HCMLP's selection of outside consultants and professionals to assist in any litigation in
                which HCMLP is a co-plaintiff with UBS or a plaintiff pursuing claims on behalf of or for
                UBS's benefit pursuant to this Section l(c).

                              (d)     Redeemer Appeal.

                                      (i)   On the Agreement Effective Date, provided that neither the
                Redeemer Committee nor any entities acting on its behalf or with any assistance from or
                coordination with the Redeemer Committee have objected to this Agreement or the 9019 Motion
                (as defined below), UBS shall withdraw with prejudice its appeal of the Order Approving
                Debtor's Settlement with (A) the Redeemer Committee of the Highland Crusader Fund (Claim
                No. 72) and (BJ the Highland Crusader Funds (Claim No. 81), and Authorizing Actions
                Consistent Therewith [Docket No. 1273] (the "Redeemer Appeal"); and



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                                       (ii)    The Parties have stipulated to extend the deadline for the filing of
               any briefs in the Redeemer Appeal to June 30, 2021 and will agree to such further extensions as
               necessary to facilitate this Settlement Agreement.

                              (e)     As of the Agreement Effective Date, the restrictions and obligations set
               forth in the May Settlement, other than those in Section 7 thereof, shall be extinguished in their
               entirety and be of no further force or effect.

                              (f)    On the Agreement Effective Date, the Debtor shall instruct the claims
               agent in the Bankruptcy Case to adjust the claims register in accordance with this Agreement.

                              (g)     On the Agreement Effective Date, any claim the Debtor may have against
               Sentinel or any other party, and any recovery related thereto, with respect to the MSCF Interests
               shall be automatically transferred to UBS, without any further action required by the Debtor. For
               the avoidance of doubt, the Debtor shall retain any and all other claims it may have against
               Sentinel or any other party, and the recovery related thereto, unrelated to the MSCF Interests.

                      2.      Definitions.

                              (a)   "Agreement Effective Date" shall mean the date the full amount of the
               Multi-Strat Payment defined in Section l (b) above, including without limitation the amounts
               held in the Escrow Account (as defined in the May Settlement), is actually paid to UBS.

                          (b)    "HCMLP Parties" shall mean (a) HCMLP, in its individual capacity; (b)
               HCMLP, as manager of Multi-Strat; and (c) Strand.

                             (c)    "Order Date" shall mean the date of an order entered by the Bankruptcy
               Court approving this Agreement pursuant to a motion filed under Rule 9019 and section 363 of
               the Bankruptcy Code.

                              (d)     "UBS Parties" shall mean UBS Securities LLC and UBS AG London
               Branch.

                      3.      Releases.

                               (a)     UBS Releases. Upon the occurrence of the Agreement Effective Date,
               and to the maximum extent pennitted by law, each of the UBS Parties hereby forever, finally,
               fully, unconditionally, irrevocably, and completely releases, relieves, acquits, remises,
               exonerates, forever discharges, and covenants never to sue (A) the HCMLP Parties and each of
               their current and former advisors, attorneys, trustees, directors, officers, managers, members,
               partners, employees, beneficiaries, shareholders, agents, participants, subsidiaries, parents,
               affiliates, successors, designees, and assigns (each in their capacities as such), except as
               expressly set forth below, and (B) the MSCF Parties and each of their current and fonner
               advisors, attorneys, trustees, directors, officers, managers, members, partners, employees,
               beneficiaries, shareholders, agents, participants, subsidiaries, parents, affiliates, successors,
               designees, and assigns (each in their capacities as such), except as expressly set forth below, for
               and from any and all claims, debts, liabilities, demands, obligations, promises, acts, agreements,
               liens, losses, costs and expenses (including, without limitation, attorneys' fees and related costs),
               damages, injuries, suits, actions, and causes of action of whatever kind or nature, whether known


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                or unknown, suspected or unsuspected, matured or unmarured, liquidated or unliquidated,
                contingent or fixed, at law or in equity, or statutory or otherwise, including, without limitation,
                any claims, defenses, and affirmative defenses, whether known or unknown, including, without
                limitation, those that have been or could have been alleged or asserted in the State Court Action
                or the Bankruptcy Case (collectively, the "UBS Released Claims"), provided, however, that
                notwithstanding anything to the contrary herein, such releases shall not apply to (1) the
                obligations of the HCMLP Parties and MSCF Parties under this Agreement, including without
                limitation the allowance of or distributions on account of the UBS Claim or the settlement terms
                described in Sections l(a)-(g) above; (2) the Funds or HFP, including for any liability with
                respect to the prosecution, enforcement, collection, or defense of the Phase I Judgment, Purchase
                Agreement, and/or Insurance Policy, or such prosecution, enforcement, collection, or defense of
                the Phase I Judgment, Purchase Agreement, and/or Insurance Policy by UBS; (3) James Dondero
                or Mark Okada, or any entities, including without limitation Hunter Mountain Investment Trust,
                Dugaboy Investment Trust, and NexBank, SSB, owned or controlled by either of them, other
                than the HCMLP Parties and MSCF Parties (but for the avoidance of doubt, such releases of the
                HCMLP Parties and MSCF Parties shall be solely with respect to such entities and shall not
                extend in any way to James Dondero or Mark Okada in their individual capacity or in any other
                capacity, including but not limited to as an investor, officer, trustee, or director in the HCMLP
                Parties or MSCF Parties); (4) Sentinel or its subsidiaries, parents, affiliates, successors,
                designees, assigns, employees, or directors, including James Dondero, Isaac Leventon, Scott
                Ellington, Andrew Dean, Christopher Walter, Jean Paul Sevilla, Matthew DiOrio, Katie Irving,
                and/or any other current or former employee or director of the Funds or Sentinel and/or any other
                former employee or former director of any of the HCMLP Parties that is believed to be involved
                with the Purchase Agreement, Insurance Policy, MSCF Interests, or Transferred Assets,
                including for any liability with respect to the prosecution, enforcement, collection, or defense of
                the Phase I Judgment, Purchase Agreement, the MSCF Interests, any potentially fraudulent
                transfer of assets from the Funds to Sentinel and/or Insurance Policy, excluding the HCMLP
                Excluded Employees; (5) the economic rights or interests of UBS in its capacity as an investor,
                directly or indirectly (including in its capacity as an investment manager and/or investment
                advisor), in any HCMLP-affiliated entity, including without limitation in the Redeemer
                Commjttee and Credit Strat, and/or in such entities' past, present or future subsidiaries and
                feeders funds (the "UBS Unrelated Investments"); and (6) any actions taken by UBS against any
                person or entity, including any HCMLP Party or MSCF Party, to enjoin a distribution on the
                Sentinel Redemption or the transfer of any assets currently held by or within the control of CDO
                Fund to Sentinel or a subsequent transferee or to seek to compel any action that only such person
                or entity bas standing to pursue or authorize in order to permit UBS to recover the Insurance
                Proceeds, Transferred Assets, the Phase I Judgment or any recovery against HFP; provided,
                however, that, from and after the date hereof, any out-of-pocket fees or expenses incurred by
                HCMLP in connection with this Section 3(a)(6) will be considered Reimbursable Expenses and
                shall be subject to, and applied against, the Expense Cap as if they were incurred by HCMLP
                pursuant to Section l (c) subject to the occurrence of the Agreement Effective Date and after any
                disputes regarding such Reimbursable Expenses have been resolved in the manner described in
                Section l(c).

                               (b)    HCMLP Release. Upon the occurrence of the Agreement Effective Date,
                and to the maximum extent permitted by law, each of the HCMLP Parties hereby forever, finally,
                fully, unconditionally, irrevocably, and completely releases, relieves, acquits, remises,
                exonerates, forever discharges, and covenants never to sue any of the UBS Parties and each of


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                                                                                                                          APP 912
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                their current and former advisors, attorneys, trustees, directors, officers, managers, members,
                partners, employees, beneficiaries, shareholders, agents, participants, subsidiaries, parents,
                affiliates, successors, designees, and assigns (each in their capacities as such), for and from any
                and all claims, debts, liabilities, demands, obligations, promises, acts, agreements, liens, losses,
                costs and expenses (including, without limitation, attorneys' fees and related costs), damages,
                injuries, suits, actions, and causes of action of whatever kind or nature, whether known or
                unknown, suspected or unsuspected, matured or unrnatured, liquidated or unliquidated,
                contingent or fixed, at law or in equity, or statutory or otherwise, including, without limitation,
                any claims, defenses, and affirmative defenses, whether known or unknown, including, without
                limitation, those that have been or could have been alleged or asserted in the State Court Action
                or the Bankruptcy Case (collectively, the "HCMLP Released Claims"), provided, however, that
                notwithstanding anything to the contrary herein, such releases shall not apply to the obligations
                of the UBS Parties under this Agreement or Section 7 of the May Settlement; and (b) the
                obligations of the UBS Parties in connection with the UBS Unrelated Investments.

                                (c)     Multi-Strat Release. Upon the occurrence of the Agreement Effective
                Date, and to the maximum extent permitted by law, each of the MSCF Parties hereby forever,
                finally, fully, unconditionally, irrevocably, and completely releases, relieves, acquits, remises,
                exonerates, forever discharges, and covenants never to sue any of the UBS Parties and each of
                their current and former advisors, attorneys, trustees, directors, officers, managers, members,
                partners, employees, beneficiaries, shareholders, agents, participants, subsidiaries, parents,
                affiliates, successors, designees, and assigns (each in their capacities as such), for and from any
                and all claims, debts, liabilities, demands, obligations, promises, acts, agreements, liens, losses,
                costs and expenses (including, without limitation, attorneys' fees and related costs), damages,
                injuries, suits, actions, and causes of action of whatever kind or nature, whether known or
                unknown, suspected or unsuspected, matured or unrnatured, liquidated or unliquidated,
                contingent or fixed, at law or in equity, or statutory or otherwise, including, without limitation,
                any claims, defenses, and affirmative defenses, whether known or unknown, including, without
                limitation, those that have been or could have been alleged or asserted in the State Court Action
                or the Bankruptcy Case (collectively, the "Multi-Strat Released Claims"), provided, however,
                that notwithstanding anything to the contrary herein, such releases shall not apply to the
                obligations of the UBS Parties under this Agreement or Section 7 of the May Settlement.

                      4.    No Third Party Beneficiaries. Except for the parties released by this
                Agreement, no other person or entity shall be deemed a third-party beneficiary of this
                Agreement.

                        5.      UBS Covenant Not to Sue. Subject to the occurrence of the Agreement
                Effective date, if UBS ever controls any HCMLP-affiliated defendant in the State Court Action
                by virtue of the prosecution, enforcement, or coUection of the Phase I Judgment (collectively, the
                "Controlled State Court Defendants"), UBS covenants on behalf of itself and the Controlled
                State Court Defendants, if any, that neither UBS nor the Controlled State Court Defendants will
                assert or pursue any claims that any Controlled State Court Defendant has or may have against
                any of the HCMLP Parties; provided, however, that nothing shall prohibit UBS or a Controlled
                State Court Defendant from taking any of the actions set forth in Section 3(a)(l)-(6); provided
                further, however, if and to the extent UBS receives any distribution from any Controlled State
                Court Defendant that is derived from a claim by a Controlled State Court Defendant against the
                Debtor, subject to the exceptions set forth in Section 3(a), which distribution is directly


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                attributable to any property the Controlled State Court Defendant receives from the Debtor and
                separate and distinct from property owned or controlled by CDO Fund, SOHC, or Multi-Strat,
                then such recovery shall be credited against all amounts due from the Debtor's estate on account
                of the UBS Claim allowed pursuant to Section l(a) of this Agreement, or if such claim has been
                paid in full, shall be promptly turned over to the Debtor or its successors or assigns.

                       6.      Agreement Subject to Bankruptcy Court Approval.

                                (a)    The force and effect of this Agreement and the Parties' obligations
                hereunder are conditioned in all respects on the approval of this Agreement and the releases
                herein by the Bankruptcy Court. The Parties agree to use reasonable efforts to have this
                Agreement expeditiously approved by the Bankruptcy Court by cooperating in the preparation
                and prosecution of a mutually agreeable motion and proposed order (the "9019 Motion") to be
                filed by the Debtor no later than five business days after execution of this Agreement by all
                Parties unless an extension is agreed to by both parties.

                       7.      Representations and Warranties.

                                (a)   Each UBS Party represents and warrants that (i) it has full authority to
                enter into this Agreement and to release the UBS Released Claims and has not sold, transferred,
                or assigned any UBS Released Claim to any other person or entity, and (ii) no person or entity
                other than such UBS Party has been, is, or will be authorized to bring, pursue, or enforce any
                UBS Released Claim on behalf of, for the benefit of, or in the name of (whether directly or
                derivatively) such UBS Party.

                                (b)    Each HCMLP Party represents and warrants that (i) it bas full authority to
                enter into this Agreement and to release the HCMLP Released Claims and bas not sold,
                transferred, or assigned any HCMLP Released Claim to any other person or entity, and (ii) no
                person or entity other than such HCMLP Party has been, is, or will be authorized to bring,
                pursue, or enforce any HCMLP Released Claim on behalf of, for the benefit of, or in the name of
                (whether directly or derivatively) such HCMLP Party.

                                (c)    Each MSCF Party represents and warrants that (i) it bas full authority to
                enter into this Agreement and to release the Multi-Strat Released Claims and bas not sold,
                transferred, or assigned any Multi-Strat Released Claim to any other person or entity, and (ii) no
                person or entity other than such MSCF Party has been, is, or will be authorized to bring, pursue,
                or enforce any Multi-Strat Released Claim on behalf of, for the benefit of, or in the name of
                (whether directly or derivatively) such MSCF Party.




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                        8.      No Admission of Liability. The Parties acknowledge that there is a bona fide
                dispute with respect to the UBS Claim. Nothing in this Agreement shall be construed, expressly
                or by implication, as an admission of liability, fault, or wrongdoing by HCMLP, the MSCF
                Parties, Strand, UBS, or any other person, and the execution of this Agreement does not
                constitute an admission of liability, fault, or wrongdoing on the part of HCMLP, the MSCF
                Parties, Strand, UBS, or any other person.

                       9.       Successors-in-Interest. This Agreement shall be binding upon and shall inure to
                the benefit of each of the Parties and their representatives, successors, and assigns.

                        10.     Notice. Each notice and other communication hereunder shall be in writing and
                will, unless otherwise subsequently directed in writing, be delivered by email and overnight
                delivery, as set forth below, and will be deemed to have been given on the date following such
                mailing.

                       HCMLP Parties or the MSCF Parties

                       Highland Capital Management, L.P.
                       300 Crescent Court, Suite 700
                       Dallas, Texas 75201
                       Attention: General Counsel
                       Telephone No.: 972-628-4100
                       E-mail: notices@HighlandCapital.com

                       with a copy (which shall not constitute notice) to:

                       Pachulski Stang Ziehl & Jones LLP
                       Attention: Jeffrey Pomerantz, Esq.
                       10100 Santa Monica Blvd., 13th Floor
                       Los Angeles, CA 90067
                       Telephone No.: 310-277-6910
                       E-mail: jpomerantz@pszjlaw.com

                       UBS

                       UBS Securities LLC
                       UBS AG London Branch
                       Attention: Elizabeth Kozlowski, Executive Director and Counsel
                       1285 Avenue of the Americas
                       New York, NY 10019
                       Telephone No.: 212-713-9007
                       E-mail: elizabeth.kozlowski@ubs.com

                       UBS Securities LLC
                       UBS AG London Branch
                       Attention: John Lantz, Executive Director
                       1285 Avenue of the Americas
                       New York, NY 10019



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                        Telephone No.: 212-713-1371
                        E-mail: john.lantz@ubs.com

                        with a copy (which shall not constitute notice) to:

                        Latham & Watkins LLP
                        Attention: Andrew Clubok
                                   Sarah Tornkowiak
                        555 Eleventh Street, NW, Suite 1000
                        Washington, D.C. 20004-1304
                        Telephone No.: 202-637-3323
                        Email: andrew.clubok@lw.com
                               sarah.tornkowiak@lw.com

                        11.      Advice of Counsel. Each of the Parties represents that such Party has: (a) been
                 adequately represented by independent legal counsel of its own choice, throughout all of the
                 negotiations that preceded the execution of this Agreement; (b) executed this Agreement upon
                 the advice of such counsel; (c) read this Agreement, and understands and assents to all the terms
                 and conditions contained herein without any reservations; and (d) had the opportunity to have
                 this Agreement and all the terms and conditions contained herein explained by independent
                 counsel, who has answered any and all questions asked of such counsel, or which could have
                 been asked of such counsel, including, but not limited to, with regard to the meaning and effect
                 of any of the provisions of this Agreement.

                         12.     Entire Agreement. This Agreement contains the entire agreement and
                 understanding concerning the subject matter of this Agreement, and supersedes and replaces all
                 prior negotiations and agreements, written or oral and executed or unexecuted, concerning such
                 subject matter. Each of the Parties acknowledges that no other Party, nor any agent of or
                 attorney for any such Party, has made any promise, representation, or warranty, express or
                 implied, written or oral, not otherwise contained in this Agreement to induce any Party to
                 execute this Agreement. The Parties further acknowledge that they are not executing this
                 Agreement in reliance on any promise, representation, or warranty not contained in this
                 Agreement, and that any such reliance would be unreasonable. This Agreement will not be
                 waived or modified except by an agreement in writing signed by each Party or duly authorized
                 representative of each Party.

                         13.    No Party Deemed Drafter. The Parties acknowledge that the tenns of this
                 Agreement are contractual and are the result of ann's-length negotiations between the Parties
                 and their chosen counsel. Each Party and its counsel cooperated in the drafting and preparation
                 of this Agreement. In any construction to be made of this Agreement, the Agreement will not be
                 construed against any Party.

                       14.    Future Cooperation. The Parties agree to cooperate and execute such further
                 documentation as is reasonably necessary to effectuate the intent of this Agreement.

                         15.    Counterparts. This Agreement may be executed in counterparts with the same
                 force and effect as if executed in one complete document. Each Party's signature hereto will
                 signify acceptance of, and agreement to, the terms and provisions contained in this Agreement.


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                Photographic, electronic, and facsimile copies of signed counterparts may be used in lieu of the
                originals of this Agreement for any purpose.

                        16.     Governing Law; Venue; Attorneys' Fees and Costs. The Parties agree that this
                Agreement will be governed by and will be construed according to the laws of the State of New
                York without regard to conflict-of-law principles. Each of the Parties hereby submits to the
                exclusive jurisdiction of the Bankruptcy Court during the pendency of the Bankruptcy Case and
                thereafter to the exclusive jurisdiction of the state and federal courts located in the Borough of
                Manhattan, New York, with respect to any disputes arising from or out of this Agreement. In
                any action to enforce this Agreement, the prevailing party shall be entitled to recover its
                reasonable and necessary attorneys' fees and costs (including experts).

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               IT IS HEREBY AGREED.

                                              HIGHLAND CAPITAL MANAGEMENT, L.P.


                                              By:
                                              Name: --+---=--<'--'-'-"'-"--"--'--'-=...,_,,_"'--'--,~ - - -
                                              Its:


                                              HIGHLAND MULTI STRATEGY CREDIT
                                              FUND,     L.P.   (f/k/a  Highland Credit
                                              Opportunities CDO, L.P.)


                                              By:
                                              Name:_---=-----=-==-="""'-....!....!....-""='--4-1--"-'-~--
                                              lts:


                                              HIGHLAND CREDIT OPPORTUNITIES CDO,
                                              Ltd.




                                              HIGHLAND CREDIT OPPORTUNITIES CDO
                                              ASSET HOLDINGS, L.P.


                                              By:
                                              Name:
                                              Its:
                                                              ~~~1
                                              STRAND ADVISORS, INC.


                                              By:
                                              Name: -     -   ~   ....,.....:'--n'....::.::;__-=~_..;.;..-   ----,.-
                                              lts:




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                                              UBS SECURITIES LLC

                                              By:         ~~~
                                              Name: clmlatz
                                              Its:  Authorized Signatory

                                              By:         G. /'-It /"$xi J __
                                              Name: Elizab'eth Kozlowski "
                                              Its:  Autho1ized Signatory

                                              UBS AG LONDON BRANCH


                                              By:         ~~~l
                                              Name: William Chandler
                                              Its:  Authorized Signatory
                                                            .,                   ,f   I

                                              By:         (t.· ~·LI,~ ,"•~ 1o4-:L
                                              Name: '. liza eth Kozlowski
                                              Its:        Authorized Signatory




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                                                  APPENDIX A
               •   The search parameters (custodians, date ranges, search terms) used to locate the
                   documents produced to UBS on February 27, 2021 (and any additional parameters used
                   for the previous requests from UBS);
               •   Identity of counsel to, and trustees of, CDO Fund or SOHC;
               •   Current or last effective investment manager agreements for CDO Fund and SOHC,
                   including any management fee schedule, and any documentation regarding the
                   termination of those agreements;
               •   The tax returns for the CDO Fund and SOHC from 2017-present;
               •   Communications between any employees of Sentinel (or its afftliates) and any
                   employees of the HCMLP Parties, CDO Fund, SOHC, or any of Dondero, Leventon, or
                   Ellington from 2017-present;
               •   Documents or communications regarding or relating to the Purchase Agreement,
                   Insurance Policy, or June 30, 2018 Memorandum entitled ''Tax Consequences of
                   Sentinel Acquisition of HFP/CDO Opportunity Assets" (the "Tax Memo"), including
                   without limitation (i) amendments to these documents, (ii) transfer of assets pursuant to
                   these documents, (iii) board minutes or resolutions regarding or relating to these
                   documents, (iv) claims made on the Insurance Policy; (v) communications with the IRS
                   regarding the asset transfer pursuant to these documents; and (vi) any similar asset
                   purchase agreements, capital transfer agreements, or similar agreements;
               •   Documents or communications regarding or relating to the value of any assets
                   transferred pursuant to the Insurance Policy or Purchase Agreement, including without
                   limitation those assets listed in Schedule A to the Purchase Agreement, from 2017 to
                   present, including documentation supporting the $105,647,679 value of those assets as
                   listed in the Tax Memo;
               •   Documents showing the organizational structure of Sentinel and its affiliated entities,
                   including information on Dondero's relationship to Sentinel;
               •   Any factual information provided by current or former employees of the HCMLP
                   Parties, CDO Fund, SOHC, or Sentinel regarding or relating to the Purchase
                   Agreement, Insurance Policy, Tax Memo, and/or transfer of assets pursuant to those
                   documents;
               •   Debtor's settlement agreements with Ellington and Leventon;
               •   Copies of all prior and future Monthly Reports and Valuation Reports (as defined in the
                   Indenture, dated as of December 20, 2007, among Greenbriar CLO Ltd., Greenbriar
                   CLO Corp., and State Street Bank and Trust Company); and
               •   Identity of any creditors of CDO Fund, SOHC, or HFP and amount of debts owed to
                   those creditors by CDO Fund, SOHC, or HFP, including without limitation any debts
                   owed to the Debtor.




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                                               Hellman & Friedman Seeded Farallon Capital Management
             OUR FOUNDER


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             Warren Hellman: One of the good guys

             Warren Hellman was a devoted family man, highly successful businessman, active philanthropist, dedicated musician, arts pat ron,
             endurance ath lete and all-around good guy. Born In New York City i n 1934, he grew up In the Bay Area, graduating from the University of
             California at Berke ley. After serving in the U.S. Army and attending Harvard Business School, Warren began his finance career at Lehman
             Brothers, becoming t he youngest partner in the firm's history at age 26 and subsequently serving as President . After a distinguished
             career on Wa ll Street, Warren moved back west and co-founded Hellman & Fr1edman, build ing it into one of the ·industry's leading private
             equity fi rms.



             Warren deeply believed in the power of people to accomplish incredible things and used his success to improve and enrich the lives of
             countless people. Throughout his career, Warren helped found or seed rnany successful businesses including Matri1< Partners, Jordan
             Management Company, Farallon Capital Management and Hall Capital Partners.



             Within the community, Warren and his family were generous supporters of dozens of organizations and causes in the arts, public
             education, ciVic life, and public health, including creating and running the San Francisco Free Clinic. Later in life, Warren became an
             accomplished 5-string banjo player and found great joy in sharing the love of music with others. In true form, he made something larger of
             this avocation to benefit others by founding the Hardly Strictly Bluegrass Festiva l, an annual three-day, free music festival that draws
             hund reds of thousands of people toget her from around t he Bay Area.



             An accomplished endurance athlete, Warren regularly completed 100-mile runs, horseback rides and combinations of the two. He also
             was an avid skier and national caliber master ski racer and served as president of the U.S. Ski Team in the late 1970s, and is credited with
             helpi ng revitalize the Sugar Bowl ski resort in the Californ ia Sierras.



             In short, War ren Hellman embodied the ideal of IIVing life to the fu llest. He had an active mind and body, and a huge heart. We are lu cky
             to call him our founder. Read more about Warren. (https://hf.com/wp-content/uploads/2015/09/Warren-Hellman-News-Release.pdf)




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                                     Hellman & Friedman Owned a Portion of Grosvenor until 2020

                                                               Grosvenor Capital Management
                           GRO         ENOR




                                                        In 2007, H&F invested in Grosvenor, one of the world's largest ancl most diversifiecl independent
                                                        alternative asset management firms. The Company offers comprehensive public and private markets
                                                        solutions and a broad suite of investment and advisory choices that span hedge fund s. private equity,
                                                        and various credit and specialty strategies. Grosvenor specia lizes in deve loping customized
                                                        investment programs tailored to each client's specific investment goals.



                                                        SECTOR

                                                        Fina ncial Services



                                                        STATUS

                                                        Past



                                                        www.gcmlp.com (http://www.gcmlp.com)




            <DNTACT (HTTPS:/IHF.COM/cONTACT/)    INF°'li'HF.COM (MAILTO:INFO@HF,COM)        LP LOGiN (HTTPSJ/sERVICES.SUNGARDOX.COM/CLIENT/HELLMAN)

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                                                CORNER OFFICE



                             0
                           Julie Segal
                                                GCM Grosvenor to Go Public
                                                The $57 billion alternatives manager w!ll become a public company after merging with a SPAC backed by
                                                Cantor Fitzgerald.

                                                August 03, 2020




                                                                                                                                  Chicago, IL (Tim Boyle/Bloomberg)




                                                In a sign of the times, GCM Grosvenor will become a public company through a SPAC.


                                                The Chicago-based alternative investments firm is planning to go public by merging with a
                                                special purpose acquisition company in a deal valued at $2 billion. The SO-year-old firm has
                                                $57 billion in assets in private equity, infrastructure, real estate, credit, and absolute return
                                                investments.


                                                "We have long valued having external shareholders and we wanted to preserve the
                                                accountability and focus that comes with that," Michael Sacks, GCM Grosvenor's chairman
                                                and CEO, said in a statement.


                                                GCM Grosvenor will com bine with CF Finance Special Acquisition Corp, a SPAC backed by
                                                Cantor Fitzgerald, according to an announcement from both companies on Monday. After
                                                the company goes public, Sacks will continue to lead GCM Grosvenor, which is owned by
                                                management and Hellman & Friedman, a private equity firm. Hellman & Friedman, which
                                                has owned a minority stake of the Chicago asset manager since 2007, will sell its equity as
             https:/lwww.lnst:1tut1ona11nvestor.com/artlcle/b1ms8f4rt98f1g/GCM-Grosvenor-to-Go-Publie                                                                    113




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                                             Farallon was a Significant Borrower for Lehman


             Case Study - Large Loan Origination
             Debt origination for an affiliate of Simon Property Group Inc. and FaraHon Capital Management
                                                                                              'I ransaction 0Hn ie\\
              Date                               June 2007
                     -------------- ♦                             In June 2007, Lehman Brothers co-originated a loan in the aggregate amount of $32 1
              Asset Class                            Retail       million (Lehman portion: $121 million) with JP Morgan to a special purpose affiliate of
              Asset Size                  1,808,506 Sq. Ft.       a joint venture between Simon Property Grou Inc (" Simon") and Farallon Capital
                                                                  Management "farallon " secured by the shopping center known as Gurnee Mills Mall
              Sponsor         Simon Property Group Inc./          (the " Property") located in Gurnee, IL .
                             Farallon Capital Management
                                                              ♦   The Property consists of a one-story, 200 store discount mega-mall comprised of
              Transaction                       Refinance
              Type                                                1,808,506 square feet anchored by Burlington Coat Factory, Marshalls, Bed Bath &
                                                                  Beyond and Kohls among other national retailers. Built in 199 1, the Property underwent
              Total Debt    Lehman Brothers: $12 1 million        a $5 million interior renovation in addition to a $71 mi llion redevelopment between 2004
              Amount              JP Morgan: $200 million         and 2005. As of March 2007, the Property had a in-line occupancy of 99.S%.


                                                                                              Lehman Brothers Role
                                                              ♦   Simon and Farallon comprised the sponsorship which eventually merged with The Mills
                                                                  Corporation in early 2007 for $25.25 per common share in cash. The total value of the
                                                                  transaction was approximately $1.64 billion for all of the outstanding common stock and
                                                                  a_Qproximately $7.9 billion includin g assumed debt and preferred e<J!lill'.
                                                              ♦   Lehman and JP Morgan subsequently co-originated $321 mi llion loan at 79.2% LTV
                                                                  based on an appraisal completed in March by Cushman & Wakefield. The Loan was
                                                                  used to refinance the indebtedness secured by the Property.

                                                                                              Sponsorship O, en ie\\
                                                              ♦   The Mills Corporation, based in Chevy Chase MD is a developer owner and manager of
                                                                  a diversified portfolio of retail destinations including regional shopping malls and
                                                                  entertainment centers. They currently own 38 properties in the United States totaling 47
                                                                  million square feel.



             LEHMAN B ROTHERS                                                      32




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                                        Mr. Seery Represented Stonehill While at Sidley


             James P. Seery. Jr.
             John G. Hutchinson
             John J. Lavelle
             Martin B. Jackson
             Sidley Austin LLP
             787 Seventh A venue
               ew York, ew York 10019
             (212) 39-5300 (tel)
              212 839-5599 (fax)

             Attorneys for the Steering Group

             UNITED STATES BANKRUPTCY CO RT
             SOUTHERN DLSTRICT OF EW YORK
             --------------------------------------------------------------- X

             In re:                                                               Chapter 11

             BLO KB STER INC., et al.,                                            Case   o. 10-14997 BRL

                                                Debtors.                          (Jointly Administered)

             ------------------X

               THE BACKSTOP LKNDERS OBJECTION TO THE MOTION OF LYME REGI TO
              ABANDON CERTAI CAUSES OF ACTIO OR, IN THE ALTERNATIVE, TO GRANT
               ST DING TO LYME REGIS TO PURSUE CLAIMS ON BEHALF OF THE ESTATE

                      I.      The Steering Group of Senior Secured               oteholders who are Backstop Lenders --

             lcahn Capital LP, Monarch Alternative Capital LP, Owl Creek Asset Management, L.P.,

             Stonehill Ca ital Management LLC. ru1d Yarde Partners, lnc. (collectively, the "Backstop

             Lenders') -- hereby file this objection (tbe 'Objectjon") to the Motion of Lyme Regis Partners.

             LLC ("Lyme Regis') to Abandon Certain Causes of Action or, in the Alternative, to Grant

             Standing to Lyme Regis to Pursue Claims on Behalf of the Estate (the' Motion") [Docket No.

             593 ].




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             Stonehill Founder (Motulsky) and Grosvenor’s G.C. (Nesler) Were Law School Classmates




                              Over 25 years earl ier, here is a group at a
                                  party. From the left Bob Zinn, Dave
                                Lowentha l, Rory little, Joe Nesler Jon
                               Polansky (in front of Joe) John Motulsky
                                 and Mark Windfeld-Hansen ('behind
                              bottle!) Motulsky c1irculated this photo at
                                       the reun ion. Thanks John1




                                                                                          Page A-67


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                             Joseph H. Nesler (He/Him)
                                                                                                      ( More ) ( 6 Message )
                             General Counsel




                                   Joseph H. Nesler (He/Him).                              Yale Law School

                                   3rd
                                   General Counsel
                                   Winnetka, Illinois, United States -
                                   Contact info

                                   500+ connections

                                   ( 6 Message ) ( More )


                                      Open to work
                                      Chief Compliance Officer and General Counsel roles
                                      See all details




                                   About
                                   I have over 38 years of experience representing participants in the investment
                                   management industry with respect to a wide range of legal and regulatory matters,
                                   including SEC, DOL, FINRA, and NFA regu lations and examinations.          ... see more




                                   Activity
                                   522 followers

                                   Posts Joseph H. created, shared, or commented on in the last 90 days are displayed
                                   here.
            https://www.linkedin.com/in/josephnesl er/




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                     Joseph H. Nesler (He/ Him)
                     General Counsel
                                                                                             ( M ore ) (   6 Message )
                          -~ ....... -. ·-· ·--
                                           General Counsel
                                           Dalpha Capital Management , LLC
                                           Aug 2020 - Jul 2021 • 1 yr




                         II                Of Counsel
                                           Win ston & Strawn LLP
                                           Sep 2018 - Jul 2020 • 1 yr 11 mos
                                           Greater Chicago Area



                                           Principal
                                           The Law Offices of Joseph H. Nesler, LLC
                                           Feb 2016 - Aug 2018 • 2 yrs 7 mos



                                           Grosvenor Capital Management, LP.
                                            11 yrs 9 mos


                                           Independent Consultant to Grosvenor Capital Management,
                                           L.P.
                                           May 2015 - Dec 2015 • 8 mos
                                           Chicago, Illinois


                                           General Counsel
                                           Apr 2004 - Apr 2015 • 11 yrs. 1 mo
                                           Chicago, Illinois

                                           Managing Director, General Counsel and Chief Com liance
                                           Officer (April 2004 - Apri l 20 15)




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                         Investor Communication to Highland Crusader Funds Stakeholders
                                                                                                A lvarez & Marsal
                                                                                          Management, LLC 2 0 29 Ce1
                                                                                                   Park Ea st S ui te 206(
                                                                                                         Ange l es , CA 9




                  July 6, 2021


                  R e: Update & Notice of Distribution


                  Dear Highland Crusader Funds Stakeholder,

                          As you know, in October 2020, the Bankruptcy Court approved a settlement of the
                  Redeemer Committee' s and the Crusader Funds' claims against Highland Capital Management
                  LP. (" HCM' ), as a result of which the Redeemer Committee was allowed a general unsecured
                  claim of $137,696,610 against HCM and the Crusader Funds were allowed a general unsecured
                  claim of $50,000 against HCM (collectively, the "Claims"). In addition, as part of the settlement,
                  various interests in the Crusader Funds held by HCM and certain of its affi liates are to be
                  extinguished (the' Extinguished Interests"). and the Redeemer ommittee and the Crusader Funds
                  received a general release from HCM and a waiver by HCM of any claim to distributions or fees
                  that it might othe1wise receive from the Crusader Funds (the ''Released Claims' and, collectively
                  witl1 the Extinguished Interests, the ' Retained Rights" ).

                         A timely appeal oftbe settlement was taken by UBS (the 'UBS Appea l) in the United States
                  District Court for the Northern District of Texas, Dallas Division. Howe er, the Bankruptcy Court
                  subsequently approved a settlement betv,reen HCM and UBS, resulting in dismissal of the UBS
                  Appeal with prejudice on June 14, 2021 .

                         On April 30, 2021 , the Cmsader Funds and the Redeemer Committee consummated the sale
                  of the Claims against HCM and the majority of the remaining investments held by the Crusader
                  Funds to Jessup Holdings LLC "Jessup") for 78 million in cash. which was aid in full to the
                  Cmsader Funds at closin . The sale specifically excluded the Crusader Funds investment in
                  Cornerstone Healthcare Group Holding Inc. and excluded certain specified provisions of the
                  settlement agreement with HCM (the "Settlement Agreement"), including, but not limited to, the
                  Retained Rights. The sale of the Claims and iJ1vestments was made with no holdbacks or escrows.

                         The sale to Jessup resulted from a solicitation of offers to purchase the Claims commenced
                  by Alvarez & Marsal CRF anagement LLC ("A&M CRF"), as Investment Manager of the
                  Crusader Funds. in consultation with the Redeemer Committee. Ultimately. the Crusader Funds
                  and the Redeemer Committee entered exclusive negotiations with Jessu , culminating in the sale
                  to Jessup.

                         A& CRF, pursuant to the Plan and Scheme and with the approval of House Hanover, the
                  Redeemer Committee and the Board of the Master Fund, now intends to distribute the proceeds
                  from the Jessup transaction ($78 million , net of any applicable tax withholdings and with no
                  reserves for the Extinguished Claims or the Released Claims. lJ1 addition the distribution will
                  include approximately $9.4 million in proceeds that have been redistributed due to the cancellation


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                                                                                                                             APP 929
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                        and extinguishment of the interests and shares in the Crusader Funds held by HCM. Charitable
                        OAF and Eames i.n connection with the Settlement Agreement, resulting in a total gross
                        distribution of $87.4 million. Distributions will be based on net asset value as of June 30, 202 l.

                               Please note that A&M CRF intends to make the distributions by wire transfer no later than
                        July 31 , 2021. Please confirm your wire instructions on or before July 20, 2021. lf there are any
                        revisions to your wire information, please use the attached template to provide SEI and A&M CRF
                        your updated information on investor letterhead. This information should be sent on or before JuJy
                        20, 2021 to Alvarez & Marsal CRF and SEI at CRFlnvestor@alvarezandmarsal.com and A[FS-
                        IS Cnisader@seic.com. respectively.

                              The wire payments will be made to the investor bank account on file with an effective and record
                       date of July I , 2021. Should you have any questions, please contact SE] or A&M CRF at the e-mail
                       addresses listed above.



               Sincerely,


               Alvarez & Marsal CRF Management, LLC


               By: _ ~- - -
                   Steven Varner
                   Managing Director




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              EXHIBIT A-3




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                                                                                                                 Ross Tower
         MUNSCH /                                                                           500 N. Akard Street, Suite 3800
                                                                                                  Dallas. Texas 75201-6659

         HARDT /                                                                                        Main 214.855.7500
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                                                                                                      Direct Dial 214.855.7587
                                                                                                      Direct Fax 214 978.5359
                                                                                                      drukavina@munsch.com




                                                       May 11, 2022

         Ms. Nan R. Eitel
         Office of the General Counsel
         Executive Office for U.S . Trustees
         20 Massachusetts A venue, NW
         8th Floor
         Washington, DC 20530

         Dear Ms. Eitel:

                 By way of follow-up to the letter Douglas Draper sent to your offices on October 4, 2021 and my
         letter dated November 3, 202 l , I write to provide additional information regarding the systemic abuses
         of bankruptcy process occasioned during the bankruptcy of Texas-headquartered Highland Capital
         Management, L.P. ("Highland" or the ''Debtor"). Those abuses, as detailed in our prior letters, include
         potential insider trading and breaches of fiduciary duty by those charged with protecting creditors,
         understated estimations of estate value seemingly designed to line the pockets of Debtor management,
         gross mistreatment of employees who were key to the bankruptcy process, and ultimately a plan aimed
         at liquidating an otherwise viable estate, to the detriment of stakeholders and third-pa1ty investors in
         Debtor-managed funds and in violation of investors' due process rights and various fiduciary duties and
         duties of candor to the Bankruptcy Court and all constituents. In particular, I write this letter to further
         detail:

                 1.      Actions and omissions by the Debtor that have but a single apparent purpose: to spend the
         assets of the Highland estate to emich those currently managing the estate at the expense of the business
         owners (the equity). Currently, the Highland estate has more than enough assets to pay 100% of the
         allowed creditors' claims. But doing so would dep1ive the current steward, Jim Seery, as well as his
         professional cohorts, the opportunity to reap tens, if not hundreds of millions of dollars, in fees. This
         motivation explains the acts and omissions described below-all designed to prop up a fa9ade that the
         post-confirmation bankruptcy machinations are necessary, and to avoid any scrutiny of that fas:ade, and
         to foreclose any investigation into a contrary thesis.

                 2.     The Debtor's intentional understatement of the value of the estate for personal gain, the
         gain of professionals, and the gain of affiliated or related secondary c laims-buyers.

                 3.      The failure to adhere to fiduciary duties to maximize the value of estate assets and failure
         to contest baseless proofs of claim to enable Highland to emerge from bankruptcy as a going concern and
         to preserve value for all stakeholders.

                4.      The gross misuse of estate assets by the Debtor and Debtor professionals in pursuing
         baseless and stale claims against former insiders of the Debtor when the current value of the estate (over



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         Ms. Nan R. Eitel
         May 11, 2022
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         $650 million with the recent completion of the MGM sale, which includes over $200 million in cash)
         greatly exceeds the estate's general unsecured claims ($410 million).

                 5.      The failure of the Debtor's CRO and CEO, Jim Seery, to adhere to his fiduciary duty to
         maximize the value of the estate. As evidenced by the chart below, all general unsecured claims could
         have been resolved using $163 million of debtor cash and other liquidity. Instead, proofs of claim were
         inflated and sold to Stonehill Capital Management ("Stonehill") and Farallon Capital Management
         ("Farallon"), which are both affiliates of Grosvenor (the largest investor in the Crusader Funds, which
         became the largest creditor in the bankruptcy). Mr. Seery has a long-standing relationship with
         Grosvenor and was appointed to the Independent Board (the board charged with managing the Debtor's
         estate) by the Redeemer Committee of the Crusader Funds, on which Grosvenor held five of nine seats.


                   Creditor                  Class 8    Class 9   Purchaser                 Purchase Price
                   Redeemer                 $137.0     $0.0       Stonehill                $78.0 ($65.0 net of
                                                                                           other assets)
                   ACIS                     $23.0      $0.0       Farallon                 $8.0
                   Harbour Vest             $45.0      $35.0      Farallon                 $27.0
                   UBS                      $65.0      $60.0      Stonehill and Farallon   $50.0
                   TOTAL                    $270.0     $95.0                               $150.0 to $163.0

                 As highlighted in the prior letters to your office and as fmiher detailed herein, this is the type of
         systemic abuse of process that is something lawmakers and the Executive Office of the U.S. Trustee (the
         "EOUST") should be concerned about. Accordingly, we urge the EOUST to exercise its "broad
         administrative, regulatory, and litigation/enforcement authorities . . . to promote the integrity and
         efficiency of the bankruptcy system for the benefit of all stakeholders-debtors, creditors, and the public." 1
         Specifically, we believe it would be appropriate for the EOUST to undertake an investigation to confirm
         the current value of the estate and to ensure that the claims currently being pursued by the Debtor are
         intended to benefit creditors of the estate, and not just to further enrich Debtor professionals and Debtor
         management.

                                                            BACKGROUND

         The Players

         James Dondero - co-founder of Highland in 1993. Mr. Dondero is chiefly responsible for ensuring that
         Highland weathered the global financial crisis, evolving the firm's focus from high-yield credit to other
         areas, including real estate, private equity, and alternative investments. Mr. Dondero is a dedicated
         philanthropist who has actively supported initiatives in education, veterans' affairs, and public policy.
         He currently serves as a member of the Executive Board of the Southern Methodist University Cox
         School of Business and sits on the Executive Advisory Council of the George W. Bush Presidential
         Center.


         1
             https://www.justice.gov/ust.


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         Ms. Nan R. Eitel
         May 11, 2022
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          Highland-Highland Capital Management, L.P., the Debtor. Highland is an SEC-registered investment
          advisor co-founded by James Dondero in 1993. Prior to its bankruptcy, Highland served as adviser to a
          suite of registered funds, including open-end mutual funds, closed-end funds, and an exchange-traded
          fund.

          Strand - Strand Advisors, Inc., a Delaware corporation. The general partner of Highland.

          The Independent Board - the managing board installed after Highland's bankruptcy filing. To avoid a
          protracted dispute, and to facilitate the restructuring, on January 9, 2020, Mr. Dondero agreed to resign
          as the sole director of Strand, on the condition that he would be replaced by three independent directors
          of Strand, who would act as fiduciaries of the estate and work to restructure Highland's business so it
          could continue operating and emerge from bankruptcy as a going concern. Pursuant to an agreement with
          the Creditors' Committee that was approved by the Bankruptcy Court, Mr. Dondero, UBS, and the
          Redeemer Committee each were permitted to choose one director. Mr. Dondero chose The Honorable
          Former Judge Russell F. Nelms, UBS chose John Dubel, and the Redeemer Committee chose James P.
          Seery, Jr. 2

          Creditors' Committee - On October 29, 2019, the bankruptcy court appointed the Official Committee of
          Unsecured Creditors, which consisted of: (1) The Redeemer Committee of the Highland Crusader Fund
          (Eric Felton), (2) Meta e-Discovery (Paul McVoy), (3) UBS Securities LLC and UBS AG London Branch
          (Elizabeth Kozlowski), and (4) Acis Capital Management, L.P. and Acis Capital Management GP, LLP
          (Joshua Terry).

          James P. Seery, Jr. - a member of the Independent Board, and the Chief Executive Officer, and Chief
          Restructuring Officer of the Debtor. Beginning in March 2020, Mr. Seery ran day-to-day operations and
          negotiations with the Creditors' Committee, investors, and employees in return for compensation of
          $150,000 per month and generous incentives and stands to earn millions more for administering the
          Debtor's post-confirmation liquidation. Judge Nelms and John Dubel remained on the Independent
          Board, receiving weekly updates and modest compensation.

          Acis - Acis Capital Management, L.P., a former affiliate of Highland. Acis is currently owned and
          controlled by Josh Teny, a former employee of Highland. Acis (Joshua Terry) was a member of
          Highland's Creditors' Committee.

          UBS - UBS Securities LLC and UBS AG London Branch, collectively. UBS asserted claims against
          Highland arising out of a default on a 2008 warehouse lending facility (to which Highland was neither a
          party nor a guarantor). Highland had paid UBS twice for full releases of claims UBS asserted against
          Highland - approximately $110 million in 2008 and an additional $70.5 million via settlement with
          Barclays, the Crusader Funds, and Credit Strategies in June 2015. UBS was a member of the Creditors'
          Committee and appointed John Dubel to the Independent Board.


          2 See Stipulation in Support of Motion of the Debtor for Approval of Settlement with the Official Committee of Unsecured

          Creditors Regarding Governance of the Debtor and Procedures for Operations in the Ordinary Course, Dkt. 338; Order
          Approving Settlement with Official Committee of Unsecured Creditors Regarding Governance of the Debtor and Procedures
          for Operations in the Ordinary Course, Dkt. 339.


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          HarbourVest-HarbourVest Partners, LLC. HarbourVest is a private equity fund of funds and one of the
          largest private equity investment managers globally. Harbour Vest has approximately $75 billion in assets
          under management. HabourVest has deep ties with Grosvenor and has jointly with Grosvenor sponsored
          59 LBO transactions in the last two years.

         The Crusader Funds - a group of Highland-managed funds formed between 2000 and 2002. During the
         financial crisis, to avoid a run on the Crusader Funds at low-watermark prices, the funds' manager
         temporarily suspended redemptions, leading investors to sue. That dispute resolved with the formation
         of an investor committee self-named the "Redeemer Committee" and the orderly liquidation of the
         Crusader Funds, which resulted in investors' receiving a return of their full investment plus a return, as
         opposed to the 20 cents on the dollar they would have received had their redemption requests been paid
         when made. Subsequently, when disputes regarding management of the Crusader Funds' liquidation
         arose, the Redeemer Committee instituted an arbitration against Highland, resulting in an arbitration
         award against Highland of approximately $190 million. Nonetheless, due to offsets and double-counting,
         the Debtor initially estimated the value of the Redeemer arbitration award at $105 million to $110 million.
         In a 9019 settlement with the Debtor, the Crusader Funds ultimately received allowed claims of $137
         million, plus $17 million of sundry claims and retention of an interest in Cornerstone Healthcare Group,
         Inc., an acute-health-care company, valued at over $50 million. Notably, UBS objected to the Crusader
         Funds' 9019 settlement, arguing that the Redeemer arbitration award was actually worth much less-
         between $74 and $128 million. The Crusader Funds sold their allowed claims to Stonehill, in which
         Grosvenor is the largest investor. This sale to an affiliated fund without approval of other investors in
         the fund is a violation of the Investment Advisers Act of 1940.

         The Redeemer Committee - The Redeemer Committee of the Highland Crusader Funds was a group of
         investors in the Crusader Funds that oversaw the liquidation of the funds. The Redeemer Committee was
         comprised of nine members. Grosvenor held five seats. Concord held one seat.

         Grosvenor - GCM Grosvenor is a global alternative asset management firm with over $59 billion in
         assets under management. Grosvenor has one of the largest operations in the Cayman Islands, with more
         than half of their assets under management originating through its Cayman operations. Unlike most firms
         operating in the Cayman Islands, Grosvenor has its own corporate and fiduciary services firm. This
         structure provides an additional layer of opacity to anonymous corporations from the British Virgin
         Islands (which includes significant Russian assets), Hong Kong (which includes significant Chinese
         assets), and Panama (which includes significant South American assets). As a registered investment
         adviser, Grosvenor must adhere to know-your-customer regulations, must report suspicious activities,
         and must not facilitate non-compliance or opacity. In 2020, Michael Saks and other insiders distributed
         all of Grosvenor's assets to shareholders and sold the firm to a SPAC originated by Cantor Fitzgerald. 3
         In 2020, the equity market valued asset managers and financial-services firms at decade-high valuations.
         It makes little sense that Grosvenor would use the highly dilutive SPAC process (as opposed to engaging


         3  See https://www.wsj.com/articles/gcm-grosvenor-to-merge-with-cantor-fitzgerald-spac-11596456900. The Securities and
         Exchange Commission recently released a rule proposal that is focused on enhancing disclosure requirements around special
         purpose acquisition companies, including additional disclosures about SP AC sponsors, conflicts of interest and sources of
         dilution, business combination transactions between SPACs and private operating companies, and fairness of these
         transactions. See https ://www.pionline.com/re gulation/sec-proposes-enhanced-spac-discl osure-rule.


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          in a traditional IPO or other strategic-sale alternatives) unless such a structure was employed to avoid the
          diligence and management-liability tail inherent in more traditional processes.

          Farallon - Farallon Capital Management, L.L.C. Farallon is a hedge fund that manages capital on behalf
          of institutions and individuals and was previously the largest hedge fund in the world. Farallon has
          approximately $27 billion in assets under management. Grosvenor is a significant investor in Farallon.
          Grosvenor and Farallon are fmiher linked by Hellman & Friedman, LLC, an American private equity
          firm. Hellman & Friedman owned a stake in Grosvenor from 2007 until it went public in 2020 and seeded
          Farallon's initial capital.

          Muck - Muck Holdings, LLC. Muck is owned and controlled by Farallon. Together with Jessup
          Holdings, LLC (described below)), Muck acquired 90.28% of the general unsecured claims (inclusive of
          Class 8 and Class 9) in the Highland bankruptcy.

          Stonehill - Stonehill Capital Management, LLC. Stonehill provides portfolio management for pooled
          investment vehicles. It has approximately $3 billion in assets under management, which we have reason
          to believe includes approximately $1 billion from Grosvenor.

          Jessup - Jessup Holdings, LLC. Jessup is ovmed and controlled by Stonehill. Together with Muck
          (Farallon), Stonehill acquired 90.28% of the general unsecured claims (inclusive of Class 8 and Class 9)
          in the Highland bankruptcy.

         Marc Kirschner/Teneo - The Debtor retained Marc Kirschner to pursue over $1 billion in claims against
         former insiders and affiliates of the Debtor despite the significant solvency of the estate ($650 million in
         assets versus $410 million in claims). Kirschner' s bankruptcy restructuring firm was purchased by Teneo
         (which also purchased the restructuring practice ofKPMG). Teneo is sponsored by LetterOne, a London-
         based private equity firm owned by Mikhail Fridman, a Russian oligarch. Fridman is also the primary
         investor in Concord Management, LLC ("Concord"), which held a position on the Redeemer Committee.
         During the resolution of a 2018 arbitration involving a Debtor-managed fund, the Highland Credit
         Strategies Fund, evidence emerged demonstrating that Concord was operating as an unregistered
         investment adviser of Russian money from Alfa-Bank, Russia's largest privately held bank and a key
         part of Fridman's Alfa Group Consortium. -That money that was funneled into BVI-domiciled shell
         companies into the Cayman Islands, then into various hedge funds and private equity funds in the U.S.
         Evidence of these activities was presented by the Debtor to Grosvenor, and the Debtor asked to have
         Concord removed from the Redeemer Committee. Concord was never removed. Concord is a large
         investor in Grosvenor. Grosvenor, in turn, is a large investor in Stonehill and Farallon.

          Circumstances Precipitating Bankruptcy

                 Notwithstanding Highland's historical success with Mr. Dondero at the helm, Highland's funds-
          like many other investment platforms-suffered losses during the financial crisis, leading to myriad
          lawsuits by investors. One of the most contentious disputes involved investors in the Crusader Funds. As
          explained above, a group of Crusader Funds investors sued after the funds' manager temporarily
          suspended redemptions during the financial crisis. That dispute resolved with the formation of the
          "Redeemer Committee" and the orderly liquidation of the Crusader Funds, which resulted in investors'



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         receiving a return of their investments plus a profit, as opposed to the 20 cents on the dollar they would
         have received had their redemption requests been honored when made.

                Despite the successful liquidation of the Crusader Funds, the Redeemer Committee sued Highland
         again several years later, claiming that Highland had improperly delayed the liquidation and paid itself
         fees not authorized under the parties' earlier settlement agreement. The dispute went to arbitration,
         ultimately resulting in an arbitration award against Highland of $189 million (of which Highland
         expected to make a net payment of $110 million once the award was confirmed).

                  In view of the expected arbitration award and believing that a restructuring of its judgment
         liabilities was in Highland's best interest, on October 16, 2019, Highland-a Delaware limited
         partnership-filed a voluntary petition for relief under Chapter 11 of the Bankruptcy Code in the
         Bankruptcy Comi for the District of Delaware. 4

                 On October 29, 2019, the Bankruptcy Court appointed the Creditors' Committee. At the time of
         their appointment, creditors agreeing to serve on the Creditors' Committee were given an Instruction
         Sheet by the Office of the United States Trustee, instructing as follows:

                   Creditors wishing to serve as fiduciaries on any official committee are advised that
                   they may not purchase, sell or otherwise trade in or transfer claims against the
                   Debtor while they are committee members absent an order of the Court. By
                   submitting the enclosed Questionnaire and accepting membership on an official
                   committee of creditors, you agree to this prohibition. The United States Trustee
                   reserves the right to take appropriate action, including removing the creditor from
                   any committee, if the information provided in the Questionnaire is inaccurate, if the
                   foregoing prohibition is violated, or for any other reason the United States Trustee
                   believes is proper in the exercise of her discretion.

         See Instruction Sheet, Ex. A (emphasis in original).

                In response to a motion by the Creditors' Committee, on December 4, 2019, the Delaware
         Bankruptcy Court transfen-ed the bankruptcy case to the Northern District of Texas, to Judge Stacey G.C.
         Jernigan's court. 5

             SYSTEMIC PROBLEMS OCCURRING IN THE CONTEXT OF HIGHLAND'S COURT-
                                ADMINISTERED BANKRUPTCY

         Mr. Dondero Gets Pushed Out of Management and New Debtor Management Announces Plans
         to Liquidate the Estate

               From the outset of the case, the Creditors' Committee and the U.S. Trustee's Office in Dallas
         pushed to replace Mr. Dondero as the sole director of Strand. To avoid a protracted dispute and to


         4In re Highland Capital Mgmt., L.P., Case No. 19-12239-CSS (Bankr. D. Del.) ("Del. Case"), Dkt. 1.
         5
          See In re Highland Capital Mgmt., L.P., Case No. 19-34054 (Bankr. N.D. Tex.), Dkt. 186. All subsequent docket references
         are to the docket of the Bankruptcy Court for the N01them District of Texas.


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          facilitate the restructuring, on January 9, 2020, Mr. Dondero agreed to resign as the sole director of
          Strand, on the condition that he would be replaced by the Independent Board. 6

                  In brokering the agreement, Mr. Dondero made clear his expectations that new, independent
          management would not only preserve Highland's business by expediting an exit from bankruptcy in three
          to six months but would also preserve jobs and enable continued collaboration with charitable causes
          supported by Highland and Mr. Dondero. Unfo1tunately, those expectations did not materialize. Rather,
          it quickly became clear that Strand's and Highland's management was being dominated by one of the
          independent directors, Mr. Seery. Shortly after his placement on the Board, on March 15, 2020, Mr. Seery
          became de facto Chief Executive Officer, after which he immediately took steps to freeze Mr. Dondero
          out of operations completely, to the detriment of Highland's business and its employees. The Bankruptcy
          Court formally approved Mr. Seery's appointment as CEO and Chief Restructuring Officer on July 14,
          2020. 7 Although Mr. Seery publicly represented that his goal was to restructure the Debtor's business
          and enable it to emerge as a going concern, privately he was engineering a much different plan. Less
          than two months after Mr. Seery's appointment as CEO/CRO, the Debtor filed its initial plan of
          reorganization, disclosing for the first time its intention to terminate substantially all employees by the
          end of 2020 and to liquidate Highland's assets by 2022. 8

                Over objections by Mr. Dondero and numerous other stakeholders, the Bankruptcy Court
         confirmed Highland's Fifth Amended Plan of Reorganization on February 22, 2021 (the "Plan"). 9 There
         are appeals of that Plan, as well as many of the other rulings made by the Bankruptcy Court, currently
         pending before the United States District Comt and the Comt of Appeals for the Fifth Circuit.

         Transparency Problems Pervade the Bankruptcy Proceedings

                  The Regulatory Framework

                 As you are aware, one of the most impmiant features of federal bankruptcy proceedings is
         transparency. The EOUST instructs that "Debtors-in-possession and trustees must account for the
         receipt, administration, and disposition of all prope1iy; provide information concerning the estate and the
         estate's administration as paities in interest request; and file periodic reports and summaries of a debtor's
         business, including a statement of receipts and disbursements, and such other information as the United
         States Trustee or the United States Bankruptcy Court requires." See http://justice.gov/ust/chapter-l l-
         info1mation (citing 11 U.S.C. § 1106(a)(l), 1107(a)). And Federal Rule of Bankruptcy Procedure
         2015 .3( a) states that "the trustee or debtor in possession shall file periodic financial reports of the value,
         operations, and profitability of each entity that is not a publicly traded corporation or a debtor in a case
         under title 11, and in which the estate holds a substantial or controlling interest." This rule requires the
         trustee or a debtor in possession to file a report for each non-debtor affiliate prior to the first meeting of

         6
           Frank Waterhouse and Scott Ellington, Highland employees, remained as officers of Strand, Chief Financial Officer and
         General Counsel, respectively.
         7
           See Order Approving Debtor's Motion Under Bankruptcy Code Sections 105(a) and 363(b) Authorizing Retention of James
         P. Seery, Jr. as Chief Executive Officer, Chief Restrncturing Officer, and Foreign Representative Nunc Pro Tune to March
         15, 2020, Dkt. 854.
         8
           See Plan of Reorganization of Highland Capital Management, L.P. dated August 12, 2020, Dkt. 944.
         9
           See Order (I) Confirming the Fifth Amended Plan of Reorganization of Highland Capital Management, L.P. (As Modified);
         and (II) Granting Related Relief, Dkt. 1943.


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         creditors and every six months thereafter until the effective date of a plan of reorganization. Fed R.
         Bankr. P. 2015.3(b). Importantly, the rule does not absolve a debtor from filing reports due prior to the
         effective date merely because a plan has become effective. 10 Notably, the U.S. Trustee has the duty to
         ensure that debtors in possession properly and timely file all required reports. 28 U.S.C. § l 112(b)(4)(F),
         (H).

                 The entire purpose of these guidelines and rules is to ensure that external stakeholders can fairly
         evaluate the progress of bankruptcy proceedings, including compliance with legal requirements.
         Particularly in large bankruptcies, creditors and investors alike should expect that debtors, their
         management, and representatives on creditors' committees abide by their reporting obligations and all
         other legal requirements. Bankruptcy is not meant to be a safe haven for lawlessness, nor is it designed
         to obfuscate the operations of the debtor. Instead, transparency is mandatory so that the debtor is
         accountable to stakeholders and so that stakeholders can ensure that all insiders are operating for the
         benefit of the estate. This becomes all the more important when a debtor or an estate holds substantial
         assets through non-debtor subsidiaries or vehicles, as is the case here; hence, the purpose of Rule 2015.3.

                   In Highland's Bankruptcy, the Regulato,y Framework Is Ignored

                Against this regulatory backdrop, the Highland bankruptcy offered almost no transparency to
         stakeholders. Traditional reporting requirements were ignored, and neither the Bankruptcy Court nor the
         U.S. Trustee's Office did anything to ensure compliance. This opened the door to numerous abuses of
         process and potential violations of federal law, as detailed below. Additionally, the lack of proper and
         accurate information and intentional hiding of material information led creditors to vote for the Debtor's
         plan and the Bankruptcy Court to confirm that plan which, we believe, would not have happened had the
         Debtor complied with its fiduciary and reporting duties.

                 As Mr. Draper and I have already highlighted, one significant problem in Highland's bankruptcy
         was the Debtor's failure to file any of the reports required under Bankruptcy Rule 2015.3, either on behalf
         of itself or its affiliated entities. Typically, such reports would include information like asset value,
         income from financial operations, profits, and losses for each non-publicly traded entity in which the
         estate has a substantial or controlling interest.

                 The Debtor's failure to file the required Rule 2015 .3 reports was brought to the attention of the
         Debtor, the Bankruptcy Court, and the U.S. Trustee's Office. During the hearing on Plan confirmation,
         the Debtor was questioned about the failure to file the reports. The sole excuse offered by the Debtor's
         Chief Restructuring Officer and Chief Executive Officer, Mr. Seery, was that the task "fell through the
         cracks." 11 Nor did the Debtor or its counsel ever attempt to show "cause" to gain exemption from the
         reporting requirement. That is because there was no good reason for the Debtor's failure to file the
         required reports. In fact, although the Debtor and the Creditors' Committee often refer to the Debtor's
         structure as a "byzantine empire," the assets of the estate fall into a handful of discrete investments, most
         of which have audited financials and/or are required to make monthly or quarterly net-asset-value or fair-

          10After notice and a hearing, the bankruptcy comt may grant relief from the Rule 2015.3 disclosure requirement "for cause,"
         including that "the trustee or debtor in possession is not able, after a good faith effo1t, to comply with th[e] rep01ting
         requirements, or that the information required by subdivision (a) is publicly available." Fed. R. Bankr. 2015.3(d).
         11 See Dkt. 1905 (Feb. 3, 2021 Hr'g Tr. at 49:5-21 ).




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         value determinations. 12 Rather than disclose financial information that was readily available, the Debtor
         appears to have taken deliberate and strategic steps to avoid transparency.

                 Despite these transparency problems, the Debtor's confirmed Plan contains prov1s10ns that
         effectively release the Debtor from its obligation to file any of the repo1is due for any period prior to the
         effective date-thereby sanctioning the Debtor's failure and refusal to follow the rules. The U.S. Trustee
         also failed to object to this portion of the Court's order of confirmation, which is directly at odds with
         the spirit and mandate of the Periodic Repo1iing Requirements adopted by the EOUST and historical
         rules mandating transparency. 13

                Because neither the federal Bankruptcy Comi nor the U.S. Trustee advocated or demanded
         compliance with the rules, the Debtor, its newly appointed management, and the Creditors' Committee
         charged with protecting the interests of all creditors were able to manipulate the estate for the benefit of
         a handful of insiders, seemingly in contravention of law.

         The Lack of Transparency Permitted the Debtor to Quietly Sell Assets Without Observing Best
         Practices

                 Highland engaged in several other asset sales in bankruptcy without disclosing those sales in
         advance to outside stakeholders or investors, and without offering investors in funds impacted by the
         sales the opp01iunity to purchase the assets. For example:

                  •         The Debtor sold approximately $25 million of NexPoint Residential Trust shares that
                            today are valued at over $70 million; the Debtor likewise sold $6 million of Portola
                            Pharma shares that were taken over less than 60 days later for $18 million.

                  •         The Debtor divested interests w01ih $145 million held in ce1iain life settlements (which
                            paid on the death of the individuals covered, whose average age was 90) for $35 million
                            rather than continuing to pay premiums on the policies and did so without obtaining
                            updated estimates of the life settlements' value, to the detriment of the fund and investors
                            (today two of the covered individuals have a life expectancy of less than one year).

                  •         The Debtor sold interests in OmniMax without informing the Bankruptcy Comi, without
                            engaging in a competitive bidding process, and without cooperating with other funds
                            managed by Mr. Dondero, resulting in what we believe is substantially lesser value to the
                            debtor (20% less than Mr. Dondero received in funds he managed).

                  •         The Debtor sold interests in Structural Steel Products (worth $50 million) and Targa
                            (worth $37 million), again without any process or notice to the Bankruptcy Court or

          12
            During a deposition, Mr. Seery identified most of the Debtor's assets "[o]ffthe top of [his] head" and acknowledged that
         he had a subsidiary ledger that detailed the assets held by entities below the Debtor. See Exh. A (Jan. 29, 2021 Dep. Tr. at
         22:4-10; 23:1-29:10).
         13
            See "Procedures for Completing Uniform Periodic Reports in Non-Small Business Cases Filed Under Chapter 11 of Title
         11" (the "Periodic Reporting Requirements"). The Periodic Reporting Requirements reaffirmed the EOUST's commitment to
         maintaining "uniformity and transparency regarding a debtor's financial condition and business activities" and "to inform
         creditors and other interested pmties of the debtor's financial affairs." 85 Fed. Reg. 82906.


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                            outside stakeholders, resulting in a loss to the estate of over $10 million versus cost and
                            $20 million versus fair market value.

                  •         The Debtor "sold" interests in certain investments commonly refen-ed to as PetroCap
                            without engaging in a public sale process and without exploring any other method of
                            liquidating the asset.

         Because the Bankruptcy Code does not define what constitutes a transaction in the "ordinary course of
         business," the Debtor's management was able to characterize these massive sales as ordinary course
         transactions when they were anything but ordinary, resulting in diminution in value to the estate and its
         creditors. Equally as troubling, for certain similar sale transactions the Debtor did seek Bankruptcy Court
         approval, thus acknowledging that such approval was necessary or, at a minimum, that disclosures
         regarding non-estate asset sales are required.

          The Lack of Transparency Permitted the "Inner Circle" to Manipulate the Estate for Personal
          Gain

                  Largely because of the Debtor's failure to file Rule 2015 .3 repo1is for affiliate entities, interested
         parties and creditors wishing to evaluate the w01ih and mix of assets held in non-Debtor affiliates could
         not do so. This is particularly problematic because the Debtor sold $172 million in assets, which altered
         the mix of assets and liabilities of the Debtor's affiliates and controlled entities. In addition, the estate's
         asset value decreased by approximately $200 million in a matter of months in the wake of the global
         pandemic. Absent financial reporting, it was impossible for stakeholders to dete1mine whether the $200
         million impairment in asset value reflected actual realized losses or merely temporary mark-downs
         precipitated by problems experienced by certain assets during the pandemic (including labor sho1iages,
         supply-chain issues, travel inteITuptions, and the like). A Rule 2015.3 repo1i would have revealed the
         mix of assets and the corresponding reduction in liabilities of the affiliated or controlled entity-
         information that was critical in evaluating the w01ih of claims against the estate or future investments
         into it.

                 In stark contrast to its non-existent public disclosures, the Debtor provided the Creditors'
         Committee with robust weekly information regarding transactions involving assets held by the Debtor or
         its wholly owned subsidiaries, transactions involving managed entities and non-managed entities in
         which the Debtor held an interest, transactions involving non-discretionary accounts, and weekly budget-
         to-actuals reports referencing non-Debtor affiliates' 13-week cash flow budget. In other words, the
         Committee had real-time financial information with respect to the affairs of non-Debtor affiliates, which
         is precisely the type of information that should have been disclosed to the public pursuant to Rule 2015 .3.
         The Debtor's "inner circle" - the Debtor (as well as its advisors and professionals) and the Creditors'
         Committee (and its counsel) - had access to critical information upon which any reasonable investor
         would rely. But because of the lack ofreporting, the public did not.

                  Mr. Seery's Compensation Structure Encouraged Misrepresentations Regarding the Value of
                  the Estate and Assets of the Estate

                Mr. Seery's compensation package encouraged, and the lack of transparency permitted,
         manipulation of the estate and settlement of creditors' claims at inflated amounts.


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                  Upon his initial appointment as an Independent Director in January 2020, Mr. Seery received
          compensation from the Debtor of $60,000 per month for the first three months, $50,000 per month for
          the following three months, and $30,000 per month for remaining months, subject to adjustment by
          agreement with the Debtor. 14

                  When Mr. Seery subsequently was appointed the Debtor's CEO and CRO in July 2020, he his
          compensation package was handsomely improved. His base salary, which was on the verge of dropping
          to $30,000 per month, was increased retroactively back to March 15, 2020, to $150,000 per month.
          Additionally, his employment agreement contemplated a discretionary "Restructuring Fee" 15 that would
          be calculated in one of two ways:

                    (1)       If Mr. Seery were able to resolve a material amount of outstanding claims against the
                              estate, he would be entitled to $1 million on confirmation of what the Debtor termed a
                              "Case Resolution Plan," $500,000 at the effective date of the Case Resolution Plan, and
                              $750,000 upon completion of distributions to creditors under the plan.

                    (2)       If, by contrast, Mr. Seery were not able to resolve the estate and instead achieved a
                              "Monetization Vehicle Plan," he would be entitled to $500,000 on confirmation of the
                              Monetization Vehicle Plan, $250,000 at the effective date of that plan, and-most
                              importantly-a to-be-determined "contingent restructuring fee" based on "performance
                              under the plan after all material distributions" were made.

          The Restructuring Fee owed for a Case Resolution Plan was materially higher than that payable under
          the Monetization Vehicle Plan and was intended to provide a powerful economic incentive for Mr. Seery
          to steer Highland through the Chapter 11 case and emerge from bankruptcy as a going concern.

                  Despite the structure of his compensation package, Mr. Seery saw greater value in aligning
          himself with creditors and the Creditors' Committee. To that end, he publicly alienated and maligned
          Mr. Dondero, and he found willing allies in the Creditors' Committee. The posturing also paved the way
          for Mr. Seery to bestow upon the hold-out creditors exorbitant settlements at the expense of equity and
          earn his Restructuring Fee. In fact, at the time of Mr. Seery's formal appointment as CEO/CRO, he had
          already negotiated settlements in principle with Acis and the Redeemer Committee (both members of the
          Creditors' Committee), 16 leaving only the HarbourVest and UBS (also a member of the Creditors'
          Committee) claims to resolve. In other words, Mr. Seery had curried favor with two of the four members
          of the Creditors' Committee who would ultimately approve his Restructuring Fee and future
          compensation following plan consummation.

                 Ultimately, the confirmed Plan appointed Mr. Seery as the Claimant Trustee, which continued his
          compensation of $150,000 per month (termed his "Base Salary") and provided that the Oversight Board
          and Mr. Seery would negotiate additional "go-forward" compensation, including a "success fee" and
          severance pay. 17 Mr. Seery's success fee presumably is (or will be) based on whether his liquidation of

          14
             See Dkt. 339, ,r 3.
          15
             See Dkt. 854, Ex. 1.
          16
             See Dkt. 864, p. 8, I. 24 - p. 9, I. 8.
          17
             See Plan Supplement, Dkt. 1875, § 3.13(a)(i).


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         the estate outperforms what was disclosed in the Plan Analysis. In other words, Mr. Seery had a financial
         incentive to grossly understate the value of the estate in public disclosures, not only to facilitate claims
         trading and resolution of the biggest claims in bankruptcy but also to ensure that he eventually receives
         a large "success fee" and severance payment. In fact, during a deposition taken on October 21, 2021,
         Mr. Seery testified that he expected to make "a few million dollars a year" for each year during the years
         that he will take to liquidate the Debtor, although we estimate that, based on the estate's nearly $650
         million value today, Mr. Seery's success fee could approximate $50 million.

                     Mr. Seery Enters into Inflated Settlements

                 Even before his appointment as CEO and CRO of the Debtor, Mr. Seery had effectively seized
         control of the Debtor as its de facto chief executive officer. 18 Thus, while he was in the process of
         negotiating his compensation agreement, he was simultaneously negotiating settlements with the
         remaining creditors to ensure he earned his Restructuring Fee, even ifhe did so at inflated amounts. One
         transaction that highlights this is the settlement with the Crusader Funds and the Redeemer Committee.

                 In connection with Mr. Seery's appointment as CEO and CRO, the Debtor announced that it had
         reached an agreement in principle with the Crusader Funds and the Redeemer Committee. Even UBS,
         one of the members of the Creditors' Committee, thought the settlement was inflated. In its objection to
         the Debtor's 9019 motion, UBS stated: 19

                              The Redeemer Claim is based on an Arbitration Award that required the Debtor,
                     inter alia, to pay $118,929,666 (including prejudgment interest and attorneys' fees) in
                     damages and to pay Redeemer $71,894,891 (including prejudgment interest) in exchange
                     for all of Crusader's shares in Cornerstone. Pursuant to that same Arbitration Award, the
                     Debtor also retained the right to receive $32,313,000 in Defe1Ted Fees upon Crusader's
                     liquidation. As shown below, after accounting for those reciprocal obligations to the
                     Debtor and depending on the true value of the Cornerstone shares to be tendered (which
                     is disputed), the actual value of the Arbitration Award to Redeemer is between
                     $74,911,557 and $128,011,557. 3

                             Under the Proposed Settlement, however, Redeemer stands to gain far more
                     because the Debtor has inexplicably agreed to release its rights to Crusader's Cornerstone
                     shares and the Deferred Fees (with a combined value that could be as much as
                     $115,913,000)-providing a substantial windfall to Redeemer. The Debtor has failed to
                     provide sufficient information to permit this Court to meaningfully evaluate the true value
                     of the Proposed Settlement, including the fair value of the Cornerstone shares, which it
                     must do in order for this Com1 to have the information it needs to approve the Proposed
                     Settlement. Depending on the valuation of the Cornerstone shares, the value of the
                     Proposed Settlement to Redeemer may be as much as $253,609,610-which substantially
                     exceeds the face amount of the Redeemer Claim.



          18 See Dkt. 864, p. 6, I. 18 -    22.
          19
               See Dkt. 1190, p. 6- 7.


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                            In the meantime, other general unsecured creditors of the Debtor will receive a
                    much lower percentage recovery than they would if those assets were instead transfened
                    to the Debtor's estate, as required by the Arbitration Award, and evenly distributed among
                    the Debtor's creditors. The Proposed Settlement is only in the best interests of Redeemer
                    and, as such, it should be rejected.


                              3
                                                                    ******
                                The potential range of value attributable to the Cornerstone shares is
                              significant because, according to the Debtor's liquidation analysis, the
                              Debtor expects to have only $195 million total in value to distribute, and
                              only $161 million to distribute to general unsecured creditors under its
                              proposed plan. See Liquidation Analysis [Dkt. No. 1173-1]; First
                              Amended Plan of Reorganization of Highland Capital Management, L.P.
                              [Dkt. No. 1079].

                 UBS was right. Mr. Seery agreed to a settlement that substantially overpaid the Redeemer
          Committee, and UBS only agreed to withdraw its objection and appeal of the Redeemer Committee's
          settlement when the Debtor bestowed upon UBS its own lavish settlement. 20

                  It is worth noting that the Redeemer Committee ultimately sold its bankruptcy claim for $78
          million in cash, but the sale excluded, and the Crusader Funds retained, its investment in Cornerstone
          Healthcare Group Holding Inc. and certain non-cash consideration. 21 At the end of the day, the Crusader
          Funds and the Redeemer Committee cashed out of their bankruptcy claims for total consideration at the
          very least of $13 5 million, meaning they received 105% of the highest estimate (according to UBS) of
          the net amount of their arbitration award. 22

                    The Inner Circle Doesn't Object to Inflated Settlements

                 Following the Bankruptcy Court's approval of settlements with Acis/Josh Teny and the Crusader
          Funds/the Redeemer Committee, Mr. Seery turned his attention to the two remaining critical holdouts:
          HarbourVest and UBS. HarbourVest, a private equity fund-of-funds with approximately $75 billion
          under management, had invested pre-bankruptcy $80 million into (and obtained 49.98% of the
          outstanding shares of) a Highland fund called Acis Loan Funding, later rebranded as Highland CLO

          20 See Dkt 2199. Under the te1ms of the UBS Settlement, UBS received a Class 8 claim in the amount of $65 million, a Class
          9 claim in the amount of$60 million, a payment in cash of$18.5 million from a non-Debtor fund managed by the Debtor, and
          the Debtor's agreement to assist UBS in pursuing other claims against former Debtor affiliates related to a default on a credit
          facility during the Global Financial Crisis. Importantly, over the course of the preceding 11 years, UBS had already received
          payments totaling $180 million in connection with this dispute, and just prior to bankruptcy, UBS and the Debtor had reached
          a settlement in principle in which the Debtor would pay UBS just $7 million and $10 million in future business.
          21
             See Exh. B.
          22 The estimation of a total recovery of $135 million includes attributing $48 million to the retained Cornerstone investment.

          The $48 million valuation equated to a -45% interest in Cornerstone, which was valued pre-pandemic at approximately $107
          million. Following COVID, Cornerstone's long-term acute care facilities flourished. Additionally, Cornerstone held a direct
          investment of over 800,000 shares in MGM, which was held on its books at approximately $72 per share. The per-share
          closing price on the sale of MGM to Amazon exceeded $164, which would have increased the company's valuation
          (irrespective of the post-COVID growth) by more than $70 million, bring Crusader Funds' windfall to more than $205 million.


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          Funding, Ltd. ("HCLOF"). A charitable fund called the Charitable DAF Fund, L.P. ("DAF") held
          49.02% member interests in HCLOF, and the remaining ~2.00% was held by Highland and ce1iain of its
          employees.

                  Before Highland filed bankruptcy, a dispute arose between HarbourVest and Highland in which
         HarbourVest claimed it was duped into making the investment into HCLOF because Highland allegedly
         failed to disclose facts relating to the investment (namely, that Highland was engaged in ongoing
         litigation with former employee, Josh Teffy, which would result in HCLOF's incuning legal fees and
         costs). HarbourVest alleged that, as a result of the Teny lawsuit, HCLOF incurred approximately $15
         million in legal fees and costs. In Highland's bankruptcy, however, HarbourVest filed a proof of claim
         alleging that it was due over $300 million in damages in the dispute, a claim that the Debtor and Debtor's
         counsel initially argued was absurd. Indeed, Debtor management valued HarbourVest's claims at $0,
         which was consistently reflected in the Debtor's publicly-filed financial statements up through and
         including its December 2020 Monthly Operating Report. 23 Nevertheless, as one of the final creditor
         claims to be resolved, Mr. Seery ultimately agreed to give HabourVest a $45 million Class 8 claim and a
         $35 million Class 9 claim. 24 At that time, the Debtor's public disclosures reflected that Class 8 creditors
         could expect to receive 71.32% payout on their claims, and Class 9 creditors could expect 0.00%. Thus,
         HarbourVest's total $80 million in allowed claims would result in HarbourVest receiving $32 million in
         cash. 25 The cash consideration was offset by HarbourVest's agreement to convey its interest in HCLOF
         to the Debtor (or its designee) and to vote in favor of the Debtor's Plan. In its pleadings and testimony in
         support of the settlement, the Debtor represented that the value of HarbourVest's interest in HCLOF was
         $22.5 million. In other words, from the outside looking in, the Debtor agreed to pay $9.5 million for a
         spurious claim.

                 Oddly enough, no creditors (other than former insiders) objected. What the inner circle
         presumably knew was that the settlement was actually a windfall for the Debtor. As we have previously
         detailed, the $22.5 million valuation of HCLOF that the Debtor utilized in seeking approval of the
         settlement was based upon September 2020 figures when the economy was still reeling from the
         pandemic. The value of that investment rebounded rapidly, particularly because of the pending MGM
         sale to Amazon that was disclosed to the Debtor but not the public (i.e., material non-public information).
         We have subsequently learned that the actual value of the HCLOF at the time the Bankruptcy Court
         approved the HarbourVest settlement was at least $44 million-a value that Mr. Seery would have known
         but that was not disclosed to the Court or the public.

                 Likewise, there were no objections to the UBS settlement, which is puzzling. As detailed in the
         Debtor's 64-page objection to the UBS proof of claim and the Redeemer Committee's 431-page objection
         to the UBS proof of claim, UBS' s claims against the Debtor were razor thin and largely foreclosed by res
         judicata and a settlement and release executed in connection with the June 2015 settlement. Moreover,
         the publicly available information indicated that:

                       •    The estate's asset value had decreased by $200 million, from $556 million on October 16,

         23 See Monthly Operating Report for Highland Capital Management for the Month Ending December 2020, Dkt. 1949.
         24 Class 8 consists of general unsecured claims; Class 9 consists of subordinated claims.
         25 We have reason to believe that HarbourVest's Class 8 and Class 9 claims were contemporaneously sold to Farallon Capital

         Management-an SEC-registered investment advisor-for approximately $27 million.


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                                2019, to $328 million as of September 30, 2020 (increasing only slightly to $364 million
                                as of January 31, 2021 ); 26

                          •     Allowed claims against the estate increased by $236 million from December 2020 to
                                January 2021, with Class 8 claims ballooning $74 million in December to $267 million in
                                January;

                          •     Due to the decrease in the value of the Debtor's assets and the increase in the allowed
                                claims amount, the ultimate projected recovery for Class 8 Claims decreased from 87.44%
                                to 71.32% in just a matter of months.

          The Liquidation Analysis estimated total assets remaining for distribution to general unsecured claims to
          be $195 million, with general unsecured claims totaling $273 million. By the time the UBS settlement
          was presented to the court for approval, the allowed Class 8 Claims had increased to $309,345,000,
          reducing the distribution to Class 8 creditors to 62.99%. Surely significant creditors like the Redeemer
          Committee-whose projected distribution dropped from $119,527,515 when it voted for the Plan to
          $86,105,194 with the HarbourVest and UBS claims included-should have taken notice.

          Mr. Seery Stacks the Oversight Board

                   As previously disclosed, we believe Mr. Seery facilitated the sale of the four largest claims in the
          estate to Farallon and Stonehill. Based upon conversations with representatives of Farallon, Mr. Seery
          contacted them directly to encourage their acquisition of claims in the bankruptcy estate. 27 We believe
          Mr. Seery did so by disclosing the true value of the estate versus what was publicly disclosed in comi
          filings, demonstrating that there was substantial upside to the claims as compared to what was included
          in the Plan Analysis. For example, publicly available information at the time Farallon and Stonehill
          acquired the UBS claim indicated the purchase would have made no economic sense: the publicly
          disclosed Plan Analysis estimated that there would be a 71.32% distribution to Class 8 creditors and a
          0.00% distribution to Class 9 creditors, which would mean that Farallon and Stonehill would have lost
          money on the claim acquisition. We can only conclude Mr. Seery (or others in the Debtor's management)
          apprised Stonehill and Farallon of the true estate value (which was material, non-public information at
          the time), which based upon accurately disclosed financial statements would indicate they were likely to
          recover close to 100% on both Class 8 and Class 9 claims.

                 As set forth in the previous letters, three of the four members of the Creditors' Committee and
          one non-committee member sold their claims to two buyers Farallon, through Muck, and Stonehill,
          through Jessup. The four claims purchased by Farallon and Stonehill comprise the largest four claims in
          the Highland bankruptcy by a substantial margin, collectively totaling almost $270 million in Class 8
          claims and $95 million in Class 9 claims:



          26 Compare Jan. 31, 2021   Monthly Operating Report [Dkt. 2030], with Disclosure Statement (approved on Nov. 24, 2020)
          [Dkt. 1473].
          27
             We believe Mr. Seery made similar calls to representatives of Stonehill. We are informed and believe that Mr. Seery has
          long-standing relationships with both Farallon and Stonehill.


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           Claimant                            Class 8 Claim          Class 9 Claims            Date Claim Settled
           Redeemer Committee                  $136,696,610           NIA                       October 28, 2020
           Acis Capital                        $23,000,000            NIA                       October 28, 2020
           HarbourVest                         $45,000,000            $35,000,000               January 21, 2021
           UBS                                 $65,000,000            $60,000,000               May 27, 2021
           TOTAL:                              $269,696,610           $95,000,000

                 From the information we have been able to gather, it appears that Stonehill and Farallon purchased
         these claims for the following amounts:

                  Creditor                 Class 8    Class 9       Purchaser                      Purchase Price
                  Redeemer                 $137.0    $0.0           Stonehill                     $78.0 28
                  ACIS                     $23.0     $0.0           Farallon                      $8.0
                  HarbourVest              $45.0     $35.0          Farallon                      $27.0
                  UBS                      $65.0     $60.0          Stonehill and Farallon        $50.0
                  TOTAL                    $270.0    $95.0                                        $150.0 - $165.0


                 As the purchasers of the four largest claims in the bankruptcy, Muck (Farallon) and Jessup
         (Stonehill) are overseeing the liquidation of the reorganized Debtor. These two hedge funds also will
         dete1mine the performance bonus due to Mr. Seery for liquidating the estate. As set forth below, we
         estimate that the estate today is worth nearly $650 million and has approximately $200 million in cash,
         which could result in Mr. Seery's receipt of a performance bonus approximating $50 million. Thus, it is
         a warranted and logical deduction that Farallon and Stonehill may have been provided material, non-
         public inf01mation to induce their purchase of these claims. As set fo11h in previous letters, there are three
         primary reasons to believe this:

                        •   The scant publicly available information regarding the Debtor's estate ordinarily would
                            have dissuaded sizeable investment in purchases of creditors' claims;

                        •    The information that was actually publicly available ordinarily would have compelled a
                             prudent investor to conduct robust due diligence prior to purchasing the claims; and

                        •    Yet these claims purchasers spent in excess of $ 100 million (and likely closer to $ 150
                             million) on claims, ostensibly without any idea of what they were purchasing.

         For example, consider the sale of the Crusader Funds' claims, which we know was sold for $78 million.
         Based upon the publicly available information at the time of the acquisition, the expected distribution
         would have been $86 million. Surely a sophisticated hedge fund would not invest $78 million in a
         pmiicularly contentious bankruptcy if it believed its maximum return was $86 million years later.




         28 Because the transaction included "the majority of the remaining investments held by the Crusader Funds," the net amount

         paid by Stonehill for the Claims was approximately $65 million.


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                  Ultimately, the Plan, Mr. Seery' s compensation package, and the lack of transparency to everyone
          other than the Debtor, its management, and the Creditors' Committee permitted Debtor management and
          the Creditors' Committee to support grossly inflated claims (at the expense ofresidual stakeholders) in a
          grossly understated estate, which facilitated the sales of those claims to a small group of investors with
          significant ties to Debtor management. In doing so, Mr. Seery installed on the Reorganized Debtor's
          Oversight Board friendly faces who stand to make $370 million on ~$150 million investment. And Mr.
          Seery's plan has already worked. Notably, while the confirmed Plan was characterized by the Debtor as
          a monetization plan, 29 the newly installed Oversight Board supported, and the Court approved, paying
          Mr. Seery the much more lucrative Case Resolution Fee, netting Mr. Seery $1.5 million more than he
          was entitled to receive under his employment agreement.

                  In a transparent bankruptcy proceeding, we question whether any of this could have happened.
          What we do know is that the Debtor's non-transparent bankruptcy has ensured there will be nothing left
          for residual stakeholders, while emiching a handful of intimately connected individuals and investors.

                                                             Value as of Aug. 2021      March 2022 High
                                                                                        Estimate updated
                                                                                        for MGM closing
              Asset                                         Low         High
              Cash as of 4/25/22                            $17.9       $17.9
                                               Targa Sale   $37.0       $37.0
                                          8/1 CLO Flows     $10.0       $10.0
                                         Uchi Bldg. Sale    $9.0        $9.0
                                               Siepe Sale   $3.5        $3.5
                                           PetroCap Sale    $3.2        $3.2
                                          Park West Sale    $3.5        $3.5
                                      HCLOF trapped cash    $25.0       $25.0
              Total Cash                                    $105.6      $105.6        $200
              Trussway                                      $180.0      $180.0        $180.0
              Cornerstone (125mm; 16%)                      $18.0       $18.0         $25.0
              HCLOF                                         $40.0       $40.0         $20.0

              CCS Medical (in CLOs and Highland             $20.0       $20.0         $30.0
              Restoration)
              MGM (direct ownership)                        $32.0       $32.0         $0.0
              Multi-Strat (45% of 100mm; MGM;               $45.0       $45.0         $30.0
              CCS)
              Korea Fund                                    $18.0       $18.0         $20.0
              Celtic (in Credit-Strat)                      $12.0       $40.0         $40.0
              SE Multifamily                                $0.0        $20.0         $20.0
              Affiliate Notes                               $0.0        $70.0         $70.0
              Other                                         $2.0        $10.0         $10.0

         29
              See Dkt. 194., p.5.


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            Highland Restoration Capital Partners
            TOTAL                                              $472.6            $598.6          $645.0


         The Bankruptcy Professionals are Draining the Estate

                        Yet another troubling aspect of the Highland bankruptcy has been the rate at which Debtor
         professionals have drained the Estate, largely through invented, unnecessary, and greatly overstaffed and
         overworked offensive litigation. The sums expended between case filing and the effective date of the
         Plan (the "Effective Date") are staggering:

          Professional                                                  Fees                          Ex[!enses
          Hunton Andrews Kurth                                          $1,147,059.42                 $2,747.84
          FTI Consulting, Inc.                                          $6,176,551.20                 $39,122.91
          Teneo Capital, LLC                                            $1,221,468.75                 $6,257.07
          Marc Kirschner                                                $137,096.77
          Sidley Austin LLP                                             $13,134,805.20               $211,841.25
          Pachulski Stang Ziehl & Jones                                 $23,978,627.25               $334,232.95
          Mercer (US) Inc.                                              $202,317.65                  $2,449.37
          Deloitte Tax LLP                                              $553,412.60
          Development Specialists, Inc.                                 $5,562,531.12                 $206,609.54
          James Seery30                                                 $5,100,000.00
          Quinn Emanuel Urquhart & Sullivan, LLP
          Wilmer Cutler Pickering Hale & Dorr LLP                       $2,645,729.72                $5,207.53
          Kurtzman Carson Consultants LLC                               $2,054,716.00
          Foley & Lardner LLP                                           $629,088.00
          Casey Olsen Cayman Limited                                    $280,264.00
          ASW Law Limited                                               $4,976.00
          Houlihan Lokey Financial Advisors, Inc.                       $766,397.00
          Berger Hanis, LLP
          Hayward PLLC                                                  $825,629.50                  $46,482.92
                                                                        $64,420,670.18               $854,951.38

          Total Fees and Expenses                                                                    $65,275,621.56


         "The [bankruptcy] estate is not a cash cow to be milked to death by professionals seeking compensation
         for services rendered to the estate which have not produced a benefit commensurate with the fees sought."
         In re Chas. A. Stevens & Co., 105 B.R. 866, 872 (Bankr. N.D. Ill. 1989).




         30 This amount includes Mr. Seery's success fee, which was paid a month following the Effective Date.




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                  The rate at which Debtor professionals have drained the estate is in stark contrast to the treatment
          of the employees who stayed with the Debtor (without a key employee retention plan or key employee
          incentive program) on the promise they would be made whole for prepetition deferred compensation that
          had not yet vested, only to be stiffed and summarily terminated. Even worse, some of these employees
          have been targeted by the litigation sub-trust for acts they took in the course and scope of their
          employment.

                  Following the Effective Date, siphoning of estate assets continues. Mr. Seery still receives base
          compensation of $150,000 per month, and he expects to receive compensation of at least "a few million
          dollars a year" according to his own deposition testimony. In addition, his retention was conditioned
          upon receiving a to-be-negotiated success fee and severance payment (notably, none of which is disclosed
          publicly).

                  Likewise, Teneo Capital, LLC was retained as the litigation adviser. For its services post-
          Effective Date, it is compensated $20,000 per month for Mr. Kirschner as trustee for the Litigation
          Subtrust, plus the regularly hourly fees of any additional Teneo personnel, plus a "Litigation Recovery
          Fee." The Litigation Recovery Fee is equal to 1.5% of Net Litigation Proceeds up to $100 million and
          2.0% of Net Litigation Proceeds above. Interestingly, although "Net Litigation Proceeds" is defined as
          gross litigation proceeds less certain fees incuned in pursing the litigation, net proceeds are not reduced
          by Mr. Kirschner's monthly fee, contingency fees charged by any other professionals, or litigation
          funding financing. Moreover, Teneo is given credit for any litigation recoveries regardless of whether
          those recoveries stem from actions commenced by the litigation trustee. The Debtor has not disclosed,
          and is not required to disclose, the terms upon which any professionals have been engaged following the
          Effective Date, including Quinn Emanuel Urquhaii & Sullivan, LLP, counsel for the Litigation Subtrust.
          Based upon pre-Effective Date monthly expenses, the number of lawyers that attend various matters on
          behalf of the Debtor,31 and the addition of Quinn Emanuel Urquhart & Sullivan, LLP and Teneo, we
          believe the Debtor could be spending as much as $5-$7 million per month.

                  The Reorganized Debtor and the Highland Claimant Trust recently filed heavily redacted,
          quarterly post-confirmation reports. 32 Of note, the Reorganized Debtor disclosed that it has disbursed
          $81,983,611 since the Effective Date but disclosed that it has only paid $47,793 in priority claims and
          $6,918,473 in general unsecured claims, while still estimating a total recovery to general unsecured
          claims of $205,144,544. The Highland Claimant Trust disclosed that it has disbursed an additional
          $7,152,331 since the Effective Date.

                                                             CONCLUSION

                  The Highland bankruptcy is an extreme example of the abuses that can occur if the federal bench,
          federal government appointees, and federal lawmakers do not police federal bankruptcy proceedings by

          31 In connection with a recent two-day trial on an administrative claim, the Debtor was represented by John Mon-is ($1,245.00
          per hour), Greg Demo ($950 per hour), and Hayley Winograd ($695 per hour), and was assisted by paralegal La Asia Canty
          ($460 per hour). The Debtor's local counsel, Zachery Annable ($300 per hour), was also present, and Jeffrey Pomerantz
          ($1,295 per hour) observed the trial via WebEx. Despite the army of lawyers, Mr. M01Tis handled virtually the entire
          proceeding, with Ms. Winograd examining only two small witnesses. Messrs. Pomerantz, Demo, and Annable played no
          active role in the proceedings.
          32
             Dkt 3325 and 3326.


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          Ms. Nan R. Eitel
          May 11, 2022
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          permitting debtors-in-possession to hide material information, violate duties of transparency and candor,
          and manipulate information and transactions to benefit disclosed and undisclosed insiders or "friends" of
          insiders. Bankruptcy should not be an avenue for opportunistic venturers to prey upon companies to the
          detriment of third-party stakeholders and the bankruptcy estate. We therefore encourage your office to
          investigate the problems inherent in the Highland bankruptcy. At a minimum, we ask that the EOUST
          seek orders from the Bankruptcy Court compelling the Debtor to undertake the following actions:

                        1. turn over all financial repo1ts that should have been disclosed during the pendency of the
                           bankruptcy, including 2015.3 reports;

                        2. provide a detailed disclosure of the assets Reorganized Debtor;

                        3. provide a copy of the executed Claimant Trust Agreement, which should already have
                           been disclosed;

                        4. disclose all solvency analyses p repared by the Debtor; and

                        5. provide copies of all agreements for the engagement of Debtor professionals post-
                           confirmation, including the terms of Mr. Seery's success fee and severance agreement,
                           compensation agreements for personnel of the Reorganized Debtor, and the fee
                           arrangement w ith Quinn Emanuel Urquhart & Sullivan, LLP.

                                                                Sincerely,




         DR:




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 Counsel for Plaintiffs The Dugaboy Investment Trust and the
 Hunter Mountain Investment Trust


                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION


                                                          §
 In re:                                                   § Chapter 11
                                                          §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,                       § Case No. 19-34054-sgj11
                                                          §
                                  Reorganized Debtor.     §
                                                          §
                                                          §
 DUGABOY INVESTMENT TRUST and                             §
 HUNTER MOUNTAIN INVESTMENT TRUST,                        §
                                                          §
                                  Plaintiffs,             § Adversary Proceeding No.
                                                          §
 vs.                                                      §
                                                          §
 HIGHLAND CAPITAL MANAGEMENT, L.P. and                    §
 HIGHLAND CLAIMANT TRUST,                                 §
                                                          §
                                  Defendants.             §
                                                          §

                      COMPLAINT TO (I) COMPEL DISCLOSURES
            ABOUT THE ASSETS OF THE HIGHLAND CLAIMANT TRUST AND
             (II) DETERMINE (A) RELATIVE VALUE OF THOSE ASSETS, AND
          (B) NATURE OF PLAINTIFFS’ INTERESTS IN THE CLAIMANT TRUST




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          Plaintiffs The Dugaboy Investment Trust (“Dugaboy”) and Hunter Mountain Investment

 Trust (“HMIT” and collectively with Dugaboy, the “Plaintiffs”) file this adversary complaint (the

 “Complaint”) against Defendants Highland Capital Management, L.P. (“HCM” or the “Debtor”)

 and the Highland Claimant Trust (the “Claimant Trust,” and collectively with HCM, the

 “Defendants”), seeking: (1) disclosures about all distributions and an accounting of the assets and

 liabilities currently held in the Claimant Trust; (2) a determination of the value of the assets and

 liabilities; and (3) declaratory relief setting forth the nature of Plaintiffs’ interests in the Claimant

 Trust.

                                      PRELIMINARY STATEMENT

          1.       As holders of Contingent Claimant Trust Interests1 that vest into Claimant Trust

 Interests once all creditors are paid in full, and as defendants in litigation pursued by Marc S.

 Kirschner (“Kirschner”) as Trustee of the Litigation Sub-Trust (which seeks to recover damages

 on behalf of the Claimant Trust), Plaintiffs file this Complaint to obtain information about the

 assets and liabilities of the Claimant Trust, which was established to monetize and liquidate the

 assets of the HCM bankruptcy estate.

          2.       Defendants’ October 21, 2022, January 24, 2023, and April 21, 2023 post-

 confirmation reports show that even with inflated claims and below-market sales of assets, cash

 available – if not squandered in self-serving litigation – is more than enough to pay class 8 and

 class 9 creditors in full. With more than $100 million in assets left to monetize (not even counting

 related party notes), and almost $550,000 in assets already monetized, even after burning through

 more than $100 million in professional fees, there is and was more than enough money to pay the

 inflated $387 million in creditor claims the Debtor allowed. These numbers compel the question


 1
   Capitalized terms not defined have the meanings set forth herein. If no meaning is set forth herein, the terms have
 the meaning set forth in the Fifth Amended Plan of Reorganization (as Modified) [Docket No. 1808].

                                                          2
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 – “What was all of this for, other than to justify outsize fees and bonuses for the professionals

 involved?” See paragraphs 17-18 below. And despite repeated and increasingly specific requests,

 the Debtor has never provided granular enough information to specifically identify all of the

 monies raised and where all the money has gone, including another hundred million dollars that

 appears to be unaccounted. Id.

          3.       Accordingly, Plaintiffs and the entire estate would benefit from a close evaluation

 of current assets and liabilities. Such evaluation will also show whether assets were marked below

 appraised value during the pandemic and unreasonably held on the books at those crisis period

 values, along with overstated liabilities, to justify continued litigation. That litigation has served

 to enable James P. Seery (“Mr. Seery”) and other estate professionals to carefully extract nearly

 every last dollar out of the estate (along with incentive fees), leaving little or nothing for the owners

 that built the company.

          4.       Significantly, Kirschner seems to concede the merits of Plaintiffs’ position. After

 Plaintiffs began seeking the relief sought herein (originally by way of motion), Kirschner himself

 sought a stay of the massive litigation he instituted to evaluate whether the estate actually needed

 to collect additional funds. Plaintiffs and other defendants in that litigation agreed to the stay but

 could not convince the Debtor to provide the kind of fulsome disclosure that would allow Plaintiffs

 to evaluate for themselves the status of the estate, which secrecy continues to leave Plaintiffs with

 suspicions that prevent an overall resolution of the bankruptcy with no further need for

 indemnification reserves. Rather, Debtor continues to provide summary information that is not

 sufficient to enable Plaintiffs to determine the amounts of money being spent on administration

 and litigation, and not sufficient to determine whether if all litigation ceased, the estate could pay

 all creditors with money to spare for equity. Plaintiffs are especially concerned because the



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 information they have gleaned suggests inappropriate self-dealing that undermines confidence in

 the Debtor’s financial reporting, making the relief sought herein all the more important.

          5.       While grave harm has already been done by the Defendants’ excessive litigation

 and unnecessary secrecy, valuation now would at least enable the Court to put an end to this already

 long-running case and salvage some value for equity. As this Court observed in In re ADPT DFW

 Holdings, where there is significant uncertainty about insolvency, protections must be put in place

 so that the conduct of the case itself does not deplete the equity. In some cases, the protection is

 in the form of an equity committee; here a prompt valuation of the estate is needed.

          6.       Upon information and belief, during the pendency of HCM’s bankruptcy

 proceedings, creditor claims and estate assets have been sold in a manner that fails to maximize

 the potential return to the estate, including Plaintiffs. Rather, Mr. Seery, first acting as Chief

 Executive Officer and Chief Restructuring Officer of the Debtor and then as the Claimant Trustee,

 facilitated the sale of creditor claims to entities that had undisclosed business relationships with

 Mr. Seery; entities that Mr. Seery knew would approve inflated compensation to him when the

 hidden but true value of the estate’s assets were realized. Because Mr. Seery and the Debtor have

 failed to operate the estate in the required transparent manner, they have been able to justify pursuit

 of unnecessary avoidance actions (for the benefit of the professionals involved), even though the

 assets of the estate, if managed in good faith, should be sufficient to pay all creditors.

          7.       Further, by understating the value of the estate and preventing open and robust

 scrutiny of sales of the estate’s assets, Mr. Seery and the Debtor have been able to justify actions

 to further marginalize equity holders that otherwise would be in the money, such as including plan

 and trust provisions that disenfranchise equity holders such as Plaintiffs by preventing them from

 having any input or information unless the Claimant Trustee certifies that all other interest holders



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 have been paid in full. Because of the lack of transparency to date, unless the relief sought herein

 is granted, there will be no checks and balances to prevent a wrongful failure to certify, much less

 any process to ensure that the estate has been managed in good faith so as to enable all interest

 holders, including the much-maligned equity holders, to receive their due.

           8.       By demonizing the estate equity holders, withholding information, and

 manipulating the sales of claims and assets, Mr. Seery and the Claimant Trust have maximized the

 potential for a grave miscarriage of justice and at this time it appears their underhanded plan is

 succeeding.

           9.       By June 30, 2022, the estate had $550 million in cash and approximately $120

 million of other assets despite paying what appears in reports to be over $60 million in professional

 fees and selling assets non-competitively, perhaps as much as $75 million below market price. 2

 As detailed below, total pre-confirmation professional fees are now over $100 million.

           10.      On information and belief, the value of the assets in the estate as of June 1, 2022

 was:

                 Highland Capital Assets                                        Value in Millions

                                                                             Low                  High
        Cash as of Feb 1. 2022                                                  $125.00              $125.00
        Recently Liquidated                                $246.30
           Highland Select Equity                           $55.00
           Highland MultiStrat Credit Fund                  $51.44
           MGM Shares                                       $26.00
           Portion of HCLOF                                 $37.50
        Total of Recent Liquidations                       $416.24               $416.24             $416.24
     Current Cash Balance                                                        $541.24             $541.24

        Remaining Assets
           Highland CLO Funding, LTD                                              $37.50              $37.50
           Korea Fund                                                             $18.00              $18.00
           SE Multifamily                                                         $11.98              $12.10

 2
  Examples of non-competitive sales are set forth in letters to the United States Trustee dated October 5, 2021,
 November 3, 2021 and May 11, 2022.

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            Affiliate Notes3                                                          $50.00               $60.00
            Other (Misc. and legal)                                                    $5.00               $20.00
     Total (Current Cash + Remaining Assets)                                         $663.72              $688.84



           11.      By June 2022, Mr. Seery had also engineered settlements making the inflated face

 amount of the major claims against the estate $365 million, but which traded for significantly less.

      Creditor            Class 8               Class 9         Beneficiary                    Purchase Price
      Redeemer            $137.0                $0.0            Claim buyer 1                  $65 million
      ACIS                $23.0                 $0.0            Claim buyer 2                  $8.0
      HarbourVest         $45.0                 $35.0           Claim buyer 2                  $27.0
      UBS                 $65.0                 $60.0           Claim buyers 1 & 2             $50.0
      TOTAL               $270.0                $95.0                                          $150.0 million

           12.      Mr. Seery made no efforts to buy the claims into the estate or resolve the estate

 efficiently. Mr. Seery never made a proposal to the residual holders or Mr. Dondero and never

 responded to the many settlement offers from Mr. Dondero with a reorganization (as opposed to

 liquidation) plan, even though many of Mr. Dondero's offers were in excess of the amounts paid

 by the claims buyers.

           13.      Instead, Mr. Seery brokered transactions enabling colleagues with long-standing

 but undisclosed business relationships to buy the claims without the knowledge or approval of the

 Court. Because the claims sellers were on the creditors committee, Mr. Seery and those creditors

 had been notified that “Creditors wishing to serve as fiduciaries on any official committee are

 advised that they may not purchase, sell or otherwise trade in or transfer claims against the Debtor

 while they are committee members absent an order of the Court.” These transactions are

 particularly suspect because, depending on the claim, the claims buyers paid amounts only

 fractionally higher, equivalent to, or, in some cases, less than the value the Plan estimated would

 be paid three years later. Sophisticated claims buyers responsible to investors of their own would



 3
  Some of the Affiliate Notes should have been forgiven as of the MGM sale and/or have other defenses, but litigation
 continues over that also.

                                                          6
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 not pay what appeared to be full price unless they had material non-public information that the

 claims could and would be monetized for much more than the public estimates made at the time

 of Plan confirmation – as indeed they have been.

          14.      On information and belief, Mr. Seery provided such information to claims buyers,

 rather than buying the claims in to the estate for the roughly $150 million for which they were sold.

 By May 2021, when the claims transfers were announced to the Court, the estate had over $100

 million in cash and access to additional liquidity that could have been used to retire the claims for the

 sale amounts, leaving an operating business in the hands of its equity owners.

          15.      Specifically, Mr. Seery could and should have investigated seeking sufficient funds

 from equity to pay all claims and return the estate to the equity holders. This was an obvious path

 because the estate had assets sufficient to support a $59 million line of credit, as Mr. Seery

 eventually obtained. If funds had been raised to pay creditors in the amounts for which claims were

 sold, much of the massive administrative costs run up by the estate would never have been incurred

 because the larger amounts would not have been needed. One such avoided cost would be the

 post-effective date litigation pursued by Mr. Kirschner, as Litigation Trustee for the Litigation

 Sub-Trust, whose professionals likely charged over $2000 an hour for senior lawyers and over

 $800 an hour for first year associates (data obtained from other cases because there has been no

 disclosure in the HCM bankruptcy of the cost of the Kirschner litigation). However, buying the

 claims to resolve the bankruptcy and enabling equity to resume operations would not have had the

 critical benefit to Mr. Seery that his scheme contained: placing the decision on his incentive bonus,

 perhaps as much as $30 million or more, in the hands of grateful business colleagues who received

 outsized rewards for the claims they were steered into buying. The parameters of Mr. Seery’s

 incentive compensation is yet another item cloaked in secrecy, contrary to the general rule that the



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 hallmark of the bankruptcy process is transparency. These circumstance show why Plaintiffs are

 right to be concerned and why it is critical that transparency be achieved.

          16.      But worse still, even with all of the manipulation that appears to have occurred,

 Plaintiffs believe that the combination of cash and other assets held by the Claimant Trust in its

 own name and held in various funds, reserve accounts, and subsidiaries, if not depleted by

 unnecessary litigation, would still be sufficient to pay all Claimant Trust Beneficiaries in full, with

 interest now.

          17.      Set forth below is Plaintiffs’ best estimate of the assets of the estate. Plaintiffs have

 been seeking information to enable to them to confirm the accuracy of their estimates, but the

 Debtor has refused to provide the necessary information to do so. Indeed, after the last quarterly

 report, in which Debtor provided some but not all of the information Plaintiffs were seeking,

 Plaintiffs sent a revised list, more precisely targeting the remaining information sought. Because

 Debtor failed to respond, it remained necessary to file this adversary proceeding.

          18.      This is Plaintiffs’ best estimate of the assets of the Highland estate and its cash

 flows. It is obvious that even if off by a significant percent, no further litigation to collect assets

 for the estate is needed to pay creditors. Moreover, the ample solvency of the estate was or should

 have been obvious to the estate professionals for quite some time, making the substantial cash burn

 in the estate utterly unconscionable.

    Assets                                                   Amount                 Backup
  HCMLP Assets to be Monetized1
  As of 3/31/23 (Est.)

     Highland CLO Funding, f/k/a Acis                        $      25,000,000      Debtor Pleading (re ACIS) Dkt
                                                                                    1235 Filed 08/18/21 p.3n.10
     Loan Funding, Ltd. (“HCLOF”)
                                                                                    ($25 m); 3/31/23 DAF Multi-
                                                                                    Strat Statement ($19.5 m est);
                                                                                    more value in the 1.0 CLOS
                                                                                    (Brentwood – 17%;Gleneagles –
                                                                                    1%;Grayson – 5%;Greenbriar-
                                                                                    23%;Liberty-18%;Rockwall-
                                                                                    15%)



                                                      8
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     Highland Multi Strategy Credit                                30,817,992    ADV 3/31/23 (rev 4/24/2023)
     Fund, L.P. ("MS")
     Highland Restoration Capital                                  24,192,773    ADV 3/31/23 (rev 4/24/2023)
     Partners Master LP & Highland
     Restoration Capital Partners, L.P.
     ("RCP")
     Stonebridge-Highland Healthcare                                 5,701,330   ADV 3/31/23 (rev 4/24/2023)
     Private Equity Fund ( "Korea
     Fund")
     SE Multifamily Holdings LLC                                   12,400,000    Communications with Debtor
                                                                                 that apparently values it higher
     ("SE Multifamily")
     Other                                                           5,000,000   Other investments on the post-
                                                                                 confirmation report


     Assets as of 3/31/21 (Est.)1                             $   103,112,095


  HCMLP Monetizations &                   Sale date if
  Management Fees (est.)                  known
  10/31/19 - 3/31/23 (Est.)

     Targa                                October ?, 2021     $    37,500,000    Uptick from COVID; market
                                                                                 communications
     Trussway                             Sept. 1, 2022           180,000,000     90% of sales price 200MM, net
                                                                                 of debt; need confirmation
     Cornerstone                          Jan. 23, 2023           132,500,000    Assume 53% of sales price
                                                                                 obtained because: HCM owns
                                                                                 about 50% of RCP and 60% of
                                                                                 Crusader (and assume increase
                                                                                 in value of MGM within
                                                                                 Cornerstone should have been
                                                                                 enough to offset its debt) Sale
                                                                                 announced May 12, 2022
     SSP                                  Month/date/2020          18,000,000    Market communications

     MGM Direct                           Mar. 17, 2022            25,000,000    @ $145, sale announced May
                                                                                 2021
     Petrocap                             Aug. 10, 2021             2,684,886    Dkt, 2537, sale motion

     Uchi                                 Aug. 6, 2021              9,750,000    Dkt 2687, sale order

     Jefferies Account & DRIP                                      60,000,000    FV form 206, net of debt, but
                                                                                 NXRT moved from $40-$80ish;
                                                                                 don't know when monetized, so
                                                                                 number could be low
     Terrell (raw land)                                               500,000    FV Form 206

     Mgmt Fees/Dist/Fund loan                                      30,000,000    3 years mgmt fees, misc
                                                                                 distributions in MS/RCP/Korea,
     repayments (est.)
                                                                                 loan paybacks
     Siepe                                                          3,500,000    Market communications

     HCLOF                                                         35,000,000    Calculated based on DAF
                                                                                 distributions


     Total Monetizations & Cash                               $   534,434,886
     Flows (Est.)
     Total Assets as of 3/31/23 &                             $   637,546,981
     Prior Monetizations &
     Management Fees



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  Cash Roll
  10/31/19 - 3/31/23 (Est.)

      Cash as of 10/31/2019                              $      2,286,000
      Monetizations & Cash Flows                              534,434,886
      (10/31/19 - 3/31/23)
      Less: Cash on Hand as of 3/31/23                         (57,000,000)   ADV 3/31/23


      Fees, Distributions & Other                        $    479,720,886
      Receipts (10/31/19 - 3/31/23)2


      Administrative Fees Paid                           $    100,781,537     Dkt 3756 filed on 4/21/23
                                                                              ($33,005,136 for Professional
                                                                              fees (bk); $7,604,472 for
                                                                              Professional fees (nonbk);
                                                                              $60,171,929 for all prof fees and
                                                                              exp (Debtor & UCC). Note: this
                                                                              appears to "Preconfirmation."
                                                                              What are the post confirmation
                                                                              amounts?)
      Cumulative Payments to Creditors                        276,709,651     Dkt 3756 - Unsecured, priority,
                                                                              secured and admin.
      Other Unknown Payments or ?                             102,229,698     The $102 million is calculated
                                                                              by subtracting cumulative
                                                                              payments to creditors and known
                                                                              pre conf prof fees and costs from
                                                                              the $479 million determined
                                                                              above. Where are these funds;
                                                                              what were they used for?
      Fees & Distributions Paid                          $    479,720,886
      (10/31/19 - 3/31/23)

  1
    Does not include approximately
  $70MM in affiliate notes
  2
    Includes $100MM of fees paid during
  bankruptcy

          19.      In short, it appears that the professionals representing HCM, the Claimant Trust,

 and the Litigation Sub-Trust have been litigating claims against Plaintiffs and others, even though

 the only beneficiaries of any recovery from such litigation would be Plaintiffs in this adversary

 proceeding (and of course the professionals pressing the claims). It is only the cost of the pursuit

 of those claims that threatens to depress the value of the Claimant Trust sufficiently to justify

 continued pursuit of the claims, creating a vicious cycle geared only to enrich the professionals,

 including Mr. Seery, and to strip equity holders of any meaningful recovery. Even with the stay of




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 the Kirschner litigation, the Debtor continues to pursue litigation, such as its vexatious litigant

 motion, and presumably opposing this litigation, that unnecessarily depletes the estate.

          20.      Based upon the restrictions imposed on Plaintiffs, including the unprecedented

 inability for Plaintiffs, as holders of Contingent Claimant Trust Interests, to access virtually any

 financial information related to the Claimant Trust, Plaintiffs have little to no insight into the value

 of the Claimant Trust assets versus the Claimant Trust’s obligations and no method to

 independently ascertain those amounts until Plaintiffs become Claimant Trust Beneficiaries.

 Because Mr. Seery and the professionals benefiting from Mr. Seery’s actions have ensured that

 Plaintiffs are in the dark regarding the estate’s assets and liabilities, as well as the estate’s

 professional and incentive fees that are rapidly depleting the estate, there is a compelling need for

 the relief sought herein.

          21.      In bringing this Complaint, Plaintiffs are seeking transparency about the assets

 currently held in the Claimant Trust and their value—information that would ultimately benefit all

 creditors and parties-in-interest by moving forward the administration of the Bankruptcy Case.

                                     JURISDICTION AND VENUE

          22.      This adversary proceeding arises under and relates to the above-captioned Chapter

 11 bankruptcy case (the “Bankruptcy Case”) pending before the United States Bankruptcy Court

 for the Northern District of Texas (the “Court”).

          23.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.

          24.      This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(A) and

 (O).

          25.      In the event that it is determined that the Court, absent consent of the parties, cannot

 enter final order or judgments over this matter, Plaintiffs do not consent to the entry of a final order

 by the Court.

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                                                THE PARTIES

          26.      Dugaboy is a trust formed under the laws of Delaware.

          27.      HMIT is a trust formed under the laws of Delaware.

          28.      HCM is a limited partnership formed under the laws of Delaware with a business

 address of 100 Crescent Court, Suite 1850, Dallas, Texas 75201.

          29.      The Claimant Trust is a statutory trust formed under the laws of Delaware with a

 business address of 100 Crescent Court, Suite 1850, Dallas, Texas 75201.

                                           CASE BACKGROUND

          30.      On October 16, 2019 (the “Petition Date”), HCM, a 25-year Delaware limited

 partnership in good standing, filed for Chapter 11 restructuring in the United States Bankruptcy

 Court for the District of Delaware.

          31.      At the time of its chapter 11 filing, HCM had approximately $400 million in assets

 (ultimately monetized for much more as a result of market events, such as the sale of HCM’s

 portfolio companies for substantial profits, as was always planned by Mr. Dondero) and had only

 insignificant debt owing to Jeffries, with whom it had a brokerage account, and one other entity,

 Frontier State Bank. [Dkt. No. 1943, ¶ 8]. HCM’s reason for seeking bankruptcy protection was

 to restructure judgment debt stemming from an adverse arbitration award of approximately $190

 million issued in favor of the Redeemer Committee of the Crusader Funds, which, after offsets and

 adjustments, would have been resolved for about $110 million. Indeed, the Redeemer Committee

 sold its claim for about $65 million, well below the expected $110 million, 4 and indeed, even

 below amounts for which Dondero offered to buy the claim.




 4
  Reports that Redeemer Committee was paid $78 million note that in addition to the claim, the Committee sold other
 assets as well, which on information and belief, amounted to about $13 million.

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          32.      At the urging of the newly-appointed Unsecured Creditors Committee (the

 “Committee”), and over the objection of HCM and its management, the Delaware Bankruptcy

 Court transferred the bankruptcy case to this Court on December 4, 2019. It seems likely that the

 creditors sought this transfer to take advantage of antipathy the Court had exhibited to HCM and

 its management in the ACIS bankruptcy.5 Shortly after the transfer, and likewise influenced by

 the adverse characterizations of HCM management in the ACIS bankruptcy, the U.S. Trustee,

 notwithstanding the Debtor’s apparent solvency, sought appointment of a chapter 11 trustee.

          33.      To avoid the appointment of a chapter 11 trustee and the potential liquidation of a

 potentially solvent estate, the Committee and the Debtor agreed that Strand Advisors, Inc., HCM’s

 general partner, would appoint a three-member independent board (the “Independent Board”) to

 manage HCM during its bankruptcy. The three board members were:

                a. James P. Seery, Jr. – (who was selected by arbitration awardee and Committee
                   member, the Redeemer Committee);
                b. John Dubel – (who was selected by Committee member UBS); and
                c. Former Judge Russell Nelms – (who was selected by the Debtor).

          34.      The Bankruptcy Court almost immediately and then repeatedly let the Debtor’s

 professionals know that its feelings about Mr. Dondero and other equity holders had not changed

 – a disclosure that led inexorably to the many acts that now threaten to wipe out entirely the value

 of the equity. For example, at one of the earliest hearings, the Court rejected recommendations by




 5
   For example, at a hearing in Delaware Bankruptcy Court on the Motion to Transfer Venue to this Court, Mr.
 Pomerantz, counsel for Debtor stated, “The debtor filed the case in this district because it wanted a judge to preside
 over this case that would look at what's going on with this debtor, with this debtor's management, this debtor's post-
 petition conduct, without the baggage of what happened in a previous case, which contrary to what Acis and the
 committee says, has very little do with this debtor.” [December 2, 2019 Hearing Transcript at 79, Case No. 19012239
 (CSS), Docket No. 181]. The taint of the ACIS case can be seen in that, without having read or even seen the
 supposedly offending complaint, during the ACIS case Judge Jernigan called Mr. Dondero not just vexatious, but
 “transparently vexatious,” for allegedly having sued Moody’s for failing to downgrade certain CLOs that ACIS had
 been manipulating in violation of its indentures and even though the Plaintiff in the supposedly offending case was
 not Mr. Dondero or any company he controlled [September 23, 2020 Hearing Transcript at 51-52, In re Acis Capital
 Management, L.P. and Acis Capital Management GP, LLC, Case No. 18-30264-SGJ-11, Docket No. 1186].

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 Judge Nelms, suggesting he was bamboozled because he was under management’s spell.

 Specifically, Judge Jernigan admitted that normally “Bankruptcy Courts should defer heavily to

 the reasonable exercise of business judgment by a board… But I’m concerned that Dondero or

 certain in-house counsel has -- you know, they’re smart, they're persuasive… they have exercised

 their powers of persuasion or whatever to make the Board and the professionals think that there is

 some valid prospect of benefit to Highland with these [actions], when it’s really all about . . . Mr.

 Dondero.” [February 19, 2020 Hearing Transcript at 177.]

          35.      At around the same time that the Court telegraphed animus towards Mr. Dondero,

 it also squelched oversight by responsible professionals who could and would have ensured

 transparency. When the Committee and the Debtor reported to the Court that they had agreed to

 use Judge Jones and Judge Isgur in Houston as mediators to potentially resolve the bankruptcy

 case, Judge Jernigan stated that she was “surprised that Judge Jones’ or Judge Isgur’s staff

 expressed that they had availability.” Debtor’s counsel then asked if he could independently

 follow up with staff for Judges Jones and Isgur regarding their availabilities, and Judge Jernigan

 said, “I’ll take it from here.” Six days later, Judge Jernigan simply said, “my continued thought

 on that [mediation by Judges Jones and Isgur] is that they just don’t have meaningful time.” [July

 14, 2020 Hearing Transcript at 121.]         In retrospect, this avoided scrutiny of the case by

 professionals who would recognize and potentially curtail the Court’s unprecedented, immediately

 biased conduct of the case. This sent a powerful message to Mr. Seery and the other professionals

 who developed strategies to enrich themselves to the detriment of any possibility of a quick

 reorganization with equity regaining control.

          36.      Meanwhile, not realizing the turn the bankruptcy was about to take, Mr. Dondero had

 agreed to step down as CEO of the Debtor and to the appointment of an Independent Board only



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 because he was assured that new, independent management would expedite an exit from bankruptcy,

 preserve the Debtor’s business as a going concern, and retain and compensate key employees whose

 work was critical to ensuring a successful reorganization.

          37.      None of that happened. Almost immediately, Mr. Seery emerged as the de facto

 leader of the Independent Board. On July 14, 2020, the Court retroactively appointed Mr. Seery

 Chief Executive Officer and Chief Restructuring Officer, vesting him with the fiduciary

 responsibilities of a registered advisor to investors and fiduciary responsibilities to the estate. [Dkt.

 No. 854]. And although Mr. Seery publicly represented that he intended to restructure and preserve

 HCM’s business, privately he was engineering a much different plan.

          38.      Mr. Seery’s public-facing statements stand in stark contrast to what actually

 happened under his direction and control. For example, Mr. Seery initially reported consistently

 positive reviews of the Debtor’s employees, describing the Debtor’s staff as a “lean” and “really

 good team.” He also testified: “My experience with our employees has been excellent. The

 response when we want to get something done, when I want to get something done, has been first-

 rate. The skill level is extremely high.”

          39.      Yet, despite these glowing reviews, Mr. Seery failed to put a key employee

 retention program into place, and although key employees supported Mr. Seery and the Debtor

 through the plan process, ultimately Mr. Seery fired most of those employees. It was clear that

 Mr. Seery was firing anyone with perceived loyalty to Mr. Dondero, no doubt leaving remaining

 staff fearful of challenging Mr. Seery, lest they too be fired.

          40.      From the start, and before there was much litigation to speak of, the Court regularly

 referred to Mr. Dondero and related parties as “vexatious litigants,” emboldening the Debtor to do

 the same, even while admitting it had not presented evidence that Mr. Dondero was a vexatious



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 litigant. This was plainly a carryover from the ACIS case where the Court labelled Mr. Dondero

 a “transparently” vexatious litigant based on pleadings she had only heard about from parties

 opposing Dondero and admittedly had not read herself. Ironically, the first time Mr. Dondero was

 labeled “vexatious” by the Court in the HCM case, he was defending himself from three lawsuits

 initiated by the Debtor and had commented on proposed settlements in the case, but had not himself

 initiated any actions in the case. Thereafter, though, the Debtor and its professionals repeated the

 mantra that Dondero and his companies were vexatious litigants to successfully oppose sharing

 information about the estate with them.

          41.      In addition to the Debtor’s mistreatment of employees, under the control of the

 Independent Board, most of the ordinary checks and balances that are the hallmark of bankruptcy

 were ignored. Despite providing regular and robust financial information to the Committee, the

 Debtor inexplicably failed and refused to file quarterly 2015.3 reports, leaving stakeholders,

 including Plaintiffs, in the dark about the value of the estate and the mix of assets it held, bought

 or sold. Amplifying the lack of transparency, Mr. Seery further engineered transactions that also

 served to hide the real value of the estate.

          42.      For example, he authorized the Debtor to settle the claims of HarbourVest (which

 claims had initially been valued at $0) for $80 million, in order to acquire HarbourVest’s interest

 in Highland CLO Funding, Ltd. (“HCLOF”), gain HarbourVest’s vote in favor of its Plan, and

 hide the value of Debtor’s interest in HCLOF by placing it into a non-reporting subsidiary. This

 created another pocket of non-public information because the pleadings supporting the 9019

 settlement valued the HCLOF interest at $22 million, when, on information and belief, it was worth

 $34.1 million at the time, about $40 million when the settlement was consummated, and over $55

 million 90 days later when the MGM sale was announced.



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          43.      At the same time, Mr. Seery and the Independent Board deliberately shut out equity

 holders from any discussion surrounding the plan of reorganization or HCM’s efforts to emerge

 from bankruptcy as a going concern. Indeed, as noted above, Mr. Seery failed to meaningfully

 respond to the many proposals made by residual equity holders to resolve the estate and never

 encouraged any dialogue between creditors and equity holders. These failures only contributed to

 the difficulty of getting stakeholders’ buy-in for a reorganization plan and significantly

 undermined an efficient exit from bankruptcy.

          44.      Worse still, while knowing that HCM had sufficient resources to emerge from

 bankruptcy as a going concern (and, on information and belief, while knowing that the estate was

 solvent), Mr. Seery and the Independent Board failed to propose any plan of reorganization that

 contemplated HCM’s continued post-confirmation existence. Instead, and inexplicably, the very

 first plan proposed contemplated liquidation of the company, as did all subsequent plans.

          45.      While secretly engineering the total destruction of HCM, Mr. Seery also privately

 settled multiple proofs of claim against the estate at inflated levels that were unreasonable

 multiples of the Debtor’s original estimates. He did this notwithstanding the Debtor’s early and

 vehement objection to many of the claims as baseless. But instead of litigating those objections in

 a manner that would have exposed the true value of the claims, on information and belief, Mr.

 Seery settled the claims as a means of brokering sales of the claims at 50-60% of their face values.

 That is, the inflated values softened up claims sellers to induce them to sell. Had the Debtor instead

 fought the inflated proofs of claim in open court, it could have settled the claims for closer to true

 value and ensured that the estate had sufficient resources to pay them.

          46.      It is also no coincidence that virtually all original proofs of claim were sold to

 buyers that had prior business relationships with Mr. Seery and/or affiliates of Grosvenor (a



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 company with which Mr. Seery has a long personal history)—buyers that ultimately would be

 positioned to approve a favorable compensation and bonus structure for Mr. Seery.

          47.      That the claims sales happened at all is curious in light of the scant publicly-

 available information about the value of the estate. It would have been impossible, for example,

 for any of the claims buyers to conduct even modest due diligence to ascertain whether the

 purchases made economic sense. In fact, the publicly-available information purported to show a

 net decrease in the estate’s asset value by approximately $200 million in a matter of months during

 the global pandemic. Dkt. 2949. Given the sophistication of the claims-buyers, their purchases of

 claims at prices that in some cases exceeded published expected recoveries (according to the

 schedules then available to the public) would only make sense if they obtained inside information

 regarding the transactions undertaken by Debtor management that would justify the transfer

 pricing.

          48.      And indeed, the claims could and would be monetized for much more than the

 publicly-available information suggested (as only one with inside information would know). In

 October 2022, $250 million was paid to Class 8 holders. That is about 85% of the inflated proofs

 of claim and $90 million more than plan projections. On information and belief, claims buyers

 have thus had an over 170% annualized return thus far, with more to come. On information and

 belief, Mr. Seery will use this “success” to justify an incentive bonus estimated in the range of $30

 million or more, while engineering the estate to prevent equity holders from objecting or even

 knowing.

          49.      At the same time, the Claimant Trust has made no distributions to Contingent

 Claimant Trust Interest holders and has argued in various proceedings that no such distributions

 are likely. No wonder. The cost of holding open the estate, including unnecessary litigation costs,



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 appears to have exceeded $140 million post-confirmation, and seems geared to ensure that no such

 distributions can occur, even though it can now be projected that the litigation is not needed to pay

 creditors. See Docket No. 3410-1.

          50.      It is worth noting that it appears that virtually all of the claims trades brokered on

 behalf of Committee members seem to have occurred while those entities remained on the

 Committee. Yet at the outset of their service, Committee members were instructed by the United

 States Trustee that “Creditors wishing to serve as fiduciaries on any official committee are advised

 that they may not purchase, sell or otherwise trade in or transfer claims against the Debtor while

 they are committee members absent an order of the Court.” Thus, the claims trades violated

 Committee members’ fiduciary duty to the estate while lining the pockets of Mr. Seery and other

 Debtor professionals, to the detriment of creditors and residual equity holders.

          51.      The sales of claims were not the only transactions shrouded in secrecy. As further

 detailed in other litigation, assets were sold with insufficient disclosures, no competitive bidding,

 no data room, and without inviting equity (which may have at one time had the knowledge to make

 the highest bid) to participate in the sales process. Indeed, on occasion assets were sold for

 amounts less than Mr. Dondero’s written offers. This exacerbated the harms caused by the lack of

 transparency characterized by the Court’s indifference to the Debtor’s complete failure to abide

 by its Rule 2015 disclosure obligations.

          52.      In short, the lack of transparency combined with at least the appearance of bias, if

 not actual bias of the Bankruptcy Court, emboldened and enabled an opportunistic CRO to

 manipulate the bankruptcy to enrich himself, his long-time business associates, and the

 professionals continuing to litigate to collect fees to pay claims that, but for that manipulation,

 could have been resolved with money left over for equity.



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                                       STATEMENT OF FACTS

 A.       Plaintiffs Hold Contingent Claimant Trust Interests

          53.      As of the Petition Date, HCM had three classes of limited partnership interests (Class

 A, Class B, and Class C). See Disclosure Statement [Docket No. 1473], ¶ F(4).

          54.      The Class A interests were held by Dugaboy, Mark Okada (“Okada”), personally and

 through family trusts, and Strand Advisors, Inc. (“Strand”), HCM’s general partner. The Class B and

 C interests were held by HMIT. Id.

          55.      In the aggregate, HCM’s limited partnership interests were held: (a) 99.5% by HMIT;

 (b) 0.1866% by Dugaboy, (c) 0.0627% by Okada, and (d) 0.25% by Strand.

          56.      On February 22, 2021, the Court entered the Order (i) Confirming the Fifth Amended

 Plan of Reorganization (as Modified) and (ii) Granting Related Relief [Docket No. 1943] (the

 “Confirmation Order”) [Docket No. 1808] (the “Plan”).

          57.      In the Plan, General Unsecured Claims are Class 8 and Subordinated Claims are Class

 9. See Plan, Article III, ¶ H(8) and (9).

          58.      In the Plan, HCM classified HMIT’s Class B Limited Partnership Interest and Class

 C Limited Partnership Interest (together, Class B/C Limited Partnership Interests) as Class 10,

 separately from that of the holders of Class A Limited Partnership Interests, which are Class 11 and

 include Dugaboy’s Limited Partnership Interest. See Plan, Article III, ¶ H(10) and (11).

          59.      According to the Plan, Contingent Claimant Trust Interests distributed to the Holders

 of Class A Limited Partnership Interests are subordinate to the Contingent Claimant Trust Interests

 distributed to the Holders of Class B/C Limited Partnership Interests. See Plan, Article I, ¶44.

          60.      In the Confirmation Order, the Court found that the Plan properly separately classified

 those equity interests because they represent different types of equity security interests in HCM and



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 different payment priorities pursuant to that certain Fourth Amended and Restated Agreement of

 Limited Partnership of Highland Capital Management, L.P., dated December 24, 2015, as amended

 (the “Limited Partnership Agreement”). Confirmation Order, ¶36; Limited Partnership Agreement,

 §3.9 (Liquidation Preference).

          61.      The Court overruled objections to the Plan lodged by entities it deemed related to Mr.

 Dondero, including Dugaboy. In doing so, the Court acknowledged that Dugaboy has a residual

 ownership interest in HCM and therefore “technically” had standing to object to the Plan. See

 Confirmation Order, ¶¶ 17-18.

          62.      Based on the Debtor’s financial projections at the time of confirmation, however, the

 Court found that the plan objectors’ “economic interests in the Debtor appear to be extremely remote.”

 Id., ¶ 19; see also id., ¶ 17 (“the remoteness of their economic interests is noteworthy”).

          63.      The Plan went Effective (as defined in the Plan) on August 11, 2021, and HCM

 became the Reorganized Debtor (as defined in the Plan) on the Effective Date. See Notice of

 Occurrence of the Effective Date of Confirmed Fifth Amended Plan of Reorganization of Highland

 Capital Management, L.P. [Docket No. 2700].

          64.      The Plan created the Claimant Trust, which was established for the benefit of

 Claimant Trust Beneficiaries, which is defined to mean:

          the Holders of Allowed General Unsecured Claims, Holders of Allowed Subordinated
          Claims, including, upon Allowance, Disputed General Unsecured Claims and Disputed
          Subordinated Claims that become Allowed following the Effective Date, and, only upon
          certification by the Claimant Trustee that the Holders of such Claims have been paid
          indefeasibly in full plus, to the extent all Allowed unsecured Claims, excluding
          Subordinated Claims, have been paid in full post-petition interest from the Petition Date at
          the Federal Judgment Rate in accordance with the terms and conditions set forth in the
          Claimant Trust Agreement and all Disputed Claims in Class 8 and Class 9 have been
          resolved, Holders of Allowed Class B/C Limited Partnership Interests, and Holders of
          Allowed Class A Limited Partnership Interests

 See Plan, Article I, ¶27; see also Claimant Trust Agreement, Article I, 1.1(h).


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          65.      Plaintiffs hold Contingent Claimant Trust Interests, which will vest into Claimant

 Trust Interests upon indefeasible payment of Allowed Claims.

          66.      Depending on the realization of asset value less debts, Plaintiffs may become

 Claimant Trust Beneficiaries.

          67.      The Post Confirmation Quarterly Reports for the First Quarter of 2023 [Docket No.

 3756 and 3757], show distributions of $270,205,592 to holders of general unsecured claims, which

 is 68% of the total allowed general unsecured claims of $397,485,568. This amount is far greater

 than was anticipated at the time of confirmation of the Plan. About $277 million has been

 distributed to creditors when secured, priority and administrative creditors are also considered.

 B.       Debtor Has Failed To Disclose Claimant Trust Assets

          68.      Upon information and belief, the value of the estate, as held in the Claimant Trust,

 has changed markedly since Plan confirmation. Not only have many of the assets held by the

 estate fluctuated in value based on market conditions, with some increasingly in value

 dramatically, but Plaintiffs are aware that many of the major assets of the estate have been

 liquidated or sold since Plan confirmation, locking in increased value to the estate.

          69.      The estate is solvent and has always been solvent. Nonetheless, Mr. Seery has

 remained committed to maximizing professional fees and incentive fees by increasing the total

 claims amount to justify litigation to satisfy those inflated claims.

          70.      As noted above, by June of 2022, starting with $125 million in cash, the estate

 liquidated other assets of over $416 million, building a cash war chest of over $541 million. Thus,

 with the remaining less-liquid assets, the total value of the estate’s assets as of June 2022 was over

 $600 million, excluding related party notes.




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          71.      Contrasting those assets with the claims against the estate demonstrates that further

 collection of assets was (and is) unnecessary.

          72.      As set forth above, while the inflated face amount of the claims sold was $365 million,

 the sale price was about $150 million. The estate therefore easily had the resources to retire the claims

 for the sale amounts, leaving an operating business in the hands of its equity owners.

          73.      Instead, Mr. Seery liquidated estate assets at less-than-optimal prices, without

 competitive process, without including residual equity holders, and in all cases required strict non-

 disclosure agreements from the buyers to prevent any information flowing to the public, the

 residual equity, or the Court. This uncharacteristic secrecy enabled Mr. Seery and the professionals

 to maintain the delicate balance of keeping just enough assets to pay professionals and incentive

 fees but still maintain the pretense that further litigation was needed.

          74.      Each effort by Plaintiffs, Mr. Dondero and related companies to obtain information

 to assess whether interference was necessary to stop the continued looting has been vigorously

 opposed, and ultimately rejected by an apparently biased Court. Plaintiffs were unable to cause

 the Debtor to provide the most basic of reports, including Rule 2015 statements, and Plaintiffs’

 efforts to obtain even the most basic details regarding asset sales and professional fees have all

 been denied. Rather, such details are in the hands of a select few, such as the Oversight Board of

 the Claimant Trust.

          75.      The Plan requires the Claimant Trustee to determine the fair market value of the

 Claimant Trust Assets as of the Effective Date and to notify the applicable Claimant Trust

 Beneficiaries of such a valuation, as well as distribute tax information to Claimant Trust

 Beneficiaries as appropriate. See Plan, ¶Art. IV(B)(9).




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          76.      But no like information regarding valuation of the Claimant Trust Assets is

 available to Plaintiffs as holders of Contingent Claimant Trust Interests, even though Plaintiffs, as

 contingent beneficiaries of a Delaware statutory trust, are entitled to financial information relating

 to the trust.

 C.       Plaintiffs Are Kirschner Adversary Proceeding Defendants

          77.      On October 15, 2021, Marc S. Kirschner, as Litigation Trustee of the Litigation

 Sub-Trust, commenced the Kirschner Adversary Proceeding against twenty-three defendants,

 including Plaintiffs, alleging various causes of action. See Marc S. Kirschner, as Litigation

 Trustee of the Litigation Sub-Trust vs. James Dondero, et al., Adv. Pro. No. 21-03076-sgj, Adv.

 Proc. No. 21-03076, Docket No. 1 (as amended by Docket No. 158).

          78.      The Litigation Sub-Trust was established within the Claimant Trust as a wholly

 owned subsidiary of the Claimant Trust for the purpose of investigating, prosecuting, settling, or

 otherwise resolving the Estate Claims, with any proceeds therefrom to be distributed by the

 Litigation Sub-Trust to the Claimant Trust for distribution to the Claimant Trust Beneficiaries. See

 Plan, Article IV, ¶ (B)(4).

          79.      Any recovery from the Kirschner Adversary Proceeding will be distributed to

 Claimant Trust Beneficiaries.

          80.      Depending on the realization of asset value less debts, Plaintiffs may become

 Claimant Trust Beneficiaries.

          81.      The Litigation Sub-Trust is pursuing claims against Plaintiffs in the Kirschner

 Adversary Proceeding, which, if they become Claimant Trust Beneficiaries, would be the

 recipients of distributions of such recovery (less the cost of litigation). Therefore, Plaintiffs require

 the requested information in order to properly analyze and evaluate the claims asserted against



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 them in the Kirschner Adversary Proceeding and to determine whether those claims have any

 validity.

                                   FIRST CLAIM FOR RELIEF
                (Disclosures of Claimant Trust Assets and Request for Accounting)

          82.      Plaintiffs repeat and re-allege the allegations in each of the foregoing paragraphs as

 though fully set forth herein.

          83.      Due to the lack of transparency into the assets of the Claimant Trust, Plaintiffs are

 unable to determine whether their Contingent Claimant Trust Interests may vest into Claimant Trust

 Interests.

          84.      Certain information about the Claimant Trust Assets has already been provided to

 others, including Claimant Trust Beneficiaries and the Oversight Board for the Claimant Trust.

          85.      Information about the Claimant Trust Assets would help Plaintiffs evaluate whether

 settlement of the Kirschner Adversary Proceeding and other proceedings is feasible, which would

 further the administration of the bankruptcy estate, benefitting all parties in interest.

          86.      This Court specifically retained jurisdiction to ensure that distributions to Holders

 of Allowed Equity Interests are accomplished pursuant to the provisions of the Plan. See Plan,

 Article XI.

          87.      The Plan provides that distributions to Allowed Equity Interests will be

 accomplished through the Claimant Trust and Contingent Claimant Trust Interests. See Plan

 Article III, (H)(10) and (11).

          88.      The Defendants should be compelled to provide information regarding the Claimant

 Trust assets, including the amount of cash and the remaining non-cash assets, and details of all

 transactions that have occurred since the wall of silence was erected, and all liabilities.




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                                SECOND CLAIM FOR RELIEF
                (Declaratory Judgment Regarding Value of Claimant Trust Assets)

          89.      Plaintiffs repeat and re-allege the allegations in each of the foregoing paragraphs as

 though fully set forth herein.

          90.      Once Defendants are compelled to provide information about the Claimant Trust

 assets, Plaintiffs seek a determination from the Court of the relative value of the Claimant Trust

 assets compared to the bankruptcy estate obligations.

          91.      If the value of the Claimant Trust assets exceeds the obligations of the estate, then

 several pending adversary proceedings aimed at recovering value for HCM’s estate can be justly

 deemed unnecessary to pay creditors in full. As such, the pending adversary proceedings could be

 brought to a swift close, allowing creditors to be paid and the Bankruptcy Case to be brought to a

 close, ultimately stopping the bloodshed.

          92.      In addition, professionals associated with the estate—including but not limited to

 Mr. Seery, Pachulski, Development Specialists, Inc., Kurtzman Carson Consultants, Quinn

 Emanuel, Mr. Kirschner, and Hayward & Associates—are continuing to incur and receive millions

 of dollars a month in professional fees, thereby further eroding an estate that is either solvent or

 could be bridged by a settlement that would pay the spread between current assets and current

 allowed creditor claims. Fees for Pachulski range from $460 an hour for associates to $1,265 per

 hour for partners, and fees for Quinn Emanuel lawyers range from $830 an hour for first year

 associate to over $2100 per hour for senior partners. At these rates, depletion of the estate will

 occur rapidly.




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                             THIRD CLAIM FOR RELIEF
     (Declaratory Judgment and Determination Regarding Nature of Plaintiff’s Interests)

          93.      Plaintiffs repeat and re-allege the allegations in each of the foregoing paragraphs as

 though fully set forth herein.

          94.      In the event that the Court determines that the Claimant Trust assets exceed the

 obligations of the bankruptcy estate in an amount sufficient so that all Allowable Claims may be

 indefeasibly paid, Plaintiffs seek a declaration and a determination that the conditions are such that

 their Contingent Claimant Trust Interests are likely to vest into Claimant Trust Interests, making

 them Claimant Trust Beneficiaries.6

          95.      Such a declaration and a determination by the Court would further assist parties in

 interest, such as Plaintiffs, to ascertain whether the estate is capable of paying all creditors in full

 and also paying some amount to residual interest holders, as contemplated by the Plan and the

 Claimant Trust Agreement.

          WHEREFORE, Plaintiffs pray for judgment as follows:

          (i)      On the First Claim for Relief, Plaintiffs seek an order compelling Defendants to

                   disclose the assets currently held in the Claimant Trust, transactions completed that

                   affect the Claimant Trust directly or indirectly, and all liabilities of the Claimant

                   Trust;; and

          (ii)     On the Second Claim for Relief, Plaintiffs seek a determination of the relative value

                   of those assets in comparison to the claims of the Claimant Trust Beneficiaries; and

          (iii)    On the Third Claim for Relief, Plaintiffs seek a determination that the conditions

                   are such that all current Claimant Trust Beneficiaries could be paid in full, with


 6
  To be clear, Plaintiffs do not ask the Court to determine that they are Claimant Trust Beneficiaries or otherwise to
 convert their contingent interests into non-contingent interests. All of that must be done according to the terms of the
 Plan and the Claimant Trust Agreement.

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                   such payment causing Plaintiffs’ Contingent Claimant Trust Interests to vest into

                   Claimant Trust Interests; and

          (iv)     Such other and further relief as this Court deems just and proper.

 Dated: May 10, 2023

                                                   Respectfully submitted,


                                                   STINSON LLP

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                                                   Email: michael.aigen@stinson.com

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                                                   and the Hunter Mountain Investment Trust




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 Counsel for the Official Committee of Unsecured Creditors

                         IN THE UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

  In re:                                                  ) Chapter 11
                                                          )
  HIGHLAND CAPITAL MANAGEMENT,                            )
  L.P.,1                                                  ) Case No. 19-34054-sgj11
                                                          )
                        Debtor.                           )
                                                          )


     MOTION OF THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS AND
     THE LITIGATION ADVISOR FOR ENTRY OF AN ORDER AUTHORIZING THE
      EXAMINATION OF RULE 2004 PARTIES PURSUANT TO RULE 2004 OF THE
                FEDERAL RULES OF BANKRUPTCY PROCEDURE

           The Official Committee of Unsecured Creditors (the “Committee”) of Highland Capital

 Management, L.P., the above-captioned debtor (“HCMLP” or the “Debtor”) files this motion (the




 1
   The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
 for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.

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 “Motion”) pursuant to sections 105 and 1103 of title 11 of the United States Code, 11 U.S.C. §§

 101 et seq. (the “Bankruptcy Code”), Rules 2004 and 9016 of the Federal Rules of Bankruptcy

 Procedure (the “Bankruptcy Rules”) and Local Rule 2004-1 of the Local Bankruptcy Rules for the

 Northern District of Texas (the “Local Rules”) for entry of an order, substantially in the form

 annexed hereto as Exhibit 1, authorizing and directing discovery relating to the topics listed in

 Section V of this Motion (the “Examination Topics”) from the corresponding parties listed in that

 Section (collectively, the “Rule 2004 Parties”).2 In support of this Motion, the Committee

 respectfully states as follows:

                                   I.       PRELIMINARY STATEMENT3

           1.       Highland’s corporate structure is exceedingly, and likely intentionally, complex.

 The information that has been gleaned from the Debtor’s books and records and public court

 proceedings indicates that the Debtor’s founder, James Dondero,4 created an elaborate web of

 approximately 2,000 business entities,5 through which he was able to siphon value away from

 certain entities into new entities that he directly or indirectly owned.6 Notwithstanding the

 considerable information that has been revealed about Dondero’s international shell games, the

 Committee has limited knowledge of the Highland corporate structure, the economic relationships


 2
    In support of this Motion, the Committee submits the Declaration of Marc S. Kirschner in Support of the Motion
 of the Official Committee of Unsecured Creditors and the Litigation Advisor for Entry of an Order Authorizing the
 Examination of Rule 2004 Parties Pursuant to Rule 2004 of the Federal Rules of Bankruptcy Procedure (the
 “Kirschner Declaration”). Attached hereto and incorporated herein as Exhibit 15.
 3
     Capitalized terms not defined in the Preliminary Statement are defined herein.
 4
     To the extent any of the Rule 2004 Parties overlap with any defendants in the Official Committee of Unsecured
 Creditors v. CLO Holdco, Ltd. et. al, Adversary No. 20-03195, the Committee and the Litigation Advisor have
 attempted to craft requests that will not touch upon topics properly reserved for discovery through the adversary
 proceeding.
 5
    See, e.g., In re Acis Capital Mgmt., L.P., 584 B.R. 115, 119 (Bankr. N.D. Tex. 2018) (“Highland, through its
 organizational structure of approximately 2,000 separate business entities, manages approximately $14-$15 billion of
 investor capital in vehicles ranging from : collateral loan obligation funds (“CLOs”); private equity funds; and mutual
 funds.”).
 6
     See Kirschner Decl. ¶ 7.

                                                           2


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 and entanglements between the entities and individuals within that structure, and the intercompany

 arrangements and transactions that have redistributed value therein. What is known, however, is

 that Dondero sits at the center of this byzantine web, which he created and continues to use to

 conceal assets and evade creditors.7

           2.      In recognition of how elaborate and opaque the corporate scheme Dondero has

 created is, on June 18, 2021, the Court issued the Order Requiring Disclosures, which ordered that

 nine categories of Non-Debtor Dondero-Related Entities (as defined in the Order) who had

 appeared and argued in this chapter 11 case disclose basic identifying information about

 themselves.8 This Rule 2004 Motion expands on the Order Requiring Disclosures in three ways.

 First, it seeks additional information from the Non-Debtor Dondero-Related Entities. Second, it

 seeks examination of entities and individuals who are not currently active in this Chapter 11 Case

 (and therefore are not covered by the Order) but whose activities may have had a negative impact

 on the Debtor. Third, it seeks additional information about certain non-debtor assets and conduct

 that also may have harmed the Debtor.

           3.      The Committee requests authority to issue subpoenas for documentary and oral

 discovery in order to determine, among other things, whether conduct that was purportedly

 undertaken by or on behalf of the Debtor, the Non-Debtor Dondero-Related Entities, and other

 Dondero affiliates, gives rise to claims for breach of fiduciary duties, aiding and abetting breach

 of fiduciary duty, fraudulent transfer, veil-piercing, usurpation of corporate opportunity, fraud,

 conspiracy, or other causes of action. Specifically, the Committee intends to investigate additional

 facts and circumstances surrounding the events underlying the Acis Proof of Claim, the



 7
     See generally In re Acis Capital Mgmt., 584 B.R. 115.
 8
     See Order Requiring Disclosures, dated June 17, 2021 (Docket No. 2460).

                                                             3


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 HarbourVest Proofs of Claim, the UBS Proofs of Claim, and the Redeemer And Crusader Proofs

 of Claim—each of which exposed the Debtor to tens or hundreds of millions of dollars of potential

 liability and ultimately resulted in the Debtor entering into a substantial monetary settlement. In

 addition, the Committee requests authority to pursue targeted discovery from key non-debtor

 entities within the Highland web, including the Non-Debtor Dondero Related Entities, the

 Individual Highland Parties, the Highland Charities And Trusts, and other affiliated entities. This

 discovery will further the Committee’s understanding of the motives and effect of the complex

 corporate web created by Dondero, including whether value was transferred from (or opportunities

 were diverted away from) the Debtor through unlawful schemes. Finally, as discussed herein, the

 Committee requests authorization to investigate other topics which may give rise to Estate causes

 of action.

        4.      The Committee brings this Motion to protect the unsecured creditors’ rights to

 properly investigate the extent and amount of potential causes of action against the Debtor and its

 Related Entities. If permitted, the Committee’s investigation will involve a detailed review and

 assessment of conduct that may have harmed the Debtor’s estate and diminished the assets

 available to the Debtor’s creditors. It is important that the Committee, and the successor in interest

 to the applicable Estate Claims, the litigation sub-trust (the “Litigation Sub-Trust”), to be created

 under the Debtor’s plan of reorganization, obtain a full factual understanding of the magnitude of

 losses suffered and the seriousness of suspected misconduct. Proceeding under Bankruptcy Rule

 2004 permits the Committee to conduct its investigation in an expeditious, efficient, and cost-

 effective way, which is especially important given the fast-approaching end of the two-year tolling

 of statutes of limitations for many potential claims.




                                                   4


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         5.       The Committee, appointed to represent the interests of unsecured claimants in this

 bankruptcy, under the leadership of the Litigation Advisor, is leading the investigation of these

 potential causes of action pending the effective date of the Debtor’s confirmed plan of

 reorganization and creation of the Litigation Sub-Trust. Upon effectiveness of the Plan, the

 investigation will be transferred to the Litigation Sub-Trust. The Debtor’s corporate structure and

 the complicated and frequent transfers among Related Entities require the Committee to seek

 discovery from the Rule 2004 Parties, which consist of individuals and non-debtor entities that are

 likely to have information relating to the potential causes of action.9 Given the interconnectedness

 of the Highland corporate web, even conduct by and between non-debtor entities may bear on the

 Committee’s and Litigation Sub-Trust’s ability to pursue claims premised on fraud, conspiracy,

 alter ego, veil piercing, successor liability, civil RICO, substantive consolidation, de facto merger,

 de facto partnership, and/or related theories.

                                  II.      JURISDICTION AND VENUE

         6.       This Court has jurisdiction to consider this Motion under 28 U.S.C. §§ 157 and

 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper under 28 U.S.C.

 §§ 1408 and 1409.




 9
     As this Court has observed, “there are at least hundreds of entities—the lawyers have sometimes said 2,000
 entities—within the Highland byzantine organizational structure (sometimes referred to as the “Highland complex”),
 most of which were not subsidiaries of the Debtor, nor otherwise owned by Highland. And only Highland itself is in
 bankruptcy. However, these entities are very much intertwined with Highland—in that they have shared services
 agreements, sub-advisory agreements, payroll reimbursement agreements, or perhaps, in some cases, less formal
 arrangements with Highland. .. Many of these non-Debtor entities appear to be under the de facto control of Mr.
 Dondero—as he is the president and portfolio manager for many or most of them …. This court has never been
 provided a complete organizational chart that shows ownership and affiliations of all 2,000 Non-Debtor Dondero-
 Related Entities, but the court has, on occasion, been shown information about some of them and is aware that a great
 many of them were formed in non-U.S. jurisdictions, such as the Cayman Islands.” See Order Requiring Disclosures,
 dated June 17, 2021 (Docket No. 2460).

                                                          5


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        7.      The bases for the relief requested herein are section 105(a) and 1103 of the

 Bankruptcy Code, Rule 2004 of the Bankruptcy Rules, and Rule 45 of the Federal Rules of Civil

 Procedure, made applicable to this proceeding pursuant to Rule 9016 of the Bankruptcy Rules.

                            III.   PROCEDURAL BACKGROUND

        8.      On October 16, 2019, the Debtor filed its voluntary petition for relief under chapter

 11 of title 11 of the Bankruptcy Code. Pursuant to sections 1107 and 1108 of the Bankruptcy

 Code, the Debtor is continuing to operate its businesses and manage its properties and assets as

 debtor in possession.

        9.      On October 29, 2019, the Office of the United States Trustee held a meeting to

 appoint the Committee pursuant to section 1102 of the Bankruptcy Code. At its formation, the

 Committee consisted of the following four members: (a) Redeemer Committee of Highland

 Crusader Fund (“Redeemer”); (b) Meta-E Discovery; (c) UBS Securities LLC and UBS AG

 London Branch (together, “UBS”); and (d) Acis Capital Management, L.P. and Acis Capital

 Management GP, LLP (together, “Acis”). Acis and Redeemer resigned from the Committee

 effective as of April 15, 2021 and April 30, 2021, respectively. The Committee therefore currently

 consists of Meta-E Discovery and UBS.

        10.     On December 4, 2019, the Delaware Court entered an order transferring venue of

 the Debtor’s Bankruptcy Case to this Court [Docket No. 186].

        11.     On January 9, 2020, the Court approved the Motion of the Debtor for Approval of

 Settlement with the Official Committee of Unsecured Creditors Regarding Governance of the

 Debtor and Procedures for Operations in the Ordinary Course [Docket. No. 28], approving a

 settlement between the Debtor and the Committee concerning, among other things, governance of

 the Debtor and the pursuit of claims held by the Debtor. The approved settlement was embodied

 in a term sheet filed on the docket [Docket No. 354] (the “Term Sheet”). Pursuant to the Term
                                                  6


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 Sheet, the Committee was granted standing to pursue the “Estate Claims,” defined as “any and all

 estate claims and causes of action against Dondero, Mark Okada, other insiders of the Debtor, and

 each of the Related Entities, including promissory notes held by any of the foregoing.”10

            12.      On November 24, 2020, the Debtor filed the Fifth Amended Plan of Reorganization

 of Highland Capital Management, L.P. [Docket No. 1472] (as may be amended, supplemented, or

 otherwise modified from time to time, the “Plan”), which was confirmed by the Bankruptcy Court

 on February 22, 2021, pursuant to the Findings of Fact and Order Confirming Plan of

 Reorganization for the Debtor [Docket No. 1943, at 61] (the “Confirmation Order”).

            13.      Upon the Effective Date of the Plan,11 the Claimant Trust will be issued new

 Limited Partnership Interests in the Debtor and assume management of the Debtor and the

 Litigation Sub-Trust will be created. (Plan at 26.) The Litigation Sub-Trust, created for the benefit

 of the holders of claims and interests in the Debtor, will be vested with certain claims and causes

 of action of the Debtor, including the Estate Claims. Pursuant to the Plan, Marc S. Kirschner, the

 Trustee for the Litigation Sub-Trust (the “Litigation Trustee”) will be tasked with, among other

 things, investigation and monetization of the causes of action under the Plan.

            14.      On March 1, 2021, the Highland Capital Management Fund Advisors, L.P.

 (“HCMFA”) and NexPoint Advisors, L.P. (“NPA,” and with HCMFA, the “Advisors”) filed a

 notice of appeal of the order confirming the Plan to the United States District Court of the Northern




 10
     See Term Sheet at 4; see also Debtor’s Notice of Filing of Plan Supplement to the Fifth Amended Plan of
 Reorganization of Highland Capital Management, L.P. (as modified) (Docket No. 1875), Exhibit DD (Schedule of
 Retained Causes of Action) (setting forth non-exclusive list of causes of action transferred to the Litigation Sub-Trust)
 (Docket No. 1875-3).
 11
      “Effective Date” means the Business Day that the Plan becomes effective as provided in ARTICLE VIII of the Plan.

                                                            7


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 District of Texas (the “Confirmation Appeal”) [Docket No. 1957].12 On April 1, 2021, the

 Advisors filed the Motion for Stay Pending Appeal Civ. Act. No. 3:21-cv-00538-N, [Docket No.

 3] and The Dugaboy Investment Trust (“Dugaboy”) and Get Good Trust (“Get Good”) filed the

 Motion for Stay Pending Appeal, Civ. A. No. 3:21-cv-00550-L, [Docket No. 6] with the District

 Court for the Northern District of Texas, both seeking a stay of the effectiveness of the Plan

 pending resolution of the Confirmation Appeal. On June 2, 2021, the Fifth Circuit Court of

 Appeals granted the requests of, inter alia, the Advisors, Dugaboy, and Get Good for leave to file

 a direct appeal under 28 U.S.C. § 128(d). On June 21, 2021, the Fifth Circuit denied the appellants’

 motion for a stay pending appeal of the Debtor’s confirmed plan. (Docket No. 21-10449). The

 Confirmation Appeal remains pending.

         15.      Because the effective date of the Plan and formation of the Litigation Sub-Trust has

 been delayed, on May 14, 2021, the Committee filed its Application for Order Pursuant to Section

 1103 of the Bankruptcy Code Authorizing the Employment and Retention of Teneo Capital, LLC

 as Litigation Advisor to the Official Committee of Unsecured Creditors Effective April 15, 2021

 [Docket No. 2306] to retain and employ Teneo Capital, LLC (“Teneo” or the “Ligation Advisor”)

 pursuant to sections 328(a) and 1103(a) of the Bankruptcy Code, effective April 15, 2021, to

 perform litigation advisory services for the Committee in this chapter 11 case. On June 10, 2021,

 the Court approved the application for retention of the Litigation Advisor [Docket No. 2443].

         16.      On June 18, 2021, the Court issued an Order Requiring Disclosures sua sponte

 pursuant to Section 105 of the Bankruptcy Code and the Court’s inherent ability to efficiently

 monitor its docket and evaluate the standing of parties who have moved for relief in this case. The



 12
    Likewise, on May 3, 2021, Highland Income Fund, NexPoint Strategic Opportunities Fund, Highland Global
 Allocation Fund, and NexPoint Capital, Inc. filed a notice of appeal of the order confirming the Plan. [Docket No.
 1966].

                                                         8


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 Order Requiring Disclosures required that the following eight categories of sets of “Non-Debtor

 Dondero-Related Entities” provide certain information clarifying their party-in-interest status or

 standing:

                 James D. Dondero;

                 Dugaboy and Get Good;

                 HCMFA and NPA;

                 Highland Funds I and its series Highland Healthcare Opportunities Fund;
                  Highland/iBoxx Senior Loan ETF; Highland Opportunistic Credit Fund, and
                  Highland Merger Arbitrage Fund; Highland Funds II and its series Highland Small-
                  Cap Equity Fund; Highland Socially Responsible Equity Fund; Highland Fixed
                  Income Fund; Highland Total Return Fund; NexPoint Capital, Inc.; NexPoint
                  Strategic Opportunities Fund; Highland Income Fund; Highland Global Allocation
                  Fund; and NexPoint Real Estate Strategies Fund;

                 Charitable DAF Holdco, Ltd. (“DAF Holdco”); Charitable DAF Fund, LP
                  (“DAF”), Highland Dallas Foundation, Inc. (“Highland Dallas Foundation”);

                 CLO Holdco, Ltd.;

                 NexPoint Real Estate Finance, Inc.; NexPoint Real Estate Capital, LLC; NexPoint
                  Residential Trust, Inc.; NexPoint Hospitality Trust; NexPoint Real Estate Partners,
                  LLC; NexPoint Multifamily Capital Trust, Inc.; VineBrook Homes Trust, Inc.;
                  NexPoint Real Estate Advisors, L.P.; NexPoint Real Estate Advisors II, L.P.;
                  NexPoint Real Estate Advisors III, L.P.; NexPoint Real Estate Advisors IV, L.P.;
                  NexPoint Real Estate Advisors V, L.P.; NexPoint Real Estate Advisors VI, L.P.;
                  NexPoint Real Estate Advisors VII, L.P.; NexPoint Real Estate Advisors VIII, L.P.;
                  and any funds advised by any of the foregoing and any of their subsidiaries
                  (together with the Advisors, NexPoint Capital, Inc., NexPoint Strategic
                  Opportunities Fund, and NexPoint Real Estate Strategies Fund, the (“NexPoint
                  Entities”); and

                 Highland Capital Management Services, Inc.13




 13
     The Court noted that it had omitted three other entities from the Order Requiring Disclosures—Highland Funding
 (as defined herein); Hunter Mountain Investment Trust; and NexBank—because they were no longer active in the
 case. See Order Requiring Disclosures.

                                                         9


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          17.      The Committee is continuing its investigation into the potential causes of action to

  ensure the potential claims are investigated and pursued in a timely and efficient manner. This

  Motion is brought as part of that investigation.

                                      IV.      RELIEF REQUESTED

          18.      By this Motion, the Committee respectfully requests the entry of an order,

  substantially in the form of the proposed order attached hereto as Exhibit 1, authorizing the

  Committee to issue subpoenas for the production of documents from, and for depositions of, the

  relevant Rule 2004 Parties relating to the Examination Topics.

                                    V.       EXAMINATION TOPICS

          A.       Potential Breach of Fiduciary Duty Claims

          19.      The Committee seeks to investigate whether any individual or entity who owed

  fiduciary duties to the Debtor may have breached those fiduciary duties by elevating the interests

  of Dondero and/or others over the interests of the Debtor. Strand Advisors, Inc. (“Strand”) is a

  Delaware corporation that is the General Partner of the Debtor, which is a Delaware limited

  partnership. Strand was owned entirely by Dondero, and prior to the Court’s January 2020

  Corporate Governance Order,14 Dondero was an officer and director of both the Debtor and Strand.

  Strand’s Secretary was Scott Ellington and its Treasurer was Frank Waterhouse. Ellington was

  also General Counsel, Chief Legal Officer, and Partner of the Debtor, and Isaac Leventon was the

  Debtor’s Assistant General Counsel.

          20.      Strand and Dondero (and potentially others) each owed fiduciary duties to the

  Debtor under Delaware law. There is reason to believe that one or more of them may have

  breached their fiduciary duties by siphoning value away from the Debtor in order to harm its


  14
     See Order Approving Settlement with Official Committee of Unsecured Creditors Regarding Governance of the
  Debtor and Procedures for Operation in the Ordinary Course (Docket No. 339) (the “Corporate Governance Order”).

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  creditors. Such conduct would fit within a pattern that is familiar to this Court. As the Court

  remarked in its post-trial opinion in In re Acis Capital Management, L.P., 584 B.R. 115, 131

  (Bankr. N.D. Tex. 2018), “[t]he one thing that the court was wholly convinced of was that conflicts

  of interest among Highland and the [Acis Debtors] abound, and no one is looking out for the

  interests of the [Acis Debtors] as a fiduciary should.” Here, too, Dondero controlled both the

  Debtor and Strand, as well as many of their affiliates and key contractual counterparties.

  Moreover, as discussed throughout this motion, evidence suggests that similar conflicts of interest

  may abound, and that Dondero has, directly or through entities he controls, put his own personal

  interests ahead of the interests of the Debtor. The Committee intends to investigate the extent to

  which Ellington, Waterhouse, Leventon, or others implemented or otherwise participated in

  Dondero’s schemes, and/or whether other individuals and entities aided and abetted those fiduciary

  breaches.

          21.     In the last year, the Debtor has entered into the four settlements described below.

  Collectively, these settlements obligated the Debtor on over $350 million in allowed claims, and

  required the Debtor to incur millions of dollars in defense fees and costs. Investigation is

  warranted to determine whether the Debtor’s fiduciaries breached their duties in connection with

  these matters, in ways that harmed all unsecured creditors of the Debtor (in addition to the

  claimants who filed the respective proofs of claim).

                  1.       The Acis Proof of Claim

          22.     In connection with contentious litigation over the two Acis proofs of claim (the

  “Acis Proofs of Claim”),15 Acis received a $23 million allowed claim against the Debtor.16 In


  15
     See Proofs of Claim of Acis Capital Management, L.P. and Acis Capital Management GP, LLC, dated Dec. 31,
  2019 (Claim No. 23), Proof of Claim of Acis Capital Management, L.P., dated April 8, 2020 (Claim No. 159).
  16
     See Debtor’s Motion for Entry of an Order Approving Settlement with (A) Acis Capital Management, L.P. and
  Acis Capital Management GP LLC (Claim No. 23), (B) Joshua N. Terry and Jennifer G. Terry (Claim No. 156), and

                                                       11


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  addition, the Debtor was required to pay Joshua Terry—the former employee who commenced the

  Acis involuntary bankruptcy proceedings after Dondero “denuded” Acis to frustrate Terry’s

  judgment collection efforts—$880,000 plus interest.17

            23.      As this Court is well aware, the Acis bankruptcy cases were highly contentious. At

  Dondero’s direction, the Debtor and Highland CLO Funding, Ltd. (“Highland Funding”) sued the

  chapter 11 trustee, prompting a countersuit to recover allegedly fraudulent transfers and to stop the

  Debtor (which continued for a time to manage Acis) from taking actions that the trustee alleged

  were harmful to Acis and the collateralized loan obligations that it managed. That adversary

  complaint formed the basis of the 34-count Acis Proof of Claim.

            24.      A full investigation of the conduct forming the basis for the Acis Proof of Claim is

  required to determine whether the Acis Proof of Claim was the result of any fiduciary’s breach of

  its duties to the Debtor, which resulted in harm to all general unsecured creditors. Likewise, an

  investigation will shed light on whether the extensive legal fees that the Debtor was forced to incur

  were incurred for its own benefit, or instead as part of a larger plan designed to protect Dondero’s

  personal assets. Such an investigation will require a full accounting of the facts and circumstances

  underlying the Acis Proof of Claim, including documents that are not currently in the Debtor’s

  possession. Thus, the Committee requests authority to conduct examinations into non-debtor

  entities and individuals within the Highland web who were involved in events relating to the Acis

  Proof of Claim (the “Acis Dispute Parties”).18




  (C) Acis Capital Management, L.P. (Claim No. 159), and Authorizing Actions Consistent Therewith. (Docket No.
  1087).
  17
       See id.; see also Proof of Claim of Joshua Terry, dated April 8, 2020 (Claim No. 156) (the “Terry Proof of Claim”).
  18
     The Acis Dispute Parties are: Dondero; Highland CLO Management Ltd. (“Highland Management”); Highland
  CLO Holdings, Ltd. (“Highland Holdings”); Jean Paul Sevilla; and Mark Okada. Highland Management and Highland
  Holdings were each defendants (along with the Debtor) in Acis’ Second Amended Complaint that formed the basis

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            25.     In addition, the Committee intends to examine the fraudulent transfers alleged in

  the Acis Proof of Claim, in order to determine whether they lead to any colorable estate causes of

  action and/or suggest a pattern or practice of unlawful conduct within the Highland web that

  supports other theories of recovery.

                    2.       The Harbourvest Proofs of Claim

            26.     On November 15, 2017, HarbourVest 2017 Global Fund L.P., HarbourVest 2017

  Global AIF L.P., HarbourVest Dover Street IX Investment L.P., HV International VIII Secondary

  L.P., HarbourVest Skew Base AIF L.P., and HarbourVest Partners L.P. (collectively, the

  HarbourVest Entities” or “HarbourVest”) obtained a 49% interest in Highland Funding for $80

  million (the “Highland Funding Investment”). Highland Funding is one of the Debtor’s managed

  vehicles. Acis was the portfolio manager for Highland Funding, and Acis subcontracted its

  functions to the Debtor.

            27.     On April 8, 2020, the HarbourVest Entities filed proofs of claim (Claim Nos. 143,

  147, 149, 150, and 154) (the “HarbourVest Proofs of Claim”) against the Debtor arising from the

  Highland Funding Investment.19 HarbourVest alleged it was fraudulently induced into entering

  into the Highland Funding Investment based on the Debtor’s misrepresentations and omissions

  concerning certain material facts, including that the Debtor: (1) failed to disclose that it never

  intended to pay the $8 million arbitration award obtained by Terry; (2) failed to disclose that it

  engaged in a series of fraudulent transfers for the purpose of preventing Terry from collecting on

  his arbitration award and misrepresented the reasons for changing the portfolio manager for

  Highland Funding immediately prior to HarbourVest’s Highland Funding Investment; (3)



  for the Acis Proof of Claim. The roles of the Acis Dispute Parties are set forth in, inter alia, the addenda to the Acis
  Proofs of Claim and Terry Proof of Claim, which are incorporated herein by reference.
  19
       The HarbourVest Proofs of Claim are incorporated herein by reference.

                                                            13


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  indicated that the dispute with Terry would not impact investment activities; and (4) expressed

  confidence in the ability of Highland Funding to reset or redeem the CLOs under its control.

          28.      HarbourVest sought to rescind its Highland Funding Investment and alleged

  damages in excess of $300 million based on theories of fraud, fraudulent inducement, fraudulent

  concealment, fraudulent misrepresentation, negligent misrepresentation, and breach of fiduciary

  duty (under Guernsey law), and on alleged violations of state securities laws and the Racketeer

  Influenced Corrupt Organization Act (“RICO”). Pursuant to the parties’ settlement, HarbourVest

  agreed to transfer its interest in Highland Funding to a new entity designated by the Debtor, and

  HarbourVest received a $45 million general unsecured allowed claim and a $35 million

  subordinated general unsecured allowed claim.20

          29.      The Committee intends to examine the nature of HarbourVest’s claims to determine

  whether the conduct articulated in the HarbourVest Proofs of Claim, the resulting payments the

  Debtor was required to make in satisfaction of HarbourVest’s claims, and/or the legal expenses

  incurred in connection with HarbourVest’s claims give rise to breach of fiduciary duty claims

  and/or related causes of action as a result of harm to all general unsecured creditors. Indeed, it is

  likely that the facts underlying HarbourVest’s allegations concerning fraud, fraudulent

  inducement, fraudulent concealment, fraudulent misrepresentation, negligent misrepresentation,

  breach of fiduciary duty, and securities and RICO violations will aid the Committee and Litigation

  Trustee in identifying Estate causes of action against the Debtor’s own fiduciaries. Such an

  investigation will require a full accounting of the facts and circumstances underlying the

  HarbourVest Proofs of Claim, including documents that are not currently in the Debtor’s


  20
     See Debtor’s Motion for Entry of an Order Approving Settlement with HarbourVest (Claim Nos. 143, 147, 149,
  150, 153, 154) and Authorizing Actions Consistent Therewith, dated Dec. 23, 2020 (Docket No. 1625); see also Order
  Approving Debtor’s Settlement with HarbourVest (Claim Nos. 143, 147, 149, 150, 153, 154) and Authorizing Actions
  Consistent Therewith, dated Jan. 21, 2021 (Docket No. 1788).

                                                         14


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  possession. To that end, the Committee seeks authority to conduct examinations into certain

  individuals with knowledge of the transactions and conduct related to the HarbourVest Proofs of

  Claim (the “HarbourVest Dispute Parties”).21

                    3.       The UBS Proofs of Claim

           30.      In February 2009, UBS filed an action in the Supreme Court of the State of New

  York alleging that Highland CDO Opportunity Master Fund, L.P. (“CDO Fund”) and Highland

  Special Opportunities Holding Company (“SOHC” and together with CDO Fund, the “Funds”)

  owed over $500 million to UBS under certain contracts. UBS then commenced a second action

  against the Debtor for breach of the implied covenant of good faith and fair dealing and fraudulent

  conveyance, among other causes of action. UBS also amended its complaint to add Highland

  Financial Partners, L.P. (“HFP”) and other entities as defendants. HFP wholly owns SOHC and

  UBS alleged that HFP was the alter ego of SOHC and was therefore liable for SOHC’s misconduct.

           31.      The court bifurcated the trial into two phases—Phase I to decide UBS’s breach of

  contract claims against the Funds and the Debtor’s counterclaims against UBS, and Phase II to

  decide all remaining claims, including those against the Debtor. After a 13-day “Phase I” trial in

  July 2018, the court entered judgment in UBS’s favor, finding the Funds liable to UBS for over

  $530 million and SOHC liable to UBS for over $509 million.

           32.      The Debtor filed for bankruptcy before the Phase II trial commenced. UBS filed

  proofs of claim (Claim Nos. 190, 191) (the “UBS Proofs of Claim”) asserting unsecured claims

  against the Debtor for damages resulting from (i) the Debtor’s breach of the implied covenant of

  good faith and fair dealing for its efforts to impair UBS’s contractual right to collect from the



  21
     These parties include Dondero, Ellington, Leventon, Okada, and Mark Patrick, who acted as tax counsel for the
  Debtor, was often involved in the creation of entities and structuring of transactions, and therefore likely possesses
  relevant knowledge.

                                                           15


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  Funds, and (ii) the Debtor’s role in directing fraudulent conveyances that occurred after the

  commencement of the UBS litigation, as well as for further damages, prejudgment interest, and

  attorneys’ fees. Specifically, UBS claimed that the Debtor devised and executed a strategy to

  interfere with UBS’s contractual right to recovery and prevented the Funds (and HFP) from turning

  over any of their assets to UBS in satisfaction of their debt. Furthermore, UBS alleged that in

  March 2009, the Debtor orchestrated the transfer of approximately $233 million in assets away

  from the Funds and out of UBS’s reach. The claims further alleged that the Debtor improperly

  prevented the Funds from turning over any other assets held by the Funds (or HFP) after the March

  2009 transfers.        However, UBS lacked sufficient information about those assets and the

  circumstances of their disposition to quantify the damages resulting from the Debtor’s alleged

  breach.

            33.      Also, on March 29, 2021, UBS filed an adversary proceeding against the Debtor

  alleging that, since at least August 2017, the Debtor, acting under the direction of Dondero,

  Ellington, Leventon, and other former Debtor employees, was fraudulently transferring ownership

  of all or substantially all of the Funds’ hundreds of millions of dollars’ worth of assets to Sentinel

  Reinsurance, Ltd. (“Sentinel”), a Cayman Islands entity owned and controlled by Dondero and

  Ellington,22 for a fraction of the supposed face value of the assets.23 UBS alleged that these assets

  may have consisted of (i) a redemption interest (the “Sentinel Redemption”) in Highland Credit

  Opportunities CDO, L.P. (n/k/a Highland Multi Strategy Credit Fund, L.P.) (“Multi-Strat”) and

  (ii) assets held by CDO Fund related to Greenbriar CLO Ltd., Greenbriar CLO Corp., Aberdeen



  22
      Dondero is believed to own 70% of Sentinel and Ellington indirectly owns the remaining 30% through a series of
  complicated intermediate holding and operating companies. See Debtors’ Motion for Entry of an Order Approving
  Settlement with UBS Securities LLC and UBS AG London Branch and Authorizing Actions Consistent Therewith (Dkt.
  2199).
  23
       See Original Complaint For Injunctive Relief, dated March 29, 2021 (Adv. Pro. No. 21-03020 at Dkt. 1).

                                                           16


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  Loan Funding Ltd., Eastland CLO Ltd., Grayson CLO Ltd., Valhalla CLO Ltd., and Governance

  Re, Ltd., including cash payments related to those assets (collectively, the “CDO Fund Assets”).

  Moreover, UBS alleged that it is possible that Sentinel and/or its transferees continued to receive

  cash payments from accounts the Debtor owns or controls pursuant to certain interests underlying

  the potential fraudulent transfers.

           34.      As a result of these allegations, the Debtor was forced to enter into a substantial

  settlement with UBS, including (i) a single general unsecured claim in the amount of $65 million;

  (ii) a single subordinated unsecured claim of $60 million; and (iii) a payment of $18.5 million to

  UBS by Multi-Strat, a non-debtor fund managed by the Debtor that is a co-defendant in the state

  court litigation.24 Moreover, the Debtor is required to incur additional costs in connection with

  assisting UBS’s in its collection efforts against the Funds.

           35.      The Committee seeks Rule 2004 discovery from Governance Re, Ltd., Sentinel,

  Sentinel Re Holdings, Ltd., SAS Asset Recovery, Ltd., SAS Holdings SPV Ltd., SAS Litigation

  Management, L.P., SAS Loan Services Ltd., Dondero, Ellington, Leventon, and Mark Patrick (the

  “UBS Dispute Parties”)25 to investigate the circumstances of these transfers and whether they give

  rise to causes of action, including but not limited to fraudulent conveyance and breach of fiduciary

  duty claims to redress harm to all general unsecured creditors. In addition to incurring $125


  24
     See Debtor’s Motion for Entry of an Order Approving Settlement with UBS Securities LLC and UBS AG London
  Branch and Authorizing Actions Consistent Therewith, dated April 15, 2021 (Docket No. 2199); see also Order
  Approving Debtor’s Settlement with UBS Securities LLC and UBS AG London Branch and Authorizing Actions
  Consistent Therewith, dated May 27, 2021 (Docket No. 2389).
  25
      It is the Committee’s understanding that SAS Asset Recovery, Ltd., SAS Holdings SPV Ltd., SAS Litigation
  Management, L.P., and SAS Loan Services Ltd. were likely involved in the conduct giving rise to the UBS Settlement,
  and have otherwise been involved in transactions involving the Debtor and/or its affiliated entities. See In re: Highland
  Capital Management, L.P. and CLO Holdco, Ltd., No. 19-34054-sgj-11, Hr. Tr. dated May 21, 2021, at 60:22-25,
  61:1-19. Because of Dondero, Ellington, and Leventon’s authority over the Debtor and the entities encompassed
  within the UBS Dispute Parties, the Committee also seeks discovery from these individuals. As noted above, it is also
  the Committee’s understanding that Patrick, who acted as tax counsel for the Debtor, was often involved in the creation
  of entities and structuring of transactions, and therefore likely has relevant information related to the UBS Proofs of
  Claim and the settlements.

                                                            17


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  million in claims in connection with this settlement, the Debtor has also incurred substantial legal

  fees and expenses as a result of this litigation. These fees, too, may give rise to breach of fiduciary

  duty claims, if, for example, the conduct giving rise to the litigation and/or the decision to engage

  in protracted litigation were made to shield assets for Dondero’s and/or others’ benefit, to the

  detriment of the Debtor.

                 4.      The Redeemer And Crusader Proofs of Claim

         36.     Highland Offshore Partners L.P., Highland Crusader Fund, L.P., Highland

  Crusader Fund, Ltd., and Highland Crusader Fund II, Ltd. (collectively, the “Crusader Funds”)

  were formed between 2000 and 2002. In October 2008, the Debtor commenced wind-down

  proceedings on behalf of the Crusader Funds, and the “Redeemer Committee” was formed

  pursuant to a plan and scheme of arrangement adopted in 2011 to resolve disputes arising in

  connection with the Crusader Funds’ wind-down proceedings.

         37.     The Debtor served as investment manager for the Crusader Funds until August

  2016, when it was terminated by the Redeemer Committee.                  The Redeemer Committee

  commenced an arbitration against the Debtor, in which it asserted various claims against the

  Debtor in connection with its role as the investment manager for the Crusader Funds. In 2019, the

  arbitration panel issued an award that included gross damages of $136.8 million and total damages

  (including interest) of $190.8 million. The Debtor filed for bankruptcy protection on the day of

  oral arguments on the Redeemer Committee’s motion to enforce the arbitration award in Delaware

  Chancery Court.

         38.     On April 3, 2020, the Crusader Funds filed a claim in the amount of $23.5 million

  (Claim No. 72) (the “Crusader Proof of Claim”), and on April 6, 2020, the Redeemer Committee

  filed a proof of claim in the amount of $190.8 million (Claim No. 81) (the “Redeemer Proof of

  Claim”). Both claims included post-petition interest, attorneys’ fees, and other costs and expenses.
                                                    18


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  Furthermore, the Crusader Proof of Claim sought the disgorgement of all management,

  distribution, and deferred fees paid to the Debtor based on the “faithless servant” doctrine.

  According to the Crusader Funds, under the faithless servant doctrine, the Debtor forfeited any

  right that it had to compensation for services rendered to the Crusader Funds, from the date of its

  first disloyal act onward.

          39.      Pursuant to the terms of a settlement approved by the Court on October 23, 2020,

  the Redeemer Committee’s claim was allowed in the amount of $136.7 million, and the Crusader

  Funds’ claim was allowed in the amount of $50,000.26 The Committee requests Rule 2004

  discovery from individuals that may have information relating to the conduct giving rise to these

  payment obligations (the “Redeemer And Crusader Dispute Parties”)27 to investigate whether

  some or all of these claims—including but not limited to claims seeking to disgorge management

  and distribution fees from the Debtor and incurrence of legal expenses—arise out of any

  fiduciary’s breach of duties to the Debtor which harmed all general unsecured creditors. Such an

  investigation will require a full accounting of the facts and circumstances underlying the Redeemer

  Proof of Claim and Crusader Proof of Claim, including documents and information that is not

  currently in the Debtor’s possession that are sought by this Motion.




  26
      See Debtor’s Motion for Entry of an Order Approving Settlements with (A) The Redeemer Committee of the
  Highland Crusader Fund (Claim No. 72), and (B) The Highland Crusader Funds (Claim No. 81), and Authorizing
  Actions Consistent Therewith, dated Sept. 23, 2020 (Docket No. 1089); see also Order Approving Debtor’s Settlement
  with (A) The Redeemer Committee of the Highland Crusader Fund (Claim No. 72) and (B) The Highland Crusader
  Funds (Claim No. 81), and Authorizing Actions Consistent Therewith, dated Oct. 23, 2020 (Docket No. 1273).
  27
       The Redeemer and Crusader Dispute Parties are Dondero, Okada, Ellington, Leventon and Patrick. These
  individuals likely have documents, information, and knowledge of the conduct giving rise to the payment obligations
  set forth in the Redeemer Proof of Claim and the Crusader Proof of claim, given their roles at the Debtor during the
  applicable time period.

                                                          19


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           B.       Individual Highland Parties

           40.      Although, Dondero may be the primary architect of the Highland web, he has not

  acted alone. The Committee is aware, based on public filings and documents that they have

  reviewed to date, that the Debtor may have been harmed by the actions of certain former Highland

  employees and other individuals, including Ellington, Leventon, Waterhouse, Patrick, Okada,

  Grant Scott, Mary Jalonick, Katie Irving, Jean Paul Sevilla, Lauren Thedford, Stephanie Vitiello,

  Trey Parker, John Honis, Nancy Dondero, Dana Scott Breault, Gianna Cerullo, Matt DiOrio,

  Melissa Schroth, Tara Loiben, Dilip Massand, Marcia Ellington Maslow, Jason Post, Eric Holt,

  Cyrus Eftekhari, Jason Rothstein, and Sanjay Kamlani (the “Individual Highland Parties”).28

  Although the Debtor has a subset of these employees’ documents and electronic communications

  on its server, the Committee moves under Rule 2004 to compel the Individual Highland Parties to

  produce information related to the Debtor that is not currently in the Debtor’s or Committee’s

  possession.


  28
       These individual parties are likely to have relevant information due to their roles and affiliations with the Debtor
  or its principals. Grant Scott is a personal friend of Dondero and has served as trustee for various trusts related to the
  Debtor, like Dugaboy and Get Good. Mary Jalonick was the president and chief executive officer of The Dallas
  Foundation. Katie Irving, Jean Paul Sevilla, and Matt DiOrio are former employees of the Debtor who the Committee
  understands have been involved in transactions of interest, including conduct leading to the UBS Settlement. John
  Honis appears to control many of the entities involved in the Hunter Mountain Transaction. Nancy Dondero is
  Dondero’s sister, and acts (or has acted) as trustee for various trusts related to the Debtor, including Dugaboy and Get
  Good. The Committee also understands that Melissa Schroth is a former executive accountant of the Debtor, who
  was often involved in transactions involving the Debtor and affiliated entities. Tara Loiben was Dondero’s executive
  assistant. Trey Parker is a former partner of the Debtor and was likely involved in many transactions involving the
  Debtor discussed herein, especially given his role as co-chief investment officer. Dana Scott Breault is a close
  confidant of Dondero and has worked as a property manager for the Debtor’s affiliate NexBank Realty. The
  Committee understands that Gianna Cerullo also has ties to Dondero, the Debtor, and the Debtor’s affiliates, including
  involvement in a lawsuit where Cerullo was the owner of property of which Get Good was the landlord. Dilip
  Massand, Maslow (Ellington’s sister), and Kamlani have been involved in various transactions with the Debtor and
  its affiliates, as detailed more fully herein. Lauren Thedford and Stephanie Vitiello were both a part of the Debtor’s
  legal team. Upon information and belief, Jason Post was the former chief compliance officer for the Debtor, and
  Cyrus Eftekhari was also a part of this team, and therefore they both likely have relevant information regarding certain
  transactions and conduct. Upon information and belief, Eric Holt also acted (or acts) as chief compliance officer of
  NexPoint Securities, Inc. It is the Committee’s understanding that Rothstein is the former IT director at the Debtor,
  who currently provides IT services to the Debtor pursuant to a shared service agreement. Therefore, the Committee
  seeks discovery from these individuals given these roles with the Debtor and/or its affiliates, as well as their potential
  involvement in transactions and conduct of interest.

                                                             20


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            41.     Throughout these cases, individuals affiliated with the Debtor have been engaged

  in efforts to defy court orders, withhold discoverable information and/or destroy evidence,29 and

  may have participated in schemes to conceal assets and insulate the Debtor and other related

  entities from judgments or clawback actions.30 Indeed, this Court recently held Dondero in civil

  contempt for violating a temporary restraining order by destroying evidence (including his cell

  phone), trespassing on Debtor property after being evicted, interfering with the Debtor’s trading

  of CLO assets, encouraging certain Nex Entities (described below) to make demands and threats

  against the Debtor regarding the trading of CLO assets, communicating with Ellington and

  Leventon before they were terminated by the Debtor, and interfering with the Debtor’s obligation

  to produce certain documents requested by the Committee.31

            42.     Under these extraordinary circumstances, the Committee must take additional steps

  to obtain and preserve potentially relevant information, including information that is currently

  stored on individuals’ personal devices. As such, the Committee seeks targeted discovery on

  topics that may be reflected in communications sent from the Individual Highland Parties’ personal

  email accounts and information contained on the Individual Highland Parties’ personal devices.




  29
     See, e.g., Memorandum Opinion and Order Granting in Part Plaintiff’s Motion to Hold James Dondero in Civil
  Contempt of Court for Alleged Violation of TRO, dated June 7, 2021 (Case No. 20-3190-SGJ) (Docket No. 190) (the
  “Sanctions Order”).
  30
      See, e.g., In re Acis Capital Mgmt., 584 B.R. at 148-49 (“[T]his court has heard ample evidence showing that the
  Alleged [Acis Debtors], with the aid of [Debtor HCMLP], were transferring assets away from the Alleged Debtors,
  so that Mr. Terry would have nowhere to look at the end of the day.”); See Original Complaint For Injunctive Relief,
  dated March 29, 2021 (Adv. Pro. No. 21-03020 at Dkt. 1) (alleging that “[i]t has recently come to light that the Debtor,
  at the direction and with the involvement of numerous former employees, including James Dondero, Scott Ellington,
  Isaac Leventon, JP Sevilla, and Matt DiOrio, fraudulently transferred hundreds of millions of dollars of assets away
  from funds currently or previously controlled, owned, and/or managed by the Debtor to an entity jointly owned by
  Dondero and Ellington, in anticipation of the judgment that UBS obtained against those funds in New York state
  court.”; see generally Nothing Can Stop This Hedge Fund Soap Opera, by Amanda Cantreall, dated Apr. 2, 2020,
  available at https://www.institutionalinvestor.com/article/b1l0wrph2lc0j6/Nothing-Can-Stop-This-Hedge-Fund-
  Soap-Opera.
  31
       See Sanctions Order. (Docket No. 190)

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            43.      Additionally, between 2015 and the Petition Date, Dondero received a number of

  large round-dollar payments from the Debtor which total approximately $20 million. Many of

  these payments are described in the Debtor’s internal books and records as “equity distributions.”

  To date, the Committee has not identified an explanation for these payments. Moreover, there is

  reason to doubt that any of these payments were actually “equity distributions,” because they

  appear to have been made at times when Dondero purported to have held no limited partnership

  interests in the Debtor.32 Because there is no explanation for the payments, it is also unclear

  whether the payments were appropriately made by the Debtor, as opposed to some other entity.

  The Committee seeks Rule 2004 discovery from Dondero regarding the purposes of these

  payments to determine, among other things, whether some or all of these payments constitute

  fraudulent transfers. The Committee also seeks Rule 2004 discovery from the Individual Highland

  Parties related to any similar payments from the Debtor.

            C.       Highland Charities and Trusts

            44.      Interspersed within the Highland web are a number of entities that may exist for

  purportedly charitable purposes, including but not limited to Charitable DAF Fund, L.P.;

  Charitable DAF GP, LLC; Charitable DAF HoldCo, Ltd.; Dallas Foundation; Empower Dallas

  Foundation; Greater Kansas City Community Foundation; Highland Capital Management, L.P.

  Charitable Fund; Highland Dallas Foundation; Highland Kansas City Foundation, Inc.; Highland

  Santa Barbara Foundation, Inc.; The Santa Barbara Foundation; and the Okada Family

  Foundation;33 as well as numerous trusts, including Dugaboy Investment Trust; the Dondero

  Family Dynasty Trust; the Fouray’s Trust; The Dondero Insurance Rabbi Trust; The Get Good


  32
       Kirschner Decl. ¶ 27.
  33
     Also of interest is the Community Foundation of North Texas Inc., which appears to be distinct from the Highland
  web of entities.

                                                          22


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  Trust; The Get Good Non-Exempt Trust No. 1; The Get Good Non-Exempt Trust No. 2; the Get

  Better Trust; the Canis Minor Trust; The Mark & Pamela Okada Family Trust – Exempt Trust

  (MAP #1); The Mark & Pamela Okada Family Trust – Exempt Trust (MAP #2); The Okada

  Insurance Rabbi Trust; and The SLHC Trust,                 (collectively, the “Highland Charities And

  Trusts”).34

            45.      The relationship of these Highland Charities and Trusts to the Debtor is unclear at

  this time, but there appear to have been tens of millions of dollars of distributions of funds from

  the Debtor to certain of the Highland Charities and Trusts, either directly or indirectly, that need

  to be assessed for their propriety and reasonableness.35

            46.      The Committee intends to pursue Rule 2004 examinations of the Highland

  Charities And Trusts, Dondero, and Scott36 in order to determine, among other things, (i) whether

  the Debtor was harmed by these intricate schemes; (ii) the extent of any harm; (iii) whether any

  Individual Highland Parties or Strand breached their fiduciary duties to the Debtor by engaging in

  transactions with the Highland Charities And Trusts; (iv) the purposes and motivations for creating

  the Highland Charities And Trusts; (v) the actual uses of Debtor assets that were transferred to the

  Highland Charities And Trusts; (vi) whether the Highland Charities And Trusts operated as

  legitimate independent entities or, conversely, were simply vehicles for Dondero to advance an

  elaborate shell game and generate fees for himself and other fiduciaries of the Debtor; and (vii)

  whether any Individual Highland Parties were unjustly enriched via the transactions between the




  34
       Kirschner Decl. ¶ 8.
  35
       Kirschner Decl. ¶ 9.
  36
     As mentioned above, during relevant time periods, Scott was the trustee and/or a director of various Highland
  Charities and Trusts, including Dugaboy and Get Good. Scott was also a close personal friend of Dondero.

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  Highland Charities And Trusts, on the one hand, and the Debtor or any of its alter egos, on the

  other hand.

          D.       Transactions Between the Debtor and Its Affiliates

          47.      As noted above, the information that has been gleaned from the Debtor’s books and

  records and public court proceedings to date indicates that there are a number of transactions

  between or among the Debtor, its affiliates, and other entities affiliated with current or former

  Debtor employees. For the reasons previously discussed, the Committee does not believe that the

  information currently available to it is sufficient to assess the potential causes of action that could

  arise from those relationships and transactions.

          48.      As such, the Committee’s Rule 2004 Examinations will seek information from the

  Rule 2004 Parties about any transfers, transactions, or agreements between the Debtor, on one

  hand, and the Rule 2004 Parties, on the other hand. These transfers must be reviewed for, among

  other things, the reasonableness of exchanged value and adherence to applicable fund governing

  documents and investment guidelines. Moreover, the Committee seeks information relating to any

  subsequent distributions or transactions made by the Rule 2004 Parties, who may have entered into

  additional transactions with other Highland entities, as part of intricate efforts to shield assets and

  evade creditors.

          E.       The Nex Entities

          49.      There are also a number of “Nex” entities that appear to be financially intertwined

  with the Debtor and Dondero.37 For example, the Advisors are registered investment advisors, and


  37
      NexBank Capital, Inc., NexBank SSB, NexBank Title, Inc., and NexBank Securities, Inc. (together, “NexBank”)
  are financial services companies that appear to be closely affiliated with Dondero. According to NexBank’s website,
  Dondero is the Chairman of the Board of Directors of NexBank Capital, Inc. Mark Okada is a NexBank SSB director.
  NexBank SSB is indirectly owned by Dondero and Okada. It also appears to have been the bank-of-choice for
  Dondero and the entities that he controls. See First Day Declaration of Frank Waterhouse, dated Oct. 16, 2019, at ¶
  50.

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  NexPoint services shared services agreements for entities within Highland’s corporate structure.

  Dondero is President of both of the Advisors and has ownership interests in both entities. Dondero

  is also the founder and principal of NexPoint. The Advisors separately manage three funds (the

  “NexPoint/HCMFA Funds”).38 The Advisors and these NexPoint/HCMFA Funds own, among

  other things, equity interests in certain pooled collateralized loan obligation vehicles that are

  managed by the Debtor. The Debtor manages these CLO vehicles pursuant to contracts to which

  neither the Advisors nor the NexPoint/HCMFA Funds are parties. In addition, the Debtor and its

  affiliates appear to have invested substantial amounts in these NexPoint/HCMFA Funds over

  time.39

            50.      The relationships between the Nex Entities and the Debtor are opaque. However,

  the Debtor has performed certain services on behalf of certain Nex Entities, and at the same time,

  certain Nex Entities have performed services as an investment advisor and CLO manager.

  Dondero’s common control over these entities, management of these entities under a common

  corporate structure using Debtor resources and oversight and his well-documented practice of

  creating new entities to succeed to the rights and obligations of indebted entities create the

  suspicion that Dondero may be using the Nex Entities to usurp the Debtor’s existing or future

  business relationships. A full investigation is needed to determine whether that has occurred, and

  if so, whether it gives rise to any estate causes of action.40




  38
     The NexPoint Entities and the NexPoint/HCMFA Funds are collectively referred to as the “Nex Entities.” The
  Committee seeks documents from and an examination of John Holt, as he likely has relevant knowledge. The
  Committee also seeks documents and examinations of Dondero and Okada due to their ownership interests and/or
  roles with NexPoint.
  39
       Kirschner Decl. ¶ 10.
  40
       See Kirschner Decl. ¶ 11.

                                                       25


                                                                                                                  APP 1004
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            F.       The Hunter Mountain Transaction.

            51.      The Committee, based on its investigation to date, has discovered that Hunter

  Mountain was involved in an unusual transaction with the Debtor in December 2015, whereby

  Hunter Mountain purchased a majority of the Debtor’s limited partnership interests in exchange

  for $16.3 million in cash and $143.7 million in notes. The transaction occurred in two phases: in

  the first the Debtor itself granted certain limited partnership interests to Hunter Mountain in

  exchange for a small amount of cash and a large note receivable that was “contributed” by Hunter

  Mountain to the Debtor. In the second phase, the Class A Limited Partners41 sold certain limited

  partnership interests to Hunter Mountain in exchange for a small amount of cash and a note

  receivable issued to each of the Class A Limited Partners.42

            52.      Based on the investigation to date, Hunter Mountain appears to be a shell company,

  the only assets of which are its Limited Partnership interests in the Debtor. Upon information and

  belief, Hunter Mountain is 100% owned and controlled by Beacon Mountain. It appears that the

  only asset of Beacon Mountain is its ownership of Hunter Mountain and Beacon Mountain is,

  itself, owned and controlled by Rand Fund. Upon information and belief, Rand PE Fund I, LP

  (“Rand Fund I”) is 99% owned and controlled by Atlas IDF LP, and Rand Advisors manages both

  Rand Fund I and Atlas IDF LP. Atlas IDF GP is the general partner of Atlas IDF LP. Each of

  Rand Fund I, Atlas IDF GP, Atlas IDF LP, and Rand Advisors43 appears to have been managed



  41
     The Class A Limited Partners consisted of Dugaboy the Mark & Pamela Okada Family Trust – Exempt Trust 1,
  The Mark & Pamela Okada Family Trust – Exempt Trust 2, and Okada, individually.
  42
       Kirschner Decl. ¶ 12.
  43
     Rand Fund I, Atlas IDF GP, Atlas IDF, LP, and Rand Advisors all appeared in these proceedings to contest the
  Official Committee of Unsecured Creditors' Emergency Motion to Compel Production by the Debtor (Filed by
  Creditor Committee Official Committee of Unsecured Creditors) [Dkt. No. 808], citing concerns regarding the
  confidentiality of information shared pursuant to a Shared Services Agreement between them and the Debtor. See
  Reply to a) Unsecured Creditors’ Committee’s Emergency Motion to Compel Production by Debtor (Dkt. No. 808)
  (“Motion to Compel”) and b) Debtor’s Motion For Entry of (I) a Protective Order, or, in the Alternative, (II) an Order

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  and controlled by John Honis, a former employee of the Debtor who also served on the Board of

  Trustees of the Debtor’s affiliated registered investment companies as well as on the boards of

  portfolio companies for investment funds operated by the Debtor.44 Substantially all of the non-

  voting, non-control limited partner interests in the Debtor were owned by Hunter Mountain.45

             53.      It is clear that the Hunter Mountain Transaction was not negotiated at arms’ length

  and that the transfer resulted in only a $7 million cash infusion to the Debtor and the addition of a

  large note payable by yet another affiliate. What is not clear from the Committee’s investigation

  of the Hunter Mountain Transaction to date is whether the Debtor received reasonably equivalent

  value in exchange for the transfer of its limited partnership interests, or what, if any, value was

  stripped away from the Debtor and its creditors as a result of the Hunter Mountain Transaction.46

  It is also unclear whether the Class A Interest Owners benefitted from the Hunter Mountain

  Transaction at the Debtor’s expense. Finally, as majority limited partnership interest holders in

  the Debtor, the Hunter Mountain Investment Trust appears to have received distributions in excess

  of $30 million from the Debtor, which need to be assessed for reasonableness and propriety.

             54.      The examination of the Hunter Mountain Transaction Parties47 is therefore essential

  and necessary to the Committee’s investigation of potential claims and causes of action. Further,


  Directing the Debtor to Comply with Certain Discovery Demands Tendered by the Official Committee of Unsecured
  Creditors, Pursuant to Federal Rules of Bankruptcy Procedure 7026 and 7034 (Dkt. No. 810). [Docket No. 837].
  44
        See Kirschner Decl. ¶ 13.
  45
        See Debtor’s October 16, 2019 Form Adv Part 2A.
  46
       See Kirschner Decl. ¶ 14.
  47
      The “Hunter Mountain Transaction Parties” include Hunter Mountain Investment Trust (“Hunter Mountain”),
  Beacon Mountain, LLC (“Beacon Mountain”), Atlas IDF, GP, LLC (“Atlas IDF GP”), Atlas IDF, LP (“Atlas IDF,
  LP”), Rand Fund I, Rand Advisors, LLC (“Rand Advisors”), Rand PE Fund Management LLC (“Rand Fund
  Management”), Dugaboy, Strand, Crown Global Life Insurance Ltd. Bermuda, Empower Dallas Foundation, The
  Mark & Pamela Okada Family Trust – Exempt Trust 1, The Mark & Pamela Okada Family Trust – Exempt Trust 2,
  the Okada Family Foundation, Honis, Dolomiti, LLC, Hakusan, LLC, Sali Multi Series Fund, LLC, Sali Fund
  Partners, LLC, Sali Fund Management, LLC, Okada, Dondero, Ellington, Leventon, and Patrick. It is the Committee’s
  understanding that Patrick was involved in the creation of Hunter Mountain and the structuring of the transaction, and
  therefore likely possesses relevant knowledge. The Committee also seeks discovery from Dondero and Okada related

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  given Hunter Mountain’s majority limited partnership ownership in the Debtor, these examinations

  are essential to potentially uncovering further potential causes of actions and to gain a better

  understanding of the Debtor’s financial condition and the Debtor’s relationship and dealings with

  Hunter Mountain and its parent and affiliated entities.

             G.       Governance Re “Insurance”

             55.      As the Court is aware from other motion practice and hearings, the Debtor was

  “self-insured” for its directors and officers (“D&O”) coverage.48 This self-insurance was issued

  by a Bermuda “captive” insurance company, Governance Re Ltd. (“Governance Re”). The named

  insured was an entity known as Highland D&O Trust, the ownership and legal status of which is

  unclear.

             56.      Based upon review to date, there are a number of unusual aspects to the relationship

  between the Debtor and Governance Re. First, the Debtor is a beneficiary of the D&O policy

  issued to Highland D&O Trust, but other Related Entities and numerous purportedly unaffiliated

  entities also appear to have been beneficiaries under the same policy. It is unclear why the Debtor

  may have been paying insurance premiums for the benefit of unaffiliated entities. Second, upon

  information and belief, Governance Re is part of a corporate structure that ultimately rolls up to

  either Dondero individually or an entity owned or controlled by Dondero. The nature of the

  relationship between Governance Re, Dondero, and the Debtor is currently unknown, as is the

  amount of any benefits conveyed to Dondero or others by virtue of this relationship. Third, the

  financial transactions between or among Governance Re, the Debtor, the Related Entities, and the




  to this transaction due to their prior limited partnership interests in the Debtor that were sold to Hunter Mountain
  (whether directly or indirectly held) and from Ellington and Leventon due to their roles at the Debtor and likely
  involvement in the Hunter Mountain Transaction.
  48
       See In re: Highland Capital Management, L.P., No. 19-34054-sgj-11, Hr. Tr. dated July 19, 2021, at 34:16-23.

                                                            28


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  numerous other Dondero affiliates appear to be complicated and littered with notes, loans, or other

  indebtedness. It is unclear at this time whether any of those financial transactions were made to

  the Debtor’s detriment. As a result, the Committee seeks Rule 2004 discovery regarding the

  relationships of those unaffiliated entities, and the basis for their inclusion in insurance coverage

  that was paid for by the Debtor,49 including the relationship between Governance Re and Dondero

  or entities that Dondero owns or controls, and the financial relationship between Governance Re

  and the Debtor, the Related Entities, or any other Dondero-affiliated entity.50 The Committee

  intends to use this discovery to assess whether there have been any breaches of fiduciary duty,

  improper transfers of funds to off-shore accounts intended to shelter those funds from judgments,

  or other conduct giving rise to claims or causes of action.

            H.       Transactions Involving Entities Owned or Controlled by Debtor Employees

            57.      The Committee seeks to understand the relationship between and among the Debtor

  and entities that are owned or controlled by employees or agents of the Debtor. The Debtor has a

  long list of “vendors” in its books and records—a number of which appear to have been owned,

  controlled, and/or managed by Debtor employees.                         It is currently unclear whether these

  intercompany relationships were properly disclosed, or if their interactions with the Debtor give

  rise to potential causes of action.51




  49
     The Committee intends to seek discovery from Governance Re, Highland D&O Trust, Conyers Trust Company,
  Dondero, Waterhouse, Patrick, and Okada. Dondero, Waterhouse, Patrick, and Okada likely have knowledge related
  to the relationships of the unaffiliated entities and the basis for their inclusion in insurance coverage that was paid for
  by the Debtor given their prior roles at the Debtor. Conyers appears to be the trustee of the Highland D&O Trust.
  50
       Kirschner Decl. ¶¶ 15-19.
  51
       Kirschner Decl. ¶ 20.

                                                             29


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                     1.         Tall Pine Entities

            58.      Shortly after these proceedings were commenced, in early 2020, Ellington appears

  to have formed entities called Tall Pine Group, LLC (“Tall Pine”) and Sunshine Coast

  Development, LLC (“Sunshine”). In March 2021, Tall Pine entered into an agreement called a

  “Services Agreement” to provide services to NexBank SSB, Charitable DAF Fund, L.P., HCMFA,

  and NPA that are similar or identical to the services provided by the Debtor under its shared

  services agreements for these same entities. Upon information and belief, the existence of this

  agreement was concealed from the independent board of the Debtor and was only recently

  discovered.52

            59.      Upon information and belief, Tall Pine may have then sub-contracted with entities

  affiliated with other current or former Debtor employees (all of whom were employed by the

  Debtor at the time) to provide those services. As a result, the Committee seeks Rule 2004

  discovery from each of the Tall Pine Entities53 relating to the Services Agreement, the nature of

  the services provided, the relationships between or among the Tall Pine Entities, and the Tall Pine

  Entities’ relationships with the Debtor and current or former Debtor employees.54 The Committee

  seeks to determine whether the Tall Pine Entities were created or used in a manner that gives rise




  52
        Kirschner Decl. ¶ 21.
  53
       The “Tall Pine Entities” include Tall Pine, Sunshine, FHTC Consulting LLC, Prive Enterprises, L.P., Prive
  Enterprises GP, LLC, Prive Solutions LLC, Prive Lending, LLC, Prive Leasing, LLC, Prive Investment Trust, Prive
  Motorsports, LLC, Prive Entertainment, LLC, Prive Products, LLC, Prive Residential, LLC, Prive Designs, LLC,
  Clairmont Holdings, LLC, Charitable DAF Fund, L.P., Charitable DAF GP, Charitable DAF Holdco, Ltd., HCMFA,
  and NPA. The Committee also intends to seek discovery from Dondero, Ellington, Leventon, Holt and Patrick. It is
  the Committee’s understanding that Tall Pine, Sunshine, FHTC Consulting, the Prive entities, and Clairmont Holdings
  are entities created by Debtor employees and that those entities may have been used in a manner that could give rise
  to various causes of action on behalf of the Debtor. Moreover, Charitable DAF Fund, L.P., Charitable DAF GP,
  Charitable DAF Holdco, Ltd., HCMFA, and NPA have been involved in transactions with these Tall Pine Entities that
  may have usurped opportunities from the Debtor. It is also the Committee’s understanding, upon information and
  belief, that Holt has relevant knowledge due to his involvement in the negotiation of the Services Agreement.
  54
       Kirschner Decl. ¶¶ 21-22.

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  to causes of action for breach of fiduciary duty, usurpation of corporate opportunity, fraudulent

  transfer, tortious interference, or similar claims.

                     2.      E-Discovery Vendors

            60.      Former Debtor employees Leventon and Ellington may have participated in the

  creation of a series of companies intended to provide outsourced legal services to the Debtor and

  Related Entities during the course of their employment by the Debtor. These companies also

  appear to have involved Debtor consultants, including Ellington’s sister and Massand (as discussed

  below).55 As in-house attorneys for the Debtor who provided legal services to the Related Entities

  pursuant to shared services agreements, Leventon and Ellington’s possible ownership of entities

  doing business with the Debtor or Related Entities may give rise to potential causes of action

  depending upon the circumstances involved. The Committee seeks Rule 2004 discovery of the E-

  Discovery Vendor Parties56 to determine whether the Debtor employees and consultants breached

  duties owed to the Debtor in connection with these business activities, and to investigate transfers

  made to these entities by the Debtor and/or Related Entities or other companies owned or

  controlled by Dondero.

            I.       Consultants

            61.      Based on the review of the Debtors business records to date, there are also several

  “consultants” that may have had relationships with the Debtor that could give rise to causes of




  55
       Kirschner Decl. ¶¶ 23-24.
  56
      The “E-Discovery Vendor Parties” include Blackland Group LLC, Blackland Legal Solutions, LLC, Blackland
  Information Security, LLC, Blackland Associates, LLC, BMZ Discovery Services LLC, Ironwood Legal Solutions,
  Massand Capital, LLC, Lullwater Park, LLC, Zumasaa Ventures, LLC, SAS Asset Recovery Ltd., SAS Holdings SPV
  Ltd., SAS Litigation Management, L.P., SAS Loan Services Ltd., Dondero, Ellington, Leventon, Massand, Maslow,
  and Kamlani. Discovery is sought from these entities based on information suggesting that these entities were
  involved in the provision of e-discovery or document review services. The individuals included among the E-
  Discovery Vendor Parties are included for the same reason.

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  action. The Committee also seeks Rule 2004 discovery into the relationship between the Debtor

  and certain of its consultants, as set forth below.

                     1.        Massand Capital, LLC

            62.      Massand Capital, LLC appears to be a consulting firm owned by Massand.

  Massand had a longstanding business relationship with the Debtor, pursuant to which Massand

  consulted with the Debtor and was assigned tasks only by “the Highland Chairman and General

  Counsel”—who, at the time, were Dondero and Ellington, respectively. Massand received

  approximately $600,000 per year annually from 2014 to the Petition Date. Based on information

  known at this time, it is unclear whether Massand provided material services to the Debtor over

  the course of this engagement. At this time, it appears that Massand may have performed work

  primarily for the benefit of entities owned or controlled by Dondero or Ellington or other

  Individual Highland Parties.57 The Committee seeks discovery of the nature of the services

  provided by Massand to the Debtor, Related Entities, and/or other entities owned or controlled by

  Dondero or Ellington individually, in order to assess these relationships, the services provided,

  and whether the Debtor was harmed as a part of this engagement.58

                     2.        Brazilian Entities

            63.      As is typical within the Highland web of companies, the structure of entities in

  Brazil is highly complex. It appears that there were two separate “families” of entities in Brazil—

  one whose ultimate parent was the Debtor, and one whose ultimate parent was Dondero (through


  57
       Kirschner Decl. ¶ 25.
  58
      The Committee intends to seek discovery from the “Massand Capital Parties,” which includes Massand Capital,
  LLC, SAS Asset Recovery, Ltd., SAS Holdings SPV Ltd., SAS Litigation Management, L.P., SAS Loan Services
  Ltd., Blackland Group LLC, Blackland Legal Solutions, LLC, Blackland Information Security, LLC, Blackland
  Associates, LLC, Dondero, Ellington, Leventon, and Massand. Leventon is included as a recipient of this discovery
  due to his role in the legal department at the Debtor and his close working relationship with Ellington and Dondero.
  The entities are included in the Massand Capital Parties by virtue of their apparent connection to Massand and any
  services he may have provided as a consultant.

                                                          32


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  Dugaboy). Upon information and belief, Dondero caused funds owed by the “family” of Brazil

  entities attributable to him (through Dugaboy) to be paid by the Debtor instead of by Dugaboy.

  Similarly, there are three consultancies in Brazil that received payments from the Debtor or Debtor

  affiliates over time, and their connections to Dondero and his related entities is unclear.59 From

  the review to date, it is also unclear what, if any, services these “consultants” may have provided

  to the Debtor. The Committee seeks Rule 2004 discovery regarding the nature of the relationships

  between and among these Brazilian Rule 2004 Targets,60 their roles within the Highland web, their

  relationship to Dondero and/or his affiliates (including but not limited to Dugaboy), and the

  purpose for payments made by the Debtor, in order to assess whether they give rise to claims for

  fraudulent transfers, breaches of fiduciary duties, or other causes of action.

            J.       Document Requests and Examination Topics

            64.      In order to fulfill its duty to investigate potential claims, the Committee seeks

  authority to require the Rule 2004 Parties to provide documents and testimony concerning the

  Examination Topics. Forms of Proposed Requests for Production for the Rule 2004 Parties are

  attached as follows:61

                    Exhibit 2: Request for Production of Documents to the Acis Dispute Parties

                    Exhibit 3: Request for Production of Documents to the HarbourVest Dispute
                     Parties

                    Exhibit 4: Request for Production of Documents to UBS Dispute Parties


  59
       Kirschner Decl. ¶ 26.
  60
       The “Brazilian Rule 2004 Targets” include Dondero, Schroth, Waterhouse, Patrick, Dugaboy, Brasilinvest
  Investimentos e Participacoes Ltda, HBI Consultoria Empresarial, LTDA, Highland Capital Management, AG, and
  Brasilinvest Empreendimentos e Participacoes S/A. The Committee and the Litigation Advisor believe these
  persons/entities may possess relevant data based on their review to date.
  61
    If the Motion is granted, the Committee intends to serve the intended recipients with Requests for Production that
  are identical or substantially similar to the forms attached as exhibits hereto, as well as conduct potential depositions
  of the intended recipients related to the topics described in this Motion and the Requests for Production as may be
  appropriate.

                                                            33


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                 Exhibit 5: Request for Production of Documents to the Redeemer And Crusader
                  Parties

                 Exhibit 6: Request for Production of Documents to the Individual Highland
                  Parties

                 Exhibit 7: Request for Production of Documents to the Highland Charities and
                  Trusts

                 Exhibit 8: Request for Production of Documents to the Nex Entities

                 Exhibit 9: Request for Production of Documents to the Hunter Mountain
                  Transaction Parties

                 Exhibit 10: Request for Production of Documents to Governance Re Parties

                 Exhibit 11: Request for Production of Documents to Tall Pine Entities

                 Exhibit 12: Request for Production of Documents to E-Discovery Vendor Parties

                 Exhibit 13: Request for Production of Documents to Massand Capital Parties

                 Exhibit 14: Request for Production of Documents to the Brazilian Entities

          65.     Disclosure on these examination topics solely from the Debtor is insufficient

  because the matters at issue are complex and important, and involve suspicions of misconduct that

  may hinder voluntary and full disclosure by knowledgeable persons and entities currently affiliated

  with the Debtor. The examination will seek information that is not currently in the Debtor’s

  possession. Examination of the Rule 2004 Parties therefore increases the Committee’s likelihood

  of obtaining a full factual understanding of the Examination Topics and the relationship and course

  of dealings between the Debtor and Rule 2004 Parties. Moreover, a significant number of the

  Debtor’s former employees that were involved in events relating to the Examination Topics have

  since left the company, further complicating the examination process. Given the nature of the

  matters at issue, it is critical to Committee’s investigation into potential causes of action that there

  be discovery of non-debtor individuals and entities.



                                                    34


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                                      VI.     BASIS FOR RELIEF

          66.     The Committee is a fiduciary for all unsecured creditors. Thus, the Committee is

  granted broad statutory powers to, among other things, “investigate the acts, conduct, assets,

  liabilities, and financial condition of the debtor . . . and any other matter relevant to the case or the

  formulation of a plan.” 11 U.S.C. § 1103(c)(2). To permit the Committee to exercise its

  investigative powers, Bankruptcy Rule 2004 provides for the examination of debtors and related

  third parties. See Fed. R. Bankr. P. 2004(b). Indeed, Rule 2004 is the “basic discovery device in

  bankruptcy cases.” In re Correra, 589 B.R. 76, 108 (Bankr. N.D. Tex. 2018) (Jernigan, J.).

          67.     “The scope of a Rule 2004 examination is ‘unfettered and broad.’” Id. at 108-09

  (citations omitted); see also In re Great Lakes Comnet, Inc., 558 B.R. 194, 196 (Bankr. W.D.

  Mich. 2016) (“Without question, the scope of any examination under Fed. R. Bankr. 2004 is

  extremely broad.”). Discovery under Bankruptcy Rule 2004 includes within its scope, inter alia,

  any matter that may relate to the property and assets of the estate; the financial condition of the

  debtor; and any matter that may affect the administration of a debtor’s estate. See Fed. R. Bankr.

  R. 2004(b). Therefore, Bankruptcy Rule 2004 permits “a broad investigation into the financial

  affairs of the debtor for the purpose of the discovery of assets of the estate and the exposure of

  fraudulent conduct.” In re Correra, 589 B.R. at 108.

          68.     Given the broad purpose and effect of Bankruptcy Rule 2004, courts routinely

  permit the examination of third parties who have had dealings with the Debtor. See, e.g., id.

  (“[t]hird parties are subject to examination pursuant to Rule 2004 if they have knowledge of the

  debtor’s affairs”); In re Recoton Corp., 307 B.R. 751, 755 (Bankr. S.D.N.Y. 2004) (“Any third

  party who has a relationship with a debtor may be subject to a Rule 2004 investigation.”).

          69.     Bankruptcy Rule 2004 plainly permits the discovery the Committee seeks herein.

  The Requests and the Examination Topics are intended to provide a more complete picture of the
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  specific conduct of the Debtor, the Debtor’s principals, and the Rule 2004 Parties, and will provide

  the requisite facts needed to determine whether any potential causes of action exist and should be

  pursued. With the requested discovery, the Committee can investigate the Estate’s rights, claims,

  and remedies in connection with the Examination Topics.

         70.     Indeed, the discovery sought by the Committee “is prima facie consistent with the

  [Bankruptcy] Rule’s above-stated purpose of allowing the Committee to obtain information

  necessary to determine whether claims beneficial to the estate[] exist and whether to pursue such

  claims.” In re Recoton, 307 B.R. at 756 (granting the creditors committee’s Rule 2004 motion to

  examine debtor’s former officers and directors); see also In re Great Lakes Comnet, 558 B.R. at

  197 (granting the creditors committee’s Rule 2004 motion to examine a company to which the

  debtors had made payments, noting that “[t]he Committee, acting as the de facto estate

  representative, [wa]s seeking to understand the facts giving rise to the transactions by and among

  the Debtors, [the company], and possibly third parties in advance of any adversary proceeding”).

         71.     Importantly, permitting the requested discovery now is necessary to the

  Committee’s investigation and pursuit of potential estate claims. An order authorizing the

  requested discovery will ensure a more fulsome factual investigation in order to maximize

  recovery for the Estate. See In re Mirant Corp., 326 B.R. 354, (Bankr. N.D. Tex. 2005) (granting

  creditors committee’s Rule 2004 motion to examine the debtor’s corporate parent, noting that

  “[d]iscovery now, not later, may be critical to ensure that no viable cause of action is lost”).

         72.     Moreover, Rule 2004 discovery is proper post-confirmation where the Trustee is

  carrying out his duties under the Plan. See In re Alliance Consulting Grp., LLC, 588 B.R. 169,

  185 (Bankr. S.D. Miss. 2018) (post-confirmation, court will maintain jurisdiction of “matters

  pertaining to the implementation or execution of the plan”) (quoting In re Craig's Stores of Tex.,



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  Inc., 266 F.3d 388, 390 (5th Cir. 2001)), aff’d, 596 B.R. 851 (S.D. Miss. 2019); see also In re

  Daisytek, Inc., 323 B.R. 180 (N.D. Tex. 2005) (holding that bankruptcy court possessed

  jurisdiction to authorize post-confirmation Rule 2004 discovery “[b]ecause the claims the Trustee

  intends to prosecute deal with Daisytek’s prepetition relationship with the entities in question [and]

  the Plan contemplates the prosecution of the claims and the distribution of Daisytek’s share of any

  recovery to creditors under the Plan, and the prosecution of the claims will thus impact compliance

  with, or completion of, the Plan”); see UBS Securities, LLC, et. al. v. Highland Capital

  Management, L.P., Adv. Pro. No. 213020-SGJ, Hr. Tr. dated June 24, 2021, at 60:10-25 (THE

  COURT: [N]owhere in [Rule] 2004 is there a reference to it has to be aimed towards maximizing

  assets. … [I]t can relate to acts of the debtor, financial condition of the debtor, conduct, property.

  I mean, it’s pretty broad. And I’ve looked at this before, and I don’t think it’s limited to pre-

  confirmation.”).62

          73.      For the reasons set forth herein, an investigation into the Examination Topics is

  necessary and appropriate here. The requested discovery will provide the Committee with the

  information needed to evaluate the potential estate claims that it or the Litigation Sub Trust could

  pursue to benefit the Debtor’s creditors.

                         VII.     CONCLUSION AND REQUESTED RELIEF

          WHEREFORE, for these reasons, the Committee respectfully requests that the Court enter

  an order pursuant to Rule 2004 requiring the production of documents in a form that is substantially

  similar to Exhibits 2 through 14, authorizing the examination of the applicable Rule 2004 Parties,

  and granting such other and further relief as the Court deems just and proper.




  62
      Here, the Committee seeks to obtain information through a Rule 2004 examination to investigate the potential
  causes of action and the relationship between the Debtor and the Rule 2004 Parties.

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   Dated: July 29, 2021                      Respectfully submitted,
          Dallas, Texas
                                             SIDLEY AUSTIN LLP
                                             /s/ Paige Holden Montgomery
                                             Paige Holden Montgomery
                                             Penny P. Reid
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                                                     -and-

                                             Matthew A. Clemente (admitted pro hac vice)
                                             Dennis M. Twomey (admitted pro hac vice)
                                             Alyssa Russell (admitted pro hac vice)
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                                             Chicago, Illinois 60603
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                                             Counsel for the Official Committee of
                                             Unsecured Creditors




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                                     CERTIFICATE OF CONFERENCE

            I hereby certify that that, between July 21, 2021 and July 28, 2021, the undersigned counsel

  for the Official Committee of Unsecured Creditors conferred with counsel for the Rule 2004

  Parties of whom the Official Committee of Unsecured Creditors is aware regarding the relief

  requested in this Motion.

  Counsel for the following parties does not object to the relief sought herein:

       1.   Hunter Mountain Investment Trust
       2.   Atlas IDF, LP
       3.   Rand PE Fund I, LP
       4.   Rand Advisors
       5.   John Honis63
       6.   The Debtor

  Counsel for the following parties objects to the relief sought herein:

       7. Mark Patrick
       8. Highland Dallas Foundation

  Counsel for the following parties had not yet determined whether to object to the relief
  sought herein at the time the Motion was filed:

       9. James Dondero
       10. Isaac Leventon
       11. Scott Ellington
       12. Frank Waterhouse
       13. Jean Paul Sevilla
       14. Grant Scott
       15. NexPoint Advisors, L.P.
       16. Highland Capital Management Fund Advisors, L.P.
       17. NexPoint Strategic Opportunities Fund
       18. NexPoint Real Estate Finance, Inc.
       19. NexPoint Real Estate Capital, LLC
       20. NexPoint Residential Trust, Inc.
       21. NexPoint Hospitality Trust
       22. NexPoint Real Estate Partners, LLC
       23. NexPoint Multifamily Capital Trust, Inc.
       24. NexPoint Real Estate Advisors, L.P.

  63
     Counsel for the entities numbered 1-5 indicated they do not oppose the concept of 2004 examinations, but reserve
  the right to object to scope, time frame for production and for examinations under oath, as well as the right to lodge
  standard objections not questioning the Committee’s ability to seek 2004 examinations.

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     25. NexPoint Real Estate Advisors II, L.P.
     26. NexPoint Real Estate Advisors III, L.P.
     27. NexPoint Real Estate Advisors IV, L.P.
     28. NexPoint Real Estate Advisors V, L.P.
     29. NexPoint Real Estate Advisors VI, L.P.
     30. NexPoint Real Estate Advisors VII, L.P.
     31. NexPoint Real Estate Advisors VIII, L.P.
     32. VineBrook Homes Trust, Inc.
     33. The Dugaboy Investment Trust
     34. The Get Good Trust
     35. The U.S. Trustee


                                                        /s/ Chandler Rognes
                                                        Chandler Rognes
                                                        Counsel For the Official
                                                        Committee of Unsecured Creditors



                                   CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the above and foregoing document was sent

  via electronic mail via the Court’s ECF system to all parties authorized to receive electronic notice

  in this case on July 29, 2021. For those Rule 2004 Parties who, to the Official Committee of

  Unsecured Creditors’ knowledge, are unrepresented, the Official Committee of Unsecured

  Creditors shall serve the Motion in a manner provided by Bankruptcy Rule 7004 and will

  subsequently file certificates of service evidencing such service.


                                                        /s/ Chandler Rognes
                                                        Chandler Rognes
                                                        Counsel For the Official
                                                        Committee of Unsecured Creditors




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                                    EXHIBIT 1
                                  Proposed Order




  270872071v.1



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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

                                                               )
       In re:                                                  )     Chapter 11
                                                               )
       HIGHLAND CAPITAL MANAGEMENT,                            )     Case No. 19-34054-sgj11
       L.P., 1                                                 )
                Debtor.                                        )
                                                               )
                                                               )

         ORDER GRANTING THE MOTION OF THE OFFICIAL COMMITTEE OF
      UNSECURED CREDITORS AND THE LITIGATION ADVISOR FOR ENTRY OF AN
      ORDER AUTHORIZING THE EXAMINATION OF RULE 2004 PARTIES PURSUANT
        TO RULE 2004 OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE

            Upon the consideration of the Motion of the Official Committee of Unsecured Creditors

  and the Litigation Advisor for Entry of an Order Authorizing the Examination of Rule 2004 Parties



  1
           The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
  address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.


  270872071v.1



                                                                                                                          APP 1021
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  Pursuant to Rule 2004 of the Federal Rules of Bankruptcy Procedure (the “Motion”), it is hereby

  ORDERED that:

                      1.       The Rule 2004 Motion2 is GRANTED as set forth herein.

                      2.       The Rule 2004 Parties are directed to produce documents, communications,

  and other materials responsive to the Requests substantially in the forms attached as Exhibits 2

  through 14 to the Motion no later than twenty-one (21) days after service thereof.

                      3.       The Committee is authorized, pursuant to Bankruptcy Rule 9016, to issue

  subpoenas for the Requests and attendance for the oral examinations on the Examination Topics

  as may be necessary.

                      4.       This Court shall retain exclusive jurisdiction with respect to all matters

  arising from or related to the implementation, interpretation, and enforcement of this Order.

                                               # # # End of Order # # #




  2
      Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Motion.



  270872071v.1



                                                                                                               APP 1022
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                                       EXHIBIT 2
             Requests for Production of Documents to the Acis Dispute Parties




                                            1

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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

                                                                  )
                                                                  )
      In re:                                                      ) Chapter 11
                                                                  )
      HIGHLAND CAPITAL MANAGEMENT, L.P.,1                         ) Case No. 19-34054-sgj11
                                                                  )
                                       Debtor.



                        REQUESTS FOR PRODUCTION OF DOCUMENTS TO
                                   ACIS DISPUTE PARTIES

               Please take notice that, pursuant to Rule 2004 of the Federal Rules of Bankruptcy

  Procedure, the Official Committee of Unsecured Creditors in the above captioned bankruptcy case

  (the “Committee”), along with Teneo Capital LLC, in its capacity as litigation advisor to the

  Committee (the “Litigation Advisor”), hereby serves the following requests for production of

  documents or categories of documents to Highland CLO Holdings, Ltd., Highland CLO

  Management, Ltd., Mark Okada, Jean Paul Sevilla, and James Dondero to be produced to the

  Committee in accordance with the Definitions and Instructions below (“Request(s)”).

                                                  DEFINITIONS

               1.    “Acis” means Acis Capital Management, L.P. and Acis Capital Management GP,

  LLP, and any direct or indirect predecessors or successors in interest, parents, subsidiaries or

  affiliates of any of them, and any and all officers, directors, employees, representatives, agents,

  advisors, attorneys, and all other persons and entities acting or purporting to act on behalf of any

  of the foregoing.



  1
   The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
  for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.



                                                           2

                                                                                                                          APP 1024
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           2.    “Acis Bankruptcy” means the title 7 involuntary bankruptcy petitions for Acis filed

  by Terry on January 30, 2018, styled as In re: Acis Capital Management, LP, No. 18–30264–SGJ–

  7 (Jan. 30, 2018) and In re: Acis Capital Management GP, L.L.C., No. 18–30265–SGJ–7 (Jan. 30,

  2018).

           3.    “Acis Proof of Claim” means Proof of Claim Number 23 filed by Acis on December

  31, 2019 for which Acis received a $23 million allowed claim against the Debtor.

           4.    “Communication(s)” means any written or oral communication of any kind or

  character, including, by way of example and without limitation, e-mails, instant messages, text

  messages, voicemail or voice messages, audio recordings, personal conversations, telephone

  conversations, letters, meetings, memoranda, telegraphic and telex communications or transmittals

  of Documents, whether such communication was sent, received, or created, in final or in draft, and

  all Documents concerning or memorializing such written or oral communications.

           5.    “Concerning” means consisting of, reflecting, referring to, regarding, related to,

  involving, evidencing, constituting, or having any legal, logical, evidential, or factual connection

  with (whether to support or rebut) the subject matter designated in any of these Requests. A request

  for Documents “concerning” a specified subject matter always shall include Communications,

  notes, and memoranda (whenever prepared) relating to the subject matter of the request.

           6.    “Debtor” means the Highland Capital Management, L.P., the Debtor in the above-

  captioned case, and any direct or indirect predecessors or successors in interest, parents,

  subsidiaries or affiliates of any of them, and any and all officers, directors, employees,

  representatives, agents, advisors attorneys, and all other persons and entities acting or purporting

  to act on behalf of any of the foregoing.




                                                   3

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         7.      “Document(s)” means, without limitation, the original and all copies, prior drafts,

  and translation of information in any written, typed, printed, recorded or graphic form, however

  produced or reproduced, of any type or description, regardless of origin or location, including

  without limitation, all Electronically Stored Information, Communications, records, tables, charts,

  analyses, graphs, schedules, reports, memoranda, notes, lists, calendar and diary entries, letters

  (sent or received), contracts, statements, bills, checks, vouchers, video tapes, photographs, tape

  recordings, other mechanical records, transcripts or logs of any such recordings, and all other data

  compilations from which information can be obtained. The term “Document(s)” is intended to be

  at least as broad in meaning and scope as the usage of the term in or pursuant to the Federal Rules

  of Civil Procedure.

         8.      “Dondero” means James Dondero and all entities under his control.

         9.      “HCLOF” means Highland CLO Funding, Ltd., formerly known as Acis Loan

  Funding, Ltd., any direct or indirect predecessors or successors in interest, parents, subsidiaries or

  affiliates of any of them, and any and all officers, trustees, directors, employees, representatives,

  agents, advisors, attorneys, and all other persons and entities acting or purporting to act on behalf

  of any of the foregoing.

         10.     “HCLOH” means Highland CLO Holdings, Ltd., and any direct or indirect

  predecessors or successors in interest, parents, subsidiaries or affiliates of any of them, and any

  and all officers, directors, employees, representatives, agents, advisors, attorneys, and all other

  persons and entities acting or purporting to act on behalf of any of the foregoing.

         11.     “HCLOM” means Highland CLO Management, Ltd., and any direct or indirect

  predecessors or successors in interest, parents, subsidiaries or affiliates of any of them, and any




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  and all officers, directors, employees, representatives, agents, advisors, attorneys, and all other

  persons and entities acting or purporting to act on behalf of any of the foregoing.

         12.     “Highland Advisor” means Highland HCF Advisor, Ltd., and any direct or indirect

  predecessors or successors in interest, parents, subsidiaries or affiliates of any of them, and any

  and all officers, directors, employees, representatives, agents, advisors, attorneys, and all other

  persons and entities acting or purporting to act on behalf of any of the foregoing.

         13.     “Identify” means to state, to the extent known (or, if not know, to so state,) the (i)

  type of Document; (ii) general subject matter; (iii) date of the Document; and (iv) author(s),

  addressee(s), and recipient(s).

         14.     “Individual Highland Parties” means James Dondero, Scott Ellington, Isaac

  Leventon, Frank Waterhouse, Mark Patrick, Mark Okada, John Holt, Grant Scott, Mary Jalonick,

  Katie Irving, Jean Paul Sevilla, Lauren Thedford, Stephanie Vitiello, Trey Parker, John Honis,

  Nancy Dondero, Dana Scott Breault, Gianna Cerullo, Matt DiOrio, Melissa Schroth, Tara Loiben,

  Dilip Massand, Marcia Ellington Maslow, Jason Post, Eric Holt, Cyrus Eftekhari, Jason Rothstein,

  and Sanjay Kamlani, as well as any other former Debtor employees acting at the direction of

  Dondero.

         15.     “Note” means any promissory note or other debt instrument.

         16.     “Okada” means Mark Okada and any entities under his direct or indirect control.

         17.     “Petition Date” means October 16, 2019.

         18.     “Related Entity” means any current or former insider of the Debtor, the Dugaboy

  Investment Trust, Charitable DAF Holdco, Ltd, Hunter Mountain Investment Trust, NexBank

  Capital, Inc., Strand Advisors XVI, Inc., Highland Capital Management Fund Advisors, L.P.,

  NexAnnuity Holdings, Inc., the entities listed on Annex 1 attached to Exhibit DD of the Debtor’s




                                                   5

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  Notice of Filing of Plan Supplement to the Fifth Amended Plan of Reorganization of Highland

  Capital Management, L.P. (as Modified) [Docket No. 1875], and any entity directly or indirectly

  owned, controlled or operated for the benefit of Dondero, Okada, Grant Scott, John Honis, any

  current or former employee of the Debtor, or any of the foregoing persons or entities.

           19.      “Relating to” means consisting of, reflecting, referring to, regarding, concerning,

  involving, evidencing, constituting, or having any legal, logical, evidential, or factual contention

  with (whether to support or to rebut) the subject matter designated in any of these Requests. A

  request for Documents “relating to”2 a specified subject matter always shall include

  Communications, notes and memoranda (whenever prepared) relating to the subject matter of the

  request.

           20.      “Sevilla” means Jean Paul Sevilla and any entities under his direct or indirect

  control.

           21.      “Terry” means Joshua Terry, former employee of the Debtor.

           22.      “You” or “Your” means the entity or person responding to these Requests, and, if

  an entity, any direct or indirect predecessors or successors in interest, parents, subsidiaries or

  affiliates of any of any such entity, and any and all partners, officers, directors, shareholders,

  members, employees, representatives, agents, advisors attorneys, and all other persons and entities

  acting or purporting to act on behalf of any of the foregoing.

                                                 INSTRUCTIONS

           1.       Unless otherwise indicated, all Documents shall be produced for the relevant time

  period, which shall be the five years before the Petition Date until the date of service of these




  2
   For clarity, the phrase “relating to” shall have the meaning ascribed herein this section regardless of whether such
  phrase is capitalized.


                                                            6

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  Requests, including any Documents having an earlier origin, if in use during the relevant time

  period.

            2.   The obligation to produce Documents responsive to these Requests shall be

  continuing in nature, and a producing party is required promptly to produce any Documents

  requested herein that it locates or obtains after responding to these Requests, up to the conclusion

  of the above-captioned Chapter 11 Cases.

            3.   You are requested to produce not only those Documents in Your physical

  possession, but also those documents within Your custody and control, including, without

  limitation, Documents in the possession of Your agents, employees, affiliates, advisors, or

  consultants and any other person or entity acting on Your behalf.

            4.   If You have no Documents responsive to a particular Request, or if for some other

  reason You are unable to produce responsive Documents, Your response to that Request should

  specifically so state. Accordingly, You should respond to each and every Request herein. If You

  have certain Documents that are responsive to a Request, but believe that additional Documents

  not now available to You would also be responsive, You should provide the Documents You now

  have and specifically state when the remainder of the Documents will be provided.

            5.   These Requests, only to the extent they are directed to Dondero, should be read to

  exclude documents relating specifically to the transactions on December 28, 2016 between the

  Debtor, CLO Holdco, Ltd., Charitable DAF Holdco, Ltd., Charitable DAF Fund, LP, Highland

  Dallas Foundation, Inc., the Dugaboy Investment Trust, and the Get Good Nonexempt Trust,

  whereby the Debtor received a 97.6835% interest in a promissory note held by the Get Good

  Nonexempt Trust in exchange for participation interests and stock options that ultimately were

  transferred to CLO Holdco, Ltd., as set forth in detail in paragraphs 30-60 the Committee's




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  complaint brought in the adversary proceeding captioned Official Committee of Unsecured

  Creditors v. CLO Holdco, Ltd. et. al, Adversary No. 20-03195, [Docket No. 6] (the “CLO Holdco

  Transaction”). For avoidance of doubt, the Committee is not seeking discovery from Dondero

  relating to the CLO Holdco Transaction. If Documents or Communications are withheld from

  production because they relate to the CLO Holdco Transaction, the Committee requests that You

  so indicate in any responses to these Requests.

         6.      Where an objection is made to any Document request, the objection shall state with

  specificity all grounds for the objection.

         7.      Where a claim of privilege is asserted in objecting to the production of any

  Document and a Document called for by these Requests is withheld on the basis of such assertion,

  the objecting party shall identify the nature of the privilege (including work product) that is being

  claimed and, if the privilege is governed by state law, indicate the state’s privilege being invoked.

  In addition, the objecting party shall provide the following information with respect to any

  Document so withheld: (i) the type of Document, e.g. letter or memorandum; (ii) the general

  subject matter of the Document; (iii) the date of the Document; (iv) such other information as is

  sufficient to identify the Document for a subpoena duces tecum, including, where appropriate, the

  author of the Document, the addressees of the Document, and any other recipients shown in the

  Document, and, where not apparent, the relationship of the author, addresses, and recipients to

  each other.

         8.      In the event that a requested Document has been lost, destroyed, discarded and/or

  otherwise disposed of; You will identify the Document by identifying: (i) its author or preparer;

  (ii) all persons to whom distributed or shown; (iii) date; (iv) subject matter; (v) attachments or

  appendices; (vi) date, manner, and reason for destruction or other disposition; (vii) person




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  authorizing destruction or other disposition; (viii) the Document request or requests to which the

  Document is responsive.

         9.      Produce all responsive Documents as they are kept in the usual course of business,

  or organize and label them to correspond with the request to which they are responsive. With

  respect to Electronically Stored Information (“ESI”), corresponding metadata shall be produced to

  the extent that the requested metadata exits and can be extracted using standard processing tools.

         10.     With respect to ESI, the producing party shall confer with the Committee to develop

  parameters, including custodians and search terms, to identify responsive Documents.

                                      DOCUMENTS REQUESTED

         1.      Any and all Documents or Communications produced by any party in the Acis

  Bankruptcy.

         2.      Any and all Documents or Communications relating to the relationship between

  You, the Debtor, HCLOF, HCLOH, HCLOM, Highland Advisor, and/or Acis, including any

  shared service agreement, advisory agreement, sub-advisory agreement, management agreement,

  buy-sell agreement, note, loan, payment obligation, or other contract or arrangement of any kind

  involving any of You, the Debtor, and/or Acis.

         3.      Any and all Documents or Communications relating to the level of control

  exercised by the Debtor, Acis, HCLOF, HCLOH, HCLOM, Highland Advisor, or a Related Entity

  over You, if any.

         4.      Any and all Documents or Communications relating to the formation, ownership

  (whether direct, indirect, beneficial, or other), and management of HCLOF, HCLOH, HCLOM,

  Highland Advisor, and/or Acis, including, without limitation, governance documents, corporate

  formation documents, certificates of incorporation, bylaws, shareholder agreements, operating




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  agreements, partnership agreements, and any business, tax, or other purpose or motivation for their

  creation.

         5.      Any and all Documents or Communications reflecting or relating to any

  transaction, transfer, payment, distribution, donation, or the remittance of anything of value

  between or among any of You, the Debtor, Acis, HCLOF, HCLOH, HCLOM, Highland Advisor,

  or another Related Entity, other than in connection with the CLO Holdco Transaction, including,

  without limitation, the business purpose for the transaction, transfer, payment, distribution,

  donations, or remittance of anything of value and the negotiations of the terms of the transfer,

  payment, distribution, donations, or remittance of anything of value.

         6.      Any and all Documents or Communications relating to the value of any assets or

  liabilities involved in any transaction, transfer, payment, distribution, donations, or remittance of

  anything of value described in Request 5, including without limitation any valuations, fairness

  opinions, or neutral third-party assessments of the transactions.

         7.      Any and all Documents or Communications relating to any tax implications to Acis,

  the Debtor, HCLOF, HCLOH, HCLOM, Highland Advisor, or any Related Entity related to any

  transaction, transfer, payment, distribution, donation, or the remittance of anything of value

  described in Request 5.

         8.      Any and all Documents or Communications relating to the relationship between or

  among Dondero, HCLOF, HCLOH, HCLOM, Highland Advisor, and Acis, including, without

  limitation, any title or position held by Dondero at Acis, and compensation or payments received

  by Dondero, directly or indirectly, from HCLOF, HCLOH, HCLOM, Highland Advisor, and Acis

  or the Debtor, or received by Dondero, directly or indirectly, from the Debtor related to the title or




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  position held at any of HCLOF, HCLOH, HCLOM, Highland Advisor, and Acis or the Debtor,

  and the time periods such titles or positions were held.

         9.      Any and all Documents or Communications related to the relationship between or

  among Okada, HCLOF, HCLOH, HCLOM, Highland Advisor, and Acis, including, without

  limitation, any title or position held by Okada at Acis, and compensation or payments received by

  Okada, directly or indirectly, from HCLOF, HCLOH, HCLOM, Highland Advisor, and Acis or

  the Debtor, or received by Okada, directly or indirectly, from the Debtor related to the title or

  position held at any of HCLOF, HCLOH, HCLOM, Highland Advisor, and Acis or the Debtor,

  and the time periods such titles or positions were held.

         10.     Any and all Documents or Communications relating to the relationship between or

  among the Debtor and HCLOF, HCLOH, HCLOM, Highland Advisor, or Acis, including, without

  limitation, any compensation or payment made by the Debtor to any HCLOF, HCLOH, HCLOM,

  Highland Advisor, or Acis employees, including any bonus payments.

         11.     Any and all Documents or Communications related to Dondero, Okada, Sevilla, or

  any other current or former employee of the Debtor’s involvement with the Acis Bankruptcy, Acis

  Proof of Claim, and any other arbitration or litigation involving the Debtor and Acis.

         12.     Any and all Documents or Communications relating to the Acis Bankruptcy,

  including, without limitation, any and all Documents or Communications relating to any adversary

  proceeding that occurred during the Acis Bankruptcy, the facts and circumstances that precipitated

  the Acis Bankruptcy, and subsequent actions or transfers of assets, liabilities, or Notes by You, the

  Debtor, Acis, HCLOF, HCLOH, HCLOM, Highland Advisor, or any Related Entity that resulted

  in value leaving the Debtor.

         13.     Any and all Documents or Communications relating to the Acis Proof of Claim.




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          14.    Any and all Documents or Communications relating to the involvement of

  Dondero, or any Debtor employee, agent, or consultant, including without limitation any

  Individual Highland Party, or any employee, agent, or consultant of any Related Entity in any of

  the actions or transactions giving rise to the claims held by Acis.

          15.    Any and all Documents or Communications reflecting the persons or entities

  involved in the decision making for the actions or transactions giving rise to the claims held by

  Acis.

          16.    Any and all Documents or Communications relating to the fiduciary duties of

  Dondero, Okada, or any Debtor or Related Entity’s employee, agent, or consultant involved in

  any of the acts, omissions, or transactions set forth in the Acis Proof of Claim.

          17.    Any and all Documents or Communications relating to any Note or other obligation

  between or among the Debtor, Acis, HCLOF, HCLOH, HCLOM, Highland Advisor, or any

  Related Entity, other than in connection with the CLO Holdco Transaction, including, without

  limitation, any and all Documents or Communications related to the value received or value given

  for any such Note.

          18.    Any and all Documents or Communications relating to any Note or other payment

  obligation between or among Acis and the Debtor, HCLOF, HCLOH, HCLOM, Highland Advisor,

  or any Related Entity, other than in connection with the CLO Holdco Transaction, including,

  without limitation, any and all Documents or Communications related to the value received or

  value given for any such Note.

          19.    Any and all Documents or Communications relating to the determination of and

  any basis or purposes for the principal amounts, interest rates, and payment schedules of any Note

  or obligation described in Requests 17 and 18 including, without limitation, the negotiations




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  related to the terms of the Note and any valuation, fairness opinion, or neutral third-party

  assessment of the terms of the Note.

          20.    Any and all Documents or Communications relating to any payments or

  distributions made or received pursuant to the terms of any Note or obligation described in

  Requests 17 and 18.

          21.    Any and all Documents or Communications relating to any agreement or contract

  entered into by You and the Debtor, Acis, HCLOF, HCLOH, HCLOM, Highland Advisor, or any

  Related Entity in regards to any Note or obligation referenced in Requests 17 and 18, including,

  without limitation, any guaranty agreements related to any Note or obligation.

          22.    Any and all Documents or Communications relating to litigation or arbitration

  arising out of the Acis Bankruptcy, involving or between Acis, the Debtor, HCLOF, HCLOH,

  HCLOM, Highland Advisor, or any Related Entity, including, without limitation, any and all

  Documents or Communications relating to objections or appeals of the Acis Bankruptcy plan, or

  the transfer of ownership of any assets, liabilities, or Notes following any such litigation or

  arbitration.

          23.    Any and all Documents or Communications relating to any minutes, resolutions,

  written consents, or other materials related to the governance of Acis, HCLOF, HCLOH, HCLOM,

  Highland Advisor, or any Related Entity, including without limitation, codes of conduct, board

  packets or other materials shared with members, officers, directors, or shareholders.

          24.    Any and all Documents or Communications relating to Your policy or practice for

  document retention.




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                                                                                                     APP 1035
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                                       EXHIBIT 3
         Requests for Production of Documents to the HarbourVest Dispute Parties




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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

                                                                  )
                                                                  )
      In re:                                                      ) Chapter 11
                                                                  )
      HIGHLAND CAPITAL MANAGEMENT, L.P.,1                         ) Case No. 19-34054-sgj11
                                                                  )
                                       Debtor.



                        REQUESTS FOR PRODUCTION OF DOCUMENTS TO
                            THE HARBOURVEST DISPUTE PARTIES

               Please take notice that, pursuant to Rule 2004 of the Federal Rules of Bankruptcy

  Procedure, the Official Committee of Unsecured Creditors in the above captioned bankruptcy case

  (the “Committee”), along with Teneo Capital LLC, in its capacity as litigation advisor to the

  Committee (the “Litigation Advisor”), hereby serves the following requests for production of

  documents or categories of documents to James Dondero, Scott Ellington, Isaac Leventon, Mark

  Okada, and Mark Patrick to be produced to the Committee in accordance with the Definitions and

  Instructions below (“Request(s)”).

                                                  DEFINITIONS

               1.    “Communication(s)” means any written or oral communication of any kind or

  character, including, by way of example and without limitation, e-mails, instant messages, text

  messages, voicemail or voice messages, audio recordings, personal conversations, telephone

  conversations, letters, meetings, memoranda, telegraphic and telex communications or transmittals




  1
   The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
  for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.



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  of Documents, whether such communication was sent, received, or created, in final or in draft, and

  all Documents concerning or memorializing such written or oral communications.

         2.      “Concerning” means consisting of, reflecting, referring to, regarding, related to,

  involving, evidencing, constituting, or having any legal, logical, evidential, or factual connection

  with (whether to support or rebut) the subject matter designated in any of these Requests. A request

  for Documents “concerning” a specified subject matter always shall include Communications,

  notes, and memoranda (whenever prepared) relating to the subject matter of the request.

         3.      “Debtor” means the Highland Capital Management, L.P., the Debtor in the above-

  captioned case, and any direct or indirect predecessors or successors in interest, parents,

  subsidiaries or affiliates of any of them, and any and all officers, directors, employees,

  representatives, agents, advisors attorneys, and all other persons and entities acting or purporting

  to act on behalf of any of the foregoing.

         4.      “Document(s)” means, without limitation, the original and all copies, prior drafts,

  and translation of information in any written, typed, printed, recorded or graphic form, however

  produced or reproduced, of any type or description, regardless of origin or location, including

  without limitation, all Electronically Stored Information, Communications, records, tables, charts,

  analyses, graphs, schedules, reports, memoranda, notes, lists, calendar and diary entries, letters

  (sent or received), contracts, statements, bills, checks, vouchers, video tapes, photographs, tape

  recordings, other mechanical records, transcripts or logs of any such recordings, and all other data

  compilations from which information can be obtained. The term “Document(s)” is intended to be

  at least as broad in meaning and scope as the usage of the term in or pursuant to the Federal Rules

  of Civil Procedure.




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         5.      “Dondero” means James Dondero and all entities under his direct or indirect

  control.

         6.      “HarbourVest Entities” means HarbourVest 2017 Global AIF L.P., HarbourVest

  2017 Global Fund L.P., HarbourVest Dover Street IX Investment L.P. HarbourVest Partners L.P.,

  HarbourVest Skew Base AIF L.P., HV International VIII Secondary L.P., and any direct or indirect

  predecessors or successors in interest, parents, subsidiaries or affiliates of any of them, and any

  and all officers, trustees, directors, employees, representatives, agents, advisors, attorneys, and all

  other persons and entities acting or purporting to act on behalf of any of the foregoing.

         7.      “HarbourVest Proofs of Claims” means Claim Numbers 143, 147, 149, 150, and

  154 filed by HarbourVest in the above-captioned bankruptcy.

         8.       “HCLOF” means Highland CLO Funding, Ltd., formerly known as Acis Loan

  Funding, Ltd., and any direct or indirect predecessors or successors in interest, parents, subsidiaries

  or affiliates of any of them, and any and all officers, directors, employees, representatives, agents,

  advisors attorneys, and all other persons and entities acting or purporting to act on behalf of any

  of the foregoing.

         9.      “HCLOF Investment” means the November 15, 2017 transaction whereby

  HarbourVest obtained a 49% interest in HCLOF for $80 million.

         10.     “HCLOF Party(ies)” means HCLOF and HCF Advisor.

         11.     “HCF Advisor” means Highland HCF Advisor, Ltd. and any direct or indirect

  predecessors or successors in interest, parents, subsidiaries or affiliates of any of them, and any

  and all officers, directors, employees, representatives, agents, advisors attorneys, and all other

  persons and entities acting or purporting to act on behalf of any of the foregoing.




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         12.     “Identify” means to state, to the extent known (or, if not know, to so state), the (i)

  type of Document; (ii) general subject matter; (iii) date of the Document; and (iv) author(s),

  addressee(s), and recipient(s).

         13.     “Individual Highland Parties” means James Dondero, Scott Ellington, Isaac

  Leventon, Frank Waterhouse, Mark Patrick, Mark Okada, John Holt, Grant Scott, Mary Jalonick,

  Katie Irving, Jean Paul Sevilla, Lauren Thedford, Stephanie Vitiello, Trey Parker, John Honis,

  Nancy Dondero, Dana Scott Breault, Gianna Cerullo, Matt DiOrio, Melissa Schroth, Tara Loiben,

  Dilip Massand, Marcia Ellington Maslow, Jason Post, Eric Holt, Cyrus Eftekhari, Jason Rothstein,

  and Sanjay Kamlani, as well as any other former Debtor employees acting at the direction of

  Dondero.

         14.     “Petition Date” means October 16, 2019.

         15.     “Related Entity” means any current or former insider of the Debtor, the Dugaboy

  Investment Trust, Charitable DAF Holdco, Ltd, Hunter Mountain Investment Trust, NexBank

  Capital, Strand Advisors XVI, Inc., Highland Capital Management Fund Advisors, L.P.,

  NexAnnuity Holdings, Inc., the entities listed on Annex 1 attached to Exhibit DD of the Debtor’s

  Notice of Filing of Plan Supplement to the Fifth Amended Plan of Reorganization of Highland

  Capital Management, L.P. (as Modified) [Docket No. 1875], and any entity directly or indirectly

  owned, controlled or operated for the benefit of Dondero, Okada, Scott, John Honis, any current

  or former employee of the Debtor, or any of the foregoing persons or entities.

         16.     “Relating to” means consisting of, reflecting, referring to, regarding, concerning,

  involving, evidencing, constituting, or having any legal, logical, evidential, or factual contention

  with (whether to support or to rebut) the subject matter designated in any of these Requests. A




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  request for Documents “relating to”2 a specified subject matter always shall include

  Communications, notes and memoranda (whenever prepared) relating to the subject matter of the

  request.

            17.     “Terry” means Joshua Terry, former employee of the Debtor.

            18.     “You” or “Your” means the entity or person responding to these Requests, and, if

  an entity, any direct or indirect predecessors or successors in interest, parents, subsidiaries or

  affiliates of any of any such entity, and any and all partners, officers, directors, shareholders,

  members, employees, representatives, agents, advisors attorneys, and all other persons and entities

  acting or purporting to act on behalf of any of the foregoing.

                                                 INSTRUCTIONS

            1.      Unless otherwise indicated, all Documents shall be produced for the relevant time

  period, which shall be the five years before the Petition Date until the date of service of these

  Requests, including any Documents having an earlier origin, if in use during the relevant time

  period.

            2.      The obligation to produce Documents responsive to these Requests shall be

  continuing in nature, and a producing party is required promptly to produce any Documents

  requested herein that it locates or obtains after responding to these Requests, up to the conclusion

  of the above-captioned Chapter 11 Cases.

            3.      You are requested to produce not only those Documents in Your physical

  possession, but also those documents within Your custody and control, including without

  limitation, Documents in the possession of Your agents, employees, affiliates, advisors, or

  consultants and any other person or entity acting on Your behalf.


  2
   For clarity, the phrase “relating to” shall have the meaning ascribed herein this section regardless of whether such
  phrase is capitalized.


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         4.      If You have no Documents responsive to a particular Request, or if for some other

  reason You are unable to produce responsive Documents, Your response to that Request should

  specifically so state. Accordingly, You should respond to each and every Request herein. If You

  have certain Documents that are responsive to a Request, but believe that additional Documents

  not now available to You would also be responsive, You should provide the Documents You now

  have and specifically state when the remainder of the Documents will be provided.

         5.      These Requests, only to the extent they are directed to Dondero, should be read to

  exclude documents relating specifically to the transactions on December 28, 2016 between the

  Debtor, CLO Holdco, Ltd., Charitable DAF Holdco, Ltd., Charitable DAF Fund, LP, Highland

  Dallas Foundation, Inc., the Dugaboy Investment Trust, and the Get Good Nonexempt Trust,

  whereby the Debtor received a 97.6835% interest in a promissory note held by the Get Good

  Nonexempt Trust in exchange for participation interests and stock options that ultimately were

  transferred to CLO Holdco, Ltd., as set forth in detail in paragraphs 30-60 the Committee's

  complaint brought in the adversary proceeding captioned Official Committee of Unsecured

  Creditors v. CLO Holdco, Ltd. et. al, Adversary No. 20-03195, [Docket No. 6] (the “CLO Holdco

  Transaction”). For avoidance of doubt, the Committee is not seeking discovery from Dondero

  relating to the CLO Holdco Transaction. If Documents or Communications are withheld from

  production because they relate to the CLO Holdco Transaction, the Committee requests that You

  so indicate in any responses to these Requests.

         6.      Where an objection is made to any Request, the objection shall state with specificity

  all grounds for the objection.

         7.      Where a claim of privilege is asserted in objecting to the production of any

  Document and a Document called for by these Requests is withheld on the basis of such assertion,




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  the objecting party shall identify the nature of the privilege (including work product) that is being

  claimed and, if the privilege is governed by state law, indicate the state’s privilege being invoked.

  In addition, the objecting party shall provide the following information with respect to any

  Document so withheld: (i) the type of Document, e.g. letter or memorandum; (ii) the general

  subject matter of the Document; (iii) the date of the Document; (iv) such other information as is

  sufficient to identify the Document for a subpoena duces tecum, including, where appropriate, the

  author of the Document, the addressees of the Document, and any other recipients shown in the

  Document, and, where not apparent, the relationship of the author, addresses, and recipients to

  each other.

         8.      In the event that a requested Document has been lost, destroyed, discarded and/or

  otherwise disposed of; You will identify the Document by identifying: (i) its author or preparer;

  (ii) all persons to whom distributed or shown; (iii) date; (iv) subject matter; (v) attachments or

  appendices; (vi) date, manner, and reason for destruction or other disposition; (vii) person

  authorizing destruction or other disposition; (viii) the Document request or requests to which the

  Document is responsive.

         9.      Produce all responsive Documents as they are kept in the usual course of business,

  or organize and label them to correspond with the request to which they are responsive. With

  respect to Electronically Stored Information (“ESI”), corresponding metadata shall be produced to

  the extent that the requested metadata exits and can be extracted using standard processing tools.

         10.     With respect to ESI, the producing party shall confer with the Committee to develop

  parameters, including custodians and search terms, to identify responsive Documents.

                                   DOCUMENTS REQUESTED

         1.      Any and all Documents or Communications relating to the formation, ownership

  (whether direct, indirect, beneficial or other), and management of any HCLOF Party, including


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  without limitation, governance documents, corporate formation documents, certificates of

  incorporation, bylaws, shareholder agreements, operating agreements, partnership agreements,

  and any business, tax, or other purpose or motivation for their creation.

         2.      Any and all Documents or Communications relating to the HCLOF Investment.

         3.      Any and all Documents or communications relating to the involvement of You,

  Dondero, any Individual Highland Party, or any other current or former employee of the Debtor

  or any Related Entity with the HCLOF Investment.

         4.      Any and all Documents or Communications relating to the settlement of the

  HarbourVest Proofs of Claim between the Debtor and any HarbourVest Entity.

         5.      Any and all Documents or Communications relating to the involvement of You,

  Dondero, or any employee of the Debtor or a Related Entity, including without limitation, any

  Individual Highland Parties, in any of the actions, conduct, or transactions giving rise to the

  HarbourVest Proofs of Claim, including without limitation, any alleged omissions or

  misrepresentations made by Dondero or such employees related to the HCLOF Investment.

         6.      Any and all Documents or Communications relating to the conduct alleged in the

  HarbourVest Proofs of Claim, including without limitation, the conduct and circumstances

  supporting the HarbourVest Entities’ claims for fraud, fraudulent inducement, fraudulent

  concealment, fraudulent misrepresentation, negligent misrepresentation, breach of fiduciary duty,

  violations of state securities laws, and violations of the Racketeer Influenced Corrupt Organization

  Act.

         7.      Any and all Documents or Communications relating to the HarbourVest Entities’

  claims that the Debtor failed to disclose that it never intended to pay its $8 million arbitration

  award obtained by Terry.




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         8.      Any and all Documents or Communications relating to due diligence provided to

  or described to any of the HarbourVest Entities by You in connection with to the HCLOF

  Investment.

         9.      Any and all Documents or Communications relating to the Debtor’s reasons for

  changing the portfolio manager for HCLOF immediately before the HCLOF Investment.

         10.     Any and all Documents or Communications relating to the HarbourVest Entities’

  claim that the Debtor indicated the dispute with Terry would not impact investment activities.

         11.     Any and all Documents or Communications relating to the HarbourVest Entities’

  claim that the Debtor expressed confidence in the ability of HCLOF to reset or redeem the

  collateralized loan obligations under its control.

         12.     Any and all Documents or Communications relating to the relationship between or

  among (1) any of the HCLOF Parties and (2) the Debtor or any Related Entity, including without

  limitation any shared service agreement, advisory agreement, sub-advisory agreement,

  management agreement, buy-sell agreement, note, loan, payment obligation, or other contract or

  arrangement of any kind involving HCLOF and the Debtor.

         13.     Any and all Documents or Communications relating to shared employees, agents,

  or consultants between or among (1) any of the HCLOF Parties and (2) the Debtor or any Related

  Entity, including without limitation, any compensation or payments made, including any bonus

  payments or payments to affiliated entities or family members of such employees.




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                                       EXHIBIT 4
             Requests for Production of Documents to the UBS Dispute Parties




                                           1

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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

                                                                  )
                                                                  )
      In re:                                                      ) Chapter 11
                                                                  )
      HIGHLAND CAPITAL MANAGEMENT, L.P.,1                         ) Case No. 19-34054-sgj11
                                                                  )
                                       Debtor.



                        REQUESTS FOR PRODUCTION OF DOCUMENTS TO
                                 THE UBS DISPUTE PARTIES

               Please take notice that, pursuant to Rule 2004 of the Federal Rules of Bankruptcy

  Procedure, the Official Committee of Unsecured Creditors in the above captioned bankruptcy case

  (the “Committee”), along with Teneo Capital LLC, in its capacity as litigation advisor to the

  Committee (the “Litigation Advisor”), hereby serves the following requests for production of

  documents or categories of documents to Sentinel Reinsurance, Ltd., Sentinel Re Holdings, Ltd.,

  SAS Asset Recovery Ltd., SAS Holdings SPV Ltd., SAS Litigation Management, L.P., SAS Loan

  Services Ltd., Governance Re, Ltd., James Dondero, Scott Ellington, Isaac Leventon, and Mark

  Patrick to be produced to the Committee in accordance with the Definitions and Instructions below

  (“Request(s)”).

                                                  DEFINITIONS

               1.    “CDO Fund Assets” means assets held by Highland CDO Opportunity Master

  Fund, L.P. related to Greenbriar CLO Ltd., Greenbriar CLO Corp., Aberdeen Loan Funding Ltd.,

  Eastland CLO Ltd., Grayson CLO Ltd., Valhalla CLO Ltd., and Governance Re.



  1
   The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
  for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.



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         2.      “Communication(s)” means any written or oral communication of any kind or

  character, including, by way of example and without limitation, e-mails, instant messages, text

  messages, voicemail or voice messages, audio recordings, personal conversations, telephone

  conversations, letters, meetings, memoranda, telegraphic and telex communications or transmittals

  of Documents, whether such communication was sent, received, or created, in final or in draft, and

  all Documents concerning or memorializing such written or oral communications.

         3.      “Concerning” means consisting of, reflecting, referring to, regarding, related to,

  involving, evidencing, constituting, or having any legal, logical, evidential, or factual connection

  with (whether to support or rebut) the subject matter designated in any of these Requests. A request

  for Documents “concerning” a specified subject matter always shall include Communications,

  notes, and memoranda (whenever prepared) relating to the subject matter of the request.

         4.      “Debtor” means the Highland Capital Management, L.P., the Debtor in the above-

  captioned case, and any direct or indirect predecessors or successors in interest, parents,

  subsidiaries or affiliates of any of them, and any and all officers, directors, employees,

  representatives, agents, advisors attorneys, and all other persons and entities acting or purporting

  to act on behalf of any of the foregoing.

         5.      “Document(s)” means, without limitation, the original and all copies, prior drafts,

  and translation of information in any written, typed, printed, recorded or graphic form, however

  produced or reproduced, of any type or description, regardless of origin or location, including

  without limitation, all Electronically Stored Information, Communications, records, tables, charts,

  analyses, graphs, schedules, reports, memoranda, notes, lists, calendar and diary entries, letters

  (sent or received), contracts, statements, bills, checks, vouchers, video tapes, photographs, tape

  recordings, other mechanical records, transcripts or logs of any such recordings, and all other data




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  compilations from which information can be obtained. The term “Document(s)” is intended to be

  at least as broad in meaning and scope as the usage of the term in or pursuant to the Federal Rules

  of Civil Procedure.

         6.      “Dondero” means James Dondero and all entities under his control.

         7.      “Ellington” means Scott Ellington and all entities under his control.

         8.      “Governance Re” means Governance Re, Ltd., and any direct or indirect

  predecessors or successors in interest, parents, subsidiaries or affiliates of any of them, and any

  and all officers, directors, employees, representatives, agents, advisors attorneys, and all other

  persons and entities acting or purporting to act on behalf of any of the foregoing.

         9.      “Funds” means collectively the Highland CDO Opportunity Master Fund, L.P. and

  Highland Special Opportunities Holding Company.

         10.     “HFP” means Highland Financial Partners, L.P., and any direct or indirect

  predecessors or successors in interest, parents, subsidiaries or affiliates of any of them, and any

  and all officers, directors, employees, representatives, agents, advisors attorneys, and all other

  persons and entities acting or purporting to act on behalf of any of the foregoing.

         11.      “Identify” means to state, to the extent known (or, if not know, to so state,) the (i)

  type of Document; (ii) general subject matter; (iii) date of the Document; and (iv) author(s),

  addressee(s), and recipient(s).

         12.     “Individual Highland Parties” means James Dondero, Scott Ellington, Isaac

  Leventon, Frank Waterhouse, Mark Patrick, Mark Okada, John Holt, Grant Scott, Mary Jalonick,

  Katie Irving, Jean Paul Sevilla, Lauren Thedford, Stephanie Vitiello, Trey Parker, John Honis,

  Nancy Dondero, Dana Scott Breault, Gianna Cerullo, Matt DiOrio, Melissa Schroth, Tara Loiben,

  Dilip Massand, Marcia Ellington Maslow, Jason Post, Eric Holt, Cyrus Eftekhari, Jason Rothstein,




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  and Sanjay Kamlani, as well as any other former Debtor employees acting at the direction of

  Dondero.

         13.      “Multi-Strat” means Highland Multi Strategy Credit Fund, L.P. (formerly known

  as Highland Credit Opportunities CDO), and any direct or indirect predecessors or successors in

  interest, parents, subsidiaries or affiliates of any of them, and any and all officers, directors,

  employees, representatives, agents, advisors attorneys, and all other persons and entities acting or

  purporting to act on behalf of any of the foregoing.

         14.     “Note” means promissory note, demand note, payment obligation, or any other debt

  instrument.

         15.     “Okada” means Mark Okada and any entities under his direct or indirect control.

         16.     “Patrick” means Mark Patrick and all entities under his control.

         17.     “Petition Date” means October 16, 2019.

         18.     “Related Entity” means any current or former insider of the Debtor, the Dugaboy

  Investment Trust, Charitable DAF Holdco, Ltd, Hunter Mountain Investment Trust, NexBank

  Capital, Inc., Strand Advisors XVI, Inc., Highland Capital Management Fund Advisors, L.P.,

  NexAnnuity Holdings, Inc., the entities listed on Annex 1 attached to Exhibit DD of the Debtor’s

  Notice of Filing of Plan Supplement to the Fifth Amended Plan of Reorganization of Highland

  Capital Management, L.P. (as Modified) [Docket No. 1875], and any entity directly or indirectly

  owned, controlled or operated for the benefit of Dondero, Okada, Grant Scott, John Honis, any

  current or former employee of the Debtor, or any of the foregoing persons or entities.

         19.     “Relating to” means consisting of, reflecting, referring to, regarding, concerning,

  involving, evidencing, constituting, or having any legal, logical, evidential, or factual contention

  with (whether to support or to rebut) the subject matter designated in any of these Requests. A




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  request for Documents “relating to”2 a specified subject matter always shall include

  Communications, notes and memoranda (whenever prepared) relating to the subject matter of the

  request.

           20.      “SAS Entity(ies)” means SAS Asset Recovery Ltd., SAS Holdings, SAS Litigation

  Management, and SAS Loan Services.

           21.       “SAS Holdings” means SAS Holdings SPV Ltd., and any direct or indirect

  predecessors or successors in interest, parents, subsidiaries or affiliates of any of them, and any

  and all officers, directors, employees, representatives, agents, advisors attorneys, and all other

  persons and entities acting or purporting to act on behalf of any of the foregoing.

           22.      “SAS Litigation Management” means SAS Litigation Management, L.P., and any

  direct or indirect predecessors or successors in interest, parents, subsidiaries or affiliates of any of

  them, and any and all officers, directors, employees, representatives, agents, advisors attorneys,

  and all other persons and entities acting or purporting to act on behalf of any of the foregoing.

           23.      “SAS Loan Services” means SAS Loan Services Ltd., and any direct or indirect

  predecessors or successors in interest, parents, subsidiaries or affiliates of any of them, and any

  and all officers, directors, employees, representatives, agents, advisors attorneys, and all other

  persons and entities acting or purporting to act on behalf of any of the foregoing.

           24.       “Sentinel” means Sentinel Reinsurance, Ltd., Sentinel Re Holdings, Ltd., and any

  direct or indirect predecessors or successors in interest, parents, subsidiaries or affiliates of any of

  them, and any and all officers, directors, employees, representatives, agents, advisors attorneys,

  and all other persons and entities acting or purporting to act on behalf of any of the foregoing.

           25.       “UBS” means collectively UBS Securities LLC and UBS AG London Branch.


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   For clarity, the phrase “relating to” shall have the meaning ascribed herein this section regardless of whether such
  phrase is capitalized.


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         26.     “UBS Dispute Parties” means collectively Highland Multi Strategy Credit Fund,

  L.P. (formerly known as Highland Credit Opportunities CDO), Highland Special Opportunities

  Holding Company, Highland CDO Opportunity Master Fund, L.P., the CDO Fund Assets,

  Sentinel, and any direct or indirect predecessors or successors in interest, parents, subsidiaries or

  affiliates of any of them, and any and all officers, directors, employees, representatives, agents,

  advisors attorneys, and all other persons and entities acting or purporting to act on behalf of any

  of the foregoing.

         27.      “UBS Litigation” means the actions filed by UBS in the Supreme Court of the

  State of New York in February 2009.

         28.     “UBS Proofs of Claim” means proofs of claims No. 190 and 191 filed in the above-

  captioned bankruptcy case by UBS.

         29.     “UBS Settlement” means the settlement entered into by the Debtor and UBS that

  included (i) a single general unsecured claim in the amount of $65 million; (ii) a single

  subordinated unsecured claim of $60 million; and (iii) a payment of $18.5 million to UBS by

  Multi-Strat.

         30.     “You” or “Your” means the entity or person responding to these Requests, and, if

  an entity, any direct or indirect predecessors or successors in interest, parents, subsidiaries or

  affiliates of any of any such entity, and any and all partners, officers, directors, shareholders,

  members, employees, representatives, agents, advisors attorneys, and all other persons and entities

  acting or purporting to act on behalf of any of the foregoing.

                                          INSTRUCTIONS

         1.      Unless otherwise indicated, all Documents shall be produced for the relevant time

  period, which shall be the five years before the Petition Date until the date of service of these




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  Requests, including any Documents having an earlier origin, if in use during the relevant time

  period.

            2.   The obligation to produce Documents responsive to these Requests shall be

  continuing in nature, and a producing party is required promptly to produce any Documents

  requested herein that it locates or obtains after responding to these Requests, up to the conclusion

  of the above-captioned Chapter 11 Cases.

            3.   You are requested to produce not only those Documents in Your physical

  possession, but also those documents within Your custody and control, including, without

  limitation, Documents in the possession of Your agents, employees, affiliates, advisors, or

  consultants and any other person or entity acting on Your behalf.

            4.   If You have no Documents responsive to a particular Request, or if for some other

  reason You are unable to produce responsive Documents, Your response to that Request should

  specifically so state. Accordingly, You should respond to each and every Request herein. If You

  have certain Documents that are responsive to a Request, but believe that additional Documents

  not now available to You would also be responsive, You should provide the Documents You now

  have and specifically state when the remainder of the Documents will be provided.

            5.   These Requests, only to the extent they are directed to Dondero, should be read to

  exclude documents relating specifically to the transactions on December 28, 2016 between the

  Debtor, CLO Holdco, Ltd., Charitable DAF Holdco, Ltd., Charitable DAF Fund, LP, Highland

  Dallas Foundation, Inc., the Dugaboy Investment Trust, and the Get Good Nonexempt Trust,

  whereby the Debtor received a 97.6835% interest in a promissory note held by the Get Good

  Nonexempt Trust in exchange for participation interests and stock options that ultimately were

  transferred to CLO Holdco, Ltd., as set forth in detail in paragraphs 30-60 the Committee's




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  complaint brought in the adversary proceeding captioned Official Committee of Unsecured

  Creditors v. CLO Holdco, Ltd. et. al, Adversary No. 20-03195, [Docket No. 6] (the “CLO Holdco

  Transaction”). For avoidance of doubt, the Committee is not seeking discovery from Dondero

  relating to the CLO Holdco Transaction. If Documents or Communications are withheld from

  production because they relate to the CLO Holdco Transaction, the Committee requests that You

  so indicate in any responses to these Requests.

         6.      Where an objection is made to any Document request, the objection shall state with

  specificity all grounds for the objection.

         7.      Where a claim of privilege is asserted in objecting to the production of any

  Document and a Document called for by these Requests is withheld on the basis of such assertion,

  the objecting party shall identify the nature of the privilege (including work product) that is being

  claimed and, if the privilege is governed by state law, indicate the state’s privilege being invoked.

  In addition, the objecting party shall provide the following information with respect to any

  Document so withheld: (i) the type of Document, e.g. letter or memorandum; (ii) the general

  subject matter of the Document; (iii) the date of the Document; (iv) such other information as is

  sufficient to identify the Document for a subpoena duces tecum, including, where appropriate, the

  author of the Document, the addressees of the Document, and any other recipients shown in the

  Document, and, where not apparent, the relationship of the author, addresses, and recipients to

  each other.

         8.      In the event that a requested Document has been lost, destroyed, discarded and/or

  otherwise disposed of; You will identify the Document by identifying: (i) its author or preparer;

  (ii) all persons to whom distributed or shown; (iii) date; (iv) subject matter; (v) attachments or

  appendices; (vi) date, manner, and reason for destruction or other disposition; (vii) person




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  authorizing destruction or other disposition; (viii) the Document request or requests to which the

  Document is responsive.

         9.      Produce all responsive Documents as they are kept in the usual course of business,

  or organize and label them to correspond with the request to which they are responsive. With

  respect to Electronically Stored Information (“ESI”), corresponding metadata shall be produced to

  the extent that the requested metadata exits and can be extracted using standard processing tools.

         10.     With respect to ESI, the producing party shall confer with the Committee to develop

  parameters, including custodians and search terms, to identify responsive Documents.

                                    DOCUMENTS REQUESTED

         1.      Any and all Documents or Communications produced by any party in the UBS

  Litigation.

         2.      Any and all Documents or Communications relating to the conduct alleged in or

  giving rise to the UBS Proofs of Claim, including, without limitation, the conduct and

  circumstances relating to UBS’s claims against the Debtor for breach of the implied covenant of

  good faith and fair dealing and the Debtor’s role in directing fraudulent conveyances that occurred

  after the commencement of the UBS Litigation in February 2009.

         3.      Any and all Documents or Communications relating to the conduct giving rise to

  the UBS Settlement between UBS and the Debtor, including, without limitation, the conduct and

  circumstances relating to UBS’s claims that the Debtor has been fraudulently transferring

  ownership of all or substantially all of the Funds’ assets to Sentinel for less than face value of the

  assets that consisted of a redemption interest in Multi-Strat and the CDO Fund Assets and any

  involvement in such conduct by any SAS Entity.




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            4.   Any and all Documents or Communications relating to UBS’s claims that the

  Debtor devised and executed a strategy to interfere with UBS’s contractual right to recovery and

  prevented the Funds and HFP from turning over any of their assets to UBS in satisfaction of their

  debt.

            5.   Any and all Documents or Communications relating to the transfer of

  approximately $233 million in assets away from the Funds in March, 2009.

            6.   Any and all Documents or Communications relating to UBS’s claims that the

  Debtor improperly prevented the Funds from turning over any other assets held by the Funds or

  HFP to UBS after the March, 2009 transfers.

            7.   Any and all Documents or Communications relating to the relationship between

  You, the Debtor, any other UBS Dispute Parties, and/or any Related Entity, excluding Dondero,

  including without limitation, any shared service agreement, advisory agreement, sub-advisory

  agreement, management agreement, buy-sell agreement, note, loan, payment obligation, or other

  contract or arrangement of any kind involving You, the Debtor, the UBS Dispute Parties, and/or

  any Related Entity.

            8.   Any and all Documents or Communications relating to the level of control

  exercised by the Debtor, Dondero, any other UBS Dispute Parties, or any Related Entity over You,

  if any.

            9.   Any and all Documents or Communications relating to the formation, ownership

  (whether direct, indirect, beneficial, or other), and management of any of the UBS Dispute Parties,

  including, without limitation, governance documents, corporate formation documents, certificates

  of incorporation, bylaws, shareholder agreements, operating agreements, partnership agreements,

  and any business, tax, or other purpose or motivation for their creation.




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         10.     Any and all Documents or Communications relating to the owners, beneficial or

  legal, of Sentinel through to ultimate parent entity or person.

         11.     Any and all Documents or Communications relating to the owners, beneficial or

  legal, of SAS through to ultimate parent entity or person.

         12.     Any and all Documents or Communications reflecting or relating to any

  transaction, transfer, payment, distribution, donation, or the remittance of anything of value

  between or among any of You, the Debtor, UBS, any other UBS Dispute Parties, or any Related

  Entity, other than in connection with the CLO Holdco Transaction, including, without limitation,

  the business purpose for the transaction, transfer, payment, distribution, donation, or the remittance

  of anything of value and the negotiations of the terms of the transaction, transfer, payment,

  distribution, donation, or the remittance of anything of value.

         13.     Any and all Documents or Communications relating to the value of any assets or

  liabilities involved in any transaction, transfer, payment, distribution, donation, or the remittance

  of anything of value described in Request 12, including without limitation any fairness opinions

  or neutral third-party assessments.

         14.     Any and all Documents or Communications relating to any tax implications to You,

  the Debtor, the UBS Dispute Parties, or any Related Entity related to any transaction, transfer,

  payment, distribution, donation, or the remittance of anything of value described in Request 12.

         15.     Any and all Documents or Communications relating to the relationship between or

  among Dondero and any UBS Dispute Parties, including, without limitation, any ownership, direct

  or indirect, of any of the UBS Dispute Parties, any title, ownership, or position held by Dondero

  at any of the UBS Dispute Parties, any compensation or payments received by Dondero, directly

  or indirectly, from the UBS Dispute Parties, or received by Dondero, directly or indirectly, from




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  the Debtor related to any such title or position at any of the UBS Dispute Parties, and the time

  periods such titles or positions were held.

         16.     Any and all Documents or Communications relating to the relationship between or

  among Okada and the UBS Dispute Parties, including, without limitation, any ownership, directly

  or indirectly, of any of the UBS Dispute Parties, any title, ownership, or position held by Okada at

  any of the UBS Dispute Parties, any compensation or payments received by Okada, directly or

  indirectly, from the UBS Dispute Parties, or received by Okada, directly or indirectly, from the

  Debtor related to any such title or position at any of the UBS Dispute Parties, and the time periods

  such titles or positions were held.

         17.     Any and all Documents or Communications relating to the relationship of the

  Debtor and the UBS Dispute Parties, including, without limitation, any compensation or payment

  made by the Debtor to any UBS Dispute Party employees, including without limitation, any bonus

  payments.

         18.     Any and all Documents or Communications relating to the involvement of

  Dondero, Ellington, Leventon, Patrick, or any Debtor employee, agent, or consultant, including

  without limitation any Individual Highland Party, or any employee, agent, or consultant of any

  Related Entity in any of the actions or transactions giving rise to the UBS Litigation, UBS Proofs

  of Claim, or the UBS Settlement.

         19.     Any and all Documents or Communications reflecting the persons or entities

  involved in the decision making for the actions or transactions giving rise to the UBS Proofs of

  Claim or the UBS Settlement.

         20.     Any and all Documents or Communications relating to the fiduciary duties of

  Dondero, Okada, or any Debtor or Related Entity’s employee, agent, or consultant, including




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  without limitation, any Individual Highland Party, involved in any of the acts, omissions, or

  transactions set forth in or giving rise to the UBS Proofs of Claim or the UBS Settlement.

         21.     Any and all Documents or Communications relating to any Note or other payment

  obligation between or among You, the Debtor, any UBS Dispute Party, any Individual Highland

  Party, and any Related Entity, other than in connection with the CLO Holdco Transaction,

  including without limitation, any and all Documents or Communications related to the value

  received or value given for any such Note.

         22.     Any and all Documents or Communications relating to the determination of and

  any basis or purposes for the principal amounts, interest rates, and payment schedules of any Note

  or obligation described in Request 21, including without limitation, the negotiations related to the

  terms of the Notes and any valuation, fairness opinion, or neutral third-party assessment of the

  terms of the Note.

         23.     Any and all Documents or Communications relating to any payments or

  distributions made or received pursuant to the terms of any Note or obligation described in Request

  21.

         24.     Any and all Documents or Communications relating to any agreement or contract

  entered into by You, the Debtor, any UBS Dispute Party, any Individual Highland Party, and/or

  any Related Entity in regards to any Note or obligation referenced in Request 21, including without

  limitation, any guaranty agreements related to any Note or obligation.

         25.     Any and all Documents or Communications relating to any minutes, resolutions,

  written consents, or other materials related to the governance of any UBS Dispute Party, including

  without limitation, codes of conduct, board packets or other materials shared with members,

  officers, directors, or shareholders.




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         26.    Any and all Documents or Communications relating to Your policy or practice for

  document retention.

         27.    Any and all Documents or Communications relating to Sentinel’s and/or any SAS

  Entity’s financial records, including without limitation any accounting books and records,

  accounting and audit work papers, valuation documents, fund governance and organizational

  documents, and business plans and financial documents.




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                                      EXHIBIT 5
    Requests for Production of Documents to the Redeemer and Crusader Dispute Parties




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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

                                                                  )
                                                                  )
      In re:                                                      ) Chapter 11
                                                                  )
      HIGHLAND CAPITAL MANAGEMENT, L.P.,1                         ) Case No. 19-34054-sgj11
                                                                  )
                                       Debtor.



                       REQUESTS FOR PRODUCTION OF DOCUMENTS TO
                       THE REDEEMER AND CRUSADER DISPUTE PARTIES

               Please take notice that, pursuant to Rule 2004 of the Federal Rules of Bankruptcy

  Procedure, the Official Committee of Unsecured Creditors in the above captioned bankruptcy case

  (the “Committee”), along with Teneo Capital LLC, in its capacity as litigation advisor to the

  Committee (the “Litigation Advisor”), hereby serves the following requests for production of

  documents or categories of documents James Dondero, Mark Okada, Scott Ellington, Isaac

  Leventon, and Mark Patrick to be produced to the Committee in accordance with the Definitions

  and Instructions below (“Request(s)”).

                                                  DEFINITIONS

               1.    “Communication(s)” means any written or oral communication of any kind or

  character, including, by way of example and without limitation, e-mails, instant messages, text

  messages, voicemail or voice messages, audio recordings, personal conversations, telephone

  conversations, letters, meetings, memoranda, telegraphic and telex communications or transmittals




  1
   The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
  for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.



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                                                                                                                          APP 1062
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  of Documents, whether such communication was sent, received, or created, in final or in draft, and

  all Documents concerning or memorializing such written or oral communications.

         2.      “Concerning” means consisting of, reflecting, referring to, regarding, related to,

  involving, evidencing, constituting, or having any legal, logical, evidential, or factual connection

  with (whether to support or rebut) the subject matter designated in any of these Requests. A request

  for Documents “concerning” a specified subject matter always shall include Communications,

  notes, and memoranda (whenever prepared) relating to the subject matter of the request.

         3.      “Crusader Funds” means collectively Highland Offshore Partners L.P., Highland

  Crusader Fund, L.P., Highland Crusader Fund, Ltd. and Highland Crusader Fund II, Ltd. any direct

  or indirect predecessors or successors in interest, parents, subsidiaries or affiliates of any of them,

  and any and all officers, directors, employees, representatives, agents, advisors attorneys, and all

  other persons and entities acting or purporting to act on behalf of any of the foregoing.

         4.       “Crusader Proof of Claim” means the Proof of Claim filed in the above-captioned

  bankruptcy case by the Crusader Funds (Claim No. 72).

         5.       “Debtor” means the Highland Capital Management, L.P., the Debtor in the above-

  captioned case, and any direct or indirect predecessors or successors in interest, parents,

  subsidiaries or affiliates of any of them, and any and all officers, directors, employees,

  representatives, agents, advisors attorneys, and all other persons and entities acting or purporting

  to act on behalf of any of the foregoing.

         6.      “Document(s)” means, without limitation, the original and all copies, prior drafts,

  and translation of information in any written, typed, printed, recorded or graphic form, however

  produced or reproduced, of any type or description, regardless of origin or location, including

  without limitation, all Electronically Stored Information, Communications, records, tables, charts,




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  analyses, graphs, schedules, reports, memoranda, notes, lists, calendar and diary entries, letters

  (sent or received), contracts, statements, bills, checks, vouchers, video tapes, photographs, tape

  recordings, other mechanical records, transcripts or logs of any such recordings, and all other data

  compilations from which information can be obtained. The term “Document(s)” is intended to be

  at least as broad in meaning and scope as the usage of the term in or pursuant to the Federal Rules

  of Civil Procedure.

         7.      “Dondero” means James Dondero and all entities under his direct or indirect

  control.

         8.      “Identify” means to state, to the extent known (or, if not know, to so state), the (i)

  type of Document; (ii) general subject matter; (iii) date of the Document; and (iv) author(s),

  addressee(s), and recipient(s).

         9.      “Individual Highland Parties” means James Dondero, Scott Ellington, Isaac

  Leventon, Frank Waterhouse, Mark Patrick, Mark Okada, John Holt, Grant Scott, Mary Jalonick,

  Katie Irving, Jean Paul Sevilla, Lauren Thedford, Stephanie Vitiello, Trey Parker, John Honis,

  Nancy Dondero, Dana Scott Breault, Gianna Cerullo, Matt DiOrio, Melissa Schroth, Tara Loiben,

  Dilip Massand, Marcia Ellington Maslow, Jason Post, Eric Holt, Cyrus Eftekhari, Jason Rothstein,

  and Sanjay Kamlani, as well as any other former Debtor employees acting at the direction of

  Dondero.

         10.      “Okada” means Mark Okada and any entities under his direct or indirect control.

         11.     “Patrick” means Mark Patrick and any entities under his direct or indirect control.

         12.     “Petition Date” means October 16, 2019.

         13.     “Redeemer and Crusader Dispute Parties” means the Crusader Funds and the

  Redeemer Committee.




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           14.      “Redeemer Committee” means the Redeemer Committee of Highland Crusader

  Fund.

           15.      “Redeemer Proof of Claim” means the Proof of Claim filed by the Redeemer

  Committee (Claim No. 81) in the above-captioned bankruptcy case.

           16.      “Redeemer Settlement” means the settlement approved by the Court on October

  23, 2020, where the Redeemer Committee’s claim was allowed for $136.7 million.

           17.      “Related Entity” means any current or former insider of the Debtor, the Dugaboy

  Investment Trust, Charitable DAF Holdco, Ltd, Hunter Mountain Investment Trust, NexBank

  Capital, Strand Advisors XVI, Inc., Highland Capital Management Fund Advisors, L.P.,

  NexAnnuity Holdings, Inc., the entities listed on Annex 1 attached to Exhibit DD of the Debtor’s

  Notice of Filing of Plan Supplement to the Fifth Amended Plan of Reorganization of Highland

  Capital Management, L.P. (as Modified) [Docket No. 1875], and any entity directly or indirectly

  owned, controlled or operated for the benefit of Dondero, Okada, Scott, John Honis, any current

  or former employee of the Debtor, or any of the foregoing persons or entities.

           18.      “Relating to” means consisting of, reflecting, referring to, regarding, concerning,

  involving, evidencing, constituting, or having any legal, logical, evidential, or factual contention

  with (whether to support or to rebut) the subject matter designated in any of these Requests. A

  request for Documents “relating to”2 a specified subject matter always shall include

  Communications, notes and memoranda (whenever prepared) relating to the subject matter of the

  request.

           19.      “You” or “Your” means the entity or person responding to these Requests, and, if

  an entity, any direct or indirect predecessors or successors in interest, parents, subsidiaries or


  2
   For clarity, the phrase “relating to” shall have the meaning ascribed herein this section regardless of whether such
  phrase is capitalized.


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  affiliates of any of any such entity, and any and all partners, officers, directors, shareholders,

  members, employees, representatives, agents, advisors attorneys, and all other persons and entities

  acting or purporting to act on behalf of any of the foregoing.

                                          INSTRUCTIONS

            1.   Unless otherwise indicated, all Documents shall be produced for the relevant time

  period, which shall be the five years before the Petition Date until the date of service of these

  Requests, including any Documents having an earlier origin, if in use during the relevant time

  period.

            2.   The obligation to produce Documents responsive to these Requests shall be

  continuing in nature, and a producing party is required promptly to produce any Documents

  requested herein that it locates or obtains after responding to these Requests, up to the conclusion

  of the above-captioned Chapter 11 Cases.

            3.   You are requested to produce not only those Documents in Your physical

  possession, but also those documents within Your custody and control, including without

  limitation, Documents in the possession of Your agents, employees, affiliates, advisors, or

  consultants and any other person or entity acting on Your behalf.

            4.   If You have no Documents responsive to a particular Request, or if for some other

  reason You are unable to produce responsive Documents, Your response to that Request should

  specifically so state. Accordingly, You should respond to each and every Request herein. If You

  have certain Documents that are responsive to a Request, but believe that additional Documents

  not now available to You would also be responsive, You should provide the Documents You now

  have and specifically state when the remainder of the Documents will be provided.

            5.   These Requests, only to the extent they are directed to Dondero, should be read to

  exclude documents relating specifically to the transactions on December 28, 2016 between the


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  Debtor, CLO Holdco, Ltd., Charitable DAF Holdco, Ltd., Charitable DAF Fund, LP, Highland

  Dallas Foundation, Inc., the Dugaboy Investment Trust, and the Get Good Nonexempt Trust,

  whereby the Debtor received a 97.6835% interest in a promissory note held by the Get Good

  Nonexempt Trust in exchange for participation interests and stock options that ultimately were

  transferred to CLO Holdco, Ltd., as set forth in detail in paragraphs 30-60 the Committee's

  complaint brought in the adversary proceeding captioned Official Committee of Unsecured

  Creditors v. CLO Holdco, Ltd. et. al, Adversary No. 20-03195, [Docket No. 6] (the “CLO Holdco

  Transaction”). For avoidance of doubt, the Committee is not seeking discovery from Dondero

  relating to the CLO Holdco Transaction. If Documents or Communications are withheld from

  production because they relate to the CLO Holdco Transaction, the Committee requests that You

  so indicate in any responses to these Requests.

         6.      Where an objection is made to any Request, the objection shall state with specificity

  all grounds for the objection.

         7.      Where a claim of privilege is asserted in objecting to the production of any

  Document and a Document called for by these Requests is withheld on the basis of such assertion,

  the objecting party shall identify the nature of the privilege (including work product) that is being

  claimed and, if the privilege is governed by state law, indicate the state’s privilege being invoked.

  In addition, the objecting party shall provide the following information with respect to any

  Document so withheld: (i) the type of Document, e.g. letter or memorandum; (ii) the general

  subject matter of the Document; (iii) the date of the Document; (iv) such other information as is

  sufficient to identify the Document for a subpoena duces tecum, including, where appropriate, the

  author of the Document, the addressees of the Document, and any other recipients shown in the




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  Document, and, where not apparent, the relationship of the author, addresses, and recipients to

  each other.

         8.      In the event that a requested Document has been lost, destroyed, discarded and/or

  otherwise disposed of; You will identify the Document by identifying: (i) its author or preparer;

  (ii) all persons to whom distributed or shown; (iii) date; (iv) subject matter; (v) attachments or

  appendices; (vi) date, manner, and reason for destruction or other disposition; (vii) person

  authorizing destruction or other disposition; (viii) the Document request or requests to which the

  Document is responsive.

         9.      Produce all responsive Documents as they are kept in the usual course of business,

  or organize and label them to correspond with the request to which they are responsive. With

  respect to Electronically Stored Information (“ESI”), corresponding metadata shall be produced to

  the extent that the requested metadata exits and can be extracted using standard processing tools.

         10.     With respect to ESI, the producing party shall confer with the Committee to develop

  parameters, including custodians and search terms, to identify responsive Documents.

                                   DOCUMENTS REQUESTED

         1.      Any and all Documents or Communications produced by any party in any litigation

  or arbitration giving rise to the Redeemer Proof of Claim, the Crusader Proof of Claim, or the

  Redeemer Settlement.

         2.      Any and all Documents or Communications reflecting or relating to any

  transaction, transfer, payment, distribution, donation, or the remittance of anything of value

  between or among (1) You, (2) the Debtor or any Related Entity, and (3) any Redeemer and

  Crusader Dispute Party, including, without limitation, the business purpose for the transaction, the

  negotiations of the terms of the transaction, transfer, payment, distribution, donation, or the

  remittance of anything of value, and the value of any asset or liabilities involved in any such


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  transaction, including without limitation any fairness opinions or neutral third-party assessments

  of the transaction, transfer, payment, distribution, donation, or the remittance of anything of value.

         3.      Any and all Documents or Communications relating to any tax implications to You,

  the Debtor, or any Related Entity related to any transaction, transfer, payment, distribution,

  donation, or the remittance of anything of value described in Request 2.

         4.      Any and all Documents or Communications relating to any shared services

  agreement, advisory agreement, sub-advisory agreement, management agreement, buy-sell

  agreement, note, loan, payment obligation, or other contract or arrangement of any kind involving

  any combination of the Debtor or any Related Entity and any Redeemer and Crusader Dispute

  Party, including without limitation the business purpose for any such agreement and the

  negotiation of the terms of any such agreement.

         5.      Any and all Documents or Communications relating to the conduct giving rise to

  the Redeemer Settlement between the Redeemer Committee, the Crusader Funds, and the Debtor.

         6.      Any and all Documents or Communications relating to the involvement of

  Dondero, or any Debtor employee, agent, or consultant, including without limitation any

  Individual Highland Party or any employee, agent, or consultant of any Related Entity in any of

  the actions or transactions giving rise to Crusader Proof of Claim, the Redeemer Proof of Claim,

  or the Redeemer Settlement.

         7.      Any and all Documents or Communications reflecting the persons or entities

  involved in the decision making for the actions or transactions giving rise to the Crusader Proof of

  Claim, the Redeemer Proof of Claim, or the Redeemer Settlement.

         8.      Any and all Documents or Communications relating to the fiduciary relationships

  of Dondero or any Debtor employee, including without limitation any Individual Highland Party,




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  involved in any of the acts, omissions, or transactions giving rise to the Crusader Proof of Claim,

  the Redeemer Proof of Claim, or the Redeemer Settlement.

         9.      Any and all Documents or Communications relating to litigation or arbitration

  arising out of the Debtor’s management of the Crusader Funds’ investments involving or between

  the Debtor, the Redeemer Committee, and the Crusader Funds, including, without limitation, any

  and all Documents or Communications relating to the termination of the Debtor as investment

  manager of the Crusader Funds in 2016 and any management, distribution, or deferred fees paid

  to the Debtor by the Redeemer Committee or Crusader Funds.

         10.     Any and all Documents or Communications relating to the facts and circumstances

  giving rise to the Debtor filing the above-captioned bankruptcy case on the day of oral arguments

  on the Redeemer Committee’s motion to enforce its arbitration award against the Debtor in

  Delaware Chancery Court.




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                                      EXHIBIT 6
         Requests for Production of Documents to the Individual Highland Parties




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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

                                                                  )
                                                                  )
      In re:                                                      ) Chapter 11
                                                                  )
      HIGHLAND CAPITAL MANAGEMENT, L.P.,1                         ) Case No. 19-34054-sgj11
                                                                  )
                                       Debtor.



               REQUESTS FOR PRODUCTION OF DOCUMENTS TO THE INDIVIDUAL
                                 HIGHLAND PARTIES

               Please take notice that, pursuant to Rule 2004 of the Federal Rules of Bankruptcy

  Procedure, the Official Committee of Unsecured Creditors in the above captioned bankruptcy case

  (the “Committee”), along with Teneo Capital LLC, in its capacity as litigation advisor to the

  Committee (the “Litigation Advisor”), hereby serves the following requests for production of

  documents or categories of documents to James Dondero, Scott Ellington, Isaac Leventon, Frank

  Waterhouse, Mark Patrick, Mark Okada, John Holt, Grant Scott, Mary Jalonick, Katie Irving, Jean

  Paul Sevilla, Lauren Thedford, Stephanie Vitiello, Trey Parker, John Honis, Nancy Dondero, Dana

  Scott Breault, Gianna Cerullo, Matt DiOrio, Melissa Schroth, Tara Loiben, Dilip Massand, Marcia

  Ellington Maslow, Jason Post, Eric Holt, Cyrus Eftekhari, Jason Rothstein, and Sanjay Kamlani

  to be produced to the Committee in accordance with the Definitions and Instructions below

  (“Request(s)”).




  1
   The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
  for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.



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                                            DEFINITIONS

         1.      “Acis Dispute Parties” means Acis Capital Management, L.P., Acis Capital

  Management GP, LLP, Acis Loan Funding, Ltd., Highland CLO Funding, Ltd., Highland CLO

  Holdings, Ltd., Highland CLO Management, Ltd., and any direct or indirect predecessors or

  successors in interest, parents, subsidiaries or affiliates of any of them, and any and all officers,

  directors, employees, representatives, agents, advisors, attorneys, and all other persons and entities

  acting or purporting to act on behalf of any of the foregoing.

         2.      “Atlas” means Atlas IDF GP, LLC together with Atlas IDF, LP, and any direct or

  indirect predecessors or successors in interest, parents, subsidiaries or affiliates of any of them,

  and any and all officers, directors, employees, representatives, agents, advisors, attorneys, and all

  other persons and entities acting or purporting to act on behalf of any of the foregoing.

         3.      “Blackland” means Blackland Group LLC, Blackland Legal Solutions, LLC,

  Blackland Information Security, LLC, Blackland Associates, LLC and any direct or indirect

  predecessors or successors in interest, parents, subsidiaries or affiliates of any of them, and any

  and all officers, directors, employees, representatives, agents, advisors, attorneys, and all other

  persons and entities acting or purporting to act on behalf of any of the foregoing.

         4.      “BMZ” means BMZ Discovery Services LLC, and any direct or indirect

  predecessors or successors in interest, parents, subsidiaries or affiliates of any of them, and any

  and all officers, directors, employees, representatives, agents, advisors, attorneys, and all other

  persons and entities acting or purporting to act on behalf of any of the foregoing.

         5.      “CDO Fund Assets” means assets held by Highland CDO Opportunity Master

  Fund, L.P. related to Greenbriar CLO Ltd., Greenbriar CLO Corp., Aberdeen Loan Funding,

  Eastland CLO Ltd., Grayson CLO Ltd., Valhalla CLO Ltd., and Governance Re.




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                                                                                                           APP 1073
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         6.      “Clairmont” means Clairmont Holdings, LLC, and any direct or indirect

  predecessors or successors in interest, parents, subsidiaries or affiliates of any of them, and any

  and all officers, directors, employees, representatives, agents, advisors attorneys, and all other

  persons and entities acting or purporting to act on behalf of any of the foregoing.

         7.      “Communication(s)” means any written or oral communication of any kind or

  character, including, by way of example and without limitation, e-mails, instant messages, text

  messages, voicemail or voice messages, audio recordings, personal conversations, telephone

  conversations, letters, meetings, memoranda, telegraphic and telex communications or transmittals

  of Documents, whether such communication was sent, received, or created, in final or in draft, and

  all Documents concerning or memorializing such written or oral communications.

         8.       “Concerning” means consisting of, reflecting, referring to, regarding, related to,

  involving, evidencing, constituting, or having any legal, logical, evidential, or factual connection

  with (whether to support or rebut) the subject matter designated in any of these Requests. A request

  for Documents “concerning” a specified subject matter always shall include Communications,

  notes, and memoranda (whenever prepared) relating to the subject matter of the request.

         9.      “Conyers” means Conyers Trust Services, and any direct or indirect predecessors

  or successors in interest, parents, subsidiaries or affiliates of any of them, and any and all officers,

  directors, employees, representatives, agents, advisors attorneys, and all other persons and entities

  acting or purporting to act on behalf of any of the foregoing.

         10.      “Debtor” means the Highland Capital Management, L.P., the Debtor in the above-

  captioned case, and any direct or indirect predecessors or successors in interest, parents,

  subsidiaries or affiliates of any of them, and any and all officers, directors, employees,




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  representatives, agents, advisors attorneys, and all other persons and entities acting or purporting

  to act on behalf of any of the foregoing.

         11.     “Document(s)” means, without limitation, the original and all copies, prior drafts,

  and translation of information in any written, typed, printed, recorded or graphic form, however

  produced or reproduced, of any type or description, regardless of origin or location, including

  without limitation, all Electronically Stored Information, Communications, records, tables, charts,

  analyses, graphs, schedules, reports, memoranda, notes, lists, calendar and diary entries, letters

  (sent or received), contracts, statements, bills, checks, vouchers, video tapes, photographs, tape

  recordings, other mechanical records, transcripts or logs of any such recordings, and all other data

  compilations from which information can be obtained. The term “Document(s)” is intended to be

  at least as broad in meaning and scope as the usage of the term in or pursuant to the Federal Rules

  of Civil Procedure.

         12.     “Dondero” means James Dondero and all entities under his direct or indirect

  control.

         13.     “Ellington” means Scott Ellington and all entities under his direct or indirect

  control.

         14.     “FHTC” means FHTC Consulting, LLC, and any direct or indirect predecessors or

  successors in interest, parents, subsidiaries or affiliates of any of them, and any and all officers,

  directors, employees, representatives, agents, advisors attorneys, and all other persons and entities

  acting or purporting to act on behalf of any of the foregoing.

         15.      “Get Good” means the Get Good Trust, the Get Good Nonexempt Trust, and any

  direct or indirect predecessors or successors in interest, parents, subsidiaries or affiliates of any of

  them, and any and all officers, trustees, directors, employees, representatives, agents, advisors,




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  attorneys, and all other persons and entities acting or purporting to act on behalf of any of the

  foregoing.

         16.       “Governance Re” means Governance Re, Ltd., and any direct or indirect

  predecessors or successors in interest, parents, subsidiaries or affiliates of any of them, and any

  and all officers, directors, employees, representatives, agents, advisors attorneys, and all other

  persons and entities acting or purporting to act on behalf of any of the foregoing.

         17.       “HarbourVest Entities” means HarbourVest 2017 Global AIF L.P., HarbourVest

  2017 Global Fund L.P., HarbourVest Dover Street IX Investment L.P. HarbourVest Partners L.P.,

  HarbourVest Skew Base AIF L.P., HV International VIII Secondary L.P., and any direct or indirect

  predecessors or successors in interest, parents, subsidiaries or affiliates of any of them, and any

  and all officers, trustees, directors, employees, representatives, agents, advisors, attorneys, and all

  other persons and entities acting or purporting to act on behalf of any of the foregoing.

         18.     “Highland Charity(ies) and Trust(s)” means Charitable DAF Fund, L.P., Charitable

  DAF GP, Charitable DAF Holdco, Ltd., Community Foundation of North Texas Inc., Dallas

  Foundation, The Dondero Insurance Rabbi Trust, The Dugaboy Investment Trust, the Dondero

  Family Dynasty Trust, the Fourays Trust, Empower Dallas Foundation, Get Good, the Get Good

  Nonexempt Trust No. 1 (formerly known as the Get Better Trust), the Get Good Nonexempt Trust

  No. 2 (formerly known as the Canis Minor Trust), the Get Better Trust, the Canis Minor Trust, the

  Greater Kansas City Community Foundation, Highland Capital Management L.P. Charitable

  Fund, Highland Dallas Foundation, Inc., Highland Kansas City Foundation, Inc., Highland Santa

  Barbara Foundation, Inc., Okada Family Foundation, Inc., The Mark & Pamela Okada Family

  Trust – Exempt Trust #1, The Mark & Pamela Okada Family Trust – Exempt Trust #2, The Okada

  Insurance Rabbi Trust, SLHC Trust, and any direct or indirect predecessors or successors in




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  interest, parents, subsidiaries or affiliates of any of them, and any and all officers, trustees,

  directors, employees, representatives, agents, advisors, attorneys, and all other persons and entities

  acting or purporting to act on behalf of any of the foregoing.

         19.     “Highland D&O Trust” means Highland D&O Trust, and any direct or indirect

  predecessors or successors in interest, parents, subsidiaries or affiliates of any of them, and any

  and all officers, trustees, directors, employees, representatives, agents, advisors attorneys, and all

  other persons and entities acting or purporting to act on behalf of any of the foregoing.

         20.     “Hunter Mountain Transaction Parties” means Hunter Mountain Investment Trust,

  Beacon Mountain, LLC, Atlas, Rand PE Fund, I, L.P., Rand Advisors, LLC, Rand PE Fund

  Management, LLC, The Dugaboy Investment Trust (“Dugaboy”), Strand Advisors, Inc., Empower

  Dallas Foundation, The Mark & Pamela Okada Family Trust – Exempt Trust #1, The Mark &

  Pamela Okada Family Trust – Exempt Trust #2, Okada Family Foundation, Inc., Crown Global

  Life Insurance Ltd., John Honis, and any direct or indirect predecessors or successors in interest,

  parents, subsidiaries or affiliates of any of them, and any and all officers, trustees, directors,

  employees, representatives, agents, advisors attorneys, and all other persons and entities acting or

  purporting to act on behalf of any of the foregoing.

         21.      “Identify” means to state, to the extent known (or, if not know, to so state), the (i)

  type of Document; (ii) general subject matter; (iii) date of the Document; and (iv) author(s),

  addressee(s), and recipient(s).

         22.     “Individual Highland Parties” means James Dondero, Scott Ellington, Isaac

  Leventon, Frank Waterhouse, Mark Patrick, Mark Okada, John Holt, Grant Scott, Mary Jalonick,

  Katie Irving, Jean Paul Sevilla, Lauren Thedford, Stephanie Vitiello, Trey Parker, John Honis,

  Nancy Dondero, Dana Scott Breault, Gianna Cerullo, Matt DiOrio, Melissa Schroth, Tara Loiben,




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  Dilip Massand, Marcia Ellington Maslow, Jason Post, Eric Holt, Cyrus Eftekhari, Jason Rothstein,

  and Sanjay Kamlani, as well as any former Debtor employees acting at the direction of Dondero,

  and all entities under his/her direct or indirect control.

          23.     “Ironwood” means Ironwood Legal Solutions, and any direct or indirect

  predecessors or successors in interest, parents, subsidiaries or affiliates of any of them, and any

  and all officers, directors, employees, representatives, agents, advisors attorneys, and all other

  persons and entities acting or purporting to act on behalf of any of the foregoing.

          24.     “Leventon” means Isaac Leventon and all entities under his direct or indirect

  control.

          25.     “Maslow” means Marcia Ellington Maslow and all entities under her direct or

  indirect control.

          26.     “Massand” means Dilip Massand and all entities under his direct or indirect control.

          27.     “Massand Capital” means Massand Capital, LLC, and any direct or indirect

  predecessors or successors in interest, parents, subsidiaries or affiliates of any of them, and any

  and all officers, directors, employees, representatives, agents, advisors attorneys, and all other

  persons and entities acting or purporting to act on behalf of any of the foregoing.

          28.     “Nancy Dondero” means Nancy Dondero, sister of Dondero, and all entities under

  her direct or indirect control.

          29.     “Nex Entities” or “Nex Entity” means Highland Capital Management Fund

  Advisors, L.P., NexBank Capital, Inc., NexBank, SSB, NexBank Securities, Inc., NexBank Title,

  Inc., NexPoint Advisors, L.P., the NexPoint Entities, and any direct or indirect predecessors or

  successors in interest, parents, subsidiaries or affiliates of any of them, and any and all officers,




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  trustees, directors, employees, representatives, agents, advisors, attorneys, and all other persons

  and entities acting or purporting to act on behalf of any of the foregoing.

         30.      “NexPoint Entities” means NexPoint Real Estate Finance, Inc., NexPoint Real

  Estate Capital, LLC, NexPoint Residential Trust, Inc., NexPoint Hospitality Trust, NexPoint Real

  Estate Partners, LLC, NexPoint Multifamily Capital Trust, Inc., VineBrook Homes Trust, Inc.,

  NexPoint Real Estate Advisors, L.P., NexPoint Real Estate Advisors II, L.P., NexPoint Real Estate

  Advisors III, L.P., NexPoint Real Estate Advisors IV, L.P., NexPoint Real Estate Advisors V, L.P.,

  NexPoint Real Estate Advisors VI, L.P., NexPoint Real Estate Advisors VII, L.P., NexPoint Real

  Estate Advisors VIII, L.P., NexAnnuity Holdings, Inc., and any direct or indirect predecessors or

  successors in interest, parents, subsidiaries or affiliates of any of them, and any and all officers,

  trustees, directors, employees, representatives, agents, advisors, attorneys, and all other persons

  and entities acting or purporting to act on behalf of any of the foregoing.

         31.     “Okada” means Mark Okada and any entities under his direct or indirect control.

         32.     “Petition Date” means October 16, 2019.

         33.     “Prive” means Prive Solutions LLC, Prive Lending LLC, Prive Leasing LLC, Prive

  Enterprises GP, LLC, Prive Investment Trust, Prive Enterprises, L.P., Prive Motorsports, LLC,

  Prive Entertainment, LLC, Prive Products, LLC, Prive Residential, LLC, and Prive Designs, LLC

  and any direct or indirect predecessors or successors in interest, parents, subsidiaries or affiliates

  of any of them, and any and all officers, directors, employees, representatives, agents, advisors

  attorneys, and all other persons and entities acting or purporting to act on behalf of any of the

  foregoing.

         34.     “Redeemer and Crusader Dispute Parties” means Highland Offshore Partners L.P.,

  Highland Crusader Fund, Ltd., Highland Crusader Fund, L.P., Highland Crusader Fund II, Ltd.,




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  the Redeemer Committee of Highland Crusader Fund, any direct or indirect predecessors or

  successors in interest, parents, subsidiaries or affiliates of any of them, and any and all officers,

  directors, employees, representatives, agents, advisors attorneys, and all other persons and entities

  acting or purporting to act on behalf of any of the foregoing.

           35.      “Related Entity” means any current or former insider of the Debtor, the Dugaboy

  Investment Trust, Charitable DAF Holdco, Ltd, Hunter Mountain Investment Trust, NexBank

  Capital, Strand Advisors XVI, Inc., Highland Capital Management Fund Advisors, L.P.,

  NexAnnuity Holdings, Inc., the entities listed on Annex 1 attached to Exhibit DD of the Debtor’s

  Notice of Filing of Plan Supplement to the Fifth Amended Plan of Reorganization of Highland

  Capital Management, L.P. (as Modified) [Docket No. 1875], and any entity directly or indirectly

  owned, controlled or operated for the benefit of Dondero, Okada, Grant Scott, John Honis, any

  current or former employee of the Debtor, or any of the foregoing persons or entities.

           36.      “Relating to” means consisting of, reflecting, referring to, regarding, concerning,

  involving, evidencing, constituting, or having any legal, logical, evidential, or factual contention

  with (whether to support or to rebut) the subject matter designated in any of these Requests. A

  request for Documents “relating to”2 a specified subject matter always shall include

  Communications, notes and memoranda (whenever prepared) relating to the subject matter of the

  request.

           37.      “SAS Asset Recovery” means SAS Asset Recovery Ltd. and any direct or indirect

  predecessors or successors in interest, parents, subsidiaries or affiliates of any of them, and any

  and all officers, directors, employees, representatives, agents, advisors attorneys, and all other

  persons and entities acting or purporting to act on behalf of any of the foregoing.


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   For clarity, the phrase “relating to” shall have the meaning ascribed herein this section regardless of whether such
  phrase is capitalized.


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         38.     “SAS Holdings” means SAS Holdings SPV Ltd., and any direct or indirect

  predecessors or successors in interest, parents, subsidiaries or affiliates of any of them, and any

  and all officers, directors, employees, representatives, agents, advisors attorneys, and all other

  persons and entities acting or purporting to act on behalf of any of the foregoing.

         39.     “SAS Litigation” means SAS Litigation Management, L.P., and any direct or

  indirect predecessors or successors in interest, parents, subsidiaries or affiliates of any of them,

  and any and all officers, directors, employees, representatives, agents, advisors attorneys, and all

  other persons and entities acting or purporting to act on behalf of any of the foregoing.

         40.     “SAS Loan Services” means SAS Loan Services Ltd., and any direct or indirect

  predecessors or successors in interest, parents, subsidiaries or affiliates of any of them, and any

  and all officers, directors, employees, representatives, agents, advisors attorneys, and all other

  persons and entities acting or purporting to act on behalf of any of the foregoing.

         41.     “Scott” means Grant Scott and all entities under his direct or indirect control.

         42.     “Sentinel” means Sentinel Reinsurance, Ltd., and any direct or indirect

  predecessors or successors in interest, parents, subsidiaries or affiliates of any of them, and any

  and all officers, directors, employees, representatives, agents, advisors attorneys, and all other

  persons and entities acting or purporting to act on behalf of any of the foregoing.

         43.     “Sentinel Holdings” means Sentinel Holdings Ltd., and any direct or indirect

  predecessors or successors in interest, parents, subsidiaries or affiliates of any of them, and any

  and all officers, directors, employees, representatives, agents, advisors attorneys, and all other

  persons and entities acting or purporting to act on behalf of any of the foregoing.

         44.     “Sevilla” means Jean Paul Sevilla and all entities under his direct or indirect

  control.




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         45.     “Skyview” means Skyview Group, Inc., and any direct or indirect predecessors or

  successors in interest, parents, subsidiaries or affiliates of any of them, and any and all officers,

  directors, employees, representatives, agents, advisors attorneys, and all other persons and entities

  acting or purporting to act on behalf of any of the foregoing.

         46.     “SS Holdings” means SS Holdings Ltd., and any direct or indirect predecessors or

  successors in interest, parents, subsidiaries or affiliates of any of them, and any and all officers,

  directors, employees, representatives, agents, advisors attorneys, and all other persons and entities

  acting or purporting to act on behalf of any of the foregoing.

         47.     “Tall Pine” means Tall Pine Group, LLC, Sunshine Coast Development, LLC, and

  any direct or indirect predecessors or successors in interest, parents, subsidiaries or affiliates of

  any of them, and any and all officers, directors, employees, representatives, agents, advisors

  attorneys, and all other persons and entities acting or purporting to act on behalf of any of the

  foregoing.

         48.     “UBS Dispute Parties” means collectively Highland Multi Strategy Credit Fund,

  L.P. (formerly known as Highland Credit Opportunities CDO), Highland Special Opportunities

  Holding Company, Highland CDO Opportunity Master Fund, L.P., the CDO Fund Assets,

  Sentinel, and any direct or indirect predecessors or successors in interest, parents, subsidiaries or

  affiliates of any of them, and any and all officers, directors, employees, representatives, agents,

  advisors attorneys, and all other persons and entities acting or purporting to act on behalf of any

  of the foregoing.

         49.     “You” or “Your” means the entity or person responding to these Requests, and, if

  an entity, any direct or indirect predecessors or successors in interest, parents, subsidiaries or

  affiliates of any of any such entity, and any and all partners, officers, directors, shareholders,




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  members, employees, representatives, agents, advisors attorneys, and all other persons and entities

  acting or purporting to act on behalf of any of the foregoing.

            50.   “Zumasaa” means Zumasaa Ventures LLC, and any direct or indirect predecessors

  or successors in interest, parents, subsidiaries or affiliates of any of them, and any and all officers,

  directors, employees, representatives, agents, advisors attorneys, and all other persons and entities

  acting or purporting to act on behalf of any of the foregoing.

                                           INSTRUCTIONS

            1.    Unless otherwise indicated, all Documents shall be produced for the relevant time

  period, which shall be the five years before the Petition Date until the date of service of these

  Requests, including any Documents having an earlier origin, if in use during the relevant time

  period.

            2.    The obligation to produce Documents responsive to these Requests shall be

  continuing in nature, and a producing party is required promptly to produce any Documents

  requested herein that it locates or obtains after responding to these Requests, up to the conclusion

  of the above-captioned Chapter 11 Cases.

            3.    You are requested to produce not only those Documents in Your physical

  possession, but also those documents within Your custody and control, including without

  limitation, Documents in the possession of Your agents, employees, affiliates, advisors, or

  consultants and any other person or entity acting on Your behalf. For avoidance of doubt, You are

  requested to produce all responsive Documents stored on any personal email accounts and

  electronic devices within Your possession, custody, and control, including without limitation any

  cell phones, desktop computers, laptop computers, tablet devices, and any other form of electronic

  device.




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         4.      If You have no Documents responsive to a particular Request, or if for some other

  reason You are unable to produce responsive Documents, Your response to that Request should

  specifically so state. Accordingly, You should respond to each and every Request herein. If You

  have certain Documents that are responsive to a Request, but believe that additional Documents

  not now available to You would also be responsive, You should provide the Documents You now

  have and specifically state when the remainder of the Documents will be provided.

         5.      These Requests, only to the extent they are directed to Dondero or Scott, should be

  read to exclude documents relating specifically to the transactions on December 28, 2016 between

  the Debtor, CLO Holdco, Ltd., Charitable DAF Holdco, Ltd., Charitable DAF Fund, LP, Highland

  Dallas Foundation, Inc., Dugaboy, and the Get Good Nonexempt Trust, whereby the Debtor

  received a 97.6835% interest in a promissory note held by the Get Good Nonexempt Trust in

  exchange for participation interests and stock options that ultimately were transferred to CLO

  Holdco, Ltd., as set forth in detail in paragraphs 30-60 the Committee's complaint brought in the

  adversary proceeding captioned Official Committee of Unsecured Creditors v. CLO Holdco, Ltd.

  et. al, Adversary No. 20-03195, [Docket No. 6] (the “CLO Holdco Transaction”). For avoidance

  of doubt, the Committee is not seeking discovery from Dondero or Scott relating to the CLO

  Holdco Transaction. If Documents or Communications are withheld from production because

  they relate to the CLO Holdco Transaction, the Committee requests that You so indicate in any

  responses to these Requests.

         6.      Where an objection is made to any Request, the objection shall state with specificity

  all grounds for the objection.

         7.      Where a claim of privilege is asserted in objecting to the production of any

  Document and a Document called for by these Requests is withheld on the basis of such assertion,




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  the objecting party shall identify the nature of the privilege (including work product) that is being

  claimed and, if the privilege is governed by state law, indicate the state’s privilege being invoked.

  In addition, the objecting party shall provide the following information with respect to any

  Document so withheld: (i) the type of Document, e.g. letter or memorandum; (ii) the general

  subject matter of the Document; (iii) the date of the Document; (iv) such other information as is

  sufficient to identify the Document for a subpoena duces tecum, including, where appropriate, the

  author of the Document, the addressees of the Document, and any other recipients shown in the

  Document, and, where not apparent, the relationship of the author, addresses, and recipients to

  each other.

         8.      In the event that a requested Document has been lost, destroyed, discarded and/or

  otherwise disposed of; You will identify the Document by identifying: (i) its author or preparer;

  (ii) all persons to whom distributed or shown; (iii) date; (iv) subject matter; (v) attachments or

  appendices; (vi) date, manner, and reason for destruction or other disposition; (vii) person

  authorizing destruction or other disposition; (viii) the Document request or requests to which the

  Document is responsive.

         9.      Produce all responsive Documents as they are kept in the usual course of business,

  or organize and label them to correspond with the request to which they are responsive. With

  respect to Electronically Stored Information (“ESI”), corresponding metadata shall be produced to

  the extent that the requested metadata exits and can be extracted using standard processing tools.

         10.     With respect to ESI, the producing party shall confer with the Committee to develop

  parameters, including custodians and search terms, to identify responsive Documents.

   DOCUMENTS REQUESTED OF ALL INDIVIDUAL HIGHLAND PARTIES EXCEPT
                       DONDERO AND SCOTT




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         1.      Any and all Documents or Communications among, between, or including You and

  any external auditor related to any transaction, donation, transfer, payments, distributions, or the

  remittance of anything of value between or among You and any employee, representative, counsel,

  agent or consultant of the Debtor, any Acis Dispute Party, any HarbourVest Entity, any Highland

  Charity and Trust, any Hunter Mountain Transaction Party, any Nex Entity, any Redeemer and

  Crusader Dispute Party, any UBS Dispute Party, and/or any other Related Entity.

         2.      Any and all Documents or Communications relating to any transaction, donation,

  transfer, payment, distribution, or the remittance of anything of value between or among You, the

  Debtor, any Highland Charity and Trust, any Hunter Mountain Transaction Party, any Nex Entity,

  any UBS Dispute Party, and/or any other Related Entity.

         3.      Any and all Documents or Communications relating to any shared services

  agreement, advisory agreement, sub-advisory agreement, management agreement, or other

  contract or arrangement of any kind involving any combination of You and any employee,

  representative, counsel, agent or consultant of the Debtor, any Highland Charity and Trust, any

  Hunter Mountain Transaction Party, any Nex Entity, any UBS Dispute Party, and/or any other

  Related Entity, including without limitation the business purpose for any such agreement and the

  negotiation of the terms of any such agreement.

         4.      Any and all Documents or Communications relating to any transaction, donation,

  transfer, payment, distribution, or the remittance of anything of value between or among any of

  You, the Debtor, any Highland Charity or Trust, any Hunter Mountain Transaction Party, any Nex

  Entity, any UBS Dispute Party, and/or any other Related Entity, including without limitation the

  business purpose for any such transaction, the negotiation of the terms of any such transaction, and




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  the value of any assets or liabilities involved in any such transaction, including without limitation

  any fairness opinions or neutral third-party assessments of the transaction.

         5.        Any and all Documents or Communications relating to any tax implications to You,

  the Debtor, any Highland Charity or Trust, any Hunter Mountain Transaction Party, any Nex

  Entity, any UBS Dispute Party, and/or any other Related Entity related to any transaction,

  donation, transfer, payment, distribution, or the remittance of anything of value described in

  Request 4.

         6.        Any and all Documents or Communications relating to the transfer, allocation, or

  assignment of responsibilities pursuant to any shared services agreements, advisory agreements,

  sub-advisory agreements, or management agreements between or among the Debtor, any Highland

  Charity or Trust, any Hunter Mountain Transaction Party, any Nex Entity, any UBS Dispute Party,

  and/or any other Related Entity, including any negotiations related to such transfer, allocation, or

  assignment and the factors considered when determining which entity would service any such

  agreements.

         7.        Any and all Documents or Communications relating to any transfer from the Debtor

  or any Related Entity to any Highland Charity or Trust, any Hunter Mountain Transaction Party,

  any Nex Entity, any UBS Dispute Party, and/or any other Related Entity of the Debtor’s

  management of assets pursuant to any shared services agreement, advisory agreement, sub-

  advisory agreement, management agreement, or other contract or arrangement of any kind,

  including, without limitation, the business purpose for such transfer and negotiations related to

  such transfer.

         8.        Any and all Documents or Communications shared between or among You and any

  other Individual Highland Party.




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         9.      Any and all Documents or Communications reflecting any relationship between or

  among You, any Highland Charity or Trust, any Hunter Mountain Transaction Party, any Nex

  Entity, any UBS Dispute Party, any Individual Highland Party, and/or any other Related Entity,

  including without limitation any title or position held, any compensation or payments received,

  directly or indirectly, and the time periods such titles or positions were held or compensation or

  payments were made.

         10.     Any and all Documents or Communications relating to the professional relationship

  between or among (1) Dondero, (2) You or any other Individual Highland Party, (3) or any entity

  with which those Individual Highland Parties may be affiliated, including without limitation any

  compensation, payment, or bonus payment directed by Dondero to be paid to You or any other

  Individual Highland Party for any services, actions, transactions, or any other form of work outside

  the scope of employment at the Debtor.

         11.     Any and all Documents or Communications reflecting any professional relationship

  between or among Okada and You, any Highland Charity or Trust, any Hunter Mountain

  Transaction Party, any Nex Entity, any UBS Dispute Party, any Individual Highland Party, and/or

  any other Related Entity, including without limitation any title or position held by Okada, any

  compensation or payments received by Okada, directly or indirectly, and the time periods such

  titles or positions were held or compensation or payments were made.

         12.     Any and all Documents or Communications relating to compensation or payments

  of any kind by the Debtor to You, any Individual Highland Party, any Highland Charity or Trust,

  any Hunter Mountain Transaction Party, any Nex Entity, any UBS Dispute Party, and/or any other

  Related Entity’s employee, representative, counsel, agent or consultant, including without

  limitation any bonus payments, salary, or payments characterized as “equity” distributions.




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         13.     Any and all Documents or Communications relating to the Individual Highland

  Parties’ actions or conduct regarding preservation of Documents and Communications relevant to

  any litigation, arbitration, mediation, or any other form of legal dispute between or among You,

  the Debtor, any Acis Dispute Party, any HarbourVest Entity, any Highland Charity or Trust, any

  Hunter Mountain Transaction Party, any Nex Entity, any Redeemer and Crusader Dispute Party,

  any UBS Dispute Party, and/or any other Related Entity.

         14.     Any and all Documents or Communications relating to any board positions held by

  You or any Individual Highland Party, including without limitation any board fees paid to you, the

  Debtor, and/or any Related Entity and/or the allocation of any such payment between You, the

  Debtor, and/or any Related Entity.

         15.     Any and all Documents or Communications reflecting Your current employer(s).

         16.     Any and all Documents or Communications related to or reflecting Your

  interactions or relationship with any of Skyview, SAS Holdings, SAS Loan Services, SAS Asset

  Recovery, SAS Litigation, Sentinel Holdings, Sentinel, SS Holdings, Governance Re, Highland

  D&O Trust, or Conyers.

         17.     Any    and   all   Documents    or   Communications     related   to   Brasilinvest

  Empreendimentos e Participacoes S/A’s provision of services to the Debtor.

         18.     Any and all Documents or Communications relating to Your policy or practice for

  document retention.

         19.     Any and all Documents or Communications relating to usernames, passwords,

  access keys, encryption keys, or any other form of accessing protected, secured, or encrypted data

  maintained by the Debtor and any Related Entity or on the Debtor’s servers.




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             20.      Any and all Documents or Communications relating to data, or information—

  physical or electronic—belonging to, maintained, or created by You, the Debtor, any Related

  Entity, or any Individual Highland Parties related to the Debtor or any Related Entity that You or

  any Individual Highland Party erased, destroyed, removed, wiped, edited, modified, and/or moved

  or transferred from its proper place or location. This Request includes but is not limited to, erasing,

  removing, or modifying data on cellphones, computers, laptops, email accounts, or servers, or by

  accessing and modifying through systems such as SMARSH, whether on Your own initiative or

  at the direction of any Individual Highland Party and/or Related Entity from the Petition Date until

  now.

             21.      Any and all Documents or Communications relating to Your financial records,

  including without limitation, Your tax returns.

             22.      Any and all Documents or Communications relating to any insurance claims made

  by You or on your behalf to Governance Re, including, but not limited to any insurance proceeds

  received.

           DOCUMENTS REQUESTED FROM DONDERO, ELLINGTON, LEVENTON,
                       MASSAND, MASLOW, AND KAMLANI3

             23.      Any and all Documents or Communications relating to the formation, ownership

  (whether direct, indirect, beneficial, or other), and management of Blackland, BMZ, Lullwater,

  Massand Capital, Ironwood, and/or Zumasaa, including without limitation, governance

  documents, corporate formation documents, certificates of incorporation, bylaws, shareholder

  agreements, operating agreements, partnership agreements, and any business, charitable, tax or

  other purpose or motivation for their creation.




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      In addition to Requests 1-20.


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         24.     Any and all Documents or Communications relating to the relationship of

  Blackland, BMZ, Lullwater, Massand Capital, Ironwood, and/or Zumasaa to You, the Debtor, any

  Individual Highland Party, and/or any other Related Entity, including without limitation, any

  ownership, direct or indirect, of any of Blackland, BMZ, Lullwater, Massand Capital, Ironwood,

  and/or Zumasaa, any title, ownership, or position held by You or any other Individual Highland

  Party at Blackland, BMZ, Lullwater, Massand Capital, Ironwood, and/or Zumasaa, any

  compensation or payments received by You or any other Individual Highland Party, directly or

  indirectly, from Blackland, BMZ, Lullwater, Massand Capital, Ironwood, and/or Zumasaa, and

  the time periods such titles or positions were held or compensation or payments were made.

         25.     Any and all Documents or Communications reflecting or relating to any

  transaction, donation, transfer, payments, distributions, or the remittance of anything of value

  between or among any of You, the Debtor, Blackland Legal, BMZ, Lullwater, Massand Capital,

  Ironwood, Zumasaa, any other Individual Highland Party, and/or any other Related Entity,

  including without limitation the business purpose for any such transaction, the negotiation of the

  terms of any such transaction, and the value of any assets or liabilities involved in any such

  transaction, including without limitation any fairness opinions or neutral third-party assessments

  of the transaction.

         26.     Any and all Documents or Communications relating to the tax implications to You,

  the Debtor, Blackland, BMZ, Lullwater, Massand Capital, Ironwood, Zumasaa, any other

  Individual Highland Party, and/or any other Related Entity of any transaction described in Request

  25.

         27.     Any and all Documents or Communications relating to any shared services

  agreement, advisory agreement, sub-advisory agreement, management agreement, or other




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  contract or arrangement of any kind involving any combination (directly or indirectly) of You, the

  Debtor, Blackland, BMZ, Lullwater, Massand Capital, Ironwood, Zumasaa, any other Individual

  Highland Party, and/or any Related Entity, including without limitation the business purpose for

  any such agreement and the negotiation of the terms of any such agreement.

          28.     Any and all Documents or Communications relating to the transfer, allocation, or

  assignment of the responsibilities pursuant to any shared services agreements, advisory

  agreements, sub-advisory agreements, or management agreements between or among any of You,

  the Debtor, Blackland, BMZ, Lullwater, Massand Capital, Ironwood, Zumasaa, any other

  Individual Highland Party, and/or any Related Entity, including without limitation any

  negotiations related to such transfer, allocation, or assignment and the factors considered when

  determining which entity or persons would service any such agreements.

          29.     Any and all Documents or Communications relating to any minutes, resolutions,

  written consents, or other materials related to the governance of Blackland, BMZ, Lullwater,

  Massand Capital, Ironwood, and/or Zumasaa, including without limitation, codes of conduct,

  policies, board packets, or other materials shared with members, officers, directors, or

  shareholders.

          30.     Any and all Documents or Communications reflecting compensation for consulting

  or other fees paid to Blackland, BMZ, Lullwater, Massand Capital, Ironwood, and/or Zumasaa by

  Debtor or any Related Entity, including without limitation documents such as invoices, wire

  transfer confirmations, bank statements, receipts, checks, or other similar items.

          31.     Any and all Documents or Communications involving You and anyone using the

  email   address    suffixes:   sasmgt.com,    the1991group.com,      blacklandassociates.com,   or

  zumaasaa.com.




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             32.      Any and all Documents or Communications relating, referring to, or reflecting the

  relationship between or among Blackland, Massand, Kamlani, Ellington, Leventon, Sevilla, Matt

  DiOrio or any other current or former employee of the Debtor, including without limitation any

  documents reflecting any email addresses for any of the above with a blacklandassociates.com

  suffix.

             33.      Any and all Documents or Communications relating, referring to, or reflecting the

  relationship of any current or former employee of the Debtor with any of SAS Asset Recovery,

  SAS Loan Services, SAS Holdings, or SAS Litigation, including without limitation any documents

  reflecting any email addresses used by any current or former employee of the Debtor or any of

  Nancy Dondero, Lauren Garza, Dilip Massand, Tabor Pittman, or Marsha Ellington Maslow with

  an sasmgt.com suffix.

             34.      Any and all Documents or Communications reflecting the nature of services

  provided to the Debtor or any Related Entity by any of Blackland, BMZ, Lullwater, Massand

  Capital, Ironwood, or Zumasaa.

       DOCUMENTS REQUESTED FROM DONDERO, ELLINGTON, AND LEVENTON4

             35.      Any and all Documents or Communications relating to the formation, ownership,

  beneficiaries, and management of Tall Pine, FHTC, Clairmont, and/or Prive, including without

  limitation, governance documents and any business, charitable, tax or other purpose or motivation

  for the creation of Tall Pine, FHTC, Clairmont, and/or Prive.

             36.      Any and all Documents or Communications relating to the relationship of Tall Pine,

  FHTC, Clairmont, and/or Prive to You, the Debtor, any Individual Highland Party, and/or any

  other Related Entity, including without limitation, any ownership, direct or indirect, of any of Tall



  4
      In addition to Requests 1-20.


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  Pine, FHTC, Clairmont, and/or Prive, any title, ownership, or position held by You or any other

  Individual Highland Party at Tall Pine, FTHC, Clairmont, and/or Prive, any compensation or

  payments received by You or any other Individual Highland Party, directly or indirectly, from Tall

  Pine, FHTC, Clairmont, and/or Prive, and the time periods such titles or positions were held or

  compensation or payments were made.

         37.     Any and all Documents or Communication relating to any transaction, donation,

  transfer, payments, distributions, or the remittance of anything of value between or among any of

  You, the Debtor, Tall Pine, FHTC, Clairmont, Prive, any other Individual Highland Party, and/or

  any other Related Entity, including without limitation the business purpose for any such

  transaction, the negotiation of the terms of any such transaction, and the value of any assets or

  liabilities involved in any such transaction, including without limitation any fairness opinions or

  neutral third-party assessments of the transaction.

         38.     Any and all Documents or Communications relating to the tax implications to You,

  the Debtor, Tall Pine, FHTC, Clairmont, Prive, any other Individual Highland Party, and/or any

  other Related Entity of any transaction, transaction, donation, transfer, payments, distributions, or

  the remittance of anything of value described in Request 37.

         39.     Any and all Documents or Communications relating to any shared services

  agreement, advisory agreement, sub-advisory agreement, management agreement, or other

  contract or arrangement of any kind involving any combination (directly or indirectly) of You, the

  Debtor, Tall Pine, FHTC, Clairmont, Prive, any other Individual Highland Party, and/or any

  Related Entity, including without limitation the business purpose for any such agreement and the

  negotiation of the terms of any such agreement.




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         40.     Any and all Documents or Communications relating to the transfer, allocation, or

  assignment of the responsibilities pursuant to any shared services agreements, advisory

  agreements, sub-advisory agreements, or management agreements between or among any of You,

  the Debtor, Tall Pine, FHTC, Clairmont, Prive, any other Individual Highland Party, and/or any

  Related Entity, including without limitation any negotiations related to such transfer, allocation,

  or assignment and the factors considered when determining which entity or persons would service

  any such agreements.

         41.     Any and all Documents or Communications relating to any minutes, resolutions,

  written consents, or other materials related to the governance of Tall Pine, FHTC, Clairmont,

  and/or Prive, including without limitation, codes of conduct, policies, board packets, or other

  materials shared with members, officers, directors, or shareholders.

         42.     Any and all Documents or Communications reflecting the nature of services

  provided to the Debtor or any Related Entity by any of Tall Pine, FHTC, Clairmont, and/or Prive.

         43.     Any and all Documents or Communications reflecting the nature of services

  provided to Tall Pine by any of FHTC, Clairmont, and/or Prive.




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                                       EXHIBIT 7
        Requests for Production of Documents to the Highland Charities and Trusts




                                           1

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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

                                                                  )
                                                                  )
      In re:                                                      ) Chapter 11
                                                                  )
      HIGHLAND CAPITAL MANAGEMENT, L.P.,1                         ) Case No. 19-34054-sgj11
                                                                  )
                                       Debtor.



                        REQUESTS FOR PRODUCTION OF DOCUMENTS TO
                           THE HIGHLAND CHARITIES AND TRUSTS

               Please take notice that, pursuant to Rule 2004 of the Federal Rules of Bankruptcy

  Procedure, the Official Committee of Unsecured Creditors in the above captioned bankruptcy case

  (the “Committee”), along with Teneo Capital LLC, in its capacity as litigation advisor to the

  Committee (the “Litigation Advisor”), hereby serves the following requests for production of

  documents or categories of documents to Charitable DAF Fund, L.P.; Charitable DAF GP, LLC;

  Charitable DAF HoldCo, Ltd.; Community Foundation of North Texas Inc.; Dallas Foundation;

  The Dugaboy Investment Trust; the Dondero Family Dynasty Trust; the Fouray’s Trust; Empower

  Dallas Foundation; Greater Kansas City Community Foundation; Highland Capital Management,

  L.P. Charitable Fund; Highland Dallas Foundation; Highland Kansas City Foundation, Inc.; The

  Santa Barbara Foundation; Highland Santa Barbara Foundation, Inc.; Okada Family Foundation;

  The Dondero Insurance Rabbi Trust; The Get Good Trust; The Get Good Non-Exempt Trust No.

  1; The Get Good Non-Exempt Trust No. 2; the Get Better Trust; the Canis Minor Trust; The Mark

  & Pamela Okada Family Trust – Exempt Trust #1; The Mark & Pamela Okada Family Trust –



  1
   The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
  for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.



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  Exempt Trust #2; The Okada Insurance Rabbi Trust; The SLHC Trust, James Dondero, and Grant

  James Scott III to be produced to the Committee in accordance with the Definitions and

  Instructions below (“Request(s)”).

                                           DEFINITIONS

         1.      “Adversary Defendants” means Dondero, Scott, Charitable DAF Fund, Charitable

  DAF Holdco, CLO Holdco, Ltd., Highland Dallas Foundation, Dugaboy, and Get Good.

         2.       “Charitable DAF Fund” means Charitable DAF Fund, L.P., and any direct or

  indirect predecessors or successors in interest, parents, subsidiaries or affiliates of any of them,

  and any and all officers, directors, employees, representatives, agents, advisors, attorneys, and all

  other persons and entities acting or purporting to act on behalf of any of the foregoing.

         3.      “Charitable DAF GP” means Charitable DAF GP, and any direct or indirect

  predecessors or successors in interest, parents, subsidiaries or affiliates of any of them, and any

  and all officers, directors, employees, representatives, agents, advisors, attorneys, and all other

  persons and entities acting or purporting to act on behalf of any of the foregoing.

         4.      “Charitable DAF Holdco” means Charitable DAF Holdco, Ltd., and any direct or

  indirect predecessors or successors in interest, parents, subsidiaries or affiliates of any of them,

  and any and all officers, directors, employees, representatives, agents, advisors, attorneys, and all

  other persons and entities acting or purporting to act on behalf of any of the foregoing.

         5.      “Communication(s)” means any written or oral communication of any kind or

  character, including, by way of example and without limitation, e-mails, instant messages, text

  messages, voicemail or voice messages, audio recordings, personal conversations, telephone

  conversations, letters, meetings, memoranda, telegraphic and telex communications or transmittals




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  of Documents, whether such communication was sent, received, or created, in final or in draft, and

  all Documents concerning or memorializing such written or oral communications.

         6.      “Concerning” means consisting of, reflecting, referring to, regarding, related to,

  involving, evidencing, constituting, or having any legal, logical, evidential, or factual connection

  with (whether to support or rebut) the subject matter designated in any of these Requests. A request

  for Documents “concerning” a specified subject matter always shall include Communications,

  notes, and memoranda (whenever prepared) relating to the subject matter of the request.

         7.      “Dallas Foundation” means the Dallas Foundation, and any direct or indirect

  predecessors or successors in interest, parents, subsidiaries or affiliates of any of them, and any

  and all officers, directors, employees, representatives, agents, advisors, attorneys, and all other

  persons and entities acting or purporting to act on behalf of any of the foregoing.

         8.      “Debtor” means the Highland Capital Management, L.P., the Debtor in the above-

  captioned case, and any direct or indirect predecessors or successors in interest, parents,

  subsidiaries or affiliates of any of them, and any and all officers, directors, employees,

  representatives, agents, advisors attorneys, and all other persons and entities acting or purporting

  to act on behalf of any of the foregoing.

         9.      “Document(s)” means, without limitation, the original and all copies, prior drafts,

  and translation of information in any written, typed, printed, recorded or graphic form, however

  produced or reproduced, of any type or description, regardless of origin or location, including

  without limitation, all Electronically Stored Information, Communications, records, tables, charts,

  analyses, graphs, schedules, reports, memoranda, notes, lists, calendar and diary entries, letters

  (sent or received), contracts, statements, bills, checks, vouchers, video tapes, photographs, tape

  recordings, other mechanical records, transcripts or logs of any such recordings, and all other data




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  compilations from which information can be obtained. The term “Document(s)” is intended to be

  at least as broad in meaning and scope as the usage of the term in or pursuant to the Federal Rules

  of Civil Procedure.

         10.     “Dondero” means James Dondero and all entities under his direct or indirect

  control.

         11.     “Dugaboy” means The Dugaboy Investment Trust, and any direct or indirect

  predecessors or successors in interest, parents, subsidiaries or affiliates of any of them, and any

  and all officers, trustees, directors, employees, representatives, agents, advisors, attorneys, and all

  other persons and entities acting or purporting to act on behalf of any of the foregoing.

         12.      “Get Good” means the Get Good Trust, the Get Good Nonexempt Trust, and any

  direct or indirect predecessors or successors in interest, parents, subsidiaries or affiliates of any of

  them, and any and all officers, trustees, directors, employees, representatives, agents, advisors,

  attorneys, and all other persons and entities acting or purporting to act on behalf of any of the

  foregoing.

         13.     “Highland Charity(ies) and Trust(s)” means Charitable DAF Fund, L.P., Charitable

  DAF GP, Charitable DAF Holdco, Ltd., Community Foundation of North Texas Inc., Dallas

  Foundation, The Dondero Insurance Rabbi Trust, The Dugaboy Investment Trust, the Dondero

  Family Dynasty Trust, the Fourays Trust, Empower Dallas Foundation, Get Good, the Get Good

  Nonexempt Trust No. 1 (formerly known as the Get Better Trust), the Get Good Nonexempt Trust

  No. 2 (formerly known as the Canis Minor Trust), the Get Better Trust, the Canis Minor Trust, the

  Greater Kansas City Community Foundation, Highland Capital Management L.P. Charitable

  Fund, Highland Dallas Foundation, Inc., Highland Kansas City Foundation, Inc., Highland Santa

  Barbara Foundation, Inc., Okada Family Foundation, Inc., The Mark & Pamela Okada Family




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  Trust – Exempt Trust #1, The Mark & Pamela Okada Family Trust – Exempt Trust #2, The Okada

  Insurance Rabbi Trust, SLHC Trust, and any direct or indirect predecessors or successors in

  interest, parents, subsidiaries or affiliates of any of them, and any and all officers, trustees,

  directors, employees, representatives, agents, advisors, attorneys, and all other persons and entities

  acting or purporting to act on behalf of any of the foregoing.

         14.     “Highland Dallas Foundation” means Highland Dallas Foundation, Inc., and any

  direct or indirect predecessors or successors in interest, parents, subsidiaries or affiliates of any of

  them, and any and all officers, trustees, directors, employees, representatives, agents, advisors,

  attorneys, and all other persons and entities acting or purporting to act on behalf of any of the

  foregoing.

         15.     “Identify” means to state, to the extent known (or, if not know, to so state), the (i)

  type of Document; (ii) general subject matter; (iii) date of the Document; and (iv) author(s),

  addressee(s), and recipient(s).

         16.     “Individual Highland Parties” means James Dondero, Scott Ellington, Isaac

  Leventon, Frank Waterhouse, Mark Patrick, Mark Okada, John Holt, Grant Scott, Mary Jalonick,

  Katie Irving, Jean Paul Sevilla, Lauren Thedford, Stephanie Vitiello, Trey Parker, John Honis,

  Nancy Dondero, Dana Scott Breault, Gianna Cerullo, Matt DiOrio, Melissa Schroth, Tara Loiben,

  Dilip Massand, Marcia Ellington Maslow, Jason Post, Eric Holt, Cyrus Eftekhari, Jason Rothstein,

  and Sanjay Kamlani, as well as former Debtor employees acting at the direction of Dondero.

         17.     “Okada” means Mark Okada and any entities under his direct or indirect control.

         18.     “Petition Date” means October 16, 2019.

         19.     “Related Entity” means any current or former insider of the Debtor, the Dugaboy

  Investment Trust, Charitable DAF Holdco, Ltd, Hunter Mountain Investment Trust, NexBank




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  Capital, Strand Advisors XVI, Inc., Highland Capital Management Fund Advisors, L.P.,

  NexAnnuity Holdings, Inc., the entities listed on Annex 1 attached to Exhibit DD of the Debtor’s

  Notice of Filing of Plan Supplement to the Fifth Amended Plan of Reorganization of Highland

  Capital Management, L.P. (as Modified) [Docket No. 1875], and any entity directly or indirectly

  owned, controlled or operated for the benefit of Dondero, Okada, Scott, John Honis, any current

  or former employee of the Debtor, or any of the foregoing persons or entities.

           20.      “Relating to” means consisting of, reflecting, referring to, regarding, concerning,

  involving, evidencing, constituting, or having any legal, logical, evidential, or factual contention

  with (whether to support or to rebut) the subject matter designated in any of these Requests. A

  request for Documents “relating to”2 a specified subject matter always shall include

  Communications, notes and memoranda (whenever prepared) relating to the subject matter of the

  request.

           21.      “Scott” means Grant James Scott III, the former trustee of Dugaboy, Get Good, Get

  Good NET 1, and Get Good NET 2.

           22.      “You” or “Your” means the entity or person responding to these Requests, and, if

  an entity, any direct or indirect predecessors or successors in interest, parents, subsidiaries or

  affiliates of any of any such entity, and any and all partners, officers, directors, shareholders,

  members, employees, representatives, agents, advisors attorneys, and all other persons and entities

  acting or purporting to act on behalf of any of the foregoing.

                                                 INSTRUCTIONS

           1.       Unless otherwise indicated, all Documents shall be produced for the relevant time

  period, which shall be the five years before the Petition Date until the date of service of these


  2
   For clarity, the phrase “relating to” shall have the meaning ascribed herein this section regardless of whether such
  phrase is capitalized.


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  Requests, including any Documents having an earlier origin, if in use during the relevant time

  period.

            2.   The obligation to produce Documents responsive to these Requests shall be

  continuing in nature, and a producing party is required promptly to produce any Documents

  requested herein that it locates or obtains after responding to these Requests, up to the conclusion

  of the above-captioned Chapter 11 Cases.

            3.   You are requested to produce not only those Documents in Your physical

  possession, but also those documents within Your custody and control, including without

  limitation, Documents in the possession of Your agents, employees, affiliates, advisors, or

  consultants and any other person or entity acting on Your behalf.

            4.   If You have no Documents responsive to a particular Request, or if for some other

  reason You are unable to produce responsive Documents, Your response to that Request should

  specifically so state. Accordingly, You should respond to each and every Request herein. If You

  have certain Documents that are responsive to a Request, but believe that additional Documents

  not now available to You would also be responsive, You should provide the Documents You now

  have and specifically state when the remainder of the Documents will be provided.

            5.   These Requests, only to the extent they are directed to the Adversary Defendants,

  should be read to exclude documents relating specifically to the transactions on December 28,

  2016 between the Debtor, CLO Holdco, Ltd., Charitable DAF Holdco, Charitable DAF Fund,

  Highland Dallas Foundation, Dugaboy, and Get Good, whereby the Debtor received a 97.6835%

  interest in a promissory note held by the Get Good in exchange for participation interests and stock

  options that ultimately were transferred to CLO Holdco, Ltd., as set forth in detail in paragraphs

  30-60 the Committee's complaint brought in the adversary proceeding captioned Official




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  Committee of Unsecured Creditors v. CLO Holdco, Ltd. et. al Adversary No. 20-03195, [Docket

  No. 6] (the “CLO Holdco Transaction”). For avoidance of doubt, the Committee is not seeking

  discovery from the Adversary Defendants relating to the CLO Holdco Transaction. If Documents

  or Communications are withheld from production because they relate to the CLO Holdco

  Transaction, the Committee requests that You so indicate in any responses to these Requests.

         6.      Where an objection is made to any Request, the objection shall state with specificity

  all grounds for the objection.

         7.      Where a claim of privilege is asserted in objecting to the production of any

  Document and a Document called for by these Requests is withheld on the basis of such assertion,

  the objecting party shall identify the nature of the privilege (including work product) that is being

  claimed and, if the privilege is governed by state law, indicate the state’s privilege being invoked.

  In addition, the objecting party shall provide the following information with respect to any

  Document so withheld: (i) the type of Document, e.g. letter or memorandum; (ii) the general

  subject matter of the Document; (iii) the date of the Document; (iv) such other information as is

  sufficient to identify the Document for a subpoena duces tecum, including, where appropriate, the

  author of the Document, the addressees of the Document, and any other recipients shown in the

  Document, and, where not apparent, the relationship of the author, addresses, and recipients to

  each other.

         8.      In the event that a requested Document has been lost, destroyed, discarded and/or

  otherwise disposed of; You will identify the Document by identifying: (i) its author or preparer;

  (ii) all persons to whom distributed or shown; (iii) date; (iv) subject matter; (v) attachments or

  appendices; (vi) date, manner, and reason for destruction or other disposition; (vii) person




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  authorizing destruction or other disposition; (viii) the Document request or requests to which the

  Document is responsive.

         9.      Produce all responsive Documents as they are kept in the usual course of business,

  or organize and label them to correspond with the request to which they are responsive. With

  respect to Electronically Stored Information (“ESI”), corresponding metadata shall be produced to

  the extent that the requested metadata exits and can be extracted using standard processing tools.

         10.     With respect to ESI, the producing party shall confer with the Committee to develop

  parameters, including custodians and search terms, to identify responsive Documents.

                                   DOCUMENTS REQUESTED

         1.      Any and all Documents or Communications relating to the formation, ownership

  (whether direct, indirect, beneficial, or other), and management of any Highland Charity and Trust,

  other than the Adversary Defendants, including without limitation, governance documents,

  corporate formation documents, certificates of incorporation, bylaws, shareholder agreements,

  operating agreements, partnership agreements, trust agreements, and any business, charitable, tax

  or other purpose or motivation for their creation.

         2.      Any and all Documents or Communications relating to the financial status of any

  Highland Charity and Trust, other than the Adversary Defendants, including but not limited to

  financial statements, balance sheets, statements of cash flows, owner’s equity calculations,

  investment summaries, valuations, reports, or memoranda from auditors or financial consultants,

  or account summaries.

         3.      Any and all Documents or Communications relating to any shared services

  agreement, advisory agreement, sub-advisory agreement, management agreement, buy-sell

  agreement, note, loan, payment obligation, or other contract or arrangement of any kind involving

  any combination of the Debtor or any Related Entity and any Highland Charity and Trust, other


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  than in connection with the CLO Holdco Transaction, including without limitation the business

  purpose for any such agreement and the negotiation of the terms of any such agreement.

         4.      Any and all Documents or Communications relating to any transaction, donation,

  transfer, payment, distribution, or the remittance of anything of value between or among any of

  the Debtor, any Highland Charity and Trust, or any Related Entity, other than the CLO Holdco

  Transaction, including without limitation the amount, the date, and any bases or purpose and the

  negotiation of the terms of any such transaction.

         5.      Any and all Documents or Communications relating to the value of any assets or

  liabilities involved in any transaction, donation, transfer, payment, distribution, or the remittance

  of anything of value described in Request 4, including without limitation any valuations, fairness

  opinions, or neutral third-party assessments of the transactions.

         6.      Any and all Documents or Communications relating to any tax implications to You,

  the Debtor, any Related Entity, or any other Highland Charity and Trust related to any transaction,

  donation, transfer, payment, distribution, or the remittance of anything of value described in

  Request 4.

         7.      Any and all Documents or Communications relating to the involvement of Dondero

  or any Individual Highland Party in any transaction, donation, transfer, payment, distribution, or

  the remittance of anything of value described in Request 4.

         8.      Any and all Documents or Communications relating to the source of funds used by

  the Debtor, any Related Entity, or any Highland Charity and Trust in any transaction, donation,

  transfer, payment, distribution, or the remittance of anything of value described in Request 4.

         9.      Any and all Documents or Communications relating to Debtor assets that were

  transferred, directly, or via intermediary entities, to any Highland Charity and Trust, other than in




                                                   11

                                                                                                          APP 1106
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  connection with the CLO Holdco Transaction, including without limitation, whether the assets

  were used for a charitable purpose or were subsequently transferred out of the Highland Charity

  and Trust, and the business, charitable, or tax purpose for any purpose or further transfer.

         10.     Any and all Documents or Communications relating to the relationship between or

  among the Debtor or any Related Entity and any Highland Charity and Trust, other than the

  Adversary Defendants, including without limitation, any title or position held by any former or

  current Debtor employee (including all Individual Highland Parties) at any Highland Charity and

  Trust and any transfers, compensation, or payment made by the Debtor to any Highland Charity

  and Trust’s employees, including without limitation any bonus payments.

         11.     Any and all Documents or Communications reflecting or relating to any

  transaction, donation, transfer, payment, distribution, or the remittance of anything of value from

  any Highland Charity and Trust, other than in connection with the CLO Holdco Transaction,

  whether for philanthropic or other purposes.

         12.     Any and all Documents or Communications reflecting or relating to any

  transaction, donation, transfer, payment, distribution, or the remittance of anything of value to any

  Highland Charity and Trust, other than in connection with the CLO Holdco Transaction, whether

  for philanthropic or other purposes.

         13.     Any and all Documents or Communications relating to the relationship between or

  among Dondero and any Highland Charity and Trust, other than the Adversary Defendants,

  including without limitation, any title or position held by Dondero at any Highland Charity and

  Trust and any transfers, compensation, or payments received by Dondero, directly or indirectly,

  from the Highland Charities and Trusts or the Debtor.




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             14.      Any and all Documents or Communications related to the identity of the

  beneficiaries or settlors of any Highland Charity and Trust, other than the Adversary Defendants

  in connection with the CLO Holdco Transaction, including any transfers, compensation, or

  payment made to those beneficiaries.

             15.      Any and all Documents or Communications relating to the relationship between or

  among Scott and any Highland Charity and Trust, other than the Adversary Defendants in

  connection with the CLO Holdco Transaction, including without limitation, any title or position

  held by Scott at any Highland Charity and Trust and any transfer, compensation, or payments

  received by Scott, directly or indirectly, from the Highland Charities and Trusts or the Debtor.

             16.      Any and all Documents or Communications relating to any minutes, resolutions,

  written consents, or other materials related to the governance of any Highland Charity and Trust,

  other than the Adversary Defendants, including without limitation, codes of conduct, policies,

  board packets, or other materials shared with members, officers, directors, trustees, or

  shareholders, if any.

             17.      Any and all Documents or Communications relating to Your policy or practice for

  document retention.

               DOCUMENT REQUESTS DIRECTED TO THE GET BETTER TRUST3

             18.      Any and all Documents or Communications relating to Your trustees, grantors,

  settlors, or beneficiaries, including without limitation, the circumstances surrounding any changes

  to the person(s) serving in those roles over time.




  3
      In addition to Requests 1-17.


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                                                                                                        APP 1108
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                                      EXHIBIT 8
                Requests for Production of Documents to the Nex Entities




                                           1

                                                                                  APP 1109
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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

                                                                  )
                                                                  )
      In re:                                                      ) Chapter 11
                                                                  )
      HIGHLAND CAPITAL MANAGEMENT, L.P.,1                         ) Case No. 19-34054-sgj11
                                                                  )
                                       Debtor.



          REQUESTS FOR PRODUCTION OF DOCUMENTS TO THE NEX ENTITIES

               Please take notice that, pursuant to Rule 2004 of the Federal Rules of Bankruptcy

  Procedure, the Official Committee of Unsecured Creditors in the above captioned bankruptcy case

  (the “Committee”), along with Teneo Capital LLC, in its capacity as litigation advisor to the

  Committee (the “Litigation Advisor”), hereby serves the following requests for production of

  documents or categories of documents to NexPoint Advisors, L.P., NexPoint Strategic

  Opportunities Fund, NexPoint Advisors GP, LLC, Highland Capital Management Fund Advisors

  L.P., NexPoint Real Estate Finance, Inc., NexPoint Real Estate Capital, LLC, NexPoint

  Residential Trust, Inc., NexPoint Hospitality Trust, NexPoint Real Estate Partners, LLC, NexPoint

  Multifamily Capital Trust, Inc., VineBrook Homes Trust, Inc., NexPoint Real Estate Advisors,

  L.P., NexPoint Real Estate Advisors II, L.P., NexPoint Real Estate Advisors III, L.P., NexPoint

  Real Estate Advisors IV, L.P., NexPoint Real Estate Advisors V, L.P., NexPoint Real Estate

  Advisors VI, L.P., NexPoint Real Estate Advisors VII, L.P., NexPoint Real Estate Advisors VIII,

  L.P., NexAnnuity Holdings, Inc., John Holt, Mark Okada, and James Dondero to be produced to

  the Committee in accordance with the Definitions and Instructions below (“Request(s)”).


  1
   The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
  for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.



                                                           2

                                                                                                                          APP 1110
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                                              DEFINITIONS

         1.      “Communication(s)” means any written or oral communication of any kind or

  character, including, by way of example and without limitation, e-mails, instant messages, text

  messages, voicemail or voice messages, audio recordings, personal conversations, telephone

  conversations, letters, meetings, memoranda, telegraphic and telex communications or transmittals

  of Documents, whether such communication was sent, received, or created, in final or in draft, and

  all Documents concerning or memorializing such written or oral communications.

         2.      “Concerning” means consisting of, reflecting, referring to, regarding, related to,

  involving, evidencing, constituting, or having any legal, logical, evidential, or factual connection

  with (whether to support or rebut) the subject matter designated in any of these Requests. A request

  for Documents “concerning” a specified subject matter always shall include Communications,

  notes, and memoranda (whenever prepared) relating to the subject matter of the request.

         3.      “Debtor” means the Highland Capital Management, L.P., the Debtor in the above-

  captioned case, and any direct or indirect predecessors or successors in interest, parents,

  subsidiaries or affiliates of any of them, and any and all officers, directors, employees,

  representatives, agents, advisors attorneys, and all other persons and entities acting or purporting

  to act on behalf of any of the foregoing.

         4.      “Document(s)” means, without limitation, the original and all copies, prior drafts,

  and translation of information in any written, typed, printed, recorded or graphic form, however

  produced or reproduced, of any type or description, regardless of origin or location, including

  without limitation, all Electronically Stored Information, Communications, records, tables, charts,

  analyses, graphs, schedules, reports, memoranda, notes, lists, calendar and diary entries, letters

  (sent or received), contracts, statements, bills, checks, vouchers, video tapes, photographs, tape




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                                                                                                         APP 1111
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  recordings, other mechanical records, transcripts or logs of any such recordings, and all other data

  compilations from which information can be obtained. The term “Document(s)” is intended to be

  at least as broad in meaning and scope as the usage of the term in or pursuant to the Federal Rules

  of Civil Procedure.

         5.      “Dondero” means James Dondero and all entities under his direct or indirect

  control.

         6.      “HCMFA” means Highland Capital Management Fund Advisors, L.P., and any

  direct or indirect predecessors or successors in interest, parents, subsidiaries or affiliates of any of

  them, and any and all officers, directors, employees, representatives, agents, advisors, attorneys,

  and all other persons and entities acting or purporting to act on behalf of any of the foregoing.

         7.      “Holt” means John Holt, president and chief executive officer of NexBank Capital,

  Inc.

         8.      “Identify” means to state, to the extent known (or, if not know, to so state), the (i)

  type of Document; (ii) general subject matter; (iii) date of the Document; and (iv) author(s),

  addressee(s), and recipient(s).

         9.      “NexBank” means NexBank Capital, Inc., NexBank, SSB, NexBank Securities,

  Inc., NexBank Title, Inc., and any direct or indirect predecessors or successors in interest, parents,

  subsidiaries or affiliates of any of them, and any and all officers, directors, employees,

  representatives, agents, advisors, attorneys, and all other persons and entities acting or purporting

  to act on behalf of any of the foregoing.

         10.     “NexPoint” means NexPoint Advisors, L.P., and any direct or indirect predecessors

  or successors in interest, parents, subsidiaries or affiliates of any of them, and any and all officers,




                                                     4

                                                                                                             APP 1112
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  directors, employees, representatives, agents, advisors, attorneys, and all other persons and entities

  acting or purporting to act on behalf of any of the foregoing.

         11.     “NexPoint Entities” means NexPoint Real Estate Finance, Inc., NexPoint Real

  Estate Capital, LLC, NexPoint Residential Trust, Inc., NexPoint Hospitality Trust, NexPoint Real

  Estate Partners, LLC, NexPoint Multifamily Capital Trust, Inc., VineBrook Homes Trust, Inc.,

  NexPoint Real Estate Advisors, L.P., NexPoint Real Estate Advisors II, L.P., NexPoint Real Estate

  Advisors III, L.P., NexPoint Real Estate Advisors IV, L.P., NexPoint Real Estate Advisors V, L.P.,

  NexPoint Real Estate Advisors VI, L.P., NexPoint Real Estate Advisors VII, L.P., NexPoint Real

  Estate Advisors VIII, L.P., NexPoint Strategic Opportunities Fund, NexAnnuity Holdings, Inc.,

  and any direct or indirect predecessors or successors in interest, parents, subsidiaries or affiliates

  of any of them, and any and all officers, trustees, directors, employees, representatives, agents,

  advisors, attorneys, and all other persons and entities acting or purporting to act on behalf of any

  of the foregoing.

         12.     “Nex Entities” or “Nex Entity” means HCMFA, NexBank, NexPoint, and the

  NexPoint Entities.

         13.     “Okada” means Mark Okada and any entities under his direct or indirect control.

         14.     “Petition Date” means October 16, 2019.

         15.     “Related Entity” means any current or former insider of the Debtor, the Dugaboy

  Investment Trust, Charitable DAF Holdco, Ltd, Hunter Mountain Investment Trust, NexBank

  Capital, Strand Advisors XVI, Inc., HCMFA, NexAnnuity Holdings, Inc., the entities listed on

  Annex 1 attached to Exhibit DD of the Debtor’s Notice of Filing of Plan Supplement to the Fifth

  Amended Plan of Reorganization of Highland Capital Management, L.P. (as Modified) [Docket

  No. 1875], and any entity directly or indirectly owned, controlled or operated for the benefit of




                                                    5

                                                                                                           APP 1113
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  Dondero, Okada, Grant Scott, John Honis, any current or former employee of the Debtor, or any

  of the foregoing persons or entities.

            16.     “Relating to” means consisting of, reflecting, referring to, regarding, concerning,

  involving, evidencing, constituting, or having any legal, logical, evidential, or factual contention

  with (whether to support or to rebut) the subject matter designated in any of these Requests. A

  request for Documents “relating to”2 a specified subject matter always shall include

  Communications, notes and memoranda (whenever prepared) relating to the subject matter of the

  request.

            17.     “You” or “Your” means the entity or person responding to these Requests, and, if

  an entity, any direct or indirect predecessors or successors in interest, parents, subsidiaries or

  affiliates of any of any such entity, and any and all partners, officers, directors, shareholders,

  members, employees, representatives, agents, advisors attorneys, and all other persons and entities

  acting or purporting to act on behalf of any of the foregoing.

                                                 INSTRUCTIONS

            1.      Unless otherwise indicated, all Documents shall be produced for the relevant time

  period, which shall be the five years before the Petition Date until the date of service of these

  Requests, including any Documents having an earlier origin, if in use during the relevant time

  period.

            2.      The obligation to produce Documents responsive to these Requests shall be

  continuing in nature, and a producing party is required promptly to produce any Documents

  requested herein that it locates or obtains after responding to these Requests, up to the conclusion

  of the above-captioned Chapter 11 Cases.


  2
   For clarity, the phrase “relating to” shall have the meaning ascribed herein this section regardless of whether such
  phrase is capitalized.


                                                            6

                                                                                                                          APP 1114
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         3.      You are requested to produce not only those Documents in Your physical

  possession, but also those documents within Your custody and control, including without

  limitation, Documents in the possession of Your agents, employees, affiliates, advisors, or

  consultants and any other person or entity acting on Your behalf.

         4.      If You have no Documents responsive to a particular Request, or if for some other

  reason You are unable to produce responsive Documents, Your response to that Request should

  specifically so state. Accordingly, You should respond to each and every Request herein. If You

  have certain Documents that are responsive to a Request, but believe that additional Documents

  not now available to You would also be responsive, You should provide the Documents You now

  have and specifically state when the remainder of the Documents will be provided.

         5.      These Requests, only to the extent they are directed to Dondero, should be read to

  exclude documents relating specifically to the transactions on December 28, 2016 between the

  Debtor, CLO Holdco, Ltd., Charitable DAF Holdco, Ltd., Charitable DAF Fund, LP, Highland

  Dallas Foundation, Inc., the Dugaboy Investment Trust, and the Get Good Nonexempt Trust,

  whereby the Debtor received a 97.6835% interest in a promissory note held by the Get Good

  Nonexempt Trust in exchange for participation interests and stock options that ultimately were

  transferred to CLO Holdco, Ltd., as set forth in detail in paragraphs 30-60 the Committee's

  complaint brought in the adversary proceeding captioned Official Committee of Unsecured

  Creditors v. CLO Holdco, Ltd. et. al, Adversary No. 20-03195, [Docket No. 6] (the “CLO Holdco

  Transaction”). For avoidance of doubt, the Committee is not seeking discovery from Dondero

  relating to the CLO Holdco Transaction. If Documents or Communications are withheld from

  production because they relate to the CLO Holdco Transaction, the Committee requests that You

  so indicate in any responses to these Requests.




                                                    7

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         6.      Where an objection is made to any Request, the objection shall state with specificity

  all grounds for the objection.

         7.      Where a claim of privilege is asserted in objecting to the production of any

  Document and a Document called for by these Requests is withheld on the basis of such assertion,

  the objecting party shall identify the nature of the privilege (including work product) that is being

  claimed and, if the privilege is governed by state law, indicate the state’s privilege being invoked.

  In addition, the objecting party shall provide the following information with respect to any

  Document so withheld: (i) the type of Document, e.g. letter or memorandum; (ii) the general

  subject matter of the Document; (iii) the date of the Document; (iv) such other information as is

  sufficient to identify the Document for a subpoena duces tecum, including, where appropriate, the

  author of the Document, the addressees of the Document, and any other recipients shown in the

  Document, and, where not apparent, the relationship of the author, addresses, and recipients to

  each other.

         8.      In the event that a requested Document has been lost, destroyed, discarded and/or

  otherwise disposed of; You will identify the Document by identifying: (i) its author or preparer;

  (ii) all persons to whom distributed or shown; (iii) date; (iv) subject matter; (v) attachments or

  appendices; (vi) date, manner, and reason for destruction or other disposition; (vii) person

  authorizing destruction or other disposition; (viii) the Document request or requests to which the

  Document is responsive.

         9.      Produce all responsive Documents as they are kept in the usual course of business,

  or organize and label them to correspond with the request to which they are responsive. With

  respect to Electronically Stored Information (“ESI”), corresponding metadata shall be produced to

  the extent that the requested metadata exits and can be extracted using standard processing tools.




                                                   8

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         10.     With respect to ESI, the producing party shall confer with the Committee to develop

  parameters, including custodians and search terms, to identify responsive Documents.

                                   DOCUMENTS REQUESTED

         1.      Any and all Documents or Communications relating to any shared services

  agreement, advisory agreement, sub-advisory agreement, management agreement, buy-sell

  agreement, note, loan, payment obligation, or other contract or arrangement of any kind involving

  any combination of the Debtor or any Related Entity and any Nex Entity, including without

  limitation the business purpose for any such agreement and the negotiation of the terms of any

  such agreement.

         2.      Any and all Documents or Communications relating to any transaction, donation,

  transfer, payments, distributions, or the remittance of anything of value between or among the

  Debtor, any Related Entity, and any Nex Entity, including without limitation the business purpose

  for any such transaction, the negotiation of the terms of any such transaction, and the value of any

  assets or liabilities involved in any such transaction, including without limitation any fairness

  opinions or neutral third-party assessments of the transaction.

         3.      Any and all Documents or Communications relating to the tax implications to any

  Nex Entity, the Debtor, or any Related Entity of any transaction, donation, transfer, payments,

  distributions, or the remittance of anything of value described in Requests 1 and 2.

         4.      Any and all Documents or Communications relating to the formation, ownership

  (whether direct, indirect, beneficial, or other), and management of any Nex Entity, including

  without limitation, governance documents, corporate formation documents, certificates of

  incorporation, bylaws, shareholder agreements, operating agreements, partnership agreements,

  and any business, tax, or other purpose or motivation for their creation.




                                                   9

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         5.      Any and all Documents or Communications relating to the transfer, allocation, or

  assignment of the responsibilities pursuant to any shared services agreement, advisory agreement,

  sub-advisory agreement, or management agreement between or among the Debtor, any Related

  Entity, or any Nex Entity, including any negotiations related to such transfer, allocation, or

  assignment and the factors considered when determining which entity would service any such

  agreements.

         6.      Any and all Documents or Communications relating to any shared services

  agreement, advisory agreement, sub-advisory agreement, or management agreement between or

  among any Nex Entity and any Related Entity.

         7.      Any and all Documents or Communications relating to any transfer from the Debtor

  or any Related Entity to any Nex Entity of the Debtor’s management of assets pursuant to any

  shared services agreement, advisory agreement, sub-advisory agreement, management agreement,

  or other contract or arrangement of any kind, including, but not limited to, the business purpose

  for such transfer and negotiations related to such transfer.

         8.      Any and all Documents or Communications relating to the relationship of Dondero

  and the Nex Entities, including without limitation, any ownership, direct or indirect, of any of the

  Nex Entities, any title, ownership, or position held by Dondero at any of the Nex Entities, any

  compensation received by Dondero from any Nex Entity, and the relevant time periods for each.

         9.      Any and all Documents or Communications relating to the relationship of Okada

  and the Nex Entities, including without limitation, any ownership, direct or indirect, of any of the

  Nex Entities, any title, ownership, or position held by Okada at any of the Nex Entities, any

  compensation received by Okada from any Nex Entity, and the relevant time periods for each.




                                                   10

                                                                                                         APP 1118
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         10.     Any and all Documents or Communications relating to the relationship between or

  among the Debtor and any the Nex Entities or any of their affiliates.

         11.     Any and all Documents or Communications relating to compensation by the Debtor

  of any Nex Entity employees or any company managed, controlled, owned, or otherwise benefiting

  any Nex Entity employees, including without limitation any bonus payments.

         12.     Any and all Documents or Communications relating to any title or position held by

  Holt at the Debtor, any Related Entity, or any Nex Entity or any affiliate thereof, including without

  limitation any compensation received by Holt from the Debtor, any Related Entity, or any Nex

  Entity or any affiliate thereof, and the relevant time period for each.

         13.     Any and all Documents or Communications relating to any minutes, resolutions,

  written consents, or other materials related to the governance of any Nex Entity, including without

  limitation, codes of conduct, board packets or other materials shared with members, officers,

  directors, or shareholders.

         14.     Any and all Documents or Communications relating to Your policy or practice for

  document retention.

         15.     Any and all Documents or Communications relating to any Nex Entity’s financial

  records, including without limitation any accounting books and records, accounting and audit work

  papers, valuation documents, fund governance and organizational documents, and business plans

  and financial documents, reflecting transactions or financial dealings with the Debtor or any

  Related Entity.




                                                   11

                                                                                                          APP 1119
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                                      EXHIBIT 9
     Requests for Production of Documents to the Hunter Mountain Transaction Parties




                                           1

                                                                                       APP 1120
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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

                                                                  )
                                                                  )
      In re:                                                      ) Chapter 11
                                                                  )
      HIGHLAND CAPITAL MANAGEMENT, L.P.,1                         ) Case No. 19-34054-sgj11
                                                                  )
                                       Debtor.



                        REQUESTS FOR PRODUCTION OF DOCUMENTS TO
                          HUNTER MOUNTAIN TRANSACTION PARTIES

               Please take notice that, pursuant to Rule 2004 of the Federal Rules of Bankruptcy

  Procedure, the Official Committee of Unsecured Creditors in the above captioned bankruptcy case

  (the “Committee”), along with Teneo Capital LLC, in its capacity as litigation advisor to the

  Committee (the “Litigation Advisor”), hereby serves the following requests for production of

  documents or categories of documents to Hunter Mountain Investment Trust, Beacon Mountain,

  LLC, Atlas IDF, GP, LLC, Atlas IDF, LP, Rand PE Fund I, LP, Rand Advisors, LLC, Rand PE

  Fund Management LLC, The Dugaboy Investment Trust, Strand Advisors Inc., Empower Dallas

  Foundation, The Mark & Pamela Okada Family Trust – Exempt Trust 1, The Mark & Pamela

  Okada Family Trust – Exempt Trust 2, The Okada Family Foundation, Crown Global Life

  Insurance Ltd. Bermuda, James Dondero, Mark Okada, Scott Ellington, Isaac Leventon, Mark

  Patrick, John Honis, Dolomiti, LLC, Hakusan, LLC, Sali Multi Series Fund, LLC, Sali Fund

  Partners, LLC, and Sali Fund Management, LLC to be produced to the Committee in accordance

  with the Definitions and Instructions below (“Request(s)”).



  1
   The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
  for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.



                                                           2

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                                             DEFINITIONS

          1.     “Atlas” means Atlas IDF GP together with Atlas IDF, LP.

          2.     “Atlas IDF GP” means Atlas IDF GP, LLC, and any direct or indirect predecessors

  or successors in interest, parents, subsidiaries or affiliates of any of them, and any and all officers,

  directors, employees, representatives, agents, advisors, attorneys, and all other persons and entities

  acting or purporting to act on behalf of any of the foregoing.

          3.     “Atlas IDF, LP” means Atlas IDF, LP, and any direct or indirect predecessors or

  successors in interest, parents, subsidiaries or affiliates of any of them, and any and all officers,

  directors, employees, representatives, agents, advisors, attorneys, and all other persons and entities

  acting or purporting to act on behalf of any of the foregoing.

          4.     “Beacon Mountain” means Beacon Mountain, LLC, and any direct or indirect

  predecessors or successors in interest, parents, subsidiaries or affiliates of any of them, and any

  and all officers, directors, employees, representatives, agents, advisors, attorneys, and all other

  persons and entities acting or purporting to act on behalf of any of the foregoing.

          5.     “Buy-Sell Agreement” means the Second Amended and Restated Buy-Sell and

  Redemption Agreement, dated December 21, 2015, to be effective as of December 21, 2015 by

  and between the Debtor and its Limited Partners, as may have been amended, supplemented or

  restated.

          6.     “Communication(s)” means any written or oral communication of any kind or

  character, including, by way of example and without limitation, e-mails, instant messages, text

  messages, voicemail or voice messages, audio recordings, personal conversations, telephone

  conversations, letters, meetings, memoranda, telegraphic and telex communications or transmittals




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  of Documents, whether such communication was sent, received, or created, in final or in draft, and

  all Documents concerning or memorializing such written or oral communications.

         7.      “Concerning” means consisting of, reflecting, referring to, regarding, related to,

  involving, evidencing, constituting, or having any legal, logical, evidential, or factual connection

  with (whether to support or rebut) the subject matter designated in any of these Requests. A request

  for Documents “concerning” a specified subject matter always shall include Communications,

  notes, and memoranda (whenever prepared) relating to the subject matter of the request.

         8.      “Contribution Agreement” means the Contribution Agreement between the Debtor

  and Hunter Mountain, dated as of December 21, 2015.

         9.      “Crown Global” means Crown Global Life Insurance Ltd., Bermuda and any direct

  or indirect predecessors or successors in interest, parents, subsidiaries or affiliates of any of them,

  and any and all officers, directors, employees, representatives, agents, advisors, attorneys, and all

  other persons and entities acting or purporting to act on behalf of any of the foregoing.

         10.     “Dallas Foundation” means the Dallas Foundation, and any and all officers,

  directors, trustees, agents, advisors, attorneys, and all other persons and entities acting or

  purporting to act on their behalf of any of the foregoing.

         11.      “Debtor” means the Highland Capital Management, L.P., the Debtor in the above-

  captioned case, and any direct or indirect predecessors or successors in interest, parents,

  subsidiaries or affiliates of any of them, and any and all officers, directors, employees,

  representatives, agents, advisors attorneys, and all other persons and entities acting or purporting

  to act on behalf of any of the foregoing.

         12.     “Document(s)” means, without limitation, the original and all copies, prior drafts,

  and translation of information in any written, typed, printed, recorded or graphic form, however




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  produced or reproduced, of any type or description, regardless of origin or location, including

  without limitation, all Electronically Stored Information, Communications, records, tables, charts,

  analyses, graphs, schedules, reports, memoranda, notes, lists, calendar and diary entries, letters

  (sent or received), contracts, statements, bills, checks, vouchers, video tapes, photographs, tape

  recordings, other mechanical records, transcripts or logs of any such recordings, and all other data

  compilations from which information can be obtained. The term “Document(s)” is intended to be

  at least as broad in meaning and scope as the usage of the term in or pursuant to the Federal Rules

  of Civil Procedure.

         13.     “Dolomiti” means Dolomiti, LLC, and any direct or indirect predecessors or

  successors in interest, parents, subsidiaries or affiliates of any of them, and any and all officers,

  trustees, directors, employees, representatives, agents, advisors, attorneys, and all other persons

  and entities acting or purporting to act on behalf of any of the foregoing.

         14.     “Dondero” means James Dondero and all entities under his control, including

  without limitation Dugaboy.

         15.     “Dugaboy” means the Dugaboy Investment Trust, any direct or indirect

  predecessors or successors in interest, parents, subsidiaries or affiliates of any of them, and any

  and all officers, trustees, directors, employees, representatives, agents, advisors, attorneys, and all

  other persons and entities acting or purporting to act on behalf of any of the foregoing.

         16.     “Ellington” means Scott Ellington and all entities under his control.

         17.     “Empower” means Empower Dallas Foundation, created in February 2015 as a tier

  one supporting organization to the Dallas Foundation, and any direct or indirect predecessors or

  successors in interest, parents, subsidiaries or affiliates of any of them, and any and all officers,




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  directors, employees, representatives, agents, advisors, attorneys, and all other persons and entities

  acting or purporting to act on behalf of any of the foregoing.

         18.      “Guaranty Agreements” means the various guaranty agreements executed by Rand

  Fund I as part of the Hunter Mountain Transaction, including without limitation, the guaranty

  agreement between Hunter Mountain, the Debtor, and Rand Fund dated December 21, 2015; the

  guaranty agreement between Hunter Mountain, Okada Family Trust 1, and Rand Fund dated

  December 24, 2015; the guaranty agreement between Hunter Mountain, Okada Family Trust 2,

  and Rand Fund dated December 24, 2015; the guaranty agreement between Hunter Mountain,

  Okada, and Rand Fund dated December 24, 2015; and the guaranty agreement between Hunter

  Mountain, Dugaboy, and Rand Fund dated December 24, 2015.

         19.      “Hakusan” means Hakusan, LLC, and any direct or indirect predecessors or

  successors in interest, parents, subsidiaries or affiliates of any of them, and any and all officers,

  trustees, directors, employees, representatives, agents, advisors, attorneys, and all other persons

  and entities acting or purporting to act on behalf of any of the foregoing.

         20.      “Honis” means John Honis, who as of December 2015 was the sole member of

  Atlas IDF GP, and the sole member of Rand PE Fund Management, LLC, among other entities

  with which he is involved.

         21.      “Hunter Mountain” means Hunter Mountain Investment Trust, and any direct or

  indirect predecessors or successors in interest, parents, subsidiaries or affiliates of any of them,

  and any and all officers, trustees, directors, employees, representatives, agents, advisors, attorneys,

  and all other persons and entities acting or purporting to act on behalf of any of the foregoing, and

  Crown Global.




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         22.     “Hunter Mountain Transaction” means the transactions between Debtor and Hunter

  Mountain on December 21, 2015, whereby Hunter Mountain entered into a Contribution

  Agreement with Debtor to receive 55% of the limited partnership interest in Debtor, and on

  December 24, 2015, whereby Hunter Mountain entered into a Purchase Agreement and received

  an additional 44.5% limited partnership interest in the Debtor by cash purchase and notes payable

  to the Limited Partners.

         23.     “Hunter Mountain Transaction Parties” means Hunter Mountain, Beacon

  Mountain, Atlas, Rand Fund, Rand Advisors, Rand Fund Management, Strand, Empower, Okada

  Family Trust 1, Okada Family Trust 2, Okada Family Foundation, Crown Global, and Honis.

         24.     “Identify” means to state, to the extent known (or, if not know, to so state,) the (i)

  type of Document; (ii) general subject matter; (iii) date of the Document; and (iv) author(s),

  addressee(s), and recipient(s).

         25.     “Leventon” means Isaac Leventon and all entities under his control.

         26.     “Limited Partner” or “Limited Partners” means the limited partners in the Debtor

  prior to the Hunter Mountain Transaction, including Mark Okada, Okada Family Trust 1, Okada

  Family Trust 2, and Dugaboy.

         27.     “Okada” means Mark Okada and any entities under his control, including without

  limitation, Okada Family Trust 1 and Okada Family Trust 2.

         28.     “Okada Family Foundation” means the Okada Family Foundation, Inc., created in

  February 2015 as a tier one supporting organization to the Dallas Foundation, and any direct or

  indirect predecessors or successors in interest, parents, subsidiaries or affiliates of any of them,

  and any and all officers, directors, employees, representatives, agents, advisors, attorneys, and all

  other persons and entities acting or purporting to act on behalf of any of the foregoing.




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         29.     “Okada Family Trust 1” means The Mark and Pamela Okada Family Trust –

  Exempt Trust #1, and any direct or indirect predecessors or successors in interest, parents,

  subsidiaries or affiliates of any of them, and any and all officers, directors, employees,

  representatives, agents, advisors, attorneys, and all other persons and entities acting or purporting

  to act on behalf of any of the foregoing.

         30.     “Okada Family Trust 2” means Mark and Pamela Okada Family Trust – Exempt

  Trust #2, and any direct or indirect predecessors or successors in interest, parents, subsidiaries or

  affiliates of any of them, and any and all officers, directors, employees, representatives, agents,

  advisors, attorneys, and all other persons and entities acting or purporting to act on behalf of any

  of the foregoing.

         31.     “Partner Capital Accounts” means those accounts referenced in Article 3.7 of the

  Third Amended and Restated Agreement of Limited Partnership of Highland Capital Management,

  L.P., or the Fourth Amended and Restated Agreement of Limited Partnership of Highland Capital

  Management, L.P.

         32.     “Patrick” means Mark Patrick and all entities under his control.

         33.     “Petition Date” means October 16, 2019.

         34.     “Purchase Agreement” means the Partnership Interest Purchase Agreement among

  Dugaboy, Okada Family Trust 1, Okada Family Trust 2, Okada, and Hunter Mountain dated as of

  December 24, 2015.

         35.     “Rand Advisors” means Rand Advisors, LLC, and any direct or indirect

  predecessors or successors in interest, parents, subsidiaries or affiliates of any of them, and any

  and all officers, directors, employees, representatives, agents, advisors, attorneys, and all other

  persons and entities acting or purporting to act on behalf of any of the foregoing.




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           36.      “Rand Fund” means Rand PE Fund, I, L.P., and any direct or indirect predecessors

  or successors in interest, parents, subsidiaries or affiliates of any of them, and any and all officers,

  directors, employees, representatives, agents, advisors, attorneys, and all other persons and entities

  acting or purporting to act on behalf of any of the foregoing.

           37.      “Rand Fund Management” means Rand PE Fund Management, LLC, and any direct

  or indirect predecessors or successors in interest, parents, subsidiaries or affiliates of any of them,

  and any and all officers, directors, employees, representatives, agents, advisors, attorneys, and all

  other persons and entities acting or purporting to act on behalf of any of the foregoing.

           38.      “Related Entity” means any current or former insider of the Debtor, the Dugaboy

  Investment Trust, Charitable DAF Holdco, Ltd, Hunter Mountain, NexBank Capital, Inc., Strand

  Advisors XVI, Inc., Highland Capital Management Fund Advisors, L.P., NexAnnuity Holdings,

  Inc., the entities listed on Annex 1 attached to Exhibit DD of the Debtor’s Notice of Filing of Plan

  Supplement to the Fifth Amended Plan of Reorganization of Highland Capital Management, L.P.

  (as Modified) [Docket No. 1875], and any entity directly or indirectly owned, controlled or

  operated for the benefit of Dondero, Okada, Grant Scott, John Honis, any current or former

  employee of the Debtor, or any of the foregoing persons or entities.

           39.      “Relating to” means consisting of, reflecting, referring to, regarding, concerning,

  involving, evidencing, constituting, or having any legal, logical, evidential, or factual contention

  with (whether to support or to rebut) the subject matter designated in any of these Requests. A

  request for Documents “relating to”2 a specified subject matter always shall include

  Communications, notes and memoranda (whenever prepared) relating to the subject matter of the

  request.


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   For clarity, the phrase “relating to” shall have the meaning ascribed herein this section regardless of whether such
  phrase is capitalized.


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         40.     “Sali Fund Management” means Sali Fund Management LLC, and any direct or

  indirect predecessors or successors in interest, parents, subsidiaries or affiliates of any of them,

  and any and all officers, directors, employees, representatives, agents, advisors, attorneys, and all

  other persons and entities acting or purporting to act on behalf of any of the foregoing.

         41.     “Sali Fund Partners” means Sali Fund Partners, LLC, and any direct or indirect

  predecessors or successors in interest, parents, subsidiaries or affiliates of any of them, and any

  and all officers, directors, employees, representatives, agents, advisors, attorneys, and all other

  persons and entities acting or purporting to act on behalf of any of the foregoing.

         42.     “Sali Multi Series” means Sali Multi Series Fund, LLC, and any direct or indirect

  predecessors or successors in interest, parents, subsidiaries or affiliates of any of them, and any

  and all officers, directors, employees, representatives, agents, advisors, attorneys, and all other

  persons and entities acting or purporting to act on behalf of any of the foregoing.

         43.     “Strand” means Strand Advisors Inc., and any direct or indirect predecessors or

  successors in interest, parents, subsidiaries or affiliates of any of them, and any and all officers,

  directors, employees, representatives, agents, advisors, attorneys, and all other persons and entities

  acting or purporting to act on behalf of any of the foregoing.

         44.     “You” or “Your” means the entity or person responding to these Requests, and, if

  an entity, any direct or indirect predecessors or successors in interest, parents, subsidiaries or

  affiliates of any of any such entity, and any and all partners, officers, directors, shareholders,

  members, employees, representatives, agents, advisors attorneys, and all other persons and entities

  acting or purporting to act on behalf of any of the foregoing.

                                           INSTRUCTIONS

         1.      Unless otherwise indicated, all Documents shall be produced for the relevant time

  period, which shall be the five years before the Petition Date until the date of service of these


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  Requests, including any Documents having an earlier origin, if in use during the relevant time

  period.

            2.   The obligation to produce Documents responsive to these Requests shall be

  continuing in nature, and a producing party is required promptly to produce any Documents

  requested herein that it locates or obtains after responding to these Requests, up to the conclusion

  of the above-captioned Chapter 11 Cases.

            3.   You are requested to produce not only those Documents in Your physical

  possession, but also those documents within Your custody and control, including without

  limitation, Documents in the possession of Your agents, employees, affiliates, advisors, or

  consultants and any other person or entity acting on Your behalf.

            4.   If You have no Documents responsive to a particular Request, or if for some other

  reason You are unable to produce responsive Documents, Your response to that Request should

  specifically so state. Accordingly, You should respond to each and every Request herein. If You

  have certain Documents that are responsive to a Request, but believe that additional Documents

  not now available to You would also be responsive, You should provide the Documents You now

  have and specifically state when the remainder of the Documents will be provided.

            5.   These Requests, only to the extent they are directed to Dondero or Dugaboy, should

  be read to exclude documents relating specifically to the transactions on December 28, 2016

  between the Debtor, CLO Holdco, Ltd., Charitable DAF Holdco, Ltd., Charitable DAF Fund, LP,

  Highland Dallas Foundation, Inc., Dugaboy, and the Get Good Nonexempt Trust, whereby the

  Debtor received a 97.6835% interest in a promissory note held by the Get Good Nonexempt Trust

  in exchange for participation interests and stock options that ultimately were transferred to CLO

  Holdco, Ltd., as set forth in detail in paragraphs 30-60 the Committee's complaint brought in the




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  adversary proceeding captioned Official Committee of Unsecured Creditors v. CLO Holdco, Ltd.

  et. al, Adversary No. 20-03195, [Docket No. 6] (the “CLO Holdco Transaction”). For avoidance

  of doubt, the Committee is not seeking discovery from Dondero and Dugaboy relating to the CLO

  Holdco Transaction. If Documents or Communications are withheld from production because they

  relate to the CLO Holdco Transaction, the Committee requests that You so indicate in any

  responses to these Requests.

         6.      Where an objection is made to any Document request, the objection shall state with

  specificity all grounds for the objection.

         7.      Where a claim of privilege is asserted in objecting to the production of any

  Document and a Document called for by these Requests is withheld on the basis of such assertion,

  the objecting party shall identify the nature of the privilege (including work product) that is being

  claimed and, if the privilege is governed by state law, indicate the state’s privilege being invoked.

  In addition, the objecting party shall provide the following information with respect to any

  Document so withheld: (i) the type of Document, e.g. letter or memorandum; (ii) the general

  subject matter of the Document; (iii) the date of the Document; (iv) such other information as is

  sufficient to identify the Document for a subpoena duces tecum, including, where appropriate, the

  author of the Document, the addressees of the Document, and any other recipients shown in the

  Document, and, where not apparent, the relationship of the author, addresses, and recipients to

  each other.

         8.      In the event that a requested Document has been lost, destroyed, discarded and/or

  otherwise disposed of; You will identify the Document by identifying: (i) its author or preparer;

  (ii) all persons to whom distributed or shown; (iii) date; (iv) subject matter; (v) attachments or

  appendices; (vi) date, manner, and reason for destruction or other disposition; (vii) person




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  authorizing destruction or other disposition; (viii) the Document request or requests to which the

  Document is responsive.

         9.       Produce all responsive Documents as they are kept in the usual course of business,

  or organize and label them to correspond with the request to which they are responsive. With

  respect to Electronically Stored Information (“ESI”), corresponding metadata shall be produced to

  the extent that the requested metadata exits and can be extracted using standard processing tools.

         10.      With respect to ESI, the producing party shall confer with the Committee to develop

  parameters, including custodians and search terms, to identify responsive Documents.

                                     DOCUMENTS REQUESTED

         1.       Any and all Documents or Communications relating to the Hunter Mountain

  Transaction, including without limitation, the following:

               a. any and all Documents or Communications relating to the creation of Hunter

                  Mountain or Beacon Mountain,

               b. any bases or purposes for the Hunter Mountain Transaction,

               c. the valuation of the Debtor’s limited partnership interests or any collateral involved

                  in the Hunter Mountain Transaction, whether conducted at the time of the Hunter

                  Mountain Transaction or thereafter, including the methodologies used and the

                  identity of those performing the valuation, and

               d. the source of funds used by Hunter Mountain to purchase the Debtor’s limited

                  partnership interests as part of the Hunter Mountain Transaction.

         2.       Any and all Documents or Communications relating to the formation, ownership

  (whether direct, indirect, beneficial, or other), and management of Hunter Mountain, including

  without limitation, governance documents, corporate formation documents, certificates of

  incorporation, bylaws, shareholder agreements, operating agreements, and/or partnership


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  agreements for Hunter Mountain, Beacon Mountain, Rand Fund, Rand Fund Management, Atlas

  IDF, LP, Atlas IDF GP, Rand Advisors, Dolomiti, Hakusan, Sali Multi Series, Sali Fund Partners,

  Sali Fund Management, or Crown Global, and any business, tax, or other purpose or motivation

  for their creation.

          3.      Any and all Documents or Communications related to Jim Dondero, Mark Okada,

  John Honis, or any other current or former employee of the Debtor’s involvement with the Hunter

  Mountain Transaction.

          4.      Any and all Documents or Communications relating to the formation, beneficiaries,

  and management of the Dallas Foundation, Empower, Okada Family Foundation, Okada Family

  Trust 1, or Okada Family Trust 2.

          5.      Any and all Documents or Communications relating to the negotiations of the terms

  of the Hunter Mountain Transaction, including without limitation, the negotiations of the terms of

  the Contribution Agreement or the Purchase Agreement, and the notes payable executed by Hunter

  Mountain to the Debtor, to the Limited Partners, or any Related Entity as part of the Hunter

  Mountain Transaction.

          6.      Documents or Communications reflecting all of Your sources of revenue and all

  expenditures. For Dondero and Dugaboy, this Request is limited to sources of revenue and all

  expenditures for 2015 and January through June of 2016.

          7.      Any and all Documents or Communications relating to the relationship between or

  among Dondero and the Hunter Mountain Transaction Parties (excluding Dugaboy) including,

  without limitation, any ownership, direct or indirect, of any of the Hunter Mountain Transaction

  Parties, any title, ownership or position held by Dondero at any of the Hunter Mountain

  Transaction Parties and compensation or payments received by Dondero, directly or indirectly,




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  from the Hunter Mountain Transaction Parties or the Debtor related to the title or position held,

  and the time periods such titles or positions were held.

         8.      Any and all Documents or Communications relating to the relationship between or

  among Okada and the Hunter Mountain Transaction Parties (excluding Dugaboy), including,

  without limitation, any ownership, direct or indirect, of any of the Hunter Mountain Transaction

  Parties, any title, ownership, or position held by Okada at any of the Hunter Mountain Transaction

  Parties and compensation or payments received by Okada, directly or indirectly, from the Hunter

  Mountain Transaction Parties or the Debtor related to the title or position held, and the time periods

  such titles or positions were held.

         9.      Any and all Documents or Communications relating to the relationship of the

  Debtor and the Hunter Mountain Transaction Parties, including, without limitation, any

  compensation or payment made by the Debtor to any Hunter Mountain Transaction Party’s

  employees, including any bonus payments.

         10.     Any and all Documents or Communications relating to or reflecting the relationship

  between Crown Global and Atlas.

         11.     Any and all Documents or Communications relating to or reflecting the relationship

  between Sali Multi Series and Atlas.

         12.     Any and all Documents or Communications relating to or reflecting the relationship

  between Sali Fund Management and Rand Advisors.

         13.     Any and all Documents or Communications relating to or reflecting the

  relationship(s) between or among Dolomiti, Hakusan, and Rand Fund.

         14.     Any and all Documents or Communications relating to the determination of and

  any basis or purposes for the principal amounts, interest rates, and payment schedules of the notes




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  payable from Hunter Mountain to the Debtor, to the Limited Partners, or to any Related Entity as

  part of the Hunter Mountain Transaction.

         15.    Any and all Documents or Communications related to the determination and

  calculation of any distributions (regardless of currency or categorization) from the Debtor to

  Hunter Mountain, any Limited Partner, Beacon Mountain, Rand Fund, Rand Fund Management,

  Rand Advisors, Atlas IDF, LP, Atlas IDF GP, Crown Global, Strand, Honis, The Dallas

  Foundation, Empower, Okada Family Foundation, Dolomiti, Hakusan, Sali Multi Series, Sali Fund

  Partners, Sali Fund Management, or any Related Entity including without limitation, distributions

  of equity or for tax purposes. For Dugaboy, this Request is limited to the time period of January

  1, 2015 to June 30, 2016.

         16.    Any and all Documents or Communications related to the purpose of the revisions

  to the governing partnership terms for the Debtor reflected in the Second Amended and Restated

  Agreement of Limited Partnership of Highland Capital Management, L.P., the Third Amended

  and Restated Agreement of Limited Partnership of Highland Capital Management, L.P., or the

  Fourth Amended and Restated Agreement of Limited Partnership of Highland Capital

  Management, L.P.

         17.    Any and all Documents or Communications relating to the Buy-Sell Agreement.

         18.    Any and all Documents or Communications relating to the Partner Capital

  Accounts of the Debtor, including but not limited to any impact of the Hunter Mountain

  Transaction on those accounts and the ownership of those accounts.

         19.    Any and all Documents or Communications relating to any transfer of the limited

  partnership interest in the Debtor that Hunter Mountain received as part of the Hunter Mountain

  Transaction, including without limitation, the negotiations relating to the terms of any such




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  transfers, the value received by Hunter Mountain as part of any such transfer, and any basis or

  purposes of any such transfer.

         20.     Any and all of Your audited or unaudited financial statements for the year ended

  December 31, 2014 through present, excluding audited or unaudited financial statements for

  Dugaboy or Dondero.

         21.     Any and all Documents or Communications related to the value or valuation of

  Class B or Class C interests of Debtor obtained by Hunter Mountain in the Hunter Mountain

  Transaction.

         22.     Any and all fairness opinions or other neutral third-party assessments of the Hunter

  Mountain Transaction.

         23.     Any and all Documents or Communications related to mark price or market values,

  or other similar measures, as applied to any of the Debtor, Hunter Mountain, Beacon Mountain,

  Rand Fund, Atlas, Rand Advisors, Rand Fund Management, or Crown Global at the time of the

  Hunter Mountain Transaction.

         24.     Any and all Documents or Communications related to any shared service

  agreements, advisory agreements, sub-advisory agreements, management agreement, buy-sell

  agreement, note, loan, payment obligation, or other contracts or arrangements of any kind

  involving any combination of the Debtor, Strand, Dondero, Honis, the Limited Partners, Hunter

  Mountain, Beacon Mountain, Rand Fund, Rand Advisors, Rand Fund Management, Hakusan,

  Dolomiti, Atlas, Crown Global, Sali Multi Series, Sali Fund Partners, Sali Fund Management,

  and/or any Related Entity except those related to the CLO Holdco Transaction.

         25.     Any and all Documents or Communications relating to the Guaranty Agreements.




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         26.     Any and all Documents or Communications relating to any participation

  agreements or subscription agreements between Atlas IDF, LP and Crown Global or Rand Fund,

  including without limitation, participation and subscription agreements, insurance policies, private

  placement memoranda, any basis or purposes for the agreements, and negotiations relating to the

  terms of the agreements.

         27.     Any and all Documents or Communications related to any policy issued by Crown

  Global to Empower, the Dallas Foundation, or the Okada Family Foundation.

         28.     Any and all Documents or Communications relating to valuation of collateral

  concerning any debt owed to the Debtor or any Related Entity by Hunter Mountain or any debt

  owed to Hunter Mountain by the Debtor or any Related Entity.

         29.     Any and all Documents or Communications relating to payments, distributions,

  whether in cash or payment in kind, or the remittance of anything of value between or among any

  of the Debtor, Hunter Mountain, any Limited Partner, Beacon Mountain, Rand Fund, Rand Fund

  Management, Rand Advisors, Atlas IDF, LP, Atlas IDF GP, Crown Global, Strand, Honis, the

  Dallas Foundation, Empower, Okada Family Foundation, Dolomiti, Hakusan, Sali Multi Series,

  Sali Fund Partners, Sali Fund Management, or any Related Entity from 2014 to present, including

  without limitation, the amount of the payments, distributions, or value, the date of the transfers,

  and any basis or purposes for the transfers.         For the avoidance of doubt, Documents or

  Communications relating to CLO Holdco Transaction are excluded from this Request.

         30.     Any and all Documents or Communications relating to any title or position held or

  compensation received by Honis in any entity or transaction involving the Debtor (or any of its

  affiliates), Hunter Mountain, any Limited Partner, Beacon Mountain, Rand Fund, Rand Fund

  Management, Rand Advisors, Atlas IDF, LP, Atlas IDF GP, Crown Global, Strand, the Dallas




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  Foundation, Empower, Okada Family Foundation, Dolomiti, Hakusan, Sali Multi Series, Sali Fund

  Partners, Sali Fund Management, or any Related Entity including without limitation, Honis’s role

  as the sole member of Atlas IDF GP, as sole member of Rand Fund Management, and as

  administrator of Hunter Mountain.

         31.    Any and all Documents or Communications relating to any tax treatment, any tax

  benefits and/or any tax planning process of Hunter Mountain, Dondero, any of the Limited

  Partners, or any Related Entity in connection with the Hunter Mountain Transaction.

         32.    Your tax returns, excluding the tax returns of Dugaboy and/or Dondero.

         33.    Your bank statements, including without limitation, Hunter Mountain’s December

  2015 bank statement for the BBVA Compass account, number 6733775430, excluding the bank

  statements of Dugaboy and/or Dondero.

         34.    Any and all Documents or Communications relating to Your policy or practice for

  document retention.




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                                       EXHIBIT 10
            Requests for Production of Documents to the Governance Re Parties




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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

                                                                  )
                                                                  )
      In re:                                                      ) Chapter 11
                                                                  )
      HIGHLAND CAPITAL MANAGEMENT, L.P.,1                         ) Case No. 19-34054-sgj11
                                                                  )
                                       Debtor.



                        REQUESTS FOR PRODUCTION OF DOCUMENTS TO
                                 GOVERNANCE RE PARTIES

               Please take notice that, pursuant to Rule 2004 of the Federal Rules of Bankruptcy

  Procedure, the Official Committee of Unsecured Creditors in the above captioned bankruptcy case

  (the “Committee”), along with Teneo Capital LLC, in its capacity as litigation advisor to the

  Committee (the “Litigation Advisor”), hereby serves the following requests for production of

  documents or categories of documents to Governance Re Ltd., Highland D&O Trust, Conyers

  Trust Company, James Dondero, Frank Waterhouse, Mark Patrick, and Mark Okada to be

  produced to the Committee in accordance with the Definitions and Instructions below

  (“Request(s)”).

                                                  DEFINITIONS

               1.    “Communication(s)” means any written or oral communication of any kind or

  character, including, by way of example and without limitation, e-mails, instant messages, text

  messages, voicemail or voice messages, audio recordings, personal conversations, telephone

  conversations, letters, meetings, memoranda, telegraphic and telex communications or transmittals



  1
   The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
  for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.



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                                                                                                                          APP 1140
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  of Documents, whether such communication was sent, received, or created, in final or in draft, and

  all Documents concerning or memorializing such written or oral communications.

         2.      “Concerning” means consisting of, reflecting, referring to, regarding, related to,

  involving, evidencing, constituting, or having any legal, logical, evidential, or factual connection

  with (whether to support or rebut) the subject matter designated in any of these Requests. A request

  for Documents “concerning” a specified subject matter always shall include Communications,

  notes, and memoranda (whenever prepared) relating to the subject matter of the request.

         3.      “Conyers Trust” means Conyers Trust Services, and any direct or indirect

  predecessors or successors in interest, parents, subsidiaries or affiliates of any of them, and any

  and all officers, directors, employees, representatives, agents, advisors, attorneys, and all other

  persons and entities acting or purporting to act on behalf of any of the foregoing.

         4.      “Debtor” means the Highland Capital Management, L.P., the Debtor in the above-

  captioned case, and any direct or indirect predecessors or successors in interest, parents,

  subsidiaries or affiliates of any of them, and any and all officers, directors, employees,

  representatives, agents, advisors attorneys, and all other persons and entities acting or purporting

  to act on behalf of any of the foregoing.

         5.      “Document(s)” means, without limitation, the original and all copies, prior drafts,

  and translation of information in any written, typed, printed, recorded or graphic form, however

  produced or reproduced, of any type or description, regardless of origin or location, including

  without limitation, all Electronically Stored Information, Communications, records, tables, charts,

  analyses, graphs, schedules, reports, memoranda, notes, lists, calendar and diary entries, letters

  (sent or received), contracts, statements, bills, checks, vouchers, video tapes, photographs, tape

  recordings, other mechanical records, transcripts or logs of any such recordings, and all other data




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  compilations from which information can be obtained. The term “Document(s)” is intended to be

  at least as broad in meaning and scope as the usage of the term in or pursuant to the Federal Rules

  of Civil Procedure.

         6.      “Dondero” means James Dondero and all entities under his direct or indirect

  control.

         7.       “Governance Re” means Governance Re Ltd., and any direct or indirect

  predecessors or successors in interest, parents, subsidiaries or affiliates of any of them, and any

  and all officers, directors, employees, representatives, agents, advisors, attorneys, and all other

  persons and entities acting or purporting to act on behalf of any of the foregoing.

         8.      “HDOIT” means Highland D&O Insurance Trust, and any direct or indirect

  predecessors or successors in interest, parents, subsidiaries or affiliates of any of them, and any

  and all officers, trustees, directors, employees, representatives, agents, advisors, attorneys, and all

  other persons and entities acting or purporting to act on behalf of any of the foregoing.

         9.      “Identify” means to state, to the extent known (or, if not know, to so state), the (i)

  type of Document; (ii) general subject matter; (iii) date of the Document; and (iv) author(s),

  addressee(s), and recipient(s).

         10.     “Individual Highland Parties” means James Dondero, Scott Ellington, Isaac

  Leventon, Frank Waterhouse, Mark Patrick, Mark Okada, John Holt, Grant Scott, Mary Jalonick,

  Katie Irving, Jean Paul Sevilla, Lauren Thedford, Stephanie Vitiello, Trey Parker, John Honis,

  Nancy Dondero, Dana Scott Breault, Gianna Cerullo, Matt DiOrio, Melissa Schroth, Tara Loiben,

  Dilip Massand, Marcia Ellington Maslow, Jason Post, Eric Holt, Cyrus Eftekhari, Jason Rothstein,

  and Sanjay Kamlani, as well as any other former Debtor employees acting at the direction of

  Dondero.




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                                                                                                            APP 1142
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           11.       “Okada” means Mark Okada and any entities under his direct or indirect control.

           12.      “Patrick” means Mark Patrick and any entities under his direct or indirect control.

           13.      “Petition Date” means October 16, 2019.

           14.      “Related Entity” means any current or former insider of the Debtor, the Dugaboy

  Investment Trust, Charitable DAF Holdco, Ltd, Hunter Mountain Investment Trust, NexBank

  Capital, Strand Advisors XVI, Inc., Highland Capital Management Fund Advisors, L.P.,

  NexAnnuity Holdings, Inc., the entities listed on Annex 1 attached to Exhibit DD of the Debtor’s

  Notice of Filing of Plan Supplement to the Fifth Amended Plan of Reorganization of Highland

  Capital Management, L.P. (as Modified) [Docket No. 1875], and any entity directly or indirectly

  owned, controlled or operated for the benefit of Dondero, Okada, Scott, John Honis, any current

  or former employee of the Debtor, or any of the foregoing persons or entities.

           15.      “Relating to” means consisting of, reflecting, referring to, regarding, concerning,

  involving, evidencing, constituting, or having any legal, logical, evidential, or factual contention

  with (whether to support or to rebut) the subject matter designated in any of these Requests. A

  request for Documents “relating to”2 a specified subject matter always shall include

  Communications, notes and memoranda (whenever prepared) relating to the subject matter of the

  request.

           16.       “Waterhouse” means Frank Waterhouse and all entities under his direct or indirect

  control.

           17.       “You” or “Your” means the entity or person responding to these Requests, and, if

  an entity, any direct or indirect predecessors or successors in interest, parents, subsidiaries or

  affiliates of any of any such entity, and any and all partners, officers, directors, shareholders,


  2
   For clarity, the phrase “relating to” shall have the meaning ascribed herein this section regardless of whether such
  phrase is capitalized.


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                                                                                                                          APP 1143
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  members, employees, representatives, agents, advisors attorneys, and all other persons and entities

  acting or purporting to act on behalf of any of the foregoing.

                                          INSTRUCTIONS

            1.   Unless otherwise indicated, all Documents shall be produced for the relevant time

  period, which shall be the five years before the Petition Date until the date of service of these

  Requests, including any Documents having an earlier origin, if in use during the relevant time

  period.

            2.   The obligation to produce Documents responsive to these Requests shall be

  continuing in nature, and a producing party is required promptly to produce any Documents

  requested herein that it locates or obtains after responding to these Requests, up to the conclusion

  of the above-captioned Chapter 11 Cases.

            3.   You are requested to produce not only those Documents in Your physical

  possession, but also those documents within Your custody and control, including without

  limitation, Documents in the possession of Your agents, employees, affiliates, advisors, or

  consultants and any other person or entity acting on Your behalf.

            4.   If You have no Documents responsive to a particular Request, or if for some other

  reason You are unable to produce responsive Documents, Your response to that Request should

  specifically so state. Accordingly, You should respond to each and every Request herein. If You

  have certain Documents that are responsive to a Request, but believe that additional Documents

  not now available to You would also be responsive, You should provide the Documents You now

  have and specifically state when the remainder of the Documents will be provided.

            5.   These Requests, only to the extent they are directed to Dondero, should be read to

  exclude documents relating specifically to the transactions on December 28, 2016 between the

  Debtor, CLO Holdco, Ltd., Charitable DAF Holdco, Ltd., Charitable DAF Fund, LP, Highland


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  Dallas Foundation, Inc., the Dugaboy Investment Trust, and the Get Good Nonexempt Trust,

  whereby the Debtor received a 97.6835% interest in a promissory note held by the Get Good

  Nonexempt Trust in exchange for participation interests and stock options that ultimately were

  transferred to CLO Holdco, Ltd., as set forth in detail in paragraphs 30-60 the Committee's

  complaint brought in the adversary proceeding captioned Official Committee of Unsecured

  Creditors v. CLO Holdco, Ltd. et. al, Adversary No. 20-03195, [Docket No. 6] (the “CLO Holdco

  Transaction”). For avoidance of doubt, the Committee is not seeking discovery from Dondero

  relating to the CLO Holdco Transaction. If Documents or Communications are withheld from

  production because they relate to the CLO Holdco Transaction, the Committee requests that You

  so indicate in any responses to these Requests.

         6.      Where an objection is made to any Request, the objection shall state with specificity

  all grounds for the objection.

         7.      Where a claim of privilege is asserted in objecting to the production of any

  Document and a Document called for by these Requests is withheld on the basis of such assertion,

  the objecting party shall identify the nature of the privilege (including work product) that is being

  claimed and, if the privilege is governed by state law, indicate the state’s privilege being invoked.

  In addition, the objecting party shall provide the following information with respect to any

  Document so withheld: (i) the type of Document, e.g. letter or memorandum; (ii) the general

  subject matter of the Document; (iii) the date of the Document; (iv) such other information as is

  sufficient to identify the Document for a subpoena duces tecum, including, where appropriate, the

  author of the Document, the addressees of the Document, and any other recipients shown in the

  Document, and, where not apparent, the relationship of the author, addresses, and recipients to

  each other.




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         8.      In the event that a requested Document has been lost, destroyed, discarded and/or

  otherwise disposed of; You will identify the Document by identifying: (i) its author or preparer;

  (ii) all persons to whom distributed or shown; (iii) date; (iv) subject matter; (v) attachments or

  appendices; (vi) date, manner, and reason for destruction or other disposition; (vii) person

  authorizing destruction or other disposition; (viii) the Document request or requests to which the

  Document is responsive.

         9.      Produce all responsive Documents as they are kept in the usual course of business,

  or organize and label them to correspond with the request to which they are responsive. With

  respect to Electronically Stored Information (“ESI”), corresponding metadata shall be produced to

  the extent that the requested metadata exits and can be extracted using standard processing tools.

         10.     With respect to ESI, the producing party shall confer with the Committee to develop

  parameters, including custodians and search terms, to identify responsive Documents.

                                    DOCUMENTS REQUESTED

         1.      Any and all Documents or Communications relating to the formation, ownership,

  (whether direct, indirect, beneficial, or other), and management of Governance Re and HDOIT,

  including without limitation, governance documents, corporate formation documents, certificates

  of incorporation, bylaws, shareholder agreements, operating agreements, partnership agreements,

  trust agreements, and any business, charitable, tax or other purpose or motivation for their creation.

         2.      Any and all Documents or Communications relating to any Governance Re

  insurance policy for which premiums were or are paid by the Debtor or any Related Entity,

  including without limitation any negotiations relating to the terms of any such policy and the bases

  or purpose for such policy and the Debtor or any Related Entity’s premium payments.




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            3.   Any and all Documents or Communications relating to the identity of any person

  or entity that was insured pursuant to any Governance Re insurance policy for which premiums

  were paid by the Debtor or any Related Entity.

            4.   Any and all Documents or Communications relating to the amount and timing of

  any premium payments for Governance Re insurance policies made by the Debtor or any Related

  Entity.

            5.   Any and all Documents or Communications relating to any distributions made on

  any Governance Re insurance policy for which premiums were paid by the Debtor or any Related

  Entity, including without limitation, the recipient of the distributions.

            6.   Any and all Documents or Communications relating to any indebtedness for which

  any Governance Re insurance policy paid for by the Debtor or any Related Entity was used as

  collateral.

            7.   Any and all Documents or Communications relating to any minutes, resolutions,

  written consents, or other materials related to the governance of Governance Re and HDOIT,

  including without limitation, codes of conduct, policies, board packets, or other materials shared

  with members, officers, directors, shareholders, or trustees, if any.

            8.   Any and all Documents or Communications relating to the financial status of

  Governance Re and HDOIT, including but not limited to financial statements, balance sheets,

  statements of cash flows, owner’s equity calculations, investment summaries, valuations, reports,

  or memoranda from auditors or financial consultants, or account summaries.

            9.   Any and all Documents or Communications relating to any transaction, donation,

  transfer, payment, distribution, or the remittance of anything of value between or among any of

  You, the Debtor, Governance Re, HDOIT, or any Related Entity, other than in connection with the




                                                    9

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  CLO Holdco Transaction, including without limitation the amount, the date, and any bases or

  purpose and the negotiation of the terms of any such transaction.

         10.     Any and all Documents or Communications relating to the value of any assets or

  liabilities involved in any transaction, donation, transfer, payment, distribution, or the remittance

  of anything of value described in Request 9, including without limitation any valuations, fairness

  opinions, or neutral third-party assessments of the transactions.

         11.     Any and all Documents or Communications relating to any tax implications to You,

  the Debtor, any Related Entity, Governance Re, or HDOIT related to any transaction, donation,

  transfer, payment, distribution, or the remittance of anything of value described in Request 9.

         12.     Any and all Documents or Communications relating to the involvement of Dondero

  or any Individual Highland Party in any transaction, donation, transfer, payment, distribution, or

  the remittance of anything of value described in Request 9.

         13.     Any and all Documents or Communications relating to the source of funds used by

  the Debtor, any Related Entity, Governance Re, HDOIT in any transaction, donation, transfer,

  payment, distribution, or the remittance of anything of value described in Request 9.

         14.     Any and all Documents or Communications relating to the relationship between or

  among Governance Re and the Debtor or any Related Entity, including without limitation, any

  ownership, direct or indirect, of Governance Re, any title, ownership, or position held by any

  former or current Debtor employee (including all Individual Highland Parties) at Governance Re,

  and any transfers, compensation, or payment made by the Debtor or any Related Entity to any

  Governance Re employees, including without limitation, any bonus payments.

         15.     Any and all Documents or Communications relating to any shared service

  agreement, advisory agreement, sub-advisory agreement, management agreement, note, loan,




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  payment obligation, or other contract or arrangement of any kind involving any combination of

  (1) Governance Re and (2) the Debtor, any Related Entity, or any Individual Highland Party.

         16.    Any and all Documents or Communications relating to the relationship between

  Governance Re and HDOIT, including any shared service agreement, advisory agreement, sub-

  advisory agreement, management agreement, or other contract or arrangement of any kind

  involving Governance Re and HDOIT.

         17.    Any and all Documents or Communications relating to the relationship between (1)

  the Debtor or any Related Entity and (2) HDOIT, including any shared service agreement, advisory

  agreement, sub-advisory agreement, management agreement, or other contract or arrangement of

  any kind involving the Debtor or any Related Entity and HDOIT, any title or position held by any

  former or current Debtor employee (including all Individual Highland Parties) at HDOIT, and any

  transfers, compensation, or payment made by the Debtor or any Related Entity to any HDOIT

  employees, including without limitation, any bonus payments.

         18.    Any and all Documents or Communications relating to the relationship between or

  among Dondero, Waterhouse, Patrick, or Okada and Governance Re, including without limitation,

  any ownership, direct or indirect, of Governance Re, any title, ownership, or position held by

  Dondero, Waterhouse, Patrick, or Okada at Governance Re, and any transfers, compensation, or

  payments received by Dondero, Waterhouse, Patrick, or Okada, directly or indirectly, from

  Governance Re.

         19.    Any and all Documents or Communications relating to the relationship between or

  among (1) Dondero, Waterhouse, Patrick, or Okada and (2) HDOIT, including without limitation,

  any ownership, direct or indirect, of HDOIT, any title, ownership, or position held by Dondero,




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  Waterhouse, Patrick, or Okada at HDOIT and any transfers, compensation, or payments received

  by Dondero, Waterhouse, Patrick, or Okada, directly or indirectly, from HDOIT or the Debtor.

         20.     Any and all Documents or Communications relating to the relationship between or

  among Conyers Trust and Governance Re, the Debtor, and/or any Related Entity, including

  without limitation, Conyers Trust’s role as trustee of HDOIT, any ownership (beneficial, direct, or

  indirect) of any current or former Debtor employee (including all Individual Highland Parties) of

  Conyers Trust, any title, ownership, or position held by any former or current Debtor employee

  (including all Individual Highland Parties) at Conyers Trust, and any transfers, compensation, or

  payment made by the Debtor or any Related Entity to any Conyers Trust employees, including

  without limitation, any bonus payments.

         21.     Any and all Documents or Communications relating to the Debtor’s role as

  investment manager of Governance Re.

         22.     Any and all Documents or Communications relating to Your policy or practice for

  document retention.




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                                     EXHIBIT 11
              Requests for Production of Documents to the Tall Pine Parties




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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

                                                                  )
                                                                  )
      In re:                                                      ) Chapter 11
                                                                  )
      HIGHLAND CAPITAL MANAGEMENT, L.P.,1                         ) Case No. 19-34054-sgj11
                                                                  )
                                       Debtor.



      REQUESTS FOR PRODUCTION OF DOCUMENTS TO THE TALL PINE PARTIES

               Please take notice that, pursuant to Rule 2004 of the Federal Rules of Bankruptcy

  Procedure, the Official Committee of Unsecured Creditors in the above captioned bankruptcy case

  (the “Committee”), along with Teneo Capital LLC, in its capacity as litigation advisor to the

  Committee (the “Litigation Advisor”), hereby serves the following requests for production of

  documents or categories of documents to Tall Pine Group, LLC, Sunshine Coast Development,

  LLC, FHTC Consulting, LLC, Prive Enterprises, L.P., Prive Enterprises GP, LLC, Prive Solutions

  LLC, Prive Lending, LLC, Prive Leasing, LLC, Prive Investment Trust, Prive Motorsports, LLC,

  Prive Entertainment, LLC, Prive Products, LLC, Prive Residential, LLC, Prive Designs, LLC,

  Clairmont Holdings, LLC, Charitable DAF Fund, L.P., Charitable DAF GP, Charitable DAF

  Holdco, Ltd., Highland Capital Management Fund Advisors, L.P., NexPoint Advisors, L.P., James

  Dondero, Scott Ellington, Isaac Leventon, John Holt, and Mark Patrick.

                                                       DEFINITIONS

               1.    “Charitable DAF Fund” means Charitable DAF Fund, L.P., and any direct or

  indirect predecessors or successors in interest, parents, subsidiaries or affiliates of any of them,


  1
   The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
  for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.



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  and any and all officers, directors, employees, representatives, agents, advisors, attorneys, and all

  other persons and entities acting or purporting to act on behalf of any of the foregoing.

         2.      “Charitable DAF GP” means Charitable DAF GP, and any direct or indirect

  predecessors or successors in interest, parents, subsidiaries or affiliates of any of them, and any

  and all officers, directors, employees, representatives, agents, advisors, attorneys, and all other

  persons and entities acting or purporting to act on behalf of any of the foregoing.

         3.      “Charitable DAF Holdco” means Charitable DAF Holdco, Ltd., Charitable DAF

  Holdco, L.P., and any direct or indirect predecessors or successors in interest, parents, subsidiaries

  or affiliates of any of them, and any and all officers, directors, employees, representatives, agents,

  advisors, attorneys, and all other persons and entities acting or purporting to act on behalf of any

  of the foregoing.

         4.      “Clairmont Holding” means Clairmont Holdings, LLC, and any direct or indirect

  predecessors or successors in interest, parents, subsidiaries or affiliates of any of them, and any

  and all officers, directors, employees, representatives, agents, advisors attorneys, and all other

  persons and entities acting or purporting to act on behalf of any of the foregoing.

         5.      “Communication(s)” means any written or oral communication of any kind or

  character, including, by way of example and without limitation, e-mails, instant messages, text

  messages, voicemail or voice messages, audio recordings, personal conversations, telephone

  conversations, letters, meetings, memoranda, telegraphic and telex communications or transmittals

  of Documents, whether such communication was sent, received, or created, in final or in draft, and

  all Documents concerning or memorializing such written or oral communications.

         6.      “Concerning” means consisting of, reflecting, referring to, regarding, related to,

  involving, evidencing, constituting, or having any legal, logical, evidential, or factual connection




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  with (whether to support or rebut) the subject matter designated in any of these Requests. A request

  for Documents “concerning” a specified subject matter always shall include Communications,

  notes, and memoranda (whenever prepared) relating to the subject matter of the request.

         7.      “DAF Entities” means collectively Charitable DAF Fund, Charitable DAF GP, and

  Charitable DAF Holdco, and any direct or indirect predecessors or successors in interest, parents,

  subsidiaries or affiliates of any of them, and any and all officers, directors, employees,

  representatives, agents, advisors attorneys, and all other persons and entities acting or purporting

  to act on behalf of any of the foregoing.

         8.      “Debtor” means the Highland Capital Management, L.P., the Debtor in the above-

  captioned case, and any direct or indirect predecessors or successors in interest, parents,

  subsidiaries or affiliates of any of them, and any and all officers, directors, employees,

  representatives, agents, advisors attorneys, and all other persons and entities acting or purporting

  to act on behalf of any of the foregoing.

         9.      “Document(s)” means, without limitation, the original and all copies, prior drafts,

  and translation of information in any written, typed, printed, recorded or graphic form, however

  produced or reproduced, of any type or description, regardless of origin or location, including

  without limitation, all Electronically Stored Information, Communications, records, tables, charts,

  analyses, graphs, schedules, reports, memoranda, notes, lists, calendar and diary entries, letters

  (sent or received), contracts, statements, bills, checks, vouchers, video tapes, photographs, tape

  recordings, other mechanical records, transcripts or logs of any such recordings, and all other data

  compilations from which information can be obtained. The term “Document(s)” is intended to be

  at least as broad in meaning and scope as the usage of the term in or pursuant to the Federal Rules

  of Civil Procedure.




                                                   4

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         10.     “Dondero” means James Dondero and all entities under his direct or indirect

  control.

         11.     “Ellington” means Scott Ellington and all entities under his direct or indirect

  control.

         12.     “FHTC Consulting” means FHTC Consulting, LLC, and any direct or indirect

  predecessors or successors in interest, parents, subsidiaries or affiliates of any of them, and any

  and all officers, directors, employees, representatives, agents, advisors attorneys, and all other

  persons and entities acting or purporting to act on behalf of any of the foregoing.

         13.     “HCMFA” means Highland Capital Management Fund Advisors, LP, and any

  direct or indirect predecessors or successors in interest, parents, subsidiaries or affiliates of any of

  them, and any and all officers, directors, employees, representatives, agents, advisors attorneys,

  and all other persons and entities acting or purporting to act on behalf of any of the foregoing.

         14.     “Holt” means John Holt and all entities under his direct or indirect control.

         15.     “Identify” means to state, to the extent known (or, if not know, to so state), the (i)

  type of Document; (ii) general subject matter; (iii) date of the Document; and (iv) author(s),

  addressee(s), and recipient(s).

         16.     “Individual Highland Parties” means James Dondero, Scott Ellington, Isaac

  Leventon, Frank Waterhouse, Mark Patrick, Mark Okada, John Holt, Grant Scott, Mary Jalonick,

  Katie Irving, Jean Paul Sevilla, Lauren Thedford, Stephanie Vitiello, Trey Parker, John Honis,

  Nancy Dondero, Dana Scott Breault, Gianna Cerullo, Matt DiOrio, Melissa Schroth, Tara Loiben,

  Dilip Massand, Marcia Ellington Maslow, Jason Post, Eric Holt, Cyrus Eftekhari, Jason Rothstein,

  and Sanjay Kamlani, as well as any other former Debtor employees acting at the direction of

  Dondero.




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         17.      “Leventon” means Isaac Leventon and all entities under his direct or indirect

  control.

         18.     “NexBank” means NexBank Capital, Inc., NexBank, SSB, NexBank Securities,

  Inc., NexBank Title, Inc. and any direct or indirect predecessors or successors in interest, parents,

  subsidiaries or affiliates of any of them, and any and all officers, directors, employees,

  representatives, agents, advisors, attorneys, and all other persons and entities acting or purporting

  to act on behalf of any of the foregoing.

         19.     “NexBank Capital” means NexBank Capital, Inc., and any direct or indirect

  predecessors or successors in interest, parents, subsidiaries or affiliates of any of them, and any

  and all officers, directors, employees, representatives, agents, advisors, attorneys, and all other

  persons and entities acting or purporting to act on behalf of any of the foregoing.

         20.     “NexBank Title” means NexBank Title, Inc., and any direct or indirect

  predecessors or successors in interest, parents, subsidiaries or affiliates of any of them, and any

  and all officers, directors, employees, representatives, agents, advisors, attorneys, and all other

  persons and entities acting or purporting to act on behalf of any of the foregoing.

         21.     “NexBank Securities” means NexBank Securities, Inc., and any direct or indirect

  predecessors or successors in interest, parents, subsidiaries or affiliates of any of them, and any

  and all officers, directors, employees, representatives, agents, advisors, attorneys, and all other

  persons and entities acting or purporting to act on behalf of any of the foregoing.

         22.     “NexBank SSB” means NexBank, SSB, and any direct or indirect predecessors or

  successors in interest, parents, subsidiaries or affiliates of any of them, and any and all officers,

  directors, employees, representatives, agents, advisors, attorneys, and all other persons and entities

  acting or purporting to act on behalf of any of the foregoing.




                                                    6

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         23.     “Nex Entities” or “Nex Entity” means HCMFA, NexBank, NexPoint, and the

  NexPoint Entities.

         24.      “NexPoint” means NexPoint Advisors, L.P., and any direct or indirect

  predecessors or successors in interest, parents, subsidiaries or affiliates of any of them, and any

  and all officers, directors, employees, representatives, agents, advisors, attorneys, and all other

  persons and entities acting or purporting to act on behalf of any of the foregoing.

         25.     “NexPoint Entities” means NexPoint Real Estate Finance, Inc., NexPoint Real

  Estate Capital, LLC, NexPoint Residential Trust, Inc., NexPoint Hospitality Trust, NexPoint Real

  Estate Partners, LLC, NexPoint Multifamily Capital Trust, Inc., VineBrook Homes Trust, Inc.,

  NexPoint Real Estate Advisors, L.P., NexPoint Real Estate Advisors II, L.P., NexPoint Real Estate

  Advisors III, L.P., NexPoint Real Estate Advisors IV, L.P., NexPoint Real Estate Advisors V, L.P.,

  NexPoint Real Estate Advisors VI, L.P., NexPoint Real Estate Advisors VII, L.P., NexPoint Real

  Estate Advisors VIII, L.P., NexAnnuity Holdings, Inc., and any direct or indirect predecessors or

  successors in interest, parents, subsidiaries or affiliates of any of them, and any and all officers,

  trustees, directors, employees, representatives, agents, advisors, attorneys, and all other persons

  and entities acting or purporting to act on behalf of any of the foregoing.

         26.     “Patrick” means Mark Patrick and all entities under his direct or indirect control.

         27.     “Petition Date” means October 16, 2019.

         28.     “Prive Entity(ies)” means Prive Solutions LLC, Prive Lending LLC, Prive Leasing

  LLC, Prive Enterprises GP, LLC, Prive Investment Trust, Prive Enterprises, L.P., Prive

  Motorsports, LLC, Prive Entertainment, LLC, Prive Products, LLC, Prive Residential, LLC, and

  Prive Designs, LLC , and any direct or indirect predecessors or successors in interest, parents,

  subsidiaries or affiliates of any of them, and any and all officers, trustees, directors, employees,




                                                   7

                                                                                                          APP 1157
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  representatives, agents, advisors attorneys, and all other persons and entities acting or purporting

  to act on behalf of any of the foregoing.

           29.       “Related Entity” means any current or former insider of the Debtor, the Dugaboy

  Investment Trust, Charitable DAF Holdco, Ltd, Hunter Mountain Investment Trust, NexBank

  Capital, Strand Advisors XVI, Inc., HCMFA, NexAnnuity Holdings, Inc., the entities listed on

  Annex 1 attached to Exhibit DD of the Debtor’s Notice of Filing of Plan Supplement to the Fifth

  Amended Plan of Reorganization of Highland Capital Management, L.P. (as Modified) [Docket

  No. 1875], and any entity directly or indirectly owned, controlled or operated for the benefit of

  Dondero, Okada, Grant Scott, John Honis, any current or former employee of the Debtor, or any

  of the foregoing persons or entities.

           30.      “Relating to” means consisting of, reflecting, referring to, regarding, concerning,

  involving, evidencing, constituting, or having any legal, logical, evidential, or factual contention

  with (whether to support or to rebut) the subject matter designated in any of these Requests. A

  request for Documents “relating to”2 a specified subject matter always shall include

  Communications, notes and memoranda (whenever prepared) relating to the subject matter of the

  request.

           31.      “Services Agreement” means the services agreement by and among Tall Pine,

  NexBank, Charitable DAF Holdco and/or Charitable DAF Fund, NexPoint Advisors, and

  HCMFA.

           32.      “Sunshine Coastal” means Sunshine Coast Development, LLC, and any direct or

  indirect predecessors or successors in interest, parents, subsidiaries or affiliates of any of them,




  2
   For clarity, the phrase “relating to” shall have the meaning ascribed herein this section regardless of whether such
  phrase is capitalized.


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  and any and all officers, directors, employees, representatives, agents, advisors attorneys, and all

  other persons and entities acting or purporting to act on behalf of any of the foregoing.

         33.      “Tall Pine” means Tall Pine Group, and any direct or indirect predecessors or

  successors in interest, parents, subsidiaries or affiliates of any of them, and any and all officers,

  directors, employees, representatives, agents, advisors attorneys, and all other persons and entities

  acting or purporting to act on behalf of any of the foregoing.

         34.     “You” or “Your” means the entity or person responding to these Requests, and, if

  an entity, any direct or indirect predecessors or successors in interest, parents, subsidiaries or

  affiliates of any of any such entity, and any and all partners, officers, directors, shareholders,

  members, employees, representatives, agents, advisors attorneys, and all other persons and entities

  acting or purporting to act on behalf of any of the foregoing.

                                          INSTRUCTIONS

         1.      Unless otherwise indicated, all Documents shall be produced for the relevant time

  period, which shall be from January 1, 2019 until the date of service of these Requests, including

  any Documents having an earlier origin, if in use during the relevant time period.

         2.      The obligation to produce Documents responsive to these Requests shall be

  continuing in nature, and a producing party is required promptly to produce any Documents

  requested herein that it locates or obtains after responding to these Requests, up to the conclusion

  of the above-captioned Chapter 11 Cases.

         3.      You are requested to produce not only those Documents in Your physical

  possession, but also those documents within Your custody and control, including without

  limitation, Documents in the possession of Your agents, employees, affiliates, advisors, or

  consultants and any other person or entity acting on Your behalf.




                                                   9

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         4.      If You have no Documents responsive to a particular Request, or if for some other

  reason You are unable to produce responsive Documents, Your response to that Request should

  specifically so state. Accordingly, You should respond to each and every Request herein. If You

  have certain Documents that are responsive to a Request, but believe that additional Documents

  not now available to You would also be responsive, You should provide the Documents You now

  have and specifically state when the remainder of the Documents will be provided.

         5.      These Requests, only to the extent they are directed to Dondero, Charitable DAF

  Holdco, or Charitable DAF Fund, should be read to exclude documents relating specifically to the

  transactions on December 28, 2016 between the Debtor, CLO Holdco, Ltd., Charitable DAF

  Holdco, Charitable DAF Fund, Highland Dallas Foundation, Inc., the Dugaboy Investment Trust,

  and the Get Good Nonexempt Trust, whereby the Debtor received a 97.6835% interest in a

  promissory note held by the Get Good Nonexempt Trust in exchange for participation interests

  and stock options that ultimately were transferred to CLO Holdco, Ltd., as set forth in detail in

  paragraphs 30-60 the Committee's complaint brought in the adversary proceeding captioned

  Official Committee of Unsecured Creditors v. CLO Holdco, Ltd. et. al Adversary No. 20-03195,

  [Docket No. 6] (the “CLO Holdco Transaction”). For avoidance of doubt, the Committee is not

  seeking discovery from Dondero, Charitable DAF Holdco, or Charitable DAF Fund relating to the

  CLO Holdco Transaction. If Documents or Communications are withheld from production

  because they relate to the CLO Holdco Transaction, the Committee requests that You so indicate

  in any responses to these Requests.

         6.      Where an objection is made to any Request, the objection shall state with specificity

  all grounds for the objection.




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         7.      Where a claim of privilege is asserted in objecting to the production of any

  Document and a Document called for by these Requests is withheld on the basis of such assertion,

  the objecting party shall identify the nature of the privilege (including work product) that is being

  claimed and, if the privilege is governed by state law, indicate the state’s privilege being invoked.

  In addition, the objecting party shall provide the following information with respect to any

  Document so withheld: (i) the type of Document, e.g. letter or memorandum; (ii) the general

  subject matter of the Document; (iii) the date of the Document; (iv) such other information as is

  sufficient to identify the Document for a subpoena duces tecum, including, where appropriate, the

  author of the Document, the addressees of the Document, and any other recipients shown in the

  Document, and, where not apparent, the relationship of the author, addresses, and recipients to

  each other.

         8.      In the event that a requested Document has been lost, destroyed, discarded and/or

  otherwise disposed of; You will identify the Document by identifying: (i) its author or preparer;

  (ii) all persons to whom distributed or shown; (iii) date; (iv) subject matter; (v) attachments or

  appendices; (vi) date, manner, and reason for destruction or other disposition; (vii) person

  authorizing destruction or other disposition; (viii) the Document request or requests to which the

  Document is responsive.

         9.      Produce all responsive Documents as they are kept in the usual course of business,

  or organize and label them to correspond with the request to which they are responsive. With

  respect to Electronically Stored Information (“ESI”), corresponding metadata shall be produced to

  the extent that the requested metadata exits and can be extracted using standard processing tools.

         10.     With respect to ESI, the producing party shall confer with the Committee to develop

  parameters, including custodians and search terms, to identify responsive Documents.




                                                   11

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                                   DOCUMENTS REQUESTED

          1.     Any and all Documents or Communications relating to the formation, ownership

  (whether direct, indirect, beneficial, or other), and management of Tall Pine, Sunshine Coast,

  FHTC Consulting, the Prive Entities, or Clairmont Holding, including without limitation,

  governance documents, corporate formation documents, certificates of incorporation, bylaws,

  shareholder agreements, operating agreements, partnership agreements, and any business,

  charitable, tax or other purpose or motivation for their creation.

          2.     Any and all Documents or Communications relating to the relationship between the

  Debtor or any Related Entity and any of Tall Pine, Sunshine Coast, FHTC Consulting, the Prive

  Entities, and/or Clairmont Holding, including without limitation, any shared service agreement,

  advisory agreement, sub-advisory agreement, management agreement, note, loan, payment

  obligation, or any other contract or arrangement of any kind, any ownership, title, or position of

  any former or current Debtor employee (including all Individual Highland Parties), any transfers,

  compensation, or payment made by the Debtor or Related Entities to any of their employees,

  including without limitation, any bonus payments. For avoidance of doubt, this Request requires

  production of Documents and Communications relating to any shared service agreement, advisory

  agreement, sub-advisory agreement, management agreement, note, loan, payment obligation, or

  any other contract or arrangement of any kind between or among any of Tall Pine, Sunshine Coast,

  FHTC Consulting, the Prive Entities, and/or Clairmont Holding and any Nex Entities or DAF

  Entities.

          3.     Any and all Documents or Communications relating to the relationship between or

  among any of Tall Pine, Sunshine Coast, FHTC Consulting, the Prive Entities, and/or Clairmont

  Holding, Dondero, Leventon, and/or Ellington, including without limitation, any ownership,




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  control, title or position held, any transfers, compensation, or payments received, and the time

  period such positions were held and any compensation or payments were received.

         4.      Any and all Documents or Communications reflecting or relating to any

  transaction, donation, transfer, payment, distribution, or the remittance of anything of value

  between or among Tall Pine and the Debtor or any Related Entity, including any Nex Entities or

  DAF Entities, including without limitation the amount, the date, and any bases or purpose and the

  negotiation of the transaction, donation, transfer, payment, distribution, or the remittance of

  anything of value.

         5.      Any and all Documents or Communications reflecting or relating to any

  transaction, donation, transfer, payment, distribution, or the remittance of anything of value

  between or among Tall Pine and Dondero, Leventon, Ellington, or any Individual Highland Party,

  and/or any entity directly or indirectly owned or controlled by Dondero, Leventon, or Ellington,

  or any Individual Highland Party and including without limitation the amount, the date, and any

  bases or purpose and the negotiation of the transaction, donation, transfer, payment, distribution,

  or the remittance of anything of value.

         6.      Any and all Documents or Communications relating to the value of any assets or

  liabilities involved in any transaction, donation, transfer, payment, distribution, or remittance of

  anything of value described in Requests 4 and 5, including without limitation any valuations,

  fairness opinions, or neutral third-party assessments.

         7.      Any and all Documents or Communications relating to any tax implications to You,

  the Debtor, any Related Entity, Tall Pine, Sunshine Coast, FHTC Consulting, the Prive Entities,

  and/or Clairmont Holding relating to any transaction, donation, transfer, payment, distribution, or

  remittance of anything of value described in Requests 4 and 5.




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         8.      Any and all Documents or Communications relating to the involvement of

  Dondero, Leventon, Ellington, or any other Debtor employee, agent, or consultant, including

  without limitation any Individual Highland Party or any employee, agent, or consultant of any

  Related Entity in any transaction, donation, transfer, payment, distribution, or remittance of

  anything of value described in Requests 4 and 5.

         9.      Any and all Documents or Communications relating to the source of funds used by

  the Debtor, any Related Entity, Tall Pine, Sunshine Coast, FHTC Consulting, the Prive Entities,

  and/or Clairmont Holding in any transaction donation, transfer, payment, distribution, or

  remittance of anything of value described in Requests 4 and 5.

         10.     Any and all Documents or Communications relating to any minutes, resolutions,

  written consents, or other materials related to the governance of Tall Pine, Sunshine Coast, FHTC

  Consulting, the Prive Entities, and/or Clairmont Holding, including without limitation, codes of

  conduct, policies, board packets, or other materials shared with members, officers, directors,

  shareholders, if any.

         11.     Any and all Documents or Communications reflecting compensation or fees paid

  to any of Tall Pine, Sunshine Coast, FHTC Consulting, the Prive Entities, and/or Clairmont

  Holding by the Debtor or any Related Entity, including without limitation documents such as

  invoices, wire transfer confirmations, bank statements, receipts, checks, or other similar items.

         12.     Any and all Documents or Communications reflecting the nature of services

  provided to the Debtor or any Related Entity by any of Tall Pine, Sunshine Coast, FHTC

  Consulting, the Prive Entities, and/or Clairmont Holding.

         13.     Any and all Documents or Communications relating to any payments received by

  Tall Pine pursuant to the Services Agreement, including without limitation, any payments related




                                                  14

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  to services provided by Tall Pine or others in connection with the Services Agreement, the identity

  of the payor(s) and recipients, and the dates and amounts of any such payments.

         14.     Any and all Documents or Communications relating to any payments sent by Tall

  Pine to any other person or entity within 30 days after receipt of any funds from any party to the

  Services Agreement, including without limitation any services provided to Tall Pine or others in

  connection with the Services Agreement, the identity of the payor(s) and recipients, and the dates

  and amounts of any such payments.

         15.     Any and all Documents or Communications relating to Your policy or practice for

  document retention.




                                                  15

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                                      EXHIBIT 12
         Requests for Production of Documents to the E-Discovery Vendor Parties




                                           1

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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

                                                                  )
                                                                  )
      In re:                                                      ) Chapter 11
                                                                  )
      HIGHLAND CAPITAL MANAGEMENT, L.P.,1                         ) Case No. 19-34054-sgj11
                                                                  )
                                       Debtor.



                        REQUESTS FOR PRODUCTION OF DOCUMENTS TO
                            THE E-DISCOVERY VENDOR PARTIES

               Please take notice that, pursuant to Rule 2004 of the Federal Rules of Bankruptcy

  Procedure, the Official Committee of Unsecured Creditors in the above captioned bankruptcy case

  (the “Committee”), along with Teneo Capital LLC, in its capacity as litigation advisor to the

  Committee (the “Litigation Advisor”), hereby serves the following requests for production of

  documents or categories of documents to Blackland Group LLC, Blackland Legal Solutions, LLC,

  Blackland Information Security, LLC, Blackland Associates, LLC, BMZ Discovery Services LLC,

  Ironwood Legal Solutions, Massand Capital, LLC, Lullwater Park, LLC, Zumasaa Ventures, LLC,

  SAS Asset Recovery Ltd., SAS Holdings SPV Ltd., SAS Litigation Management, L.P., SAS Loan

  Services Ltd., James Dondero, Scott Ellington, Isaac Leventon, Dilip Massand, Marcia Ellington

  Maslow, and Sanjay Kamlani to be produced to the Committee in accordance with the Definitions

  and Instructions below (“Request(s)”).




  1
   The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
  for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.



                                                           2

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                                           DEFINITIONS

         1.      “Blackland” means Blackland Group LLC, Blackland Legal Solutions, LLC,

  Blackland Information Security, LLC, Blackland Associates, LLC and any direct or indirect

  predecessors or successors in interest, parents, subsidiaries or affiliates of any of them, and any

  and all officers, directors, employees, representatives, agents, advisors, attorneys, and all other

  persons and entities acting or purporting to act on behalf of any of the foregoing.

         2.       “BMZ” means BMZ Discovery Services LLC, and any direct or indirect

  predecessors or successors in interest, parents, subsidiaries or affiliates of any of them, and any

  and all officers, directors, employees, representatives, agents, advisors, attorneys, and all other

  persons and entities acting or purporting to act on behalf of any of the foregoing.

         3.      “Communication(s)” means any written or oral communication of any kind or

  character, including, by way of example and without limitation, e-mails, instant messages, text

  messages, voicemail or voice messages, audio recordings, personal conversations, telephone

  conversations, letters, meetings, memoranda, telegraphic and telex communications or transmittals

  of Documents, whether such communication was sent, received, or created, in final or in draft, and

  all Documents concerning or memorializing such written or oral communications.

         4.      “Concerning” means consisting of, reflecting, referring to, regarding, related to,

  involving, evidencing, constituting, or having any legal, logical, evidential, or factual connection

  with (whether to support or rebut) the subject matter designated in any of these Requests. A request

  for Documents “concerning” a specified subject matter always shall include Communications,

  notes, and memoranda (whenever prepared) relating to the subject matter of the request.

         5.      “Debtor” means the Highland Capital Management, L.P., the Debtor in the above-

  captioned case, and any direct or indirect predecessors or successors in interest, parents,




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  subsidiaries or affiliates of any of them, and any and all officers, directors, employees,

  representatives, agents, advisors attorneys, and all other persons and entities acting or purporting

  to act on behalf of any of the foregoing.

         6.      “Document(s)” means, without limitation, the original and all copies, prior drafts,

  and translation of information in any written, typed, printed, recorded or graphic form, however

  produced or reproduced, of any type or description, regardless of origin or location, including

  without limitation, all Electronically Stored Information, Communications, records, tables, charts,

  analyses, graphs, schedules, reports, memoranda, notes, lists, calendar and diary entries, letters

  (sent or received), contracts, statements, bills, checks, vouchers, video tapes, photographs, tape

  recordings, other mechanical records, transcripts or logs of any such recordings, and all other data

  compilations from which information can be obtained. The term “Document(s)” is intended to be

  at least as broad in meaning and scope as the usage of the term in or pursuant to the Federal Rules

  of Civil Procedure.

         7.      “Dondero” means James Dondero and all entities under his direct or indirect

  control.

         8.      “Ellington” means Scott Ellington and all entities under his direct or indirect

  control.

         9.      “Identify” means to state, to the extent known (or, if not know, to so state), the (i)

  type of Document; (ii) general subject matter; (iii) date of the Document; and (iv) author(s),

  addressee(s), and recipient(s).

         10.     “Individual Highland Parties” means James Dondero, Scott Ellington, Isaac

  Leventon, Frank Waterhouse, Mark Patrick, Mark Okada, John Holt, Grant Scott, Mary Jalonick,

  Katie Irving, Jean Paul Sevilla, Lauren Thedford, Stephanie Vitiello, Trey Parker, John Honis,




                                                   4

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  Nancy Dondero, Dana Scott Breault, Gianna Cerullo, Matt DiOrio, Melissa Schroth, Tara Loiben,

  Dilip Massand, Marcia Ellington Maslow, Jason Post, Eric Holt, Cyrus Eftekhari, Jason Rothstein,

  and Sanjay Kamlani, as well as any other former Debtor employees acting at the direction of

  Dondero.

         11.      “Ironwood” means Ironwood Legal Solutions, and any direct or indirect

  predecessors or successors in interest, parents, subsidiaries or affiliates of any of them, and any

  and all officers, directors, employees, representatives, agents, advisors attorneys, and all other

  persons and entities acting or purporting to act on behalf of any of the foregoing.

         12.     “Kamlani” means Sanjay Kamlani and all entities under his direct or indirect

  control.

         13.     “Leventon” means Isaac Leventon and all entities under his direct or indirect

  control.

         14.     “Lullwater” means Lullwater Park, LLC, and any direct or indirect predecessors or

  successors in interest, parents, subsidiaries or affiliates of any of them, and any and all officers,

  directors, employees, representatives, agents, advisors attorneys, and all other persons and entities

  acting or purporting to act on behalf of any of the foregoing.

         15.     “Maslow” means Marcia Ellington Maslow and all entities under her direct or

  indirect control.

         16.     “Massand” means Dilip Massand and all entities under his direct or indirect control.

         17.     “Massand Capital” means Massand Capital, LLC, and any direct or indirect

  predecessors or successors in interest, parents, subsidiaries or affiliates of any of them, and any

  and all officers, directors, employees, representatives, agents, advisors attorneys, and all other

  persons and entities acting or purporting to act on behalf of any of the foregoing.




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           18.      “Petition Date” means October 16, 2019.

           19.      “Related Entity” means any current or former insider of the Debtor, the Dugaboy

  Investment Trust, Charitable DAF Holdco, Ltd, Hunter Mountain Investment Trust, NexBank

  Capital, Strand Advisors XVI, Inc., Highland Capital Management Fund Advisors, LP,

  NexAnnuity Holdings, Inc., the entities listed on Annex 1 attached to Exhibit DD of the Debtor’s

  Notice of Filing of Plan Supplement to the Fifth Amended Plan of Reorganization of Highland

  Capital Management, L.P. (as Modified) [Docket No. 1875], and any entity directly or indirectly

  owned, controlled or operated for the benefit of Dondero, Okada, Grant Scott, John Honis, any

  current or former employee of the Debtor, or any of the foregoing persons or entities.

           20.      “Relating to” means consisting of, reflecting, referring to, regarding, concerning,

  involving, evidencing, constituting, or having any legal, logical, evidential, or factual contention

  with (whether to support or to rebut) the subject matter designated in any of these Requests. A

  request for Documents “relating to”2 a specified subject matter always shall include

  Communications, notes and memoranda (whenever prepared) relating to the subject matter of the

  request.

           21.      “SAS Entity(ies)” means SAS Asset Recovery Ltd., SAS Holdings SPV Ltd., SAS

  Litigation Management, L.P., SAS Loan Services Ltd., and any direct or indirect predecessors or

  successors in interest, parents, subsidiaries or affiliates of any of them, and any and all officers,

  directors, employees, representatives, agents, advisors attorneys, and all other persons and entities

  acting or purporting to act on behalf of any of the foregoing.

           22.      “Zumasaa” means Zumasaa Ventures LLC, and any direct or indirect predecessors

  or successors in interest, parents, subsidiaries or affiliates of any of them, and any and all officers,


  2
   For clarity, the phrase “relating to” shall have the meaning ascribed herein this section regardless of whether such
  phrase is capitalized.


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  directors, employees, representatives, agents, advisors attorneys, and all other persons and entities

  acting or purporting to act on behalf of any of the foregoing.

                                          INSTRUCTIONS

            1.   Unless otherwise indicated, all Documents shall be produced for the relevant time

  period, which shall be the five years before the Petition Date until the date of service of these

  Requests, including any Documents having an earlier origin, if in use during the relevant time

  period.

            2.   The obligation to produce Documents responsive to these Requests shall be

  continuing in nature, and a producing party is required promptly to produce any Documents

  requested herein that it locates or obtains after responding to these Requests, up to the conclusion

  of the above-captioned Chapter 11 Cases.

            3.   You are requested to produce not only those Documents in Your physical

  possession, but also those documents within Your custody and control, including without

  limitation, Documents in the possession of Your agents, employees, affiliates, advisors, or

  consultants and any other person or entity acting on Your behalf.

            4.   If You have no Documents responsive to a particular Request, or if for some other

  reason You are unable to produce responsive Documents, Your response to that Request should

  specifically so state. Accordingly, You should respond to each and every Request herein. If You

  have certain Documents that are responsive to a Request, but believe that additional Documents

  not now available to You would also be responsive, You should provide the Documents You now

  have and specifically state when the remainder of the Documents will be provided.

            5.   These Requests, only to the extent they are directed to Dondero, should be read to

  exclude documents relating specifically to the transactions on December 28, 2016 between the

  Debtor, CLO Holdco, Ltd., Charitable DAF Holdco, Ltd., Charitable DAF Fund, LP, Highland


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  Dallas Foundation, Inc., the Dugaboy Investment Trust, and the Get Good Nonexempt Trust,

  whereby the Debtor received a 97.6835% interest in a promissory note held by the Get Good

  Nonexempt Trust in exchange for participation interests and stock options that ultimately were

  transferred to CLO Holdco, Ltd., as set forth in detail in paragraphs 30-60 the Committee's

  complaint brought in the adversary proceeding captioned Official Committee of Unsecured

  Creditors v. CLO Holdco, Ltd. et. al, Adversary No. 20-03195, [Docket No. 6] (the “CLO Holdco

  Transaction”). For avoidance of doubt, the Committee is not seeking discovery from Dondero

  relating to the CLO Holdco Transaction. If Documents or Communications are withheld from

  production because they relate to the CLO Holdco Transaction, the Committee requests that You

  so indicate in any responses to these Requests.

         6.      Where an objection is made to any Request, the objection shall state with specificity

  all grounds for the objection.

         7.      Where a claim of privilege is asserted in objecting to the production of any

  Document and a Document called for by these Requests is withheld on the basis of such assertion,

  the objecting party shall identify the nature of the privilege (including work product) that is being

  claimed and, if the privilege is governed by state law, indicate the state’s privilege being invoked.

  In addition, the objecting party shall provide the following information with respect to any

  Document so withheld: (i) the type of Document, e.g. letter or memorandum; (ii) the general

  subject matter of the Document; (iii) the date of the Document; (iv) such other information as is

  sufficient to identify the Document for a subpoena duces tecum, including, where appropriate, the

  author of the Document, the addressees of the Document, and any other recipients shown in the

  Document, and, where not apparent, the relationship of the author, addresses, and recipients to

  each other.




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            8.    In the event that a requested Document has been lost, destroyed, discarded and/or

  otherwise disposed of; You will identify the Document by identifying: (i) its author or preparer;

  (ii) all persons to whom distributed or shown; (iii) date; (iv) subject matter; (v) attachments or

  appendices; (vi) date, manner, and reason for destruction or other disposition; (vii) person

  authorizing destruction or other disposition; (viii) the Document request or requests to which the

  Document is responsive.

            9.    Produce all responsive Documents as they are kept in the usual course of business,

  or organize and label them to correspond with the request to which they are responsive. With

  respect to Electronically Stored Information (“ESI”), corresponding metadata shall be produced to

  the extent that the requested metadata exits and can be extracted using standard processing tools.

            10.   With respect to ESI, the producing party shall confer with the Committee to develop

  parameters, including custodians and search terms, to identify responsive Documents.

                                      DOCUMENTS REQUESTED

            1.    Any and all Documents or Communications relating to the formation, ownership

  (whether direct, indirect, or beneficial), and management of Blackland, BMZ, Lullwater, Massand

  Capital, Ironwood, Zumasaa, and/or any SAS Entity, including without limitation governance

  documents, corporate formation documents, certificates of incorporation, bylaws, shareholder

  agreements, operating agreements, partnership agreements, and any business, tax, or other purpose

  or motivation for their creation.

            2.    Any and all Documents or Communications relating to the relationship between or

  among any of Blackland, BMZ, Lullwater, Massand Capital, Ironwood, Zumasaa, and/or any SAS

  Entity.

            3.    Any and all Documents or Communications relating to the relationship of

  Blackland, BMZ, Lullwater, Massand Capital, Ironwood, Zumasaa, and/or any SAS Entity to the


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  Debtor, any Individual Highland Party, and/or any Related Entity, including without limitation

  any consulting agreement, shared services agreement, advisory agreement, sub-advisory

  agreement, management agreement, buy-sell agreement, note, loan, payment obligation, or other

  contract or arrangement of any kind involving (1) You, (2) any of Blackland, BMZ, Lullwater,

  Massand Capital, Ironwood, Zumasaa, any SAS Entity, or any Individual Highland Party, and (3)

  the Debtor or any Related Entity, including without limitation the business purpose for any such

  agreement, the negotiation of the terms of any such agreement, and any compensation or payment

  made by the Debtor to any Blackland, BMZ, Lullwater, Massand Capital, Ironwood, Zumasaa, or

  any SAS Entity employees, including any bonus payments.

         4.      Any and all Documents or Communications reflecting or relating to any

  transaction, donation, transfer, payment, distribution, or the remittance of anything of value

  between or among (1) You, (2) any of Blackland, BMZ, Lullwater, Massand Capital, Ironwood,

  Zumasaa, any SAS Entity, or any Individual Highland Party, and (3) the Debtor or any Related

  Entity, including without limitation, the amount of the transaction, donation, transfer, payment,

  distribution, or value, the date of the event, any bases or purposes for the event, the negotiation of

  the terms of the event, and the value of any asset or liabilities involved in any such transaction,

  including without limitation any fairness opinions or neutral third-party assessments of the

  transaction.

         5.      Any and all Documents or Communications relating to any tax implications to You,

  the Debtor, any Individual Highland Party, Blackland, BMZ, Lullwater, Ironwood, Massand

  Capital, Zumasaa, any SAS Entity, and/or any Related Entity related to any transaction, donation,

  transfer, payment, distribution, or the remittance of anything of value described in Request 4.




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         6.      Any and all Documents or Communications relating to the involvement of

  Dondero, Ellington, Leventon, or any Debtor employee, agent, or consultant, including without

  limitation, any Individual Highland Party, or any employee, agent, or consultant of any Related

  Entity in any transaction, donation, transfer, payment, distribution, or the remittance of anything

  of value described in Request 4.

         7.      Any and all Documents or Communications relating to the source of funds used by

  You, the Debtor, Blackland, BMZ, Lullwater, Ironwood, Massand Capital, Zumasaa, or any

  Related Entity, in any transaction, donation, transfer, payment, distribution, or the remittance of

  anything of value described in Request 4.

         8.      Any and all Documents or Communications relating to the relationship between or

  among (1) Dondero and (2) any of Blackland Legal, BMZ, Lullwater, Massand Capital, Ironwood,

  Zumasaa, and/or any SAS Entity, including, without limitation, any ownership, direct or indirect,

  of any of Blackland Legal, BMZ, Lullwater, Massand Capital, Ironwood, Zumasaa, and/or any

  SAS Entity, any title, ownership, or position held at any of Blackland Legal, BMZ, Lullwater,

  Massand Capital, Ironwood, Zumasaa, and/or any SAS Entity, any compensation or payments

  received, directly or indirectly, from Blackland Legal, BMZ, Lullwater, Massand Capital,

  Ironwood, Zumasaa, and/or any SAS Entity, and the time periods such titles or positions were held

  compensation or payments were made or received.

         9.      Any and all Documents or Communications relating to the relationship between or

  among (1) Leventon and (2) any of Blackland Legal, BMZ, Lullwater, Massand Capital, Ironwood,

  Zumasaa, and/or any SAS Entity, including, without limitation, any ownership, direct or indirect,

  of any of Blackland Legal, BMZ, Lullwater, Massand Capital, Ironwood, Zumasaa, and/or any

  SAS Entity, any title, ownership, or position held at any of Blackland Legal, BMZ, Lullwater,




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  Massand Capital, Ironwood, Zumasaa, and/or any SAS Entity, any compensation or payments

  received, directly or indirectly, from any of Blackland Legal, BMZ, Lullwater, Massand Capital,

  Ironwood, Zumasaa, and/or any SAS Entity, and the time periods such titles or positions were held

  compensation or payments were made or received.

         10.     Any and all Documents or Communications relating to the relationship between or

  among (1) Ellington and (2) any of Blackland Legal, BMZ, Lullwater, Massand Capital, Ironwood,

  Zumasaa, and/or any SAS Entity, including, without limitation, any ownership, direct or indirect,

  of any of Blackland Legal, BMZ, Lullwater, Massand Capital, Ironwood, Zumasaa, and/or any

  SAS Entity, any title, ownership, or position held at any of Blackland Legal, BMZ, Lullwater,

  Massand Capital, Ironwood, Zumasaa, and/or any SAS Entity, any compensation or payments

  received, directly or indirectly, from Blackland Legal, BMZ, Lullwater, Massand Capital,

  Ironwood, Zumasaa, and/or any SAS Entity, and the time periods such titles or positions were held

  compensation or payments were made or received.

         11.     Any and all Documents or Communications relating to the ownership of or the

  relationship between or among (1) Massand and (2) any of Blackland Legal, BMZ, Lullwater,

  Massand Capital, Ironwood, Zumasaa, and/or any SAS Entity, including, without limitation, any

  title or position held, any compensation or payments received, directly or indirectly, and the time

  periods such titles or positions were held compensation or payments were made.

         12.     Any and all Documents or Communications relating to the relationship between or

  among (1) Maslow and (2) any of Blackland Legal, BMZ, Lullwater, Massand Capital, Ironwood,

  Zumasaa, and/or any SAS Entity, including, without limitation, any ownership, direct or indirect,

  of any of Blackland Legal, BMZ, Lullwater, Massand Capital, Ironwood, Zumasaa, and/or any

  SAS Entity, any title, ownership, or position held, at any of Blackland Legal, BMZ, Lullwater,




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  Massand Capital, Ironwood, Zumasaa, and/or any SAS Entity, any compensation or payments

  received, directly or indirectly, from any of Blackland Legal, BMZ, Lullwater, Massand Capital,

  Ironwood, Zumasaa, and/or any SAS Entity, and the time periods such titles or positions were held

  compensation or payments were made or received.

          13.     Any and all Documents or Communications relating to the ownership of or the

  relationship between or among (1) Kamlani and (2) any of Blackland Legal, BMZ, Lullwater,

  Massand Capital, Ironwood, Zumasaa, and/or any SAS Entity, including, without limitation, any

  ownership, direct or indirect, of any of Blackland Legal, BMZ, Lullwater, Massand Capital,

  Ironwood, Zumasaa, and/or any SAS Entity, any title, ownership, or position held, at any of

  Blackland Legal, BMZ, Lullwater, Massand Capital, Ironwood, Zumasaa, and/or any SAS Entity,

  any compensation or payments received, directly or indirectly, from any of Blackland Legal, BMZ,

  Lullwater, Massand Capital, Ironwood, Zumasaa, and/or any SAS Entity and the time periods such

  titles or positions were held compensation or payments were made or received.

          14.     Any and all Documents or Communications relating to the professional relationship

  between or among Dondero, Ellington, Leventon, Massand, Maslow, and/or Kamlani.

          15.     Any and all Documents or Communications relating to any minutes, resolutions,

  written consents, or other materials related to the governance of Blackland, BMZ, Lullwater,

  Massand Capital, Ironwood, Zumasaa, and/or any SAS Entity, including without limitation, codes

  of conduct, policies, board packets, or other materials shared with members, officers, directors, or

  shareholders.

          16.     Any and all Documents or Communications involving You and anyone using the

  email   address    suffixes:   sasmgt.com,    the1991group.com,      blacklandassociates.com,    or

  zumaasaa.com.




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         17.    Any and all Documents or Communications reflecting the nature of services

  provided to the Debtor or any Related Entity by any of Blackland, BMZ, Lullwater, Massand

  Capital, Ironwood, Zumasaa or any SAS Entity.

         18.    Any and all Documents or Communications relating to Your policy or practice for

  document retention.




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                                       EXHIBIT 13
           Requests for Production of Documents to the Massand Capital Parties




                                           1


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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

                                                                  )
                                                                  )
      In re:                                                      ) Chapter 11
                                                                  )
      HIGHLAND CAPITAL MANAGEMENT, L.P.,1                         ) Case No. 19-34054-sgj11
                                                                  )
                                       Debtor.



                     REQUESTS FOR PRODUCTION OF DOCUMENTS TO THE
                               MASSAND CAPITAL PARTIES

               Please take notice that, pursuant to Rule 2004 of the Federal Rules of Bankruptcy

  Procedure, the Official Committee of Unsecured Creditors in the above captioned bankruptcy case

  (the “Committee”), along with Teneo Capital LLC, in its capacity as litigation advisor to the

  Committee (the “Litigation Advisor”), hereby serves the following requests for production of

  documents or categories of documents to Massand Capital, LLC, SAS Asset Recovery Ltd., SAS

  Holdings SPV Ltd., SAS Litigation Management, L.P., SAS Loan Services Ltd., Blackland Group

  LLC, Blackland Legal Solutions, LLC, Blackland Information Security, LLC, Blackland

  Associates, LLC, James Dondero, Scott Ellington, Isaac Leventon, and Dilip Massand.

                                                  DEFINITIONS

               1.    “Blackland” means Blackland Group LLC, Blackland Legal Solutions, LLC,

  Blackland Information Security, LLC, Blackland Associates, LLC and any direct or indirect

  predecessors or successors in interest, parents, subsidiaries or affiliates of any of them, and any




  1
   The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
  for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.

                                                           2


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  and all officers, directors, employees, representatives, agents, advisors, attorneys, and all other

  persons and entities acting or purporting to act on behalf of any of the foregoing.

         2.      “Communication(s)” means any written or oral communication of any kind or

  character, including, by way of example and without limitation, e-mails, instant messages, text

  messages, voicemail or voice messages, audio recordings, personal conversations, telephone

  conversations, letters, meetings, memoranda, telegraphic and telex communications or transmittals

  of Documents, whether such communication was sent, received, or created, in final or in draft, and

  all Documents concerning or memorializing such written or oral communications.

         3.      “Concerning” means consisting of, reflecting, referring to, regarding, related to,

  involving, evidencing, constituting, or having any legal, logical, evidential, or factual connection

  with (whether to support or rebut) the subject matter designated in any of these Requests. A request

  for Documents “concerning” a specified subject matter always shall include Communications,

  notes, and memoranda (whenever prepared) relating to the subject matter of the request.

         4.      “Debtor” means the Highland Capital Management, L.P., the Debtor in the above-

  captioned case, and any direct or indirect predecessors or successors in interest, parents,

  subsidiaries or affiliates of any of them, and any and all officers, directors, employees,

  representatives, agents, advisors attorneys, and all other persons and entities acting or purporting

  to act on behalf of any of the foregoing.

         5.      “Document(s)” means, without limitation, the original and all copies, prior drafts,

  and translation of information in any written, typed, printed, recorded or graphic form, however

  produced or reproduced, of any type or description, regardless of origin or location, including

  without limitation, all Electronically Stored Information, Communications, records, tables, charts,

  analyses, graphs, schedules, reports, memoranda, notes, lists, calendar and diary entries, letters



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  (sent or received), contracts, statements, bills, checks, vouchers, video tapes, photographs, tape

  recordings, other mechanical records, transcripts or logs of any such recordings, and all other data

  compilations from which information can be obtained. The term “Document(s)” is intended to be

  at least as broad in meaning and scope as the usage of the term in or pursuant to the Federal Rules

  of Civil Procedure.

         6.      “Dondero” means James Dondero and all entities under his direct or indirect

  control.

         7.      “Ellington” means Scott Ellington and all entities under his direct or indirect

  control.

         8.      “Identify” means to state, to the extent known (or, if not know, to so state), the (i)

  type of Document; (ii) general subject matter; (iii) date of the Document; and (iv) author(s),

  addressee(s), and recipient(s).

         9.      “Individual Highland Parties” means James Dondero, Scott Ellington, Isaac

  Leventon, Frank Waterhouse, Mark Patrick, Mark Okada, John Holt, Grant Scott, Mary Jalonick,

  Katie Irving, Jean Paul Sevilla, Lauren Thedford, Stephanie Vitiello, Trey Parker, John Honis,

  Nancy Dondero, Dana Scott Breault, Gianna Cerullo, Matt DiOrio, Melissa Schroth, Tara Loiben,

  Dilip Massand, Marcia Ellington Maslow, Jason Post, Eric Holt, Cyrus Eftekhari, Jason Rothstein,

  and Sanjay Kamlani, as well as any other former Debtor employees acting at the direction of

  Dondero.

         10.      “Leventon” means Isaac Leventon and all entities under his direct or indirect

  control.

         11.     “Massand” means Dilip Massand and all entities under his direct or indirect control.




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           12.      “Massand Capital” means Massand Capital, LLC, and any direct or indirect

  predecessors or successors in interest, parents, subsidiaries or affiliates of any of them, and any

  and all officers, directors, employees, representatives, agents, advisors attorneys, and all other

  persons and entities acting or purporting to act on behalf of any of the foregoing.

           13.      “Petition Date” means October 16, 2019.

           14.      “Related Entity” means any current or former insider of the Debtor, the Dugaboy

  Investment Trust, Charitable DAF Holdco, Ltd, Hunter Mountain Investment Trust, NexBank

  Capital, Strand Advisors XVI, Inc., Highland Capital Management Fund Advisors, L.P.,

  NexAnnuity Holdings, Inc., the entities listed on Annex 1 attached to Exhibit DD of the Debtor’s

  Notice of Filing of Plan Supplement to the Fifth Amended Plan of Reorganization of Highland

  Capital Management, L.P. (as Modified) [Docket No. 1875], and any entity directly or indirectly

  owned, controlled or operated for the benefit of Dondero, Okada, Scott, John Honis, any current

  or former employee of the Debtor, or any of the foregoing persons or entities.

           15.      “Relating to” means consisting of, reflecting, referring to, regarding, concerning,

  involving, evidencing, constituting, or having any legal, logical, evidential, or factual contention

  with (whether to support or to rebut) the subject matter designated in any of these Requests. A

  request for Documents “relating to”2 a specified subject matter always shall include

  Communications, notes and memoranda (whenever prepared) relating to the subject matter of the

  request.

           16.       “SAS Asset Recovery” means SAS Asset Recovery Ltd., and any direct or indirect

  predecessors or successors in interest, parents, subsidiaries or affiliates of any of them, and any




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   For clarity, the phrase “relating to” shall have the meaning ascribed herein this section regardless of whether such
  phrase is capitalized.

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                                                                                                                          APP 1184
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  and all officers, directors, employees, representatives, agents, advisors attorneys, and all other

  persons and entities acting or purporting to act on behalf of any of the foregoing.

         17.     “SAS Entity(ies)” means SAS Asset Recovery Ltd., SAS Holdings, SAS Litigation

  Management, and SAS Loan Services.

         18.      “SAS Holdings” means SAS Holdings SPV Ltd., and any direct or indirect

  predecessors or successors in interest, parents, subsidiaries or affiliates of any of them, and any

  and all officers, directors, employees, representatives, agents, advisors attorneys, and all other

  persons and entities acting or purporting to act on behalf of any of the foregoing.

         19.     “SAS Litigation Management” means SAS Litigation Management, L.P., and any

  direct or indirect predecessors or successors in interest, parents, subsidiaries or affiliates of any of

  them, and any and all officers, directors, employees, representatives, agents, advisors attorneys,

  and all other persons and entities acting or purporting to act on behalf of any of the foregoing.

         20.     “SAS Loan Services” means SAS Loan Services Ltd., and any direct or indirect

  predecessors or successors in interest, parents, subsidiaries or affiliates of any of them, and any

  and all officers, directors, employees, representatives, agents, advisors attorneys, and all other

  persons and entities acting or purporting to act on behalf of any of the foregoing.

         21.     “You” or “Your” means the entity or person responding to these Requests, and, if

  an entity, any direct or indirect predecessors or successors in interest, parents, subsidiaries or

  affiliates of any of any such entity, and any and all partners, officers, directors, shareholders,

  members, employees, representatives, agents, advisors attorneys, and all other persons and entities

  acting or purporting to act on behalf of any of the foregoing.

                                           INSTRUCTIONS

         1.      Unless otherwise indicated, all Documents shall be produced for the relevant time

  period, which shall be the five years before the Petition Date until the date of service of these
                                                     6


                                                                                                             APP 1185
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  Requests, including any Documents having an earlier origin, if in use during the relevant time

  period.

            2.   The obligation to produce Documents responsive to these Requests shall be

  continuing in nature, and a producing party is required promptly to produce any Documents

  requested herein that it locates or obtains after responding to these Requests, up to the conclusion

  of the above-captioned Chapter 11 Cases.

            3.   You are requested to produce not only those Documents in Your physical

  possession, but also those documents within Your custody and control, including without

  limitation, Documents in the possession of Your agents, employees, affiliates, advisors, or

  consultants and any other person or entity acting on Your behalf.

            4.   If You have no Documents responsive to a particular Request, or if for some other

  reason You are unable to produce responsive Documents, Your response to that Request should

  specifically so state. Accordingly, You should respond to each and every Request herein. If You

  have certain Documents that are responsive to a Request, but believe that additional Documents

  not now available to You would also be responsive, You should provide the Documents You now

  have and specifically state when the remainder of the Documents will be provided.

            5.   These Requests, only to the extent they are directed to Dondero, should be read to

  exclude documents relating specifically to the transactions on December 28, 2016 between the

  Debtor, CLO Holdco, Ltd., Charitable DAF Holdco, Ltd., Charitable DAF Fund, LP, Highland

  Dallas Foundation, Inc., the Dugaboy Investment Trust, and the Get Good Nonexempt Trust,

  whereby the Debtor received a 97.6835% interest in a promissory note held by the Get Good

  Nonexempt Trust in exchange for participation interests and stock options that ultimately were

  transferred to CLO Holdco, Ltd., as set forth in detail in paragraphs 30-60 the Committee's



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  complaint brought in the adversary proceeding captioned Official Committee of Unsecured

  Creditors v. CLO Holdco, Ltd. et. al, Adversary No. 20-03195, [Docket No. 6] (the “CLO Holdco

  Transaction”). For avoidance of doubt, the Committee is not seeking discovery from Dondero

  relating to the CLO Holdco Transaction. If Documents or Communications are withheld from

  production because they relate to the CLO Holdco Transaction, the Committee requests that You

  so indicate in any responses to these Requests.

         6.      Where an objection is made to any Request, the objection shall state with specificity

  all grounds for the objection.

         7.      Where a claim of privilege is asserted in objecting to the production of any

  Document and a Document called for by these Requests is withheld on the basis of such assertion,

  the objecting party shall identify the nature of the privilege (including work product) that is being

  claimed and, if the privilege is governed by state law, indicate the state’s privilege being invoked.

  In addition, the objecting party shall provide the following information with respect to any

  Document so withheld: (i) the type of Document, e.g. letter or memorandum; (ii) the general

  subject matter of the Document; (iii) the date of the Document; (iv) such other information as is

  sufficient to identify the Document for a subpoena duces tecum, including, where appropriate, the

  author of the Document, the addressees of the Document, and any other recipients shown in the

  Document, and, where not apparent, the relationship of the author, addresses, and recipients to

  each other.

         8.      In the event that a requested Document has been lost, destroyed, discarded and/or

  otherwise disposed of; You will identify the Document by identifying: (i) its author or preparer;

  (ii) all persons to whom distributed or shown; (iii) date; (iv) subject matter; (v) attachments or

  appendices; (vi) date, manner, and reason for destruction or other disposition; (vii) person



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  authorizing destruction or other disposition; (viii) the Document request or requests to which the

  Document is responsive.

         9.      Produce all responsive Documents as they are kept in the usual course of business,

  or organize and label them to correspond with the request to which they are responsive. With

  respect to Electronically Stored Information (“ESI”), corresponding metadata shall be produced to

  the extent that the requested metadata exits and can be extracted using standard processing tools.

         10.     With respect to ESI, the producing party shall confer with the Committee to develop

  parameters, including custodians and search terms, to identify responsive Documents.

                                   DOCUMENTS REQUESTED

         1.      Any and all Documents or Communications relating to the formation, ownership

  (whether direct, indirect, or beneficial), and management of Massand Capital, any SAS Entity, or

  Blackland, including without limitation governance documents, corporate formation documents,

  certificates of incorporation, bylaws, shareholder agreements, operating agreements, partnership

  agreements, and any business, tax, or other purpose or motivation for their creation.

         2.      Any and all Documents or Communications relating to the relationship between or

  among (1) the Debtor or any Related Entity and (2) any of Massand Capital, Blackland, and/or any

  SAS Entity, including without limitation any consulting agreement, shared services agreement,

  advisory agreement, sub-advisory agreement, management agreement, buy-sell agreement, note,

  loan, payment obligation, or other contract or arrangement of any kind, any ownership, title, or

  position of any former or current Debtor employee (including all Individual Highland Parties), and

  any transfers, compensation, or payment made by the Debtor or Related Entities to any of their

  employees, including without limitation, any bonus payments.

         3.      Any and all Documents or Communications reflecting or relating to any

  transaction, donation, transfer, payment, distribution, or the remittance of anything of value
                                                  9


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  between or among any of (1) You, (2) any of Massand Capital, any SAS Entity, Blackland, and

  (3) the Debtor or any Related Entity, including without limitation, the amount, the date, and any

  bases or purpose and the negotiation of the transaction, donation, transfer, payment, distribution,

  or the remittance of anything of value.

         4.      Any and all Documents or Communications relating to the value of any asset or

  liabilities involved in any such transaction, donation, transfer, payment, distribution, or the

  remittance of anything of value described in Request 3, including without limitation, any fairness

  opinions or neutral third-party assessments.

         5.      Any and all Documents or Communications relating to any tax implications to You,

  the Debtor, Massand Capital, any SAS Entity, Blackland, Dondero, Ellington, Leventon, Massand,

  any Individual Highland Party, and/or any Related Entity related to any transaction, donation,

  transfer, payment, distribution, or the remittance of anything of value described in Request 3.

         6.      Any and all Documents or Communications relating to the involvement of

  Dondero, Leventon, Ellington, Massand, or any Debtor employee, agent, or consultant, including

  without limitation, any Individual Highland Party, or any employee, agent, or consultant of any

  Related Entity in any transaction, donation, transfer, payment, distribution, or the remittance of

  anything of value described in Request 3.

         7.      Any and all Documents or Communications relating to the source of funds used by

  You, the Debtor, Massand Capital, Blackland, any SAS Entity, and/or any Related Entity in any

  transaction, donation, transfer, payment, distribution, or the remittance of anything of value

  described in Request 3.

         8.      Any and all Documents or Communications reflecting compensation for consulting

  or other fees paid to Massand Capital, Blackland, and/or any SAS Entity by the Debtor or any



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  Related Entity, including without limitation documents such as invoices, wire transfer

  confirmations, bank statements, receipts, checks, or other similar items.

         9.      Any and all Documents or Communications reflecting the nature of services

  provided to the Debtor or any Related Entity by any of Massand Capital, Massand, Blackland, or

  any SAS Entity.

         10.     Any and all Documents or Communications related to direction or guidance

  provided to Massand by Ellington or Dondero regarding Massand’s provision of services to the

  Debtor.

         11.     Any and all Documents or Communications related to payments made by the

  Debtor to Massand Capital or Massand individually.

         12.     Any and all Documents or Communications relating to the relationship between or

  among Dondero and Massand Capital, Blackland, and/or any SAS Entity, including, without

  limitation, any title or position held by Dondero at Massand Capital, Blackland, or any SAS Entity,

  any compensation or payments received by Dondero, directly or indirectly, from Massand Capital,

  Blackland, or any SAS Entity, or received by Dondero, directly or indirectly, from the Debtor or

  any Related Entity related to the title or position held at any of Massand Capital, Blackland, or

  any SAS Entity, and the time periods such titles or positions were held.

         13.     Any and all Documents or Communications relating to the relationship between or

  among Ellington and Massand Capital, Blackland, and/or any SAS Entity, including, without

  limitation, any ownership, direct or indirect, of any of Massand Capital, Blackland, and/or any

  SAS Entity, any title or position held by Ellington at any of Massand Capital, Blackland, or any

  SAS Entity, any compensation or payments received by Ellington, directly or indirectly, from

  Massand Capital, Blackland, or any SAS Entity, or received by Ellington, directly or indirectly,



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  from the Debtor or any Related Entity related to the title or position held at any of Massand Capital,

  Blackland, or any SAS Entity, and the time periods such titles or positions were held and

  compensation or payments were received.

         14.     Any and all Documents or Communications relating to the relationship between or

  among Leventon and Massand Capital, Blackland, and/or any SAS Entity, including, without

  limitation, any ownership, direct or indirect of any of Massand Capital, Blackland, and/or any SAS

  Entity, any title or position held by Leventon at any of Massand Capital, Blackland, or any SAS

  Entity, any compensation or payments received by Leventon, directly or indirectly, from any of

  Massand Capital, Blackland, or any SAS Entity, or received by Leventon, directly or indirectly,

  from the Debtor or any Related Entity related to the title or position held at any of Massand Capital,

  Blackland, or any SAS Entity, and the time periods such titles or positions were held and

  compensation or payments were received.

         15.     Any and all Documents or Communications relating to the relationship between or

  among Massand and Massand Capital, Blackland, any SAS Entity, the Debtor, or any Related

  Entity, including, without limitation, any ownership, direct or indirect, of any of Massand Capital,

  Blackland, any SAS Entity, the Debtor, or any Related Entity, any title or position held by Massand

  at any of Massand Capital, Blackland, any SAS Entity, the Debtor, or any Related Entity, any

  compensation or payments received by Massand, directly or indirectly, from any of Massand

  Capital, Blackland, any SAS Entity, the Debtor, or any Related Entity, and the time periods such

  titles or positions were held and compensation or payments were received.

         16.     Any and all Documents or Communications relating to the professional relationship

  between or among (1) Massand and (2) Dondero, Ellington, Leventon, and/or any other Individual

  Highland Party.



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                                                                                                           APP 1191
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         17.     Any and all Documents or Communications relating to any minutes, resolutions,

  written consents, or other materials related to the governance of Massand Capital, Blackland, or

  any SAS Entity, including without limitation, codes of conduct, board packets or other materials

  shared with members, officers, directors, or shareholders.

         18.     Any and all Documents or Communications involving You and any of the email

  address suffixes: sasmgt.com, the 1991group.com, blacklandassociates.com, or zumaasaa.com.

         19.     Any and all Documents or Communications relating to Your policy or practice for

  document retention.




                                                 13


                                                                                                     APP 1192
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                                       EXHIBIT 14
           Requests for Production of Documents to the Brazilian Entities Parties




                                             1

                                                                                    APP 1193
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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

                                                                  )
                                                                  )
      In re:                                                      ) Chapter 11
                                                                  )
      HIGHLAND CAPITAL MANAGEMENT, L.P.,1                         ) Case No. 19-34054-sgj11
                                                                  )
                                       Debtor.



                     REQUESTS FOR PRODUCTION OF DOCUMENTS TO THE
                               BRAZILIAN ENTITIES PARTIES

               Please take notice that, pursuant to Rule 2004 of the Federal Rules of Bankruptcy

  Procedure, the Official Committee of Unsecured Creditors in the above captioned bankruptcy case

  (the “Committee”), along with Teneo Capital LLC, in its capacity as litigation advisor to the

  Committee (the “Litigation Advisor”), hereby serves the following requests for production of

  documents or categories of documents to James Dondero, Melissa Schroth, Frank Waterhouse,

  Mark Patrick, the Dugaboy Investment Trust, Highland Brasilinvest Gestora de Recursos, Ltda,

  Highland Capital Brasil Gestora de Recursos, Ltda, Brasilinvest Investimentos e Participacoes

  Ltda, HBI Consultoria Empresarial, LTDA, Highland Capital Management, AG, and Brasilinvest

  Empreendimentos e Participacoes S/A to be produced to the Committee in accordance with the

  Definitions and Instructions below (“Request(s)”).

                                                  DEFINITIONS

               1.    “Brasil Investimentos” means Brasilinvest Investimentos e Participacoes Ltda, and

  any direct or indirect predecessors or successors in interest, parents, subsidiaries or affiliates of



  1
   The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
  for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.



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  any of them, and any and all officers, directors, employees, representatives, agents, advisors

  attorneys, and all other persons and entities acting or purporting to act on behalf of any of the

  foregoing.

         2.      “Brasilinvest   Empreendimentos”      means    Brasilinvest   Empreendimentos      e

  Participacoes S/A, and any direct or indirect predecessors or successors in interest, parents,

  subsidiaries or affiliates of any of them, and any and all officers, directors, employees,

  representatives, agents, advisors attorneys, and all other persons and entities acting or purporting

  to act on behalf of any of the foregoing.

         3.       “Communication(s)” means any written or oral communication of any kind or

  character, including, by way of example and without limitation, e-mails, instant messages, text

  messages, voicemail or voice messages, audio recordings, personal conversations, telephone

  conversations, letters, meetings, memoranda, telegraphic and telex communications or transmittals

  of Documents, whether such communication was sent, received, or created, in final or in draft, and

  all Documents concerning or memorializing such written or oral communications.

         4.      “Concerning” means consisting of, reflecting, referring to, regarding, related to,

  involving, evidencing, constituting, or having any legal, logical, evidential, or factual connection

  with (whether to support or rebut) the subject matter designated in any of these Requests. A request

  for Documents “concerning” a specified subject matter always shall include Communications,

  notes, and memoranda (whenever prepared) relating to the subject matter of the request.

         5.      “Debtor” means the Highland Capital Management, L.P., the Debtor in the above-

  captioned case, and any direct or indirect predecessors or successors in interest, parents,

  subsidiaries or affiliates of any of them, and any and all officers, directors, employees,




                                                   3

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  representatives, agents, advisors attorneys, and all other persons and entities acting or purporting

  to act on behalf of any of the foregoing.

         6.      “Document(s)” means, without limitation, the original and all copies, prior drafts,

  and translation of information in any written, typed, printed, recorded or graphic form, however

  produced or reproduced, of any type or description, regardless of origin or location, including

  without limitation, all Electronically Stored Information, Communications, records, tables, charts,

  analyses, graphs, schedules, reports, memoranda, notes, lists, calendar and diary entries, letters

  (sent or received), contracts, statements, bills, checks, vouchers, video tapes, photographs, tape

  recordings, other mechanical records, transcripts or logs of any such recordings, and all other data

  compilations from which information can be obtained. The term “Document(s)” is intended to be

  at least as broad in meaning and scope as the usage of the term in or pursuant to the Federal Rules

  of Civil Procedure.

         7.      “Dondero” means James Dondero and all entities under his direct or indirect

  control.

         8.      “Dugaboy” means The Dugaboy Investment Trust, and any direct or indirect

  predecessors or successors in interest, parents, subsidiaries or affiliates of any of them, and any

  and all officers, trustees, directors, employees, representatives, agents, advisors, attorneys, and all

  other persons and entities acting or purporting to act on behalf of any of the foregoing.

         9.      “HBI” means HBI Consultoria Empresarial, LTDA, and any direct or indirect

  predecessors or successors in interest, parents, subsidiaries or affiliates of any of them, and any

  and all officers, directors, employees, representatives, agents, advisors, attorneys, and all other

  persons and entities acting or purporting to act on behalf of any of the foregoing.




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         10.     “Highland AG” means Highland Capital Management, AG, and any direct or

  indirect predecessors or successors in interest, parents, subsidiaries or affiliates of any of them,

  and any and all officers, directors, employees, representatives, agents, advisors, attorneys, and all

  other persons and entities acting or purporting to act on behalf of any of the foregoing.

         11.     “Identify” means to state, to the extent known (or, if not know, to so state), the (i)

  type of Document; (ii) general subject matter; (iii) date of the Document; and (iv) author(s),

  addressee(s), and recipient(s).

         12.     “Individual Highland Parties” means James Dondero, Scott Ellington, Isaac

  Leventon, Frank Waterhouse, Mark Patrick, Mark Okada, John Holt, Grant Scott, Mary Jalonick,

  Katie Irving, Jean Paul Sevilla, Lauren Thedford, Stephanie Vitiello, Trey Parker, John Honis,

  Nancy Dondero, Dana Scott Breault, Gianna Cerullo, Matt DiOrio, Melissa Schroth, Tara Loiben,

  Dilip Massand, Marcia Ellington Maslow, Jason Post, Eric Holt, Cyrus Eftekhari, Jason Rothstein,

  and Sanjay Kamlani and all other former Debtor employees acting at the direction of Dondero.

         13.      “Patrick” means Mark Patrick and all entities under his direct or indirect control.

         14.     “Petition Date” means October 16, 2019.

         15.     “Related Entity” means any current or former insider of the Debtor, the Dugaboy

  Investment Trust, Charitable DAF Holdco, Ltd, Hunter Mountain Investment Trust, NexBank

  Capital, Strand Advisors XVI, Inc., Highland Capital Management Fund Advisors, L.P.,

  NexAnnuity Holdings, Inc., the entities listed on Annex 1 attached to Exhibit DD of the Debtor’s

  Notice of Filing of Plan Supplement to the Fifth Amended Plan of Reorganization of Highland

  Capital Management, L.P. (as Modified) [Docket No. 1875], and any entity directly or indirectly

  owned, controlled or operated for the benefit of Dondero, Okada, Scott, John Honis, any current

  or former employee of the Debtor, or any of the foregoing persons or entities.




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            16.     “Relating to” means consisting of, reflecting, referring to, regarding, concerning,

  involving, evidencing, constituting, or having any legal, logical, evidential, or factual contention

  with (whether to support or to rebut) the subject matter designated in any of these Requests. A

  request for Documents “relating to”2 a specified subject matter always shall include

  Communications, notes and memoranda (whenever prepared) relating to the subject matter of the

  request.

            17.     “You” or “Your” means the entity or person responding to these Requests, and, if

  an entity, any direct or indirect predecessors or successors in interest, parents, subsidiaries or

  affiliates of any of any such entity, and any and all partners, officers, directors, shareholders,

  members, employees, representatives, agents, advisors attorneys, and all other persons and entities

  acting or purporting to act on behalf of any of the foregoing.

                                                 INSTRUCTIONS

            1.      Unless otherwise indicated, all Documents shall be produced for the relevant time

  period, which shall be the five years before the Petition Date until the date of service of these

  Requests, including any Documents having an earlier origin, if in use during the relevant time

  period.

            2.      The obligation to produce Documents responsive to these Requests shall be

  continuing in nature, and a producing party is required promptly to produce any Documents

  requested herein that it locates or obtains after responding to these Requests, up to the conclusion

  of the above-captioned Chapter 11 Cases.

            3.      You are requested to produce not only those Documents in Your physical

  possession, but also those documents within Your custody and control, including without


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   For clarity, the phrase “relating to” shall have the meaning ascribed herein this section regardless of whether such
  phrase is capitalized.


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  limitation, Documents in the possession of Your agents, employees, affiliates, advisors, or

  consultants and any other person or entity acting on Your behalf.

         4.      If You have no Documents responsive to a particular Request, or if for some other

  reason You are unable to produce responsive Documents, Your response to that Request should

  specifically so state. Accordingly, You should respond to each and every Request herein. If You

  have certain Documents that are responsive to a Request, but believe that additional Documents

  not now available to You would also be responsive, You should provide the Documents You now

  have and specifically state when the remainder of the Documents will be provided.

         5.      These Requests, only to the extent they are directed to Dondero or Dugaboy, should

  be read to exclude documents relating specifically to the transactions on December 28, 2016

  between the Debtor, CLO Holdco, Ltd., Charitable DAF Holdco, Ltd., Charitable DAF Fund, LP,

  Highland Dallas Foundation, Inc., Dugaboy, and the Get Good Nonexempt Trust, whereby the

  Debtor received a 97.6835% interest in a promissory note held by the Get Good Nonexempt Trust

  in exchange for participation interests and stock options that ultimately were transferred to CLO

  Holdco, Ltd., as set forth in detail in paragraphs 30-60 the Committee's complaint brought in the

  adversary proceeding captioned Official Committee of Unsecured Creditors v. CLO Holdco, Ltd.

  et. al, Adversary No. 20-03195, [Docket No. 6] (the “CLO Holdco Transaction”). For avoidance

  of doubt, the Committee is not seeking discovery from Dondero or Dugaboy relating to the CLO

  Holdco Transaction. If Documents or Communications are withheld from production because they

  relate to the CLO Holdco Transaction, the Committee requests that You so indicate in any

  responses to these Requests.

         6.      Where an objection is made to any Request, the objection shall state with specificity

  all grounds for the objection.




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         7.      Where a claim of privilege is asserted in objecting to the production of any

  Document and a Document called for by these Requests is withheld on the basis of such assertion,

  the objecting party shall identify the nature of the privilege (including work product) that is being

  claimed and, if the privilege is governed by state law, indicate the state’s privilege being invoked.

  In addition, the objecting party shall provide the following information with respect to any

  Document so withheld: (i) the type of Document, e.g. letter or memorandum; (ii) the general

  subject matter of the Document; (iii) the date of the Document; (iv) such other information as is

  sufficient to identify the Document for a subpoena duces tecum, including, where appropriate, the

  author of the Document, the addressees of the Document, and any other recipients shown in the

  Document, and, where not apparent, the relationship of the author, addresses, and recipients to

  each other.

         8.      In the event that a requested Document has been lost, destroyed, discarded and/or

  otherwise disposed of; You will identify the Document by identifying: (i) its author or preparer;

  (ii) all persons to whom distributed or shown; (iii) date; (iv) subject matter; (v) attachments or

  appendices; (vi) date, manner, and reason for destruction or other disposition; (vii) person

  authorizing destruction or other disposition; (viii) the Document request or requests to which the

  Document is responsive.

         9.      Produce all responsive Documents as they are kept in the usual course of business,

  or organize and label them to correspond with the request to which they are responsive. With

  respect to Electronically Stored Information (“ESI”), corresponding metadata shall be produced to

  the extent that the requested metadata exits and can be extracted using standard processing tools.

         10.     With respect to ESI, the producing party shall confer with the Committee to develop

  parameters, including custodians and search terms, to identify responsive Documents.




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                                      DOCUMENTS REQUESTED

         1.      Any and all Documents or Communications relating to the formation, ownership

  (whether direct, indirect, or beneficial), and management of Brasilinvest Investimentos,

  Brasilinvest Empreendimentos, HBI, or Highland AG, including without limitation governance

  documents, corporate formation documents, certificates of incorporation, bylaws, shareholder

  agreements, operating agreements, partnership agreements, and any business, tax, or other purpose

  or motivation for their creation.

         2.      Any and all Documents or Communications relating to the relationship between or

  among (1) the Debtor or any other Related Entity and (2) Brasilinvest Investimentos and/or

  Brasilinvest Empreendimentos, including without limitation, any consulting agreement, shared

  services agreement, advisory agreement, sub-advisory agreement, management agreement, buy-

  sell agreement, note, loan, payment obligation, or other contract or arrangement of any kind

  involving any combination of the Debtor or any Related Entity and Brasilinvest Investimentos

  and/or Brasilinvest Empreendimentos, including without limitation, the business purpose for any

  such agreement, the negotiation of the terms of any such agreement, and any compensation or

  payment made by the Debtor or any Related Entity to any Brasilinvest Investimentos or

  Brasilinvest Empreendimentos employees, including any bonus payments.

         3.      Any and all Documents or Communications relating to the relationship between or

  among Dugaboy and Brasilinvest Investimentos and/or Brasilinvest Empreendimentos, including

  without limitation, any consulting agreement, shared services agreement, advisory agreement, sub-

  advisory agreement, management agreement, buy-sell agreement, note, loan, payment obligation,

  or other contract or arrangement of any kind involving any combination of the Dugaboy and

  Brasilinvest Investimentos and/or Brasilinvest Empreendimentos, including without limitation,




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  the business purpose for any such agreement, the negotiation of the terms of any such agreement,

  and any compensation or payment made by Dugaboy to any Brasilinvest Investimentos or

  Brasilinvest Empreendimentos employees, including any bonus payments.

         4.      Any and all Documents or Communications reflecting or relating to any

  transaction, donation, transfer, payment, distribution, or the remittance of anything of value

  between or among any of (1) You, the Debtor, Dugaboy, or any Related Entity, and (2) Brasilinvest

  Investimentos, and/or Brasilinvest Empreendimentos, including without limitation, the amount of

  the transaction, donation, transfer, payment, distribution, or value, the date of the event, any bases

  or purposes for the event, the negotiation of the terms of the event, and the value of any asset or

  liabilities involved in any such transaction, including without limitation any fairness opinions or

  neutral third-party assessments of the transaction.

         5.      Any and all Documents or Communications relating to any tax implications to You,

  the Debtor, Dugaboy, any Related Entity, Brasilinvest Investimentos, and/or Brasilinvest

  Empreendimentos related to any transaction, donation, transfer, payment, distribution, or the

  remittance of anything of value described in Request 4.

         6.      Any and all Documents or Communications relating to the involvement of Dondero

  or any Debtor employee, agent, or consultant, including without limitation, any Individual

  Highland Party, or any employee, agent, or consultant of any Related Entity in any transaction,

  donation, transfer, payment, distribution, or the remittance of anything of value described in

  Request 4.

         7.      Any and all Documents or Communications relating to the source of funds used by

  You, the Debtor, Dugaboy, any Related Entity, Brasilinvest Investimentos, and/or Brasilinvest




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  Empreendimentos in any transaction, donation, transfer, payment, distribution, or the remittance

  of anything of value described in Request 4.

         8.      Any and all Documents or Communications relating to the relationship between or

  among Dondero and Brasilinvest Investimentos and/or Brasilinvest Empreendimentos, including,

  without limitation, any ownership, direct or indirect, of Brasilinvest Investimentos or Brasilinvest

  Empreendimentos, any title, ownership, or position held by Dondero at Brasilinvest Investimentos

  or Brasilinvest Empreendimentos, any compensation or payments received by Dondero, directly

  or indirectly, from Brasilinvest Investimentos or Brasilinvest Empreendimentos, or received by

  Dondero, directly or indirectly, from the Debtor related to the title or position held at any of

  Brasilinvest Investimentos or Brasilinvest Empreendimentos, and the time periods such titles or

  positions were held.

         9.      Any and all Documents or Communications relating to the relationship between or

  among any Individual Highland Party and Brasilinvest Investimentos and/or Brasilinvest

  Empreendimentos, including without limitation, any ownership, direct or indirect, of Brasilinvest

  Investimentos or Brasilinvest Empreendimentos, any title, ownership, or position held by any

  Individual Highland Party at Brasilinvest Investimentos or Brasilinvest Empreendimentos, any

  compensation or payments received by any Individual Highland Party, directly or indirectly, from

  Brasilinvest Investimentos or Brasilinvest Empreendimentos, or received by any Individual

  Highland Party, directly or indirectly, from the Debtor related to the title or position held at

  Brasilinvest Investimentos or Brasilinvest Empreendimentos, and the time periods such titles or

  positions were held.




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         10.     Any and all Documents or Communications related to any transaction between or

  among Highland AG, Highland Brasilinvest Gestora de Recursos Ltda, and Brasilinvest

  Investimentos, including without limitation the sources of any funds involved therein.

         11.     Any and all Documents or Communications relating to any minutes, resolutions,

  written consents, or other materials related to the governance of Brasilinvest Investimentos or

  Brasilinvest Empreendimentos,, including without limitation, codes of conduct, policies, board

  packets or other materials shared with members, officers, directors, or shareholders.

         12.     Any    and   all   Documents    or    Communications relating to Brasilinvest

  Investimentos’s or Brasilinvest Empreendimentos’s provision of services to the Debtor, Dugaboy,

  or any Related Entity.

         13.     Any and all Documents or Communications reflecting payment, whether in cash or

  payment in kind, by the Debtor of any expenses relating to Brasilinvest Investimentos or

  Brasilinvest Empreendimentos.

         14.     Any and all Documents or Communications relating to Your policy or practice for

  document retention.




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                                    EXHIBIT 15
                            Marc S. Kirschner Declaration




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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION


   In re:                                                               Chapter 11

   HIGHLAND CAPITAL MANAGEMENT, L.P.,1                                  Case No. 19-34054 (SGJ)

                              Debtor.


         DECLARATION OF MARC S. KIRSCHNER IN SUPPORT OF MOTION OF
          THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS AND THE
         LITIGATION ADVISOR FOR ENTRY OF AN ORDER AUTHORIZING THE
          EXAMINATION OF RULE 2004 PARTIES PURSUANT TO RULE 2004 OF
                THE FEDERAL RULES OF BANKRUPTCY PROCEDURE

             Pursuant to 28 U.S.C. Section 1746, Marc S. Kirschner declares as follows:2

            1. I am a Senior Managing Director at Teneo Capital, LLC (“Teneo”), which has been

               retained to serve as the litigation advisor (the “Litigation Advisor”) to the Official

               Committee of Unsecured Creditors (the “Committee”) of Highland Capital

               Management, L.P., the debtor and debtor-in-possession in the above-captioned chapter

               11 case (the “Debtor”). Teneo’s appointment was authorized by the Order Pursuant

               to Section 1103 of the Bankruptcy Code Authorizing the Employment and Retention of

               Teneo Capital, LLC as Litigation Advisors to the Official Committee of Unsecured

               Creditors Effective April 15, 2021 [Dkt. No. 2443].




  1 The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
  for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
  2 Capitalized terms not defined in this Declaration have the meaning ascribed to them in the Motion of the Official
  Committee of Unsecured Creditors and the Litigation Advisor for Entry of an Order Authorizing the Examination of
  Rule 2004 Parties Pursuant to Rule 2004 of the Federal Rules of Bankruptcy Procedure, filed contemporaneously
  herewith.

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        2. I am in all respects competent to make this declaration, which I submit for all

           permissible purposes in support of the Motion of the Official Committee of Unsecured

           Creditors and the Litigation Advisor for Entry of an Order Authorizing the Examination

           of Rule 2004 Parties Pursuant to Rule 2004 of the Federal Rules of Bankruptcy

           Procedure, filed contemporaneously herewith (the “Motion”). The information set forth

           herein is based on the investigation that has been conducted by Teneo since April 15,

           2021, and Teneo’s review of public documents and documents received from the

           Debtor and from the Committee. As set forth herein and in the Motion, Teneo’s

           investigation has identified categories of information that the Committee requires in

           order to assess the viability of potential estate causes of action.

                                      Personal Background

        3. My firm and I have a wealth of experience in providing litigation support, investigation

           and advisory services in restructurings and reorganizations and enjoy an excellent

           reputation for services it has rendered in chapter 11 cases on behalf of debtors,

           creditors, and trusts throughout the United States. I have decades of experience as a

           bankruptcy and restructuring lawyer, distressed debt investor, financial advisor and

           fiduciary. I founded and led for 15 years the bankruptcy department in the New York

           office of the global law firm, Jones Day, until my retirement from private practice of

           law. Thereafter, I was appointed by SDNY Bankruptcy Judge Robert Drain as Chapter

           11 Trustee of Refeo Capital Markets, a global securities and derivatives dealer, which

           was one of the largest cases ever for which a Chapter 11 Trustee was appointed and

           continued post confirmation as Litigation Trustee for two trusts formed under Refeo’s

           Plan. I am recognized as a leading authority in pursuing billion dollar fraudulent

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           conveyance and other claims on behalf of litigation trusts, and am currently serving as

           Litigation Trustee for Tribune Litigation Trust and Millennium Health Litigation Trusts

           in Delaware and the 9 West Litigation Trust in New York. I also served as Litigation

           Trustee for the SNTL (Superior National Insurance Group) Litigation Trust in Los

           Angeles, the Yellowstone Mountain Club Litigation Trust in Montana and the Le-

           Natures Litigation Trust in the Western District of Pennsylvania. I am a Fellow of the

           American College of Bankruptcy. The Court has previously reviewed my curriculum

           vitae and concluded that I have “substantial experience in bankruptcy litigation matters,

           particularly with respect to [my] prior experience as a litigation trustee for several

           litigation trusts as set forth on the record of the Confirmation Hearing and in the

           Confirmation Brief.” [Docket No. 1943 at ¶ 45].

                              Estate Claims and Causes of Action

        4. On January 9, 2020, the Court approved a settlement between the Debtor and the

           Committee concerning, among other things, governance of the Debtor and the pursuit

           of claims held by the Debtor. As part of the settlement, the Committee was granted

           standing to investigate and pursue the Causes of Action (as defined below) that will

           eventually vest in the Litigation Trust.

        5. On February 22, 2021 [Docket No. 1943], the Court confirmed the Debtor’s Plan.

           Upon the effective date of the Plan, a Litigation Sub-Trust, created for the benefit of

           the holders of claims and interests in the Debtor, will be vested with certain claims and

           causes of action of the Debtor (the “Causes of Action”).

        6. In accordance with Teneo’s appointment as Litigation Advisor and my future role as

           Trustee of Litigation Sub-Trust, I am tasked with, among other things, investigation

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            and monetization of the Causes of Action. In furtherance of these investigations, I,

            along with the Committee, require critical information to determine whether conduct

            that was purportedly undertaken by or on behalf of the Debtor, the Non-Debtor

            Dondero-Related Entities, and other Dondero affiliates, give rise to Estate Causes of

            Action.

                           Topics Necessitating Rule 2004 Discovery

  Atypical Transactions

        7. I believe that substantial harm may have been caused to the Debtor through atypical

            transactions amongst the Debtor and its Related Entities pre-petition. The information

            that has been gleaned from the Debtor’s books and records and public court

            proceedings to date indicates that the Debtor’s founder, James Dondero, created an

            elaborate web of approximately 2,000 business entities that may have siphoned value

            away from certain entities (typically, when his own direct or indirect equity in those

            entities was out-of-the-money or its value was threatened) into new entities that he

            directly or indirectly owned. Although the Committee has been able to glean certain

            information from the Debtor’s own books and records, the Committee is not able to

            confirm the completeness or the veracity of the Debtor’s own accounts and seeks to

            compel the Debtor’s former officers and employees to produce information not on the

            Debtor’s servers. Likewise, the books and records of certain funds that were managed

            and controlled by the Debtor appear to be controlled by third parties, rather than by the

            Debtor itself. Finally, as set forth above, even where the Debtor may possess records

            itself, the conduct of the Debtor’s former officers and employees raises questions about

            whether the Debtor’s information has been manipulated or otherwise compromised.

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  Charities and Trust Discovery

          8. Interspersed within the Highland web are a number of entities that may exist for

               purportedly charitable purposes, including Charitable DAF Fund, L.P.; Charitable DAF

               GP, LLC; Charitable DAF HoldCo, Ltd.; Dallas Foundation; Empower Dallas

               Foundation; Greater Kansas City Community Foundation; Highland Capital

               Management, L.P. Charitable Fund; Highland Dallas Foundation; Highland Kansas

               City Foundation, Inc.; Highland Santa Barbara Foundation, Inc.; and the Okada Family

               Foundation; as well as numerous trusts, including Dugaboy Investment Trust; the

               Dondero Family Dynasty Trust; the Fouray’s Trust; Highland Capital Management

               L.P. Retirement Plan and Trust; The Dondero Insurance Rabbi Trust; The Get Good

               Trust; The Get Good Non-Exempt Trust No. 1; The Get Good Non-Exempt Trust No.

               2; the Get Better Trust; the Canis Minor Trust; The Mark & Pamela Okada Family

               Trust – Exempt Trust (MAP #1); The Mark & Pamela Okada Family Trust – Exempt

               Trust (MAP #2); The Okada Insurance Rabbi Trust; and The SLHC Trust,

               (collectively, the “Highland Charities And Trusts”).3

          9. The relationship of these Highland Charities and Trusts to the Debtor is unclear at this

               time, but there appear to have been tens of millions of dollars of distributions of funds

               from the Debtor to certain of the Highland Charities and Trusts that need to be assessed

               for their propriety and reasonableness.




  3 Also of interest is the Community Foundation of North Texas Inc., which appears to be distinct from the Highland
  web of entities.

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  The Nex Entities

          10. NexBank Capital, Inc., NexBank SSB, NexBank Title, Inc., and NexBank Securities,

               Inc. (together, “NexBank”) are financial services companies. The Advisors (Highland

               Capital Management Fund Advisors, L.P. and NexPoint Advisors, L.P.) are registered

               investment advisors, and one or more NexPoint Entities4 provide services pursuant to

               shared service agreements for entities within Highland’s corporate structure. Dondero

               is President of both of the Advisors and has ownership interests in both entities. The

               Advisors separately manage three funds (the “NexPoint/HCMFA Funds”).                 The

               Advisors and these NexPoint/HCMFA Funds own, among other things, equity interests

               in certain pooled collateralized loan obligation vehicles that were managed by the

               Debtor. The Debtor managed these CLO vehicles pursuant to contracts to which

               neither the Advisors nor the NexPoint/HCMFA Funds are parties. In addition, the

               Debtor and its affiliates appear to have invested substantial amounts in these

               NexPoint/HCMFA Funds over time.

          11. The relationships between the Nex Entities and the Debtor are opaque. However, the

               Debtor has performed certain services on behalf of certain Nex Entities, and at the same

               time, certain Nex Entities have performed services as an investment advisor and CLO

               manager. Because of the close business ties among the Debtor and the Nex Entities,

               and the numerous interrelationships and transfers of assets back and forth among the

               parties, discovery is needed to assess the propriety of those relationships and transfers.




  4 As defined in the Motion.

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  The Hunter Mountain Transaction

        12. Based on the investigation to date, it appears that Hunter Mountain was involved in an

           unusual transaction with the Debtor in December 2015, whereby Hunter Mountain

           purchased a majority of the Debtor’s limited partnership interests. This transaction was

           accomplished in two steps: first, by contributing a $63 million note payable and $7

           million of cash to the Debtor in exchange for 55% of the Debtor’s Class B limited

           partnership interests (the “Contribution”); and second, by making a series of notes

           payable totaling $83.7 million and combined $9.3 million in cash to the Debtor’s then-

           four Class A limited partners (comprised of the Dugaboy Investment Trust, Mark

           Okada, The Mark & Pamela Okada Family Trust – Exempt Trust (MAP #1), and The

           Mark & Pamela Okada Family Trust – Exempt Trust (MAP #2)) in exchange for a

           44.5% Class C limited partnership interest in the Debtor (the “Purchase” and together

           with the Contribution, the “Hunter Mountain Transaction”). This resulted in Hunter

           Mountain effectively owning a 99.5% limited partnership interest in the Debtor in

           exchange for $16.3 million in cash and $143.7 million in notes.

        13. Based on the investigation to date, Hunter Mountain appears to be a shell company, the

           only assets of which are the Class B and Class C Limited Partnership interests in the

           Debtor. Upon information and belief, Hunter Mountain is 100% owned and controlled

           by Beacon Mountain. It appears that the only asset of Beacon Mountain is its

           ownership of Hunter Mountain and Beacon Mountain is, itself, owned and controlled

           by Rand Fund I. Upon information and belief, Rand Fund I is 99% owned and

           controlled by Atlas IDF LP, and Rand Advisors manages both Rand Fund I and Atlas

           IDF LP. It appears that Atlas IDF GP is the general partner of Atlas IDF LP. Each of

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           Rand Fund I, Atlas IDF GP, Atlas IDF LP, and Rand Advisors appears to have been

           managed and controlled by John Honis, a former employee of the Debtor who also

           served on the Board of Trustees of Debtor’s affiliated registered investment companies

           as well as on the boards of portfolio companies for investment funds operated by the

           Debtor.

        14. It is unclear whether the Debtor received reasonably equivalent value in the Hunter

           Mountain Transaction, or what, if any, value was effectively stripped away from the

           Debtor and its creditors as a result of the Hunter Mountain Transaction. It is also

           unclear whether the Class A Interest Owners benefitted from the Hunter Mountain

           Transaction at the Debtor’s expense. As a result, the Committee seeks Rule 2004

           discovery regarding these topics.

  “Insurance” Coverage

        15. The Debtor was previously “self-insured” for its directors and officers (“D&O”)

           coverage. This self-insurance was issued by a Bermuda “captive” insurance company,

           Governance Re Ltd. (“Governance Re”). The named insured was an entity known as

           Highland D&O Trust, the ownership and legal status of which is unclear at this time.

           Based upon review to date, there are a number of unusual aspects to the relationship

           between the Debtor and Governance Re.

        16. First, the Debtor is a beneficiary of the D&O policy issued to Highland D&O Trust,

           but other Related Entities and numerous purportedly unaffiliated entities also appear to

           have been beneficiaries under the same policy. It is unclear why the Debtor may have

           been paying insurance premiums for the benefit of unaffiliated entities.




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        17. Second, upon information and belief, Governance Re is part of a corporate structure

            that ultimately rolls up to either Dondero individually or an entity owned or controlled

            by Dondero. The nature of the relationship between Governance Re, Dondero, and the

            Debtor is currently unknown, as is the amount of any benefits conveyed to Dondero or

            others by virtue of this relationship.

        18. Third, the financial transactions between or among Governance Re, the Debtor, the

            Related Entities, and the numerous other Dondero affiliates appear to be complicated

            and littered with notes, loans, or other indebtedness. It is unclear at this time whether

            any of those financial transactions were made to the Debtor’s detriment.

        19. As a result, discovery is required to understand the relationship between and among

            these entities and whether those interactions give rise to Causes of Action.

  Transactions with Entities Affiliated with Debtor Employees

        20. The Debtor has a long list of “vendors” in its books and records—a number of which

            appear to have been owned, controlled, and/or managed by former Debtor employees.

            It is currently unclear whether these relationships were properly disclosed, or if their

            interactions with the Debtor give rise to potential Causes of Action. As a result,

            discovery is needed to assess the interactions.

        21. By way of example, shortly after these proceedings were commenced, in early 2020,

            Ellington appears to have formed entities called Tall Pine Group, LLC (“Tall Pine”)

            and Sunshine Coast Development, LLC (“Sunshine”). In March 2021, Tall Pine

            entered into an agreement called a “Services Agreement” to provide services to

            NexBank SSB, Charitable DAF Fund, L.P., HCMFA, and NPA that are similar or

            identical to the services provided by the Debtor under its shared services agreements

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           for these same entities. It is my understanding that the existence of this agreement was

           concealed from the independent board of the Debtor and was only recently discovered.

        22. I understand that Tall Pine may have then sub-contracted with entities affiliated with

           other current or former Debtor employees (all of whom were employed by the Debtor

           at the time) and, as a result, those entities and Debtor employees may have also

           participated in the acts giving rise to potential Causes of Action related to the Services

           Agreement. As a result, the Committee seeks Rule 2004 discovery from each of the

           Tall Pine Entities (as defined in the Rule 2004 Motion and Brief) relating to the services

           agreement, the nature of the services provided, the relationships between or among the

           Tall Pine Entities, and the Tall Pine Entities’ relationships with the Debtor and current

           or former Debtor employees.

        23. Similarly, former Debtor employees Leventon and Ellington may have participated in

           the creation of a series of companies (certain of the E-Discovery Vendor Parties, as

           defined in the Motion) intended to provide outsourced legal services to the Debtor and

           Related Entities during the course of their employment by the Debtor.              These

           companies also appear to have involved Debtor consultants, including Ellington’s sister

           and Dilip Massand.

        24. As in-house attorneys for the Debtor who provided legal services to the Related

           Entities pursuant to shared services agreements, Leventon and Ellington’s possible

           ownership of entities doing business with the Debtor or Related Entities may give rise

           to potential Causes of Action depending upon the circumstances involved. At this

           time, there is limited information related to these business relationships and discovery

           is needed to assess whether the behavior is actionable.

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  Unexplained “Consultancies”

        25. Based on the review of the Debtors business records to date, there are also several

           “consultants” that may have had relationships with the Debtor that could give rise to

           Causes of Action. For example, Massand Capital, LLC appears to be a consulting firm

           owned by Dilip Massand. Massand had a longstanding business relationship with the

           Debtor, pursuant to which Massand allegedly consulted with the Debtor and was

           assigned tasks only by “the Highland Chairman and General Counsel”—who, at the

           time, were Dondero and Ellington, respectively. Massand received approximately

           $600,000 per year annually from 2014 to the Petition Date. Based on information

           known at this time, it is unclear whether Massand provided material services to the

           Debtor over the course of this engagement. At this time, it appears that Massand may

           have performed work primarily for the benefit of entities owned or controlled by

           Dondero, Ellington, and/or other Debtor employees. Further discovery is required to

           assess these relationships, the services provided, and whether the Debtor was harmed

           as a part of this engagement.

        26. Similarly, the structure of Highland entities in Brazil is highly complex. It appears that

           there were two separate “families” of entities in Brazil—one whose ultimate parent was

           the Debtor, and one whose ultimate parent was Dondero (through The Dugaboy

           Investment Trust). Upon information and belief, Dondero caused funds payable by the

           “family” of entities attributable to him to be paid by the Debtor instead. Similarly,

           there are three consultancies in Brazil that received payments from the Debtor or

           Debtor affiliates over time, and their connections to Dondero and his related entities is

           unclear. From the review to date, it is also unclear what, if any, services these

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            “consultants” may have provided to the Debtor. As a result, discovery is necessary to

            assess the propriety of the relationships and payments.

  “Equity Distributions” to Dondero

        27. Between 2015 and the Petition Date, Dondero received a number of large round-dollar

            payments from the Debtor which total approximately $20 million. Many of these

            payments are described in the Debtor’s internal books and records as “equity

            distributions.” To date, the Committee has not identified an explanation for these

            payments. Moreover, there is reason to doubt that any of these payments were actually

            “equity distributions,” because they appear to have been made at times when Dondero

            purported to have held no limited partnership interests in the Debtor. Additional

            discovery into these large payments is required so that their propriety can be assessed

            and a determination of whether they give rise to a Cause of Action can be made.

                                           Conclusion

        28. In order to fulfill any fiduciary duties under the Plan and Litigation Sub-Trust

            Agreements, I believe it is necessary and appropriate to conduct a careful and thorough

            investigation of the facts and circumstances leading to the substantial harm that may

            have been caused to the Debtor, which includes moving for the 2004 examinations.

        29. I believe that the information sought through the 2004 examinations is critical to

            determine the scope of viable claims that may exist on behalf of the Litigation Sub-

            Trust against potential third parties that may be culpable for causing such harm to the

            Debtor.




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        30. Based on my experience, the relief requested in the Motion is narrowly tailored only to

           achieve the primary goal of recovering estate assets for the benefit of all unsecured

           creditors and providing a fulsome recovery to the Litigation Sub-Trust Beneficiaries.

        31. I believe that proceeding under Bankruptcy Rule 2004 is a responsible, expeditious and

           cost-effective tool to enable the Committee and myself, as fiduciary to the Committee

           and eventually to the Litigation Sub-Trust Beneficiaries, to decide on an appropriate,

           prudent course of action.

        32. Accordingly, I believe that the relief sought in the Motion provides the targeted

           investigation necessary for me to adequately assess the Causes of Action (and thus

           fulfill my fiduciary duties as Litigation Sub-Trust Advisor) in a time-efficient and cost-

           effective manner that minimizes any harm to the reorganized Debtor and its current

           stakeholders.

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                           IN THE UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

      In re:                                                )     Chapter 11
                                                            )
      HIGHLAND CAPITAL MANAGEMENT                           )     Case No. 19-34054-sgj11
      L.P.,1                                                )
                                                            )
                Debtor.                                     )

    RESERVATION OF RIGHTS AND LIMITED OBJECTION OF NANCY DONDERO
   TO MOTION OF THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS AND
    THE LITIGATION ADVISOR FOR ENTRY OF AN ORDER AUTHORIZING THE
       EXAMINATION OF RULE 2004 PARTIES PURSUANT TO RULE 2004 OF
             THE FEDERAL RULES OF BANKRUPTCY PROCEDURE

               Nancy Dondero files this reservation of rights and limited objection in response to the

  Motion of the Official Committee of Unsecured Creditors and the Litigation Advisor for Entry of

  an Order Authorizing the Examination of Rule 2004 Parties Pursuant to Rule 2004 of the Federal

  Rules of Bankruptcy Procedure (the “Motion”) filed by the Official Committee of Unsecured

  Creditors (the “Committee”) of the above-captioned debtor, Highland Capital Management, L.P.




  1
    The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
  address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.


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  (the “Debtor”).2 In support of her reservation of rights and limited objection, Ms. Dondero states

  as follows:

  I.         BACKGROUND

             1.       On October 16, 2019, (the “Petition Date”), the Debtor filed a voluntary petition

  for relief under Chapter 11 of the Bankruptcy Code.

             2.       The Committee was appointed by the United States Trustee on October 29, 2019.3

             3.       On February 22, 2021, the Court entered the Order (I) Confirming the Fifth

  Amended Plan of Reorganization of Highland Capital Management, L.P. (as Modified) and (II)

  Granting Related Relief [Docket No. 1943], confirming the Fifth Amended Plan of Reorganization

  of Highland Capital Management, L.P. (as Modified) (the “Plan”).

             4.       On July 29, 2021, the Committee filed the Motion. In the Motion, the Committee

  seeks to conduct discovery of dozens of parties pursuant to Rule 2004 of the Federal Rules of

  Bankruptcy Procedure. Ms. Dondero is identified as one of the Rule 2004 Parties 4 in the Motion,

  and is further categorized as one of twenty-six Individual Highland Parties. The Committee’s

  ostensible justification for the 2004 Requests directed at Ms. Dondero is as follows: “Nancy

  Dondero is Dondero’s sister, and acts (or has acted) as trustee for various trusts related to the

  Debtor, including Dugaboy and Get Good.” Lumping her in with former Highland employees and

  others substantially more involved in the Debtor’s business, the Committee concludes that broad




  2
     In addition to asserting the reservation of rights and limited objection presented herein, Ms. Dondero joins in the
  reservations and objections of similarly situated respondents. Ms. Dondero also agrees with other objectors that there
  should be a protocol for disclosures that includes any Rule 2004 examinee being given meaningfully in advance of
  the examination any documents concerning them from the Debtor/Highland server.
  3
   According to the Motion, two of the original members of the Committee have since resigned, leaving the Committee
  members as Meta-E Discovery and UBS Securities LLC and UBS AG London Branch. Motion, ¶ 9.
  4
       Capitalized terms used but not defined herein shall have the meanings set forth in the Motion.

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  invasive discovery is warranted “given [her unspecified] roles with the Debtor and/or its affiliates,

  as well as [her] potential involvement in transactions and conduct of interest.” Motion p.20 n.28.

           5.       On August 6, 2021, the Court entered the Order Granting the Official Committee

  of Unsecured Creditors’ Emergency Motion to Set Briefing Schedule for Motion of the Official

  Committee of Unsecured Creditors and the Litigation Advisor for Entry of an Order Authorizing

  the Examination of Rule 2004 Parties Pursuant to Rule 2004 of the Federal Rules of Bankruptcy

  Procedure [Docket No. 2688] (the “Motion Briefing Order”). The Motion Briefing Order set a

  deadline of August 16, 2021 for any Rule 2004 Responses, and a deadline of August 17, 2021 for

  any witness and exhibit lists.

           6.       On August 11, 2021, the Debtor filed the Notice of Occurrence of Effective Date

  of Confirmed Fifth Amended Plan of Reorganization of Highland Capital Management, L.P.

  [Docket No. 2700], providing notice that the Effective Date of the Plan occurred on August 11,

  2021.

           7.       With the occurrence of the Effective Date the Committee has been dissolved, and

  the Litigation Sub-Trust has been created. From the tenor of the Motion it appears that the Trustee

  of the Litigation Sub-Trust will seek to step into the shoes of the Committee as the movant of the

  Motion. Ms. Dondero therefore files this reservation of rights and limited objection to preserve

  her rights and avoid any issue of waiver of same.

  II.      RESERVATION OF RIGHTS

           8.       As an initial matter, Ms. Dondero reserves her rights in connection with the

  proposed procedure for the examinations sought in the Motion.

           9.       A Rule 2004 exam against a party other than a debtor is best viewed as merely a

  request for the issuance of a subpoena. Rule 2004(c) provides in part that “[t]he attendance of an



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  entity for examination and for the production of documents or electronically stored information,

  whether the examination is to be conducted within or without the district in which the case is

  pending, may be compelled as provided in Rule 9016 for the attendance of a witness at a hearing

  or trial.” Fed. R. Bankr. P. 2004(c).

           10.      The efficiency of this procedure is explained in the In re Sheetz decision:

           Whether or not the court authorizes a 2004 examination is a matter committed to
           its discretion. One reason they are considered ex parte is that, when the motion is
           correctly used and implemented, orders granting them do not require anything of
           the other party. The rule contemplates only that the court may order the
           examination of any entity. That entity’s cooperation in the examination process is
           then secured with a subpoena, issued under Rule 45 of the Federal Rules of Civil
           Procedure. If the examinee thinks that the subpoena is inappropriate, it may take
           advantage of the procedures outlined there. This process has the advantage of
           allowing the court to avoid the appearance of approving any details of the
           examination, such as when, where, etc. Only if there is a dispute on such issues
           does the court need to become involved. The point here is that unless and until the
           examinee is subpoenaed in connection with an authorized examination, there is
           nothing it needs to do and it has precious little to complain about.

  In re Sheetz, 452 B.R. 746, 748-49 (Bankr. N.D. Ind. 2011) (internal citations omitted).

           11.      Here the Committee seeks entry of an order where “[t]he Rule 2004 Parties are

  directed to produce documents, communications, and other materials responsive to the Requests

  substantially in the forms attached as Exhibits 2 through 14 to the Motion no later than twenty-one

  (21) days after service thereof.” Motion, Ex. 1, P. 2. To the extent that the Motion is an attempt

  to adjudicate the allowance of an examination as well as the details of that examination, it is

  improper, because a subpoena served on Ms. Dondero is required first.

           12.      Although this Court has in the past permitted a third party Rule 2004 exams

  authorized only by court order, that situation is distinguishable from a proposed Rule 2004

  examination of Ms. Dondero. In In re Mirant Corp., 326 B.R. 354 (Bankr. N.D. Tex. 2005), the

  Court authorized Rule 2004 examinations without need for a subpoena. Id. at 357. However, the



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  Court did so only because counsel for the respondents “agreed that the court’s oral direction could

  serve in lieu of a subpoena.” Id. In addition, the Court found support for its decision on a finding

  that the respondents’ position as “parties in interest” and creditors who have participated in the

  case rather than a “true third party target.” Id.

           13.      Ms. Dondero is a third party non-debtor who has not personally been actively

  involved in this case. She does not consent to submit to examination without a corresponding

  subpoena. For these reasons, Ms. Dondero is entitled to be properly served with a subpoena to

  protect herself as well as recover any costs in producing records.

  III.     LIMITED OBJECTION

           14.      Ms. Dondero submits this limited objection to the Requests directed at her as

  defined as one of the Individual Highland Parties. The Committee has not met its burden to show

  good cause for a Rule 2004 examination of Ms. Dondero in general, much less the broad and

  invasive discovery sought in the Motion. In re Express One Int’l, 217 B.R. 215, 217 (Bankr. E.D.

  Tex. 1998) (movant seeking Rule 2004 exam has the burden of showing good cause for the

  examination).

           15.      The Committee’s efforts with the Motion to conduct extensive post-confirmation

  discovery are similar to the situation faced by the Court in In re ADPT DFW Holdings LLC, No.

  17-31432 sgj11 (Bankr. N.D. Tex.) (hereafter, “ADPT DFW”). In ADPT DFW, the Litigation

  Trustee of the Adeptus Litigation Trust (the “Adeptus Trustee”) filed five motions seeking Rule

  2004 examinations from a variety of parties, including the reorganized debtors’ former officers

  and directors. [ADPT DFW, Docket Nos. 1062–1066]. This Court denied all of the motions.

  [ADPT DFW, Docket Nos. 1198-1199, 1201, 1210-1211].




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           16.      Similar to how here the Trustee of the Litigation Sub-Trust has been vested with

  certain claims and causes of action of the Debtor, including the Estate Claims, the Adeptus Trustee

  was given authority to pursue causes of action on behalf of the litigation trust. In an oral ruling at

  the hearing on the Rule 2004 motions in ADPT DFW, the Court explained that the basis for denying

  the motions was a lack of good cause:

           The Court does not find good cause here to order any of the Rule 2004 exams because of
           the unique facts that I just cannot ignore. Among those unique facts we have a cooperating
           reorganized debtor. I think it is undisputed and its counsel, Norton Rose Fulbright, in that
           they have produced thousands of documents and I'm told are continuing to produce, so
           that's an important fact here.

           Two, we have a roadmap of possible claims and causes of action in the disclosure
           statement. I mean it's certainly not as fulsome as a complaint and it might not connect every
           dot, but that's another important factor here.

           Three, I have mentioned. We had an unsecured creditors committee and equity committee
           who were extremely active and had the opportunity and I think did investigate claims and
           causes of action during the case to a sufficient level where their information sharing with
           the Liquidating Trustee could enable the drafting of claims and causes of action in a
           complaint.

  ADPT DFW, Docket No. 1268, Transcript from Hearing on: The Liquidating Trustee’s Rule 2004

  discovery motions; issues of subject matter jurisdiction; and the Court’s rulings, March 27, 2018

  (the “March 27, 2018 Transcript”), Pg. 94 Line 11-Pg. 95, Line 3.

           17.      This is another such unique case. First, the Debtor is now reorganized, and even

  prior to reorganization, the Committee had access to the Debtor’s documents in connection with

  Estate Claims pursuant to the Order Approving Settlement with Official Committee of Unsecured

  Creditors regarding Governance of the Debtor and Procedures for Operations in the Ordinary

  Course [Docket No. 339].




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           18.      Second, Exhibit O of the Plan Supplement contained an Amended Schedule of

  Retained Causes of Action providing a clear roadmap of possible claims and causes of action.

  [Docket No. 1811].

           19.      Third, the Committee has been extremely active in investigating claims to date. See

  e.g., Official Committee of Unsecured Creditors’ Emergency Motion to Compel Production by the

  Debtor [Docket No. 808]; Order on Motion for Clarification of Ruling [DE #914] and the Joinders

  Thereto [DE ## 915 & 927] [Docket No. 935]; Declaration of Marc C. Kirschner in Support of

  the Official Committee of Unsecured Creditors’ Motion to Further Extend the Stay of the

  Adversary Proceeding through October 15, 2021, filed in Adv. Proc. No. 20-03195, Docket No.

  70, ¶ 8 (noting over 1,200 hours spent by forensic and litigation support professionals working as

  Litigation Advisor to Committee “investigating myriad potential claims and causes of action for

  the benefit of all unsecured creditors”). Further, even with the dissolution of the Committee itself,

  that knowledge is not lost. The Trustee to the Litigation Sub-Trust has retained counsel to the

  Committee, and the Committee members are serving on the Claimant Trust Oversight Committee.

  As the Court noted in ADPT DFW, “I think they should be able to provide a treasure trove of

  information to connect the dots to the extent that the Litigation Trustee has not connected all the

  dots yet.” March 27, 2018 Transcript, Pg. 96, Lines 1-3.

           20.      The Court denied the Rule 2004 Exam motions in ADPT DFW for all the same

  reasons that exist here, stating “[t]he Litigation Trustee I think has information at his fingertips to

  file complaint or not and then can obviously take discovery pursuant to the Federal Rules of Civil

  Procedure or if it’s state court, the state rules of civil procedure.” March 27, 2018 Transcript, Pg.

  96, Lines 12-16. See also, In re Kearney, 590 B.R. 913 (Bankr. D. N.M. 2018). In Kearney, the




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  Court limited a Rule 2004 examination to documents already produced by the respondent but

  subject to a protective order, but denied the debtor’s request for additional documents, saying:

           On the other hand, the Court does not believe it is necessary or desirable to order ARCO
           to produce additional documents. The Court concludes that the Debtor already has enough
           information to evaluate the potential claims. Unlike most Rule 2004 motions seeking pre-
           litigation discovery, there has already been both extensive litigation and extensive
           discovery involving the Debtor and ARCO. While it is always nice to get more information,
           the Court finds that no more information is needed before the Debtor can evaluate any
           potential claims against ARCO. On balance, the Court finds and concludes that the burdens
           on and risks to ARCO of additional production outweigh the potential benefits to the estate.

  Kearney, 590 B.R. at 925-26. Likewise, the Motion should be denied.

           21.      If the Court will not deny the Motion outright, its scope must still be reined in as

  applied to Ms. Dondero. Several of the Requests set forth in Exhibit 6 of the Motion, Requests for

  Production of Documents to the Individual Highland Parties are overly broad both on their face,

  and as a result of the fact that Ms. Dondero is Jim Dondero’s sister, resulting in her possession of

  personal data, having nothing to do with the Debtor’s business (such as communications about Mr.

  Dondero’s minor children).

           22.      Although the scope of Rule 2004 is wide, examinations must relate either to “the

  acts, conduct, or property or to the liabilities and financial condition of the debtor, or to any matter

  which may affect the administration of the debtor’s estate, or to the debtor’s right to a discharge”

  or “the operation of any business and the desirability of its continuance, the source of any money

  or property acquired or to be acquired by the debtor for purposes of consummating a plan and the

  consideration given or offered therefor, and any other matter relevant to the case or to the

  formulation of a plan.” Fed. R. Bankr. P. 2004(b). See Snyder v. Society Bank, 181 B.R. 40 (Bankr.

  S. D. Tex. 1994) (explaining that the scope of Rule 2004 is not limitless). As noted above, the

  Committee’s purported justification for the 2004 examination is superficial (“Mr. Dondero’s




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  sister” and family “trustee”) and conclusory (“potential involvement in transactions and conduct

  of interest”).

           23.      There is no limitation to contain several of the Requests within the scope of the

  Debtor, its estate, or its affairs.

           24.      In particular, included within the Requests is a demand for “[a]ny and all

  Documents or Communications relating to Your financial records, including without limitation,

  Your tax returns.” Motion, Ex. 6, Request 21. A request encompassing the entirety of Ms.

  Dondero’s financial records and related communications for the past seven years 5 is clearly

  abusive and, despite the Litigation Advisor’s assertions to the contrary, is not “narrowly tailored”

  to the goal of recovering estate assets, as the Committee acknowledges is required. Motion, Ex.

  15, Kirschner Decl., ¶ 30. In In re Yahweh Ctr., Inc., 2017 WL 327473 (Bankr. E.D. N.C. Jan. 23,

  2017), while allowing broad discovery related to the debtor and its assets, the Court specifically

  denied requests to two trusts to “Please produce any and all tax returns filed by you, or on your

  behalf, including any schedules, statements, or attachments thereto, for the years 2010 through

  present.” Id. at *4. In doing so, the Court held that the trusts “hold bona fide reasons to refrain

  from producing documents that affect or pertain to the rights of other, such as the respective

  beneficiaries of the two trusts, and do not pertain to or affect the Debtor in any manner” and that

  “the privacy interests of [the trusts] far outweigh the Debtor’s right to know the information

  sought.” Id.


  5
    The requested time period for requested documents is also overly broad and should be limited to the prepetition
  period. With the occurrence of the Effective Date and transfer of the Causes of Action to the Litigation Sub-Trust,
  the matters pertaining to “consummating a plan” per Rule 2004(b) are constrained to the actions which the Litigation
  Trustee is authorized to pursue under the Plan. This is a matter of both the scope of Rule 2004 and the Court’s
  remaining jurisdiction over the case. See Ernst & Young, LLP v. Pritchard (In re Daisytek, Inc.), 323 B.R. 180, 185
  (N.D. Tex. 2005) (explaining that “[o]nce the debtor's plan has been confirmed, the bankruptcy court's jurisdiction is
  narrowed. At that point, bankruptcy court jurisdiction ‘ceases to exist, other than for matters pertaining to the
  implementation or execution of the plan.’” (citing Bank of La. v. Craig's Stores of Texas, Inc. (In re Craig's Stores of
  Tex., Inc.), 266 F.3d 388, 390 (5th Cir. 2001)).

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           25.      In addition, the Requests fail to take into account the personal relationship between

  Ms. Dondero and at least one of the Individual Highland Parties, her brother James Dondero, by

  seeking “[a]ny and all Documents or Communications shared between or amount You and any

  other Individual Highland Party.” Motion, Ex. 6, Request 8. Does the Creditors Committee really

  have any legitimate basis to discover for example, communications about the care of Jim and

  Nancy Dondero’s father or his funeral arrangements, about family medical issues, vacation plans

  and baby pictures of Ms. Dondero’s nieces and nephews (Mr. Dondero’s children), among the

  many personal communications sought by the overreaching language of the 2004 requests?

           26.      Ms. Dondero communicated with Mr. Dondero (and any other Highland-related

  persons) via their email addresses on the Highland server. Therefore, all of the documents sought

  are already in the possession of the Debtor, which has professionals far better equipped to shift

  through the data than Ms. Dondero, if for no other reason than they know what they are looking

  for. If after searching the records to which they already have access there is an actual basis to

  suggest that Ms. Dondero has particular records that could lead to the identification of debtor

  assets, they should make such searches and make a targeted Rule 2004 Request. In re Countrywide

  Home Loans, Inc., 384 B.R. 373, 393 (W.D. Pa. 2008) (explaining that a “Rule 2004 examination

  should not be so broad as to be more disruptive and costly to the party to be examined than

  beneficial to the creditor”). Being the sister of a former CEO of a debtor and even the Trustee of

  that CEO’s family trust is not in and of itself a legitimate basis for a Rule 2004 examination. See

  In re DeShetler, 453 B.R. 295, 301 (Bankr. S.D. Ohio 2011) (stating that “[t]he use of a 2004

  examination is not permitted for matters not related to the financial condition of a debtor or a

  debtor’s estate.” (emphasis added)); In re Roman Catholic Church of Diocese of Gallup, 513 B.R.




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  761, 764 (Bankr. D. N.M. 2014) (“The primary purpose of an examination under Rule 2004 is to

  ascertain the extent and location of the estate’s assets.”).

           27.      Discovery under Rule 2004 is permissive, not obligatory. See Fed. R. Bankr. P.

  2004(a) (“On motion of any party in interest, the court may order the examination of any entity.”

  (emphasis added)).         “If the cost and disruption to the examinee attendant to a requested

  examination outweigh the benefits to the examiner, the request should be denied.” Express One

  Int’l, 217 B.R. at 217 (citing In re Eagle-Picher Industries, 169 B.R. 130, 134 (Bankr. S.D. Ohio

  1994); see also Countrywide Home Loans, 384 B.R. at 393-94 (noting that “while Rule 2004

  allows a fishing expedition for some extent, it may not be used as a device to launch into a

  wholesale investigation of a non-debtor’s private business affairs”).

           28.      The Requests directed to Ms. Dondero also seek “[a]ny and all Documents or

  Communications reflecting Your current employer(s).” Motion, Ex. 6, Request 15. Ms. Dondero

  is self-employed and conducts background checks for businesses, such as insurance companies

  (not including any of the insurance companies mentioned in the 2004 Motion). These documents

  are confidential, have nothing to do with Highland, and disclosure of them would put Ms.

  Dondero’s future prospects at risk if she is viewed by those who purchase her services as a

  disclosure risk. An obligation to produce documents responsive to this Request would cause

  significant disruption and harm to Ms. Dondero’s business, with no corresponding benefit to the

  examiner.

           29.      While not mentioned in the Motion, it seems likely that the real basis for including

  Ms. Dondero as a target is because the Debtor is planning to include (and by Tuesday will have

  included) her as a defendant in various adversary proceedings. Local Rule 2004-1 provides that

  “[i]f a contested matter or an adversary proceeding is pending, the adversary discovery rules



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  (Bankruptcy Rules 7027 - 7036), not Bankruptcy Rule 2004 and Local Bankruptcy Rule 2004-1,

  govern discovery pertaining to such contested matter or adversary proceeding.” L.B.R. 2004-

  1(b).6

           30.      Although Ms. Dondero is not yet a party to an adversary proceeding in this case,

  her deposition has already been sought in connection with the Highland Capital Management, L.P.

  v. James Dondero, Adv. Proc. No. 21-03003-sgj, and as the Committee likely full knows, she will

  be a defendant in four adversary proceedings by sometime this week. Counsel for defendants and

  proposed defendants in those proceedings have already agreed that there should be only one

  deposition of each party, notwithstanding the number of proceedings. Allowing an additional

  examination and document request in the guise of a Rule 2004 examination violates both the spirit

  and the letter of the parties’ arrangement.7

           31.      Likewise, to the extent the Committee seeking an examination of Ms. Dondero due

  to her status as trustee of Dugaboy, not only are any requests properly directed at Dugaboy, and




  6
     This is an incorporation into the Local Rules of the “pending proceedings rule.” The pending proceedings rule states
  that “once an actual adversary proceeding has been initiated, ‘the discovery devices provided for in Rules 7026 – 7037
  . . . apply and Rule 2004 should not be used.’” In re Kipp, 86 B.R. 490 (Bankr. W.D. Tex. 1988) (denying use of Rule
  2004 motion in adversary proceeding). “[T]he so-called ‘pending proceeding rule” does not permit Rule 2004
  examinations when proceedings are pending in another forum.” In re MF Global Inc., 2013 WL 74580 at *2 (Bankr.
  SDNY Jan. 8, 2013).
  7
    In contrast with the decision in Mirant where the Court found that prelitigation discovery “may be critical to ensure
  that no viable cause of action is lost” various parties have already conducted extensive investigations here, and there
  is both pending and promised litigation in play. Mirant, 326 B.R. at 357. Thus, if there were some more targeted
  basis to examine Ms. Dondero, the Committee ought to articulate it. The movant has the burden of showing good
  cause for the discovery it seeks. See generally, In re Onatah Farms, 2021 Bankr. LEXIS 1808 at *3-*4 (Bankr. N.D.
  Ind., Apr. 29, 2021) (finding lack of good cause to grant motion when the proffered basis was vague and essentially
  parroted language in rule). “[Movant] should have some idea what it is looking for, why it is needed and cannot be
  found elsewhere, and what might be accomplished once it is obtained. It should share that information with the court
  so the motion can be evaluated properly.” Id.


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  not Ms. Dondero as trustee8, but Dugaboy is also being added as a defendant in the same four

  adversary proceedings, and is already a defendant in litigation by the Committee.

           WHEREFORE, Nancy Dondero respectfully requests that this Court enter an order as

  follows:

           a.       declining to authorize a Rule 2004 examination of Ms. Dondero; and

           b.       denying all other relief sought in the Motion.




  8
    See Roman Catholic Church of Diocese of Gallup, 513 B.R. at 766 (explaining that “although it is arguable within
  the scope of Rule 2004 to discovery information of the Alleged Affiliates in the possession of the [respondent], the
  Court thinks it is a better practice for the UCC to file Rule 2004 exam motions for each Alleged Affiliate.”).

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  Dated: August 16, 2021.
                                  Respectfully submitted,

                                  /s/Deborah Deitsch-Perez
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                                  Michael P. Aigen
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                                  Counsel for Nancy Dondero




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                                  CERTIFICATE OF SERVICE

           I hereby certify that a true and correct copy of the foregoing document was served by
  electronic mail via the Court's ECF filing system on the Debtor, Counsel for the Committee, and
  all parties authorized to receive electronic notice in this case on August 16, 2021.

                                      /s/Deborah Deitsch-Perez
                                      Deborah Deitsch-Perez




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                         Exhibit A




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                                UNITED STATES BANKRUPTCY COURT

                             FOR THE NORTHERN DISTRICT OF TEXAS

                     BEFORE THE HONORABLE STACEY G. JERNIGAN, JUDGE


        In Re:                                           ) Case No. 17-31432-sgj11
                                                         )
        ADPT DFW HOLDINGS LLC,                           ) (Jointly filed with In re
                                                         ) Adeptus Health Inc., et
                                   Debtor.               ) al.)
                                                         )
                                                         ) March 27, 2018
                                                         ) Dallas, Texas

        Hearing on: The Liquidating Trustee's Rule 2004 discovery
        motions; issues of subject matter jurisdiction; and the Court's
        rulings.


          Appearances:

          For the Reorganized              Elizabeth Nicolle Boydston Esq.
          Debtors:                         John N. Schwartz, Esq.
                                           Shivani P. Shah, Esq.
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                                           2200 Ross Avenue, Suite 3600
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          For Former Directors             Omar J. Alaniz, Esq.
          Hosler, Rosenberg,               Amy Heard, Esq.
          Napolitano, Vender,              Baker Botts L.L.P.
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                                           Dallas, Texas 75201

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                                           Houston, Texas 77002

                                           Karl Dial, Esq.
                                           Greenberg Traurig LLP
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                                           Dallas, Texas 75201

                            Appearances continued on next page.



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          Appearances continued:

          For Drivetrain, LLC:             Brandon V. Lewis, Esq.
                                           Eric D. Madden, Esq.
                                           Reid Collins & Tsai LLP
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                                           Dallas, Texas 75201

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                                           Squire Patton Boggs (US) LLP
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                                           Geoff Gannaway, Esq.
                                           Beck Redden
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          Appearances on the telephone:

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          Litigation Trust:                Pachulski Stang Ziehl & Jones LLP
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          Enhanced Services,               400 Twentieth Street North
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                                         The Rulings of the Court                               93

     1                THE COURT:       All right, please be seated.                  We have

     2   everyone here.       We are going back on the record in ADPT DFW

     3   Holdings.

     4                I want to compliment all lawyers on very fine

     5   arguments both orally and in your pleadings.

     6                              THE RULINGS OF THE COURT

     7                THE COURT:       With regard to all of these motions to

     8   take Rule 2004 discovery, the Court is going to deny them all.

     9   First, I will say for everyone's benefit that while it is a very

    10   interesting issue, I believe there is subject matter

    11   jurisdiction in this post confirmation context to order a Rule

    12   2004 examination.         In other words, there isn't a subject matter

    13   jurisdiction problem that I rely on in denying the Rule 2004

    14   motions.

    15                While it is certainly not in my experience the

    16   traditional context that we see Rule 2004 discovery sought and

    17   while surely subject matter jurisdiction is not limitless to

    18   order Rule 2004 discovery post confirmation, I think there must

    19   be on occasion bankruptcy subject matter jurisdiction to order

    20   Rule 2004 exams post confirmation.                And here I think the reason

    21   we do have subject matter jurisdiction is a combination of the

    22   facts that, one, we have a disclosure statement that had very

    23   fulsome preservation of causes of action and, two, I think the

    24   law of the 5th Circuit as expressed in Craig Stores and a few of

    25   the other cases cited, I think it is met here.                       And the law is


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                                         The Rulings of the Court                                 94

     1   that if the outcome of the underlying dispute could conceivably

     2   have an impact on the — I think the words are — execution,

     3   implementation, or interpretation of a confirmed plan, then

     4   there is subject matter jurisdiction.                  And so I think here the

     5   outcome of any Rule 2004 discovery as well as the underlying

     6   claims that might be pursued could bear on the execution and

     7   implementation of a confirmed plan, which plan contemplated the

     8   Liquidating Trust that would pursue claims and causes of action

     9   as appropriate for the prepetition stakeholders.

    10                What I rely on, though, in denying the Rule 2004

    11   motions is there being no good cause here.                    The Court does not

    12   find good cause here to order any of the Rule 2004 exams because

    13   of the unique facts that I just cannot ignore.                       Among those

    14   unique facts we have a cooperating reorganized debtor.                             I think

    15   it is undisputed and its counsel, Norton Rose Fulbright, in that

    16   they have produced thousands of documents and I'm told are

    17   continuing to produce, so that's an important fact here.

    18                Two, we have a roadmap of possible claims and causes

    19   of action in the disclosure statement.                  I mean it's certainly

    20   not as fulsome as a complaint and it might not connect every

    21   dot, but that's another important factor here.

    22                Three, I have mentioned.             We had an unsecured

    23   creditors committee and equity committee who were extremely

    24   active and had the opportunity and I think did investigate

    25   claims and causes of action during the case to a sufficient


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                                         The Rulings of the Court                                 95

     1   level where their information sharing with the Liquidating

     2   Trustee could enable the drafting of claims and causes of action

     3   in a complaint.        And, to be specific, this was a big deal, there

     4   was hot negotiation over how the claims and causes of action and

     5   waterfall of distributions from the Liquidating Trust would be

     6   shared among unsecureds, equity, and Deerfield.

     7                I will take judicial notice of the Akin Gump final fee

     8   application and Brown Rudnick final fee application.                           My law

     9   clerk and I checked during the break, Akin Gump billed 1,015

    10   hours at a tab of $843,592 for the category general adversary

    11   proceedings and litigation matters.                 And they gave several

    12   examples under that category.              And one of the examples was

    13   evaluation and analysis of causes of action to be transferred to

    14   the Litigation Trust.

    15                Then in the Brown Rudnick final fee app for the Equity

    16   Committee, they billed 187 hours at a tab of $117,383 for the

    17   category avoidance action analysis and included in the

    18   description under that category was analysis of IPO and

    19   subsequent offerings, you know claims related to that.

    20                As I noted other unique facts here, we have Deerfield,

    21   the secured lender and ultimate acquirer under the plan of

    22   reorganization as a member of the Oversight Committee that is in

    23   existence in connection with the Litigation Trust, as well as

    24   Wexford on that Oversight Committee, the largest shareholder who

    25   sat on the Equity Committee and of course engaged counsel Brown


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                                         The Rulings of the Court                               96

     1   Rudnick.     I think they should be able to provide a treasure

     2   trove of information to connect the dots to the extent the

     3   Litigation Trustee has not connected all the dots yet.

     4                And then I mentioned we have two Houlihan valuation

     5   reports where, again, they may not give you valuations,

     6   Liquidating Trustee at all relevant time periods, but it's

     7   certainly when added to the other information you have one would

     8   think would get you there without a huge number of 2004 exams

     9   being necessary.

    10                I have not been told about any looming deadlines for

    11   getting complaints on file.             There can't be given the age of the

    12   case.     So for all of these reasons the motions are denied.                      The

    13   Litigation Trustee I think has information at his fingertips to

    14   file complaints or not and then can obviously take discovery

    15   pursuant to the Federal Rules of Civil Procedure or if it's

    16   state court, the state rules of civil procedure.

    17                Finally, I will add as to KPMG, I deny the motion for

    18   cause, same as everyone else, but for the additional reason that

    19   I think the arbitration provisions would appear to apply to most

    20   of the potential claims and discovery sought.                      So that would be

    21   an additional reason to deny the motion as to KPMG.

    22                All right.       Well, I am going to look for several

    23   orders.     I guess for scriveners, I will defer to:                      Mr. Wilson

    24   and his team for the former officers; Mr. Alaniz and his team as

    25   to the former directors; Ms. Heyan and her team as to KPMG; and


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                                         The Rulings of the Court                                    97

     1   — I'm sorry, who am I leaving out in this? — Sterling's counsel.

     2   Mr. — is it Mureen?

     3                MR. MUREEN:       Mureen.

     4                THE COURT:       — Murren for the order on that.                      And of

     5   course run it by the Litigation Trustee legal team.

     6                Are there any questions before we adjourn on this

     7   2004 —

     8                MR. HERZOG:       Your Honor, will this ruling reflect the

     9   2004 request as to change for healthcare as well?

    10                THE COURT:       Okay.     Let me make sure I understand that

    11   one.     I have to admit when I came in here I was focused on these

    12   four major categories of potential deponents.                      Are you — is your

    13   client — was it a name change?              Were you PST before?

    14                MR. HERZOG:       Yes, Your Honor.            That's correct.            We

    15   were spun off the proceeding about S&N Corp. (phonetic) and

    16   change.     And that —

    17                THE COURT:       But it's the same sort of thing.                      There

    18   were clearly claims and causes of action described in the

    19   disclosure statement that might be pursued?

    20                MR. HERZOG:       Yes, that's correct.

    21                THE COURT:       Okay.     For all the same reasons I deny the

    22   motion as to your client as well.                All right.        So you can do the

    23   order on that one, counsel, and again run it by Mr. Madden and

    24   Mr. Lewis and their team.

    25                All right.       If there's nothing else then on that


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                                         The Rulings of the Court                              98

     1   issue, all of you are excused who were here only on the 2004

     2   motions.     And I will ask Ms. Boydston and Mr. Schwartz to come

     3   forward.     And anyone who wants to stay on these claim objection,

     4   stipulation matters, et cetera, is certainly welcome to stay.

     5   okay.

     6                [COUNSEL]:       Thank you, Your Honor.

     7                THE COURT:       Thank you.

     8          (Comments off the record.)

     9                THE COURT:       All right.       I am ready whenever you are.

   10    Whoever is going to be the lead on this.

   11                 MS. BOYDSTON:        Good afternoon, Your Honor.                  Liz

   12    Boydston, Norton Rose Fulbright, on behalf of the reorganized

   13    debtors.

   14                 I think the one thing that we want to take up first is

   15    the joint motion for a protective order.                   And that's why we

   16    still have some people from the Litigation Trust in the room

   17    because it's a joint motion.

   18                 THE COURT:       Okay.     So remind me what this one is

   19    about.

   20                 MR. LEWIS:       Yes, Your Honor.          Brandon Lewis on behalf

   21    of the Litigation Trust.

   22                 This is a joint motion for a protective order between

   23    the trustee and the reorganized debtors, Docket Number 1109.

   24    There's been no objection filed to this motion.                        The purpose is

   25    to give effect to the privilege sharing that's contemplated in


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         State of California                     )
                                                 )       SS.
         County of San Joaquin                   )




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